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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

------------------------------------------------------------ x
                                                             :
In re:                                                       : Chapter 11
                                                             :
WOLFSPEED, INC., et al.,                                     : Case No. 25-90163 (CML)
                                                             :
                    Debtors. 1                               : (Jointly Administered)
                                                             :
------------------------------------------------------------ x

     NOTICE OF FILING OF REDACTED CONSOLIDATED CREDITOR MATRIX

        Pursuant to Rule 1007 of the Federal Rules of Bankruptcy Procedure and the Order

(I) Authorizing the Debtors to File a Consolidated Creditor Matrix and List of the 30 Largest

Unsecured Creditors, (II) Waiving the Requirement to File a List of Equity Security Holders,

(III) Authorizing the Debtors to Redact Certain Personally Identifiable Information, and

(IV) Granting Related Relief [Docket No. 61], which authorized the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) to file a single consolidated creditor matrix for

the Debtors and redact all personally identifiable information contained therein, the Debtors file

the Redacted Consolidated Creditor Matrix attached hereto.



                                [Remainder of page left blank intentionally]




1
    The Debtors in these cases, together with the last four digits of each Debtor’s taxpayer identification number, are:
    Wolfspeed, Inc. (2719) and Wolfspeed Texas, LLC (0339). The Debtors’ mailing address is 4600 Silicon Drive,
    Durham, NC 27703.
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Dated: July 3, 2025                 Respectfully submitted,
       Houston, Texas
                                    /s/ Timothy A. (“Tad”) Davidson II
                                    HUNTON ANDREWS KURTH LLP
                                    Timothy A. (“Tad”) Davidson II (Texas Bar No. 24012503)
                                    Ashley L. Harper (Texas Bar No. 24065272)
                                    Philip M. Guffy (Texas Bar No. 24113705)
                                    600 Travis Street, Suite 4200
                                    Houston, TX 77002
                                    Telephone: (713) 220-4200
                                    Email: taddavidson@hunton.com
                                             ashleyharper@hunton.com
                                             pguffy@hunton.com

                                    - and -

                                    LATHAM & WATKINS LLP
                                    Ray C. Schrock (NY Bar No. 4860631)
                                    Alexander W. Welch (NY Bar No. 5624861)
                                    Keith A. Simon (NY Bar No. 4636007)
                                    Eric L. Einhorn (NY Bar No. 5568845)
                                    1271 Avenue of the Americas
                                    New York, NY 10020
                                    Telephone: (212) 906-1200
                                    Email: ray.schrock@lw.com
                                             alex.welch@lw.com
                                             keith.simon@lw.com
                                             eric.einhorn@lw.com

                                    Proposed Co-Counsel for the Debtors
                                    and Debtors in Possession




                                CERTIFICATE OF SERVICE

        I certify that on July 3, 2025, a true and correct copy of the foregoing document was served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas on those parties registered to receive electronic notices.

                                              /s/ Timothy A. (“Tad”) Davidson II
                                              Timothy A. (“Tad”) Davidson II




                                                 2
02 MICRO INC       Case 25-90163   Document   87 INCFiled in TXSB on 07/03/25104 Page
                                     101 MACHINE                                      3 of 944
                                                                                 CORPORATION
ATTN PRESIDENT                        1937 EVANS ROAD                       ATTN SR VICE PRESIDENT
3118 PATRICK HENRY DR                 CARY, NC 27513-2041                   10F, NO 119-1, BAOZHONG RD
SANTA CLARA, CA 95054                                                       XINDIAN DIST
                                                                            NEW TAIPEI CITY 231 TAIWAN



109 KELLER SPRINGS CT                 10X TECHNOLOGY LLC                    12 INTERACTIVE LLC
109 KELLER SPRINGS CT                 ATTN PRESIDENT                        DBA PERKSPOT
BLUFFTON, SC 29910                    2105 TEMPEL DR                        ATTN CEO
                                      LIBERTYVILLE, IL 60048                216 W OHIO ST, 4TH FL
                                                                            CHICAGO, IL 60654



12R NANOWAVE INC                      1440SPORTS MANAGEMENT LTD             184 REGIMENT TELECOMMUNICATIONS SUPT
ATTN DIR OF ENGINEERING               ATTN RICHARD PAUGH                    ATTN LT COLONEL
85 5TH ST NW                          CENTENNIUM HOUSE                      VIA LUNGO FIUME CERCA 10
ATLANTA, GA 30308                     100 LOWER THAMES ST, 2ND FL           TREVISO 31100
                                      LONDON EC3R 6DL UNITED KINGDOM        ITALY



2101 PRESCOTT PLACE                   21ST CENTURY TECHNOLOGIES INC         245 PRODUCT DEVELOPMENT GROUP LLC
2101 PRESCOTT PLACE                   ATTN PRES                             ATTN CEO
RALEIGH, NC 27615                     1566 S PENNSLYVANIA ST                272 THIRD ST
                                      DENVER, CO 80210                      ATLANTIC BEACH, FL 32233




259 HOLDINGS LTD LLC                  2651 AVIATION DR                      2MK ELEKTRONIK SAN VE DIS TICARET LTD
DBA MICROSCOPE WORLD                  2651 AVIATION DR                      STI
ATTN MANAGING DIR                     WAUKESHA, WI 53188                    ATTN GENERAL MANAGER
6122 INNOVATION WAY                                                         HALICILAR CAD 38/1 KOCAOGLU AP KAT 3
CARLSBAD, CA 92009                                                          ISTANBUL 34080
                                                                            TURKEY


3 DIMENSIONAL SERVICES                3 HTI LLC                             3 PHASE INC
ATTN CFO                              3000 ATRIUM WAY, STE 296              ATTN JON RICE
2547 PRODUCT DR                       MT LAUREL, NJ 08054                   510 KINLEY NE
ROCHESTER HILLS, MI 48309                                                   ALBUQUERQUE, NM 87102




3028 E CORNWALLIS RD DURHAM LLC       3054705 INC                           321 VENTURES LLC
C/O CALARE PROPERTIES, INC.           DBA WESTBORO PHOTONICS                DBA 321 COFFEE
ATTN: WILLIAM L. MANLEY                                                     ATTN DIR, MARKETING & EVENTS
30 SPEEN STREET, SUITE 200                                                  3305 DURHAM DR, STE 121
FRAMINGHAM, MA 01701                                                        RALEIGH, NC 27603



360 CONTROL TECHNOLOGIES LLC          360 PUBLIC RELATIONS LLC              360 PUBLIC RELATIONS LLC
ATTN OWNER/SALES REP                  ATTN CHIEF EXECUTIVE OFFICER          ATTN CHIEF EXECUTIVE OFFICER
11 8TH AVE NE                         140 CLARENDON ST                      200 STATE ST
HICKORY, NC 28601                     BOSTON, MA 02116                      BOSTON, MA 02109




3C PACKAGING INC                      3D HUBS MANUFACTURING LLC             3D PROTOTYPES
ATTN VP, SALES                        228 EAST 45TH STREET SUITE 9E         ATTN OWNER
1000 CCC DR                           NEW YORK, NY 10017-3337               P.O. BOX 513
CLAYTON, NC 27520                                                           MORRISVILLE, NC 27560




3D SYSTEM INC                         3DELTA SYSTEMS INC                    3DFORTIFY DBA FORTIFY
ATTN VP A-PAC                         ATTN CINDY HOROHO, CLIENT REL MGR     FLOOR 1 75 HOOD PARK DRIVE
5 LYNCH ST                            14151 NEWBROOK DR, STE 200            BOSTON, MA 02129-1002
HAWTHORNE, VIC 3122                   CHANTILLY, VA 20151
AUSTRALIA
3DFS LLC           Case 25-90163    Document  87 AMERICA
                                      3D-MICROMAC Filed inLLC
                                                            TXSB on 07/03/253D-MICROMAX
                                                                               Page 4 ofAG944
1911 NC HWY 902                        ATTN PRESIDENT                          ATTN HEAD OF SALES
PITTSBORO, NC 27312-8081               2151-40 OTOOLE AVE                      TECHNOLOGIE-CAMPUS 8
                                       SAN JOSE, CA 95131                      CHEMNITZ 09126
                                                                               GERMANY



3DOLOGIE LLC                           3DREAM TEAM INC                         3E COMPANY
706 S. ILLINOIS AVENUE SUITE D101      505 MONTGOMERY STREET, SUITE 1100       3207 GREY HAWK CT
OAK RIDGE, TN 37830-7969               SAN FRANCISCO, CA 94111                 CARLSBAD, CA 92010




3F LLC                                 3FLOW                                   3G SKYEYE SATELLITE SYSTEM LTD.
ATTN PRESIDENT                         231-C EAST JOHNSON STREET               ROOM 1, G/F, BLOCK 44,
5448 APEX PEAKWAY, 222                 CARY, NC 27513-4010                     HONG KONG 999077
APEX, NC 27502-3924                                                            HONG KONG




3GMETAL WORKX INC                      3L CORP                                 3L ELECTRONIC INTERNATIONAL TRADING
ATTN PRESIDENT                         ATTN MANAGING DIR                       LTD
90 SNOW BLVD                           1052-1, 304 DUON PLZ, 70 SEOKHYEON ST   ATTN MANAGER
CONCORD, ON L4K 4A2                    GIHEUNG-GU                              SIX INDUSTRIAL AREA
CANADA                                 YONGIN, GYEONGGI-DO 446-908 SOUTH       NANLANG ZHEN
                                       KOREA                                   ZHONGSHAN, GUANGDONG CHINA


3-LIGHTING OPTOELECTRONICS CO LTD      3M COMPANY, CHEMICAL DIVISION           3M INNOVATICE PROPERTIES CO
ATTN RONG-GUI LIN                      BLDG 224-3N                             ATTN TECHNICAL DIR
12F, NO 105, ZHONGCHENG RD             ST PAUL, MN 55144-0001                  209-BW-55 3M CTR
TUCHENG DIST                                                                   ST PAUL, MN 55144
NEW TAIPEI CITY 236 TAIWAN



3RDI PRODUCT DEVELOPMENT INC           4 FRONT SYSTEMS INC                     4 WAVE INC
ATTN MICHAEL ASKEW                     ATTN VICE PRESIDENT                     ATTN PRESIDENT
598 AIRPORT BLVD, STE 700              860 AVIATION PKWY, STE 1000             22977 EAGLEWOOD CT, STE 120
MORRISVILLE, NC 27560                  MORRISVILLE, NC 27560                   STERLING, VA 20166




4IMPRINT INC                           4PI ANALYSIS INC                        4RF COMMUNICATIONS LTD
101 COMMERCE STREET                    ATTN PRES/CEO                           ATTN R&D MGR
OSHKOSH, WI 54901-4864                 3500 WESTGATE DR, STE 403               26 GLOVER ST, NGAURANGA
                                       DURHAM, NC 27707                        WELLINGTON
                                                                               NEW ZEALAND



4SEVENS LLC                            4TEC PRECISION IMAGING CO               4TH VECTOR TECHNOLOGIES LLC
ATTN PRESIDENT                         DBA STUDIO 44 PRODUCTIONS               ATTN PRESIDENT
4896 N ROYAL ATLANTA DR, STE 305       ATTN CEO                                12701 LINDLEY DR
TUCKER, GA 30084                       4611 S 96TH ST                          RALEIGH, NC 27614
                                       OMAHA, NE 68137



4WAVE INC                              501 FEARRINGTON POST                    5D INDUSTRIA SA DE CV
ATTN PRESIDENT                         501 FEARRINGTON POST                    ATTN LEGAL REP
22977 EAGLEWOOD CT, STE 120            PITTSBORO, NC 27312                     AV VINCENTE GUERRERO 331-B
STERLING, VA 20166                                                             COLONIA AGUA BLANCA IND
                                                                               ZAPOPAN, JAL 45325 MEXICO



5S COMPONENTS, INC                     5TH AXIS INC                            675 PARTNERS II LLC
630, FIFTH AVE                         ATTN PRESIDENT                          ATTN MANAGER
EAST MCKEESPORT, PA 15035-1035         7140 ENGINEER RD                        P.O. BOX 97365
                                       SAN DIEGO, CA 92111                     RALEIGH, NC 27624-7365
675 PARTNERS II LLC Case 25-90163         Document   87 IIFiled
                                            675 PARTNERS   LLC in TXSB on 07/03/25   Page
                                                                                 7 LAYER   5 of 944
                                                                                         TECHNOLOGIES
ATTN STEVE PATRICK                           C/O TROUTMAN SANDERS LLP             ATTN VP OPERATIONS
12917 DURANT RD                              ATTN ASHLEY STORY                    1 MARKET ST
RALEIGH, NC 27614                            434 FAYETTEVILLE ST, STE 1900        SAN FRANCISCO, CA 94105
                                             RALEIGH, NC 27601



7 SWORDS INTERNATIONAL LTD                   79WEST INNOVATION HUB                7-ELEVEN INC
ATTN MGR                                     DBA MOSAIC EHUB LLC                  ATTN VICE PRESIDENT
ROOMS 1318-20, 13/F, HOLLYWOOD PLAZA         120 MOSAIC BLVD, STE120              1722 ROUTH ST, STE 1000
610 NATHAN RD, MONGKOK                       PITTSBORO, NC 27312                  DALLAS, TX 75201
KOWLOON HONG KONG



89 NORTH INC                                 8POINT3 LTD                          A & D ENVIRONMENTAL SERVICES, INC.
20 WINTER SPORT LANE SUITE 135               ATTN MANAGING DIRECTOR               P.O. BOX 484
WILLISTON, VT 05495-8146                     SUSCON, BRUNEL WAY                   HIGH POINT, NC 27261
                                             DARTFORD, KENT DA1 5FW
                                             UNITED KINGDOM



A & H TECHNOLOGY INC                         A & J MATERIALS INC                  A L LIGHTECH INC
ATTN PRESIDENT                               ATTN OWNER & PRESIDENT               ATTN VP OF INTL SALES
7607 TROTTER RD                              110 JUMP ST                          1525B W ORANGE GROVE AVE
CHARLOTTE, NC 27216                          TALKING ROCK, GA 30175               ORANGE, CA 92868




A L P LIGHTING COMPONENTS INC                A PLUS TECHNOLOGY LLC                A STEP ABOVE CLEANING & MAINTENANCE
ATTN VP & BUSINESS MGR                       ATTN PRESIDENT & OWNER               INC
6333 GROSS POINT RD                          9747 RTE 9                           ATTN OWNER
NILES, IL 60714                              P.O. BOX 571                         900 RECTORY CT
                                             CHAZY, NY 12921                      WILMINGTON, NC 28411



A TEAM GLOBAL LIMITED                        A WOMACK CO                          A&B FOUNDRY MACHINING LLC
ATTN PRESIDENT                               ATTN AREA MGR                        ATTN GENERAL MANAGER
STE NO. 10B, 11/F TOWER 2, 33 CANTON RD      1615 YEAGER AVE                      835 NORTH MAIN ST
CHINA HONG KONG CITY                         LA VERNE, CA 91750                   FRANKLIN, OH 45005
TSIM SHA TSUI HONG KONG



A&D COMPANY LTD (JAPAN)                      A&E LIGHTING SALES INC               A&J MEDIA LLC
ATTN ENGINEERING ADV                         ATTN EUGENE EMERICK                  F/S/O COLANERI, JOHN
1-243, ASAHI                                 9 GLENDORE DR                        C/O WME; ATTN MILES GIDALY
KITAMOTO-SHI, SAITAMA 364-8585               HUMMELSTOWN, PA 17036                1325 AVE OF THE AMERICAS
JAPAN                                                                             NEW YORK, NY 10019



A&N CORPORATION                              A&P MASTER IMAGES LLC                A&R PAINTING
707 SW 19TH AVENUE                           205 WATER STREET                     ATTN PRESIDENT
WILLISTON, FL 32696-2427                     UTICA, NY 13502-3101                 102 COMMONWEALTH CT, STE B
                                                                                  CARY, NC 27511




A&R PARTNERS                                 A.COM ELECTRONIC MEASUREMENT         A.D SALES INC
ATTN PARTNER                                 TECHNO                               ATTN FRED NELSON, PRES
201 BALDWIN AVE                              1705 S MAIN ST                       1057 E ST
SAN MATEO, CA 94401                          MILPITAS, CA 95035                   TEWKSBURY, MA 01876




A.G. EDWARDS & SONS INC                      A.S.PLASTICS TECHNOLOGY INC          A/P RECOVERY INC
ATTN VICE PRESIDENT                          644 SHREWSBURY COMMONS AVE 246       ATTN ANTHONY S BRUSH
ONE N JEFFERSON AVE                          SHREWSBURY, PA 17361-1617            975 JOHNNIE DODDS BLVD
ST LOUIS, MO 63103                                                                MT PLEASANT, SC 29464
A-1 CONSTRUCTION Case 25-90163   Document    87 SERVICE
                                   A-1 LIGHTING   Filed CO
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                                                                               Page 6& DESIGN
                                                                                       of 944INC
ATTN OWNER                          ATTN MICHAEL COHEN                     ATTN PRESIDENT
1485 NEW ELAM CHURCH RD             1 SHIRLEY AVE                          1707 TUCKER ST
NEW HILL, NC 27562                  REVERE, MA 02151                       BURLINGTON, NC 27215




A123 SYSTEMS INC                    A123 SYSTEMS INC                       A3 COMMUNICATIONS INC
ATTN ASST GEN COUNSEL               ATTN VP & GEN COUNSEL                  1038 KINLEY ROAD, BLDG. B
200 WEST ST                         321 ARSENAL ST                         IRMO, SC 29063-7991
WALTHAM, MA 02451                   WATERTOWN, MA 02472




A5E USA INC                         AA ANDERSON & CO INC                   AA MICROWAVE COMPONENTS AND
ATTN CHIEF EXECUTIVE OFFICER        DBA ANDERSON PUMP & PROCESS            SYSTEMS
99 WALL ST, 541                     ATTN DIRECTOR OF OPS                   ATTN AMPLIFIER & SYSTEM DIV MGR
NEW YORK, NY 10005                  21365 GATEWAY CT, STE 300              ZI LES GRANGES GALAND
                                    BROOKFIELD, WI 53045                   4 RUE DU PONT DE LARCHE
                                                                           SAINT AVERTIN 37550 FRANCE


AAA ALLIED GROUP INC                AAC TECHNOLOGIES HOLDING INC           AACHEN UNIV OF APPLIED SCIENCES
ATTN VP- GENERAL MGR                ATTN VP OF SALES                       ATTN HOLGER HEUERMANN, PROF DR
15 W CENTRAL PKWY                   NO 18 XINGXI RD N HITECH PARK          EUPENER STR 70
CINCINNATI, OH 45202                NANSHAND DIST                          AACHEN 52066
                                    SHENZHEN CHINA                         GERMANY



AADYN TECHOLOGY                     AA-ELEKTRONIIKKA OY                    AAG STUCCHI SRL US
ATTN CFO                            ATTN DES ENG                           ATTN GEN MGR
3921 SW 47TH AVE, STE 1007          KARHUSOLA 5                            VIA IV NOVEMBRE 30/32
FT LAUDERDALE, FL 33314             ESPOO 02810                            OLGINATE, LC 20854
                                    FINLAND                                ITALY



AAIPHARMA SERVICES CORP             AALBORG UNIVERSITY                     AALTO UNIVERSITY
ATTN VR & GEN COUNSEL               ATTN JAN H MILKHELSEN, ASSOC PROF      ATTN PROFESSOR
2320 SCIENTIFIC PARK DR             MELS JERNES VEJ 12                     OTAKAARI 1
WILMINGTON, NC 28405                AALBORG DK-9220                        ESPOO 02150
                                    DENMARK                                FINLAND



[NAME REDACTED]                     [NAME REDACTED]                        AARTI ELECTRONICS PRIVATE LTD
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     ATTN PROPRIETOR
                                                                           KENORA A-502, HIRANANDANI ESTATE
                                                                           PATLIPADA, GHODBUNDER RD, THANE (W)
                                                                           MUMBAI 400607 INDIA



AASONN LLC                          [NAME REDACTED]                        AAVID THERMALLOY LLC
ATTN CEO                            [ADDRESS REDACTED]                     ATTN DIRECTOR OF FINANACE ASIA PACIFIC
1979 N MILL ST, STE 101                                                    70 COMMERCIAL ST
NAPERVILLE, IL 60563                                                       CONCORD, NH 03301




AB DENNING INC                      AB ELECTRONICS                         A-B LASERS INC
ATTN PRESIDENT                      ATTN OWNER                             ATTN EXEC VICE PRESIDENT
266 PROGRESS DR                     2000 DONNA CT                          4 CRAIG RD
FUQUAY VARINA, NC 27526             P.O. BOX 94                            ACTON, MA 01720
                                    CLAYTON, NC 27520



AB MIKROELEKTRONIK GMBH             AB SPECIALTY SILICONES LLC             ABACUS TRUST & MANAGEMENT SVCS LTD
JOSEF-BRANDSTATTER-STRABE 2         ATTN ACCOUNT MGR                       GENEVA PL, 2ND FL 333 WATERFRONT DR
SALZBURG A-5020                     3790 SUNSET AVE                        P.O. BOX 3339
AUSTRIA                             WAUKEGAN, IL 60087                     WICKHAMS CAY 1
                                                                           ROAD TOWN, TORTOLA BRITISH VIRGIN
                                                                           ISLANDS
[NAME REDACTED]   Case 25-90163   Document  87 Filed in TXSB on 07/03/25ABATIX
                                    [NAME REDACTED]                        Page   7 of 944
                                                                               CORP
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  2400 SKYLINE DR.
                                                                         MESQUITE, TX 75149-1990




ABB AB                               ABB E-MOBILITY S.P.A.               ABB INC
ATTN ABB GROUP R&D                   VIA SAN GIORGIO, N. 642             1250 BROWN ROAD
IP EXPLOITATION                      TERRANUOVA BRACCIOLINI 52028        AUBURN HILLS, MI 48326-1507
AFFOLTERNSTRASSE 52                  ITALY
ZURICH CH 8050 SWITZERLAND



ABB INC                              ABB LTD                             ABB OY DRIVES
ATTN VP                              HOWARD RD, ST NEOTS, HUNGTINGDON    ATTN SOURCING MNGR
940 MAIN CAMPUS DR                   CAMBRIDGESHIRE PE19 3EU             STROMBERGINTIE 1
RALEIGH, NC 27606                    UNITED KINGDOM                      HELSINKI FIN-00380
                                                                         FINLAND



ABB RESEARCH LTD                     ABB SEMICONDUCTORS                  ABB SWITZERLAND LTD
ATTN SVP ABB                         C/O ABB GROUP                       ATTN DEPT MGR
IP EXPLOITATION                      AFFOLTERNSTRASSE 44                 SEGELHOF 1
AFFOLTERNSTRASSE 52                  ZURICH 8050                         BADEN-DATTWIL 5405
ZURICH CH 8050 SWITZERLAND           SWITZERLAND                         SWITZERLAND



ABBEY SALES CORPORATION              ABBY LIGHTING & SWITCHGEAR LTD      ABBY OY DRIVES
ATTN PRESIDENT                       ATTN SURESH BAJAJ, DIRECTOR         ATTN ARI HYVARINEN
2970 MARIA AVE, STE 107              401/2/3, ORBIT IND ESTATE           VALIMOPOLKU 4 A
NORTHBROOK, IL 60062                 CHINCHOLI BUNDER RD EXTENSION       HELSINKI FL-00381
                                     MALAD W, MUMBAI 400 064 INDIA       FINLAND



ABC FIRE PROTECTION SERVICES         ABCO AUTOMATION INC                 ABCR GMBH & CO KG
P.O. BOX 951                         ATTN SALES ENGINEER                 ATTN GEN MGR
FREMONT, CA 94537-0951               6202 TECHNOLOGY DR                  IM SCHLEHERT 10
                                     BROWN SUMMIT, NC 27214              KARLSRUHE 76187
                                                                         GERMANY



[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED]   Case 25-90163     Document    87 INC
                                      ABE UTILITIES  Filed in TXSB on 07/03/25[NAME
                                                                                 Page  8 of 944
                                                                                    REDACTED]
[ADDRESS REDACTED]                     ATTN MAR PIPELINE SVS DIV             [ADDRESS REDACTED]
                                       3804 BERYL RD
                                       RALEIGH, NC 27607




[NAME REDACTED]                        ABELL ELEVATOR INTERNATIONAL INC      [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN MANAGER                          [ADDRESS REDACTED]
                                       1256 LOGAN ST
                                       LOUISVILLE, KY 40204




[NAME REDACTED]                        [NAME REDACTED]                       ABERNETHY BECK INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    ATTN PRESIDENT
                                                                             4209 STUART ANDREW BLVD, G
                                                                             CHARLOTTE, NC 28217




ABF FREIGHT SYSTEM INC                 ABG CAULKING CONTRACTORS INC          [NAME REDACTED]
ATTN DIR                               ATTN VICE PRESIDENT                   [ADDRESS REDACTED]
3801 OLD GREENWOOD RD                  861 SPRINGFIELD HWY
FORT SMITH, AR 72903                   GOODLETTSVILLE, TN 37072




ABLE COMMUNICATIONS INC                ABLE ELECTROPOLISHING COMPANY INC     ABLE MOVING LLC
ATTN CFO                               ATTN PRESIDENT                        ABLE MACHINERY MOVERS LLC
1413 AVE H                             2001 S KILBOURN AVE                   600 WESTPORT PKWY.
GRAND PRAIRIE, TX 75050                CHICAGO, IL 60623                     GRAPEVINE, TX 76051-6739




ABLE WIRE EDM INC                      ABLETECH LLC                          ABM BUILDING SERVICES LLC
ATTN SR VP MANUFACTURING               ATTN PRESIDENT                        ATTN MAINTENANCE SALES REP
440 ATLAS ST                           11241 FLORINDO RD                     5805 G DEPARTURE DR
BREA, CA 92821                         SAN DIEGO, CA 92127                   RALEIGH, NC 27616




ABM INDUSTRY GROUPS                    ABM JANITORIAL                        ABN AMROCC (0695)
14141 SOUTHWEST FREEWAY SUITE 400      ATTN BRANCH MANAGER                   ATT PROXY DEPT
SUGAR LAND, TX 77478-4651              11301 REAMES RD                       175 W. JACKSON BLVD
                                       CHARLOTTE, NC 28269                   STE 2050
                                                                             CHICAGO, IL 60605



[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       ABRASIVE TECHNOLOGY INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    ATTN PRESIDENT
                                                                             8400 GREEN MEADOWS DR
                                                                             LEWIS CENTER, OH 43035




[NAME REDACTED]                        ABREON INC                            ABRISA INDUSTRIAL GLASS INC
[ADDRESS REDACTED]                     ATTN VP BUSINESS SOLS                 DBA ABRISA TECHNOLOGIES
                                       STE 500, FOSTER PLAZA 10              ATTN CFO
                                       680 ANDERSON DR                       200 S HALLOCK DR
                                       PITTSBURGH, PA 15220                  SANTA PAULA, CA 93060
[NAME REDACTED]   Case 25-90163       Document  87 Filed in TXSB on 07/03/25ABSG
                                        [NAME REDACTED]                        Page  9 of 944
                                                                                 CONSULTING INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  ATTN DIRECTOR
                                                                             16855 NORTHCHASE DR
                                                                             HOUSTON, TX 77060




ABSG CONSULTING INC                      [NAME REDACTED]                     ABSOLUTE APPLICATIONS LTD
ATTN MARK WHITNEY                        [ADDRESS REDACTED]                  ABSOLUTE APPLICATIONS HOUSE
140 HEIMER RD, STE 300                                                       6 SHERMAN RD, BROMEY
SAN ANTONIO, TX 78163                                                        KENT BR1 3JH
                                                                             UNITED KINGDOM



ABSOLUTE INDUSTRIAL FABRICATORS INC      ABSOLUTE MACHINING                  ABSOLUTE SYSTEMS INC
ATTN GENERAL MANAGER                     ATTN OWNER                          DBA ABSOLUTE OZONE
1393 JEFFREY DR                          115 E GUTIERREZ ST                  ATTN CEO
ADDISON, IL 30101                        SANTA BARBARA, CA 93101             10712-181 ST
                                                                             EDMONTON, AB T5S 1K8 CANADA



ABSOLUTELY ELECTRIC INC                  ABSTRACT AVR LTD                    ABSTRACT POWER ELECTRONICS INC
ATTN CHIEF EXECUTIVE OFFICER             ATTN MANAGING DIR                   ATTN PRESIDENT
C-10 831314                              WESTFIELD 24/26, LEICESTER RD       1601 E RACINE AVE, STE 200
19382 LAUREL LN                          BLABY                               WAUKESHA, WI 53186
RAMONA, CA 92065                         LEICESTER LE8 4GQ UNITED KINGDOM



ABTEST LIMITED                           [NAME REDACTED]                     [NAME REDACTED]
DBA IMS TESTING SOLUTIONS                [ADDRESS REDACTED]                  [ADDRESS REDACTED]
TREGWILYM INDUSTRIAL ESTATE
ROGERSTONE, NEW PORT
SOUTH WALES NP10 9YA UNITED KINGDOM



[NAME REDACTED]                          [NAME REDACTED]                     AC CONTROLS COMPANY, INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  8600 WESTMORELAND DR. NW
                                                                             CONCORD, NC 28027




AC CORPORATION                           ACA INTEGRATION SDN. BHD.           ACA VISION TECHNOLOGY SDN BHD
301 CREEK RIDGE ROAD                     54, JALAN INDUSTRI BERINGIN,        ATTN ADMIN EXEC
GREENSBORO, NC 27406-4421                SIMPANG AMPAT PIN 14100             NO 56, JALAN INDUSTRI BERINGIN
                                         MALAYSIA                            TAMAN PERINDUCTRIAN RINGAN JURU
                                                                             BUKIT MERTAJAM, PENANG 14100 MALAYSIA



ACABADOS Y SERV LLENAMEX SA DE CV        ACADEMY GROUP                       ACAL BFI IBERIA SIU
ATTN TECH MANAGER                        ATTN PRESIDENT                      ATTN CFO
CALLE DONATO TOVAR 30                    5520 MIDWAY PARK PL                 C/ ANABEL SEGURA, 7
JUANACATLAN, JAL 45880                   ALBUQUERQUE, NM 87109               ALCOBENDAS
MEXICO                                                                       MADRID 28108 SPAIN



ACAL ELECTRONIC HOLDINGS LTD             ACAL PLC                            ACBEL POLYTECH HOLDINGS INC
ATTN PAUL WEBSTER                        ATTN PAUL WEBSTER                   ATTN MONICA TUNG, DEPUTY MANAGER
2 CHANCELLOR CT, OCCAM RD                2 CHANCELLOR CT                     NO 159, SEC 3, DANJIN RD, TAMSUI DIST
SURREY RESEARCH PARK                     OCCAM RD                            NEW TAIPEI CITY 25144
GUILDFORD, SURREY GU2 7AH UNITED         GUILDFORD, SURREY GU2 7AH UNITED    TAIWAN
KINGDOM                                  KINGDOM


ACCELERANT INTERNATIONAL LLC             ACCELERANT VENTURES LLC             ACCELERATED PRINTED CIRCUIT BOARD
ATTN CHIEF EXECUTIVE OFFICER             ATTN MS DEBORAH LOVIG               ATTN GENERAL MGR
601 CARLSON PKWY, STE 1050               710 WELLINGTON DR                   SHENZHEN BAOAN
MINNETONKA, MN 55305                     DURHAM, NC 27713                    SHENZHEN
                                                                             CHINA
                   Case 25-90163
ACCEL-RF CORPORATION                     Document   87 Filed
                                            ACCENT IMAGING INC in TXSB on 07/03/25ACCENT
                                                                                    PageOPTICAL
                                                                                         10 of TECHNOLOGIES
                                                                                                944         INC
4380 VIEWRIDGE AVENUE                       ATTN TREASURER                         ATTN RAJ MUNDHE
SAN DIEGO, CA 92123-1678                    8121 BROWNLEIGH DR                     131 NW HAWTHORNE ST, STE 207
                                            RALEIGH, NC 27617                      BEND, OR 97701




ACCENTURE INTERNATIONAL LIMITED             ACCENTURE LLP                          ACCENTURE LLP
1 GRAND CANAL SQUARE, GRAND CANAL           161 NORTH CLARK STREET                 ATTN MANAGING DIRECTOR
HARBOUR                                     CHICAGO, IL 60601-3206                 800 N GLEBE RD, STE 700
DUBLIN 2 DO2P820                                                                   ARLINGTON, VA 22203
IRELAND



ACCESS EQIPMENT RENTAL                      ACCESS INC                             ACCESSAGILITY LLC
ATTN TERRITORIAL MNGR                       ATTN PRES                              ATTN LEGAL
2620 YONKERS RD                             A-710, 2-2-2, KOTESASHI                8601 WESTWOOD CTR DR, STE 250
RALEIGH, NC 27604                           TOKOROZAWA, SAITAMA 359-1141           VIENNA, VA 22182
                                            JAPAN



ACCESSOS                                    ACCIDENT RECONSTRUCTION ANALYSIS INC   ACCLIME TAX ADVISORY (HK) LIMITED
1012 TORNEY AVENUE                          ATTN OFFICE MGR                        29/F, LEE GARDEN TWO
SAN FRANCISCO, CA 94129-1755                5801 LEASE LN                          HONG KONG
                                            RALEIGH, NC 27617                      HONG KONG




ACCOPOWER SEMICONDUCTOR CO., LTD.           ACCOUNTANTS INC                        ACCOUSTICAL CONSULTANTS INC
NO. 6, ZHENGXIANG ROAD,                     ATTN AREA MGR                          DBA STEWART ACOUSTICAL CONSULTANTS
GUANGZHOU 511458                            2626 GLENWOOD AVE                      ATTN PRES
CHINA                                       RALEIGH, NC 27608                      7406 L CHAPEL HILL RD
                                                                                   RALEIGH, NC 27607



ACCRETECH AMERICA                           ACCRETECH SBS, INC.                    ACCRETECH USA INC
2280 CAMPBELL CREEK BLVD SUITE 30           8790 GOVERNORS HILL DRIVE SUITE 207    ATTN CONTROLLER & TREASURER
RICHARDSON, TX 75082-4447                   CINCINNATI, OH 45249-1374              2600 S TELEGRAPH RD, STE 180
                                                                                   BLOOMFIELD HILLS, MI 48302




ACCRUENT LLC                                ACCU AIR GASES & EQUIPMENT             ACCU ELECTRIC MOTORS INC
11500 ALTERRA PARKWAY 110                   ATTN OWNER                             ATTN ACCOUNTANT
AUSTIN, TX 78758-3191                       1885 N VENTURA AVE                     4450 WITMER INDUSTRIAL ESTATES, UNIT 4
                                            VENTURA, CA 93001                      NIAGARA FALLS, NY 14305




ACCU LTD                                    ACCUCHROME LLC                         ACCUCOAT INC
ATTN OPERATIONS DIRECTOR                    ATTN GENERAL MGR                       ATTN PRESIDENT
HOGGWOOD STONE QUARRY                       240 ROCK CRUSHER RD                    111 HUMBOLDT ST
WOODHEAD RD                                 ASHEBORO, NC 27203                     ROCHESTER, NY 14609
HUDDERSFIELD HD9 6PW UNITED KINGDOM



ACCUDRY CORPORATION                         ACCU-FAB INC                           ACCULEX SDN BHD
1621 MCEWEN DRIVE UNIT 33                   ATTN PRESIDENT                         NO 2, 2-1, 2-2, NO 4, 4-1, 4-2
WHITBY L1N 9A5                              801 BEACON LAKE DR                     JALAN MELAKA RAYA 29
CANADA                                      RALEIGH, NC 27610                      MELAKA 75000
                                                                                   MALAYSIA



ACCULINKS SYSTEMS (M) SDN BHD               ACCULOGIC LTD                          ACCUPROBE CORPORATION
ATTN SALES & SERVICE MGR                    ATTN GENERAL MANAGER                   35 CONGRESS STREET
NO 12, JALAN ANGGERIK DORITIS BA 31/BA      41 SKYLINE DR, STE 1021                SALEM, MA 01970-5529
KOTA KEMUNING                               LAKE MARY, FL 32746
SHAH ALAM, SELANGOR 40460 MALAYSIA
                  Case
ACCURATE BACKGROUND   INC25-90163    Document  87MACHINE
                                        ACCURATE   Filed in TXSB on 07/03/25ACCURATE
                                                                              Page 11  of 944 SYSTEMS LLC
                                                                                     MEASUREMENT
ATTN CFO                                ATTN PRES                            ATTN OFFICE MGR
6 ORCHARD, STE 20                       5124 TRADEMARK DR                    2360 N LINDBERGH BLVD
LAKE FOREST, CA 92630                   RALEIGH, NC 27610                    ST LOUIS, MO 63114




ACCUREL SYSTEM INTERNATIONAL            ACCUREX MEASUREMENT INC              ACCU-SEAL SEMCORPWHITE INC
ATTN DIRECTOR OF ENG                    ATTN PRESIDENT                       225 BINGHAM DRIVE
785 LUCERNE DR                          225 S CHESTER RD, STE 6              SAN MARCOS, CA 92069-1418
SUNNYVALE, CA 94085                     SWARTHMORE, PA 19081




ACCUSERV EQUIPMENT & SUPPLY LLC         ACCUTAC SDN BHD                      ACCU-TECH, INC.
ATTN SCOTT TERRY                        ATTN ASST SALES & APPLICATIONS MGR   200 HEMBREE PARK DR STE 100
3865 PRODUCE RD, STE 208                NO 20 1ST FL, JALAN DAMAR            ROSWELL, GA 30076-3889
LOUISVILLE, KY 40218                    PERMATANG DAMAR LAUT
                                        BAYAN LEPAS, PENANG 11960 MALAYSIA



ACCUTHERMO TECHNOLOGY CORP              ACCU-TOOL CORPORATION                ACCU-TOOL, LLC
ATTN GENERAL MANAGER                    ATTN PRES                            PINNACLE PARK
45772 BRIDGEPORT DR                     PINNACLE PARK                        APEX, NC 27539-6331
FREMONT, CA 94539                       2490 RELIANCE AVE
                                        RALEIGH, NC 27539



ACCU-TURN INC                           ACCUVANT INC                         ACDC LED LTD
ATTN VP                                 ATTN DIR OF LEGAL AFFAIRS            ATTN FINANCE DIRECTOR
1375 IND PARK DR, P.O. BOX 36           1125 17TH ST, STE 1700               INNOVATION WORKS, 12 GISBURN RD
UNION GROVE, WI 53182                   DENVER, CO 80202                     BARROWFORD
                                                                             LANCASHIRE BB9 8NB UNITED KINGDOM



ACDC LIGHTING SYSTEMS LTD               ACE AMERICAN INSURANCE COMPANY       ACE AMERICAN INSURANCE COMPANY
ATTN TECH DIR                           ATTN SR UNDERWRITER                  ATTN VICE PRESIDENT
GISBURN RD, BARROWFORD                  140 BROADWAY 41ST FLOOR              436 WALNUT ST
LANCASHIRE BB9 8NB                      NEW YORK, NY 10005                   PHILADELPHIA, PA 19106
UNITED KINGDOM



ACE ELECTRIC INC                        ACE ENVIRONMENTAL RISK               ACE EUROPEAN GROUP LTD
ATTN VICE PRESIDENT                     ATTN ASST DIV COUNSEL                ATTN PROJECT HEAD
4081 INNER PERIMETER RD                 P.O. BOX 1000                        100 LEADENHALL ST
VALDOSTA, GA 31602                      436 WALNUT ST, WA07A                 LONDON EC3A 3BP
                                        PHILADELPHIA, PA 19106               UNITED KINGDOM



ACE FENCE BUILDERS INC                  ACE POWER SOLUTIONS INC              ACE TECHNOLOGIES CORP
ATTN OWNER                              ATTN PRESIDENT                       ATTN DIRECTOR
240 CROSS ST                            4721 ADAMS RD                        451-3, NONHYEON-DONG
BURLINGTON, NC 27217                    HIXSON, TN 37343                     NAMDONG-GU
                                                                             INCHEON 405-849 SOUTH KOREA



ACE/AVANT CONCRETE CONSTRUCTION CO      ACEA SPA                             ACEAXIS LTD
INC                                     ATTN DIR, NETWORKS DIV               ATTN CEO
ATTN SR ESTIMATOR                       PIAZZALE OSTIENSE 2                  NO 9/10 MIDSHIRES BUSINESS PARK
109 SEMINOLE DR                         ROME 00154                           SMEATON CLOSE, AYLESBURY
ARCHDALE, NC 27263                      ITALY                                BUCKS HP19 8HL UNITED KINGDOM



ACEKORE BROADCOMM INC                   ACENTECH INC                         ACERBIS ITALIA SPA
366 BARBERRY                            33 MOULTON STREET                    ATTN SBU MGR
DOLLARD-DES-ORMEAUX, QC H9G 1V4         CAMBRIDGE, MA 02138-1118             VIA SERIO 37
CANADA                                                                       ALBINO 24021
                                                                             ITALY
ACETEC INC          Case 25-90163   Document   87 Filed in TXSB on 07/03/25[NAME
                                       ACETEC, INC.                           Page  12 of 944
                                                                                 REDACTED]
ATTN PRESIDENT                         6540 LUSK BLVD., SUITE 146             [ADDRESS REDACTED]
6450 LUSK BLVD, STE 146                SAN DIEGO, FL 92121
SAN DIEGO, CA 92121




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        ACHIEVEGLOBAL INC                      ACHROLUX INC
[ADDRESS REDACTED]                     ATTN CONTRACT MGMT                     ATTN CHIEF EXECUTIVE OFFICER
                                       8875 HIDDEN RIVER PKWY, STE 400        1135 E ARQUES AVE
                                       TAMPA, FL 33637                        SUNNYVALE, CA 94085




[NAME REDACTED]                        ACI TECHNOLOGIES INC                   ACL MAINTENANCE GROUP, INC
[ADDRESS REDACTED]                     ATTN PRESIDENT                         113 MAMIE LN
                                       1 INTERNATIONAL PL, STE 600            REIDSVILLE, NC 27320-7676
                                       PHILADELPHIA, PA 19113




ACME CRYOGENICS INC                    ACME PLUMBING & HEATING CO OF DURHAM   ACME TECHOLDINGS LTD
ATTN CFO                               INC                                    ATTN R&D MANAGER
2801 MITCHELL AVE                      DBA ACME PLUMBING CO                   NO 898 GAOMING AVE EAST
ALLENTOWN, PA 18103                    ATTN VP                                GUANGDONG PROVINCE
                                       636 FOSTER ST                          GOAMING DIST, FOSHAN 528511 CHINA
                                       DURHAM, NC 27701


ACME-MACHELL CO INC                    ACOL TECHNOLOGIES                      ACOLYTE INDUSTRIES INC
ATTN PRESIDENT                         5, RUE DES SABILERES                   ATTN CHIEF EXECUTIVE OFFICER
2000 AIRPORT RD                        MEYRIN-SATIGNY 1217                    19 W 36TH ST, 6TH FL
WAUKESHA, WI 53187                     SWITZERLAND                            NEW YORK, NY 10018




ACOPIAN TECHNICAL COMPANY              ACORN INDUSTRIAL LLC                   [NAME REDACTED]
P.O. BOX 638                           ATTN PRESIDENT                         [ADDRESS REDACTED]
EASTON, PA 18044-0638                  7311 ACC BLVD
                                       RALEIGH, NC 27617




[NAME REDACTED]                        [NAME REDACTED]                        ACOUSTI ENGINEERING CO OF FLORIDA
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     ATTN PROJ MANAGER
                                                                              1113 TRANSPORT DR
                                                                              RALEIGH, NC 27603




ACOUSTICS INC                          [NAME REDACTED]                        ACR SUPPLY CO INC
ATTN W SCOTT COOPER, REGISTERED        [ADDRESS REDACTED]                     2719 HILLSBOROUGH ROAD
AGENT                                                                         DURHAM, NC 27705-4043
227 WE TRADE ST, STE 1200
CHARLOTTE, NC 28202



ACRA ENT INC                           [NAME REDACTED]                        ACREO AB
ATTN PRESIDENT                         [ADDRESS REDACTED]                     ATTN INM LABS MGR
5740 THORNWOOD DR                                                             ELECTRUM 236
GOLETA, CA 93117                                                              KISTA SE-164 40
                                                                              SWEDEN
                  Case
ACRO METAL STAMPING CO 25-90163      Document   87 Filed
                                        ACS INDUSTRIAL     in TXSB
                                                       SERVICES INC on 07/03/25ACTPage   13 of 944
                                                                                   ONE INC
ATTN SALES MGR                           ATTN EVP                              ATTN CEO
2200 W CORNELL ST                        9 SCHILLING RD, STE 210               2690 BEACHWOOD DR, LWR FL
MILWAUKEE, WI 53209                      HUNT VALLEY, MD 21031                 HOLLYWOOD, CA 90068




ACT USA INTERNATIONAL LLC                ACTION LAW OFFICES SC                 ACTION LAW OFFICES SC
ATTN PRESIDENT                           ATTN BETTY WHEELER                    ATTN BETTY WHEELER
1672 W HIBISCUS BLVD                     2610 MT PLEASANT ST                   9800 FREDRICKSBURG RD
MELBOURNE, FL 32901                      RACINE, WI 53404                      SAN ANTONIO, TX 78288




ACTION SUPER ABRASIVE PRODUCTS INC       ACTIVCIRK CORP                        ACTIVE CANDIDATE MANAGEMENT SERVS
ATTN PRESIDENT                           ATTN PRESIDENT                        LLC
945 GREENBIER PKWY                       3999 BARCELONA PL                     DBA SAILS UP RECRUTING
BRIMFIELD, OH 44240                      NEWBURY PARK, CA 91320                ATTN CEO
                                                                               2612 WENDLER CT
                                                                               WAKE FOREST, NC 27587


ACTIVE POWER INC                         ACTIVE SALES ASSOCIATES INC           ACTON RESEARCH CORP
ATTN CFO                                 ATTN SALES MGR                        530 MAIN ST
2128 W BRAKER LN, BK12                   7411 114TH AVE NORTH, STE 313         ACTON, MA 01720-3301
AUSTIN, TX 78758                         LARGO, FL 33773




ACTON RESEARCH CORP                      ACTOX CORP                            ACTSYSTEMS CORP
ATTN PRESIDENT                           2951 NORMAN STRASSE RD, STE 210       ATTN GM-ENGINEERING DIV
525 MAIN ST                              SAN MARCOS, CA 92069                  1-1-9, KIKYO
ACTON, MA 01720                                                                HAKODATE, HOKKAIDO
                                                                               JAPAN



ACUCAL INC                               ACU-CAST TECHNOLOGIES LLC             ACUITY BRANDS LIGHTING INC
ATTN NATL SALES MGR                      ATTN GEN MGR                          1170 PEACHTREE ST NE, STE 1200
1910 WEEKSVILLE RD                       3535 WAYNESBORO HWY                   ATLANTA, GA 30309-7673
ELIZABETH CITY, NC 27909                 LAWRENCEBURG, TN 38464




ACUITY BRANDS LIGHTING INC               ACULIGHT CORP                         ACUMEN SOLUTIONS INC
ATTN SVP, ENGINEERING                    ATTN CHARLES MIYAKE                   ATTN MANAGING DIR SE
ONE LITHONIA WAY                         11805 N CREEK PKWY S, STE 113         8280 GREENSBORO DR, STE 400
CONYERS, GA 30012                        BOTHELL, WA 98011                     MCLEAN, VA 22102




ACUREN INSPECTION INC                    ACW TECHNOLOGY INC                    AD SALES INC
3201 WELLINGTON COURT SUITE 111          ATTN JEFF BENES                       ATTN PRESIDENT
RALEIGH, NC 27615-5494                   2500 S TRICENTER BLVD                 1057 EAST ST
                                         DURHAM, NC 27713                      TEWKSBURY, MA 01876




ADA TECHNOLOGIES INC                     ADAIR FLOORS N MOR INC                [NAME REDACTED]
ATTN PRESIDENT                           ATTN SEC/TREAS                        [ADDRESS REDACTED]
8100 SHAFFER PKWY, STE 130               7441 S. 27TH ST, 100
LITTLETON, CO 80127                      FRANKLIN, WI 53132




[NAME REDACTED]                          ADAM FRIEDMAN & ASSOCIATES LLC        [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN PRINCIPAL                        [ADDRESS REDACTED]
                                         11 E 44TH ST, 5TH FL
                                         NEW YORK, NY 10017
[NAME REDACTED] Case 25-90163       Document  87 RUBBER
                                       ADAMS FOAM Filed in
                                                         COTXSB on 07/03/25ADAMS
                                                                             Page   14 of 944
                                                                                 LABORATORY CORPORATION
[ADDRESS REDACTED]                     ATTN PRESIDENT                       ATTN PRES
                                       4737 S CHRISTIANA                    620 N SERVICE RD E
                                       CHICAGO, IL 60632                    WINDSOR, ON N8X 3J3
                                                                            CANADA



ADAMS MAGNETIC PRODUCTS                [NAME REDACTED]                      [NAME REDACTED]
ATTN SR PROD MGR                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
807 MANTOLOKING RD
BRICK, NJ 08723




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




ADAMS-MAXWELL                          [NAME REDACTED]                      ADAPTEC SOLUTIONS LLC
ATTN VP SALES                          [ADDRESS REDACTED]                   140 COMMERCE DRIVE
4225 SPENCER ST                                                             ROCHESTER, NY 14623-1049
TORRANCE, CA 90503




ADAPTEK SYSTEMS INC                    ADAPTIVE EQUIPMENT INC               ADAPTIVE GROUP LLC
ATTN SYSTEMS DEVELOMPENT ENGINEER      ATTN PRESIDENT                       ATTN CHIEF EXECUTIVE OFFICER
14224 PLANK ST                         2512 NE 1ST BLVD                     17785 SKY PARK CIRCLE, STE E
FORT WAYNE, IN 46818                   GAINESVILLE, FL 32609                IRVINE, CA 92614




ADAPTIVE HVM LTD                       ADAPTIVE INTEGRATED RADIO LLC        ADAPTIVE MICRO SYSTEMS
ATTN CHIEF EXECUTIVE OFFICER           ATTN PRINCIPAL DESIGN ENG            7840 NORTH 86TH ST
20 STEPHEN ST LOWER                    P.O. BOX 1824                        MILWAUKEE, WI 53224
DUBLIN 2 D02 DT04                      NEVADA CITY, CA 95959
IRELAND
                   Case 25-90163
ADAPTIVE PLANNING INC               Document   87 Filed (SUZHOU)
                                       ADATA TECHNOLOGY  in TXSBCOon
                                                                   LTD07/03/25[NAME
                                                                                 Page  15 of 944
                                                                                    REDACTED]
ATTN VP OF SALES                        NO.28, XINFA RD                       [ADDRESS REDACTED]
2041 LANDINGS DR, BLDG N                SUZHOU INDUSTRIAL PARK
MOUNTAIN VIEW, CA 94043                 SUZHOU 215123
                                        CHINA



ADCOMM INC                              [NAME REDACTED]                       ADDISON ENGINEERING INC
ATTN PRESIDENT                          [ADDRESS REDACTED]                    ATTN ACCT MGR
89 LEUNING ST                                                                 150 NORTECH PKWY
SOUTH HACKENSACK, NJ 07606                                                    SAN JOSE, CA 95134




ADDISON WHITNEY LLC                     ADDITIVE MANUFACTURING LLC            ADD-VANTAGE CASTERS & MATERIAL
11006 RUSHMORE DR, STE 350              ATTN TECHNICAL LEAD                   HANDLING INC
CHARLOTTE, NC 28277                     31877 DEL OBISPO ST, 213              ATTN GM/PARTNER
                                        SAN JUAN CAPISTRANO, CA 92675         64A NANCE LN
                                                                              NASHVILLE, TN 37210



ADDVOLT SA                              A-DEC INC                             ADEKA CORPORATION
ATTN ELECTRICAL ENG                     ATTN SR BUYER                         ATTN DIR
UPTEC - RUA ALFREDO ALLEN 455/461       2601 CRESTVIEW DR                     7-2-35 HIGASHI-OGU
PORTO 4200-135                          NEWBERG, OR 97132                     ARAKAWA-KU
PORTUGAL                                                                      TOKYO 116-8554 JAPAN



ADELHELM LUBRICOAT NORTH AMERICA LLC    ADELMAN, MICHAEL                      ADELS-CONTACT ELEKTROTECHNISCHE
ATTN VP                                 C/O COLLEGE HIT                       FABRIK GMBH & CO KG
621 BAXTER DR                           GOLOMB ST 52                          ATTN MANAGING DIR
MUKWANAGO, WI 53149                     HOLON 5810201                         BUCHHOLZTR 40-46
                                        ISRAEL                                BERGISCH GLADBACH 51469 GERMANY



ADENEO                                  [NAME REDACTED]                       ADESTO TECHNOLOGIES CORP
ATTN MANAGING DIRECTOR                  [ADDRESS REDACTED]                    ATTN VP MKTG & BUS DEV
4 CHEMIN DU RUISSEAU                                                          1250 BORREGAS AVE
ECULLY 69130                                                                  SUNNYVALE, CA 94089
FRANCE



ADETEL EQUIPMENT                        [NAME REDACTED]                       [NAME REDACTED]
ATTN MANAGING DIRECTOR                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]
2 CHEMIN DU RUISSEAU
ECULLY 69130
FRANCE



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
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                                   [NAME REDACTED]                        Page  16 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     ADIRONDACK ENVIRONMENTAL SERVICES
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  314 N PEARL STREET
                                                                       ALBANY, NY 12207-1322




[NAME REDACTED]                    [NAME REDACTED]                     ADIVA CORP
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  ATTN PRESIDENT
                                                                       446 SPRINGVALE RD
                                                                       GREAT FALLS, VA 22066




[NAME REDACTED]                    [NAME REDACTED]                     ADM ELECTRONICS LTD
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  ATTN CEO
                                                                       1 HANOFAR ST
                                                                       RAANANA 43662
                                                                       ISRAEL



ADMET INC                          ADMINISTRATION DES CONTRIBUTIONS    ADMIRAL INSURANCE COMPANY
ATTN PRESIDENT                     DI SERVICE DE RECETTE-BUREAU        232 STRAWBRIDGE DR, STE 300
51 MORGAN DR                       162330 18 RUE DU FORT WEDELL        MOORESTOWN, NJ 08057
NORWOOD, MA 02062                  LUXEMBOURG 2718
                                   LUXEMBOURG



ADNEST INC                         ADO OPTRONICS CORPORATION           ADO PROFESSIONAL SOLUTIONS, INC.
ATTN MANAGING DIR                  ATTN DAVID LIAO                     LHH RECRUITMENT SOLUTIONS
280 TRUMBALL ST                    NO.858 GUANGFU RD                   4800 DEERWOOD CAMPUS PARKWAY
HARTFORD, CT 06103                 BADE CITY, TAOYUAN 334              JACKSONVILLE, FL 32246
                                   TAIWAN



ADOBE SYSTEMS INC                  ADP, INC.                           ADRON TOOL CORP
ATTN CONTRACT NOTIFICATIONS        P.O. BOX 7247-0372                  ATTN VICE PRESIDENT, SALES
345 PARK AVE                       PHILADELPHIA, PA 19170-0372         N85 W13730 LEON RD
SAN JOSE, CA 95110-2704                                                MENOMONEE FALLS, WI 53051




ADS-TEC ENERGY GMBH                ADT CO LTD                          ADT COMMERCIAL LLC
ATTN THOMAS SPEIDEL                1155 BUS CENTER DR                  DBA EVERON
HEINRICH-HERTZ-STRASSE 1           HORSHAM, PA 19044                   1501 YAMATO RD
NURTINGEN 72622                                                        BOCA RATON, FL 33431
GERMANY



AD-TECH INTERNATIONAL INC          ADTI MEDIA LLC                      ADTRANZ SWITZERLAND
ATTN VP                            ATTN PRESIDENT                      C/O ALSTOM
2765-A BANKERS INDUSTRIAL DR       42230 ZEVO DR                       48 RUE ALBERT DHALENNE
ATLANTA, GA 30360                  TEMECULA, CA 92590                  SAINT OUEN, ILE-DE-FRANCE 93400
                                                                       FRANCE



[NAME REDACTED]                    ADURA TECHNOLOGIES INC              ADV MATERIALS TECH & ENGINEERING INC
[ADDRESS REDACTED]                 22 4TH ST, FL 10                    NO 109, GAO YUN RD
                                   SAN FRANCISCO, CA 94103             WUXI, BINGHU 2141OO
                                                                       CHINA
ADVACO            Case 25-90163       Document
                                         ADVANCE87   Filed
                                                 CLEAN     in TXSB
                                                       PRODUCTION   on 07/03/25ADVANCE
                                                                  GMBH           Page CONCRETE
                                                                                       17 of 944LLC
1215 BUSINESS PARKWAY NORTH              ATTN CHIEF EXECUTIVE OFFICER          ATTN MANAGER
WESTMINSTER, MD 21157-3020               BERBLINGERSTR 8                       P.O. BOX 74
                                         DITZINGEN 71254                       GREENVILLE, NC 27835-0074
                                         GERMANY



ADVANCE CONRETE LLC                      ADVANCE DIAMOND TECHNOLOGIES INC      ADVANCE DIE CAST LLC
ATTN MANAGER                             ATTN VP GM & BUS DEV                  ATTN OWNER
1201 INDUSTRIAL RD                       48 E BELMONT DR                       3760 N HOLTON ST
GREENVILLE, NC 27834                     ROMEOVILLE, IL 60446                  MILWAUKEE, WI 53212




ADVANCE DISPLAY TECHNOLOGIES INC         ADVANCE ELECTRONIC CONCEPTS           ADVANCE POWER COMPONENTS PLC
ATTN PRES & CEO                          ATTN PRESIDENT                        ATTN GENERAL MGR
7334 S ALTON WAY, STE F                  26 EVERGREEN DR, STE A                NOVALIS PL, DEEPDALE ENTERPRISE PARK
CENTENNIAL, CO 80112                     PORTLAND, ME 04103                    DEEPDALE LN, NETTLEHAM
                                                                               LINCOLN LN2 2LL UNITED KINGDOM



ADVANCE PRECISION AUTOMATION             ADVANCED ABRASIVES CORPORATION        ADVANCED ASSEMBLY AND AUTOMATION
INDUSTRY SDN BHD                         ATTN PRES                             6717 ALCOA ROAD
NO. 13A, JALAN PUSAT PERNIAGAAN FAL      7980 NATIONAL HWY                     BENTON, AR 72015-9702
IPOH PER 30200                           PENNSAUKEN, NJ 08110
MALAYSIA



ADVANCED AUTOMATION INC                  ADVANCED BUSINESS EVENTS              ADVANCED CERAMICS CORPORATION
339 SW 6TH ST                            35-37 RUE DES ABONDANCES              ATTN VP SALES & MARKETING
DES MOINES, IA 50309                     BOULOGNE BILLANCOURT CEDE 92513       11907 MADISON AVE
                                         FRANCE                                LAKEWOOD, OH 44107-5026




ADVANCED CHEMICAL CO                     ADVANCED CIRCUITS INC                 ADVANCED COMPLIANCE SOLUTIONS INC
ATTN CFO                                 21101 EAST 32ND PARKWAY               ATTN CHIEF EXECUTIVE OFFICER
131 BELLOWS ST                           AURORA, CO 80011-8149                 2320 PRESIDENTIAL DR, STE 101
WARWICK, RI 02888                                                              DURHAM, NC 27703




ADVANCED COMPONENT TAPING INC.           ADVANCED COMPONENTS & SYSTEMS INC     ADVANCED COMPONENTS & SYSTEMS
42136 SARAH WAY                          ATTN PRESIDENTE                       ATTN OWNER
TEMECULA, CA 92590-3401                  202 DURINGTON PL                      3301 WOMENS CLUB DR, STE 130
                                         CARY, NC 27511                        RALEIGH, NC 27612




ADVANCED CONTROL COMPONENTS              ADVANCED CONTROL SOLUTIONS INC        ADVANCED COOLING TECHNOLOGIES INC
ATTN CEO                                 ATTN CFO                              ATTN SALES MGR
611 INDUSTRIAL WAY W                     1335 CAPITAL CIR, STE L               1046 NEW HOLLAND AVE
EATONTOWN, NJ 07724                      MARIETTA, GA 30067                    LANCASTER, PA 17601




ADVANCED DATA TECHNOLOGY (SUZHOU)        ADVANCED DESIGN CONSULTANTS           ADVANCED DICING TECHNOLOGIES, INC
CO LTD                                   ATTN PRES                             1155 BUSINESS CENTER DRIVE
ATTN ANDY CHIANG                         998 PARK AVE                          HORSHAM, PA 19044-3422
NO 28, XINFA RD                          SAN JOSE, CA 95125
SUZHOU INDUSTRIAL PARK
SUZHOU 215123 CHINA


ADVANCED DIGITAL OPTICS INC              ADVANCED DISTRIBUTION SOLUTIONS INC   ADVANCED DOOR AUTOMATION LLC
ATTN PRESIDENT                           ATTN NATIONAL SALES MGR               ATTN MEMBER
822 HAMPSHIRE RD, UNIT 3                 955 N PLUM GROVE RD, STE E            4122 BENNETT MEMORIAL RD, STE 305B
WESTLAKE VILLAGE, CA 91361               SCHAUMBERG, IL 60173                  DURHAM, NC 27705
                 Case 25-90163
ADVANCED DOOR AUTOMATION LLC           Document  87ENERGY
                                          ADVANCED   FiledINDUSTRIES
                                                            in TXSB on 07/03/25ADVANCED
                                                                                 Page 18  of 944
                                                                                        ENERGY TECHNOLOGY INC
P.O. BOX 61678                            1625 SHARP POINT DRIVE                ATTN PRES
DURHAM, NC 27715                          FORT COLLINS, CO 80525-4423           11709 MADISON AVE
                                                                                LAKEWOOD, OH 44107




ADVANCED ENGINEERING & SCIENCES           ADVANCED EQUIPMENT CO                 ADVANCED EXTRUSIONS INC
ATTN SR CONTRACTS ADMIN                   ATTN OPERATIONS MGR                   ATTN PRESIDENT
141 NATIONAL BUSINESS PKWY, STE 200       118 CLANTON RD                        9654 S FRANKLIN DR
ANNAPOLIS JUNCTION, MD 20701              CHARLOTTE, NC 28217                   FRANKLIN, WI 53132




ADVANCED FLUID SYSTEMS                    ADVANCED FORMING TECHNOLOGY           ADVANCED FURNACE SYSTEMS CORP
ATTN PRESIDENT                            7040 WELD COUNTY RD 20                ATTN GENERAL MANAGER
UNIT 3, THE IO CENTRE, ROYAL ARSENAL      LONGMONT, CO 80504                    3F-2, NO 19, NANKE 3RD RD
ESTATE                                                                          SINSHIH TOWNSHIP
SKEFFINGTON ST, WOOLWICH                                                        TAINAN COUNTY 744 TAIWAN
LONDON SE18 6SR UNITED KINGDOM


ADVANCED GLASS INDUSTRIES INC             ADVANCED GLOBAL ALLIANCE PTE LTD      ADVANCED GOOD RESOURCE INC
1335 EMERSON ST                           60 KAKI BUKIT PLACE 08-15 EUNOS TE    301 BRUSHY CREEK RD
ROCHESTER, NY 14606                       SINGAPORE 415979                      CEDAR PARK, TX 78613-3151
                                          SINGAPORE




ADVANCED HEAT TREAT CORP                  ADVANCED ILLUMINATION INC             ADVANCED LAMP COATINGS CORP
ATTN PRESIDENT                            ATTN ELECTRICAL ENG                   ATTN VP SALES & MKTG
2825 MIDPORT BLVD                         440 STATE GARAGE RD                   65 AIR PARK DR
WATERLOO, IA 50703                        ROCHESTER, VT 05767                   RONKONKOMA, NY 11779




ADVANCED LAPPING TECHNOLOGY               ADVANCED LIGHTING SERVICES INC        ADVANCED LIGHTING TECH ASIA PTE LTD
ATTN PRESIDENT                            ATTN PRESIDENT                        ATTN GENERAL MANAGER
19 E HAYES RD                             25 CONCOURSE WAY                      BLOCK 4008 ANG MO KIO AVE
EAST HAMPTON, CT 06424                    GREER, SC 29650                       10 04-06 TECHPLACE I
                                                                                SINGAPORE 569628 SINGAPORE



ADVANCED LIGHTING TECHNOLOGIES INC        ADVANCED LIGHTING TECHNOLOGIES NZ     ADVANCED LIGHTING TECHNOLOGY
ATTN CHIEF EXECUTIVE OFFICER              LTD                                   AUSTRALIA INC
32000 AURORA RD                           ATTN FINANCIAL ADMIN                  ATTN CHIEF EXECUTIVE OFFICER
SOLON, OH 44139                           8 BOEING PLACE                        110 LEWIS RD
                                          MOUNT MAUNGANUI                       WANTIRNA SOUTH, VIC 3152
                                          NEW ZEALAND                           AUSTRALIA


ADVANCED MACHINING INC                    ADVANCED MATERIALS- CVD INC           ADVANCED MEASUREMENT MACHINES
ATTN VP OPERATIONS                        DIV OF ROHM & HAAS COMPANY            ATTN OFFICE MGR
802 CORPORATE CIR                         ATTN BUSINESS MGR                     8960 GLENOAKS BLVD
SALISBURY, NC 28147                       185 NEW BOSTON ST                     SUN VALLEY, CA 91352-2059
                                          WOBURN, MA 01801



ADVANCED MECHATRONICS SOLUTIONS INC       ADVANCED MICRO DEVICES INC            ADVANCED MICRO SYSTEMS INC
ATTN CHIEF EXECUTIVE OFFICER              ONE AMD PL                            DBA AMS CAD CAFM SOLUTIONS
10030 VIA DE LA AMISTAD                   P.O. BOX 3453                         ATTN DIR OF MFG SALES
SAN DIEGO, CA 92154                       SUNNYVALE, CA 94088-3453              271 RTE 46 W, BLDG A-105
                                                                                FAIRFIELD, NJ 07004



ADVANCED MP TECHNOLOGY INC                ADVANCED NANO PRODUCTS CO LTD         ADVANCED OPTOELECTRONIC TECH INC
ATTN SALES MANAGER                        ATTN CEO                              ATTN GEN MGR
1010 CALLE SOMBRA                         244, BUYONG INDUSTRIAL COMPLEX        NO 13, GONGYE 5TH RD
SAN CLEMENTE, CA 92673                    BUYONG-MYEON, KUMHO-RI                HSINCHU IND PARK, HUKOU TOWNSHIP
                                          CHUNGWON, CHUNGBUK 363942 SOUTH       HSINCHU-HSIEN TAIWAN
                                          KOREA
                 Case
ADVANCED PACKAGING     25-90163
                   CENTER BV       Document  87PERFORMANCE
                                      ADVANCED    Filed in TXSB  on 07/03/25ADVANCED
                                                            TECHNOLOGY        Page 19   of 944 INC
                                                                                     PLASTIFORM
DBA BOSCHMAN ADVANCED PACKAGING       6990 SPUMANTE WAY                     ATTN PRESIDENT
TECH                                  GILROY, CA 95020-2755                 2806 GRESHAM LAKE RD
                                                                            RALEIGH, NC 27615




ADVANCED PNEUMATICS INC               ADVANCED POWER COMPONENTS PLC         ADVANCED POWER COMPONENTS PLC
ATTN ACCOUNT MGR                      ATTN CEO NOVACOM                      ATTN GENERAL MGR
9708 ASHLEY DAWN CT                   47 RIVERSIDE, MEDWAY CITY ESTATE      NOVALIS PLACE DEEPDALE ENTERPRISE
FREDERICKSBURG, VA 22408              ROCHESTER, KENT ME2 4DF               PARK
                                      UNITED KINGDOM                        DEEPDALE LANE, NETTLEHAM
                                                                            LINCOLN LN2 211 UNITED KINGDOM


ADVANCED POWER TECH INC               ADVANCED RESEARCH PROJECTS AGENCY -   ADVANCED SEMICONDUCTOR BUSINESS INC
ATTN PRES & CEO                       ENERGY                                ATTN DIRECTOR
296 SW COLUMBIA ST, STE C             US DEPT OF ENERGY                     831 TAMNIP-DONG, YUSEONG-GU
BEND, OR 97702                        1000 INDEPENDENCE AVE, SW             DAEJEON 305-510
                                      WASHINGTON, DC 20585                  SOUTH KOREA



ADVANCED SEMICONDUCTOR CLEANING       ADVANCED SEMICONDUCTOR ENGINEERING    ADVANCED SEMICONDUCTOR ENGINEERING
TECHNOLOGY                            INC                                   INC
ATTN PRES                             ATTN LEGAL DEPT                       ATTN SR SALES DIR
30 OZICK DR                           7955 J RIVER PKWY, STE 212            26 CHIN THIRD RD
DURHAM, CT 06422                      TEMPE, AZ 85284                       NANTZE EXPORT PROCESSING ZONE
                                                                            KAOHSIUNG TAIWAN


ADVANCED SEMICONDUCTOR PROCESS        ADVANCED SENSOR TECHNOLOGIES          ADVANCED SILICON MATERIALS LLC
INTEGRATION CO LTD                    & INSTRUMENTATIONS INC                3322 RD N NE
INSTOPIA B/D, 5F, RM 509              603 NORTH POPLAR STREET               MOSES LAKE, WA 98837
467-23, DOGOK-DONG, KANGNAM-KU        ORANGE, CA 92868-1011
SEOUL
SOUTH KOREA


ADVANCED SOLAR LIGHTING               ADVANCED SUPERABRASIVES INC           ADVANCED SURFACE MICROSCOPY INC
TECHNOLOGIES INC                      ATTN PRESIDENT                        ATTN PRESIDENT
ATTN CEO                              1270 N MAIN ST                        3250 N POST RD, STE 120
4829 KATI LYNN DR                     MARS HILL, NC 28754                   INDIANAPOLIS, IN 46226
APOPKA, FL 32712



ADVANCED TECH MATERIALS INC           ADVANCED TECH RES GROUP OF CMN        ADVANCED TECHNICAL CERAMICS COMPANY
ATTN DIRECTOR OPS                     INC,THE                               ATTN DIRECTOR OF SALES & MKTG
7 COMMERCE DR                         DBA COLLIERS INTERNATIONAL            511 MANUFACTURERS RD
DANBURY, CT 06810                     ATTN SR VP                            CHATTANOOGA, TN 37405
                                      601 UNION ST, STE 5300
                                      SEATTLE, WA 98101


ADVANCED TECHNICAL MARKETING INC      ADVANCED TECHNOLOGY GROUP INC         ADVANCED TECHNOLOGY INTERNATIONAL
ATTN MANAGER                          ATTN PRESIDENT                        ATTN DIR, CONTRACTS
119 CHERRY HILL RD                    500-C UWHARRIE CT                     315 SIGMA DR
PARSIPPANY, NJ 07054                  RALEIGH, NC 27606                     SUMMERVILLE, SC 29486




ADVANCED TECHNOLOGY SEARCH INC        ADVANCED TEMPERATURE TEST SYST GMBH   ADVANCED TEST EQUIPMENT CORPORATION
ATTN PRESIDENT                        ATTN MG DIRECTOR                      10401 ROSELLE STREET
414 EAGLE ROCK AVE, STE 306           FRAUNHOFERSTR 11                      SAN DIEGO, CA 92121-1523
WEST ORANGE, NJ 07052                 MARTINSRIED D-82152
                                      GERMANY



ADVANCED THERMAL DEVICES INC          ADVANCED THERMAL SOLUTIONS INC        ADVANCED VACUUM COMPANY CO INC
ATTN HENRY HU                         ATTN VICE PRESIDENT, OPS              ATTN MARKETING MGR
B2F, NO 207, SEC 3, BEIXIN RD         89-27 ACCESS RD                       1215 BUSINESS PKWY N
XINDIAN CITY                          NORWOOD, MA 02062                     WESTMINSTER, MD 21157
TAIPEI 231 TAIWAN
                Case 25-90163
ADVANCED VACUUM SYSTEMS INC        Document  87WITNESS
                                      ADVANCED    FiledSERIES
                                                        in TXSB
                                                              INC on 07/03/25ADVANSYS
                                                                               Page 20   of 944
                                                                                      ELECTRONIX
ATTN TREASURER                         ATTN SALES / ADMIN                       ATTN PRESIDENT
60 FITCHBURG RD                        910 BERN CT, STE 100                     13110 GOUIN BLVD
AYER, MA 01432                         SANTA CLARA, CA 95112                    MONTREAL, QC H8Z 1X1
                                                                                CANADA



ADVANTAGE BOARD REPS INC               ADVANTAGE BUILDING & FACILITY SERVICES   ADVANTAGE COMPONENTS INC
ATTN PRESIDENT                         LLC                                      ATTN VP OWNER
205 GREY BRIDGE ROW                    ATTN PRESIDENT                           2240 OAKLEAF ST
CARY, NC 27513                         901 S BOLMAR ST, BLDG III                JOILET, IL 60436
                                       WEST CHESTER, PA 19382



ADVANTAGE SPORT & FITNESS INC          ADVANTECH CORPORATION                    ADVANTECH INDUSTRIES INC
DBA CAROLINA SPORT & FITNESS INC       11380 REED HARTMAN HWY                   ATTN OFFICER
ATTN VP SALES & MKTG                   CINCINNATI, OH 45241-2430                3850 BUFFALO RD
2255 N TRIPHAMMER RD                                                            ROCHESTER, NY 14624
ITHACA, NY 14850



ADVANTEK AMERICAS INC.                 ADVANTEK PRODUCTS (S) PTE LTD            ADVANTEST LABORATORIES LTD
1353 INTERNATIONAL DRIVE               10 ANG MO KIO STREET 65 06-04 A/B        48-2, MATSUBARA, KAMIAYASHI
EAU CLAIRE, WI 54701-7055              SINGAPORE 569059                         AOBA-KU
                                       SINGAPORE                                SENDAI, MIYAGI 989-3124 JAPAN




ADVENT CAPITAL MANAGEMENT LLC          ADVENTA CONTROL TECHNOLOGIES INC         ADVERTAPE
888 SEVENTH AVENUE                     ATTN PRESIDENT                           1189 MONTAUK HWY
31ST FL                                3001 E PLANO PKWY, 100                   EAST PATCHOGUE, NY 11772-5451
NEW YORK, NY 10019                     PLANO, TX 75074




ADVOCATE NETWORKS LLC                  AE ADVANCED ENGINEERING LTD              AEC ILLUMINAZIONE SRL
ATTN CO-PRES                           ATTN CHIEF EXECUTIVE OFFICER             ATTN TECH OFFICER
6525 THE CORNERS PKWY, STE 310         M 47 NAHALAL                             ZONA INDUSTRIALE CASTELNUOVO 256
NORCROSS, GA 30092                     10600                                    SUBBIANO 52010
                                       ISRAEL                                   ITALY



AECI INC                               AECI TEXAS LTD                           AECOM TECHNICAL SERVICES INC
ATTN SALES DIRECTOR                    ATTN DIRECTOR OF SALES                   5438 WADE PARK BLVD. SUITE 200
3500 COMSOUTH DR, STE 200              4129 COMMERCIAL CENTER DR, STE 475       RALEIGH, NC 27607-3648
AUSTIN, TX 78744                       AUSTIN, TX 78744




AECOM TECHNICAL SVS OF NORTH           AECOM                                    AEGIS INDUSTRIAL SOFTWARE
CAROLINA INC                           8540 COLONNADE CENTER DR, STE 306        CORPORATION
ATTN SCOTT A HARTUNG                   RALEIGH, NC 27615                        ATTN CEO
1600 PERIMETER PARK DR, STE 400                                                 220 GIBRALTAR RD, 1ST FL
MORRISVILLE, NC 27560                                                           HORSHAM, PA 19044



AEGIS LONDON                           AEHR TEST SYSTEMS                        AEIS (0756)
ATTN UNDERWRITER                       400 KATO TERRACE                         ATT GREG WRAALSTAD/PROXY MGR
25 FENCHURCH AVE                       FREMONT, CA 94539-8332                   901 3RD AVE SOUTH
LONDON EC3M 5AD                                                                 MINNEAPOLIS, MN 55474
UNITED KINGDOM



AEM ELECTRONICS (USA) INC              AEMULUS CORPORATION SDN BHD              AEON LIGHTING TECHNOLOGY INC
DBA AEM COMPONENTS                     NO.25, JALAN SULTAN AZLAN SHAH,          ATTN CEO
ATTN SVP                               BAYAN LEPAS 11900                        16F-8, NO 2, JIAN 8TH RD
6670 COBRA WAY                         MALAYSIA                                 CHUNG-HO, TAIPEI 235
SAN DIEGO, CA 92121                                                             TAIWAN
                  Case 25-90163
AERO COMPRESSED GASSES INC        Document  87 Filed
                                     AEROANTENNA      in TXSB
                                                 TECHNOLOGY INC on 07/03/25AEROFLEX
                                                                             Page 21   of 944INC
                                                                                    PLAINVIEW
ATTN MANAGER                          20732 LASSEN ST                       ATTN CONTRACTS MGR
2100 S 56TH ST                        CHATSWORTH, CA 91311                  35 S SERVICE RD
MILWAUKEE, WI 53219                                                         PLAINVIEW, NY 11803




AEROLEDS LLC                          AERONAUTICAL DEVELOPMENT              AERONEX INC
ATTN CTO                              ESTABLISHMENT (DRDO)                  ATTN DIR OF SALES
1988 MORTIMER DR                      DRDO BHAWAN                           6975 FLANDERS DR
BOISE, ID 83712                       RAJAJI MARG                           SAN DIEGO, CA 92121
                                      NEW DELHI 110011
                                      INDIA


AERORECYCLING INTERNATIONAL           AEROSPACE CORP, THE                   AEROSPACE ENTERPRISES INC
ATTN MG DIRECTOR                      ATTN SR COUNSEL                       ATTN PRES
C MARIA DIAZ DE HARO, 11              2350 E EL SEGUNDO BLVD                180 LINUS ALLAIN AVE
PORTUGALETE, VIZCAYA 48920            EL SEGUNDO, CA 90245                  GARDNER, MA 01440
SPAIN



AEROTECH INC                          AERO-TECH LIGHT BULB CO               AEROTEK INC
ATTN VP SALES & MKTG                  ATTN PRES                             ATTN MICHAEL BRANDENBERG
101 ZETA DR                           534 PRATT AVE                         7301 PARKWAY DR
PITTSBURGH, PA 15238                  SCHAUMBURG, IL 60193                  HANOVER, MD 21076




AEROV TECHNOLOGY LIMITED              AEROVIRONMENT INC                     AEROVIRONMENT INC
RM 1105, PINGHU ST, A BLDG            ATTN DIR OF CONTRACTS                 ATTN GIL MICHAEL
WEIFENG VILLA                         181 W HUNTINGTON DR, STE 202          900 ENCHANTED WAY
LONGGANG DIST                         MONROVIA, CA 91016-3456               SIMI VALLEY, CA 93065-0906
SHENZHEN, GUANGDONG CHINA



AEROVOX CORP                          AES LIGHTING GROUP                    AESIR LOGISTICS LLC
ATTN SR VP & CTO                      ATTN PRESIDENTIDENT                   ATTN PRESIDENT
167 JOHN VERTENTE BLVD                2580 S 90TH ST                        2 S WILLOW ST
NEW BEDFORD, MA 02745                 OMAHA, NE 68124                       INDUSTRIAL PARK
                                                                            FLEETWOOD, PA 19522



AETHER ENERGY EFFICIENCY LLC          AETHER SYSTEM INC                     AETHERCOMM INC
ATTN MANAGING DIRECTOR                ATTN VP SALES                         3205 LIONSHEAD AVE
79 MADISON AVE, 2ND FL                407 10F RUEY-KWANG RD, NEI-HU         CARLSBAD, CA 92010
NEW YORK, NY 10016                    TAIPEI
                                      TAIWAN



AFC INDUSTRIES INC.                   AFFILIATED FM INSURANCE COMPANY       AFFINEX TECHNOLOGY SDN BHD
13-16 133RD PLACE                     270 CENTRAL AVE                       LOT 63 2ND FLR, PESARA KAMPUNG JAWA
COLLEGE POINT, NY 11356-2016          JOHNSTON, RI 02919-4923               TAMAN PERINDUSTRIAN
                                                                            BAYAN LEPAS
                                                                            PENANG 11900 MALAYSIA



AFFORDABLE ON SITES INC               AFP INDUSTRIES INC                    AFP TECHNOLOGIES INC
ATTN ACCOUNT MGR                      4180 PIEDMONT PARKWAY                 ATTN VP
3209 GUESS RD, STE 201                GREENSBORO, NC 27410-8154             203 NEVILLE WOOD CT
DURHAM, NC 27705                                                            AUSTIN, TX 78738




AFP TRANSFORMERS LLC                  AFP101 CORP DBA DELTA HOTELS BY MAR   AFRL ENTITIES
ATTN PRES                             UTICA                                 C/O USAF/AFMC
206 TALMADGE RD                       200 GENESEE ST.                       AFRL WRIGHT RESEARCH SITE
EDISON, NJ 08817                      UTICA, NY 13502-1731                  2130 EIGHTH ST, BLDG 45
                                                                            WRIGHT-PATTERSON AFB, OH 45433-7542
AFRL/RQQE        Case 25-90163      Document   87 Filed in TXSB on 07/03/25AFTEK
                                       [NAME REDACTED]                       PageINC 22 of 944
ATTN JOSEPH B MERRETT, PROJ ENGR       [ADDRESS REDACTED]                   740 DRIVING PARK AVE
1950 5TH ST                                                                 ROCHESTER, NY 14613-1534
WRIGHT-PATTERSON AFB, OH 45433




AFX INC                                AG ELECTRONIC MATERTIALS             AG MATERIALS INC
ATTN TIM TEVYAW, PRESIDENT             ATTN GENERAL MANAGER                 ATTN PRESIDENT
2345 N ERNIE KRUEGER CIR               4375 NW 235TH AVE                    8-2, SHIHGU, GAOPING VILLAGE
WAUKEGAN, IL 60087                     HILLSBORO, OR 97124                  LONGTAN
                                                                            TAOYUAN 325 TAIWAN



AG SEMICONDUCTOR SERVICES LLC          [NAME REDACTED]                      [NAME REDACTED]
ATTN JOSHUA BRIAN                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]
111 SUMMER ST, 4TH FL
STAMFORD, CT 06905




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        AGASTYA TECHNOLOGY & TRANSMISSION    [NAME REDACTED]
[ADDRESS REDACTED]                     PVT LTD                              [ADDRESS REDACTED]
                                       72, SREEDEVI GARDEN MAIN RD, FL 2
                                       RADHA AVE, VALASARAVAKKAM
                                       CHENNAI 600 087
                                       INDIA


AGBOSSOUMONDE, ANANI                   AGC ELECTRONICS AMERICA              AGC FLAT GLASS NORTH AMERICA INC
DBA SHINE-BRITE KITCHEN CLEANERS       4375 NW 235 AVENUE                   DBA AGC ELECTRONICS AMERICA
1025 COURT ST                          HILLSBORO, OR 97124-5852             ATTN VP / CTO
SYRACUSE, NY 13208                                                          4375 NW 235TH AVE
                                                                            HILLSBORO, OR 97124



AGC LIGHTING CO LTD                    AGENCY FOR DEFENSE DEVELOPMENT       AGES SPA
ATTN VICE PRESIDENT                    ATTN PRINCIPAL RESEARCHER            STRADA CASCINA CAUDA 5
JIANAN RD NO 3 FUYONG, BLDG A          SUNAM-DONG 111                       ASTI 14100
BAOAN DISTRICT                         YUSEONG-GU                           ITALY
SHENZHEN 518103 CHINA                  DAEJEON 305-600 SOUTH KOREA



AGF BURNER INC                         AGGREKO LLC                          AGI CORPORATION
ATTN PRESIDENT                         4607 W ADMIRAL DOYLE DR              ATTN MGR
1955 SWARTHMORE AVE, UNIT 2            P.O. BOX 10004                       177 NICK FITCHEARD RD
LAKEWOOD, NJ 08701                     NEW IBERIA, LA 70560                 HUNTSVILLE, AL 35806




AGIE LTD                               AGIE USA LTD                         AGILE MICROWAVE TECHNOLOGY INC
9009 PERIMETER WOODS DR, STE G         P.O. BOX 220                         ATN PRES & GEN MGR
CHARLOTTE, NC 28216                    DAVIDSON, NC 28036                   101 BLOOMINGDALE RD, STE 2
                                                                            HICKSVILLE, NY 11801




AGILE POWER SWITCH 3D-INTEGRATION      AGILENT EESOF EDA                    AGILENT TECHNOLOGIES INC DBA AGILENT
APSI3D                                 5301 STEVENS CREEK BLVD              TECH VAC PROD
ATTN PRESIDENT                         SANTA CLARA, CA 95051                121 HARTWELL AVENUE
67 BIS BLVD PIERRE RENAUDET                                                 LEXINGTON, MA 02421-3125
TARBES 65000
FRANCE
                  Case
AGILENT TECHNOLOGIES INC 25-90163   Document   87 Filed in TXSB on 07/03/25AGILESWITCH
                                       AGILEO AUTOMATION                     Page 23 LLC
                                                                                       of 944
ATTN GENERAL MANAGER                   ATTN MANAGING DIR                   ATTN CHIEF EXECUTIVE OFFICER
4330 W CHANDLER BLVD                   11 RUE VICTOR GRIGNARD              1650 ARCH ST, 1905
CHANDLER, AZ 85226                     POITIERS F-86000                    PHILADELPHIA, PA 19103
                                       FRANCE



AGILITY PR SOLUTIONS LLC               AGILOFT INC                         AGM CONTAINER CONTROLS INC
ATTN CHIEF EXECUTIVE OFFICER           ATTN SALES VP                       3526 EAST FORT LOWELL ROAD
55 CHALLENGER RD, STE 202              460 SEAPORT CT, STE 200             TUCSON, AZ 85716-1705
RIDGEFIELD PARK, NJ 07660              REDWOOD CITY, CA 94063




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[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                     AHMAD ABDULLAH & GOH
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  STE 701, WISMA HANGSAM
                                                                           JALAN HANG LEKIR
                                                                           KUALA LUMPUR 50000
                                                                           MALAYSIA



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[NAME REDACTED] Case 25-90163      Document   87 Filed in TXSB on 07/03/25[NAME
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[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




AI TECHNOLOGY                          AIBC INTERNATIONAL LLC               AIDIN TECHNOLOGIES PVT LTD
ATTN EXEC VP                           ATTN OWNER                           ATTN UK REVANKAR, DR
70 WASHINGTON RD                       CORNELL BUSINESS & TECHNOLOGY PARK   53/3-1, SOMASUNDRAPALYA RD
PRINCETON JUNCTION, NJ 08550           95 BROWN RD                          KUDLU GRAM GATE, HOSUR RD
                                       ITHACA, NY 14850                     BANGALORE 560008 INDIA



AIG EUROPE S.A.                        AIG EXECUTIVE LIABILITY              AIG MALAYSIA INSURANCE BERHAD
35D AVE JOHN F KENNEDY                 1271 AVE OF THE AMERICAS             LEVEL 18, MENARA WORLDWIDE
LUXEMBOURG L-1855                      NEW YORK, NY 10020                   198, JALAN BINTANG
LUXEMBOURG                                                                  KUALA LUMPUR 55100
                                                                            MALAYSIA



AIG UK LIMITED                         AIG WARRANTYGUARD INC                AIG
THE AIF BLDG                           ATTN PRESIDENT                       175 WATER ST, 7TH FL
58 FENCHURCH ST                        175 WATER ST                         NEW YORK, NY 10338
EC3M 4AB                               NEW YORK, NY 10038
LONDON



AIM DISTRIBUTION SERVICES LLC          AIMTEC                               AIN CO LTD
ATTN CHRIS WINKLER                     ATTN LOUISE COTE, MANAGING MNGR      ATTN PRESIDENT
7774 S 10TH ST                         205 JOSEPH CARRIER                   374-2 TOYOHIRA
OAK CREEK, WI 53154                    VAUDREUIL-DORION, QC J7V 5V5         CHINO NAGANO
                                       CANADA                               JAPAN



AIN PLASTICS                           AINO DESIGN LTD                      [NAME REDACTED]
C/O THYSSENKRUPP ENGINEERED PLASTICS   ATTN DIRECTOR                        [ADDRESS REDACTED]
22355 W ELEVEN MILE RD                 RM 703, 7/F, KOWLOON BLDG
SOUTHFIELD, MI 48033                   555 NATHAN RD
                                       KOWLOON HONG KONG



AIR BEARING REPAIR SERVICE             AIR CANADA                           AIR COMPRESSOR EQUIPMENT INC
ATTN PRESIDENT                         C/O UNITED AIRLINES                  ATTN GENERAL MANAGER
17815 DAVENPORT RD, STE 410            ATTN VP SALES, THE AMERICAS          6701-B WARD BLVD
DALLAS, TX 75252                       233 S WACKER DR, 16TH FL-HQSVS       WILSON, NC 27895
                                       CHICAGO, IL 60606



AIR CONTROL, INC.                      AIR CRE                              AIR EXPRESS INTERNATIONAL USA INC
237 RALEIGH RD                         500 N BRAND BLVD, STE 900            DBA DHL GLOBAL FORWARDING
HENDERSON, NC 27536-4977               GLENDALE, CA 91203                   ATTN CFO, DGF AMERICAS
                                                                            1210 S PINE ISLAND RD
                                                                            PLANTATION, FL 33324
AIR FLOW EQUIPMENTCase
                    INC 25-90163       Document   87RESEARCH
                                          AIR FORCE    Filed in TXSB on 07/03/25AIRPage
                                                              LABS                 FORCE25 of 944
ATTN SALES ENGINEER                       AFRL/MLO, BLDG 651                      ATTN PROJECT ENGINEER
2676 S 26TH ST                            WRIGHT PATTERSON AFB, OH 45433-7701     2241 AVIONICS CIR
KALAMAZOO, MI 49048                                                               WRIGHTPATTERSON AFB, OH 45433




AIR LIQUIDE AMERICA SPECIALTY             AIR LIQUIDE ELECTRONICS U.S. LP         AIR LIQUIDE GUANGDONG IND GAS CO LTD
GASES LLC                                 ATTN: VP SALES & BUSINESS DEVELOPMENT   BLDG 8, NO 1515 GUMEI RD
6141 EASTON ROAD                          9101 LBJ FREEWAY, SUITE 800             SHANGHAI 200233
PLUMSTEADVILLE, PA 18949                  DALLAS, TX 75243                        CHINA




AIR LIQUIDE MALAYSIA SDN BHD              AIR MEASUREMENT, LLC                    AIR POWER INC
LVL 17, 1 POWERHOUSE                      APCC                                    ATTN MGR
PERSIARAN BANDAR UTAMA                    10 PRINTERS DRIVE, UNIT 11              6120 AIRWAYS BLVD
BANDAR UTAMA, PETALING JAYA               HERMON, ME 04401                        CHATTANOOGA, TN 37421
SELANGOR DARUL EHSAN 47800 MALAYSIA



AIR PRODUCTS & CHEMICALS INC              AIR PRODUCTS & CHEMICALS INC            AIR PRODUCTS AND CHEMICALS INC
ATTN GEN MGR                              ATTN SUPERVISOR                         ATTN JOEL TUTTLE
7201 HAMILTON BLVD                        535 W RESEARCH BLVD                     2005 RESERVOIR RD
ALLENTOWN, PA 18195-1501                  FAYETTEVILLE, AR 72701                  BALTIMORE, MD 21219




AIR PRODUCTS AND CHEMICALS INC            AIR PRODUCTS AND CHEMICALS, INC.        AIR PURIFIERS INC
ATTN: CORPORATE SECRETARYS OFFICE         LEO PHILLIPS                            ONE PINE STREET
1940 AIR PRODUCTS BOULEVARD               ELECTRONICS SOUTH MANAGER               ROCKAWAY TOWNSHIP, NJ 07866-3132
ALLENTOWN, PA 18106-5500                  16945 NORTHCHASE DR, STE 800
                                          HOUSTON, TX 77060



AIR SOLUTIONS & BALANCING LLC             AIR TECHNIQUES INC                      AIR UNIVERSITY
DBA AIRADIGM SOLUTIONS                    1295 WALT WHITMAN RD                    ATTN AMMAR SALEEM, STUDENT
615 SAINT GEORGE SQUARE CT                MELVILLE, NY 11747                      E-9
STE 300 - 3322                                                                    ISLAMABAD 46000
WINSTON-SALEM, NC 27103                                                           PAKISTAN



AIR VAC ENGINEERING CO INC                [NAME REDACTED]                         AIRBOX LLC
30 PROGRESS AVENUE                        [ADDRESS REDACTED]                      2668 PEACHTREE RD.
SEYMOUR, CT 06483-3934                                                            STATESVILLE, NC 28625-8252




AIRBUS DS GMBH                            AIRCRAFT ELEKTRO/ELEKTRONIK SYSTEM      AIRGAS NATIONAL WELDERS
ATTN HEAD OF TRANSMITTERS                 GMBH                                    4808 NELSON ROAD
WOERTHSTRASSE 85                          ATTN DEVELOPMENT ENGINEER               MORRISVILLE, NC 27560-8574
ULM D-89077                               HANNA-KUNATH-STRASSE 33
GERMANY                                   BREMEN D-28199
                                          GERMANY


AIRGAS NORTHERN CALIFORNIA & NEVADA,      AIRGAS USA LLC DBA AIRGAS INC           AIRGAS USA LLC
INC.                                      2 MAIN STREET                           3737 WORSHAM AVE
6790 FLORIN PERKINS ROAD 300              WHITESBORO, NY 13492-1014               LONG BEACH, CA 90808
SACREMENTO, CA 95828




AIRGAS USA MID SOUTH                      AIRGAS USA, LLC                         AIRGAS USA, LLC
ATTN VP, BULK GASES                       259 RADNOR CHESTER ROAD, SUITE 100      31 N. PEORIA AVENUE
31 N PEORIA                               RADNOR, PA 19087                        TULSA, OK 74120
TULSA, OK 74120
AIRGAS             Case 25-90163   Document   87 INC
                                      AIRGAS-WEST Filed in TXSB on 07/03/25[NAME
                                                                              Page  26 of 944
                                                                                 REDACTED]
P.O. BOX 676015                       ATTN PAUL LUBEROFF                       [ADDRESS REDACTED]
DALLAS, TX 75267-6015                 1910 BISHOP LN
                                      SIMI VALLEY, CA 93063




AIRPOINTS INC                         AIRSPAN COMMUNICATIONS LTD               AIRSPAN NETWORKS (ISRAEL)
DBA PERKS.COM                         CAMBRIDGE HOUSE, OXFORD RD               ATTN RF GROUP MGR
ATTN VP, CHIEF STRATEGY OFFICER       UXBRIDGE UB8 1UN                         BAREKET 2 BLDG, HANEGEV ST
200 RIVER MARKET ST, STE 500          UNITED KINGDOM                           AIRPORT CITY 70100
LITTLE ROCK, AR 72201                                                          ISRAEL



AIRSPEED LLC                          AIRTECH ENVIRONMENTAL                    AIRTEK ENVIRONMENTAL SOLUTIONS INC
ATTN VICE PRESIDENT                   ATTN MANAGING DIRECTOR                   16120 CAPUTO DRIVE
900 CORPORATE DR, STE 200             P.O. BOX 12353                           STE D
HILLBOROUGH, NC 27278                 RESERCH TRIANGLE PARK, NC 27709          MORGAN HILL, CA 95037




AIRWATCH LLC                          AISLANTES Y EMPAQUES SA DE CV            AIT
ATTN FINANCE DIRECTOR                 ATTN DIV PLANTA                          13F, NO. 189, JINGMAO 2ND RD
931 MONROE DR, STE 102-303            AV ALEMANIA 1685                         TAPEI CITY 115
ATLANTA, GA 30308                     MODERNA, SJ                              TAIWAN
                                      MEXICO



AIXTRON AG                            AIXTRON INC.                             AIXTRON SE
DORNKAULSTR 2                         ATTN: DENNIS DOUGHERTY                   ATTN PRESIDENT
HERZOGENRATH 52134                    1700 WYATT DRIVE SUITE 15                DORNKAULSTR 2
GERMANY                               SANTA CLARA, CA 95054-1526               HERZOGENRATH 52134
                                                                               GERMANY



[NAME REDACTED]                       AJAX TOCCO MAGNETHERMIC CORP             AJOU UNIVERSITY
[ADDRESS REDACTED]                    1754 OVERLAND AVENUE                     ATTN PHD CANDIDATE
                                      WARREN, OH 44483                         AJOU UNIVERSITY, WONCHEON-DONG
                                                                               YEONTONG-GU
                                                                               SUWON, GYEONGGI-DO SOUTH KOREA



[NAME REDACTED]                       [NAME REDACTED]                          AKAMAI LIGHTING LLC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                       ATTN VP MKTG
                                                                               18 MORGAN, STE 100A
                                                                               IRVINE, CA 92618




AKASH SYSTEMS INC                     [NAME REDACTED]                          AKIM GUMP STRAUSS HAUER & FELD LLP
ATTN DIRECTOR                         [ADDRESS REDACTED]                       1333 NEW HAMPSHIRE NW
3421 BRODERICK ST, STE 1                                                       ROBERT S STRAUSS BLDG
SAN FRANCISCO, CA 94123                                                        WASHINGTON, DC 20036-1564




AKM CALIBRATION                       AKON INC                                 AKOUSTIS INC
146 STANCELL DR - BUILDING 8          ATTN DIR, SALES & MKTG                   ATTN PRESIDENT
CHAPEL HILL, NC 27417-9479            2135 RINGWOOD AVE                        10602-C BAILEY RD
                                      SAN JOSE, CA 95131                       CORNELIUS, NC 28031




AKOUSTIS, INC.                        AKRIBIS SYSTEMS PTE LTD                  AKROS SILICON INC
10602-C BAILEY ROAD                   ATTN STAFF CONTROL ENGINEER              6399 SAN IGNACIO AVE, STE 250
CORNELIUS, NC 28301                   5012 TECHPLACE II ANG KIO AVE 5, 01-05   SAN JOSE, CA 95119
                                      SINGAPORE
                                      SINGAPORE
                   CaseSDN
AKROS TRADING MALAYSIA      25-90163
                               BHD       Document    87 Filed
                                            AKT COMPONENTS   SDNinBHD
                                                                   TXSB on 07/03/25[NAME
                                                                                      Page  27 of 944
                                                                                         REDACTED]
ATTN MANAGING DIR                           15, LINTANG BERINGIN 6                 [ADDRESS REDACTED]
LETTER BOX 20, STE 30 4, LEVEL 30 MENARA    BATU MAUNG PIN 11960
AIA SENTRAL 30 JALAN SULTAN ISMAIL          MALAYSIA
KUALA LUMPUR 50250 MALAYSIA



AKZO CORPORATE RESEARCH AMERICA         AKZO NOBEL POLYMER CHEMICALS LLC         AKZO NOBEL POLYMER CHEMICALS LLC
C/O AKZO NOBEL INC                      300 S RIVERSIDE PLZ                      ATTN BUS MGR HP AMERICAS
535 MARRIOTT DR                         CHICAGO, IL 60606                        525 W VAN BUREN ST
STE 500                                                                          CHICAGO, IL 60607
NASHVILLE, TN 37214



AL GORROD ERGONOMICS                    AL. DEPT OF ENVIRONMENTAL                ALABAMA DEPARTMENT OF LABOR
ATTN PRES                               MANAGEMENT                               649 MONROE ST
5623 -C HORNADAY RD                     P.O. BOX 301463                          MONTGOMERY, AL 36131
P.O. BOX 18241                          MONTGOMERY, AL 36130-1463
GREENSBORO, NC 27409



ALABAMA DEPT OF CONSERVATION &          ALABAMA DEPT OF INDUSTRIAL RELATIONS     ALABAMA DEPT OF PUBLIC HEALTH
NATURAL RESOURCES                       UNEMPLOYMENT COMPENSATION                P.O. BOX 303017
64 N UNION ST                           649 MONROE ST                            MONTGOMERY, AL 36130-3017
MONTGOMERY, AL 36130                    MONTGOMERY, AL 36131




ALABAMA DEPT OF PUBLIC HEALTH           ALABAMA DEPT OF REVENUE                  ALABAMA LIGHTING ASSOCIATES INC
THE RSA TOWER                           INDIVIDUAL & CORPORATE TAX DIVISION      ATTN STEPHANIE HESTER
201 MONROE ST                           50 N RIPLEY ST                           7624 COMMERCE LN
MONTGOMERY, AL 36104                    MONTGOMERY, AL 36130                     TRUSSVILLE, AL 35173




ALABAMA OFFICE OF THE ATTORNEY          ALABAMA SECURITIES COMMISSION            ALABAMA SECURITIES COMMISSION
GENERAL                                 P.O. BOX 304700                          RSA DEXTER AVE BLDG
CONSUMER INTEREST DIVISION              MONTGOMERY, AL 36130-4700                445 DEXTER AVE
501 WASHINGTON AVE                                                               STE 1200
MONTGOMERY, AL 36104                                                             MONTGOMERY, AL 36104



ALABAMA STATE TREASURY                  [NAME REDACTED]                          ALAKAI TECHNOLOGIES
UNCLAIMED PROPERTY DIVISION             [ADDRESS REDACTED]                       ATTN COO
RSA UNION BLDG                                                                   302 BOXBORO RD, STE 1/4
100 N UNION ST STE 636                                                           STOW, MA 01755
MONTGOMERY, AL 36104



[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                         ALAMANCE COMMUNITY COLLEGE               [NAME REDACTED]
[ADDRESS REDACTED]                      P.O. BOX 8000                            [ADDRESS REDACTED]
                                        GRAHAM, NC 27253-8000




ALAN LUPTON ASSOCIATES INC              [NAME REDACTED]                          ALANOD ALUMINUM VEREDLUNG GMBH &
ATTN PRES                               [ADDRESS REDACTED]                       CO KG
343 N MAIN ST, STE 201                                                           ATTN MANAGING DIRECTOR
CANANDAIGUA, NY 14424                                                            EGERSTR 12
                                                                                 ENNEPETAL 58256
                                                                                 GERMANY
                 Case 25-90163
ALANOD GMBH & CO KG                   Document   87 Filed in TXSB on 07/03/25ALAR
                                         [NAME REDACTED]                       Page   28 of 944
                                                                                  ENGINEERING CORP
ATTN CEO                                  [ADDRESS REDACTED]                  ATTN SALES MGR
EGERSTR 12                                                                    9651 W 196TH ST
ENNEPETAL 58256                                                               MOKENA, IL 60448
GERMANY



[NAME REDACTED]                           [NAME REDACTED]                     ALASKA DEPARTMENT OF REVENUE
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  TREASURY DIV, UNCLAIMED PROP.
                                                                              PROGRAM
                                                                              333 WILLOUGHBY AVE
                                                                              11TH FL STATE OFFICE BLDG
                                                                              JUNEAU, AK 99801-1770


ALASKA DEPARTMENT OF REVENUE              ALASKA DEPT OF ENVIRONMENTAL        ALASKA DEPT OF LABOR AND
TREASURY DIV, UNCLAIMED PROP.             CONSERVATION                        WORKFORCE DEVELOPMENT
PROGRAM                                   410 WILLOUGHBY AVE STE 303          P.O. BOX 111149
P.O. BOX 110405                           JUNEAU, AK 99811-1800               JUNEAU, AK 99811
JUNEAU, AK 99811-0405



ALASKA DEPT OF REVENUE                    ALASKA DEPT OF REVENUE              ALASKA DIVISION OF BANKING & SECURITIES
550 W 7TH AVE                             P.O. BOX 110420                     550 W 7TH AVE
STE 500                                   JUNEAU, AK 99811-0420               STE 1850
ANCHORAGE, AK 99501-3555                                                      ANCHORAGE, AK 99501




ALASKA DIVISION OF BANKING & SECURITIES   ALASKA ENVIRONMENTAL PROTECTION     ALASKA NOTHERN LIGHT INC
P.O. BOX 110807                           AGENCY                              ATTN PRESIDENT
JUNEAU, AK 99811-0807                     EPA ALASKA OPERATIONS OFFICE        59 DAMONTE RANCH PKWY, B262
                                          222 W 7TH AVE 19                    RENO, NV 89521
                                          ANCHORAGE, AK 99513-7588



ALASKA OFFICE OF THE ATTORNEY             ALBANI ELECTRIC LAMPS SPA           ALBANY COUNTY SHERIFFS OFFICE
GENERAL                                   VIA FRESIA, 4                       RE: 21003266
CONSUMER PROTECTION UNIT                  CINISELLO B (MI) 20092              16 EAGLE STREET ROOM 79
1031 W 4TH AVE STE 200                    ITALY                               ALBANY, NY 12207
ANCHORAGE, AK 99501



[NAME REDACTED]                           ALBAX INC                           ALBEO TECHNOLOGIES INC
[ADDRESS REDACTED]                        ATTN PRESIDENT                      ATTN CEO
                                          500 W WRIGHTWOOD AVE                3125 STERLING CIR, STE 105
                                          ELMHURST, IL 60126                  BOULDER, CO 80301




ALBERT MANGINI- RGA                       [NAME REDACTED]                     [NAME REDACTED]
                                          [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                           ALBERTIN & CO                       [NAME REDACTED]
[ADDRESS REDACTED]                        VIA CALATAFIMI 30/32                [ADDRESS REDACTED]
                                          CONEGLIANO TV 31015
                                          ITALY




[NAME REDACTED]                           [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163        Document   87 Filed in TXSB on 07/03/25ALCAST
                                        [NAME REDACTED]                       Page SA29 of 944
                                                                                     DE CV
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   ATTN GENERAL MANAGER
                                                                             LAGUNA DE MAYRAN 125
                                                                             COL LA SALLE
                                                                             SALTILLO, COA MEXICO



ALCATEL SEL AG                          ALCATEL-LUCENT FRANCE                ALCATEL-LUCENT SHANGHAI BELL LTD
ATTN WOLFGANG TEMPL                     ATTN PURCHASING DIR                  ATTN SR HARDWARE ENGINEER
LORENZSTRASSE 10                        12 RUE DE LA BAUME                   BLDG A2, 255, GUIQIAO RD
STUTTGART 70435                         PARIS 75008                          PUDONG, SHANGHAI
GERMANY                                 FRANCE                               CHINA



ALCATEL-LUCENT USA INC                  ALCATRAZ AI INC                      [NAME REDACTED]
ATTN DIR                                ATTN CHIEF EXECUTIVE OFFICER         [ADDRESS REDACTED]
600-700 MOUNTAIN AVE                    10061 BUBB RD, STE 300
MURRAY HILL, NJ 07974                   CUPERTINO, CA 95014




ALCO CONSTRUCTION LLC                   ALCO ELECTRO SL                      [NAME REDACTED]
ATTN OWNER                              ATTN JOSE MANUEL LUIS, GENERAL DIR   [ADDRESS REDACTED]
92 BURGESS RD                           CALLE GONZALEZ DAVILA N 18 BAJO
APEX, NC 27523                          MADRID 28031
                                        SPAIN



[NAME REDACTED]                         ALD AUTOLEASING D GMBH               ALDABRA SRL
[ADDRESS REDACTED]                      NEDDERFELD 95                        ATTN ELECTRONIC DEPT MGR
                                        HAMBURG 22529                        VIA EUROPA 12
                                        GERMANY                              CONCOREZZO
                                                                             MILANO 20049 ITALY



[NAME REDACTED]                         ALDEC INC                            ALDER OPTOMECHANICAL CORP
[ADDRESS REDACTED]                      ATTN CUSTOMER CARE MGR               ATTN CHIEF EXECUTIVE OFFICER
                                        2260 CORPORATE CIR, STE 400          NO.665 PINGDONG RD
                                        HENDERSON, NV 89074                  PINGZHEN CITY
                                                                             TAOYUAN 32465 TAIWAN



ALDER OPTOMECHANICAL CORP               ALDETEC INC                          ALDI INC
ATTN LANCE CHEN                         ATTN VICE PRESIDENT                  ATTN VP OF REAL ESTATE
NO.171 TIANJIN ST                       3560 BUSINESS DR, STE 100            1200 N KIRK RD
TAOYUAN CITY                            SACRAMENTO, CA 95762                 BATAVIA, IL 60510
PINGZHEN DIST TAIWAN



[NAME REDACTED]                         ALDRIDGE TRAFFIC SYSTEMS PTY LTD     ALDRIDGE TRAFFIC SYSTEMS PTY LTD
[ADDRESS REDACTED]                      ATTN CFO                             ATTN CFO
                                        12-14 LEEDS ST                       P.O. BOX 3073
                                        RHODES, NSW 2138                     RHODES, NSW 2138
                                        AUSTRALIA                            AUSTRALIA



ALE TEKNOLOJI AS                        ALE TEKNOLOJI SISTEMLERI AS          [NAME REDACTED]
ATTN CHAIRMAN                           ATTN CHAIRMAN                        [ADDRESS REDACTED]
ALTUNAY CD. NO. 17                      ALTINAY CAD SEFER YILDIRIM IS
SEFER YILDIRIM IS MRK KAT 4             MERKEZI KAT 4, SEYRANTEPE
ISTANBUL 34418 TURKEY                   ISTANBUL TURKEY



ALECSY LABS LLC DBA JOSEPH HAGERTY      ALEDA CO LTD                         [NAME REDACTED]
3301 BURKE AVE                          ATTN GENERAL MANAGER                 [ADDRESS REDACTED]
STE 120                                 NO 21, LN 205, SEC 4
SEATTLE, WA 98103                       JHONG-SIAO E RD, DA-AN
                                        TAIPEI 106 TAIWAN
[NAME REDACTED] Case 25-90163         Document   87 Filed in TXSB on 07/03/25[NAME
                                         [NAME REDACTED]                        Page  30 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                          ALENCON SYSTEMS INC                     ALENT ALPHA METAL (SHENZHEN) CO LTD
[ADDRESS REDACTED]                       ATTN CHAIRMAN                           TANGXIA YENG VILLAGE, SONGGANG TOWN
                                         330 S WARMINSTER RD, STE 380            BOAN DIST
                                         HATBORO, PA 19040                       SHENZHEN, GUANGDONG CHINA




ALERFA SCIENCE & TECH (SHENZHEN) CO      [NAME REDACTED]                         ALESTRA S DE RL CV
LTD                                      [ADDRESS REDACTED]                      ATTN SALES DIR
                                                                                 AV LAZARO CARDENAS NO 2321 PTE PISO 10
                                                                                 COL RESIDENCIAL SAN AGUSTIN
                                                                                 SAN PEDRO GARZA GARCIA 66260 MEXICO



ALEXANDER DELIVERY SERVICE               ALEXANDER LOSTETTER AS                  ALEXANDER LOSTETTER AS
                                         EQUITYHOLDERS REP                       EQUITYHOLDERS REP
                                         2051 FREEDOM PL                         C/O SMITH HURST PLC
                                         FAYETTEVILLE, AR 72704                  ATTN JAMES SMITH
                                                                                 226 W DICKSON ST, STE 201
                                                                                 FAYETTEVILLE, AR 72701


[NAME REDACTED]                          [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      [ADDRESS REDACTED]




ALEXANDRA TRANSPORTATION                 [NAME REDACTED]                         [NAME REDACTED]
DBA CLEVELAND BATTLE                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]
2046 ENON ROAD
OXFORD, NC 27565-9082




ALEXANDRIA EXTRUSION COMPANY             ALEXANDRIA REAL ESTATE EQUITIES INC     ALEXANDRIA REAL ESTATE
ATTN VICE PRESIDENT SALES                26 N EUCLID AVE                         EQUITIES INC (AREE)
401 CO RD 22 NW                          PASADENA, CA 91101                      P.O. BOX 896541
ALEXANDRIA, MN 56308                                                             CHARLOTTE, NC 28289-6541




ALFA ELECTRONICS LTD                     [NAME REDACTED]                         [NAME REDACTED]
ATTN VICE PRESIDENT                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]
3193 LOWER UNION HILL RD
CANTON, GA 30115




[NAME REDACTED]                          ALFRED UNIVERSITY                       ALFRED WILLIAMS & CO.
[ADDRESS REDACTED]                       1 SAXON DR                              1813 CAPITOL BLVD.
                                         ALFRED, NY 14802                        RALEIGH, NC 27604-2144




ALGA MICROWAVE INC                       ALGHANIM & DEBBAS GEN TRADING CO        ALGUS PACKAGING INC
ATTN DIR ENGINEERING                     FAHED ALSALEM ST, PANASONIC TOWER, FL   ATTN VICE PRESIDENT
16715 BOUL HYMUS                         26                                      1212 E TAYLOR ST
KIRKLAND, QC H9H 5M8                     OFFICE 88, 89, P.O. BOX 5715            P.O. BOX 488
CANADA                                   SALMIYAH 220068                         DEKALB, IL 60115
                                         KUWAIT
[NAME REDACTED] Case 25-90163           Document   87 Filed in TXSB on 07/03/25[NAME
                                           [NAME REDACTED]                        Page  31 of 944
                                                                                     REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                     ALIMED INC
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  ATTN GENERAL MGR
                                                                               397 HIGH ST
                                                                               DEDHAM, MA 02026




[NAME REDACTED]                            [NAME REDACTED]                     ALKOR SEMICON TOTAL SOLUTIONS INC
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  37 HUNTERS RUN BLVD
                                                                               COHOES, NY 12047-1441




ALL AMERICAN PRECISION TOOL & MOLD CO      ALL CAROLINA CRANE                  ALL COMMERCIAL PHOTOGRAPHY LLC
INC                                        6108 TRIANGLE DR                    ATTN PRINCIPLE/OWNER
ATTN PRESIDENT                             RALEIGH, OH 44131                   14254 HAMPSHIRE BAY CIR
583 WEST AVE                                                                   WINTER GARDEN, FL 34787
ROCHESTER, NY 14611



ALL ENERGY SOLAR INC                       ALL NIPON AIRWAYS CO LTD            ALL SCIENTIFIC LLC
ATTN DIR, BUS DEV                          C/O UNITED AIRLINES                 ATTN MANAGING PARTNER
1642 CAROLL AVE                            ATTN VP SALES, THE AMERICAS         847B QUINCE ORCHARD BLVD
ST PAUL, MN 55104                          233 S WACKER DR, 16TH FL-HQSVS      GAITHERSBURG, MD 20878
                                           CHICAGO, IL 60606



ALL SEASONS TEXTILE SERVICE INC            ALL TOOL SALES INC                  [NAME REDACTED]
9 TAYLOR AVE                               ATTN DBA ALL FASTENERS              [ADDRESS REDACTED]
CLINTON, NY 13323-1405                     ATTN VP
                                           8625 INDUSTRIAL DR
                                           FRANKSVILLE, WI 53126



ALLANA BUICK & BERS                        ALLANSON INTERNATIONAL INC          ALLCAST LLC
ATTN VP ENERGY & SOLAR                     ATTN VICE PRESIDENT                 ATTN QUALITY MGR
990 COMMERCIAL ST                          33 CRANFIELD RD                     217 WEIS ST
PALO ALTO, CA 94303                        TORONTO, ON M4B 3H2                 ALLENTON, WI 53002
                                           CANADA



ALLCLEAR ID INC                            [NAME REDACTED]                     ALLEGIANCE INDUSTRIES INC
ATTN VP CUSTOMER SERVICE                   [ADDRESS REDACTED]                  105 SUNBELT BLVD
823 CONGRESS AVE, STE 300                                                      COLUMBIA, SC 29203-2617
AUSTIN, TX 78701




ALLEGIS GROUP INC                          ALLEGRO MICROSYSTEMS INC            ALLEN INDUSTRIES INC
DBA AEROTEK                                ATTN GM                             ATTN PRESIDENT
ATTN ACCOUNT MANAGER                       115 NE CUTOFF                       6434 BURNT POPLAR RD
7301 PKWY DR                               WORCESTER, MA 01606                 GREENSBORO, NC 27409
HANOVER, MD 21076
ALLEN VANGUARD     Case 25-90163      Document   87 Filed in TXSB on 07/03/25[NAME
                                         [NAME REDACTED]                        Page  32 of 944
                                                                                   REDACTED]
ATTN RF DESIGNER                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]
2405 ST LAURENT BLVD
OTTAWA, ON K1G 6C4
CANADA



[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




ALLEN-VANGUARD CORPORATION               [NAME REDACTED]                       [NAME REDACTED]
ATTN DIR CONTRACT ADMIN                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]
2400 ST LAURENT BLVD
OTTAWA, ON K1G 6C4
CANADA



ALLFAVOR CIRCUITS (SHENZHEN) CO LTD      ALLIANCE CONNECTIONS LLC              ALLIANCE ELECTRONICS MARKETING GROUP
B 601 T-SHARE JINNIU SQ, TAOYUAN RD      ATTN OWNER                            ATTN MANAGING PARTNER
NANSHAN DIST                             P.O. BOX 85                           3717 NATIONAL DR, 216
GUANGDONG                                CLIFFSIDE, NC 28024                   RALEISH, NC 27612
SHENZHEN 518000 CHINA



ALLIANCE ENTERPRISES LTD.                ALLIANCE FOR SUSTAINABLE ENERGY LLC   ALLIANCE MOCVD LLC
ATTN: EDWARD TANG                        ATTN VICE PRESIDENT                   1151 HOLMES ROAD
UNIT H 7TH/F GOLDKING IND. BLDG.         1617 COLE BLVD, MAIL STOP 3911        MEBANE, NC 27302-7975
35-41 TAI LIN PAI ROAD                   GOLDEN, CO 80401
KWAI CHUNG, N.T. HONG KONG
                   Case 25-90163
ALLIANCE OPTOTEK CORP                  Document
                                          ALLIANCE87  Filed
                                                   SPORTS   in TXSB on 07/03/25ALLIANCE
                                                          GROUP                   Page TECHNOLOGIES
                                                                                        33 of 944 LLC
ATTN EVAN TSAY, CEO                       ATTN CEO                              ATTN DIR OF OPERATIONS
NO 5 LN 191, CHUNG-HO ST                  602 FOUNTAIN PKWY                     1 DEER PARK DR, STE D
CHUPEI CITY, HSINCHU 30267                GRAND PRAIRIE, TX 75050               MONMOUTH JUNCTION, NJ 08852
TAIWAN



ALLIANZ GLOBAL CORP & SPECIALTY SE        ALLIANZ GLOBAL CORP                   ALLIANZ GLOBAL RISK US INSURANCE CO
ATTN SR UNDERWRITER                       C/O ALLIANZ SE                        ATTN EXEC UNDERWRITER
60 GRACECHURCH ST                         KONIGINSTRASSE 28                     225 W WASHINGTON ST, STE 2000
LONDON EC3V OHR                           MUNICH 80802                          CHICAGO, IL 60606
UNITED KINGDOM                            GERMANY



ALLIANZ GLOBAL RISKS US INS. CO.          ALLIANZ SE                            ALLIED 100 LLC
2350 EMPIRE AVE, STE 200                  1633 BROADWAY                         DBA AED SUPERSTORE
BURBANK, CA 91504                         NEW YORK, NY 10019                    1800 US HWY 51 N
                                                                                WOODRUFF, WI 54568




ALLIED AUTOMATION INC                     ALLIED BUILDING PRODUCTS CORP         ALLIED ELECTRONICS INC
1017 INVESTMENT BLVD.                     15 E UNION AVE                        C/O INTL MARKETING DEPT
APEX, NC 27502-1955                       EAST RUTHERFORD, NJ 07073             7410 PEBBLE DR
                                                                                FORT WORTH, TX 76118




ALLIED FIRE PROTECTION INC                ALLIED GROUP (HONG KONG) LIMITED      ALLIED GROUP (HONG KONG) LIMITED
ATTN ESTIMATING                           36-42 SHAN MEI ST                     36-42 SHAN MEI STREET
80 RUPERT RD                              14TH FLOOR                            14TH FLOOR, FOTAN, SHA TIN
RALEIGH, NC 27603                         FOTAN                                 NEW TERRITORIES
                                          HONG KONG                             HONG KONG



ALLIED GROUP (HONG KONG) LIMITED          ALLIED HIGH TECH PRODUCTS INC         ALLIED INTERNATIONAL CORP
NO.12-13, 5/F, WAH WAI INDUSTRIAL C       P.O. BOX 4608                         ATTN DIRECTOR OF MKTG
HONG KONG 999077                          RANCHO DOMINGUEZ, CA 90220-6214       7 HILL ST
HONG KONG                                                                       BEDFORD HILLS, NY 10507




ALLIED RELIABILITY INC                    ALLIED SECURITY TRUST I               ALLIED WIRE & CABLE INC
10344 SAM HOUSTON PARKWAY                 ATTN CHIEF EXECUTIVE OFFICER          COLLEGEVILLE, PA 19426-0157
HOUSTON, TX 77064-7514                    80 LAMBERT LN, STE 115
                                          LAMBERVILLE, NJ 08530




ALLIED WISE INTERNATIONAL LTD             ALLIED WORLD ASSURANCE CO (EUROPE)    ALLIED WORLD ASSURANCE CO.
ATTN GM                                   ATTN SR UNDERWRITER                   27 RICHMOND RD
ROOM D, 3/F, THOMSON COMMERCIAL BLDG      20 FENCHURCT ST                       PEMBROKE HM 08
8-10 THOMSON RD                           LONDON EC3M 3BY                       BERMUDA
WANCHAI HONG KONG                         UNITED KINGDOM



ALLIED WORLD ASSURANCE COMPANY (US)       ALLIED WORLD ASSURANCE COMPANY (US)   ALLIED WORLD SPECIALTY INSURANCE
INC                                       INC                                   COMPANY
199 WATER ST, FL 25                       27 RICHMOND RD                        199 WATER ST, 24TH FL
NEW YORK, NY 10038-3516                   PEMBROKE                              NEW YORK, NY 10038
                                          BERMUDA



ALLIED WORLD SURPLUS LINES INS CO         ALLIEDBARTON SECURITY SERVICES LLC    ALLIES FOR ARTS
3424 PEACHTREE RD NE, STE 750             ATTN DIST MGR                         P.O. BOX 39875
ATLANTA, GA 30326                         111 E KILBOURN AVE, STE 1875          LOS ANGELES, CA 90039-0875
                                          MILWAUKEE, WI 53202
[NAME REDACTED] Case 25-90163         Document   87
                                         ALLISON &    Filed LLC
                                                   PARTNERS in TXSB on 07/03/25ALLISON
                                                                                  PageBROTHERS
                                                                                       34 of 944
                                                                                               SPECIALTIES INC
[ADDRESS REDACTED]                        ATTN PRESIDENT                        ATTN PRESIDENT
                                          1708 PEACHTREE ST, STE 100            4017 LAUREL DR
                                          ATLANTA, GA 30309                     DURHAM, NC 27703




ALLOY SEIKO INDUSTRY (SZ) CO LTD          ALLPILUX OY                           ALLRING TECH CO LTD
ATTN VICE PRESIDENT                       ATTN PROD DEV MANAGER                 ATTN VICE PRESIDENT
NO. 9, LONG-GANG N RD, PINGXI COMMUNITY   HEPOLAMMENTIE 25                      NO 1, LUKE 10TH RD
PINGDI TOWN, LONG-GANG DIST               LOHJA FI-08680                        KAOHSIUNG, LUZHU 82151
SHENZHEN CITY, GUANGDON CHINA             FINLAND                               TAIWAN



ALL-SPEC INDUSTRIES A SUBSIDIARY OF       ALLSPRING GLOBAL INVESTMENTS LLC      ALLSTATE INDEMNITY CO
HISCO                                     ATTN: PAUL FRENCH                     2775 SANDERS RD
2516 INDEPENDENCE BLVD 201                1415 VANTAGE PARK                     NORTHBROOK, IL 60062-6127
WILMINGTON, NC 28412-7159                 CHARLOTTE, NC 28203-4073




ALLSTATES TRUCKING INC                    ALLTEL COMMUNICATIONS INC             ALLTEST INSTRUMENTS INC
1400 INTERNATIONAL DR                     ATTN PROJECT MANAGER                  ATTN MGR
MOUNT PLEASANT, WI 53177                  5520 CAPITAL CENTER DR                500 CENTRAL AVE
                                          RALEIGH, NC 27606                     MONMOUTH, NJ 07727




ALLTEST INSTRUMENTS INC                   ALLURESOFT LLC                        [NAME REDACTED]
ATTN NOQ SALES MGR                        ATTN CO FOUNDER                       [ADDRESS REDACTED]
1310 S ROLLER RD                          4012 WASHINGTON ST, STE 4
OCEAN, NJ 07712                           KANSAS CITY, MO 64111




ALLWIN 21 CORP                            ALLWIN CONSULTING SHANGHAI CO LTD     ALLWIN21 CORP
ATTN NA SALES MANAGER                     RM.D, 8F, NO.445 JIANGNING RD         220 COCHRANE CIRCLE
220 COCHRANE CIR                          JINGAN DISTRICT                       MORGAN HILL, CA 95037-2803
MORGAN HILL, CA 95037                     SHANGHAI
                                          CHINA



[NAME REDACTED]                           ALMECO SPA                            ALMECO USA INC
[ADDRESS REDACTED]                        VIA DELLA LIBERAZIONE 15              ATTN EVP
                                          SAN GIULIANO MILANESE 20098           1610 SPECTRUM DR
                                          ITALY                                 LAWERENCEVILLE, GA 30043




[NAME REDACTED]                           [NAME REDACTED]                       ALOI MATERIALS HANDLING
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    AND AUTOMATION LLC
                                                                                140 COMMERCE DRIVE
                                                                                ROCHESTER, NY 14623-3504




ALONZO & ASSOCIATES                       ALP LIGHTING & CEILING PRODUCTS INC   ALPACA SEC (3021)
ATTN ARLYN ALONZO, ESQ                    DBA BILL BROWN SALES CO               ATTN PROXY MGR
504 CENTER ST                             ATTN PRESIDENT                        42881 LAKE BABCOCK DR
EL SEGUNDO, CA 90245                      6333 GROSS POINT RD                   SUITE 200
                                          NILES, IL 60714                       BABCOCK RANCH, FL 33982



ALPACK ASSOCIATES INC                     ALPEX WHEEL COMPANY                   ALPHA AND OMEGA SEMICONDUCTOR INC
ATTN SEC/TREAS                            29 ATWOOD AVENUE                      ATTN POWER DISCRETE PRODUCT LINE VP
141 LANZA AVE, BLDG 19                    TENAFLY, NJ 07670-1011                475 OAKMEAD PKWY
GARFIELD, NJ 07026                                                              SUNNYVALE, CA 94085
                  Case 25-90163
ALPHA ASSEMBLY SOLUTIONS INC      Document   87 Filed
                                     ALPHA ASSEMBLY    in TXSB
                                                    SOLUTIONS INC on 07/03/25ALPHA
                                                                               Page   35 of 944
                                                                                   ASSEMBLY SOLUTIONS INC
3950 JOHNS CREEK CT                   ATTN PRESIDENT                         ATTN VP
SUWANEE, GA 30024-1296                109 CORPORATE BLVD                     245 FREIGHT ST
                                      SOUTH PLAINFIELD, NJ 07080             WATERBURY, CT 06702




ALPHA CIRCUIT LLC                     ALPHA DESIGN TECHNOLOGY PVT LTD        ALPHA METALS INC
730 NORTH OAKLAWN AVENUE              ATTN MANAGER                           ATTN VP & SECRETARY
ELMHURST, IL 60126-1406               6TH MAIN, HAL IIND STAGE               109 CORPORATE BLVD
                                      INDIRANAGAR                            SOUTH PLAINFIELD, NJ 07080
                                      BANGALORE 560038 INDIA



ALPHA PLUS INTERNATIONAL LTD          ALPHACORE INC                          ALPHA-PROBES INC
ATTN EUROPEAN SALES DIR               ATTN PROGRAM MGR                       ATTN OWNER
UNIT 1 ENIGMA BLDGS, BILTON RD        398 S MILL AVE, STE 304                154 TALAMINE CT
BLETCHLEY, MILTON KEYNES              TEMPE, AZ 85281                        COLORADO SPRINGS, CO 80907
BUCKINGHAMSHIRE MK1 1HW UNITED
KINGDOM


ALPHA-RHO INC                         ALPHASEM CORP                          ALPHASENSE INC
ATTN PRESIDENT                        ATTN MGR INTERNAL SVCS                 24 UNION SQUARE EAST 6TH FLOOR SOUT
99 STEVENS RD                         150 E ALAMO DR                         NEW YORK, NY 10003-3201
FITCHBURG, MA 01420                   CHANDLER, AZ 85225




ALPINE CONSULTING INC                 ALPITRONIC SRL                         ALR DIEBONDER SMD CONSULTING SERVICE
ATTN CHIEF EXECUTIVE OFFICER          VIA DI MEZZO AI PIANI 33               ATTN BUSINESS OWNER
1100 E WOODFIELD RD, STE 105          BOLZANO 39100                          7181 INDIAN GAP AVE
SCHAUMBURG, IL 60173                  ITALY                                  LAS VEGAS, NV 89179




[NAME REDACTED]                       [NAME REDACTED]                        ALSCO CLEANROOM SERVICES INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     ATTN GEN MNGR
                                                                             3 YADKIN ST
                                                                             DURHAM, NC 27703




[NAME REDACTED]                       ALSI BV                                ALSTOM GRID UK LTD
[ADDRESS REDACTED]                    ATTN MANAGING DIR                      ATTN CATEGORY LEADER
                                      PLATINAWERF 20                         ST LEONARDS AVE
                                      BEUNINGEN 6641 TL                      STAFFORD ST17 4LX
                                      NETHERLANDS                            UNITED KINGDOM



ALSTOM POWER SWEDEN AB                ALSTOM POWER SWEDEN AB                 ALSTOM TRANSPORT SA
3 AVENUE, ANDRE MALRAUX               MARIEVIKSGATAN 29                      48, RUE ALBERT DHALENNE
LEVALLIOS-PERRET                      STOCKHOLM 117 43                       SAINT-OUEN 93400
CEDEX 92309                           SWEDEN                                 FRANCE
FRANCE



ALSTOM TRANSPORT SA                   ALSTOM UK LTD                          [NAME REDACTED]
ATTN COMMODITY MGR                    ATTN MANAGING DIRECTOR                 [ADDRESS REDACTED]
3 AVE ANDRE MALRAUX                   P.O. BOX 30, LICHFIELD RD
LEVALLOIS-PERRET CEDEX 92309          STAFFORD ST17 4LN
FRANCE                                UNITED KINGDOM



[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document   87 Filed in TXSB on 07/03/25[NAME
                                   [NAME REDACTED]                        Page  36 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    ALTA GROUP, THE                     ALTA PACKAGING INC
[ADDRESS REDACTED]                 45 SHARPS CIR                       ATTN PRESIDENT
                                   GLENBROOK, NV 89519                 150 CHADDICK DR
                                                                       WHEELING, IL 60090




ALTAIX ELECTRONICA SAL             ALTASIM TECHNOLOGIES INC            ALTE LEIPZIGER
ATTN PEDRO MARTINEZ                DBA ALTASIM TECHNOLOGIES            ATTN PROKURIST
COQUIDE, 6-EDF PRISMA              ATTN PRINCIPAL                      ALTE LEIPZIGER- PLATZ 1
LAS ROSAS                          130 E WILSON BRIDGE RD, STE 140     OBERURSEL 614440
MADRID 28230 SPAIN                 COLUMBUS, OH 43085                  GERMANY



ALTECHNA CO LTD                    ALTEK CORP                          ALTENERGY POWER SYSTEM INC
ATTN SALES ENGINEER                ATTN GEN DIR                        NO 1, YATAI RD
KONSTITUCIJOS AVE                  JUNGJIN B/D, 619-2                  JIAXING ZHEJIANG
23C-604                            SINSA-DONG, GANGNAM-GU              CHINA
VILNIUS LT-08105 LITHUANIA         SEOUL SOUTH KOREA



ALTER BEE CORP                     ALTERNATIVE REPAIRS INC             ALTI-ELECTRONICS CO LTD
ATTN PRESIDENT                     ATTN PROJECT MGR                    ATTN VICE PRESIDENT
7607 BLAKE RD                      179 PERKINSVILLE RD                 18TH FLOOR NARA BUILDING
GREENLEAF, WI 54126                BOONE, NC 28607                     13283-3 SEOCHO-DONG, SEOCHO-GU
                                                                       SEOUL 137-070 SOUTH KOREA



ALTIRAS CHEMICALS LLC              ALTIUM INC                          ALTMAN STAGE LIGHTING CO LTD
DBA ALTIRAS CHEMICALS              4225 EXECUTIVE SQUARE               ATTN DIRECTOR OF R&D
ATTN CEO                           LA JOLLA, CA 92037-9122             57 ALEXANDER ST
950 THREADNEEDLE ST, STE 120                                           YONKERS, NY 10701
HOUSTON, TX 77079
                  CaseINC
ALTORAN CHIP & SYSTEMS   25-90163      Document   87 Filed
                                          ALTRAN ITALIA SPA in TXSB on 07/03/25[NAME
                                                                                  Page  37 of 944
                                                                                     REDACTED]
ATTN CHIEF EXECUTIVE OFFICER              ATTN AEROSPACE & DEFENSE DIR         [ADDRESS REDACTED]
3080 OLCOTT ST                            VIA TIBURTINA, 1232
SANTA CLARA, CA 95054                     ROMA 00131
                                          ITALY



ALTRUIST (3164)                           ALUBAMA LLC                          ALUMA CAST FOUNDRY INC
ATT PROXY MGR                             ATTN PRESIDENT                       ATTN PRESIDENT
3030 S LA CIENEGA                         151 BRADLEY ST                       3200 E PARSHING
CULVER CITY, CA 90232                     SCOTTBORO, AL 35759                  APPLETON, WI 54911




ALUMAGE ADVISIORS LLC                     ALUM-A-LIFT, INC.                    ALUMILITE INC
41 FOUR SEASONS DR                        13941 VETERANS MEMORIAL HWY          ATTN PRESIDENT
EAST HAMPSTEAD, NH 03826                  WINSTON, GA 30187-1403               5322 RAFE BANKS DR, STE 1
                                                                               FLOWERY BRANCH, GA 30542




ALUMINUM COIL ANODIZING CORP              ALUMINUM COMPANY OF NC LLC           ALUMIPLATE INC
ATTN PRESIDENT                            1335 HAMLIN RD                       ATTN PRESIDENT
501 E LAKE ST                             DURHAM, NC 27704                     8960 SPRINGBROOK DR
STREAMWOOD, IL 60107                                                           MINNEAPOLIS, MN 55433




ALUWAVE AB                                ALVA HOTEL BY ROYAL                  ALVA
ATTN CEO                                  ATTN DIR OF SALES & MKTG             ATTN PRESIDENT
ARONGATAN 28                              1 YUEN HONG ST                       2150 ALLSTON WAY, STE 400
MOLNDAL SE-431 53                         SHA TIN                              BERKELEY, CA 94704
SWEDEN                                    HONG KONG



[NAME REDACTED]                           [NAME REDACTED]                      ALVAREZ & MARSAL FEDERAL LLC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   600 MADISON AVENUE, 8TH FLOOR
                                                                               NEW YORK, NY 10022-1758




ALVAREZ & MARSAL FEDERAL LLC              [NAME REDACTED]                      [NAME REDACTED]
ATTN: ANDREAS LUCIDO                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]
655 15TH STREET NORTHWEST, SUITE 600
WASHINGTON, DC 20005




[NAME REDACTED]                           ALVARION LTD                         [NAME REDACTED]
[ADDRESS REDACTED]                        ATTN VP R&D                          [ADDRESS REDACTED]
                                          21 HABARZEL ST
                                          TEL AVIV 69710
                                          ISRAEL



[NAME REDACTED]                           AM AGENCIES INC                      AM QUARTZ CORPORATION
[ADDRESS REDACTED]                        ATTN PRINCIPAL                       ATTN PRESIDENT
                                          118-4029 8TH ST SE                   2400 ALABAMA DR
                                          GALGARY, AB T2G 3A5                  GAINESVILLE, TX 76240
                                          CANADA



AM TECHNICAL SOLUTIONS INC                AM TECHNICAL SOLUTIONS INC           AMA CONSULTANTS CORPORATION
13809 RESEARCH BLVD. 685                  ATTN CFO                             ATTN DIR OF SALES
AUSTIN, TX 78750                          2213 RANCH RD, 620 N, STE 105        465 MALTBIE ST, STE 407
                                          AUSTIN, TX 78734                     LAWRENCEVILLE, GA 30045
AMA PRECISION INC Case 25-90163      Document  87 Filed
                                        AMADA MACHINE     inAMERICA
                                                      TOOLS  TXSB onINC 07/03/25[NAME
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                                                                                      REDACTED]
ATTN VICE PRESIDENT                      ATTN EASTERN REG MGR                  [ADDRESS REDACTED]
3F, NO 37, SEC 2, JHONGYANG S RD         2324 PALMER DR
PEITOU DISTRICT                          SCHAUMBURG, IL 60173
TAIPEI 112 TAIWAN



AMALGAMATED BANK (2352)                  [NAME REDACTED]                       AMANTYS LTD
ATT BOB WINTERS OR PROXY MGR             [ADDRESS REDACTED]                    ATTN MANAGING DIR
275 7TH AV                                                                     UNIT 2, ST JOHNS INNOVATION CTR
NEW YORK, NY 10001                                                             COWLEY RD
                                                                               CAMBRIDGE CB4 OWS UNITED KINGDOM



[NAME REDACTED]                          AMATIS CONTROLS LLC                   AMAZON WEB SERVICES INC
[ADDRESS REDACTED]                       ATTN CHIEF EXECUTIVE OFFICER          P.O. BOX 81207
                                         210 ASPEN BUSINESS CENTER, STE A      SEATTLE, WA 98108-1207
                                         ASPEN, CO 81611




AMAZON.COM INC                           AMAZON.COM SERVICES LLC               AMBARELLA CORPORATION
ATTN GENERAL COUNSEL                     P.O. BOX 81207                        ATTN GENERAL COUNSEL
410 TERRY AVE N                          SEATTLE, WA 98108-1207                3101 JAY ST
SEATTLE, WA 98109                                                              SANTA CLARA, CA 95054




[NAME REDACTED]                          AMBEDKAR INSTITUTE OF ADVANCE         [NAME REDACTED]
[ADDRESS REDACTED]                       COMMUNICATION TECHNOLOGIES &          [ADDRESS REDACTED]
                                         RESEARCH




AMBER ELECTRICAL CONTRACTORS, INC.       AMBIBOX GMBH                          AMBIT ELECTRONICS, INC.
2251 CENTURY CENTER BLVD.                ATTN CHIEF EXECUTIVE OFFICER          ATTN: SHOLOM OKOLICA
IRVING, TX 75062                         AN DER OCHSENWIESE 3                  30 WEST STREET
                                         MAINZ 55124                           SPRING VALLEY, NY 10977
                                         GERMANY



[NAME REDACTED]                          [NAME REDACTED]                       AMC INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]




AMC LIGHTING CO LTD                      AMCAD                                 AMCC CONSULTING LIMITED
NO. 390 QUINGFENG RD QINGXI              20 RUE ATLANTIS, BATIMENT GALILEO     ATTN DIRECTOR
DONGGUAN, GUANGDONG                      LIMOGES 87280                         50 EGERTON GARDENS
CHINA                                    FRANCE                                LONDON SW3 2BZ
                                                                               UNITED KINGDOM



AMCO POLYMERS LLC                        AMCOM COMMUNICATIONS INC              [NAME REDACTED]
ATTN GM                                  ATTN PRESIDENT                        [ADDRESS REDACTED]
595 BROADHOLLOW RD                       22300 COMSAT DR
FARMINGDALE, NY 11735                    CLARKSBURG, MD 20871




[NAME REDACTED]                          [NAME REDACTED]                       AMERIAN BANKERS INSURANCE COMPANY
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    OF FLORIDA
                                                                               ATTN VP
                                                                               11222 QUAIL ROOST DR
                                                                               MIAMI, FL 33157-6596
                   Case 25-90163
AMERICAN AIRLINES INC              Document  87BARCODE
                                      AMERICAN    FiledAND
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                                                           RFID on 07/03/25AMERICAN
                                                                             Page 39   of 944
                                                                                    BOILER CONSTRUCTION
ATTN ACCOUNT SALES MGR                INCORPORATED                          ATTN PRESIDENT
5732 BEARGRASS LN                     ATTN PRES/CEO                         164 AMERICAN DR
RALEIGH, NC 27616                     3431 E ELWOOD ST                      OAKBORO, NC 28129
                                      PHOENIX, AZ 85040



AMERICAN BRIGHT OPTOELECTRONICS       AMERICAN CABLE & HARNESS LLC          AMERICAN CANCER SOCIETY
CORP                                  ATTN DIRECTOR OF MKTG & SALES         270 PEACHTREE ST NW, SUITE 1300
ATTN PRESIDENT                        1100 N MAIN ST                        ATLANTA, GA 30303
13815 C MAGNOLIA AVE                  FORT ATKINSON, WI 53538
CHINO, CA 91710



AMERICAN CIRCUITS INC                 AMERICAN CITY BUSINESS JOURNALS       AMERICAN CIVIL LIBERTIES UNION
ATTN VP                               TRIANGLE BUSINESS JOURNAL             FOUNDATION INC
513 W 24TH ST                         120 WEST MOREHEAD STREET              125 BROAD STREET
CHARLOTTE, NC 28211                   CHARLOTTE, NC 28202-1800              NEW YORK, NY 10004




AMERICAN CLEANSTAT LLC                AMERICAN COMPETITIVENESS INST         AMERICAN COMPUTER DEVELOPMENT INC
ATTN GEN MGR                          ATTN PRESIDENT                        ATTN PRESIDENT
2511 S TRICENTER BLVD                 ONE INTERNATIONAL PLZ, STE 600        5350 PARTNERS CT
DURHAM, NC 27713                      PHILADELPHIA, PA 19113                FREDERICK, MA 21703




AMERICAN CRYSTAL TECHNOLOGY           AMERICAN ENTERPRISES LLC              AMERICAN ETCHING & MANUFACTURING INC
ATTN PROGRAM MGR                      8817 WESTGATE PARK DR, STE 100        ATTN PRESIDENT
6780 SIERA CT                         RALEIGH, NC 27617                     13730 DESMOND ST
DUBLIN, CA 94568                                                            PACOIMA, CA 91331




AMERICAN EXPEDITING CO                AMERICAN EXPRESS TRAVEL RELATED       AMERICAN EXTRUDED PLASTICS INC
ATTN ACCOUNT EXEC                     SVCS CO INC                           ATTN SALES TECH
6307B ANGUS DR                        AMERICAN EXPRESS TOWER, WORLD         938 REYNOLDS PL
RALEIGH, NC 27617                     FINANCIAL CENTER                      GREENSBORO, NC 27403
                                      200 VESEY ST
                                      NEW YORK, NY 10285


AMERICAN FIRE CONTROL                 AMERICAN FLUORESCENT CORP             AMERICAN ILLUMINATION INC
255 S ORANGE AVE                      ATTN CFO                              ATTN PRESIDENT
ORLANDO, FL 32801                     2345 N ERNIE KRUEGER CIR              8018 E SANTA ANA CANYON RD, STE 100
                                      WAUKEGAN, IL 60087                    ANAHEIM HILLS, CA 92808




AMERICAN INDUSTRIES INC               AMERICAN INTERNATIONAL GROUP INC      AMERICAN INTL SPECIALTY LINES
ATTN PRESIDENT                        ATTN UNDWERWITING MGR, FOREIGN        INSURANCY CO
4300 KAHN DR                          CASUALTY                              ATTN REGIONAL MGR
P.O. BOX 1405                         175 WATER ST                          70 PINE ST
LUMBERTON, NC 28359                   NEW YORK, NY 10038                    NEW YORK, NY 10270



AMERICAN ISOSTATIC PRESSES INC        AMERICAN LIGHT WORKS LLC              AMERICAN LIGHTING INC
ATTN PRESIDENT                        ATTN PRESIDENT                        ATTN CHIEF FINANCIAL OFFICER
1205 S COLUMBUS AIRPORT RD            907 CHURCH ST, STE 1                  7660 E JEWELL AVE, STE A
COLUMBUS, OH 43207                    ALEXANDRIA, VA 22314                  DENVER, CO 80231




AMERICAN METAL FAB INC                AMERICAN NAIL PLATE LIGHTING INC      AMERICAN NATIONAL RED CROSS, THE
55515 FRANKLIN DR                     DBA ANP LIGHTING                      ATTN JANET BORDEN, BUSINESS ACCOUNT
THREE RIVERS, MI 49093                ATTN CORPORATE SECRETARY              EXEC
                                      9044 DEL MAR AVE                      2600 W WISCONSIN AVE
                                      MONTCLAIR, CA 91763                   MILWAUKEE, WI 53233
AMERICAN NATIONAL Case  25-90163
                  RED CROSS, THE       Document  87NATIONAL
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                                                                                   Page 40   of CORP
                                                                                          PANEL 944
ATTN PREPAREDNESS                          ATTN REP III, SALES                   ATTN MNGR OF CONTRACTS
2025 E ST NW                               25688 NETWORK PL                      6675 SHILOH RD E
WASHINGTON, DC 20006                       CHICAGO, IL 60673-1256                ALPHARETTA, GA 30005




AMERICAN POLARIZERS INC                    AMERICAN PRECISION PROTOTYPING LLC    AMERICAN PROGRESSIVE CIRCUITS INC
ATTN PRES                                  ATTN PRESIDENT                        ATTN PRESIDENT
141 S 17TH ST                              19503 E 6TH ST                        1772 ARMITAGE CT
READING, PA 19602                          TULSA, OK 74108                       ANDERSON, IL 60101




AMERICAN REGISTERY FOR INTERNET            AMERICAN RELIANCE INC                 AMERICAN SECURITIES LLC
NUMBERS LTD                                ATTN CUSTOMER RELATIONS MGR           ATTN GEN COUNSEL
ATTN FINANCIAL & LEGAL SERVICES DEPT       3445 FLETCHER AVE                     299 PARK AVE, 34TH FL
3635 CONCORDE PKWY, STE 200                EL MONTE, CA 91731                    NEW YORK, NY 10171
CHANTILLY, VA 20151



AMERICAN STANDARD CIRCUITS INC             AMERICAN STOCK TRANSFER & TRUST CO    AMERICAN TELECONNECT INC
475 INDUSTRIAL DRIVE                       ATTN DONNA ANSBRO, VP                 ATTN VP SALES
WEST CHICAGO, IL 60185-1891                6201 15TH AVE                         51 OAK GROVE RD
                                           BROOKLYN, NY 11219                    SOUTHAMPTON, NY 11968




AMERICAN TRAINCO LLC                       AMERICAN UNIVERSITY, THE              AMERICARB INC
DBA TPC TRAINCO                            AUC NEW CAIRO                         ATTN CORP SECY
ATTN VP HR                                 AUC AVE                               1025 FAULTLESS DR
750 N LANE COOK RD, STE 350                NEW CAIRO 11835                       ASHLAND, OH 44805
BUFFALO GROVE, IL 60089                    EGYPT



AMERICRAFT CARTON INC                      AMERITECH ENERGY CORP                 AMERITHERM INC
ATTN EXEC VICE PRESIDENT                   ATTN CHIEF EXECUTIVE OFFICER          DBA AMBRELL
7400 STATE LINE RD, STE 206                1500 BEVILLE RD, STE 606              ATTN LESLIES THOMPSON, VP/CTO
PRAIRIE VILLAGE, KS 66208                  DAYTONA BEACH, FL 32114               39 MAIN ST
                                                                                 SCOTTSVILLE, NY 14546



AMERLUX INC                                AMERLUX LLC                           [NAME REDACTED]
ATTN PRESIDENT & CEO                       ATTN ENGINEERING MGR                  [ADDRESS REDACTED]
23 DANIEL RD E                             5220 SHANK RD
FAIRFIELD, NJ 07004                        PEARLAND, TX 77581




[NAME REDACTED]                            [NAME REDACTED]                       AMESYS
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    ATTN PURCHASING DIR
                                                                                 1030, AVE GUILLIBERT DE LA LAUZIERE
                                                                                 LES MILLES
                                                                                 AIX EN PROVENCE 13794 FRANCE



AMESYS                                     AMETEK AEROSPACE PRODUCTS             AMETEK CTS US, INC
ATTN PURCHASING DIR                        ATTN SR BUYER - ELECTRICAL            52 MAYFIELD AVE
BP 20140                                   50 FORDHAM RD                         EDISON, NJ 08837-3821
AIX EN PROVENCE 13794                      WILMINGTON, MA 01887
FRANCE



AMETEK INC                                 AMICRA MICROTECHNOLOGIES GMBH         AMIDON ASSOCIATES
150 FREEPORT RD                            ATTN MG DIRECTOR                      240 BRIGGS AVE
PITTSBURGH, PA 15238-3408                  4 WERNERWERKSTR                       COSTA MESA, CA 92626
                                           REGENSBURG 93049
                                           GERMANY
[NAME REDACTED] Case 25-90163        Document   87 Filed in TXSB on 07/03/25[NAME
                                        [NAME REDACTED]                        Page  41 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




AMIRKABIR UNIVERSITY                    AMIT POLLAK MATALON & CO             AMITRON
ATTN STUDENT                            17 YITZHAK SADEH ST                  P.O. BOX 1092
RASH AVE, VALIEASR ST                   TEL AVIV 67775                       BROOKFIELD, WI 53008-1092
TEHRAN 0098                             ISRAEL
IRAN



[NAME REDACTED]                         AMKOR JAPAN ENG                      AMKOR TECHNOLOGY INC
[ADDRESS REDACTED]                      1, HIGASHIJIMA, OMAKI                ATTN SR VP
                                        FUKUI 9190402                        2045 E INNOVATION CIR
                                        JAPAN                                TEMPE, AZ 85284




AMKOR TECHNOLOGY JAPAN FUKUI            AMKOR TECHNOLOGY SINGAPORE HOLDING   AMKOR TECHNOLOGY
HIGASHIJIMA, OMAKI 1                    PTE. LTD.                            105 CENTRAL ST, STE 2300
FUKUI 9190402                           VALLEY POINT OFFICE TOWER            STONEHAM, MA 02180
JAPAN                                   491B RIVER VALLEY ROAD, 12-03
                                        SINGAPORE 248373
                                        SINGAPORE


AMKOR TECHNOLOGY, INC.                  AML COMMUNICATIONS INC               AMLEX TECHNOLOGY SDN BHD
1900 SOUTH PRICE ROAD                   ATTN DIRECTOR OF ENGINEERING         NO. 799 LORONG PERINDUSTRIAN BUKIT
CHANDLER HEIGHTS, AZ 85226              1000 AVENIDA ACASO                   PENANG 14100
                                        CAMARILLO, CA 93012                  MALAYSIA




AMLINE PRODUCTS LIMITED                 AMOSENSE CO LTD                      AMOTECH CO LTD
ATTN PRES                               ATTN CTO                             ATTN PRES
7TH, 167, SEC 5, MING SHEN EAST RD      185-1, SUCHAN-RI, TONGJIN-EP         1400 N HARBOR BLVD, STE 575
TAIPEI                                  GIMPO, GYEONGGI-DO                   FULLERTON, CA 92835
TAIWAN                                  SOUTH KOREA



AMPCONTROL BURN BRITE PTY LTD           [NAME REDACTED]                      AMPERFY TECHNOLOGIES AD
ATTN COMPANY MGR                        [ADDRESS REDACTED]                   ATTN CEO
2-18 CANTERBURY RD                                                           BUREL 48
BAYSWATER N, VIC 3153                                                        SOFIA 1408
AUSTRALIA                                                                    BULGARIA



AMPEROR INC                             AMPHION ANALYTICAL ENGINEERING PA    AMPHITECH SYSTEMS INC
ATTN CEO                                ATTN PRESIDENT                       ATTN MANON LOYER
11320 NEESHAW DR                        14120 BELLANTYNE CORP PL, STE 475    3440 FRANCIS-HUGHES, STE 120
HOUSTON, TX 77065                       CHARLOTTE, NC 28277                  LAVAL, QC H7L 5A9
                                                                             CANADA



AMPL OPTIMIZATION INC                   AMPLEON NETHERLANDS BV               [NAME REDACTED]
900 SIERRA PL SE                        ATTN GEN COUNSEL                     [ADDRESS REDACTED]
ALBUQUERQUE, NM 87108                   HALFGELEIDERWEG 8
                                        NIJMEGEN 6534 AV
                                        NETHERLANDS



AMPLIFIER RESEARCH CORPORATION          AMPLIFIER SOLUTIONS CORP             AMPLIFIER TECHNOLOGY LTD
160 SCHOOL HOUSE RD                     ATTN PRES                            ATTN DIRECTOR
SOUDERTON, PA 18964-2412                2950-K ADVANCE LN                    UNIT 5, EASTER COURT, WOODWARD AVE
                                        COLMAR, PA 18915                     WESTERLEIGH BUSINESS PARK, YATE
                                                                             BRISTOL BS37 5YS UNITED KINGDOM
AMPLITECH INC     Case 25-90163      Document   87 Filed in TXSB on 07/03/25AMSPage
                                        [NAME REDACTED]                         LTD 42 of 944
ATTN COO                                [ADDRESS REDACTED]                    ATTN COMMERCIAL MNGR
1373 LINCOLN AVE                                                              EASTWOOD HOUSE, GLEBE RD
HOLBROOK, NY 11741                                                            CHELMSFORD, ESSEX CM1 1QW
                                                                              UNITED KINGDOM



AMS SERICES LLC                         AMSC CO LTD                           AMSTERDAM OPTIMIZATION MODELING
ATTN SALES ENGINEER                     ATTN DIRECTOR/ BUSINESS DEVELOPMENT   GROUP
10053 S OLDE TOWNE WYND SE              MITAKA TAKAGI BLDG 15-5               3625 R ST NW
LELAND, NC 28451                        NAKACHO 1 CHOME MUSASHINO-CITY        WASHINGTON, DC 20007
                                        TOKYO 180 8534 JAPAN



AMSTERDAM PACIFIC SECURITIES LLC        AM-STP INC                            AMTECH SYSTEMS INC
44 MONTGOMERY ST, STE 3705              DBA STELLAR TECHNICAL PRODUCTS        ATTN VP FINANCE
SAN FRANCISCO, CA 94104                 ATTN PRESIDENT                        131 SOUTH CLARK DR
                                        707 E GARDENA BLVD                    TEMPE, AZ 85281
                                        GARDENA, CA 90248



AMTRAN TECHNOLOGY CO LTD                AMTRAN TECHNOLOGY CO LTD              AMTRAN TECHNOLOGY COMPANY LTD
ATTN PRESIDENT/CEO                      LIANCHENG RD, 17F, NO 268             ATTN SR DIR OF BUSINESS DEV
17F, NO 268, LIEN CHEN RD               JHONGHE DISTRICT                      268 LIEN CHEN RD, FL 17
CHUNG HO CITY                           NEW TAIPEI CITY 23553                 CHUNG HO CITY
TAIPEI 235 TAIWAN                       TAIWAN                                TAIPEI COUNTY TAIWAN



AMTS                                    AMULAIRE THERMAL TECHNOLOGY, INC.     AMWINS BROKERAGE OF GEORGIA LLC
13809 RESEARCH BLVD. 685                10F., NO. 455, SEC.2, WENHUA 3RD RD   ATTN ASSISTANT VP
AUSTIN, TX 78750-0000                   NEW TAIPEI CITY 244                   3630 PEACHTREE RD, NE, STE 1700
                                        TAIWAN                                ATLANTA, GA 30326




[NAME REDACTED]                         ANA GLOBAL LLC                        ANA TRADING CO LTD
[ADDRESS REDACTED]                      ATTN CHIEF EXECUTIVE OFFICER          ATTN GM ELECTRONICS DEPT
                                        2360 MARCONI CT                       SHIODOME CITY CENTER 38F
                                        SAN DIEGO, CA 92154                   1-5-2 HIGASHISHINBASHI MINATO KU
                                                                              TOKYO 105-7140 JAPAN



ANA TRADING CORP USA                    ANA TRADING CORP USA                  [NAME REDACTED]
3625 DEL AMO BLVD SUITE 300 M/S 20      ATTN: MARK NISHIMURA                  [ADDRESS REDACTED]
TORRANCE, CA 90503-1693                 3625 DEL AMO BLVD SUITE 300 M/S 20
                                        TORRANCE, CA 90503-1693




ANACAPA EQUIPMENT BROKERS INC           ANACOM INC                            ANADIGICS INC
ATTN OWNER                              ATTN CHIEF EXECUTIVE OFFICER          ATTN VP, ADV PRODUCT DEV
1616 ANACAPA ST                         1996 LUNDY AVE                        141 MT BETHEL RD
SANTA BARBARA, CA 93101                 SAN JOSE, CA 95131                    WARREN, NJ 07059




ANAGENESIS INC                          [NAME REDACTED]                       ANALEX CORP
ATTN PRESIDENT                          [ADDRESS REDACTED]                    ATTN DIR OF CONTRACTS
222 N SEPULVEDA BLVD, STE 2000                                                1100 APOLLO DR
EL SEGUNDO, CA 90245                                                          BROOK PARK, OH 44142




ANALOG DEVICES INC                      ANALOG DEVICES INC                    ANALOG DEVICES INC.
ATTN BUSINESS MGR                       ONE ANALOG WAY                        804 WOBURN STREET
1 TECHNOLOGY WAY                        WILMINGTON, MA 01887                  WILMINGTON, MA 01887-2356
NORWOOD, MA 02062
                   Case 25-90163
ANALOG DEVICES INTERNATIONAL       Document  87CORP
                                      ANALOGEE   Filed in TXSB on 07/03/25ANALOGEE
                                                                            Page 43LLCof 944
ATTN CATALYST DIR                     ATTN CEO                            7329 W AIRWAY CT
RAHEEN BUSINESS PARK                  2303 CARQUINEZ AVE                  BOISE CITY, ID 83709-8313
RAHEEN                                EL CERRITO, CA 94530
LIMERICK V94 RT99 IRELAND



ANALYSIS TECH INC                     ANALYTIC VISION INC                 ANALYTICAL SOLUTIONS INC
ATTN PRESIDENT                        ATTN VP                             ATTN VP PQA
6 WHITTEMORE TER                      4944 PARKWAY PLAZA BLVD, STE 450    10401 RESEARCH RD SE
WAKEFIELD, MA 01880                   CHARLOTTE, NC 28217                 ALBUQUERQUE, NM 87123




ANALYTIK JENA US                      [NAME REDACTED]                     [NAME REDACTED]
2066 W. 11TH STREET                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]
UPLAND, CA 91786-3509




ANANYA SIP TECHNOLOGIES PVT LTD       ANAREN MICROWAVE INC                ANATECH USA
ATTN MGR                              ATTN GENERAL COUNSEL                ATTN PRES
PLOT NO 38 SRISHTIBHAVAN              6635 KIRKVILLE RD, E                2947 WHIPPLE RD
OLD GAYATRI NAGAR, JILLELGUDA,        SYRACUSE, NY 13057                  UNION CITY, CA 94587
MEERPET POST
HYDERABED 500097 INDIA


ANCHOR BAY PACKAGING CORP             ANCIENT CITY PHOTOGRAPHY LLC        [NAME REDACTED]
ATTN DIRECTOR OF SALES                DBA TONY VENTOURIS                  [ADDRESS REDACTED]
30905 23 MILE RD                      ATTN OWNER
NEW BALTIMORE, MI 48047               1520 VIVIAN PLACE
                                      SILVER SPRING, MD 20902



[NAME REDACTED]                       ANDERSON & ASSOCIATES INC           ANDERSON DEVELOPMENT COMPANY
[ADDRESS REDACTED]                    ATTN PRESIDENT                      ATTN CFO
                                      112 S TRYON ST, STE 800             1415 E MICHIGAN ST
                                      CHARLOTTE, NC 28284                 ADRIAN, MI 49221




ANDERSON SYSTEMS                      [NAME REDACTED]                     [NAME REDACTED]
ATTN PRESIDENT                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
5958 CORTA ST
GOLETA, CA 93117




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163        Document   87 Filed in TXSB on 07/03/25ANDPAK
                                        AND-OR-LOGIC                          PageINC44 of 944
[ADDRESS REDACTED]                      ATTN ENG MGR                        ATTN VP
                                        41-B, MURREE RD                     400 JARVIS DR
                                        ORCHARD SCHEME                      MORGAN HILL, CA 95037
                                        ISLAMABAD 44000 PAKISTAN



[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                         ANDREW AMPLIFIERS INC               [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN MNGR, COMPONENT ENGINEERING    [ADDRESS REDACTED]
                                        40 TECHNOLOGY DR
                                        WARREN, NJ 07059




ANDREW WIRELESS SYSTEMS                 ANDREW, JENNIFER S                  ANDREWS & HAMILTON CO, INC
INDUSTRIERING 10                        1015 NE 3RD ST                      3829 S. MIAMI BLVD, SUITE 100
BUCHDORF 86675                          GAINESVILLE, FL 32601               DURHAM, NC 27703-5419
GERMANY




ANDREWS STAFFING OF WISCONSIN INC       [NAME REDACTED]                     ANDREWS, JAY
ATTN GREG BREY, REGIONAL MGR            [ADDRESS REDACTED]                  5910 SHILOH RD E, STE 104
3818 60TH ST                                                                ALPHARETTA, GA 30005
KENOSHA, WI 53144




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




ANECAPA EQUIPMENT BROKERS INC           ANEEVA ELECTRONICS                  [NAME REDACTED]
ATTN OWNER                              ATTN PROPRIOTOR                     [ADDRESS REDACTED]
152 AERO CAMINO                         UNION ST
GOLETA, CA 93117                        ROYTON, OLDHAM
                                        LANCASHIRE OL2 5J2 UNITED KINGDOM



[NAME REDACTED]                         [NAME REDACTED]                     ANGELED CO LTD
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  ATTN VICE GM
                                                                            UNILUMIN INDUST PARK, 6 N LANJING RD
                                                                            PINGSHAN DISTRICT
                                                                            SHENZHEN CHINA



ANGENSI PEKERJAAN CAREER WISE SDN       ANGLIA COMPONENTS LTD               ANGLIA COMPONENTS LTD.
BHD                                     ATTN STEVE RAWLINS, CEO             ATTN: STEVE RAWLINS, CEO
ATTN BUS UNIT MGR                       SANDALL RD                          SANDALL ROAD
1-3-21, KRYSTAL POINT CORP PARK         WISBECH PE13 2PS                    WISBECH
JALAN TUN DR AWANG                      UNITED KINGDOM                      UNITED KINGDOM
BAYAN LEPAS, PENANG 11900 MALAYSIA
                  Case
ANGUIL ENVIRONMENTAL    25-90163
                     SYSTEMS          Document
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                                                 SURVEYING    TXSB PC
                                                           & MAPPING on 07/03/25ANGUS
                                                                                  Page  45LTD
                                                                                      BARN of LLC,
                                                                                              944THE
ATTN COO                                 ATTN PRESIDENT                        9401 GLENWOOD
8855 N 55TH ST                           1201 AVERSBORO RD, STE H200           RALEIGH, NC 27617
MILWAUKEE, WI 53223                      GARNER, NC 27529




ANHEUSER-BUSCH INBEV PROCUREMENT         ANHUI DURALUXE ENERGY CO LTD          ANHUI SUN CREATE ELECTRONICS CO LTD
GMBH                                     ATTN ELEC ENGINEER                    ATTN MANAGER
ATTN GPO DIR                             NO 228 CUIHU 5TH RD, TONGLING         NO 199, XIANGZHANG RD
TURMSTRASSE 26                           ANHUI                                 HEFEI, ANHUI
STEINHAUSEN, ZUG 6300                    CHINA                                 CHINA
SWITZERLAND


ANHUI WELLING AUTO PARTS CO LTD          ANIMA MANUFACTURING SERVICES, LLC     ANIMALS BE GONE LLC
ATTN SUPPLY CHAIN MGMT MGR               626 STARMONT DRIVE                    ATTN MEMBER
NO 418, CAIHONG RD, HIGH -TECH DIST      DURHAM, NC 27705-2507                 3118 PEARSON RD
HEFEI                                                                          HURDLE MILLS, NC 27541
ANHUI CHINA



[NAME REDACTED]                          ANION MARKETING LLC                   ANIXTER INCORPORATED
[ADDRESS REDACTED]                       A9807 AVENAL LANE                     BANCO NACIONAL DE MEXICO, SA
                                         CHARLOTTE, NC 28270                   NAUCALPAN, MEX 53100
                                                                               MEXICO




ANIXTER, INC.                            ANKA LED LIGHTING PROGRAM LLC         [NAME REDACTED]
2301 PATRIOT BOULEVARD                   ATTN MANAGING DIR                     [ADDRESS REDACTED]
GLENVIEW, IL 60026-8020                  333 E SIX FORKS RD, STE 200
                                         RALEIGH, NC 27609




ANKAM, RAKESH                            ANNAPURA TECHNOLOGIES LTD             [NAME REDACTED]
702/C, NANCY LAKE HOME, SATARA RD                                              [ADDRESS REDACTED]
PUNE 46
INDIA




ANNEALSYS SAS                            ANOKIWAVE INC                         ANOMAX CORP LTD
ATTN PRESIDENT                           ATTN VP OF OPERATIONS                 ATTN DIRECTOR
BAT T2, PIT DE LA POMPIGNANE             12555 HIGH BLUFF DR, STE 225          65, 1ST FL, RM B, IRVING RD
RUE DE LA VIEILLE POSTE                  SAN DIEGO, CA 92130                   GEORGE TOWN, PENANG 10400
MONTPELLIER CEDEX 1 34055 FRANCE                                               MALAYSIA



ANON INC                                 ANORA LLC                             ANRITSU CO
ATTN DIR-MARKETING & BUS DEV             333 WEST CAMPBELL ROAD SUITE 250      ATTN ACTING BUS MGR
1930 JUNCTION AVE                        RICHARDSON, TX 75080-3623             490 JARVIS DR
SAN JOSE, CA 95131                                                             MORGAN HILL, CA 95037




ANSAM METALS CORP                        ANSEN CORP                            ANSI-ASQ NATIONAL ACCREDITATION
ATTN VP & CFO                            ATTN BUSINESS DEV DIR                 BOARD LLC
1026 E PATAPSCO AVE                      100 CHIMNEY POINT DR                  ATTN ASSESSOR
P.O. BOX 3408                            OGDENSBURG, NY 13669                  600 N PLANKINTON AVE, STE 300
BALTIMORE, MD 21225-0408                                                       MILWAUKEE, WI 53203



[NAME REDACTED]                          ANSMANN AG                            ANSON OPTICAL PRODUCTS CO LTD
[ADDRESS REDACTED]                       ATTN CEO                              ATTN MARKETING MANAGER
                                         INDUSTRIESTRASSE 10                   RM 605, 6F, DECCA INDUSTRIAL CENTRE
                                         ASSAMSTADT D-97959                    12 KUT SHING ST
                                         GERMANY                               CHAIWAN HONG KONG
ANSORG GMBH      Case 25-90163        Document   87 Filed in TXSB on 07/03/25ANSWERING
                                         [NAME REDACTED]                       Page 46SERVICE
                                                                                        of 944CARE LLC
ATTN EX BOARD                            [ADDRESS REDACTED]                   541 SOUTH SLATE ROAD 7 SUITE 7
PILGERSTABE 11                                                                MARGATE, FL 33068
MULHEIM AN DER RUHR 45473
GERMANY



ANSWERNET                                ANSYS INC                            ANTARES DEFENSE SYSTEMS LTD
3930 COMMERCE AVE WILLOW GROVE PA 1      2600 ANSYS DRIVE                     UNIT 5, ALTON RD INDUSTRIAL ESTATE
WILLOW GROVE, PA 19090                   CANONSBURG, PA 15317-0404            ROSS-ON-WYE, HEREFORDSHIRE HR9 5NB
                                                                              UNITED KINGDOM




ANTARES ENTERPRISES                      ANTARES ILUMINACION SAU              ANTECH TECHNOLOGY SDN BHD
ATTN VP                                  ATTN PURCHASING MGR                  45, PERSIARAN MAHSURI,
10838 BLOOMFIELD AVE                     C/MALLORCA, 1 (PI REVA)              PENANG 11900
SANTA FE SPRINGS, CA 90670               RIBARROJA DEL TURIA 46394            MALAYSIA
                                         SPAIN



ANTEFORE INTERNATIONAL CO LTD            ANTEON INTERNATIONAL CORPORATION     ANTER LABORATORIES INC
ATTN TZU-CHUN TUNG, PRES                 ATTN CONTRACTS MGR                   ATTN PRESIDENT
2F, NO 29, SHANWAI RD                    3211 JERMANTOWN RD, STE 700          1700 UNIVERSAL RD
LUJHU TOWNSHIP, TAOYUAN 33841            FAIRFAX, VA 22030                    PITTSBURGH, PA 15235
TAIWAN



[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




ANTORA ENERGY INC                        [NAME REDACTED]                      ANTRON ELECTRONICS CO LTD
ATTN HEAD OF BUSINESS OPS                [ADDRESS REDACTED]                   ATTN PRESIDENT
1244 REAMWOOD AVE                                                             NO 17-14, LAI-KAN LIAW
SUNNYVALE, CA 94089                                                           HI-CHIEN LI, CHIALI TOWN
                                                                              TAINAN CITY TAIWAN



[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          ANUVA MANUFACTURING SERVICES INC     ANVER CORP
[ADDRESS REDACTED]                       7801 ELLIS RD                        ATTN APP ENGINEER
                                         WEST MELBOURNE, FL 32904-1190        36 PARAMETER RD
                                                                              HUDSON, MA 01749




[NAME REDACTED]                          ANYCOMM CORPORATION                  [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN CEO                             [ADDRESS REDACTED]
                                         1800 EMBARCADERO
                                         PALO ALTO, CA 94303
[NAME REDACTED] Case 25-90163          Document   87LTDFiled in TXSB on 07/03/25AONPage
                                          AOC CHINA                                     47 of 944
                                                                                    CONSULTING INC
[ADDRESS REDACTED]                        419 N OAK ST                          P.O. BOX 100137
                                          INGLEWOOD, CA 90302                   PASADENA, CA 91189-0003




AON CORP                                  AONENG LIGHTING CO LTD                AONEX TECHNOLOGIES INC
C/O KIRKLAND & ELLIS LLP                  1/F-3/F, NO 2, N SHUN YUAN RD         ATTN VP OF TECHNOLOGY
200 E RANDOLPH DR                         SHUNDE IND PARK, WUSHA COMMUNITY      129 N HILL AVE, STE 108
CHICAGO, IL 60601                         DALIANG, SHUNDE, FOSHAN               PASADENA, CA 91106
                                          GUANGDONG 528333 CHINA



AOS THERMAL COMPOUNDS LLC                 AOYAMA MOTOR DRIVE TECHNOLOGY CO      AP&S INTERNATIONAL GMBH
ATTN PRESIDENT                            LTD                                   ATTN CMO & CTO
22 MERIDIEN RD, STE 6                     ATTN SR EXPERT, INVERTER HW DESIGN    OBERE WIESEN 9
EATONTOWN, NJ 07724                       DEPT                                  DONAUESCHINGEN 78166
                                          105, SIC-1, 5-4-21, NISHI-HASHIMOTO   GERMANY
                                          MIDORI
                                          SAGAMIHARA, KANAGAWA 252-0131 JAPAN

APA ENTERPRISES INC                       APA OPTICS INC                        APACHE STAINLESS EQUIPMENT CORP
ATTN R&D MNGR                             ATTN CFO                              ATTN SALES
2950 NE 84TH LN                           2950 NE LN                            22 W INDUSTRIAL DR
BLAINE, MN 55449                          BLAINE, MN 55449                      P.O. BOX 538
                                                                                BEAVER DAM, WI 53916



APACHE TECHNOLOGY LLC                     [NAME REDACTED]                       APARTMENT THERAPY MEDIA
ATTN PRESIDENT                            [ADDRESS REDACTED]                    F/S/O MAXWELL GILLINGHAM-RYAN
3052 SCOTT BLVD                                                                 C/O WME; ATTN JENNI LEVINE
SANTA CLARA, CA 95054                                                           1325 AVE OF THE AMERICAS
                                                                                NEW YORK, NY 10019



APC NOVACOM                               APC TECH GROUP PLC                    APC TECHNOLOGIES
NOVALIS PLACE, DEEPDALE ENTERPRISE        ATTN PHIL LANCASTER                   ATTN RANU BHATNAGAR
PARK                                      6 STIRLING PARK, LAKER RD             DSM-722, 7TH FL
DEEPDALE LN                               ROCHESTER AIRPORT IND ESTATE,         DLF TOWERS, SHIVAJI MARG, MOTI NAGAR
NETTLEHAM, LINCOLN LN2 2LL                ROCHESTER                             NEW DELHI 110015 INDIA
UNITED KINGDOM                            KENT ME2 4DP UNITED KINGDOM


APC TECHNOLOGIES                          APC TECHNOLOGIES                      APC TECHNOLOGY GROUP PLC
ATTN: RANU BHATNAGAR                      ATTN: RANU BHATNAGAR                  47 RIVERSIDE
351, 3RD FLOOR, AGGARWAL CYBER PLAZA      770, SECTOR 9                         MEDWAY CITY ESTATE
NETAJI SUBHASH PLACE                      GURGAON 12201                         ROCHESTER ME2 4DF
PITAMPURA, NEW DELHI 110034 INDIA         INDIA                                 UNITED KINGDOM



APC TECHNOLOGY GROUP PLC                  APCB INC                              APCO WORLDWIDE LLC
ATTN: PHIL LANCASTER                      NO 6, LANE 84, CHUN-YING ST           1299 PENNSYLVANIA AVENUE NW SUITE 3
6 STIRLING PARK, LAKER ROAD               SHULIN                                WASHINGTON, DC 20004-2412
ROCHESTER AIRPORT INDUSTRIAL ESTATE       TAIWAN
ROCHESTER, KENT UNITED KINGDOM



APCT INC                                  [NAME REDACTED]                       APEX (0158)
ATTN SALES EXEC DIR                       [ADDRESS REDACTED]                    C/O BROADRIDGE SECS PROCESSING
3495 DE LE CRUZ BLVD                                                            YASMINE CASSEUS, 2 GATEWAY CTR
SANTA CLARA, CA 95054                                                           283-299 MARKET ST - 16TH FL
                                                                                NEWARK, NJ 07102



APEX INDUSTRIAL                           APEX INTEC CO LTD                     APEX METAL GROUP LLC
6509 HILBURN ROAD                         619-9, INDONGGASAN-RO, GASAN-MYEON    ATTN MANAGING DIR
RALEIGH, NC 27613-1947                    CHILGOK-GUN                           100 FILLMORE PLACE, 5TH FL
                                          GYEONGSANGBUK-DO 39905                DENVER, CO 80206
                                          SOUTH KOREA
APEX SALES GROUP Case 25-90163       Document   87 CORP
                                        APEX STEEL   Filed in TXSB on 07/03/25APFPage  48 ofINC
                                                                                  RECYCLING   944
ATTN PRESIDENT                           ATTN COO                               ATTN PRESIDENT
112 KELLYRIDGE DR                        301 PETFINDER LN                       2610 NORTHPARK AVE
APEX, NC 27502                           RALEIGH, NC 27603                      WARREN, OH 44483




API GROUP LIFE SAFETY USA LLC            API HEAT TRANSFER INC                  API TECHOLOGIES CORP
DBA WESTERN STATES FIRE PROTECTION       ATTN EXPORT SALES ASSOC                ATTN VP / BUSINESS MGR
CO                                       2777 WALDEN AVE                        4704 S APOPKA VINELAND RD, STE 210
ATTN DIVISION MGR                        BUFFALO, NY 14225                      ORLANDO, FL 32819
7020 S TUSCON WAY
CENTENNIAL, CO 80112


API WIZARD LLC                           APL LOGISTICS INTERNATIONAL SERVICES   APLICACIONES TECN ESPEC SA DE CV
1127 HIGH RIDGE RD, 238                  LTD                                    DBA APLITEC
STAMFORD, CT 06905                       16220 N SCOTTSDALE RD, STE 300         ATTN DIRECTOR
                                         SCOTTSDALE, AZ 85254                   CALLE 5, 1035 ZONA INDUSTRIAL
                                                                                GUADALAJARA, JAL 44940 MEXICO



APOGEE TRNASLITE INC                     APOJEE                                 APOLLO GLOBAL MANAGEMENT, INC.
ATTN LED ENGINEER                        ATTN MANAGING DIR                      9 W 57TH ST 42ND FL
593 ACORN ST                             29, RUE GEORGES BESSE                  NEW YORK, NY 10019
DEER PARK, NY 11729                      CLERMONT-FERRAND 63100
                                         FRANCE



APOLLO MANAGEMENT HOLDINGS LP            APOLLO OPTICAL SYSTEMS INC             APOLLO SEIKO LTD
C/O COPORATION SVC CO                    ATTN PRESIDENT                         ATTN PRESIDENT
251 LITTLE FALLS DR                      330 CLAY RD                            3969 W LEMON CREEK RD
WILMINGTON, DE 19808                     ROCHESTER, NY 14623                    BRIDGMAN, MI 49106




APOLLO SYNDICATE MANAGEMENT LTD          [NAME REDACTED]                        APPALACHIAN LIGHTING SYSTEMS INC
O/B/O LLOYDS SYNDICATE 1969              [ADDRESS REDACTED]                     ATTN SECRETARY
ATTN HEAD OF COMPLIANCE                                                         101 RANDOLPH ST
ONE BISHOPGATE                                                                  ELLWOOD CITY, PA 16117
LONDON UNITED KINGDOM



APPALACHIAN REFRIGERATION                APPCORE LLC                            [NAME REDACTED]
ATTN OWNER                               ATTN MGR                               [ADDRESS REDACTED]
91 CHARLOTTE HILL DR                     727 W HARGETT ST, STE 211
MARION, NC 28752                         RALEIGH, NC 27603




APPEXTREMES LLC                          APPLE COMPUTER INC                     APPLE INC
DBA CONGA                                ATTN BUSINESS MGR                      ATTN GARAY RICK
ATTN CORP COUNSEL                        1 INFINITE LOOP                        1 INFINITE LOOP
13699 VIA VARRA                          CUPERTINO, CA 95014                    MS 35-3JW
BROOMFIELD, CO 80020                                                            CUPERTINO, CA 95014



APPLE PARK LEARNING SOLUTIONS INC        APPLE ROCK                             APPLE SEEDS NWA
DBA APLS GROUP                           7602 BUSINESS PARK DR                  2648 N OLD WIRE RD
ATTN PRESIDENT                           GREENSBORO, NC 27409                   FAYETTEVILLE, AR 72703-3771
5540 CENTERVIEW DR, STE 200
RALEIGH, NC 27606



[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]
                  Case
APPLIED & INTERGRATED   25-90163
                      CAPITAL GROUP   Document   87 Filed INC
                                         APPLIED ANALYTICAL in TXSB on 07/03/25APPLIED
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INC                                      ATTN PRESIDENT                        ATTN CAD OPERATOR
ATTN CFO                                 16713 PICADILLY CT                    1004 DRESSER CT, STE 102
2975 CLAY ST                             ROUND ROCK, TX 78664                  RALEIGH, NC 27609
SAN FRANCISCO, CA 94115



APPLIED CONTROL & MEASUREMENT LLC        APPLIED DIAMOND INC                   APPLIED ENERGY SYSTEMS INC
ATTN OWNER                               ATTN PRESIDENT                        180 QUAKER LANE
3860 FOUNTAIN CIR                        3825 LANCASTER PIKE                   MALVERN, PA 19355-2479
FOUNTAINVILLE, PA 18923                  WILMINGTON, DE 19805




APPLIED ENGINEERING INC                  APPLIED GLOBAL SERVICES               APPLIED HANDLING SYSTEMS INC
ATTN PRESIDENT                           C/O APPLIED MATERIALS INC             8481 RIVOLI ROAD
1257 TASMAN DR, UNIT B                   3050 BOWERS AVE                       BOLINGBROKE, GA 31004-0569
SUNNYVALE, CA 94089                      P.O. BOX 58039
                                         SANTA CLARA, CA 95054-3299



APPLIED INDUSTRIAL TECHNOLOGY INC        APPLIED INNOVATIVE TECHNOLOGIES INC   APPLIED MANUFACTURING TECHNOLOGIES
1301 CORPORATION PARKWAY                 ATTN SVP                              INC
RALEIGH, NC 27610-1351                   1310 FACTORY CIR                      ATTN VP
                                         FORT LUPTON, CO 80621                 3565 E ENTERPRISE DR
                                                                               ANAHEIM, CA 92807



APPLIED MATERIALS INC                    APPLIED MATERIALS INC                 APPLIED MATERIALS INC
ATTN AGS GPM SOFTWARE PROD               ATTN DIR AP6                          ATTN GENERAL MANAGER
3050 BOWERS AVE                          3535 GARRETT DR                       2881 SCOTT BLVD M/S 2062
SANTA CLARA, CA 95054                    SANTA CLARA, CA 95054                 SANTA CLARA, CA 95050




APPLIED MATERIALS INC                    APPLIED MATERIALS INC                 APPLIED MATERIALS
ATTN MANAGING DIR BUSINESS DEV           ATTN SSC SALES DIR                    3225 OAKMEAD VILLAGE DRIVE
35 DORY RD                               3225 OAKMEAD VILLAGE DR, M/S 1267     MS 1240
GLOUCESTER, MA 01930                     P.O. BOX 58039                        SANTA CLARA, CA 95054
                                         SANTA CLARA, CA 95052-8039



APPLIED MATERIALS, INC.                  APPLIED MEDICAL TECHNOLOGIES INC      APPLIED MICROENGINEERING LTD
3050 BOWERS AVE                          DBA AIRCLEAN SYSTEMS                  ATTN CEO
SANTA CLARA, CA 95054-3201               ATTN VP SALES                         UNIT 8, LIBRARY AVE, HARWELL CAMPUS
                                         3248 LAKE WOODARD DR                  DIDCOT
                                         RALEIGH, NC 27609                     OXFORDSHIRE OX11 0SG UNITED KINGDOM



APPLIED MICROSTRUCTURES                  APPLIED NANOSTRUCTURES INC            APPLIED NANOTECH HOLDING INC
ATTN PRESIDENT                           ATTN VP                               ATTN EXEC VP
4425 FORTON DR                           1700 WYATT DR, STE 5                  3006 LONGHORN BLVD, STE 107
SAN JOSE, CA 95134                       SANTA CLARA, CA 95054                 AUSTIN, TX 78758




APPLIED PHYSICS INC                      APPLIED PHYSICS LABORATORY            APPLIED PROACTIVE TECHNOLOGIES INC
400 N COUNTY ROAD 2E                     DIV OF JOHN HOPKINS UNIVERSITY        ATTN PRESIDENT
MONTE VISTA, CO 81144-9599               ATTN STAFF ATTY-AIR & MISSILE DEF     146 CHESTNUT ST
                                         11100 JOHNS HOPKINS RD, MS 13-5586    SPRINGFIELD, MA 01103
                                         LAUREL, MD 20723



APPLIED PULSED POWER INC                 APPLIED PUMP SALES INC                APPLIED SCIENCE & TECHNOLOGY INC
ATTN PRESIDENT                           ATTN OWNER                            ATTN SR VICE PRESIDENT
2025 DRYDEN RD                           136 ALEXANDRIA CT                     35 CABOT RD
FREEVILLE, NY 13068                      P.O. BOX 2500                         WOBURN, MA 01801
                                         ADVANCE, NC 27006
                  Case
APPLIED SCIENCE AND       25-90163
                    TECHNOLOGY  INC   Document   87 Filed
                                         APPLIED SEALS        in TXSB on 07/03/25APPLIED
                                                       CO., LTD                    PageSPECIALTY
                                                                                         50 of 944
                                                                                                 UNDERWRITERS LLC
ATTN VP ENGINEERING                       16 LU KUNG NORTH 2ND ROAD                ATTN SR UNDERWRITER
90 INDUSTRIAL WAY                         LUKANG 505                               55 W MONROE, STE 1550
WILMINGTON, MA 01887-4610                 TAIWAN                                   CHICAGO, IL 60603




APPLIED SPECTRA INC                       APPLIED SURFACE TECHNOLOGIES INC         APPLIED TECHNICAL SERVICES
ATTN TECH DIRECTOR                        ATTN PRESIDENT                           1049 TRIAD COURT
46665 FREMONT BLVD                        15 HAWTHORNE DR                          MARIETTA, GA 30062-2259
FREMONT, CA 94538                         NEW PROVIDENCE, NJ 07974




APPLIED TECHNOLOGIES INC                  APPLIED THERMAL TECHNOLOGIES LLC         APPLIED THIN FILM PRODUCTS
ATTN PRES                                 ATTN DIRECTOR                            3439 EDISON WAY
224 HIGH HOUSE RD, STE 220                3255 KIFER RD                            FREMONT, CA 94538-6179
CARY, NC 27513                            SANTA CLARA, CA 95051




APPLIED VACCUM TECHNOLOGY INC             APPLIED VACCUM TECHNOLOGY INC            APPROVAL SPECIALISTS INC
ATTN PRESIDENT                            ATTN PRESIDENT                           29416 PEBBLE BEACH DR
6850 SUNWOOD DR NW                        865 INDUSTRIAL BLVD W                    MURRIETA, CA 92563
RAMSEY, MN 55303                          WACONIA, MN 55387




APPS ASSOCIATES LLC                       APPS ASSOCIATES LLC                      APPSHOP INC
289 GREAT ROAD, SUITE 308                 ATTN CONTRACTS ADMIN                     ATTN VP FINANCE
ACTON, MA 01720-4768                      40 NAGOG PARK, STE 105                   47787 FREMONT BLVD
                                          ACTON, MA 01720                          FREMONT, CA 94538




APS ENERGIA SA                            APT ELECTRONICS CO LTD                   APTINA INC
ATTN VICE PRESIDENT                       ATTN VP                                  ATTN CHF LEGAL & ADMIN OFFC
UL MARECKA 47                             NO 33, S CF HUANSHI RD                   190 ELGIN AVE
ZIELONKA 05-220                           NANSHA DIST                              GEORGE TOWN
POLAND                                    GUANGZHOU CHINA                          GRAND CAYMAN KY1-9005 CAYMAN
                                                                                   ISLANDS


APTIV SERVICES US LLC                     AQ PACK (M) SDN BHD                      AQUA CONTOUR CUTTING, INC.
ATTN PRESIDENT                            ATTN GENERAL MANAGER                     ACC INC.
5725 INNOVATION DR                        NO 5, JALAN PAHAT 16/8A                  97 GUNN PLACE
TROY, MI 48098                            SECTION 16, SHAN ALAM                    RUSSELLVILLE, AR, AR 72812
                                          SELANGOR DARUL EHSAN 40200 MALAYSIA



AQUA DESIGNS INC                          AQUA DESIGNS, INC                        AQUACUT INC
ATTN VICE PRESIDENT                       708 E OAKWOOD ST                         ATTN PRESIDENT
109 STOCKBRIDGE PL                        MEBANE, NC 27302-8229                    P.O. BOX 11174
HILLSBOROUGH, NC 27278                                                             SYRACUSE, NY 13218




AQUALUMA MARINE LIGHTING                  [NAME REDACTED]                          AQUIRE SOLUTIONS INC
ATTN DIRECTOR                             [ADDRESS REDACTED]                       ATTN VP AND GEN COUNSEL
UNIT 4/54 SIGANTO DR                                                               400 E LAS COLINAS BLVD, STE 500
HELENSVALE, QLD 4212                                                               IRVING, TX 75039
AUSTRALIA



AR WORLDWIDE                              AR. DEPT OF FINANCE AND ADMINISTRATION   [NAME REDACTED]
ATTN SENIOR VP, COO                       OFFICE OF STATE REVENUE ADMIN.           [ADDRESS REDACTED]
160 SCHOOL HOUSE RD                       1509 W 7TH ST
SOUDERTON, PA 18964                       LITTLE ROCK, AR 72201
[NAME REDACTED] Case 25-90163            Document
                                            ARAMARK87  Filed in TXSB on 07/03/25ARAMARK
                                                    REFRESHMENT                   Page 51 of 944
[ADDRESS REDACTED]                          2400 MARKET ST                        4600 TRINITY ROAD
                                            PHILADELPHIA, PA 19103                RALEIGH, NC 27607-3924




[NAME REDACTED]                             ARBON EQUPMENT CORPORATION            [NAME REDACTED]
[ADDRESS REDACTED]                          ATTN OPERATIONS MGR                   [ADDRESS REDACTED]
                                            8900 N ARBON DR
                                            MILWAUKEE, WI 53223




[NAME REDACTED]                             ARBURG INC                            ARC ENERGY
[ADDRESS REDACTED]                          ATTN VP & CFO                         ATTN CEO
                                            125 ROCKWELL RD                       18 CELINA AVE, UNIT 17
                                            NEWINGTON, CT 06111                   NASHUA, NH 03063




ARC FLASHLIGHT LLC                          ARCADIAN RISK CAPITAL (IRELAND) LTD   ARCADIS G&M OF NORTH CAROLINA INC
ATTN PRES                                   4 EARLSFORT TERRACE                   4915 PROSPECTUS DR, STE G
1835 E 6TH ST                               DUBLIN D02 E024                       DURHAM, NC 27713
TEMPE, AZ 85281                             IRELAND




ARCELORMITTAL WIRE INTERNATIONAL            [NAME REDACTED]                       ARCH ELECTRIC INC
ATTN CHIEF OPERATING OFFICER                [ADDRESS REDACTED]                    ATTN SALES MGR
KRAKELSHAFF                                                                       1237 PILGRIM RD, STE 201
BETTEMBOURG L3235                                                                 PLYMOUTH, WI 53073
LUXEMBOURG



ARCH INSURANCE GROUP INC                    ARCH INSURANCE GROUP INC              ARCH SPECIALTY INSURANCE COMPANY
210 HUDSON ST, STE 300                      WATERLOO HOUSE                        HARBORSIDE 3
JERSEY CITY, NJ 07311-1206                  100 PITTS BAY RD                      210 HUDSON ST, STE 300
                                            PEMBROKE HM 08                        JERSEY CITY, NJ 07311-1107
                                            BERMUDA



ARCHER ELECTRIC LLC                         [NAME REDACTED]                       [NAME REDACTED]
ATTN OWNER                                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]
6152 SAINT ANTHONY RD
ALLENTON, WI 53002




ARCHIBALD & MEEK INC                        ARCHIE CULINARY SOLUTIONS LLC         ARCHITECTURAL LIGHTING AND DESIGN INC
ATTN RICHARD MEEK, PRINCIPAL                1144 RAVEN PERCH DR                   ATTN MR HANK LAWSON, PRESIDENT
537 W WRIGHTWOOD AVE                        WENDELL, NC 27591-9812                2525 N PALAFOX ST
ELMHURST, IL 60126                                                                PENSACOLA, FL 32501




ARCHITECTURAL LIGHTING ASSOCS INC           ARCHITECURAL BUILDERS SUPPLY INC      ARCHIVE360 INC
ATTN BILL GALVIN                            ATTN OWNER                            ATTN PRESIDENT
101 TURTLE CREEK BLVD                       210 E SCHOOL LANE                     1737 S NAPERVILLE RD, STE 101
DALLAS, TX 75207                            PROSPECTS HEIGHTS, IL 60070           WHEATON, IL 60189




ARCHOUSTICS LLC                             ARCOM SYSTEMS INC                     ARCONIUM
ATTN OWNER                                  ATTN PRESIDENT                        ATTN EASTERN REG SALES MGR
13777 BALLANTYNE CORPORATE PL, STE 250      5200 NORTHSHORE LN                    400 HARRIS AVE
CHARLOTTE, NC 28277                         N LITTLE ROCK, AR 72118               PROVIDENCE, RI 02909
ARCOP INC          Case 25-90163      Document  87
                                         ARCPOINT LABSFiled in TXSB on 07/03/25ARCTIC
                                                       OF RALEIGH-DURHAM         Page   52 INC
                                                                                      SALES of 944
ATTN SVP INDIRECT SOURCING                3326 DURHAM CHAPEL HILL BLVD.         ATTN PRESIDENT
1155 PERIMETER CENTER W                   DURHAM, NC 27707-6239                 17620 KAMKOFF AVE, UNIT A
ATLANTA, GA 30338                                                               EAGLE RIVER, AK 99577




ARCTIC SALES INC                          ARDD WINTER INC                       ARDEN SYSTEMS INC
ATTN RICH BOSELA                          ATTN BOBBY ARDD                       ATTN DOP
P.O. BOX 770850                           4250 RIVER GREEN PKWY, STE A          52 BONAVENTURA DR
EAGLE RIVER, AK 99577                     DULUTH, GA 30096                      SAN JOSE, CA 95134




ARDITI SPA                                [NAME REDACTED]                       [NAME REDACTED]
ATTN GENERAL MANAGER                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
VIA CABERARDI, 3
BREMBILLA 24012
ITALY



[NAME REDACTED]                           [NAME REDACTED]                       AREMCO PRODUCTS INC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    ATTN PRESIDENT
                                                                                23 SNOWDEN AVE
                                                                                OSSINING, NY 10562




ARENA SOLUTIONS INC                       ARENA SOLUTIONS INC                   ARENA SOLUTIONS INC
989 E HILLSDALE, STE 250                  ATTN SR VICE PRESIDENT                ATTN VP FINANCE
FOSTER CITY, CA 94404                     120 CONSTITUTION DR                   4100 E THIRD AVE, STE300
                                          MENLO PARK, CA 94025                  FOSTER CITY, CA 94404




ARE-NC REGION NO. 19, LLC                 ARE-NC REGION NO.19 LLC               ARE-NC REGION NO.19 LLC
ATTN: CORPORATE SECRETARY                 5 LABORATORY DR, STE 3200             ATTN SR VICE PRESIDENT
26 N EUCLID AVE                           RESEARCH TRIANGLE PK, NC 27709        P.O. BOX 13329
PASADENA, CA 91101                                                              12 DAVIS DR
                                                                                RESEARCH TRIANGLE PK, NC 27709



ARE-NC REGION NO.19 LLC                   ARENCIBIA ASSOCIATES INC              ARETE GROUP INC
C/O ALEXANDRIA REAL ESTATE EQUITIES INC   ATTN PRESIDENT                        ATTN MG PARTNER
ATTN CORPORATE SECRETARY                  102 E STATION AVE                     W236 S7050 BIG BEND DR, STE 2
26 N. EUCLID AVE                          COOPERSBURG, PA 18036                 BIG BEND, WI 53103
PASADENA, CA 91101



AREVALO, MARCO                            [NAME REDACTED]                       [NAME REDACTED]
DBA NEW WAVE THIN FILMS                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]
ATTN PRESIDENT
5423 CENTRAL AVE, STE 6
NEWARK, CA 94560



ARGENTO SC                                ARGOSY COMPONENT SALES INC            ARGUS TECHNIAL INC
ATTN PRESIDENT                            ATTN PRESIDENT                        DBA ARGUS TECHNICAL SERVICES
1407 BROADWAY, STE 2001                   1409 140TH PL NE                      ATTN SR ACCOUNT EXEC
NEW YORK, NY 10018                        BELLEVUE, WA 98007                    2835 N MAYFAIR RD
                                                                                MILWAUKEE, WI 53222



ARIANNA LED SRL                           ARIANNA SPA                           ARIBA INC
ATTN PRESIDENT & CEO                      ATTN CHIEF EXECUTIVE OFFICER          910 HERMOSA CT
PASS CORNER PISCOPIA, 10                  VIA DELLINDUSTRIA, 14                 SUNNYVALE, CA 94085
PADOVA 35137                              BRUGINE 35020
ITALY                                     ITALY
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                                       ARIEL PHOTOTONICS in TXSBLTD
                                                                 on 07/03/25ARIEL
                                                                              Page   53 of
                                                                                  PHYSICS    944LTD
                                                                                          ISRAEL
ATTN NEW PRODUCT DEV MGR                4 HAMAAYAN ST                         ATTN CEO
6 RUE DI STADE SAUVANET                 LIGAD CENTER, 2ND BLDG, LOBBY FL      15 CENTRAL AVE, 1ST FL
LE MESNIL AMELOT 77990                  MODIIN 71700                          LIGAD CENTER
FRANCE                                  ISRAEL                                MODIIN 71700 ISRAEL



ARIEL TECHNOLOGIES INC                  ARIMA OPTOELECTRONICS CORP            ARIMON TECHNOLOGIES INCORPORATED
ATTN PRES                               ATTN SALES DIR                        ATTN PRESIDENT
1691 MICHIGAN AVE, STE 425              NO 119, KUANG FU N RD                 251 E 5TH ST
MIAMI BEACH, FL 33139                   HSIN CHU INDUSTRIAL PARK, HU KOU      MONTELLO, WI 53949
                                        HSIN CHU 30351 TAIWAN



ARISTEIA CAPITAL LLC                    ARISTO ENGINEERING PTE LTD            ARISTO-CAST INC
1140 AVENUE OF THE AMERICAS             ATTN DIRECTOR                         ATTN VICE PRESIDENT ENGINEER
20TH FL                                 BLK115A COMMONWEALTH DR 01-17/20      7400 RESEARCH DR
NEW YORK, NY 10036                      TANGLIN HALT INDUSTRIAL ESTATE        ALMONT, MI 48003
                                        SINGAPORE 149596 SINGAPORE



[NAME REDACTED]                         [NAME REDACTED]                       ARIZONA BRAINFOOD INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    P.O. BOX 242
                                                                              MESA, AZ 85211-0242




ARIZONA CORPORATION COMMISSION          ARIZONA DEPARTMENT OF REVENUE         ARIZONA DEPARTMENT OF REVENUE
1200 W WASHINGTON STREET                P.O. BOX 29032                        UNCLAIMED PROPERTY UNIT
PHOENIX, AZ 85007                       PHOENIX, AZ 85038-9032                P.O. BOX 29026
                                                                              PHOENIX, AZ 29096




ARIZONA DEPT OF ECONOMIC SECURITY       ARIZONA DEPT OF ENVIRONMENTAL         ARIZONA DEPT OF ENVIRONMENTAL
UNEMPLOYMENT INSURANCE                  QUALITY                               QUALITY
ADMINISTRATION                          1110 W WASHINGTON ST                  SOUTHERN REGIONAL OFFICE
P.O. BOX 29225                          PHOENIX, AZ 85007                     400 W CONGRESS ST, STE 433
PHOENIX, AZ 85038-9225                                                        TUCSON, AZ 85701



ARIZONA DEPT OF REVENUE                 ARIZONA OFFICE OF THE ATTORNEY        ARIZONA STATE UNIVERSITY
1600 W. MONROE                          GENERAL                               1151 S FOREST AVE
PHOENIX, AZ 85007-2650                  CONSUMER INFORMATION AND COMPLAINTS   TEMPE, AZ 85281
                                        400 W CONGRESS ST, S BLDG STE 315
                                        TUCSON, AZ 85701-1367



ARK MODEL AND STAMPING INC              ARKADIN (HONG KONG) LTD               ARKALUMEN INC
ATTN PRESIDENT                          18 WHITFIELD RD, RM 2402              ATTN PRESIDENT
2401 N RITTER AVE                       CITICORP CENTRE                       1750 COURTWOOD CRES, STE 308
INDIANAPOLIS, IN 46218                  CAUSEWAY BAY                          OTTAWA, ON K2C 2B5
                                        HONG KONG                             CANADA



ARKANSAS CIVIL LIBERTIES UNION          ARKANSAS DEPARTMENT OF REVENUE        ARKANSAS DEPT OF ENERGY &
FOUNDATION INC                          1816 WEST 7TH STREET LEDBETTER BLDG   ENVIRONMENT
904 WEST SECOND STREET SUITE 1          LITTLE ROCK, AR 72201-1030            DIVISION OF ENVIRONMENTAL QUALITY
LITTLE ROCK, AR 72201-2144                                                    5301 NORTHSHORE DRIVE
                                                                              NORTH LITTLE ROCK, AR 72118-5317



ARKANSAS DEPT OF LABOR                  ARKANSAS DEPT OF WORKFORCE SERVICES   ARKANSAS DEPT OF WORKFORCE SERVICES
900 W CPAITAL AVE                       2 CAPITOL MALL                        P.O. BOX 2981
SUITE 400                               LITTLE ROCK, AR 72201                 LITTLE ROCK, AR 72203
LITTLE ROCK, AR 72201
ARKANSAS GOVPAY –Case    25-90163
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                                                             TXSB onINC07/03/25ARKANSAS
                                                                                 Page 54   ofMANUFACTURING
                                                                                        LAMP  944          CO
GOVERNMENT SERVICES                      ATTN SALES MANAGER                    ATTN PRESIDENT
1515 W 7TH STREET                        3804 NONA ST                          1701 S 28TH ST
LITTLE ROCK, AR 72203                    NORTH LITTLE ROCK, AR 72118           VAN BUREN, AR 72956




ARKANSAS OFFICE OF THE ATTORNEY          ARKANSAS POWER ELECTRONICS INTL INC   ARKANSAS POWER ELECTRONICS INTL INC
GENERAL                                  ATTN PRES & CTO                       C/O SMITH HURST PLC
CONSUMER PROTECTION DIVISION             535 W RESEARCH CNTR BLVD, STE 209     ATTN JAMES SMITH
323 CTR ST STE 200                       FAYETTEVILLE, AK 72701                226 W DICKSON ST, STE 201
LITTLE ROCK, AR 72201                                                          FAYETTEVILLE, AR 72701



ARKANSAS SECRETARY OF STATE OFFICE       ARKANSAS SECURITIES DEPARTMENT        ARKANSAS STATE AUDITOR
STATE CAPITOL                            1 COMMERCE WAY, STE 402               UNCLAIMED PROPERTY DIVISION
STE 256                                  LITTLE ROCK, AR 72202                 1401 W CAPITOL AVE, STE 325
500 WOODLANE ST                                                                LITTLE ROCK, AR 72201
LITTLE ROCK, AR 72201



ARKEMA INC                               [NAME REDACTED]                       ARLINGTON COMPUTER PRODUCTS INC
ATTN DIR, RESEARCH DEV                   [ADDRESS REDACTED]                    ATTN GEN MGR
900 FIRST AVE                                                                  851 COMMERCE CT
KING OF PRUSSIA, PA 19406                                                      BUFFALO GROVE, IL 60089




ARM LTD                                  [NAME REDACTED]                       [NAME REDACTED]
110 FULBOURN RD, CHERRY HINTON           [ADDRESS REDACTED]                    [ADDRESS REDACTED]
CAMBRIDGE CB1 9NJ
UNITED KINGDOM




ARMAMENT SYSTEMS & PROCEDURES INC        [NAME REDACTED]                       [NAME REDACTED]
ATTN PRODUCT MNG                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]
2511 EAST CAPITOL DR
APPLETON, WI 54912




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




ARMSTRONG RELOCATION & COMPANIES         [NAME REDACTED]                       [NAME REDACTED]
100 ARMSTRONG COURT                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
LA VERGNE, TN 37086-4165




[NAME REDACTED]                          [NAME REDACTED]                       ARNESES Y CONEXIONES SA DE CV
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    (ARCOSA)
                                                                               ATTN VICE PRESIDENT
                                                                               CALLE UNO NORTE 1108, CIUDAD
                                                                               INDUSTRIAL
                                                                               TIJUANA, BC 22444
                                                                               MEXICO

[NAME REDACTED]                          ARNOFF MOVING AND STORAGE INC         ARNOLD & RICHTER CINE TECHNIK GMBH
[ADDRESS REDACTED]                       1282 DUTCHESS TPK                     HERBET-BAYER-STR 10
                                         POUGHKEEPSIE TOWN, NY 12603-1175      MUNCHEN 80807
                                                                               GERMANY
[NAME REDACTED] Case 25-90163    Document   87 Filed in TXSB on 07/03/25[NAME
                                    [NAME REDACTED]                        Page  55 of 944
                                                                              REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     ARO METAL STAMPING CO INC             [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN PRESIDENT                        [ADDRESS REDACTED]
                                    78 CONGRESS CIRCLE W
                                    ROSELLE, IL 60172




[NAME REDACTED]                     AROS ELECTRONICS AB                   ARRADIANCE INC
[ADDRESS REDACTED]                  ATTN CHIEF EXECUTIVE OFFICER          ATTN PRESIDENT
                                    OSTERGARDSGATAN 12                    142 NORTH RD, STE F-150
                                    MOLNDAL 431 53                        SUDBURY, MA 01776
                                    SWEDEN



[NAME REDACTED]                     ARRAY WIRELESS INC                    [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN PRESIDENT                        [ADDRESS REDACTED]
                                    132 N EL CAMINO REAL
                                    ENCINITAS, CA 92024




[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                       ARROW ASIA PACIFIC LTD
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    ATT DIR, LIGHT BUS DEV
                                                                          20/F TOWER TWO, EVER GAIN PLAZA
                                                                          88 CONTAINER PORT RD
                                                                          KWAI CHUNG HONG KONG



ARROW ASIAPAC LTD                   ARROW ASIAPAC LTD                     ARROW CENTRAL EUROPE GMBH
2/F, GREEN 18, PHASE 2              HONG KONG SCIENCE PARK                AL. GRUNWALDZKA 472C
HONG KONG 999077                    PHASE 2, GREEN 18, 2F                 GDANSK 80309
HONG KONG                           PAK SHEK KOK                          POLAND
                                    HONG KONG



ARROW CENTRAL EUROPE GMBH           ARROW CENTRAL EUROPE GMBH             ARROW CENTRAL EUROPE GMBH
ATTN CLAUS KNOBLAUCH                C/O ARROW ELECTRONICS (UK) LTD.       FRANFURTER STRASSE 211
FRANKFURTER STR. 211                ESSEX CM17 9NA                        NEU-ISENBURG 63263
NEU-ISENBURG 63263                  UNITED KINGDOM                        GERMANY
GERMANY



ARROW COMPONENTS SWEDEN AB          ARROW ELECTRONICS AUSTRALIA PTY LTD   ARROW ELECTRONICS INC
ATTN RSM                            14 NICOLE CLOSE                       50 MARCUS DR
KRONBORGSGRAND 7                    BAYWATER NORTH, VIC 3153              MELVILLE, NY 11747
KISTA 164 94                        AUSTRALIA
SWEDEN



ARROW ELECTRONICS INC               ARROW ELECTRONICS                     ARROW ELECTRONICS, INC.
ATTN MARTIN HILLERY, LEGAL DIR      9151 E. PANORAMA CIR                  13469 COLLECTIONS CENTER DRIVE
70 MAXES RD                         CENTENNIAL, CO 80112                  CHICAGO, IL 60693-0001
MELVILLE, NY 11747
ARROW ELECTRONICS, Case
                     INC. 25-90163   Document  87 Filed inINC.
                                        ARROW ELECTRONICS,  TXSB on 07/03/25ARROWHEAD
                                                                              Page 56THERMAL
                                                                                      of 944 PRODUCTS LLC
ATTN: DAVID WEST, ALAN CHAN             ATTN: VICE PRESIDENT, SEMICONDUCTOR;   ATTN CTO
9201 E. DRY CREEK ROAD                  LEGAL                                  18250 HIGHLAND AVE
CENTENNIAL, CO 80112                    9151 E. PANORAMA CIRCLE                WAYZATA, MN 55391
                                        CENTENNIAL, CO 80112



[NAME REDACTED]                         ARS PRODUCTS LLC                       [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN PRINCIPAL                         [ADDRESS REDACTED]
                                        30 CRABTREE LN
                                        WOODSTOCK, CT 06281




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




ART OF MOTION EVENTS                    ART PRESERVATION SERVICES INC          ARTEMIDE MEGALIT SA
116 LUBY LN                             ATTN PRESIDENT                         ATTN PRESIDENT
PITTSBORO, NC 27312-9529                44-02 23RD ST, STUDIO 102              ZONE INDUSTRIELLE DU BREUIL BP55
                                        LONG ISLAND CITY, NY 11101             SAINT FLORENT SUR CHER
                                                                               BORGEOUS 18400 FRANCE



ARTEMIDE SPA                            ARTEMIS INC                            ARTESYN EMBEDDED TECHNOLOGIES INC
ATTN MARCO PEDANI                       ATTN ELECTRICAL ENGINEER               2900 S DIABLO WAY, STE 190
VIA BERGAMO 18                          36 CENTRAL AVE                         TEMPE, AZ 85282
PREGNANA MILANESE 20010                 HAUPPAUGE, NY 11788
ITALY



ARTESYN EMBEDDED TECHNOLOGIES INC       [NAME REDACTED]                        [NAME REDACTED]
ATTN DAVIE CHENG                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]
14/F, LU PLAZA
2 WING YIP ST, KWUN TONG
KOWLOON HONG KONG



[NAME REDACTED]                         ARTICULATE GLOBAL LLC                  ARTIMAR LTDA
[ADDRESS REDACTED]                      244 5TH AVE. SUITE 2960                ATTN RICARDO RABNER
                                        NEW YORK, NY 10001-7604                RUA BELA CINTRA 746, 3RD FL
                                                                               3RD FL
                                                                               SAO PAULO 01415-000 BRAZIL



[NAME REDACTED]                         [NAME REDACTED]                        ARTP DEVELOPERS ONE LLC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     535 W RESEARCH CENTER BLVD
                                                                               FAYETTEVILLE, AR 72701-4006




ARTP ENTERPRISE CENTER SPE LLC          ARTWORK CONVERSION SOFTWARE            ARUBA NETWORKS INC
ATTN MANAGER                            417 INGALLS ST                         ATTN GENERAL COUNSEL
535 RESEARCH CENTER BLVD, STE 109       SANTA CRUZ, CA 95060-5876              1344 CROSSMAN AVE
FAYETTEVILLE, AR 72701                                                         SUNNYVALE, CA 94089




ARUP US INC                             ARUP US, INC.                          ARYAKA NETWORKS INC
452 FIFTH AVENUE                        ATTN: JORGE VALENZUELA                 ATTN SR CONTRACTS MGR
NEW YORK, NY 10018                      560 MISSION STREET                     1800 GATEWAY DR, STE 200
                                        SAN FRANCISCO, CA 94105                SAN MATEO, CA 94404
[NAME REDACTED] Case 25-90163   Document   87 Filed in TXSB on 07/03/25[NAME
                                   [NAME REDACTED]                        Page  57 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                    ASAGI CREATE CO LTD                  ASAHI DIAMOND AMERICA INC
[ADDRESS REDACTED]                 ATTN DIRECTOR                        9872 WINDISCH RD
                                   22 HIGASHI-IKEDA-CHO                 WEST CHESTER, OH 45069-3806
                                   NISHIKYOGOKU, UKYO-KU
                                   KYOTO 615-0805 JAPAN



ASAHI GLASS CO LTD                 ASAHI RUBBER INC                     [NAME REDACTED]
ATTN GM                            ATTN INTL MANAGER                    [ADDRESS REDACTED]
12-1 YURAKUCHI 1 CHROME            2-7-2 DOTE-ECHO, OMIYA-KU
CHIYODA-KU                         SAITAMA-SHI, SAITAMA 330-0801
TOKYO 100-8405 JAPAN               JAPAN



ASANA INC                          ASANA INC                            [NAME REDACTED]
150 BRYANT STREET SUITE 200        633 FOLSOM ST, STE 100               [ADDRESS REDACTED]
SAN FRANCISCO, CA 94103            SAN FRANCISCO, CA 94107




ASAP OFFICE SUPPLY INC             [NAME REDACTED]                      [NAME REDACTED]
ATTN OWNER/PRESIDENT               [ADDRESS REDACTED]                   [ADDRESS REDACTED]
5621 DEPARTURE DR
RALEIGH, NC 27616




[NAME REDACTED]                    ASASHI GLASS CO LTD                  ASBAI -ASSOCIACAO BRASILIERA DOS
[ADDRESS REDACTED]                 ATTN EXEC OFFICER & GM OF RESEARCH   ARQUITETOS DE ILUMINACAO
                                   CENTER                               ATTN ETHER STILLER, PRESIDENT
                                   1150 HAZAWA-CHO                      RUA ALVERO RODRIGUES, 182, CONJUNTO
                                   YOKOHAMA-SHI, KANAGAWA 221-8755      63
                                   JAPAN                                BROOKLIN, SP 05417-010 BRAZIL


ASBURY CARBONS INC                 [NAME REDACTED]                      [NAME REDACTED]
ATTN DIR OF TECH SERV              [ADDRESS REDACTED]                   [ADDRESS REDACTED]
405 OLD MAIN ST
ASBURY, NJ 08802




ASC INTERNATIONAL INC              [NAME REDACTED]                      ASCENDING IRON LLC
ATTN VICE PRESIDENT                [ADDRESS REDACTED]                   ATTN STEPHEN WORKMAN II, REG AGENT
1799 COUNTY RD, BLDG 9                                                  6504 BURLINGTON RD
MAPLE PLAN, MN 55359                                                    WHITSETT, NC 27377




ASCENDING IRON LLC                 ASCENT FAIR (HONG KONG) LTD          ASCENT GLOBAL LOGISTICS
P.O. BOX 477                       ATTN MKT MANAGER                     ATTN SVP
WHITSETT, NC 27377                 UNIT 1 & 2, FL 26, 1 HUNG TO RD      1431 OPUS PL, STE 530
                                   KWUN TONG                            DOWNERS GROVE, IL 60515
                                   KOWLOON HONG KONG



ASCENTEC ENGINEERING LLC           ASCENTEC PROCESS EQUIPMENT LLC       ASCO POWER SERVICES, INC.
ATTN CONTROLLER                    ATTN PRES                            160 PARK AVE
19535 SW 129TH AVE                 500 E COMSTOCK DR                    FLORHAM PARK, NJ 07932-1591
TUALATIN, OR 97062                 CHANDLER, AZ 85225
ASCOT INSURANCE CO  Case 25-90163       Document   87 Filed
                                           ASCOT INSURANCE COin TXSB on 07/03/25ASCOT
                                                                                  Page   58 of 944
                                                                                      INSURANCE COMPANY
ATTN CLAIMS DEPT                           ATTN GREG GARIJANIAN                  1020 HIGHLAND COLONY PKWY, STE 700
55 W 46TH ST, 26TH FL                      3500 LENOX RD NE, STE 7500            RIDGELAND, MS 39157
NEW YORK, NY 10036                         ATLANTA, GA 30326




ASCOTECH ELECTRONIC LTD                    ASCOTECH ELECTRONIC LTD               ASCOTT GROUP LLC
ATTN ELI BALASS                            ATTN MANAGING DIR                     ATTN MANAGING DIRECTOR
HANECHOSHET 3 ST                           6 RAUL WALENBERG                      382 NE 191ST ST, UNIT 39356
TEL-AVIV 6971068                           TEL AVIV 69719                        MIAMI, FL 33179
ISRAEL                                     ISRAEL



ASD LIGHTING PLC                           ASE ELECTRONICS (M) SDN BHD           ASE SYSTEMS INC
ATTN TECH DIR                              PLOT 20, BAYAN LEPAS INDUSTRIAL PAR   ATTN SALE MKTG
MANGHAM RD                                 PENANG PIN 11900                      9416 NEILS THOMPSON DR 113
BAROT HALL INDUSTRIAL ESTATE               MALAYSIA                              AUSTIN, TX 78758
ROTHERHAM S61 4RJ UNITED KINGDOM



ASE U.S. INC                               ASE WEIHAI INC                        ASE WEIHAI INC
ATTN MIKE VANHOY                           ATTN YOUNGGILL LEE                    C/O ASE US INC
27 PICKETT LN                              WEIHAI EXPORT PROCESS ZONE            ATTN MIKE VANHOY
PITTSBORO, NC 27312                        HAIMAN RD 16-1, WEIHAI                27 PICKETT LN
                                           SHANDONG CHINA                        PITTSBORO, NC 27312



ASECO CORPORATION                          ASECO INTEGRATED SYSTEMS              [NAME REDACTED]
ATTN WORLDWIDE SALES MGR                   ATTN PRESIDENT                        [ADDRESS REDACTED]
500 DONALD LYNCH BLVD                      635 FOURTH LINE, UNIT 16
MARLBOROUGH, MA 01752                      OAKVILLE, ON L6L 5B3
                                           CANADA



ASE-KOREA INC                              ASELSAN ELECTRONIC INDUST             ASELSAN INC
76 SANEOPDANJI-GIL, PAJU-SI                P.O. BOX 1                            ATTN SENIOR ENGINEER
PAJU-SI 10878                              ANKARA 06172                          MACUNKOY, YENIMAHALLE
SOUTH KOREA                                TURKEY                                ANKARA 06172
                                                                                 TURKEY



ASELTA NANOGRAPHICS                        ASETRONICS AG                         [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER               ATTN ENGINEER                         [ADDRESS REDACTED]
7, PARVIS LOUIS NEEL GRENOBLE CEDEX 9      FREIBURGSTRASSE 251
GRENOBLE 38040                             BERN 18 CH-3018
FRANCE                                     GERMANY



[NAME REDACTED]                            ASG ENERGY LLC                        ASG SERVICES LLC
[ADDRESS REDACTED]                         ATTN SR PARTNER                       ATTN SALES MGR
                                           10626 GULFDALE ST, STE 7              3120 MEDLOCK BRIDGE RD, BLDG D
                                           SAN ANTONIO, TX 78216                 NORCROSS, GA 30071




ASHBY CROSS COMPANY                        ASHLAND - ACT                         ASHLAND INC
ATTN DIRECTOR SALES & MKTG                 ATTN TECH SALES REP                   ASHLAND DISTRIBUTION DIV
28 PARKER ST                               450 ALLENTOWN DR                      ATTN VP, WEST REGION
NEWBURY, MA 01985                          ALLENTOWN, PA 18103-9122              5200 BLAZAR PKWY
                                                                                 DUBLIN, OH 43017



[NAME REDACTED]                            [NAME REDACTED]                       ASIA VITAL COMPONENTS CO LTD
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    ATTN VP
                                                                                 7F-3, NO 24, WU-CHUAN 2 RD
                                                                                 HSIN-CHUANG CITY
                                                                                 TAIPEI HSIEN TAIWAN
                     Case 25-90163
ASIAN INFORMATION TECHNOLOGY    INC.   Document   87 Filed in TXSB on 07/03/25ASIC
                                          ASIANSIGNALS                           Page  59 of INC
                                                                                   ADVANTAGE 944
ATTN: KITTY LEE, SENIOR DIRECTOR          ATTN MANAGING DIR                   ATTN PIERRE IRISSOU
13 F, NO. 189, JINGMAO 2ND RD.            2 NITTAYO RD A MUANG                1290-B REAMWOOD AVE
NANGANG DIST., TAIPEI CITY 115            NAKHON PHANOM 48000                 SUNNYVALE, CA 94089
TAIWAN                                    THAILAND



ASIC NORTH INC                            [NAME REDACTED]                     ASL AUTOMOB SCI & TECH (SHANGHAI) CO
ATTN PRESIDENT                            [ADDRESS REDACTED]                  LTD
310 HURRICANE LN, UNIT 4                                                      ATTN CHAIRMAN
WILLISTON, VT 05495                                                           RM 1102, NO 243 DAXUE RD, YANGPU
                                                                              SHANGHAI 20043
                                                                              CHINA


ASM AMERICA, INC                          ASM ASSEMBLY AUTOMATION LTD         ASM CHARTED ACCOUNTANTS
ATTN: ANKUSH KUMAR                        ATTN MARKETING GM                   4TH FL, GLENDINNING HOUSE
3440 E UNIVERSITY DRIVE                   4/F WATSON CENTRE                   6 MURRAY ST
PHOENIX, AZ 85034-7200                    16 KUNG YIP ST                      BELFAST
                                          KWAI CHUNG HONG KONG                NORTHERN IRELAND BT1 6DN UNITED
                                                                              KINGDOM


ASM PACIFIC ASSEMBLY PRODUCTS INC         ASM TECHNOLOGY SINGAPORE PTE        ASMAITHA WIRELESS TECHNOLOGIES
7850 S HARDY DRIVE SUITE 110              2 YISHUN AVENUE 7                   ATTN ASST RF ENGINEER
TEMPE, AZ 85284-1122                      SINGAPORE 768924                    1757, CHETHAN COMPLEX
                                          SINGAPORE                           GOVINDRAJ NAGAR
                                                                              VIJAYANAGAR, BANGALORE 560040 INDIA



[NAME REDACTED]                           ASMC LLC                            ASML NETHERLANDS BV
[ADDRESS REDACTED]                        19087 W. CASEY RD                   ATTN CORPORATE IP DEPT
                                          LIBERTYVILLE, IL 60048-1078         DE RUN 6501
                                                                              VELDHOVEN 5504 DR
                                                                              NETHERLANDS



ASML US INC                               ASML US INC                         ASML USA INC
ATTN LEN PEARCE, ACCT MGR                 ATTN SA SALES VP                    ATTN GVP EV
25 CORPORATE PARK DR, STE E               8555 S RIVER PKWY                   2650 W GERONIMO PLACE
HOPEWELL JUNCTION, NY 12533               TEMPE, AZ 85284                     CHANDLER, AZ 85224




ASMPT SMT SINGAPORE PTE.LTD.              [NAME REDACTED]                     ASPECT SYSTEMS INC
535, YISHUN INDUSTRIAL PARK A             [ADDRESS REDACTED]                  ATTN PRESIDENT & CEO
SINGAPORE 768775                                                              375 E ELLIOT RD, STE 6
SINGAPORE                                                                     CHANDLER, AZ 85225




ASPEN SYNDICATE 4711                      ASPENCORE LLC                       ASPEX CORPORATION
ATTN HEAD OF GLOBAL CASUALTY              ATTN LEE DOUGLAS                    ATTN PRESIDENT
30 FENCHURCH ST                           9201 E DRY CREEK RD                 175 SHEFFIELD DR, STE 200
LONDON EC3M 3BD                           CENTENNIEL, CO 80112                DELMONT, PA 15626
UNITED KINGDOM



ASPHALT PRODUCTIONS INC                   ASPIRE DIGITAL LLC                  ASSAN ELECTRONIK LTD
ATTN GENERAL MGR                          ATTN FOUNDER & CEO                  ATTN GENERAL MGR
5809 PROGRESS DR                          9600 GREAT HILLS TRL, STE 150W      CUMHURIYET CAD NO 194
HARLINGEN, TX 78550                       AUSTIN, TX 78759                    CAVUSBASI- BEYKOZ
                                                                              ISTANBUL TURKEY



[NAME REDACTED]                           [NAME REDACTED]                     ASSEMBLED PRODUCT SPECIALISTS
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  2767 ORTEGA ROAD
                                                                              RAMONA, CA 92065-5585
                  Case 25-90163
ASSEMBLEON NETHERLANDS  BV              Document  87 Filed INC
                                           ASSENT COMPLIANCE in TXSB on 07/03/25ASSENT
                                                                                  PageCOMPLIANCE
                                                                                        60 of 944INC
ATTN SR PROD MARKETING MGR                 ATTN DIRECTOR                        ATTN OPERATIONS MANAGER
DE RUN 1102                                56 SPARKS ST, STE 510                1150-45 OCONNOR ST
LA VELDHOVEN 5503                          OTTAWA, ON K1P 5A9                   OTTAWA, ON K1P 1A4
NETHERLANDS                                CANADA                               CANADA



ASSET CONSULTANTS INC                      ASSET SOLUTIONS INC                  [NAME REDACTED]
ATTN PRES                                  105 TRADESMEN DRIVE, UNIT A          [ADDRESS REDACTED]
6200 COURTNEY CAMPBELL CSWY, STE 340       HUTTO, TX 78634-4131
TAMPA, FL 33607




ASSOC. FOR KNOWLEDGE MGMT IN               ASSOCIATED COMPONENT SALES INC       ASSOCIATED CONTROLS (AUSTRALIA) PTY
CONSTRUCTION-AKMC                          ATTN PRESIDENT                       LTD
RESIDENCE CITEAUX, 5-122, 1 AVENUE         P.O. BOX 1338                        ATTN SALES DIR
LILLE 59800                                BLAIRVILLE, GA 30514                 2-4 NORFOLK RD
FRANCE                                                                          GREENACRE, NSW 2190
                                                                                AUSTRALIA


ASSOCIATED ELECTRICAL CONTRACTORS          ASSOCIATED ELECTRICAL SALES INC      ASSOCIATED ELECTRICAL SALES INC
319 LAMB RD                                ATTN KYLE HUTCHINGS                  DBA AES LIGHTNING GROUP
P.O. BOX 39                                2580 SOUTH 90TH ST                   ATTN KYLE HUTCHINGS
WOODSTOCK, IL 60098                        OMAHA, NE 68124                      8526 F ST
                                                                                OMAHA, NE 68124



ASSOCIATED LIGHTING REPRESENTATIVES        ASSOCIATED POWER TECHNOLOGIES INC    ASSOCIATED RESEARCH INC
INC                                        ATTN REG MGR                         13860 W LAUREL DR
ATTN VP, CFO                               28105 N KEITH DR                     LAKE FORREST, IL 60045
8480 ENTERPRISE WAY                        LAKE FOREST, IL 60045
P.O. BOX 2265
OAKLAND, CA 94621


ASSOCIATED RESEARCH INC                    ASSOCIATED SCAFFOLDING COMPANY       ASSOCIATED WESTERN AGENCY INC
ATTN QC SUPPORT                            1303 EAST GREER STREET               DBA CASCADE LIGHTING
P.O. BOX 5977                              DURHAM, NC 27704-5028                ATTN JACK AUBERT
CAROL STREAM, IL 60197                                                          400 NE 11TH AVE
                                                                                PORTLAND, OR 97232



ASSOCIATION FOR THE ADVANCEMENT OF-        ASSURANT INC                         ASSY-PROY MANUFACTURING
SUSTAINABILITY IN HIGHER EDUCATION         ATTN VP REAL ESTATE AND FACILITIES   ATTN GM
(AASHE)                                    MGMT                                 CIRCUITO DE LAW PRODUCTIVIDAD 129
ATTN JUDY WALTON                           11222 QUAIL ROOST DR                 PARQUE IND. GUADALAJARA, COL LAS
213 1/2 N LIMESTONE ST                     MIAMI, FL 33157                      PINTAS
LEXINGTON, KY 40507                                                             EL SALTO, JAL 45690 MEXICO


AST LOGISTICS LLC                          [NAME REDACTED]                      ASTEC AMERICA INC
ATTN SEC/TREASURER                         [ADDRESS REDACTED]                   DBA EMERSON NETWORK POWER
1400 INTERNATIONAL DR                                                           ATTN DIR, TECHNICAL MKTG
MT PLEASANT, WI 53117                                                           5810 VAN ALLEN WAY
                                                                                CARLSBAD, CA 92008



ASTEC AMERICA LLC                          ASTEC INTL LTD                       ASTERA LED TECHNOLOGY GMBH
DBA ARTESYN EMBEDD TECHNOLIGES             ATTN SR DIRECTOR                     ATTN SALES & MARKETING DIR
ATTN VP SALES                              LU PLAZA, 2 WING YIP ST              KARL SCHMID STR 14
2900 S DIABLO WAY, STE 190                 KWUN TONG, FL 16/17                  MUNICH 81829
TEMPE, AZ 85282                            KOWLOON HONG KONG                    MUNICH



ASTRA MICROWAVE PRODUCTS LIMITED           ASTRA MICROWAVE PRODUCTS LTD         ASTRALUX INC
ASTRA TOWERS, SY.NO. 12(P), KOTHAGUDA      ASTRA TOWERS                         ATTN VP RESEARCH & TECH
HI-TECH CITY                               SURVEY NO:12(P), KOTHAGUDA POST      2386 VASSAR DR
HYDERABAD, AP                              HITEC CITY, KONDAPUR                 BOULDER, CO 80303
INDIA                                      HYDERABAD 500084 INDIA
ASTRALUX INC      Case 25-90163      Document
                                        ASTRIUM 87
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                                                                               PageLTD
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ATTN VP RESEARCH & TECH                 C/O AIRBUS DEFENCE AND SPACE GMBH      ATTN CONTRACTS MGR
2500 CENTRAL AVE                        100 AVE DE SUFFREN                     GUNNELSWOOD RD, STEVENAGE
BOULDER, CO 80301-2845                  PARIS 75015                            HERTFORDSHIRE SG1 2AS
                                        FRANCE                                 UNITED KINGDOM



ASTRO MANUFACTURING & DESIGN INC        ASTRO PAK CORP                         ASTRO SPACE INC
ATTN SR ACCOUNT EXEC                    ATTN CHIEF OPERATIONS OFFICER          ATTN PRESIDENT
34459 CURTIS BLVD                       270 E BAKER ST, STE 100                666 PLAINSBORO RD, STE 416
EASTLAKE, OH 44095                      COSTA MESA, CA 92626                   PLAINSBORO, NJ 08536




ASTRO TOOL & DIE CO LTD                 ASTRODYNE TDI                          ASTRON ELECTRONICS INC
ATTN PRESIDENT                          36 NEWBURGH ROAD                       ATTN PRESIDENT
5201 S WITNALL AVE                      HACKETTSTOWN, NJ 07840-3904            2154 MICHELSON DR, STE A
CUDAHY, WI 53110                                                               IRVING, CA 92612




ASTRONICS ADVANCED ELECTRONIC           ASTUTE ELECTRONICS INC                 ASUC GMBH - BETREUUNG MIT SYSTEM
SYSTEMS CORP                            ATTN VP                                AM HERRSCHAFTSWEIHER 35
ATTN VP FINANCE ADMIN                   1033 CHAMPIONS WAY, STE 500            LUDWIGSHAFEN 67071
12950 WILLOWS RD NE                     SUFFOLK, VA 23435                      GERMANY
KIRKLAND, WA 98034



ASUPER PRECISION MANUFACTURING CO       ASYMPTOTIC TECHNOLOGIES INC            ASYMPTOTIC TECHNOLOGIES INC
LTD                                     DBA ASYMTEK                            DBA ASYMTEK
ATTN SALES MGR                          703 E JEFFERSON ST                     ATTN PRES
7 RONG FU RD, SHANGLAND INDUSTRIAL      CHARLOTTESVILLE, VA 22902              2762 LOKER AVE W
ZONE                                                                           CARSLBAD, CA 92008
CHANG AN, DONGGUAN
GUANGDONG CHINA

ASYMTEK                                 ASYS AUTOMATION                        AT & T
ATTN PRES                               140 SATELLITE BLVD NE, STE D           P.O. BOX 5019
2762 LOKER AVE WEST                     SUWANEE, GA 30024                      CAROL STREAM, IL 60197-5019
CARLSBAD, CA 92008




AT ONCE STAFFING INC                    AT ONCE STAFFING INC                   AT YOUR DOOR DRUG TESTING CORP
ATTN PRESIDENT                          ATTN PRESIDENT                         ATTN OWNER
2201 LIBBIE AVE, STE 200                4737 JEFFERSON DAVIS HWY               7151 OKELLY CHAPEL RD, STE 199
RICHMOND, VA 23230                      FREDERICKSBURG, VA 22408               CARY, NC 27519




AT&T CORP                               AT&T CORP                              AT&T GLOBAL NETWORK SERVICES
55 CORPORATE DR                         801 JONES FRANKLIN RD                  HONG KONG LIMITED
BRIDGEWATER, NJ 08807                   RALEIGH, NC 27606                      22/F CITYPLAZA ONE, TAIKOO SHING, 1
                                                                               HONG KONG 999077
                                                                               HONG KONG



AT&T MOBILITY                           AT&T WORLDWIDE TELECOMMUNICATIONS      AT&T
ATTN LINDSAY MAGEL                      SERVICES SINGAPORE PTE LT              ATTN JIMMY ANSELL
5565 GLENRIDGE CONNECTOR                10 COLLYER QUAY 10-01 OCEAN FINANCI    150 FAYETTEVILLE ST
ATLANTA, GA 30342-4756                  SINGAPORE 049315                       SUITE 800
                                        SINGAPORE                              RALEIGH, NC 27601



ATAGO USA INC                           ATC SEMICONDUCTOR (WEIHAI) CO., LTD.   ATECH MANUFACTURING SOLUTIONS, INC.
ATTN GEN. MAN.                          16-1 HAINAN ROAD                       120 1530 OAKLAND ROAD STE
12011 NE FIRST ST, BLDG C, STE 110      ECONOMIC TECHNICAL, DEVELOPMENT        SAN JOSE, CA 95112-1249
BELLEVUE, WA 98005                      ZONE
                                        WEIHAI, SHANGDONG 264205
                                        CHINA
                  Case 25-90163 Document
ATEK MIKRODALGA A.S.                   ATHERTON,87ALAN
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YTU DAVUTPASA TEKNOPARK                DBA RED MESA PRODUCT CONSULTING        [ADDRESS REDACTED]
CIFTE HAVULAR MAH, ESKI LONDRA ASFALTI 12304 RED MESA HOLLOW
CAD KULUCKA MERKEZI B1 BLK 151/1D/213  AUSTIN, TX 78739
ESENLER/ISTANBUL TURKEY



ATIEVA INC                             ATILOS LLC                            ATKINS NORTH AMERICA INC
ATTN VP                                ATTN DIRECTOR                         DBA FAITHFULGOULD INC
125 CONSTITUTION DR                    TEXTILSCHIKOV ST, 2                   4030 W BOY SCOUT BLVD SUITE 700
MENLO PARK, CA 94025                   CHERNIHIV 14001                       TAMPA, FL 33607-5713
                                       UKRAINE



[NAME REDACTED]                        [NAME REDACTED]                       ATKORE INTERNATIONAL INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    ATTN NATL SALES DIR
                                                                             16100 S LATHROP AVE
                                                                             HARVEY, IL 60426




ATLANTA FALCONS STADIUM COMPANY LLC    ATLANTA SERIES OF LOCKTON COMPANIES   ATLANTASHINE
1 AMB DR NW                            LLC                                   2975 HEADLAND DR SW
ATLANTA, GA 30313-1501                 ATTN SVP/PRODUCER                     ATLANTA, GA 30311-5416
                                       3280 PEACHTREE RD NW, STE 800
                                       ATLANTA, GA 30305



ATLANTIC COAST PAINTING CONTRACTORS    ATLANTIC CORP                         ATLANTIC CREATIVE COMMUNICATIONS INC
INC                                    ATTN SALES REPRESENTATIVE             ATTN PRESIDENT
ATTN PRESIDENT                         806 N 23RD ST                         5400 ETTA BURKE CT
1923 TERRY RD                          WILMINGTON, NC 28405                  RALEIGH, NC 27606
DURHAM, NC 27712



ATLANTIC DIAMOND LTD                   ATLANTIC LIGHTING INC                 ATLANTIC PACKAGING
ATTN CHIEF EXEC OFFICER                ATTN PRESIDENT                        165 WEATHERS ST
DOCKLANDS INNOVATION PARK, E WALL RD   231 COMMERCE DR                       YOUNGSVILLE, NC 27596-7845
DUBLIN 3                               FALL RIVER, MA 02720
IRELAND



ATLANTIC TELECOM LLC                   ATLANTIS GRAPHICS INC UNIVERSAL       ATLAS COMPONENTS INC
ATTN PARTNER                           PRINTING & PUBLISH                    6797 ROUTE 9 SUITE 19
P.O. BOX 10468                         2410 EAST NC HWY 54                   RHINEBECK, NY 12572-3730
RALEIGH, NC 27605                      DURHAM, NC 27713-2254




ATLAS COPCO COMPRESSORS LLC            ATLAS COPCO COMPRESSORS LLC           ATLAS COPCO NORTH AMERICA INC
701-D SALEM AVENUE                     ATTN SENIOR MANAGER                   ATLAS COPCO RENTAL LLC
WINSTON SALEM, NC 27101                1800 OVERVIEW DR                      2300 EAST 13TH STREET
                                       ROCK HILL, SC 29730                   DEER PARK, TX 77536-9998




ATLAS ELECTRIC SUPPLIES INC            ATLAS LIGHTING PRODUCTS INC           ATLAS LOPCO
ATTN INSIDE SALES                      ATTN PRESIDENT                        ATTN SERV TECH
1111 W 22ND ST                         1406 S MEBANE ST                      701 SALEM AVE
HIALEAH, FL 33010                      BURLINGTON, NC 27215                  WINSTON-SALEM, NC 27101




ATLAS MATERIALS TESTING TECHNOLOGY     ATLAS TOOL & DIE WORKS INC            ATLASSIAN PTY LTD
GMBH                                   ATTN CAO                              C/O ATLASSIAN INC
1500 BISHOP CT                         4633 S LAWNDALE AVE                   ATTN GENERAL COUNSEL
MOUNT PROSPECT, IL 60056               LYONS, IL 60534                       1098 HARRISON ST
                                                                             SAN FRANCISCO, CA 94103
ATM ELECTRONIC CORP  Case 25-90163   Document
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                                                                               Page  63 of 944
                                                                                   CORP
ATTN CHIEF EXECUTIVE OFFICER            1627 NAVAHO DRIVE                   ATTN VICE PRESIDENT SALES
1F, NO 37, JI-HU RD                     RALEIGH, NC 27609-7532              2325 ORCHARD PKWY
NEI-HU, TAIPEI 11493                                                        SAN JOSE, CA 95131
TAIWAN



ATMEL CORP                              ATMI ECOSYS CORPORATION             ATMOS ENERGY CORPORATION
ATTN VP SALES KEY ACCOUNTS              830 LATOUR CT                       P.O. BOX 84125
1600 TECHNOLOGY DR                      NAPA, CA 94558                      DALLAS, TX 75284-1425
SAN JOSE, CA 95110




ATOM POWER INC                          ATOM POWER LLC                      ATRADIUS COLLECTIONS LTD
ATTN VP OF OPERATIONS                   ATTN CHIEF EXECUTIVE OFFICER        ATTN REGIONAL HEAD
10420-Q HARRIS OAKS BLVD                9319 ROBERT D SNYDER RD             4306 CENTRAL PLAZA
CHARLOTTE, NC 28223                     PORTAL BLDG, STE 218                18 HARBOUR RD
                                        CHARLOTTE, NC 28223                 WANCHAI HONG KONG



ATREG INC                               ATRS CONSULTING INC                 ATRS CONSULTING INC
223 YALE AVE N                          ATTN CEO                            ATTN PRESIDENT
SEATTLE, WA 98109                       P.O. BOX 2411                       3001 WALTON HEATH CT
                                        HIGH POINT, NC 27261                RALEIGH, NC 27612




ATRS CONSULTING INC                     ATTACHMATE CORPORATION              ATTACHMATE CORPORATION
ATTN VP & SEC                           1500 DEXTER AVE N                   ATTN LIC COMPLIANCE DIR
P.O. BOX 30723                          SEATTLE, WA 98109                   705 5TH AVE S, STE 1100
RALEIGH, NC 27622                                                           SEATTLE, WA 98104




[NAME REDACTED]                         [NAME REDACTED]                     ATTASK INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  ATTN CORP COUNSEL
                                                                            1313 N RESEARCH WAY
                                                                            OREM, UT 84097




[NAME REDACTED]                         ATTN CCO                            ATTN EXEC DIRECTOR
[ADDRESS REDACTED]                      13250 GREGG ST, STE A-2             8-9 KEIHINJIMA 2 CHOME
                                        POWAY, CA 92064                     OTA-KU
                                                                            TOKYO 143
                                                                            JAPAN



ATTN LEGAL REP                          ATTN MEDIATION UNIT                 ATTN PARTNER
VIA CAVALIERI DUCATI 3                  1309 ANNAPOLIS DR                   88 LAIGHT ST, GROUND FLR
BOLOGNA                                 RALEIGH, NC 27608                   NEW YORK, NY 10013
ITALY




ATTN PRESIDENT                          ATTN PRESIDENT                      ATTN PRINCIPAL, OWNER
1351 N MILWAUKEE AVE                    1607 NORFOLK PLACE SW               1456 FERRY RD, STE 502
LAKE VILLA, IL 60046                    CONOVER, NC 28613                   DOYLESTOWN, PA 18901




ATTN SALES MANAGER                      ATTN SR HARDWARE SYSTEMS ENGINEER   ATTN SSC SALES DIRECTOR
HUBING RD INDUSTRY PARK                 400 W BETHANY, STE 110              3050 BOWERS AVE
QISHI TOWN, DONGGUAN CITY,              ALLEN, TX 75013                     SANTA CLARA, CA 95054
GUANGDONG
CHINA
ATTN SVP          Case 25-90163         Document   87
                                           ATTN VICE    Filed in TXSB on 07/03/25ATTN
                                                     PRESIDENT                     Page
                                                                                      VICE 64 of 944
                                                                                           PRESIDENT
6136 FRISCO SQUARE BLVD, STE 385            10 KIDDER RD, UNIT 4                   9201 WASHINGTON AVE
FRISCO, TX 75034                            CHELMSFORD, MA 01824                   RACINE, WI 53406




ATTRACTIVE VENTURE SDN BHD                  ATV TECHNOLOGIE GMBH                   [NAME REDACTED]
ATTN GEN MGR                                ATTN SALES MGR                         [ADDRESS REDACTED]
PLOT 425, MUKIM 1, TINGKAT PERUSAHAAN       JOH-SEB, BACH-STR 38
6A                                          VATERSTETTEN 85591
PRAI FREE TRADE ZONE, 13600 PRAI            GERMANY
PENANG MALAYSIA


[NAME REDACTED]                             [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                     [ADDRESS REDACTED]




ATX SEMICONDUCTOR (MELAKA) SDN BHD          ATX SEMICONDUCTOR (WEIHAI) CO LTD.     ATX SEMICONDUCTOR ENGG. PLANT
LOT 26 & 27 BATU BERENDAM, FTZ III          NO 16-1 HAINAN ROAD, ECONOMIC TECHN    NO16-1 HAINAN ROAD, ECONOMIC T
MELAKA MEL 75350                            SHANDONG 264200                        WEIHAI, SHANDONG 264200
MALAYSIA                                    CHINA                                  CHINA




AU OPTRONICS CORPORATION                    AUBURN UNIVERSITY                      AUBURN UNIVERSITY
ATTN FRANK HU                               ATTN ASSOC PROVOST & VP FOR RESEARCH   OFFICE OF TECH TRANSFER
NO LI-HSIN RD 2                             OFFICE OF TECHNOLOGY TRANSFER          ATTN DIRECTOR
HSINCHU SCIENCE PARK                        570 DEVALL DR, STE 102                 215 E THACH AVE
HSINCHU 30078 TAIWAN                        AUBURN, AL 36832                       AUBURN, AL 36830



AUDENBY, SCOTT                              AUDITBOARD INC                         AUER LIGHTING GMBH
DBA RIC ELECTRIC                            12900 PARK PLAZA DRIVE SUITE 200       ATTN PRESIDENT
ATTN PRESIDENT                              CERRITOS, CA 90703-9329                HILDESHEIMER STRASSE 35
1400 RAPIDS DR                                                                     BAD GANDERSHEIM 37581
RACINE, WI 53404                                                                   GERMANY



AUGUST TECHNOLOGY                           AUGUSTA FIBERGLASS COATINGS INC        [NAME REDACTED]
ATTN VP SALES & FIELD OPERATIONS            86 LAKE CYNTHIA ROAD                   [ADDRESS REDACTED]
4900 W 78TH ST                              BLACKVILLE, SC 29817
BLOOMINGTON, MN 55435




AUHUI ZHONGWEI PHOTOELECTRIC                [NAME REDACTED]                        AURIGA MEASUREMENT SYSTEMS LLC
MATERIALS CO LTD                            [ADDRESS REDACTED]                     DBA AURIGA MICROWAVE
                                                                                   ATTN PRESIDENT & CEO
                                                                                   2 EXECUTIVE DR, STE 305
                                                                                   CHELMSFORD, MA 01824



AURIGA MEASUREMENTS SYSTEMS LLC             AURIGIN TECHNOLOGY INC                 [NAME REDACTED]
ATTN PRESIDENT                              ATTN DIRECTOR                          [ADDRESS REDACTED]
650 SUFFOLK ST, STE 205                     2702 E VERBENA DR
LOWELL, MA 01854                            PHOENIX, AZ 85048




AUROGENE                                    AUROLITE ELECTRICAL (PANYU             AURORA CIRCUITS INC
ATTN DIR OF SALES                           GUANGZHOU) LTD                         ATTN PRESIDENT
10425 COGDILL RD, STE 300                   ATTN SALES MANAGER                     2250 WHITE OAK CIR
KNOXVILLE, TN 37934                         JINHU IND ZONE, HUALONG, PANYU         AURORA, IL 60502
                                            GUANGZHOU 510000
                                            CHINA
AURORA ENERGIE CORPCase 25-90163   Document  87 Filed
                                      AURORA HEALTH CAREin TXSB on 07/03/25AURORA
                                                         INC                 PageLIGHTING
                                                                                   65 of 944
                                                                                          DESIGN INC
ATTN CHAIRMAN & CEO                   ATTN GENERAL COUNSEL                  ATTN PRINCIPAL
7343 EL CAMINO REAL 102               750 W VIRGINIA ST                     224 W BELVIDERE RD
ATASCADERO, CA 93422                  MILWAUKEE, WI 53204                   GRAYSLAKE, IL 60030




AURORA LTD                            AURORA MARKETING INC                  AURORA MICROWAVE IC
DBA AURORA LIGHTS                     ATTP VP OWNER                         ATTN CHIEF EXECUTIVE OFFICER
ATTN HEAD OF ENGINEERING              738 SMITHTOWN BYPASS, STE 109         4 JOCO DR
EUROPARK, FRANKLAND RD, BLAGROVE      SMITHTOWN, NY 11787                   TYNGSBORO, MA 01879
SWINDON SN5 8YG UNITED KINGDOM



AURORA QUICKCARE LLC                  AURORALIGHT INC                       AURUM ELECTRONICS CORP
ATTN GENERAL COUNSEL                  ATTN PRESIDENT                        ATTN GM
750 W VIRGINIA ST                     2742 LOKER AVE W                      NO. 79 LANE 121, SEC 2 FUCIANG RD
MILWAUKEE, WI 53204                   CARLSBAD, CA 92010                    YONGKONG DIST
                                                                            TAINAN CITY 710 TAIWAN



[NAME REDACTED]                       AUSSENHANDELSGESELLSCHAFT -           AUSTIN & KALEN
[ADDRESS REDACTED]                    WACHSMUTH & KROGMANN MBH              ATTN PRINCIPAL CONSULTANT
                                      ATTN TEAM LEADER QM                   2930 W IMPERIAL HWY, STE 312
                                      LANGE MUEHREN 1                       INGLEWOOD, CA 90303
                                      HAMBURG 20095 GERMANY



AUSTIN INTERNATIONAL INC              [NAME REDACTED]                       [NAME REDACTED]
ATTN PRESIDENT                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]
7 ROSS CANNON ST
YORK, SC 29745




AUSTRIA AIRLINES INC                  AUTEV AG                              AUTHENTIC8 INC
C/O UNITED AIRLINES                   ATTN COO                              201 SAN ANTONIO CIRCLE SUITE 245
ATTN VP SALES, THE AMERICAS           CARL-REICHSTEIN- STR 6                MOUNTAIN VIEW, CA 94040-1275
233 S WACKER DR, 16TH FL-HQSVS        BRANDENBURG 14770
CHICAGO, IL 60606                     GERMANY



[NAME REDACTED]                       [NAME REDACTED]                       AUTO LINEAS AMERICAN SA DE CV
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    CALLE ANICETO ORTEGA 817, STE 308
                                                                            COL DEL VALLE CENTRO
                                                                            ALCADIA BENITO JUAREZ
                                                                            MEXICO CITY 03100 MEXICO



AUTOCRAFT INC                         AUTODESK INC                          AUTOMATED ASSEMBLY CORPORATION
ATTN OWNER                            ATTN GENERAL COUNSEL                  ATTN CHIEF EXECUTIVE OFFICER
331 ROCK CRUSHER RD                   THE LANDMARK AT ONE MARKET, STE 400   20777 KENSINGTON BLVD
ASHEBORO, NC 27203                    SAN FRANCISCO, CA 94105               LAKEVILLE, MN 55044




AUTOMATED CIRCUIT TECHNOLOGY INC      AUTOMATED ENTRANCES                   AUTOMATED IMAGING SYSTEMS LLC
ATTN PRESIDENT                        1215 N MONDEL DR                      ATTN OWNER & COO
N90 W14739 COMMERCE DR                GILBERT, AZ 85233                     3700 34TH ST, STE 220
MENOMONEE FALLS, WI 53051                                                   ORLANDO, FL 32805




AUTOMATED IMAGING SYSTEMS LLC         AUTOMATED STORAGE & RETRIEVAL LLC     AUTOMATED TECHNOLOGY (PHIL) INC
ATTN PRESIDENT                        ATTN MEMBER                           ATTN VP SALES & MKTG
P.O. BOX 691285                       3 SCHENKERS DR                        LIGHT INDUSTRY & SCIENCE PARK
ORLANDO, FL 32869                     KENNER, LA 70062                      CABUYAO SEPZ 4025
                                                                            LAGUNA 4025 PHILIPPINES
                  Case
AUTOMATIC FEEDER CO  INC 25-90163   Document  87MANUFACTURING
                                       AUTOMATIC  Filed in TXSB  on 07/03/25
                                                              SYSTEMS INC     Page 66
                                                                            AUTOMATIC   of 944
                                                                                      POOL CLEANERS (AUS) PTY LTD
ATTN DIR OF OPERATIONS                  DBA ACCUPLACE                         DBA AQUA QUIP
921 ALBION AVE                          ATTN GLOBAL SALES MGR                 ATTN GENERAL MGR
SCHAUMBERG, IL 60193                    1800 NW 69TH AVE                      40 PERCY ST
                                        PLANTATION, FL 33313                  AUBURN, NSW 2144 AUSTRALIA



AUTOMATIC POWER INC                     AUTOMATION & CONTROL PRODUCTS         AUTOMATION & PROCESS SPECIALISTS INC
ATTN CHIEF ENGINEER                     ATTN PRES                             ATTN VP MARKETING
213 HUTCHESON ST                        6124 LEGACY CIR                       4100 RANDLEMAN RD
HOUSTON, TX 77003                       CHARLOTTE, NC 28277                   GREENSBORO, NC 27406




AUTOMATION AND METROLOGY                AUTOMATION ANYWHERE INC               AUTOMATION TECHNOLOGY INC
ATTN PARTNER                            633 RIVER OAKS PARKWAY                2770 ZION CHURCH RD
130 LIBERTY ST                          SAN JOSE, CA 95134-1907               CONCORD, NC 28025
PAINSVILLE, OH 44077




AUTOMATION TOOL COMPANY                 AUTOMATIONDIRECT.COM INC              AUTOMOTIVE & AUTOMATION SRL
ATTN CONTRACTS ADMIN                    3505 HUTCHINSON ROAD                  VIA S ANTONIO
101 MILL DR                             CUMMING, GA 30040-5860                LIMATOLA 3175
COOKEVILLE, TN 38501                                                          ITALY




AUTOMOTIVE INDUSTRIAL MARKETING CORP    AUTOMOTIVE INDUSTRY ACTION GROUP      AUTOMOTIVE LIGHTING REUTLINGEN GMBH
DBA AIMCO                               ATTN STACY WARD, MANAGER              ATTN MARCO WUCHTER
ATTN REG SALES MGR                      4400 TOWN CENTER                      TUBINGER STR 123
10000 SE PINE ST                        SOUTHFIELD, MI 48075                  REUTLINGEN 72760
PORTLAND, OR 97216                                                            GERMANY



AUTOP MACHINERY                         AUTOPHONE OF LAREDO LLC               AUTOSTRADE PER LITALIA SPA
                                        ATTN NETWORK MANAGER                  VIA MARCANTONIO COLONNA, 54
                                        1816 PAPPAS ST                        ROMA 00192
                                        LAREDO, TX 78041                      ITALY




AUTOSYSTEMS                             AUTOTECH WIRELESS AUTOMATION          [NAME REDACTED]
50 CASMIR COURT                         39 AISOPOU STR                        [ADDRESS REDACTED]
CONCORD, ON L4K 4J5                     PERISTERI, ATHENS 12134
CANADA                                  GREECE




AUXEL FTG INC                           AUXEL SA                              AV METRO INC
ATTN VICE PRESIDENT                     ZL RUE DE LA BARRE                    ATTN SR PROJECT MANAGER
33 HARTFORD AVE, STE 201                GONDECOURT 59147                      5401 ETTA BURKE CT
GRANBY, CT 06035                        FRANCE                                RALEIGH, NC 27606




AVAGO TECHNOLOGIES (MALAYSIA) SDN       AVAGO TECHNOLOGIES MANUFACTURING      AVAILABLE LIGHT
BHD                                     SINGAPORE PTE LTD                     ATTN PRINCIPAL
ATTN ONG HOCK KHENG                     ATTN DIR . R&D IPD                    10 DERRY SQ, 3
BAYAN LEPAS FREE INDUSTRIAL ZONE        1 YISHUN AVE 7                        SALEM, MA 01970
11900 PENANG                            SINGAPORE 768923
MALAYSIA                                SINGAPORE


[NAME REDACTED]                         AVALARA INC                           AVALARA INC
[ADDRESS REDACTED]                      ATTN GEN MGR                          ATTN TERRY HAYES, CUSTOMER ACCT MGR
                                        100 RAVINE LN NE, STE 220             512 S MANGUM ST, ST 100
                                        BAINBRIDGE ISLAND, WA 98110           DURHAM, NC 27701
AVALITE            Case 25-90163 Document  87 MANAGEMENT
                                    AVALON RISK Filed in TXSB  on 07/03/25AVALONBAY
                                                           INSURANCE        Page 67   of 944 INC
                                                                                    COMMUNITIES
DE MAAS 17H                            AGENCY, LLC                        BALLSTON TOWER
BEST 5684 PL                           ATTN KAREN ROESCH                  671 N GLEBE RD, STE 800
NETHERLANDS                            5810 WILSON RD                     ARLINGTON, VA 22203
                                       SUITE 265
                                       HUMBLE, TX 77396


AVAM LTD                               [NAME REDACTED]                    AVANTCOM PAYMENTS CORP
ATTN MGR                               [ADDRESS REDACTED]                 ATTN LAURENCE R SIMMONS
RM 5, 22/F, LAURELS IND CTR                                               950 GYPSY BAY RD
32 TAI YAU ST, SAN PO KONG                                                SAGLE, ID 83860
KOWLOON HONG KONG



AVANTE DISPLAY MFG                     AVANTEL SOFTECH LIMITED            AVANTES INC
ATTN PRESIDENT                         ATTN MANAGER                       ATTN GM
4725 IRIS RD                           PLOT NO 16, SECTOR-III             500 S ARTHUR DR, STE 500
OKANAGAN FALLS, BC V0H 1R2             OPP VSNL BLDG, MADHAPUR            LOUISVILLE, CO 80027
CANADA                                 HYDERABAD 500081 INDIA



AVANTOR PERFORMANCE MATERIALS INC      AVAYA AUSTRIA GMBH                 AVAYA INC
ATTN VICE PRESIDENT                    GRAUMANNGASSE 7                    ATTN IP LAW DEPT
3477 CORPORATE PKWY, STE 200           WIEN A-1150                        211 MT AIRY RD
CENTER VALLEY, PA 18034                AUSTRIA                            BASKING RIDGE, NJ 07920




AVC LIQUID CRYSTAL DISPLAY GROUP       AVEKA GROUP                        AVENDRA LLC
2613-1 ICHINOMOTO-CHO, TENRI           ATTN BUSINESS DEV                  ATTN VP, STRATEGIC CONTRACTING
NARA 32-8567                           2045 WOODDALE DR                   702 KING FARM BLVD, STE 600
JAPAN                                  WOODBURY, MN 55125                 ROCKVILLE, MD 20850




AVEO ENGINEERING SRO                   AVEOX INC                          AVERITIS LAWN CARE & LANDSCAPING
ATTN PRESIDENT                         ATTN PRESIDENT                     ATTN OWNER
HLAVNA 157                             2265-A WARD AVE                    4422 MANNIX RD
GELNICA 05601                          SIMI VALLEY, CA 93065-1864         DURHAN, NC 27704
SLOVAKIA



AVERNA TEST SYSTEMS INC                AVERNA TEST SYSTEMS INC            AVERNA TEST SYSTEMS INC
ATTN DARREN LINGAFELDT, BUS DEV MGR    C/O LEGAL                          F/K/A NEXJEN SYSTEM LLC
1011 MANSELL RD, STE B                 5933 BROOKSHIRE BLVD               ATTN DIVISIONAL CONTROLLER
ROSWELL, GA 30076                      CHARLOTTE, NC 28216                87 PRINCE ST, STE 510
                                                                          MONTEREAL, QC H3C 2M7 CANADA



[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




AVETTA, LLC                            AVI SYSTEMS INC                    AVIAN GROUP USA LLC
3300 TRIUMPH BLVD, STE 800             ATTN AREA VP                       P.O. BOX 716
LEHI, UT 84043                         3725 INTERTECH DR, STE 500         SUNAPEE, NH 03257
                                       BROOKFIELD, WI 53045




AVIAN TECHNOLOGIES LLC                 AVIAT US INC                       AVIATION MANAGEMENT CONSULTING INC
ATTN CFO                               ATTN SVP & CTO                     ATTN PRESIDENT
116 NEWPORT RD                         5200 GREAT AMERICA PKWY            3645 FOXBOROUGH LN, STE 1011
STES 4-6B                              SANTA CLARA, CA 95054              ROCKFORD, IL 61114
NEW LONDON, NH 03257
AVID SOLUTIONS INC Case 25-90163    Document   87 Filed
                                       AVID SOLUTIONS INC in TXSB on 07/03/25AVI-ON
                                                                                Page   68LLC
                                                                                    LABS   of 944
2975 COLE RD                            ATTN BRANCH ENGINEERING MGR              ATTN ERIC MILLER, MANAGER
WINSTON-SALEM, NC 27107                 2875 RIDGEWOOD PARK DR                   2750 RASMUSSEN RD, STE 206
                                        WINSTON-SALEM, NC 27107                  PARK CITY, UT 84098




AVI-ON LABS LLC                         AVL SET GMBH                             AVL SOFTWARE & FUNCTIONS GMBH
C/O PERKINS COIE LLP                    5 FRANZ-JOSEPH-SPIEGLER-STREET           IM GEWERBEPARK B29
ATTN BUDDY ARNHEIM                      WANGEN IM ALLGAEU 88239                  REGENSBURG 93059
3150 PORTER DR                          GERMANY                                  GERMANY
PALO ALTO, CA 94304-1212



AVNET ELECTRONICS MARKETING, INC.       AVNET EUROPE COMM VA                     AVNET INC
2211 S 47TH STREET                      ATTN: THOMAS LUDAESCHER, CHIEF           ATTN DIR EMA CONTRACTS
PHOENIX, AZ 85034-6403                  FINANCIAL OFFICER                        2211 S 47TH ST
                                        DE KLEETLAAN 3                           PHOENIX, AZ 85034
                                        DIEGEM 1831
                                        BELGIUM


AVOGY INC                               AVTEC INC                                AVTRON LOADBANK INC
ATTN PRESIDENT                          ATTN VP                                  ATTN DIR OF SALES & MKGT
677 RIVER OAKS PKWY                     6 INDUSTRIAL PARK                        6255 HALLE DR
SAN JOSE, CA 95134                      CAHOKIA, IL 62206                        CLEVELAND, OH 44125




AVX CORPORATION                         [NAME REDACTED]                          [NAME REDACTED]
ATTN VP BUS & LEGAL AFFIARS             [ADDRESS REDACTED]                       [ADDRESS REDACTED]
801 17TH AVE S
MYRTLE BEACH, SC 29578




[NAME REDACTED]                         AWC INC                                  AWESOME AWNINGS INC
[ADDRESS REDACTED]                      ATTN AREA SALES MGR                      ATTN SECRETARY
                                        6655 EXCHEQUER DR                        513 E CHATHAM ST
                                        BATON ROUGE, LA 70809                    CARY, NC 27511




AWG ELETTRONICA SRL                     AWI INDUSTRIES (USA) INC                 AW-LAKE COMPANY CORP
ATTN ADMIN                              ATTN PRES                                ATTN CONTROLLER
VIA MARCO POLO 16                       14502 CENTRAL AVE                        8809 INDUSTRIAL DR
GODEGA DI SANTURBANO 31010              CHINO, CA 91710                          FRANKSVILLE, WI 53126
ITALY



AWR CORP                                AX STAPLEY L.P.                          AX STAPLEY LP
F/K/A APPLIED WAVE RESEARCH INC         ATTN: PHILIP MARTENS                     C/O ARTIS REIT
ATTN VP MARKETING                       16220 NORTH SCOTTSDALE ROAD, SUITE 280   ATTN JIM GREEN
1960 E GRAND AVE, STE 430               SCOTTSDALE, AZ 85254                     600-220 PORTAGE AVE
EL SEGUNDO, CA 90245                                                             WINNIPEG, MB R3C 0A5 CANADA



AX STAPLEY LP                           AXALTA COATING SYSTEMS LLC               AXCCELLUS LLC
P.O. BOX 82552                          ATTN BUSINESS DIRECTOR                   ATTN CHIEF EXECUTIVE OFFICER
GOLETA, CA 93118-2552                   2001 MARKET ST                           2501 SCHIEFFELIN RD, UNIT 114
                                        PHILADELPHIA, PA 19103                   APEX, NC 27502




AXCELIS TECHNOLOGY, INC.                AXENICS INC                              AXIA PARTNERS
ATTN: CHRIS TATNALL                     200 BUSINESS PARK DRIVE SUITE 30         ATTN CHIEF EXECUTIVE OFFICER
108 CHERRY HILL DRIVE                   TYNGSBORO, MA 01879-1089                 18 HANS RD
BEVERLY, MA 01915-1066                                                           LONDON SW3 1RT
                                                                                 UNITED KINGDOM
AXICON SDN BHD    Case 25-90163       Document   87 TECHNOLOGIES
                                         AXINE WATER Filed in TXSB
                                                                 INCon 07/03/25AXIOM
                                                                                  Page  69 of
                                                                                     ENERGY   944
                                                                                            SOLUTIONS LLC
19A PERSIARAN DESA RISHAH 1 DESA RI       ATTN CHIEF EXECUTIVE OFFICER          ATTN VP, ENGINEERING
IPOH 30100                                2386 EAST MALL, STE 108               2 E BRYAN ST, FL 14
MALAYSIA                                  VANCOUVER, BC V6T 1Z3                 SAVANNAH, GA 31401
                                          CANADA



AXIOM TEST EQUIPMENT INC                  AXION BIOSYSTEMS INC                  AXIS INSURANCE CO
2610 COMMERCE WAY                         ATTN PRINCIPAL ENGINEER               10000 AVALON BLVD, STE 200
VISTA, CA 92081-8438                      1819 PEACHTREE RD NE, STE 350         ALPHARETTA, GA 30009
                                          ATLANTA, GA 30309




AXIS INSURANCE COMPANY                    AXIS INSURANCE COMPANY                AXIS LIGHTING INC
92 PITTS BAY RD                           C/O AXIS CAPITAL                      ATTN CEO
AXIS HOUSE                                92 PITTS BAY RD                       8600 DECARIE, 30
PEMBROKE HM 08                            AXIS HOUSE                            MONTREAL, QC H4P 2N2
BERMUDA                                   PEMBROKE HM 08 BERMUDA                CANADA



AXIS NETWORK TECHNOLOGY LTD               AXIS SURPLUS INS. CO.                 AXOIM POWERS LLC
ATTN CEO                                  10000 AVALON BLVD, STE 200            ATTN HEAD OF HARDWARE
NO. 7 MIDSHIRES BUSINESS PARK,            ALPHARETTA, GA 30009                  3350 THOMAS RD
SMEATON CLOSE                                                                   SANTA CLARA, CA 95054
AYLESBURY, BUCKS HP19 8HL
UNITED KINGDOM


AXON CABLE INC                            AXONIUS INC                           AXOS CLEARING (0052)
1316 N PLUM GROVE RD                      ATTN VICE PRESIDENT, LEGAL            ATT CORPORATE ACTIONS DEPT
SCHAUMBURG, IL 60173-4546                 41 MADISON AVE, 37TH FL               1200 LANDMARK CTR, STE. 800
                                          NEW YORK, NY 10010                    OMAHA, NE 68102-1916




AXR TECHNOLOGIES INC                      AXT INC                               AXUS TECHNOLOGY LLC
ATTN DIRECTOR                             4281 TECHNOLOGY DR                    7474 W CHANDLER BLVD
4430-C E MIRALOMA AVE                     FREMONT, CA 94538                     CHANDLER, AZ 85226-2538
ANAHEIM, CA 92807




AXXCELERA BROADBAND WIRELESS INC          AY DEE KAY LLC                        AY TECHNOLOGIES LLC
ATTN CFO                                  DBA INDIE SEMICONDUCTOR               ATTN OWNER/SOLE MEMBER
82 COROMAR DR                             ATTN VP SALES & MKTG                  3300 STATE RD 78
SANTA BARBARA, CA 93117                   32451 GOLDEN LANTERN                  MOUNT HOREB, WI 53572
                                          LAGUNA NIGUEL, CA



AY UP LIGHTING SYSTEMS                    [NAME REDACTED]                       [NAME REDACTED]
ATTN DIRECTOR                             [ADDRESS REDACTED]                    [ADDRESS REDACTED]
SHOP 2, 12 LAGOON ST
SANDGATE, QLD 4017
AUSTRALIA



AYALA, RAFAEL                             [NAME REDACTED]                       [NAME REDACTED]
3023 N DOWNER AVE                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]
MILWAUKEE, WI 53211




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163        Document   87 Filed in TXSB on 07/03/25AYLA
                                        [NAME REDACTED]                       Page   70 of INC
                                                                                 NETWORKS   944
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       ATTN CHIEF EXECUTIVE OFFICER
                                                                                 607 W CALIFORNIA AVE
                                                                                 SUNNYVALE, CA 94086




AYRTON                                  [NAME REDACTED]                          AZ BOARD OF REGENTS FOR UA, THE
ATTN MANAGING DIR                       [ADDRESS REDACTED]                       ATTN DIRECTOR
LE PARC DE LEVENEMENT                                                            UNIV SVCS BLDG, 515
LONGJUMEAU                                                                       888 N EUCLID BLVD
PARIS F91160 FRANCE                                                              TUCSON, AZ 85791



AZ ELECTRONIC MATERIALS (JAPAN) KK      AZ ELECTRONIC MATERIALS USA CORP         AZ SAFETY
ATTN PRES                               F/K/A CLARIANT CORP                      ATTN OWNER
BUNKYO GREEN COURT, 28-8                ATTN SALES & MARKETING                   1079 VIA REGINA
HONKOMAGOME, 2-CHOME, BUNKYO-KU         70 MEISTER AVE                           SANTA BARBARA, CA 93111
TOKYO 113-0021 JAPAN                    SOMERVILLE, NJ 08876



[NAME REDACTED]                         AZBIL NORTH AMERICA                      AZIC EASII IC SAS
[ADDRESS REDACTED]                      9033 N 24TH AVENUE 6                     ATTN CHIEF EXECUTIVE OFFICER
                                        PHOENIX, AZ 85021-2847                   90, AVE LEO BLUM
                                                                                 BP 2612
                                                                                 GRENOBLE CEDEX 2 38036 FRANCE



AZIMUTH INDUSTRIAL CO INC               [NAME REDACTED]                          [NAME REDACTED]
30593 UNION CITY BLVD 110               [ADDRESS REDACTED]                       [ADDRESS REDACTED]
UNION CITY, CA 94587-1515




[NAME REDACTED]                         AZURE PHOTOTONICS CO LTD                 AZURI TECHNOLOGIES LTD
[ADDRESS REDACTED]                      ATTN GM                                  ATTN VP, OPERATIONS
                                        3RD FL, BLDG 18, JUYUANZHOU INDUSTRIAL   UNIT D, BROOKMOUNT CT, KIRKWOOD RD
                                        ZONE                                     CAMBRIDGE CB4 2QH
                                        NO 618, JINSHAN BLVD                     UNITED KINGDOM
                                        FUZHOU 350002 CHINA


AZURRO SEMICONDUCTORS AG                B & H CUSTOMS SERVICES INC               B & H PHOTO & ELECTRONICS CORP.
ATTN CTO / CEO                          147-19 SPRINFIELD LN, A                  420 NINTH AVENUE
UNIVERSITATSPLATZ 2                     JAMAICA, NY 11413                        NEW YORK, NY 10001-1614
MAGDEBURG 39106
GERMANY



B&D CUSTOMS BROKER                      B&D PLASTICS LLC                         B&E PRECISIONTEC
5921 ELECTION OAK DR                    5500 ALLEN RD.                           ATTN OWNER
HIGH POINT, NC 27265-3187               OCEAN SPRINGS, SC 39565-8671             116 CRATER LN
                                                                                 KITTRELL, NC 27544




B&K PRECISION CORP                      B&M OPTICS CO LTD                        B/E AEROSPACE INC
ATTN CFO                                ATTN VP                                  C/O B/E AEROSPACE BUS JET SEGMENT
22820 SAVI RANCH PKWY                   RM 211, NO 29, KEYA W RD                 ATTN PROJECT ENGINEER
YORBA LINDA, CA 92887                   DAYA TOWNSHIP, TAICHUNG 428              355 KNICKERBOCKER AVE
                                        TAIWAN                                   BOHEMIA, NY 11716



B/E AEROSPACE INC                       B2 CO LTD                                B3NOVA LTD
C/O B/E AEROSPACE BUS JET SEGMENT       ATTN JAE HOON, YOON                      NAOMIE SHMER 5
EMTEQ INC                               1710 GEUM-KANG VENTURETEL                KIRYAT ONO
5349 S EMMER DR                         1108 BI-SAN DONG, DONG-AN GU             ISRAEL
NEW BERLIN, NY 53151                    ANYANG, GYEONGGI-DO SOUTH KOREA
                   Case 25-90163
B83 TESTING & ENGINEERING INC      Document   87 LLC
                                      BA LIGHTING  Filed in TXSB on 07/03/25[NAME
                                                                               Page  71 of 944
                                                                                  REDACTED]
ATTN TECHNICAL DIRECTOR               ATTN PINKY PATEL                       [ADDRESS REDACTED]
3040 W HOPKINS ST                     732 TELSER RD
MILWAUKEE, WI 53216                   LAKE ZURICH, IL 60047




[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                       BABUSH MATERIAL HANDLING SYSTEMS INC   BACCUS GLOBAL LLC
[ADDRESS REDACTED]                    ATTN SALES REPRESENTATIVE              ATTN EVP GEN COUNSEL
                                      W222N5739 MILLER WAY                   595 S FEDERAL HWY, STE 210
                                      SUSSEX, WI 53089                       BOCA RATON, FL 33432




[NAME REDACTED]                       [NAME REDACTED]                        BACHAROWSKI, WALT
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     6844 ANCESTRAL HILLS LN
                                                                             LAS VEGAS, NV 89110




[NAME REDACTED]                       [NAME REDACTED]                        BACK-UP SYSTEMS MAINTENANCE LLC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     ATTN MANAGER
                                                                             610 E MAIN ST, STE 414
                                                                             ALLEN, TX 75002




[NAME REDACTED]                       BACNET INTERNATIONAL INC               [NAME REDACTED]
[ADDRESS REDACTED]                    2900 DELK RD,STE 700                   [ADDRESS REDACTED]
                                      PMB 321
                                      MARIETTA, GA 30067




[NAME REDACTED]                       BADGER DAYLIGHTING CORP                BADGER MAGNETICS INC
[ADDRESS REDACTED]                    ATTN CONTRACT SPECIALIST               ATTN PRESIDENT
                                      1300 E US HWY 136, STE E               7939 W TWR AVE
                                      PITTSBORO, IN 46167                    MILWAUKEE, WI 53223




BADGER PRESS PHOTOGRAPHICS INC        BADGER RAILING INC                     BADGERLAND MECHANICAL LLC
ATTN PLANT MGR                        ATTN PRESIDENT                         ATTN MEMBER
7325 30TH AVE                         3880 W MILWAUKEE RD                    P.O. BOX 59
P.O. BOX 278                          MILWAUKEE, WI 53208                    WATERFORD, WI 53185
KENOSHA, WI 53141



[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163          Document   87 (COMBAT
                                          BAE SYSTEMS Filed inAND
                                                               TXSB   on 07/03/25BAEPage
                                                                  RADAR)                  72 ADVANCED
                                                                                     SYSTEMS of 944 ELECTRONICS INC
[ADDRESS REDACTED]                         SYSTEMS LIMITED                      C/O BAE SYSTEMS INC
                                           ATTN COMMERCIAL MNGR                 65 SPIT BROOK RD
                                           22 GREENVILLE ST, P.O. BOX 87        NASHUA, NH 03060
                                           JERESEY CHANNEL, ISLAND
                                           ST HELLIER JE4 8PX UNITED KINGDOM


BAE SYSTEMS AEROSPACE ELECTRONICS          BAE SYSTEMS CONTROLS INC             BAE SYSTEMS INFO & ELECTRONIC SYS
INC                                        ATTN DIR OF CONTRACTS                INTEGRATION INC
ATTN CVP, CONTRACTS SUPPLIER MGMT &        600 MAIN ST                          ATTN VP ENGINEERING
PROD SUPP                                  JOHNSON CITY, NY 13790               164 TOTOWA RD
305 RICHARDSON RD                                                               WAYNE, NJ 07474-0975
LANSDALE, PA 19446-1485


BAE SYSTEMS INFO & ELECTRONIC              BAE SYSTEMS INTEGRATED SYSTEM        BAE SYSTEMS INTEGRATED SYSTEM
WARFARE SYSTEMS INC                        TECHNOLOGIES LIMITED                 TECHNOLOGIES LIMITED
ATTN DIR, CONTRACTS AS&T                   ATTN COMMERCIAL MANAGER              ATTN GRAEME HEDGECOCK
P.O. BOX 868                               P.O. BOX 87, FARNBOROUGH AEROSPACE   NEWPORT RD
NASHUA, NH 03061                           CTR                                  COWES, ISLES OF WIGHT PO31 8PF
                                           FARNBOROUGH, HAMPSHIRE GU14 6YU      UNITED KINGDOM
                                           UNITED KINGDOM

[NAME REDACTED]                            [NAME REDACTED]                      BAFA ELEKTRONIK VE ISIK TASARIMLARI
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   SAN TIC LTD STI
                                                                                ATTN DESIGNER & SYSTEM ARCHITECT,
                                                                                AGACIRAGI SOKAK 3/8
                                                                                GUMUSSUYU BEYOGLU
                                                                                ISTANBUL 34437 TURKEY


[NAME REDACTED]                            [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                      BAHNSON MECHANICAL SYSTEMS
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   4731 COMMERCIAL PARK COURT
                                                                                CLEMMONS, NC 27012-8100




[NAME REDACTED]                            [NAME REDACTED]                      BAIDE METAL LAMP (ZHONGSHAN) CO LTD
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   ATTN GENERAL MGR
                                                                                NO 11 SHUNCHANG RD, THE 2ND
                                                                                INDUSTRIAL AREA
                                                                                GAOSHA, DONGSHENG TOWN ZHONGSHAN
                                                                                CITY
                                                                                GUANGDONG CHINA

BAIDU USA LLC                              [NAME REDACTED]                      [NAME REDACTED]
ATTN SENIOR DIRECTOR                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
1195 BORDEAUX DR
SUNNYVALE, CA 94089




BAIKANG OPTICAL CO LTD                     BAIKOWSKI INTERNATIONAL CORP         [NAME REDACTED]
ATTN PRESIDENT                             ATTN VP/GEN MGR                      [ADDRESS REDACTED]
BD BLDG, XINJIANXING INDUSTRIAL PARK       6601 NORTHPARK BLVD, STE H
FENGXIN RD, GUANGMING TOWN                 CHARLOTTE, NC 28216
SHENZEN CHINA
[NAME REDACTED] Case 25-90163    Document   87 Filed in TXSB on 07/03/25[NAME
                                    [NAME REDACTED]                        Page  73 of 944
                                                                              REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        BAILEY-FISHER & PORTER CO
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     C/O ABB LTD
                                                                           AFFOLTERNSTRASSE 44
                                                                           ZURICH 8050
                                                                           SWITZERLAND



[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     BAJA DESIGNS INC                       BAJAJ ELECTRICALS LTD
[ADDRESS REDACTED]                  ATTN PRESIDENT                         ATTN SHEKHAR BAJAJ, MANAGING DIR
                                    185 BOSSTICK BLVD                      45/47, VEER NARIMAN RD
                                    SAN MARCOS, CA 92069                   MUMBAI 400 001
                                                                           INDIA



BAJAJ, NEELAM                       [NAME REDACTED]                        [NAME REDACTED]
W/O RAJEEV BAJAJ                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]
R/O 19, MANDAKINI NRI COMPLEX
NEAR JAHAPANA CLUB, GK-IV
NEW DELHI 110019 INDIA



[NAME REDACTED]                     BAKER ENGINEERING & RISK CONSULTANTS   BAKER HUGHES OILFIELD OPERATIONS INC
[ADDRESS REDACTED]                  INC                                    ATTN PRODUCT LINE VP
                                    ATTN BUSINESS MGR                      200 W STUART ROOSA
                                    3330 OAKWELL CT, STE 100               CLAREMORE, OK 74017
                                    SAN ANTONIO, TX 78218



BAKER TILLY SUNGTO LLC              [NAME REDACTED]                        [NAME REDACTED]
ATTN PARTNER                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]
17TH FL CONSTRUCTION BLDG
71-2. NONHYUN-DONG, GANGNAM-GU
SEOUL 135-701 SOUTH KOREA



[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document   87 Filed in TXSB on 07/03/25BAKER,
                                   [NAME REDACTED]                       Page   74 of 944
                                                                              KYLE
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  605 W MAIN ST, 140
                                                                       DURHAM, NC 27701




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




BAKERCORP                          BAKERS WASTE EQUIPMENT INC          [NAME REDACTED]
ATTN DIR OF TAX                    ATTN DIRECTOR OF SALES              [ADDRESS REDACTED]
3020 OLD RANCH PKWY                1808 NORWOOD ST SW
SEAL BEACH, CA 90740               LENOIR, NC 28645




[NAME REDACTED]                    [NAME REDACTED]                     BAKNOR
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  ATTN CHIEF EXECUTIVE OFFICER
                                                                       2-5225 ORBITOR DR
                                                                       MISSISSAUGA, ON L4W 4Y8
                                                                       CANADA



[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




BALANCING SPECIALTY LLC            [NAME REDACTED]                     [NAME REDACTED]
P.O. BOX 4014                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]
GASTONIA, NC 28054-0041




BALAZS ANALYTICAL SERVICES         [NAME REDACTED]                     [NAME REDACTED]
46409 LANDING PARKWAY              [ADDRESS REDACTED]                  [ADDRESS REDACTED]
FREMONT, CA 94538-6496




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




BALDA C BREWER INC                 BALDA SOLUTIONS USA INC             [NAME REDACTED]
ATTN CBO                           ATTN GM US OPERATIONS               [ADDRESS REDACTED]
3630 MIRALOMA AVE                  2803 SISTER RD, STE 207
ANAHEIM, CA 92806                  MORRISVILLE, NC 27560
[NAME REDACTED] Case 25-90163     Document
                                     BALDWIN 87  Filed LLC
                                             & CREATIVE in TXSB on 07/03/25BALDWIN
                                                                             Page&75 of 944LLC
                                                                                   CREATIVE
[ADDRESS REDACTED]                   321 W.DAVIE STREET                   ATTN DIR OF ACCT SVC
                                     RALEIGH, NC 27601-1718               135 N HARRINGTON ST
                                                                          RALEIGH, NC 27603




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




BALFOUR BEATTY CONSTRUCTION LLC      [NAME REDACTED]                      [NAME REDACTED]
ATTN OPERATIONS DIR                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]
406 S MCDOWELL ST, STE 200
RALEIGH, NC 27601




[NAME REDACTED]                      [NAME REDACTED]                      BALL AEROSPACE AND TECHNOLOGIES
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   CORP
                                                                          ATTN MARK DAHL, PROGRAM MGR
                                                                          9675 W 108TH CIR
                                                                          WESTMINSTER, CO 80021



BALL SYSTEMS INC                     [NAME REDACTED]                      [NAME REDACTED]
ATTN PRESIDENT                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
16469 SOUTHPARK DR
WESTFIELD, IN 46074




BALLARD SPAHR LLP                    [NAME REDACTED]                      [NAME REDACTED]
ATTN MICHAEL DIGIACOMO               [ADDRESS REDACTED]                   [ADDRESS REDACTED]
1 E WASHINGTON ST, STE 2300
PHOENIX, AZ 85004-2555




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




BALTENSWEILER AG                     BALTICOS PAZANGIL TECHNOLOGIJU       BALTIMORE GAS & ELECTRIC
ATTN HEAD OF DVPT                    INSTITUTAS
LUZERNERSTRASSE 75                   ATTN DIRECTOR
EBIKON 6030                          SAULETEKIO AL 15
SWITZERLAND                          VILNIUS LT-10224
                                     LITHUANIA


[NAME REDACTED]                      BALYASNY ASSET MANAGEMENT LP         [NAME REDACTED]
[ADDRESS REDACTED]                   444 W LAKE STREET                    [ADDRESS REDACTED]
                                     50TH FL
                                     CHICAGO, IL 60606
                      Case 25-90163
BAN FONG METAL FABRICATION            Document   87 Filed in TXSB on 07/03/25[NAME
                                         [NAME REDACTED]                        Page  76 of 944
                                                                                   REDACTED]
NO 13 & 14, JLN 29, KWS 16, OFF JLN      [ADDRESS REDACTED]                  [ADDRESS REDACTED]
KLANG, SELANGOR 41300
MALAYSIA




[NAME REDACTED]                          BANDO CHEMICAL INDUSTRIES LTD       [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN DIR R&D CENTER                 [ADDRESS REDACTED]
                                         6 -6, MINATOJIMA MINAMIMACHI
                                         4-CHOME, CHUO-KU
                                         KOBE 650-0047 JAPAN



[NAME REDACTED]                          [NAME REDACTED]                     BANE-NELSON INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  ATTN EVP
                                                                             4019 43RD ST
                                                                             KENOSHA, WI 53144




[NAME REDACTED]                          BANG LABORATORIES INC               [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN PRESIDENT                      [ADDRESS REDACTED]
                                         9025 TECHNOLOGY DR
                                         FISHERS, IN 46038




BANGOR PLASTICS INC                      [NAME REDACTED]                     [NAME REDACTED]
ATTN VP & GM                             [ADDRESS REDACTED]                  [ADDRESS REDACTED]
809 WASHINGTON ST
BANGOR, MI 49013




BANK OF AMERICA NA                       BANK OF AMERICA                     BANK OF MONTREAL
ATTN VP ENGR SALES MGR                   ATTN: MIRIAM D. BLACK, CTP          320 S CANAL STREET
100 N TRYON ST                           4242 SIX FORKS ROAD                 CHICAGO, IL 60606
CHARLOTTE, NC 28255                      SUITE 1720
                                         RALEIGH, NC 27609



[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




BANNER ENGINEERING CORP                  BANNER INDUSTRIES                   BANNSAN INDUSTRIAL LIMITED
ATTN PRESIDENT                           1354 EXCHANGE DRIVE                 ATTN MANAGER
9714 10TH AVE N                          RICHARDSON, TX 75081                TAI FUNG INDUSTRIAL BLDG
MINNEAPOLIS, MN 55441                                                        61 HUNG TO RD
                                                                             KWUN TONG, KOWLOON HONG KONG



[NAME REDACTED]                          BANSAN TECHNOLOGY HUIZHOU CO LTD    BANTAM GROUP, THE
[ADDRESS REDACTED]                                                           50 BAY COLONY DR
                                                                             WESTWOOD, MA 02090




[NAME REDACTED]                          [NAME REDACTED]                     BANYAN GROUP OF THE TRIANGLE LLC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  ATTN PARTNER
                                                                             3447 ROBINHOOD RD
                                                                             WINSTON-SALEM, NC 27106
BAOYING EAST GLASSCase    25-90163
                     INDUSTRIAL LTD   Document   87 Filed in TXSB on 07/03/25[NAME
                                         [NAME REDACTED]                        Page  77 of 944
                                                                                   REDACTED]
ATTN SALES MGR                           [ADDRESS REDACTED]                  [ADDRESS REDACTED]
NO 52, JINGANG RD, ANYI TOWN
BAOYING COUNTY
JIANGSU PROVINCE 22580 CHINA



[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                     BARBACHANO INTERNATIONAL INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  ATTN PRESIDENT
                                                                             2531 WINDWARD WAY
                                                                             CHULA VISTA, CA 91914




[NAME REDACTED]                          BARBARA, SHARON                     [NAME REDACTED]
[ADDRESS REDACTED]                       C/O HEWSON & VAN HELLEMONT PC       [ADDRESS REDACTED]
                                         ATTN ANDY J VANBROKHORST
                                         625 KENMOOR AVE SE, STE 304
                                         GRAND RAPIDS, MI 49546



BARBEE, EFTHALIA K                       [NAME REDACTED]                     [NAME REDACTED]
1701 PIPERWOOD CT                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
DURHAM, NC 27713




[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                          BARBOUR MACHINE INC                 [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN PRESIDENT                      [ADDRESS REDACTED]
                                         284 NC HWY 751
                                         APEX, NC 27523




[NAME REDACTED]                          [NAME REDACTED]                     BARCLAY WATER MANAGEMENT, INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  55 CHAPEL STREET
                                                                             NEWTON, MA 02458-1060




[NAME REDACTED]                          BARCLAY, GWEN L                     [NAME REDACTED]
[ADDRESS REDACTED]                       1524 WOOD SPRING CT                 [ADDRESS REDACTED]
                                         RALEIGH, NC 27614




BARCLAYS CAPITAL (0229,8455)             BARCO NV                            BARCO NV
ATT CORPORATE ACTIONS/REORG              ATTN CTO                            ATTN R&D DIR MED
745 7TH AV, 3RD FL                       PRESIDENT KENNEDYPARK 35            NOORDLAAN, 5
NEW YORK, NY 10019                       KORTRIJK 8500                       KUURNE 8520
                                         BELGIUM                             BELGIUM
BARCODES INC        Case 25-90163   Document
                                       BARDANE87
                                               MFG Filed
                                                   CO    in TXSB on 07/03/25BARE
                                                                              Page  78GROUP
                                                                                 BOARD of 944
                                                                                            INC, THE
200 WEST MONROE                        ATTN SALES ENG                                 ATTN MANAGING PARTNER
CHICAGO, IL 60690-5075                 P.O. BOX 70, DELAWARE ST                       8565 SOMERSET DR, STE B
                                       JERMYN, PA 18433                               LARGO, FL 33773




BARE DEVELOPMENT INC                   BAREISS SHANGHAI LTD                           [NAME REDACTED]
ATTN PRESIDENT & CEO                   RM 2002, NO 248, YANGSHUPU RD                  [ADDRESS REDACTED]
5425 9TH AVE                           SHANGHAI, HONGKOU 200082
COUNTRYSIDE, IL 60525                  CHINA




[NAME REDACTED]                        [NAME REDACTED]                                [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                             [ADDRESS REDACTED]




[NAME REDACTED]                        BARGO EQUIPMENT, L.L.C.                        [NAME REDACTED]
[ADDRESS REDACTED]                     BARGO MACHINING                                [ADDRESS REDACTED]
                                       1755 ARMSTRONG AVENUE
                                       FAYETTEVILLE, AR 72701-7234




[NAME REDACTED]                        [NAME REDACTED]                                BARN LIGHT ELECTRIC CO LLC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                             ATTN PRESIDENT
                                                                                      3405 S WASHINGTON AVE
                                                                                      TITUSVILLE, FL 32780




[NAME REDACTED]                        [NAME REDACTED]                                BARNES & NOBLE COLLEGE BOOKSELLERS
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                             9101 FAYETTEVILLE ROAD
                                                                                      RALEIGH, NC 27603-5655




BARNES & THORNBURG LLP                 BARNES & THORNBURG LLP                         BARNES PRECISION MACHINE INC
TODD G. VARE                           TODD G. VARE                                   ATTN PRES/CEO
11 S MERIDIAN ST                       11 S MERIDIAN ST, INDIANAPOLIS,                1434 FARRINGTON RD
INDIANAPOLIS, IN 46204                 IN                                             APEX, NC 27523
                                       46204 Email: todd.varebtlaw.com 317-231-7433



[NAME REDACTED]                        [NAME REDACTED]                                [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                             [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                                [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                             [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                                [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                             [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document   87 Filed in TXSB on 07/03/25[NAME
                                   [NAME REDACTED]                        Page  79 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    BARON-BLAKESLEE                     [NAME REDACTED]
[ADDRESS REDACTED]                 200 ARMSTRONG AVE                   [ADDRESS REDACTED]
                                   WILLIAMSTOWN, WV 26187




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     BARTCO LIGHTING INC
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  ATTN PROJECT MNGR
                                                                       5761 RESEARCH DR
                                                                       HUNTINGTON BEACH, CA 92649
BARTEC DISPENSING Case  25-90163
                   TECHNOLOGY, INC.     Document
                                           BARTELL 87   FiledLTD
                                                   & BARTELL  in TXSB on 07/03/25[NAME
                                                                                    Page  80 of 944
                                                                                       REDACTED]
BDTRONIC                                   ATTN EXECUTIVE DIRECTOR               [ADDRESS REDACTED]
P.O. BOX 470741                            432 ROLLING RIDGE DR, STE 4
TULSA, OK 74147-0741                       STATE COLLEGE, PA 16801




BARTENBACH LICHTLABOR GMBH                 BARTHEL HF-TECHNIK GMBH               BARTLETT BEARING
ATTN R&D TECHNICIAN                        ATTN MATTHIAS BARTHEL, PRESIDENT      10901 DECATUR ROAD
RINNERSTRASSE 14                           GOETHESTR 3                           PHILADELPHIA, PA 19154-3210
ALDRANS 6071                               AACHEN 52064
AUSTRIA                                    GERMANY



[NAME REDACTED]                            BARTLING, PARTRICK                    [NAME REDACTED]
[ADDRESS REDACTED]                         S35 W 34150 MCCLURE DR                [ADDRESS REDACTED]
                                           DOUSMAN, WI 53118




[NAME REDACTED]                            [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]




BASARAN NAS BAGIMSIZ DENETIM VE-           [NAME REDACTED]                       BASELEC TECH (HK) CO LTD
SERBEST MUHASEBECI MALI MUSAVIRLIK AS      [ADDRESS REDACTED]                    ATTN GEN MGR
BUYUKDERE CAD NO.100-102                                                         RM 19C, LOCKHART CTR
MAYA AKAR CNTR B BLOCK K.8                                                       301-307 LOCKHART RD
ESENTEPE ISTANBUL                                                                WAN CHAI HONG KONG



BASELINE MECHANICAL LLC                    BASF CORP                             [NAME REDACTED]
129 JACKSON WALK                           ATTN SVP, AGRICULTURAL SOLUTIONS NA   [ADDRESS REDACTED]
ROCKY MOUNT, NC 27801-8509                 2 TW ALEXANDER DR
                                           RESEARCH TRIANGLE PK, NC 27709




[NAME REDACTED]                            BASIC COMMERCE & INDUSTRIES INC       BASIC TECH CO LTD
[ADDRESS REDACTED]                         ATTN VP R&D                           ATTN PRESIDENT
                                           304 HARPER DR, STE 203                D-911, 187-7 DODANG-DONG
                                           MOORESTOWN, NJ 08057                  WONMI-GU
                                                                                 BUCHEON, GYEONGGI-DO SOUTH KOREA



[NAME REDACTED]                            [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                            BASS CO LTD                           [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN SALES DIV EXEC DIRECTOR          [ADDRESS REDACTED]
                                           49, YUNPOSUN-RO, 336 BEON-GIL
                                           DUNPO-MYUN
                                           ANSAN, CHUNGNAM 336-873 SOUTH KOREA
[NAME REDACTED] Case 25-90163             Document   87 Filed in TXSB on 07/03/25[NAME
                                             [NAME REDACTED]                        Page  81 of 944
                                                                                       REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                     BASTION TECHNOLOGIES LLC
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                  ATTN CEO
                                                                                 175W 7065S
                                                                                 MIDVALE, UT 84047




[NAME REDACTED]                              [NAME REDACTED]                     BAT LIGHTING LLC
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                  8600 COMMODITY CIR, STE 121, OFFICE 446
                                                                                 ORLANDO, FL 32819




BAT LIGHTING, LLC                            BATCHELOR & KIMBALL INC             [NAME REDACTED]
8600 COMMODITY CIR., SUITE 121 - OFFICE      ATTN CHIEF EXECUTIVE OFFFICER       [ADDRESS REDACTED]
446                                          2227 PLUNKETT RD NW
ORLANDO, FL 32819                            CONYERS, GA 30012




[NAME REDACTED]                              [NAME REDACTED]                     BATH ENGINEERING
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                  ATTN ELECTRICAL ENG
                                                                                 4110 RIO BRAVO ST
                                                                                 EL PASO, TX 79902




[NAME REDACTED]                              [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                              BATTELLE MEMORIAL INSTITUTE         BATTEN & ALLEN INC
[ADDRESS REDACTED]                           ATTN CONTRACTING OFFICER            ATTN SALES DIRECTOR
                                             902 BATTELLE BLVD                   BRIDGE END, LOVE LN TRADING ESTATE
                                             RICHLAND, WA 99354                  CIRENCESTER
                                                                                 GLOUCESTERSHIRE GL7 1NQ UNITED
                                                                                 KINGDOM


BATTERIES & THINGS INC                       BATTERYSPACE.COM                    [NAME REDACTED]
ATTN VICE PRESIDENT                          ATTN SALES MGR                      [ADDRESS REDACTED]
365 24TH ST                                  860 S 19TH, UNIT A
LASALLE, IL 61301                            RICHMOND, CA 94804




[NAME REDACTED]                              [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                  [ADDRESS REDACTED]
                  Case 25-90163
BATTLESHIP TECHNOLOGIES INC           Document   87 Filed in TXSB on 07/03/25BAUER
                                         [NAME REDACTED]                       Page  82 ofAND
                                                                                   WELDING 944METAL FABRICATORS
ATTN PRES                                [ADDRESS REDACTED]                   INC
4401 ELLINWOOD DR                                                             ATTN VP, BUSINESS DEV
APEX, NC 27539                                                                2159 MUSTANG DR
                                                                              SAINT PAUL, MN 55112



[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




BAUER, MICHAEL                           [NAME REDACTED]                      [NAME REDACTED]
2420 SPUR LN                             [ADDRESS REDACTED]                   [ADDRESS REDACTED]
CONCORD, NC 28027




BAUPOST CAPITAL LLC                      [NAME REDACTED]                      [NAME REDACTED]
ATTN JOSHUA A GREENHILL                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]
10 ST JAMES AVE, STE 1700
BOSTON, MA 02116




[NAME REDACTED]                          [NAME REDACTED]                      BAY AREA LABORATORIES CORP
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   ATTN MGR
                                                                              6/F 3RD PHASE OF WANLI INDL BLDG,
                                                                              SHIHUA RD
                                                                              FUTIAN FREE TRADE ZONE, GUANGDONG
                                                                              SHENZHEN 518000 CHINA


BAY CARBON INC                           BAY COMMUNICATIONS INC               BAY PLASTICS INC
800 MARQUETTE ST                         ATTN ACCOUNTANT                      ATTN PRESIDENT
BAY CITY, MI 48706                       2040 RADISSON ST                     1245 E FOREST AVE, 8
                                         GREEN BAY, WI 54302                  DES PLAINES, IL 60018




BAY TECHNIQUE CORP                       [NAME REDACTED]                      [NAME REDACTED]
ATTN VP                                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]
544 WEDDELL DR, STE 12
SUNNYVALE, CA 94089




BAYCO PRODUCTS INC                       BAYER MATERIALSCIENCE LLC            BAYNARD LTD
ATTN DIR R/D ELEC                        ATTN VP SALES & MKTG                 12TH FL, TSIM SHA TSUI CTR
640 S SANDEN BLVD                        100 BAYER RD                         SALISBURY RD, TSIM SHA TSUI
WYLIE, TX 75098                          PITTSBURGH, PA 15205                 KOWLOON
                                                                              HONG KONG



BAYNARD LTD                              BAYNARD LTD                          [NAME REDACTED]
C/O HONG KONG GOLD COAST RESIDENCES      C/O SINO REAL ESTATE AGENCY; GALY    [ADDRESS REDACTED]
1 CASTLE PEAK RD, CASTLE PEAK BAY        COWEN
NEW TERRITORIES                          12TH FL, TSIM SHA TSUI CENTRE
HONG KONG                                SALISBURY RD, TSIM SHA TSUI
                                         KOWLOON HONG KONG


[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
BAYTREE ASSOCIATESCase
                    INC 25-90163 Document       87 INC
                                       BAZAARVOICE   Filed in TXSB on 07/03/25BAZELL
                                                                                 Page   83 of 944 CORP
                                                                                     TECHNOLOGIES
ATTN VP OF SALES                       ATTN LEGAL                             ATTN VICE PRESIENT
13925 BALLANTYNE CORPORATE PL, STE 190 3900 N CAPITAL OF TEXAS HWY, STE 300   5066 COMMERCIAL CIR
CHARLOTTE, NC 28277                    AUSTIN, TX 78746                       CONCORD, CA 94520




BAZM SOLUTIONS                         BB&T - REESE INSURANCE                 BBF CUSTOM PRODUCTS INC
2218 MASTERS ROAD                      741 W LANIER AVE, STE 100              DBA BBF TECHNOLOGIES
CARLSBAD, CA 92008-3845                FAYETTEVILLE, GA 30214                 ATTN ACCOUNT MANAGER
                                                                              10159 SW COMMERCE CIR, STE D
                                                                              WILSONVILLE, OR 97070



BBH (10,109)                           BBP SALES LLC                          BC ADHESIVES LLC
ATT CORPORATE ACTIONS / VAULT          ATTN ACCOUNT MGR                       ATTN SALES
140 BROADWAY                           337 HIGHLANDIA DR                      4655 W OAKLAND PARK DR
NEW YORK, NY 10005                     BATON ROUGE, LA 70810                  FRANKLIN, WI 53132




BC SYSTEMS INC                         BCL BUSINESS COMMUNICATIONS LLC        BCS SYSTEMS INC
ATTN SALES MGR                         P.O. BOX 233                           ATTN PRES
200 BELLE MEAD RD                      DUBAI                                  11490 WESTHEIMER, STE 200
SETAUKET, NY 11733                     UNITED ARAB EMIRATES                   HOUSTON, TX 77077




BD-LIGHT SAGL                          BDO USA LLP                            BDO USA LLP
BUSCIURINA 3                           ATTN LITIGATION PARTNER                ATTN MICHAEL J DANNAR, PARTNER
CAMORINO 6528                          799 9TH ST NW, STE 710                 5430 WADE PARK BLVD, STE 300
SWITZERLAND                            WASHINGTON, DC 20001                   RALEIGH, NC 27607




BDO USA LLP                            BDP ASIA PACIFIC LTD                   BDS SYSTEMS INC
ATTN PARTNER, CORE TAX SVCS            ATTN GRACE LAI                         ATTN PRESIDENT
5430 WADEPARK BLVD, STE 208            UNIT 4201-4207, TWR ONE, METRO PLZ     3634 NEWBOLT CT
RALEIGH, NC 27607                      223 HING FONG RD                       DOYLESTOWN, PA 18902
                                       KWAI CHUNG, NT HONG KONG



BE AEROSPACE INCORPORATED              BE SEMICONDUCTOR INDUSTRIES            [NAME REDACTED]
2730 W TYVOLA RD                       ATTN VP                                [ADDRESS REDACTED]
CHARLOTTE, NC 28217-4527               10 TINKER AVE
                                       LONDONDERRY, NH 03053




[NAME REDACTED]                        BEACHAM CONSULTING LLC                 BEACON ELECTRONIC ASSOCIATES INC
[ADDRESS REDACTED]                     ATTN MANAGING DIR                      ATTN FIELD SALES MGR
                                       1760 OLD COUNTRY PL                    5887 GLENRIDGE DR
                                       WOODSTOCK, GA 30188                    ATLANTA, GA 30328




BEACON EMERGENCY SERVICES TEAM PA      BEACON INDUSTRIAL GROUP                BEACON PRODUCTS LLC
DBA BEST EMS                           ATTN PRESIDENT                         ATTN VICE PRESIDENT/GEN MGR
4835 LBJ FWY, STE 900                  1925 W INNES ST                        2041 58TH AVE CIR E
DALLAS, TX 75244                       SALISBURY, NC 28144                    BRADENTON, FL 34203




BEACON PROMOTIONS INC                  BEAD INDUSTRIES INC                    BEAMEX, INC.
ATTN PRESIDENT                         ATTN PRESIDENT                         2152 NW PKWY
2121 BRIDGE ST                         11 CASCADE BLVD                        MARIETTA, GA 30067-9306
NEW ULM, MN 56073                      MILFORD, CT 06460
[NAME REDACTED] Case 25-90163         Document  87 Filed in INC
                                         BEAR COMMUNICATIONS TXSB   on 07/03/25[NAME
                                                                DBA BEARCOM       Page  84 of 944
                                                                                     REDACTED]
[ADDRESS REDACTED]                       4009 DISTRIBUTION DRIVE               [ADDRESS REDACTED]
                                         GARLAND, TX 75041-6164




BEARD INTEGRATED SYSTEMS, INC.           [NAME REDACTED]                       [NAME REDACTED]
11245 INDIAN TRAIL, DALLAS, TX 7522      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
DALLAS, TX 75229-3519




[NAME REDACTED]                          [NAME REDACTED]                       BEATON INDUSTRIAL INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    6083 TRENTON ROAD
                                                                               UTICA, NY 13502




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       BEAUTIFUL LIGHT TECHNOLOGY CORP
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    ATTN PRESIDENT
                                                                               NO. 16-2, DINGSHANMEN, NEIGHBOR 12
                                                                               JINLIN VILLAGE
                                                                               JHNONGU TOWNSHIP, CHIAYI TAIWAN



BEAUTYLIGHT OPTRONICS CO LTD             [NAME REDACTED]                       BEAZLEY USA SERVICES INC
3F, NO 1, PROSPERITY RD I                [ADDRESS REDACTED]                    65 MEMORAL RD, STE 320
HSINCHU SCIENCE PK                                                             WEST HARTFORD, CT 06107-4218
HSINCHU 300
TAIWAN



BECHMAN, JON                             [NAME REDACTED]                       [NAME REDACTED]
N6382 MILLARD RD                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]
ELKHORN, WI 53121




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          BECKHOFF AUTOMATION LLC               BECKMAN COULTER INC
[ADDRESS REDACTED]                       13130 DAKOTA AVENUE                   ATTN VP GLOBAL - QC &
                                         SAVAGE, MN 55378-2574                 BIOMANUFACTURING
                                                                               5350 LAKEVIEW PKWY
                                                                               SOUTH DRIVE
                                                                               INDIANAPOLIS, IN 46268


BECKMAN PRECISION INC                    [NAME REDACTED]                       [NAME REDACTED]
ATTN AREA MGR                            [ADDRESS REDACTED]                    [ADDRESS REDACTED]
415 BROOKSHIRE RD
GREER, SC 29651
BECTON DICKINSON &Case   25-90163
                    COMPANY           Document   87 Filed
                                         BEDE SCIENTIFIC INC in TXSB on 07/03/25[NAME
                                                                                   Page  85 of 944
                                                                                      REDACTED]
ATTN VP                                   ATTN PRES                               [ADDRESS REDACTED]
1 BECTON DR                               14 INVERNESS DR E, STE G-104
FRANKLIN LAKES, NJ 07417                  ENGLEWOOD, CO 80112




[NAME REDACTED]                           [NAME REDACTED]                         BEE LIGHTING LTD
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      ATTN MANAGING DIR
                                                                                  MERSE RD, N MOONS MOAT
                                                                                  REDDITCH
                                                                                  WORCESTERSHIRE B98 9PL UNITED
                                                                                  KINGDOM


BEE LINE CONSTRUCTION LLC                 [NAME REDACTED]                         [NAME REDACTED]
3221 LAKE WOODWARD DRIVE                  [ADDRESS REDACTED]                      [ADDRESS REDACTED]
RALEIGH, NC 27604-3660




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




BEHLMAN ELECTRONICS                       [NAME REDACTED]                         [NAME REDACTED]
ATTN PRESIDENT                            [ADDRESS REDACTED]                      [ADDRESS REDACTED]
80 CABOT CT
HAUPPAUGE, NY 11788




[NAME REDACTED]                           [NAME REDACTED]                         BEI ELECTRONICS LLC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      ATTN PRESIDENT
                                                                                  3817 NICHOLSON RD
                                                                                  FRANKSVILLE, WI 53126




BEI KIMCO MAGNETICS                       BEIJER ELECTRONICS INC                  BEIJIING TECHNOLOGY CENTER FOR
ATTN GEN MGR                              ATTN DIR OF FINANCE/TREAS               CHINESE ELECTRONICS STANDARD
2470 CORAL ST, BLDG D                     1865 W 2100 S                           RESEARCH
VISTA, CA 92081                           SALT LAKE CITY, UT 84119




BEIJING ADMINISTRATION FOR INDUSTRY       BEIJING ATEXON TRADING CO LED           BEIJING CANON ADVERTISING CO.,
8 SANLIHE DONGLU, XICHENGQU               RM 1316, 53 YUNJINGBEILI                LTD SHENZHEN BRANCH
BEIJING 100820                            TONGZHOU DISTRICT                       ROOM 2102, 2103, TOWER A, SUN HOPE
CHINA                                     BEIJING 101199                          SHENZHEN 518100
                                          CHINA                                   CHINA



BEIJING CENTURY CHENTONG                  BEIJING ELICHT CULTURE & MEDIA CO LTD   BEIJING FARYUANMING ELECTRONICS CO
ELECTRONICS CO LTD                        ATTN SALES DIR                          LTD
NO.4, JIXIANG INDUSTRIAL EST              ROOM S811-S812, BUILDING 3              ATTN GAS CRF MANAGER
SHUNYI DISTRICT                           APT LONGTOU 8, NANXINXI ROAD NO 8       RM 801, TIANCHUANG PLAZA NO. 8,
BEIJING                                   CHAOYANG, BEIJING 100020 CHINA          CIBETANG RD
CHINA                                                                             ZHONGGUANCUN, HAIDIAN
                                                                                  BEIJING CHINA
BEIJING HYPERSTRONGCase
                     TECH25-90163
                          CO LTD      Document    87 Filed in TXSB
                                         BEIJING KAIWENXINTONG TECH COon
                                                                       LTD07/03/25BEIJING
                                                                                     Page   86 of 944
                                                                                          MEIYAXIAN TECHNOLOGY CO LTD
ATTN PROJECT MGR                          NO 15, XIAOQIAN ST, XIAOGEQU               RM 34, YUANCHENXIN BLDG
9 FENGHAO EAST ROAD, BLDG 2C              SOUTH BANBIDIAN VILLAGE                    12 YUMIN RD
HAIDIAN DISTRICT                          LIQIAO SHUNYI DIST                         CHAOYANG, BEIJING 100029
BEIJING 100094 CHINA                      BEIJING CHINA                              CHINA



BEIJING NAURA MICROELECTRO EQUIP CO       BEIJING NEGO AUTOMATION TECH CO LTD        BEIJING NEWPORT SPECTRA-PHYSICS TECH
LTD                                       F6 ZHIXING BLDG, NO 3                      CO LTD
NO 8 WENCHANG AVE                         HAIDIAN DIST, BJ                           ATTN CSA
BEIJING ECONOMICAL TECHNOLOGICAL          SHANGYUANCUN                               NO 1 BLDG, 20-2305, NO. 55
DEVELOPMENT AREA                          CHINA                                      ZHONG GUANCUN E RD
BEIJING 100176 CHINA                                                                 HAIDIAN DIST, BEIJIN CHINA


BEIJING NORTH STAR CO LTD                 BEIJING ORIENTAL JICHENG CO.,LTD.          BEIJING POWER COMMUNICATION SUPPLY
OFFICE BLDG MANAGEMENT BRANCH CO          12TH FLOOR, YINDU BUILDING, NO. 67         EQUIP CO LTD
NO 8, BEICHEN E RD                        BEIJING 100000                             ZHONGLI TECHNOLOGY PARK
CHAOYANG DISTRICT                         CHINA                                      3RD ST, HAIDIAN DIST
BEIJING CHINA                                                                        BEIJING
                                                                                     CHINA


BEIJING SI TAN DE HUMIDIFYING             BEIJING SINNET TECHNOLOGY CO LTD           BEIJING TONDA CONSTRUCTION COMM
EQUIPMENT-                                RM 202, 2ND FLR, NO 3 BLDG, 20 YONGAN RD   CONSULTATION CO LTD
INSTALLATION ENGINEERING CO LTD           SHILONG BROKERAGE DEV ZONE
                                          MENTOUGOU DISTRICT
                                          BEIJING CHINA



BEIJING TRANSPORTATION AUTHORITY          BEIJING WANGANJIETONG TECHNOLOGY           BEIJING WEIYUAN SECURITY SERVICE CO
8 SANLIHE DONGLU, XICHENGQU               DEVELOPMENT CO., LTD.                      LTD
BEIJING 100820                            315415                                     1502, DONGFENG BLDG NO 2010, SHENNAN
CHINA                                     BEIJING 100000                             M RD
                                          CHINA                                      FUQIANG COMMUNITY, HAUGIANGBEI SUB-
                                                                                     DIST
                                                                                     FUTIAN DISTRICT
                                                                                     SHENZHEN, GUANGDONG 518000 CHINA

BEIJING YIFENG TECHNOLOGY CO., LTD        BEIJING YUJI SCIENCE & TECHNOLOGY CO       BEIJING ZHONGXING BAIMI TECHNOLOGY
309                                       LTD                                        CO LTD
BEIJING 100000                            ATTN DEPT MGR OF INTL BUS                  RM 407, BUILDING 1, NO 13
CHINA                                     RM 808, SCIENCE & TECH BLDG, NO 5          BEIER TIAO, ZHONGGUANCUN
                                          ZHONGGUANCUN S RD, HAIDIAN DIST            HAIDIAN DISTRICT
                                          BEIJING CHINA                              BEIJING 100086 CHINA


[NAME REDACTED]                           [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                         [ADDRESS REDACTED]




BEKAERT CORP                              [NAME REDACTED]                            BEKTAS COLAK
ATTN PRES                                 [ADDRESS REDACTED]                         ATTN VISITING SCHOLAR
3200 W MARKET ST, STE 303                                                            4-173 CENTER FOR SCIENCE & TECHNOLOGY
AKRON, OH 44333                                                                      SYRACUSE, NY 13244




BEL FUSE INC                              [NAME REDACTED]                            [NAME REDACTED]
ATTN VP FINANCE                           [ADDRESS REDACTED]                         [ADDRESS REDACTED]
206 VAN VORST ST
JERSEY CITY, NJ 07302




BEL-ART PRODUCTS                          [NAME REDACTED]                            BELCAN CORPORATION
ATTN EXEC VP                              [ADDRESS REDACTED]                         ATTN ACCOUNT MANAGER
6 INDUSTRIAL RD                                                                      10200 ANDERSON WAY
PEQUANNOCK, NJ 07440                                                                 CINCINNATI, OH 45242
[NAME REDACTED] Case 25-90163   Document   87 Filed in TXSB on 07/03/25[NAME
                                   [NAME REDACTED]                        Page  87 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    BELK ADMINISTRATION CO              [NAME REDACTED]
[ADDRESS REDACTED]                 ATTN DIRECTOR                       [ADDRESS REDACTED]
                                   2801 W TYVOLA RD
                                   CHARLOTTE, NC 28217




BELKIN INC                         BELKIN INTERNATIONAL INC            [NAME REDACTED]
ATTN VP CORP DEV                   ATTN SUNNY CHOI, VP                 [ADDRESS REDACTED]
12045 WATERFRONT DR                12045 E WATERFRONT DR
PLAYA VISTA, CA 90094              PLAYA VISTA, CA 90094




BELKOZ INC                         BELL ELECTRONICS NW INC             BELL LEADERSHIP INSTITUTE
ATTN PRESIDENT                     1150 RAYMOND AVENUE SW              P.O. BOX 572
910 MORRIS DALE LN                 RENTON, WA 98057-3125               CHAPEL HILL, NC 27514-0572
CARY, NC 27519




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     BELLA LANDSCAPING
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  2450 WINCONSIN ST
                                                                       STURTEVANT, WI 53177




BELLA LANDSCAPING                  [NAME REDACTED]                     [NAME REDACTED]
8655 N 43RD ST                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]
BROWN DEER, WI 53209
[NAME REDACTED] Case 25-90163   Document   87 Filed in TXSB on 07/03/25BELL-LABS
                                   [NAME REDACTED]                       Page 88    of 944
                                                                                 GERMANY -
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                    ALCATEL-LUCENT DEUTSCHLAND AG
                                                                         STUTTGART
                                                                         GERMANY




BELL-NORTHERN RESEARCH LTD         [NAME REDACTED]                       BELLWETHER TECHNOLOGIES LLC
3500 CARLING AVE                   [ADDRESS REDACTED]                    ATTN PRES
NEPEAN, ON K2H BE9                                                       5938 WOODVINE RD
CANADA                                                                   COLUMBIA, SC 29206




[NAME REDACTED]                    [NAME REDACTED]                       BELZONA CAROLINA INC
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                    ATTN VICE PRESIDENT
                                                                         3885 EDWARDS RD
                                                                         GRIMESLAND, NC 27837




BEMIS MANUFACTURING CO             [NAME REDACTED]                       BENCHMARK ELECTRONICS DE MEXICO S
ATTN DIRECTOR                      [ADDRESS REDACTED]                    DE RL DE CV
300 MILL ST                                                              CIRCUITO DE LA PRODUCTIVIDAD NO 132
P.O. BOX 901                                                             LAS PINTAS, EL SALTO
SHEBOYGAN FALLS, WI 53085                                                JALISCO 45690
                                                                         MEXICO


BENCHMARK ELECTRONICS INC          BENCHMARK ELECTRONICS INC             BENCHMARK ELECTRONICS
ATTN VP MFO                        C/O HAMILTON STEPHENS STEELE MARTIN   DE MEXICO S DE RL DE CV
3000 TECHOLOGY DR                  PLLC                                  C/O HAMILTON STEPHENS STEELE MARTIN
ANGLETON, TX 77515                 201 S COLLEGE ST, STE 2020            PLLC
                                   CHARLOTTE, NC 28244-2020              201 S COLLEGE ST, STE 2020
                                                                         CHARLOTTE, NC 28244-2020


BENDER & WIRTH INC                 [NAME REDACTED]                       BENEFICIAL REUSE MANAGEMENT
ATTN PRESIDENT                     [ADDRESS REDACTED]                    ATTN PLANT MGR
210 PLEASANT ST, UNIT 1                                                  2825 FOUR MILE RD
CONCORD, NH 03301                                                        RACINE, WI 53404




BENEQ OY                           BENEQ OY                              [NAME REDACTED]
ATTN CEO                           ATTN SEMICONDUCTOR BU                 [ADDRESS REDACTED]
ENSIMMAINEN SAVU                   OLARINLUOMA 9
VANTAA 01510                       ESPOO 00220
FINLAND                            FINLAND



BENISON TECH USA LLC               [NAME REDACTED]                       [NAME REDACTED]
ATTN PRESIDENT                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]
2225 E BAYSHORE RD, STE 200
PALO ALTO, CA 94303




[NAME REDACTED]                    [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163         Document   87 Filed in TXSB on 07/03/25BENNING
                                         [NAME REDACTED]                       PageELEKTROTECHNIK
                                                                                     89 of 944    UND
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    ELEKTRONIK GMBH & CO KG
                                                                               ATTN DIP ING
                                                                               MUENSTERTRASSE 135-137
                                                                               BOCHOLT D-46397 GERMANY



[NAME REDACTED]                          BENSINGER DUPONT & ASSOCIATES INC     [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN COO                              [ADDRESS REDACTED]
                                         134 N LASALLE ST, STE 2200
                                         CHICAGO, IL 60602




[NAME REDACTED]                          [NAME REDACTED]                       BENTHAM INSTRUMENTS LTD
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    ATTN SALES DIR
                                                                               2 BOULTON RD
                                                                               READING, BERKSHIRE RG2 0NH
                                                                               UNITED KINGDOM



BENTLEY SYSTEMS, INC.                    [NAME REDACTED]                       BENTONVILLE PLASTICS INC
685 STOCKTON DR.                         [ADDRESS REDACTED]                    ATTN PRESIDENT
EXTON, PA 19341-1378                                                           607 SW A ST
                                                                               BENTONVILLE, AR 72712




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




BEREX CORP                               BERGENDAHL, MARC                      [NAME REDACTED]
ATTN VP ENGINEERING                      100 LIBERTY RD                        [ADDRESS REDACTED]
301 DACCHI-DONG                          TROY, NY 12180
GANGNAM-KU
SEOUL 913-20 SOUTH KOREA



BERGEVIN ELECTRICAL CONTRACTING LTD      BERGGREN LAW OFFICES LLC              BERGH HYBRID CIRCUITS BV
ATTN MANAGER                             ATTN WILLIAM R BERGGREN, ESQ          ATTN SALES DIRECTOR
920 NELSON AVE                           7090 43RD ST                          GRENSSTRAAT 4
NELSON, BC V1L 2N9                       NORTH OAKDALE, MN 55128               GZS-HEERENBERG NL -7041
CANADA                                                                         NETHERLANDS



[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




BERKELEY NUCLEONICS CORPORATION          BERKLEY INTERNATIONAL PACKAGING LLC   BERKLEY PROFESSIONAL LIABILITY LLC
2955 KERNER BLVD. SUITE D                DBA BERKLEYPAK                        757 3RD AVE, 10TH FL
SAN RAFAEL, CA 94901-5553                ATTN VP                               NEW YORK, NY 10017
                                         2725 EL PRESIDIO ST
                                         CARSON, CA 90810
BERKMAN FORWARD Case     25-90163
                   HONG KING LIMITED   Document  87HATHAWAY
                                          BERKSHIRE  Filed inSPECIALTY
                                                              TXSB on  INS07/03/25
                                                                           CO       Page 90
                                                                                  BERKSHIRE   of 944 SPECIALTY INS CO
                                                                                            HATHAWAY
ATTN OP                                    100 FEDERAL ST, 7TH FL                  ATTN CHIEF PROD COUNSEL
ROOM 1402, 4F, BENSON TOWER                BOSTON, MA 02110                        85 BROAD ST
74 HUNG TO RD, KWU TONG                                                            NEW YORK, NY 10004
KOWLOON HONG KONG



BERLIN INSTITUTE OF TECHNOLOGY (TU         BERLIN UNIVERSITY OF TECHNOLOGY         BERLINER GLASS US
BERLIN)                                    EINSTEINUFER 25                         ATTN PRESIDENT
EINSTEIN UNTER 25 HFTS-1                   SEKR                                    55 DUNROBIN LN
BERLIN 10587                               HFT 5-1                                 WATERTOWN, CT 06795
GERMANY                                    BERLIN 10587 GERMANY



BERMO INC                                  [NAME REDACTED]                         [NAME REDACTED]
ATTN PRESIDENT                             [ADDRESS REDACTED]                      [ADDRESS REDACTED]
4501 BALL RD NE
CIRCLE PANES, MN 55014




[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]




BERNER FACHHOCHSCHULE                      [NAME REDACTED]                         [NAME REDACTED]
ATTN PROFESSOR                             [ADDRESS REDACTED]                      [ADDRESS REDACTED]
QUELLGASSE 21
BIEL 2501
SWITZERLAND



[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                         BERSON & ASSOCIATES INC
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      17591 CARRIAGE LAMP WAY
                                                                                   MORGAN HILL, CA 95037




BERTELKAMP AUTOMATION INC                  [NAME REDACTED]                         BESI DIE HANDLING INC
P.O. BOX 11488                             [ADDRESS REDACTED]                      ATTN VP
KNOXVILLE, TN 37939-1488                                                           10 TINKER AVE
                                                                                   LONDONDERRY, NH 03053




BESI SINGAPORE PTE. LTD.                   BESPOKE ARSENAL INC                     [NAME REDACTED]
1 SCIENCE PARK ROAD SINGAPORE SCIEN        ATTN CREATIVE DIR/PARTNER               [ADDRESS REDACTED]
SINGAPORE 117528                           317-203 W MORGAN ST
SINGAPORE                                  RALEIGH, NC 27601




BEST BUY CHINA LTD                         BEST CHANCE INTL DEVELOPMENT LTD        BEST CREATION TECHNOLOGY LIMITED
AS TTEE FOR BEST BUY CHINA                 ATTN DIR                                ATTN FIN MGR
ASTWOOD DICKINSON BLDG 2ND FL              RM 703, KOWLOON BLDG                    RM 305, KWONG SANG HONG CENTRE
83-85 FRONT ST                             555 NATHAN RD                           151-153 HOI BUN RD, KWUN TONG
HAMILTON HM12 BERMUDA                      KOWLOON HONG KONG                       KOWLOON HONG KONG
BEST DEDICATED    Case 25-90163   Document   87 Filed in TXSB on 07/03/25BEST
                                     BEST ELECTRONIQUE                     Page   91 of
                                                                              LIGHTING   944 INC
                                                                                       PRODUCTS
829 GRAVES ST                        ATTN GERANT                         ATTN PRESIDENT
KERNERSVILLE, NC 27284-3209          3, BLVD EIFFEL                      1213 ETNA PKWY
                                     LONGVIE 21600                       PATASKALA, OH 43062
                                     FRANCE



BEST LOGISTICS GROUP INC             BEST RECHTSANWALTE                  BEST SOLID-STATE LIGHTING CO LTD
ATTN OPERATIONS MGR                  INDUSTRIEPARK HOCST / E 416         ATTN CHI-FEN-ZHENG
829 GRAVES ST                        FRANKFURT AM MAIN 65926             11F NO 123, SINGLE-TE RD
KERNERSVILLE, NC 27284               GERMANY                             SAN CHONG DISTRICT, 241
                                                                         NEW TAIPEI CITY TAIWAN



[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                      BESTLUX SRL                         BETA GROUP SRL
[ADDRESS REDACTED]                   ATTN CEO                            DBA BETALUX
                                     STRADA PER PONTE RIGLIO, 25         ATTN ADMINTRATOR
                                     PONTENURE, PIACENZA 29010           VIA LAURENTINA 7/A
                                     ITALY                               POMEZIA, ROMA 0040 ITALY



BETA LASERMIKE INC                   BETA LIGHTING                       [NAME REDACTED]
ATTN SALES DIRECTOR                  1200 92ND ST                        [ADDRESS REDACTED]
8001 TECHNOLOGY BLVD                 STURTEVANT, WI 53177-1854
DAYTON, OH 45424




[NAME REDACTED]                      [NAME REDACTED]                     BETRONIK GMBH
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  ATTN MGR
                                                                         GRUNEWALDSTRASSE 40
                                                                         BERLIN 12165
                                                                         GERMANY



[NAME REDACTED]                      BETTER BOARDS INC                   BETTER BRANDS II INC
[ADDRESS REDACTED]                   103 LANDSDOWNE CT                   T/A FIREHOUSE SUBS
                                     CARY, NC 27519                      6012 WASHINGTON AVE
                                                                         MOUNT PLEASANT, WI 53406




BETTERFROST INC                      BEVCO ENGINEERING CO                [NAME REDACTED]
ATTN CTO                             ATTN VP - OPERATIONS                [ADDRESS REDACTED]
101 COLLEGE ST, STE 200              W222N5739 MILLER WAY
TORONTO, ON M5G 1L7                  SUSSEX, WI 53089
CANADA



[NAME REDACTED]                      BEW ENGINEERING INC                 BEW GLOBAL INC
[ADDRESS REDACTED]                   ATTN BILL ERDMAN                    ATTN CHIEF EXECUTIVE OFFICER
                                     2303 CAMINO RAMON, STE 220          757 MALETA LN, STE 203
                                     SAN RAMON, CA 94583                 CASTLE ROCK, CO 80108
                  Case 25-90163
BEW INTERACTIVE INC                 Document   87 Filed in TXSB on 07/03/25BEYER
                                       [NAME REDACTED]                       Page  92 of& 944
                                                                                 WEAVER   THOMAS LLP
ATTN EVP                               [ADDRESS REDACTED]                   2030 ADDISON ST, 7TH FL
54770 MOUND RD                                                              BERKELEY, CA 94704
SHELBY TOWNSHIP, MI 48316




BEYER WEAVER & THOMAS LLP              BEYER WEAVER & THOMAS LLP            BEYOND CAMPUS INNOVATIONS HOLDINGS
380 FOAM ST, STE 210                   590 W EL CAMINO REAL                 LLC
MONTEREY, CA 93940                     MOUNTAIN VIEW, CA 94040              ATTN VP, WORKFORCE STRATEGY
                                                                            7100 E BELLEVIEW AVE, STE 201
                                                                            GREENWOOD VILLAGE, CO 80111



BFI WASTE SERVICES LLC                 BFPE INTERNATIONAL                   BG PROPERTIES OF TEXAS LLC
ATTN GENERAL MGR                       7512 CONNELLEY DR                    U.S. LAWNS - PLANO TX
5111 CHIN PAGE RD                      HANOVER, MD 21076                    7801 ALMA DR
DURHAM, NC 22703                                                            PLANO, TX 75025-3482




BGI RETAIL INC                         [NAME REDACTED]                      [NAME REDACTED]
ATTN BUSINESS DIR                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]
3 ADI DASSLER WAY
PARIS, ON N3L 0B9
CANADA



[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




BHARAT SEMI SYSTEMS PTE LTD            [NAME REDACTED]                      BHARTI AXA GENERAL INSURANCE CO LTD
ATTN VINAYAK DALMIA, MANAGING DIR      [ADDRESS REDACTED]                   ATTN CFO
B-86, GREATER KAILASH 1 (GK1)                                               1ST FL, NIRLON HOUSE, PLOT NO. 254/B
DELHI 110048                                                                DR ANNIE BESANT RD
INDIA                                                                       WORLI, MUMBAI 400030 INDIA



[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
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[NAME REDACTED] Case 25-90163   Document   87 Filed in TXSB on 07/03/25[NAME
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[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




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[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                     BI TECHNOLOGIES
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  ATTN PRESIDENT
                                                                       4200 BONITA PL
                                                                       FULLERTON, CA 92835




[NAME REDACTED]                    [NAME REDACTED]                     BIANCHINI, FRANCESCA
[ADDRESS REDACTED]                 [ADDRESS REDACTED]




BIAS POWER INC                     [NAME REDACTED]                     BICOM OPTICS
ATTN PRESIDENT                     [ADDRESS REDACTED]                  ATTN PRESIDENT
1330 BUSCH PKWY                                                        B4 BLDG, XINJIANXING IND PARK
BUFFALO GROVE, IL 60089                                                FENGXIN RD, GUANGMING DIST
                                                                       SHENZHEN CHINA



[NAME REDACTED]                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163           Document   87 Filed in TXSB on 07/03/25[NAME
                                           [NAME REDACTED]                        Page  94 of 944
                                                                                     REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]




BIFFI LUCE SRL                             BIG 3 PRECISION PRODUCTS INC         BIG BANG LLC
ATTN QUALITY AREA DIR                      ATTN SALES MGR                       ATTN DIR OF SALES & MARKETING
VIA DELLE INDUSTRIE 14                     2923 S WABASH AVE                    9851 S 27TH ST
BUSNAGO MI 20040                           CENTRALIA, IL 62801                  FRANKLIN, WI 53132
ITALY



BIG OAK COATINGS LLC                       BIG TIME AUTO PARTS MFG. CO LTD      BIG VISUAL GROUP
1148 VANNSTONE DRIVE                       ATTN LIU YAU WEN, CEO                5764 CROSSINGS BLVD
RALEIGH, NC 27603-8479                     NO. 160, ERH JEN RD, SEC 1           ANTIOCH, TN 37013-3144
                                           PAO AN VILLAGE
                                           JEN TE HSIANG, TAINAN HSIEN TAIWAN



[NAME REDACTED]                            [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]




BI-LINK ILLINOIS LTD                       BILK MOLDING COMPOUNDS INC           BILKENT UNIVERSITY
ATTN PRES & CEO                            ATTN PRESIDENT                       UNIVERSITELER
391 S GLEN ELLYN RD                        1600 POWIS CT                        CANKAYA/ANKARA 06800
BLOMINGDALE, IL 60108                      WEST CHICAGO, IL 60185               TURKEY




BILL EVANS MFR REPRESENTATIVE INC          BILLION ELECTRIC CO LTD              BILLION NICE INDUSTRIES LTD
DBA SUMTER SALES & MARKETING               ATTN CEO                             UNIT 12, 15/F, WAH WAI INTERNATIONAL CTR
ATTN PRESIDENT                             8F, NO. 192, SEC 2, ZHONGXING RD     38-40 AU PUI WAN STREET, FO TAN
2016 PEBBLE BEACH CT                       XINDIAN DIST                         SHATIN, NEW TERRITORIES
RICHARDSON, TX 75082                       NEW TAIPEI CITY 231 TAIWAN           HONG KONG



BILLIONTEK CORP                            [NAME REDACTED]                      BIMBA MANUFACTURING CO
THE SCIENTIFIC & TECHNOLOGIC INDUSTRY      [ADDRESS REDACTED]                   ATTN REGIONAL MANAGER
Z                                                                               P.O. BOX 68
DONGGUAN, GUANGDONG 523201                                                      MONEE, IL 60449
CHINA



[NAME REDACTED]                            BINARY PULSE INC                     BINDER INC
[ADDRESS REDACTED]                         ATTN PRESIDENT                       ATTN PRESIDENT
                                           120 NEWPORT CENTER DR                545-3 JOHNSON AVE
                                           NEWPORT BEACH, CA 92660              BOHEMIA, NY 11716




[NAME REDACTED]                            [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]




BINGRI ELEC TECH (SZ) CO LTD               BINOPTICS CORP                       BINRI ELECTRONIC TECH (SZ) CO LTD
BLDG 3, 2ND INDUS PARK                     ATTN VICE PRESIDENT, TECH DEV        ATTN CHEN CHIEN HSING
TANGXIAWEI JIANGSHI VILLAGE                9 BROWN RD                           3F-4F, B3 MERCHANTS GUANGMING
SHENZHEN, GONGMIN                          ITHACA, NY 14850                     SCIENCE PK
CHINA                                                                           GUANGUANG RD, GUANGMING NEW DIST
                                                                                SHENZHEN CHINA
[NAME REDACTED] Case 25-90163         Document  87 GLASS
                                         BINSWANGER Filed in TXSB on 07/03/25BINSWANGER
                                                                                Page 95OF
                                                                                        ofCOLORADO
                                                                                           944     INC
[ADDRESS REDACTED]                       ATTN BRANCH MGR                     ATTN DANIEL F CULLEN, COO/GC
                                         2424 CRABTREE BLVD                  THREE LOGAN SQUARE
                                         RALEIGH, NC 27604                   1717 ARCH ST, STE 5100
                                                                             PHILADELPHIA, PA 19103



BIOENERGY PROJECTS SDN BHD               BIOLIN SCIENTIFIC INC               BIONOMIC INDUSTRIES INC
NO.8, JALAN LAGUNA 1,                    ATTN TERRITOTY MGR                  ATTN PRESIDENT
PERAI PIN 13700                          215 COLLEGE RD, STE 300             777 CORPORATE DR
MALAYSIA                                 PARAMUS, NJ 07652                   MAHWAH, NJ 07430




BIOPHYSICAL ECONOMICS INSTITUTE INC      BIO-PLASTIC SOLUTIONS LLC           BIO-RAD SEMICONDUCTOR SYSTEMS
ATTN ADMINISTRATOR                       ATTN PRES                           DIVISION
389 MAIN ST, STE 202                     526 3RD ST NE                       ATTN DIRECTOR
MALDEN, MA 02148                         BLOOMING PRAIRIE, MN 55917          520 CLYDE AVE
                                                                             MOUNTAIN VIEW, CA 94093



BIOSAN LABORATORIES INC                  BIP CORPORATION                     BIRCHWOOD PRICE TOOLS
1950 TOBSAL CT                           ATTN PROCUREMENT DIR                ATTN BUYER
WARREN, MI 48091                         1605 GRAND AVE, STE 7               UNIT 2, BIRCH PARK, PARK LODGE RD
                                         SAN MARCOS, CA 92078                GILTBROOK, NOTTINGHAM NG16 2AR
                                                                             UNITED KINGDOM



BIRD & BIRD (NETHERLANDS) LLP            BIRD & BIRD LLP                     BIRD TECHNOLOGIES
ZUID-HOLLANDPLEIN 22                     ATTN TATJANA BECK                   30303 AURORA RD
THE HAUGUE 2596 AW                       AM SANDTORKAI 50                    SOLON, OH 44139
NETHERLANDS                              HAMBURG 20457
                                         GERMANY



[NAME REDACTED]                          BIRLASOFT SOLUTIONS INC             BIRMINGHAM CONTROL SYSTEMS, INC.
[ADDRESS REDACTED]                       ATTN VP                             3779 PINE LN SE
                                         399 THORNALL ST                     BESSEMER, AL 35022-5642
                                         EDISON, NJ 08837




[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                          BIT9 INC                            [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN DEPUTY GEN COUNSEL             [ADDRESS REDACTED]
                                         1100 WINTER ST
                                         WALTHAM, MA 02451
BITS INC          Case 25-90163          Document
                                            BITSIGHT87  Filed in TXSB
                                                    TECHNOLOGIES, INC. on 07/03/25BIVAR
                                                                                     Page
                                                                                        INC 96 of 944
ATTN SALES ENGINEER                          111 HUNTINGTON AVENUE                    ATTN VP
3900 MERTON DR, STE 260                      BOSTON, MA 02199-1700                    4 THOMAS
RALEIGH, NC 27609                                                                     IRVINE, CA 92562




[NAME REDACTED]                              [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                       [ADDRESS REDACTED]




BJ KOREA CO LTD                              BJ PRITCHETT                             BJ WOLFE ENTERPRISES INC
ATTN LED BUS TEAM MNG                        DBA CMI SALES & USE TAX CONSULTING       ATTN GM
7F GUMGANG PENTERIUM IT TOWER, 333-7,        126 WILDFLOWER PL                        5321 DERRY AVE, UNIT E
SANGDAEWON-DONG, JUNGWON-GU                  HOT SPRINGS NATL PARK, AR 71709          AGOURA HILLS, CA 91376
SEONGNAM-SI, GYEONGGI-DO SOUTH
KOREA


BJB ELECTRIC LP                              BJB GMBH & CO KG                         B-K LIGHTING INC
ATTN PRODUCT & MKTG MGR                      ATTN EXEC VP FINANCE/MKTG DIR            ATTN EVP
6375 ALABAMA HWY                             WERLER STRASSE 1                         40429 BRICKYARD DR
RINGGOLD, GA 30736                           ARNSBERG 59755                           MADERA, CA 93638
                                             GERMANY



BK OF NOVA SCOTIA/CDS (4838)                 BL 3DIMENSION CORP                       [NAME REDACTED]
ATT ARELENE AGNEW OR PROXY MGR               ATTN PRESIDENT                           [ADDRESS REDACTED]
44 KING ST WEST                              5100 NEWPORT DR, STE 9
SCOTIA PLAZA                                 ROLLING MEADOWS, IL 60008
TORONTO, ON M5H 1H1 CANADA



[NAME REDACTED]                              BLACK & WHITE ENGINEERING SOLN PTY LTD   BLACK AND DECKER CORPORATION, THE
[ADDRESS REDACTED]                           ATTN MANAGING DIR                        ATTN VP ENGINEERING
                                             273 MILPERRA RD                          701 EAST JOPPA RD
                                             REVESBY                                  TOWSON, MD 21286
                                             SYDNEY, NSW 2212 AUSTRALIA



BLACK BOX RESALE SERVICES                    BLACK DIAMOND EQUIPMENT LTD INC          BLACK GIRLS CODE
7125 NORTHLAND TERRACE NO SUITE 400          ATTN TECHNICAL DIR, LAMPS                P.O. BOX 640926
BROOKLYN PARK, MN 55428-1535                 2084 EAST 3900 SOUTH                     SAN FRANCISCO, CA 94164-0926
                                             SALT LAKE, UT 84124




BLACK HILLS/ COLORDAO ELECTRIC UTILITY       BLACK RIVER ENERGY LLC                   [NAME REDACTED]
CO LP                                        ATTN PRESIDENT                           [ADDRESS REDACTED]
DBA BLACK HILLS ENERGY                       1750 S EL CAMINO DR
                                             TEMPE, AZ 85281




[NAME REDACTED]                              [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                       [ADDRESS REDACTED]
BLACKBAUD INC      Case 25-90163     Document  87 LLCFiled in TXSB on 07/03/25[NAME
                                        BLACKBEAM                                Page  97 of 944
                                                                                    REDACTED]
65 FAIRCHILD STREET                     ATTN MANAGING DIR                     [ADDRESS REDACTED]
CHARLESTON, SC 29492-7505               41 E 11TH ST, 11TH FL
                                        NEW YORK, NY 10003




[NAME REDACTED]                         BLACKHART LLC                         BLACKHART, LLC
[ADDRESS REDACTED]                      ATTN PRESIDENT                        1153 BERGEN PARKWAY, SUITE 155
                                        3879 E 120TH AVE, STE 218             EVERGREEN, CO 80439
                                        THORNTON, CO 80233




BLACKHAWK NETWORK INC DBA OMNICARD      BLACKLINE SYSTEMS INC                 BLACKLINEONDEMAND.COM
16610 N BLACK CANYON HIGHWAY            21300 VICTORY BLVD                    ATTN CEO
PHOENIX, AZ 85053-4036                  WOODLAND HILLS, CA 91367-2525         23875 VENTURA BLVD, STE 103
                                                                              CALABASAS, CA 91302




[NAME REDACTED]                         [NAME REDACTED]                       BLACKROCK INVESTMENT MANAGEMENT
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    LLC
                                                                              C/O BLACKROCK INC
                                                                              ATTN ROBERT CONNOLLY, GEN COUNSEL
                                                                              40 EAST 52ND ST
                                                                              NEW YORK, NY 10022


[NAME REDACTED]                         BLACKSTONE INDUSTRIES LLC             BLACKWELL STREET MANAGEMENT CO LLC
[ADDRESS REDACTED]                      ATTN DIVISION MGR                     P.O. BOX 611
                                        16 STONY HILL RD                      DURHAM, NC 27702
                                        BETHEL, CT 06801




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         BLAGOSOSTOYANIE INSURANCE CO          [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN GENERAL DIR                      [ADDRESS REDACTED]
                                        BRIGANTINA HALL 2
                                        NOVOLESNAYA
                                        MOSCOW 127055 RUSSIA



BLAIR COMPANIES                         BLAIR DURON RESTORATION LLC           BLAIR ENGINEERING SE INC
ATTN DIRECTOR                           1317 KIRKLAND ROAD, SUITE 108         11285 ELKINS RD, UNIT B1
5107 KISSELL AVE                        RALEIGH, NC 27603-6801                ROSSWELL, GA 30076
ALTOONA, PA 16601




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         BLAIS MICROSCOPE COMPANY LLC          [NAME REDACTED]
[ADDRESS REDACTED]                      930 3RD STREET SW                     [ADDRESS REDACTED]
                                        FARIBAULT, MN 55021-5718
[NAME REDACTED] Case 25-90163    Document   87 Filed in TXSB on 07/03/25[NAME
                                    [NAME REDACTED]                        Page  98 of 944
                                                                              REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




BLALOCK, TERRY                      [NAME REDACTED]                     [NAME REDACTED]
310 EASTWOOD RD                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]
CHAPEL HILL, NC 27514




BLAND LANDSCAPING CO INC            [NAME REDACTED]                     [NAME REDACTED]
ATTN VP ENGINEERING                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]
1200 PERRY RD
APEX, NC 27502




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




BLASDEL ENTERPRISES INC             [NAME REDACTED]                     [NAME REDACTED]
ATTN PLANT MGR                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]
495 W MCKEE ST
GREENSBURG, IN 47240




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




BLESSED SERVICES OF DURHAM LLC      BLESSED SERVICES                    [NAME REDACTED]
2530 MERIDIAN PKWY, STE 300         ATTN OWNER                          [ADDRESS REDACTED]
DURHAM, NC 27713                    24 FELLOWSHIP DR
                                    DURHAM, NC 27704




[NAME REDACTED]                     BLINK LLC                           BLISS ENVIRONMENTAL SERVICES INC
[ADDRESS REDACTED]                  3905 W FRIENDLY AVE                 51 HARDEN BOULEVARD
                                    GREENSBORO, NC 27410-5643           CAMDEN, NY 13316-1315




[NAME REDACTED]                     BLOCH ALUMINUM INC                  [NAME REDACTED]
[ADDRESS REDACTED]                  DBA OEM LIGHTING SALES              [ADDRESS REDACTED]
                                    ATTN SALES REPRESENTATIVE
                                    41-07 162ND ST
                                    FLUSHING, NY 11358
BLOOM ENERGY CORP Case 25-90163     Document  87 Filed
                                       BLOOM ENERGY     in TXSB on 07/03/25BLOOM
                                                    CORPORATION              Page  99 ofINDIA
                                                                                 ENERGY   944PTE LTD
ATTN SR COUNSEL                        ATTN ARNE BALLANTINE                   ATTN CFO
1299 ORLEANS DR                        1252 ORLEANS DR                        NORTH BLK, 3RD FL
SUNNYVALE, CA 94089                    SUNNYDALE, CA 94089                    PARK RAJAJINAGAR INDUSTRIAL ESTATE
                                                                              BANGALORE 560 044 INDIA



BLOOMBERG BUREAU OF NATIONAL           BLOOMBERG FINANCE, LP                  BLOOMBERG INDUSTRY GROUP, INC
AFFAIRS INC                            731 LEXINGTON AVE                      1801 S BELL ST
C/O BLOOMBERG INDUSTRY GROUP INC       NEW YORK, NY 10022-1331                ARLINGTON, VA 22202-4501
1801 S BELL ST, STE G1
ARLINGTON, VA 22202



[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




BLOUNT, KENSBY L                       [NAME REDACTED]                        [NAME REDACTED]
                                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




BLU OPTICS LLC                         BLUE CHIP (SHENZHEN) TECHNOLOGIES CO   BLUE CLOVER DEVICES INC
ATTN PRESIDENT                         LTD                                    1001 BAYHILL DR, STE 200
39 STATE ST, STE 300                   RM 07, 13/F, XINGDA HUAFU              SAN BRUNO, CA 94066
ROCHESTER, NY 14614                    XIXIANG ST, BAOAN DISTRICT
                                       SHENZHEN 518000
                                       CHINA


BLUE CROSS & BLUE SHIELD OF NC         BLUE CROSS BLUE SHIELD                 BLUE DOLPHIN ENGINEERING INC
3530 TORINGDON WAY, STE 404            P.O. BOX 2291                          40429 BRICK YARD DR
CHARLOTTE, NC 28277-3436               DURHAM, NC 27702-2291                  MADERA, CA 93636




BLUE MANGO TECHNOLOGY INC              BLUE PHOTON TECHNOLOGY &               BLUE RIDGE DECISION SCIENCES LLC
2243 CALLE OPALO                       WORKHOLDING SYSTEMS LLC                118 WOODLAKE DR
SAN CLEMENTE, CA 92673-5619            1002 INDUSTRIAL PARK DR.               MONETA, VA 24121
                                       SHELBY, MI 49455-9202




BLUE RIDGE LIGHTING SOLUTIONS LLC      BLUE RIDGE NUMERICS INC                BLUE SIGNAL LLC
ATTN PRES                              ATTN VP, NA & EURO OPS                 4545 E. SHEA BLVD. SUITE 250
2054 KILDAIRE FARM RD, 330             3315 BERKMAR DR                        PHOENIX, AZ 85028-6009
CARY, NC 27518                         CHARLOTTESVILLE, VA 22901




BLUE WAVE SEMICONDUCTORS INC           BLUE WILLOW GROUP INC, THE             [NAME REDACTED]
ATTN CEO & CTO                         ATTN PRESIDENT                         [ADDRESS REDACTED]
6208 THREE APPLE DOWNS                 21175 HWY 249, PMB 284
COLUMBIA, MD 21045                     HOUSTON, TX 77070




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]
BLUEBEAM SOFTWARE  CaseINC 25-90163   Document
                                         BLUEFOX87  FiledMANAGEMENT
                                                 PROJECT  in TXSB onINC07/03/25 BLUEMOUND
                                                                                  Page 100  of 944
                                                                                          BUILDER SUPPLY
ATTN VP CLIENT SERVICES                   ATTN OWNER                            W233 N2847 ROUNDY CIR W
55 S LAKE AVE, STE 900                    4101 MILLYORK CT                      PEWAUKEE, WI 53072
PASADENA, CA 91101                        APEX, NC 27539




BLUEPRINT AUTOMATION INC                  BLUERING STENCILS                     BLUESPAN UNIPESSOAL LDA
ATTN VP SALES                             140 MOUNT HOLLY BY-PASS UNIT 10       ATTN CEO
16037 INNOVATION DR                       LUMBERTON, NJ 08048-1114              COVAO AGUEDA, APARTADO 379
COLONIAL HEIGHTS, VA 23834                                                      AGUEDA 3754-909
                                                                                PORTUGAL



BLUESTAR SILICONES USA CORP               BLUEWAYS INTERNATIONAL BV             [NAME REDACTED]
ATTN BUSINESS DIRECTOR                    ATTN OWNER                            [ADDRESS REDACTED]
2 TOWER CENTER BLVD, STE 1601             INTERLEUVENLAAN 64
EAST BRUNSWICK, NJ 08816                  LEUVEN 3001
                                          BELGIUM



[NAME REDACTED]                           [NAME REDACTED]                       BMI AUDIT SERVICES LLC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    ATTN PRESIDENT
                                                                                202 S MICHIGAN ST, STE 200
                                                                                SOUTH BEND, IN 46601




BMO CAPITAL MKTS CORP (0045)              BMO HARRIS BANK, N.A.                 BMO HARRIS BANK/TST (0992)
JOHN FINERTY OR PROXY MGR                 ATTN: KAMRAN KHAN                     ATT CYNTHIA HAMMERELL/PROX MGR
3 TIMES SQ                                375 PARK AVENUE                       1000 N. WATER ST -TR 14
NEW YORK, NY 10036                        NEW YORK, NY 10152                    MILWAUKEE, WI 53202




BMO/CDS (5043,5221)                       BMP INTERNATIONAL INC                 BMR TECHNOLOGY CORP
ATT PHUTHORN PENIKETT                     ATTN PRESIDENT                        ATTN GEN MGR
250 YONGE ST., 14TH FL                    317 LANTERN RIDGE LN                  1891 E MIRALOMA AVE, STE B
TORONTO, ON M5B 2M8                       CARY, NC 27519                        PLACENTIA, CA 92870
CANADA



BMW NORTH AMERICA LLC                     BNP PARIBAS (1094,2147,8238,          BNP PARIBAS SECURITIES SERVICES
ATTN HEAD OF BMW GROUP TECH               2154,2787)                            ATTN PRODUCT MGR
300 CHESTNUT RIDGE RD                     ATT PROXY DEPT                        3 RUE DANTIN
WOODCLIFF LAKE, NJ 07677                  525 WASHINGTON BLVD, 9TH FL           PARIS 75002
                                          JERSEY CITY, NJ 07310                 FRANCE



BNP PARIBAS                               BNSFL LOGISITICS LLC                  BNY (901,963,1959,2209,2336,
ATTN: TRADE FINANCE SERVICES              ATTN ATTORNEY                         2510,2869,8275,8420)
NEWPORT TOWER- SUITE 188, 525             2710 S 48TH ST                        ATT EVENT CREATION
WASHINGTON BOULVARD                       SPRINGDALE, AR 72762                  500 GRANT ST, RM 151-1700
JERSEY CITY, NJ 07310                                                           PITTSBURGH, PA 15258



BNYMELLON (2244,2363,2443,2462)           BO LUO CHENG CHUANG PRECISION         BO YA LIGHTING (HK) CO LTD
ATT PROXY DEPT                            INDUSTRY CO LTD                       RM 812, 8/F SPARKLE CENTRE, NO. 7
525 WILLIAM PENN PLACE                    SHANGNAN INDUST ZN, YUANZHOU TWN      LICHENG AVE
PITTSBURGH, PA 15259                      BOLUO COUNTY, HUIZHOU CITY            ZHANGMUTOU, DONGGUAN
                                          GUANGDONG PROVINCE                    CHINA
                                          CHINA


BOA/GWIM TST OPER (0955)                  BOARD OF EQUALIZATION                 BOARD OF REGENTS FOR UNIVERSITY OF
ATT CORPORATE ACTIONS MANAGER             P.O. BOX 942879                       NM
901 MAIN ST                               SACRAMENTO, CA 94279-0001             ATTN VP OF RESEARCH
12TH FL                                                                         1 UNIVERSITY OF NEW MEXICO
DALLAS, TX 75202                                                                ALBUQUERQUE, NM 87106
BOARD OF REGENTSCase
                   OF THE25-90163
                          UNIVERSITY   Document 87REGENTS
                                          BOARD OF  Filed OF
                                                          in UNIVERSITY
                                                             TXSB on OF 07/03/25
                                                                          OK,      Page
                                                                                 BOARD OF101 of 944
                                                                                          REGENTS UNIVERSITY OF OK,
SYSTEM OF GEORGIA, THE                     THE                                     THE
O/B/O GEORGIA INSTITUTE OF                 OFFICE OF TECHNOLOGY DEV                ATTN ASST VP FOR ECONOMIC DEVT
TECHNOLOGY, ATTN CHIEF LEGAL ADV           ATTN EXEC DIR                           3 PARTNERS PL, STE 120
225 N AVE                                  660 PARRINGTON OVAL, RM 201             201 DAVID L BOREN BLVD
ATLANTA, GA 30332                          NORMAN, OK 73109                        NORMAN, OK 73019


BOARD OF REGENTS, UNIV OF NEBRAKA,         BOARD OF REGENTS, UNIVERSITY OF NE      BOARD OF TRUSTEES OF THE UNIVERSITY
THE                                        3835 HOLDREGE STREET                    OF ARKANSAS
1400 R ST                                  LINCOLN, NE 68583                       ACTING FOR AND ON THE BEHALF
LINCOLN, NE 68588                                                                  OF THE UNIVERSITY OF ARKANSAS,
                                                                                   FAYETTEVILLE, ATTN: DONALD R. BOBBITT,
                                                                                   PRESIDENT
                                                                                   2404 NORTH UNIVERSITY AVENUE
                                                                                   LITTLE ROCK, AR 72204

BOARD OF TRUSTEES OF THE UNIVERSITY        BOARD OF TRUSTEES OF THE UNIVERSITY     BOARD OF TRUSTEES OF UNIV OF ILLINOIS,
ALABAMA                                    OF ALABAMA, THE                         THE
152 ROSE ADMINISTRATION BUILDING           701 20TH ST SOUTH                       ATTN COMPTROLLER
TUSCALOOSA, AL 35404                       BIRMINGHAM, AL 35294                    352 HENRY ADMIN BLDG
                                                                                   506 S WRIGHT ST
                                                                                   URBANA, IL 61801


BOARD OF TTEES FOR UNIVERSITY OF AL        BOARD OF TTEES FOR UNIVERSITY OF AL     BOARD OF TTEES FOR UNIVERSITY OF AL
152 ROSE ADMINISTRATION BLDG               ATTN COLLIN RICH                        OFFICE OF RESEARCH & TECHNOLOGY
BOX 870104                                 166 ROSE ADMINISTRATION BLDG            301 ROSE ADMINISTRATION BLDG
TUSCALOOSA, AL 35487                       BOX 870207                              TUSCALOOSA, AL 35487
                                           TUSCALOOSA, AL 35487



BOARD OF TTEES OF THE UNIV OF              BOARD OF TTEES OF THE UNIV OF           BOARD OF TTEES OF THE UNIV OF
ARKANSAS                                   ARKANSAS                                ARKANSAS
O/B/O UNIVERSITY OF ARKANSAS               O/B/O UNIVERSITY OF ARKANSAS            O/B/O UNIVERSITY OF ARKANSAS
ATTN DIR, AWARD MGMT                       ATTN PHILLIP STAFFORD, PRESIDENT        ATTN PRESIDENT
1125 W MAPLE ST                            535 RESEARCH CENTER BLVD, STE 209       2404 N UNIVERSITY AVE
FAYETTEVILLE, AR 72701                     FAYETTEVILLE, AR 72701                  LITTLE ROCK, AR 72202-3608


BOARD OF TTEES OF THE UNIV OF              BOARD OF TTEES OF THE UNIVERSITY OF     BOARDTEK ELECTRONICS CORP
ARKANSAS                                   ARKANSAS                                ATTN JASON LEE, VP
O/B/O UNIVERSITY OF ARKANSAS               ATTN ASSOC VP, RES & ECO DEV            16, CHING CHEN 1RST RD
ATTN YUE ZHAO, PHD                         535 W RESEARCH CENTER BLVD, STE 107     KUAN-YIN INDUSTRIAL PARK
3712 BELL ENGINEERING CTR                  FAYETTEVILLE, AR 72701                  TAOYUAN 328 TAIWAN
FAYETTEVILLE, AR 72701


BOARDVANTAGE INC                           BOARDWALKTECH INC                       BOB COOPER SALES GROUP INC
ATTN PRESIDENT                             ATTN CEO                                ATTN PRESIDENTIDENT
1060 MARSH RD, STE 110                     1032 ELWELL CT, STE 210                 3708 FRIENDSHIP RD
MENLO PARK, CA 94025                       PALO ALTO, CA 94303                     APEX, NC 27502




BOB EVANS FARMS INC                        BOB MOST ASSOCIATES                     BOB UNTERNEHMENSBERATUNG GMBH
ATTN LEGAL DEPT                            ATTN PRES                               ATTN CHIEF EXECUTIVE OFFICER
3776 S HIGH ST                             2974 RT 23                              BAERNAU 1 A
COLUMBUS, OH 43207-0863                    NEWFOUNDLAND, NJ 07435                  STEINKIRCHEN D-84439
                                                                                   GERMANY



[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                         BOBBY WILSON ELECTRIC CO INC
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      2224 PAGE ROAD
                                                                                   DURHAM, NC 27703-8907
                  CaseCO25-90163
BOBBY WILSON ELECTRIC    INC        Document 87 Filed in TXSB on 07/03/25 BOC
                                       BOC EDWARDS                          Page  102 of 944
                                                                              GASES
ATTN VP                                 ATTN PRES, SEMICONDUCTOR           ATTN VP & GM SOUTH
2210 CARPENTER RD                       301 BALLARDVALE ST                 4301 HURRICANE CREEK BLVD
RALEIGH, NC 27601                       WILMINGTON, MA 01887               ANTIOCH, TN 37013-2223




BOC GASES                               BOCATEK                            [NAME REDACTED]
ATTN: ATMOSPHERIC PRODUCT MANAGER       ATTN OFFICER                       [ADDRESS REDACTED]
575 MOUNTAIN AVENUE                     2386 NW 32ND ST
MURRAY HILL, NJ 07974                   BOCA RATON, FL 33431




BODOS POWER SYSTEMS                     BOEDEKER PLASTICS INC              [NAME REDACTED]
KATZBEK 17A                             ATTN OWNER/PRESIDENT               [ADDRESS REDACTED]
LABOE 24235                             904 W SIXTH ST
GERMANY                                 SHINER, TX 77984




BOEING COMPANY, THE                     BOEING COMPANY, THE                BOEING COMPANY, THE
ATTN EVP                                ATTN PERCY YEN                     C/O ROCKETDYNE
P.O. BOX 516                            3370 MIRALOMA AVE                  ATTN MAUREEN LEVITT
ST LOUIS, MO 63166                      M/C 031                            6633 CANOGA AVE, P.O. BOX 7922
                                        ANAHEIM, CA 92803                  CANOGA PARK, CA 91309-7922



[NAME REDACTED]                         [NAME REDACTED]                    BOFA AMERICAS INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 ATTN PRESIDENT
                                                                           303 S MADISON ST
                                                                           STAUNTON, IL 62088




[NAME REDACTED]                         BOGDANTECH INC                     [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN PRESIDENT                     [ADDRESS REDACTED]
                                        108 AERO CAMINO, UNIT B6
                                        GOLETA, CA 93117




BOH ELECTRONICS INC                     [NAME REDACTED]                    [NAME REDACTED]
ATTN PRODUCT MGR                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]
230 MONROE ST N
HUDSON, WI 54016




[NAME REDACTED]                         BOILER MASTERS INC                 BOILER REPAIR SERVICE INC
[ADDRESS REDACTED]                      314 VILLAGE GREEN DR               ATTN PRESIDENT
                                        GREENSBORO, NC 27406               1515 GAVIN ST
                                                                           RALEIGH, NC 27511




BOILERMAKER ROAD RACE                   [NAME REDACTED]                    BOISE FOUNDRY AND MACHINE INC, THE
P.O. BOX 512                            [ADDRESS REDACTED]                 ATTN VICE PRESIDENT
UTICA, NY 13503-0512                                                       P.O. BOX 34
                                                                           MELBA, OH 83641




BOK OPT SDN. BHD.                       [NAME REDACTED]                    [NAME REDACTED]
JALAN MP2, BUILDING 68-1                [ADDRESS REDACTED]                 [ADDRESS REDACTED]
TAMAN MERDEKA PERMAI 75350
MALAYSIA
BOLD TECHNOLOGIESCase 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                         BOLDT GMBH                            Page  103 of 944
                                                                                   REDACTED]
ATTN SALES & MARKETING MGR                KAISTRASSE 20 A                    [ADDRESS REDACTED]
1455 W 8120 S                             DUSSELDORF 40221
WEST JORDAN, UT 84088                     GERMANY




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




BOLT EXPRESS                              [NAME REDACTED]                    BOLUO CHONGIA PRECISION INDUSTRY CO
7255 CROSSLEIGH CT, STE 108               [ADDRESS REDACTED]                 LTD
TOLEDO, OH 43617-1556                                                        SHANGNAN INDUSTRY PARK
                                                                             YUAN ZHOU TOWN, BO LOU COUNTY
                                                                             HUI ZHOU, GUANGDONG
                                                                             CHINA


BOLUO CTY HUAPENG HARDWARE                BOLUO JIEXIN PLASTIC HARDWARE      BOMBARDIER TRANSPORTATION AB
PRODUCT CO LTD                            PRODUCTS CO LTD                    ATTN DIR PROCUREMENT
BAIYAO QIANFUXING INDUSTRY PARK                                              OSTRA RINGVAGEN 2
YUANZHOU TOWN                                                                VASTERADS 721 73
GUANGDONG, BOLUO                                                             SWEDEN
CHINA


[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




BON BON DEVELOPMENT LTD                   BON SECOURS WELLNESS ARENA         BONA FIDE INDUSTRIAL CO LTD
ATTN PROJECT MGR                          ATTN PRESIDENT                     ATTN ENGINERRING MGR
FLAT 1, BLOCK B, 9/F NEW MANDARIN PLAZA   650 N ACADEMY ST                   FLAT A3/ 5/F, YIP FUNG INDUSTRIAL BLDG
14 SCIENCE MUSEUM RD                      GREENVILLE, SC 29601               28-36 KWAI FUNG CRESCENT
TSIM SHA TSUI HONG KONG                                                      KWAI CHUNG HONG KONG



[NAME REDACTED]                           BOND WATER TECHNOLOGIES INC        [NAME REDACTED]
[ADDRESS REDACTED]                        ATTN SR ACCT MGR                   [ADDRESS REDACTED]
                                          630 E DIAMOND AVE, STE J/K
                                          GAITHERSBURG, MD 20877




[NAME REDACTED]                           BONDING SOURCE LLC                 [NAME REDACTED]
[ADDRESS REDACTED]                        ONE PERIMETER ROAD                 [ADDRESS REDACTED]
                                          MANCHESTER, NH 03103-3340




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    BONICA PRECISION INC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 ATTN PRESIDENT
                                                                             3830 JACOMBS RD, 105
                                                                             RICHMOND, BC V6V 1V6
                                                                             CANADA
[NAME REDACTED] Case 25-90163     Document  87 Filed
                                     BONITZ FLOORING   in TXSB
                                                     GROUP INC on 07/03/25 [NAME
                                                                             Page  104 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                    10701 WORLD TRADE BLVD               [ADDRESS REDACTED]
                                      RALEIGH, NC 27617-4205




BONN ELEKTRONIK GMBH                  [NAME REDACTED]                      [NAME REDACTED]
OHMSTR 11                             [ADDRESS REDACTED]                   [ADDRESS REDACTED]
OHUNSTR 11
HOLZKIRCHEN 83607
GERMANY



BONSET AMERICA CORP                   BONTTZ CONTRACTING                   [NAME REDACTED]
ATTN SALES MGR                                                             [ADDRESS REDACTED]
6107 CORPORATE PARK DR
BROWNS SUMMIT, NC 27214




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




BOOMI INC                             BOON EDAM INC                        [NAME REDACTED]
1400 LIBERTY RIDGE DR                 402 MCKINNEY PKWY                    [ADDRESS REDACTED]
CHESTERBROOK, PA 19087                LILLINGTON, NC 27546-9336




[NAME REDACTED]                       [NAME REDACTED]                      BOOT BARN INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   15345 BARRANCA PKWY
                                                                           IRVINE, CA 92618-2216




[NAME REDACTED]                       BOOTHE GROUP, THE                    BOOZ ALLEN HAMILTON INC
[ADDRESS REDACTED]                    ATTN PRES                            ATTN OFFICER IN CHARGE
                                      1612 NW BOCA RATON BLVD 9            8283 GREENSBORO DR
                                      BOCA RATON, FL 33432                 MCLEAN, VA 22102




BOPAT ELECTRIC CO LTD                 [NAME REDACTED]                      [NAME REDACTED]
ATTN ELECTRICAL SVCS SPECIALIST       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
9160 B5 RUMSEY RD
COLUMBIA, MD 21045




[NAME REDACTED]                       BORDER STATES INDUSTRIES INC         BORDER STATES INDUSTRIES INC
[ADDRESS REDACTED]                    2400 38TH ST S                       DBA BORDER STATES ELECTRI
                                      FARGO, ND 58104                      105 25TH STREET NORTH
                                                                           FARGO, ND 58102-4002




BORG INDAK INC                        BORGES TECHNICAL CERAMICS            [NAME REDACTED]
ATTN NEW PRODUCT MGR                  2528 QUAKERTOWN RD                   [ADDRESS REDACTED]
701 ENTERPRISE DR                     PENNSBURG, PA 18073
DELAVAN, WI 53115
BORGWARNER INC Case 25-90163       Document 87 Filed
                                      BORGWARNER       in TXSB
                                                 PDS (USA) INC on 07/03/25 BORGWARNER
                                                                             Page 105 PROPULSION
                                                                                      of 944     SYS
ATTN EXEC VP                           ATTN ROB DENI                       3000 UNIVERSITY DRIVE
3850 HAMLIN RD                         3800 AUTOMATION AVE                 AUBURN HILLS, MI 48326-2496
AUBURN HILLS, MI 48326                 AUBURN HILLS, MI 48326




BORGWARNER                             [NAME REDACTED]                     BORNFIE, KARLA BACH
3800 W AUTOMATION AVE.                 [ADDRESS REDACTED]                  4050 RIO BRAVO ST
AUBURN HILLS, MI 48326                                                     EL PASO, TX 79902




[NAME REDACTED]                        [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




BOS HUB TGI TECHNOLOGY GROUP INC       BOSCHMAN TECHNOLOGIES (ASIA) P/L    BOSCHMAN TECHNOLOGIES B.V
35 KELFIELD ST                         3 KAKI BUKIT CRESCENT               STENOGRAAF 3
ETOBICOKE, ON M9W 5A3                  SINGAPORE 416237                    DUIVEN 6921 EX
CANADA                                 SINGAPORE                           NETHERLANDS




[NAME REDACTED]                        [NAME REDACTED]                     BOSSE, BENJAMIN
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  424 EXECUTIVE CENTER BLVD, STE 120
                                                                           EL PASO, TX 79902




BOSSK INTERNATIONAL COMPANY LTD        [NAME REDACTED]                     [NAME REDACTED]
ATTN MANAGING DIR                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]
2/F THOMSON COMMERCIAL BLDG
8 THOMSON RD
WANCHAI HONG KONG



BOSTON APPLIED TECHNOLOGIES INC        BOSTON CONSULTING GROUP INC, THE    BOSTON ELECTRONICS CORP
ATTN PRESIDENT                         53 STATE ST, 7TH FL                 ATTN CHIEF EXECUTIVE OFFICER
6F GILL ST                             BOSTON, MA 02109-3207               91 BOYLSTON ST
WOBURN, MA 01801                                                           BROOKLINE, MA 02445




BOSTON GLOBE MEDIA PARTNERS LLC        BOSTON MARKET CORP                  BOSTON MICRO EQUIPMENT
DBA BGM EXPERIENTIAL                   ATTN GENERAL COUNSEL                65 CARDIGAN ROAD
ATTN VP OF ADVERTISING SALES           14103 DENVER WEST PKWY              TEWKSBURY, MA 01876-1206
135 MORRISSEY BLVD                     GOLDEN, CO 80401
BOSTON, MA 02125



BOSTON SCIENTIFIC CORP                 BOSTON SCIENTIFIC CORP              BOSTON UNIVERSITY
300 BOSTON SCIENTIFIC WAY              ATTN VP, GLOBAL SOURCING            OFFICE OF THE GEN COUNSEL
MARLBOROUGH, MA 01752                  1 BOSTON SCIENTIFIC PL              ATTN GEN COUNSEL
                                       NATICK, MA 01760                    108 BAY STATE RD
                                                                           BOSTON, MA 02215



BOSTON UNIVERSITY                      BOSTON UNIVERSITY                   [NAME REDACTED]
OFFICE OF THE GENERAL COUNSEL          TECHNOLOGY DEVELOPMENT OFFICE       [ADDRESS REDACTED]
ATTN GEN COUNSEL                       ATTN MANAGING DIR
125 BAY ST RD                          53 BAY STATE RD
BOSTON, MA 02115                       BOSTON, MA 02215
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  106 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




BOT HOME AUTOMATION INC             [NAME REDACTED]                     BOTH WING CO LTD
ATTN ATTORNEY                       [ADDRESS REDACTED]                  ATTN PRESIDENT
1523 26TH ST                                                            14FL, 35 BO AI RD
SANTA MONICA, CA 90404                                                  TAIPEI 100
                                                                        TAIWAN



[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     BOULDER ASSOCIATES INC              BOULDER WIND POWER INC
[ADDRESS REDACTED]                  1426 PEARL STREET SUITE 300         ATTN CFO
                                    BOULDER, CO 80302-5340              1812 BOXELDER ST
                                                                        LOUISVILLE, CO 80027




[NAME REDACTED]                     [NAME REDACTED]                     BOUND TREE MEDICAL LLC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  23537 NETWORK PLACE
                                                                        CHICAGO, IL 60673-1235




BOUNDARY NET INC                    BOUNDARY STONE PARTNERS, LLC        [NAME REDACTED]
ATTN PRES/CEO                       1001 PENNSYLVANIA AVE, SUITE 740S   [ADDRESS REDACTED]
3940 FREEDOM CIR, STE 601           WASHINGTON, DC 20004-0001
SANTA CLARA, CA 95054




[NAME REDACTED]                     BOURBON BOOTH LLC                   [NAME REDACTED]
[ADDRESS REDACTED]                  124 FEATHER CREST LN                [ADDRESS REDACTED]
                                    APEX, NC 27539
BOURN AND KOCH INCCase 25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  107 of 944
                                                                                REDACTED]
ATTN BUS UNIT MGR                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]
2500 KISHWAUKEE ST
RODKFORD, IL 61104




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        BOWERS MANUFACTURING CO            [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN CUSTOMER SERVICE SUPERVISOR   [ADDRESS REDACTED]
                                       6565 S SPRINKLE RD
                                       PORTAGE, MI 49002




BOWMAN ENTERPRISES                     BOWMAN POWER GROUP LTD             [NAME REDACTED]
ATTN VICE PRESIDENT                    ATTN ADV ENGINEERING DIR           [ADDRESS REDACTED]
402 WEST MARTIN                        OCEAN QUAY, BELVIDERE RD
BENSON, NC 27504                       SOUTHAMPTON SO14 5QY
                                       UNITED KINGDOM



[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




BOX-BOARD PRODUCTS INC                 BOXX MODULAR, INC.                 BOYD CORPORATION (WOBURN), INC
ATTN SALES REP                         3475 HIGH RIVER ROAD               55 DRAGON CT
8313 TRIAD DR                          FORT WORTH, TX 76155-1900          WOBURN, MA 01801-1039
GREENSBORO, NC 27409




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        BOYER ENTERPRISES EAST LLC         [NAME REDACTED]
[ADDRESS REDACTED]                     ENVIROBEE                          [ADDRESS REDACTED]
                                       127 RED HILL CHURCH ROAD
                                       DUNN, NC 28334-5949




BOYER, PERRY                           [NAME REDACTED]                    [NAME REDACTED]
ATTN W GLENN & JACQUES P SOILEAU       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
219 W BRIDGE ST
P.O. BOX 344
BREAUX BRIDGE, LA 70517
[NAME REDACTED] Case 25-90163      Document  87 Filed
                                      BOYS & GIRLS CLUBS in TXSBCAROLINA
                                                         CENTRAL on 07/03/25 [NAME
                                                                               Page  108 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                     1414 BRAGG ST                        [ADDRESS REDACTED]
                                       SANFORD, NC 27330




BP ENERGY RETAIL COMPANY LLC           BP INTERNATIONAL LTD                 BP STUDIOS PRODUCTIONS
P.O. BOX 74007029                      C/O BP ICBT                          ATTN DIRECTOR, CLIENT SERVICES
CHICAGO, IL 60674-7029                 ATTN SUNNY AGNIHOTRI                 P.O. BOX 14361
                                       BLDG D, 1ST FL, CHERTSEY ROAD        RESEARCH TRIANGLE PARK, NC 27709
                                       SUNBURY-ON-THAMES TW16 7LN UNITED
                                       KINGDOM


BPC CIRCUITS LTD                       BPS RESOLVER INC                     BR8KTHRU CONSULTING LLC
ATTN GENERAL MANAGER                   ATTN COO                             ATTN VP, OPS
OMNI HOUSE, SHEENE RD                  703 EVANS AVE                        1666 MAYFIELD HEIGHTS RD
GORSE HILL INDUSTRIAL EST              TORONTO, ON M9C 5E9                  MENDOTA HEIGHTS, MN 55118
LEICESTER LE4 1BF UNITED KINGDOM       CANADA



[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                      BRAD FOOTE GEAR WORKS INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   ATTN MANIKKAVASAGAN AMBALAVANA
                                                                            3250 S CENTRAL AVE
                                                                            CICERO, IL 60804




BRAD FOOTE GEAR WORKS INC              BRADENBURG UNIVERSITY                [NAME REDACTED]
C/O BROADWIND ENERGY INC               PLATZ DER DEUTSCHEN EINHEIT 1        [ADDRESS REDACTED]
ATTN GENERAL COUNSEL                   COTTBUS-SENFTENBERG
47 E CHICAGO AVE, STE 332              COTTBUS 03046
NAPERVILLE, IL 60540                   GERMANY



[NAME REDACTED]                        BRADFORD, EVERETT                    [NAME REDACTED]
[ADDRESS REDACTED]                     906 BRITTLEY WAY                     [ADDRESS REDACTED]
                                       APEX, NC 27502




[NAME REDACTED]                        [NAME REDACTED]                      BRADLEY-MORRIS, LLC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   1545 CROSSWAYS BLVD. STE 200
                                                                            CHESAPEAKE, VA 23320-0205




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        BRADY (SHENZHEN) CO LTD              BRADY CORPORATION
[ADDRESS REDACTED]                     ATTN SALES                           ATTN CHIEF TECH OFFICER
                                       RUNHENG INDL PARK 67 ZONE OF         10815 RANCHO BERNARDO RD, STE 205
                                       BAOCHENG                             SAN DIEGO, CA 92127
                                       BAOAN, SHENZHEN 518101
                                       CHINA
BRADY INTEGRATED Case  25-90163
                 SECURITY INC     Document  87 FiledINC
                                     BRADY WORLDWIDE in TXSB on 07/03/25 [NAME
                                                                           Page  109 of 944
                                                                               REDACTED]
2025 16TH STREET                      ATTN VICE PRESIDENT R&D            [ADDRESS REDACTED]
GREENSBORO, NC 27405-5119             6555 W GOOD HOPE RD
                                      MILWAUKEE, WI 53223




[NAME REDACTED]                       BRAEMAC PTY LTD                    [NAME REDACTED]
[ADDRESS REDACTED]                    ATTN DANNY NEMENY, DIRECTOR        [ADDRESS REDACTED]
                                      1/59-61 BURROWS RD
                                      ALEXANDRIA, NSW 2015
                                      AUSTRALIA



[NAME REDACTED]                       BRAINARD-NEILSEN MARKETING INC     BRAINSHARK INC
[ADDRESS REDACTED]                    ATTN PRESIDENT                     130 TURNER STREET
                                      180 CROSSEN AVE                    WALTHAM, MA 02453-8901
                                      ELK GROVE VILLAGE, IL 60007




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




BRANCH BANKING & TRUST CO             BRANCH BANKING & TRUST CO          [NAME REDACTED]
CORPORATE TRUST SERVICES              P.O. BOX 2887                      [ADDRESS REDACTED]
ATTN MARSHA HART, CTTS                WILSON, NC 27894-2887
223 WEST NASH ST
WILSON, NC 27893



[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




BRAND FUEL                            BRAND IT INC                       BRAND VENTURES INC
9001 AERIAL CENTER PARKWAY            ATTN PRESIDENT                     DBA 1TAC.COM
MORRISVILLE, NC 27560-9705            3626 SHANNON RD, STE 104           ATTN PRESIDENT
                                      DURHAM, NC 27707                   2630 TOWNSGATE, STE 1
                                                                         WESTLAKE VILLAGE, CA 91361



[NAME REDACTED]                       BRANDFOLDER INC                    BRANDON INDUSTRIES INC
[ADDRESS REDACTED]                    3501 WAZEE STREET UNIT 300         ATTN VP
                                      DENVER, CO 80216-3786              1601 WILMETH RD
                                                                         MCKINNEY, TX 75069




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  110 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     BRANDSAFWAY SERVICES LLC           BRANDSAFWAY SOLUTIONS LLC
[ADDRESS REDACTED]                  ATTN BRANCH MGR                    6517 HILBURN DRIVE
                                    155 WILL DR                        RALEIGH, NC 27613-1908
                                    CANTON, MA 02021




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




BRANSON ULTRASONICS CORP            [NAME REDACTED]                    BRASS COMPANY
41 EAGLE RD                         [ADDRESS REDACTED]                 ATTN OUTSIDE SALES
DANBURY, CT 06813                                                      7970 WALLACE RD
                                                                       EDEN PRAIRIE, MN 55344




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




BRAVO TECH INC                      [NAME REDACTED]                    [NAME REDACTED]
ATTN DIRECTOR                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
6185 PHYLLIS DR, D
CYPRESS, CA 90630




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
                 Case
BREEDLOVE ELECTRIC INC 25-90163   Document
                                     BREEZE 87   Filed
                                            BIULDING   in TXSB
                                                     SERVICES INC on 07/03/25 [NAME
                                                                                Page  111 of 944
                                                                                    REDACTED]
ATTN SEC/TREAS/GM                     ATTN PRESIDENT                         [ADDRESS REDACTED]
5121 NC 39 HWY S                      3000 BEARCAT WAY 115
HENDERSON, NC 27537                   MORRISVILLE, NC 27560




[NAME REDACTED]                       BREMER MANUFACTURING CO INC            [NAME REDACTED]
[ADDRESS REDACTED]                    ATTN PRESIDENT                         [ADDRESS REDACTED]
                                      W2002 CTY RD Q
                                      ELKART LAKE, WI 53020




BRENDAS TOY SHOP                      [NAME REDACTED]                        BRENNER GMBH
100 SHEFLELD COURT                    [ADDRESS REDACTED]                     ISOPPGASSE 22
NOVI, MI 48335-5454                                                          WIEN 1230
                                                                             AUSTRIA




BRENNTAG MID SOUTH                    BRENNTAG NORTHEAST LLC                 BREN-TRONICS INC
1405 HWY 136 WEST                     81 WEST HULLER LANE                    C/O RCE MANUFACTURING LLC
HENDERSON, KY 42420-9662              READING, PA 19605-9728                 ATTN VP FINANCE
                                                                             10 BRAYTON CT
                                                                             COMMACK, NY 11725



[NAME REDACTED]                       BRESNAHAN AGENCY INC                   [NAME REDACTED]
[ADDRESS REDACTED]                    ATTN PATRICK BRESNAHAN, PRESIDENT      [ADDRESS REDACTED]
                                      114 OAK HAVEN DR
                                      FREEDOM DR, PA 15042




[NAME REDACTED]                       BREWER SCIENCE INC                     [NAME REDACTED]
[ADDRESS REDACTED]                    2401 BREWER DRIVE                      [ADDRESS REDACTED]
                                      ROLLA, MO 65401-7003




[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                        BRIAD CONSTRUCTION SERVICES LLC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     417 E MAIN ST
                                                                             PORT JEFFERSON, NY 11777




[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                        BRICKMAN GROUP
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     ATTN BRANCH MGR
                                                                             813-B ELLIS RD
                                                                             DURHAM, NC 27703
BRIDGE SEMICONDUCTOR CaseCORPORATION
                            25-90163   Document  87 INCFiled in TXSB on 07/03/25 BRIDGELUX
                                          BRIDGELUX                                Page 112INC of 944
ATTN CHIEF EXECUTIVE OFFICER               ATTN CHIEF TECHNOLOGY OFFICER          ATTN GENERAL COUNSEL
3F, 157 LI-TE RD, PEITOU DIST              1225 BORDEAUX DR                       101 PORTOLA AVE
TAIPEI 112                                 SUNNYVALE, CA 94089                    LIVERMORE, CA 94551
TAIWAN



[NAME REDACTED]                            [NAME REDACTED]                        BRIDGEPOINT CONSTRUCTION SERVICES
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     INC
                                                                                  501 WASHINGTON ST
                                                                                  DURHAM, NC 27701




BRIDGERS & PAXTON                          [NAME REDACTED]                        [NAME REDACTED]
ATTN ELECTRICAL ENGINEER                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]
4600-C MONTGOMERY BLVD NE
ALBUQUERQUE, NM 87109




[NAME REDACTED]                            [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]




BRIDGESTONE CORPORATION                    BRIDGESTONE INDUSTRIAL PROD AMERICA    BRIEGAN CONSTRUCTION SVCS INC
ATTN GENERAL MANAGER                       INC                                    ATTN VICE PRESIDENT
10-1, KYOBASHI 1-CHOME                     ATTN PRESIDENT                         8000 DIRT RD
CHUO-KU                                    402 BNA DR, STE 212                    APEX, NC 27539
TOKYO 104-8340 JAPAN                       NASHVILLE, TN 37217



[NAME REDACTED]                            BRIGGS ELECTRIC INC                    [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN KENNY MCNUTT                      [ADDRESS REDACTED]
                                           5111 CONVAIR DR
                                           CARSON CITY, NV 89706




[NAME REDACTED]                            [NAME REDACTED]                        BRIGHT CONCEPTS INC
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     ATTN PRESIDENT
                                                                                  2966 S CHURCH ST, 303
                                                                                  BURLINGTON, NC 27215




BRIGHT GREEN SAVINGS LLC                   BRIGHT LED ELECTRONICS CORP            BRIGHT LIGHT LED INC
ATTN PRESIDENT                             ATTN PRESIDENT                         ATTN CHIEF EXECUTIVE OFFICER
8712 W 151ST ST                            3F NO19, HEPING RD                     7751 ALABAMA AVE, WH 7-8
OVERLAND PARK, KS 66221                    BANQIAO DIST                           CANOGA PARK, CA 91304
                                           NEW TAIPEI CITY 22061 TAIWAN



BRIGHT VIEW TECHNOLOGIES INC               BRIGHT WOLF LLC                        BRIGHT WONDER ELECTRONICS CORP
ATTN PRESIDENT                             ATTN CHIEF EXECUTIVE OFFICER           SUN-LIAN VILLAGE, GAU-BU TOWN
5151 MCCRIMMON PKWY, STE 200               400 W MAIN ST, STE 701                 DONGGUAN, GUANGDONG
MORRISVILLE, NC 27560                      DURHAM, NC 27701                       CHINA




BRIGHT, ANNE                               [NAME REDACTED]                        [NAME REDACTED]
1508 GREEN OAKS PKWY                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]
HOLLY SPRINGS, NC 27540
[NAME REDACTED] Case 25-90163          Document  87OPTOELECTRONIC
                                          BRIGHTEK   Filed in TXSBCO on
                                                                     LTD 07/03/25 BRIGHTEN
                                                                                    Page 113   of 944 DEVELOPMENT LTD
                                                                                           TECHNOLOGY
[ADDRESS REDACTED]                         7F, NO 1492, CHUNRI RD                   ATTN MGR
                                           TAOYUAN, TAOYUAN 33051                   RM 1101 BLOCK B
                                           TAIWAN                                   SEA VIEW ESTATE, 4-6 WATSON RD
                                                                                    CAUSEWAY BAY HONG KONG



BRIGHTEVER CO LTD                          BRIGHTLUX AUTOMATION                     BRIGHTSIDE TECHNOLOGIES INC
ATTN MANAGER                               ATTN SALES MGR                           ATTN CFO VP STRATEGIC RELATIONS
NO 1069, S SONGWEI RD, JINSHAN DIST        NO.3 TIBANG IND PARK, DAFU NEW VILLAGE   1310 KOOTENAY ST
SHANGHAI                                   HENGANG TOWN, LONGGANG DISTRICT          VANCOUVER, BC V5K 4R1
CHINA                                      SHENZHEN, GUANGDONG CHINA                CANADA



BRIGHTSTARR US INC                         [NAME REDACTED]                          [NAME REDACTED]
ATTN SVP SALES                             [ADDRESS REDACTED]                       [ADDRESS REDACTED]
3380-146TH PL SE, STE 110
BELLEVUE, WA 98007




BRILLIANCE LED LLC                         BRILLIANT CENTURY CORP LTD               BRILLIANT TECHNOLOGIES CO MACNICA INC
ATTN VP SALES                              FLAT A, 6TH FL, HARRISON CT              ATTN PRESIDENT
7202 E CAVE CREEK RD                       NO 106-106A, WATERLOO RD                 MACNICA BLDG NO 1, 1-6-3
CAREFREE, AZ 85377                         KOWLOON                                  SHIN-YOKOHAMA, KOUHOKU-KU
                                           HONG KONG                                YOKOHAMA 222-8561 JAPAN



[NAME REDACTED]                            BRINDERSON LP                            [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN I&E PROGRAM MANAGER                 [ADDRESS REDACTED]
                                           3300 HARBOR BLVD
                                           COSTA MESA, CA 92626




[NAME REDACTED]                            [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                            BRINKMANN CORPORATION, THE               BRINKMANN INSTRUMENTS DBA METROHM
[ADDRESS REDACTED]                         ATTN SVP                                 USA INC
                                           4215 MCEWEN RD                           9250 CAMDEN FIELD PKWY
                                           DALLAS, TX 75244                         RIVERVIEW, FL 33578-0522




BRINKMANN INTERNATIONAL (HK) LTD)          [NAME REDACTED]                          BRISBANE MATERIALS TECHNOLOGY PTY
ATTN SR PROJECT MGR                        [ADDRESS REDACTED]                       LTD
3/F, HEENY TOWER, 9 CHATHAM RD SOUTH                                                ATTN CHIEF TECH OFFICER
TSIM SHA TSUI                                                                       LVL. 4, CHEMISTRY BLDG, UNIVERSITY OF
KOWLOON HONG KONG                                                                   QUEENSLAND
                                                                                    ST LUCIA, QLD 4072
                                                                                    AUSTRALIA

BRISBANE MATERIALS TECHNOLOGY PTY          [NAME REDACTED]                          [NAME REDACTED]
LTD                                        [ADDRESS REDACTED]                       [ADDRESS REDACTED]
ATTN PRES & CEO
11 MACHINERY ST
DARRA, QLD 4076
AUSTRALIA


BRISTOWS LLP BRISTOWS LLP                  BRITE SHOT INC                           BRITESOL INC
100 VICTORIA EMBANKMENT                    ATTN CFO                                 ATTN PRESIDENT
LONDON EC4Y 0DH                            600 W HILLSBORO BLVD                     2138 S HIGHLAND AVE
UNITED KINGDOM                             DEERFIELD BEACH, FL 33441                LAS VEGAS, NV 89102
BRITESWITCH LLC Case 25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
                                    [NAME REDACTED]                       Page  114 of 944
                                                                              REDACTED]
ATTN PRESIDENT                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
85 LINWOOD CIR
PRINCETON, NJ 08540




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      BRL TEST INC                         BROAD CARBON LTD
[ADDRESS REDACTED]                   ATTN PRESIDENT                       ATTN SALES MANAGER
                                     624 DOUGLAS AVE, STE 1406            NO 20 BINGHAI INDUSTRY
                                     ALTAMONTE SPRINGS, FL 32714          NANTONG CITY
                                                                          CHINA



[NAME REDACTED]                      BROADCAST MICROWAVE SERVICES         BROADCOM CORPORATION
[ADDRESS REDACTED]                   EUROPE GMBH                          ATTN LEGAL DEPT-CONTRACTS MGR
                                     LEIPZIGER STR 4                      5300 CALIFORNIA AVE
                                     ECHING 85386                         IRVINE, CA 92617
                                     GERMANY



BROADERN                             BROADLEAF TIMBER & MASONRY           [NAME REDACTED]
ATTN DEPUTY GENERAL MGR              RECLAIMIG LLC                        [ADDRESS REDACTED]
204-3, ANYANG 7 DONG, MANAN-GU       ATTN OWNER
ANYANG-SI, GYENONGGI-DO              1413 W FRONT ST
SOUTH KOREA                          BURLINGTON, NC 27215



[NAME REDACTED]                      BROADRIDGE FINANCIAL SOLUTIONS INC   BROADSPECTRUM DOWNSTREAM SERVICES
[ADDRESS REDACTED]                   ATTN VP FACILITIES & REAL ESTATE     INC
                                     1981 MARCUS AVE                      DBA BROADSPECTRUM
                                     LAKE SUCCESS, NY 11042               ATTN VP OF COMMERCIAL OPS
                                                                          1330 POST OAK BLVD, STE 1250
                                                                          HOUSTON, TX 77056


BROADWAY ENGINEERING                 BROCK & COMPANY INC                  BROCK CONTRACT SERVICES INC
ATTN PRESIDENT                       ATTN DIR OF BUSINESS DEV             P.O. BOX 33415
4049 E PRESIDIO ST, STE 101          257 GREAT VALLEY PKWY                RALEIGH, NC 27636
MESA, AZ 85215                       MALVERN, PA 19355




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




BRODIE CONTRACTORS INC               [NAME REDACTED]                      [NAME REDACTED]
ATTN ESTIMATOR                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
3901 COMPUTER DR
RALEIGH, NC 27609
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  115 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




BRODYNT GLOBAL SERVICES SL                BRONKHORST USA INC                  BRONSTEIN CONTAINER CO INC
GRAN VIA DE CARLES III 84 3RD FLOOR       ATTN INSIDE SALES REP               1313 RAMS GULCH ROAD
BARCELONA 08028                           57 S COMMERCE WAY, STE 120          JAMESVILLE, NY 13078-9435
SPAIN                                     BETHLEHEM, PA 18017




BRONTO                                    BROOK ANCO CORPORATION              BROOK TROUT NETWORKS & SECURITY LLC
324 BLACKWELL ST, STE 410                 7536 WEST MURRAY DRIVE              ATTN MANAGER
DURHAM, NC 27701                          CICERO, NY 13039-9773               1808 PATTERSONS MILL RD
                                                                              DURHAM, NC 27703




BROOKDALE PLASTICS INC                    [NAME REDACTED]                     BROOKFIELD AMETEK INSTRUMENTATION
ATTN SALES MANAGER                        [ADDRESS REDACTED]                  & SPECIALTY CONTROLS DIVI
9900 13TH AVE N                                                               11 COMMERCE BLVD
PLYMOUTH, MN 55441                                                            MIDDLEBORO, MA 02346-1031




BROOKHAVEN INSTRUMENTS CORP               BROOKHAVEN SCIENCE ASSOCIATES LLC   BROOKS AUTOMATION US, LLC
ATTN PRESIDENT                            2 CENTER ST                         ATTN: GENERAL COUNSEL
12112 F ROXIE DR                          UPTON, NY 11973-9700                15 ELIZABETH DRIVE
AUSTIN, TX 78729                                                              CHELMSFORD, MA 01824




BROOKS INSTRUMENT LLC                     BROOKS MACHINE & DESIGN INC         [NAME REDACTED]
ATTN VP TECH                              ATTN PRESIDENT                      [ADDRESS REDACTED]
915 ENTERPRISE BLVD                       1424 OLD US 264 HWY
ALLEN, TX 75013                           P.O. BOX 65
                                          ZEBULON, NC 27597



[NAME REDACTED]                           [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                     [NAME REDACTED]
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[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  116 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




BROOKSIDE SOFTWARE INC              BROOKS-PRI AUTOMATION INC          BROTHER, BROTHER AND SONS APS
ATTN PRESIDENT                      ATTN LEGAL COUNSEL                 ATTN PRES
1622 SAN CARLOS AVE, STE A          15 ELIZABETH DR                    VED AMAGERBANEN 9
SAN CARLOS, CA 94070                CHELMSFORD, MA 01824               COPENHAGEN S DK-2300
                                                                       DENMARK



[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




BROWN & MORRISON LTD                BROWN BROTHERS                     BROWN INTEGRATED LOGISTICS INC
ATTN PRESIDENT                                                         DBA BROWN TRUCKING COMPANY
14201-D S LAKES DR                                                     ATTN VP OF SALES & MKGT
CHARLOTTE, NC 28273                                                    6908 CHAPMAN RD
                                                                       LITHONIA, GA 30058



[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
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[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  117 of 944
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[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    BROWN, JEFFREY
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 156 OAK HILL RD
                                                                       CANDLER, NC 28715




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     BROWN, NATALIE D                   [NAME REDACTED]
[ADDRESS REDACTED]                  C/O NC DEPARTMENT OF LABOR         [ADDRESS REDACTED]
                                    1101 MAIL SERVICE CENTER
                                    RALEIGH, NC 27699-1101
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  118 of 944
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[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




BROWN, TAMESHIA                     [NAME REDACTED]                    [NAME REDACTED]
2004 COLLIER DR                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]
DURHAM, NC 27707




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     BROWNE TECHNOLOGY INC              [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN MANAGING DIR                  [ADDRESS REDACTED]
                                    8395 GREENWOOD DR
                                    LONGMONT, CO 80503




BROWNIES INC                        [NAME REDACTED]                    [NAME REDACTED]
17 MCBRIDE AVENUE                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]
CLINTON, NY 13323-1403




[NAME REDACTED]                     [NAME REDACTED]                    BRPG LLC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 3155 INVERNESS
                                                                       WESTON, FL 33332
BRT MANAGEMENT Case 25-90163            Document  87 Filed inINC
                                           BRUCE TECHNOLOGIES TXSB on 07/03/25 [NAME
                                                                                 Page  119 of 944
                                                                                     REDACTED]
8300 BRASS MILL LN, 205                     ATTN GM                                 [ADDRESS REDACTED]
RALEIGH, NC 27617-8761                      18 ESQUIRE RD
                                            NORTH BILLERICA, MA 01862




[NAME REDACTED]                             BRUKER AXS INC                          BRUKER NANO INC
[ADDRESS REDACTED]                          ATTN VP SALES & MKT                     5465 EAST CHERYL PARKWAY
                                            5465 E CHERYL PKWY                      MADISON, WI 53711-5373
                                            MADISON, WI 52711




BRUMLEY S INC                               BRUMLEY SOUTH ROBOTICS                  [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER                P.O. BOX 1237                           [ADDRESS REDACTED]
422 N BROAD ST                              MOORESVILLE, NC 28115-1237
MOORESVILLE, NC 28115




BRUNO CB INC                                BRUNO SRL                               [NAME REDACTED]
F/K/A CBMC INC                              DBA BRUNO GENERATORS GROUP              [ADDRESS REDACTED]
C/O ROBERGE & ROBERGE; ANELIA T.N RAY       ATTN GM
9190 PRIORITY WAY WEST DR, STE 100          SS 91 KM 0,600
INDIANAPOLIS, IN 46240                      GROTTAMINARDA 83035 ITALY



[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]




BRUSH WELLMAN INC                           BRUSSELS AIRLINES SA/NV                 [NAME REDACTED]
22 GRAF RD                                  C/O UNITED AIRLINES                     [ADDRESS REDACTED]
NEWBURYPORT, MA 01950                       ATTN VP SALES, THE AMERICAS
                                            233 S WACKER DR, 16TH FL-HQSVS
                                            CHICAGO, IL 60606



[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]




BRYANT INDUSTRIAL CONTRACTORS INC           BRYANT INDUSTRIAL CONTRACTORS INC       [NAME REDACTED]
1385 PINEWOOD RD                            DBA BRYANT INDUSTRIAL CRANE & RIGGING   [ADDRESS REDACTED]
SUMTER, SC 29154-7238                       ATTN PRESIDENT
                                            902 CHURCH ST
                                            MORRISVILLE, NC 27560



[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  120 of 944
                                                                                REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                       [ADDRESS REDACTED]




BRYANT-DURHAM ELECTRIC CO INC          BRYCON CORPORATION                       [NAME REDACTED]
ATTN SR VICE PRESIDENT                 ATTN CRO                                 [ADDRESS REDACTED]
5102 NEAL RD                           134 RIO RANCHO BLVD NE
DURHAM, NC 27705                       RIO RANCHO, NM 87124




[NAME REDACTED]                        [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                       [ADDRESS REDACTED]




BSH ELECTRODOMESTICOS ESPANA SA        BSH ELECTRODOMESTICOS ESPANA SA          BSUIR
ATTN DIRECTOR                          ATTN DIRECTOR                            ATTN HEAD OF RADIOLOCATION SYSTEMS
CENTER OF TECHNOLOGY INDUCTION         RONDA DEL CANAL IMPERIAL DE ARAGON 18-   DEPT
AVE DE LA INDUSTRIA 49                 20                                       6, P BROVKI STR
ZARAGOZA 50016 SPAIN                   ZARAGOZA 50197                           MINSK 220013
                                       SPAIN                                    BELARUS


BTB MARKETING COMMUNICATIONS INC       BTI WIRELESS                             BTICINO SPA
ATTN CHRIS BURKE, PRESIDENT            11205 KNOTT AVE, STE A                   ATTN PRESIDENT
900 RIDGEFIELD DR, STE 270             CYPRESS, CA 90630                        VIALE BORRI N 231
RALEIGH, NC 27609                                                               VARESE 21100
                                                                                ITALY



BTU INTERNATIONAL                      [NAME REDACTED]                          [NAME REDACTED]
23 ESQUIRE ROAD                        [ADDRESS REDACTED]                       [ADDRESS REDACTED]
NORTH BILLERICA, MA 01862-2501




[NAME REDACTED]                        [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                        BUCKELEY, CARIS                          BUCKELL PLASTIC CO INC
[ADDRESS REDACTED]                                                              ATTN SALES ENGINEER
                                                                                5 INDUSTRIAL PARK RD
                                                                                LEWISTOWN, PA 17044




BUCKEYE MACHINE FABRICATORS INC        [NAME REDACTED]                          [NAME REDACTED]
ATTN VP                                [ADDRESS REDACTED]                       [ADDRESS REDACTED]
610 E LIMA ST
FOREST, OH 45843




BUCKINGHAM IND CO                      BUCKINGHAM INDUSTRIAL CORPORATION        [NAME REDACTED]
ATTN GENERAL MGR                       ATTN PRODUCT MANAGER                     [ADDRESS REDACTED]
NO.89 FENGSHOU E RD                    8F, NO. 695-5, CHUNG CHENG RD
QIANDONG TIN                           HSINCHUANG DIST, NEW TAIPEI
KONSHON, JIANGSU CHINA                 TAIWAN
[NAME REDACTED] Case 25-90163     Document  87 Filed in TXSB on 07/03/25 [NAME
                                     [NAME REDACTED]                       Page  121 of 944
                                                                               REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




BUCKNER MISCELLANEOUS IRON LLC        [NAME REDACTED]                    BUDATEC GMBH
ATTN OPS MANAGER                      [ADDRESS REDACTED]                 MELLI-BEESE-STREET 28 28
3705 S NC HYWY 87                                                        BERLIN 12487
GRAHAM, NC 27253                                                         GERMANY




[NAME REDACTED]                       BUDDE MARKETING                    BUDGET BLINDS OF THE WESTERN TRIANG
[ADDRESS REDACTED]                    ATTN PRES                          19000 MACARTHUR BLVD
                                      13231 W 143RD ST                   STE 100
                                      HOMER GLEN, IL 60491               IRVINE, CA 92612




[NAME REDACTED]                       BUDS ELECTRIC LTD                  [NAME REDACTED]
[ADDRESS REDACTED]                    ATTN OWNER/MGR                     [ADDRESS REDACTED]
                                      250 W STEWART
                                      VANDERHOOF, BC V0J 3A0
                                      CANADA



BUEHLER LTD CORPORATION               BUELL FUEL, LLC                    BUENSOD SALES ASSOCIATES INC
39343 TREASURY CENTER                 2676 STATE ROUTE 12B               ATTN PRESIDENT
CHICAGO, IL 60694-9300                DEANSBORO, NY 13328                411 CREEKSIDE LN
                                                                         TRYON, NC 28782




[NAME REDACTED]                       [NAME REDACTED]                    BUFFALO AIR HANDLING DIVISION OF AI
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 467 ZANE SNEAD DRIVE
                                                                         AMHEARST, VA 24521




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    BUILD.COM INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 ATTN VENDOR PERFORMANCE MGR
                                                                         402 OTTERSON DR
                                                                         CHICO, CA 95928




BUILDING INTELLIGENCE GROUP LLC       BUILDING ROBOTICS INC              BUILDING ZONE INDUSTRIES LLC
3624 ARTISTS WAY                      DBA COMFY                          1233 S OLD HWY 91
CHARLOTTE, NC 28205                   ATTN CEO                           KANARRAVILLE, UT 84742
                                      300 FRANK H OGAWA PLZ 614
                                      OAKLAND, CA 94612



BUIST ELECTRIC INC                    BUK OPTICS INC                     BUKACEK CONSTRUCTION GROUP INC
ATTN PROJECT MGR                      ATTN PRESIDENT                     ATTN PROJECT PRINCIPAL
3201 LAKE ST                          3600 W MOORE ST                    2429 SUMMIT AVE
KALAMAZOO, MI 49048                   SANTA ANA, CA 92704                RACINE, WI 53404
[NAME REDACTED] Case 25-90163     Document 87 Filed in TXSB on 07/03/25 [NAME
                                     BULBTRONICS                          Page  122 of 944
                                                                              REDACTED]
[ADDRESS REDACTED]                    45 BANFI PLAZA                     [ADDRESS REDACTED]
                                      FARMINGDALE, NY 11735-1529




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




BULLSEYE CAPITAL LLC                  [NAME REDACTED]                    [NAME REDACTED]
5737 KANAN RD, STE 269                [ADDRESS REDACTED]                 [ADDRESS REDACTED]
AGOURA HILLS, CA 91301




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




BUNGARD ELEKTRONIK GMBH & CO KG       [NAME REDACTED]                    [NAME REDACTED]
ATTN J BUNGARD, DIRECTOR              [ADDRESS REDACTED]                 [ADDRESS REDACTED]
RILKESTRASSE 1
WINDECK D-51570
GERMANY
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 BUREAU
                                         [NAME REDACTED]                       PageFOR
                                                                                    123CHILD
                                                                                         of 944
                                                                                             SUPPORT
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  ENFORCEMENT
                                                                              RE: 142908867 (ORIGINAL)
                                                                              P.O. BOX 247
                                                                              CHARLESTON, WV 25321



BUREAU OF CONSUMER PROTECTION             BUREAU OF CUSTOMS AND BORDER        BUREAU VERITAS CERTIFICATION (BEIJING)
INVESTIGATION UNIT                        PROTECTION                          CO LTD
ATTN JEFFERY A SCHNETZLER, CPI            1300 PENNSYLVANIA AVE NW
2811 AGRICULTURE DR                       WASHINGTON, DC 20229
MADISON, WI 53708



BUREAU VERITAS SHENZHEN CO LTD            [NAME REDACTED]                     [NAME REDACTED]
ATTN SR MANAGER                           [ADDRESS REDACTED]                  [ADDRESS REDACTED]
F5/6 TWR D2, DONG NAN INDUST0TRADE
BLDG
DONG JIAO TOU, HOU HAI AVE, SHEKOU
SHENZHEN, NANSHAN DIST 518067 CHINA


BURGER & BROWN ENGINEERING                [NAME REDACTED]                     BURGESS INVESTMENTS LTD
INC/SMARTFLOW INC                         [ADDRESS REDACTED]                  28 N MAIN ST
ATTN VP                                                                       YOUGHAL, CORK P36 TX20
1700 E 123RD ST                                                               IRELAND
OLATHE, KS 66061



[NAME REDACTED]                           [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                           BURKE GIBSON LLC                    [NAME REDACTED]
[ADDRESS REDACTED]                        ATTN PRESIDENT                      [ADDRESS REDACTED]
                                          702 THIRD ST SW
                                          AUBURN, WA 98001




[NAME REDACTED]                           [NAME REDACTED]                     BURKHARD SPILL DBA SICONTEC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  AM GROSSACKER 11
                                                                              EBSDORFERGRUND 35085
                                                                              GERMANY




[NAME REDACTED]                           BURKHEAD BRAND GROUP INC            [NAME REDACTED]
[ADDRESS REDACTED]                        ATTN MANAGING PARTNER               [ADDRESS REDACTED]
                                          5020 WESTON PKWY
                                          CARY, NC 27513




BURLEIGH INSTRUMENTS INC                  [NAME REDACTED]                     [NAME REDACTED]
7647 MAIN ST                              [ADDRESS REDACTED]                  [ADDRESS REDACTED]
P.O. BOX E
FISHERS, NY 14453-0755




[NAME REDACTED]                           BURNET MACHINING                    [NAME REDACTED]
[ADDRESS REDACTED]                        ATTN OWNER                          [ADDRESS REDACTED]
                                          330 S KELLOGG AVE
                                          GOLETA, CA 93117
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  124 of 944
                                                                                REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    BURNSVILLE ELECTRIC INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 14340 COUNTY RD 5
                                                                          BURNSVILLE, MN 55306




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    BURT PROCESS EQUIPMENT INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 100 OVERLOOK DRIVE
                                                                          HAMDEN, CT 06514-1139




BURTON & MAYER INC                     BURTON PRECISION                   [NAME REDACTED]
ATTN PRESIDENT                         ATTN PRESIDENT                     [ADDRESS REDACTED]
W 140 N 9000 LILLY RD                  5737 VINTON NW
MENOMONEE FALLS, WI 53051              COMSTOCK PARK, MI 49321




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    BUSCH CONSOLIDATED, INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 BUSCH, LLC
                                                                          516 VIKING DRIVE
                                                                          VIRGINIA BEACH, VA 23452-7316




BUSCH SEMICONDUCTOR VACUUM GROUP       BUSCH UND MUELLER KG               [NAME REDACTED]
LLC                                    ATTN MANAGING DIR                  [ADDRESS REDACTED]
VACUUM GROUP LLC                       AUF DEM BAMBERG 1
P.O. BOX 8247                          MEINERZHAGEN 58540
VIRGINIA BEACH, VA 23450-8247          GERMANY
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 BUSHRANGER
                                         [NAME REDACTED]                       Page 125ENTERPRISES
                                                                                        of 944
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    P.O. BOX 152
                                                                                MORRISVILLE, NC 27660-5413




BUSHRANGER FENCE COMPANY                  [NAME REDACTED]                       BUSINESS ENTITY DATA BV
ATTN MANAGER                              [ADDRESS REDACTED]                    BASISWEG 10
HWY 54 W                                                                        AMSTERDAM 1043 AP
MORRISVILLE, NC 27560                                                           NETHERLANDS




BUSINESS INTELLIGENCE INTERNATIONAL       BUSINESS INTELLIGENCE INTERNATIONAL   BUSINESS TO BUSINESS INC
INC                                       INC                                   3801 WAKE FOREST RD, STE 102
ATTN SVP                                  DBA ALIGNALYTICS                      RALEIGH, NC 27609-6864
720 PROVIDENCE RD                         ATTN CHIEF OPERATING OFFICER
MALVERN, PA 19355                         993 OLD EAGLE SCHOOL RD, STE 405
                                          WAYNE, PA 19087


BUSINESS TO BUSINESS MARKETING            BUSINESS WIRE INC                     BUSS ELECTRIC
COMMUNICATIONS INC                        44 MONTGOMERY STREET, 39TH FLR        W6166 GREENVILLE DR
ATTN PRES                                 SAN FRANCISCO, CA 94104-4602          GREENVILLE, WI 54942-9676
900 RIDGEFIELD DR, STE 270
RALEIGH, NC 27609



[NAME REDACTED]                           BUSSEL, RP VAN                        [NAME REDACTED]
[ADDRESS REDACTED]                        KROMMENBEEMD 52                       [ADDRESS REDACTED]
                                          EINDHOVEN 5641 JX
                                          NETHERLANDS




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




BUTLER BROTHERS SUPPLY DIVISION INC       [NAME REDACTED]                       [NAME REDACTED]
ATTN CONTROLLER                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]
4524 GREENPOINT DR, STE 103
GREENSBORO, NC 27410




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]
BUTTER BUDS INC    Case 25-90163 Document  87 Filed in TXSB on 07/03/25 [NAME
                                    [NAME REDACTED]                       Page  126 of 944
                                                                              REDACTED]
ATTN VP                                [ADDRESS REDACTED]                        [ADDRESS REDACTED]
2330 CHICORY RD
RACINE, WI 53403




[NAME REDACTED]                        BWF PROFILES (WUXI) CO LTD                BXM
[ADDRESS REDACTED]                     ATTN GM                                   4833 FRONT STREET, UNIT B-136
                                       NO. 77, XI MEI RD,WUXI NATIONAL HI-TECH   CASTLE ROCK, CO 80104-7901
                                       INDUSTRIAL DEVELOPMENT ZONE
                                       WUXI, JIANGSU 214028 CHINA



[NAME REDACTED]                        BYD AUTO CO LTD                           BYD CO LTD
[ADDRESS REDACTED]                     NO 3009, BYD RD, PINGSHAN                 ATTN POWER SUPPLY FACTORY ASSISTANT
                                       SHENZHEN 518118                           MNG
                                       CHINA                                     NO 3009, BYD RD, PINGSHAN
                                                                                 SHENZHEN 518118
                                                                                 CHINA


BYD MOTORS INC                         BYERS ENGINEERING COMPANY                 [NAME REDACTED]
ATTN LEGAL COUNSEL                     6285 BARFIELD ROAD 4TH FLOOR              [ADDRESS REDACTED]
1800 S FIGUEROA ST                     ATLANTA, GA 30328
LOS ANGELES, CA 90015




[NAME REDACTED]                        [NAME REDACTED]                           BYK USA INC.
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                        BYK PAUL N. GARDNER COMPA
                                                                                 9104 GUILFORD ROAD
                                                                                 COLUMBIA, MD 21046-2729




[NAME REDACTED]                        [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                        [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                           BYRD INDUSTRIAL SERVICES INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                        ATTN VP
                                                                                 600 PEDDYCORD RD
                                                                                 KERNERSVILLE, NC 27284




[NAME REDACTED]                        [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                        [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                        [ADDRESS REDACTED]




C & C TECHNOLOGIES INC                 C AND A INDUSTRIES.NET LLC                C AND C SIGNAL LLC
P.O. BOX 1137                          ATTN PRESIDENT                            ATTN OWNER
APEX, NC 27502-3137                    1145 LITTLE GAP RD                        216 S ALMA SCHOOL RD, 8
                                       PALMERTON, PA 18071                       MESA, AZ 85210
                   Case
C M BUCK & ASSOCIATES  INC25-90163   Document  87 & SON
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                                                        INCin TXSB on 07/03/25 C&C
                                                                                 Page  127PIPING
                                                                                   PROCESS of 944
ATTN PRINCIPAL                           ATTN VICE PRESIDENT                  ATTN CEO
6850 GUION RD                            415 STATION CT                       500 LAURELWOOD RD, 7
INDIANAPOLIS, IN 46268                   CRANSTON, RI 02910                   SANTA CLARA, CA 95054




C&C TOOL & MACHINE INC                   C&C TOOL AND SUPPLY CO INC           C&D SEMICONDUCTOR SERVICES INC
ATTN PRESIDENT                           ATTN PRESIDENT                       ATTN CUSTOMER SERVICE MGR
903 ICEMORLEE ST                         833 CRAGHEAD ST                      2210 LUNDY AVE
MONROE, NC 28110                         DANVILLE, VA 24543                   SAN JOSE, CA 95131




C&D SEMICONDUCTOR SERVICES INC           C&H DIE CASTING INC                  C&H INSULATION SERVICES INC
ATTN PRESIDENT                           ATTN DIRECTOR SALES & MKTG           3843 CLEMMONS ROAD
2031 CONCOURSE DR                        222 LELY DR                          CLEMMONS, NC 27012-7503
SAN JOSE, CA 95131                       LELY INDUSTRIAL PARK
                                         TROY, TX 76579



C&M CORP                                 C/L ENTERPRISES INC                  C/O CAPITAL ASSOCIATES MANAGEMENT
ATTN REGIONAL MGR                        ATTN CHIEF OPS OFFICER               LLC
349 LAKE RD                              12950 RAYMER ST                      ATTN DELEGATE MGR
DAYVILLE, CT 06241                       NORTH HOLLYWOOD, CA 91605            1100 CRESCENT GREEN, STE 115
                                                                              CARY, NC 27511



C12 ADVANCED TECHNOLOGIES LLC            C2IT INC                             C2T MATERIAL CONVERTING LLC
ATTN PRESIDENT                           ATTN PRESIDENT                       ATTN PRESIDENT
3101 111 ST, SW, STE R                   P.O. BOX 130                         N60 W14592 KAUL AVE
EVERETT, WA 98204                        RED OAK, NC 27868                    MENOMONEE FALLS, WI 53051




C3 INC                                   CA WASHINGTON LLC                    CA. DEPT OF TOXIC SUBSTANCES CTRL
ATTN THOMAS G COLEMAN                    ATTN VP SALES                        1001 "I" ST
3800 GATEWAY BLVD, STE 310               3216 NE 45TH PL, STE 306             SACRAMENTO, CA 95814-2828
MORRISVILLE, NC 27560                    SEATTLE, WA 98105




CA. DEPT OF TOXIC SUBSTANCES CTRL        CAB TECHNOLOGY INC                   [NAME REDACTED]
P.O. BOX 806                             ATTN PRODUCT MNGR                    [ADDRESS REDACTED]
SACRAMENTO, CA 95812-0806                90 PROGRESS AVE, UNIT 2
                                         TYNGSBORO, MA 01879




CABLE ASSEMBLY LLC                       CABLEMASTER CORP                     CABOT MICROELECTRONICS CORPORATION
ATTN GM                                  ATTN PRESIDENT                       1698 PAYSPHERE CIRCLE
6532 JUDGE ADAMS RD, STE 150             W 134 N5272 CAMPBELL DR              CHICAGO, IL 60674-0001
WHITSETT, NC 27377                       MENOMONEE FALLS, WI 53051




[NAME REDACTED]                          CAC CORP                             CACI TECHNOLOGIES INC
[ADDRESS REDACTED]                       ATTN PRESIDENT                       ATTN CONTRACTS MGR
                                         307 EAST LIES RD                     14151 PARK MEADOW DR
                                         CAROL STREAM, IL 60188               CHANTILLY, VA 20151




CACI TECHNOLOGIES INC                    CADENCE DESIGN SYSTEMS INC           [NAME REDACTED]
ATTN SR BUYER                            ATTN LEGAL DEPT                      [ADDRESS REDACTED]
749 HOPE RD                              2655 SEELY AVE
EATONTOWN, NJ 07724                      SAN JOSE, CA 95134
CADMUS GROUP INC,CaseTHE 25-90163   Document  87 Filed in TXSB on 07/03/25 CADRIEL,
                                       [NAME REDACTED]                       Page RICKY
                                                                                    128 of 944
ATTN CONTRACTS MGR/ATTORNEY             [ADDRESS REDACTED]                    [ADDRESS REDACTED]
100 5TH AVE, STE 100
WALTHAM, MA 02451




[NAME REDACTED]                         CAE ONLINE LLC                        CAE ONLINE
[ADDRESS REDACTED]                      ATTN CEO                              ATTN CEO
                                        1134 CRANE ST                         885 SANTA CRUZ AVE, STE A
                                        MENLO PARK, CA 94025                  MENLO PARK, CA 94025




CAELYNX LLC                             CAF POWER & AUTOMATION                [NAME REDACTED]
ATTN ENGINEERING MGR                    ATTN PURCHASING MGR                   [ADDRESS REDACTED]
325 E SUMMIT                            58 2 PARQUE TECNOLOGICO DE SAN
ANN ARBOR, MI 48104                     SEBASTION
                                        DONOSTIA
                                        SAN SEBASTIAN 20009 SPAIN


[NAME REDACTED]                         CAHILL CONSULTANTS INC                [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN CHIEF EXECUTIVE OFFICER          [ADDRESS REDACTED]
                                        500 PORTION RD, STE 14
                                        LAKE RONKONKOMA, NY 11779




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       CAIN-FORLAW CO INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    ATTN PRESIDENT
                                                                              510 N PLUM GROVE RD
                                                                              PALATINE, IL 60067




CAIN-FORLAW COMPANY, INC.               CAIN-SWEET CO                         [NAME REDACTED]
510 N. PLUM GROVE ROAD                  ATTN PRESIDENT                        [ADDRESS REDACTED]
PALATINE, IL 60067                      1409 140TH PL NE, 105
                                        BELLEVUE, WA 98007




[NAME REDACTED]                         CAL COMP ELECTRONICS &                CAL COMP ELECTRONICS &
[ADDRESS REDACTED]                      COMMUNICATIONS CO LTD                 COMMUNICATIONS CO LTD
                                        ATTN DIR SALES                        ATTN GEN MGR
                                        A BLDG NO 147 SEC 3                   147 SEC 3 BEISHEN RD
                                        BEISHEN RD WANSHUEN TSUEN, SHENKENG   WANSHUEN TSUEN, SHENKENG SHIAG
                                        SHIANG                                TAIPEI 222 TAIWAN
                                        TAIPEI 222 TAIWAN

CALAMOS PARTNERS LLC                    [NAME REDACTED]                       CALARE PROPERTIES INC
615 E MICHIGAN ST                       [ADDRESS REDACTED]                    30 SPEEN ST
3RD FL                                                                        FRAMINGHAM, MA 01701
MILWAUKEE, WI 53202




CALCARB LIMITED                         CALCARB LTD                           CAL-CHEM CLEANING CO INC
ATTN CEO                                ATTN MANAGING DIRECTOR                ATTN EXECUTIVE ADMINISTRATOR
12 N RD                                 110 INDEL AVE                         2102 MERCED AVE
BELLSHILL ML4 1EN                       RANCOCAS, NJ 08073                    SOUTH EL MONTE, CA 91733
UNITED KINGDOM
                   Case
CAL-COMP ELECTRONICS  & 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                           [NAME REDACTED]                       Page  129 of 944
                                                                                     REDACTED]
COMMUNICATION CO LTD                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]
ATTN LUKE LIU, MGR
147 SEC 3 BEISHEN RD
WANSHUEN TSUEN SHENKENG SHIANG
TAIPEI 222 TAIWAN


[NAME REDACTED]                             [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                             CALEDONIA CRATING & PALLETING INC     CALEDONIAN CABLES LTD
[ADDRESS REDACTED]                          ATTN VICE PRESIDENT                   ATTN SALES EXEC
                                            P.O. BOX 267                          1/F, CMA BLDG, 64-66
                                            CALEDONIA, WI 53108                   CONNAUGHT RD CENTRAL
                                                                                  HONG KONG



CALE-ENGINEERING                            CALENCE LLC                           CALGONATE CORP
1563 VAPOR TRAIL                            ATTN EXEC VP                          1391 NW ST LUCIE WEST BLVD 303
COLORADO SPRINGS, CO 80916                  1560 W FOUNTAIN HEAD PKWY, 2ND FL     PORT SAINT LUCIE, FL 34986-2196
                                            TEMPE, AZ 85282




[NAME REDACTED]                             CALIBER PROFESSIONAL SALES SERVICES   CALIBER TECHNOLOGIES LLC
[ADDRESS REDACTED]                          LLC                                   ATTN PRESIDENT
                                            ATTN MARK CHERRY, PRESIDENT           1109 COPELAND OAKS DR
                                            718 HWY 82 EAST, 253                  MORRISVILLE, NC 27560
                                            SHERMAN, TX 75090



CALIFORNIA AIR RESOURCES BOARD              CALIFORNIA AIR RESOURCES BOARD        CALIFORNIA BOARD OF EQUALIZATION
1001 "I" ST                                 P.O. BOX 2815                         CALIFORNIA DEPT OF TAX AND FEE
SACRAMENTO, CA 95814                        SACRAMENTO, CA 95812                  ADMINISTRATION
                                                                                  450 N ST
                                                                                  SACRAMENTO, CA 95814



CALIFORNIA COMPRESSION LLC                  CALIFORNIA DEPARTMENT CONSUMER        CALIFORNIA DEPT OF CONSERVATION
318 LINDEBERGH AVENUE                       AFFAIRS                               715 P ST, MS 1900
LIVERMORE, CA 94551-9511                    CONSUMER INFORMATION CENTER           SACRAMENTO, CA 95814
                                            1625 N MARKET BLVD STE N 112
                                            SACRAMENTO, CA 95834



CALIFORNIA DEPT OF FINANC. PROTECTION       CALIFORNIA DEPT OF WATER RESOURCES    CALIFORNIA EASTERN LABORATORIES INC
& INNOVATION                                P.O. BOX 94236                        ATTN PRESIDENT
2101 ARENA BLVD                             SACRAMENTO, CA 94236-0001             4590 PATRICK HENRY DR
SACRAMENTO, CA 95834                                                              SANTA CLARA, CA 95054




CALIFORNIA ENVIRONMENTAL PROTECTION         CALIFORNIA FRANCHISE TAX BOARD        CALIFORNIA FRANCHISE TAX BOARD
AGENCY                                      1515 CLAY ST                          300 S SPRING ST
1001 I ST                                   STE 305                               STE 5704
P.O. BOX 2815                               OAKLAND, CA 94612-1445                LOS ANGELES, CA 90013-1265
SACRAMENTO, CA 95812-2815



CALIFORNIA FRANCHISE TAX BOARD              CALIFORNIA FRANCHISE TAX BOARD        CALIFORNIA FRANCHISE TAX BOARD
3321 POWER INN RD                           600 W SANTA ANA BLVD                  7575 METROPOLITAN DR
STE 250                                     STE 300                               STE 201
SACRAMENTO, CA 95826-3893                   SANTA ANA, CA 92701-4543              SAN DIEGO, CA 92108-4421
                 Case
CALIFORNIA FRANCHISE TAX25-90163
                        BOARD         Document  87 FRANCHISE
                                         CALIFORNIA Filed in TAX
                                                             TXSB   on 07/03/25 CALIFORNIA
                                                                 BOARD            Page 130    of 944OF TECHNOLOGY
                                                                                           INSTITUTE
P.O. BOX 942857                           P.O. BOX 942867                          ATTN ASST INTELLECTUAL PROPERTY
SACRAMENTO, CA 94257-0001                 SACRAMENTO, CA 94257-0001                COUNSEL
                                                                                   4800 OAK GROVE DR
                                                                                   PASADENA, CA 91109



CALIFORNIA INTEGRATED WASTE MGMT          CALIFORNIA KNIFE & BLADE INC             CALIFORNIA LIGHTING SALES INC
BOARD                                     ATTN SALES MGR                           ATTN MARCUS CONE
1001 I ST                                 18522 MCARTHUR BLVD, STE 400             4900 RIVERGRADE RD, STE D110
P.O. BOX 4025                             IRVINE, CA 92612                         IRWINDALE, CA 91706
SACRAMENTO, CA 95812-4025



CALIFORNIA MICRO DEVICES CORP             CALIFORNIA MICRO DEVICES                 CALIFORNIA PACIFIC LAB SAFETY
ATTN PRES & CEO                           ATTN VP                                  ATTN MKTG MANAGER
490 N MCCARTHY BLVD, 100                  215 TOPAZ ST                             14 COMMERCIAL BLVD, STE 113
MILPITAS, CA 95035                        MILPITAS, CA 95035                       NOVATO, CA 94949




CALIFORNIA STATE CONTROLLERS OFFICE       CALIFORNIA STATE UNIVERSITY, FULLERTON   CALIFORNIA UNEMPLOYMENT INSURANCE
UNCLAIMED PROPERTY DIVISION               ATTN MATTHEW PAGANO, MANAGER             EMPLOYMENT DEVELOPMENT DEPT
300 CAPITOL MALL, STE 1850                800 N STATE COLLEGE BLVD                 P.O. BOX 8268800
SACRAMENTO, CA 95814                      FULLERTON, CA 92831-3599                 UIPCD, MIC 40
                                                                                   SACRAMENTO, CA 94280-0001



[NAME REDACTED]                           [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                           CALLAWAY, MARK                           CALLEN MANUFACTORING CORPORATION
[ADDRESS REDACTED]                        DBA CALLAWAY COMPONENTS                  ATTN VP SALES MKTG
                                          ATTN OWNER/PRESIDENT                     13 E LAKE ST
                                          204 TWEED CIR                            NORTHLAKE, IL 60164
                                          CARY, NC 27511



CALLIDUS CLOUD                            CALLIDUS SOFTWARE INC                    CALLIDUS SOFTWARE INC
C/O CALLIDUS SOFTWARE INC                 ATTN CFO                                 DBA LITMOS LLC
4140 DUBLIN BLVD, STE 400                 6200 STONERIDGE MALL RD, STE 500         2700 CAMINO RAMON
DUBLIN, CA 94568-7757                     PLEASANTON, CA 94588                     SAN RAMON, CA 94583




CALNETIX TECHNOLOGIES LLC                 CALPINE ENERGY SOLUTIONS, LLC            CALPLUS GMBH
ATTN GENERAL COUNSEL                      ATTN: CUSTOMER SERVICE                   HEERSTR. 32
16323 SHOEMAKER AVE                       401 WEST A. ST, SUITE 500                BERLIN 14052
CERRITOS, CA 90703                        SAN DIEGO, CA 92101-7991                 GERMANY




CALRECYCLE                                CALRECYCLE                               CALSOURCE
DEPT OF RESOUR RECYCLING & RECOVERY       DEPT OF RESOUR RECYCLING & RECOVERY      1005 WEST FAYETTE STREET
1001 I ST                                 P.O. BOX 4025                            SYRACUSE, NY 13204-2860
SACRAMENTO, CA 95814                      SACRAMENTO, CA 95812




CALTECH - JET PROPULSION LABORATORY       CALTEST INSTRUMENTS GMBH                 CALUMET ELECTRONIC CORP
4800 OAK GROVE DR                         BINZIGSTRASSE 21                         ATTN VP - CHIEF QUALTIY OFFICER
PASADENA, CA 91109                        KAPPELRODECK 77876                       25830 DEPOT ST
                                          GERMANY                                  CALUMET, MI 49913
[NAME REDACTED] Case 25-90163     Document  87 Filed in TXSB on 07/03/25 [NAME
                                     [NAME REDACTED]                       Page  131 of 944
                                                                               REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




CALY TECHNOLOGIES SAS                 [NAME REDACTED]                    CAMBRIDGE CMOS SENSORS LTD
ATTN CHIEF EXECUTIVE OFFICER          [ADDRESS REDACTED]                 ATTN CHIEF EXECUTIVE OFFICER
56 BD NEILS BOHR, BAT CE12                                               DEANLAND HOUSE, 160 COWLEY RD
CS52132                                                                  CAMBRIDGE CB4 0DL
VILLEURBANNE CEDEX FRANCE                                                UNITED KINGDOM



CAMBRIDGE CONSULTANTS LTD             CAMBRIDGE ELECTRONICS INC          CAMBRIDGE ISOTOPE LABS
ATTN SR CONSULTANT                    ATTN CHIEF EXECUTIVE OFFICER       ATTN VP
SCIENCE PARK, MILTON RD               929 MASSACHUSETTS AVE, STE M-C     50 FRONTAGE RD
CAMBRIDGE CB4 0DW                     CAMBRIDGE, MA 02139                ANDOVER, MA 01810
UNITED KINGDOM



CAMBRIDGE NANOTECH INC                CAMBRIDGE NANOTHERM LTD            CAMBRIDGE SILICON RADIO LTD
ATTN COO                              C/O EVELYN PARTNERS LLP            ATTN SR LEGAL COUNSEL
68 ROGERS ST                          45 GRESHAM ST                      CHURCHILL HOUSE
CAMBRIDGE, MA 02142                   LONDON EC2V 7BG                    CAMBRIDGE BUSINESS PK, COWLEY RD
                                      UNITED KINGDOM                     CAMBRIDGE CB4 0WZ UNITED KINGDOM



[NAME REDACTED]                       CAMECA SCIENCE & METROLOGY         CAMELA LANGENDORF LLC
[ADDRESS REDACTED]                    SOLUTIONS                          DBA IMAGES BY CAMELA
                                      ATTN DIV VP, SALES & SVC           510 COLLEGE AVE, STE 200
                                      5470 NOBEL DR                      RACINE, WI 53403
                                      MADISON, WI 53711



CAMERLO TECNOLOGY SRL                 CAMERON MICRO DRILL PRESSES        [NAME REDACTED]
ATTN ADMIN                            ATTN APPS ENGINEER                 [ADDRESS REDACTED]
BORGATA PIANA 27                      19401 RAWHIDE RD
BARBANIA, TO 10070                    SONORA, CA 95370
ITALY



[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




CAMFIL USA, INC.                      [NAME REDACTED]                    CAMLINE US LLC
1 NORTH CORPORATE DRIVE               [ADDRESS REDACTED]                 ATTN CONTRACTS
RIVERDALE, NJ 07457-1715                                                 2037 W BULLARD, STE 226
                                                                         CLOVIS, CA 93619




CAMLINE USA INC                       [NAME REDACTED]                    [NAME REDACTED]
1170 HOWELL MILL ROAD SUITE 300       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
ATLANTA, GA 30318-8638




CAMPBELL INDUSTRIAL SUPPLY            [NAME REDACTED]                    [NAME REDACTED]
ATTN PRES/CEO                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]
P.O. BOX 939
SANGER, CA 93647
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  132 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          CAMSTAR SYS SOFTWARE (SHANGHAI) CO   CAMSTAR SYSTEMS INC
[ADDRESS REDACTED]                       LTD                                  ATTN EXEC VP
                                         C/O SIEMENS                          2815 COLISEUM DR, STE 600
                                         NO. 223-231 WAI YIP ST               CHARLOTTE, NC 28217
                                         KWUN TONG, KOWLOON
                                         HONG KONG


CAMSTAR SYSTEMS INC                      CAMTEK HK LTD                        CAMTEK SOUTH EAST ASIA PTE LTD
ATTN PRES & CEO                          ATTN: GUY SMITH                      BLOCK 5008 ANG MO KIO AVENUE 5 06-
13024 BALLANTYNE CORPORATE PL, STE 300   HOPEWELL CENTRE 183                  SINGAPORE 569874
CHARLOTTE, NC 28277                      HONG KONG 999077                     SINGAPORE
                                         HONG KONG



CAMTEK USA INC                           CANACCORD GENUITY LLC                CANACCORD GENUITY/CDS (5046)
1815 NW 169TH PL, STE 1080               ATTN CO-HEAD OF US INVESTMENT BNK    ATT BEN THIESSEN OR PROXY DEPT
BEAVERTON, OR 97006                      535 MADISON AVE                      10337 PACIFIC CENTRE
                                         NEW YORK, NY 10022                   2200-609 GRANVILLE ST
                                                                              VANCOUVER, BC V7Y 1H2 CANADA



CANADA INC                               CANADA SILICONE INC                  [NAME REDACTED]
O/A CRS ELECTRONICS                      3013-2560 SHELL RD                   [ADDRESS REDACTED]
ATTN COO                                 RICHMOND, BC V6X 0B8
129 HAGAR ST                             CANADA
WELLAND, ON L3B 5V9 CANADA
                   Case 25-90163
CANADIAN MICROELECTRONICS  CORP         Document  87 Filed in TXSB on 07/03/25 CANALTA
                                           [NAME REDACTED]                       Page ENTERPRISES
                                                                                       133 of 944 LLC
DBA CMC MICROSYSTEMS                        [ADDRESS REDACTED]                   DBA PHILLIPS IRON WORKS
ATTN VP & CTO                                                                    4809 AUBURN KNIGHTDALE ROAD
945 PRINCESS ST, B-50                                                            RALEIGH, NC 27610-8230
KINGSTON, ON K7L 3N6



[NAME REDACTED]                             CANDELA INSTRUMENTS INC              CANDELA INSTRUMENTS
[ADDRESS REDACTED]                          ATTN SR DIR SEMICONDUCTOR BUSINESS   ATTN PRES
                                            850 AUBURN CT                        48891 MILMONT DR, STE 103D
                                            FREMONT, CA 94538-7306               FREMONT, CA 94538




CANDIDATE.GURU INC                          CANDOR INDUSTRIES INC                [NAME REDACTED]
ATTN EVP SALES & MKTG                       ATTN CHIEF EXECUTIVE OFFICER         [ADDRESS REDACTED]
1825 MAIN ST                                9-125 MARTIN ROSS AVE
WESTON, FL 33326                            TORONTO, ON M3J 2L9
                                            CANADA



CANIDIUM LLC                                [NAME REDACTED]                      [NAME REDACTED]
ATTN PARTNER                                [ADDRESS REDACTED]                   [ADDRESS REDACTED]
5100 WESTHEIMER, STE 200
HOUSTON, TX 77056




[NAME REDACTED]                             [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                             CANON ANELVA CORPORATION             CANON USA, INC.
[ADDRESS REDACTED]                          ATTN GENERAL MGR                     15955 ALTON PARKWAY
                                            5-8-1 YOTSUYA, FUCHU-SHI             IRVINE, CA 92618-3731
                                            TOKYO 183-8508
                                            JAPAN



CANON USA, INC.                             CANTEEN ONE                          CANTOR FITZGERALD & CO. (0696)
ATTN: DAVID SHEEHAN                         4150 OLSON MEMORIAL HWY              ATT ANTHONY ROYE OR PROXY DEPT
ONE CANON PARK                              MINNEAPOLIS, MN 55422-4800           CORPORATE ACTIONS
MELVILLE, NY 11747-3036                                                          55 WATER ST, 28TH FL
                                                                                 NEW YORK, NY 10041



[NAME REDACTED]                             [NAME REDACTED]                      CAO GROUP INC
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   4628 W SKYHAWK DR
                                                                                 WEST JORDAN, UT 84084




CAO LIGHTING, INC.                          [NAME REDACTED]                      CAP WIRELESS INC
JOHN M. MOYE                                [ADDRESS REDACTED]                   ATTN EXEC VICE PRESIDENT
PARKER POE ADAMS & BERNSTEIN LLP                                                 3235 GRANDE VISTA DR
1075 PEACHTREE STREET, N.E., STE 1500                                            NEWBURRY PARK, CA 91320
ATLANTA, GA 30309



CAPABLE CORP                                [NAME REDACTED]                      CAPE TECHNOLOGY SDN BHD
ATTN PRESIDENT                              [ADDRESS REDACTED]                   PLOT 25 PHASE 4 NON-FTZ BAYAN LEPAS
16-1, KAMITOBANAWASHIRO-CHO                                                      BAYAN LEPAS 11900
MINAMI-KU                                                                        MALAYSIA
KYOTO 601-8111 JAPAN
CAPE, MATT       Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                          [NAME REDACTED]                       Page  134 of 944
                                                                                    REDACTED]
ATTN STUDENT, THE PRAIRIE SCHOOL           [ADDRESS REDACTED]                     [ADDRESS REDACTED]
712 RUSSET ST
RACINE, WI 53405




[NAME REDACTED]                            CAPI INTERNATIONAL                     CAPITAL AIR FILTERS INC
[ADDRESS REDACTED]                         ATTN GEN MGR                           4900-101 THORNTON ROAD
                                           FATIH MAH, KEMALPASA SOK NO 8          RALEIGH, NC 27616-5879
                                           ATASEHIR
                                           ISTANBUL TURKEY



CAPITAL ASSET EXCHANGE & TRADING LLC       CAPITAL ASSET EXCHANGE & TRADING LLC   CAPITAL ASSET EXCHANGE & TRADING LLC
ATTN JEFF KIELTY                           ATTN SR CAPITAL EQUIPMENT TRADER       ATTN SR CAPITAL EQUIPMENT TRADER
5201 GREAT AMERICA PKWY, STE 272           1600 SEAPORT BLVD, STE 300             4101 PARKSTONE HEIGHTS DR, STE 320
SANTA CLARA, CA 95054                      REDWOOD CITY, CA 94063                 AUSTIN, TX 78746




CAPITAL ASSOCIATED INDUSTRIES INC          CAPITAL ASSOCIATES                     CAPITAL AUTOMOTIVE GROUP
2900 HIGHWOODS BLVD                        1100 CRESCENT GREEN STE 250            CAPITAL FORD INC
RALEIGH, NC 27604                          CARY, NC 27518                         4900 CAPITAL BLVD
                                                                                  RALEIGH, NC 27616-4407




CAPITAL DRYWALL INC                        CAPITAL ELECTRIC DBA                   CAPITAL ELECTRIC WIRE & CABLE CO INC
ATTN PRESIDENT                             CAPITAL ELECTRIC WIRE & C              ATTN VP
4908 ALPINIS DR                            4001 STIRRUP CREEK SUITE 600           W231 N2811 ROUNDY CIRCLE E
RALEIGH, NC 27616                          DURHAM, NC 27703-9001                  PEWAUKEE, WI 53072




CAPITAL GROUP COS INC / THE                CAPITAL HEATER & CONTROL INC           CAPITAL LIGHTING FIXTURE CO INC
P.O. BOX 6164                              ATTN SALES                             ATTN JOHN LEWIS
INDIANAPOLIS, IN 46206                     3725 BENSON DR                         5359 RAFE BANKS DR
                                           RALEIGH, NC 27609                      FLOWERY BRANCH, GA 30542




CAPITAL MACHINERY SYSTEMS                  CAPITAL PRODUCTION GROUP               CAPITAL REGION CHAMBER OF COMMERCE
ATTN ACCT                                  5311 OLD POOLE RD                      5 COMPUTER DRIVE SOUTH
2307 W ANGLE RD                            RALEIGH, NC 27610-3493                 ALBANY, NY 12205-1608
PENDLETON, IN 46064




CAPITAL RELOCATION SERVICES (CAPRELO       CAPITAL RELOCATION SERVICES LLC        CAPITOL LIGHT & SUPPLY
LLC)                                       ATTN PRESIDENT                         ATTN: CHRIS CHICKANOSKY
108 CARPENTER DRIVE                        22810 QUICKSILVER DR                   270 LOCUST STREET
STERLING, VA 20164-4422                    STERLING, VA 20166                     HARTFORD, CT 06141




CAPITOL PLASTICS RECYCLING INC             CAPITOL SPECIALTY INS. CO.             CAPITOL STAMPING CORP
DBA PELICAN PACKAGING COMPANY              1600 ASPEN COMMONS, STE 300            ATTN PRESIDENT
ATTN MANAGER                               MIDDLETON, WI 53562                    2700 W NORTH AVE
200 PELICAN PKWY                                                                  MILWAUKEE, WI 53208
HALIFAX, NC 27839



CAPITOL SURVEY ENTERPRISES LLC             CAPOVANI BROTHERS INC                  CAPRI CABLES PVT LTD
ATTN MANAGING MEMBER                       ATTN VICE PRESIDENT                    ATTN MG DIRECTOR
237 S CURTIS RD                            704 CORPORATIONS PARK                  SURVEY NOS 238, 239A, 240A, 240AA
MILWAUKEE, WI 53214                        SCOTIA, NY 12302                       KESHAVARAM V, SHAMIRPET M
                                                                                  RR DISTRICT, AP 500078 INDIA
                    Case 25-90163
CAPS VISUAL COMMUNICATIONS  LLC     Document 87 Filed
                                       CAPSPECIALTY INC in TXSB on 07/03/25 CAPSTONE
                                                                              Page 135  of 944INC
                                                                                     COMPANIES
DBA CAPS 57                             ATTN HEAD OF PRIMARY WRAP             ATTN PRESIDENT
ATTN VP/GENERAL MGR                     1600 ASPEN COMMONS, STE 300           350 JIM MORAN BLVD, STE 120
329 W 18TH ST, STE 800                  MIDDLETON, WI 53562                   DEERFIELD BEACH, FL 33442
CHICAGO, IL 60616



CAPSTONE INVESTMENT ADVISORS            CAPSTORM LLC                          CAPSTRAT INC
7 WORLD TRADE CENTER                    2800A US HWY 98W                      ATTN DEBBIES REED
250 GREENWICH STREET                    SANTA ROSA BEACH, FL 32459-1159       1201 EDWARDS MILL RD, 1ST FL
32ND FL                                                                       RALEIGH, NC 27607
NEW YORK, NY 10007



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




CARACAL INC                             CARACAL INC                           [NAME REDACTED]
ATTN CEO                                C/O SCHNADER HARRISON SEGAL & LEWIS   [ADDRESS REDACTED]
611 ELJER WAY                           LLP
FORD CITY, PA 16226                     ATTN JOAN T KLUGER
                                        1600 MARKET ST, STE 3600
                                        PHILADELPHIA, PA 19103-7286


[NAME REDACTED]                         [NAME REDACTED]                       CARBOLINE GLOBAL INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    DBA DUDICK
                                                                              ATTN NE SME
                                                                              1818 MILLER PKWY
                                                                              STREETSBORO, OH 44241



CARBOLITE INC                           CARBON DESIGN INNOVATIONS INC         CARBON DISCLOSURE PROJECT
ATTN SALES MGR/CORP SECY                ATTN DIR WW SALES, CDI                127 W 26TH STREET
110 S SECOND ST                         1745 ADRIAN RD, UNIT 20               STE 300
WATERTOWN, WI 53094                     BURLINGAME, CA 94010                  NEW YORK, NY 10001




CARBON/GRAPHITE GROUP INC, THE          CARBONE OF AMERICA                    CARCLO PLC
ATTN VICE PRESIDENT                     ATTN PRODUCT MGR                      DBA CARCLO TECHNICAL PLASTICS
800 THERESIA ST                         900 HARRISON ST                       ATTN PRESIDENT
ST MARYS, PA 15857                      BAY CITY, MI 48708                    600 DEPOT ST
                                                                              LATROBE, PA 15650



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         CARDHOLDER BROKERAGE SERVICES INC     CARDIFF UNIVERSITY
[ADDRESS REDACTED]                      ATTN VICE PRESIDENT                   ATTN DIR RES & COMM DIV
                                        550 MAMARONECK AVE                    30-60 NEWPORT RD
                                        HARRISON, NY 10528                    CARDIFF CF24 0DE
                                                                              UNITED KINGDOM



CARDINAL ALUMINUM CO                    CARDINAL COMPONENTS INC               CARDINAL CONTAINER SERVICES INC
ATTN PRESIDENT                          ATTN PRESIDENT                        ATTN LOGISTICS COORDINATOR
6910 HWY                                N59 W13500 MANHARDT DR                138 WALSNER RD
LOUISVILLE, KY 40219                    MENOMONEE FALLS, WI 53051             LEXINGTON, NC 27292
CARDINAL SOLUTIONSCase   25-90163
                     GROUP INC          Document  87SOLUTIONS
                                           CARDINAL    Filed inGROUP-NC
                                                                TXSB on LLC07/03/25 CARDIO
                                                                                      PagePARTNERS
                                                                                           136 of 944
ATTN DIR OF BUSINESS DEV                    ATTN ACCOUNT MANAGER                  5000 TUTTLE CROSSING BLVD
7755 MONTGOMERY RD, STE 510                 4825 CREEKSTONE DR, STE 230           DUBLIN, OH 43016
CINCINNATI, OH 45236                        DURHAM, NC 27703




CARDNO ENTRIX                               CARDPAK INC                           CAREER DEV CO LTD SHANGHAI OPTICAL
ATTN THOMAS G GRUMBLES                      ATTN VP SALES & MKTG
5252 WESTCHESTER, STE 250                   29601 SOLON RD
HOUSTON, TX 77005                           SOLON, OH 44139




CAREER FOUNDATIONS                          CAREER TECHNOLOGY (MFG) CO LTD        CAREERBUILDER CORP
4011 WESTCHASE BLVD STE 200                 ATTN PRESIDENT                        ATTN SR ACCOUNT EXECUTIVE
RALEIGH, NC 27607-6875                      18634 PARTHENIA ST                    5550-A PEACHTREE PKWY, STE 200
                                            NORHRIDGE, CA 91324                   NORCROSS, GA 30092




CAREERNET TECHNOLOGIES PVT LTD              CAREERS INDUSTRIES INC                CAREMARKPCS HEALTH LLC
ATTN DIRECTOR                               4811 WASHINGTON AVE                   ATTN SR VP HCS
SALARPURIA SOFT ZONE, 4TH FL                RACINE, WI 53406-4219                 9501 E SHEA BLVD
A BLK, B WING, SOLISOLZ OUTER RING RD                                             SCOTTSDALE, AZ 85260
BANGALURU 560103 INDIA



CAREMARKPCS HEALTH LLC                      [NAME REDACTED]                       [NAME REDACTED]
ATTN VP LEGAL SERVICES                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
2211 SANDERS RD, 10TH FL
NORTHBROOK, IL 60062




CAREW INTERNATIONAL INC                     CAREY MCMAHILL AND ASSOCIATES INC     [NAME REDACTED]
ATTN CFO                                    DBA CENTRAMARK TECHNICAL SALES        [ADDRESS REDACTED]
P.O. BOX 706149                             ASSOC INC
CINCINNATI, OH 45270                        ATTN PRESIDENT
                                            3333 NAAMAN SCHOOL RD
                                            GARLAND, TX 75040


CARGO SERVICES FAR EAST LTD                 [NAME REDACTED]                       [NAME REDACTED]
ATTN ASST MANAGING DIR                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
13TH FLR, RM 13018E, ATL LOGISTICS
CENTER B
BERTH 3 KWAI CHUNG CONTAINER
TERMINALS
KWAI CHUNG, NT HONG KONG

CARISA LED LIGHTING                         CARL STAHL AMERICAN LIFTING LLC       CARL ZEISS MICROIMAGING INC
ATTN GEN COORDINATOR                        ATTN ACCOUNTING MGR                   ATTN VP FINANCE
V KARANI MAH, ASILTURK CAD                  21825 DORAL RD                        1 ZEISS DR
SAFAK SOKAK NO 2, SAMANDIRA                 WAUKESHA, WI 53186                    THORNWOOD, NY 10594
ISTANBUL 34885 TURKEY



CARL ZEISS MICROSCOPY LLC                   CARLETON UNIVERSITY                   [NAME REDACTED]
1 N BROADWAY, 15TH FL                       1125 COLONEL BY DR, RM 5170           [ADDRESS REDACTED]
WHITE PLAINS, NY 10601                      OTTAW, ON K1S 5B6
                                            CANADA




[NAME REDACTED]                             [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]
                  CaseINC
CARLSON ENVIROMENTAL     25-90163    Document 87
                                        CARLSON    Filed in TXSB
                                                ENVIROMENTAL INC on 07/03/25 CARLSON
                                                                               Page 137   ofROOFING
                                                                                     RACINE  944 & SHEET METAL
65 E WACKER PL, STE 1500                 65 E WACKER PL, STE 801                 INC
CHICAGO, IL 60601                        CHICAGO, IL 60601                       ATTN PRESIDENT
                                                                                 2401 EATON LN
                                                                                 RACINE, WI 53404



CARLSON RESTAURANTS WORLDWIDE            CARLSON WAGONLIT TRAVEL INC             [NAME REDACTED]
ATTN VP                                  ATTN VP, CLIENT SERVICES                [ADDRESS REDACTED]
4201 MARSH LN                            4513 CREEDMORE RD, STE 100
CARROLLTON, TX 75007                     RALEIGH, NC 27612




CARLTON-BATES COMPANY                    CARLYLE CONLAN                          CARMANAH TECHNOLOGIES CORP
501-A UWHARRIE COURT                                                             ATTN CFO
RALEIGH, NC 27606-1470                                                           250 BAY ST
                                                                                 VICTORIA, BC V9A 3K5
                                                                                 CANADA



CARMANAH TECHNOLOGIES CORP               CARMAX BUSINESS SERVICES LLC            [NAME REDACTED]
ATTN DIR STRATEGIC SUPPLY                ATTN AVP PROCUREMENT & SUPPLY SVCS      [ADDRESS REDACTED]
4- 203 HARBOUR RD                        12800 TUCKAHOE CREEK PKWAY
VICTORIA, BC V9A 3S2                     RICHMOND, VA 23238
CANADA



[NAME REDACTED]                          [NAME REDACTED]                         CARNEGIE CONSULTANCY
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      ATTN MANAGING CONSULTANT
                                                                                 22/F, 3 LOCKHART RD
                                                                                 WAN CHAI
                                                                                 HONG KONG



CARNEGIE MELLON UNIVERSITY               [NAME REDACTED]                         [NAME REDACTED]
ATTN ASSOC PROVOST                       [ADDRESS REDACTED]                      [ADDRESS REDACTED]
5000 FORBES AVE
PITTSBURGH, PA 15213




[NAME REDACTED]                          [NAME REDACTED]                         CAROLINA ADVENTURES
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      PUBLIC STATE UNIVERSITY
                                                                                 101 STUDENT RECREATION CENTER
                                                                                 CHAPEL HILL, NC 27599




CAROLINA ARCHITECTURAL LIGHTING          [NAME REDACTED]                         CAROLINA CHILLER SERVICE INC
ATTN BRENT MEDEARIS, LC                  [ADDRESS REDACTED]                      ATTN PRESIDENT
701 MILLENNIUM BLVD                                                              4125 VALLRY SPRINGS RD
GREENVILLE, SC 29607                                                             DURHAM, NC 27712




CAROLINA CHILLER SERVICE                 CAROLINA COATING SOLS & INDL SVCS INC   CAROLINA COMM & INDUS REFURBISHMENT
1031 NOWELL RD                           10404 CHAPEL HILL RD, STE 106           LLC
RALEIGH, NC 27607                        MORRISVILLE, NC 27560                   ATTN CONTROLLER
                                                                                 2722 FEDERAL RD
                                                                                 BENSON, NC 27504



CAROLINA CONCRETE CONSTRUCTORS INC       CAROLINA CONDUIT SYSTEMS, INC.          CAROLINA CRATE PALLET INC
ATTN VICE PRESIDENT                      128 AIRPORT INDUSTRIAL DRIVE            ATTN PRESIDENT
3128 E GEER ST, STE B                    CLAYTON, NC 27520-4305                  3281 US 1
DURHAM, NC 27704                                                                 VASS, NC 28394
                  Case 25-90163
CAROLINA CUSTOM POWDER  COATING INC Document
                                       CAROLINA87DOORFiled in TXSB
                                                        CONTROLS INC on 07/03/25 CAROLINA
                                                                                   Page 138     of 944ASSEMBLERS INC
                                                                                           ELECTRONIC
ATTN PRESIDENT                         957 HILLSIDE DR                           DBA CEA MANUFACTURING
104 E WOODINDS IND CT                  KNOXVILLE, TN 37919                       ATTN PRESIDENT
CARY, NC 27511                                                                   132 CITATION LN
                                                                                 SMITHFIELD, NC 27577



CAROLINA ENVIRONMENTAL ASSOCIATES       CAROLINA ENVIRONMENTAL CONTROL INC       CAROLINA FACTORY AUTOMATION INC
INC                                     ATTN GENERAL MGR                         ATTN PRESIDENT
ATTN WAYNE BISHOP                       275 UNION NEW HOPE RD                    4217 GLENFALL AVE
P.O. BOX 963                            GASTONIA, NC 28056                       CHARLOTTE, NC 28210
BURLINGTON, NC 27216-0963



CAROLINA FIBER COMMUNICATIONS INC       CAROLINA FLUID COMPONENTS, LLC           CAROLINA GENERATOR INC
3812 TARHEEL DRIVE, STE E               9309 STOCKPORT PLACE                     4259 JESS HACKETT ROAD
RALEIGH, NC 27609-7535                  CHARLOTTE, NC 28273-6598                 CLIMAX, NC 27233-8096




CAROLINA GRAPHIC PRESS LLC              CAROLINA HANDLING LLC                    CAROLINA HIGH PURITY
ATTN PRESIDENT                          4835 SIRONA DR                           ATTN PRESIDENT
501 ATKINSON ST                         CHARLOTTE, NC 28273-3227                 110 RESERVATION RD
CLAYTON, NC 27520                                                                ABERDEEN, NC 28315




CAROLINA INDUSTRIAL EQUIPMENT INC       CAROLINA INNOVATIONS LLC                 CAROLINA INSTALLERS INC
ATTN PRESIDENT                          ATTN COO                                 ATTN PRESIDENT
4315 TAGGART CREEK RD                   1439 DAVE LYLE BLVD, STE 6               3501 CARTWAY LANE
CHARLOTTE, NC 28208                     ROCK HILL, SC 29730                      RALEIGH, NC 27616




CAROLINA KNIFE CO INC                   CAROLINA MACHINING & FABRICATION INC     CAROLINA MATERIAL HANDLING INC
ATTN PRESIDENT                          ATTN PRESIDENT                           2209 PATTERSON COURT
224 MULVANEY ST                         40 CYPRESS DR, STE 200                   GREENSBORO, NC 27407-2541
ASHEVILLE, NC 28803                     YOUNGSVILLE, NC 27596




CAROLINA MECHANICAL SERVICES INC.       CAROLINA POWER & SIGNALIZATION LLC       CAROLINA PRECISION SWITCHGEAR LLC
5100 INTERNATIONAL DRIVE                1416 MIDDLE RIVER LOOP                   ATTN GENERAL MGR
DURHAM, NC 27712-8947                   FAYETTEVILLE, NC 28312                   1032 CENTRAL DR, NW, STE C
                                                                                 CONCORD, NC 28027




CAROLINA RAILHAWKS, THE                 CAROLINA REFRIGERANTS INC                CAROLINA RESOURCE CORP
N/K/A NORTH CAROLINA FC                 3222 WELLINGTON COURT SUITE 108-109      ATTN GM
801 CORPORATE DR, STE 320               RALEIGH, NC 27615-4132                   850 PARK AVE
RALEIGH, NC 27607                                                                YOUNGSVILLE, NC 27596




CAROLINA SAFE AIR, LLC                  CAROLINA SEAL & PATCH                    CAROLINA SEAL INC
211 CATES POND CT                       ATTN PRESIDENT                           ATTN PRESIDENT
SPARTANBURG, SC 29301-0001              1901 BRIDGEPORT DR                       711 PRESSLEY RD
                                        RALEIGH, NC 27615                        CHARLOTTE, NC 28217




CAROLINA STONE SETTING CO               CAROLINA VENDING INC                     CAROLINAS TAX CONSULTING INC
ATTN PRESIDENT                          ATTN GEN MGR                             ATTN PRESIDENT
10315 CHAPEL HILL RD                    1320 HODGES ST                           9112 COCONUT LN
MORRISVILLE, NC 27560                   RALEIGH, NC 27604                        RALEIGH, NC 27603
[NAME REDACTED] Case 25-90163           Document 87 INC
                                           CAROPLAST  Filed in TXSB on 07/03/25 CAROTEK
                                                                                  Page 139
                                                                                        INC of 944
[ADDRESS REDACTED]                          ATTN VP                               P.O. BOX 1395
                                            P.O. BOX 668405                       MATTHEWS, NC 28106-1395
                                            CHARLOTTE, NC 28266




CARPATEC                                    CARPENTER MANUFACTURING CO INC        [NAME REDACTED]
HOGBACKAVAGEN 6                             ATTN PRESIDENT                        [ADDRESS REDACTED]
AKERSBERGA                                  110 FAIRGROUNDS DR
STOCKHOLM 184 37                            MANILUS, NY 13104
SWEDEN



[NAME REDACTED]                             [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                       CARRIER COMMERCIAL SERVICE
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    ATTN SERVICE SALES REP
                                                                                  1711A CORPORATION PKWY
                                                                                  RALEIGH, NC 27604




CARRIER CORP                                CARRIER CORP                          [NAME REDACTED]
13995 PASTEUR BLVD                          SPOT COOLERS, A DIVISION              [ADDRESS REDACTED]
PALM BEACH GARDENS, FL 33418                29749 NETWORK PLACE
                                            CHICAGO, IL 60673-1297




CARRINGTON CONTRACTING INC                  [NAME REDACTED]                       [NAME REDACTED]
ATTN DIVISION MGR                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]
1412 OLD OXFORD HWY
DURHAM, NC 27704




[NAME REDACTED]                             [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                       CARRY BEAM CO LTD
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    ATTN YAW WEN, CEO
                                                                                  9F, 260, TA YEH RD
                                                                                  PEITOU DISTRIC
                                                                                  TAIPEI 112 TAIWAN



CARSEM (M) SDN BHD (124522-U)               CARSEM (M) SDN BHD                    CARSEM (M) SDN. BHD.
JALAN LAPANGAN TERBANG, P. 0. BOX 204       LOT 52986 TAMAN MERU INDUSTRIAL EST   JALAN LAPANGAN TERBANG, 31350 GUNUNG
IPOH, PERAK 30720                           IPOH PER 30750                        RAPAT
MALAYSIA                                    MALAYSIA                              IPOH, PERAK
                                                                                  MALAYSIA
CARSEM ENGG. PLANTCase 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                     [NAME REDACTED]                       Page  140 of 944
                                                                               REDACTED]
LOT 52986. TAMAN MERU INDUSTRI        [ADDRESS REDACTED]                   [ADDRESS REDACTED]
IPOH 30020
MALAYSIA




CART COMPANY LLC                      CARTER ELECTRONICS LLC               [NAME REDACTED]
P.O. BOX 573                          ATTN PRESIDENT                       [ADDRESS REDACTED]
ROLESVILLE, NC 27571-0573             1840 INDUSTRIAL DR, STE 320
                                      LIBERTYVILLE, IL 60048




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




CARTERBALDWIN                         CARTHAGE COLLEGE                     CARTUS CORPORATION
ATTN MANAGING PARTNER                 ATTN SR VICE PRESIDENT               ATTN VP, ASSOC GEN COUNSEL
200 MANSELL COURT E, STE 450          2001 ALFORD PARK DR                  40 APPLE RIDGE RD
ROSWELL, GA 30076                     KENOSHA, WI 53140                    DANBURY, CT 06810




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




CARVER INC                            CARVER SCIENTIFIC INC                [NAME REDACTED]
1569 MORRIS STREET                    ATTN CHIEF EXECUTIVE OFFICER         [ADDRESS REDACTED]
WABASH, IN 46992-3538                 8000 INNOVATION PARK DR, BLDG 3000
                                      BATON ROUGE, LA 70820




[NAME REDACTED]                       CARVILLE LTD                         [NAME REDACTED]
[ADDRESS REDACTED]                    ATTN DIRECTOR                        [ADDRESS REDACTED]
                                      STATION RD, DORKING
                                      SURREY RH4 1HQ
                                      UNITED KINGDOM



[NAME REDACTED]                       CARYL ELECTRIC CO INC                [NAME REDACTED]
[ADDRESS REDACTED]                    7786 VICKI LN                        [ADDRESS REDACTED]
                                      BALDWINSVILLE, NY 13027
CAS MACHINE INC Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  141 of 944
                                                                             REDACTED]
DBA CREATIVE AUTOMATION SYST        [ADDRESS REDACTED]                     [ADDRESS REDACTED]
ATTN OWNER
80 MOOSE LOOP RD
LOUISBURG, NC 27549



[NAME REDACTED]                     CASAMBI TECHNOLOGY OY                  CASCADE LIGHTING REPRESENTATIVES
[ADDRESS REDACTED]                  ATTN DIR, PRODUCT MKTG                 ATTN PRESIDENT
                                    LINNOITUSTIE 4 A                       400 NE 11TH AVE
                                    ESPOO 02600                            PORTLAND, OR 97232
                                    FINLAND



CASCADE LIGHTING                    CASCADE MICROTECH INC                  CASE CLOSED INVESTIGATION INC
ATTN LC, IESNA                      ATTN EXEC VICE PRESIDENT               ATTN PRESIDENT
20190 WAMBLI LN                     2430 NW 206TH AVE                      P.O. BOX 26814
HUSON, MT 59846                     BEAVERTON, OR 97006                    WINSTON-SALEM, NC 27114-6814




CASE COMPANY                        [NAME REDACTED]                        CASEY TOOL & MACHINE CO INC
ATTN OWNER                          [ADDRESS REDACTED]                     ATTN ENGINEERING DIR
PO 22223                                                                   400 W DELAWARE
SANTA BARBARA, CA 93121                                                    CASEY, IL 62420




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




CASK TECHNOLOGIES LLC               CASMOON (SHENZHEN) INDUSTRIAL CO LTD   CASMOON GROUP LTD
ATTN CONTRACTS ADMIN                RM 201, XIANGZHAO BLDG, BULONG RD      ATTN SALES
9350 WAXIE WAY, STE 210             LENGHUO NEW DIST, SHENZHEN             17 CANTON RD
SAN DIEGO, CA 92123                 GUANGDONG 518110                       TST KI 999077
                                    CHINA                                  HONG KONG



[NAME REDACTED]                     [NAME REDACTED]                        CASS INFORMATION SYSTEMS INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     ATTN CFO
                                                                           12444 POWERSCOURT DR, STE 550
                                                                           ST LOUIS, MO 63131




CASS INFORMATION SYSTEMS INC        [NAME REDACTED]                        CASSIDY TURLEY COMM REAL ESTATE SVS
ATTN MGR, MKTG & BUS DEVT           [ADDRESS REDACTED]                     INC
13001 HOLLENBERG DR                                                        DBA CASSIDY TURLEY
BRIDGETON, MO 63044                                                        ATTN VP
                                                                           3110 EDWARDS MILL RD, STE 210
                                                                           RALEIGH, NC 27612


CASSIDY TURLEY INC                  CASSIDY TURLEY                         CASSIDY TURLEY
ATTN SR VP                          ATTN JAMES P ALLAIRE, SENIOR VP        ATTN PROPERY MGR
7701 FORSYTH BLVD, STE 500          3110 EDWARDS MILL RD, STE 210          2511 CORNWALLIS RD, STE 120
CLAYTON, MO 63105                   RALEIGH, NC 27612                      DURHAM, NC 27713
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 [NAME
                                          [NAME REDACTED]                       Page  142 of 944
                                                                                    REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                            CASTELLUM                          [NAME REDACTED]
[ADDRESS REDACTED]                         HANGOVAGEN 20, 4TH FL              [ADDRESS REDACTED]
                                           BOX 70414
                                           STOCKHOLM 107 25
                                           SWEDEN



CASTER LIGHTING INC                        [NAME REDACTED]                    [NAME REDACTED]
5 FL, NO 79, KANG-FU RD, SEC 1             [ADDRESS REDACTED]                 [ADDRESS REDACTED]
SAN CHUNG
TAIPEI
TAIWAN



[NAME REDACTED]                            CASTLE HILL TECHNOLOGIES INC       [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN PRESIDENT                     [ADDRESS REDACTED]
                                           476 SHOTWELL RD, STE 102-143
                                           CLAYTON, NC 27520




CASTLEKNIGHT MANAGEMENT LP                 [NAME REDACTED]                    [NAME REDACTED]
888 7TH AVE                                [ADDRESS REDACTED]                 [ADDRESS REDACTED]
24TH FL
NEW YORK, NY 10019




[NAME REDACTED]                            [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




CASTROL INDUSTRIAL NORTH AMERICA INC       CAT EYE TAICANG CO LTD             CAT I MANUFACTURING INC
ATTN VICE PRESIDENT                        71TH FUDA RD, HENGLI COUNTRY       ATTN NATIONAL SALES MGR
150 W WARRENVILLE RD                       LUDU TOWN, TAICANG CITY            P.O. BOX 208
NAPERVILLE, IL 60563                       CHINA                              SOUTH EGLIN, IL 60177




CATALYST EQUIPMENT CORP                    CATALYST MANUFACTURING SERVICES    CATALYST SALES INC
ATTN PRESIDENT                             6833 MOUNT HERMN RD                ATTN PRESIDENT
1401 SUMMIT AVE, STE 6                     MORRISVILLE, NC 27650              5528 WILLIAM FLYNN HGWY
PLANO, TX 75074                                                               GIBSONIA, PA 15044




[NAME REDACTED]                            CATENA-X AUTOMOTIVE NETWORK E.V.   CATERING BY DESIGN
[ADDRESS REDACTED]                         REINHARDSTRABE 58                  132 KILMAYNE DR
                                           BERLIN 10117                       CARY, NC 27511
                                           GERMANY




CATERPILLAR INC                            [NAME REDACTED]                    [NAME REDACTED]
5205 N OCONNOR BLVD, STE 100               [ADDRESS REDACTED]                 [ADDRESS REDACTED]
IRVING, TX 75039
[NAME REDACTED] Case 25-90163     Document
                                     CATHAY 87    Filed in TXSB
                                            LIFE INSURANCE  CO LTD on 07/03/25 CATHAY
                                                                                 PageSEMICONDUCTOR
                                                                                      143 of 944 LIGHTING IND
[ADDRESS REDACTED]                    ATTN HSIUNG MING HO                    INC LTD
                                      296, HEN- AI RD, SEC 4                 4/F, BLDG C, JUJI IND PARK
                                      TAIPEI 106                             SHAJIN TOWN
                                      CHINA                                  BAOAN DISTRICT
                                                                             SHENZEN 518104 CHINA


[NAME REDACTED]                       CATSKILL SPRING WATER LLC              CAUCHOS TECNICOS DE MEXICO SA DE CV
[ADDRESS REDACTED]                    216 SEWARD AVENUE                      ATTN DIRECTOR GENERAL
                                      UTICA, NY 13502-5750                   GUAYAKIRI NO 624 NAVE 2
                                                                             LOMA BONITA
                                                                             QUERETARO, QRO 76118 MEXICO



[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                        CAVIST MANUFACTURING
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     ATTN PRESIDENT
                                                                             9290 PROTOTYPE DR
                                                                             RENO, NV 89521




[NAME REDACTED]                       [NAME REDACTED]                        CB ACQUISITION GROUP INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     DBA A-1 ELECTRIC
                                                                             ATTN PRESIDENT
                                                                             10 GREG ST, 164
                                                                             SPARKS, NV 89431



CB20 INC                              CBA BRAND ENGINE LLC                   CBA USA LLC
11 FEDERAL ST                         ATTN COO                               ATTN DIR OF OPERATIONS
SARATOGA SPRINGS, NY 12866-4111       730 N FRANKLIN AVE, STE 500            360 PINE ST, 3RD FL
                                      CHICAGO, IL 60654                      SAN FRANCISCO, CA 94104




CBF NETWORKS INC                      CBG BIOTECH LTD                        CBI
DBA FASTBACK NETWORKS                 DBA CBG TECHNOLOGIES                   ATTN SR VICE PRESIDENT
ATTN CTO                              ATTN VP SALES & MKTG                   625 OBERLIN RD
2460 N FIRST ST, STE 200              2211 LAKE CLUB DR, STE 205             RALEIGH, NC 27605
SAN JOSE, CA 95131                    COLUMBUS, OH 43232



CBRE SOUTH ASIA PVT LTD               CBS ARCSAFE, LLC                       CBS INTERACTIVE MEDIA INC
                                      2616 SIRIUS ROAD                       DBA CNET
                                      DENTON, TX 76208-1001                  ATTN ASSOC EDITOR
                                                                             2710 GATEWAY OAKS DR, STE 150N
                                                                             SACRAMENTO, CA 95833



CBX CORP                              CCA PARTNERS LLC                       CCC SOLUTIONS AB
ATTN PRESIDENT                        ATTN MGR                               ATTN HENRY LAINE
30 STEAMWHISTLE DR                    100 CRESCENT CT, STE 700               RALLARVAGEN 23
IVYLAND, PA 18974                     DALLAS, TX 75201                       AKERSBERGA 184 40
                                                                             SWEDEN
CCC SOLUTIONS AB Case 25-90163          Document  87 Filed INC
                                           CCE TECHNOLOGIES in TXSB on 07/03/25 CCH
                                                                                  Page  144 of 944
                                                                                    INCORPORATED
ATTN: HENRY LAIN                            ATTN PRESIDENT , CEO                  2700 LAKE COOK ROAD
SAGVAGEN 40                                 7555 95TH ST                          RIVERWOODS, IL 60015-3867
AKERSBERGA                                  COTTAGE GROVE, MN 55016
SWEDEN



CCNY TECH                                   CCTLED TECHCHNOLOGY GROUP CO LTD      CCTLED TECHNOLOGY GROUP
ATTN SCOTT FLUTY                            3F-18, NO. 5, TAIYUAN 1ST ST          ATTN VP
145 NEW HARTFORD ST                         ZHUBEI CITY, HSINCHU                  10F-3, NO 5, TAIYUAN 1ST ST
NEW HARTFORD, NY 13413                      TAIWAN                                ZHUBEI CITY, HSINCHU 302
                                                                                  TAIWAN



CDA INTERCORP                               CDLMS INC (CUSTOM DESIGN LEAN MFG     CDM ELECTRONICS INC
ATTN MARKETING MANAGER                      SYS INC)                              ATTN ACCNT MGR
450 GOOLSBY BLVD                            ATTN PRESIDENT/CO-OWNER               130 AMERICAN BLVD
DEERFIELD, FL 33442                         6950 INDUSTRIAL LOOP                  TURNERSVILLE, NJ 08012
                                            GREENDALE, WI 53129



CDOT ALCATEL LUCENT RESEARCH CENTRE         CDOT ALCATEL LUCENT RESEARCH CENTRE   CDP NORTH AMERICA INC
PRIVATE LTD                                 PRIVATE LTD                           127 W 26TH ST, SUITE 300
ATTN TECH MGR                               ATTN TECH MGR                         NEW YORK, NY 10001-6881
C DOT CAMPUS, MANDI RD                      RAYALA TECHNO PARK
MEHRAULI                                    1447, OLD MAGABALIPURAM RD
NEW DELHI 110030 INDIA                      KOTTIVAKKAM, CHENNAI 600044 INDIA


CDS CLEAR & DEPOSITORY (5099)               CDSI KK                               CDW DIRECT LLC
ATT LORETTA VERELLI/PROXY MGR               ATTN CHIEF EXECUTIVE OFFICER          ATTN CONTRACTS MANAGER
600 BOUL. DE MAISONNEUVE                    NEW HORIZON EBISU BLDG                200 N MILWAUKEE AVE
OUEST BUREAU 210                            3-14-20 HIGASHI, SHIBUYA-KU           VERNON HILLS, IL 60061
MONTREAL, QC H3A 3J2 CANADA                 TOKYO 150-0011 JAPAN



CDW LIMITED                                 CDW NETHERLANDS IT SOLUTIONS BV       CDW
1 NEW CHANGE                                KINGSFORDWEG 151                      200 N MILWAUKEE AVE
LONDON EC4M 74B                             AMSTERDAM 1043 GR                     VERNON HILLS, IL 60061-1577
UNITED KINGDOM                              NETHERLANDS




CE LIGHTING LTD                             CE RENTAL INC                         CEA INES RDI
LIGHTING HOUSE                              3006 INDUSTRIAL DRIVE SUITE 110       50 AVE DU LAC LEMAN
KEJII SOUTH 12 RD, HIGH-TECH IND PARK       RALEIGH, NC 27609-7547                LE BOURGET-DU-LAC F-73370
NANSHAN, SHENZHEN                                                                 FRANCE
CHINA



CEA TECHNOLOGIES PTY LTD                    [NAME REDACTED]                       CEC COMPOUND SEMICONDUCTOR CO LTD
ATTN CEO                                    [ADDRESS REDACTED]                    ATTN HAOXIANG ZHANG, PHD
59-65 GLADSTONE ST                                                                NO 290, XINGCI 1ST RD
FYSHWICK                                                                          HANGZHOU BAY NEW DIST
CANBERRA, ACT 2609 AUSTRALIA                                                      ZHEJIANG, NINGBO 315336 CHINA



CEC FACILITIES GROUP, LLC                   CEDE & CO (FAST ACCT)                 CEDINOR SA DE CV
1275 VALLEY VIEW LANE, IRVING TX 75         P.O. BOX 20                           ATTN COMMERICAL DIR
IRVING, TX 75061-3609                       BOWLING GREEN STATION                 ANTIGUO CAMINO A VILLA DE GARCIA 96
                                            NEW YORK, NY 10004-1408               SANTA CATARINA
                                                                                  SANTA CATARINA, NLE 66350 MEXICO



CEE COSTRUZIONI ELETTRONICHE -              CEERIS INTERNATIONAL INC              CEFLA SC
ELETTROMECCANICHE SRL                       ATTN PRES                             ATTN RESPONSABLE R&D
ATTN ADMIN                                  P.O. BOX 939                          VIA SELICE PROV LE 23/A, IMOLA
VIA GRETI DI DURASCA, 30                    OLD LYME, CT 06371                    BOLOGNA 40026
PIANO DI FOLLO 19020 ITALY                                                        ITALY
CEGELEC AS        Case 25-90163 Document
                                   CEI THE 87   Filed
                                           DIGITAL     in TXSB on 07/03/25 [NAME
                                                   OFFICE                    Page  145 of 944
                                                                                 REDACTED]
CHODOVSKA 3                            ATTN PRESIDENT                         [ADDRESS REDACTED]
PRAGUE 14100                           8701 BRICKELL AVE
CZECH REPUBLIC                         P.O. BOX 90635
                                       RALEIGH, NC 27675



CELADON SYSTEMS, INC.                  [NAME REDACTED]                        CELANTRA SYSTEMS INC
13795 FRONTIER COURT                   [ADDRESS REDACTED]                     ATTN HANS KOLBE
BURNSVILLE, MN 55337-4873                                                     3722-21ST ST
                                                                              SAN FRANCISCO, CA 94114




CELCOM CORPORATION                     CELEBROS INC                           CELERGO LLC
ATTN PRESIDENT                         ATTN CMO                               ATTN VP OPS
2ND F, NO 347, SEC 2, JHONG SHAN RD    28720 ROADSIDE DR, STE 198             750 ESTATE DR, STE 110
BA LI DISTRICT                         AGOURA HILLS, CA 91301                 DEERFIELD, IL 60015
NEW TAIPEI CITY TAIWAN



CELEROTON TURBOCELL AG                 CELESTICA INTERNATIONAL INC            CELIANT CORP
ATTN CTO                               ATTN COMMODITY MGMT SPECIALIST         ATTN INTELLECTUAL PROP DIR
INDUSTRIESTRASSE 22                    1150 EGLINTON AVE E                    40 TECHNOLOGY DR
VOLKETSWIL 8604                        TORONTO, ON M3C 1H7                    WARREN, NJ 07059
SWITZERLAND                            CANADA



CELLINK CORPORATION                    CELSOL SAPI DE CV                      CEMA ELEC LIGHTING PRODS INDIA PVT LTD
ATTN CHIEF EXECUTIVE OFFICER           DBA OPTIMA ENERGIA                     2ND FL, 18, NARAYANA REDDY LAYOUT
380 INDUSTRIAL RD, STE C                                                      3RD CROSS, 80 FT RD, 6TH BLOCK
SAN CARLOS, CA 94070                                                          KORAMANGALA
                                                                              BANGALORE, KARNATAKA 560034 INDIA



CEMDAG AYDINLATMA                      [NAME REDACTED]                        CENCORP AMERICAS LLC
ATTN PURCHASE DEPT                     [ADDRESS REDACTED]                     ATTN PRESIDENT
10007 SK NO 4, CIGLI                                                          3600 W MILITARY HWY, STE 1
IZMIR                                                                         MCALLEN, TX 78503
TURKEY



[NAME REDACTED]                        CENPLEX                                CENTER CUSTOM MACHINING LLC
[ADDRESS REDACTED]                     2400 RELIANCE AVE, STE A               2595 EAST HERITAGE PARKWAY
                                       APEX, NC 27539                         FARMINGTON, AR 72730-5516




CENTER FOR ARTIFICIAL VISION LLC       CENTER FOR CORPORATE INNOVATION, INC   CENTER FOR CREATIVE LEADERSHIP
ATTN MG MEMBER                         10150 NATIONAL BLVD                    ONE LEADERSHIP PLACE
41100 BRIDGE ST                        LOS ANGELES, CA 90034-3805             GREENSBORO, NC 27410-9427
NOVI, MI 48375




CENTER FOR RADIO FREQUENCY REGION 2    CENTER FOR SPACE SCIENCE & APPLIED     CENTER TESTING INTL (SHENZHEN) CO LTD
LOT 6 ZONE E, URBAN AN PHU             RESEARCH                               C BLDG, HONGWEI INDUSTRIAL PARK
AN KHANH, AN PHU WARD DIST 2           ATTN MASTER                            BAOAN 70 DISTRICT
HO CHI MINH 84                         80 ZHONGGUANCUN E RD, HAIDIAN DIST     SHENZHEN
VIETNAM                                BEIJING                                CHINA
                                       CHINA


CENTERPOINT PROPERTIES                 CENTERS FOR DISEASE CONT. &            CENTIMARK CORPORATION
1808 SWIFT DR, STE A                   PREVENTION                             12 GRANDVIEW CIRCLE
OAK BROOK, IL 60523                    1600 CLINTON ROAD                      CANONSBURG, PA 15317-8533
                                       ATLANTA, GA 30329-4027
                  Case 25-90163
CENTORR VACUUM INDUSTRIES, INC         Document
                                          CENTRAL87  FiledCOMMUNITY
                                                  CAROLINA in TXSB on  07/03/25 CENTRAL
                                                                    COLLEGE       Page CAROLINA
                                                                                        146 of 944
                                                                                                SCALE INC
55 NORTHEASTERN BLVD                       764 WEST STREET                       5393 FARRELL RD
NASHUA, NH 03062-3131                      PITTSBORO, NC 27312-882               SANFORD, NC 27330-7976




CENTRAL COAST MICROWAVE DESIGN LLC         CENTRAL DISTRICT OF CALIFORNIA        CENTRAL DISTRICT OF ILLINOIS
ATTN E JAMES CRESCENZI JR, PHD             BILAL A ESSAYLI                       GREGORY M GILMORE
640 ASHBY LN                               312 N SPRING ST, STE 1200             201 S VINE ST, STE 226
CAMBRIA, CA 93428                          LOS ANGELES, CA 90012                 URBANA, IL 61802




CENTRAL DISTRICT OF ILLINOIS               CENTRAL DISTRICT OF ILLINOIS          CENTRAL DISTRICT OF ILLINOIS
GREGORY M GILMORE                          GREGORY M GILMORE                     GREGORY M GILMORE
318 S SIXTH ST                             ONE TECHNOLOGY PLAZA                  STARCRES BLDG
SPRINGFIELD, IL 62701                      211 FULTON ST, STE 400                1830 SECOND AVE, STE 250
                                           PEORIA, IL 61602                      ROCK ISLAND, IL 61201



CENTRAL GLASS INTERNATIONAL INC            CENTRAL RESEARCH LAB-BEL              CENTRAL RESEARCH LABORATORY,
ATTN PRESIDENT                             BAHARAT ELECTRONICS LTD               BHARAT ELECTRONICS LTD
2033 GATEWAY PL, STE 569                   JALAHALLI POST                        JALAHALLI POST
SAN JOSE, CA 95110                         BANGALORE 560013                      BANGALORE 560013
                                           INDIA                                 INDIA



CENTRAL STATES INDUSTRIAL EQPT &           CENTRAL TRANSPORT LLC                 CENTRE FOR ADV SEMICONDUCTOR &
SERVICE INC                                12225 STEPHENS RD                     TECH -
ATTN BUS DEV LEADER                        WARREN, MI 48089                      MINISTRY OF DEFENCE
2310-106 PRESIDENTIAL DR                                                         DEFENCE RESEARCH & DEV ORG (DRDO)
DURHAM, NC 27703                                                                 TIMARPUR
                                                                                 DELHI 110054 INDIA


CENTRE FOR APPLIED RESEARCH IN             CENTRE NATIONAL D/ETUDES SPATLALES    CENTRE TESTING INTL (SHENZHEN) LTD
ELECTRONICS                                2 PL MAURICE QUENTIN CEDEX 01         ATTN MANAGER
INDIAN INSTITUTE OF TECHNOLOGY DELHI       PARIS 75039                           BLDG C, HONGWEI IND PARK
S AVENUE ST, 11T DELHI                     FRANCE                                BLOCK 70, BAOAN DISTRICT
HAUZ KHES                                                                        SHENZHEN, GUANGDONG 518101 CHINA
NEW DELHI 110016 INDIA


CENTREX TECHNICAL SALES                    CENTRICSIT LLC                        CENTRIFUGAL CONSULTANTS INC
2558 TURKEY CREEK ROAD                     3140 NORTHWOODS PARKWAY SUITE 700     P.O. BOX 72814
OILVILLE, VA 23129                         NORCROSS, GA 30071-4703               DURHAM, NC 27722




CENTRIFUGAL CONSULTANTS LLC                CENTRISYS CORP                        CENTRO RICERCHE PLAST-OPTICA SPA
ATTN PRESIDENT                             ATTN VICE PRESIDENT                   CORP
4309 GUESS RD                              9586 58TH PL                          ATTN DR SABINO SINESI, TECH DIR
HILLSBOROUGH, NC 77278                     KENOSHA, WI 53144                     V JACOPO LINUSSIO 1
                                                                                 AMARO 33020
                                                                                 ITALY


CENTROTHERM INTERNATIONAL AG               CENTROTHERM TECHNOLOGIES              CENTROTHERM USA INC
ATTN: ROLAND BRUNNER, DIRECTOR SALES       ATTN PRES & CEO                       3850 NE 30TH AVENUE
WUERTTEMBERGER STR. 31                     111 DEERWOOD RD, STE 200              HILLSBORO, OR 97124
BLAUBEUREN 89143                           SAN RAMON, CA 94583
GERMANY



CENTURION CONSTRUCTION CO INC              CENTURION CONSTRUCTION CO INC         CENTURION CONSTRUCTION
ATTN TODD A JONES, REGISTERED AGENT        P.O. BOX 90907                        ATTN HR PAYROLL
1305 NAVAHO DR, STE 303                    RALEIGH, NC 27675-0907                3301 GLEN ROYAL RD
RALEIGH, NC 27609                                                                RALEIGH, NC 27617
                  Case 25-90163
CENTURY CIRCUITS INC                Document 87
                                       CENTURY    FiledTECHNOLOGY
                                               CIRCUITS in TXSB onLTD07/03/25 CENTURY
                                                                                Page 147   of 944INC
                                                                                      INDUSTRIES
ATTN CFO                                UNITS 1605-1609, 16/F, TOWER I          ATTN VICE PRESIDENT
3241 KENNEDY RD                         EVER GAIN PLAZA, 88 CONTAINER PORT RD   5645 ROYALMOUNT AVE
TORONTO, ON M1V 2J8                     KWAI CHUNG, NT                          MONTREAL, QC B4P 2P9
CANADA                                  HONG KONG                               CANADA



CENTURY SECURITY & COMMUNICATIONS       CENTURYLINK COMMUNICATIONS LLC          CERAC INC
INC                                     DBA LUMEN TECHNOLOGIES GROUP            ATTN VICE PRESIDENT & GEN MGR
ATTN DESIGN ENGINEER                    ATTN LEGAL-BANKRUPTCY                   407 N 13TH ST
2100 CLARENCE AVE                       1025 EL DORADO BLVD                     MILWAUKEE, WI 53202
RACINE, WI 53405                        BROOMFIELD, CO 80021



CERAGON NETWORKS AS                     CERAGON NETWORKS LTD                    CERAMERIC LLC DBA SEMIXICON
ATTN EVP, GLOBAL PRODS                  ATTN VP RADIO TECH                      46560 FREMONT BLVD SUITE 117
KOKSTADVEIEN 23                         24 RAOUL WALLENBERG ST                  FREMONT, CA 94538-6484
KOKSTAD N-5257                          TEL-AVIV 69719
NORWAY                                  ISRAEL



CERAMIC TECH INC                        CERAMICFORUM CO., LTD                   CERAVISION LTD
46211 RESEARCH AVE                      3-19-6, KANDA, NISHIKI-CHO, CHIYODA     ATTN GEN COUNSEL
FREMONT, CA 94539                       TOKYO 1010054                           SOVEREIGN COURT, 230M UPPER 5TH ST
                                        JAPAN                                   CENTRAL MILTON KEYNES
                                                                                BUCKINGHAMSHIRE MK9 2HR UNITED
                                                                                KINGDOM


CERES INC                               CERIUM LABORATORIES                     CERNO LLC
99 CHAUNCY STREET 6TH FLOOR             5204 EAST BEN WHITE BLVD                ATTN DIRECTOR
BOSTON, MA 02111-1703                   AUSTIN, TX 78741-7306                   1751 MCGAW AVE
                                                                                IRVINE, CA 92614




CERNO LLC                               CERO SYSTEMS LLC                        CERO SYSTEMS LLC
ATTN MEMBER                             ATTN PRESIDENT                          ATTN PRESIDENT
2471 LAGUNA CANYON RD                   1472 W 105 N, STE P                     4387 E SELENA DR
LAGUNA BEACH, CA 92651                  OREM, UT 84057                          PHOENIX, AZ 85050




CERTA KFT                               CERTENT INC                             CERTIFICATION & CALIBRATION SVCS
ATTN TECH & SALES LEADER                ATTN CHIEF EXECUTIVE OFFICER            1 TUPPERWARE DRIVE
H-3980 SATORALJAUJHELY                  4683 CHABOT DR, STE 260                 UNIT 332
BERCKI UTCA 18-28                       PLEASANTON, CA 94588                    NORTH SMITHFIELD, RI 02896
HUNGARY



CERTIFIED SECURITY SOLUTIONS INC        CERTIFIGROUP INC                        CERTUM SRL
ATTN VP                                 ATTN ENG MANAGER                        ATTN CHIEF EXECUTIVE OFFICER
6050 OAK TREE BLVD                      2200 GATEWAY CTR BLVD, STE 215          VIA ANNA MARIA ORTESE 7
INDEPENDENCE, OH 44131                  MORRISVILLE, NC 27560                   POTENZA 85100
                                                                                ITALY



CES GROUP LLC                           [NAME REDACTED]                         [NAME REDACTED]
3525 WHITEHALL PK DR, STE 150           [ADDRESS REDACTED]                      [ADDRESS REDACTED]
CHARLOTTE, NC 28273




CETERA (0701)                           CEVA FREIGHT LLC                        CEVA INTERNATIONAL INC
ATT ANGELA HANDELAND/PROXY MGR          15350 VICKERY DR                        75 N BRIDGE ST, 77
400 1ST ST SOUTH                        HOUSTON, TX 77032                       SOMERVILLE, NJ 08876-1918
STE 300
ST. CLOUD, MN 56301
CFD RESEARCH CORP Case 25-90163 Document  87 Filed
                                   CFD RESEARCH  CORPin TXSB on 07/03/25 CFD
                                                                           Page  148 of
                                                                             RESEARCH     944
                                                                                       CORPORATION
ATTN DANDREA COLEMAN, SUBCONTRACT  ATTN SAMEER SINGHAL                   ATTN CONTRACTS MGR
ADMIN                              701 MCMILLAN WAY, STE D               215 WYNN DR
6820 MOQUIN DR NW                  HUNTSVILLE, AL 35806                  HUNTSVILLE, AL 35805
HUNTSVILLE, AL 35806



CFE INC                              CFTG INC                             CGMP VALIDATION LLC
DBA EVANS ROOFING CO                 DBA DOCURATED                        ATTN PRESIDENT
ATTN VP                              ATTN CEO & PRES                      4770 N BELLEVIEW AVE, STE 201
2026 PRODUCTION DR                   59 CHELSEA PIERS, STE 200            KANSAS CITY, MO 64116
APEX, NC 27502                       NEW YORK, NY 10011



CGR PRODUCTS INC                     CH ROBINSON WORLDWIDE INC            CH2M HILL ENGINEERS INC
ATTN PRESIDENT                       ATTN VICE PRESIDENT                  ATTN VP
4655 US 20 N                         14701 CHARLSON RD                    9191 S JAMAICA ST
GREENSBORO, NC 27405                 EDEN PRAIRIE, MN 55347               ENGLEWOOD, CO 80112




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




CHADWICK INC                         [NAME REDACTED]                      [NAME REDACTED]
ATTN GENERAL MGR                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]
215 SOUTHPORT DR, STE 400
MORRISVILLE, NC 27560




[NAME REDACTED]                      CHAIN LOGIC (SHANGHAI) INTL CORP     CHAINWORKS INC
[ADDRESS REDACTED]                   2F, NO 988, WENSHAN RD               ATTN PRESIDENT
                                     LITOUSHAN SEC XINPU TOWNSHIP         3255 HART RD
                                     HSINCHU 305043                       JACKSON, MI 49201
                                     TAIWAN



[NAME REDACTED]                      [NAME REDACTED]                      CHALMERS UNIVERSITY OF TECHNOLOGY
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   EKLANDAGATAN 86
                                                                          GOTHENBURG 412 96
                                                                          SWEDAN




CHAMBER OF COMMERCE LUXEMBOURG       [NAME REDACTED]                      [NAME REDACTED]
7 RUE ALCIDE DE GASPERI              [ADDRESS REDACTED]                   [ADDRESS REDACTED]
LUXEMBOURG 2981
LUXEMBOURG




CHAMBERLIAN GROUP INC, THE           CHAMBERS PROCESS ENGINEERING PA      [NAME REDACTED]
ATTN DIR OF INTELLECTUAL CAPITAL     ATTN PRESIDENT                       [ADDRESS REDACTED]
845 LARCH AVE                        2 N FRONT ST, 8TH FL
ELMHURST, IL 60126                   WILMINGTON, NC 28401




CHAMP TECH OPTICAL (FOSHAN) CORP     [NAME REDACTED]                      [NAME REDACTED]
ATTN KENNY CHEN                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]
NO.35, HUABAO NORTH RD
CHEGXI INDUSTRIAL ZONE
FOSHAN, GUANGDONG 528051 CHINA
                 Case
CHAMPION DESIGNING  INC. 25-90163   Document 87MANUFACTURING
                                       CHAMPION  Filed in TXSB
                                                             (HK)on
                                                                 CO 07/03/25
                                                                    LTD        Page 149
                                                                             CHAMPION    of 944GROUP INC
                                                                                      SOLUTIONS
8951 MICHIGAMME RD                      ATTN SALES DIR                           ATTN CFO
CLARKSTON, MI 48348-3439                UNIT H, 3/F, CENTURY INDUSTRIAL CENTRE   791 PARK OF COMMERECE BLVD
                                        33-35 AU PUI WAN ST                      BOCA RATON, FL 33487
                                        FO TAN, NT HONG KONG



CHAMPION SYSTEMS INC                    [NAME REDACTED]                          [NAME REDACTED]
ATTN PRESIDENT                          [ADDRESS REDACTED]                       [ADDRESS REDACTED]
206 HILLSTONE DR
JAMESTOWN, NC 27282




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]




CHANCE MORE ELECTRONICS TECHNOLOGY      [NAME REDACTED]                          [NAME REDACTED]
CO LTD                                  [ADDRESS REDACTED]                       [ADDRESS REDACTED]
ATTN TONY HSIANG
N0 12, GONGYECYU 1ST RD, SITUN DIST
TAICHUNG CITY 407
TAIWAN


CHANDRA, ARUNIKA                        [NAME REDACTED]                          CHANG GUNG UNIVERSITY TAIWAN
1000 MCQUEEN DR, APT 9201               [ADDRESS REDACTED]                       CENTRE FOR RELIABILITY SCIENCES & TECH
DURHAM, NC 27705                                                                 ATTN DIRECTOR
                                                                                 259 WEN-HWA 1ST RD, KWEI-SHAN
                                                                                 TAO-YUAN 33302 TAIWAN



CHANG WAH ELECTROMATERIALS INC          CHANG WAY INDUSTRIES CO., LTD.           [NAME REDACTED]
ATTN PR TPE OFFICE                      NO.3, ALLEY 26, LANE 313 SEC.1 PAO       [ADDRESS REDACTED]
7F NO 35 LANE, 221 GANGCIAN RD          NEW TAIPEI CITY 31326
NEIHU DIST, TAIPEI                      TAIWAN
TAIWAN



[NAME REDACTED]                         [NAME REDACTED]                          CHANGNAM I.N.T LTD
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       ATTN BB KIM, PRESIDENT
                                                                                 CHANGNAM BD 308-2, 1GA DANGSAN-DONG
                                                                                 YOUNGDEUNGPO-GU
                                                                                 SEOUL SOUTH KOREA



CHANGNAM INT LTD                        CHANGZHOU CORE ENERGY                    CHANGZHOU FUXING
ATTN BB KIM, PRES                       SEMICONDUCTOR CO LTD                     ELECTRICAL APPLIANCE CO LTD
1GA DANGSAN-DONG, CHANGNAM BD           NO 5, XINZHU RD, XINBEI DIST             NO 20 DONGFANG SOUTH RD
YOUNGDEUNGPO-GU                         CHANGZHOU CITY                           WUJIN ECONOMIC DEVELOPMENT ZONE
SEOUL 308-2 SOUTH KOREA                 JIANGSU PROVINCE                         CHANGZHOU, JIANGSU CHINA
                                        CHINA


CHANGZHOU QIANFAN MICROELECTRONICS-     CHANGZHOU RIXIANG DRYING EQUIPMENT       CHANGZHOU WUJIN LIANHUA ELECTRONICS
COMPONENT CO LTD                        CO LTD                                   CO LTD
BUYI INDUSTRIAL PARK, ZHONGLOU DIST     R10, 266 XIHOU HENGGOU, ZHENLU TOWN      CHANGHONG INDL PARK
CHANGZHOU CITY                          TIANNING DIST, CHANGZHOU CITY            HUTANG TOWN
JIANGSU PROVINCE 213002 CHINA           JIANGSU 213003                           CHANGZHOU, JIANGSU 213162
                                        CHINA                                    CHINA


CHANNEL 5 KORE INC                      CHANNEL MARKETING GROUP INC              CHANNEL NAVIGATOR INC
43 DIGITAL-RO 34-GIL                    ATTN PRINCIPAL                           2848 W LELAND AVE
SEOUL 08378                             12520 RIBBONGRASS CT                     CHICAGO, IL 60625
SOUTH KOREA                             RALEIGH, NC 27614
                  Case 25-90163
CHANNELADVISOR CORPORATION            Document 87 RESOURCES
                                         CHANNELED Filed in TXSB
                                                             INC on 07/03/25 [NAME
                                                                               Page  150 of 944
                                                                                   REDACTED]
ATTN CHIEF EXECUTIVE OFFICER              ATTN DIVISION MGR                       [ADDRESS REDACTED]
2701 AERIAL CENTER PKWY                   240 N ASHLAND AVE, STE 130
MORRISVILLE, NC 27560                     CHICAGO, IL 60607




CHAO ZHOU THREE-CIRCLE GROUP CO LTD       CHAOS NAVIGATION INC                    [NAME REDACTED]
ATTN SALES DIR                            324 HAMPTON ST                          [ADDRESS REDACTED]
SANHUAN IND DIS, FEGNTANG                 WAYZATA, MN 55391
CAHOZHOU, GUANGDONG 515646
CHINA



[NAME REDACTED]                           [NAME REDACTED]                         CHAPMAN INSTRUMENTS
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      3 TOWNLINE CIR
                                                                                  ROCHESTER, NY 14623




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           CHAPTER 13 OFFICE                       CHAPTER 13 TRUSTEE - RALEIGH
[ADDRESS REDACTED]                        RE: B-1680025 C-13D                     RE: 24-03994-5-DMW
                                          P.O. BOX 1720                           P.O. BOX 61039
                                          GREENSBORO, NC 27402-1720               RALEIGH, NC 27661




[NAME REDACTED]                           CHARGEPOINT LLC                         CHARLES & COLVARD DIRECT LLC
[ADDRESS REDACTED]                        254 EAST HACIENDA AVENUE                ATTN LEGAL
                                          CAMPBELL, CA 95008-6617                 170 SOUTHPORT DR
                                                                                  MORRISVILLE, NC 27560




CHARLES & COLVARD LTD                     CHARLES & COLVARD LTD                   CHARLES A GAETANO CONSTRUCTION
ATTN PRES & CEO                           C/O WYRICK ROBBINS YATES & PONTON LLP   CORPORATION
300 PERIMETER PARK DR, STE A              ATTN SAMUEL A SLATER, ESQ               258 GENESEE STREET
MORRISVILLE, NC 27560                     4101 LAKE BOONE TRL, STE 300            UTICA, NY 13502-4636
                                          RALEIGH, NC 27607



CHARLES AND COLVARD (C&C)                 CHARLES EVANS & ASSOCIATES INC          CHARLES EVANS AND ASSOCIATES
[ADDRESS REDACTED]                        ATTN VP ANALYTICAL SVCS                 ATTN VP & GNR MGR
                                          301 CHESAPEAKE DR                       810 KIFER RD
                                          REDWOOD CITY, CA 94063                  SUNNYVALE, CA 94086
[NAME REDACTED] Case 25-90163         Document 87
                                         CHARLES    FiledWORKS
                                                 MACHINE  in TXSB    on 07/03/25 CHARLES
                                                               INC, THE            Page R151 of 944 INC
                                                                                          UNDERWOOD
[ADDRESS REDACTED]                        DBA DITCH WITCH                       2000 BOONE TRAIL ROAD
                                          ATTN PRESIDENT                        SANFORD, NC 27330-8639
                                          1959 W FIR AVE
                                          PERRY, OK 73077



CHARLES RICHTER METAL STAMPING AND-       CHARLES ROSS & SON COMPANY            CHARLES SCHWAB & CO. (0164)
SPINNING CORP                             710 OLD WILLETS PATH                  ATT CHRISTINA YOUNG/PROXY MGR
ATTN PRESIDENT                            HAUPPAUGE, NY 11788-4102              2423 EAST LINCOLN DR
80 COTTAGE ST                                                                   PHOENIX, AZ 85016-1215
WALLKILL, NY 12589



CHARLES STARK DRAPER LABORATORY           CHARLES TAYLOR CONSULTING             CHARLEVOIX DESIGN SERVICES INC
INC, THE                                  DBA CHARLES TAYLOR ADJUSTING          ATTN PRES
ATTN CFO                                  STE 1010, BOW VALEY SQUARE 4          6949 US 31 N
555 TECHNOLOGY SQ                         250 6TH AVE, SW                       CHARLEVOIX, MI 49720
CAMBRIDGE, MA 02139                       CALGARY, AB T2P 3H7 CANADA



CHARLOTTE SCALE CO INC                    CHARMING CHARLIE INC                  CHARMING CHARLIE INC
ATTN PRESIDENT                            5999 SAVOY DR, STE 310                C/O BOYER JACOBS SHORT
1510 AMERON DR                            HOUSTON, TX 77057                     ATTN FRED W STUMPF
CHARLOTTE, NC 28206                                                             9 GREENWAY PLZ, STE 3100
                                                                                HOUSTON, TX 77046



[NAME REDACTED]                           [NAME REDACTED]                       CHARTIS EUROPE S.A.
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    ATTN DEP ENG MGR
                                                                                PLEINLAAN 11
                                                                                BRUSSELS B-1050
                                                                                BELGIUM



CHARTIS EXECUTIVE LIABILITY               CHARTIS INC                           CHASE CORP
220 W KINZIE ST, 3RD FLOOR                DBA WORLDSOURCE                       ATTN PRESIDENT
CHICAGO, IL 60654                                                               26 SUMMER ST
                                                                                BRIDGEWATER, MA 02324




CHASE COUNTERFLY LLC                      [NAME REDACTED]                       [NAME REDACTED]
ATTN SR CONSULTANT                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]
401 N TRYON ST, STE 1049
CHARLOTTE, NC 28202




CHATHAM CHAMBER OF COMMERCE               CHATHAM COUNTY PARTNERSHIP FOR CHIL   CHATHAM COUNTY SCHOOLS
531 EAST 3RD STREET                       220 CHATHAM BUSINNESS DR              CHATHAM COUNTY BOARD OF EDUCATION
SILER CITY, NC 27344-3235                 P.O. BOX 637                          P.O. BOX 128
                                          PITTSBORO, NC 27312                   PITTSBORO, NC 27312




CHATHAM COUNTY TAX OFFICE                 CHATHAM COUNTY, NORTH CAROLINA        CHATHAM COUNTY, NORTH CAROLINA
P.O. BOX 697                              ATTN: DAN LAMONTAGNE, COUNTY          ROBERT E. HAGEMANN
PITTSBORO, NC 27312                       MANAGER                               301 FAYETTEVILLE ST., SUITE 1900
                                          12 EAST STREET, P.O. BOX 1809         RALEIGH, NC 27601
                                          PITTSBORO, NC 27312



CHATHAM EDUCATION FOUNDATION              CHATHAM HABITAT FOR HUMANITY          CHATHAM OUTREACH ALLIANCE INC
P.O. BOX 1518                             467 WEST STREET                       40 CAMP DRIVE
PITTSBORO, NC 27312                       PITTSBORO, NC 27312                   PITTSBORO, NC 27312
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  152 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




CHAUN-CHOUNG TECHNOLOGY CORP        CHAUS ELECTRICAL CO LTD            [NAME REDACTED]
ATTN SALES DIRECTOR                 ATTN QA MGR                        [ADDRESS REDACTED]
12F NO 123-1 HSING-DE RD            NO. 24, TANGJIAO RD
SANCHUNG                            CHANGPING
TAIPEI 241 TAIWAN                   DONGGUAN, GUANGDONG 523578 CHINA



[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




CHCALE, ROBERT                      [NAME REDACTED]                    [NAME REDACTED]
C/O HEWSON & VAN HELLEMONT PC       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
ATTN ANDY J VANBROKHORST
625 KENMOOR AVE SE, STE 304
GRAND RAPIDS, MI 49546
                 Case
CHECKERS INDUSTRIAL      25-90163
                     PRODUCTS LLC   Document 87 TECHNOLOGIES
                                       CHECKPOINT Filed in TXSB
                                                              LLCon 07/03/25 [NAME
                                                                               Page  153 of 944
                                                                                   REDACTED]
ATTN DIRECTOR ENGR                      66 BONAVENTURA DR                     [ADDRESS REDACTED]
216 ALMA SCHOOL RD, STE 8               SAN JOSE, CA 95134
MESA, AZ 85210




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         CHEERFRONT INTERNATIONAL              [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN PRESIDENT                        [ADDRESS REDACTED]
                                        SUITE 1517, THE CENTRAL TOWER 88
                                        FU HUA 1ST RD, FU TIAN DISTRICT
                                        SHENZHEN, GUANGDONG 518048 CHINA



CHEIRON CORP                            [NAME REDACTED]                       CHEMANALYTICAL LLC
ATTN PRES                               [ADDRESS REDACTED]                    ATTN PRESIDENT
1071 WRENS GATE                                                               20 OFFICE PARK WAY
MUNDELEIN, IL 60060                                                           PITTSFORD, NY 14534




CHEM-AQUA INC                           CHEMAT TECHNOLOGY INC                 CHEMCO MANUFACTURING COMPANY INC
P.O. BOX 152170                         ATTN PRES                             ATTN ACCOUNT EXEC
IRVING, TX 75015-2170                   9036 WINNETKA AVE                     515 HUEHL RD
                                        NORTHRIDGE, CA 91324                  NORTHBROOK, IL 60062




CHEMICAL THECNOLOGY INC                 CHEMICALLY SPEAKING LLC               CHEMIMAGE CORP
ATTN VP & DIRECTOR                      ATTN PRESIDENT                        ATTN COO
1511 SOUTH BENJAMIN AVE                 26 CASPER BERGER RD                   7301 PENN AVE
MASON CITY, IA 50401                    WHITEHOUSE STATION, NJ 08889          PITTSBURGH, PA 15208




CHEMNITZ POWER LABS GMBH                CHEMRING SENSORS & ELECTRONIC         CHEM-SOLV INC
TECHNOLOGIE-CAMPUS 1                    SYSTEMS INC                           1140 INDUSTRY AVE SE
CHEMNITZ 09126                          ATTN DIRECTOR OF CONTRACTS            ROANOKE, VA 24013
GERMANY                                 23031 LADBROOK DR
                                        DULLES, VA 20166



CHEMSOLV LLC                            CHEMSPEED TECHNOLOGIES INC            CHEMTECH PLASTICS INC
ATTN MANUFACTURERS REP                  113 NORTH CENTER DRIVE                ATTN CEO
102 EPWORTH DR                          NORTH BRUNSWICK TOWNSHIP, NJ 08902-   765 CHURCH ST
JACKSONVILLE, NC 28546                  4909                                  ELGIN, IL 60123




CHEMTRACE INC                           CHEMTREAT INC                         CHEMTURA CORP
ATTN PRESIDENT                          ATTN SR MGR, CONTRACTS                ATTN GENERAL MGR
44050 FREMONT BLVD                      5640 COX RD                           199 BENSON RD
FREMONT, CA 94538                       GLEN ALLEN, VA 23060                  MIDDLEBURY, CT 06749
CHEN HUI            Case 25-90163 Document  87 Filed in TXSB on 07/03/25 [NAME
                                     [NAME REDACTED]                       Page  154 of 944
                                                                               REDACTED]
                                              [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                               [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                            [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                               [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                            [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                               [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                            [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                               [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                            [ADDRESS REDACTED]                   [ADDRESS REDACTED]




CHENGDU AIERSHA PROPERTY MARKETING            CHENGDU BAIYANG JIAXIN PROPERTY      CHENGDU HERCULUX PHOTOELECTRIC
CO., LTD.                                     SERVICE CO LTD                       TECH CO LTD
NO.4, 11TH FLOOR, BUILDING 3, 88 JITAI FIVE   UNIT 1309, BAIYANG TOWER             ATTN CHIEF EXECUTIVE OFFICER
ROAD                                          NO.18 DONGYU ST, JINJIANG DIST       RM 501-505 COMPREHENSIVE SERVICE BLDG
HIGH-TECH ZONE, PILOT FREE TRADE ZONE         CHENGDU, SICHUAN 610016              CLOUD VALLEY INNOVATION IND PARK
CHENGDU, SICHUAN                              CHINA                                NANSHAN DIST, SHENZHEN CHINA
CHINA

CHENGDU HICREAT PHOTOELECTRIC TECH            CHENGDU UNIVERSITY OF                [NAME REDACTED]
CO LTD                                        INFORMATION TECHNOLOGY               [ADDRESS REDACTED]
BLDG 6, 355 TENGFEI RD 2                      NO.24,SECTION1,XUEFU RD,SW AIRPORT
XIHANGGANG ECONOMIC DEVELOPMENT               CHENGDU 610000
ZONE                                          CHINA
SHUANGLIU
CHENGDU CHINA

CHENZHOU PRODUCT & COMMODITY                  [NAME REDACTED]                      CHEP INTERNATIONAL INC
QUALITY -                                     [ADDRESS REDACTED]                   ATTN VP, SUPPLY CHAIN LIGHTING
SUPERVISION & INSPECTION INSTITUTE                                                 1111 HAMMOND DR
NO 315, CHENJIANG ROAD                                                             ATLANTA, GA 30346
CHENZHOU CITY
HUNAN PROVINCE CHINA


CHERION CONSULTING                            [NAME REDACTED]                      CHEROKEE INSTRUMENTS INC
ATTN PRINCIPAL                                [ADDRESS REDACTED]                   C/O AMP-CHEROKEE
1071 WRENS GATE                                                                    100 LOGAN CT
MUNDELEIN, IL 60060                                                                ANGIER, NC 27501




[NAME REDACTED]                               CHERRY BEKAERT ADVISORY LLC          CHERRY BEKAERT LLP
[ADDRESS REDACTED]                            200 S. 10TH STREET                   200 SOUTH 10TH STREET, SUITE 910
                                              RICHMOND, VA 23219-4064              RICHMOND, VA 23219-4064
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  155 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




CHERY, MEGAN                             [NAME REDACTED]                     [NAME REDACTED]
                                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                          CHESAPEAKE ADVANCED TECHNOLOGIES,   CHESAPEAKE GENERAL DISTRICT COURT
[ADDRESS REDACTED]                       LLC                                 RE: GV21012203-03
                                         228 WEST MAIN STREET, SUITE 1-10    307 ALBEMARLE DRIVE
                                         SALISBURY, MD 21801                 SUITE 200 B
                                                                             CHESAPEAKE, VA 23322-5578



[NAME REDACTED]                          [NAME REDACTED]                     CHEUNG HING INTERNATIONAL CO
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  ATTN DIRECTOR
                                                                             8/F, KAM LUNG COM, CTR 2 HART AVE
                                                                             TSIM SHA TSUI
                                                                             HONG KONG



[NAME REDACTED]                          [NAME REDACTED]                     CHEVALIER MACHINERY INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  ATTN VP
                                                                             9925 TABOR PL
                                                                             SANTE FE SPRINGS, CA 90670




CHEVRON CORPORATION                      [NAME REDACTED]                     CHHABRA, KRISHAN GOPAL
1400 SMITH ST                            [ADDRESS REDACTED]                  H NO 16-B, RD NO 40
HOUSTON, TX 77002                                                            PUNJABI BAGH WEST
                                                                             NEW DELHI 110026
                                                                             INDIA



[NAME REDACTED]                          [NAME REDACTED]                     CHHABRA, SUNIL
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  S-269, GREATER KAILASH, PART II
                                                                             NEW DELHI 110048
                                                                             INDIA




[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




CHI MEI LIGHTING TECHNOLOGY CORP         [NAME REDACTED]                     [NAME REDACTED]
ATTN PRESIDENT                           [ADDRESS REDACTED]                  [ADDRESS REDACTED]
NO.12 FONGLING RD, XINSHI SHIANG
TAINAN COUNTY 744
TAIWAN



CHICAGO BOARD OPTIONS EXCHANGE INC       CHICAGO INDUSTRIAL PUMP CO          CHICAGO LIGHTING INC
ATTN CATHERINE STEINMETZ                 DBA PITBULL INDUSTRIAL PUMPS        ATTN PRESIDENT
400 S LASALLE ST                         ATTN OFFICE MGR                     517 W GOLF RD
CHICAGO, IL 60605                        822 SCHNEIDER DR                    ARLINGTON HEIGHTS, IL 60005
                                         SOUTH ELGIN, IL 60177
CHICAGO TITLE LANDCase
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                                        CHICAGO87   Filed INC
                                                UNLIMITED  in TXSB on 07/03/25 CHICAGO
                                                                                 Page WHITE
                                                                                       156 of 944CASTING INC
                                                                                            METAL
C/O GOTTLIEB PROPERTIES                  DBA ON THE SCENE CHICAGO               ATTN DIR SALES
ATTN MANAGER                             ATTN MANAGING PARTNER                  649 N ROUTE 83
1323 BUTTERFIELD RD, STE 100             500 N DEARBORN ST, STE 550             BENSENVILLE, IL 60106-1382
DOWNERS GROVE, IL 60515                  CHICAGO, IL 60654



CHICHIBU DENSHI CORP                     CHICK-FIL-A                            CHICKTECH
ATTN PRESIDENT                           ATTN MANAGER                           107 SE WASHINGTON ST
1111 SHIMOOGANA OGANI-MACHI              5200 BUFFINGTON RD                     PORTLAND, OR 97214-2114
CHICHIBU-GUN                             ATLANTA, GA 30349
SAITAMA 368-0101 JAPAN



[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




CHIEN LUEN INDUSTRIES CO LTD INC         [NAME REDACTED]                        CHILD SUPPORT INDIANA
ATTN GM                                  [ADDRESS REDACTED]                     RE: 0007901595 (ORIGINAL)
1967 NW 22ND ST                                                                 P.O. BOX 6219
OAKLAND PARK, FL 33311                                                          INDIANAPOLIS, IN 46206-6219




CHILD SUPPORT VA                         CHILD SUPPORTAL                        [NAME REDACTED]
RE: 0004846583 (ORIGINAL)                RE: 694160 (ORIGINAL)                  [ADDRESS REDACTED]
P.O. BOX 570                             P.O. BOX 244015
RICHMOND, VA 23218                       MONTGOMERY, AL 36124-4015




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




CHINA CERTIFICATION & INSPECTION         CHINA ELECTRIC MFG CORP                CHINA ELECTRIC MFG CORP
GROUP-                                   ATTN CEO                               ATTN PRES
GUNGDONG CO LTD                          NO 9, SEC 2, CHUNG SHIAW E RD          17F, NO 150 JINA-YI RD
17-18/F. W TOWER, NO. 66                 TAIPEI CITY 100                        CHUNG-HO CITY
HUACHANG DA DAO, ZHUJIANG NEW TOWN       TAIWAN                                 TAIPEI TAIWAN
GUANGZHOU CHINA


CHINA JIANGSU INTERNATIONAL ECONOMIC-    CHINA NIL RESEARCH CENTER              CHINA POSTAL EXPRESS LOGISTICS LTD
TECHNICAL COOPERATION CORPORATION        FOR PROFIENCY TESTING                  NO.14 TAIPINGHUDONGLI
ATTN SALES MGR                                                                  XUANWUMEN W ST NO.127
10/F CHUNFEG, BLDG 37, HUA QIAO RD                                              XICHENG DISTRICT
NANJING 210029 CHINA                                                            BEIJING 100031 CHINA



CHINA POWER SUPPLY SOCIETY               CHINA PRECISION DIE CASTING INC        CHINA TELECOM CORP LTD BEIJING BRANCH
16TH FLOOR,DATONG BUILDING,NO. 467       ATTN SALES SUPERVISOR                  NO 31, JINRONG ST
TIANJIN 300000                           172 CHUNG YUAN RD                      XICHENG DISTRICT
CHINA                                    CHUNG-LI 32068                         BEIJING 100033
                                         TAIWAN                                 CHINA



CHINCOOK POWER TECHNOLOGIES LLC          CHINESE UNIVERSITY OF HONG KONG, THE   CHING MING ALUMINUM DIE CASTING MFY
ATTN VP                                  RM 201 HUI YEUNG SHING BLDG            LTD
25977 SW CANYON CREEK RD, STE G          SHATIN NT                              ATTN SALES MANAGER
WILSONVILLE, OR 97070                    HONG KONG                              11/F, TUNG LUEN IND, BLDG
                                                                                1-4 YIP SHING ST, CASTLE PEAK RD
                                                                                KWAI CHUNG HONG KONG
[NAME REDACTED] Case 25-90163           Document
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                                                    ELECTRONIC   TXSB on  LTD07/03/25 CHIP
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                                                                                           ONE 157
                                                                                               STOP of
                                                                                                    INC.944
[ADDRESS REDACTED]                           NO. 228, HUAIDE RD, HUAIDE               LIVMO RISING BLDG. 10F, 3-19-1 SHIN
                                             1, NAN WO, CHANG AN VILL                 YOKOHAMA 2228525
                                             HU-KOU HSIANG                            JAPAN
                                             HSIN-CHU HSIEN TAIWAN



CHIP SEMICONDUCTOR LLC                       CHIP SUPPLY DBA MICROSS COMPONENTS       CHIP SYSTEMS INTERNATIONAL INC
ATTN PARTNER                                 1810 SOUTH ORANGE BLOSSOM TRAIL          ATTN ENGINEER
P.O. BOX 342343                              APOPKA, FL 32703-9419                    1 CSI DR
AUSTIN, TX 78734                                                                      P.O. BOX 68
                                                                                      SCOTTS, MI 49088



CHIPBOND TECHNOLOGY CORP                     CHIPCAD ELECTRONICS DIST LTD             CHIPPAC INC
ATTN PRESIDENT                               ATTN TAMAS HOLMAN                        ATTN GEN COUNSEL
NO 3, LIXING 5TH RD                          TUZOLTO U 31                             47400 KATO RD
HSINCHU SCIENCE PARK                         BUDAPEST H-1094                          FREMONT, CA 94538
HSINCHU 300094 TAIWAN                        HUNGARY



CHIPS 4 LIGHT GMBH                           CHIPS 4 LIGHT GMBH                       CHIPWORKS INC
ATTN DR WOLFGANG HUBER                       ATTN WOLFGANG HUBER                      ATTN CFO
NURNBERGER STRASSE 13A                       JOHANN-IGL-WEG 11                        1891 ROBERTSON RD, STE 500
ETTERZHAUSEN 93152                           REGENSBERG 93051                         OTTAWA, ON K2H 5B7
GERMANY                                      GERMANY                                  CANADA



[NAME REDACTED]                              [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                          CHIYODA INTEGRE OF AMERICA
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                       ATTN SALES ENGINEER
                                                                                      303 H ST, STE 370
                                                                                      CHULA VISTA, CA 91910




CHLORIDE SYSTEMS                             [NAME REDACTED]                          [NAME REDACTED]
ATTN ELECTRICAL ENGINEER                     [ADDRESS REDACTED]                       [ADDRESS REDACTED]
272 STAG PARK SERVICE RD
BURGAW, NC 28425




[NAME REDACTED]                              CHOICEWELL BEIJING INFOTECH CO.,LTD      [NAME REDACTED]
[ADDRESS REDACTED]                           FLOOR 5, SOUTH TOWER, AVIATION           [ADDRESS REDACTED]
                                             TECHNOLOGY BUILDING
                                             NO. 58 BEIYUAN ROAD, CHAOYANG DISTRICT
                                             BEIJING 100022
                                             CHINA


CHONBUK NATIONAL UNIVERSITY                  CHONG SIMPSON                            CHONG WING FUKEN JIDIAN SHEBEI CO LTD
ATTN PROFESSOR
567 BAEKJE-DAERO
DEOKJIN-GU
JEONJU-SI, JEOLLABUK-DO 561-756 SOUTH
KOREA


[NAME REDACTED]                              [NAME REDACTED]                          CHONGQING ADVANCED SILICON
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                       TECHNOLOGY CO LTD
                                                                                      NO.5-188, YUNHAN AVENUE, LIANGJIANG
                                                                                      CHONGQING 400700
                                                                                      CHINA
                 Case
CHONGQING INSTITUTE      25-90163
                     OF TECHNOLOGY   Document 87 SILIAN
                                        CHONGQING FiledOPTOELECTRONICS
                                                        in TXSB on 07/03/25
                                                                       -      Page 158
                                                                            CHONGQING   of 944
                                                                                      WEILAN HUMAN RESOUR SVC
NO 4, XINGSHENG RD, YANGJIAPING          SCIENCE & TECHNOLOGY LTD                 CO LTD
CHONGPING                                NO 99 TONGXI RD                          97 FANGHUA RD
CHINA                                    CAIJIAGANG TOWN, BEIBEI DISTRICT         YUBEI DIST
                                         CHONGQING CHINA                          CHONGQING
                                                                                  CHINA


[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




CHOUSEN ELECTRONICS (SHENZHEN) CO        [NAME REDACTED]                          [NAME REDACTED]
LTD                                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]
ATTN GEN MGR
3RD BLDG, NO.129 OF 1ST IND AREA
LISONGLANG COMM, GUANGMING NEW DIST
SHENZHEN, GUANGDONG CHINA


[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




CHPARTNERS GMBH                          [NAME REDACTED]                          [NAME REDACTED]
ATTN MICHAEL MCDONONGH                   [ADDRESS REDACTED]                       [ADDRESS REDACTED]
POSTFACH 457
ZUG CH-6301
SWITZERLAND



[NAME REDACTED]                          CHRISTIAN-ALBRECHTS-UNIVERSITY OF KIEL   CHRISTIE DIGITAL SYSTEMS CANADA INC
[ADDRESS REDACTED]                       ATTN DIRECTOR                            ATTN VP GLOBAL ENGINEERING
                                         KAISERSTRASSE 2                          809 WELLINGTON ST N
                                         KIEL D-24143                             KITCHENER, ON N2G 4Y7
                                         GERMANY                                  CANADA



[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




CHRISTOPHER ASSOCIATES INC               [NAME REDACTED]                          CHROMA ATE INC
ATTN DIR OF BIZ DEV                      [ADDRESS REDACTED]                       ATTN VICE DIRECTOR
3617 W MACARTHUR BLVD, STE 507                                                    88 WENMAO RD, GUISHAN DIST
SANTA ANA, CA 92704                                                               TAOYUAN CITY 333001
                                                                                  TAIWAN
                 Case 25-90163
CHROMA SYSTEMS SOLUTIONS    INC    Document
                                      CHROMA87   Filed inCORP
                                             TECHNOLOGY   TXSB on 07/03/25 CHROMALOX
                                                                             Page 159 of 944
19772 PAULING                          10 IMTEC LANE                        9301-I MONROE RD
FOOTHILL RANCH, CA 92610-2611          BELLOWS FALLS, VT 05101-3119         CHARLOTTE, NC 28270-2469




CHRYSLER MOTORS CORPORATION            [NAME REDACTED]                      CHUANGWEI ELECTRONIC EQUIPMENT MFG
ATTN CHIEF PATENT COUNSEL              [ADDRESS REDACTED]                   LTD
12000 CHRYSLER DR                                                           NO 8, KANG XIANG EAST ST
HIGHLAND PARK, MI 48288-1919                                                CHONG TOU VILLAGE, CHANG AN TOWN
                                                                            DONG GUAN, GUANG DONG
                                                                            CHINA


CHUBB & SON                            CHUBB & SON                          CHUBB & SON
ATTN TODD SANDAHL                      C/O ECW                              DIV OF FEDERAL INSURANCE CO
3440 TORINGDON WAY                     ATTN EXEC PROTECTION                 ATTN GEN COUNSEL
CHARLOTTE, NC 28277                    275 BATTERY ST, STE 1200             15 MOUNTAIN VIEW RD
                                       SAN FRANCISCO, CA 94111              WARREN, NJ 07059



CHUBB & SON                            CHUBB GROUP OF INSURANCE COMPANIES   [NAME REDACTED]
TWO LIVE OAK CTR                       15 MOUNTAIN VIEW RD                  [ADDRESS REDACTED]
3445 PEACHTREE RD NE, STE 900          WARREN, NJ 07069
ATLANTA, GA 30326-1276




[NAME REDACTED]                        CHUGAI LTD                           CHUN KUANG OPTICS CORP
[ADDRESS REDACTED]                     ATTN PRESIDENT                       ATTN GENERAL MGR
                                       5-21-11 NAKA-KU, NAYOGA              5F, NO. 122-8, JHONGHUA RD
                                       AICHI PREFECTURE                     HUKOU TOWNSHIP
                                       CHINA                                HSINCHU COUNTY 303 TAIWAN



CHUN WE CO LTD                         CHUNG KING ENTERPRISE CO LTD         CHUNG TAI PRINTING (CHINA) CO LTD
ATTN AARON YEH                         ATTN CHAIRMAN                        ATTN KA DIRECTOR
1F, NO.13, LN 60                       NO 16, DINGHU 1ST ST                 CHUNG TAI PRINTING GROUP BLDG
SEC 1 GUANGMING RD                     GUISHAN TOWNSHIP                     11 YIP CHONG ST, ON LOK TSUEN, FANLING
LUJHU TWNSHP, TAOYUAN 338 TAIWAN       TAOYUAN COUNTY 333 TAIWAN            NEW TERRITORIES HONG KONG



CHUNGHWA TELECOM CO LTD                [NAME REDACTED]                      CHUNGWOO TEK
21-3 HSINYI RD, SEC 1                  [ADDRESS REDACTED]                   RM 438, RENAISSANCE BUDDANG
TAIPEI 10048                                                                342-2 YATAP-DONG, BUNDANG-GU
TAIWAN                                                                      SEONGNAM-SI, KYEONGGI-DO 463-828
                                                                            SOUTH KOREA



[NAME REDACTED]                        [NAME REDACTED]                      CHWMEG INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   470 WILLIAM PITT WAY
                                                                            PITTSBURGH, PA 15238-1330




CHWMEG ORGANIZATION                    CI DELL PLASTICS INC                 CI HOLDINGS LTD
470 WILLIAM PITT WAY                   ATTN OWNER & ENGINEER                2 PRIORY RD, ROCHESTER
PITTSBURGH, PA 15238                   6301 W EXECUTIVE DR                  KENT ME2 2EG
                                       MEQUON, WI 53092                     UNITED KINGDOM




CI INVESTMENT SVCS/CDS (5085)          CI SYSTEMS (ISRAEL) LTD              CIAO WIRELESS INC
ATT DEBORAH CARLYLE/PROXY MGR          ATTN DIR OF SALES & MKTG             ATTN PRESIDENT
4100 YONGE ST                          P.O. BOX 147                         4000 VIA PESCADOR
STE 504A                               MIGDAL HAEMEK 10551                  CAMARILLO, CA 93012
TORONTO, ON M2P 2G2 CANADA             ISRAEL
CIBC WORLD MARKETS Case
                      CORP 25-90163   Document  87 MKTS
                                         CIBC WORLD FiledCORP
                                                          in TXSB
                                                              (0438) on 07/03/25 CIBC
                                                                                   Page  160
                                                                                      WORLD   of 944
                                                                                            MKTS. /CDS (5030)
ATTN MANAGING DIRECTOR                    MICHAEL CASTAGLIOLA/PROXY MGR            ATT REED JON OR PROXY DEPT
2420 SAND HILL RD, STE 300                425 LEXINGTON AV                         22 FRONT ST. W. 7TH FL
MENLO PARK, CA 94025                      5TH FL                                   TORONTO, ON M5J 2W5
                                          NEW YORK, NY 10017                       CANADA



CIBER ELECTRONICA SA DE CV                CIBER INC                                CIC CONSTRUCTION GROUP USA LLC
ATTN SALES DIR                            ATTN VP                                  ATTN DIRECTOR
AV LOPEZ MATEOS SUR 1480                  5251 DTC PKWY, STE 1400                  5540 CENTERVIEW DR, STE 400
INT 301 CAMPO DE POLO CHAPALITA           GREENWOOD VILLAGE, CO 80111              RALEIGH, NC 27606
GUADALAJARA, JAL 45040 MEXICO



[NAME REDACTED]                           CICESE                                   [NAME REDACTED]
[ADDRESS REDACTED]                        ATTN DIR OF APPLIED PHYSICS DIV          [ADDRESS REDACTED]
                                          CARRETERA ENSENADA-TIJUANA NO. 3918
                                          ZONA PLAYITAS
                                          ENSENADA, BC 22860 MEXICO



[NAME REDACTED]                           CIGNA HEALTH & LIFE INSURANCE COMPANY    CIGNA HEALTH & LIFE INSURANCE COMPANY
[ADDRESS REDACTED]                        900 COTTAGE GROVE RD                     P.O. BOX 644546
                                          BLOOMFIELD, CT 06002                     PITTSBURGH, PA 15264-4546




CIH EQUIPMENT COMPANY INC.                [NAME REDACTED]                          [NAME REDACTED]
EGAS DEPOT                                [ADDRESS REDACTED]                       [ADDRESS REDACTED]
S. HIGHLAND AVE, 1806
CLEARWATER, FL 33756-1762




CILIO, EDGAR                              CIM TECHNOLOGIES INC                     CIMA NANOTECH INC
75 HYACINTH LN                            ATTN PRES                                ATTN VP SALES & GM
FARMINGTON, AR 72730                      2838-C SOUTH I85 SERVICES RD             1000 WESTGATE DR, STE 100
                                          CHARLOTTE, NC 28208                      ST PAUL, MN 55114




CIMCON LIGHTING INC                       CIMETRIX INC                             CIMTEC AUTOMATION
ATTN VP BUSSINESS DEV                     6979 SOUTH HIGH TECH DRIVE               3030 WHITEHALL PARK DRIVE
600 TECHNOLOGY PK DR                      MIDVALE, UT 84047-3757                   CHARLOTTE, NC 28273-3334
BILLERICA, MA 01821




CINCINNATI GASKET PACKING &               CINDY STAGE LIGHTING CO LTD              [NAME REDACTED]
MANFACTURING                              ATTN GENERAL MGR                         [ADDRESS REDACTED]
ATTN VICE PRESIDENT                       BLOCK B1, LONG XIN INDUSTRIAL CTR
40 ILLINOIS AVE                           LONG HU, SHI JING
CINCINNATI, OH 45215                      GUANGZHOU CHINA



CINTAS CLEANROOM RESOURCES                CINTAS CORPORATION                       CINVESTAV GUADALAJARA
ATTN GENERAL MANAGER                      1003 TWIN CREEKS CT                      ATTN THESIS ADVISOR
140 OLD MILL RD                           DURHAM, NC 27703-9354                    AV. CIENTIFICA 1145, COLONIA EL BAJIO
GREENVILLE, SC 29607                                                               ZAPOPAN, JAL 45015
                                                                                   MEXICO



CINVESTAV                                 CIPECO S R L                             CIPECO S R L
ATTN PROFESSOR                            VIA SANDRO PERTINI 122                   VIA VITTORIO EMANUELE N 11/1
AV. CIENTIFICA 1145, COL. EL BAJIO        SESTO FIORENTINO, FI 50019               CALENZANO, FI 50041
ZAPOPAN, JAL 45015                        ITALY                                    ITALY
MEXICO
CIPECO SRL        Case 25-90163    Document  87ZIRCLIGHT
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                                                                                PageCHECK
                                                                                      161 of
                                                                                          INC944
VIA EMANUELE 11/1                      ATTN VP LIGHTING PROD                 ATTN CFO
CALENZANO 50041                        2 MAIN ST, STE 310                    6550 WEDGWOOD RD
ITALY                                  STONEHAM, MA 02180                    MAPLE GROVE, MN 55311




CIRCUIT DESIGN ASSOCIATES INC          CIRCUIT TECHNOLOGY TRAINING INC.      CIRCUITOS IMPRESOS PROFESIONALES SA
ATTN PRESIDENT                         5200 RATHKEALE CT                     ATTN CHIEF EXECUTIVE OFFICER
625 WILLIAM ST                         HOLLY SPRINGS, NC 27540-3465          CARRETERA DE TERRASSA, 210
RACINE, WI 53402                                                             RUBI, BARCELONA 08191
                                                                             SPAIN



CIRCUITS INTEGRATED HELLAS IKE         CIREXX INTERNATIONAL INC              [NAME REDACTED]
ATTN DIRECTORS                         ATTN PRESIDENT                        [ADDRESS REDACTED]
N PLASTIRA 13, NEA ERYTHREA            791 NUTTMAN ST
ATTIKI 14671                           SANTA CLARA, CA 95054
GREECE



CIRRUS LOGIC INC                       CIRTEK ELECTRONICS CORPORATION        CIRTEM SA
ATTN VP, GENERAL COUNSEL               116 EAST MAIN AVE., PHASE V, SEZ      ATTN CHIEF EXECUTIVE OFFICER
2901 VIA FORTUNA                       BINAN LAGUNA 4024                     LA POINTE BLEUE, 1389 LOCCITANE
AUSTIN, TX 78746                       PHILIPPINES                           LABEGE 31670
                                                                             FRANCE



CIRTICAL INFORMATION NETWORK LLC       CIS MICROELECTRONICS                  CISCO SYSTEMS INC
ATTN SVP SALES                         ATTN GM                               ATTN GENERAL COUNSELS OFFICE
4101 INTERNATIONAL PKWY                1801 KALBEHER RD                      170 W TASMAN DR
CAROLLTON, TX 75007                    WEST LAFAYETTE, IN 47906              SAN JOSE, CA 95134




CISCO SYSTEMS                          CISCO                                 CISNETCOM SRL
4125 HIGHLANDER PKWY                   3098 OLSEN DR                         ATTN CHIEF EXECUTIVE OFFICER
RICHFIELD, OH 44286                    SAN DIEGO, CA 95128                   VIA PENNABILLI N.10
                                                                             ROME 00159
                                                                             ITALY



CISSOID SA                             [NAME REDACTED]                       CITADEL SECS LLC (0395,8430)
ATTN CEO                               [ADDRESS REDACTED]                    ATT KEVIN NEWSTEAD/PROXY MGR
RUE EMILE FRANCQUI, 3                                                        131 SOUTH DEARBORN ST
MONT-SAINT-GUIBERT B-1435                                                    35TH FL
BELGIUM                                                                      CHICAGO, IL 60603



CITEL AMERICA INC                      CITELUM US INC                        CITIBANK (0505)
ATTN VICE PRESIDENT                    ATTN BUSINESS DEV DIR                 ATTN PROXY MGR
10108 USA TODAY WAY                    1100 NEW JERSEY AVE SE                580 CROSSPOINT PKWY
MIRAMAR, FL 33025                      WASHINGTON, DC 20003                  GETZVILLE, NY 14068




CITIBANK BERHAD                        CITIBANK, N.A. (0908,2333,3974)       CITIBANK, NA HONG KONG
ATTN DIR GLOBAL TRANSACTION SVCS       ATTN PROXY MGR                        ATTN: ELVIS WONG
45TH FL, MENARA CITIBANK               3800 CITIBANK CTR                     3 GARDEN ROAD, 44/F CITIBANK TOWER
165 JALANK AMPANG                      B3                                    CITIBANK PLAZA
KUALA LUMPUR 50450 MALAYSIA            TAMPA, FL 33610                       CENTRAL DISTRICT, HONG KONG HONG
                                                                             KONG


CITIC TELECOM INTERNATIONAL CPC        CITIZENS ELECTRONICS CO LTD           CITRIX ONLINE LLC
LIMITED                                ATTN GM 1ST ELECTRONIC DEVICE DIV     ATTN ASSOC GEN MGR
ATTN SR VP SALES                       1-23-1 KAMIKARECHI, FUJIYOSHIDA-SHI   6500 HOLLISTER AVE
20 F LINCOLN HOUSE                     FUJIYOSHIDA, YAMANASHI                GOLETA, CA 93117
TAIKOO PLACE, 979 KINGS RD             JAPAN
QUARRY BAY HONG KONG
                  CaseNAYARIT,
CITY AND STATE OF TEPIC, 25-90163     Document   87 Filed
                                         CITY ELECTRIC      inCO
                                                       SUPPLY  TXSB on 07/03/25 CITY
                                                                                  Page   162 SUPPLY
                                                                                     ELECTRIC of 944COMPANY
MEXICO. THE                               2436 S MIAMI BLVD 200-4                400 S. RECORD ST., STE. 1500
MERIDA Y AMADO NERVO S/N                  DURHAM, NC 27703-5740                  DALLAS, TX 75202
TEPIC, NAYARIT 63000
MEXICO



CITY GREEN TECH CORP                      CITY LIGHT WORKS INTERNATIONAL LLC     CITY OF DURHAM
ATTN GM                                                                          ATTN ROGER THOMERSON
NO. 27, WUGUAN 6TH RD                                                            101 CITY HALL PLAZA
WUGU DISTRICT                                                                    DURHAM, NC 27701
NEW TAIPEI CITY 24889 TAIWAN



CITY OF DURHAM                            CITY OF EDMONTON                       CITY OF FARMERS BRANCH
DEPT OF PUBLIC WORKS                      ATTN ACTING DIRECTOR                   P.O. BOX 819010
ATTN ASST SECRETARY                       9803-102A AVE NW                       DALLAS, TX 75381-9010
101 CITY HALL PL                          16TH FL, CENTURY PL
DURHAM, NC 27701                          EDMONTON, AB T5J 3A3 CANADA



CITY OF FAYETTEVILLE, AR                  CITY OF GREENSBORO                     CITY OF GREENSBORO
113 WEST MOUNTAIN STREET                  2602 S ELM EUGENE STREET               300 WEST WASHINGTON ST
FAYETTEVILLE, AR 72701                    GREENSBORO, NC 27406                   GREENSBORO, NC 27402-1170




CITY OF LOS ANGELES, THE                  CITY OF MEDICINE HAT                   CITY OF MORGAN HILL
ATTN DIR, BSC                             ATTN MAYOR                             17575 PEAK AVE
200 N SPRING ST                           188 KIPLING ST SE                      MORGAN HILL, CA 95037-4128
LOS ANGELES, CA 90012                     MEDICINE HAT, AB T1A 1Y3
                                          CANADA



CITY OF RALEIGH CONVENTION CENTER         CITY OF RALEIGH NORTH CAROLINA         CITY OF SAN DIEGO
500 S SALISBURY ST                        ATTN MAYOR                             9601 RIDGEHAVEN CT
RALEIGH, NC 27601                         222 W HARGETT ST                       SAN DIEGO, CA 92123
                                          P.O. BOX 590
                                          RALEIGH, NC 27602



CITY OF THUNDER BAY                       CITY OF VANCOUVER                      CITY UNIVERSITY OF HONG KONG
ATTN SENIOR BUYER                         453 W 12TH AVE                         TAT CHEE AVE
VICTORIAVILLE CIVIC CENTER, MAIN FL       VANCOUVER, BC V5Y 1V4                  KOWLOON
111 SYNDICATE AVE S, P.O. BOX 800                                                HONG KONG
THUNDER BAY, ON P7C 5K4 CANADA



CITYSMART OPTOTEC CORP                    [NAME REDACTED]                        CIVIC MEDIA CO LTD
ATTN NICK LIU                             [ADDRESS REDACTED]                     ATTN DIRECTOR
3F-1, NO. 35, GANGU ST                                                           2,24,25 SOI CHAROEN KRUNG 78
DATONG DISTRICT                                                                  CHAROENKRUNG RD, BANG KHO LAEM
TAIPEI CITY 103 TAIWAN                                                           BANGKOK 10120 THAILAND



CIVIL CONSULTANTS INC                     CIVILIGHT SHENZHEN SEMICONDUCTOR       CIVILIGHT SHENZHEN SEMICONDUCTOR
3708 LYCKAN PARKWAY, SUITE 201            LIGHT CO LTD                           LIGHTING CO LTD
DURHAM, NC 27707-2586                     ATTN PRESIDENT                         ATTN JANET LUO
                                          3-4/F NOVOPHALT BLDG, LANGSHAN RD 2    4-5/F, BLDG D, HONGFA HI-TECH PARK
                                          HI-TECH PARK                           SHIYAN TOWN
                                          NANSHAN, SHENZHEN CHINA                SHENZHEN 518108 CHINA


CIVILIGHT SHENZHEN SEMICONDUCTOR          CIXI FEINUOSI ELECTRONIC TECH CO LTD   CIXI JING YU LIGHTING & ELECTRICAL
ATTN PRES                                 ATTN DEPUTY GEN MGR                    EQUIPMENT CO LTD
10/F RONGCHAO, ECONOMIC & BUSINESS        56 LINXIN RD, ZONGHAN ST               FANSHI INDUSTRIAL ZONE
CTR                                       CHIXI, ZHEJIANG                        LONGSHAN TOWN
4028 JIN TIAN RD, FUTIAN, CTR             CHINA                                  NINGBO CITY CHINA
SHENZHEN, GUANGDONG CHINA
                  Case 25-90163
CJL ENGINEERING INC               Document  87 Filed in TXSB on 07/03/25 CKS
                                     CK LIGHTING                           Page  163 ofINC944
                                                                             PACKAGING
ATTN ELECTRICAL ASSOC                 ATTN PRESIDENT                       ATTN GEN COUNSEL
1555 CORAPOLIS HEIGHTS RD             3911 OLD LOUISVILLE RD, STE 110      445 GREAT SW PKWY
MOON TOWNSHIP, PA 15108               GARDEN CITY, GA 31408                ATLANTA, GA 30336




CLAIM TECHNOLOGIES INC                CLAIREMONT COMMUNICATIONS LLC        CLANCY & THEYS CONSTRUCTION CO
ATTN EXEC VP                          ATTN CHIEF EXECUTIVE OFFICER         ATTN VICE PRESIDENT
100 COURT AVE, STE 306                101 S BLOODWORTH ST                  516 W CABARRUS ST
DES MOINES, IA 50309                  RALEIGH, NC 27601                    RALEIGH, NC 27603




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                      CLARIANT CORPORATION, BUS UNIT
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   ELECTRONIC MATERIALS
                                                                           ATTN VP
                                                                           70 MEISTER AVE
                                                                           SOMERVILLE, NJ 08876



CLARK AIR SYSTEMS                     CLARK DYNAMIC TESTING INC            CLARK INDUSTRIES INC
3721 W MARKET ST.                     1801 RTE 51                          ATTN VP
GREENSBORO, NC 27403-1374             JEFFERSON HILLS, PA 15025            1324 SW AUBURN RD
                                                                           TOPEKA, KS 66615




CLARK MACHINE TOOL AND DIE INC        CLARK RICHARDSON AND BISKUP          [NAME REDACTED]
ATTN ENGINEER                         CONSULTING-                          [ADDRESS REDACTED]
1314 SHUN PIKE                        ENGINEERS INC
NICHOLASVILLE, KY 40356




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  164 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




CLARK, MICHEL ANN                   [NAME REDACTED]                    [NAME REDACTED]
1221 67TH DR                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]
UNION GROVE, WI 53182




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




CLARKE & SEVERN ELECTRONICS         CLARK-POWELL ASSOCIATES, INC       CLARKSON INDUSTRIAL CONTRACTORS INC
ATTN ROBYN                          110 REGENT DR                      DBA BECK & POLLITZER USA
UNIT 4, 8A KOOKABURRA RD            WINSTON-SALEM, NC 27103-6711       ATTN BUSINESS DEV MGR
HORNSBY, NSW 2077                                                      135 N CHURCH ST, STE 320
AUSTRALIA                                                              SPARTANBURG, SC 29306



[NAME REDACTED]                     CLASSIC FOOD SERVICE               CLASSIC SHEET METAL INC
[ADDRESS REDACTED]                  ATTN OFFICE AREA MGR               ATTN PRESIDENT
                                    1716 CAMDEN AVE                    1065 SESAME ST
                                    DURHAM, NC 27704                   FRANKLIN PARK, IL 60131




CLASSONE EQUIPMENT INC              CLASSONE TECHNOLOGY INC            [NAME REDACTED]
5302 SNAPFINGER WOODS DRIVE         109 COOPERATIVE WAY UNIT 101       [ADDRESS REDACTED]
DECATUR, GA 30035-4027              KALISPELL, MT 59901-2389




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    CLAYTON GLASS AND MIRROR INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN OWNER
                                                                       435 E 2ND ST
                                                                       CLAYTON, NC 27520
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  165 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      CLC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]




CLEAN AIR PRODUCTS                  CLEAN AIR SYSTEMS                    CLEAN EARTH LLC
8605 WYOMING AVENUE NORTH                                                ATTN SALES VP
MINNEAPOLIS, MN 55445-1828                                               933 FIRST AVE, STE 200
                                                                         KING OF PRUSSIA, PA 19406




CLEAN ENERGY SOLUTIONS INC          CLEAN GREEN ENERGY LLC               CLEAN HARBORS ENVIRONMENTAL SERVICE
ATTN PRESIDENT                      ATTN PRESIDENT                       74 N WEST BYPASS
1385 CAMBRIDGE ST                   7627 PARK PL                         SPRINGFIELD, MO 65802
CAMBRIDGE, MA 02139                 BRIGHTON, MI 48116




CLEAN HARBORS ENVIRONMENTAL         CLEAN LIGHTING SOLUTIONS LLC         CLEAN TECH INC DBA CENTROTHERM CLEA
SERVICES INC                        ATTN PRESIDENT                       3850 NE 30TH AVENUE
42 LONGWATER DR                     980 CORPORATE DR, STE 200            HILLSBORO, OR 97124
NORWELL, MA 02061                   HILLSBOROUGH, NC 27278




CLEAN WATER SCIENTIFIC INC          CLEANPART EAST                       CLEANPART SET INC FORMALLY TSET INC
ATTN PRES                           10 CABOT STREET                      631 INTERNATIONAL PKWY
1121 SITUS CT, STE 120              SOUTHBRIDGE, MA 01550-2683           RICHARDSON, TX 75081-6618
RALEIGH, NC 27606




CLEANPLANET CHEMICAL INC            CLEANSOL LLC                         CLEAR PROCESS SOLUTIONS LLC
ATTN PRESIDENT                      343 TECHNOLOGY DRIVE SUITE 1107      512 EAST WASHINGTON STREET
6207 BEE CAVE RD, STE 165           GARNER, NC 27529-7949                CHAGRIN FALLS, OH 44022-4453
AUSTIN, TX 78746




CLEAR ST LLC (4231,9132)            CLEARBRIDGE COMPENSATION GROUP LLC   CLEARCO PRODUCTS CO INC
ATT PROXY MGR                       ATTN CHIEF EXECUTIVE OFFICER         ATTN SECRETARY
55 BROADWAY STE 2102                515 MADISON AVE                      3430 G PROGRESS DR
NEW YORK, NY 10006                  NEW YORK, NY 10022                   P.O. BOX 923
                                                                         BENSALEM, PA 19020



CLEARESULT CONSULTING INC           CLEARESULT                           CLEARINGHOUSE
ATTN LEGAL DEPT                     ATTN SR DIR FOR EFFICIENCY UNITED    RE: 000314333004 (AMENDED)
100 SW MAIN ST, STE 1500            3474 ALAIDEON PKWY, STE 600          P.O. BOX 52107
PORTLAND, OR 97204                  OKEMOS, MI 48864                     PHOENIX, AZ 85072-2107
                Case
CLEARSTREAM BANKING AG 25-90163
                       (2000)       Document 87 Filed
                                       CLEARWATER      in TXSB
                                                  ANALYTICS LLC on 07/03/25 CLEATECH
                                                                              Page 166   of 944
                                                                                     LLC DBA GLOBAL LAB SUPPLY
ATT NICO STAES                          777 WEST MAIN STREET SUITE 900        2106 N GLASSELL ST
MERGENTHALLERALLEE 61                   BOISE CITY, ID 83702-6183             ORANGE, CA 92865-3308
ESCBORN D65760
GERMANY



[NAME REDACTED]                         [NAME REDACTED]                       CLEMENT INDUSTRIES LLC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    ATTN VP SALES
                                                                              13850 BALLANTYNE CORP PL, STE 500
                                                                              CHARLOTTE, NC 28277




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




CLEMSON UNIVERSITY                      [NAME REDACTED]                       CLENERGY (XIAMEN) TECHNOLOGY CO LTD
ATTN DIRECTOR                           [ADDRESS REDACTED]                    ATTN CHIEF TECHNOLOGY OFFICER
230 KAPPA ST, STE 200                                                         NO.99-1009, MINAN RD, TORCH HI-TECH-
CLEMSON, SC 29634                                                             IND DEV ZONE, XIANGAN DIST
                                                                              XIAMEN, FUJIAN CHINA



CLEO COMMUNICATIONS US LLC              CLEORA STERLING CORP, THE             CLEVE WAGSTAFF STONE MASONRY LLC
4949 HARRISON AVENUE SUITE 200          ATTN EXEC VICE PRESIDENT              ATTN MANAGER/MEMBER
ROCKFORD, IL 61108-7947                 200 REDMAN CROSSING                   309 WAGSTAFF CARVER RD
                                        MEBANE, NC 27302                      ROXBORO, NC 27574




CLEVELAND BROWNS FOOTBALL COMPANY       CLEVELAND ELECTRIC LAB CO INC, THE    [NAME REDACTED]
LLC                                     ATTN VP SALES                         [ADDRESS REDACTED]
ATTN GENERAL COUNSEL                    1776 ENTERPRISE PKWY
76 LOU GROZA BLVD                       TWINSBURG, OH 44087
BEREA, OH 44017



[NAME REDACTED]                         CLEVERSCOPE LTD                       CLIFTON GUNDERSON LLP
[ADDRESS REDACTED]                      21A LANCING ROAD                      222 MAIN ST, STE 104
                                        AUCKLAND AKL 1025                     P.O. BOX 1347
                                        NEW ZEALND                            RACINE, WI 53401-1347




[NAME REDACTED]                         CLIFTONLARSONALLEN LLP                CLIFTONLARSONALLEN LLP
[ADDRESS REDACTED]                      1120 EAST BOULEVARD                   ATTN FRED MILLER
                                        CHARLOTTE, NC 28203-5706              4208 SIX FORKS RD, STE 1000
                                                                              RALEIGH, NC 27605




CLINE RESOURCES LLC                     [NAME REDACTED]                       CLINICAL REFERENCE LABORATORY INC
ATTN PRESIDENT                          [ADDRESS REDACTED]                    ATTN VICE PRESIDENT
16200 HEATHER CT                                                              8433 QUIVIRA RD
SPRING LAKE, MI 49456                                                         LENEXA, KS 66215
[NAME REDACTED] Case 25-90163           Document
                                           CLIPPER87  Filed in TXSB on 07/03/25 CLNA
                                                  WINDPOWER                       Page  167 of 944
                                                                                     HOLDINGS
[ADDRESS REDACTED]                          ATTN ANTHONY CHOBOT                 6675 PARK;AND BLVD
                                            6305 CARPINTERIA AVE, STE 300       SOLON, OH 44139-4345
                                            CARPINTERIA, CA 93013




CLONDALKIN PHARMA & HEALTHCARE INC          [NAME REDACTED]                     [NAME REDACTED]
ATTN VP OF SALES & MKGT                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]
1072 BOULDER RD
GREENSBORO, NC 27409




CLOUD SOFTWARE GROUP, INC.                  CLOUDMOYO INC                       CLOUDPATH NETWORKS INC
851 WEST CYPRESS CREEK ROAD                 14711 NE 29TH PLACE SUITE 103       ATTN PRESIDENT
FORT LAUDERDALE, FL 33309-2009              BELLEVUE, WA 98007-8611             1120 W 122ND AVE, STE 302
                                                                                WESTMINSTER, CO 80234




[NAME REDACTED]                             [NAME REDACTED]                     CLOW STAMPING CO
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                  23103 COUNTY RD3
                                                                                MERRIFIELD, MN 56465




CLPF-RESEARCH CENTER LLC                    CLPF-RESEARCH CENTER LLC            CLS COX LOCKSMITH LLC
C/O CASSIDY TURLEY                          C/O CLARION PARTNERS                7633 HWY 64 EAST
ATTN TARA GALLAGHER, ASST PROPERTY          ATTN ANDY SITZER, SVP               KNIGHTDALE, NC 27545-9015
MGR                                         177 MCKINNEY AVE, STE 1900
2511 OLD CORNWALLIS RD, STE 290             DALLAS, TX 75202
DURHAM, NC 27713


CLUB ONE INC                                [NAME REDACTED]                     [NAME REDACTED]
ATTN VICE PRESIDENT                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]
3108 TWIN LEAF DR
RALEIGH, NC 27613




CM BUCK & ASSOCIATES INC                    C-MAC MICROCIRCUITS LTD             CMC INTERCONNECT TECH INC
ATTN DAVE SIMPSON, PRINCIPAL                ATTN HEAD OF OPS                    ATTN VP ENGINEERING
6850 N GUION RD                             FENNER RD, SOUTH DENES, GREAT       7755 S RESEARCH DR, STE 115
INDIANAPOLIS, IN 46268                      YARMOUTH                            TEMPE, AZ 85284
                                            NORFOLK NR30 3PX
                                            UNITED KINGDOM


CMC MATERIALS EC INC (FKA KMG               CMC WIRELESS COMPONENTS             CMD PROPERTIES INC
CHEMICALS)                                  ATTN PRESIDENT                      P.O. BOX 13587
300 THROCKMORTON STREET                     10409 S 50TH PL                     RESEARCH TRIANGLE PARK, NC 27709-3587
FORT WORTH, TX 76102-2921                   PHOENIX, AZ 85044




CMD SOUTHEAST INC                           CML INNOVATIVE TECHNOLOGIES INC     C-MOTIVE TECHNOLOGIES INC
ATTN PRES                                   ATTN OPTICAL DESIGN ENGR            ATTN PRESIDENT
2525 MERIDIAN PKWY                          147 CENTRAL AVE                     2436 PENNSYLVANIA AVE
P.O. BOX 13587                              HACKENSACK, NJ 07601                MADISON, WI 53704
RESEARCH TRIANGLE PARK, NC 27709-3587



CMT AGENCY INC                              CMT CO LTD                          CMTEC AG
ATTN JOHN MCNAMARA, COO                     ATTN PRESIDENT                      HINTERBERGSTRASSE 30
1417 DUTCH VALLEY PL, STE A                 20, GANGNAM-DAERO                   CHAM CH-6330
ATLANTA, GA 30324                           47-GIL SEOCHO-GU                    SWITZERLAND
                                            SEOUL 06729 SOUTH KOREA
                  Case 25-90163
CNC MICROTECH A DIVISION OF         Document  87 Filed
                                       CNC SOLUTIONS LLC in TXSB on 07/03/25 CNLIGHT
                                                                               Page CO
                                                                                     168
                                                                                       LTDof 944
NOBLEHOUSE TECHNOLOGIES I               ATTN SALES ENGINEER                  ATTN SALES SUPV NORTH AMERICA
14 JUPITER LANE SUITE 04                1206 BOOMER ST                       A ZONE, SHI-SHAN TECH IND DIST
ALBANY, NY 12205-5066                   WATERTOWN, WI 53094                  NANHAI GUNGDONG PROV
                                                                             FOSHAN CITY CHINA



CO OHG CREE INC                         CO STAMP S.R.L                       COACTION SPECIALTY MANAGEMENT CO INC
ATTN GENERAL MANAGER                    ATTN PRESIDENT                       ATTN SVP
WERNERWERKSTRASSE 2                     VIA VERDI                            412 MT KEMBLE AVE, STE 300C
REGENSBURG D-93049                      SIRONE 6-23844                       MORRISTOWN, NJ 07960
GERMANY                                 ITALY



COALITION INSURANCE SOLUTIONS INC       COAST CUTLERY CO                     COAST CUTLERY
ATTN HEAD OF INSURANCE                  ATTN MARKETING DIR                   ATTN DIR OF OP
1160 BATTERY ST, STE 350                2045 SE ANKENY                       8033 NE HOLMAN ST
SAN FRANCISCO, CA 94111                 PORTLAND, OR 97214                   PORTLAND, OR 97218




COASTAL BUSINESS MACHINES INC           COASTAL CV9 LLC                      COASTAL GV9 LLC
ATTN COO                                C/O COASTAL PARTNERS LLC             C/O COASTAL PARTNERS LLC
9635 LIBERTY RD                         ATTN BRETT R BAUMGARTEN, CEO         2237 DOUGLAS BLVD, STE 130
RANDALLSTOWN, MD 21133                  231 VERNON ST                        ROSEVILLE, CA 95661
                                        ROSEVILLE, CA 95678



COASTAL INSTRUMENTS INC                 COASTAL MECHANICAL SERVICES LLC      COASTAL TECHNOLOGIES LLC
2120 HIGH SMITH ROAD                    ATTN PROJECT MANAGER                 ATTN PRESIDENT
BURGAW, NC 28425-4312                   4504 BENNETT MEMORIAL RD             42 CENTER ST
                                        DURHAM, NC 27705                     YARMOUTHPORT, MA 02675




COASTTEC                                [NAME REDACTED]                      COBAM ADVANCED ELECTRONIC
1533 PROGRESS WAY                       [ADDRESS REDACTED]                   SOLUTIONS INC
ELDERSBURG, MD 21784-6967                                                    ATTN DIR SUPPLY CHAIN MGMT
                                                                             1001 PAWTUCKET BLVD
                                                                             LOWELL, MA 01854-1040



COBAM ADVANCED ELECTRONIC               COBAM ADVANCED ELECTRONIC            COBAM ADVANCED ELECTRONIC
SOLUTIONS INC                           SOLUTIONS INC                        SOLUTIONS INC
ATTN DIR SUPPLY CHAIN MGMT              ATTN DIR SUPPLY CHAIN MGMT           ATTN DIR SUPPLY CHAIN MGMT
1701 N GREENVILLE AVE, 304              305 RICHARDSON RD                    3310 CARLINS PARK DR
RICHARDSON, TX 75081-1845               LANSDALE, PA 19446-1485              BALTIMORE, MD 21215-7851



COBAM ADVANCED ELECTRONIC               COBAM ADVANCED ELECTRONIC            COBAM ADVANCED ELECTRONIC
SOLUTIONS INC                           SOLUTIONS INC                        SOLUTIONS INC
ATTN DIR SUPPLY CHAIN MGMT              ATTN DIR SUPPLY CHAIN MGMT           ATTN DIR SUPPLY CHAIN MGMT
4700 140TH AVE N, STE 104               5300 HELLYER AVE                     9404 CHESAPEAKE DR
CLEARWATER, FL 33762-3847               SAN JOSE, CA 95138-1003              SAN DIEGO, CA 92123-1303



[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  169 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




COBES GMBH                              COBHAM ADV ELECTRONIC SOLUTIONS INC   COBHAM ADVANCED ELECTRONIC
ATTN MANAGING DIR                       ATTN CONTRACT MANAGER                 SOLUTIONS INC
C-D-MAGIRUS-STR 1                       303 RICHARDSON RD                     ATTN VP MARKETING
WEISWEIL 79367                          LANSDALE, PA 19446                    1701 N GREENVILLE AVE 1005
GERMANY                                                                       RICHARDSON, TX 75081-1845



COBHAM DEFENSE ELECTRONIC SYSTEMS       COBHAM ELECTRONIC SYSTEMS INC         COBHAM SENSOR SYSTEMS
CORP                                    ATTN SUPPLY CHAIN MGR                 ATTN CONTRACTS & EXPT MGR
ATTN JACK GILES                         1001 PAWTUCKET BLVD                   FEATHERSTONE RD, WOLVERTON MILL
58 MAIN ST                              LOWELL, MA 01854                      MILTON KEYNES MK12 5EW
BOLTON, MA 01740                                                              UNITED KINGDOM



COBHAM SENSORS & ANTENNA SYST           COCA COLA COMPANY                     COCA-COLA REFRESHMENTS
LANSDALE INC                            ATTN IVOR J LONGO                     1 COCA COLA PLAZA NW
ATTN RF ENGINEER                        P.O. BOX 1734                         ATLANTA, GA 30313
303 RICHARDSON RD                       ATLANTA, GA 30301
LANSDALE, PA 19446



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




COCO COMMUNICATIONS CORP                CODE 3 INC                            CODE ELECTRIC INC
ATTN GENERAL COUNSEL                    ATTN VP, SUPPLY CHAIN MGMT            3112 GLEN ROYAL RD
800 FIFTH AVE, STE 3700                 10986 N WARSON RD                     RALEIGH, NC 27617
SEATTLE, WA 98104                       ST LOUIS, MO 631134




CODE ZERO LLC                           CODE42 SOFTWARE INC                   [NAME REDACTED]
ATTN MANAGING PARTNER                   ATTN CHIEF LEGAL OFF                  [ADDRESS REDACTED]
1040 MARIETTA ST NW                     100 WASHINGTON AVE S, STE 2000
ATLANTA, GA 30318                       MINNEAPOLIS, MN 55401




COE DESIGN INDUSTRIES                   [NAME REDACTED]                       [NAME REDACTED]
7432 EDENWOOD LN                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]
RALEIGH, NC 27615-7607




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
                    Case LTD
CO-ELECTRONIC COMPANY     25-90163   Document
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                                                                               Page SPA
                                                                                     170 of 944
ATTN OPERATIONS MGR                      ATTN OFFICIO TECNICO                ATTN PREISDENT
FLAT 1, 13/F, WAH HUNG CTR               VIA CARPENEDOLO 90                  VIA INGHILTERRIA 2/A
41 HUNG TO RD                            CASTIGLION DELLE STIVIETE           CASTEL GOFFREDO I-46042
KWUN TONG HONG KONG                      MANTOVA 46042 ITALY                 ITALY



COFAN KOMOT USA INC                      COFAN USA                           [NAME REDACTED]
DBA COFAN USA                            ATTN DAVID KAO, VP OPERATIONS       [ADDRESS REDACTED]
ATTN SALES                               46177 WARM SPRINGS BLVD
48664 MILMONT DR                         FREMONT, CA 94539
FREMONT, CA 94538



COFELY ITALIA SPA                        [NAME REDACTED]                     [NAME REDACTED]
ATTN PRESIDENT                           [ADDRESS REDACTED]                  [ADDRESS REDACTED]
VIALE GIORGIO RIBOTTA, 31
ROME 00144
ITALY



COGNEX CORPORATION                       COGNITION PRODUCT DVPT              COGNITUS CONSULTING LLC
ONE VISION DRIVE                         ATTN FOUNDER, DESIGN DIR            ATTN PRESIDENT
NATICK, MA 01760-2083                    611 2ND ST, UNIT B                  16600 DALLAS PKWY, STE 200
                                         INDIAN ROCKS BEACH, FL 33785        DALLAS, TX 75248




COHEN PARTNERS STRATEGIC MILITARY        COHEN VENTURES INC                  [NAME REDACTED]
PLACEMENT                                DBA ENERGY SOLUTIONS                [ADDRESS REDACTED]
2650 ANNANDALE                           ATTN DIRECTOR
TUSTIN FOOTHILLS, CA 92782-1262          1610 HARRISON ST
                                         OAKLAND, CA 94612



[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                          COHERE TECHNOLOGIES INC             COHERENT INC
[ADDRESS REDACTED]                       ATTN CHIEF EXECUTIVE OFFICER        5100 PATRICK HENRY
                                         2550 WALSH AVE, STE 150             SANTA CLARA, CA 95054-1112
                                         SANTA CLARA, CA 95051




COHERENT NA INC                          COHESITY INC                        [NAME REDACTED]
40984 CONCEPT DRIVE                      ATTN FINANCE & SALES OPS VP         [ADDRESS REDACTED]
PLYMOUTH TOWNSHIP, MI 48170-4252         451 EL CAMINO REAL, STE 235
                                         SANTA CLARA, CA 95050




COHU GMBH                                COHU INTERFACE SOLUTIONS LLC        COHU MALAYSIA SDN BHD
GEIGELSTEINSTRAßE 6                      14570 MEYER CANYON DRIVE UNIT 100   NO. 5203-1 JALAN PAK 2/3
KOLBERMOOR 83059                         FONTANA, CA 92336-4029              MELAKA 75450
GERMANY                                                                      MALAYSIA




COILCRAFT INC                            COINING, INC.                       COJOT OY
1102 SILVER LAKE ROAD                    15 MERCEDES DRIVE                   ATTN R&D MGR
CARY, IL 60013-1658                      MONTVALE, NJ 07645-1815             PAIVANKAKKARANTIE 10
                                                                             ESPOO 2270
                                                                             FINLAND
[NAME REDACTED] Case 25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
                                    [NAME REDACTED]                       Page  171 of 944
                                                                              REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      COLDEN CORPORATION                 COLDWATT INC
[ADDRESS REDACTED]                   5842 HERITAGE LANDING DRIVE        ATTN CFO
                                     EAST SYRACUSE, NY 13057-9359       13809 RESEARCH BLVD, STE 475
                                                                        AUSTIN, TX 78750




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




COLEMAN COMPANY INC, THE             [NAME REDACTED]                    [NAME REDACTED]
ATTN VP                              [ADDRESS REDACTED]                 [ADDRESS REDACTED]
3600 N HYDRAULIC
WICHITA, KS 67219




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    COLE-PARMER INSTRUMENT CO LLC
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 ATTN VICE PRESIDENT OPS
                                                                        625 E BUNKER CT
                                                                        VERNON HILLS, IL 60061




COLE-PARMER INSTRUMENT COMPANY       [NAME REDACTED]                    [NAME REDACTED]
13927 COLLECTIONS CENTER DRIVE       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
CHICAGO, IL 60693-0001
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 COLIBRI
                                        [NAME REDACTED]                      PageLTD172
                                                                                      COof 944
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       ATTN MANAGING PARTNER
                                                                                  1144 CANTON ST, STE 102
                                                                                  ROSWELL, GA 30075




COLIN GORDON ASSOCIATES                  [NAME REDACTED]                          COLLABORATIVE SOLUTIONS LLC
150 NORTH HILLS DRIVE SUITE 15           [ADDRESS REDACTED]                       ATTN PRESIDENT
BRISBANE, CA 94005-1023                                                           11190 SUNRISE VALLEY DR, STE 110
                                                                                  RESTON, VA 20191




COLLABRATECH SOLUTIONS LLC               [NAME REDACTED]                          [NAME REDACTED]
3451 E HARBOUR DR                        [ADDRESS REDACTED]                       [ADDRESS REDACTED]
PHOENIX, AZ 85034-7229




COLLECTIVE GROUP LLC, THE                COLLEGE OF ENGINEER, UNI OF WISCONSIN-   [NAME REDACTED]
ATTN VP, MANAGED SERVICES                MADISON                                  [ADDRESS REDACTED]
9433 BEE CAVES RD                        1415 ENGINEERING DR
AUSTIN, TX 78733                         MADISON, WI 53706




COLLIERS INTERNATIONAL RALEIGH LLC       COLLIERS PINKARD                         [NAME REDACTED]
ATTN J SCOTT ADAMS                       ATTN VP/PRINCIPAL                        [ADDRESS REDACTED]
5420 WADE PARK BLVD, STE 104             3110 EDWARDS MILL RD, STE 210
RALEIGH, NC 27607-4188                   RALEIGH, NC 27612




[NAME REDACTED]                          COLLINGWOOD LIGHTING                     COLLINS STRUCTURAL CONSULTING LLC
[ADDRESS REDACTED]                       ATTN DIRECTOR OPS                        ATTN PRINCIPAL ENGINEER
                                         BROOKLANDS HOUSE                         602 N DURHAM AVE, STE C
                                         SYWELL AERDOME                           CREEDMOOR, NC 27522
                                         NORTHAMPTONSHIRE NN6 0BT UNITED
                                         KINGDOM


[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                          COLOR KINETICS INCORPORATED
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       ATTN CEO
                                                                                  10 MILK ST, STE 1100
                                                                                  BOSTON, MA 02108
COLORADO DEPT OFCase
                  LABOR 25-90163
                        AND            Document 87 DEPT
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                                                                  HEALTH 07/03/25 COLORADO
                                                                                   Page 173   ofOF944
                                                                                           DEPT    REVENUE (UPS, FED
EMPLOYMENT                                 ENVIRONMENT                             EX)
UNEMPLOYMENT INSURANCE                     4300 CHERRY CREEK DRIVE S               1881 PIERCE ST, ENTRANCE B
633 17TH ST                                DENVER, CO 80246-1530                   LAKEWOOD, CO 80214
STE 201
DENVER, CO 80202-3660


COLORADO DEPT OF REVENUE (USPS MAIL)       COLORADO DEPT OF REVENUE                COLORADO DIVISION OF SECURITIES
P.O. BOX 17087                             1375 SHERMAN STREET                     1560 BROADWAY
DENVER, CO 80217-0087                      DENVER, CO 80261-3000                   SUITE 900
                                                                                   DENVER, CO 80202




COLORADO ENGINEERING INC                   COLORADO FAMILY SUPPORT REGISTRY        COLORADO MICROCIRCUITS INC
ATTN VP ADVANCED SYSTEMS                   RE: 18201210 (ORIGINAL)                 ATTN PRESIDENT
1915 JAMBOREE DR, STE 165                  P.O. BOX 2171                           6650 N HARRISON AVE
COLORADO SPRINGS, CO 80920                 DENVER, CO 80201                        LOVELAND, CO 80538




COLORADO OFFICE OF THE ATTORNEY            COLORADO SECRETARY OF STATE             COLORADO SEMINARY
GENERAL                                    1700 BROADWAY                           ATTN DEPT OF ELEC & COMP ENG
OFFICE OF ATTORNEY GNERAL                  STE 550                                 2390 S YORK ST
CONSUMER PROTECTION SECTION                DENVER, CO 80290                        DENVER, CO 80208
1300 BROADWAY, 7TH FL
DENVER, CO 80203


COLORADO STATE TREASURY                    COLORDREAMER TECHNOLOGY CO LIMITED      COLORLUME INC
UNCLAIMED PROPERTY DIVISION                ATTN SALES DIR                          ATTN PRESIDENT
200 E COLFAX AVE, STE 141                  10/F LONG ZHI XIANG INDUSTRIAL PARK     205 LLOYD ST, STE 203
DENVER, CO 80203-1722                      NO2 HUA GUO SHAN RD, CHANGAN TOWN       CARRBORO, NC 27510
                                           DONGGUAN CHINA



COLORS KINETICS INC                        COLSON, CAROLINE B                      COLSON, CAROLINE B
10 MILK ST, STE 1100                       106 WOODBERRY DR                        C/O DENNIS C EATON
BOSTON, MA 02108                           GREENVILLE, NC 27858                    COLLIERS INTL
                                                                                   702 OBERLIN RD, STE 400
                                                                                   RALEIGH, NC 27605



COLSON, CAROLINE B                         COLSON, CAROLINE B                      [NAME REDACTED]
C/O STEPHEN F HORNE II                     P.O. BOX 4007                           [ADDRESS REDACTED]
300 COTANCHE ST                            GREENVILLE, NC 27836-2007
GREENVILLE, NC 27858




COLT TECHNOLOGY SERVICES GMBH              COLUMBIA ENGINEERED RUBBER INC          COLUMBIA PACIFIC SALES
GERVINUSSTRASSE 18-22                      ATTN GM                                 ATTN PRINCIPAL
FRANKFURT 60322                            2501 THUNDERHAWK CT                     14004 SE 23RD CIRCLE
GERMANY                                    DAYTON, OH 45414                        VANCOUVER, WA 98683




COLUMBUS CHEMICAL INDUSTRIES INC           COM DEV EUROPE LIMITED                  COM DEV LTD
ATTN PRESIDENT                             ATTN ROB GOLDSMITH, DIR BUSINESS DEV    ATTN KAMAL ALI, MGR OF MKTG
N4335 TEMKIN RD                            TRIANGLE BUSINESS PARK                  155 SHELDON DR
COLUMBUS, WI 53925                         STOKE MANDEVILLE, AYLESBURY             CAMBRIDGE, ON N1R 7H6
                                           BUCKS HP22 5SX UNITED KINGDOM           CANADA



COMAIR SPA                                 COMBA TELECOM SYSTEMS (CHINA) LTD       COMBAT AEROSPACE
ATTN PROCURATORE SPECIALE                  ATTN DIR WIRELESS BUS UNIT              ATTN GENERAL MANAGER
VIA DELLE VIOTTOLE 16-18                   NO 10, SHENZHOU RD                      ZONE ARTISANALE DE VIGNALIS
PRATO 59100                                GUANGZHOU SCIENCE CITY                  6 CHEMIN DE VIGNALIS
ITALY                                      CHINA                                   FLOURENS 31130 FRANCE
[NAME REDACTED] Case 25-90163        Document 87CORP
                                        COMCAST   Filed in TXSB on 07/03/25 COMCHIP
                                                                             Page TECHNOLOGY
                                                                                    174 of 944 CORP USA
[ADDRESS REDACTED]                       ATTN JAMES FINNEGAN                    ATTN CHIEF EXECUTIVE OFFICER
                                         ONE COMCAST CTR                        4115 CLIPPER CT
                                         1701 JOHN F KENNEDY BLVD               FREMONT, CA 94538
                                         PHILADELPHIA, PA 19103-2838



COMCO INC                                COMDELL INC                            COMER COMMUNICATIONS INC
ATTN CHAIRMAN                            ATTN PRESIDENT                         ATTN PRESIDENT
2151 N LINCOLN ST                        11 KONDELIN RD                         609 WASHINGTONIA
BURBANK, CA 91504                        GLOUCESTER, MA 01930                   SAN MACROS, CA 92078




COMERCIALIZADORA DE REFACCIONES Y-       COMERICA BANK (2108)                   COMET ELECTRONICS - DIMITROV ALIPIEV
MAQUINADOS SA DE CV                      ATT LEWIS WISOTSKY/PROXY MGR           SD
MIGUEL ALEMAN 168                        411 WEST LAFAYETTE                     PRESIDENT
MIGUEL DE LA MADRID HURTADO              MAIL CODE 3530                         DISTRICT DRUZHBA 2, 47 OBIKOLNA STR
ZAPOPAN, JAL 45239 MEXICO                DETROIT, MI 48226                      SOFIA 1582
                                                                                BULGARIA


COMET ELECTRONICS                        COMET NORTH AMERICA INC                COMFORT CONTROL INC
ATTN DIPL ING EMIL DIMITROV, PRES        ATTN VP                                ATTN VICE PRESIDENT
16 TSAR SAMUIL STR                       76 PROGRESS DR                         2228 PAGE RD, STE 101
SOFIA                                    STAMFORD, CT 06902                     DURHAM, NC 27703
BULGARIA



COMFORT ENGINEERS                        COMLAB AG                              COMMERCIAL CLEAN UP AND DUMPSTER
F-574 LADO SARAI NEW DELHI               ATTN MSC ELECTRICAL ENGINEERING ICT    ATTN DAVID COLPITTS
DELHI 110030                             BFH                                    218 S ELIZABETH ST
INDIA                                    EY 13                                  DURHAM, NC 27701
                                         ITTIGEN 3063
                                         SWITZERLAND


COMMERCIAL CLEAN UP AND DUMPSTER         COMMERCIAL CONSTRUCTION CONSULTING     COMMERCIAL MECHANICAL SYSTEMS INC
ATTN DAVID COLPITTS                      313 CONGRESS STREET 2ND FLOOR          ATTN DDL DEPT SALES MNGR
P.O. BOX 97784                           BOSTON, MA 02210-1218                  5410 OLD POOLE RD
RALEIGH, NC 27624                                                               RALEIGH, NC 27610




COMMERCIAL RESOURCES CORP                COMMISSIONER OF CUSTOMS AND BORDER     COMMISSIONER OF TAXATION AND FINANC
499 ERNSTON RD                           PROTECTION                             NYS TAX DPT,RPC-HAZARDOUS WASTE,W A
PARLIN, NJ 08859                         ATTN FP&F OFFICER                      W A HARRIMAN CAMPUS
                                         6650 TELECOM DR, STE 100               ALBANY, NY 12227-0863
                                         INDIANAPOLIS, IN 46278



COMMONWEALTH LAND TITLE INSURANCE        COMMONWEALTH LAND TITLE INSURANCE      COMMONWEALTH MICROTECHNOLOGIES
CO                                       CO                                     CORP
5600 COX RD                              P.O. BOX 45023                         ATTN PRESIDENT
GLEN ALLEN, VA 23060                     JACKSONVILLE, FL 32232                 PO 5188
                                                                                MARTINSVILLE, VA 24115



COMMONWEALTH OF PUERTO RICO ATTY         COMMONWEALTH OF VIRGINIA, STATE CORP   COMMSCOPE INC
GENERAL                                  COMMISSION                             ATTN GLOBAL CATEGORY MGR
ATTN: DOMINGO EMANUELLI HERNANDEZ        P.O. BOX 1197                          1100 COMMSCOPE PL SE
P.O. BOX 9020192                         RICHMOND, VA 23218                     HICKORY, NC 28602
SAN JUAN, PR 00902-0192



COMMTECH INC                             COMMULITE LIMITED                      COMMUNICATIONS & POWER IN
ATTN VP OF SALES                         ATTN DIRECTOR                          45 RIVER DRIVE
9011 E 37TH ST N                         UNIT 12, SEAX COURT                    GEORGETOWN, ON L7G 2J4
WICHITA, KS 67226-2006                   SOUTHFIELDS INDUSTRIAL PARK            CANADA
                                         LAINDON, ESSEX SS15 6SL UNITED
                                         KINGDOM
COMMUNICATIONS &Case
                  POWER25-90163
                        IN          Document 87 Filed
                                       COMMUNICATIONS   in TXSB
                                                      & POWER     on 07/03/25 COMMUNICATIONS
                                                              IND LLC          Page 175 of &944
                                                                                             POWER INDUSTRIES
BEVERLY MICROWAVE DIVISION              ATTN PRESIDENT                         INC
BEVERLY, MA 01915-5536                  150 SOHIER RD                          ATTN VP
                                        BEVRLY, MA 01915                       811 HANSEN WAY
                                                                               PALO ALTO, CA 94304



COMMUNICATIONS SUPPLY CORPORATION       COMMUNITY IN SCHOOLS OF THE DALLAS     COMMUNITY ORGANIZING FOR RACIAL EQU
ATTN GM                                 INC.                                   (CORE)
200 E LIES RD                           1341 W MOCKINGBIRD LN, SUITE 1000E     181 SPRINGDALE DRIVE
CAROL STREAM, IL 60188                  DALLAS, TX 75247                       PITTSBORO, NC 27312-1043




COMMUNITY RESEARCH CENTRE CANADA        COMPACT DYNAMICS GMBH                  COMPACT PARTICLE ACCELERATION CORP
ATTN VP                                 MOOSSTRASSE 9                          ATTN GENERAL MGR
3701 CARLING AVE                        STARNBERG 82319                        1212 DEMING WAY
P.O. BOX 11493, STATION H               GERMANY                                MADISON, WI 53717
OTTAWA, ON K2H 8S2 CANADA



COMPACT PARTICLE ACCELERATOR CORP       COMPACT PARTICLE ACCELERATOR CORP      COMPAGNIN GIANCARLO IMPIANTI
ATTN CEO                                ATTN VP / GM                           VIA GARIBALDI 64
1240 DEMING WAY                         6336 B PATTERSON PASS RD               LEGNARO, PD 35020
MADISON, WI 53717                       LIVERMORE, CA 94550                    ITALY




COMPASS C CORP                          COMPASS GROUP USA INC                  COMPASS GROUP USA, INC.
ATTN VP & DIR OF ENGINEERING            ATTN DIVISION PRESIDENT                DBA CANTEEN VENDING
14 CRABAPPLE CT                         3101 SPRING FOREST RD                  2400 YORKMONT ROAD
BRANTFORD, ON N3R 5X9                   RALEIGH, NC 27616                      CHARLOTTE, NC 28217-4511
CANADA



COMPASS ROSE EVENTS INC                 COMPATIBLE ELECTRONICS INC             COMPEL JSC
ATTN REGIONAL DIR                       ATTN LAB MGR                           ATTN: ARTEM MALININ
267 WISCASSET RD                        102 OLINDA DR                          DERBENEVSKY BUSINESS PARK, OFFICE 202
BOOTHBAY, MN 04537                      BREA, CA 92823                         ENTR. 28, BLD. 1, 1/2 DERBENEVSKAYA STR.
                                                                               MOSCOW 115114 RUSSIA



COMPEL JSC                              COMPEL SPB                             COMPENSIA, INC.
ATTN: MAXIM SOLOMATIN                   ATTN CHIEF EXECUTIVE OFFICER           50 WEST SAN FERNANDO ST
23 NOVOHOHLOVSKAYA STREET, BUILDING 1   BOLSHOI PROSPECT OF VASILIEVSKIY ISL   SAN JOSE, CA 95113-2430
AREA 1, 3RD FLOOR, OFFICE 321           18, LIT A, 2ND FLORR
MOSCOW 109052 RUSSIA                    ST PETERSBURG 199034 RUSSIA



COMPETITIVE SOLUTIONS INC               COMPETITIVE TECHNOLOGIES INC           COMPEX CORP
ATTN MANAGING PARTNER                   ATTN VP & GENERAL COUNSEL              ATTN VP
1140 POWERS PLACE                       1960 BRONSON RD                        439 COMMERCE LN
ALPHARETTA, GA 30004                    FAIRFIELD, CT 06824                    WEST BERLIN, NJ 08091




COMPINTELLIGENCE INC                    COMPINTELLIGENCE                       COMPINTELLIGENCE, INC.
56 DRIFTWAY LANE                        56 DRIFTWAY LANE                       315 RIGGS STREET UNIT IB
NEW CANAAN, CT 06840-6501               NEW CANAAN, CT 06840-6501              OXFORD, CT 06478




COMPLETE COMMUNICATIONS INC             COMPLETE IONS LLC                      COMPLIANCE CONCEPTS INC
ATTN PRESIDENT                          ATTN MANAGER                           ATTN VP OPERATIONS
684 E VINE ST, STE 3                    36 LIBERTY RD                          8305 UNIVERSITY EXEC PARK DR, STE 320
MURRAY, UT 84107                        MARSHFIELD, MA 02050                   CHARLOTTE, NC 28262
                 Case
COMPONENT MARKETING   25-90163
                    SERVICES        Document 87 RESOURCES
                                       COMPONENT Filed in TXSB
                                                           LLC on 07/03/25 COMPONENT
                                                                            Page 176   of 944
                                                                                     SALES ASSOC LLC
ATTN PRES                               ATTN VP/ CO-OWNER                   ATTN PRESIDENT
110 PERTH PL                            239 MEDICAL DR                      6068 HWY 98, STE 1-242
DURHAM, NC 27712                        ANGLER, NC 27501                    HATTIESBURG, MS 39402




COMPONENT SURFACES INC                  COMPONENTS DISTRIBUTORS INC         COMPONENTSMAX INC
ATTN PRESIDENT                          ATTN SALES MGR                      ATTN PRES
11880 COMMUNITY RD, STE 380             2601 BLAKE ST, STE 450              5373 N NOB HILL RD
POWAY, CA 92064                         DENVER, CO 80205                    SUNRISE, FL 33351




COMPONENTSOURCE INC                     COMPOSTNOW INC                      COMPOSTNOW INC
650 CLAREMORE PROFESSIONIAL WAY 1       706 MOUNTFORD ST                    P.O. BOX 12152
WOODSTOCK, GA 30188-5188                RALEIGH, NC 27603-1944              RALEIGH, NC 27605-2152




COMPRESSED AIR CONSULTANTS INC          [NAME REDACTED]                     [NAME REDACTED]
ATTN PRESIDENT                          [ADDRESS REDACTED]                  [ADDRESS REDACTED]
417 E BLVD, STE 204
CHARLOTTE, NC 28203




COMPTROLLER OF MARYLAND                 COMPUGRAPHICS USA INC               COMPULAB LTD
UNCLAIMED PROPERTY                      ATTN PRESIDENT                      ATTN GEN MANAGER
301 W PRESTON ST, RM 310                120 C ALBRIGHT WAY                  17 HAYETSIRA ST
BALTIMORE, MD 21201                     LOS GATOS, CA 95032                 MORADOT HACARMEL INDUSTRIAL PARK
                                                                            YOKNEAM ILLIT 2069208 ISRAEL



COMPUSA INC                             COMPUSOFT INTERNATIONAL             COMPUSPEC INDUSTRIES LTD
ATTN MARK R WALKER, EXEC VP & GEN       RIVIKUJA 5 C 23                     ATTN TECHNICAL DIR
COUNSEL                                 SAVONLINNA                          3 RAKINO WAY
14951 N DALLAS PKWY                     FINLAND                             MT. WELLINGTON, AUCKLAND
DALLAS, TX 75254                                                            NEW ZEALAND



COMPUTEC ENGINEERING SDN. BHD.          COMPUTEC ENGINEERING TAIWAN LTD     COMPUTEC SCIENCE AND TECHNOLOGY CO
LEVEL 16, 1 SENTRAL                     3F COMPUTEC ICHIGAYA-BUILDING,      WEST 5/F, CHINA LIFE TOWER
KUALA LUMPUR 50470                      TOKYO 1620845                       16 CHAO WAI ST CHAOYANG DISTRICT
MALAYSIA                                JAPAN                               BEIJING 100020
                                                                            CHINA



COMPUTER CONNECTION OF CNY INC.         COMPUTER HELP                       COMPUTER PACKAGES INC
CCNY TECH                               ATTN OWNER                          ATTN OFFICE ADMINISTRATOR
145 NEW HARTFORD STREET                 557 10TH AVE N                      11 N WASHINGTON ST, STE 300
NEW HARTFORD, NY 13413                  SOUTH SAINT PAUL, MN 55075          ROCKVILLE, MD 20850




COMPUTER PROTECTION TECHNOLOGY INC      COMPUTERS DESIGNS INC               COMPUWARE CORP
ATTN PRESIDENT                          ATTN VP                             ATTN SENIOR COUNSEL
1215 PACIFIC OAKS PL, STE 106           5235 W COPLAY RD                    1 CAMPUS MARTIUS
ESCONDIDO, CA 92029                     WHITEHALL, PA 18052                 DETROIT, MI 48226




COMPUWARE TECHNOLOGY INC                COMREP INC                          COMSOL INC
ATTN RDS MNGR                           ATTN VICE PRESIDENT                 100 DISTRICT AVE
5F, 232 LIANCHENG RD                    3260 PEACHTREE IND BLVD, STE 10     BURLINGTON, MA 01803-5042
ZHONGHE DISTRICT                        DULUTH, GA 30096
NEW TAIPEI CITY 235 TAIWAN
COMTECH DIGITAL TECHCase    25-90163
                         (HONGKONG)  LTD Document
                                            COMTECH 87EF DATA
                                                         Filed in TXSB on 07/03/25 COMTECH
                                                                                     Page 177PST of 944
ATTN VICE PRESIDENT                         ATTN UNIT MGR, RF/MW                   ATTN DIRECTOR, CONTRACTS
GOODMAN KWAI CHUNG LOGISTICS CTR            2114 W 7TH ST                          105 BAYLIS RD
5F, BLK A, NO.585-609, CASTLE PEAK RD       TEMPE, AZ 85281                        MELVILLE, NY 11747
KWAI CHUNG, NT HONG KONG



CONA TECHNOLOGY CO LTD                   CONA TECHNOLOGY CO LTD                   [NAME REDACTED]
ATTN ENG MGR                             ATTN GENERAL MANAGER                     [ADDRESS REDACTED]
UNIT C, 11/F, YOO HOO TOWER, NO 38-42    RM 1012, 10/F, 113 ARGYLE ST
KWAI FUND CRESCENT                       MONGKOK
KWAI CHUNG, NT HONG KONG                 KOWLOON HONG KONG



CONATION TECHNOLOGIES                    [NAME REDACTED]                          CONCENTRA HEALTH SERVICES INC
ATTN MANAGING DIR                        [ADDRESS REDACTED]                       5400 S MIAMI BLVD, STE 112
101 S MERIDIAN, STE B                                                             DURHAM, NC 27703
PUYALLUP, WA 98371




CONCENTRA HEALTH SVCS INC                CONCENTRA HEALTH SVCS INC                CONCENTRA MEDICAL CENTERS
ATTN SHERRI MELTON                       C/O CONCENTRA INC                        P.O. BOX 82730
5400 S MIAMI BLVD, STE 112               ATTN OFFICE OF GENERAL COUNSEL           ATLANTA, GA 30354-0730
DURHAM, NC 27703                         5080 SPECTRUM DR, STE 400W
                                         ADDISON, TX 75001



CONCEPT MASONRY INC                      CONCEPT PART SOLUTIONS DBA CPS           CONCIPERE PTY LTD
ATTN PRESIDENT                           2047 ZANKER RD                           ATTN MANAGING DIRECTOR
116 KITTY HAWK DR                        SAN JOSE, CA 95131-2107                  7 QUOKKA CT
MORRISVILLE, NC 27560                                                             AUSTRALIND, WA 6233
                                                                                  AUSTRALIA



CONCORD TECHNOLOGIES HON KONG CO         CONCORDE ELECTRIC INC                    CONCORDIA LIGHTING & CONTROLS INC
LTD                                      ATTN OWNER                               ATTN BRUCE HEMMELMAN
RM A02, 6/F, HANG CHEONG FACTORY BLDG    296 HUYLER ST                            4109 NW FRUIT VALLEY RD, STE A
1 WING MING ST, CHEUNG SHA WAN           SOUTH HACKENSACK, NJ 07606               VANCOUVER, WA 98660
KOWLOON
HONG KONG


CONCOTE CORP                             CONCRETE RECYCLING RESOURCES LLC         CONCUR TECHNOLOGIES INC
ATTN PRESIDENT                           ATTN MANAGING PARTNER                    18400 NE UNION HILL ROAD
600 FREEPORT PKWY, STE 150               1800 N SALEM ST, STE 101                 REDMOND, WA 98052-3332
COPPELL, TX 75019                        APEX, NC 27523




CONCUR TECHNOLOGIES INC                  CONCUR TECHNOLOGIES, INC.                CONCURRENCY INC
ATTN CHIEF LEGAL OFFICER                 62157 COLLECTIONS CENTER DRIVE           ATTN PRES/CEO
601 108TH AVE NE, STE 1000               CHICAGO, IL 60693                        3190 GATEWAY RD
BELLEVUE, WA 98004                                                                BROOKFIELD, WI 53045




[NAME REDACTED]                          [NAME REDACTED]                          CONDUCTIVE CONTAINERS, INC.
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       10900 FOUNTAINS DRIVE
                                                                                  MAPLE GROVE, MN 55369-5743




CONDUCTIVE INKJET TECHNOLOGY LIMITED     CONEER ENGINEERING                       CONERGY AG
ATTN DIR                                 1629 AVE D, C7                           ATTN HEAD OF PRRODUCT DEVELOPMENT
SPRINGSTONE HOUSE, P.O. BOX 88           BILLINGS, MT 59102                       THEODOR-HEUSS-STR 53 63C
27 DEWSBURY RD, OSSETT                                                            BAD VIBEL D61118
WEST YORKSHIRE WF5 9WS UNITED                                                     GERMANY
KINGDOM
                  CaseLED
CONEXLED - ILLUMINACAO  25-90163
                           DE ALTA       Document  87 Filed in TXSB on 07/03/25 CONFIO
                                            CONFIO CORP                          PageSOFTWARE
                                                                                       178 of 944
                                                                                               INC
PERFORMANCE                                  ATTN VP WORLD WIDE SALES & SVC         4772 WALNUT, STE 100
ATTN MARKETING DIR                           4772 WALNUT, STE 100                   BOULDER, CO 80301-2532
RUA PATAGONIA, 70 TABOAO SAO                 BOULDER, CO 80301
BERNARDO DO CAMPO
SAO PAULO, SP 9666070 BRAZIL


CONFLICT-FREE SOURCING INITIATIVE, THE       [NAME REDACTED]                        CONIFER RF LLC
                                             [ADDRESS REDACTED]                     ATTN PRESIDENT
                                                                                    1951 CRESTLINE BLVD NW
                                                                                    OLYMPIA, WA 98502




[NAME REDACTED]                              [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                              CONNECTED DEVELOPMENT LLC              CONNECTICUT DEPARTMENT OF BANKING
[ADDRESS REDACTED]                           ATTN VP SALES                          SECURITIES AND BUSINESS INVESTMENTS
                                             5020 WESTON PKWY, STE 215              DIVISION
                                             CARY, NC 27513                         260 CONSTITUTION PLAZA
                                                                                    HARTFORD, CT 06103-1800



CONNECTICUT DEPARTMENT OF                    CONNECTICUT DEPT OF ENERGY AND         CONNECTICUT DEPT OF LABOR
DEPARTMENT OF CONSUMER PROTECTION            ENVIRONMENTAL PROTECTION               UNEMPLOYMENT INSURANCE
450 COLUMBUS BLVD                            79 ELM ST                              200 FOLLY BROOK BLVD
STE 901                                      HARTFORD, CT 06106-5127                WETHERSFIELD, CT 06109
HARTFORD, CT 06103-1840



CONNECTICUT DEPT OF PUBLIC HEALTH            CONNECTICUT DEPT OF REVENUE SERVICES   CONNECTICUT LIGHT & POWER CO, THE
410 CAPITOL AVE                              450 COLUMBUS BLVD., STE 1              107 SELDEN ST
HARTFORD, CT 06134                           HARTFORD, CT 06103                     BERLIN, CT 06037-1616




CONNECTICUT PLASTICS INC                     CONNECTRONICS CORP                     CONNELL TECHNOLOGIES CO LLC
ATTN VP                                      ATTN GENERAL MGR                       ATTN EXEC VP
1268 OLD COLONY RD                           2745 AVONDALE AVE                      350 LINDBERGH AVE
WALLINGFORD, CT 06492                        TOLEDO, OH 43607                       LIVERMORE, CA 94551




[NAME REDACTED]                              [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                     [ADDRESS REDACTED]




CONNEX ELECTRONICS INC                       CONNEY SAFETY PRODUCTS LLC             [NAME REDACTED]
ATTN CONTROLLER                              ATTN VICE PRESIDENT                    [ADDRESS REDACTED]
4540 ENTERPRISE ST                           3202 LATHAM DR
FREMONT, CA 94538                            MADISON, WI 53713




[NAME REDACTED]                              [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  179 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                         CONSERD GCV
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      KREKELSTRAAT 27
                                                                                  ZWIJNAARDE 9052
                                                                                  BELGIUM




CONSERVATION TECHNOLOGY OF ILLINOIS       CONSERVATION TECHNOLOGY OF ILLINOIS     [NAME REDACTED]
LLC                                       LLC                                     [ADDRESS REDACTED]
725 LANDWEHR RD                           ATTN PRES / CEO
NORTHBROOK, IL 60062-2349                 2783 SHERMER RD
                                          NORTHBROOK, IL 60062



[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           CONSOLIDATED CRYOGENCIS INC             CONSOLIDATED ELECT WIRE & CABLE CORP
[ADDRESS REDACTED]                        ATTN PRES                               ATTN DISTRICT SALES MGR
                                          15325 MANILA ST                         11044 KING ST
                                          FONTANA, CA 92337                       FRANKLIN PARK, IL 60131




CONSOLIDATED ELECTRICAL DISTRIBUTOR       CONSOLIDATED ELECTRONIC RESOURCES       [NAME REDACTED]
INC                                       2933 SOUTH MIAMI BLVD SUITE 122         [ADDRESS REDACTED]
1206 ERIE STREET                          DURHAM, NC 27703-9041
UTICA, NY 13502-3314




[NAME REDACTED]                           CONSTELLATION NEWENERGY - GAS DIV LLC   CONSTRUCTION SAFETY EXPERTS INC
[ADDRESS REDACTED]                        9960 CORPORATE CAMPUS DR, STE 2000      ATTN PRESIDENT
                                          LOUISVILLE, KY 40223                    7032 COPPERLEAF PL
                                                                                  CARY, NC 27519




CONSTRUCTION SOLUTIONS INTEGRATIONS       CONSTRUCTIONEERING LLC                  CONSTRULITA LIGHTING INTERNATIONAL SA
215 SPRUCE DR                             4542 REVERE ROAD                        DE CV
BENSON, NC 27504-5524                     RALEIGH, NC 27609                       ATTN ACCT MGR
                                                                                  ACCESO IV NO 3 FRACC
                                                                                  IND BENITO JUAREZ
                                                                                  QUERETARO 76130 MEXICO


CONSULTANTS TO THE ELECTRONICS            CONSUMER LINK MODERATING &              CONSUMER TECHNOLOGY ASSOCIATION
INDUSTRIES                                RESEARCH CONSULTING INC                 1919 SOUTH EADS STREET
DBA CTTEI                                 ATTN PRESIDENT                          ARLINGTON, VA 22202-3028
ATTN OWNER                                1237 W HOOD AVE
32 WALCOTT ST                             CHICAGO, IL 60660
NATICK, MA 01760
CONTA CLIP INC   Case 25-90163      Document  87 Filed in TXSB on 07/03/25 CONTECH
                                       [NAME REDACTED]                      Page 180    of 944
                                                                                   LIGHTING
ATTN PRODUCT MGR                        [ADDRESS REDACTED]                   ATTN JOHN RANSHAE, PRESIDENT & CEO
400 APGAR DR                                                                 725 LANDWEHR RD
SOMERSET, NJ 08873                                                           NORTHBROOK, IL 60062




CONTERRA ULTRA BROADBAND LLC            CONTEXT CAPITAL MANAGEMENT LLC       CONTEXT INFORMATION SECURITY LTD
DBA CONTERRA NETWORKS                   289 GREENWICH AVE                    ATTN CHIEF EXECUTIVE OFFICER
ATTN EVP, CRO                           2ND FL                               4TH FL, 30 MARSH WALL
5301 77 CENTER DR                       GREENWICH, CT 06830                  LONDON E14 9TP
CHARLOTTE, NC 28217                                                          UNITED KINGDOM



CONTI TEMIC MICROELECTRONIC GMBH        CONTINENTAL AG                       CONTINENTAL AG
ATTN HEAD OF FINANCE                    ATTN LARS ENGBERG                    VAHRENWALDER STR 9
SIEBOLDSTRASSE 19                       OSTERHOFENERSTRASSE 1                HANNOVER D-30165
NUMBERG 90411                           REGANSBURG 93055                     GERMANY
GERMANY                                 GERMANY



CONTINENTAL CASUALTY CO                 CONTINENTAL DESIGN CO. INC           CONTINENTAL DIAMOND TOOL
C/O CNA INS CO                          ATTN CEO                             CDT
ATTN DEP GC, SPEC OPS                   1524 JACKSON ST                      10511 ROSE AVE
CAN PL- 43S                             ANDERSON, IN 46016                   NEW HAVEN, IN 46774-1418
CHICAGO, IL 60685



CONTINENTAL LIGHTING SYSTEMS INC        CONTINENTAL RESOURCES INC            CONTOUR METROLOGICAL &
ATTN PRESIDENT                          175 MIDDLESEX TURNPIKE               MANUFACTURING INC
928 BROADWAY, STE 1010                  BEDFORD, MA 01730                    ATTN PRESIDENT
NEW YORK, NY 10010                                                           488 OLIVER DR
                                                                             TROY, MI 48084



CONTOURAL INC                           CONTRA COSTA ELECTRIC INC            CONTRACT DESIGN SERVICE INC
ATTN CFO                                ATTN VP                              ATTN GM
1935 LANDINGS DR                        825 HOWE RD                          7650 EDGECOMB DR
MOUNTAIN VIEW, CA 94043                 MARTINEZ, CA 94553                   LIVERPOOL, NY 13088




CONTRAST LIGHTING ML INC                [NAME REDACTED]                      [NAME REDACTED]
ATTN TECH DIRECTOR                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]
1009 RUE DU PARC INDUSTRIEL
SAINT-JEAN-CHYSOSTOME, QC G6Z 1C5
CANADA



CONTROL AUTOMATION TECHNOLOGIES         CONTROL AUTOMATION TECHNOLOGY CORP   CONTROL CONCEPTS INC
CORPORATION                             DBA CATLAB                           18760 LAKE DRIVE EAST
P.O. BOX 6598                           ATTN PRESIDENT                       CHANHASSEN, MN 55317-9384
WILLIAMSBURG, VA 23188-5225             337 MCLAWS CIR
                                        WILLIAMSBURG, VA 23185



CONTROL DEVELOPMENT INC                 CONTROL ELECTRIC CO                  CONTROL ELEMENTS INC
ATTN PRESIDENT                          ATTN PRESIDENT                       ATTN PRESIDENT
2633 FOUNDATION DR                      12130 EATON COMMERCE WAY             302 OLD BELL RD
SOUTH BEND, IN 46628                    COLUMBIA STATION, OH 44028           ST GEORGE, SC 29477




CONTROL LASER CORPORATION               CONTROL MICRO SYSTEMS INC            CONTROL PRODUCTS INC
7101 TPC DRIVE                          ATTN SALES DIRECTOR                  ATTN VICE PRESIDENT
ORLANDO, FL 32822-5105                  4420A METRIC DR                      280 RIDGEDALE AVE
                                        WINTER PARK, FL 32792                EAST HANOVER, NJ 07936
CONTROL RESOURCES Case
                    INC 25-90163     Document 87SALES
                                        CONTROL    Filed
                                                      INC in TXSB on 07/03/25 CONTROL
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                                                                                      SOLUTIONS INTL
ATTN PRESIDENT                           ATTN EXEC VP                          400 W CUMMINGS PARK, STE 1725-310
1302 RICHARD ST                          2330 BRICKVALE DR                     WOBURN, MA 01801-6500
P.O. BOX 3502                            ELK GROVE VILLAGE, IL 60007
SALISBURY, NC 28145



CONTROLE ANALYTIQUE INC                  CONTROLEX CORP                        CONTROLLED CONTAMINATION SERVICES,
ATTN PRESIDENT                           ATTN BRUCE KAUFMAN                    LLC
1076 JOHNSON EST, STE 101                14621 TITUS ST, STE 227               ATTN: LEGAL DEPARTMENT
THETFORD MINES, QC G6G 5W6               VAN NUYS, CA 91402                    14800 LANDMARK BLVD, SUITE 155
CANADA                                                                         DALLAS, TX 75254



CONTROLLED ENVIRONMENTS GROUP LLC        CONTROLLER INDEPENDENT LLC            CONTROLUP INC
ATTN PRES                                10214 HUTTON PARK DR                  3141 STEVEN CREEK BLVD, STE 41038
3519 HIGH SIERRA LN                      KATY, TX 77494-5902                   SAN JOSE, CA 95117
HOUSTON, TX 77084




CONVENTUS POLYMERS LLC                   CONVERGENCE PARTNERS, INC.            CONVERGENCE TECHNOLOGY CONSULTING
ATTN PRIN & OWNER                        ATTN: PETER KURTZ                     LLC
P.O. BOX 1157                            103 EAST 18TH AVENUE                  ATTN VP, FINANCE
BRISTOL, RI 02809                        NORTH KANSAS CITY, MO 64116           808 LANDMARK DR, STE 213
                                                                               GLEN BURNIE, MD 21061



CONVERGINT TECHNOLOGIES, LLC             [NAME REDACTED]                       CONVEYOR TECHNOLOGIES OF SANFORD
136 TOWERVIEW COURT                      [ADDRESS REDACTED]                    NC INC
CARY, NC 27513                                                                 ATTN OPERATIONS MGR
                                                                               5313 WOMACK RD
                                                                               SANFORD, NC 27330



CONVEYORS & DRIVES INC                   [NAME REDACTED]                       [NAME REDACTED]
ATTN MGR OF ENGINEERING                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]
1850C MACARTHUR BLVD NW
ATLANTA, GA 30318




COOK & WEIL, INC DBA CWI TECHNICAL       COOK AND BOARDMAN LLC                 [NAME REDACTED]
704 GINESI DRIVE SUITE 11A               DBA MARTIN ARCHITECTURAL              [ADDRESS REDACTED]
MORGANVILLE, NJ 07751-1249               511 EAST CHATHAM STREET
                                         CARY, NC 27511-6906




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          COOK, ROBERT J                        COOKE COMPANIES INTERNATIONAL
[ADDRESS REDACTED]                       DBA COOK ACOUSTICAL CONSULTANTS       105 YORK PL
                                         ATTN OWNER                            CHAPEL HILL, NC 27517
                                         4009 WOODFOX DR
                                         CHARLOTTE, NC 98277



[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]
COOL DRY INC     Case 25-90163   Document  87 Filed
                                    COOL LUMENS INC in TXSB on 07/03/25 COOL
                                                                         Page   182 ofINC
                                                                             POLYMERS   944
ATTN R&D VP                          ATTN PRESIDENT                      ATTN GENERAL MANAGER
25400 LOMA ROBLES DR                 497 LAKE AVE                        333 STRAWBERRY FIELD RD
CARMEL, CA 93928                     SANTA CRUZ, CA 95062                WARWICK, RI 02886




COOL POLYMERS INC                    COOLCAD ELECTRONICS LLC             COOLEDGE LIGHTING INC
ATTN GENERAL MANAGER                 7101 POPLAR AVENUE                  ATTN BUS MGR & CONTROLER
51 CIRCUIT DR                        TAKOMA PARK, MD 20912-4671          3751 N FRASER WAY, UNIT 1
NORTH KINGSTOWN, RI 02852                                                BURNABY, BC V5J 5G4
                                                                         CANADA



COOLER MASTER CO LTD                 COOLER MASTER USA INC               COOLER MASTER
ATTN DIRECTOR                        ATTN DIR                            ATTN REGIONAL MGR
9F, NO 786, CHUNG CHENG              1951 S PARCO AVE, UNIT A            4124 CLIPPER CT
CHUNG HO CITY, TAIPEI HSIEN          ONTARIO, CA 91761                   FREMONT, CA 94538
TAIWAN



[NAME REDACTED]                      COOLIANCE INC                       COOLING SOURCE INC
[ADDRESS REDACTED]                   ATTN PRESIDENT                      ATTN PRESIDENT
                                     60 ALHAMBRA RD, STE 1               5001 GREAT AMERICA PKWY, STE 400
                                     WARWICK, RI 02888                   SANTA CLARA, CA 95054




COOLON PTY LTD                       COOL-VIEW LLC                       [NAME REDACTED]
ATTN TECHNICAL DIR                   ATTN PRESIDENT                      [ADDRESS REDACTED]
40 DOWNING ST                        10780 SAFETY ST
OAKLEIGH, VIC 3166                   FORT MYERS, FL 33908
AUSTRALIA



COOPER CONSULTING SERVICES INC       COOPER CROUSE-HINDS LLC             COOPER ELECTRIC
ATTN CHIEF FINANCIAL OFFICER         ATTN MVP OPTICS ENG                 315 CRANBURY HALF ACRE ROAD
4334 VALLE VISTA                     1200 KENEDY RD                      CRANBURY, NJ 08512-3253
SAN DIEGO, CA 92103                  WINDSOR, CT 06095




COOPER ELECTRICAL CONSTRUCTION       COOPER FULLEON LTD                  COOPER LIGHTING AND SAFETY LTD
COMPANY                              LLANTARNAM PARK                     ATTN DESIGN DIR
ATTN VP                              CWMBRAN NP44 3AW                    WHEATLEY HALL RD
1706 E WENDOVER AVE                  UNITED KINGDOM                      DONCASTER S YORKSHIRE DN2 4NB
GREENSBORO, NC 27405                                                     UNITED KINGDOM



COOPER LIGHTING INC                  COOPER LIGHTING LLC                 [NAME REDACTED]
ATTN VP ENGINEERING                  C/O EATEN CORP PLC                  [ADDRESS REDACTED]
CUSTOMER FIRST CENTER                ATTN GENERAL COUNSEL
1121 HWY 74 SOUTH                    1000 EATON BLVD
PEACHTREE CITY, GA 30269             CLEVELAND, OH 44122



[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  183 of 944
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[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




COORSTEK GK                               COORSTEK INC                        COORSTEK KOREA LTD
OSAKI WIZ TOWER, 11-1, OSAKI 2-CHOM       1100 COMMERCE PARK DRIVE            23-1-11 LOT, GUMI 4TH INDUSTRIAL CO
TOKYO 1410032                             OAK RIDGE, TN 37830-8018            GUMI-CITY 730400
JAPAN                                                                         SOUTH KOREA




COPE ASSEMBLY PRODUCTS                    COPE PLASTICS INC                   COPELAND LOWERY JACQUEZ DENTON &
ATTN PARTNER                              ATTN BRANCH MGR                     SHOCKEY
40747 STONEBURNER MILL LN                 4441 INDUSTRIAL DR                  525 9TH ST NW, STE 800
LOVETTSVILLE, VA 20180                    ALTON, IL 62002                     WASHINGTON, DC 20004




[NAME REDACTED]                           [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




CO-PLANAR INC                             COPLEY CONTROLS                     COPPER III 2021 LLC
ATTN PRESIDENT                            ATTN ASST GM & DIR OF ENGINEERING   4725 PIEDMONT ROW DR, STE 800
100 ROUNDHILL DR                          20 DAN RD                           CHARLOTTE, NC 28210
ROCKAWAY, NJ 07866-0215                   CANTON, MA 02021




COPPER MOUNTAIN TECHNOLOGIES              COPPER WAVE INC                     COPYRIGHT CLEARANCE CENTER INC
631 EAST NEW YORK STREET                  ATTN PRESIDENT                      ATTN VP, BUSINESS OPERATIONS
INDIANAPOLIS, IN 46202-3706               705 SKYMONT DR                      222 ROSEWOOD DR
                                          HOLLY SPRINGS, NC 27540             DENVERS, MA 01923




CORA AERO LLC                             [NAME REDACTED]                     CORAC GROUP PLC
ATTN GEN COUNSEL                          [ADDRESS REDACTED]                  ATTN DIRECTOR
2700 BRODERICK WAY                                                            BRUNEL SCIENCE PARK
MOUNTAIN VIEW, CA 94043                                                       KINGSTON LN
                                                                              UXBRIDGE UB8 3PQ UNITED KINGDOM



[NAME REDACTED]                           [NAME REDACTED]                     CORD SPECIALTIES CO
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  ATTN PRESIDENT
                                                                              10632 W GRAND AVE
                                                                              FRANKLIN PARK, IL 60131
[NAME REDACTED] Case 25-90163    Document 87LIGHTING
                                    CORDELLA   Filed INC
                                                     in TXSB on 07/03/25 CORDITION
                                                                          Page 184    of 944
                                                                                   GMBH
[ADDRESS REDACTED]                   ATTN SR VP PROJECT MGMT                  INGOLSTADTERSTRABE 22
                                     20101 S FE AVE                           MUNCHEN 80807
                                     RANCHO DOMINGUEZ, CA 90221               GERMANY




[NAME REDACTED]                      [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                       [ADDRESS REDACTED]




CORD-SETS INC                        CORE CONSULTING LLC                      CORE DESIGN INC
ATTN VICE PRESIDENT                  ATTN PARTNER                             ATTN PRESIDENT
1015 5TH ST N                        163 GREEN BAY RD                         160 GLEN BRIDGE RD
MINNEAPOLIS, MN 55441                THIENSVILLE, WI 53092                    ARDEN, NC 28704




CORE MASTER                          CORE METROLOGY, INC.                     CORE SALES INC
ATTN OWNER                           DBA CORE SERVICES, LLC                   ATTN PRESIDENT
6038 HARRISONTOWN RD                 1271 SHINE AVENUE                        901 WARRENVILLE RD, STE 211
ROCKY MOUNT, NC 27804                MYRTLE BEACH, SC 29577-1508              LISLE, IL 60532




CORE SYSTEMS INC                     CORECOMPETENCE MESSE-LADENBAU            COREL RESEARCH AND DEVELOPMENT
ATTN VICE PRESIDENT, B&D             BERGHOFFSTR. 30                          ATTN OWNER
805 ALDO AVE                         OSNABRUECK 49090                         906 SW SAINT LUCIE WEST BLVD 298
SANTA CLARA, CA 95054                GERMANY                                  PORT SAINT LUCIE, FL 34986




CORELASE OY                          CORELED SYSTEMS LLC                      CORELED SYSTEMS LLC
ATTN MANAGING DIR                    ATTN PRESIDENT                           ATTN PRESIDENT,OWNER
P.O. BOX 73                          38025 SCHOOLCRAFT RD                     41876 BRENTWOOD DR
KAUHAKORVENKATU 52                   LIVONIA, MI 48150                        PLYMOUTH, MI 48170
TAMPERE 33720 FINLAND



COREPOWER MAGNECTICS INC             CORESEM INC                              CORETEQ SYSTEMS
ATTN CHIEF EXECUTIVE OFFICER         ATTN PRESIDENT                           ATTN DIRECTOR
1435 BEDFORD AVE                     NO 102-905, BURCHEON TECHNOPARK 1, 364   450 BATH RD
PITTSBURGH, PA 15219                 SAMJUNG-DONG, OHJUNG-GU                  LONGFORD, HEATHROW UB70EB
                                     BUCHEON, GYEONGGI-DO 421-809 SOUTH       UNITED KINGDOM
                                     KOREA


CORETRONIC CORP INC                  [NAME REDACTED]                          [NAME REDACTED]
ATTN GEN MGR, BKL BG                 [ADDRESS REDACTED]                       [ADDRESS REDACTED]
NO 2, KE BEI RD 5TH
SCIENCE PARK
CHU NAN, MIAOLI 350 TAIWAN



[NAME REDACTED]                      CORMORANT TECHNOLOGIES                   CORNELIUS INC
[ADDRESS REDACTED]                   11710 PLAZA AMERICA DR, STE 2000         ATTN DIR SUPPLY CHAIN
                                     RESTON, VA 20191                         101 REGENCY DR
                                                                              GLENDALE HEIGHTS, IL 60139




CORNELL DUBILIER MARKETING INC       CORNELL RESEARCH FOUNDATION INC          CORNELL UNIVERSITY
ATTN PRESIDENT                       ATTN VP                                  CORNELL NANOSCALE FACILIT
140 TECHNOLOGY PL                    20 THORNWOOD DR, STE 105                 250 DUFFIELD HALL
LIBERTY, SC 29657                    ITHACA, NY 14850                         ITHACA, NY 14853-2700
[NAME REDACTED] Case 25-90163        Document 87 Filed
                                        CORNERSTONE     in TXSB
                                                    COMPOSITES INCon 07/03/25 CORNERSTONE
                                                                               Page 185 of   944
                                                                                          ELECTRICAL SERVICES INC
[ADDRESS REDACTED]                       ATTN VP                                 ATTN PRESIDENT
                                         900 E VIENNA ST                         2 INDUSTRIAL WAY, UNIT 402
                                         MILWAUKEE, WI 53212                     SALEM, NH 03079




CORNERSTONE SALES LLC                    CORNERSTONE SCG/TBR LLC                 CORNERSTONE TECHNOLOGY LLC
625 HUTTON ST, STE 104                   100 TERRASTONE PL                       ATTN PRESIDENT
RALEIGH, NC 27606                        CARY, NC 27519                          5 MOAT CT
                                                                                 BEAR, DE 19701




CORNING CABLE SYSTEMS GMBH & CO KG       CORNING MOBILE ACCESS LTD               CORNING SPECIALTY MATERIALS
ATTN DIRECTOR                            ATTN GENERAL MANAGER                    ATTN BUSINESS MGR
WALTHER-NERNST-STR 3&5                   GOLAN BLDG,                             265 CORNING DR
BERLIN 12489                             HAGOLAN ST & HANEGEV ST                 DANVILLE, VA 24541
GERMANY                                  AIRPORT CITY 70151 ISRAEL



CORNING TROPEL CORP                      CORNISH & CAREY COMMERCIAL              CORNISH & CAREY COMMERICAL
ATTN SR VP COMM OPS                      C/O NEWMARK CORNISH & CAREY             245 LYTTON AVE, STE 150
60 OCONNOR RD                            2804 MISSION COLLEGE BLVD, STE 120      PALO ALTO, CA 94301
FAIRPORT, NY 14450                       SANTA CLARA, CA 95054




[NAME REDACTED]                          [NAME REDACTED]                         CORP FOR NATIONAL RESEARCH INITIATIVES
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      ATTN VP
                                                                                 1895 PRESTON WHITE DR, 100
                                                                                 RESTON, VA 20191




CORP SERVICE CO                          CORPORATE ADVISORS INC                  CORPORATE EXECUTIVE BOARD CO, THE
ATTN VICE PRESIDENT                      ATTN PRESIDENTE                         1919 N LYNN ST
2711 CENTERVILLE RD                      1101 30TH ST NW, STE 500                ARLINGTON, VA 22209
WILMINGTON, DE 19808                     GEORGETOWN PLACE, DC 20007




CORPORATE EXPRESS OFFICE PRODUCTS        CORPORATE EXPRESS OFFICE PRODUCTS       CORPORATE FITNESS WORKS INC
INC                                      INC                                     ATTN BETH VIVIO
ATTN RICH COLEMAN                        C/O CORPORATE EXPRESS INC               1200 16TH ST N
1133 POPLAR CREEK DR                     ATTN THOMAS F CULLEN, SVP/GEN COUNSEL   ST PETERSBURG, FL 33705
HENDERSON, NC 27537                      1 ENVIRONMENTAL WAY
                                         BROOMFIELD, CO 80021


CORPORATE TAX MANAGEMENT INC             CORPORATE TRAVEL MGMT NORTH             [NAME REDACTED]
ATTN VICE PRESIDENT                      AMERICA INC                             [ADDRESS REDACTED]
9001 AIRPORT FWY, STE 700                ATTN DIR BD
FORT WORTH, TX 76180                     16420 PARK TEN PLACE DR, STE 455
                                         HOUSTON, TX 77084



CORRECT PRODUCTS INC                     [NAME REDACTED]                         [NAME REDACTED]
610 PRESIDENTIAL DRIVE SUITE 104         [ADDRESS REDACTED]                      [ADDRESS REDACTED]
RICHARDSON, TX 75081-2956




CORRELATED MAGNETICS RESEARCH LLC        CORRIGAN BENTLEY EXECUTIVE LTD          CORRIGAN, MCCOY & BUSH, PLLC
101 QUALITY CIR NW, 150                  ATTN DIRECTOR                           SCOTT W. BUSH
HUNSTVILLE, AL 35806                     CORRIGAN HOUSE, 3 WINDSOR PL            220 COLUMBIA TURNPIKE, RENSSELAER
                                         FARADAY RD, MANOR ROYAL BUSINESS DIST   NY
                                         CRAWLEY, WEST SUSSEX RH10 9TF UNITED    12144-4103 sbushcmb-lawfirm.com 518-477-
                                         KINGDOM                                 4578
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CORROSION MATERIALS                  Document
                                        CORT 87 Filed in TXSB on 07/03/25 CORTEK
                                                                           PageTEST
                                                                                 186SOLUTIONS
                                                                                     of 944 LLC
ATTN SALES MNGR                          14850 CONFRENCE CENTER DR, STE 110       430 LE ROY DRIVE
2262 GROOM RD                            CHANTILLY, VA 20151                      CORONA, CA 92879-1361
BAKER, LA 70714




[NAME REDACTED]                          [NAME REDACTED]                          COSENTINI ASSOC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       2 PENNSYLVANIA PLZ
                                                                                  NEW YORK, NY 10121




COSMIC SOURCE PHOTOELECTRIC TECH CO      COST MANAGEMENT GROUP LLC                COSTA, CORIE
LTD                                      ATTN VICE PRESIDENT, SALES               510 KINLEY NE
LANHONG HAOYUAN 8/F                      5490 MCGINNIS VILLAGE PL, STE 100        ALBUQUERQUE, NM 87102
SHEKOU HAICHANG STREET                   ALPHARETTA, GA 30005
NANSHAN DISTRICT
SHENZHEN CHINA


[NAME REDACTED]                          COSTCO WHOLESALE MEMBERSHIP INC          [NAME REDACTED]
[ADDRESS REDACTED]                       C/O COSTCO WHOLESALE CORP                [ADDRESS REDACTED]
                                         ATTN LEGAL DEPT
                                         999 LAKE DR
                                         ISSAQUAH, WA 98027



[NAME REDACTED]                          COTCO HOLDINGS LIMITED                   COTCO HOLDINGS LIMITED
[ADDRESS REDACTED]                       ATTN IVOR LEE                            C/O PAUL HASTINGS JANOFSKY & WALKER
                                         6/F, PHOTONICS CENTRE                    LLP
                                         HONG KONG SCIENCE PARK                   21-22/F BANK OF CHINA TWR
                                         HONG KONG                                1 GARDEN RD, CENTRAL
                                                                                  HONG KONG


COTCO HOLDINGS LTD                       COTCO INTERNATIONAL LIMITED              COTCO INTERNATIONAL LTD
ATTN MANAGING DIR                        6/F PHOTONICS CENTRE                     ATTN GENERAL MGR
UNIT 1301, VANTA INDUSTRIAL CENTRE       NO.2 SCIENCE PARK E AVE                  UNITS 1-5, 13/F, VANTA INDUSTRIAL CENTRE
TAI LIN PAI RD                           HONG KONG SCIENCE PARK                   21 TAI LIN PAI RD
KWAI CHUNG, NT HONG KONG                 HONG KONG                                KWAI CHUNG HONG KONG



COTCO JAPAN CO LTD                       COTCO LUMINANT DEVICE (HUIZHOU) LTD      COTCO LUMINANT DEVICE LIMITED
2F, KONAN SANRITSU-DC BLDG 4-27          1F BLDG 8 NO.21, JIANGBEI YUNSHAN E RD   ATTN RICHARD SY
3-CHOME, KONAN                           HUIZHOU CITY, GUANGDONG                  6/F, PHOTONICS CENTRE
MINATO-KU                                CHINA                                    2 SCIENCE PARK E AVE, HK SCIENCE PARK
TOKYO 108-0075 JAPAN                                                              SHATIN HONG KONG



COTCO OPTO TECHNOLOGY (SHANGHAI) LTD     [NAME REDACTED]                          COTRONICS CORPORATION
RM 508, SCIENCE & TECH TOWER             [ADDRESS REDACTED]                       ATTN SALES REPRESENTATIVE
NO.9 SOUTH ST, ZHONG GUAN CUN                                                     131 47TH ST
HAI DIAN DISTRICT                                                                 BROOKLYN, NY 11232
BEIJING CHINA



[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                          COUCH OIL COMPANY OF DURHAM INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       P.O. BOX 2753
                                                                                  DURHAM, NC 27715-2753
[NAME REDACTED] Case 25-90163     Document
                                     COUGAR87  Filed in CORP
                                            COMPONENTS  TXSB on 07/03/25 [NAME
                                                                           Page  187 of 944
                                                                               REDACTED]
[ADDRESS REDACTED]                    ATTN PRESIDENT AND CEO               [ADDRESS REDACTED]
                                      290 SANTA ANA CT
                                      SUNNYVALE, CA 94085




[NAME REDACTED]                       [NAME REDACTED]                      COUNTDOWN CITY INSTALLS LLC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   ATTN OWNER
                                                                           1108 JUNO PL
                                                                           MELBOURNE, FL 32940




COUNTERTOP FACTORY INC, THE           COUNTY OF CHATHAM                    COUNTY OF DURHAM
ATTN PRESIDENT                        P.O. BOX 608                         DURHAM COUNTY TAX COLLECTOR
6009 TRIANGLE DR                      PITTSBORO, NC 27312                  DURHAM, NC 27702-3090
RALEIGH, NC 27617




COUNTY OF ONEIDA                      COUNTY OF ONEIDA                     COUPA SOFTWARE INC
ATTN SEAN DEERY                       P.O. BOX 442                         ATTN VP & CG
109 N MAIN ST                         UTICA, NY 13503-0442                 1855 S GRANT ST
1627                                                                       SAN MATEO, CA 94402
ONEIDA, NY 13421



COUPAGE DESIGN                        [NAME REDACTED]                      COURTSIDE SERVICES INC
ATTN CFO                              [ADDRESS REDACTED]                   ATTN GM
3897 24TH ST                                                               1320 HODGES ST
SAN FRANCISCO, CA 94114                                                    RALEIGH, NC 27604




COURTYARD BY MARRIOTT HONG KONG       COURY SCIENCE AND ENGINEERING PLLC   [NAME REDACTED]
SHA TIN                               P.O. BOX 125                         [ADDRESS REDACTED]
ATTN DIR OF MARKETING                 HAMPSTEAD, NC 28443
1 ON PING ST
SHATIN, NT
HONG KONG


COUSINS SUBS                          [NAME REDACTED]                      [NAME REDACTED]
ATTN PRESIDENT                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]
13330 WASHINGTON AVE
STURTEVANT, WI 53177




[NAME REDACTED]                       COVAL VACUUM TECHNOLOGY              COVALENT MATERIALS CORP
[ADDRESS REDACTED]                    901-102 JONES FRANKLIN ROAD          ATTN GM CERAMICS DIV
                                      RALEIGH, NC 27606-3374               NISSEI BLDG, 6-3 OSAKI 1 CHOME
                                                                           SHINAGAWA-KU
                                                                           TOKYO 141-0032 JAPAN



COVANTA ENVIRONMENTAL SOLUTIONS LLC   COVEO SOFTWARE CORP                  COVERT SCIENCE GMBH
29023 NETWORK PLACE                   ATTN CFO                             KOEPENICKER STRAßE 148
CHICAGO, IL 60673-1290                DEPT CH 16766                        BERLIN 10997
                                      PALATINE, IL 60055-6766              GERMANY




COVESTRO LLC                          COVINGTON CORP                       COVINGTON POWER SERVICES
1 COVESTRO CIR                        520 E FRANKLIN ROAD                  ATTN GENERATOR SERVICE MANAGER
PITTSBURGH, PA 15205                  MERIDIAN, ID 83642-2940              8015 PIEDMONT TRIAD PKWY
                                                                           GREENSBORO, NC 27419
[NAME REDACTED] Case 25-90163     Document  87 Filed in TXSB on 07/03/25 [NAME
                                     [NAME REDACTED]                       Page  188 of 944
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[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                       COWBELL ENGINEERING CO LTD
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    ATTN EXECUTIVE CORPORATE OFFICER
                                                                            1739-1 NAGATORO SAKU
                                                                            NAGANO 385-0021
                                                                            JAPAN



COWEN EXECUTION SVCS (8185)           [NAME REDACTED]                       COX BUSINESS
ATT HOWARD FLAXER OR PROXY MGR        [ADDRESS REDACTED]                    ATTN TOMMIE RAE BARNETT
3501 QUADRANGLE BLVD                                                        P.O. BOX 787
STE 200                                                                     GOLETA, CA 93117
ORLANDO, FL 32817



COX MFG CO INC                        [NAME REDACTED]                       [NAME REDACTED]
ATTN VP , BUS DEV                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]
5500 N 1604 E
SAN ANTONIO, TX 78247




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                       CP COMPACT PRODUCT LTD
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    ATTN MARKETING MGR
                                                                            701 CONNAUGHT COMMERCIAL BLDG
                                                                            185 WANCHAI RD
                                                                            WANCHAI HONG KONG



CP GAUGER CO INC                      CPA GLOBAL LTD                        CPA GLOBAL NORTH AMERICA LLC
ATTN PRESIDENT                        F/K/A COMPUTER PATENT ANNUITIES LTD   ATTN VP OPERATIONS
11300 W THEODORE TRECKER WY                                                 225 REINEKERS LN, STE 400
WEST ALLIS, WI 53214                                                        ALEXANDRIA, VA 22314




C-PAK CERGAS SDN BHD                  CPCNET HONG KONG LIMITED              CPG SOLUTIONS LLC
LOT 22 LORONG BUNGA TANJUNG 3/1       ATTN SALES MANAGER                    6400 CONGRESS AVE, STE 1750
SEREMBAN 70400                        20/F LINCOLN HOUSE, TAIKOO PLACE      BOCA RATON, FL 33487
MALAYSIA                              979 KING RD
                                      QUARRY BAY HONG KONG
                 Case
CPI LOCUS MICROWAVE  INC 25-90163   Document  87 Filed
                                       CPIC PROPERTY     in TXSB
                                                     & CASUALTY CO on
                                                                   LTD 07/03/25 CPK
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                                                                                    INDUSTRIES  944
ATTN MGR, CONTRACTS                     C/O CHINA PACIFIC INSURANCE (GROUP) CO    ATTN PRES
176 TECHNOLOGY DR, STE 200              LTD                                       1535 GEHMAN RD
BOALSBURG, PA 16827-1530                NO 1, ZHONGSHAN S RD                      HARLEYSVILLE, PA 19438
                                        HUANGPU DIST SHANGHAI
                                        SHANGHAI 200010 CHINA


CPM ELETTRONICA SRL                     CPM SALES & MARKETING                     CPM SDN BHD
ATTN MARCO LUCIANI                      ATTN PRESIDENT                            ATTN DIRECTOR
VIA GIUSEPPE MICALI 24/26               1021 PAMLICO DR                           B-02-20 KRYSTAL POINT
ROMA, RM 00124                          CARY, NC 27511                            JALAN SULTAN AZLAN SYAH
ITALY                                                                             SUNGAI NIBONG 11900 MALAYSIA



CPM SDN BHD                             CPM SDN BHD                               CPP INC
ATTN DIRECTOR                           LEVEL 21, STE 21. 01, THE GARDENS S TWR   ATTN DIR OF MARKETING
THE CEO, 31-15-3A                       MID VALLEY CITY                           2400 MIDPOINT DR
LEBUH NIPAH 5, BAYAN LEPAS              LINGKARAN SYED PUTRA                      FORT COLLINS, CO 80525
PENANG 11900 MALAYSIA                   KUALA LUMPUR MALAYSIA



CPS 5 LLC                               CPS RESOURCES INC                         CPS TECHNOLOGIES CORP.
ATTN ALI CIAFRE, CPS EVENTS             ATTN MKT DIR                              111 SOUTH WORCESTER ST.
C/O THE PLAZA HOTEL                     2000 INNOVATION DR                        NORTON, MA 02766-2102
770 5TH AVE, 3RD FL                     INDIAN TRAIL, NC 28079
NEW YORK, NY 10019



CPS TECHNOLOGIES                        CPS US INC                                CR CABINETRY INC
P.O. BOX 844078                         ATTN PRES                                 716 LUNT AVE
BOSTON, MA 02284-4078                   2935 S FISH HATCHERY RD, STE 157          SCHAUMBURG, IL 60193
                                        MADISON, WI 53711




CR CONTROL SYSTEMS INC                  [NAME REDACTED]                           [NAME REDACTED]
ATTN ENGINEERING MNG                    [ADDRESS REDACTED]                        [ADDRESS REDACTED]
20 AIRPARK RD
WEST LEBANON, NH 03784




[NAME REDACTED]                         CRAFT METAL PRODUCTS INC                  CRAFTECH INDUSTRIES INC
[ADDRESS REDACTED]                      ATTN VP                                   ATTN DIR OF FINANCE
                                        2751 N EMERSON AVE                        8 DOCK ST, BOX 636
                                        INDIANAPOLIS, IN 46218                    HUDSON, NY 12534




CRAIG MACHINERY & DESIGN INC            [NAME REDACTED]                           [NAME REDACTED]
ATTN VP                                 [ADDRESS REDACTED]                        [ADDRESS REDACTED]
629 W MAGNOLIA AVE
LOUISVILLE, KY 40208




[NAME REDACTED]                         CRAMER COIL & TRANSFORMER CO INC          [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN MGR BUS DEV                          [ADDRESS REDACTED]
                                        401 N PROGRESS DR
                                        SAUKVILLE, WI 53080




[NAME REDACTED]                         CRANE AEROSPACE & ELECTRONICS A           CRANE AEROSPACE & ELECTRONICS
[ADDRESS REDACTED]                      CRANE CORP CO                             ATTN GRP DIR, SUPPLY CHAIN MGMT
                                        ATTN CONTRACTS MGR                        16700-13TH AVE W
                                        84 HILL AVE                               P.O. BOX 97027
                                        FORT WALTON BEACH, FL 32548               LYNNWOOD, WA 98046-9727
CRANE ELECTRONICS Case
                   INC 25-90163        Document  87 Filed in
                                          CRANE ELECTRONICS   TXSB on 07/03/25 CRANE
                                                            INC                  Page  190 of
                                                                                     MORLEY INC944
ATTN CONTRACTS MANAGER                     ATTN RF ENGINEER                      ATTN PRESIDENT
10301 WILLOWS RD NE                        340 N ROOSEVELT AVE                   16782 VON KARMAN AVE, STE 16
REDMOND, WA 98502                          CHANDLER, AZ 85226                    IRVINE, CA 92606




CRANE PRODUCTION SYSTEMS CORP              [NAME REDACTED]                       [NAME REDACTED]
ATTN VP SALES                              [ADDRESS REDACTED]                    [ADDRESS REDACTED]
N22 W22931 NANCYS CT
WAUKESHA, WI 53186




[NAME REDACTED]                            [NAME REDACTED]                       CRAWFORD SPRINKLER CO OF RALEIGH IN
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    2725 SOUTH SAUNDERS STREET
                                                                                 RALEIGH, NC 27603-3234




[NAME REDACTED]                            [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                       CRB HIGH FIELD LLC
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    ATTN OWNER
                                                                                 2335 COCONUT LANE
                                                                                 MERRITT ISLAND, FL 32952




CRC SYSTEMS                                CREARE INC                            CREATION TECHNOLOGIES OF WISCONSIN
8309 N SAULRAY STREET                      ATTN CONTRACTS MGR                    INC
TAMPA, FL 33604-2739                       16 GREAT HOLLOW RD                    ATTN VP & GM
                                           HANOVER, NH 03755                     2250 W SOUTHBRANCH BLVD
                                                                                 OAK CREEK, WI 53154



CREATIVE ASSOCIATES INC                    CREATIVE AUTOMATION COMPANY           CREATIVE CIRCLE LLC
8540 COLONNADE CENTER DR, STE 106          ATTN PRESIDENT                        ATTN ACCOUNT MGR
RALEIGH, NC 27615                          11641 PENDLETON ST                    330 N WABASH, STE 1430
                                           SUN VALLEY, CA 91352                  CHICAGO, IL 60611




CREATIVE DESIGN ENGINEERING, INC.          CREATIVE DEVICES INC                  CREATIVE ELECTRON INC
20565 ALVES DRIVE                          ATTN PRESIDENT                        ATTN PRESIDENT
CUPERTINO, CA 95014-2236                   361 MISTY VALE DR                     253 PAWNEE ST
                                           MIDDLETOWN, DE 19709                  SAN MARCOS, CA 92078




CREATIVE ELECTRON INC                      CREATIVE ELECTRONIC CONSULTANTS LLC   CREATIVE ELECTRONIC HOLDING LTD
ATTN VP                                    ATTN MANAGER, CEC LLC                 ATTN CHAIRMAN
310 VIA VERA CRUZ, STE 107                 1815 W MAIN ST                        3F ON BLDG B, JINGCHENG SCIENCE &
SAN MARCOS, CA 92078                       SLEEPY HOLLOW, IL 60118               TECH PARK, YU YUAN, HUANGJING
                                                                                 DONGGUAN, GUANGDONG CHINA



CREATIVE ELECTRONICS SRL                   CREATIVE IMPRESSIONS INC              CREATIVE LAB CO LTD
ATTN CEO                                   ATTN PRESIDENT                        ATTN MANAGING DIR
BD1 MAI NR 20, BL 10S14, AP 30 SEC 6       829 S GREEN BAY RD, STE 105           249/27-28 RANSIT PATHUMTHANEE RD
BUCHAREST                                  RACINE, WI 53406                      BANGPOON MUANG
ROMANIA                                                                          PATHUMTHANEE 12000 THAILAND
CREATIVE LIGHTING Case  25-90163
                  & ASSOC SYSTEMS INCDocument
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                                                         SOLUTIONS LLCon 07/03/25 CREATIVE
                                                                                    Page 191
                                                                                           METALofPRODUTS
                                                                                                   944 INC
(CLAS)                                  ATTN PRESIDENT                            ATTN PRESIDENT
ATTN PRESIDENT                          1035 DAIRY ASHFORD RD, STE 120            505 W 3RD ST
206 N SPRUCE                            HOUSTON, TX 77079                         KIMBERLY, WI 54136
P.O. BOX 500
VALLEY, NE 68064


CREATIVE SAFETY SUPPLY                  CREATIVE SOUND AND LIGHTING LLC         CREATIVE TECHNOLOGY GROUP INC
8030 SW NIMBUS AVE                      1585 GABLE STREET                       ATTN VP
BEAVERTON, OR 97008-6438                HIGH POINT, NC 27260-8474               1459 18TH ST, STE 159
                                                                                SAN FRANCISCO, CA 94107




CREATIVE TECHNOLOGY HONGKONG            CREATIVE VISIONS, INC.                  CREDENTIAL SECS INC (5083)
LIMITED                                 4225 MILLER RD, B9 267                  DANIELLE MONTANARI/PROXY MGR
ATTN R&D MGR                            FLINT, MI 48507                         700 - 1111 W. GEORGIA ST
UNIT 01-02 26TH FL, 1 HUNG TO RD                                                VANCOUVER, BC V6E 4T6
KWUN TONG                                                                       CANADA
KOWLOON HONG KONG


CREDIT AGRICOLE SECS USA (651)          CREDITRISKMONITOR.COM INC               CREDITSAFE USA INC
ATTN PROXY DEPT                         704 EXECUTIVE BLVD, SUITE A             4635 CRACKERSPORT ROAD
1301 AVE OF THE AMERICAS                VALLEY COTTAGE, NY 10989-2023           ALLENTOWN, PA 18104-9553
9TH FL
NEW YORK, NY 10019



[NAME REDACTED]                         CREE ASIA-PACIFIC LTD                   CREE ASIA-PACIFIC LTD
[ADDRESS REDACTED]                      ATTN DIRECTOR                           ATTN VP
                                        UNIT 301, 3/F PHOTONICS CENTRE          UNTS 308-310, 3/F 5
                                        2 SCIENCE PARK E AVE, HONG KONG SCI     SCIENCE PARK WEST AVE
                                        PARK                                    SHATIN HONG KONG
                                        SHATIN, NT HONG KONG


CREE EUROPE GMBH                        CREE EUROPE GMBH                        CREE EUROPE GMBH
ATTN MANAGING DIR                       ATTN MANAGING DIR                       ATTN MANAGING DIR
EINSTEINSTRASSE 12                      IM BREITSPIEL 11                        LICHTENBERGSTRASSE 8
UNTERSCHLESSHEIM 85716                  HEIDELBERG 69126                        GARCHING 85748
GERMANY                                 GERMANY                                 GERMANY



CREE EUROPE LTD                         CREE EUROPE SRL                         CREE FAYETTEVILLE INC
VIA SANDRO PERTINI 122                  ATTN MANAGING DIR                       ATTN TY MCNUN
SESTO FIORENTINO (FI) 50019             VIA DEI GIUNCHI 52-54                   535 W RESEARCH CTR BLVD
ITALY                                   FLORENCE 50145                          FAYETTEVILLE, AR 72701
                                        ITALY



CREE HONG KONG LIMITED                  CREE HONG KONG LTD                      CREE HONG KONG LTD
ATTN DIRECTOR                           ATTN DIRECTOR                           ATTN DIRECTOR
3/F, PHOTONICS CENTRE, UNIT 301         4600 SILICON DR                         6TH-8TH FLOOR, GREEN 18
NO.2 SCIENCE PARK E AVE, HK SCIENCE     DURHAM, NC 27703                        18 SCIENCE PARK AVE, HONG KONG
PARK                                                                            SCIENCE PARK
SHATIN, NT HONG KONG                                                            SHATIN, NT HONG KONG


CREE HONG LTD                           CREE HUIZHOU OPTO LIMITED               CREE HUIZHOU OPTO LIMITED
UNIT 525-530, BLDG 1W                   ATTN DIRECTOR                           ATTN DIRECTOR
1 SCIENCE PK W AVE                      1/F, BLK 8, NO.21 YUN SHAN DONG RD      TCL INDUSTRIAL AREA
HONG KONG SCIENCE PK, SHATIN            HUIZHOU                                 NO.21 JIANGBEI YUNSHAN E RD
NEW TERRITORIES HONG KONG               CHINA                                   HUIZHOU, GUANGDONG 516003 CHINA



CREE HUIZHOU SOLID STATE LIGHTING CO    CREE INDIA PRIVATE LTD                  CREE INTERNATIONAL SARL
LTD                                     C/O RAMNI TANEJA                        ATTN CATEGORY A MGR
ATTN DIRECTOR                           ATTN DIRECTOR                           6, RUE EUGENE RUPPERT
NO.32, ZHONGKAI HIGH-TECH INDUSTRY      A-34 DEFENCE COLONY                     LUXEMBOURG L-2453
ZONE                                    NEW DELHI 110024 INDIA                  LUXEMBOURG
HUIZHOU
CHINA
CREE JAPAN LTD    Case 25-90163 Document   87 LTD
                                    CREE JAPAN   Filed in TXSB on 07/03/25 CREE
                                                                             PageLED192   of 944
                                                                                     LIGHTING SOLUTIONS INC
ATTN DIRECTOR                       ATTN DIRECTOR                          ATTN DIRECTOR
4/F ANNEX TOWER, WORLD TRADE CENTER SEKAI BOEKI CTR BLDG (WORLD TRADE CTR) 635 DAVIS DR, STE 100
BLDG,                               4-1 HAMAMATSUCHO 2-CHOME, MINATO-KU    MORRISVILLE, NC 27560
2-4-1, HAMAMATSUCHO, MINATO-KU      TOKYO JAPAN
TOKYO 105-0013 JAPAN


CREE LED LIGHTING SOLUTIONS INC        CREE LIGHTING EUROPE SPA               CREE SHANGHAI OPTO DEVELOPMENT LTD
ATTN VP                                VIA SANDRO PERTINI 122                 ATTN DIRECTOR
4600 SILICON DR                        SESTO FIORENTINO 50019                 16/F, BLOCK 1, ZHENBEI ROAD
DURHAM, NC 27703                       ITALY                                  UNIVERSAL HI-TECH PLAZA, NO 958
                                                                              SHANGHAI 200333 CHINA



CREE SHANGHAI OPTO DEVELOPMENT LTD     CREE SHANGHAI OPTO DEVT LTD            CREE SINGAPORE PRIVATE LTD
ATTN DIRECTOR                          ATTN DIRECTOR                          ATTN DIRECTOR
22F, 879 NONG, ZHONGJIANG RD           BLOCK 22, UNIV SOFTWARE PARK           8 MARINA BLVD 05-02
PUTUO DIST                             1ST - 4TH FL, NO 879 ZHONGJIANG RD     MARINA BAY FINANCIAL CENTRE, TOWER 1
SHANGHAI 200333 CHINA                  SHANGHAI CHINA                         SINGAPORE 018981 SINGAPORE



CREE SWEDEN AB                         CREE VENTURE LED COMPANY LTD           CREE WEST INC
ATTN MANAGING DIR                      ATTN TEIK KOOI ONG, CEO                C/O RSM RICHTER CHAMBERLAND LLP
MIKLAGARDSVAGEN 30                     18 SCIENCE PARK EAST AVE               ATTN PRESIDENT
TABY 18774                             HONG KONG SCIENCE PARK                 2, PLACE ALEXIS NIHON
SWEDEN                                 SHATIN, NT HONG KONG                   MONTREAL, QC H3Z 3C2 CANADA



[NAME REDACTED]                        CREEK RIDGE CORPORATION OF PERSON      CREFORM CORP
[ADDRESS REDACTED]                     COUNTY                                 ATTN SR SALES ENGINEER
                                       ATTN PRESIDENT                         1628 POPLAR DR
                                       1885 CUNNINGHAM RD                     GREER, SC 29652
                                       SEMORA, NC 27343



[NAME REDACTED]                        [NAME REDACTED]                        CRENLO CAB PRODUCTS INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     1600 4TH AVE NW
                                                                              ROCHESTER, MN 55901




[NAME REDACTED]                        [NAME REDACTED]                        CRESA LLC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     ATTN JIM HAZARD
                                                                              1 COWBOYS WAY, STE 350
                                                                              FRISCO, TX 75034




CRESA PARTNERS BOSTON INC              CRESA                                  CRESCEND TECHNOLOGIES
ATTN MANAGING PRINCIPAL                ATTN MG PRINCIPAL                      ATTN PRES
280 CONGRESS ST, 10TH FL               280 CONGRESS ST, FL 10                 140 E STATE PKWY
BOSTON, MA 02210                       BOSTON, MA 02210                       SCHAUMBURG, IL 60173




CRESCENT ELECTRIC SUPPLY CO            [NAME REDACTED]                        CRESSTON CO LLC, THE
ATTN RICHARD CODY                      [ADDRESS REDACTED]                     DBA COMPASS LANGUAGES
7750 DUNLEITH DR                                                              ATTN BUSINESS DVPT MGR
EAST DUBUQUE, IL 61025                                                        147 OLD SOLOMONS ISLAND RD, STE 302
                                                                              ANNAPOLIS, MD 21401



CREST INTL NOMINEES LTD (2012)         CREST SYSTEMS (M) SDN BHD              CREST ULTRASONICS
ATT NATHAN ASHWORTH/PROXY MGR          1 JALAN OP 1/2 ONE PUCHONG BUSINESS    P.O. BOX 7266
33 CANNON ST                           PUCHONG, SELANGOR 47160                TRENTON, NJ 08628-0266
LONDON EC4M 5SB                        MALAYSIA
UNITED KINGDOM
                  Case
CRESTON ELECTRONICS  INC25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                           [NAME REDACTED]                       Page  193 of 944
                                                                                     REDACTED]
ATTN VERTICAL MARKET MGR                    [ADDRESS REDACTED]                      [ADDRESS REDACTED]
15 VOLVO DR
ROCKLEIGH, NJ 07647




CRI LIGHTING SALES INC                      CRIMP CIRCUITS INC                      [NAME REDACTED]
ATTN TOM VALLEY                             ATTN US SALES DIR                       [ADDRESS REDACTED]
7340 TRADE ST, STE B                        5864 MABEL RD
SAN DIEGO, CA 92121                         WILLIAMSBURG, MI 49690




CRISTAL MATERIAL CORP                       CRISTO REY RESEARCH TRIANGLE            CRITERIA LABS INC
ATTN GEN MGR                                CORPORATE WORK STUDY PROG               ATTN PRESIDENT
53-3F, LN 258, RUIGUANG RD, NEIHU           334 BLACKWOOD STREET SUITE 100          706 BRENTWOOD ST
TAIPEI 114                                  DURHAM, NC 27701                        AUSTIN, TX 78752
TAIWAN



CRITERION INC                               CRITERION TECHNOLOGY INC                CRITES, TIDEY, & ASSOCIATES INC
ATTN TERRITORY MANAGER                      ATTN PRESIDENT                          ATTN PRESIDENT
5007 MONROE RD                              101 MCINTOSH PKWY                       4700 ARDMORE AVE
CHARLOTTE, NC 28205                         THOMASTON, GA 30286                     OKEMOS, MI 48864




CRITICAL CLEANING TECHNOLOGY                CRITICAL MANUFACTURING, S.A.            CRITICAL MANUFACTURING, S.A.
DBA MICROCOMPLETE                           ATTN: JEFF PEABODY, MANAGING DIRECTOR   ATTN: JEFF PEABODY, VP & MANAGING
ATTN PRESIDENT - COO                        3975 LAKEFIELD COURT, SUITE 104         DIRECTOR
2111 BALDWIN AVE, STE 819                   SUWANEE, GA 30024                       9901 BRODIE LANE, STE. 160-240
CROFTON, MD 21114                                                                   AUSTIN, TX 78748



CRITICAL MANUFACTURING, S.A.                CRITICAL POWER RESOURCE LLC             CRITICAL SYSTEMS INC
RUA ENGENHEIRO FREDERIC° ULRICH, 2650       ATTN OWNER                              7000 WEST VICTORY ROAD
MOREIRA DA MAIA                             6070-E SIX FORKS RD                     BOISE CITY, ID 83709-4234
PORTUGAL                                    RALEIGH, NC 27609




CRMFUSION INC                               CROLUX SRL                              [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER                ATTN RESEARCH & DESIGNER                [ADDRESS REDACTED]
14 WOLFORD CT                               VIA PRADA, 5
KESWICK, ON L4P 0B1                         BRIVIO (LECCO) 23883
CANADA                                      ITALY



[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]




CROMPTON GREAVES LTD                        [NAME REDACTED]                         [NAME REDACTED]
ATTN CTO & VP                               [ADDRESS REDACTED]                      [ADDRESS REDACTED]
CG HOUSE, 6TH FL
DR ANNIE BESANT RD
WORLI, MUMBAI 4000 30 INDIA



[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  194 of 944
                                                                                REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




CROSS AUTOMATION                       CROSS OF HOPE LUTHERAN CHURCH         CROSS POINT SRL
ATTN DIV PRESIDENT                     5730 179TH LN NW                      ATTN PURCHASING MGR
2001 OAKS PKWY                         RAMSEY, MN 55303                      VIA AGNESI, 123
P.O. BOX 1026                                                                DESIO 20033
BELMONT, NC 28012                                                            ITALY



CROSS TECHNOLOGIES INC DBA CROSS       CROSS TECHNOLOGY INC                  CROSSBORDER SOLUTIONS
PRECISION MEASUR.                      305 JUNIA AVENUE                      ATTN CHIEF FINANCIAL OFFICER
DBA CROSS COMPANY                      WINSTON-SALEM, NC 27127-3113          ONE NEW YORK PLAZA, 34TH FL
2001 OAKS PARKWAY                                                            NEW YORK, NY 10004
BELMONT, NC 28012-5134



CROSSFIELD TECHNOLOGY LLC              CROSSLIGHT SOFTWARE INC               CROSSROADS FIRE PROTECTION INC
ATTN MEMBER OF LLC                     ATTN VP OF ENGINERING                 809 SOUTH MARKET STREET
9390 RESEARCH BLVD, STE I200           230-3410 LOUGHEED HWY                 BENSON, NC 27504-2111
AUSTIN, TX 78759                       VANCOUVER, BC V5M 2A4
                                       CANADA



CROSSROADS NISSAN OF WAKE FOREST       CROSSTOWN SERVICES LLC                [NAME REDACTED]
ATTN OPPS DIRECTOR                     DBA CHECK ISSUING                     [ADDRESS REDACTED]
11120 CAPITAL BLVD                     5445 DTC PKWY, PENTHOUSE 4
WAKE FOREST, NC 27587                  GREENWOOD VILLAGE, CO 80111




[NAME REDACTED]                        CROWDER CONSTRUCTION CO               [NAME REDACTED]
[ADDRESS REDACTED]                     6425 BROOKSHIRE BLVD                  [ADDRESS REDACTED]
                                       CHARLOTTE, NC 28216




[NAME REDACTED]                        CROWDSTRIKE, INC.                     [NAME REDACTED]
[ADDRESS REDACTED]                     150 MATHILDE PLACE, SUITE 300         [ADDRESS REDACTED]
                                       SUNNYVALE, CA 94086-6009




[NAME REDACTED]                        CROWN EQUIPMENT CORPORATIONS          CROWN LIFT TRUCKS
[ADDRESS REDACTED]                     CROWN LIFT TRUCKS                     P.O. BOX 641173
                                       1000 NORTH GREENFIELD PARKWAY SUITE   CINCINNATI, OH 45264-1173
                                       GARNER, NC 27529-6955




CROWN POINT ADVISORS LLC               CROWN RECORDS MANAGEMENT              CROWN TROPHY & REWARDS OF RALEIGH
ATTN PARTNER                           C/O CROWN INFORMATION MANAGEMENT      INC
180 N STETSON AVE                      600 KAHELU AVE                        ATTN VICE PRESIDENT
CHICAGO, IL 60601                      MILILANI, HI 96789                    2431 SPRING FOREST RD
                                                                             RALEIGH, NC 27615



CROWNE PLAZA ZHONGSHAN XIAOLAN         CRRC YONGJI ELECTRIC CO LTD           CRRC ZIC RESEARCH INSTITUTE OF ELEC-
NO 18 SHENGPING ZHONG RD               ATTN SR ENGINEER                      TECH & MATERIAL ENGINEERING
XIAOLAN                                NO 18 DIANJI ST                       ATTN RD DEPT SUPV
ZHONGSHAN 528415                       SHANXI PROVINCE                       NO 169 TIMES RD, SHIFENG DIST
CHINA                                  YONGI CITY 044502 CHINA               ZHUZHOU CHINA
                   Case 25-90163
CRS ELECTRONICS CORP                 Document  87 FiledINCin TXSB on 07/03/25 CRS
                                        CRS ELECTRONICS                         Page  195 of 944
                                                                                  REPROCESSING LLC
ATTN SCOTT RIESEBOSCH                    ATTN MATTHEW GROEN                    DBA CRS REPROCESSING SERVICES
129 HAGAR ST, UNIT 5                     9120 LESLIE ST, STE 102               ONE TRITON OFFICE PARK
WELLAND, ON L3B 5V9                      RICHMOND HILL, ON L4B 3J9             13551 TRITON PARK BLVD, STE 1200
CANADA                                   CANADA                                LOUISVILLE, KY 40223



CRUCIALTEC CO LTD                        [NAME REDACTED]                       CRUM & FORSTER SPECIALTY INS. CO.
ATTN EXEC VP                             [ADDRESS REDACTED]                    305 MADISON AVE
165, SECHUL                                                                    MORRISTOWN, NJ 07960
BAEBANG, ASAN
CHUNGNAM 336-795 SOUTH KOREA



CRUM & FORSTER SPECIALTY INSURANCE       CRUM, JOE                             [NAME REDACTED]
CO                                       104 60TH AVE                          [ADDRESS REDACTED]
ATTN SVP & CHIEF COUNSEL                 SMITHSHIRE, IL 61478
305 MADISON AVE
MORRISTOWN, NJ 07960



[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          CRUZIO INTERNET                       CRUZIO MEDIA INC
[ADDRESS REDACTED]                       877 CEDAR ST, STE 150                 ATTN DIR OF MKTG & SALES
                                         SANTA CRUZ, CA 95060                  877 CEDAR ST, 150
                                                                               SANTA CRUZ, CA 95060




CRYOQUIP INC                             CRYOSTOP LLC                          CRYPSIS GROUP HOLDINGS LLC
ATTN SALES MGR                           7256 WESTPORT PLACE SUITE A           ATTN MANAGING PARTNER
25720 JEFFERSON AVE                      WEST PALM BEACH, FL 33413-1680        1521 WESTBRANCH DR, STE 400
MURRIETA, CA 95262                                                             MCLEAN, VA 22102




CRYPTON COMPUTERS LTD                    CRYSTAL IS INC                        CRYSTAL LIKE PLASTICS
                                         ATTN PRESIDENT                        2547 N ONTARIO ST
                                         877 25TH ST                           BURBANK, CA 91504
                                         WATERVLIET, NY 12189




CRYSTAL MARK INC                         CRYSTAL TECHNOLOGY LLC                CRYSTALASER
ATTN PRESIDENT                           RM 31, 47/4 CHKALOVA ST               ATTN SALES MNGR
613 JUSTIN AVE                           DIMITROVGRAD                          4750 LONGLEY LN, STE 205
GLENDALE, CA 91201                       ULYANOVSK REGION 433504               RENO, NV 89502
                                         RUSSIA



CRYSTALLINE MATERIALS CORP               CRYSTALLOGRAPHIC RESOURCES INC        CRYSTALPLEX CORPORATION
ATTN VP                                  ATTN PRESIDENT                        ATTN CHIEF EXECUTIVE OFFICER
10409 S 50TH PL                          11942 SARA ANN DR                     2403 SYDNEY ST, STE 270
PHOENIX, AZ 85044-5214                   DEWITT, MI 48820                      PITTSBURGH, PA 15203




CRYSTALQ BV                              CRYTUR SPOL SRO                       CS AUTOMATION, DIV. OF NOVATECH
BUSINESS PARK MERCURIUS                  ATTN CHIEF EXECUTIVE OFFICER          INDUSTRIES INC
ELECTRONICAWEG 1                         PALACKEHO 175                         6319 DEAN PARKWAY
STADSKANAAL NL-9503GA                    TURNOV 511 01                         ONTARIO, NY 14519-8939
NETHERLANDS                              CZECH REPUBLIC
CS CLEAN SOLUTIONS Case
                    INC 25-90163      Document  87SYSTEMS
                                         CS CLEAN    FiledINC
                                                           in TXSB on 07/03/25 CSPage   196 ofINC
                                                                                  ILLUMINATION  944
1112 N MAIN STREET                         ATTN VICE PRESIDENT                     ATTN PRESIDENT
MANTECA, CA 95336-3208                     51 WHITNEY PL                           2865 SCOTT ST, STE 101
                                           FREMONT, CA 94539                       VISTA, CA 92081




CSA AMERICA TESTING & CERTIFICATION        CSA GROUP INC                           CSG GLOBAL CONSULTING LLC
8501 E. PLEASANT VALLEY ROAD               ATTN STRATEGIC ACCOUNT MGR              ATTN ALLEN RHODES
CLEVELAND, OH 44131-5516                   6215 SHILOH CROSSING, BLDG 100, STE A   450 COLWELL LN
                                           ALPHARETTA, GA 30005                    CONSHOHOCKEN, PA 19428




CSG TALENT LTD                             CSI KEYBOARDS INC                       CSIRO
ATTN BUSINESS MGR-TECHNOLOGY               ATTN NATIONAL SALES MGR                 ATTN RESEARCH ENGINEER
SPRINGWOOD HOUSE                           56 PULASKI ST                           CNR VIMIERA & PEMBROKE RD
LOW LANE, HORSFORTH                        PEABODY, MA 01960                       MARSFIELD, NSW 2122
LEEDS LS18 5NU UNITED KINGDOM                                                      AUSTRALIA



CSM INDUSTRIES                             CSR ELECTRONICS INC                     CSS INTERNATIONAL INC
460 JAY ST                                 ATTN VP/CHIEF TECHNOLOGY OFFICER        ATTN PATRICK MCKENZIE
COLDWATER, MI 49036                        111 GREENHOUSE CT                       115 RIVER LANDING DR
                                           COLUMBIA, SC 29210                      CHARLESTON, SC 29492




CSSI                                       CT CORP SYSTEM                          CT LIGHTING SALES INC
ATTN VICE PRESIDENT                        ATTN AMBER CARROUTH                     ATTN PARTNER
300 SIGMA DR                               350 N ST PAUL ST, STE 2900              1210 S JASON ST
GARNER, NC 27529                           DALLAS, TX 75201                        DENVER, CO 80223




CT METAL WARE FACTORY LTD                  CT-CONCEPT TECHNOLOGIE GMBH             C-TECH SALES INC
ATTN MANAGING DIR                          ATTN MANAGING DIR                       ATTN PRES
RM BLOCK B, 1/F, VICTORY INDUSTRIAL BLDG   JOHANN-RENFIR-STRASSE 15                7820 BRECKON WAY
151-157 WO YI HOP RD                       BIEL-BIENNE 2504                        RALEIGH, NC 27615
KWAI CHUNG, NT HONG KONG                   SWITZERLAND



CTI CONSULTANTS NC INC                     CTM MAGNETICS INC                       CTSUPPORT
ATTN CONTRACTS MGR                         ATTN PRESIDENT                          RE: 241455518 (ORIGINAL)
13500 E BOUNDARY RD                        710 W GENEVA DR                         ONE LAFAYETTE CIRCLE, P.O. BOX 821
MIDLOTHIAN, VA 23112                       TEMPE, AZ 85282                         BRIDGEPORT, CT 06601




CTT INC                                    CTTC                                    CTW SPECIALTIES INC.
ATTN CEO & PRES                            ATTN SR RESEARCH ASSOCIATE              6106 CORPORATE PARK DRIVE
241 E JAVA DR                              AVDA CARL FRIEDRICH GAUSS 7             BROWNS SUMMIT, NC 27214-9700
SUNNYVALE, CA 94089                        CASTELLDEFELS 08860
                                           SPAIN



[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]
CUI, HAO           Case 25-90163 Document  87 Filed in TXSB on 07/03/25 CULLIGAN
                                    [NAME REDACTED]                       Page 197
                                                                                 - of 944
                                      [ADDRESS REDACTED]                   P.O BOX 2932
                                                                           WICHITA, KS 67201-2932




CULLIGAN WATERCO                      [NAME REDACTED]                      [NAME REDACTED]
1249 ILLINOIS STREET SUITE 1          [ADDRESS REDACTED]                   [ADDRESS REDACTED]
FAIRFIELD, CA 94533-6469




CULTIV8 CONSULTING INC                CULTURE AMP INC                      CUMBERLAND FARMS INC
ATTN MANAGING DIR                     16501 VENTURE BLVD SUITE 400         C/O EBIX
5815 WINDWARD PKWY, STE 302           ENCINO, CA 91436-2067                P.O. BOX 12100-CF
ALPHARETTA, GA 30005                                                       HEMET, CA 92546-8010




[NAME REDACTED]                       [NAME REDACTED]                      CUMMINS ATLANTIC LLC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   ATTN SERVICE SALES
                                                                           513 PREDDY BLVD
                                                                           GREENSBORO, NC 27406




CUMMINS INC                           CUMMONS CONSTRUCTION SERVICES, LLC   [NAME REDACTED]
511 TEAGUE STREET                     100 FALCON COURT                     [ADDRESS REDACTED]
GREENSBORO, NC 27406                  GIBSONVILLE, NC 27249-8409




[NAME REDACTED]                       [NAME REDACTED]                      CUNNINGHAM, DAVID
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   8442 HOLLYWOOD BLVD
                                                                           LOS ANGELES, CA 90069




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       CUOCO, JOHN                          CUPRUM FAB SA DE CV
[ADDRESS REDACTED]                    263 WINN ST                          ATTN ATTORNEY
                                      BURLINGTON, MA 01803                 DIEGO DIAZ DE BERLANGA, NO 95-A
                                                                           FRACC EL NOGALAR
                                                                           SAN NICOLAS DE LOS GARZA, NLE 66480
                                                                           MEXICO


CURAMIK ELECTRONICS INC               CURATORS OF THE UNIVERSITY OF        CURBELL PLASTICS INC
ATTN EXEC VICE PRESIDENT              MISSOURI, THE                        ATTN BUSINESS MGR
3770 ARAPAHO RD                       ATTN LICENSING MNGR, OTMIR           7 COBHAM DR
ADDISON, TX 75001                     OFC AT UNIVERSITY OF MISSOURI        ORCHARD PARK, NY 14127
                                      COLUMBIA RESEARCH PARK
                                      COLUMBIA, MO 65211-3400


[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163     Document  87 Filed in TXSB on 07/03/25 CURRAN
                                     [NAME REDACTED]                       Page&198 of 944
                                                                                 CONNORS INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 ATTN REG VICE PRESIDENT
                                                                         140 ADAMS AVE, STE 20C
                                                                         HAUPPAUGE, NY 11788




CURRENT EDM INC                       CURRENT TECHNOLOGIES INC           [NAME REDACTED]
ATTN VICE PRESIDENT                   303-F EAST DURHAM RD               [ADDRESS REDACTED]
2577 LEGHORN ST                       CARY, NC 27513
MOUNTAIN VIEW, CA 94043




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       CURTEC                             CURTIS H STOUT INC
[ADDRESS REDACTED]                    ATTN COM DIRECTOR                  ATTN PRESIDENT
                                      SPOORLAAN NOORD 92                 2400 CANTRELL RD, STE 100
                                      RIJEN 5121 WX                      LITTLE ROCK, AR 72202
                                      NETHERLANDS



CURTIS STRAUS LLC                     [NAME REDACTED]                    [NAME REDACTED]
ATTN SALES MANAGER                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]
ONE DISTRIBUTION CTR CIR
LITTLETON, MA 01460




CUSHMAN & WAKEFIELD CONSTRUCTION GK   CUSHMAN & WAKEFIELD                CUSHMAN AND WAKEFIELD US INC
ATTN MANAGING DIRECTOR                1 PROLOGIS BLVD, STE 300           ATTN CAROLYN SIDOR, MANAGING
13F SANNO PARK TOWER                  MISSISSAUGA, ON L5W 0G2            PRINCIPAL
2-11-1 NAGATACHO, CHIYODA-KU          CANADA                             225 FRANKLIN ST, STE 300
TOKYO 100-6113 JAPAN                                                     BOSTON, MA 02110



CUSTOM ALARM CO                       CUSTOM ALUMINUM PRODUCTS INC       CUSTOM CALIBRATION SOLUTIONS LLC
ATTN OWNER                            ATTN PRESIDENT                     ATTN CHIEF EXECUTIVE OFFICER
3007 DE LA VINA ST                    414 WEST DIVISION                  535 US HWY 130
SANTA BARBARA, CA 93105               SOUTH ELGIN, IL 60177              HAMILTON, NJ 08620




CUSTOM CANVAS WORKS                   CUSTOM CASE CO INC                 CUSTOM CHIP CONNECTIONS INC
540 DYNAMIC DRIVE                     ATTN PRESIDENT                     ATTN VICE PRESIDENT
GARNER, NC 27529-2508                 6045 S KNOX AVE                    2019 FISHER ST
                                      CHICAGO, IL 60629                  HUNTSVILLE, AL 35803
CUSTOM COMPANIESCase       25-90163
                    INC, THE          Document
                                         CUSTOM87
                                               DOORFiled in TXSB on 07/03/25 CUSTOM
                                                    AND GATE                   PageENVIRONMENTAL
                                                                                    199 of 944 SERVICES
ATTN EXEC VP OF SALES                     830 S NEW HOPE ROAD                233 FOREST DR
317 W LAKE ST                             RALEIGH, NC 27610-1484             SANTA BARBARA, CA 93117
NORTHLAKE, IL 60164




CUSTOM FABRICATING & SUPPLY INC           CUSTOM FIXTURE SOLUTIONS           CUSTOM INTERCONNECT LIMITED
ATTN SALES REP                            ATTN SCOTT MITCHELL                CIL HOUSE CHARLTON ROAD
6100 INDUSTRIAL CT                        212 SENTINEL AVE                   ANDOVER SP10 3JL
GREENDALE, WI 53129                       NEWTOWN, PA 18940                  UNITED KINGDOM




CUSTOM LIGHT AND SOUND INC                CUSTOM LIGHTING SERVICES LLC       CUSTOM MAGNETICS INC
2506 GUESS RD                             DBA BLACK & MCDONALD               ATTN VP
DURHAM, NC 27705                          6001 EAST FRONT STREET             4050 N ROCKWELL ST
                                          KANSAS CITY, MO 64120-1355         CHICAGO, IL 60618




CUSTOM MMIC DESIGN SERVICES INC           CUSTOM OVERHEAD DOOR LLC           CUSTOM OVERHEAD DOORS LLC
ATTN PRESIDENT                            ATTN PROJECT MANAGER               ATTN MANAGER
1 PARK DR, UNIT 12                        P.O. BOX 18628                     830 S NEW HOPE RD
WESTFORD, MA 01886                        RALEIGH, NC 27619                  RALEIGH, NC 27610




CUSTOM OVERHEAD DOORS LLC                 CUSTOM PLASTICS INC                CUSTOM REPS INC
DBA CUSTOM DOOR & GATE                    ATTN VP                            8398 SIX FORKS ROAD SUITE 202
P.O. BOX 18628                            1940 LUNI AVE                      RALEIGH, NC 27615-3059
RALEIGH, NC 27619                         ELK GROVE VILLAGE, IL 60007




CUSTOM THERMOELECTRIC LLC                 CUSTOM TOOL & MODEL CORP           CUSTOM TRANSPORT INC
ATTN SECRETARY TREASURER                  ATTN PRESIDENT                     C/O CUSTOM COMPANIES INC
11941 INDUSTRIAL PARK RD, STE 5           151 INDUSTRIAL DR                  ATTN ROBERT HEINZ
BISHOPVILLE, MD 21813                     FRANKFORT, NY 13340                317 W LAKE ST
                                                                             NORTHLAKE, IL 60164



CUSTOM WIRE TECHNOLOGIES INC              CUSTOMIZED PERFOMANCE INC          [NAME REDACTED]
ATTN PRESIDENT                            ATTN NORBERTO VELEZ                [ADDRESS REDACTED]
1123 MINERAL SPRINGS DR                   780 MONTAGUE EXPW, STE 201
PORT WASHINGTON, WI 53074                 SAN JOSE, CA 95131




[NAME REDACTED]                           CUTTER ELECTRONICS INC             CUTTER ELECTRONICS INC
[ADDRESS REDACTED]                        ATTN MARK RILEY                    ATTN MARK RILEY, DIR OF SALES
                                          5 HIGHGATE WAY                     3 ROSSITER CT, ROWVILLE
                                          ROWVILLE, VIC 3178                 ROWVILLE, VIC 3178
                                          AUSTRALIA                          AUSTRALIA



CUTTER ELECTRONICS, INC.                  CUTTERS DOCUMENT DESTRUCTION LLC   CUTTINGEDGE IONS LLC
ATTN: MARK RILEY                          3227 EAST ENCANTO STREET           1301 NORTH DYNAMICS STREET
UNIT 12/137-145 ROOKS ROAD                MESA, AZ 85213-6219                ANAHEIM, CA 92806-1901
VERMONT, VICTORIA
AUSTRALIA



[NAME REDACTED]                           CVD EQUIPMENT CORP                 CVD INC
[ADDRESS REDACTED]                        ATTN PRESIDENT                     ATTN VP METALORGANICS
                                          1860 SMITHOWN AVE                  185 NEW BOSTON ST
                                          RONKONKOMA, NY 11779               WOBURN, MA 01801
CVI LASER LLC     Case 25-90163        Document
                                          CVINC 87 Filed in TXSB on 07/03/25 C-VISION
                                                                               Page LIMITED
                                                                                      200 of 944
DBA CVI MELLES GRIOT                       ATTN PRESIDENT                      ATTN VP INNOVATION/SPECIAL PROJECTS
ATTN VP                                    850 S GREENVILLE, STE 108           21 TANTRAMAR CRESCENT
200 DORADO PL SE                           RICHARDSON, TX 75081                AMHERST, NS B4H 4S8
ALBUQUERQUE, NM 87123                                                          CANADA



CVR/IT CONSULTING LLC                      CVS PHARMACY INC DBA CAREMARK LLC   CW LIGHTING & ASSOCIATES
ATTN PRESIDENT & MP                        9501 E SHEA BLVD                    ATTN PAUL WEATHERSBY, PARTNER
111 SADDLEVIEW LN                          SCOTTSDALE, AZ 85260-6719           9000 JAMEEL, STE 110
FRANKLINTON, NC 27525                                                          HOUSTON, TX 77040




CWI TECHNICAL SALES                        CWRF SOLUTIONS                      CYANIDE DESTRUCT SYSTEMS INC
ATTN VICE PRESIDENT                        ATTN OWNER                          ATTN MANAGING DIR
50 ROUTE 9, STE 302                        2913 EL CAMINO REAL, 303            135 DIMSON AVE
MORGANVILLE, NJ 07751                      TUSTIN, CA 92782                    GUELPH, ON N1G 3C5
                                                                               CANADA



CYBER TECHNOLOGIES GMBH                    CYBER-ARK SOFTWARE LTD              CYBERBIOTA INC
ATTN MANAGING DIR                          ATTN PRESIDENT                      ATTN DIRECTOR
BEI DER HOLLERSTAUDE 19                    57 WELLS AVE                        405 GRESHAM AVE
INGOLSTADT 85049                           NEWTON, MA 02459                    DURHAM, NC 27704
GERMANY



CYBERLUX CORPORATION                       CYBEROPTICS CORPORATION             CYBEROPTICS SEMICONDUCTOR INC
ATTN PRESIDENT & COO                       5900 GOLDEN HILLS DRIVE             ATTN EXEC VP & CFO
4625 CREEKSTONE DR, STE 100                GOLDEN VALLEY, MN 55416-1040        5900 GLODEN HILLS DR
DURHAM, NC 27703                                                               MINNEAPOLIS, MN 55413




CYBEROPTICS SEMICONDUCTOR INC              CYBERSOURCE CORP                    CYCLE TREND INDUSTRIES SDN BHD
ATTN GENERAL MGR                           ATTN CYBERSOURCE LEGAL, M1-12SE     ATTN GENERAL MGR
13555 SW MILLIKAN WY                       P.O. BOX 8999                       NO.1001,JALAN PERINDUSTRIAN BUKIT
BEAVERTON, OR 97005                        SAN FRANCISCO, CA 94128             MINYAK
                                                                               KAWASAN PERINDUSTRIAN BUKIT MINYAK
                                                                               BUKIT MERTAJAM, PENANG 14000 MALAYSIA


CYGOLITE                                   CYLINDER TRAINING SERVICES          CYNTEC CO., LTD.
ATTN ENGINEER                              O/B/O HOODSPORTN DIVE LLC           NO.2 R&D 2ND ROAD, SCIENCE-BASED
1307-A E SAINT GERRUDE PL                  ATTN OWNER                          INDUSTRIAL PARK
SANTA ANA, CA 92705                        21417 90TH AVE W                    HSINCHU 30076
                                           EDMONDS, WA 98026                   TAIWAN



CYPRESS CREEK RENEWABLES LLC               CYPRESS SEMICONDUCTOR CORP          CYSTALLINE MATERIALS CORPORATION
ATTN MANAGER                               ATTN EXECUTIVE VP                   ATTN VICE PRESIDENT
3250 OCEAN PARK BLVD, STE 355              198 CHAMPION CT                     10409 S 50TH PL
SANTA MONICA, CA 90405                     SAN JOSE, CA 95134                  PHOENIX, AZ 85044-5214




CYTS-SPIRIT LOGISTICS LTD                  CZARNOWSKI DISPLAY SERVICE INC      D & D COMPRESSOR SERVICE, INC.
ATTN MANAGING DIR                          DBA CZARNOWSKI NORTH AMERICA        D & D COMPRESSOR, INC.
RM910, B-912, 9/F, 833 CHEUNG SHA WAN RD   ATTN VP & GM                        347 COMMERCIAL STREET
TOWER LI SHEUNG SHA WAN PLZ                2287 SOUTH BLUE ISLAND AVE          SAN JOSE, CA 95112-4404
KOWLOON HONG KONG                          CHICAGO, IL 60608



D SWAROVSKI & CO                           D Z COOK CO                         D&D FILTRATION CONSULTANTS
SWAROVSKISTRASSE 30                        ATTN BOB POWELL                     & SUPPLIER INC
WATTENS 6112                               23284 EICHLER ST, UNIT F            612 FOUR ROD ROAD
AUSTRIA                                    HEYWARD, CA 94545                   KENSINGTON, CT 06037-2281
D&D PAINTINGS    Case 25-90163    Document 87 Filed in DE
                                     D&DD MANUFACTURING TXSB   on 07/03/25 D&H
                                                          MEXICO             Page  201 ofINC
                                                                               INDUSTRIES  944
ATTN OFFICE MGR                       ATTN VP                              ATTN SALES MANAGER
3853 CRESCENT DR                      NO 200 FINSA IND. PARK               510 S WORTHINGTON ST
SANTA BARBARA, CA 93110               MONTERREY                            OCONOMOWOC, WI 53066
                                      APODACA, NL 66600 MEXICO



D&K COATING TECHNOLOGIES INC          D&O VENTURES BHD                     D&R ELECTRONICS CO LTD
ATTN SALES & MARKETING VP             ATTN GROUP MANAGING DIR              ATTN PRESIDENT
1795 COMMERCE DR                      LOT 6, BATU BERENDAM, FTZ PHASE 3    8820 GEORGE BOLTON PKWY
ELK GROVE VILLAGE, IL 60007           MELAKA 75350                         BOLTON, ON L7E 2Y4
                                      MALAYSIA                             CANADA



D&W DIESEL, INC.                      D. A. DAVIDSON & CO. (0361)          D. Z. COOK CO.
1503 CLARK STREET ROAD                ATT RITA LINSKEY OR PROXY MGR        ATTN: BOB POWELL
AUBURN, NY 13021                      8 THIRD ST NORTH                     23284 EICHLER STREET, UNIT F
                                      GREAT FALLS, MT 59401                HEYWARD, CA 94545




D.H. GRIFFIN INFRASTRUCTURE LLC       D.W. EVANS ELECTRIC, INC.            D/S MARKETING
ATTN: KIRSTEN PETRINI                 3511 EVANS CORPORATE LANE            ATTN PRES
4716 HILLTOP ROAD                     DURHAM, NC 27705-7981                135 COOK RD
GREENSBORO 27407-5217                                                      EAST AURORA, NY 14052




DAAN ELECTRONICS CO LTD               [NAME REDACTED]                      [NAME REDACTED]
ATTN SANG KYOON YIM, MANAGER          [ADDRESS REDACTED]                   [ADDRESS REDACTED]
TRADE DEPT, 5F DAAN BLDG
22-1 SHINGYE DONG, YONGSAN-KU
SEOUL SOUTH KOREA



DABURN ELECTRONICS & CABLE            DAC AWNINGS INC                      DAC PRODUCTS INC
44 RICHBOYNTON ROAD                   ATTN SECRETARY                       ATTN JIM TAYLOR
DOVER ANNEX, NJ 07801-2650            6709 MT HERMAN CHURCH RD             100 CENTURY POINT DR
                                      DURHAM, NC 27705                     EAST BEND, NC 27018




DAC SOFTWARE CONSULTING LLC           [NAME REDACTED]                      DAEJOO ELECTRONIC MATERIALS CO LTD
ATTN DAVID A CUMMINGS                 [ADDRESS REDACTED]                   ATTN CTO
5946 MYAKKA CT                                                             SI HWA IND ESTATE, 1RA 110 1236-10
RALEIGH, NC 27616                                                          JUNG WANG-DONG
                                                                           SIHUNG, GYEONGGI-DO 429-848 SOUTH
                                                                           KOREA


DAEMAR INC                            DAEWOO HEAVY INDUSTRIES AMERICA      DAF ENTERPRISES LTD
ATTN VP OF OPS                        CORP                                 ATTN SALES EXEC
1635 LAKES PARKWAY, STE F             ATTN MGR                             RM901-3,9/F, WING FAT IND BLDG
LAWRENCEVILLE, GA 30043               8 YORK AVE                           12 WANG TAI RD
                                      WEST CALDWELL, NJ 07006              KOWLOON BAY HONG KONG



DAGE PRECISION INDUSTRIES INC         DAGE PRECISION INDUSTRIES INC        DAGOSTA, DAVE
ATTN OPERATIONS MGR                   ATTN PRESIDENT                       DBA TECHNOLOGY SEGUE
4024 CLIPPER COURT                    48065 FREEMONT BLVD                  ATTN PRESIDENT
FREMONT, CA 94538                     FREEMONT, CA 94538                   855 GRANITE RIDGE DR
                                                                           SANTA CRUZ, CA 95065



DAH CHONG HONG                        [NAME REDACTED]                      [NAME REDACTED]
5/F, DCH BLDG 20, KAI CHEUNG RD       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
KOWLOON BAY
KOWLOON
HONG KONG
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 DAHL
                                        [NAME REDACTED]                       Page   202 of 944 INC
                                                                                 AIR CONDITIONING
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      ATTN GENERAL MGR
                                                                                  30 S LA PATERA LN, 9
                                                                                  GOLETA, CA 93117




[NAME REDACTED]                           [NAME REDACTED]                         DAHMES, BRIAN R
[ADDRESS REDACTED]                        [ADDRESS REDACTED]




DAHOM (FUJIAN) ILLUMINATION TECH CO LTD   DAHOM FUJIAN ILLUMINATION TECH CO LTD   DAHTECH LLC
ATTN GENERAL MANAGER                      XIAMEN HULI HI TECH PARK RD             ATTN CEO
YONGDING IND PARK                         SANFORD WEALTH CENTER                   1887 CASTLE WOODS DR
FUJIAN 36400                              FL 5, NO 990-992                        CLEARWATER, FL 33759
CHINA                                     YASUMINE B 361006 CHINA



[NAME REDACTED]                           DAICO INDUSTRIES INC                    [NAME REDACTED]
[ADDRESS REDACTED]                        ATTN VP                                 [ADDRESS REDACTED]
                                          1070 E 233RD ST
                                          CARSON, CA 90745




[NAME REDACTED]                           DAIHEN CORPORATION                      DAIICHI JITSUGYO AMERICA INC
[ADDRESS REDACTED]                        ATTN GM APS DIV                         ATTN GM
                                          2-1-11 TAGAWA                           245 SPRING LAKE DR
                                          YODAGAWA KU                             ITASCA, IL 69143
                                          OSAKA 532-8512 JAPAN



DAIKIN APPLIED AMERICAS INC               DAILY MUSE INC                          DAIM NET CO LTD
2100 FAIRFAX RD                           ATTN FOUNDER & COO                      RM A-808, 13 HEUNGDEOK 1-RO
GREENSBORO, NC 27407-1000                 151 W 25TH ST, 9TH FL                   GIHEUNG-GU
                                          NEW YORK, NY 10001                      YONGIN, GYEONGGI-DO
                                                                                  SOUTH KOREA



DAIMLER AG                                DAIMLER AG                              DAIMLERCHRYSLER AG
ATTN IPS                                  ATTN MANAGER                            ATTN HEAD OF INTELLECTUAL PROPERTY
MERCEDESSTRASSE 137                       EPPLESTRABE 225                         MGMT
STUTTGART D-70327                         STUTTGART 70567                         EPPLESTRABE 225
GERMANY                                   GERMANY                                 STUTTGART 70567
                                                                                  GERMANY


DAINIPPON SCREEN MFG CO LTD               DAINTREE NETWORKS INC                   DAITRON INC
ATTN CORP EXEC OFFICER                    ATTN CEO                                ATTN PRES/CEO
TENJINKITA MACHI 1-1, TERANOUCHI AGARU    1503 GRANT RD, STE 202                  27750 SW 95TH AVE, STE 100
4 CHOME                                   MOUNTAIN VIEW, CA 94040                 WILSONVILLE, OR 97070
KAMIGYO KU
KYOTO 602 8585 JAPAN


DAIWA CAPITAL MKTS AMERICA (0647)         [NAME REDACTED]                         DAK AMERICAS LLC
DAVID BIALER OR PROXY MGR                 [ADDRESS REDACTED]                      ATTN VICE PRESIDENT
FIN SQ                                                                            5925 CARNEGIE BLVD, STE 500
32 OLD SLIP, 14TH FL                                                              CHARLOTTE, NC 28209
NEW YORK, NY 10005



DAKOTA SYSTEMS INC                        DAKOTA TECHNOLOGIES INC                 DAKTRONICS INC
1057 BROADWAY ROAD                        ATTN EXEC VP                            201 DAKTRONICS DR
DRACUT, MA 01826-2807                     2201-A 12TH ST N                        P.O. BOX 5128
                                          FARGO, ND 58102                         BROOKINGS, SD 57006-5128
DAKTRONICS INC   Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  203 of 944
                                                                                 REDACTED]
331 32ND AVE                            [ADDRESS REDACTED]                 [ADDRESS REDACTED]
BROOKINGS, SD 57006




[NAME REDACTED]                         [NAME REDACTED]                    DALEMANS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 RUE JULES MELOTTE 27
                                                                           REMICOURT 4350
                                                                           BELGIUM




DALEMARK INDUSTRIES INC                 DALI WIRELESS INC                  DALIAN DRAGON DREAM INFO TECH CO LTD
EXCEL BUSINESS PARK                     ATTN CHIEF EXECUTIVE OFFICER
575 PROSPECT ST, UNIT 211/212           1031 E DUANE AVE, STE I
UNIT 211/212                            SUNNYVALE, CA 94085
LAKEWOOD, NJ 08701



DALIAN PHOTOELECTRIC TECH CO LTD        [NAME REDACTED]                    DALLAS COUNTY
ATTN CHIEF EXECUTIVE OFFICER            [ADDRESS REDACTED]                 P.O. BOX 139066
NO 3 XINXI RD, IT INDUSTRIAL PARK                                          DALLAS, TX 75313-9066
DALIAN DEVELOPMENT ZONE
DALIAN CHINA



DALLAS FLUID SYSTEMS, LLC               [NAME REDACTED]                    DALMEC INC
SWAGELOK NORTH TEXAS                    [ADDRESS REDACTED]                 ATTN GENERAL MANAGER
505 CENTURY PKWY                                                           469 FOX CT
ALLEN, TX 75013                                                            BLOOMINGDALE, IL 60108




[NAME REDACTED]                         DALSA CORP                         [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN VP SALES & MKTG               [ADDRESS REDACTED]
                                        605 MCMURRRY RD
                                        WATERLOO, ON N2V 2E9
                                        CANADA



[NAME REDACTED]                         [NAME REDACTED]                    DAMCO USA INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 ATTN VP COMPLIANCE
                                                                           180 PARK AVE
                                                                           FLORHAM PARK, NJ 07932




DAN BOBYN ENGINEERING LTD               DANA SAFETY SUPPLY, INS.           DANAHER MOTION LLC
ATTN PRES                               3810 W. OSBORNE AVE.               ATTN CONTRACTS ADMIN
515 MACEWAN DR NW                       TAMPA, FL 33614                    1300 N STATE ST
CALGARY, AB T3K 3W5                                                        MARENGO, IL 60152
CANADA



DANAM COMMUNICATIONS INC                DANAM COMMUNICATIONS               [NAME REDACTED]
ATTN DIRECTOR                           ATTN DIR                           [ADDRESS REDACTED]
900-3 HOKYE-DONG, DONGAN-GU             3003 N 1ST ST
AHNYAN-SHI, KYUNGKI-DO 431-836          SAN JOSE, CA 95134
SOUTH KOREA



DANE TECHNOLOGIES INC                   [NAME REDACTED]                    [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER            [ADDRESS REDACTED]                 [ADDRESS REDACTED]
7105 NORTHLAND TER
BROOKLYN PARK, MN 55428
                 CaseGMBH
DANFOSS SILICON POWER 25-90163   Document 87
                                    DANFOSS     Filed
                                            SILICON   in TXSB
                                                    POWER GMBH on 07/03/25 DANFOSS
                                                                             Page 204   of POWER
                                                                                   SILICON 944 GMBH
ATTN BJARME LAUSTEN                  ATTN BUSINESS MGR                    ATTN: CLAUS A. PETERSEN (OR HIS
HUSUMER STRASSE 251                  HEINRICH-HERTZ-STRASSE 2             SUCCESSOR
FLENSBURG 24941                      SCHLESWIG D-24837                    HUSUMER STRAHE 251
GERMANY                              GERMANY                              FLENSBURG 24941
                                                                          GERMANY


DANFOSS SILICON POWER GMBH           [NAME REDACTED]                      DANGOO ELECTRONICS (USA) INC
ATTN: GENERAL COUNSEL                [ADDRESS REDACTED]                   ATTN VP INNOVATION
NORDBORGVEJ 81                                                            3340 PEACHTREE RD NE, STE 2301
NORDBORG 6430                                                             ATLANTA, GA 30326
DENMARK



[NAME REDACTED]                      DANIEL BURNS & ASSOCIATES INC        [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN PRES                            [ADDRESS REDACTED]
                                     225 BUSH ST, 16TH FL
                                     SAN FRANCISCO, CA 94104




[NAME REDACTED]                      [NAME REDACTED]                      DANIEL S SPIRO COMPANIES LTD
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   4260 N BROWN AVE, STE 8
                                                                          SCOTTSDALE, AZ 85251




DANIEL TAYLOR TECH LLC               [NAME REDACTED]                      [NAME REDACTED]
ATTN OWNER                           [ADDRESS REDACTED]                   [ADDRESS REDACTED]
21 WINDHAM RD
DERRY, NH 03038




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]
DANIS CONSTRUCTIONCase  25-90163
                    CO LLC          Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  205 of 944
                                                                                 REDACTED]
ATTN EXEC VP                            [ADDRESS REDACTED]                    [ADDRESS REDACTED]
5511 CAPITAL CENTER DR
RALEIGH, NC 27606




DANOTEK MOTION                          [NAME REDACTED]                       [NAME REDACTED]
ATTN GARY BLACKFORD                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]
8608 N HAGGERTY RD
CANTON, MI 48187




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




DARK ARTS CYBERSECURITY LLC             DARKLIGHT TECHNOLOGY LTD              DARKOO OPTICS CO LTD
ATTN MANAGER                            ATTN GENERAL MANAGER                  ATTN GENERAL MANAGER
11641 BROADFIELD CT                     BLDG 44, FUNING IND ZONE              HUANMAO RD, HIGH TECH
RALEIGH, NC 27617                       PINGHU AVE, PINGHU ST, LONGGANG       DEVELOPING ZONE
                                        DISTRICT                              ZHONGSHAN, GUANGDONG 528400 CHINA
                                        SHENZHEN CITY CHINA


[NAME REDACTED]                         DART AQUISITION LLC DBA CLEAN EARTH   DART CASTINGS INC
[ADDRESS REDACTED]                      4132 POMPANO ROAD                     ATTN MANAGER SALES & ENG
                                        CHARLOTTE, NC 28216-3466              12400 S LOMBARD LN
                                                                              ALSIP, IL 60803




DARWIN                                  [NAME REDACTED]                       DAS ENVIRONMENTAL EXPERT USA INC
                                        [ADDRESS REDACTED]                    23439 NORTH 35TH DRIVE
                                                                              GLENDALE, AZ 85310-4195




[NAME REDACTED]                         [NAME REDACTED]                       DASAL INDUSTRIES LTD
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    ATTN VP
                                                                              804-1515 BROADWAY ST, 804
                                                                              PORT COQUITIAM, BC V3C 6M2
                                                                              CANADA



DASH STUDIO LLC                         [NAME REDACTED]                       [NAME REDACTED]
610 HILLSBOROUGH STREET UNIT 103        [ADDRESS REDACTED]                    [ADDRESS REDACTED]
RALEIGH, NC 27603-1748




DASSAULT SYSTEMS                        [NAME REDACTED]                       DATA ANALYSIS TECHNOLOGIES INC
10, RUE MARCEL DASSAULT                 [ADDRESS REDACTED]                    DBA DAT LABORATORY
VELIZY VILLACOUBLAY 78140                                                     ATTN PRESIDENT
FRANCE                                                                        7715 CORPORATE BLVD
                                                                              PLAIN CITY, OH 43064



DATA COMMUNICATIONS SOLUTIONS INC       DATA DEVICE CORP                      DATA MANAGEMENT STAFF RECRUITERS
ATTN DARCY RUNNING                      ATTN DIR CONTRACTS                    111 CORNING RD, STE 130
10125 CROSSTOWN CIR, 235                105 WILBUR PL                         CARY, NC 27511
EDEN PRAIRIE, MN 55344                  BOHEMIA, NY 11716
                 Case 25-90163
DATA NETWORK SOLUTIONS INC          Document  87 Filed
                                       DATA PHYISCS CORP in TXSB on 07/03/25 DATA
                                                                               Page   206 ofINC
                                                                                  VIRTUALITY 944
ATTN ACCT EXEC                           ATTN VP - GLOBAL SHAKER BUS         ATTN COO
629 LAKE TIDE DR                         1741 TECHOLOGY DR, STE 260          2261 MARKET ST, 4788
CHAPIN, SC 29036                         SAN JOSE, CA 95110                  SAN FRANCISCO, CA 94114




DATA WEIGHING SYSTEMS INC                DATACOMMUNITY LLC                   DATACON NORTH AMERICA INC
ATTN TREASURER                           ATTN MEMBER & ENG                   ATTN GENERAL MGR
2100 LANDMEIER RD                        1223 PEOPLES AVE                    7 NESHAMINY INTERPLEX, STE 116
ELK GROVE, IL 60007                      TROY, NY 12180                      TREVOSE, PA 19053




DATADIRECT TECHNOLOGIES                  DATAMENSIONAL LLC                   DATANG MOBILE COMMS EQUIPMENT CO
ATTN VP FIN PLANNING                     7200 DOVERTON CT, STE 210           LTD
14 OAK PARK                              RALEIGH, NC 27615                   29, XUE YUAN RD, HAI DIAN DIST
BEDFORD, MA 01730                                                            BEIJING
                                                                             CHINA



DATAPLAY INC                             DATAQUEST INC                       DATARUNWAY INC
ATTN CFO                                 ATTN VP                             ATTN DIR OPERATIONS
2560 55TH ST                             1290 RIDDER PARK DR                 212 SUNSET TERRACE
BOULDER, CO 80301                        SAN JOSE, CA 95131-2398             SCOTTS VALLEY, CA 95066




DATASYST ENGINEERING & TESTING SVC INC   DATATEC AG                          DATATRONIC DISTRIBUTION INC
ATTN MGR OF OPS                          FERDINAND-LASALLE-ST. 52            ATTN VP SALES
S14 W33511 HWY 18                        REUTLINGEN 72770                    28151 HWY 74
DELAFIELD, WI 53018                      GERMANY                             MENIFEE, CA 92585




DATRON DYNAMICS INC                      [NAME REDACTED]                     [NAME REDACTED]
ATTN CONTROLLER                          [ADDRESS REDACTED]                  [ADDRESS REDACTED]
115 EMERSON RD
MILFORD, NH 03055




[NAME REDACTED]                          DAULAT RAM ENERCON LTD              DAVCO DEVELOPMENT CORP
[ADDRESS REDACTED]                       ATTN DIR (TECH)                     ATTN PRESIDENT
                                         131, STREET NO 8, KRISHNA NAGAR     1326 POPLAR DR
                                         SAFDARJUNG ENCLAVE                  WAUKESHA, WI 53188
                                         NEW DELHI INDIA



DAVE CASH AND ASSOCIATES                 [NAME REDACTED]                     [NAME REDACTED]
ATTN DAVE CASH                           [ADDRESS REDACTED]                  [ADDRESS REDACTED]
4911 JACKSBORO PIKE
KNOXVILLE, TN 37918




[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                          DAVID ALLEN CO INC                  [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN ESTIMATING COORD               [ADDRESS REDACTED]
                                         150 RUSH ST
                                         RALEIGH, NC 27603
[NAME REDACTED] Case 25-90163        Document   87 Filed
                                        DAVID DIMPERIO INC in TXSB on 07/03/25 DAVID
                                                                                 Page   207 LANDSCAPING
                                                                                     J FRANK of 944     INC
[ADDRESS REDACTED]                       ATTN PRESIDENT                         ATTN DEPT MGR
                                         2471 RTE 737                           N120 W21350 FREISTADT RD
                                         KEMPTON, PA 19529                      P.O. BOX 70
                                                                                GERMANTOWN, WI 53022



[NAME REDACTED]                          DAVID MOODY                            DAVID MULLER LIGHTING
[ADDRESS REDACTED]                                                              ATTN GM VP LEDS
                                                                                82 STEVENS ST
                                                                                E TAUNTON, MA 02718




[NAME REDACTED]                          DAVID, BRYAN                           [NAME REDACTED]
[ADDRESS REDACTED]                                                              [ADDRESS REDACTED]




DAVIDSON KEMPER CAPITAL MANAGEMENT       [NAME REDACTED]                        DAVIES OFFICE REFURBISHING INC
LP                                       [ADDRESS REDACTED]                     40 LOUDONVILLE ROAD
9 W 57TH ST                                                                     ALBANY, NY 12204-1513
29TH FL
NEW YORK, NY 10019



DAVIES, JONATHAN CLIVE                   [NAME REDACTED]                        [NAME REDACTED]
                                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                        DAVINCI INDUSTRIAL INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     ATTN PROJECT MANAGER
                                                                                10F, NO. 68, CHUNG CHENG RD
                                                                                HSIN CHUANG DIST, NEW TAIPEI
                                                                                TAIWAN



DAVINCI LIGHTING CO LTD                  DAVINCI OPTO CORPORATION               DAVIS GROUP LLC, THE
ATTN GENERAL MANAGER                     ATTN VICE PRESIDENT                    ATTN CHIEF MGR
BLDG 39, LONG WANG TEMPLE                9F, NO.800, CHUNG-CHENG RD             212 SHELBY ST
BAI SHI XIA FU YONG TOWN                 CHUNG-HO DIST                          MURFREESBORO, TN 37127
BAOAN, SHENZHEN CHINA                    NEW TAIPEI TAIWAN



DAVIS LANDSCAPE, LTD                     DAVIS PUBLIC SAFETY                    DAVIS TAYLOR FORSTER CO
60 RUPERT RD                             2466 CORPORATION PARKWAY               ATTN OWNER
RALEIGH, NC 27603-3629                   BURLINGTON, NC 27215-6752              825 GROVE RD, STE 12
                                                                                MIDLOTHIAN, VA 23114




DAVIS WATER SERVICE                      [NAME REDACTED]                        [NAME REDACTED]
ATTN PM                                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]
6868 DAVIS CTRY RD
RANDLEMAN, NC 27317




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  208 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




DAVIS, CARA                         [NAME REDACTED]                    [NAME REDACTED]
7019 HARPS MILL RD, 200             [ADDRESS REDACTED]                 [ADDRESS REDACTED]
RALEIGH, NC 27615




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  209 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  210 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      DAYSTAR MATERIALS LLC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   ATTN DIR
                                                                             803, POLARIS BLDG, 15-3
                                                                             JEONGJA-DONG, BUNDANG-GU
                                                                             SUNG-NAM-SI, KYEONGGI-DO SOUTH KOREA



DAYTON ROGERS OF MINNESOTA LLC          DAYTONA INTERNATIONAL SPEEDWAY LLC   DAYTRON DYNAMICS INC
ATTN VP OPERATION                       ATTN VP, BUS DEV                     ATTN PRES
8501 W 35W SERVICE DR                   1801 W INTL SPEEDWAY BLVD            115 EMERSON RD
MINNEAPOLIS, MN 55449                   DAYTONA BEACH, FL 32114              MILFORD, NH 03055




[NAME REDACTED]                         DAZOR MANUFACTURING CO               DBA PIRA INTERNATIONAL
[ADDRESS REDACTED]                      ATTN PRES/CEO                        ATTN GLOBAL CONTROLLER
                                        2079 CONGRESSIONAL                   6539 WESTLAND WAY, STE 24
                                        ST LOUIS, MO 63146                   LANSING, MI 48917




DBM ENGINEERING INC                     DBM REFLEX ENTERPISES INC            DC DEPT OF EMPLOYMENT SERVICES
ATTN PRESIDENT                          ATTN VP SALES                        4058 MINNESOTA AVE NE
5446 CONESTOGA CT                       1620 BOUL, DAGENAIS OUEST            WASHINGTON, DC 20019
BOULDER, CO 80301                       LAVAL, QC H7L 5C7
                                        CANADA



DC DEPT OF ENERGY AND ENVIRONMENT       DC DEPT OF HEALTHS ENVIRONMENTAL     DC ELEVATOR COMPANY INC.
1200 FIRST ST, NE                       HEALTH ADMINISTRATION                3835 GENEROSITY COURT
WASHINGTON, DC 20002                    899 N CAPITOL ST, NE                 GARNER, NC 27529-6233
                                        WASHINGTON, DC 20002




DC OFFICE OF TAX AND REVENUE            DC OFFICE OF THE ATTORNEY GENERAL    DCG SYSTEMS INC
1101 4TH STREET, SW                     OFFICE OF THE ATTORNEY GENERAL       ATTN CHIEF EXECUTIVE OFFICER
SUITE 270 WEST                          OFFICE OF CONSUMER PROTECTION        1321 N PLANO RD
WASHINGTON, DC 20024                    400 6TH ST, NW                       RICHARDSON, TX 75081
                                        WASHINGTON, DC 20001
DCL GLOBAL LOGISTICSCase  25-90163
                      HK LTD          Document  87INCFiled in TXSB on 07/03/25 DCMA
                                         DCM TECH                                Page  211 of 944
                                                                                    DALLAS
ATTN GEN MGR                              4455 THEURER BLVD                      4211 CEDAR SPRINGS RD
FLAT/RM 05-09, 6F TOWER B                 WINONA, MN 55987                       DALLAS, TX 75219-2602
REGENT CENTRE NO7, TA CHUEN PING ST
KWAI CHUNG HONG KONG



DCMA DALLAS                               DCMA                                   DCSEU
600 N PEARL ST, STE 1630                  C/O DCMA DALLAS                        1 M ST SE, 3RD FL
DALLAS, TX 75201-2843                     ATTN DERIC JEFFRIES, ADMIN CONT OFFC   WASHINGTON, DC 20003
                                          4211 CEDAR SPRINGS RD
                                          DALLAS, TX 75219-2602



DDM NOVASTAR INC                          DDS ELETTRONICA                        DE LAGE LANDEN
212 RAILROAD DRIVE                        ATTN VICE PRESIDENT                    1111 OLD EAGLE RD
IVYLAND, PA 18974-1447                    NICOLO BIONDO 171                      WAYNE, PA 19087-1453
                                          MODENA 4110
                                          ITALY



DE SANTIAGO, OSCAR                        DE SHAW & CO LP                        DEAJIN DMP CO LTD
4110 RIO BRAVO ST                         TWO MANHATTAN WEST                     341 CHEONG HUNG-LI
EL PASO, TX 79902                         375 9TH AVE                            SEONG-GEO
                                          52ND FL                                CHEONAN, CHUNGCHEONG
                                          NEW YORK, NY 10001                     SOUTH KOREA



DEAK ENERGIES INC                         DEAK-LAM INC                           DEAL
ATTN PRESIDENT                            ATTN PRESIDENT                         POST BOX NO 6
481 VAN BRUNT ST                          481 VAN BRUNT ST                       RAIPUR RD, DEHRADUN
BROOKLYN, NY 11231                        BROOKLYN, NY 11231                     UTTRAKHAND
                                                                                 INDIA



DEALOGIC LLC                              DEAN EKKAIA                            DEAN TECHNOLOGY INC
120 BROADWAY, 8TH FL                      DBA LUMILAN                            3227 SKYLANE DR
NEW YORK, NY 10271                        ATTN CEO                               CARROLTON, TX 75006
                                          80 S 6TH ST
                                          SAN JOSE, CA 95112



[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




DEAN, TERESA E                            DEAN’S PAVING, INC.                    [NAME REDACTED]
                                          ATTN: JAMES DEAN                       [ADDRESS REDACTED]
                                          6002 CAVANAUGH RD
                                          MARCY, NY 13403




DEANS PAVING INC                          [NAME REDACTED]                        DEARIEN, AUDREY
6002 CAVANAUGH ROAD                       [ADDRESS REDACTED]                     700 RESEARCH CENTER BLVD
MARCY, NY 13403-2405                                                             FAYETTEVILLE, AR 72701




DEAVER INDUSTRIALS INC                    [NAME REDACTED]                        [NAME REDACTED]
ATTN GM                                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]
3120 COUNTY RD 52
BESSEMER, AL 35022
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  212 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          DECATURWISE                        DECC COMPANY INC, THE
[ADDRESS REDACTED]                                                          ATTN VP OPS
                                                                            1266 WALLEN AVE, SW
                                                                            GRAND RAPIDS, MI 49507




DECIBEL RESEARCH INC                     [NAME REDACTED]                    DECO LIGHTING INC
ATTN VP-PROJECTS                         [ADDRESS REDACTED]                 ATTN SAM SINAI, CEO
1525 PERIMETER PKWY, STE 500                                                2917 VAIL AVE
HUNTSVILLE, AL 35806                                                        COMMERCE, CA 90040




DECO PRODUCTS COMPANY LLLP               DECODE SOLUTIONS LLC               [NAME REDACTED]
ATTN GENERAL MGR                         ATTN OWNER                         [ADDRESS REDACTED]
506 SANFORD ST                           415 CUTLER ST
DECORAH, IA 52101                        RALEIGH, NC 27603




DECOLIGHTS INC                           DECON ENVIRONMENTAL                DECTRON INC
ATTN DEREK DUNCAN                        2652 NW 31ST AVE                   ATTN SALES ENGINEER
4780 W HARMON AVE, STE 11                FORT LAUDERDALE, FL 33311          9750 SW WILSONVILLE RD, STE 300
LAS VEGAS, NV 89103                                                         WILSONVILLE, OR 97070




DEEPCURRENTS INVESTMENT GROUP LLC        DEEPSEA POWER & LIGHT INC          DEER DISTRICT LLC
546 5TH AVE                              ATTN PRESIDENT                     1134 N VEL R PHILIPS AVE
20TH FL                                  4033 RUFFIN RD                     MILWAUKEE, WI 53203
NEW YORK, NY 10036                       SAN DIEGO, CA 92123-1817




[NAME REDACTED]                          DEFENCE ADV RESEARCH PROJECTS      DEFENCE ELECTRONICS RESEARCH
[ADDRESS REDACTED]                       AGENCY,THE                         LABORATORY
                                         ATTN BRIAN NUCKOLS                 CHANDRAYANGUTTA LINES
                                         675 N RANDOLPH ST                  HYDERABAD, TELANGANA 500005
                                         ARLINGTON, VA 22203                INDIA



DEFENCE SCIENCE & TECHNOLOGY             DEFENESE AUTOMOTIVE TECHNOLOGIES   DEFENSE ADVANCED RESEARCH PROJECTS
ORGANISATION                             CONSORTIUM                         AGENCY
ATTN MICHAEL PARKER                      755 BIG BEAVER RD, STE 1600        ATTN CONTRACTING OFFICER
DSTO, 5TH AVE                            TROY, MI 48084                     3701 N FAIRFAX DR
EDINBURGH, SA 5111                                                          ARLINGTON, VA 22203-1714
AUSTRALIA


DEFENSE MICROELECTRONICS ACTIVITY        DEFOND NORTH AMERICA LLC           [NAME REDACTED]
ATTN DANIEL MARRUJO                      ATTN VICE PRESIDENT                [ADDRESS REDACTED]
RESEARCH & TECH APPLICATION OFFICE       2841 PLAZA PL, STE 200
4234 54TH ST, BLDG 620                   RALEIGH, NC 27612
MCCLELLAN, CA 95652-2100



[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
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                                                                 EQPT             Page  213 of 944
                                                                                      REDACTED]
[ADDRESS REDACTED]                        COMPANY INC                          [ADDRESS REDACTED]
                                          ATTN MANAGER
                                          6901 ROLLING MILL RD
                                          BALTIMORE, MD 21224



DEJONY, TJ                                DEK USA INC, A DELAWARE CORP         [NAME REDACTED]
1080 ERIN WY                              ATTN REGIONAL BUS MGR                [ADDRESS REDACTED]
CAMPBELL, CA 95008                        8 BARTLES CORNER RD
                                          FLEMINGTON, NJ 08822




[NAME REDACTED]                           [NAME REDACTED]                      DEKKER PERICH SABATINI
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   ATTN ARCHITECTURE
                                                                               2532 ZEARING AVE NW
                                                                               ALBUQUERQUE, NM 87104




DEKOR                                     DEKRA IST RELIABILITY SERVICES INC   DEKRA TESTING & CERT (SHANGHAI) LTD
ATTN PRES & OWNER                         ATTN GEN MGR                         DEKRA HOUSE, BLOCK A3
2655 S SANTA FE, UNIT 4A                  NO 22, PUDING RD, EAST DIST          NO 3 QIYUN RD, SCIENCE CITY
DENVER, CO 80223                          HSINCHU CITY 300                     GUANGZHOU HI-TECH INDUS DEV ZONE
                                          TAIWAN                               GUANGZHOU 510663 CHINA



DEL INDUSTRIAL LTD                        [NAME REDACTED]                      DELAWARE AMERICAN LIFE INSURANCE CO
ATTN VP BUSINESS DEV                      [ADDRESS REDACTED]                   ATTN PRESIDENT
5/F CHAIWAN INDUSTRIAL CENTRE                                                  ONE ALICO PLZ
20 LEE CHUNG ST                                                                WILMINGTON, DE 19801
CHAIWAN HONG KONG



DELAWARE AMERICAN LIFE INSURANCE CO       DELAWARE DEPARTMENT OF FINANCE       DELAWARE DEPARTMENT OF JUSTICE
ATTN VP                                   OFFICE OF UNCLAIMED PROPERTY         FRAUD & CONSUMER PROTECTION
600 N KING ST                             P.O. BOX 8931                        CARVEL STATE BUILDING
WILMINGTON, DE 19801                      WILMINGTON, DE 19899-8931            820 N FRENCH ST
                                                                               WILMINGTON, DE 19801



DELAWARE DEPARTMENT OF STATE              DELAWARE DEPT OF LABOR               DELAWARE DEPT OF LABOR
401 FEDERAL ST, STE 3                     DIV. OF UNEMPLOYMENT INSURANCE       DIV. OF UNEMPLOYMENT INSURANCE
DOVER, DE 19901                           4425 N MARKET ST                     UNIVERSITY OFFICE PLAZA
                                          WILMINGTON, DE 19802                 252 CHAPMAN RD, 2ND FL
                                                                               NEWARK, DE 19702



DELAWARE DEPT OF NATURAL RESOURCES        DELAWARE DIAMOND KNIVES INC          DELAWARE DIVISION OF REVENUE
& ENVIRONMENTAL CONTROL                   ATTN PRESIDENT                       20653 DUPONT BLVD
89 KINGS HIGHWAY                          3825 LANCASTER PIKE                  STE 2
DOVER, DE 19901                           WILMINGTON, DE 19805                 GEORGETOWN, DE 19947




DELAWARE DIVISION OF REVENUE              DELAWARE DIVISION OF REVENUE         [NAME REDACTED]
820 N FRENCH ST                           THOMAS COLLINS BUILDLING             [ADDRESS REDACTED]
WILMINGTON, DE 19801                      540 S DUPONT HIGHWAY
                                          DOVER, DE 19901




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]
                  Case
DELFT UNIVERSITY OF     25-90163
                    TECHNOLOGY       Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  214 of 944
                                                                                  REDACTED]
P.O. BOX 5053                            [ADDRESS REDACTED]                    [ADDRESS REDACTED]
DELFT 2600 GB
NETHERLANDS




DELL B.V. TAIWAN BRANCH                  DELL COMPUTERS                        DELL FINANCIAL SERVICES LLC
20F, NO 218, SEC. 2,                     C/O DELL USA L.P.                     ONE DELL WAY
TAIPEI 30261                             ATLANTA, GA 30353-4118                ROUND ROCK, TX 78682-7000
TAIWAN




DELL GLOBAL B.V. (SINGAPORE BRANCH       DELL GLOBAL BUSINESS CENTRE SDN. BH   DELL HONG KONG LIMITED
2 INTERNATIONAL BUSINESS PARK            PLOT P27, BAYAN LEPAS INDUSTRIAL ZO   18/F OXFORD HOUSE
01-34 THE STRATEGY                       PHASE IV                              HONG KONG 999077
SINGAPORE 609930                         PULAU PINANG 11900                    HONG KONG
SINGAPORE                                MALAYSIA



DELL INTERNATIONAL INC (KOREA)           DELL SALES MALAYSIA SDN BHD           DELL( CHINA ) CO., LTD
18TH FLOOR, GANGNAM FINANCE CENTER       2900 PERSIARAN APEC                   JINSHANG ROAD
SEOUL 06236                              CYBERJAYA                             XIAMEN 361000
SOUTH KOREA                              SELANGOR DARUL EHSAN 63000            CHINA
                                         MALAYSIA



DEL-LIGHT LLC                            DELMARVA POWER & LIGHTING CO          [NAME REDACTED]
ATTN PRES                                500 N WAKEFIELD DR                    [ADDRESS REDACTED]
85 S GROFFDALE RD                        NEWARK, DE 19702
LEOLA, PA 17540




[NAME REDACTED]                          DELOITTE & TOUCHE LLP                 DELOITTE ADVISORY (HONG KONG) LIMIT
[ADDRESS REDACTED]                       WACHOVIA CAPTL CTR, STE 1800          35/F ONE PACIFIC PLACE 88 QUEENSWAY
                                         RALEIGH, NC 27601                     HONG KONG 999077
                                                                               HONG KONG




DELOITTE CONSULTING LLP                  DELOITTE CONSULTING LLP               DELOITTE TOUCHE TOHMATSU
30 ROCKEFELLER PLZ, 41ST FL              ATTN: DEB BHATTACHARJEE               ATTN PRINCIPAL
NEW YORK, NY 10112-0015                  225 WEST SANTA CLARA STREET           35/F ONE PACIFIC PL
                                         SAN JOSE, CA 95113                    88 QUENNSWAY
                                                                               HONG KONG HONG KONG



DELONG D&S CO LTD                        [NAME REDACTED]                       DELPHI AUTOMOTIVE SYSTEMS LLC
ATTN GEN MGR                             [ADDRESS REDACTED]                    ATTN VP ELECTRONIC CONTROLS
RAILOX, BLDG D, NO 1, YANLUO RD                                                2151 E LINCOLN RD
SONGGANG ST, BAOAN DIST                                                        KOKOMO, IN 46902-3773
SHENZHEN CHINA



DELPHI LASER CO LTD                      DELSTAR METAL FINISHING INC           DELTA COMPONENTS LTD
ATTN CHIEF EXECUTIVE OFFICER             ATTN PRESIDENT                        ATTN MANAGING DIR
NO 77, SUHONG MIDDLE RD                  11501 BRITTMORE PARK DR               THE COURTYARD
SUZHOU INDUSTRIAL PARK                   HOUSTON, TX 77041                     7 ACRES, SMALLFIELD RD
SUZHOU 215021 CHINA                                                            HORNE, SURREY RH6 9JP UNITED KINGDOM



DELTA DENTAL OF NORTH CAROLINA           DELTA DENTAL OF NORTH CAROLINA        DELTA DESIGN INC
32406 COLLECTION CENTER DRIVE            4242 SIX FORKS RD                     12367 CROSTHWAITE CIRCLE
CHICAGO, IL 60693-0324                   SUITE 970                             SAN DIEGO, CA 92126
                                         RALEIGH, NC 27609
DELTA ELECTRIC INCCase 25-90163       Document  87 FiledPOWER
                                         DELTA ELECTRONIC in TXSB  on 07/03/25 DELTA
                                                               SUPPLY            Page  215 of 944
                                                                                     ELECTRONICS (THAILAND) PCL
ATTN PRESIDENT                            (DONGGUAM) CO LTD                      909 SOI 9, MOO 4
2319 EATON LN                             186, RUEY KUANG RD                     BANGPOO IND EST
RACINE, WI 53404                          NEIHU DISTRICT                         PATTANA 1 RD
                                          TAIPEI 114501                          SAMUTPRAKARN 10280 THAILAND
                                          TAIWAN


DELTA ELECTRONICS INC                     DELTA ELECTRONICS INC                  DELTA ELECTRONICS INC
ATTN CANDY CHEN                           ATTN SEAN CHANG                        ATTN SR DIRECTOR
NO.3, TUNGYUAN RD                         252 SHANGYING RD, GUISHAN INDUSTRIAL   186, RUEY KUANG RD
CHUNGLI INDUSTRIAL ZONE                   ZONE                                   NEIHU
TAOYUAN CITY 32063 TAIWAN                 TAOYUAN COUNTY 33341                   TAIPEI 11491 TAIWAN
                                          TAIWAN


DELTA ELECTRONICS INC                     DELTA ELEKTRONIKA BV                   DELTA ENERGY SYST (GERMANY) GMBH
NO 16, DONGYUAN RD                        ATTN DIR                               ATTN ENGINEER
ZHONGLI DIST, TAOYUAN 320                 VISSERSDIJK 4                          TSCHEULINSTRASSE 21
TAIWAN                                    ZIERIKZEE 4301ND                       TENINGEN D-79331
                                          NETHERLANDS                            GERMANY



DELTA ENVIRONMENTAL CONSULTANT            DELTA MICROWAVE                        DELTA PRODUCTS CORP
165 PASSAIC AVE STE 205                   ATTN ELECTRICAL ENGINEER               ATTN DIR SALES & MARKETING
FAIRFIELD, NJ 07004                       300 DEL NORTE BLVD                     4405 CUSHING PKWY
                                          OXNARD, CA 93030                       FREMONT, CA 94538




DELTA PRODUCTS CORP                       DELTA STAR INC                         DELTA T CORP
ATTN VICE PRESIDENT, R&D                  3550 MAYFLOWER DRIVE                   DBA BIG ASS FANS
5101 DAVIS DR                             LYNCHBURG, VA 24501-5019               ATTN COUNSEL
DURHAM, NC 27709                                                                 2348 INNOVATION DR
                                                                                 LEXINGTON, KY 40511



DELTA V INSTRUMENTS INC                   DELTA-Q TECH CORP                      DELTATEK
1870 FIRMAN DRIVE                         ATTN CO-CEO & CFO                      ATTN PRESIDENT
RICHARDSON, TX 75081-1825                 3577 GILMORE WAY                       396-2 CHEONGCHEON2-DONG
                                          BURNABY, BC V5G 0B3                    BUPYEONG-GU
                                          CANADA                                 INCHEON SOUTH KOREA



DELTEC ENTERPRISES LLC DBA TAP GATE       DEL-TEC PACKAGING                      DELTECH INC
ATTN PATRICK LINSTRUTH                    P.O. BOX 6879                          ATTN PRESIDENT
1704 VERONA DR                            GREENVILLE, SC 29606-6879              1007 EAST 75TH AVE, UNIT E
CHATTANOOGA, TN 37421-0000                                                       DENVER, CO 80229




DELTEK INC                                DEL-TOOL COMPANY INC                   DELTRON CO LTD
2291 WOOD OAK DRIVE                       ATTN VP PRODUCTION                     ATTN PRESIDENT
HERNDON, VA 20171-2823                    640 COMMERCE AVE                       RM 1213, E&C DREAM TOWER
                                          BARABOO, WI 53913                      46 YANPYUNG-DONG 3GA
                                                                                 SEOUL 150-103 SOUTH KOREA



[NAME REDACTED]                           DELUXE DESIGN INC                      [NAME REDACTED]
[ADDRESS REDACTED]                        561 QUANTUM ROAD NE                    [ADDRESS REDACTED]
                                          RIO RANCHO, NM 87124-4502




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
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[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           DENEL DYNAMICS                          [NAME REDACTED]
[ADDRESS REDACTED]                        NELLMAPIUS DR                           [ADDRESS REDACTED]
                                          IRENE, CENTURION 0046
                                          SOUTH AFRICA




[NAME REDACTED]                           DENIS FERRANTI METERS LTD               DENKA CO LTD
[ADDRESS REDACTED]                        ATTN GENERAL MGR                        ATTN GENERAL MANAGER
                                          CAERNARFON RD, BANGOR, GWYNEDD          2-1-1 MUROMACHI, NIHONBASHI
                                          NORTH WALES LL57 4SP                    CHUO-KU
                                          UNITED KINGDOM                          TOKYO 103-8338 JAPAN



DENKEN CO LTD                             DENKI KAGAKU KOGYO KABUSHIKI KAISHA     DENKI KOGYO CO LTD
ATTN REP DIRECTOR                         ATTN GEN MGR                            ATTN MANAGER
97-1 TAKASAKI, HASAMA-MACHI               NIHONBASHI MITSUI TOWER, 1-1            SHIN-TOKYO BLDG 7TH FL
YUFU-SHI, OITA 879-5513                   NIHONBASHI-MUROMACHI 2-CHOME            3-3-1 MARUNOUCHI, CHIYODA-KU
JAPAN                                     TOKYO 103-8338 JAPAN                    TOKYO 100-0005 JAPAN



DENKO KAGAKU KOGYO KABUSHIKI KAISHA       [NAME REDACTED]                         [NAME REDACTED]
ATTN GEN MGR                              [ADDRESS REDACTED]                      [ADDRESS REDACTED]
SANSHIN BLDG 4-1
YURAKU-CHO 1-CHOME CHIYODA-KU
TOKYO JAPAN



[NAME REDACTED]                           DENNIS JOYNER CONSULTING SERVICES LLC   [NAME REDACTED]
[ADDRESS REDACTED]                        ATTN OWNER                              [ADDRESS REDACTED]
                                          3010 CHARLES FOREST RD
                                          WAKE FOREST, NC 27587




[NAME REDACTED]                           [NAME REDACTED]                         DENSEPOWER LLC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      ATTN PRESIDENT
                                                                                  DENAL WAY, M/S 408
                                                                                  VESTAL, NY 13850




DENSO CORP                                DENT INSTRUMENTS INC                    [NAME REDACTED]
1-1, SHOWA-CHO                            ATTN CONTROLLER                         [ADDRESS REDACTED]
KARIYA, AICHI 448-8661                    925 SW EMKAY DR
JAPAN                                     BEND, OR 97702
[NAME REDACTED] Case 25-90163           Document  87 Filed in TXSB on 07/03/25 DENTIM
                                           [NAME REDACTED]                       PageINC
                                                                                       217 of 944
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      DBA ETCHIT
                                                                                    ATTN PRESIDENT
                                                                                    210 CAPITAL DR NE
                                                                                    BUFFALO, MN 55313



[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]




DEPARTMENT OF BUSINESS SERVICES             DEPARTMENT OF BUSINESS SERVICES         DEPARTMENT OF DEFENSE
ALEXI GIANNOILIAS, SECRETARY OF STATE       ALEXI GIANNOILIAS, SECRETARY OF STATE   ATTN MICHAEL ADAMS
501 S SECOND ST                             69 W WASHINGTON ST                      9800 SAVAGE RD
RM 350                                      STE 1240                                FT MEADE, MO 20755
SPRINGFIELD, IL 62756                       CHICAGO, IL 60602



DEPARTMENT OF HOMELAND SECURITY             DEPARTMENT OF STATE TREASURER           DEPARTMENT OF THE ARMY
2707 MARTIN LUTHER KING JR AVE SE           COMMONWEALTH OF MASSACHUSETTS           ATTN TREVOR NELSON
WASHINGTON, DC 20528-0525                   UNCLAIMED PROPERTY DIVISION             OFFICE OF THE JUDGE ADVOCATE GENERAL
                                            1 ASHBURTON PLACE, 12TH FL              9275 GUNSTON RD, STE 2100
                                            BOSTON, MA 02108-1608                   FORT BELVOIR, VA 22060-5546



DEPARTMENT OF THE TREASURY, DIVISION        DEPCON LLC                              [NAME REDACTED]
OF REVENUE                                  ATTN OWNER                              [ADDRESS REDACTED]
AND ENTERPRISE SERVICES                     3424 FALLS RIVER AVE
33 W STATE ST 5TH                           RALEIGH, NC 27614
TRENTON, NJ 08608



DEPOSITION SCIENCES INC                     DEPOSITORY TST CO.                      DEPT ELECTRONICS & TELECOM-UNIV OF
ATTN PRESIDENT                              ROBERT GIORDANO                         FLORENCE
3300 COFFEY LN                              570 WASHINGTON BLVD                     V S MARTA, 3
SANTA ROSA, CA 95403                        JERSEY CITY, NJ 07310                   GLORENCE 50139
                                                                                    ITALY



DEPT OF AGRICULTURE TRADE & CONS            DEPT OF TREASURY IRS                    DEPT OF WORKFORCE DEVELOPMENT
PROT                                        ATTN MNG, VOLUNTARY COMP GRP 7553       EQUAL RIGHTS DIVISION
C/O INVESTIGATION UNIT                      1100 COMMERCE ST                        ATTN JOHNNIE A NELSON, EQUAL RIGHTS
ATTN CONSUMER PROTECTION                    MC 4922                                 OFC
INVESTIGATOR                                DALLAS, TX 75242                        819 N 6TH ST, RM 723
2811 AGRICULTURE DR, P.O. BOX 8911                                                  MILWAUKEE, WI 53203-1687
MADISON, WI 53708-8911

[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
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[NAME REDACTED] Case 25-90163     Document  87 Filed in TXSB on 07/03/25 [NAME
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[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    DESANTIS, ROBERT
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 263 WINN ST
                                                                         BURLINGTON, MA 01803




DESARROLLADORA SOLINGEN SA            DESARROLLOS TECNO ARGENTINA        DESCARTES VISUAL COMPLIANCE (USA) LLC
ATTN CONSTRUCTION SUPV                MONSENOR PABLO CABRERA 5020        ATTN LEGAL NOTICES
22 AVE 11-00 ZONA 15                  CORDOBA X5008HJP                   PEACE BRIDGE PLZ
VISTA HERMOSA III                     ARGENTINA                          BUFFALO, NY 14213
GUATEMALA 01016 GUATEMALA



DESCHAMPS MATS SYSTEMS INC            [NAME REDACTED]                    [NAME REDACTED]
DBA UTZ TECHNOLOGIES                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
4 PECKMAN RD
LITTLE FALLS, NJ 07424




DESIGN CONCEPTS INC                   DESIGN DIMENSIONS INC              DESIGN GROUP STAFFING INC
ATTN PRESIDENT                        ATTN CFO                           ATTN PRESIDENT
4397 W SUNSET RD, STE B               901 N WEST ST                      10012 JASPER AVE
LAS VEGAS, NV 89118                   RALEIGH, NC 27603                  EDMONTON, AB T5J 1R2
                                                                         CANADA



DESIGN WORKSHOP TECHNOLOGIES          DESIGN WORKSHOP TECHNOLOGIES       DESIGN WORKSHOP TECHNOLOGIES
INCORPORATED                          INCORPORATED                       6500 TRANS-CANADA HWY, SUITE 475
ATTN GLOBAL SALES DIRECTOR            ATTN GLOBAL SALES DIRECTOR         POINT-CLAIRE H9R 0A5
4030 COTE-VERTU BLVD, STE 111         6500 TRANS-CANADA HWY, STE 475     CANADA
VILLE SAINT-LAURENT, QC H4R 1V4       POINTE-CLAIRE, QC H8R 0A5
CANADA                                CANADA


DESIGNATED DRIVER LLC                 DESIGNS FOR VISION INC             [NAME REDACTED]
ATTN OWNER                            ATTN PRESIDENT                     [ADDRESS REDACTED]
5129 SHIRLEY AVE                      760 KOEHLER AVE
RACINE, WI 53406                      RONKONKOMA, NY 11779




[NAME REDACTED]                       DESING CONCEPTS INC                DESJARDINS SECS INC.(5028)
[ADDRESS REDACTED]                    ATTN PRESEIDENT                    ATT KARLA DIAZ/VALUERS MOB.
                                      4397 W SUNSET RD, STE B            2 COMPLEXE DESJARDINS TOUR EST
                                      LAS VEGAS, NV 89118                NIVEAU 62
                                                                         MONTREAL, QC H5B 1B4 CANADA



DESKTOP METAL OPERATING INC           [NAME REDACTED]                    [NAME REDACTED]
EXONE OPERATING, LLC                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
127 INDUSTRY BLVD
NORTH HUNTINGDON, PA 15642




[NAME REDACTED]                       [NAME REDACTED]                    DETECTOR TECHNOLOGY INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 ATTN PRESIDENT
                                                                         PALMER INDUSTRIES PARK
                                                                         9 THIRD ST
                                                                         PALMER, MA 01609
                  Case
DETROIT GAUGE & TOOL    25-90163
                      COMPANY, THE   Document 87
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                                                & SONS    in TXSB
                                                        COMPANY INC on 07/03/25 DEUTSCHE
                                                                                  Page 219  of(2690)
                                                                                         BANK   944
DBA DATANET QUALITY SYSTEMS              ATTN OWNER                               ATT REORG MGR
29200 NW HWY, STE 350                    2172 MILLER PARK WAY                     5022 GATE PKWY
SOUTHFIELD, MI 48034                     MILWAUKEE, WI 53219                      STE 200
                                                                                  JACKSONVILLE, FL 32256



DEUTSCHE BANK TRUST COMPANY AMERICA      DEUTSCHE INVESTMENT MANAGEMENT           DEUTSCHE INVESTMENT MANAGEMENT
ATTN MGR, ESCROW TEAM                    AMERICAS INC                             AMERICAS INC
60 WALL ST, 27TH FL                      DEUTSCHE ASSET MANAGEMENT                DEUTSCHE ASSET MANAGEMENT
NEW YORK, NY 10005                       ATTN DOC SPECIALIST, MS: NYC03-0620      ATTN LEGAL DEPT
                                         280 PARK AVE, 6TH FL                     345 PARK AVE, 26TH FL
                                         NEW YORK, NY 10017                       NEW YORK, NY 10154


DEUTSCHE LUFTHANSA AG                    DEUTSCHE POST AG                         [NAME REDACTED]
C/O UNITED AIRLINES                      CHARLES-DE-GAULLE STR 20                 [ADDRESS REDACTED]
ATTN VP SALES, THE AMERICAS              BONN 53113
233 S WACKER DR, 16TH FL-HQSVS           GERMANY
CHICAGO, IL 60606



[NAME REDACTED]                          DEVELOPMENT DIMENSIONS INTL INC          DEVICE ENGINEERING INCORPORATED
[ADDRESS REDACTED]                       ATTN VICE PRESIDENT, GSP                 ATTN VP MKTG & SALES
                                         1225 WASHINGTON PIKE                     385 E ALAMO DR
                                         BRIDGEVILLE, PA 15017                    CHANDLER, AZ 85225




DEVICE SOLUTIONS INC                     [NAME REDACTED]                          [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER             [ADDRESS REDACTED]                       [ADDRESS REDACTED]
1010 COPELAND OAKS DR
MORRISVILLE, NC 27560




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          DEVLIN LAW FIRM LLC                      DEVYN PARKS
[ADDRESS REDACTED]                       ATTN TIMOTHY DEVLIN                      ATTN DEVYN PARKS
                                         1306 N BROOM ST, 1ST FL                  9 CIRCUIT DR
                                         WILMINGTON, DE 19806                     DURHAM, NC 27710




DEWBERRY DESIGN-BUILDERS INC             DEWBERRY ENGINEERS, INC.                 DEWEYL TOOL COMPANY, INC.
8401 ARLINGTON BLVD                      2610 WYCLIFF RD 410                      959 TRANSPORT WY
FAIRFAX, VA 22031-4619                   RALEIGH, NC 27607-0028                   PETALUMA, CA 94954-1474




DEWHIT INC                               DEWILDT ENVIRONMENTAL INC                [NAME REDACTED]
ATTN PRESIDENT                           ATTN SERVICE TECH                        [ADDRESS REDACTED]
213 E BUTLER RD, STE F2                  2003 SO EL CAMINO REAL, 202
MAULDIN, SC 29662                        OCEANSIDE, CA 92054




[NAME REDACTED]                          DEXERIALS CORP                           DEXERIALS CORPORATION
[ADDRESS REDACTED]                       F/K/A SONY CHEMICAL & INFO DEVICE CORP   ATTN SR GENERAL MGR
                                         GATE CITY OSAKI, E TOWER 8TH FL          EAST TOWER, 8TH FL, 1-11-2 OSAKI
                                         1-11-2 OSAKI, SHINAGAWA-KU               SHINAGAWA-KU
                                         TOKYO 141-0032 JAPAN                     TOKYO 141-0032 JAPAN
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  220 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




DF ELETTRONICA SRL                        DFAS                               DFR SOLUTIONS LLC
VIA DEL COLLE, 80                         C/O WEST ENTITLEMENT OPS           ATTN CEO
CALENZANO, FI 50041                       FINANCE OFFICE, HQ 0338            9000 VIRGINIA MANOR RD, STE 290
ITALY                                     P.O. BOX 182317                    BELTSVILLE, MD 20705
                                          COLUMBUS, OH 43218-2317



DFR SOLUTIONS LLC                         DGA SRL                            DGC GLASS SYSTEMS LLC
ATTN DIR OF OPS                           ATTN PRESIDENT                     ATTN CHIEF EXECUTIVE OFFICER
5110 ROANOKE PLACE, STE 101               VIA PIETRO NENNI 72/B              6305 LAKE WHEELER RD
COLLEGE PARK, MD 20740                    ZONA INDUSTRIALE CAPALLE           RALEIGH, NC 27603
                                          CAMPI BISENZIO 50010 ITALY



DGLOGIK INC                               DH GRIFFIN INFRASTRUCTURE LLC      DH GRIFFIN INFRASTRUCTURE LLC
ATTN CHIEF EXECUTIVE OFFICER              7701 THORNDIKE RD                  ATTN MANAGER
1830 EMBARCADERO, 106                     GREENSBORO, NC 27409               4716 HILLTOP RD
OAKLAND, CA 94606                                                            GREENSBORO, NC 27407




DH PACE COMPANY INC                       [NAME REDACTED]                    [NAME REDACTED]
825 WEST SANDY LAKE ROAD, SUITE 100       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
COPPELL, TX 75019-7408




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           DHG CORP FINANCE LLC               DHG CORPORATE FINANCE LLC
[ADDRESS REDACTED]                        ATTN SR ANALYST                    ATTN MANAGING DIRECTOR
                                          214 N TRYON ST, STE 2200           214 N TRYON ST, STE 2200
                                          CHARLOTTTE, NC 28202               CHARLOTTE, NC 28202




[NAME REDACTED]                           DHL EXPRESS (USA) INC              DHL SUPPLY CHAIN
[ADDRESS REDACTED]                        1210 S PINE ISLAND RD, STE 400     ATTN PROCUREMENT DEPT
                                          PLANTATION, FL 33324               570 POLARIS PKWY - DEPT 240
                                                                             WESTERVILLE, OH 43082
[NAME REDACTED] Case 25-90163         Document 87 Filed
                                         DHR MARKETING INC in TXSB on 07/03/25 [NAME
                                                                                 Page  221 of 944
                                                                                     REDACTED]
[ADDRESS REDACTED]                        DBA AURORA TECH MARKETING LLC           [ADDRESS REDACTED]
                                          ATTN VP
                                          211 SIX FORKS RD, STE 205
                                          RALEIGH, NC 27609



[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




DIABLO CAPITAL, INC.                      DIABLO INDUSTRIES                       DIALIGHT CORP
ESHYLON SCIENTIFIC                        2245 MERIDIAN BLVD, STE E               ATTN VP OF ENGINEERING
1039 SERPENTINE LANE SUITE F              MINDEN, NV 89423                        1501 STATE RTE 34
PLEASANTON, CA 94566-4770                                                         FARMINGDALE, NJ 07727




DIALIGHT LTD                              DIALIGHT LUMIDRIVES LTD                 [NAME REDACTED]
ATTN ENG MGR OF EL                        ATTN DIR                                [ADDRESS REDACTED]
WETHERBY RD, LONG MARSTON                 YORK HOUSE, WETHERBY RD
YORK Y026 7NH                             LONG MARSTON
UNITED KINGDOM                            YORK YO26 7NH UNITED KINGDOM



[NAME REDACTED]                           DIALOG SEMICONDUCTOR POWER              DIAMETER CAPITAL PARTNERS LP
[ADDRESS REDACTED]                        CONVERSION BUSINESS GROUP               55 HUDSON YARDS, STE 29B
                                          ATTN DIV VP OPS & QUALITY               NEW YORK, NY 10001
                                          675 CAMPBELL TECHNOLOGY PKWY, STE 150
                                          CAMPBELL, CA 95008



DIAMOND ELECTRIC MFG CO LTD               DIAMOND GRAPHICS GROUP LLC              DIAMOND INDUSTRIAL TOOLS INC
ATTN GENERAL MGR                          DBA VINK SIGNS & DESIGNS                6712 N CRAWFORD AVE
1-15-27 TSUKAMOTO, YODOGAWA-KU            ATTN CHIEF EXECUTIVE OFFICER            LINCOLNWOOD, IL 60712-3508
OSAKA 532-0026                            2008 S MAIN ST, STE 308
JAPAN                                     WAKE FOREST, NC 27587



DIAMOND INNOVATIONS INC                   DIAMOND INNOVATIONS INC                 DIAMOND MATERIALS TECH INC
ATTN PRES & CEO                           C/O PEPER HAMILTON LLP                  ATTN CHIEF EXECUTIVE OFFICER
6325 HUNTLEY RD                           ATTN JAMES EPSTEIN                      3505 N STONE AVE
WORTHINGTON, OH 43085                     3000 TWO LOGAN SQ, 18TH & ARCH STS      COLORADO SPRINGS, CO 80907
                                          PHILADELPHIA, PA 19103



DIAMOND MICROWAVE DEVICES                 DIAMOND MT INC                          DIAMOND PHOENIX
103 CLARENDEN RD                          ATTN PRESIDENT                          ATTN VP SALES
LEEDS LS2 9DF                             213 CHESTNUT ST                         90 ALFRED PLOURDE PKWY
UNITED KINGDOM                            JOHNSTOWN, PA 15906                     LEWISTON, ME 04241




DIAMOND RESERVE INC                       DIAMOND SCIENTIFIC INC                  [NAME REDACTED]
DBA NATIONAL DIAMOND TOOL & COATING       ATTN PRES                               [ADDRESS REDACTED]
ATTN INSIDE SALES                         14900 WOODHAM DR, STE 170
801 SHARON DR                             HOUSTON, TX 77073
WESTLAKE, OH 44145



DIAMONEX                                  DIAMOTEC INC                            [NAME REDACTED]
ATTN VICE PRESIDENT                       ATTN MANAGER                            [ADDRESS REDACTED]
7150 WINDSOR DR                           3545 W LOMITA BLVD, C
ALLENTOWN, PA 18106-9328                  TORRANCE, CA 90505
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  222 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     DIAX INC                           [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN CHIEF EXECUTIVE OFFICER       [ADDRESS REDACTED]
                                    SANMAICHO 108-7-502, KANAGAWA-KU
                                    YOKOHAMA 221-0862
                                    JAPAN



[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    DIC INTERNATIONAL (USA) LLC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN VICE PRESIDENT & GM
                                                                       35 WATERVIEW BLVD
                                                                       PARSIPPANY, NJ 07054




DICING BLADE TECHNOLOGY INC         [NAME REDACTED]                    [NAME REDACTED]
ATTN CORP SEC                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
646 GIGUERE CT
SAN JOSE, CA 95133




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     DICKINSON EQUIPMENT INC.           DICKMANN INC
[ADDRESS REDACTED]                  THE TRACTOR CENTER                 DBA DICKMANN MFG CO INC
                                    4901 FAYETTEVILLE ROAD             ATTN PRES - ADMIN AFFAIRS
                                    RALEIGH, NC 27603-3621             606 BEECH ST, P.O. BOX 91
                                                                       GRAFTON, WI 53024



DICKS SPORTING GOODS INC            [NAME REDACTED]                    DIEHL AEROSPACE GMBH
ATTN HERMAN BLATZ                   [ADDRESS REDACTED]                 DONAUSTRASSE 120
345 COURT ST                                                           NORNBERG 90451
CORAOPOLIS, PA 15108                                                   GERMANY




DIEHL AKO STIFTUNG & CO KG          DIEHL AUGE DECOUPAGE SAS           [NAME REDACTED]
ATTN CEO                            12 BOULEVARD JF KENNEDY            [ADDRESS REDACTED]
PFANNERSTR 75                       BESANCON 25000
WANGEN IA 88239                     FRANCE
GERMANY
                  Case 25-90163
DIELECTRIC LABORATORIES INC           Document   87 Filed in TXSB on 07/03/25 [NAME
                                         DIEMAT INC                             Page  223 of 944
                                                                                    REDACTED]
ATTN EXEC ASST                            ATTN PRES                           [ADDRESS REDACTED]
2777 RTE 20 E                             19 CENTRAL ST
CAZENOVIA, NY 13035                       BAYFIELD, MA 01922




[NAME REDACTED]                           DIFFERENTIAL ENERGY GLOBAL LTD      DIFFRACTIVE OPTICS LIMITED
[ADDRESS REDACTED]                        ATTN PRESIDENT & CEO                ATTN ENGINEERING MGR
                                          1540 LEADER INTL DR                 UNIT 531, 5/F, ENTERPRISE PL
                                          PORT ORCHARD, WA 98367              HONG KONG SCIENCE PARK
                                                                              SHATIN, NT HONG KONG



DIFFUSELEC                                DIGI INTERNATIONAL                  DIGI SECURITY SYSTEMS LLC
ATTN R&D ENGINEER                         9350 EXCELSIOR BLVD, SUITE 700      ATTN CONTROLLER
475 RUE MARIO PIANI AMBERIEUX             HOPKINS, MN 55343-0095              11333 E 51ST PL
DAZERGUES                                                                     TULSA, OK 74146
FRANCE



DIGICA COMPUTERS INC                      DIGICERT INC                        DIGI-KEY CORPORATION
DBA DIGICA SOLUTIONS                      ATTN GENERAL COUNSEL                701 BROOKS AVE S.
ATTN PRESIDENT                            2600 W EXECUTIVE PKWY, STE 500      THIEF RIVER FALLS, MN 56701
27-7500 HWY 27                            LEHI, UT 84043
VAUGHN, ON L4H 0J2 CANADA



DIGI-KEY ELECTRONICS (SHANGHAI) CO.       DIGIPROCES SA                       DIGISLIDE HOLDINGS LTD
ROOMS 503-504, BLOCK A, 1055 ZHONGS       ATTN JORDI BATET, GEN MGR           ATTN CEO
SHANGHAI 201500                           PI PLA DE LA BRUGUERA               100-102 CAVAN RD
CHINA                                     CASTELLAR DEL VALLES                DRY CREEK, SA 5094
                                          BARCELONA E-08211 SPAIN             AUSTRALIA



DIGITAL ANALYSIS CORP                     DIGITAL ANALYSIS CORP               DIGITAL BROTHERS GROUP
ATTN OFFICE ADMIN                         ATTN SYSTEM ENGINEER                1484 JAY COURT
716 VISIONS DR                            P.O. BOX 163                        STONE MOUNTAIN, GA 30087-2108
SKANEATELES, NY 13152                     MARCELLUS, NY 13108




DIGITAL CHASSIS LLC, THE                  DIGITAL GROUP LLC                   DIGITAL LIGHT
ATTN OWNER                                913 MYATT INDUSTRIAL DRIVE          ATTN CEO
4523 HILLSBOROUGH RD                      MADISON, TN 37115-2429              1801 CENTURY PARK E, 24TH FL
DURHAM, NC 27705                                                              LOS ANGELES, CA 90067




DIGITAL LUMENS INC                        DIGITAL LUMENS INC                  DIGITAL MEDIA INNOVATIONS
ATTN CFO                                  ATTN FRITZ MORGAN                   7108 S ALSTON WAY H
129 PORTLAND ST, 4TH FL                   110 CANAL ST, 7TH FL                CENTENNIAL, CO 80112
BOSTON, MA 02114                          BOSTON, MA 02114




DIGITAL RECEIVER TECHNOLOGY INC           DIGITAL SURF                        DIGITALSMITHS
ATTN SR MGR SUPPLY CHAIN                  ATTN CHIEF EXECUTIVE OFFICER        ATTN SVP & GM
20250 CENTURY BLVD, STE 300               16 RUE LAVOISIER                    320 BLACKWELL ST, STE 200
GERMANTOWN, MD 20874                      BESANCON 25000                      DURHAM, NC 27701
                                          FRANCE



DIGITIMES INC.                            [NAME REDACTED]                     DIL ENGINEERING GMBH
12F., NO. 133, SEC. 4, MINSHENG E.        [ADDRESS REDACTED]                  ATTN MANAGING DIR
TAIPEI 10574                                                                  PROF.-VON-KLITZING-STR 7
TAIWAN                                                                        QUAKENBRUCK 49610
                                                                              GERMANY
                  Case 25-90163
DILACO LIGHTING LTD                 Document
                                       DILIGENT87  Filed in TXSB on 07/03/25 [NAME
                                                CORPORATION                    Page  224 of 944
                                                                                   REDACTED]
ATTN DIR                                1111 19TH STREET NW 9TH FLOOR         [ADDRESS REDACTED]
POSA LAJOS U 98                         WASHINGTON, DC 20036-3603
PECS H-7627
HUNGARY



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




DILLON SUPPLY COMPANY                   [NAME REDACTED]                       DIMENSION DATA NORTH AMERICA INC
440 CIVIC BLVD                          [ADDRESS REDACTED]                    ATTN LEGAL DEPT
RALEIGH, NC 27610-2967                                                        550 COCHITUATE RD
                                                                              FRAMINGHAM, MA 01701




DIMENSION DATA NORTH AMERICA INC        DIMENSIONS IN OCCUP HEALTH & SAFETY   DIMERCO VIETFRACHT (JV) CO., LTD
ATTN VP MARKETING & BUSINESS STRATEGY   INC                                   NO 29-31, DINH BO LINH STR,
110 PARKWAY DR S                        8374-104 SIX FORKS RD                 HO CHI MINH 700000
HAUPPAUGE, NY 11788                     RALEIGH, NC 27615-2958                VIETNAM




[NAME REDACTED]                         DIMPLEX THERMAL SOLUTIONS             [NAME REDACTED]
[ADDRESS REDACTED]                      2625 EMERALD DRIVE                    [ADDRESS REDACTED]
                                        KALAMAZOO, MI 49001-4542




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       DIODES (SHIPPING LOC)
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    1, LANE 1 8, SANZHUANG ROAD,
                                                                              SHANGHAI 201613
                                                                              CHINA




DIODES INC                              DIODES INC                            DIODES SHANGHAI CO LTD
ATTN IN-HOUSE CONSEL                    ATTN SVP SALES & MKTG                 ATTN JUSTIN KONG
4949 HEDGCOXE RD, STE 200               SUNRISE BUSINESS CTR, STE 111B        NO 1 LN 18, SAN ZHUANG RD
PLANO, TX 75024                         BLDG 200, 3500 SUNRISE HWY            SONGJIANG EXPORT ZONE
                                        GREAT RIVER, NY 11739-1000            SHANGHAI 201613 CHINA



DIODES ZETEX SEMICONDUCTORS LTD         [NAME REDACTED]                       [NAME REDACTED]
ATTN SVP SALES & MKTG                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]
ZETEX TECHNOLOGY PARK, CHADDERTON
OLDHAM OL9 9LL
UNITED KINGDOM



[NAME REDACTED]                         [NAME REDACTED]                       DIRECT CONVEYORS LLC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    ATTN OFFICE MGR
                                                                              400 N FORSYTHE ST, UNIT 1
                                                                              FRANKLIN, IN 56131
DIRECT RELIEF    Case 25-90163       Document  87 Filed
                                        DIRECT REPAIR     in TXSBINC
                                                      LABORATORIES on 07/03/25 DIRECT
                                                                                 PageSOURCE
                                                                                      225 ofSURPLUS
                                                                                              944 LLC
6100 WALLACE BECKNELL ROAD               1815 NW 169TH PLACE 2030                 ATTN VP, MFG & TECHNOLOGY
SANTA BARBARA, CA 93117                  BEAVERTON, OR 97006-7366                 5101 DEERCHASE TRAIL
                                                                                  WAKE FOREST, NC 27587




DIRECTRF CO LTD                          DIRECTV LLC                              DIRECTV LLC
ATTN PRESIDENT                           BUSINESS SERVICE CENTER                  BUSINESS SERVICE CENTER
KOBE FASHION MART 6F, 6-9 KOYO-CHO       P.O. BOX 410347                          P.O. BOX 5392
NAKA                                     CHARLOTTE, NC 28241                      MIAMI, FL 33152-5392
HIGASHINADA-KU
KOBE, HYOGO JAPAN


DIRECTV                                  [NAME REDACTED]                          [NAME REDACTED]
P.O. BOX 60036                           [ADDRESS REDACTED]                       [ADDRESS REDACTED]
LOS ANGELES, CA 90060-0036




DISANO ILLUMINAZIONE SPA                 DISCO ABRASIVE SYSTEMS                   DISCO CORPORATION
ATTN MNG                                 C/O DISCO HI-TECH AMERICA INC            ATTN JOEL SIGMUND
VIALE LOMBARDIA 129                      5921 OPTICAL CT                          3000 AERIAL CENTER EXEC PARK, STE 140
ROZZANO, MILANO 20089                    SAN JOSE, CA 95138                       MORRISVILLE, NC 27560
ITALY



DISCO HI TECH AMERICA INC                DISCO HI TECH AMERICA INC                DISCO HI-TEC CHINA CO LTD
5921 OPTICAL COURT                       ATTN JOEL SIGMUND                        BUILDING 5, NO 690, BI BI RD
SAN JOSE, CA 95138                       3000 AERIAL CENTER EXECUTIVE PARK, STE   ZHANG JIANG HIGH TECH PARK
                                         140                                      SHANGHAI 201203
                                         MORRISVILLE, NC 27560                    CHINA



DISCO III-TEC AMERICA INC                [NAME REDACTED]                          DISENO Y DESARROLLO DE SISTEMAS-
ATTN EXEC VICE PRESIDENT                 [ADDRESS REDACTED]                       INTELIGENTES TECHMOTION SA DE CV
3270 SCOTT BLVD                                                                   CALLE JUSTICIA 604
SANTA CLARA, CA 95054                                                             COLONIA ESPERANZA
                                                                                  GUADALAJARA, JAL 44300 MEXICO



[NAME REDACTED]                          [NAME REDACTED]                          DISPENSE WORKS INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       4071 ALBANY STREET
                                                                                  MCHENRY, IL 60050-8390




DISPLAY ENGINEERING INC                  DISPLAY MATERIALS ENGINEERING            DISPLAY PRODUCTS INC
ATTN PRESIDENT                           LABORATORIES & DEV CNTR                  DBA DDP ENG LED SOLUTIONS
14672 STONERIDGE DR                      ATTN GEN MGR                             ATTN PRESIDENT
SARATOGA, CA 95070                       2613-1 ICHINOMOTO-CHO, TENRI             445 S DOUGLAS ST
                                         NARA 632-8567 JAPAN                      EL SEGUNDO, CA 90245



DISPLAY TECHNOLOGY DEVELOPMENT           DISPLAYWORKS CO LTD                      [NAME REDACTED]
GROUP                                    ATTN CTO                                 [ADDRESS REDACTED]
ATTN GEN MGR                             UNIT B-1411, WOOLIM BLUE NINE, 240-21
2613-1 ICHINOMOTO-CHO, TENRI             YEOMCHANGE-DONG,GANGSEO-GU
NARA 632-8567                            SEOUL SOUTH KOREA
JAPAN


[NAME REDACTED]                          DIST COURT OF HARRIS COUNTY TX           DIST COURT OF HARRIS COUNTY TX
[ADDRESS REDACTED]                       ATTN DIST CLERK                          ATTN DIST CLERK
                                         201 CAROLINE                             P.O. BOX 4651
                                         HOUSTON, TX 77002                        HOUSTON, TX 77210
                   Case 25-90163
DIST. OF GUAM & NORTHERN MAR. ISLANDS Document
                                         DIST. OF87
                                                 GUAMFiled in TXSB
                                                      & NORTHERN  MAR.on  07/03/25 [NAME
                                                                       ISLANDS       Page  226 of 944
                                                                                         REDACTED]
SHAWN N ANDERSON                         SHAWN N ANDERSON                          [ADDRESS REDACTED]
P.O. BOX 500377                          SIRENA PLAZA
SAIPAN, MP 96950-0377                    108 HERNAN CORTEZ, STE 500
MARIANA ISLANDS                          HAGATNA, GU 96910



[NAME REDACTED]                         DISTRICT OF ALASKA                       DISTRICT OF ALASKA
[ADDRESS REDACTED]                      MICHAEL J HEYMAN                         MICHAEL J HEYMAN
                                        101 12TH AVE, ROOM 310                   222 W 7TH AVE, ROOM 253, 9,
                                        FAIRBANKS, AK 99701                      ANCHORAGE, AK 99513




DISTRICT OF ALASKA                      DISTRICT OF ARIZONA                      DISTRICT OF ARIZONA
MICHAEL J HEYMAN                        TIMOTHY COURCHAINE                       TIMOTHY COURCHAINE
709 W 9TH ST, ROOM 937                  123 N SAN FRANCISCO ST, STE 410          405 W CONGRESS ST, STE 4800
JUNEAU, AK 99802                        FLAGSTAFF, AZ 86001                      TUCSON, AZ 85701-5040




DISTRICT OF ARIZONA                     DISTRICT OF ARIZONA                      DISTRICT OF COLORADO
TIMOTHY COURCHAINE                      TIMOTHY COURCHAINE                       J. BISHOP GREWELL
7102 E 30TH ST, STE 101                 TWO RENAISSANCE SQ                       1801 CALIFORNIA ST
YUMA, AZ 85365                          40 N CENTRAL AVE, STE 1800               DENVER, CO 80202
                                        PHOENIX, AZ 85004-4408



DISTRICT OF COLORADO                    DISTRICT OF COLORADO                     DISTRICT OF COLUMBIA ATTORNEY
J. BISHOP GREWELL                       J. BISHOP GREWELL                        GENERAL
AUSA JEFFREY GRAVES                     AUSA PETER HAUTZINGER                    ATTN: BRIAN L. SCHWALB
835 E 2ND AVE, STE 410                  205 N 4TH ST, STE 400                    400 6TH STREET, NW
DURANGO, CO 81301                       GRAND JUNCTION, CO 81501                 WASHINGTON, DC 20001



DISTRICT OF COLUMBIA                    DISTRICT OF COLUMBIA                     DISTRICT OF COLUMBIA
1101 4TH STREET, SW                     DEPT OF EMPLOYMENT SERVICES              EDWIN R MARTIN JR
STE 270                                 4058 MINNESOTA AVE NE                    UNITED STATES ATTORNEYS OFFICE
WASHINGTON, DC 20024                    WASHINGTON, DC 20019                     601 D ST, NW
                                                                                 WASHINGTON, DC 20001



DISTRICT OF CONNECTICUT                 DISTRICT OF CONNECTICUT                  DISTRICT OF CONNECTICUT
MARC H SILVERMAN                        MARC H SILVERMAN                         MARC H SILVERMAN
1000 LAFAYETTE BLVD, 10TH FL            450 MAIN ST, ROOM 328                    CONNECTICUT FINANCIAL CENTER
BRIDGEPORT, CT 06604                    HARTFORD, CT 06103                       157 CHURCH ST, FL 25
                                                                                 NEW HAVEN, CT 06510



DISTRICT OF DELAWARE                    DISTRICT OF HAWAII                       DISTRICT OF IDAHO
SHANNON T HANSON                        KEN SORENSON                             JUSTIN D WHATCOTT
HERCULES BUILDING, US ATTORNEYS         300 ALA MOANA BLVD, 6-100                1290 W MYRTLE ST, STE 500
OFFICE                                  HONOLULU, HI 96850                       BOISE, ID 83702
1313 N. MARKET ST, P.O. BOX 2046
WILMINGTON, DE 19801


DISTRICT OF IDAHO                       DISTRICT OF IDAHO                        DISTRICT OF KANSAS
JUSTIN D WHATCOTT                       JUSTIN D WHATCOTT                        DUSTON J SLINKARD
6450 MINERAL DRIVE, STE 210             801 E SHERMAN, STE 192                   1200 EPIC CENTER
COEUR DALENE, ID 83815                  POCATELLO, ID 83201                      301 N MAIN
                                                                                 WICHITA, KS 67202



DISTRICT OF KANSAS                      DISTRICT OF KANSAS                       DISTRICT OF MAINE
DUSTON J SLINKARD                       DUSTON J SLINKARD                        CRAIG M WOLFF
444 SE QUINCY, STE 290                  500 STATE AVE, STE 360                   100 MIDDLE ST, 6TH FL EAST
TOPEKA, KS 66683                        KANSAS CITY, KS 66101                    PORTLAND, ME 04101
DISTRICT OF MAINE Case 25-90163   Document
                                     DISTRICT87   Filed in TXSB on 07/03/25 DISTRICT
                                              OF MARYLAND                     Page OF227 of 944
                                                                                       MARYLAND
CRAIG M WOLFF                         KELLEY O HAYES                          KELLEY O HAYES
202 HARLOW ST, ROOM 111               36 S CHARLES ST, 4TH FL                 6406 IVY LANE STE 800
BANGOR, ME 04401                      BALTIMORE, MD 21201                     GREENBELT, MD 20770




DISTRICT OF MASSACHUSETTS             DISTRICT OF MASSACHUSETTS               DISTRICT OF MASSACHUSETTS
LEAH B FOLEY                          LEAH B FOLEY                            LEAH B FOLEY
DONOHUE FEDERAL BLDG                  FEDERAL BLDG AND COURTHOUSE             JOHN JOSEPH MOAKLEY, UNITED STATES
595 MAIN ST, ROOM 206                 300 STATE ST, STE 230                   FEDERAL COURTHOUSE
WORCESTER, MA 01608                   SPRINGFIELD, MA 01105                   1 COURTHOUSE WAY, STE 9200
                                                                              BOSTON, MA 02210


DISTRICT OF MINNESOTA                 DISTRICT OF MINNESOTA                   DISTRICT OF MONTANA
LISA D KIRKPARTICK                    LISA D KIRKPARTICK                      KURT G ALME
US COURTHOUSE                         US COURTHOUSE                           US ATTORNEYS OFFICE
300 S 4TH ST, STE 600                 316 N ROBERT ST, STE 404                119 1ST AVE N 300
MINNEAPOLIS, MN 55415                 ST. PAUL, MN 55101                      GREAT FALLS, MT 59401



DISTRICT OF MONTANA                   DISTRICT OF MONTANA                     DISTRICT OF MONTANA
KURT G ALME                           KURT G ALME                             KURT G ALME
US ATTORNEYS OFFICE                   US ATTORNEYS OFFICE                     US ATTORNEYS OFFICE
2601 SECOND AVE N, STE 3200           901 FRONT ST, STE 1100                  P.O. BOX 8329
BILLINGS, MT 59101                    HELENA, MT 59626                        MISSOULA, MT 59807



DISTRICT OF NEBRASKA                  DISTRICT OF NEBRASKA                    DISTRICT OF NEVADA
MATTHEW R MOLSEN                      MATTHEW R MOLSEN                        SIGAL CHATTAH
US ATTORNEYS OFFICE                   US ATTORNEYS OFFICE, 487 FEDERAL BLDG   US ATTORNEYS OFFICE
1620 DODGE ST, STE 1400               100 CENENNIAL MALL NORTH                400 S VIRGINIA ST, STE 900
OMAHA, NE 68102                       LINCOLN, NE 68508                       RENO, NV 89501



DISTRICT OF NEVADA                    DISTRICT OF NEW HAMPSHIRE               DISTRICT OF NEW JERSEY
SIGAL CHATTAH                         JAY MCCORMACK                           ALINA HABBA
US ATTORNEYS OFFICE                   UNITED STATES ATTORNEYS OFFICE          US ATTORNEYS OFFICE
501LAS VEGAS BLVD S, STE 1100         53 PLEASANT ST, 4TH FL                  402 E STATE ST, ROOM 430
LAS VEGAS, NV 89101                   CONCORD, NH 03301                       TRENTON, NJ 08608



DISTRICT OF NEW JERSEY                DISTRICT OF NEW JERSEY                  DISTRICT OF NEW MEXICO
ALINA HABBA                           ALINA HABBA                             HOLLAND S KASTRIN
US ATTORNEYS OFFICE                   US ATTORNEYS OFFICE, CAMDEN FEDERAL     201 3RD ST NW, STE 900
970 BROAD ST, 7TH FL                  BLDG & US COURTHOUSE                    ALBUQUERQUE, NM 87102
NEWARK, NJ 07102                      P.O. BOX 2098, 401 MARKET ST, 4TH FL
                                      CAMDEN, NJ 08101


DISTRICT OF NEW MEXICO                DISTRICT OF NORTH DAKOTA                DISTRICT OF NORTH DAKOTA
HOLLAND S KASTRIN                     JENNIFER PUHL                           JENNIFER PUHL
P.O. BOX 607                          QUENTIN N BURDICK UNITED STATES         WILLIAM L GUY FEDERAL BLDG, US
ALBUQUERQUE, NM 87103                 COURTHOUSE, US ATTORNEYS OFFICE         ATTORNEYS OFFICE
                                      655 FIRST AVE N, STE 250                220 E ROSSER AVE, ROOM 32
                                      FARGO, ND 58102-4932                    BISMARCK, ND 58502


DISTRICT OF OREGON                    DISTRICT OF OREGON                      DISTRICT OF OREGON
WILLAIM NARUS                         WILLAIM NARUS                           WILLAIM NARUS
1000 SW THIRD AVE STE 600             310 W SIXTH                             405 E 8TH AVE, STE 2400
PORTLAND, OR 97204                    MEDFORD, OR 97501                       EUGENE, OR 97401




DISTRICT OF PUERTO RICO               DISTRICT OF RHODE ISLAND                DISTRICT OF SOUTH CAROLINA
W STEPHEN MULDROW                     SARA MIRON BLOOM                        BROOK B ANDREWS
TORRE CHARDON, STE 1201               ONE FINANCIAL PLAZA, 17TH FL            1441 MAIN ST, STE 500
350 CARLOS CHARDON ST                 PROVIDENCE, RI 02903                    COLUMBIA, SC 29201
SAN JUAN, PR 00918
DISTRICT OF SOUTH Case  25-90163
                  CAROLINA              Document
                                           DISTRICT87   FiledDAKOTA
                                                    OF SOUTH  in TXSB on 07/03/25 DISTRICT
                                                                                    Page OF228 of 944
                                                                                             SOUTH DAKOTA
BROOK B ANDREWS                             ALISON J. RAMSDELL                       ALISON J. RAMSDELL
AUSA AUSTIN MCCULLOUGH                      US ATTORNEYS OFFICE                      US ATTORNEYS OFFICE
151 MEETING ST STE 200                      P.O. BOX 2638                            P.O. BOX 7240
CHARLESTON, SC 29401                        SIOUX FALLS, SD 57101-2638               PIERRE, SD 57501



DISTRICT OF SOUTH DAKOTA                    DISTRICT OF THE VIRGIN ISLANDS           DISTRICT OF THE VIRGIN ISLANDS
ALISON J. RAMSDELL                          DELIA L. SMITH                           DELIA L. SMITH
US ATTORNEYS OFFICE, 201 FEDERAL BLDG       US ATTORNEYS OFFICE, 1108 KING ST, STE   US ATTORNEYS OFFICE, FEDERAL BLDG &
515 NINTH ST                                201                                      US COURTHOUSE, ROOM 260
RAPID CITY, SD 57701                        CHRISTIANSTED                            5500 VETERANS DR
                                            ST. CROIX, VI 00820-4951                 ST. THOMAS, VI 00802-6424


DISTRICT OF UTAH                            DISTRICT OF UTAH                         DISTRICT OF UTAH
FELICE JOHN VITI                            FELICE JOHN VITI                         FELICE JOHN VITI
111 SOUTH MAIN ST, SUITE 1800               20 N MAIN ST, STE 208                    US DISTRICT COURTHOUSE
SALT LAKE CITY, UT 84111-2176               ST. GEORGE, UT 84770                     351 S WESTTEMPLE, ROOM 3.200
                                                                                     SALT LAKE CITY, UT 84101



DISTRICT OF VERMONT                         DISTRICT OF VERMONT                      DISTRICT OF WYOMING
MICHAEL P DRESCHER                          MICHAEL P DRESCHER                       STEPHANIE I SPRECHER
US COURTHOUSE & FEDERAL BLDG, P.O.          US COURTHOUSE & FEDERAL BLDG, P.O.       P.O. BOX 22211
BOX 10                                      BOX 570                                  CASPER, WY 82602-5010
151 W ST, 3RD FL                            11 ELMWOOD AVE, 3RD FL
RUTLAND, VT 05702-0010                      BURLINGTON, VT 05402-0570


DISTRICT OF WYOMING                         DISTRICT OF WYOMING                      DISTRICT OF WYOMING
STEPHANIE I SPRECHER                        STEPHANIE I SPRECHER                     STEPHANIE I SPRECHER
P.O. BOX 449                                P.O. BOX 668                             UNITED STATES ATTORNEYS OFFICE
LANDER, WY 82520-0449                       CHEYENNE, WY 82003-0668                  331 MAIN ST, STE A
                                                                                     LANDER, WY 82520



DISTRICT OF WYOMING                         DISTRICT OF WYOMING                      DISTRICT OF WYOMING
STEPHANIE I SPRECHER                        STEPHANIE I SPRECHER                     STEPHANIE I SPRECHER
UNITED STATES ATTORNEYS OFFICE, DICK        UNITED STATES ATTORNEYS OFFICE, JC       UNITED STATES ATTORNEYS OFFICE,
CHENEY FEDERAL BLDG                         OMAHONEY FEDERAL COURTHOUSE              YELLOWSTONE JUSTICE CENTER
100 EAST B ST, STE 2211                     2120 CAPITOL AVE, STE 4000               BLDG MA-1015, RM 214
CASPER, WY 82601                            CHEYENNE, WY 82001                       MAMMOTH HOT SPRINGS, WY 82190


DITO LIGHTING                               DIVAL SAFETY EQUIPMENT INC               DIVERSE OPTICS INC
ATTN OWNER                                  1721 NIAGARA STREET                      ATTN PRESIDENT
GORICA PRI SLIVNICI 144                     BUFFALO, NY 14207-3108                   10310 REGIS CT
GORICA PRI SLIVNICI 3263                                                             RANCHO CUCAMONGA, CA 91730
SLOVENIA



DIVERSIFIED DESIGN & MFG OF WISCONSIN       DIVERSITECH REPRESENTATIVES INC          DIVIERSIFIED PRINTING TECHNIQUES INC
INC                                         647 CAMINO DE LOS MARES, STE 108-163     ATTN SALES MGR
ATTN CHIEF OPERATING OFFICER                SAN CLEMENTE, CA 92673                   13336 S RIDGE DR
731 SWAN DR                                                                          CHARLOTTE, NC 28723
P.O. BOX 448
MUKWONAGO, WI 53149


[NAME REDACTED]                             DIVISION 26 ELECTRICAL CONTRACTING INC   [NAME REDACTED]
[ADDRESS REDACTED]                          F/K/A KD ELECTRIC INC                    [ADDRESS REDACTED]
                                            989 PEDIGO WAY, STE A
                                            BOWLING GREEN, KY 42103




[NAME REDACTED]                             DIXIE COATING CO                         [NAME REDACTED]
[ADDRESS REDACTED]                          ATTN PRESIDENT                           [ADDRESS REDACTED]
                                            326 BELFAST RD
                                            GOLDSBORO, NC 27530
                  CaseLLP
DIXON HUGHES GOODMAN      25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  229 of 944
                                                                                   REDACTED]
2501 BLUE RIDGE RD, STE 500               [ADDRESS REDACTED]                 [ADDRESS REDACTED]
RALEIGH, NC 27607




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




DJSTAR CO LTD                             DK THERMAL LIMITED                 DK TOOLS LTD
ATTN RUZA-CHEN                            HERTFORD TOWN MILL                 ATTN NATIONAL ACCTS MGR
NO 22, LANE 136, SEC 2, MINGZHI RD        49 TAMWORTH RD                     UNITS 1&2 NORTHPOINT BUSINESS CTR
TAISHAN DISTRICT                          HERTFORD SG13 7DJ                  HORTON RD, WEST DRAYTON
NEW TAIPEI CITY 243 TAIWAN                UNITED KINGDOM                     MIDDLESEX UB7 8EQ UNITED KINGDOM



DL ELECTRICAL AGENCY                      DL GROUP SRL                       DL TECHNOLOGY LLC
ATTN DIR OF BUS DEVELOPMENT & SALES       VIA POLVICA 190                    216 RIVER ST
75 BIRD ST                                SAN FELICE A CANCELLO 81027        HAVERHILL, MA 01832-5211
BARRIE, ON L4N 03X                        ITALY




DLA PIPER UK LLP                          DLD ELETTRONICA SRL                DLE INC
WESTHAFENPLATZ 1                          ATTN CEO                           ATTN PRES/CEO
FRANKFURT AM MAIN 60327                   VIA DEL TRATTURELLO TARANTINO      2613-B TEMPLE HEIGHTS DR
GERMANY                                   TARANTO 74100                      OCEANSIDE, CA 92056
                                          ITALY



DLE INC                                   DLED FACTORY SL                    DLI ENGINEERING CORPORATION
ATTN PRESIDENT                            ATTN MANAGER                       ATTN CONTROLLER
2420 GRAND AVE, STE G-1                   AVDA EUROPA, 86-NOVAESTRADA        253 WINSLOW WAY W
VISTA, CA 92081                           ALFAZ DEL PI, CIF B53325387        BAINBRIDGE ISLAND, WA 98110
                                          ALICANTE 03580 SPAIN



DLIGHT DESIGN INC                         DLS ELECTRONIC SYSTEMS INC         DM TECHNOLOGY & ENERGY INC
ATTN FOUNDER - CCO                        ATTN GEN MANAGER                   ATTN PRESIDENT
650 5TH ST, STE 302                       1250 PETERSON DR                   4615 STATE ST
SAN FRANCISCO, CA 94107                   WHEELING, IL 60090                 MONTCLAIR, CA 91763
                   Case
DMA - TOTAL LIGHTING     25-90163
                     CONCEPTS LLC   Document   87 LIGHTING
                                       DMA - TOTAL Filed inCONCEPTS
                                                            TXSB on LLC07/03/25 DMD
                                                                                 Page   230 of 944
                                                                                    & ASSOCIATES LTD
ATTN ROBERT WILLARDSEN                  ATTN ROBERT WILLARDSEN                  ATTN TECHNICAL SPECIALIST
1920 W ALEXANDER ST                     5263 S COMMERCE DR, STE 201             12-17358 104A AVE
WEST VALLEY CITY, UT 84119              MURRAY, UT 84107                        SURREY, BC V4N 5M3
                                                                                CANADA



DME CORPORATION                         DMF INC                                 DMF LIGHTING INC
ATTN MECHANICAL ENG                     DBA DMF LIGHTING                        ATTN VICE PRESIDENT
6830 NW 16TH TERRACE                    ATTN OPERATIONS                         1118 E 223RD ST
FT LAUDERDALE, FL 33309                 1118 E 223RD ST                         CARSON, CA 90745
                                        CARSON, CA 90745



DMKZBISHOP HOLDINGS LLC                 DMR GROUP LLC                           DNJ INTERMODEL SERVICES
DBA BUDGET BLINDS OF UTIC               ATTN MANAGING DIR                       1305 SCHILLING BLVD W
2610 CRESTWAY                           4581 TALLY HO TRAIL                     COLLIERVILLE, TN 38017-7114
UTICA, NY 13501-6328                    BOULDER, CO 80301




DNS ELECTRONICS LLC                     [NAME REDACTED]                         [NAME REDACTED]
ATTN VP FINANCE                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]
820 KIFER RD, STE B
SUNNYVALE, CA 94086




[NAME REDACTED]                         [NAME REDACTED]                         DOANE ENGINEERING & FABRICATION CO
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      ATTN PRESIDENT
                                                                                83 REGENCY PL
                                                                                MILLSTADT, IL 62260




DOBLE ENGINEERING CO                    [NAME REDACTED]                         DOCKER INC
ATTN DIRECTOR OF ENGR                   [ADDRESS REDACTED]                      ATTN CFO
85 WALNUT ST                                                                    144 TOWNSEND ST
WATERTOWN, MA 02472                                                             SAN FRANCISCO, CA 94107




[NAME REDACTED]                         DOCULABS INC                            DOCUSIGN INC
[ADDRESS REDACTED]                      ATTN VP OF CONSULTING                   ATTN SR MANAGER, REVOPS
                                        300 S WACKER DR, STE 2700               221 MAIN ST, STE 1000
                                        CHICAGO, IL 60606                       SAN FRANCISCO, CA 94105




DOD TECHNOLOGIES INC                    [NAME REDACTED]                         [NAME REDACTED]
675 INDUSTRIAL DRIVE, BLDG A            [ADDRESS REDACTED]                      [ADDRESS REDACTED]
CARY, IL 60013-1944




DODGE DATA & ANALYTICS LLC              DODGE DATA & ANALYTICS LLC              DODGE DATA & ANALYTICS LLC
ATTN JOHN J PETRUCCIO                   ATTN SR DIR, ONDEV ADMIN                ATTN VP SALES
300 AMERICA METRO BLVD                  830 3RD AVE, 6TH FL                     2 PENN PLAZA, 9TH FL
HAMILTON, NJ 08619                      NEW YORK, NY 10022                      NEW YORK, NY 10121




[NAME REDACTED]                         DOE & INGALLS MANAGEMENT LLC            DOE & INGALLS MANAGEMENT LLC
[ADDRESS REDACTED]                      ATTN DIRECTOR, PRODUCT MGMT & SVCS      ATTN VP/GENERAL MGR
                                        4813 EMPEROR BLVD, STE 300              2525 MERIDIAN PKWY, STE 400
                                        DURHAM, NC 27703                        DURHAM, NC 27713
                  Case
DOE & INGALLS OF NC INC 25-90163    Document  87 Filed in TXSB on 07/03/25 DOERFER
                                       [NAME REDACTED]                      Page 231   of 944
                                                                                   CORPORATION
1301 PERSON STREET                      [ADDRESS REDACTED]                    ATTN VP OF OPS
DURHAM, NC 27703-5057                                                         1801 E BREMER AVE
                                                                              P.O. BOX 816
                                                                              WAVERLY, IA 50677



DOG DESIGN INC                          [NAME REDACTED]                       DOIG CORP
ATTN CHIEF EXECUTIVE OFFICER            [ADDRESS REDACTED]                    ATTN CHIEF EXECUTIVE OFFICER
18740 OXNARD ST, UNIT 303                                                     7400 QUAIL CT
TARZANA, CA 91356                                                             CEDARBURG, WI 53012




DOLBY CANADA CORP                       [NAME REDACTED]                       DOLCE VITA PIZZA LLC
ATTN SR MGR, IMAGE TECH RES             [ADDRESS REDACTED]                    ATTN SHPAT RAMADANI
2985 VIRTUAL WAY, BLDG 3, STE 150                                             7435 117TH AVE
VANCOUVER, BC V5M 4X7                                                         KENOSHA, WI 53142
CANADA



DOLLAR GENERAL CORPORATION              DOLPHIN MARINE SERVICES INC.          DOLPHIN SOFTWARE
100 MISSION RDG                         DOLPHIN CENTRIFUGE                    ATTN NATIONAL ACCOUNTS MGR
GOODLETTSVILLE, TN 37072                24248 GIBSON DR                       9 MONROE PKWY, STE 150
                                        WARREN, MI 48089-4310                 LAKE OSWEGO, OR 97035




DOMAG LED TECHNOLOGY CO LTD             DOMINANT OPTO TECHNOLOGIES SDN BHD    DOMINANT SEMICONDUCTORS SDN
ATTN PRESIDENT                          ATTN SR HR MANAGER                    ATTN GROUP MANAGING DIR
6F, NO 121, LIDE ST                     LOT 6, BATU BERENDAM, FTZ PHASE III   LOT 6, BATU BERENDAM, FTZ PHASE 3
ZHONGHE DISTRICT                        MELAKA 75350                          MELAKA 75350
NEW TAIPEI CITY 23556 TAIWAN            MALAYSIA                              MALAYSIA



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




DOMINION AIR MACHINERY.                 DOMINION ENERGY NORTH CAROLINA        DON EVANS INC
1401 COULTER DRIVE NW                   ATTN TALESHA FUNCHESS                 DBA EVCO PLASTICS
ROANOKE, VA 24012-1133                  400 OTARRE PARKWAY                    ATTN DIR OF BUSINESS DEV
                                        CAYCE, NC 29033-3751                  100 W NORTH ST
                                                                              DEFOREST, WI 53532



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




DONAHUE, KENNETH L                      [NAME REDACTED]                       [NAME REDACTED]
4029 LILA BLUE LN                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]
RALEIGH, NC 27612




[NAME REDACTED]                         DONALDSON COMPANY INC                 [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN DISTRICT MGR                     [ADDRESS REDACTED]
                                        1400 W 94TH ST
                                        BLOOMINGTON, MN 55431
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 DONG
                                         [NAME REDACTED]                      Page   232
                                                                                  FANG   of DECORATION
                                                                                       BYER 944        CO.,LTD
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     NO. 275-8, EAST FIXED ROAD, 13A05
                                                                                 SHANGHAI 201500
                                                                                 CHINA




DONG GUAN CITY HANG SENG DIGITAL CO       DONG GUAN FENG YI HARDWARE CO LTD      DONG GUAN TOYIN ACRYLIC PRODUCTS CO
LTD                                       ATTN MANAGER                           LTD
NO 5TH, XINGYUAN RD                       NO 33 WENCHANG ST, SHE PUI VILLAGE     ATTN PROJECT MGR
YUQUAN IND ZONE, FENGGANG                 HUANG JIANG TWN, GUANGDONG PROV        BLDG A, NO 8, GAOLI 6TH ROAD
DONGGUAN, GUANGDONG                       DONGGUAN CITY CHINA                    GAOLI INDUSTRIAL ZONE, TANGXIA TOWN
CHINA                                                                            DONGGUAN, GUANGDONG 523710 CHINA


DONGAH ELECOMM CORP                       DONGBU HITEK CO LTD                    DONGBU LIGHTEC
ATTN MKTG DIR                             ATTN ASST MGR                          ATTN R&D MGR
1300 E LOOKOUT DR, 210                    8F DONGSAN BLDG                        739-8 OJEONG-DONG
RICHARDSON, TX 75082                      DAECHI-DONG, GANGNAM-GU                OJEONG-GU
                                          SEOUL 890-38 SOUTH KOREA               BUCHEON, GYEONGGI-DO SOUTH KOREA



DONGGUAN AODA ALUMINUM CO LTD             DONGGUAN ARTISAN HARDWARE TECH CO      DONGGUAN CASUN LAMPBASE INDUSTRIAL
CHAZHONG INDUSTRIAL PARK                  LTD                                    CO LTD
WENTANG TOWN, DONGCHENG DIST              FRESH AIR TO SHINZIE TOWN              ATTN SALES MGR
DONGGUAN, GUANGDONG                       WEST ROAD NO 107                       YONGSHENG INDUSTRIAL ZONE
CHINA                                     DONGUAN CITY                           DONGSHAN, QISHI TOWN
                                          CHINA                                  DONGGUAN, GUANGDONG CHINA


DONGGUAN CHANGAN PRECISION INDUST         DONGGUAN CHIYIP METAL PRODUCTS CO      DONGGUAN CITY JIADING ELEC MACHINE
CO LTD                                    LTD                                    FCTY
                                          SOUTH AREA, SHUIBIAN INDUSTRIAL ZONE   ATTN MANAGER
                                          HENGLI, DONGGUAN                       INDUSTRIAL SOUTH RD NO 6
                                          GUANGDONG                              SONGSHAN LAKE
                                          CHINA                                  DONGGUAN CHINA


DONGGUAN CITY ZHIJI ELECTRONICS CO LTD    DONGGUAN DONGXU METAL MFG & ELEC       DONGGUAN E-RUN ELECTRONIC PRODUCT
THREE VILLAGE INDUSTRIAL ZONE             PLATING CO LTD                         LTD
SHIJIE TOWN                                                                      ATTN GENERAL MGR
DONGGUAN                                                                         BAIWANG SCIENCE & TECHNOLOGY PARK
CHINA                                                                            SANLIAN VILLAGE, GAOBU TOWN
                                                                                 DONGGUAN CITY 523271 CHINA


DONGGUAN FIRMGRAND METAL                  DONGGUAN GENGHUA ACRYLIC & MIRROR      DONGGUAN GOOD ASSISTANT AUTOMATION
PRODUCTION CO LTD                         CRAFT CO LTD                           EQUIP
ATTN FOREIGN SALES MGR                    ATTN MANAGER
10 SCHOOL ST, LAI WANG MANAGING           XINGXIN INDUSTRIAL ZONE, QIANTOU
DISTRICT                                  NIUSHAN, DONCHENG 52300
QINGXI, DONGGUAN CITY                     CHINA
GUANGDONG CHINA

DONGGUAN GUANG YAO HR MANAGEMENT-         DONGGUAN HAITONG INFORMATION           DONGGUAN HONGCHEN HARDWARE
CONSULTING CO LTD                         TECHNOLOGY CO LTD                      ELECTRONICS CO LTD
                                          RM 205, BLDG C, NEWBASE                ATTN VICE PRESIDENT
                                          NARCHENG DISTRICT                      3 FL, A BLOCK, HENG JIAO THIRD IND AREA
                                          DONGGUAN, GUANGDONG                    XIN HE WANGJIANG DIST
                                          CHINA                                  DONG GUAN, GUANGDONG 523000 CHINA


DONGGUAN HONGZHEN PLASTIC                 DONGGUAN JIA SHENG TECHNOLOGY CO       DONGGUAN JIN XIN INDUSTRY CO LTD
PRODUCTS CO LTD                           LTD                                    CENTRAL DISTRICT
TUTANG INDUSTRIAL PARK                    ATTN SALES MGR                         SHATIAN TOWN, GUANGDONG
CHANGPING TOWN                            DONG GUAN TOWNSHIP HUMEN TOWN          DONGGUAN 523000
DONG GUAN CITY, GUANGDONG                 SHU TIAN MANAGE DISTRICT               CHINA
CHINA                                     GUAN DONG CHINA


DONGGUAN KECHENDA ELEC TECH CO LTD        DONGGUAN KEGIAN-U GLASS PROD CO LTD    DONGGUAN KELIANG MACHINERY EQUIP CO
ATTN LED DIVISION GM                      ATTN VICE GM                           LTD
NO 2, GULIAN RD                           TUQIAO-JINGQIAO INDUST ZONE
GUANGDONG, TANGXIA TOWN,                  QINGXI
DONGGUAN CHINA                            DONGGUAN CHINA
DONGGUAN KINGSUNCase     25-90163
                   OPTO ELECTRONIC       Document 87 LANXIN
                                            DONGGUAN   FiledINDUSTRIAL
                                                              in TXSBCOonLTD
                                                                          07/03/25 DONGGUAN
                                                                                    Page 233   of 944
                                                                                            LONGBEN ELEC TECHNOLOGY
CO LTD                                       ATTN GENERAL MANAGER                   CO LTD
ATTN MGR OF R&D                              CHIKAN 1ST ROAD                        ATTN BUSSINESS DIRECTOR
HENG JIANG XIA ADMINISTRATION ZONE           SHIPAI TOWN                            JIANSHE 19TH RD, SHIMA
CHANGPING TOWN                               DONGGUAN, GUANGDONG 523331 CHINA       TANGXIA TOWN
DONGGUAN, GUANGDONG CHINA                                                           DONGGUAN, GUANGDONG CHINA


DONGGUAN LONGFAT OPTOELECTRONICS             DONGGUAN PANTERA MECHANICAL &          DONGGUAN RUCA COOLING EQUIP CO LTD
TECH CO LTD                                  ELECTRICAL TRADING CO LTD              RM 402, BLDG 2, NO 3, YONGTAI RD
ATTN BEN LIN, DEPUTY GM                                                             TANGXIA TOWN
NO. 1 XIA LAIN RD, XIAGANG                                                          DONGGUAN, GUANGDONG
CHANGAN TOWN                                                                        CHINA
DONGGUAN CITY, GUANDONG CHINA


DONGGUAN SHANG MING ELECTRONCS CO            DONGGUAN SHENG YANG CHEMICALS CO       DONGGUAN SHENGQI LIGHTING TECH CO
LTD                                          LTD                                    LTD
NO 1 QINGPING RD, QINGHUTOU PARK             JIN JU VILLAGE DA LING SHAN TOWN       ATTN SALES MANAGER
DONGGUAN, GUANGDONG 523861                   DONGGUAN                               HUBING RD INDUSTRY PARK
CHINA                                        CHINA                                  QISHI TOWN
                                                                                    DONGGUAN, GUANGDONG CHINA


DONGGUAN SHENGYI ELECTRONICS LTD             DONGGUAN SHI KINPPON ELECTRONIC        DONGGUAN SPAR ELECTRON CO LTD
NO 33, TONG ZHEN RD TONGSHA                  TECH CO LTD
TECHN INDUST PK, DONG CHENG DIST
GUANGDONG PROV
DONGGUAN CITY CHINA



DONGGUAN TECHHI CLEANROOM CO LTD             DONGGUAN TRUST INDUSTRY CO LTD         DONGGUAN U-POINT MACHINERY& WOULD
                                             FL 1, BLDG B, HUAZHAO XIN INDUSTRIAL   CO LTD
                                             PARK
                                             TANG LI, FENG GANG TOWN
                                             DONG GUAN CITY
                                             GUANGDONG 523052 CHINA


DONGGUAN VISION HOT STAMPING TECH            DONGGUAN WIN LABEL PRINTING CO LTD     DONGGUAN XIN BAO INSTRUMENT CO LTD
CO LTD                                       ATTN CAO                               ATTN MANAGER
LULIANG AVE, YINING TOWN, XIUSHUI CNTY       TEHSIN HIGH TECH DEV IND AREA          JINGSHAN 3RD IND AREA
JIANGXI PROV, TAOZI INDUST PARK              IND RD, DONGKENG TOWN                  CHASHAN TOWN
DONGGUAN CITY                                DONGGUAN, GUANGDONG 523455 CHINA       DONGGUANG CITY CHINA
GUANGDONG PROVINCE CHINA


DONGGUAN XINGYI PRECISION MACHINERY          DONGGUAN YIYI ELECTRONICS CO LTD       DONGGUAN YONGMING LIGHTING
CO LTD                                       ATTN FACTORY LEADER                    INDUSTRIAL CO LTD
NO 1, YANHU RD                               NO 483 FUHUA MIDDLE RD                 ATTN SALES MGR
SHILONGKENG INDUST ZN                        DALANG TOWN, DONGGUAN                  YUCAI RD, DONGSHAN VILLAGE
LIAOBU TWN DONGGUAN                          GUANGDONG CHINA                        QISHI TOWN, DONGGUAN CITY
GUANGDONG 523400 CHINA                                                              GUANGDONG CHINA


DONGGUAN YOUYING PAPER PRODUCTS CO           DONGGUAN ZHEN CHEN INDUSTRIAL CO LTD   DONGGUANSHI YINGHE LAOWU-
LTD                                          ATTN SALES MGR                         PAIQIAN YOUZIAN GONGSI
NO 103, FLOOR 1, 7                           E BLDG, BEIMEN INDUSTRIAL ZONE
XIALIAN RD, XIAGANG COMMUNITY                HENGBONG VILLAGE, LIABU TOWN
CHANGAN TOWN DONGGUAN                        DONGGUAN, GUANGDONG CHINA
GUANGDONG 523000 CHINA


DONGMYUNG                                    DONGTAI TIANYUAN FLUORESCENT           DONLEYS INC
ATTN GENERAL MANAGER                         MATERIALS CO LTD                       ATTN CHIEF ESTIMATOR
14 WONHYO-RO, 97-GIL                         ATTN GENERAL MGR                       5430 WARNER RD
YONGSAN-GU                                   SIZAO INDUSTRIAL DEV ZONE              CLEVELAND, OH 44125
SEOUL SOUTH KOREA                            DONGTAI, JIANGSU
                                             CHINA


[NAME REDACTED]                              DONNGUAN ZHONGJIA ELECTRONICS CO       [NAME REDACTED]
[ADDRESS REDACTED]                           LTD                                    [ADDRESS REDACTED]
                                             XIN SI DISTRICT, HENG LI TOWN
                                             GUANG DONG PROVINCE
                                             DONG GUAN CITY
                                             CHINA
DONORA COMPANY LTDCase 25-90163   Document 87INDUCTION
                                     DOO SUNG   Filed inCORP
                                                         TXSB on 07/03/25 [NAME
                                                                            Page  234 of 944
                                                                                REDACTED]
45TH FL, SUN HUNG KAI CENTRE          1070, WONJI-RI, JUNCHEON-MYEON         [ADDRESS REDACTED]
30 HARBOUR RD                         GIMHAE, GYEONGSANG-DO
HONG KONG                             SOUTH KOREA
HONG KONG



DOOR SOLUTIONS                        DORCY INTERNATIONAL INC                DORIAN TOOL
ATTN PROJECT MGR                      ATTN PRESIDENT & CEO                   ATTN DISTRICT MG
208 N BERKELEY BLVD                   2700 PORT RD                           P.O. BOX 770785
GOLDSBORO, NC 27534                   COLUMBUS, OH 43217                     HOUSTON, TX 77215




[NAME REDACTED]                       [NAME REDACTED]                        DORNER PRODUCTS INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     DBA DORNER COMPANY
                                                                             ATTN CONTROLLER
                                                                             N61 W23043 SILVER SPRING DR
                                                                             SUSSEX, WI 53089



DORSETT & JACKSON INC                 DORSEY METROLOGY INTERNATIONAL INC     [NAME REDACTED]
ATTN PRODUCT MGR                      ATTN PRESIDENT                         [ADDRESS REDACTED]
3800 NOAKES ST                        53 OAKLEY ST
LOS ANGELES, CA 90023                 POUGHKEEPSIE, NY 12601




[NAME REDACTED]                       [NAME REDACTED]                        DOSTER LIGHTING INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     6125 LUTHER LN, STE 287
                                                                             DALLAS, TX 75225




[NAME REDACTED]                       [NAME REDACTED]                        DOTMAILER INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     333 7TH AVE, 18TH FL
                                                                             NEW YORK, NY 10001




[NAME REDACTED]                       DOT-SPOT GMBH & CO KG                  DOU YEE ENTERPRISES (S) PTE LTD
[ADDRESS REDACTED]                    INSUSTRIESTRABE 1A                     2304 BEDOK RESERVOIR RD
                                      SCHWARZENBRUCK D-90592                 BEDOK INDUSTRIAL PARK C
                                      GERMANY                                SINGAPORE 479223
                                                                             SINGAPORE



[NAME REDACTED]                       DOUBLE S RANCH LTD                     DOUBLETREE BY HILTON HOTEL UTICA
[ADDRESS REDACTED]                    39 N US HWY 12                         RALEIGH-DURHAM AIRPORT
                                      FOX LAKE, IL 60020                     4810 PAGE CREEK LANE
                                                                             CHICAGO, IL 60603




[NAME REDACTED]                       DOUG FORD ANALOG DESIGN PTY LTD        DOUGHERTY EQUIPMENT COMPANY
[ADDRESS REDACTED]                    ATTN DIR/PRINCIPAL CONSULTANT          ATTN OPERATIONS MGR
                                      29 ORLEANS CRESCENT                    8205 BROWNLEE DR
                                      TOONGABBIE, NSW 2146                   RALEIGH, NC 27617
                                      AUSTRALIA



[NAME REDACTED]                       DOUGLAS FABRICATION AND MACHINES INC   DOUGLAS METALS INC
[ADDRESS REDACTED]                    ATTN PRES                              ATTN VICE PRESIDENT
                                      429 INDUSTRIAL DR                      4912 FRANCE AVE N
                                      WENDELL, NC 27591                      BROOKLYN CENTER, MN 55429
DOUGLAS RAY       Case 25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  235 of 944
                                                                                REDACTED]
ATTN DOUGLAS RAY                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]
15400 NEW LIGHT RD
WAKE FOREST, NC 27587




[NAME REDACTED]                        [NAME REDACTED]                       DOVEBID INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    ATTN SVP
                                                                             101 MAIN ST, STE 3A
                                                                             HUNTINGTON BEACH, CA 92648




[NAME REDACTED]                        DOW CHEMICAL CO, THE                  DOW CHEMICAL COMPANY, THE
[ADDRESS REDACTED]                     ATTN DARLENE PATTON                   ATTN JOSEPH A REISER
                                       2301 N BRAZOSPORT BLVD, BLDG B-1463   60 WILLOW ST
                                       FREEPORT, TX 77541-3257               NORTH ANDOVER, MA 01845-5917




DOW CORNING CORP                       DOW JONES & COMPANY, INC.             [NAME REDACTED]
ATTN S&T MGR                           300 P.O. BOX                          [ADDRESS REDACTED]
2200 W SALZBURG RD                     PRINCETON, NJ 08543-0300
P.O. BOX 994
MIDLAND, MI 48686



DOWA METALTECH CO LTD                  [NAME REDACTED]                       [NAME REDACTED]
ATTN DIRECTOR                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]
14-1, SOTOKANDA 4-CHOME
CHIYODA-KU
TOKYO 101-0021 JAPAN



DOWIN OPTO-ELECTRONIC CO LTD           DOW-KEY MICROWAVE CORP                [NAME REDACTED]
ROOM 1708 GRAND TOWER                  ATTN CONTRACT MANAGER                 [ADDRESS REDACTED]
STE 1 OF 228 TIANHE RD                 4822 MCGRATH ST
GUANGZHOU 510620                       VENTURA, CA 93003
CHINA



[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       DOWNSTREAM ASSETS & PROCUREMENTS
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    SA
                                                                             ATTN LUIS LASSO & LUIS MONTESINOS
                                                                             TOWER FINANCIAL CENTRE, 26TH FLOOR
                                                                             CALLE 50 & ELVIRA MENDEZ
                                                                             PANAMA CITY 0832 PANAMA


DOWNSTREAM ASSETS & PROCUREMENTS       DOWNSTREET ELECTRICS LTD              [NAME REDACTED]
SA                                     DBA MR RESISTOR                       [ADDRESS REDACTED]
C/O PUMA ENERGY SVCS (LATAM) LLC       21 LYDDEN RD
ATTN JOSE E MATUS                      WANDSWORTH
CARR 28 KM 2.0 LUCHETTI IND PARK       LONDON SW18 4LT UNITED KINGDOM
BAYAMON, PR 00961


DOXA TOTAL DESIGN STRATEGY INC         [NAME REDACTED]                       [NAME REDACTED]
ATTN TIM WALKER                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]
620 N COLLEGE AVE, STE 105
FAYETTEVILLE, AR 72701
DPA LABS INC       Case 25-90163   Document
                                      DPI LABS87
                                               INC Filed in TXSB on 07/03/25 DPM
                                                                               Page 236 of 944
                                                                                 CONSULTING
ATTN GENERAL MGR                       ATTN ENGINEERING                        ATTN PRES
2251 WARD AVE                          1350 ARROW HWY                          9707 TINY CT
SIMI VALLEY, CA 93065                  LA VERNE, CA 91750                      BURKE, VA 22015




DPO SERVICE GMBH                       DPR CONSTRUCTION INC                    DPR CONSTRUCTION
BETHMANNSTRAßE 50-54                   ATTN EXEC VP                            ATTN: DAVID ROSS
FRANKFURT AM MAIN 60311                175 GENESIS WAY                         2000 AERIAL CENTER PARKWAY SUITE 118
GERMANY                                DURHAM, NC 27560                        MORRISVILLE, NC 27560




DPR CONSTRUCTION, A GENERAL PARTNER    DPR CONSTRUCTION, A GENERAL             DPSS LASERS INC
200 SOUTHSIDE DR                       PARTNERSHIP                             2525 WALSH AVENUE
CHARLOTTE, NC 28217                    3131 MCKINNEY AVE. SUITE 200            SANTA CLARA, CA 95051-1316
                                       DALLAS, TX 75204




DPV GROUP LLC                          DQS HOLDING GMBH                        DQS INC
225 RIVER N DR NW                      ATTN MANAGING DIR                       ATTN DIRECTOR OF BUSINESS DEVT
ATLANTA, GA 30328                      KONRAD-ADENAUER-ALEE 8-10               3601 ALGONQUIN RD, 214
                                       BAD VILBEL 61118                        ROLLING MEADOWS, IL 60008
                                       GERMANY



DQS INC                                DQS INC.                                DR ESCHERICH GMBH
ATTN MANAGING DIR                      1500 MCCONNOR PARKWAY                   ATTN SALES MGR
1130 W LAKE COOK RD, STE 340           SCHAUMBURG, IL 60173-4399               HOEGLWOERTHER STRASSE 1
BUFFALO GROVE, IL 60089                                                        MUNICH 81369
                                                                               GERMANY



DR TEST & ENERGY MANAGEMENT INC        DR YIELD SOFTWARE & SOLUTIONS GMBH      DR. O.K. WACK CHEMIE GMBH
ATTN DIR CONTRACTS ADMIN               OPERNRING 4                             UNTERE AU 9
110 WYNN DR                            GRAZ 8010                               BAAR-EBENHAUSEN 85107
HUNTSVILLE, AL 35805                   AUSTRIA                                 GERMANY




DRAGON RACING LLC                      DRAGON SOURCE LTD                       [NAME REDACTED]
ATTN ENGINEERING DIRECTOR              17 F GUANGBO MANSION 1357 YINXIAN AVE   [ADDRESS REDACTED]
11175 SANTA MONICA BLVD                YINZHOU DIST
LOS ANGELES, CA 90025                  NINGBO
                                       CHINA



[NAME REDACTED]                        DRANETZ TECHNOLOGIES INC                DRAPER ADEN ASSOCIATES INC
[ADDRESS REDACTED]                     1000 NEW DURHAM ROAD                    114 EDINBURGH SOUTH DRIVE SUITE 200
                                       EDISON, NJ 08818-2368                   CARY, NC 27511-6480




[NAME REDACTED]                        [NAME REDACTED]                         DREAMEDGE SDN BHD
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      ATTN CHIEF EXECUTIVE OFFICER
                                                                               C-16-01, LEVEL 16, ITECH TWR
                                                                               JALAN IMPACT, CYBER 6
                                                                               CYBERJAYA, SELANGOR 63000 MALAYSIA



DREES & SOMMER SE                      [NAME REDACTED]                         DRESS FOR SUCCESS TRIANGLE NC
OBERE WALDPLATZE 13                    [ADDRESS REDACTED]                      1812 TILLERY PLACE SUITE 105
STUTTGART 70569                                                                RALEIGH, NC 27604-1584
GERMANY
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 DRISCOLL,
                                      [NAME REDACTED]                       Page 237    of 944
                                                                                    DAFNIE
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    1207 WILD PINE DR
                                                                             FAYETTEVILLE, NC 28312




[NAME REDACTED]                        [NAME REDACTED]                       DRISDELL CONSULTING SERVICES INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    537 HARALSON DR
                                                                             LILBURN, GA 30047




DRITTE PATENTPORTFOLIO-                [NAME REDACTED]                       DRIVETEK AG
BETEILIGUNGSGESELLSCHAFT MBH & CO KG   [ADDRESS REDACTED]                    ATTN TEAM LEAD OF R&D
BERLINER STRASSE 1                                                           INDUSTRIESTRASSE 37
SHONEFIELD, OT WALTERSDORF 12529                                             BRUGG CH-2555
GERMANY                                                                      SWITZERLAND



DRIVEWEALTH, LLC (2402)                DRM FARMS LLC                         [NAME REDACTED]
ATT PROXY MGR                          1160 8TH AVE                          [ADDRESS REDACTED]
15 EXCHANGE PL                         CUMBERLAND, WI 54829
JERSEY CITY, NJ 07302




[NAME REDACTED]                        DRS TECHNOLOGIES INC                  DRS TEST & ENERGY MANAGEMENT INC
[ADDRESS REDACTED]                     ATTN DIRECTOR OF CONTRACTS            ATTN CONTRACTS ADMIN
                                       4265 N 30TH ST                        110 WYNN DR
                                       MILWAUKEE, WI 53216                   HUNTSVILLE, AL 35805




[NAME REDACTED]                        DRUMBEATERS OF AMERICA                [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN PRESIDENT                        [ADDRESS REDACTED]
                                       215 W NEBRASKA ST
                                       ELBURN, IL 60119




DRUMMATES                              [NAME REDACTED]                       DS BENEFICIAL HOLDINGS LLC
ATTN MANAGER                           [ADDRESS REDACTED]                    DBA WORKPLACE OPTIONS LLC
3 ROOSEVELT AVE                                                              2912 HIGHWOODS BLVD
MT HOLLY, NJ 08060                                                           RALEIGH, NC 27604-1064




DS CONSULTING & ASSOCIATES             DS SIMON PRODUCTIONS INC              DS WATERS OF AMERICA INC
ATTN PRESIDENT                         ATTN SR VP                            ATTN VP/GM
5642 STRAWFLOWER LN                    229 W 36TH ST, 9TH FL                 6750 DISCOVERY BLVD
SAN JOSE, CA 95188                     NEW YORK, NY 10018                    MABELTON, GA 30216




DSCA                                   DSEM LED LIGHTING SDN BHD             DSEM SYSTEMS TECHNOLOGY SDN BHD
2800 DEFENSE PENTAGON                  ATTN STAFF ENGINEER                   ATTN PRESIDENT
WASHINGTON, DC 20301-2800              PLOT 26                               PLOT 26 PHASE 4, FREE INDUSTRIAL ZONE
                                       FREE INDUSTRIAL ZONE PHASE 4          HILIR SUNGAI KELUANG 3, BAYAN LEPAS
                                       BAYAN LEPAS, PENANG 11900 MALAYSIA    PENANG 11900 MALAYSIA



DSMR                                   DST INNOVATIONS LTD                   DSV AIR & SEA INC
111 CORNING RD, STE 130                ATTN CHIEF EXECUTIVE OFFICER          ATTN SALES MGR
CARY, NC 27511                         6 BRIDGEND BUSINESS CTR, BENNETT ST   2105 WATER RIDGE PKWY, STE 650
                                       BRIDGEND CF31 3SH                     CHARLOTTE, NC 28217
                                       UNITED KINGDOM
                   Case 25-90163
DSV AIR & SEA SDN BHD                Document  87 Filed
                                        DSV SOLUTIONS LLC in TXSB on 07/03/25 DSV
                                                                                Page  238 of
                                                                                  SOLUTIONS   944
                                                                                            LLC
SUITE C, 7TH FLOOR, MENARA BHL, 51       ATTN LEGAL DEPT                      ATTN LEGAL DEPT
JALAN SULTAN AHMAH SHAH                  1100 LAVAL BLDV, STE 100             200 WOOD AVE S, STE 300
PENANG                                   LAWRENCEVILLE, GA 30043              ISELIN, NJ 08830
MALAYSIA



DSV SOLUTIONS, LLC                       DU PONT CHINA LTD                    DUALDRAW LLC
200 WOOD AVENUE SOUTH                    ATTN REGIONAL PRODUCT MGR            3701 PARIS STREET
ISELIN, NJ 08830-8830                    BLK 6 26/F, THE GATEWAY              DENVER, CO 80239-2616
                                         9 CANTON RD
                                         TSIM SHA TSUI HONG KONG



[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          DUBOSE INDUSTRIES INC                [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN NATL SALES MGR                  [ADDRESS REDACTED]
                                         825 INDUSTRIAL DR
                                         CLINTON, NC 28328




[NAME REDACTED]                          DUCHARME MCMILLEN & ASSOCIATES INC   [NAME REDACTED]
[ADDRESS REDACTED]                       411 THEODORE FREMD AVENUE            [ADDRESS REDACTED]
                                         STE 206 S
                                         RYE, NY 10580




DUDE SOLUTIONS INC                       [NAME REDACTED]                      DUDICK INC
ATTN VP OF SALES                         [ADDRESS REDACTED]                   ATTN REGIONAL MGR
11000 REGENCY PKWY, STE 110                                                   1818 MILLER PKWY
CARY, NC 27518                                                                STREETSBORO, OH 44241




[NAME REDACTED]                          DUECK ELECTRIC LTD                   DUENKEL ELECTRIC INC
[ADDRESS REDACTED]                       ATTN PRESIDENT                       ATTN PROJECT MGR
                                         1650 KING CRESCENT                   1053 CAMERON DR
                                         ABBOTSFORD, BC VS2-7M7               FOLSOM, CA 95630
                                         CANADA



[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          DUFFY, TIM                           DUFFYS AIS
[ADDRESS REDACTED]                       904 SPRING GLEN PL                   3138 ONEIDA STREET
                                         SUWANEE, GA 30024                    SAUQUOIT, NY 13456-1014




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
DUKE ACOUSTICAL Case 25-90163         Document  87 Filed
                                         DUKE ENERGY      in TXSB
                                                     CAROLINAS LLC on 07/03/25 DUKE
                                                                                 Page  239CAROLINAS
                                                                                    ENERGY of 944 LLC
ATTN PRESIDENT                            ATTN MARY BETH MCRAINEY               ATTN MELANIE SHIPLEY, SR ACCT EXEC
988 TRINITY RD                            4412 HILLSBOROUGHT RD                 410 S WILMINGTON ST
RALEIGH, NC 27607                         DURHAM, NC 27705                      RALEIGH, NC 27601




DUKE ENERGY CAROLINAS, LLC                DUKE ENERGY CORP                      DUKE ENERGY PROGRESS LLC
ATTN: ANDREW TATE                         ATTN AF BUDDY PRIEST                  ATTN ANDREW TATE
411 FAYETTEVILLE STREET                   C/O DUKE ELECTRIC TRANSMISSION        411 FAYAETTEVILLE ST
RALEIGH, NC 27601                         2200 FAIRFAX RD                       RALEIGH, NC 27601
                                          CHARLOTTE, NC 28202



DUKE ENERGY PROGRESS LLC                  DUKE ENERGY                           DUKE ENERGY
ATTN DATA & DOCUMENT MGMT                 ATTN WADE JACKSON                     P.O. BOX 70516
526 S CHURCH ST, ECII-05                  520 SOUTH TRYON ST                    CHARLOTTE, NC 28272-0516
CHARLOTTE, NC 28202                       CHARLOTTE, NC 28202




DUKE HALES ENTERPRISES INC                DUKE HEALTH INTEGRATED PRACTICE, NC   DUKE OCCUPATIONAL HEALTH SERVICES
ATTN VICE PRESIDENT                       DBA DUKE EXECUTIVE HEALTH             DUMC BOX 2914
209 A CREEK RIDGE RD                      3475 ERWIN ROAD                       DURHAM, NC 27710-0001
GREENSBORO, NC 27406                      DURHAM, NC 27705-0005




DUKE POWER COMPANY LLC DBA DUKE           DUKE UNIVERSITY HEALTH SYSTEM, INC.   DUKE UNIVERSITY
ENERGY CAROLINAS                          P.O. BOX 90271                        ATTN VP, COMMUNITY AFFAIRS
525 S TRYON ST                            DURHAM, NC 27708-0271                 411 W CHAPEL HILL ST, 5TH FL
CHARLOTTE, NC 28202                                                             DURHAM, NC 27701




DUKE UNIVERSITY, SMIF                     [NAME REDACTED]                       DUKESEA PTY LTD
DUKE UNIVERSITY ACCOUNTS RECEIVABLE       [ADDRESS REDACTED]                    DBA PLANET LIGHTING
CHARLOTTE, NC 28260-2651                                                        ATTN DESIGNER
                                                                                TAMARIND DR
                                                                                BELLINGEN, NSW 2454 AUSTRALIA



[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




DUMAIS ELECTRIC INC                       [NAME REDACTED]                       [NAME REDACTED]
ATTN PRESIDENT                            [ADDRESS REDACTED]                    [ADDRESS REDACTED]
8 NEWPORT ST
METHUEN, MA 01844




[NAME REDACTED]                           [NAME REDACTED]                       DUN & BRADSTREET NETPROSPEX INC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    ATTN GEN COUNSEL
                                                                                103 JFK PKWY
                                                                                SHORT HILLS, NJ 07078




DUN & BRADSTREET NETPROSPEX INC           [NAME REDACTED]                       DUNCAN PARNELL INC
ATTN MICHAEL BIRD, GM                     [ADDRESS REDACTED]                    201 GLENWOOD AVENUE
300 THIRD AVE                                                                   RALEIGH, NC 27603-1404
WALTHAM, MA 02451
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  240 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




DUNDEE PLASTERING                   DUNES DESIGN LLC                   [NAME REDACTED]
9 E 3RD ST                          ATTN CYAN GODFREY                  [ADDRESS REDACTED]
DUNDEE, IL 60118                    2105 DAMASCUS CHURCH RD
                                    CHAPEL HILL, NC 27516




[NAME REDACTED]                     DUNIWAY STOCKROOM CORPORATION      DUN-KEN INC
[ADDRESS REDACTED]                  48501 MILMONT DRIVE                ATTN PRESIDENT
                                    FREMONT, CA 94538-7336             314 CAPE FEAR LOOP
                                                                       EMERALD ISLE, NC 28594




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     DUNSIRE BUILDING SERVICES LTD      [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN DIRECTOR                      [ADDRESS REDACTED]
                                    1077 KEEWAITON ST
                                    WINNIPEG, MB R2X 2Z3
                                    CANADA



[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    DUOTECH SERVICES INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 245 INDUSTRIAL PARK RD
                                                                       FRANKLIN, NC 28734




[NAME REDACTED]                     DUPLAN CONSTRUCTION INC            DUPLEX ELECTRICAL SUPPLY CO
[ADDRESS REDACTED]                  390 INDUSTRIAL STREET              95 SEAVIEW BLVD, 101
                                    CAMPBELL, CA 95008-4110            PORT WASHINGTON, NY 11050
DUPONT ELECTRONIC Case   25-90163
                   MATERIALS  CMP LLC Document
                                         DUPONT87    Filed inMATERIALS
                                                 ELECTRONIC   TXSB on     07/03/25 DUPONT
                                                                       INTERNA       PagePERFORMANCE
                                                                                            241 of 944 ELASTOMERS LLC
974 CENTRE ROAD, CRP 730-4TH FL          974 CENTRE ROAD, CRP 730-4TH FL           ATTN SALES MGR - AMERICAS
WILMINGTON, DE 19805                     WILMINGTON, DE 19805                      300 BELLEVUE PKWY, STE 300
                                                                                   WILMINGTON, DE 19809




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]




DURABLE HUNKE & JOCHHEIM GMBH & CO      DURACOMM LIGHTING                        DURAG INC
KG                                      DIV OF DURACOMM CORP                     ATTN PRESIDENT
WESTFALENSTRASSE 77-79                  ATTN PRESIDENT                           1355 MENDOTA HEIGHTS RD, STE 200
ISERLOHN 58636                          6655 TROOST AVE                          MENDOTA HEIGHTS, MN 55120
GERMANY                                 KANSAS CITY, MO 64131



DURALED LIGHTING TECH CORP              DURAN GROUP GMBH                         DURAN INDUSTRIES, INC
ATTN PRESIDENT                          ATTN MGR BUS DEV                         504 BUSINESS PARKWAY
15285 ALTON PKWY, STE 200               OTTO-SCHOTT-STR 21                       RICHARDSON, TX 75081-5013
IRVINE, CA 92618                        WERTHEIM, MAIN 97877
                                        GERMANY



[NAME REDACTED]                         DURASERV CORP                            DURASERV
[ADDRESS REDACTED]                      DBA PASSPORT DOOR & DOCK                 DBA SOUTHERN DOCK SERVICES
                                        45 FISH DRIVE                            ATTN CONTRACT ADMIN
                                        ANGIER, NC 27501-6088                    2200 LUNA RD, STE 160
                                                                                 CARROLLTON, TX 75006



DURATEK INC                             [NAME REDACTED]                          [NAME REDACTED]
ATTN PRESIDENT                          [ADDRESS REDACTED]                       [ADDRESS REDACTED]
NO 5, INDUSTRY EAST 4 RD
SCIENCE-BASED INDUSTRIAL PARK
HSINCHU 300 TAIWAN



DURHAM BULLS BASEBALL CLUB INC          DURHAM BULLS BASEBALL CLUB               DURHAM COUNTY LOCAL EMERGENCY
ATTN CHIP ALLEN                         P.O. BOX 601329                          PLANNING COMMISSION
409 BLACKWELL ST                        CHARLOTTE, NC 28260-1329                 4236 MAIL SERVICE CENTER
DURHAM, NC 27701                                                                 RALEIGH, NC 27699




DURHAM COUNTY UTILITY DIVISION          DURHAM EXCHANGE CLUB INDUSTRIES INC      DURHAM FAB ENGG. PLANT
5926 NC HWY 55 EAST                     ATTN CONTROLLER                          4600 SILICON DR
DURHAM, NC 27713-4481                   1717 LAWSON ST                           DURHAM, NC 27703
                                        DURHAM, NC 27703




DURHAM MARRIOTT AT THE CIVIC CENTER     DURHAM TECHNICAL COMMUNITY COLLEGE       [NAME REDACTED]
ATTN SALES MANAGER                      ATTN PROGRAM DIR                         [ADDRESS REDACTED]
201 FOSTER ST                           1637 LAWSON ST
DURHAM, NC 27701                        DURHAM, NC 27703




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]
DURHAM, PATRICK Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  242 of 944
                                                                                REDACTED]
4600-C MONTGOMERY BLVD NE              [ADDRESS REDACTED]                  [ADDRESS REDACTED]
ALBUQUERQUE, NM 87109




[NAME REDACTED]                        [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                        DV2JS INNOVATION LLP                DVTEST INC
[ADDRESS REDACTED]                     ATTN VINAYAK DALMIA, MANAGING DIR   1795 IRONSTONE MANOR
                                       B-86, GREATER KAILASH 1 (GK1)       PICKERING L1W 3W9
                                       DELHI 110048                        CANADA
                                       INDIA



DWFRITZ AUTOMATION INC                 [NAME REDACTED]                     DWYER INSTRUMENTS
ATTN DIRECTOR BUS DEV                  [ADDRESS REDACTED]                  102 HIGHWAY 212
17750 SW UPPER BOONES FERRY RD                                             MICHIGAN CITY, IN 46361-0373
PORTLAND, OR 97224




[NAME REDACTED]                        DXLAB DESIGN LLC                    [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN CHIEF EXECUTIVE OFFICER        [ADDRESS REDACTED]
                                       310 S HARRINGTON ST, STE 206
                                       RALEIGH, NC 27601




[NAME REDACTED]                        DYMATIX COMPANY                     DYMAX CORPORATION USA INC
[ADDRESS REDACTED]                     ATTN PRESIDENT                      ATTN CFO
                                       3380 MONTGOMERY DR                  318 INDUSTRIAL LN
                                       SANTA CLARA, CA 95054               TORRINGTON, CT 06790




DYNACAST (SINGAPORE) PTE LTD           DYNACRAFT INDUSTRIES SDN BHD        DYNACRAFT INDUSTRIES SDN BHD
ATTN ASSISTANT MGR, BUSINESS DEV       ATTN MS LEE SOCK ENG                C/O HLI-HUME MANAGEMENT CO SDN BHD
6 SECOND CHIN BEE RD                   NO 255-A, BLOCK D, PHASE II         ATTN LEGAL COUNSEL
JURONG 618773                          BAYAN LEPAS INDUSTRIAL ZONE         LEVEL 9, WISMA HONG LEONG 18, JALAN
SINGAPORE                              PULAU PENANG 11900 MALAYSIA         PERAK
                                                                           KUALA LUMPUR 50450 MALAYSIA


DYNA-FLOW LLC                          DYNAMIC DRAIN TECHNOLOGIES LLC      DYNAMIC PLASTICS INC
ATTN SANDY BABIN                       ATTN DIR OF SALES & MKTG            ATTN VP
3110 JUDSON ST, STE 204                2597 QUALITY CT, 114                29831 COMMERCE BLVD
GIG HARBOR, WA 98335                   VIRGINIA BEACH, VA 23454            CHESTERFIELD TWP, MI 48501




DYNAMIC STAMPINGS INC                  DYNAMIC SUPPLIER ALIGNMENT INC      DYNAMIC SYSTEMS INC
ATTN SALES MGR                         ATTN PRESIDENT                      ATTN OPERATIONS MANAGER
W225 N6328 VILLAGE DR                  4 EMBASSY RD                        4907 GOLDEN PKWY, STE 200
P.O. BOX 307                           SELDEN, NY 11784                    BUFORD, GA 30518
SUSSEX, WI 53089



DYNAMIC SYSTEMS, INC.                  DYNAMISM INC                        DYNAPOWER COMPANY LLC
ATTN: BRETT RANDALL                    2950 W CHICAGO AVENUE SUITE 308     DBA ITHERM TECHNOLOGIES
3901 SOUTH LAMAR BLVD.                 CHICAGO, IL 60622-4376              ATTN DIR OF SALES
AUSTIN, TX 78704-8718                                                      85 MEADOWLAND DR
                                                                           SOUTH BURLINGTON, VT 05403
DYNA-SERV GLOBAL Case   25-90163
                   RESOURCES PTE LTD Document
                                        DYNASIL87   Filed in TXSB on 07/03/25 DYNATRONIX
                                                PRODUCTS                        Page 243INCof 944
66 TANNERY LN                           ATTN GM                               ATTN PRES & CEO
01-04E SINDO BUILDING                   50 HUNT ST                            462 GRIFFIN BLVD
SINGAPORE 347805                        WATERTOWN, MA 02472                   AMERY, WI 54001
SINGAPORE



DYNAX -SEMI                           DYNAZIGN INC                           DYNE-A-MARK CORPORATION
ATTN RF SPECIALIST                    ATTN PRESIDENT                         ATTN CRO
NANJINGROAD 1788                      806 TYVOLA RD, STE 100                 2904 NORTHROP CT
KUNSHAN 215300                        CHARLOTTE, NC 28217                    RALEIGH, NC 27614
CHINA



DYNETICS INC                          DYNEX SEMICONDUCTOR LTD                DYNO ELECTRIC CO LTD
ATTN LEGAL COUNSEL                    ATTN CONTRACT MGR                      ATTN DIR MNG
1000 EXPLORER BLVD                    DODDINGTON RD                          32/10 MOO 2 PHUTTHAMONTHON SAI 5 RD
HUNTSVILLE, AL 35806                  LINCOLN LN6 3LF                        T BANGKRATUK, A SAMPRAN
                                      UNITED KINGDOM                         NAKORNPATHOM 73210 THAILAND



DYNOTRON INC                          DYNTEST TECHNOLOGIES GMBH              DYSON TECHNOLOGY LTD
ATTN ENGINEERING DIR                  ATTN MG DIRECTOR                       ATTN VICE PRESIDENT
411 LAWNDALE DR, STE C                BAHNHOFSTRASSE 110                     TETBURY HILL, MALMESBURY
SALT LAKE CITY, UT 84115              GEWERBEPARK                            WILTSHIRE SN16 0RP
                                      GRASSAU 83224 GERMANY                  UNITED KINGDOM



DZ BANK AG                            [NAME REDACTED]                        [NAME REDACTED]
ATTN VICE PRESIDENT                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]
1 VANDERBILT AVE, 49TH FL
NEW YORK, NY 10017




[NAME REDACTED]                       E & O TOOL & PLASTICS INC              E CRAFTSMAN CORP
[ADDRESS REDACTED]                    ATTN INTL SALES MANAGER                ATTN SALES MGR
                                      IRIS 101 PARQUE IND KALOS-GUADALUPE    73 SCHAEFER ST
                                      GUADALUPE, NL 67190                    WATERLOO, ON N2L 4C4
                                      MEXICO                                 CANADA



E MANSON INVESTMENTS LTD              E SAM JONES DISTRIBUTOR INC            E TRADE FINANCIAL CORPORATION
620 WILSON AVE, STE 401               ATTN RANDY LAGOD                       3 EDISON DRIVE
NORTH YORK, ON M3K 1Z3                4898 S ATLANTA RD                      ALPHARETTA, GA 30022
CANADA                                SMYMA, GA 30080




E TRONIC CORP                         E&G TECHNOLOGY PARTNERS LLC            E&R ENGINEERING CORP
ATTN VICE PRESIDENT                   ATTN MG PARTNER                        ATTN PRESIDENT
14F, NO.35, BOAI RD                   1730 E WARNER RD, STE 10, 400          NO 61 HENG SHAN RD
TAIPEI 10044                          TEMPE, AZ 85284                        YENCHAO DIST
TAIWAN                                                                       KAOHSIUNG 824 TAIWAN



E. FJELD CO. INC.                     E. I. DU PONT DE NEMOURS & COMPANY     E. MISHAN & SONS INC
152 RANGEWAY ROAD                     ATTN GLOBAL BUSINESS DIR               ATTN SENIOR VP SALES
NORTH BILLERICA, MA 01862-2010        1007 MARKET ST                         230 5TH AVE
                                      WILMINGTON, DE 19898                   NEW YORK, NY 10001




E. W. P. GROUP, INC                   E.B CARLSON INC                        E2OPEN LLC
EW PROCESS                            ATTN PRESIDENT                         ATTN CFO
100 MAIN ST. STE 102                  45 STERLING ST                         1400 E 3RD AVE
FORT MILL, SC 29715-1768              BOYLSTON, MA 01583                     FOSTER CITY, CA 94404
E2V TECHNOLOGIES Case
                 PLC   25-90163       Document  87 Filed in TXSB
                                         EA ELEKTRO-AUTOMATIK GMBH & on
                                                                     CO. 07/03/25
                                                                         KG       EAPage  244 of 944 INC
                                                                                     ELEKTRO-AUTOMATIK
ATTN COMMERCIAL DIR                       HELMHOLTZSTR. 31-37                    9845 VIA PASAR
106 WATERHOUSE LN                         VIERSEN 41747                          SAN DIEGO, CA 92126-2126
CHELMSFORD, ESSEX CM1 2QU                 GERMANY
UNITED KINGDOM



[NAME REDACTED]                           EADS AUSTRIUM LIMITED                  EADS DEUTSCHLAND GMBH
[ADDRESS REDACTED]                        ATTN ENGINEERING MGR                   WILLY-MESSERSCHMITT-STRABE 1
                                          GUNNELS WOOD RD, STEVENAGE             TAUFKIRCHEN 82024
                                          HERTFORDSHIRE SG1 2AS                  GERMANY
                                          UNITED KINGDOM



EADS NUCLETUDES                           [NAME REDACTED]                        [NAME REDACTED]
ATTN PRES & CEO                           [ADDRESS REDACTED]                     [ADDRESS REDACTED]
3, AVENNUA DU HOGGAR, LES ULIS
BP 117
COURTABOEUF CEDEX 91944 FRANCE



EAE AYDINLATIMA AS                        EAE ELEKTRIK                           EAGLE CIRCUITS INC.
ATTN BOARD MEMBER                         ATTN RD MANAGER                        10820 SANDEN DR
TURGUT OZAL CADDESI NO 112, K CEKMECE     ESKI TURGUT OZAL CD NO 20              DALLAS, TX 75238-5325
INSTANBUL 34306                           BASAKSEHIR
TURKEY                                    ISTANBUL 34490 TURKEY



EAGLE HARBOR TECHNOLOGIES INC             EAGLE HARBOR TECHNOLOGIES INC          EAGLE PICHER TECHNOLOGIES LLC
ATTN PRESIDENT                            ATTN VP                                ATTN ESAT DEPT
169 WESTERN AVE W                         333 ELLIOTT AVE W                      200 RJ TUNNELL BLVD
SEATTLE, WA 98119                         SEATTLE, WA 98119                      MIAMI, OK 74354




EAGLE PLASTIC DEVELOPMENT CO LTD          EAGLE PLASTICS & SUPPLY INC            EAGLE REGISTRATIONS INC
UNIT T, 7/F BLK 2, WAH FUNG IND CTR       ATTN PRESIDENT                         ATTN SR BUSINESS DEV MGR
33-39 KWAI RUNG CRESCENT                  15446 WENTWORTH AVE                    40 N MAIN ST, STE 1880
KWAI CHUNG                                SOUTH HOLLAND, IL 60473                DAYTON, OH 45423
NEW TERRITORIES HONG KONG



EAGLE TEST SYSTEMS INC                    EAGLE TRADING (FAR EAST) LTD           EAGLE, KEITH
21440 W. LAKE COOK ROAD SUITE 600         ATTN SALES MGR
DEER PARK, IL 60010-3609                  RM 11, 10/F, HUNG TAI INDUSTRIAL
                                          BLDG 37-39 HUNG TO RD
                                          KWUNG TONG, KOWLOON HONG KONG



EAGLE-PICHER TECH LLC                     EAGLEPICHER TECHNOLOGIES LLC           [NAME REDACTED]
C/O ESAT DEPT                             ATTN PROCUREMENT MGR                   [ADDRESS REDACTED]
ATTN RES SCIENTIST                        8230 E 23RD ST
200 BJ TUNNELL BLVD                       JOPLIN, MO 64804
MIAMI, OK 74354



[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                        EAN SERVICES LLC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     C/O ENTERPRISE HOLDINGS INC
                                                                                 ATTN GENERAL COUNSEL
                                                                                 600 CORPORATE PARK DR
                                                                                 ST LOUIS, MO 63105
[NAME REDACTED] Case 25-90163        Document  87 Filed
                                        EARL ENERGY LLC in TXSB on 07/03/25 [NAME
                                                                              Page  245 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       C/O FAIRLAND INTEGRATED LLC             [ADDRESS REDACTED]
                                         ATTN DANIEL S WOOD, FIN/CONTRACTS DIR
                                         650 CHAUTAUQUA AVE
                                         PORTSMOUTH, VA 23707



[NAME REDACTED]                          EARLYMORNING SRL                        [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN CEO                                [ADDRESS REDACTED]
                                         SANTA CROCE, 4
                                         MILAN 20122
                                         ITALY



[NAME REDACTED]                          EAST ASIA SENTINEL LTD                  EAST CAROLINA METAL TREATING INC
[ADDRESS REDACTED]                       22/F, TAI YAU BLDG                      ATTN VP
                                         181 JOHNSTON RD                         1010 S SAUNDERS ST
                                         WANCHAI                                 RALEIGH, NC 27603-2202
                                         HONG KONG



EAST COAST DIGITAL PRINTING INC          EAST COAST ENTERTAINMENT INC            EAST COAST ENTERTAINMENT INC
951 AVIATION PKWY 600                    ATTN CONTRACT PROCESSING                ATTN CONTRACT PROCESSING
MORRISVILLE, NC 27560                    703 SOUTHLAKE BLVD                      P.O. BOX 73210
                                         NORTH CHESTERFIELD, VA 23236            NORTH CHESTERFIELD, VA 23235




EAST COAST FIRE PROTECTION               EAST COAST GATE OPERATORS               EAST COAST MICROWAVE
DBA FIRE AND LIFE SAFETY AMERICA         2725 WESTINGHOUSE BLVD SUITE 700        DISTRIBUTORS INC
ATTN SERVICE MGR                         CHARLOTTE, NC 28273-6608                70 TOWER OFFICE PARK
3017 VERNON RD, STE 100                                                          WOBURN, MA 01801-2113
RICHMOND, VA 23228



EAST COAST ON-SITE SERVICES, LLC         EAST COAST PRECISION MANUFACTURING      EAST COAST PYROTECHNICS INC
7705 WILDERNESS RD.                      LLC                                     ATTN EVENT PRODUCER
RALEIGH, NC 27613-1676                   ATTN OWNER                              4652 CATAWBU RIVER RD
                                         63 POND MEADOW RD                       CATAWBA, SC 29704
                                         KILLINGSWORTH, CT 06419



EAST DYNAMIC CORPORATION                 EAST WEST LLC                           [NAME REDACTED]
ATTN: CAVERIN LEE                        4414 WOODROW AVE                        [ADDRESS REDACTED]
4F-1, NO.285, KUANG FU ROAD, SEC.2       CLEVELAND, OH 44134-3842
HSIN CHU
TAIWAN



EASTEK INTL CORP                         EASTERN APPLIED RESEARCH, INC           EASTERN COURIER CORP
ATTN VP FINANCE                          6614 LINCOLN AVENUE                     ATTN PRESIDENT
1280 ROSE RD                             LOCKPORT, NY 14094-6109                 2043 W GARNER RD
LAKE ZURICH, IL 60047                                                            GARNER, NC 27529




EASTERN DISTRICT OF ARKANSAS             EASTERN DISTRICT OF ARKANSAS            EASTERN DISTRICT OF CALIFORNIA
JONATHAN D. ROSS                         JONATHAN D. ROSS                        MICHELE BECKWITH
425 W CAPITOL AVE, STE 500               P.O. BOX 1229                           501 I ST, STE 10-100
LITTLE ROCK, AR 72201                    LITTLE ROCK, AR 72203-1229              SACRAMENTO, CA 95814




EASTERN DISTRICT OF KENTUCKY             EASTERN DISTRICT OF KENTUCKY            EASTERN DISTRICT OF KENTUCKY
PAUL MCCAFFREY                           PAUL MCCAFFREY                          PAUL MCCAFFREY
US ATTORNEYS OFFICE                      US ATTORNEYS OFFICE                     US ATTORNEYS OFFICE
207 GRANDVIEW DRIVE, STE 400             260 W VINE ST, STE 300                  601 MEYERS BAKER ROAD, STE 200
FT. MITCHELL, KY 41017-2762              LEXINGTON, KY 40507-1612                LONDON, KY 40741-3035
                  Case
EASTERN DISTRICT OF      25-90163
                     LOUISIANA        Document 87
                                         EASTERN     FiledOFinMICHIGAN
                                                 DISTRICT      TXSB on 07/03/25 EASTERN
                                                                                  Page DISTRICT
                                                                                        246 of 944
                                                                                                OF MICHIGAN
MICHAEL M SIMPSON                         JULIE A BECK                           JULIE A BECK
650 POYDRAS ST, STE 1600                  UNITED STATES ATTORNEYS OFFICE         UNITED STATES ATTORNEYS OFFICE
NEW ORLEANS, LA 70130                     101 FIRST ST, STE 200                  211 W FORT ST, STE 2001
                                          BAY CITY, MI 48708                     DETROIT, MI 48226



EASTERN DISTRICT OF MICHIGAN              EASTERN DISTRICT OF MISSOURI           EASTERN DISTRICT OF MISSOURI
JULIE A BECK                              SAYLER L. FLEMING                      SAYLER L. FLEMING
UNITED STATES ATTORNEYS OFFICE, 210       RUSH H LIMBAUGH, SR US COURTHOUSE      THOMAS EAGLETON US COURTHOUSE
FEDERAL BLDG                              555 INDEPENDENCE ST                    111 S 10TH ST, 20TH FL
600 CHURCH ST                             CAPE GIRARDEAU, MO 63703               ST. LOUIS, MO 63102
FLINT, MI 48502


EASTERN DISTRICT OF NEW YORK              EASTERN DISTRICT OF NEW YORK           EASTERN DISTRICT OF NORTH CAROLINA
JOHN J DURHAM                             JOHN J DURHAM                          DANIEL P BUBAR
271 CADMAN PLAZA EAST                     610 FEDERAL PLAZA                      OFFICE OF THE UNITED STATES ATTORNEY
BROOKLYN, NY 11201                        CENTRAL ISLIP, NY 11722-4454           150 FAYETTEVILLE ST, STE 2100
                                                                                 RALEIGH, NC 27601



EASTERN DISTRICT OF OKLAHOMA              EASTERN DISTRICT OF PENNSYLVANIA       EASTERN DISTRICT OF PENNSYLVANIA
CHRISTOPHER J. WILSON                     DAVID METCALF                          DAVID METCALF
UNITED STATES ATTORNEYS OFFICE            US ATTORNEYS OFFICE                    US ATTORNEYS OFFICE
520 DENISON AVE                           504 W HAMILTON ST, 3701                615 CHESTNUT ST, STE 1250
MUSKOGEE, OK 74401                        ALLENTOWN, PA 18101                    PHILADELPHIA, PA 19106



EASTERN DISTRICT OF TENNESSEE             EASTERN DISTRICT OF TENNESSEE          EASTERN DISTRICT OF TENNESSEE
FRANCIS M. (TREY) HAMILTON III            FRANCIS M. (TREY) HAMILTON III         FRANCIS M. (TREY) HAMILTON III
US ATTORNEYS OFFICE                       US ATTORNEYS OFFICE                    US ATTORNEYS OFFICE
1110 MARKET ST, STE 515                   220 W DEPOT ST, STE 423                800 MARKET ST, STE 211
CHATTANOOGA, TN 37402                     GREENEVILLE, TN 37743                  KNOXVILLE, TN 37902



EASTERN DISTRICT OF TEXAS                 EASTERN DISTRICT OF TEXAS              EASTERN DISTRICT OF TEXAS
ABE MCGLOTHIN JR                          ABE MCGLOTHIN JR                       ABE MCGLOTHIN JR
101 E PARK BLVD, STE 500                  110 N COLLEGE, STE 700                 415 S 1ST ST STE 201
PLANO, TX 75704                           TYLER, TX 75702                        LUFKIN, TX 75901




EASTERN DISTRICT OF TEXAS                 EASTERN DISTRICT OF TEXAS              EASTERN DISTRICT OF TEXAS
ABE MCGLOTHIN JR                          ABE MCGLOTHIN JR                       ABE MCGLOTHIN JR
500 STATE LINE AVE N, STE 402             550 FANNIN, STE 1250                   600 E TAYLOR ST, STE 2000
TEXARKANA, TX 75501                       BEAUMONT, TX 77701                     SHERMAN, TX 75090




EASTERN DISTRICT OF VIRGINIA              EASTERN DISTRICT OF VIRGINIA           EASTERN DISTRICT OF VIRGINIA
ERIK S SIEBERT                            ERIK S SIEBERT                         ERIK S SIEBERT
101 W MAIN ST, STE 8000                   919 E MAIN ST, STE 1900                FOUNTAIN PLAZA THREE, STE 300
NORFOLK, VA 23510-1671                    RICHMOND, VA 23219                     721 LAKEFRONT COMMONS
                                                                                 NEWPORT NEWS, VA 23606



EASTERN DISTRICT OF VIRGINIA              EASTERN DISTRICT OF WASHINGTON         EASTERN DISTRICT OF WASHINGTON
ERIK S SIEBERT                            RICHARD R BARKER                       RICHARD R BARKER
JUSTIN W WILLIAMS US ATTORNEYS            402 E YAKIMA AVE, STE 210              P.O. BOX 1494
BUILDING                                  YAKIMA, WA 98901                       SPOKANE, WA 99210-1494
2100 JAMIESON AVE
ALEXANDRIA, VA 22314


EASTERN DISTRICT OF WISCONSIN             EASTERN DISTRICT OF WISCONSIN          EASTERN ENVIROMENTAL MANAGEMENT
RICHARD G FROHLING                        RICHARD G FROHLING                     LLC
US ATTORNEYS OFFICE                       US ATTORNEYS OFFICE                    ATTN CFO
205 DOTY ST, STE 301                      517 E WISCONSIN AVE, STE 530           518 S PEARL ST
GREEN BAY, WI 54301                       MILWAUKEE, WI 53202                    ROCKY MOUNT, NC 27803
EASTERN INDUSTRIESCase  25-90163
                    GROUP INC       Document 87
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                                                          CO.TXSB
                                                              INC. on 07/03/25 EASTERN
                                                                                 Page SCIENTIFIC
                                                                                       247 of 944INC MID-ATLANTIC
ATTN PRESIDENT                          549 E. LINWOOD AVE.                      ATTN COO
3411 BERNESE CT                         MAPLE SHADE, NJ 08052-0180               P.O. BOX 274
CARSON CITY, NV 89705                                                            STEVENSON, MD 21153




EASTFIELD LIGHTING CO LTD               EASTMAN KODAK COMPANY                    [NAME REDACTED]
ATTN CTO                                ATTN SVP                                 [ADDRESS REDACTED]
NOB BLDG, NO6 LONGTENG RD               343 STATE ST
GAOQIAO IND ZONE, PINGDO ST, LONGGANG   ROCHESTER, NY 14650
SHENZHEN, GUANGDONG 518116 CHINA



[NAME REDACTED]                         EASTRIDGE TECHNOLOGY INC                 EASY CARE CARPET SYSTEMS LTD
[ADDRESS REDACTED]                      ATTN PRESIDENT                           ATTN SALES MANAGER
                                        102 W 3RD ST, STE 1250                   FLAT B, 4F, LOYONG COURT
                                        WINSTON-SALEM, NC 27101                  COMMERCIAL BLDG, 212-220 LOCKHART RD
                                                                                 WAN CHAI HONG KONG



EASY LIFT CO INC                        EASYLITE QIDONG LIGHTING TECH CO LTD     EASYLOBBY INC
2 MILL PARK COURT                       C/O CIVILIGHT SHENZHEN SEMICOND CO LTD   ATTN CEO
NEWARK, DE 19713-1986                   4-5/F, BLDG D                            35 HIGHLAND CIR, 1ST FL
                                        HONGFA HI-TECH PARK                      NEEDHAM, MA 02494
                                        SHIYAN TOWN, SHENZHEN CHINA



EASYPOWER LLC                           EATON COOPER NOTIFICATION                EATON CORPORATION
ATTN DIRECTOR OF FINANCE & HR           ATTN ENGINEER                            7008 HARPS MILL ROAD
7730 SW MOHAWK ST                       273 BRANCHPORT AVE                       RALEIGH, NC 27615-3242
TUALATIN, OR 97062                      LONG BRANCH, NJ 07740




EATON CORPORATION                       EATON CORPORATION                        [NAME REDACTED]
ATTN: DONALD BARNES                     MAIL CODE 4N                             [ADDRESS REDACTED]
9400 GLOBE CENTER DR SUITE 121          1000 EATON BLVD
MORRISVILLE, NC 27560                   CLEVELAND, OH 44122




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                          EBARA MIXERS INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       9351 INDUSTRIAL WAY
                                                                                 ADELANTO, CA 92301-3932




EBARA TECHNOLOGIES                      EBAY INTERNATIONAL AG                    EBCO TECHNOLOGY ADVISING INC
51 MAIN AVE.                            HELVETIASTRASSE 15-17                    ATTN PRES
SACRAMENTO, CA 95838-2014               BERN 3005                                11312 FREAS DR
                                        SWITZERLAND                              NORTH POTOMAC, MD 20878




EBERTS MICROELECTRONICS INC             [NAME REDACTED]                          [NAME REDACTED]
ATTN PRODUCT MGR                        [ADDRESS REDACTED]                       [ADDRESS REDACTED]
403 BUSINESS PKWY
RICHARDSON, TX 75081
EBTEC CORPORATIONCase 25-90163    Document  87 FiledINC
                                     EBW ELECTRONICS  in TXSB on 07/03/25 ECA
                                                                            Page  248 of
                                                                              ADVANCED   944 SDN BHD
                                                                                       SOLUTIONS
VP SALES & MKTG                       ATTN PRESIDENT                      NO 32 1RST FLOOR JALAN PERNIAGAAN S
120 SHOEMAKER LN                      13110 RANSOM ST                     SIMPANG AMPAT 14100
AGAWAM, MA 01001                      HOLLAND, MI 49424                   MALAYSIA




ECEO INC                              [NAME REDACTED]                     ECHELON CORP
ATTN CURTIS J CRAWFORD,               [ADDRESS REDACTED]                  ATTN CHAIRMAN & CEO
2880 LAKESIDE DR, STE 253                                                 550 MERIDIAN AVE
SANTA CLARA, CA 95054                                                     SAN JOSE, CA 95126




ECHO GLOBAL LOGISTICS INC             ECHODYNE CORP                       ECHOTECH
ATTN CONTRACT MGR                     ATTN VICE PRESIDENT, PRODUCTS       37759 ELMORE STREET
600 W CHICAGO AVE, STE 725            2380 116TH AVE NE                   FREMONT, CA 94536-7036
CHICAGO, IL 60654                     BELLEVUE, WA 98004-3036




ECI LIGHTING CONCEPTS                 ECI SIGNALISATION                   ECI TECHNOLOGY INC
ATTN PRESIDENT                        ATTN DIRECTOR                       60 GORDON DRIVE
115 PHEASANT AVE                      5, CHEMIN SAINT MARC                TOTOWA, NJ 07512-2204
CAMBRIDGE, ON N3H 2L8                 SAINT-GONDON 45500
CANADA                                FRANCE



ECIRCUITS LLC                         [NAME REDACTED]                     [NAME REDACTED]
ATTN PRESIDENT                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
2305 NW JEFFERSON ST
BLUE SPRINGS, MO 64014




ECKMANN CUSTOM PRODUCTS INC           [NAME REDACTED]                     ECLATEC SAS
ATTN SVP AND GM                       [ADDRESS REDACTED]                  ATTN DIR
5300 21ST ST                                                              41, RUE LAFEYETTE
P.O. BOX 1616                                                             B.P. 69-MAXEVILLE
RACINE, WI 53401                                                          LAXOU CEDEX 54528 FRANCE



ECLIPSE TECHNOLOGIES INC              ECMARKET INC                        ECO ENGINEERING INC
ATTN VP SALES/OWNER                   ATTN DIR OF SALES                   ATTN PRESIDENT
17035 WISCONSIN AVE, STE 115          STE 203 - 535 THURLOW ST            11815 HIGHWAY DR, STE 600
BROOKFIELD, WI 53005                  VANCOUVER, BC V6E 3L2               CINCINNATI, OH 45241
                                      CANADA



ECO LIGHTING SOLUTIONS LLC            ECO SCAPES                          ECO SOLUTIONS CO
ATTN PRESIDENT                        ATTN SEC TRES                       ATTN LIGHTNING EQUIP BUSNINESS UNIT
9084 TECHNOLOGY DR, STE 300           8817 MIDWAY W                       1048 KADOMA
FISHERS, IN 46038                     RALEIGH, NC 27617                   OSAKA 571-8686
                                                                          JAPAN



ECO STORY LLC                         ECO STREET LIGHTNING LLC            ECO TURF OF THE TRIAD
ATT VP SALES                          ATTN PRES                           ATTN CO-OWNER
2367 S HOLMAN CIR                     4036 CAMPUS GREEN DR                320 BRIGHTWOOD CHURCH RD
LAKEWOOD, CO 80028                    LACEY, WA 98516                     WHITSETT, NC 27249




ECOCERA OPTRONICS CORP                ECOGLOBE                            ECOINSIGHT INC
2F, NO. 303, SEC. 2, NANSHAN RD       GROUND FLOOR                        ATTN CHIEF EXECUTIVE OFFICER
LUZHU TOWNSHIP                        CEDARWOOD HOUSE, BALLYWOOD OFFICE   4105 PEACHTREE DUNWOODY RD
TAOYUAN COUNTY 338                    PARK                                ALTLANTA, GA 30342
TAIWAN                                33 BALLYCLARE DR
                                      BRYANSTON SOUTH AFRICA
ECOINSIGHT INC   Case 25-90163        Document
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                                                     ELIMINATION                 PageDE249 of 944 SUPERIEURE
                                                                                       TECHNOLOGIE
ATTN SEAN MCCLOSKEY                       C/O ECOLAB INC                       ATTN DIRECTOR
2750 HOLCOMB BRIDGE RD, STE 100           1 ECOLAB PL                          1100 NOTRE-DAME WEST
ALPHARETTA, GA 30022                      ST PAUL, MN 55102-2233               MONTREAL, QC H3C 1K3
                                                                               CANADA



ECOLE POLYTECHNIQUE DE MONTREAL           ECOLE POLYTECHNIQUE DE MONTREAL      ECOLED LTD
ATTN SECTION HEAD - BRCDT                 ATTN SECTION HEAD - BRCDT            ATTN OPS MGR
2500 CHEMIN DE POLYTECHNIQUE              2900 BOUL. EDOUARD-MONTPETIT         2 HEARLE WAY, THE IO CTR, UNIT 2
MONTREAL, QC H3T IJ4                      MONTREAL, QC H3T IJ4                 HATFIELD
CANADA                                    CANADA                               HERTFORDSHIRE AL10 9EW UNITED
                                                                               KINGDOM


ECOLEDLIGHTING                            ECOLIGHT LTD                         ECOLIGHTING INC
ATTN MANAGING DIR                         ATTN GENERAL MANAGER                 ATTN RICHARD LIN
WSR BLDG, LONGWOOD BUSINESS PARK          ANNESKY PROEZD, B3, FL 4             2F, NO. 190, SEC 2, JHONGSING RD
FORDBRIDGE RD                             MOSCOW 127521                        SINDIEN CITY, TAIPEI 231
SUNBURY-ON THAMES TW16 6AZ UNITED         RUSSIA                               TAIWAN
KINGDOM


ECOLIGHTING LIMITED                       ECOLOGICAL TECHNOLOGIES INC          ECONEX OOO
ATTN DIRECTOR                             ATTN PRESIDENT                       ATTN DIRECTOR
6/F PHOTONICS CENTRE, 2 SCIENCE PARK E    1230 OAKMEAD PKWY, 308               VERSHININA 22
AVE                                       SUNNYVALE, CA 94085                  VOLGOGRAD 400007
HONG KONG SCIENCE PARK                                                         RUSSIA
SHATIN HONG KONG


E-CONOLIGHT LLC                           E-CONOLIGHT LLC                      E-CONOLIGHT
ATTN GERALD KNOWLES, DIR FACILITIES       ATTN MEG ARMSTRONG                   ATTN VICE PRESIDENT
13900 W GRANDVIEW PKWY                    1501 96TH ST                         9301 WASHINGTON AVE
STURTEVANT, WI 53177                      STURTEVANT, WI 53177                 RACINE, WI 53406




ECONOMIC DEVELOPMENT GROWTH               ECONOPRINT INC                       ECONTROLS LLC
ENTERPRISES CORP.                         ATTN SALES MANAGER                   ATTN CHIEF EXECUTIVE OFFICER
FORT SCHUYLER MANAGEMENT                  214 STATE ST                         5757 FARINON DR
CORPORATION                               RACINE, WI 53403                     SAN ANTONIO, TX 78249
WELLS FARGO BANK, NATIONAL
ASSOCIATION, ATTN: PRESIDENT
584 PHOENIX DRIVE
ROME, NY 13441

ECOSENSE LIGHTING COMPANY LTD             ECOSENSE LIGHTING INC                ECOSENSE LIGHTING INC
ATTN EVP ENGR                             ATTN PRESIDENT                       ATTN VP OF FINANCE
10/F AITKEN VANSON CENTRE                 159 RIVINGTON ST                     915 WILSHIRE BLVD, STE 2175
61 HOI YUEN RD                            NEW YORK, NY 10002                   LOS ANGELES, CA 90017
KOWLOON HONG KONG



ECO-SNOW SYSTEMS INC                      ECO-STORY LLC                        ECOSTYLE TRANSPORTATION LLLC
ATTN GENERAL MGR                          ATTN VICE PRESIDENT                  DBA ECOSTYLE CHAUFFEURED
4935A SOUTHFRONT RD                       468 FOREST AVE                       TRANSPORTATION
LIVERMORE, CA 94550                       PORTLAND, ME 04101                   ATTN OWNER
                                                                               1312 KIRKLAND RD, 117
                                                                               RALEIGH, NC 27603


ECOTRON CO LTD                            ECOVA INC                            ECOVADIS INC
ATTN PRESIDENT                            ATTN VP, SOLUTION                    ATTN CCO
47 UMEZU-TAKASE-CHO                       309 SW SIXTH AVE, STE 1000           60 BROAD ST
UKYO-KU                                   PORTLAND, OR 97204                   NEW YORK, NY 10004
KYOTO 615-8686 JAPAN



ECOVADIS                                  ECS CAROLINAS LLP                    EDAX INC
OFFICE NO: 17-069                         ATTN VP                              ATTN SR SALES & MKTG
85 BROAD ST                               14026 THUNDERBOLT PL, STE 900        1100 CASSATT RD
NEW YORK, NY 10004                        CHANTILLY, VA 20151                  P.O. BOX 1764
                                                                               BERWYN, PA 19312
[NAME REDACTED] Case 25-90163    Document  87 Filed in TXSB on 07/03/25 EDELTEQ
                                    [NAME REDACTED]                       Page TECHNOLOGIES
                                                                                250 of 944 SDN BHD
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    NO. 18, 20 & 22, LORONG IMPIAN RIA
                                                                           BUKIT MERTAJAM PIN 14000
                                                                           MALAYSIA




EDEN PARK ILLUMINATION INC           EDGE TECHNOLOGIES INC                 [NAME REDACTED]
ATTN GENERAL MNGR                    ATTN PRES                             [ADDRESS REDACTED]
903 N COUNTRY FAIR DR                4455 W 62ND ST
CHAMPAIGN, IL 61821                  INDIANAPOLIS, IN 44628




[NAME REDACTED]                      EDGEWATER INNOVATION ACQUISITIONS     EDGEWATER SERVICES INC
[ADDRESS REDACTED]                   LLC                                   ATTN PRESIDENT & CEO
                                     ATTN PRINCIPAL                        P.O. BOX 593
                                     3150 GLENWOOD AVE, STE 105            GARNER, NC 27529
                                     RALEIGH, NC 27612



EDISON ANALYTICAL LAB INC            EDISON DC SYSTEMS INC                 EDISON PRICE LIGHTING INC
ATTN PRESIDENT                       ATTN PRE/CEO                          ATTN PRESIDENT
301 NOTT ST                          4201 N 27TH ST                        41-50 22ND ST
SCHENECTADY, NY 12305                MILWAUKEE, WI 53216                   LONG ISLAND CITY, NY 11101




EDISON WELDING INSTITUTE, INC.       EDM CORP CO LTD                       [NAME REDACTED]
EWI                                  ATTN EXECUTIVE VICE PRESIDENT         [ADDRESS REDACTED]
1250 ARTHUR E ADAMS DRIVE            1002, BLDG NO 2 ZHEQIAO RD 289
COLUMBUS, OH 43221-3540              PUDONG SHANGHAI 201206
                                     CHINA



EDMONDSON ENGINEERS PA               EDMUND OPTICS INC                     [NAME REDACTED]
1920 E. NC HWY 54 SUITE 700          101 E GLOUCESTER PIKE                 [ADDRESS REDACTED]
DURHAM, NC 27713-2262                BARRINGTON, NJ 08007-1331




[NAME REDACTED]                      EDN ASIA ADVERTISING PTE,LTD.TW BR.   EDO COMMS & COUNTERMEASURES
[ADDRESS REDACTED]                   8F 2 NO 508 SEC 5 ZHONG HSIAO EAST    SYSTEMS
                                     TAIWAN 11061                          ATTN CONTRACTS MGR
                                     TAIWAN                                996 FLOWER GLENN ST
                                                                           SIMI VALLEY, CA 93065



EDO CORP-DEFENSE SYSTEMS             EDUCATED DESIGN & DEVELOPMENT INC     EDWARD BOSS PRADO FOUNDATION
ATTN CONTRACTS MGR                   ATTN SALES & MKTG ASSISTANT           409 TENANT STATION
1500 NEW HORIZONS BLVD               901 SHELDON DR                        MORGAN HILL, CA 95037-2705
AMITYVILLE, NY 11701                 CARY, NC 27513




EDWARD JONES (0057,5012)             [NAME REDACTED]                       EDWARDS TECHNICAL SUPPORT
ATT DEREK ADAMS OR PROXY DEPT        [ADDRESS REDACTED]                    ATTN PRES
CORPORATE ACTS & DISTRIBUTION                                              1313 W ORIOLE WAY
12555 MANCHESTER RD                                                        CHANDLER, AZ 85286
ST. LOUIS, MO 63131



EDWARDS VACUUM LLC                   EDWARDS VACUUM LLC                    [NAME REDACTED]
11 ELIZABETH DR                      ATTN GEN MGR                          [ADDRESS REDACTED]
CHELMSFORD, MA 01824-4111            6416 INDUCON DR W
                                     SANBORN, NY 14132
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  251 of 944
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[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                        EECS UC BERKELEY
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     ATTN PROFESSOR
                                                                                 550 SUTARDJA DAI HALL
                                                                                 BERKELEY, CA 94720




EEE LIGHTING CO LTD                       EEMA INDUSTRIES INC                    EETAC-CMC (UPC)
ATTN MGR                                  ATTN OPERATIONS MANAGER                C ESTEVE TERRADAS, 7
16F-1, NO. 400, HUANBEI RD                5361 W JEFFERSON BLVD                  CASTELLDEFELS
YAOYUAN COUNTY                            LOS ANGELES, CA 90016                  BARCELONA 08860
JUNGLI CITY TAIWAN                                                               SPAIN



EETECH MEDIA LLC                          EFAB INTERNATIONAL TECHNOLOGY CO LTD   EFD INDUCTION AS
84 HANCOCK ROAD                           NO. 13 LN. 250 SEC. 2 DONGSHAN ROAD    ATTN R&D MGR
FRANKLIN, MA 02038-4265                   BEITUN DIST.                           BOLEVEIEN 10
                                          TAICHUNG 406                           P.O. BOX 363 SENTRUM
                                          TAIWAN                                 SKIEN N-3701 NORWAY



EFFE ERRE CONGRESSI SRL                   EFFICIECY FINANCE LLC                  EFFICIENCY MAINE TRUST
ALESSANDRA SAIONI                         ATTN EVP                               168 CAPITOL ST, STE 1
VIA DIOCLEZIANO 107 SCALA A NUM 202       1001 TUCKASEEGEE RD                    AUGUSTA, ME 04330
NAPOLI 80124                              CHARLOTTE, NC 28028
ITALY



EFFICIENT INTL TECHNOLOGY CO LTD          EFFICIENT LIGHTING MAINTENANCE INC     EFFICIENT LIGHTING TECHNOLOGY LTD
3F-1, NO.105, GUANG-FU N RD               ATTN PRESIDENT                         ATTN GENERAL MGR
TAIPEI 10560                              5A DEL MAR DR                          CHANG NAN RD
TAIWAN                                    BROOKFIELD, CT 06804                   SHATOU, CHANG AN
                                                                                 DONGGUAN, GUANGDONG 523866 CHINA



EFFICIENTLIGHTS LLC                       EFG GMBH                               EFOCUS LLC
ATTN PRES                                 DBA EFG BERLIN                         ATTN PRESIDENT
233 CAMERON RD, STE B                     ATTN MANAGING DIR                      6947 LARCHWOOD CIR
ANDERSON, SC 29625                        BEESKOWDAMM 6                          WEST HILLS, CA 91307
                                          BERLIN 14167 GERMANY
[NAME REDACTED] Case 25-90163            Document 87 SDN
                                            EG PROBER Filed
                                                         BHD in TXSB on 07/03/25 EGAVAL
                                                                                   PageSAS
                                                                                        252 of 944
[ADDRESS REDACTED]                           25 LEBUH NIPAH 5 (GROUND FLOOR)    ATTN PRESIDENT
                                             BAYAN LEPAS PIN 11900              CALLE 95, NO 9A-08
                                             MALAYSIA                           BOGOTA 110111
                                                                                COLOMBIA



EGENCIA LLC                                  [NAME REDACTED]                    EGL EAGLE GLOBAL LOGISTICS LP
ATTN VP NORTH AMERICA                        [ADDRESS REDACTED]                 15350 VICKERY DR
3150 139TH AVE SE, STE 200                                                      HOUSTON, TX 77032
BELLEVUE, WA 98005




EGLO LEUCHTEN GMBH                           E-GLOBALEDGE CORPORATION           EGOLUCE ILLUMINAZIONE
ATTN CLAUDIA LECHNER                         ATTN GENERAL MGR                   ATTN PRESIDENT CDA
HEILIGKREUZ 22                               NAKAMEGURO GT TOWER 7F             VIA I NEWTON, 12
PILL A-6136                                  2-1-1 KAMIMEGURO, MEGURO-KU        PERO, MI 20016
AUSTRIA                                      TOKYO 153-0051 JAPAN               ITALY



EGON ZEHNDER INTERNATIONAL INC               EGRET CONSULTING GROUP             EGRET INC
ATTN PARTNER                                 ATTN PRESIDENT                     DBA EGRET CONSULTING GROUP
1290 PAGE MILL RD                            25687 HILLVIEW CT                  ATTN PRESIDENT/CEO
PALO ALTO, CA 94304                          MUNDELEIN, IL 60060                25687 HILLVIEW CT
                                                                                MUNDELEIN, IL 60060



EGUARD SYSTEMS                               EGW PERSONNEL SERVICES INC         E-HAZARD MANAGEMENT, LLC
ATTN SALES/BUS DEV MGR                       ATTN MANAGER                       3018 EASTPOINT PARKWAY
16242 FIRETHORNE RD                          309 W MILBROOK RD, STE 191         LOUISVILLE, KY 40223-4185
MIDDLETOWN, CA 95401                         RALEIGH, NC 27609




EHS TECHNOLOGIES CANADA LTD                  EI DU PONT DE NEMOURS & CO         EI GROUP INC, THE
ATTN CONTRACTS ADMINISTRATOR                 ATTN BUSINESS MGR                  ATTN PRESIDENT
1725 WOODWARD DR                             1007 MARKET ST                     2101 GATEWAY CENTRE BLVD, STE 200
OTTAWA, ON K2C0P9                            WILMINGTON, DE 19808               MORRISVILLE, NC 27560
CANADA



EIC OF THE STATE OF NC                       [NAME REDACTED]                    [NAME REDACTED]
C/O NC DEPT OF COMMERCE                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]
ATTN SEC COMMERCE
301 N WILMINGTON ST, 4301 MAIL SERVICE
CTR
RALEIGH, NC 27699-4301


EIE MATERIALS INC                            EIGHT-SAN FRANCISCO INC            [NAME REDACTED]
DBA LUMENARI INC                             ATTN PRINCIPAL                     [ADDRESS REDACTED]
ATTN CEO                                     675 CALIFORNIA ST
1501 BULL LEA RD, STE 105                    SAN FRANCISCO, CA 94108
LEXINGTON, KY 40511



E-INFOCHIPS PRIVATE LIMITED                  EIQ ENERGY INC                     EIS INC
11 A/B, CHANDRA COLONY, BEHIND CARG          ATTN CTO                           ATTN VICE PRESIDENT
AHMEDABAD 380006                             294 BROKAW RD                      16700 W LINCOLN AVE
INDIA                                        SANTA CLARA, CA 95050              NEW BERLIN, WI 53151




[NAME REDACTED]                              EIT 2.0 LLC AND TECHNOLOGY, LLC    EIT LLC
[ADDRESS REDACTED]                           900 SYCOLIN RD SE, SUITE 130       ATTN DIR SALES
                                             LEESBURG, VA 20175                 108 CARPENTER DR
                                                                                STERLING, VA 20164
                  CaseLLC
EJL WIRELESS RESEARCH   25-90163     Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  253 of 944
                                                                                  REDACTED]
ATTN EARL LUM, PRESIDENT                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]
8 WHITENECK WAY
SALEM, NH 03079




EKLIPSE ARCHITECTURAL LIGHTING INC       EKRA AUTOMATISIERUNG SYSTEMZ GMBH   EKTA MARKETING CORPORATION
ATTN OPS DIRECTOR                        ZEPPELINSTRASSE 16                  ATTN: DR. TANOJ KUMAR JAIN, M.SC., PH.D
2090 RUE MOREAU, STE 100                 BENNIGHEIM 74357                    103, FF, NITIKA TOWER II, COMMERCIAL
MONTREAL, QC H1W 2M3                     GERMANY                             COMPLEX
CANADA                                                                       AZADPUR, DELHI 110033
                                                                             INDIA


EL.MO SRL                                [NAME REDACTED]                     [NAME REDACTED]
ATTN PRESIDENT                           [ADDRESS REDACTED]                  [ADDRESS REDACTED]
VIA SEGRE
MORTARA 27036
ITALY



ELATEC TECHNOLOGY CORP                   ELAUSA SL                           [NAME REDACTED]
252 PRIMROSE ST                          ATTN R&D ENGINEER                   [ADDRESS REDACTED]
HAVERHILL, MA 01830                      ERMITA DE SANT FRANCESC
                                         1 POLIGON MALLOLES
                                         VIC, BARCELONA 08500 SPAIN



ELB ELECTRONICS INC                      ELBIT                               ELCO GROUP, THE
ATTN VICE PRESIDENT                      ATTN ENGINEER                       12 ZONE INDUSTRIAL
127 LA PORTE ST, UNIT M                  4700 MARINE CREEK PKWY              KEHLEN 8287
ARCADIA, CA 91006                        FORT WORTH, TX 76106                LUEXEMBOURG




ELCO INC                                 ELCOM INC                           [NAME REDACTED]
DBA METALS DEPOT                         ATTN VP & GSM                       [ADDRESS REDACTED]
ATTN PRESIDENT                           200 CASCADE POINTE LN, STE 105
4200 REVILO RD                           CARY, NC 27513
WINCHESTER, KY 40391



ELDOLED BV                               [NAME REDACTED]                     ELDUR CORPORATION
ATTN DIRECTOR                            [ADDRESS REDACTED]                  ATTN PLANT MGR
LUCHTHAVENWEG 18A                                                            48 GRIFFIN RD
EINDHOVEN 5657                                                               BANGOR, ME 04401
NETHERLANDS



ELECT PC                                 ELEC-TECH INTERNATIONAL CO LTD      ELECTRA KATZENSTEIN LTD
ATTN PRESIDENT                           ATTN PROJECT MGR                    4 HAOMANUT ST
7400-D SIEMENS DR                        NO 1 JINFENG RD, TANGJIAWAN TOWN    P.O. BOX 6190
WENDELL, NC 27591                        XIANGZHOU DISTRICT                  POLEG INDUSTRIAL ZONE
                                         ZHUHAI CITY CHINA                   NETANYA 4216101 ISRAEL



ELECTRA SALES LTD                        ELECTRALED INC                      ELECTRIC & GAS INDUSTRIES ASSOCIATION
ATTN PRINCIPAL                           ATTN DIR OF ENGINEERING             3800 WATT AVE, STE 105
1810 E TURVEY RD                         12722 62ND ST N, STE 200            SACRAMENTO, CA 95821
REGINA, SK S4N 2G7                       LARGO, FL 33773
CANADA



ELECTRIC HYDROGEN CO                     ELECTRIC MOTOR SHOP                 ELECTRIC POWER RESEARCH INSTITUTE
ATTN VP, POWER & SOFTWARE                1225 NORTH WHITE STREET             ATTN MGR POWER ELECTRIC SYSTEMS
1 STRATHMORE RD                          WAKE FOREST, NC 27587-7120          3412 HILLVIEW AVE
NATICK, MA 01760                                                             PALO ALTO, CA 94304
ELECTRIC SUPPLY & Case   25-90163
                   EQUIPMENT CO      Document  87WIREFiled
                                        ELECTRIC           in TXSB
                                                      PROCESSING   on 07/03/25 ELECTRICAL
                                                                 CORP            Page 254    of 944
                                                                                          & COMP ENG DEPT OF NC, THE
1000 CLASSIC ROAD                        ATTN PRESIDENT                            AGRICULTURAL & TECH UNIVERSITY
APEX, NC 27502-4401                      2749 S 167TH ST
                                         NEW BERLIN, WI 53151




ELECTRICAL DISTRIBUTORS INCORPORATED     ELECTRICAL ENGINEERING                    ELECTRICAL EQUIPMENT COMPANY
ATTN VP OF NATIONAL ACCOUNTS             CONSULTING & TESTING, P.C                 1440 DIGGS DRIVE
1515 S CLARKSON ST                       P.O. BOX 2080                             RALEIGH, NC 27603-2755
CHARLOTTE, NC 28208                      WENDELL, NC 27591-2080




ELECTRICAL POWER AND SAFETY CO INC       ELECTRICAL SOLUTIONS                      ELECTRICAL SOUTH INC
DBA EPSCO                                                                          ATTN DIR OF OPERATIONS
ATTN VP SALES                                                                      235 BURGESS RD
37892 430TH PL                                                                     GREENSBORO, NC 27409
AITKIN, MN 56442



ELECTRICAL WHOLESALERS INC NEW           ELECTRICAL WHOLESALERS INC                ELECTRICITY FORUM INC, THE
ENGLAND                                  701 MIDDLE ST                             ATTN PRESIDENT
ATTN STEVE HOULE                         MIDDLETON, CT 06457                       1 FRANKLIN SQ, STE 212A
100 CAMPANELLI PKWY                                                                GENEVA, NY 14456
STOUGHTON, MA 02072



ELECTRO ABRASIVES CORP                   ELECTRO MECHANICAL R&D CORP, THE          ELECTRO MECHANICAL SOLUTIONS INC
ATTN CORP SECRETARY                      DBA RA MAYES CO INC                       ATTN CEO
701 WILLET RD                            ATTN PRESIDENT                            10050 16TH ST N, STE 200
BUFFALO, NY 14218                        10064 DEERFIELD RD                        ST PETERSBURG, FL 33716
                                         FRANKTOWN, CO 80116



ELECTRO OPTIC CENTER                     ELECTRO RENT CORPORATION                  ELECTRO SCIENTIFIC INC
222 NORTHPOINTE BLVD                     2875 BRECKENRIDGE BLVD                    ATTN CORP SECRETARY
222 NORTHPOINTE BLVD                     DULUTH, GA 30096-4988                     13900 NW SCIENCE PARK DR
FREEPORT, PA 16229                                                                 PORTLAND, OR 97229




ELECTRO SCIENTIFIC INDUSTRIES INC        ELECTRO TERMINAL GMBH & CO KG             ELECTRO WAVE TECHNOLOGIES
ATTN VP & CAO                            ATTN MANAGING DIRECTOR                    PLOT 24A, 1ST FL, ECIL X RD
13900 NW SCIENCE PARK DR                 ARCHENWEG 58                              ELECTRONIC COMPLEX
PORTLAND, OR 97229                       INNSBRUCK 6020                            HYDERABAD, TELANGANA 500062
                                         AUSTRIA                                   INDIA



ELECTROCOMPONENTES S.A.                  ELECTROCRAFT NEW HAMPSHIRE INC            ELECTROMAG SA DE CV
ATTN: DIEGO ZANAZZO                      ATTN PLANT MANAGER                        ATTN ENG MGR
SOLIS 225                                1 PROGRESS DR                             SAN LUIS TLATILCO 30
CABA, BUENOS AIRES                       DOVER, NH 03820                           PARQUE INDUSTRIAL NAUCALPAN
ARGENTINA                                                                          EDO DE 53489 MEXICO



ELECTRON MICROSCOPY SCIENCES             ELECTRON SA PROFESSIONAL LIGHTING         ELECTRONIC CONCEPTS INC
P.O. BOX 550                             SYST                                      526 INDUSTRIAL WAY WEST
HATFIELD, PA 19440-3249                  ATTN PRESIDENT                            EATONTOWN, NJ 07724-2212
                                         68 ANTHIOHIAS STREET, 7 KLM NATIONAL RD
                                         ATHENS-LAMIA, N PHILADELPHIA
                                         ATHENS 143 41 GREECE


ELECTRONIC CONTROLS CO                   ELECTRONIC DESIGNS INC                    ELECTRONIC EQUIPMENT BV
DBA ECCO GROUP AMERICA                   ATTN PRES, CEO                            ATTN DIRECTOR
ATTN VP OF OPS                           1 RESEARCH DR                             SCHOUTLAAN 8
833 W DIAMOND ST                         WESTBOROUGH, MA 08581                     WEERT 6002 EA
BOISE, ID 83705                                                                    NETHERLANDS
ELECTRONIC GLASS Case     25-90163
                    INDUSTRIES        Document 87 INTERACTIV
                                         ELECTRONIC Filed in TXSB
                                                              SRL on 07/03/25 ELECTRONIC
                                                                                Page 255   of 944
                                                                                         MANUFACTURING SOLUTIONS
ATTN MANAGING PARTNER                     ATTN IOAN FENCE, ADMINISTRATOR, OWNER   INC
24//25, INDUSTRIAL ESTATE                 417078 SINTION NO 313B                  16082 S. HWY 59
FIROZABAD, UP 283203                      ORADEA, BIHOR                           LINCOLN, AR 72744-9289
INDIA                                     ROMANIA



ELECTRONIC MARKETING ASSOCIATES INC       ELECTRONIC MATERIALS INC                ELECTRONIC POWER TECH (SHANGHAI) CO
ATTN PRESIDENT                            ATTN GEN MGR                            LTD
185 WIND CHIME CT, STE 103                1814 AIRPORT RD                         ATTN GENERAL MANAGER
RALEIGH, NC 27615                         BRECKENRIDGE, CO 80424                  3/F OFFICE BLDG NO 189 JINGLIAN RD
                                                                                  SHANGHAI
                                                                                  CHINA


ELECTRONIC PRECEPTS OF FLORIDA INC        ELECTRONIC RECYCLING ASSOCIATION, THE   ELECTRONIC SCIENCE & ENGINEERING
ATTN PRESIDENT                            15-489 BRIMLEY RD
11651 87TH ST N                           SCARBOROUGH, ON M1J 1A3
LARGO, FL 33773                           CANADA




ELECTRONIC THEATRE CONTROLS INC           ELECTRONICS & COMMUNICATIONS CIRCUIT    ELECTRONICS & RADAR DEVELOPMENT
ATTN PRESIDENT                            & PKG MAT                               ESTABLISHMENT (LRDE)
3031 PLEASANT VIEW RD                     ATTN HAO YUN                            SH-3/853, PHASE 1
P.O. BOX 620979                           14 TW ALEXANDER DR                      BANGALORE, KARNATAKA 560001
MIDDLETON, WI 53562                       RTP, NC 27709                           INDIA



ELECTRONICS BUSINESS TECHNOLOGY           ELECTRONICS CONTAINER CORPORATION       ELECTRONICS TESTING CENTER TAIWAN
EXPERTS LLC                               ATTN CEO                                NO 8, LANE 29, WENMING RD
3395 S ASHLEY DR                          5050-D LIST DR                          GUISHAN SHIANG
CHANDLER, AZ 85286                        COLORADO SPRINGS, CO 80919              TAOYUAN COUNTY 33383
                                                                                  TAIWAN



ELECTRO-REP ASSOCIATES INC                ELECTRO-SCIENCE LABORATORIES INC        ELECTRO-TECHNICAL STATE UNIVERSITY
ATTN PRESIDENT                            DBA ESL ELECTROSCIENCE                  OF ST. PETERSBURG
4534-A OLD PINEVILLE RD                   ATTN MANAGING DIR                       ATTN STUDENT ENGINEER
CHARLOTTE, NC 28217                       416 E CHURCH RD                         PROFESSOR POPOV STR. 5
                                          KING OF PRUSSIA, PA 19406               ST PETERSBURG 197376 RUSSIA



ELECTROTEK CORPORATION                    ELECTRO-WISE DALLAS INC                 ELECTROWISE HSV
ATTN DIR OF SALES                         DBA EWD SOLUTIONS                       ATTN PRESIDENT
7745 S 10TH ST                            ATTN PRESIDENT                          1035 PUTMAN DR, STE D
OAK CREEK, WI 53154                       2425 MCIVER LN, 110                     HUNTSVILLE, AL 35816
                                          CARROLLTON, TX 75006



ELECTRUM INC                              [NAME REDACTED]                         ELEKNO OY
ATTN PRESIDENT                            [ADDRESS REDACTED]                      ATTN MANAGING DIRECTOR
827 MARTIN ST                                                                     JOUSITIE 2C PIIPSPANRISTI
RAHWAY, NJ 07065                                                                  TURKU 20760
                                                                                  FINLAND



ELEKTRISK STROMINGEKSJON AS               ELEKTROBIT WIRELESS COMMUNICATIONS      ELEKTROPHYSIK USA INC
ATTN CHIEF EXECUTIVE OFFICER              LTD                                     ATTN VP
VEIDEBAKKEN 2                             ATTN SVP                                770 W ALGONQUIN RD
KRAKEROY 1671                             TUTKIJANTIE 8                           ARLINGTON HEIGHTS, IL 60005
NORWAY                                    OULU 90570
                                          FINLAND


ELEMENT LABS INC                          ELEMENT MATERIALS TECHNOLOGY OF         ELEMENT ONE INC
ATTN VP OPS                               NEW BERLIN INC                          ATTN PRESIDENT
3350 SCOTT BLVD, BLDG 2                   ATTN GM                                 6319-D CAROLINA BEACH RD
SANTA CLARA, CA 95054                     3200 S 166TH ST                         WILMINGTON, NC 28412
                                          NEW BERLIN, WI 53151
ELEMENT PI LLC    Case 25-90163    Document 87
                                      ELEMENT    Filed
                                              TWENTY   inTECHNOLOGY
                                                     ONE  TXSB on 07/03/25
                                                                    LLC      Page 256
                                                                           ELEMENT14    ofPVT
                                                                                     INDIA 944LTD
2128 SOUTH ROYAL COURT                 ATTN MANAGER                          LWR GR FL, PART A, BLDG 8
RIDGEFIELD, WA 98642-5237              11105 MAPLE LAKE ST                   COMMUNITY CTR, EOF KAILASH
                                       GREENVILLE, SC 29609                  NEW DELHI 110065
                                                                             INDIA



ELEMENTAL LED INC                      ELEMENTAR AMERICAS INC                ELEMENTS PERFORMANCE MATERIALS LTD
ATTN CHIEF EXECUTIVE OFFICER           ATTN PRESIDENT                        ATTN TSUNG LUNG LE
1195 PARK AVE, STE 211                 520 FELLOWSHIP RD, STE D-408          12F-1, NO.933, JIURU 4TH RD
EMERYVILLE, CA 94608                   MT LAUREL, NJ 08054-3409              KAOHSIIUNG CITY 80451
                                                                             TAIWAN



ELEMICA INC                            ELESTAR SRL                           ELETTRONICA GELBISON SRL
ATTN SR VP                             ATTN PRES & CEO                       VIA ISCA, ZONA INDUSTRIAL
550 E SWEDESFORD RD, STE 310           VIA VOLPIANO, 67/A                    CERASO (SA) 84052
WAYNE, PA 19087                        LEINI TO 10040                        ITALY
                                       ITALY



ELETTRONICA SANTERNO SPA               ELEVATE PERFORMANCE                   ELEVATE
ATTN DIRECTOR                          1 E CENTER ST                         2705 TOWNEDGE CT
VIA OLM 37                             FAYETTEVILLE, AR 72701                RALEIGH, NC 27612-4301
CAMPODARSEGO (PADOVA)
ITALY



ELEXIENCE                              [NAME REDACTED]                       ELFAB LTD
ATTN PASCAL GANDOLFINI                 [ADDRESS REDACTED]                    ATTN CUSTOMER SERVICE REP
9 RUE DES PETITS RUISSEAUX BP 61                                             ALDER RD, N SHIELDS
VERRIERES-LE-BUISSON 91371                                                   TYNE & WEAR NE29 8SD
FRANCE                                                                       UNITED KINGDOM



[NAME REDACTED]                        ELG METAL                             ELGAR ELECTRONICS CORPORATION
[ADDRESS REDACTED]                     ATTN SR TRADER                        ATTN MANAGER, CONTRACTS
                                       15 ST & RIVER RD                      9250 BROWN DEER RD
                                       MCKEESPORT, PA 15130                  SAN DIEGO, CA 92121




ELGO LIGHTING INDUSTRIES SA            [NAME REDACTED]                       [NAME REDACTED]
KUTNOWSKA 98                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]
GOSTYNIN 09-500
POLAND




[NAME REDACTED]                        ELHYTE                                ELIAS ASSOCIATES INC
[ADDRESS REDACTED]                     ATTN DAVID DUVAL, PRESIDENT           ATTN PRESIDENT
                                       1, RUE DU RUISSEAU BLANC              12 LABAW DR
                                       BP 70034                              CRANBURY, NJ 08512
                                       NOZAY 91620 FRANCE



[NAME REDACTED]                        E-LIGHT LLC                           ELINS
[ADDRESS REDACTED]                     ATTN CEO                              ATTN HEAD OF DEPT
                                       21199 HILLTOP ST                      4/1, PANFILOVSKIY PROSPECT
                                       SOUTHFIELD, MI 48034                  ZELENOGRAD, MOSCOW 124460
                                                                             RUSSIA



ELINVAR                                ELIT FINE CERAMICS CO LTD             ELITE ENGINEERED SOLUTIONS, LLC.
4040 IVY BLUFF TRL                     ATTN PRESIDENT                        1361 W WADE HAMPTON BLVD. F-101
WINSTON-SALEM, NC 27106                NO 3-3 GONGYE 5TH                     GREER, SC 29650
                                       TAOYUAN COUNTRY
                                       PINGJHEN CITY 324 TAIWAN
ELITE FOODSERVICECase   25-90163
                  EQUIPMENT CO INC   Document   87 Filed
                                        ELITE LIGHTING      in TXSB on 07/03/25 ELITE
                                                       CO LTD                     Page   257 of 944
                                                                                      LIGHTING
1865 NEW HIGHWAY                         5424 E SLAUSON AVE                     ATTN PRES
FARMINGDALE, NY 11735                    COMMERCE, CA 90040-2919                1530 CHURCH RD
                                                                                MONTEBELLO, CA 92806




ELITE MATERIAL CO LTD                    ELITE RF LLC                           E-LITE SEMICONDUCTOR INC
ATTN DEPUTY VP MKTG DIV                  ATTN PRESIDENT                         ATTN SUPPORT MGR
18 TA-TUNGFIRST RD                       2155 STONINGTON AVE, STE 217           507 GANG BEI SI LU RD
KUANYIN INDUSTRIAL DISTRICT              HOFFMAN ESTATES, IL 60169              MODERN INDUSTRIAL PARK N, CHENGDU
TA-YUAN HSIEN 32849 TAIWAN                                                      SICHUAN CHINA



ELIXIR INDUSTRIES                        [NAME REDACTED]                        ELLE ALEXANDER DESIGN CO LLC
24800 CHRISANTA DR, STE 210              [ADDRESS REDACTED]                     ATTN PRINCIPAL
MISSION VIEJO, CA 92691                                                         1613 OLD LOUISBURG RD, STE 105
                                                                                RALEIGH, NC 27604




ELLINGTON CONTRACTORS INC                ELLINGTON ELECTRONIC TECHNOLOGY        [NAME REDACTED]
4617 ZEBULON ROAD                        CORP                                   [ADDRESS REDACTED]
ZEBULON, NC 27597-7501                   ATTN MARKETING DIR
                                         88 GAOPING INDUSTRIAL ZONE
                                         SANJIAO TOWN
                                         ZHONGSHAN , GUANGDONG 528445 CHINA


ELLIOTT ELECTRIC SUPPLY INC              ELLIOTT INVESTMENT MANAGEMENT LP       [NAME REDACTED]
ATTN SETH CANFIELD                       40 WEST 57TH STREET                    [ADDRESS REDACTED]
2526 N STALLINGS DR                      NEW YORK, NY 10019
NOCOGDOCHES, TX 75964




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]
                 CaseSERVICES
ELLISDON CONSTRUCTION    25-90163
                               INC   Document
                                        ELLISON87  Filed in TXSB
                                               TECHNOLOGIES INC. on 07/03/25 [NAME
                                                                               Page  258 of 944
                                                                                   REDACTED]
1004 MIDDLEGATE RD, STE 1000             9912 SOUTH PIONEER BLVD             [ADDRESS REDACTED]
MISSISSAUGA, ON L4Y 1M4                  SANTA FE SPRINGS, CA 90670-3250
CANADA




[NAME REDACTED]                          ELLSWORTH ADHESIVES SPECIALTY       ELLSWORTH ADHESIVES
[ADDRESS REDACTED]                       CHEMICAL DIST INC                   19006 SOUTHPORT DR
                                         ATTN PRESIDENT                      CORNELIUS, NC 28031-6478
                                         W129N10825 WASHINGTON DR
                                         P.O. BOX 1002
                                         GERMANTOWN, WI 53022


ELMECH, INC.                             ELMET TECHNOLOGIES LLC              [NAME REDACTED]
195 SAN PEDRO AVE                        ATTN DIR COMMERCIAL OPS             [ADDRESS REDACTED]
MORGAN HILL, CA 95037-5139               1560 LISBON ST
                                         LEWISTON, MA 04240




ELMO SRL                                 [NAME REDACTED]                     [NAME REDACTED]
ATTN MAURO ARLENGHI, CEO                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]
VIA SEGRE 17/19
MORTARA PV 27036
ITALY



ELOGGER INC                              ELON UNIVERSITY                     ELP MARKETING LIMITED
ATTN CHIEF EXECUTIVE OFFICER             ATTN CHIEF OF STAFF                 ATTN PRESIDENT
1110 CLOQUET AVE, 170                    2185 CAMPUS BOX                     32 MCQUADE LAKE CRESCENT
CLOQUET, MN 55720                        ELON UNIVERSITYK8159                HALIFAX, NS B3S 1B6
                                         ELON, NC 27244                      CANADA



[NAME REDACTED]                          ELREHA PRINTED CIRCUITS CORP        [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN SALES MGR                      [ADDRESS REDACTED]
                                         2510 TERMINAL DR S
                                         ST PETERSBURG, FL 33712




ELSEVIER B.V.                            [NAME REDACTED]                     ELTA SYSTEM LTD
RADARWEG 29                              [ADDRESS REDACTED]                  ATTN DIR BUSINESS PLANNING
AMSTERDAM 1043 NX                                                            100 YIZHAK HANASSI AVE
NETHERLANDS                                                                  ASHDOD
                                                                             ISRAEL



ELTEC SRL                                ELTEK VALERE AS                     ELTRONIX CO INC
ATTN DIRECTOR                            GRATERUDVEIEN 8                     ATTN MANAGER
VIA DELL ARTIGLIERIA 65, ZI PALUDI       DRAMMEN 3036                        1206, WOORIM E-BIZ CTR II
PIEVE DALPAGO 32100                      NORWAY                              184-1 GURO3-DONG, GURO-GU
ITALY                                                                        SEOUL 152-769 SOUTH KOREA



ELUMEN LIGHTING NETWORKS                 [NAME REDACTED]                     [NAME REDACTED]
ATTN PRESIDENT                           [ADDRESS REDACTED]                  [ADDRESS REDACTED]
6638 ABRAMS ST
SAINT-LAURENT, QC H4S IYI
CANADA



[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163           Document  87 AUTOMATION
                                           EMA DESIGN Filed in TXSB
                                                                INC on 07/03/25 EMA
                                                                                  Page  259
                                                                                    DESIGN   of 944
                                                                                           AUTOMATION
[ADDRESS REDACTED]                          ATTN GEN COUNSEL                     225 TECH PARK DR
                                            P.O. BOX 23325                       ROCHESTER, NY 14623-2444
                                            ROCHESTER, NY 14692




[NAME REDACTED]                             [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]




EMBEDDED DESIGNS INC DBA KIC                EMBEDDED PLANET INC                  EMBEDDED SYSTEMS INC
16120 WEST BERNARDO DRIVE                   ATTN CHIEF EXECUTIVE OFFICER         DBA ESI MOTION
SAN DIEGO, CA 92127-1875                    4760 RICHMOND RD, STE 400            ATTN GEN COUNSEL
                                            CLEVELAND, OH 44128                  2250-A UNION PL
                                                                                 SIMI VALLEY, CA 93065



EMBEDDED360 INC                             EMBEDUR SYSTEMS INC                  EMBRAER SA
ATTN EXEC VICE PRESIDENT                    ATTN RAJESH C SUBRAMANIAM            ATTN PROCUREMENT & CONTRACTS MGR
3705 QUAKERBRIDGE RD, STE 212               42808 CHRISTY ST, STE 102            AVENIDA BRIGADEIRO FARIA LIMA 2170
HAMILTON, NJ 08619                          FREMONT, CA 94538                    SAO JOSE DOS CAMPOS, SP F100
                                                                                 BRAZIL



EMBREX INC                                  EMC                                  EMCO INDUSTRIAL PLASTICS INC
ATTN SR MGR INTERNAL AUDIT                  4 ALLEE DE LA RHUBARBE               ATTN BRANCH MGR
P.O. BOX 13989                              ACHERES 78260                        99 COMMERCE RD
RESEARCH TRIANGLE PARK, NC 27709-3989       FRANCE                               CEDAR GROVE, NJ 07009




EMCO MAIER CORP                             EMCOMP SCANDINAVIA AB                EMCOMP SCANDINAVIA AB
ATTN PRES                                   ATTN MAGNAS WAHLSTROM                ATTN MAGNUS WAHLSTROM
2841 CHARTER ST                             KARLAVAGEN 44                        EKBACKSVAGEN 28
COLUMBUS, OH 43228-4607                     SUNDYBERG 172 76                     BROMMA SE-16869
                                            SWEDEN                               SWEDEN



EMCORE CORP                                 EMCORE CORPORATION                   EMCTRONIC SAS
394 ELIZABETH AVE                           145 BELMONT DR                       ATTN PRESIDENT
SOMERSET, NJ 08873                          SOMERSET, NJ 08873                   14 RUE DE COLMAR
                                                                                 HESINGUE 68220
                                                                                 FRANCE



EMCTRONIC SAS                               EMD CHEMICALS INC                    EMD MILLIPORE CORPORATION
ATTN PRESIDENT                              ATTN DIRECTOR, R&D                   25802 NETWORK PLACE
8 RUE JEAN MONNET                           480 S DEMOCRAT RD                    CHICAGO, IL 60673-1258
BARTENHEIM 68870                            GIBBSTOWN, NJ 08027
FRANCE



EMD PERFORMANCE MATERIALS CORP.             EMEI (HK) COMPONENTS LTD             [NAME REDACTED]
1200 INTREPID AVE., SUITE 300               ATTN OPERATIONS MGR                  [ADDRESS REDACTED]
PHILADELPHIA, PA 19112-1229                 UNIT 1, 3/F, BLOCK A
                                            NEW TRADE PLZ, 6 ON PING ST
                                            SHATIN, NT HONG KONG



[NAME REDACTED]                             EMERGENCY COMMUNICATIONS NETWORK     EMERGENCY LIGHTING PRODUCTS LTD
[ADDRESS REDACTED]                          LLC                                  ATTN TECH MGR
                                            ATTN PRESIDENT                       PARBROOK HOUSE, GILLMANS INDUSTRIAL
                                            780 W GRANADA BLVD                   EST
                                            ORMOND BEACH, FL 32174               NATTS LN, BILLINGSHURST
                                                                                 WEST SUSSEX RH14 9EZ UNITED KINGDOM
                  Case INC
EMERGENCY TECHNOLOGY    25-90163         Document 87TECHNOLOGIES
                                            EMERGING  Filed in TXSB
                                                                 LLC on 07/03/25 EMERSON
                                                                                   Page 260  of 944
                                                                                         & CUMING MICROWAVE
DBA SOUNDOFF SIGNAL                          1613 COLUMBUS STRRET                  PRODUCTS INC
ATTN ENGR MNGR                               TWO RIVERS, WI 54241-2871             ATTN DIR SALES MARKETING
3900 CENTRAL PKWY                                                                  28 YORK AVE
HUDSONVILLE, MI 49426                                                              RANDOLPH, MA 02368



EMERSON APPARATUS CO                         EMERSON CLIMATE TECHNOLOGIES INC      EMERSON ELECTRIC CO
ATTN PRESIDENT                               ATTN DIRECTOR                         ATTN VP
59 SANFORD DR, 12                            1675 W CAMPBELL RD                    8000 W FLORISSANT AVE
GORHAM, ME 04038                             SIDNEY, OH 45365                      ST. LOUIS, MO 63136




EMERSON INDUSTRIAL AUTOMATION USA            EMERSON SOFTWARE SOLUTIONS            [NAME REDACTED]
LLC                                          ATTN PRES                             [ADDRESS REDACTED]
ATTN VP ENGINEERING                          9106 RIVER RD
9377 W HIGGINS RD                            WILMINGTON, NC 28412
ROSEMONT, IL 60018



EMERY INVESTMENTS LTD                        EMF (IRELAND) LTD                     EMF LTD
620 WILSON AVE, STE 401                      30 SUMMER HILL, PREHEN PARK           2 BEAUCHAMP CT, 10 VICTORS WAY
NORTH YORK, ON M3K 1Z3                       LONDONDERRY BT47 2PL                  BARNET, HERTS EN5 5TZ
CANADA                                       IRELAND                               UNITED KINGDOM




EMGO NV                                      EMHISER RESEARCH INC                  EMHISER RESEARCH LIMITED
ATTN TECH DIR                                ATTN BARRY LAUTZENHISER               ATTN PRESIDENT
INDUSTRIEZONE BALENDIJK 1050                 2705 OLD HWY 40W                      110 BOWES ST
BALENDIJK 161                                VERDI, NV 89439                       PARRY SOUND, ON P2A 2L7
LOMMEL 3920 BELGIUM                                                                CANADA



EMHISER TELETECH INC                         EMHISHER RESEARCH INC                 EMILPRESS GROUP SRL
ATTN PRESIDENT                               ATTN PROJECT MGR                      VIA DANTE ALIGHIERI, 28
40 BUCKSKIU RD                               2705 OLD HWY 40 W                     SERRAVALLE DI BERRA 44030
BELGRADE, MT 59719                           VERDI, NV 89439                       ITALY




EMINESS TECHNOLOGIES INC                     EMINESS TECHNOLOGIES INC              EML TECHNOLOGIES LLC
ATTN EXEC VICE PRESIDENT/COO                 ATTN PRODUCT LINE MANAGER             ATTN GLOBAL STANDARDS MGR
1620 W FOUNTAINHEAD PKWY, STE 510            1412 AIRPORT RD                       P.O. BOX 635
TEMPE, AZ 85282                              MONROE, NC 28110                      DANVILLE, CA 94526




EMO TRANS HONG KONG LTD                      EMORY WILSON PROCESS LLC              EMPAQUES TERMOFORMADOS SA DE CV
ATTN OFFICE MGR                              ATTN SALES MGR                        INDUSTRIA DEL PLASTICO 2168
FLAT RM 1107, 11F CEO TOWER                  100 MAIN ST                           ZAPOPAN, JAL 45130
77 WING HONG ST, CHEUNG SHA WAN ST           FORT MILL, SC 29715                   MEXICO
KOWLOON HONG KONG



EMPAQUES Y DISENOS DE POLIETILENO SA         EMPIRE RECYCLING CORPORATION          EMPLOYEE BKGD INVESTINGATIONS INC
DE CV                                        DBA CONFIDATA                         ATTN PRESIDENT
ATTN ACCOUNT MGR                             64 N GENESEE ST                       P.O. BOX 629
AVENIDA COLEGIO DEL AIRE, 1002, INT 17       UTICA, NY 13503-0353                  OWINGS MILLS, MD 21117
COLONIA SAN JAN DE OCOTAN ZAPOPAN
JAL 45019 MEXICO


EMPLOYMENT BACGROUND                         EMPLOYMENT BACKGROUND INVESTIGATION   EMPLOYMENT DEVELOPMENT DEPT
INVESTIGATIONS INC                           INVESTIGATIONS INC                    SAN JOSE AAO
P.O. BOX 629                                 P.O. BOX 842256                       P.O. BOX 1870
OWINGS MILLS, MD 21117                       BOSTON, MA 02284-2256                 SAN JOSE, CA 95109-1870
EMPLOYUS INC     Case 25-90163   Document
                                    EMPORIA87  Filed in TXSB on 07/03/25 EMPOWER
                                            CORP                           Page 261  of 944 INC
                                                                                 RF SYSTEMS
ATTN CHIEF EXECUTIVE OFFCER          ATTN CTO HARDWARE                    ATTN VP OF SALES
122 E CHATHAM ST                     7901 SHAFFER PKWY                    316 W FLORENCE AVE
CARY, NC 27511                       LITTLETON, CO 80127                  INGLEWOOD, CA 90301




EMPYREAN CAPITAL PARTNERS LP         EMR ELEVATOR INC                     EMS THIN METAL PARTS LLC
499 PARK AVE                         100 EZELL DR, 102                    4733 CENTENNIAL BLVD
28TH FLOOR                           DESOTO, TX 75115-2329                COLORADO SPRINGS, CO 80919-3306
NEW YORK, NY 10022




EMS                                  EMSCAN CORP                          EMSCO INC
ATTN SALES MGR                       ATTN CHIEF EXECUTIVE OFFICER         ATTN VP SALES & MARKETING
132 JOHNSON DR                       1, 1715-27TH AVE NE                  607 WARSAW RD
DELAWARE, OH 43015                   CALGARY, AB T2E 7E1                  CLINTON, NC 28328
                                     CANADA



EMSL ANALYTICAL, INC.                EMSYSTEMS LLC                        EMTEQ INC
200 ROUTE 130 NORTH                  235 PEACHTREE STREET NE SUITE 2300   ATTN PROJ ENGINEER
CINNAMINSON, NJ 08077-2892           ATLANTA, GA 30303-1406               5349 S EMMER DR
                                                                          NEW BERLIN, WI 53151




EMTS INCORPORATED                    EMTS, INC                            EMU TECHNOLOGIES
25 INDIAN ROCK RD, PMB 432           8 INDUSTRIAL PARK DRIVE              13 OLD YARN MILLS BUSINESS PARK
WINDHAM, NH 03087                    HOOKSETT, NH 03106-1805              SHERBORNE DT9 3RQ
                                                                          UNITED KINGDOM




EMULSITONE CO INC                    EMWIB TECHNOLOGIES PVT LTD           EMZ-HANAUER GMBH & CO KGAA
ATTN PRESIDENT                       ATTN MANAGING DIR                    ATTN VP
19 LESLIE CT                         7, SHIVA RAMA KRISHNA COLONY         SIEMENSSTRASSE 1
WHIPPANY, NJ 07981                   SECUNDERABAD 500026                  NABBURG 92507
                                     INDIA                                GERMANY



ENABLEPATH LLC                       ENARKA INSTRUMENTS PRIVATE LTD       ENATEL LTD
ATTN PRESIDENT                       ATTN FOUNDER/CEO                     ATTN OPS MGR
2623 MT ISLE HARBOR DR               JAGANATH ARCADE, 37, 1ST MAIN RD     66 TREFFERS RD
CHARLOTTE, NC 28214                  SBM COLONY                           CHRISTCHURCH 8042
                                     BANGALORE, ANANDNAGAR 560024 INDIA   NEW ZEALAND



[NAME REDACTED]                      ENCELL TECHNOLOGY INC                ENCOMPASS DISTRIBUTION SERVICES LLC
[ADDRESS REDACTED]                   ATTN CHAIRMAN                        3502 MARS WAY SUITE 161
                                     12887 US HWY 441                     TRACY, CA 95377-8002
                                     ALACHUA, FL 32615




ENCON EVAPORATIONS                   ENDEAVOR FABRICATION GROUP           ENDER LABS INC
ATTN SALES ENGINEER                  ATTN VP PRODUCTION                   175 W 200 S, STE 1001
97 EDDY RD, UNIT 6                   631 UNITED DR, STE 200               SALT LAKE CITY, UT 84101
MANCHESTER, NH 03102                 DURHAM, NC 27713




ENDICOTT RESEARCH GROUP INC          ENDO LIGHTING CORP                   ENDUR CONTRACTORS, LLC
ATTN VP OF SALES                     ATTN REP DIR & PRES                  4750 KENNEDALE NEW HOPE RD
2601 WAYNE ST                        1-6-19, HOMMACHI                     FORT WORTH, TX 76140-7810
ENDICOTT, NY 13760                   CHUO-KU, OSAKA-SHI
                                     OSAKA 541-0053 JAPAN
                 Case 25-90163
ENDURANCE RISK SOLUTIONS ASSURANCE Document  87 Filed in TXSB on 07/03/25 ENERGIZER
                                      [NAME REDACTED]                       Page 262    of 944
                                                                                     BATTERY MANUFACTURING INC
CO                                    [ADDRESS REDACTED]                  ATTN DIR, GLOBAL PURCHASING
4 MANHATTANVILLE RD                                                       25225 DETROIT RD
PURCHASE, NY 10577                                                        WESTLAKE, OH 44145




ENERGIZER HOLDINGS INC                ENERGIZER INC                         ENERGOMODULE NPO JSC
ATTN DIR BUSINESS DEV                 25225 DETROIT RD                      ATTN DIRECTOR
533 MARYVILLE UNIVERSITY DR           WESTLAKE, OH 44145                    90/1 MIRA STR
ST LOUIS, MI 63141                                                          CHEBOKSARY 428024
                                                                            RUSSIA



ENERGOSBEREGAJUSHCHIJ SOJUZ           ENERGOUS                              ENERGY CONCEPTS INC
ATTN CEO                              ATTN SR RF DESIGN ENGINEER            ATTN PRESIDENT
STR VESHNYAKOVSKAYA HOUSE, 24A        3590 N FIRST ST, STE 210              2349 WILLIS MILLER DR
MOSCOW 111395                         SAN JOSE, CA 95134                    HUDSON, WI 54016
RUSSIA



ENERGY EDGE CONSULTING LLC            ENERGY FOCUS INC                      ENERGY LIGHTING INC
ATTN PRESIDENT                        ATTN CEO                              ATTN CHIEF EXECUTIVE OFFICER
9601 KATY FWY, STE 450                32000 AURORA RD                       1110 SLIGH BLVD
HOUSTON, TX 77024                     SOLON, OH 44139                       ORLANDO, FL 32806




ENERGY NETWORK SERVICES NC            ENERGY PLANNING ASSOCIATES CORP       ENERGY PLUS DOO
ATTN PRESIDENT                        ATTN PRESIDENT                        ATTN GENERAL MGR
125 W BEAVER CREEK RD, UNIT 2         148 MARITIME DR                       KOPRIVNICKA 19
RICHMOND HILL, ON L4B 1C6             SANFORD, FL 32771                     LUDBREG 42230
CANADA                                                                      CROATIA



ENERGY STAR                           ENERGYOPTIMAL AS                      ENERLIGHT OY
C/O ICF INTERNATIONAL                 ATTN MANAGING DIR                     ATTN LEO BUSINESS MGR
1725 EYE ST NW, STE 1000              AMAGERVEIEN 2D                        KAIVOPUISTONTIE 33
WASHINGTON, DC 20006                  OSLO 0771                             RAUMA FI-26100
                                      NORWAY                                FINLAND



ENERPHASE INDUSTRIAL SOLUTIONS INC    ENERSYS INC                           ENERVATION SENDIRIAN BERHAD
ATTN PRODUCT SUPPORT                  ATTN FIELD SVC SUPERVISOR             29 JALEN INDUSTRI USJ 1/11
203 AERO COURT                        120 COMMERCE RD                       TAMAN PERINDUSTRIAN USJ 1
GREENSBORO, NC 27409                  CARLSTADT, NJ 07072                   SUBANG JAYA, SELANGOR 47600
                                                                            MALAYSIA



ENG ENGINEERING                       ENG SOLUTIONS INC                     ENGELHARD CORP
135 MARTIN ST                         ATTN PRESIDENT                        ATTN SALES MANAGER
RALEIGH, NC 27601                     104 KITTY HAWK DR                     101 WOOD AVE
                                      MORRISVILLE, NC 27560                 ISELIN, NJ 08830




ENGENIUSMICRO LLC                     ENGINEERED AIR SYSTEMS INC            ENGINEERED DESIGNS INC
ATTN MICHELLE KEITH                   ATTN PRESIDENT                        ATTN PRESIDENT
1300 MERIDIAN ST N, STE 3000A         205 ENGLISH OAK RD                    1151 SE CARY PKWY, STE 200
HUNTSVILLE, AL 35801                  SIMPSONVILLE, SC 29681                CARY, NC 27518




ENGINEERED DISTRIBUTION SPECIALTIES   ENGINEERED LIGHTING SALES INC         ENGINEERED LIGHTING SALES INC
LLC                                   ATTN VICE PRESIDENT                   ATTN VICE PRESIDENT
DBA ENDISYS                           2211 MEADOW DR                        536-A NOEL AVE
ATTN PRESIDENT                        LOUISVILLE, KY 40218                  HOPKINSVILLE, KY 42240
14329 NORTHDALE BLVD
ROGERS, MN 55374
                 Case
ENGINEERED MATERIALS   25-90163
                     SYSTEMS INC   Document  87 PLASTIC
                                      ENGINEERED   Filed inPRODUCTS
                                                             TXSB onINC07/03/25 ENGINEERED
                                                                                  Page 263SECURITY
                                                                                              of 944 SOLUTINS INC
DBA ENGINEERED CONDUCTIVE MATERIALS   ATTN MGR                                  ATTN PRESIDENT
ATTN PRESIDENT                        269 MERCER ST                             16805 W OBSERVATORY RD
132 JOHNSON DR                        STIRLING, NJ 07980                        NEW BERLIN, WI 53151
DELAWARE, OH 43015



ENGINEERED SOLUTIONS AND SERVICES INC   ENGINEERED TAX SERVICES INC              ENGINEERING MANUFACTURING SERVICES
ATTN RSM                                ATTN CHIEF EXECUTIVE OFFICER             CO
3601 WATKINS FARM RD                    303 EVERNIA ST STE 300                   ATTN PRES
HILLSBOROUGH, NC 27278                  WEST PALM BEACH, FL 33401                5634 CANNON DR
                                                                                 MONROE, NC 28110



ENGINEERING PLUS                        ENGINEERING SPECIALTIES LLC              ENGINEERING SYSTEMS & SERVICES
ATTN PRESIDENT                          ATTN PRESIDENT                           1004 TOBIANO LANE
3800 N MESA ST, A-2 H76                 729 CIRCLE 73                            RALEIGH, NC 27614-8359
EL PASO, TX 79901                       FAIRPLAY, CO 80440




ENGIN-IC INC                            [NAME REDACTED]                          [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER            [ADDRESS REDACTED]                       [ADDRESS REDACTED]
1721 W PLANO PKWY, STE 121
PLANO, TX 75075




[NAME REDACTED]                         ENGRAVING SYSTEMS SUPPORT INC            ENGRICH SOLUTIONS SDN BHD
[ADDRESS REDACTED]                      ATTN PRESIDENTE                          35 JALAN SUNGAI TIRAM 2 TAMAN NYAMA
                                        14350 10TH ST                            BAYAN LEPAS PIN 11900
                                        DADE CITY, FL 33523                      MALAYSIA




ENHANCE EQUIPMENT & DEVELOPMENT CO      ENHANCED PRODUCTION TECHNOLOGIES         ENHANCESCAPES INC
ATTN MGR                                402 TRADESMENS PARK DR.                  ATTN PRESIDENT /OWNER
ROOM C8, 2/F, MOW SHING CENTER          HUTTO, TX 78634-4022                     3125 SUMMER OAKS DR
118 BEDFORD RD, TAI KOK TSUI                                                     APEX, NC 27539
KOWLOON HONG KONG



[NAME REDACTED]                         ENOCEAN INC                              ENOCH ENGINEERING SERVICES INC
[ADDRESS REDACTED]                      ATTN PRESIDENT                           ATTN PRES
                                        6914 S 3000 E, STE 202C                  115 W G ST, STE B
                                        COTTONWOOD HEIGHTS, UT 84121             LOS BANOS, CA 93635




ENOCH FAB CHAMBERS SUPPLY INC.          [NAME REDACTED]                          ENOMOTO CO LTD
2221 HIGH TECH DR                       [ADDRESS REDACTED]                       8154-19 UENOHARA
WAXAHACHIE, TX 75167-1785                                                        UENOHARA, YAMANASHI 409-0198
                                                                                 JAPAN




ENOMOTO CO LTD                          ENPHASE ENERGY INC                       ENPHASE ENERGY INC
ATTN SALES DIRECTOR                     ATTN VP MFG & OPERATIONS                 ATTN VP OPERATIONS
333 S HOPE ST, STE 3100                 1420 N MCDOWELL BLVD                     201 1ST ST, STE 111
LOS ANGELES, CA 90071-3040              PETALUMA, CA 94954                       PETALUMA, CA 94952




ENPIRION INC                            ENPURICON INC                            ENRG INC
ATTN CFO                                2431 SCHIEFFELIN ROAD                    ATTN CORP SECRETARY
53 FRONTAGE RD                          APEX, NC 27502-0017                      155 RANO ST, STE 300
PERRYVILLE III, STE 210                                                          BUFFALO, NY 14207
HAMPTON, NJ 08827
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 ENSAFE
                                          ENS TECHNOLOGY                        PageINC.
                                                                                      264 of 944
[ADDRESS REDACTED]                         3145 & 3165 MOLINARO STREET           5724 SUMMER TREES DRIVE
                                           SANTA CLARA, CA 95054-2424            MEMPHIS, TN 38134-4309




ENSR CONSULTING AND ENGINEERING (NC)       ENSTIN LABS PVT LTD                   ENSTO FINLAND OY
INC                                        14A & 15A, EMERALD CHAMBERS, 1ST FL   ATTN R&D DIRECTOR
ATTN DAVID H SIMPSON                       GREEN PK LAYOUT                       ENSIO MIETTISEN KATU 2
7041 OLD WAKE FOREST RD, STE 103           RAMAMURTHY NAGAR MAIN RD, BANASWADI   P.O. BOX 77
RALEIGH, NC 27616                          BANGALORE 560043 INDIA                PORVOO 06101 FINLAND



ENSYNC INC                                 ENTAB INC                             ENTECH SALES AND SERVICE LLC
ATTN VP ENGINEERING                        ATTN PRESIDENT                        3404 GARDEN BROOK DRIVE
N93 W14475 WHITTAKER WAY                   4421 N CHERRY, STE 10                 DALLAS, TX 75234-2444
MENOMONEE FALLS, WI 53051                  WINSTON-SALEM, NC 27105




ENTEGRIS INC                               ENTEGRIS INC                          ENTEGRIS INC
117 JONATHAN BOULEVARD NORTH               ATTN CATHY GIESEN                     ATTN SVP & CTO
CHASKA, MN 55318-2342                      101 PEAVEY RD                         129 CONCORD RD
                                           CHASKA, MN 55318                      BALLERICA, MA 01828




ENTELO INC                                 ENTERGY ARKANSAS INC                  ENTERPRISE LIGHTING LTD
ATTN VP FINANCE                            425 W CAPITOL AVE                     ATTN VP
123 MISSION ST, 24TH FL                    LITTLE ROCK, AR 72201                 2007 PEWAUKEE RD
SAN FRANCISCO, CA 94105                                                          WAUKESHA, WI 53188




ENTERPRISE RENT-A-CAR CO                   ENTERPRISE SECURITY SYSTEMS           ENTITY ELETTRONICA SRL
ATTN SECRETARY                             ATTN PRESIDENT                        ATTN PRESIDENT
600 CORPORATE PARK DR                      10910 GRANITE ST                      VIA DEI LAGHI 19
ST LOUIS, MO 63105                         CHARLOTTE, NC 28273                   ALTAVILLA VICENTINA, VI 36077
                                                                                 ITALY



ENTREPIX INC                               ENTRIX INC                            ENTUPLE-E-MOBILITY PRIVATE LTD
4717 EAST HILTON AVENUE SUITE 200          DBA CARDNO ENTRIX                     ATTN CHIEF EXECUTIVE OFFICER
PHOENIX, AZ 85034-6412                     ATTN SVP                              A03, DIAMOND DISTRICT, HAL OLD AIRPORT
                                           5252 WESTCHESTER, STE 250             RD
                                           HOUSTON, TX 77005                     KODIHALLI, BENGALURU
                                                                                 KARNATAKA 560008 INDIA


[NAME REDACTED]                            ENVIRO TECH INTERNATIONAL INC         ENVIROMENTAL PROPERTY SERVICES
[ADDRESS REDACTED]                         ATTN VP                               ATTN BRANDON KLINTWORTH
                                           2525 W LEMOYNE AVE                    11501 JOHN ALLEN RD
                                           MELROSE PARK, IL 60160                RALEIGH, NC 27614




ENVIROMENTAL SERVICE SYSTEMS LLC           ENVIRONAMICS INC                      ENVIRONMENTAL & VIBRATION TESTNG SVS
ATTN PRESIDENT                             13935 SOUTH POINT BLVD                LLC
2815 COLISEUM CENTRE DR, STE 170           CHARLOTTE, NC 28273-7716              ATTN PRESIDENT
CHARLOTTE, NC 28217                                                              24 ENTERPRISE RD, UNIT C
                                                                                 DELAFIELD, WI 83018



ENVIRONMENTAL AIR SYSTEMS LLC              ENVIRONMENTAL AIR SYSTEMS             ENVIRONMENTAL ASSOCIATES INC
ATTN VP                                    P.O. BOX 13006                        ATTN QA MGR
521 BANNER AVE                             GREENSBORO, NC 27415-4302             9604 VARIEL AVE
GREENSBORO, NC 27401                                                             CHATSWORTH, CA 91311
                 Case 25-90163
ENVIRONMENTAL CLEANING SERVICES INC Document   87 Filed
                                       ENVIRONMENTAL      in TXSB
                                                       HOLDINGS    onLLC
                                                                GROUP 07/03/25 ENVIRONMENTAL
                                                                                 Page 265 ofINNOVATIONS
                                                                                                944     INC
325 BROGDON RD                         ATTN SVP                                ATTN PRESIDENT
SUWANEE, GA 30024                      190 KITTY HAWK DR                       9600 W FLAGG AVE
                                       MORRISVILLE, NC 27560                   MILWAUKEE, WI 53225




ENVIRONMENTAL LIGHTING SERVICE LLC     ENVIRONMENTAL MONITORING AND           ENVIRONMENTAL MONITORING
ATTN PRESIDENT OPS & SALES             TECHNOLOGIES INC                       AND TECHNOLOGIES, INC.
3420 DALWORTH ST                       8100 N AUSTIN AVE                      509 N. 3RD AVENUE
ARLINGTON, TX 76011                    MORTON GROVE, IL 60053-3203            DES PLAINES, IA 60016-1162




ENVIRONMENTAL RECOVERY SVCS INC        ENVIRONMENTAL STRESS SYSTEMS           ENVIRONMENTAL SUPPLY COMPANY INC
ATTN CONTROLLER                        21089 LONGEWAY ROAD.                   ATTN PRESIDENT
15902 S MAIN ST                        SONORA, CA 95370-8946                  708 E CLUB BLVD
GARDENA, CA 90248                                                             DURHAM, NC 27704




ENVIROSAFE CONSULTING & INVESTIG INC   ENVISION DISCOVERY LLC                 ENVISION LIGHTING DESIGN LLC
ATTN DIR OF SALES                      ATTN OWNER                             ATTN PRINCIPAL
2012 ANTHONY RD                        1403 CAPITAL BLVD                      734 HIGH HILL CT, STE 920
BURLINGTON, NC 27215                   RALEIGH, NC 27603                      LAKE ST LOUIS, MO 63367




ENVISION LLC                           ENWISEN INC                            EO TECHNICS CO LTD
ATTN PRESIDENT                         ATTN REG SALES MGR                     ATTN CHIEF EXECUTIVE OFFICER
1400 SUNDAY DR, STE 101                7250 REDWOOD BLVD, STE 109             91 DONGPYEONRO
RALEIGH, NC 27607                      NOVATO, CA 94945                       ANYANG 13930
                                                                              SOUTH KOREA



EOSL GTRI                              EOX SALES                              EP MINERALS LLC
925 DALNEY ST, GEORGIA TECH CAMPUS     12472 LAKE UNDERHILL RD, 218           ATTN VP, FINANCE
ATLANTA, GA 30318                      ORLANDO, FL 32828                      9785 GATEWAY DR, STE 1000
                                                                              RENO, NV 89521




EPA - REGION 1                         EPA - REGION 10                        EPA - REGION 10
5 POST OFFICE SQ                       1200 SIXTH AVE                         1200 SIXTH AVE
STE 100                                STE 900                                SUITE 155
BOSTON, MA 02109-3912                  SEATTLE, WA 98101                      SEATTLE, WA 98101




EPA - REGION 2                         EPA - REGION 3                         EPA - REGION 3
290 BROADWAY                           1650 ARCH ST                           FOUR PENN CENTER
NEW YORK, NY 10007-1866                PHILADELPHIA, PA 19103-2029            1600 JFK BLVD.
                                                                              PHILADELPHIA, PA 19103-2029




EPA - REGION 4                         EPA - REGION 5                         EPA - REGION 6
ATLANTA FEDERAL CTR                    77 W JACKSON BLVD                      1201 ELM ST.
61 FORSYTH ST SW                       CHICAGO, IL 60604-3507                 SUITE 500
ATLANTA, GA 30303-3104                                                        DALLAS, TX 75270




EPA - REGION 6                         EPA - REGION 7                         EPA - REGION 8
FOUNTAIN PLACE 12TH FL, STE 1200       11201 RENNER BLVD                      1595 WYNKOOP ST
1445 ROSS AVE                          LENEXA, KS 66219                       DENVER, CO 80202-1129
DALLAS, TX 75202-2733
EPA - REGION 9   Case 25-90163        Document  87 Filed inINCTXSB on 07/03/25 EPCOS
                                         EPAK INTERNATIONAL                      PageINC266 of 944
75 HAWTHORNE ST                           4926 SPICEWOOD SPRINGS 200           ATTN PRES & CEO
SAN FRANCISCO, CA 94105                   AUSTIN, TX 78759-8434                485B RTE 1 S, STE 200
                                                                               ISELIN, NJ 08830




EPD (CHINA) ARCHITECTURE & INTERIOR       [NAME REDACTED]                      EPH CONSULTING LLC
EPD                                       [ADDRESS REDACTED]                   ATTN CONSULTING
INFORMATION MANSION ROOM 802                                                   1716 COUNT TURF LN
BEIJING 101200                                                                 RACINE, WI 53402
CHINA



EPHESUS LIGHTING INC                      [NAME REDACTED]                      EPICHEM INC
ATTN CTO                                  [ADDRESS REDACTED]                   ATTN CHIEF TECH OFFICER
235 HARRISON ST                                                                1429 HILLDALE AVE
SYRACUSE, NY 13202                                                             HAVERHILL, MA 01832




EPILEDS TECHNOLOGIES INC                  EPION CORP                           EPIQ SOLUTIONS INC
ATTN ASSOCIATE VP                         ATTN DIR SURFACE ENG                 ATTN PRINCIPAL RF DESIGN ENGINEER
NO 2 CHUANGYE RD                          37 MANNING RD                        165 COMMERCE DR, STE 204
TAINAN SCIENCE PARK                       BILLERCIA, MA 01821                  SCHAUMBURG, IL 60173
XINSHI, TAINAN 74144 TAIWAN



EPIQ TECHNOLOGIES                         EPISIL-PRECISION INC                 EPISTAR CORP
ATTN DIR BUS DEV                          ATTN PRESIDENT                       ATTN TRUMAN SUNG
2120 AUSTIN AVE                           NO 10, DUSING RD 1                   5 LI-HSIN 5TH RD
ROCHESTER HILLS, MI 48309                 HSINCHU SCIENCE PARK                 SCIENCE-BASED INDUSTRIAL PARK
                                          HSINCHU TAIWAN                       HSINCHU 300 TAIWAN



EPISTAR CORPORATION                       EPITAXIAL TECHNOLOGIES INC           EPIWORLD INTERNATIONAL CO. LTD.
NO 21, LIXING RD                          ATTN PRESIDENT                       RM803, QIANGYE BLDG, NO 98 XIANGXIN
HSINCHU CITY                              1450 S ROLLING RD                    XIAMEN 361101
HSINCHU 300                               BALTIMORE, MD 21227                  CHINA
TAIWAN



EPLUS TECHNOLOGY INC                      EPLUS TECHNOLOGY, INC.               EPM CO LTD
ATTN SR VP                                13595 DULLES TECHNOLOGY DR           ATTN DIRECTOR
511 DAVIS DR, STE 350                     HERNDON, VA 20171-3413               459-10 YONGCHUN2-RI, DONGTAN-MYUN
MORRISVILLE, NC 27560                                                          HWASUNG-CITY
                                                                               KYUNGKI-DO 445-813 SOUTH KOREA



EPOXY FORMULATIONS INC                    EPOXY TECHNOLOGY                     EPP TEAM INC
DBA EFI-POLYMERS                          14 FORTUNE DR                        DBA EMPIRE PRECISION PLASTICS
ATTN PRESIDENT                            BILLERICA, MA 01821-3922             ATTN PRESIDENT
4600 HOLLY ST                                                                  500 LEE RD, STE 400
DENVER, CO 80216                                                               ROCHESTER, NY 14606



[NAME REDACTED]                           EPPI, INC                            [NAME REDACTED]
[ADDRESS REDACTED]                        453 DAVIDSON ROAD                    [ADDRESS REDACTED]
                                          PITTSBURGH, PA 15239-1781




[NAME REDACTED]                           [NAME REDACTED]                      EPRI SOLUTIONS INC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   ATTN SR CONTRACT MGR
                                                                               942 CORRIDOR PARK BLVD
                                                                               KNOXVILLE, TN 37932
EPSON ELECTRONICS  Case 25-90163
                    AMERICA INC       Document 87 Filed
                                         EQC SOUTHEAST USAin TXSB on 07/03/25 EQUAL
                                                           LLC                  Page  267 of 944
                                                                                    EMPLOYMENT OPPORTUNITY
ATTN GENERAL MANAGER                      ATTN PRESIDENT                          COMMISSION
214 DEVCON DR                             327 DAHLONEGA ST, STE 802               ATTN AREA DIR
SAN JOSE, CA 95112                        CUMMING, GA 30040                       1309 ANNAPOLIS DR
                                                                                  RALEIGH, NC 27608



EQUAL EMPLOYMENT OPPORTUNITY              EQUINITI (FKA AMERICAN STOCK TRANSFER   EQUINITI GROUP PLC (FKA AST)
COMMISSION                                & TRUST CO)                             1110 CENTRE POINTE CURVE
ATTN AREA DIRECTOR                        P.O. BOX 12893                          MENDOTA HEIGHTS, MN 55120
RALEIGH AREA OFFICE                       PHILADELPHIA, PA 19178
434 FAYETTEVILLE ST, STE 700
RALIEGH, NC 27601


EQUINOX TECHNOLOGIES LTD                  EQUIPARTS CORP                          EQUIPMAKE LTD
ATTN MG DIRECTOR                          ATTN ACCT                               ATTN MANAGING DIR
3 GORSEY GROVE                            817 MAIN ST                             HETHEL ENGINEERING CENTE
WESTHOUGHTON                              PITTSBURG, PA 15215                     CHAPMAN WAY
BOLTON BL5 2BQ UNITED KINGDOM                                                     HETHEL NR14 8FB UNITED KINGDOM



EQUIPMENT ACQUISITION RESOURCES INC       EQUIPMENT IMAGES & SOLUTIONS INC        EQUIPMENT MANAGEMENT TECHNOLOGY
ATTN PRES                                 ATTN SECRETARY                          ATTN ACCT MGR
555 S VERMONT ST                          6117 LIVE OAK DR                        1525 PAMA LN
PALATINE, IL 60067                        KAUFMAN, TX 75142                       LAS VEGAS, NV 89119-3835




EQUIPMENT SALES SOUTHEAST LLC             ER COMPANIES LLC                        ER ELECTRONIK SAN VE TIC AS
ATTN SALES ENG MGR                        DBA EMERGENCY RECONSTRUCTION            ATTN GENERAL MANAGER
3780 TAMPA RD                             ATTN VP                                 YENIYOL NO 10, KASIMPASA
OLDSMAR, FL 34677                         1200 CORPORATION PKWY, STE 115          BEYOGLU
                                          RALEIGH, NC 27610                       ISTANBUL 34440 TURKEY



ERA ELEKTRONIK A S                        ERAL SRL                                ERAN INDUSTRIAL LTD
ATTN PRESIDENT                            ATTN CHIEF EXECUTIVE OFFICER            ATTN CHIEF EXECUTIVE OFFICER
DUDULLU OSB                               EUROPA ZI, 14                           17/F GUANGBO MANSION, 1357 YINXIAN AVE
4, CAD 11 UMRANIYE                        VAZZOLA TREVISO 31028                   YINZHOU DIST
ISTANBUL 34776 TURKEY                     ITALY                                   NINGBO 315100 CHINA



[NAME REDACTED]                           ERCO GMBH                               ERCO LEUCHTEN GMBH
[ADDRESS REDACTED]                        ATTN HEAD OF PURCHASING                 ATTN MANAGING DIR
                                          BROCKHAUSER WEG 80-82                   BROCKHAUSER WEB 80-82
                                          LUDENSCHEID 58507                       LUDENSCHEID 58507
                                          GERMANY                                 GERMANY



ERCO LIGHTING INC                         ERD LTD INC                             ERG AEROSPACE CORPORATION
ATTN PRES                                 705 INDENEER DRIVE                      55 GREG STREET
160 RARITAN CTR                           KERNERSVILLE, NC 27284-3547             SPARKS, NV 89431-6279
EDISON, NJ 08817




ERGO ELEKTRONIK GMBH & CO KG              ERGOGENESIS WORKPLACE SOLUTIONS, LL     ERGONOMIC PARTNERS
ATTN MG DIRECTOR                          1 BODYBILT PLACE                        4000 FEE FEE ROAD
SOEFLINGER STRASSE 100                    NAVASOTA, TX 77868-3713                 BRIDGETON TERRACE, MO 63044-2708
ULM D-89077
GERMANY



ERGONOMICS CENTER OF NC, THE              ERGOTECH SYSTEMS, INC.                  [NAME REDACTED]
ATTN EXEC DIR                             190 CENTRAL PARK SQUARE                 [ADDRESS REDACTED]
307 NEIL ST                               LOS AALMOS, NM 87544-4001
RALEIGH, NC 27607
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  268 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                       ERICSSON AB
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    ATTN VP
                                                                                TORSHAMNSGATAN 23
                                                                                STOCKHOLM SE-164 80
                                                                                SWEDEN



ERICSSON CANADA                           ERIDAN COMMUNICATIONS INC             ERIDAN COMMUNICATIONS
ATTN SENOIR RF DESIGNER                   ATTN VP RF ELECTRONICS                1171 HOMESTEAD RD, STE 295
3500 CARLING AVE                          750 BATTERY ST, STE 700               SANTA CLARA, CA 95050
OTTAWA, ON K2H 8G2                        SAN FRANCISCO, CA 94111
CANADA



ERIEZ MANUFACTURING CO                    ERIKS SEALS & PLASTICS INC            [NAME REDACTED]
DBA ERIEZ HYDROFLOW                       2230 LIND AVE SW BLDG C SUITE 110     [ADDRESS REDACTED]
ATTN DIR CORP COMPLIANCE                  RENTON, WA 98057-3335
1901 WAGER RD
ERIE, PA 16509



ERINVIEW HOLDINGS LTD                     ERM NC INC                            ERNEST ORLANDO LAWRENCE BERKELEY
620 WILSON AVE, STE 401                   ATTN PARTNER                          NATIONAL LABORATORY
NORTH YORK, ON M3K 1Z3                    1130 SITUS CT, STE 250                ATTN SR LICENSING ASSOC
CANADA                                    RALEIGH, NC 27606                     1 CYCLOTRON RD
                                                                                BERKELEY, CA 94720



ERNI ELECTRONICS INC                      ERNST & YOUNG LLP                     ERNST & YOUNG LLP
ATTN PRESIDENT                            3200 BEECHLEAF CT, STE 700            ATTN PHIL GAROFOLO
2201 WESTWOOD AVE                         RALEIGH, NC 27604-1063                4130 PARKLAKE AVE, STE 500
RICHMOND, VA 23230                                                              RALEIGH, NC 27612




ERNST & YOUNG TAX ADVISORY SERVICES       ERNST & YOUNG TAX ADVISORY SERVICES   ERP INTEGRATED SOLUTIONS LLC
35E AVENUE JOHN F. KENNEDY                9F NO.333 SEC. 1, KEELUNG ROAD        DBA SHIPERP
LUXEMBOURG 1855                           TAIPEI 11212                          ATTN DIR OF SALES & BUS DEV
LUXEMBOURG                                TAIWAN                                5000 AIRPORT PLAZA DR, STE 230
                                                                                LONG BEACH, CA 90815



ERP OPERATING LP                          ERP POWER LLC                         ERP SEMINARS
ATTN VICE PRESIDENT                       ATTN VP BUSINESS DEV                  ATTN PRESIDENT
2 N RIVERSIDE PLZ, STE 400                301 SCIENCE DR, STE 210               16504 BADMINTON RD N
CHICAGO, IL 60606                         MOORPARK, CA 93021                    PLATTEVILLE, CO 80651




ERS ELECTRONIC GMBH                       ERTE SAS                              [NAME REDACTED]
STETTINER STR. 3                          ATTN PRES                             [ADDRESS REDACTED]
GERMERING 82110                           ZA LES PRES BASQUES
GERMANY                                   14 RUE DE LA TRUIE QUI FILE
                                          SACLAY 91400 FRANCE



ERW LIGHTING & CONTROLS INC               [NAME REDACTED]                       ES INVESTMENTS LLC
ATTN JAY PACHL                            [ADDRESS REDACTED]                    DBA SUN MICROSTAMPING TECHNOLOGIES
505 3RD AVE W                                                                   ATTN VP, SALES & ENGINEERING
SEATTLE, WA 98119                                                               14055 US HWY 19 N
                                                                                CLEARWATER, FL 33764
                 Case
E-S PLASTIC PRODUCTS LLC 25-90163    Document
                                        ES WEST87  Filed
                                                COAST LLC in TXSB on 07/03/25 ES&H
                                                                                Page  269 ofLLC.
                                                                                   OF DALLAS, 944
809 MOHR AVE                             ATTN GEN MGR                         2802 FLINT ROCK TRACE
WATERFORD, WI 53185                      7100 S LONGE ST, 300                 LAKEWAY, TX 78738-1743
                                         STOCKTON, CA 95206




ESA - ESTEC                              ESAB AB                              ESBRIGHT LIGHTING SYSTEM LTD
POSTBUS 299                              LINDHOLMSALLEN 9                     ATTN DENIS, WIN
NOORDWIJK 2200 AG                        BOX 8004                             1ST XINHANG RD
NETHERLANDS                              GOTHENBURG SE-402 77                 WEST HI TECH ZONE
                                         SWEDEN                               CHENGDU, SICHUAN 610000 CHINA



[NAME REDACTED]                          ESCHBACH NORTH AMERICA INC           E-SCIENCE INC
[ADDRESS REDACTED]                       ATTN MANAGING DIR                    ATTN PRESIDENT
                                         40 E MAIN ST, STE 2700               596 SCHOMMER DR, STE 100
                                         NEWARK, DE 19711-4639                HUDSON, WI 54016




ESCO LIGHTING INC                        [NAME REDACTED]                      ESCREEN INC
ATTN SALES SUPPORT                       [ADDRESS REDACTED]                   8140 WARD PKWY, STE 300
3254 N KILBOURN                                                               KANSAS CITY, MO 64114
CHICAGO, IL 60641




ESCREEN INC                              ESCROWTECH INTERNATIONAL INC         ESCROWTECH INTERNATIONAL INC
C/O ABBOTT LABORATORIES                  3290 W MAYFLOWER WAY                 ATTN VP
ATTN DVP, ABBOTT RAPID DIAGNOSTICS       LEHI, UT 84043                       C7 DATA CENTER BLDG
LEGAL                                                                         333 SOUTH 520 WEST, STE 230
100 ABBOTT PARK RD                                                            LINDON, UT 84042
ABBOTT PARK, IL 60064-3500


ESEC USA INC                             ESI INC                              ESI NORTH AMERICA INC
ATTN APPLICATIONS MGR                    4696 DEVITT DR                       ATTN COO
2501 SCHREFFELIN RD, STE 114             CINCINNATI, OH 45246                 3260 W 12 MILE, STE 350
APEX, NC 27540                                                                FARMINGTON HILLS, MI 48334




ESIEE                                    [NAME REDACTED]                      ESKILSTUNA ELEKTRONIK PARTNER AB
ATTN CHERCHEUR ENSEIGNANT                [ADDRESS REDACTED]                   ATTN PROJECT MANAGER
2, BD BLAISE PASCAL                                                           P.O. BOX 93
NOISY LE GRAND CEDEX 93162                                                    ESKILSTUNA 63102
FRANCE                                                                        SWEDEN



ESKIN SALES CO                           ESKO-GRAPHICS INC                    ESL ELECTRO-SCIENCE
ATTN PRESIDENT                           ATTN VP, FINANCE                     ATTN DIRECTOR, TECHNICAL SERVICE
28050 GATES MILLS BLVD                   8535 GANDER CREEK DR                 416 EAST CHURCH RD
PEPPER PIKE, OH 44124                    MIAMISBURG, OH 45342                 KING OF PRUSSIA, PA 19406




ESOP MANAGEMENT AND TRUST SERVICES       ESP LLC                              ESPEC
25 EFAAL STREET                          ATTN PRESIDENT                       4141 CENTRAL PARKWAY
PETAH TIKVA 4951125                      835 W 41TH ST S                      HUDSONVILLE, MI 49426-7828
ISRAEL                                   TULSA, OK 74107




ESPICORP INC                             [NAME REDACTED]                      ESPOWER SOLUTION INC
DBA ESPI METALS                          [ADDRESS REDACTED]                   ATTN SR MANAGER
ATTN PRES                                                                     SUDO BLDG, 2-8-15 HIGASHIKANDA
1050 BENSON WAY                                                               CHIYODA-KU
ASHLAND, OR 97520                                                             TOKYO 101-00031 JAPAN
[NAME REDACTED] Case 25-90163   Document   87 FiledSYSTEMS
                                   ESS - ENGINEERED  in TXSB on 07/03/25 ESS
                                                                           Page  270 of 944
                                                                             TECHNOLOGIES INC
[ADDRESS REDACTED]                  AND SERVICES INC                      ATTN VP
                                    1004 TOBIANO LANE                     3160 STATE ST
                                    RALEIGH, NC 27614-8359                BLACKSBURG, VA 24060




[NAME REDACTED]                     ESSENTIAL ENGINEERING COMPANY PLLC    ES-SYSTEM SA
[ADDRESS REDACTED]                  1668 CRAWFORD DAIRY ROAD              UL. PRZEMYGKOWAZ 2
                                    CHAPEL HILL, NC 27516-5064            KRAKOW 30-701
                                                                          POLAND




[NAME REDACTED]                     ESTEE LAUDER INC                      [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN VP-GLOBAL INDIRECT PROC          [ADDRESS REDACTED]
                                    767 5TH AVE
                                    NEW YORK, NY 10153




[NAME REDACTED]                     ESTES EXPRESS LINES                   [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN VP, PRICING & TRAFFIC            [ADDRESS REDACTED]
                                    3901 W BROAD ST
                                    RICHMOND, VA 23230




[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     ESTRIN CALABRESE SALES AGENCY INC     ESWN ENGINEERING LTD
[ADDRESS REDACTED]                  ATTN PRESIDENT                        FLAT 2C, FUNG WAH INDUST BLDG
                                    17 S MAIN ST, STE 3                   646 CASTLE PEAK RD, CHEUNG SHA WAN
                                    MANVILLE, NJ 08835                    KOWLOON
                                                                          HONG KONG



ET SOUND ENTERPRISES PTE LTD        ETA DEVICES                           ETA PLUS ELECTRONIC GMBH
ATTN MANAGER                        78 FULLER ST                          ATTN MANAGING DIR
107 KAKI BUKIT AVE 1                BROOKLINE, MA 02446                   LAUTERSTASSE 29
SHUN LI INDUSTRIAL PARK                                                   NURTINGEN D-72622
SINGAPORE 415988 SINGAPORE                                                GERMANY



ETB CORP                            ETC BROKERAGE SERVICES (3505)         ETCH LOGIC LLC
135 GUY LOMBARDO AVE                ATT PROXY MGR                         ATTN SALES ENGINEERING MGR
FREEPORT, NY 11520                  1 EQUITY WAY                          1840 COUNTY ST
                                    WESTLAKE, OH 44145                    ATTLEBORO, MA 02703




ETECH AG                            ETERNAL EAST CROSS BORDER COACH       ETES
ATTN CHAIRMAN DELEGATE              MGT LTD                               ATTN DIRECTOR
WAGISTRASSE 6, SCHLIEREN            ATTN SALES MANAGER                    2F DANG JEONG DONG 9 NONGSHIM-RO
ZURICH CH-8952                      SHOP C, SHANGHAI MANSION, GROUND FL   59 BEON-GIL
SWITZERLAND                         380-390 A SHANGHAI ST, MONGKOK        GUNPO, GYEONGGI-DO SOUTH KOREA
                                    KOWLOON HONG KONG
                  CaseLLC
E-TEXENERGY SOLUTIONS  25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                         ETG CORPORATION                       Page  271 of 944
                                                                                   REDACTED]
ATTN EVP                                  ATTN BERNIE ESHEL                     [ADDRESS REDACTED]
4811 NOLDA ST                             8599 VENICE BLVD, UNIT K
HOUSTON, TX 77007                         LOS ANGELES, CA 90034




ETI SA                                    [NAME REDACTED]                       [NAME REDACTED]
ATTN MANAGING DIR                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]
PASEO JOHN LENNON, 9
GETAFE, MADRID 28906
SPAIN



ETM ELECTROMATIC INCORPORATED             ETO INC                               E-TOOL INC
ATTN VP                                   ATTN GM                               ATTN MANAGER
35451 DUMBARTON CT                        25 BELLOWS ST                         870 68TH AVE
NEWARK, CA 94560                          WARWICK, RI 02888                     MINNESOTA CITY, MN 55959




ETQ LLC                                   ETRA SEMICONDUCTORS (SUZHOU) CO LTD   ETRI BROADCASTING &
700 DISTRICT AVENUE SUITE 800             ATTN NPI MANAGER                      TELECOMMUNICATIONS-
BURLINGTON, MA 01803-5052                 ROOM E-1503, BLDG E                   CONVERGENCE RESEARCH LAB
                                          NUSP, NO. 388, RUOSHUI RD             SATELLITE & WIRELESS DEPT
                                          CHINA                                 138 GAJEONGNO, YUSEONG-GU
                                                                                DAEJEON 305-700 SOUTH KOREA


ETS SOLUTIONS LLC                         [NAME REDACTED]                       [NAME REDACTED]
ATTN NATIONAL SALES MGR                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]
820 N LESUEUR
MESA, AZ 85203




[NAME REDACTED]                           ETUDES ET PRODUCTIONS SCHLUMBERGER    EURNORTECH GMBH
[ADDRESS REDACTED]                        ATTN MANAGING DIR                     ATTN MD
                                          1 RUE HENRI BECQUEREL, BP 202         MUENCHNER STR 3
                                          CLAMART CEDEX 92142                   OBERPFRAMMERN 85667
                                          FRANCE                                GERMANY



EURO TECH SALES LLC                       EUROAMERICAN PLASTICS INC             EUROCENTRA INC
ATTN MG DIRECTOR                          120 SAINT CHARLES AVE                 ATTN PRODUCT MGR
165 HOLBROOK RD S                         FLORA, MS 39071-9641                  801 CIRCLE AVE
BURLINGTON, VT 05403                                                            FOREST PARK, IL 60130




EUROCOMP ELECTRONIK GMBH                  EUROCOMP ELECTRONIK GMBH              EUROCOMPOSANT S.A.
ATTN CEO & OWNER                          ATTN CEO & OWNER                      ATTN PRESIDENT
NOERDLICHER PARK 17                       TERRASSENSTRASSE 4                    144 AVE JOSEPH KESSEL
BAD NAUHEIM D-61231                       BAD NAUHEIM D-61231                   VOISINS-LE-BRETONNEUX 78960
GERMANY                                   GERMANY                               FRANCE



EUROFINS EAG ENGINEERING SCIENCE LL       EUROFINS EAG MATERIALS SCIENCE LLC    EUROLITES SPA
2710 WALSH AVENUE                         103 COMMERCE BLVD.                    ATTN DIR
SANTA CLARA, CA 95051-0963                LIVERPOOL, NY 13088-4507              STRADA DEL CASCINOTTO,165
                                                                                TORINO 10156
                                                                                ITALY



EURONES CONSUMER PROD TESTING SVC         EUROPE DISPLAYS INC                   EUROPEAN BUSINESS PRESS SA
CO LTD                                    1528 LANGHAM, STE 200                 ATTN PRESIDENT
ATTN REGIONAL MGR                         HEATHROW, FL 32746                    CHAUSSEE DE LOUVAIN 533
3F HUIFENG BLDG, NO 77, HETIOM AVE                                              LASNE 1380
HOUJIE TOWN                                                                     BELGIUM
DONGGUAN, GUANGDONG 523962 CHINA
                 Case 25-90163
EUROPEAN SPACE AGENCY, THE       Document 87 GMBH
                                    EUROWINGS Filed in TXSB on 07/03/25 [NAME
                                                                          Page  272 of 944
                                                                              REDACTED]
KEPLERLAAN 1                         C/O UNITED AIRLINES                [ADDRESS REDACTED]
NOORDWIJK 2200 AG                    ATTN VP SALES, THE AMERICAS
NETHERLANDS                          233 S WACKER DR, 16TH FL-HQSVS
                                     CHICAGO, IL 60606



EUTECNICS                            [NAME REDACTED]                    EV GROUP INC
ATTN EXEC VICE PRESIDENT             [ADDRESS REDACTED]                 7700 SOUTH RIVER PARKWAY
30 NAGOG PARK                                                           TEMPE, AZ 85284-1808
ACTON, MA 01720




EV GROUP INC                         [NAME REDACTED]                    EVAN ANALYTICAL GROUP LLC
ATTN VP & GM                         [ADDRESS REDACTED]                 ATTN DIRECTOR
1210 PONTIAC AVE                                                        810 KIFER RD, CORP HQ
CRANSTON, RI 02920                                                      SUNNYVALE, CA 94086




[NAME REDACTED]                      EVANS EAST                         EVANS EQUIPMENT COMPANY
[ADDRESS REDACTED]                   ATTN EXEC DIR                      ATTN OPERATIONS MGR
                                     104 WINDSOR CENTER, STE 101        10779 SATELLITE BLVD
                                     EAST WINDSOR, NJ 08520             ORLANDO, FL 32837




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      EVANS, EMILY M                     [NAME REDACTED]
[ADDRESS REDACTED]                   2929 GRANDVIEW HEIGHTS LN          [ADDRESS REDACTED]
                                     RALEIGH, NC 27614




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163         Document 87INSURANCE
                                         EVANSTON   Filed inCO
                                                             TXSB on 07/03/25 EVAPCO
                                                                                Page(SHANGHAI)
                                                                                     273 of 944REFRIG EQPT CO LTD
[ADDRESS REDACTED]                        ATTN EXEC UNDERWRITER                 1159 LUONING RD
                                          10 PKWY N                             BOASHAN IND ZONE, BAOSHAN QU
                                          DEERFIELD, IL 60015                   SHANGHAI 200949
                                                                                CHINA



EVAPORATED COATINGS INC                   EVATEC NA INC                         EVE UAM LLC
ATTN PRESIDENTE                           780 LAKE CARILLON PARKWAY SUITE 150   ATTN HEAD OF PROCUREMENT
2365 MARYLAND RD                          SAINT PETERSBURG, FL 33716-1106       276 W 34TH ST
WILLOW GROVE, PA 19090                                                          FORT LAUDERDALE, FL 33315




[NAME REDACTED]                           EVENT STRATEGY GROUP LTD              EVER POWER LIGHTING EQUIPMENT CO LTD
[ADDRESS REDACTED]                        1974 SPROUL ROAD SUITE 200            ATTN C S WEN
                                          BROOMALL, PA 19008-3402               10F, NO 651-3, ZHONGZHENG RD
                                                                                XINZHAUNG DIST
                                                                                NEW TAIPEI CITY TAIWAN



EVERBEING INTL CORP                       EVERBRIDGE INC                        EVERBRITE LLC
NO. 1 JINSHAN 2ND ST.                     155 NORTH LAKE AVENUE SUITE 900       ATTN VP
HSINCHU 30080                             PASADENA, CA 91101-1849               4949 S 110TH ST
TAIWAN                                                                          GREENFIELD, WI 53228




EVERCLEAR TECHNOLOGIES INC                EVEREST INDEMNITY INS. CO.            EVEREST NATIONAL INSURANCE COMPANY
8214 MARVINO LN                           WARREN CORPORATE CENTER               ATTN VP
RALEIGH, NC 27613-6973                    100 EVEREST WAY                       100 EVEREST WAY
                                          WARREN, NJ 07059                      WARREN, NJ 07059




EVERETT CHARLES TECHNOLOGIES INC          EVERETT CONSULTING LLC                [NAME REDACTED]
ATTN VP R&D                               ATTN WILLIAM EVERETT                  [ADDRESS REDACTED]
700 E HARRISON AVE                        2101 PRESCOTT PL
POMONA, CA 91767                          RALEIGH, NC 27615




[NAME REDACTED]                           [NAME REDACTED]                       EVERGREEN INNOVATION GROUP LLC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    ATTN GENERAL MGR
                                                                                1801 J ST
                                                                                SACRAMENTO, CA 95765




EVERGREEN INVESTMENT MANAGEMENT           EVERGREEN LASER CORPORATION           EVERGREEN SOLUTIONS INC
CO LLC                                    ATTN SALES & MKTG MNGR                11210 WEST HWY 290SUITE B150
ATTN EXEC MANAGING DIRECTOR               9G COMMERCE CIR                       AUSTIN, TX 78737-1932
401 S TRYON ST                            DURHAM, CT 06422
CHARLOTTE, NC 28202



EVERLIGHT AMERICAS INC                    EVERLIGHT ELECTRONICS CO LTD          EVERLIGHT ELECTRONICS CO LTD
ATTN VICE PRESIDENT                       ATTN HENRY HSU                        ATTN WILLIAM CHU
3220 COMMANDER DR, 100                    NO.6-8, ZHONGHUA RD                   25, LANE 76, SEC 3, CHUNG YANG RD
CARROLLTON, TX 75006                      SHULIN DIST                           TU CHENG 236
                                          NEW TAIPEI CITY 23860 TAIWAN          TAIPEI TAIWAN



EVERLIGHTING SEMITECH (SHANGHAI) CO       EVERMORE ENTERPRISE (ZHEJIANG) LTD    [NAME REDACTED]
LTD                                       NO. 27, XIANXING RD, XIANLIN          [ADDRESS REDACTED]
ATTN GENERAL MGR                          YUHANG, HANGZHOU
2F, BLDG 5, NO 166 MINDONG RD             ZHEJIANG
PUDONG                                    CHINA
SHANGHAI 201209 CHINA
                Case 25-90163
EVERSOURCE ENERGY                       Document
                                           EVIDENT87  Filed INC.
                                                  SCIENTIFIC, in TXSB on 07/03/25 EVIDENT
                                                                                    PageTECHNOLOGIES
                                                                                          274 of 944 INC
ATTN PROGRAM MGR                            48 WOERD AVE                            ATTN CEO
247 STATION DR                              WALTHAM, MA 02453-3824                  216 RIVER ST, STE 200
WESTWOOD, MA 02090                                                                  TROY, NY 12180




EVOLIGHT SRL                                EVOLUCIA LIGHTING                       EVOLUTION LIGHTING CO LTD
VIA PRESENTI 78/17, MEDOLE                  ATT VP GLBL LOGISTICS & BUSINESS DVPT   ATTN GENERAL MANAGER
MANTOVA 46046                               6408 PARKLAND DR, STE 104               JIU ZHOU JI INDUSTRIAL ZONE
ITALY                                       SARASOTA, FL 34243                      XIOALAN TOWN
                                                                                    ZHONGSHAN CITY CHINA



EVOLUTION LIGHTING CO LTD                   EVOLVO SRL                              EVONIK CYRO LLC
ATTN MANAGER                                VIA FEDERICO MARINETTI N 6              ATTN PRESIDENT
NO 12, YU CHENG 1ST RD                      GROTTAFERRATA, RM 00046                 299 JEFFERSON RD
TAI FENG INDUSTRIAL DIST, XIALAN TOWN       ITALY                                   PARSIPPANY, NJ 07054
ZHONGSHAN, GUANGDONG CHINA



EVONIK DEGUSSA CORPORATION                  EVONIK DEGUSSA GMBH                     EVOQUA WATER TECHNOLOGIES LLC
ATTN VP MKTG, NAFTA                         ATTN IP-MANAGER                         1301 SOUTH BRIGGS AVENUE SUITE 116
379 INTERPACE PKWY                          RODENBACHER CHAUSSEE 4                  DURHAM, NC 27703-5070
PARSIPPANY, NJ 07054-0677                   P.O. BOX 1345
                                            HANAU 63403 GERMANY



EVOTEC                                      EVT LLC                                 EVTRONIC
ATTN TECHNICAL MNG                          ATTN MANAGING MEMBER                    ATTN R&D ENGINEER
ELLISPONTOU 7                               237 TIMBERRIDGE DR                      156 AV JEAN JAURES
THESSALONIKI 55132                          SPRINGFIELD, IL 62702                   PESSAC 33600
GREECE                                                                              FRANCE



[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                             EWINGS SRL                              EWO SRL
[ADDRESS REDACTED]                          ATTN RF TECHNICAL LEADER                ATTN PRESIDENT
                                            VIA BOLDRINI 24                         VIA DELLADIGE 15
                                            BOLOGNA 40121                           CORTACCIA (BZ) 39040
                                            ITALY                                   ITALY



[NAME REDACTED]                             EXACT INC                               EXACTAFORM CUTTING TOOLS LTD
[ADDRESS REDACTED]                          ATTN VP                                 ATTN BUSINESS DEV MGR
                                            5285 RAMONA BLVD                        UNIT G2, LITTLE HEATH IND ESTATE
                                            JACKSONVILLE, FL 32205                  OLD CHURCH RD, COVENTRY
                                                                                    WEST MIDLANDS CV6 7ND UNITED KINGDOM



EXAIR CORPORATION                           EXAMINETICS INC                         EXATRON INC
ATTN PRES                                   10561 BARKLEY PLACE                     2842 AIELLO DRIVE
11510 GOLDCOAST DR                          OVERLAND PARK, KS 66212-1860            SAN JOSE, CA 95111-2154
CINCINNATI, OH 45249




EXCEL AUTOMATION LLC                        EXCEL CONNECTION INC                    EXCEL CONTROLS INC
2967 NATIONWIDE PKWY                        ATTN SALES MGR                          DBA SIGNAWORKS
BRUNSWICK, OH 44212-2300                    5415 S 9TH ST                           ATTN SALES LEAD
                                            MILWAUKEE, WI 53221                     3046 HOME RD
                                                                                    POWELL, OH 43065
EXCEL TECHNOLOGIESCase
                    INC 25-90163      Document  87NOBLELIGHT
                                         EXCELITAS  Filed in TXSB
                                                             AMERICAon
                                                                     LLC07/03/25 EXCELITAS
                                                                                   Page 275   of 944 CORP
                                                                                           TECHNOLOGIES
ATTN COO                                  ATTN SALES VP/GENERAL MGR            ATTN OPERATIONAL MGR
99 PHOENIX AVE                            910 CLOPPER RD                       160 E MARQUARDT DR
ENFIELD, CT 06082                         GAITHERSBURG, MD 20878               WHEELING, IL 60090




EXCELITAS TECHNOLOGIES CORP               EXCELITAS TECHNOLOGIES CORP          EXCELL TECHNOLOGY INC
ATTN VP                                   C/O LUMEN DYNAMICS GROUP INC         ATTN PRESIDENT
44370 CHRISTY ST                          ATTN CONTROLLER                      1001 VARIAN ST
FREMONT, CA 94538                         200 W ST, STE E403                   SAN CARLOS, CA 94070
                                          WALTHAM, MA 02451



EXCELLENCE OPTOELECTRONICS INC            EXCELLENCE OPTOELECTRONICS INC       EXCELPOINT SYSTEMS (PTE) LTD
ATTN PRESIDENT                            ATTN QS/CS MANAGER                   9920 PACIFIC HEIGHTS BLVD
5F, NO. 1, CREATION RD 2                  NO 2 KEDONG 1ST RD, CHUNAN TOWN      STE 150
HSINCHU SCIENCE PARK                      MIAOLI CTY HSINCHU SCIENCE PARK      PMB 9653
HSINCHU 30077 TAIWAN                      MIAOLI 35053 TAIWAN                  SAN DIEGO, CA 92121



EXCELPOINT SYSTEMS (PTE) LTD              EXCITING EVENTS                      EXCITON INC
ATTN: STANLEY CHAN, SVP OF OPERATIONS     ATTN TODD SCHEEL                     ATTN PRESIDENT
15 CHANGI BUSINESS PARK CENTRAL 1 06-00   2020 S CALHOUN RD                    400 LINDEN AVE
SINGAPORE 486057                          NEW BERLIN, WI 53151                 DAYTON, OH 45403
SINGAPORE



EXCLARA INC                               EXEC BENEFITS -MILWAUKEE LLC         EXEC-TEK SOLUTIONS INC
ATTN VP MKTG                              ATTN PRESIDENT                       ATTN PRESIDENT
3920 FREEDOM CIR, STE 102                 4601 W 6TH ST, STE B                 1825 PONCE DE LEON BLVD, STE 557
SANTA CLARA, CA 95054                     LAWRENCE, KS 66049                   CORAL GABLES, FL 33134




EXECUTIVE ALLIANCE CORP                   EXECUTIVE DRIVE EVENTS LLC           EXECUTIVE SEARCH PARTNERS LTD
ATTN PRINCIPAL CONSULTANT                 137 2ND AVE                          ATTN VICE PRESIDENT
33 BOXTON POST RD W, STE 100              NIWOT, CO 80544                      322 E MICHIGAN ST, STE 502
MARLBOROUGH, MA 01752                                                          MILWAUKEE, WI 53202




EXEL MIXDEAL SA                           EXELIS INC                           EXELIS INC
ATTN DERRICK A CHRISTENSEN, PRES          ATTN PROCUREMENT MGR                 ATTN SR SUB CONTRACT ADMIN
JUAN AGUSTIN GARCIA 4047                  1919 W COOK RD                       7821 ORION AVE
CIUDAD AUTONOMA DE BUENOS AIRES           FORT WAYNE, IN 46801                 VAN NUYS, CA 91406
C1407FWO ARGENTINA



EXHIBIT RESOURCES                         EXHIBIT RESOURCES                    EXITECH INC
ATTN ACCOUNT EXEC                         ATTN PROJECT MGR                     ATTN PRESIDENT
3707 NEIL ST                              7521 EXHIBIT CT                      1125 E HILLSDALE BLVD
RALEIGH, NC 27607                         RALEIGH, NC 27617                    FOSTER CITY, CA 94404




EXONE COMPANY, THE                        EXONIC SYSTEMS CORP                  EXOPHOS
ATTN CFO                                  ATTN CFO                             ATTN TECHNICAL MGR
127 INDUSTRY BLVD                         149 DELTA DR                         K THEOTOKOY 1, ALIMOS
NORTH HUNTINGDON, PA 15642                PITTSBURGH, PA 15238                 ATHENS 17455
                                                                               GREECE



EXOTECH INC                               EXP US SERVICES INC                  EXPEDIA CORPORATE TRAVEL LLC
ATTN VICE PRESIDENT                       2601 WESTHALL LN                     ATTN SVP ECT NORTH AMERICA
1851 BLOUNT RD                            MAITLAND, FL 32761                   3150 139TH AVE SE, STE 200
POMPANO BEACH, FL 33069                                                        BELLEVUE, WA 98005
EXPEDT INC         Case 25-90163     Document 87
                                        EXPEREO    Filed
                                                ESPANA   in TXSB on 07/03/25 EXPERIOR
                                                       SLU                     Page 276   of 944 INC
                                                                                      LABORATORIES
ATTN HERNAN GONI & SABRINA MOHANNA       PLAZA EUROPA 29-31, 5TH FLOOR.       ATTN CUSTOMER SERVICE
801 S FIGUEROA ST, STE 1000              LHOSPITALET DE LLOBREGAT 08908       1635 IVES AVE
LOS ANGELES, CA 90017                    SPAIN                                OXNARD, CA 93033




EXPERIS US INC                           EXPONATION LLC                       EXPORLUX ILUMINACAO SA
ATTN MGR, BUS DEVELOPMENT                1405 OLD ALABAMA RD, STE 120         ATTN CTO
7300 W 110TH ST, STE 800                 ROSWELL, GA 30076                    COVAO - APARTADO 379
OVERLAND PARK, KS 66210                                                       AGUEDA 3754-909
                                                                              PORTUGAL



EXPOSURE CONTROL TECHNOLOGIES INC        EXPRESS DRY CLEANING INC             EXPRESS EMPLOYMENT PROFESSIONALS
ATTN VP OF SERVICES & PRODUCTS           ATTN OWNER                           ATTN JOHN CALABRESE
231-C E. JOHNSON ST                      4003 DURAND AVE                      520 SENECA ST, STE 103
CARY, NC 27513                           RACINE, WI 53405                     UTICA, NY 13502




EXPRESS IMAGING SYSTEMS LLC              EXPRESS IMAGING SYSTEMS LLC          EXPRESS INC
ATTN PRES/CEO                            DBA EVLUMA                           ATTN CHIEF EXECUTIVE OFFICER
624 RAINIER AVE S                        ATTN VP SALES & MKTG                 9155 TRADE PL
SEATTLE, WA 98144                        3600 LIND AVE SW, STE 140            SAN DIEGO, CA 92126
                                         RENTON, WA 98057



EXPRESS LOGISTICS SERVICES LLC           EXPRESS SERVICES INC                 EXPRESS SERVICES INC
4651 121ST ST                            520 SENECA ST, STE 103               DBA EXP EMPLOYMENT PROFESSIONALS
URBANDALE, IA 50323                      UTICA, NY 13502                      ATTN LORETTA OLSON
                                                                              1300 S GREEN BAY, STE 200
                                                                              RACINE, WI 53406



EXPRESSIONS OF LOVE FLORIST              EXQUISITE ELECTRONIC PRODUCTS INC    EXTEL INSIGHTS LLC
1501 LAKESTONE VILLAGE LN                DBA ECC EFFICIENT PRODUCTS           1270 AVENUE OF THE AMERICAS, SUITE
FUQUAY-VARINA, NC 27526-4448             ATTN CHIEF MKTG OFFICER              NEW YORK, NY 10020
                                         7638 COUNTY RD 4807
                                         LADONIA, TX 75449



EXTOL INC                                EXTREME BOLT & FASTENER LLC          EXXONMOBIL GLOBAL SERVICES COMPANY
ATTN ITS PRESIDENT                       ATTN OWNER                           ATTN DATA ANALYTICS & TECH MGR
651 CASE KARSTEN DR                      208 E MAIN ST, STE 107               1725 HUGHES LANDING BLVD
ZEELAND, MI 49464                        NEWARK, DE 19711                     E 02 N268
                                                                              THE WOODLANDS, TX 77380



EXXONMOBIL PETROLEUM & CHEMICAL          EXYTE TECHNOLOGY GMBH                EXYTE U.S. INC.
ATTN MOHAMED ZIDAN                       ROSINE-STARZ-STRASSE 2-4             JEREMY HOLDEN
REG PROC SVC ADVISOR                     RENNINGEN 71272                      3400 NORTH CENTRAL EXPRESSWAY
HERMESIAAN 2, MACHELEN                   GERMANY                              SUITE 525
BRUSSELS B-1831 BELGIUM                                                       RICHARDSON, TX 75080



EXYTE U.S. INC.                          EXYTE U.S., INC.                     EXYTE US INC
NAPIERSKI, VANDERBURGH, NAPIERSKI &      GENERAL COUNSEL                      ATTN JIM DAVIS, VP
O’CONNOR, LLP                            1001 KLEIN ROAD, SUITE 400           201 FULLER RD, STE 401
SHAWN F. BROUSSEAU                       PLANO, TX 75074                      ALBANY, NY 12203
296 WASHINGTON AVENUE EXTENSION, STE
3
ALBANY, NY 12203

[NAME REDACTED]                          EYE LIGHTING INTL OF NORTH AMERICA   EYEMED
[ADDRESS REDACTED]                       ATTN PR & COO                        LUXOTTICA PLACE, 4000
                                         9150 HENDRICKS RD                    CINCINNATI, OH 45040-8114
                                         MENTOR, OH 44060
EZ EXPORT INC     Case 25-90163 Document
                                   E-Z RED 87  Filed in TXSB on 07/03/25 [NAME
                                           COMPANY                         Page  277 of 944
                                                                               REDACTED]
                                       ATTN PRESIDENT                        [ADDRESS REDACTED]
                                       8 LEONARD WAY
                                       DEPOSIT, NY 13754




E-Z-HOOK DIV OF TEKTEST INC.           EZ-R STATS LLC                        EZTRACKIT INC
5108 AZUSA CANYON RD.                  ATTN MICHAEL BLAKLEY                  19266 COASTAL HWT UNIT 4 6
BALDWIN PARK, CA 91706-1846            108 FALLSWORTH DR                     REHOBOTH BEACH, DE 19971-6117
                                       CARY, NC 27513




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




F&H APPLIED SCIENCE ASSOCIATES INC     F&K DELVOTEC BONDTECHNIK GMBH         F.LUX SOFTWARE LLC
ATTN PRESIDENT                         ATTN VP, OPERATIONS                   ATTN CO-FOUNDER
900 BRIGGS RD                          DAIMLERSTRASSE 5-7                    929 S GRETNA GREEN WAY
MT LAUREL, NJ 08054                    OTTOBRUNN 85521                       LOS ANGELES, CA 90049
                                       GERMANY



F.W. WEBB COMPANY                      [NAME REDACTED]                       FABBIAN ILLUMINAZIONE SPA
160 MIDDLESEX TURNPIKE                 [ADDRESS REDACTED]                    ATTN PRESIDENT
BEDFORD, MA 01730-1416                                                       VIA SANTA BRIGIDA
                                                                             CASTELMINIO DI RESANA (TV) 31020
                                                                             ITALY



[NAME REDACTED]                        FABEXCHANGE INC                       FABRICATED METAL PRODUCTS COMPANY
[ADDRESS REDACTED]                     ATTN EXECUTIVE DIRECTOR               INC
                                       4040 CLIPPER CT                       ATTN CFO
                                       FREMONT, CA 94538                     3240 E VAN NORMAN AVE
                                                                             CUDAHY, WI 53110



FABRICATED METAL PRODUCTS INC          FABRICATED METALS CORP                FABRICATED METALS CORPORATION
ATTN CHIEF EXECUTIVE OFFICER           ATTN PRESIDENT                        DBA STRONG HOLD PRODUCTS
12510 W LISBON RD                      P.O. BOX 9535                         P.O. BOX 9043
BROOKFIELD, WI 53005-1887              LOUISVILLE, KY 40209                  LOUISVILLE, KY 40209




FABRICATION CONCEPTS INC               FABRIK INDUSTRIES INTERNATIONAL INC   FABRIK MOLDED PLASTICS INC
DBA MICROPROCESS TECHNOLOGIES          DBA FABRIK MOLDED PLASTICS            5213 PRIME PKWY
ATTN PRESIDENT                         5213 PRIME PKWY                       MCHENRY, IL 60050
920 E BROAD ST                         MCHENRY, IL 60050
TAMAQUA, PA 18252



FABRINET CO LTD                        FABRINET CO. LTD.                     FABRINET WEST INC.
ATTN CSABA SVERHA, CFO                 ATTN: CSABA SVERHA                    4900 PATRICK HENRY DRIVE
5/6 MOO 6, SOI KHUNPRA, PHAHOLYOTHIN   5/6 MOO 6, SOI KHUNPRA                SANTA CLARA, CA 95054-1822
RD                                     PHAHOLYOTHIN RD
KLONGNUENG, KLONGLUANG                 KLONGNUENG, KLONGLUANG,
PATUMTHANEE 12120 THAILAND             PATUMTHANEE 12120 THAILAND


FABRISONIC LLC                         FABSOUTH LLC                          FABTIME INC.
1250 ARTHUR E ADAMS DR                 ATTN: MICHAEL RUSSELL                 3940-7 BROAD STREET 257
COLOMBUS, OH 43221                     114 E WAREHOUSE CT.                   SAN LUIS OBISPO, CA 93401-7017
                                       TAYLORS, SC 29687-2756
FABWORX SOLUTIONS  Case
                     INC 25-90163   Document 87INCFiled in TXSB on 07/03/25 FACEBOOK
                                       FACEBOOK                               Page 278  of 944 LLC
                                                                                     TECHNOLOGIES
2131 THEO DRIVE SUITE F                 ATTN SAM O ROURKE                      ATTN MARY ANN MATTHEW
AUSTIN, TX 78723-5728                   1601 WILLOW RD                         9845 WILLOWS RD
                                        MENLO PARK, CA 94025                   REDMOND, WA 98052




FACET TECHNOLOGY CORP                   FACHHOCHSCHULE DORTMUND UNIVERSITY     FACILITIES SOLUTIONS GROUP LLC
ATTN CHIEF EXECUTIVE OFFICER            ATTN RECTOR                            ATTN VP
6517 CITY W PKWY                        SONNENSTRASSE 96                       4401 WESTGATE BLVD, STE 310
EDEN PRAIRIE, MN 55344                  DORTMUND 44139                         AUSTIN, TX 78745
                                        GERMANY



FACILITY GRAPHIC SOLUTIONS INC          FACILTYSOURCE LLC                      FACTORY MUTUAL INSURANCE CO
ATTN PRESIDENT                          ATTN PRESIDENT                         3460 PRESTON RIDGE RD, STE 400
10134 N PORT WASHINGTON RD, STE B       200 E CAMPUS VIEW BLVD, STE 301        PRESTON RIDGE III
MEQUON, WI 53092                        COLUMBUS, OH 43235                     ALPHARETTA, GA 30005




FACTORY MUTUAL INSURANCE CO             FACTORY MUTUAL INSURANCE COMPANY       FACULTY OF SCIENCE & TECH SOPHIA
ATTN OPERATIONS MGR                     270 CENTRAL AVE                        UNIVERSITY
270 CENTRAL AVE                         JOHNSTON, RI 02919                     ATTN DEAN, FACULTY SCIENCE & TECH
P.O. BOX 7500                                                                  7-1, KIOI-CHO
JOHNSTON, RI 02919                                                             CHIYODA-KU
                                                                               TOKYO 1028554 JAPAN


[NAME REDACTED]                         FAEL SPA                               [NAME REDACTED]
[ADDRESS REDACTED]                      VIA EURIPIDE 12/14                     [ADDRESS REDACTED]
                                        AGRATE BRIANZA 20041
                                        ITALY




FAGERHULT BELYSNING AB                  FAGERHULT LIGHTING SYSTEM CO LTD       FAGOR ELECTRONICA S COOP
ATTN PURCHASING DIR                     NO 11, WORKSHOP 10, GANGTIAN RD        ATTN DEPT DIRECTOR
AVAGEN 1                                SUZHOU INDUSTRIAL PARK                 BARRIO SAN ANDRES, S/N APDO 33
HABO SE-566 80                          SUZHOU 215021                          MONDRAGON 20500
SWEDEN                                  CHINA                                  SPAIN



[NAME REDACTED]                         FAIRCHILD KOREA SEMICONDUCTOR LTD      FAIRCHILD SEMICONDUCTOR CORPORATION
[ADDRESS REDACTED]                      ATTN DIV EXECUTIVE                     ATTN VP & GM
                                        55, PYEONGCHEON RO, 850BEON GIL        82 RUNNING HILL RD
                                        WONMI-GU                               SOUTH PORTLAND, ME 04106
                                        BUCHEON, GYEONGGI-DO 14523 SOUTH
                                        KOREA


FAIRCHILD SEMICONDUCTOR GMBH            [NAME REDACTED]                        FAIRFIELD IN AND SUITES
ATTN VICE PRESIDENT                     [ADDRESS REDACTED]                     3959 NW 79TH AVE
EINSTEINRING 28                                                                DORAL, FL 33166-6517
ASCHHIEM
MUNCHEN 85609 GERMANY



FAIRFIELD RESOURCES INTERNATIONAL INC   [NAME REDACTED]                        [NAME REDACTED]
ATTN PRESIDENT & CCO                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]
THREE PARKLANDS DR
DARIEN, CT 06820




FAIR-RITE PRODUCTS CORP                 FAIRVESTA MERCATUS VIII GMBH & CO KG   FAIRVIEW MICROWAVE INC
ATTN DIRECTOR OF SALES                  ATTN NORBERT HILLER, MANAGING DIR      ATTN SALES
1 COMMERICAL ROW                        KONRAD-ADENAUR-STRASSE 15              1130 JUNCTION DR, 100
WALLKILL, NY 12589                      TUBINGEN 72072                         ALLEN, TX 75013
                                        GERMANY
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  279 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




FAITH ENTERPRISES INC                    FAITH TECHNOLOGIES INC              [NAME REDACTED]
ATTN PRESIDENT                           225 MAIN ST                         [ADDRESS REDACTED]
2505 PLYMOUTH RD                         P.O. BOX 260
JOHNSON CITY, TN 37601                   MENASHA, WI 54952-0260




FAITH, SARAH                             FAITHFUL & GOULD INC                FAITHFUL & GOULD INC
DBA SARAH FAITH PHOTOGRAPHY              ATTN DIR OF CLIENT SVS              ATTN JOHN PIDGEON
714 BIRCHWOOD DR                         1699 RIVEREDGE PKWY                 4030 W BOY SCOUT BLVD, STE 700
WESTBURY, NJ 11590                       ATLANTA, GA 30328                   TAMPA, FL 33607




FAITHFUL & GOULD INC                     FAK DISTRIBUTION LLC                FALCO ELECTRONICS MEXICO SA DE CV
ATTN LUIS CENTENO, SVP                   ATTN MG DIRECTOR                    ATTN LEGAL REP
45 S 7TH ST, STE 2500                    13701 N LAMAR DR                    23 311 PASEOS DE ITZINCAB
MINNEAPOLIS, MN 55402                    LAREDO, TX 78045                    MERIDA, YUC 97392
                                                                             MEXICO



FALCON ILLUMINATION(M) SDN BHD           FALCON INNOVATIONS LLC              FALCON MACHINE PARTS LLC
ATTN MANAGING DIR                        ATTN JASPREET SINGH SAWHNEY, PRES
45 LEBUH BUKIT KECIL 2                   320 S MAIN ST
TAMAN SRI NIBONG, BAYAN LEPAS            ANN ARBOR, MI 48104
PENANG 11900 MALAYSIA



FALCULTY OF ELECTRONIC ENGINEERING       [NAME REDACTED]                     [NAME REDACTED]
ATTN TEACHING ASSISTANT                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]
ALEKSANDRA MEDVEDEVA 14
NIS 18000
SERBIA



[NAME REDACTED]                          FALVEY CARGO UNDERWRITING LTD       FAMILY SUPPORT REGISTRY GA
[ADDRESS REDACTED]                       ATTN VP                             RE: 960006189 (ORIGINAL)
                                         66 WHITECAP DR                      P.O. BOX 1800
                                         NORTH KINGSTOWN, RI 02852           CARROLLTON, GA 30112




[NAME REDACTED]                          [NAME REDACTED]                     FANG XIAOHU
[ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          FANLIGHT CORP INC                   [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN GEN MGR                        [ADDRESS REDACTED]
                                         2000 S GROVE AVE, B
                                         ONTARIO, CA 91761




FANSWAY SECRETARIAL SERVICES LTD         FANTONI, ALESSANDRA                 FANUC AMERICA CORPORATION
ROOMS 1008-1012, 10/F, K WAH CTR         866 SANFORD CT                      28583 NETWORK PLACE
191 JAVA RD                              SANTA BARBARA, CA 93111             CHICAGO, IL 60673-1285
NORTH POINT
HONG KONG
FANUC CNC AMERICACase
                   CORP 25-90163   Document
                                      FAOD CO87
                                              LTD Filed in TXSB on 07/03/25 FAR
                                                                              Page
                                                                                EAST 280 of 944 KK
                                                                                     ENGINEERING
ATTN FIELD SVC ENGINEER                ATTN GENERAL MANAGER                   10F-1, 86 FU HSING N RD
1800 LAKEWOOD BLVD                     204 SUNGSIN TECHNOPARK 509-7 MAETAN-   TAIPEI 104104
HOFFMAN ESTATES, IL 60192              DONG                                   TAIWAN
                                       YEONTON-GU, SUWON-SI
                                       GYEONGGI-DO SOUTH KOREA


FAR PACKAGING CO,INC.                  FAR SRL                                [NAME REDACTED]
2905 AIR PARK ROAD                     ATTN COO                               [ADDRESS REDACTED]
FUQUAY VARINA, NC 27526-8545           VIA PAMPERSO 6
                                       SILLA DI GAGGIO MONTANO 40040
                                       ITALY



FARACI, MAURO                          FARADAY&FUTURE INC                     [NAME REDACTED]
C DA ORLANDO N 108                     ATTN VP SUPPLY CHAIN                   [ADDRESS REDACTED]
ALCAMO, TP 91011                       18455 S FIGUEROA ST
ITALY                                  GARDENA, CA 90248




[NAME REDACTED]                        [NAME REDACTED]                        FARATRONIC (HONG KONG) CO LTD
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     ATTN GEN MGR
                                                                              UNIT 1605, BLOCK B, KAILEY IND CENTRE
                                                                              12 FAUNG YIP ST
                                                                              CHAI WAN HONG KONG



FARBEN INC                             [NAME REDACTED]                        [NAME REDACTED]
DBA FARBEN POWDER COATING              [ADDRESS REDACTED]                     [ADDRESS REDACTED]
ATTN OFICE ADMIN
31010 SAN CLEMENTE ST
HAYWARD, CA 94544



[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




FARMINGTON CASUALTY COMPANY            FAROLA (HK) LTD                        [NAME REDACTED]
1 TOWER SQ                             RM 1905 NAM WO HONG BLDG               [ADDRESS REDACTED]
HARTFORD, CT 06183-0001                148 WING LOK ST
                                       SHEUNG WAN
                                       HONG KONG



[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]
FARRELL EQUIPMENTCase  25-90163
                  & CONTROLS INC   Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  281 of 944
                                                                                REDACTED]
DBA ASSURED AUTOMATION                 [ADDRESS REDACTED]                    [ADDRESS REDACTED]
ATTN INSIDE SALES
19 WALNUT AVE
CLARK, NJ 07066



[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        FARRWEST ENVIRONMENTAL SUPPLY, INC.   [NAME REDACTED]
[ADDRESS REDACTED]                     108 COMMERCIAL PL                     [ADDRESS REDACTED]
                                       SCHERTZ, TX 78154-3104




FARWISE TECHNOLOGY CO LTD              FAS HOLDINGS GROUP LLC                [NAME REDACTED]
ATTN MGR                               DBA NTACT                             [ADDRESS REDACTED]
DIST C HUAXIN INDUSTRIAL               ATTN CTO
GAOBU TOWN                             10480 MARKISON RD
DONGGUAN CITY 523283 CHINA             DALLAS, TX 75238



[NAME REDACTED]                        [NAME REDACTED]                       FASOO INC.
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    6707 DEMOCRACY BLVD.
                                                                             BETHESDA, MD 20817-1153




FASPRO PRODUCTS INC                    FAST ANALOG LLC                       FASTAP OF NC
ATTN VP ENGINEERING SERVICE            ATTN MEMBER PARTNER                   ATTN OWNER
500 W CAMPUS DR                        2794 LOKER AVE W, STE 105             7221 COLETON PL
ARLINGTON HEIGHTS, IL 60004            CARLSBAD, CA 92010                    CHARLOTTE, NC 28270




FASTCAP SYSTEMS CORP                   FASTECH SYNERGY PHILIPPINES INC       FASTEMP GLASS COMPANY
ATTN GENERAL COUNSEL                   ATTN EXEC DIR                         ATTN CUSTOMER SVC
21 DRYDOCK AVE, 8TH FL E               FASTECH MFG COMPLEX, AMPERE ST COR    930 2ND AVE
BOSTON, MA 02210                       W RD                                  DAYTON, KY 41074
                                       LIGHT INDUSTRY & SCIENCE PARK 1
                                       CABUYAO, LAGUNA 4025 PHILIPPINES


FASTENAL COMPANY                       FASTFIVE CO LTD                       FASTFORMING.COM LLC
21 RAILROAD AVENUE                     10 NAMBUSUNHWAN-RO                    ATTN OFFICE MGR
ALBANY, NY 12205-5951                  333-GIL SEOCHO-GU                     300 MORNING STAR DR
                                       SEOUL 06725                           RITTMAN, OH 44270
                                       SOUTH KOREA



FASTLANE DESIGNS LTD                   FASTMICRO INTERNATIONAL BV            FAT FREE MEDIA
ATTN COMPANY DIRECTOR                  ATTN CHIEF EXECUTIVE OFFICER          ATTN OWNER
16 GOLDSMITH AVE                       SPAARPOT 3                            12381 CRABAPPLE CHASE DR
SOUTHSEA, HAMPSHIRE PO4 8QS            GELDROP 5667 KV                       ALPHARETTA, GA 30004
UNITED KINGDOM                         NETHERLANDS



FATOORECHI, MOHSEN                     [NAME REDACTED]                       [NAME REDACTED]
UNIVERSITY SUSSEX                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
UNIVERSITY SUSSEX
BRIGHTON BN1 6BY
UNITED KINGDOM
FAULKNER HAYNES &Case
                    ASSOC25-90163       Document  87 Filed in TXSB on 07/03/25 FAUSKE
                                           [NAME REDACTED]                       Page& 282 of 944LLC
                                                                                       ASSOCIATES
3400 YONKERS ROAD SUITE 110                 [ADDRESS REDACTED]                     16W070 83RD STREET
RALEIGH, NC 27604-3656                                                             BURR RIDGE, IL 60527-5802




[NAME REDACTED]                             FAVOUR LIGHT ENTERPRISES LTD           FAWN ELECTRONICS COMPANY INC
[ADDRESS REDACTED]                          DBA SHING FUNG METAL FACTORY           ATTN VP OPS
                                            17/F, PERFECT INDUSTRIAL BLDG          100 INDUSTRY CT
                                            31 TAI YAU ST, SAN PO KONG             NASHVILLE, NC 27856
                                            KOWLOON HONG KONG



FAWN PLASTICS                               [NAME REDACTED]                        FAYETTEVILLE ENGG. PLANT
C/O FAWN INDUSTRIES                         [ADDRESS REDACTED]                     534 W. RESEARCH CENTER BLVD
225 INTERNATIONAL CIR, STE 200                                                     FAYETTEVILLE, AR 72701
HUNT VALLEY, MD 21030




FBC SOLUTIONS LLC                           FCI USA INC                            FCO MICROCONNECTIONS
ATTN MANAGER                                ATTN VP, GLOBAL BUS DEV                DBA LINXENS
109 PRESTON PINES DR                        825 OLD TRAIL RD                       ATTN CEO
CARY, NC 27513                              ETTERS, PA 17319                       37 RUE DES CLOSEAUX
                                                                                   MANTES-LA-JOLIE 78200 FRANCE



FCT ASSEMBLY INC                            FCX PERFORMANCE DBA PCI LLC            FEDERAL ARBITRATION INC
ATTN FINANCE MGR                            3000 E. 14TH AVENUE                    4083 TRANSPORT ST, STE B
CIRCUITO DE LA PRODUCTIVIDAD NO 138-5       COLUMBUS, OH 43219-2355                PALO ALTO, CA 94303
PARQUE IND GUADALAJARA
EL SALTO, JAL 45690 MEXICO



FEDERAL DOKUM LTD                           FEDERAL EXPRESS CANADA CORPORATION     FEDERAL EXPRESS CANADA LTD
FEVZI CAKMAK CAD NO 54                      5985 EXPLORER DR                       1950 SARGENT AVE
MALTEPE, ISTANBUL 34844                     MISSISSAUGA, ON L4W 5K6                WINNIPEG, MB R3H 1C8
TURKEY                                      CANADA                                 CANADA




FEDERAL EXPRESS CORP                        FEDERAL EXPRESS SERVICES (MALAYSIA)    FEDERAL HILL SP LLC
3610 HACKS CROSS RD                         SDN BHD                                SERVPRO OF S. DURHAM ORAN
MEMPHIS, TN 38125-8800                      GROUND FL, LOT 4, JALAN BERSATU 13/4   607 ELLIS ROAD
                                            PETALING JAYA                          DURHAM, NC 27703-4027
                                            SELANGOR DARUL EHSAN 46200
                                            MALAYSIA


FEDERAL RESEARCH INST OF                    FEDERAL SIGNAL CORPORATION             FEDERAL SIGNAL VAMA
SEMICONDUCTOR DEVICES                       ATTN SECTION MANAGER                   ATTN ENGINEER MANAGER
ATTN CHIEF OF DEPT                          2645 FEDERAL SIGNAL DR                 DR FERRAN 7
KRASNOARMEYSKAYA STR, 99A                   UNIVERSITY PARK, IL 60466              VILASSAR DE DALT
TOMSK 634034                                                                       BARCELONA 08339 SPAIN
RUSSIA


FEDERAL TECHNOLOGY GROUP                    FEDERAL TOOL & ENGINEERING LLC         FEDERAL WARRANTY SERVICE
ATTN EXEC DIR                               ATTN EXEC VP                           CORPORATION
203 S ENTERPRISE BLVD, STE 4                N52 W5338 PORTLAND RD                  ATTN PRESIDENT
BOZEMAN, MT 59718-6062                      CEDARBURG, WI 53012                    260 INTERSTATE NORTH CIR SE
                                                                                   ATLANTA, GA 30339-2111



FEDERATED MUTUAL INSURANCE CO               FEDEX CORPORATE SERVICES INC           FEDEX FREIGHT
P.O. BOX 328                                60 FED EX PKWY                         ATTN TED RICKS
OWATONNA, MN 55060                          COLLIERVILLE, TN 38017-8711            1544 OLD GREENSBORO RD
                                                                                   KERNERSVILLE, NC 27280
FEDEX INTL FREIGHTCase
                     AGENCY 25-90163
                              SVCS CO LTDDocument   87 Filed
                                            FEDEX OFFICE      in TXSB
                                                         AND PRINT       on INC
                                                                   SERVICES  07/03/25 FEDEX
                                                                                        Page   283NETWORKS
                                                                                             TRADE  of 944 TRANSPORT-
300 XIKANG RD, FL 10, UNIT 1101-1108        ATTN MANAGING DIR                         & BROKERAGE INC
JINGAN DIST SHANGHAI                        7900 LEGACY DR                            ATTN GEN COUNSEL
SHANGHAI 200040                             PLANO, TX 75024                           6075 POPLAR AVE, STE 300
CHINA                                                                                 MEMPHIS, TN 38119



FEDIEL SYSTEM                            [NAME REDACTED]                           [NAME REDACTED]
ATTN COMMERCIAL MGR                      [ADDRESS REDACTED]                        [ADDRESS REDACTED]
C/ TOMAS REDONDO, 3
MADRID 28033
SPAIN



FEDTECH INC                              FEED THE HUNGER, INC                      FEEDING AMERICA
ATTN SALES MANAGER                       P.O. BOX 14874                            35 EAST WACKER DRIVE SUITE 2000
4763 MUSTANG CIR                         GREENSBORO, NC 27415                      CHICAGO, IL 60601-2200
MOUNDS VIEW, MN 55112




FEEL                                     [NAME REDACTED]                           FEI COMPANY
ATTN MANAGER                             [ADDRESS REDACTED]                        5350 NE DAWSON CREEK DRIVE
5 RUE DE LA CENSE DES RAINES                                                       HILLSBORO, OR 97124-5793
ENNEVELIN 59710
FRANCE



FEIDER, CAL                              FEIG ELECTRONIC GMBH                      [NAME REDACTED]
S67W18986 TANS DR                        LANGE STRASSE 4                           [ADDRESS REDACTED]
MUSKEGO, WI 53150                        WEILBERG 35781
                                         GERMANY




FEIT ELECTRIC COMPANY INC                [NAME REDACTED]                           [NAME REDACTED]
ATTN PRESIDENT                           [ADDRESS REDACTED]                        [ADDRESS REDACTED]
4901 GREGG RD
PICO RIVER, CA 90660




[NAME REDACTED]                          [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                        [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                        [ADDRESS REDACTED]




FEMTOTEK INC                             FENDER MUSICAL INSTRUMENTS CORP           [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER             ATTN ASSOCIATE GRL CONSEL                 [ADDRESS REDACTED]
475 WALL ST                              8860 E CHAPARRAL RD, 100
PRINCETON, NJ 08540                      SCOTTSDALE, AZ 85250




FENG CAI PLASTIC CO LTD                  FENGHUA XIERMING ELECTRIC APPLIANCE       FENG-TAI DEVELOPMENT CO LTD
RM 1507, YEUN LONG TRADING CTR           CO LTD                                    C/O BAKER AND MCKENZIE
33 WANG YIP ST W                                                                   15/F, 168 TUN HWA N RD
YUEN LONG, NT                                                                      TAIPEI 105
HONG KONG                                                                          TAIWAN
FENGYI, ZHANG      Case 25-90163     Document   87 FiledLLC
                                        FENIEX INDUSTRIES in TXSB on 07/03/25 FENIX
                                                                                Page   284 of 944
                                                                                    ACCOUNTING SOLUTIONS LLC
NO 2 XINJIE KOU WAI ST                   ATTN PRESIDENT                         ATTN EVP, CFO
BEIJING 100875                           3900 DROSSETT LN                       54770 MOUND RD
CHINA                                    AUSTIN, TX 78744                       SHELBY TOWNSHIP, MI 48316




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




FERDINAND-BRAUN-INSTITUT                 [NAME REDACTED]                        [NAME REDACTED]
ATTN MANAGING DIR                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]
GUSTAV-KIRCHOFF-STRASSE 4
BERLIN 12489
GERMANY



FEREKS OOO TD                            FERGUSON ELECTRIC INC.                 FERGUSON ENTERPRISES INC
ATTN OPTICAL ENGINEER                    321 ELICOTT STREET                     2700-A YONKERS ROAD
SOVKHOZNAYA 4V                           BUFFALO, NY 14203-1618                 RALEIGH, NC 27604-3229
STOLBISCHE
LAISHEVSKY DISTT, TATARSTAN 422624
RUSSIA


[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                          FERIMP SRL                             FERING TECHNICAL SOLUTIONS INC
[ADDRESS REDACTED]                       VIA NUOVA DI POGGIOREALE, N 21/D       ATTN PRESIDENT
                                         VIA NAPOLI 159                         817 W KNOX ST
                                         CASALNUOVO DI                          DURHAM, NC 27701
                                         NAPOLI, NA 80143 ITALY



[NAME REDACTED]                          [NAME REDACTED]                        FERNELIUS HYUNDAI
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     2988 ASHMAN ST
                                                                                SAULT STE MARIE, MI 49783




[NAME REDACTED]                          FERRARI SPA                            [NAME REDACTED]
[ADDRESS REDACTED]                       VIA EMILIA EST 1163                    [ADDRESS REDACTED]
                                         MODENA (MO) 41122
                                         ITALY
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  285 of 944
                                                                                REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        FERRINI-KONARSKI ASSOC INC         FERRIS MARKETING INC
[ADDRESS REDACTED]                     ATTN PRESIDENT                     C/O BOWDITCH & DEWEY LLP
                                       1387 CRESCENT-VISCHER FERRY RD     ATTN MICHAEL REFOLO, ESQ
                                       CLIFTON PARK, NY 12065             311 MAIN ST, P.O. BOX 15156
                                                                          WORCESTER, MA 01615-0156



FERRO CERAMIC GRINDING INC             FERROFLUIDICS CORPORATION          FERROTEC USA CORPORATION
ATTN PRES                              ATTN VP COMPONENTS DIV             33 CONSTITUTION DRIVE
247 WATER ST                           40 SIMON ST                        BEDFORD, NH 03110-6000
WAKERFIELD, MA 01880                   NASHUA, NH 03061




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




FEUERSANGER, SIMON                     [NAME REDACTED]                    [NAME REDACTED]
BADORFER STR 76                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]
BRUHL 50321
GERMANY




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




FGC PRECISION (GUANGZHOU) LTD          FGS GLOBAL LLC                     FGS HOLDINGS LLC
NO 1, ZHANCHENG RD, FUHAI STREET       ATTN CFO                           FGS GLOBAL (US) LLC
BAOAN DISTRICT, GUANGDONG              909 3RD AVE, 32ND FL               909 THIRD AVENUE, 32ND FLOOR
SCHEZHEN                               NEW YORK, NY 10022                 NEW YORK, NY 10022-4751




FH JOANNEUM GESELLSCHAFT MBH           FH KIEL INSTITUT FUR MECHATRONIK   FH-JOANNEUM UNI OF APPLIED SCIENCES
ATTN MANAGING DIR                      GRENZSTRASSE 5                     ATTN MANAGING DIR
WERK-VI-STRASSE 46                     KIEL 24149                         WERK-VI STRASSE 46
KAPFENBERG 8600                        GERMANY                            KAPFENBERG 8605
AUSTRIA                                                                   AUSTRIA



FIBER MATERIALS INC                    FIBER OPTIC CENTER INC             FIBERLED SYSTEMS
ATTN PRESIDENT                         ATTN PRES                          ATTN VP
5 MORIN ST                             23 CENTRE ST                       161 TROLLINGWOOD LN
BIDDEFORD, ME 04005                    NEW BEDFORD, MA 02740-6322         MOORESVILLE, NC 28117
FIBEROPTIC SYSTEMS Case
                     INC 25-90163   Document  87 Filed in TXSB on 07/03/25 FIBERSTARS
                                       FIBER-SPAN                            Page 286 INCof 944
ATTN SR ENGINEER                        ATTN BUSINESS MGR                    ATTN CTO
60 MORELAND RD, UNIT A                  3434 RT 22 W, STE 140                32000 AURORA RD
SIMI VALLEY, CA 93065                   BRANCHBURG, NJ 08876                 SOLON, OH 44139




FIBERSTORE CO LTD                       FIBRETEC SRL                         FIDELITY CLEAR CAN/CDS (5040)
ATTN SALES DIR                          ATTN CEO                             ATT LINDA SARGEANT/PROXY MGR
ROOM 301, 3RD FLOOR, WEIYONG BLDG       RIVA DI SOTTO, 56                    BELL TRINITY SQ, SOUTH TOWER
N0 10, KEFA RD, NANSHAN DIST            APPIANO (BZ) 39057                   483 BAY ST., STE 200
SHENZHEN 518057 CHINA                   ITALY                                TORONTO, ON M5G 1P5 CANADA



FIDELITY INVESTMENTS                    FIDELITY MANAGEMENT TRUST CO         FIDELITY NATIONAL TITLE INSURANCE
P.O. BOX 73307                          82 DEVONSHIRE ST                     COMPANY
CHICAGO, IL 60673-7307                  BOSTON, MA 02109                     1900 WEST LOOP SOUTH, STE. 200
                                                                             HOUSTON, TX 77027




FIDELITY NATL TITLE INS CO              FIDELITY NATL TITLE INS CO           FIDELTRONIK POLAND SP ZOO
421 FAYETTEVILLE ST, STE 215            C/O FIDELITY NATL FIN INC            SMART FACTORY
RALEIGH, NC 27601                       ATTN PRIVACY COMP OFFICER            UL BENIOWSKIEGO 1
                                        601 RIVERSIDE AVE, 11TH FL           SUCHA BESKIDZKA 34-200
                                        JACKSONVILLE, FL 32204



FIDUCIE DESJARDINS/CDS (4818)           FIELDING MFG-ZINC DIECASTING INC     FIELDPRINT INC
MARTINE SIOUI OR PROXY MGR              ATTN PRESIDENT                       ATTN N ALEXANDER ERLAM, ESQ
1 COMPLEXE DESJARDINS                   780 WELLINGTON AVE                   400 LIPPINCOTT DR, STE 115
SOUTH TOWER 2ND FL                      CRASTON, RI 02910                    MARLTON, NJ 08053
MONTREAL, QC H5B 1E4 CANADA



[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      FIFTH THIRD BANK THE (2116)
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   ATT CARRIE POTTER/PROXY DEPT
                                                                             5001 KINGSLEY DR
                                                                             MAIL DROP 1M0B2D
                                                                             CINCINNATI, OH 45227



[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         FILGO OIL COMPANY LTD.               FILLNER CONSTRUCTION INC
[ADDRESS REDACTED]                      P.O. BOX 565421                      1020 EMERALD BAY RD
                                        DALLAS, TX 75356-5421                SOUTH LAKE TAHOE, CA 86150
[NAME REDACTED] Case 25-90163           Document  87 Filed in TXSB on 07/03/25 FILM
                                           [NAME REDACTED]                       Page   287
                                                                                    OPTICS    of 944
                                                                                           LIMITED
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   ATTN DIR -MANUFACTURING
                                                                                 39/40 SHRIVENHAM HUNDRED BUS. PARK
                                                                                 WATCHFIELD
                                                                                 OXFORDSHIRE SN6 8TZ UNITED KINGDOM



FILMETRICS INC                              FILMTRONICS INC                      FILTRONIC BROADBAND LTD
ATTN PRESIDENT                              ATTN TECHNICAL SUPPORT MGR           ATTN MANAGING DIR
250 PACKETTS LANDING                        675 SAXONBURG RD                     NETPARK, THOMAS WRIGHT WAY
FAIRPORT, NY 14450                          BUTLER, PA 16002                     SEDGEFIELD
                                                                                 COUNTY DURHAM TS21 3FD UNITED
                                                                                 KINGDOM


[NAME REDACTED]                             FINANCIAL APPLICATIONS CONSULTING    [NAME REDACTED]
[ADDRESS REDACTED]                          AND TECHNICAL SERVICES LLC           [ADDRESS REDACTED]
                                            ATTN MNGR
                                            10809 NW 73RD TER
                                            DORAL, FL 33178



FINDER TECHNOLOGY LTD.                      FINE SOLUTION CO                     FINELINE PROTOTYPING INC
UNIT A, 7/F                                 ATTN CHIEF EXECUTIVE OFFICER         ATTN VICE PRESIDENT
YEUNG YIU CHUNG NO. 7 INDUSTRIAL BLDG       16 OMOKCHEON-RO, 152 BEON-GIL        9310-100 FOCAL POINT
2 FUNG YIP ST                               GWANGSEON-GU                         RALEIGH, NC 27617
HONG KONG HONG KONG                         SUWON, GYEONGGI-DO 16388 SOUTH
                                            KOREA


FINELITE INC                                FINEMECH INC                         FINEPOWER GMBH
ATTN COO                                    ATTN PRESIDENT                       ATTN GENERAL MGR
30500 WHIPPLE RD                            35 KIOWA CT                          CARL-ZEISS-RING 21
UNION CITY, CA 94587-1530                   PORTOLA VALLEY, CA 94028             ISMANING 85737
                                                                                 GERMANY



FINETUNING ACADEMY LLP                      FINGER LAKES COMMUNICATION CO INC    [NAME REDACTED]
ATTN DIRECTOR                               305 CLARK STREET                     [ADDRESS REDACTED]
A407, SHRIRAM SRISHTI APT, SSA RD           AUBURN, NY 13021-2238
ANAND NAGAR, BANGALORE 560032
INDIA



FINISHING CO, THE                           [NAME REDACTED]                      [NAME REDACTED]
ATTN PRESIDENT                              [ADDRESS REDACTED]                   [ADDRESS REDACTED]
136 COMMERCIAL DR
ADDISON, IL 60101




[NAME REDACTED]                             [NAME REDACTED]                      FINTECH GMBH & CO KG
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   ATTN VP & GM
                                                                                 8380 S KYRENE RD, STE 110
                                                                                 TEMPE, AZ 85284




[NAME REDACTED]                             [NAME REDACTED]                      FIRE AND LIFE SAFETY AMERICA
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   1731 ROUND ROCK DRIVE
                                                                                 RALEIGH, NC 27615-5741




FIRE PRODUCTS COMPANY, THE                  FIRE RESEARCH CORPORATION            FIREFLY GREEN TECHNOLOGIES INC
ATTN PRESIDENT                              ATTN PRESIDENT                       ATTN CFO
7556 WATSON RD                              26 S BLVD                            1114 LOST CREEK BLVD, STE 420
SHREWSBURY, MO 63119                        NESCONSET, NY 11767                  AUSTIN, TX 78746
                   Case
FIREFLY ILLUMINATION LLC 25-90163   Document
                                       FIREFLY 87   Filed
                                               LIGHTING COin TXSB on 07/03/25 FIREFLY
                                                           LTD                  PageTECHNOLOGY
                                                                                      288 of 944CORP
ATTN CHIEF EXECUTIVE OFFICER            FIREFLY BLDG, 1000, QISHAN BEIER RD   ATTN DIRECTOR
8743 E PECOS RD, STE 130                HULI DIST                             92 LAKESHORE DR
MESA, AZ 85212                          XIAMEN 361009                         MARIETTA, GA 30067-4141
                                        CHINA



FIREMANS FUND INSURANCE CO              FIREMANS FUND INSURANCE COMPANY       FIRETROL PROTECTION SERVICES INC
ATTN BRANCH MGR                         777 SAN MARIN DR                      10320 MARKISON ROAD
13777 BALLANTYNE CORP PL, STE 505       NOVATO, CA 94998                      DALLAS, TX 75238-1648
CHARLOTTE, NC 28277




FIRMENGRUPPE HAENSCH                    FIRST ACTUARIAL LLP                   FIRST ALARM SECURITY & PATROL INC
SCHUETZENSTRASSE 21-25                  MAYESBROOK HOUSE                      ATTN MATT LUTHER
HERZLAKE 49770                          LAWNSWOOD BUSINEES PARK               1731 TECHNOLOGY DR, STE 800
GERMANY                                 LEEDS LS116 6QY                       SAN JOSE, CA 95110
                                        UNITED KINGDOM



FIRST AMERICAN TITLE INSURANCE CO       FIRST AMERICAN TITLE INSURANCE CO     FIRST CITIZENS INSURANCE SERVICE
ATTN CLAIMS NATL INTAKE CTR             C/O REPUBLIC TITLE                    P.O. BOX 29611
1 FIRST AMERICAN WAY                    2626 HOWEL ST, 10TH FL                RALEIGH, NC 27626-0611
SANTA ANA, CA 92707                     DALLS, TX 75204




FIRST DEFENSE NASAL SCREENS CORP        FIRST HORIZON BANK                    FIRST IN FOCUS RESEARCH INC
ATTN CEO                                ATTN: MARTIN K GREEN III              ATTN PRESIDENT
7143 STATE RD 54, 117                   1 GLENWOOD AVE.                       4009 BARRETT DR, STE 101
NEW PORT RICHEY, FL 34653               SUITE 800                             RALEIGH, NC 27609
                                        RALEIGH, NC 27603



FIRST LINE TECHNOLOGY LLC               FIRST LUCK LIMITED                    FIRST REP OF SOUTHERN CALIFORNIA INC
487 LENDALL LANE                        ATTN TIM TAM, DIRECTOR                ATTN PRES
FREDERICKSBURG, VA 22405                UNIT 4, 10/F, WAH WAI IND CENTRE      4615 INDUSTRIAL ST, 1Q
                                        38-40 AU PUI WAN ST                   SIMI VALLEY, CA 93063
                                        FOTAN, SHATIN HONG KONG



FIRST RF                                FIRST SEMICONDUCTOR TECHNOLOGY INC    FIRST SOLAR INC
ATTN RF ENGINEER                        ATTN PRES                             ATTN CTO
4865 STERLING DR                        3017 COPPER RD                        350 W WASHINGTON ST, 6TH FL
BOULDER, CO 80301                       SANTA CLARA, CA 95051                 TEMPE, AZ 85281




FIRST UNION                             FIRST                                 FIS AVANTGARD LLC
ATTN VP                                 FOR INSPIRATION AND RECOG             601 RIVERSIDE AVENUE
301 S COLLEGE ST                        200 BEDFORD STREET                    JACKSONVILLE, FL 32204-2901
CHARLOTTE, NC 28288                     MANCHESTER, NH 03101-1132




FISCAL TECHNOLOGIES INC                 [NAME REDACTED]                       FISCHER ELEKTRONIK GMBH & KO KG
ONE COPLEY PARKWAY SUITE 100            [ADDRESS REDACTED]                    ATTN BUSINESS MANAGER
MORRISVILLE, NC 27560-9693                                                    NOTTEBOHMSTR 28
                                                                              LUDENSCHEID D-58511
                                                                              GERMANY



FISCHER GROUP INTERNATIONAL INC         FISCHER TECHNOLOGY, INC.              [NAME REDACTED]
ATTN COO                                750 MARSHALL PHELPS ROAD.             [ADDRESS REDACTED]
8 WYNGATE LN                            BOSTON, MA 02241-0001
SIMSBURY, CT 06070
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 FISHER
                                   [NAME REDACTED]                       PageSCIENTIFIC
                                                                               289 of 944
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 3315 ATLANTIC AVENUE
                                                                       RALEIGH, NC 27629-1680




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     FISHER, RICHARD                    [NAME REDACTED]
[ADDRESS REDACTED]                                                     [ADDRESS REDACTED]




FISHNET SECURITY INC                [NAME REDACTED]                    FISKARS BRANDS INC
ATTN VP & GEN COUNSEL               [ADDRESS REDACTED]                 ATTN SR DESIGN ENGINEER
6130 SPIRIT PKWY, STE 400                                              14200 SW 72ND AVE
OVERLAND PARK, KS 66211                                                PORTLAND, OR 97224




FITNESS TECHS LLC                   [NAME REDACTED]                    FITZEK-ENERGO ZAO
ATTN OWNER                          [ADDRESS REDACTED]                 PARUSINKA STR 16
1098 RAVINA VIEW LN                                                    SEVERSK 636000
OCONOMOWOC, WI 53066                                                   RUSSIA




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    FIVEN NORGE AS
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 P.O. BOX 113
                                                                       LILLESAND 4792
                                                                       NORWAY




FIVEP SPA                           FIVE-STAR PLASTICS INC             FIVETRAN INC.
ATTN PRESIDENT                      ATTN VP OF OPERATIONS              ATTN: LEGAL DEPARTMENT
VIA DELLA TECNICA 19                1339 CONTINENTAL DR                1221 BROADWAY, SUITE 2400
OSNAGO 23875                        EAU CLAIRE, WI 54701               OAKLAND, CA 94612-2713
ITALY



FIZTECH-ENERGO AO                   FJP INSULATORS INC                 FLACCOMIO GHERARDO NARDI DEI
                                    ATTN PRESIDENT                     VAI DEL RONCO 12/13
                                    4124 BANKS STONE                   FLORENCE 50100
                                    RALEIGH, NC 27603                  ITALY




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 FLARE
                                         [NAME REDACTED]                       Page  290 of 944
                                                                                   TECHNOLOGY CO LTD
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      ATTN ANGELIA CHENG
                                                                                  13F, NO 571, CHING-PING RD
                                                                                  TAINAN
                                                                                  TAIWAN



FLASH-BUTRYM SPJ                          [NAME REDACTED]                         FLAT IRON TECHNOLOGIES LLC
UL WIOSENNA 18                            [ADDRESS REDACTED]                      ATTN PRESIDENT
SKARBIMIERZYCE 72-002                                                             6923 MAYNARDVILLE PIKE, 305
POLAND                                                                            KNOXVILLE, TN 37918




FLC MICRODESIGN PTY LTD                   [NAME REDACTED]                         FLECO INDUSTRIES INC
ATTN TECHNICAL DIRECTOR                   [ADDRESS REDACTED]                      DBA TEXAS FLOURESCENTS
14 AUSTRAL PL                                                                     ATTN PRESIDENT
HALLAM, VIC 3803                                                                  2055 LUNA RD, 142
AUSTRALIA                                                                         CARROLTON, TX 75006



[NAME REDACTED]                           FLEISHMAN HILLARD INC                   FLEISHMANHILLARD GERMANY GMBH
[ADDRESS REDACTED]                        ATTN VP                                 BLUMENSTRASSE 28
                                          4350 LASSITER AT NORTH HILLS AVE, STE   MUNICH 80331
                                          260                                     GERMANY
                                          RALEIGH, NC 27609



FLEISHMAN-HILLARD INC                     FLEKKEFJORD ELEKTRO A/S                 FLEMING ELECTRIC INC
ATTN FRED ROHLFING                        ATTN R&D MANAGER                        ATTN SR VICE PRESIDENT
200 N BROADWAY                            SVEGESKOGEN 7                           3311 SW I ST
ST. LOUIS, MO 63102                       FLEKKEFJORD 4400                        BENTONVILLE, AR 72712
                                          NORWAY



FLEMING NETWORK & SECURITY SERVICES       [NAME REDACTED]                         [NAME REDACTED]
320 MCCLANAHAN DR                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]
BRYANT, AR 72022




[NAME REDACTED]                           [NAME REDACTED]                         FLENTEK SOLUTIONS INC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      ATTN PRESIDENT
                                                                                  4549 SILVER SPRINGS BLVD SW, STE 100
                                                                                  POWDER SPRINGS, GA 30127




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




FLEX                                      FLEXENTIAL CORP                         FLEXIBLE ASSEMBLY SYSTEMS INC
A/K/A FLECO INDUSTRIES INC                600 FOREST POINT CIR, STE 100           ATTN PRESIDENT
ATTN CFO                                  CHARLOTTE, NC 28273                     9240 MIRA ESTE CT
2055 LUNA RD                                                                      SAN DIEGO, CA 92126
CARROLLTON, TX 75006
                   Case 25-90163
FLEXIBLE BENEFIT ADMINISTRATORS INC   Document
                                         FLEXIBLE87  Filed
                                                  BENEFIT   in TXSB
                                                          ADMINS INC on 07/03/25 FLEXIBLE
                                                                                   Page CIRCUIT
                                                                                          291 of TECH
                                                                                                  944 INC
2875 SABRE ST, STE 300                    ATTN VICE PRESIDENT                     ATTN PRESIDENT
VIRGINIA BEACH, VA 23452                  509 VIKING DR, STE F                    9850 51ST AVE N
                                          PO DRAWER 8188                          PLYMOUTH, MN 55442
                                          VIRGINIA BEACH, VA 23450



FLEXIBLE MANUFACTURING INC                FLEXIBLE WHIPS                          FLEXLINK SYSTEMS INC
ATTN BART PACETTI                         ATTN VP OF OP                           6580 SNOWDRIFT RD
1719 S GRAND AVE                          6341 HIGHWAY 41A S                      ALLENTOWN, PA 18106
SANTA ANA, CA 92705                       PLEASANT, TN 37146




FLEXSCREEN LLC                            FLEXSIM SOFTWARE PRODUCTS, INC.         FLEX-TECH INC
ATTN CEO & PRESIDENT                      1577 N TECHNOLOGY WAY                   P.O. BOX 528
22 DEER RUN RD                            OREM, UT 84097-2395                     BYRORMVILLE, GA 31007
LINCOLN, MA 01773




FLEXTRONICS AMERICA LLC                   FLEXTRONICS AMERICA LLC                 FLEXTRONICS AMERICA LLC
ATTN DAVID FORSBERG                       ATTN OFFICE OF GEN COUNSEL              C/O FLEXTRONICS INTERNATIONAL USA INC
6800 SOLECTRON DR                         305 INTERLOCKEN PKWY                    ATTN GENERAL COUNSEL
CHARLOTTE, NC 28262                       BROOMFIELD, CO 80021                    6328 MONARCH PARK PL
                                                                                  NIWOT, CO 80503



FLEXTRONICS INDUSTRIAL LTD                FLEXTRONICS INTERNATIONAL USA INC       FLEXTRONICS INTERNATIONAL USA
ATTN DIR OF BUSSINESS DVPT                6201 AMERICA CENTER DR                  ATTN SR DIR OF CUST DEV
LEVEL 3, ALEXANDER HOUSE                  ALVISO, CA 95002                        45 WEATHERS ST
35 CYBERCITY                                                                      YOUNGSVILLE, NC 27596
EBENE MAURITIUS



FLIGHT GROUP CORPORATION                  FLIGHT SPECTRUM LLC                     FLINDT DESIGN
DBA THE FLIGHT GROUP                      ATTN VICE PRESIDENT                     ATTN CHRISTIAN FLINDT, DESIGNER
ATTN CEO                                  510 MEADOWMONT VILLAGE CIR, STE 200     SLAGTEHUSGADE 7A
150 EXEC DR, RDU AIRPORT                  CHAPEL HILL, NC 27517                   COPENHAGEN V 1715
RALEIGH, NC 27623                                                                 DENMARK



FLINT MACHINE TOOLS, INC.                 [NAME REDACTED]                         [NAME REDACTED]
3710 HEWATT CT                            [ADDRESS REDACTED]                      [ADDRESS REDACTED]
SNELLVILLE, GA 30039-7020




[NAME REDACTED]                           [NAME REDACTED]                         FLIR COMMERCIAL SYSTEMS INC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      9 TOWNSEND WEST
                                                                                  NASHUA, NH 03063-1233




FLIR SYSTEMS INC                          FLITRONIC BROADBAND LTD                 FLOATOGRAPH TECHNOLOGIES LLC
N/K/A TELEDYNE FLIR LLC                   ATTN CFO                                ATTN PRESIDENT
27700 S W PKWY AVE                        HEIGHINGTON LANE BUSINESS PARK          340 SO KELLOGG AVE, STE 1
WILSONVILLE, OR 97070                     NEWTON AYCLIFFE                         GOLETA, CA 93117
                                          COUNTY DURHAM D15 6JW UNITED
                                          KINGDOM


[NAME REDACTED]                           FLOMET LLC                              FLOORSCAPE NC INC
[ADDRESS REDACTED]                        ATTN PRESIDENT & CEO                    ATTN PRINCIPAL
                                          810 FLIGHTLINE BLVD                     160 NE MAYNARD RD, STE 210
                                          DELAND, FL 32724                        CARY, NC 27513
[NAME REDACTED] Case 25-90163    Document 87COUNTY
                                    FLORANCE  FiledFAMILY
                                                    in TXSB   on 07/03/25 [NAME
                                                          COURT             Page  292 of 944
                                                                                REDACTED]
[ADDRESS REDACTED]                   RE: 0848542 (ORIGINAL)               [ADDRESS REDACTED]
                                     180 N IRBY ST, MSC-1
                                     FLORENCE, SC 29501




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




FLORIDA DEPT OF ENVIRONMENTAL        FLORIDA DEPT OF HEALTH               FLORIDA DEPT OF LABOR
PROTECTION                           4052 BALD CYPRESS WAY                DEPT OF ECONOMIC OPPORTUNITY
3900 COMMONWEALTH BLVD               BIN A00                              107 EAST MADISON ST
TALLAHASSEE, FL 32399                TALLAHASSEE, FL 32399-1701           CALDWELL BUILDING
                                                                          TALLAHASSEE, FL 32399-4120



FLORIDA DEPT OF REVENUE              FLORIDA DIVISION OF CORPORATIONS     FLORIDA OFFICE OF FINANCIAL REGULATION
5050 W TENNESSEE ST                  P.O. BOX 6327                        200 E. GAINES ST
TALLAHASSEE, FL 32399-0100           TALLAHASSEE, FL 32314                TALLAHASSEE, FL 32399




FLORIDA OFFICE OF THE ATTORNEY       FLORIDA STATE DISBURSEMENT UNIT      FLORIDA STATE TREASURY
GENERAL                              RE: 2000127897 (ORIGINAL)            UNCLAIMED PROPERTY DIVISION
CONSUMER PROTECTION DIVISION         P.O. BOX 8500                        200 E GAINES ST
THE CAPITOL PL-01                    TALLAHASSEE, FL 32314                TALLAHASSEE, FL 32399-0358
TALLAHASSEE, FL 32399-1050



FLORIDA STATE UNIVERISTY             FLORIDA STATE UNIVERSITY             FLORIDA TIME CLOCK
ATTN VP                              ATTN VP FOR RESEARCH                 10300 49TH ST N, STE 513 FTC
1400 UNIVERSITY CENTER               3012 WESTCOTT NORTH ANNEX            CLEARWATER, FL 33762
TALLAHASSEE, FL 32306-2370           222 S COPELAND AVE
                                     TALLAHASSEE, FL 32306-1330



FLOS USA INC                         [NAME REDACTED]                      FLOUROGISTX LLC
ATTN EXEC VP                         [ADDRESS REDACTED]                   ATTN VICE PRESIDENT
200 MCKAY RD                                                              3704 KENNETT PIKE
HUNTING STATION, NY 11746                                                 GREENVILLE, DE 19807




FLOW NETWORKS LLC                    [NAME REDACTED]                      [NAME REDACTED]
ATTN SALES MGR                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
5065 VAIL DR NW
ACWORTH, GA 30101
[NAME REDACTED] Case 25-90163     Document  87 Filed in TXSB on 07/03/25 [NAME
                                     [NAME REDACTED]                       Page  293 of 944
                                                                               REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




FLSMIDTH USA INC                      FLUENCE BIOENGINEERING INC           FLUID ENERGY INDUSTRIAL LLC
ATTN CS MGR                           ATTN CHIEF EXECUTIVE OFFICER         ATTN GENERAL MANAGER
7158 S FLSMIDTH DR                    4129 COMMERCIAL CENTER DR            2201 CROWN POINT EXEC DR, STE A
MIDVALE, UT 84047                     AUSTIN, TX 78744                     CHARLOTTE, NC 28227




FLUID MARKET STRATEGIES INC           FLUID RESEARCH CORPORATION           FLUOR ENTERPRISES INC
517 SW 4TH AVE, STE 400               ATTN DIR OF SLS & MKT                6700 LAS COLINAS BLVD
PORTLAND, OR 97204                    15775 GATEWAY CIR                    IRVING, TX 75039-2902
                                      TUSTIN, CA 92780




FLUORESCENT MAINTENANCE COMPANY       [NAME REDACTED]                      [NAME REDACTED]
ATTN PRESIDENT                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]
1949 W 12TH PL
DENVER, CO 80204




FLUX AB                               FLW SOUTHEAST INC                    [NAME REDACTED]
ATTN MD                               ATTN SALES ENGINEER                  [ADDRESS REDACTED]
INDUSTRIGATEN 5                       975 COBB PL BLVD, 108
STOCKHOLM SE-112 46                   KENNESAW, GA 30144
SWEDEN



FLYWORX LLC                           FM:SYSTEMS GROUP, LLC                FMG ENTERPRISES INC
ATTN PRESIDENT                        1101 E. WHITAKER MILLS ROAD, SUITE   ATTN VP SALES & MKTG
200 RIVER VISTA DR, STE 117           RALEIGH, NC 27604-5356               1125 MEMOREX DR
ATLANTA, GA 30339                                                          SANTA CLARA, CA 95050




FMR LLC                               FMR LLC                              FMS ENGINEERING
200 SEAPORT DRIVE                     245 SUMMER ST                        ATTN ELECTRICAL ENG
BOSTON, MA 02210-2031                 BOSTON, MA 02210                     424 EXECUTIVE CENTER BLVD, STE 120
                                                                           EL PASO, TX 79902




FM-TRUE ELECTRONICS HK LTD            FNET                                 FOAM DESIGN INC
ATTN MGR                                                                   ATTN CFO
UNIT 9, 15/F, WAH WAI CTR                                                  444 TRANSPORT CT
38-40 AU PUI WAN ST                                                        LEXINGTON, KY 40511
SHATIN HONG KONG



FOAM MOLDERS & SPECIALTIES            FOAMTEC INTERNATIONAL LLC            [NAME REDACTED]
11110 BUSINESS CIR                    720 VENTURE DRIVE                    [ADDRESS REDACTED]
CERRITOS, CA 90703                    WACO, TX 76712-6800
FOCAL POINT LLC     Case 25-90163 Document  87 INC
                                     FOCAL SPOT Filed in TXSB on 07/03/25 FOCUBEAM
                                                                            Page 294  of 944
                                                                                   GMBH
4141 S PULASKI RD                       ATTN PRESIDENT                     ATTN CTO
CHICAGO, IL 60632                       9915 BUS AVE, STE A                NYMPHENBURGER STRASSE 14
                                        SAN DIEGO, CA 92131                MUNICH 80335
                                                                           GERMANY



FOCUS MICROWAVES INC                    FOCUS ON ENERGY                    FOCUSLED ENTERPRISE CO LTD
ATTN OFFICE MANAGER                     1 S PINCKNEY, STE 340              ATTN CHIEF EXECUTIVE OFFICER
1603 ST REGIS                           MADISON, WI 53703                  1 FL, NO.4, LN 236, MINZU RD
DOLLARD-DES-ORMEAUX, QC H9B 3H7                                            LUZHOU DISTRIC
CANADA                                                                     NEW TAPEI CITY 247 TAIWAN



FOCUSRITE AUDIO ENGINEERING LTD         [NAME REDACTED]                    [NAME REDACTED]
ATTN COMMERCE DIR                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
WINDSOR HOUSE
TURNPIKE RD
HIGH WYCOMBE HP12 3FX UNITED
KINGDOM


[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         FOIL LAW OFFICES                   FOIL LAW OFFICES
[ADDRESS REDACTED]                      112 EAST MAIN ST                   P.O. BOX 3368
                                        DURHAM, NC 27701                   DURHAM, NC 27702




FOLIO INVESTMENTS, INC. (0728)          FOLKINS, GREG W                    FOLLETTS ACC BOOKSTORE 151
ATT ASHLEY THEOBALD/PROXY MGR           DBA GREG FOLKINS PHOTOGRAPHY       3146 SOLUTIONS CENTER
8180 GREENSBORO DR                      ATTN OWNER                         CHICAGO, IL 60677-3001
8TH FL                                  645 MAIZE RD
MCLEAN, VA 22102                        MURPHY, TX 75094



[NAME REDACTED]                         [NAME REDACTED]                    FONDERIA ALFREDO TOGNO SRL
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 ATTN SALES MGR
                                                                           VIA DELL EDILIZA
                                                                           VERBANIA 28924
                                                                           ITALY



FONDERIA SL SRL                         FONTANA FOUNTAINS                  FOOD BANK OF CENTRAL & EASTERN
ATTN MANAGING DIR                       ATTN PRES                          NORTH CAROLINA INC
VIA LAZIO 5                             14TH KM NATIONAL RD                1924 CAPITAL BLVD
MANERBIO (BS) 25025                     ATHENS-LAMIA                       RALEIGH, NC 27604-2147
ITALY                                   KIFISIA, ATHENS 14564 GREECE



FOOD EXPRESS INC                        FOOD FWD LLC                       FOOD LION LLC
ATTN VP DINING SERVICES                 ATTN CO-OWNER                      2110 EXECUTIVE DR
7901 THORNDIKE RD                       12 FOX CHASE LN                    SALISBURY, NC 28147
GREENSBORO, NC 27409                    DURHAM, NC 27713
                 Case
FOOK SHING METAL &      25-90163
                   PLASTICS (SZ) CO LTDDocument  87 Filed in TXSB on 07/03/25 [NAME
                                          [NAME REDACTED]                       Page  295 of 944
                                                                                    REDACTED]
ATTN SALES MGR                            [ADDRESS REDACTED]                  [ADDRESS REDACTED]
JIANG SHI GEUMGOK DYNAMIC SCIENCE &
TECH PK
KOMEITO TOWN, GUANGMING NEW DIST
SHENZHEN, GUANGDONG CHINA


FOOTPRINT LLC                         FORBES CABINETS LLC                    FORCE FLOW INC
ATTN BUSINESS DEV VP                  ATTN OWNER                             ATTN VP
1510 N HOBSON ST                      2025 PRODUCTION DR                     2430 STANWELL DR
GILBERT, AZ 85233                     APEX, NC 27539                         CONCORD, CA 94520




FORCE ONE APPLIED MATERIALS CO LTD    FORCE TECHNOLOGIES INC                 FORCE4 CORP
12F.-2, NO. 955                       ATTN CEO                               ATTN CO-PRESIDENT
SEC. 4, WENXIN RD                     2562 BLVD OF THE GENERALS              CHUM-DAN VENTURE-RO
BEITUN DIST.                          NORRISTOWN, PA 19403                   16 BEON-GIL-23, BUK-GU
TAIPEI CITY 221 TAIWAN                                                       GWANGJU SOUTH KOREA



[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                        FOREMOST MANUFACTURING CO INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     ATTN SALES MGR
                                                                             941 BALL AVE
                                                                             UNION, NJ 07083




FORESCOUT TECHNOLOGIES INC            FORESTVILLE TECHNOLOGY INC             FOREVER BULB LLC
ATTN CHIEF LEGAL OFFICER              ATTN CHIEF EXECUTIVE OFFICER           ATTN CEO
2400 DALLAS PKWY, STE 230             1493 FOREST GROVE RD                   2626 BROOKDALE LN
PLANO, TX 75093                       FOREST GROVE, PA 18922                 MINNEAPOLIS, MN 55444




FORGE EUROPA LTD                      [NAME REDACTED]                        [NAME REDACTED]
ATTN DIRECTOR                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]
THE OLD RAILWAY, PRINCES ST
ULVERSTON
CUMBRIA LA12 7NQ UNITED KINGDOM



FORM LIGHTING AND CONTROLS LLC        FORMA-FAB METALS INC                   FORMASPACE LP
ATTN ANTONIO GIACOBBE                 ATTN PRESIDENT                         1100 E HOWARD, SUITE 400
516 NORTH 68TH ST                     6600 E WASHINGTON ST EXT               AUSTIN, TX 78753
SEATTLE, WA 98103                     MEBANE, NC 27302




FORMFACTOR INC                        FORMOSA EPITAXY INCORPORATION          [NAME REDACTED]
7005 SOUTHFRONT ROAD                  ATTN CEO                               [ADDRESS REDACTED]
LIVERMORE, CA 94551-8201              NO 99 LUN YUAN 1ST RD
                                      LUNG TANG
                                      TAOYUAN TAIWAN
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 FORRESTER
                                         [NAME REDACTED]                       Page 296  of 944 INC
                                                                                       RESEARCH
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      ATTN LEGAL DEPT
                                                                                  60 ACORN PARK DR
                                                                                  CAMBRIDGE, MA 02140




[NAME REDACTED]                           FORSCHNER MEXICO S DE RL DE CV          FORSCHUNGS-UND
[ADDRESS REDACTED]                        ATTN GM                                 ENTWICKLUNGSZENTRUM-
                                          KM 2.2 CARRETERA ESTATAL 431            FACHHOCHSCHULE KIEL GMBH
                                          LOTE 61, PARQUE TECNOLOGICO             ATTN GENERAL MGR
                                          INNOVACION                              SCHWENTINESTRASSSE 24
                                          EL MARQUES, QRO 76246 MEXICO            KIEL 24149 GERMANY


FORSYTH COUNTY TAX COLLECTOR              FORSYTHE SOLUTIONS GROUP INC            FORTEX ENGINEERING LTD
RE: 0003520355                            ATTN ATTORNEY                           ATTN DIRECTOR
P.O. BOX 82                               7770 FRONTAGE RD                        UNIT 16, FREEMAN RD
WINSTON SALEM, NC 27102                   SKOKIE, IL 60077                        LINCOLN LN6 9AP
                                                                                  UNITED KINGDOM



FORTH WORTH ALUMINUM FOUNDRY INC          FORTINET INC                            [NAME REDACTED]
ATTN PRESIDENT                            ATTN VICE PRESIDENT                     [ADDRESS REDACTED]
2708 N NICHOLS ST                         1090 KIFER RD
FORT WORTH, TX 76106                      SUNNYVALE, CA 94086




FORTREND                                  FORTRESS DESIGN AND CONSULTING LLC      [NAME REDACTED]
2220 OTOOLE AVENUE                        ATTN CHIEF ENGINEER                     [ADDRESS REDACTED]
SAN JOSE, CA 95131-1326                   107 DIGBY RD
                                          LAFAYETTE, IN 47905




FORTUNE PERSONAL CONSULTANTS OF TRO       F-O-R-T-U-N-E PERSONNEL CONS OF         [NAME REDACTED]
560 KIRTS BLVD                            HAMPTON ROADS                           [ADDRESS REDACTED]
102                                       ATTN PRESIDENT
TROY, MI 48084                            512 CENTRAL DR, STE 200
                                          VIRGINIA BEACH, VA 23454



FORUM FINANCIAL SERVICES                  FORUM-GROUP LLC                         FORWARD DESIGN INC
ATTN PRESIDENT                            201 FAIRWAY DRIVE                       DBA FORWARD BRANDING
2140 LAKE PARK BLVD, STE 112              FORT MILL, SC 29715-9707                ATTN PR FORWARD DESIGN INC
RICHARDSON, TX 75080                                                              34 MAY ST
                                                                                  WEBSTER, NY 14580



FORWARD OPTICS INC                        FOSHAN ELECTRICAL AND LIGHTING CO LTD   FOSHAN JINMU CAR ELECTRICAL CO LTD
ATTN VP                                   64 NORTH FENJIANG RD                    1/F 3 BLDG
1848 E VISTA TERRACE                      FOSHAN                                  XINGUANGYUAN INDUSTRIAL PARK C
LINDENHURST, IL 60046                     CHINA                                   HUNCHUN TOWN, NANHAI DISTRICT
                                                                                  FOSHAN, GUANGDONG CHINA



FOSHAN JINMU LIGHTING ELECTRICAL CO       FOSHAN NANHAI CHUANGWEI CHEMICAL        FOSHAN NATIONSTAR OPTOELECTRONICS
LTD                                       IND-                                    CO LTD
SHISHAN INDUSTRIAL ZONE B, NANHAI         ENVIRONMENTAL PROTECTION TECH CO LTD    ATTN YONH HE, CEO
FOSHAN CITY                                                                       NO 18, S HUABAO RD
GUANGDONG                                                                         CHANCHENG DISTRICT
CHINA                                                                             FOSHAN, GUANGDONG 528031 CHINA


FOSHAN SAMMOON LIGHTING ELEC CO           FOSHAN SHUNDE OUZHIXIANG LIGHTING CO    FOSHAN YINHE LANJING LIGHTING -
5/F, NO 5, RD 2, ZONE B                   LTD                                     APPLINCE CO LTD
INTL LIGHTING CITY OF SOUTH CHINA         NO 8, ZHIHUI RD                         NO 28 YONG FENG GONG YE NAN RD
FOSHAN, GUANGDONG                         FOSHAN, GUANGDONG 528051                LUN JIAO, SHUN DE
CHINA                                     CHINA                                   FOSHAN CHINA
                 Case
FOSTER BROS SECURITY   25-90163
                     SYSTEMS INC       Document  87 Filed in TXSB on 07/03/25 [NAME
                                          [NAME REDACTED]                       Page  297 of 944
                                                                                    REDACTED]
ATTN MANAGER                               [ADDRESS REDACTED]                   [ADDRESS REDACTED]
555 S MURPHY AVE
SUNNYVALE, CA 94086




[NAME REDACTED]                            [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]




FOTOFAB LLC                                FOTRONIC CORPORATION                 [NAME REDACTED]
ATTN CFO                                   5 COMMONWEALTH AVENUE, UNIT 6        [ADDRESS REDACTED]
3758 W BELMONT AVE                         WOBURN, MA 01801-1069
CHICAGO, IL 60618




FOUNDRY COMMERCIAL                         FOUNDTON COMPANY LTD                 FOUNTAIN UNIT OWNERS ASSOC
ATTN DAVE KAFEL                            ROOM 929-930 9/F, STAR HOUSE         ATTN PRESIDENT
2301 SUGAR BUSH RD, STE 202                3 SALISBURY RD, TSIM SHA, TSUI       308 ROSEMARY ST
RALEIGH, NC 27612                          TSIM SHA TSUI KOWLOON                CHAPEL HILL, NC 27516
                                           KOWLOON HONG KONG



[NAME REDACTED]                            FOUR DIMENSIONS INC                  FOUR MOON TECH INC
[ADDRESS REDACTED]                         ATTN PRESIDENT                       ATTN CHIH-HSIANG
                                           3138 DIABLO AVE                      3F, NO 45, SEC 4, NANJIN E ROAD
                                           HAYWARD, CA 94545                    SONGSHAN DIST
                                                                                TAIPEI TAIWAN



FOUR WINDS CORP                            FOURN4 CORPORATION                   [NAME REDACTED]
DBA XPLENDID                               ATTN TECH SALES TEAM LEAD            [ADDRESS REDACTED]
ATTN MR MARCELLUS SHEN                     HOGYE-DONG, 82-4, ANYANGCHEONDONG-
12TH FL, NO. 176, KEELUNG RD, SEC. 1       RO
TAIPEI 11072 TAIWAN                        DONGAN-GU
                                           ANYANG, GYEONGGI-DO SOUTH KOREA


[NAME REDACTED]                            [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                      FOX FURY
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   ATTN MARIO CUGINI
                                                                                2091 ELEVADO HILLS DR
                                                                                VISTA, CA 92084
FOX GROUP INC, THECase 25-90163           Document  87SOLUTIONS
                                             FOX TEST    Filed in& CONSULTANTS
                                                                   TXSB on 07/03/25
                                                                               INC    Page
                                                                                    FOX     298
                                                                                        VALLEY   of 944 GROUP
                                                                                               METROLOGY
ATTN PRESIDENT & CEO                          ATTN GENERAL MANAGER                 3114 MEDALIST DR
200 VOYAGEUR AVE                              127 JETPLEX CIRCLE, STE 1            OSHKOSH, WI 54902
MONTREAL, QC H9R 6AB                          MADISON, AL 35758
CANADA



FOX VALLEY METROLOGY LTD                      [NAME REDACTED]                      [NAME REDACTED]
ATTN GEN MGR                                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]
3125 MEDALIST DR
OSHKOSH, WI 54902




[NAME REDACTED]                               FOXELLI INTERNATIONAL INC            FOXFURY LLC
[ADDRESS REDACTED]                            ATTN OWNER                           2091 ELEVADO HILLS DR
                                              2E VAN LEYDAN GAELSTRAAT 1G          VISTA, CA 92084
                                              VLAARDINGEN 3134LH
                                              NETHERLANDS



FOXLINK GROUP                                 FOXPRO INC                           FOXSEMICON INTEGRATED TECHNOLOGY
ATTN BUSINESS MANAGER                         ATTN PRESIDENT                       INC
18 CHUNG SHAN RD                              14 FOX HOLLOW DR                     ATTN DEPUTY DIR
TU CHENG                                      LEWISTOWN, PA 17044                  NO 16 KEJHONG RD, SCIENCE-BASED INDL
TAIPEI 23680 TAIWAN                                                                PARK
                                                                                   CHU-NAN TOWNSHIP
                                                                                   MIAOLI COUNTY 350 TAIWAN

FOXSEMICON INTEGRATED TECHNOLOGY              [NAME REDACTED]                      [NAME REDACTED]
INC                                           [ADDRESS REDACTED]                   [ADDRESS REDACTED]
ATTN MGR
2, TSU-TU ST, TU-CHENG INDUSTRY PARK
TU-CHENG CITY
TAIPEI HSIEN 23644 TAIWAN


FPI MECHANICAL INC                            FRAEN CORPORATION                    [NAME REDACTED]
11 GREEN MOUNTAIN DRIVE                       ATTN DIR OF BUS DEV                  [ADDRESS REDACTED]
COHOES, NY 12047-4807                         80 NEWCROSSING RD
                                              READING, MA 01887




FRAMEWAY INDUSTRIES LTD                       [NAME REDACTED]                      [NAME REDACTED]
ATTN MR PAUL YAM, DIR                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]
UNIT 4-8 3/F, BLOCK A, VIGOR INDUSTRIAL
BLDG
14-20 CHEUNG TAT RD
TSING YI, NT HONG KONG


[NAME REDACTED]                               [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                            [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                               [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                            [ADDRESS REDACTED]                   [ADDRESS REDACTED]




FRANCIS A ARCHIBALD PROFESSIONAL CO           FRANCIS AUDIO VISUAL LLC             [NAME REDACTED]
17 DOUGLAS DRIVE                              6780 NORTHERN BLVD SUITE 400         [ADDRESS REDACTED]
TORONTO, ON M4W 2B2                           EAST SYRACUSE, NY 13057-3081
CANADA
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 [NAME
                                          [NAME REDACTED]                       Page  299 of 944
                                                                                    REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                    FRANJO METAL SPINNING INC
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 ATTN VP
                                                                              6400 RUE ETINGEN
                                                                              SAINT LAUREN, QC H4S 2A7
                                                                              CANADA



[NAME REDACTED]                            FRANK MAYER & ASSOCIATES INC       [NAME REDACTED]
[ADDRESS REDACTED]                         1975 WISCONSIN AVE                 [ADDRESS REDACTED]
                                           GRAFTON, WI 53024




[NAME REDACTED]                            FRANKFURT SOLAR TECHNOLOGY GMBH    FRANKLIN COVEY CLIENT SALES INC
[ADDRESS REDACTED]                         ATTN MANAGING DIR                  2200 WEST PARKWAY BLVD.
                                           BIMBAUMSMUHLE 66                   SALT LAKE CITY, UT 84119-2099
                                           FRANKFURT (ODER) 15234
                                           GERMANY



FRANKLIN ELECTRICAL CONTRACTING LLC        FRANKLIN INSTITUTE, THE            FRANKLIN MECHANICAL & CONTROL INC
ATTN OWNER/OPERATOR                        ATTN GINA DEGIOVANNI, EVENT MGR    ATTN PRESIDENT
4030 WAKE FOREST RD, STE 349               222 N 20TH ST                      8901-B MURRAY AVE
RALEIGH, NC 27609                          PHILADELPHIA, PA 19103-1194        GILROY, CA 95020




FRANKLIN RESOURCES INC                     [NAME REDACTED]                    [NAME REDACTED]
1 FRANKLIN PKWY                            [ADDRESS REDACTED]                 [ADDRESS REDACTED]
SAN MATEO, CA 94403




[NAME REDACTED]                            [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




FRAUNHOFER INSTITUT FUR INTEGRIERTE-       FRAUNHOFER INSTITUT FUR SOLARE     FRAUNHOFER INSTITUT FUR WINDENERGIE
SCHALTUNGEN BEREICH                        ENERGIESYSTEME                     UND ENERGIESYSTEMTECHNIK
BAUELEMENTETECHNOLOGIE                     ATTN WERNER ROTH                   ATTN DIVISION DIR
ATTN DIR                                   HEIDENHOFSTRASSE 2                 KONIGSTOR 59
SCHOTTKYSTRASSE 10                         FREIBURG D-79110                   KASEEL 34119 GERMANY
ERLANGEN 91058 GERMANY                     GERMANY


FRAUNHOFER IZM                             FRAUNHOFER-GESELLSCHAFT ZUR-       [NAME REDACTED]
25 GUSTAV-MEYER-ALLEE                      FORDERUNG DER ANGEWANDTEN          [ADDRESS REDACTED]
BERLIN 13355                               FORSCHUNG EV
GERMANY                                    ATTN GROUP MGR, HEAD OF ADMIN
                                           HANSASTRASSE 27C
                                           MUNCHEN 80686 GERMANY
[NAME REDACTED] Case 25-90163    Document
                                    FRAZIER87  Filed CO
                                           INDUSTRIAL in TXSB on 07/03/25 FRAZIER
                                                                            PageINDUSTRIAL
                                                                                  300 of 944
                                                                                           COMPANY
[ADDRESS REDACTED]                   1585 BEVERLY CT, STE 111             ATTN EXEC VICE PRESIDENT
                                     AURORA, IL 60502                     91 FAIRVIEW AVE
                                                                          LONG VALLEY, NJ 07853




[NAME REDACTED]                      FRED ADAMS PAVING CO                 [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN ESTIMATOR                       [ADDRESS REDACTED]
                                     118 INTERNATIONAL DR
                                     MORRISVILLE, NC 27560




FRED S CARVER INC                    FREDERIC W COOK & CO INC             [NAME REDACTED]
ATTN SALES ENGINEER                  ATTN PRINCIPAL                       [ADDRESS REDACTED]
1569 MORRIS ST                       2121 AVE OF THE STARS, STE 2500
WABASH, IN 46992                     LOS ANGELES, CA 90067




[NAME REDACTED]                      FREDERICKS CO INC, THE               FREEDOM SALES & MARKETING INC
[ADDRESS REDACTED]                   ATTN PRESIDENT                       ATTN SALES MGR
                                     2400 PHILMONT AVE                    11225 CHALLENGER AVE
                                     HUNTINGDON VALLEY, CA 19006          ODESSA, FL 33556




FREE-FLOW PACKAGING INTL INC         [NAME REDACTED]                      FREEMAN ELECTRIC CO INC
ATTN TERRITORY MGR                   [ADDRESS REDACTED]                   ATTN PRESIDENT
34175 ARDENWOOD BLVD, STE 201                                             16076 KINGS MILL RD
FREMONT, CA 94555                                                         KING GEORGE, VA 22485




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




FREEMAN, MORRIS                      FREESCALE SEMICONDUCTOR INC          FREESCALE SEMICONDUCTOR INC
P.O. BOX 785                         ATTN GENERAL COUNSEL                 ATTN VP & GENERAL MGR RADIO
AHOSKIE, NC 27910                    6501 WILLIAM CANNON DR W             FREQUENCY DIV
                                     AUSTIN, TX 78735                     2100 E ELLIOT RD
                                                                          TEMPE, AZ 85284



FREIBERG INSTRUMENT GMBH             FREISING CO LTD                      [NAME REDACTED]
DELFTER STRASSE 6                    ATTN PRESIDENT                       [ADDRESS REDACTED]
FREIBERG 09599                       1-12-15, HIGASHI-MIKUNI 1-CHROME
GERMANY                              YODOGAWA-KU
                                     OSAKA 532-0002 JAPAN



[NAME REDACTED]                      FRENCH/WEST/VAUGHAN LLC              FRENSCH GMBH
[ADDRESS REDACTED]                   ATTN CHAIRMAN & CEO                  ATTN GENERAL MANAGER
                                     112 E HARGETT ST                     DAHLINGSTR 119
                                     RALEIGH, NC 27601                    DUISBURG
                                                                          D-47229 GERMANY



FREQUENCY MANAGEMENT INTERNATIONAL   FRESENIUS KABI USA LLC               FRESH MARKET INC, THE
INC                                  ATTN SR DIRECTOR                     ATTN SVP
ATTN BUSINESS DEV MGR                THREE CORPORATE DR                   628 GREENE VALLEY RD, STE 500
15302 BOLSA CHICA ST                 LAKE ZURICH, IL 60047                GREENSBORO, NC 27408
HUNTINGTON BEACH, CA 92649-1245
                CaseSYSTEMS
FRESHFIELD MICROWAVE    25-90163
                             LTD    Document 87 Filed
                                       FRESHWORKS INC in TXSB on 07/03/25 FRESNEL
                                                                            Page TECHNOLOGIES
                                                                                  301 of 944 INC
RUMSEY HOUSE, LOCKS HILL                2950 S DELAWARE ST, STE 201         ATTN PRESIDENT
SOUTH ST, ROCHFORD                      SAN MATEO, CA 94403                 101 W MORNINGSIDE DR
ESSEX SS4 1BB                                                               FORTH WORTH, TX 76110
UNITED KINGDOM



[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




FRIEDRICH ALEXANDER UNI ERLANGEN-       FRIEDRICH, ROBYN                    FRIENDS OF THE LIBRARY
NUREMBERG                               DBA FRIEDRICH PHOTOGRAPHY           CAMPUS BOX 7111
CAUERSTRASSE 9                          3533 SAINT CLAIRE ST                RALEIGH, NC 27695-0001
ERLANGEN 91058                          RACINE, WI 53402
GERMANY



FRIESS-TECHNIK FRIESS GMBH              [NAME REDACTED]                     [NAME REDACTED]
RAPPSTR 18                              [ADDRESS REDACTED]                  [ADDRESS REDACTED]
MUNCHEN 80687
GERMANY




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




FRONIUS INTERNATIONAL GMBH              FRONIUS INTERNATIONAL GMBH          FRONT DOOR LLC
ATTN CHIEF OPERATING OFFICER            ATTN COO, SUPPLY CHAIN MANAGEMENT   ATTN PARTNER CLIENT STRAT
GUENTER FRONIUS STRASSE 1               WARTBERGER STRASSE 11               108 S HARRINGTON ST
WEIS A-4600                             PETTENBACH A-4643                   RALEIGH, NC 27603
AUSTRIA                                 AUSTRIA



FRONTAND TECHNOLOGY CORP                FRONTIER COMMUNICATIONS             FRONTIER ELECTRONICS CORP
ATTN ASSISTANT VP                       ATTN LINDA OHARA                    ATTN GLOBAL SALES MGR
NO 9 NEIXI RD, LUZHU TOWNSHIP           725 EAST MARKHAM AVE                667 E COCHRAN ST
TAOYUAN COUNTY 338                      DURHAM, NC 27701-1444               SIMI VALLEY, CA 93065
TAIWAN
                   Case 25-90163
FRONTIER SEMICONDUCTOR                 Document  87 ESOLUTIONS
                                          FRONTLINE   Filed in TXSB
                                                               LLC  on 07/03/25 [NAME
                                                                                  Page  302 of 944
                                                                                      REDACTED]
ATTN PRESIDENT                             DBA UCONFIRM                              [ADDRESS REDACTED]
1631 NORTH FIRST ST, STE 100               ATTN MG PARTNER
SAN JOSE, CA 95112                         125 MIRRAMONT LAKE DR
                                           WOODSTOCK, GA 30189



[NAME REDACTED]                            [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                        [ADDRESS REDACTED]




[NAME REDACTED]                            FROSTBYTE CONSULTING INC                  FROTHINGHAM ELECTRONICS CORP
[ADDRESS REDACTED]                         ATTN PRESIDENT                            ATTN PRES
                                           606 4 ST SW                               44 CRYSTAL LN
                                           CALGARY, AB T2P1T1                        WAKEFIELD, NH 03872
                                           CANADA



FRT OF AMERICA LLC                         FRT OF AMERICA LLC                        FRX POLYMERS INC
ATTN GEN MNG                               ATTN GM                                   ATTN VICE PRES RESEARCH &
48 SOUTH RD, UNIT 1                        121R NORTH PLAINS INDUSTRIAL RD           APPLICATIONS
SOMERS, CT 06071                           WALLINGFORD, CT 06492                     200 TURNPIKE RD
                                                                                     CHELMSFORD, MA 01824



FRY COMMUNICATIONS INC                     FRYE FENCE CO INC                         [NAME REDACTED]
ATTN VP                                    3221 DURHAM DR                            [ADDRESS REDACTED]
800 W CHURCH RD                            RALEIGH, NC 27603
MECHANICSBURG, VA 17055




FRYS ELECTRONICS INC                       FRYS METALS INC                           FS.COM INC
600 E BROKAW RD                            ATTN VP MARKETING                         380 CENTERPOINT BLVD
SAN JOSE, CA 95112-1006                    600 RTE 440                               NEW CASTLE, DE 19720-8100
                                           JERSEY CITY, NJ 07303




FSI INTERNATIONAL INC                      FST-HEA, LLC                              FTD AUTOMATION PVT LTD
ATTN PRESIDENT, SURFACE CONDITIONING       8601 SIX FORKS ROAD, SUITE 400            ATTN DIRECTOR
DIV                                        RALEIGH, NC 27615-5276                    7, 1ST FL, 100 FEET RD
3455 LYMAN BLVD                                                                      17TH MAIN, 5TH BLOCK, KORAMANGALA
CHASKA, MN 55318                                                                     BANGALORE 560095 INDIA



FTD SOLUTIONS INC                          FTI CONSULTING (SC) INC                   FTP TECHNOLOGY INC
5775 MARK DABLING BLVD                     ATTN SMD, HEAD STRATEGIC                  ATTN DIRECTOR
COLORADO SPRINGS, CO 80919-2218            COMMUNICATIONS                            2525 BROCKTON
                                           WALL STREET PLZ                           AUSTIN, TX 78785
                                           88 PINE ST, 32ND FL
                                           NEW YORK, NY 10005


FTWILD COMMUNICATIONS GMBH                 FU SHAN TECHNOLOGY LTD CO                 [NAME REDACTED]
ATTN MANAGING DIRECTOR                     ATTN CHUAN-SHIANG LIN                     [ADDRESS REDACTED]
TEMPELHOFER UFER 1                         NO 66-6, SEC 2, FENLIAO RD, LINKOU DIST
BERLIN D-10961                             NEW TAIPEI CITY 244
GERMANY                                    TAIWAN



[NAME REDACTED]                            [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                        [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  303 of 944
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[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




FUJANT INC                              FUJI ELECTRIC CO LTD                  FUJI ELECTRIC EUROPE GMBH
ATTN PRESIDENT & CEO                    ATTN GENERAL MANAGER                  ATTN GENERAL MANAGER
6305 CARPINTERIA AVE, STE 300           4-18-1, TSUKAMA, MATSUMOTO            GOETHERING 58
CARPINTERIA, CA 93013                   NAGANO 390-0821                       OFFENBACH 63067
                                        JAPAN                                 GERMANY



FUJI ELECTRONICS CO LTD                 FUJI HEAVY INDUSTRIES LTD             FUJI HITACHI POWER SEMICONDUCTOR CO
OCHANOMIZU CTR BLDG                     ATTN SR GEN MGR                       LTD
3-2-12 HONGO BUNK YO-KU                 1-7-2, NISHI-SHINJUKU, SHINJUKU-KU    ATTN DIRECTOR
TOKYO 113-8444                          TOKYO 160-8316                        4010-31 MINAMI-NISHIHARA WADA
JAPAN                                   JAPAN                                 MATSUMOTO-SHI, NAGANO 390-1242
                                                                              JAPAN


FUJIAN EAST PROMOTIONS CO LTD           FUJIAN FORTUNE TECHNOLOGY CO LTD      FUJIAN GUANGNENG TECHNOLOGY CO LTD
15/F, 124 SHIBIAN RD                    OPTICAL ELECTRONIC INDUSTRIAL PARK    4/F THROUGH 226-3
JINSHAN INDUSTRY DISTRICT               FA1-(3)1 AREA                         LAKE RD, GULOU DIST
CANGSHAN, FUZHOU                        LIANCHENG COUNTY INDUSTRIAL PARK      FUZHOU CITY, FUJIAN
FUJIAN 350007 CHINA                     LONGYAN, FUJIAN CHINA                 CHINA



FUJIAN LIGHTING OPTOELECTRONIC CO LTD   FUJIBO EHIME CO LTD                   FUJIFILM BUSINESS INNOVATION
OPTOELECTRONIC INDUSTRY PARK            ATTN VP                               HONG KONG LIMITED
HUTOU COUNTY ANXI TOWN                  18-12, 1-CHOME, NINGYOCHO             11/F, 12 TAIKOO WAN ROAD, TAIKOO SH
QUANZHOU FUJIAN 362411                  NIHONBASHI, CHUO-KU                   HONG KOMG 999077
CHINA                                   TOKYO 103-0013 JAPAN                  HONG KONG



FUJIFILM ELECTRONIC MAT USA INC         FUJIMI CORPORATION                    FUJIMI INC
300 THROCKMORTON ST, STE 1800           11200 SW LEVETON DRIVE                ATTN DIRECTOR SALES DIV
FORT WORTH, TX 76102                    TUALATIN, OR 97062-8094               2-1-1 CHIRYO NISHIBIWAJIMA-CHO
                                                                              NISHIKASUGAI-GUN
                                                                              KIYOSU, AICHI 452-8502 JAPAN



FUJIPOLY AMERICA CORP                   FUJITSU LABORATORIES LTD              FUJITSU QUANTUM DEVICES LTD
ATTN PRESIDENT                          ATTN PHOTONICS & ELECTRONICS LAB GM   ATTN GRP DIR, MICROWAVE COMM DEV GRP
900 MILIK ST                            4-1-1, KAMIODANAKA                    1000 KAMISUKIAWARA, SHOWA-CHO
P.O. BOX 119                            NAKAHARA-KU                           NAKAHARA-KU
CARTERET, NJ 07008                      KAWASAKI 211-8588 JAPAN               YAMANASHI-KEN 409-3883 JAPAN



FUKUOKA UNIVERSITY                      [NAME REDACTED]                       FULCRUM TECHNOLOGIES INC
ATTN PROFESSOR                          [ADDRESS REDACTED]                    9528 SW TUALATIN RD
8-19-1, NANAKUMA, JOHNAN                                                      TUALATIN, OR 97062
FUKUOKA 814-0180
JAPAN



FULHAM CO INC                           FULL SPECTRUM LASER LLC               FULL WAFER ANALYSIS
ATTN CFO                                ATTN SALES MGR                        ATTN PRES
12705 S VAN NESS AVE                    6216 S SANDHILL RD                    2326 WALSH AVE, BLDG H
HAWTHORNE, CA 90250                     LAS VEGAS, NV 89120                   SANTA CLARA, CA 95051




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 FULLER
                                          [NAME REDACTED]                       PageROAD
                                                                                     304MANAGEMENT
                                                                                         of 944    CORPORATION
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 ATTN: PRESIDENT; GENERAL COUNSEL
                                                                              257 FULLER ROAD
                                                                              ALBANY, NY 12203




[NAME REDACTED]                            [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                    FULLTECH INDUSTRY (KUNSHAN) CO LTD
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 ATTN SALES LEADER
                                                                              NO. 159 CHENFENG DONG RD
                                                                              KUNSHAN
                                                                              SUZHOU, JIANGSU 215301 CHINA



FULTEC PTY LTD                             FULTEC PTY LTD                     [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER               ATTN CHIEF EXECUTIVE OFFICER       [ADDRESS REDACTED]
2ND FL, IMB ANNEX, OLD MURPHY RD           P.O. BOX 6248
UNIVERSITY OF QUEENSLAND                   ST LUCIA, QLD 4072
ST LUCIA, QLD 4072 AUSTRALIA               AUSTRALIA



FUNAI ELECTRIC CO LTD                      [NAME REDACTED]                    FUNCTIONAL DEVICES INCORPORATED
7-7-1, NAKAGAITO, DAITO                    [ADDRESS REDACTED]                 ATTN PRESIDENT
OSAKA 574-0013                                                                310 S UNION ST
JAPAN                                                                         P.O. BOX 368
                                                                              RUSSIAVILLE, IN 46979



FUNDACION TECNALIA RESEARCH &              FUNIQUE TECHNOLOGY                 FUNK VERSICHERUNGSMAKLER GMBH
INNOVATION                                 ATTN PROJECT MGR                   VALENTINSKAMP 20
ATTN ENERGY & ENVIRONMENT DIV DIR          980D BUANGKOK CRESCENT, 08-49      HAMBURG 20354
PARQUE CIENTIFICO Y TECH DE GIPUZKOA       SINGAPORE 536980                   GERMANY
MIKELETEGI PASEALEKUA, 2                   SINGAPORE
DONOSTIA-SAN SEBASTIAN E-20009 SPAIN


[NAME REDACTED]                            [NAME REDACTED]                    FUQING THREE SUN ELECTRONICS CO LTD
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 ATTN GEN MGR
                                                                              HONGKUAN INDUSTRIAL ZONE
                                                                              FUQING CITY
                                                                              FUJIAN CHINA



FUQUAY MECHANICAL INSULATION SERVIC        FURAXA INC                         [NAME REDACTED]
117 NORTH BUTTRESS DRIVE                   ATTN PRESIDENT                     [ADDRESS REDACTED]
FUQUAY-VARINA, NC 27526                    34 CANYON VIEW
                                           ORINDA, CA 94563




FUREY FILTER & PUMP INC                    FURUKAWA ELECTRIC CO LTD, THE      FURUKAWA ELECTRIC CO LTD, THE
ATTN CONTROLLER                            ATTN GM                            ATTN TEAM LEADER
N117 W19237 FULTON DR                      6-1, MARUNOUCHI 2-CHOME            1-9, HIGASHIYAWATA 5-CHROME
GERMANTOWN, WI 53022                       CHIYODA-KU                         HIRATSUKA, KANAGAWA 254-0016
                                           TOKYO 100-8322 JAPAN               JAPAN



FURUNO ELECTRIC CO LTD                     [NAME REDACTED]                    FUSE MARKETING & DISPLAYS LLC
ATTN GENERAL DEPT MGR                      [ADDRESS REDACTED]                 ATTN OWNER
9-52 ASHIHARA-CHO                                                             W226 N665 EASTMOUND DR, STE 105
NISHINOMIYA, HYOGO 662-8580                                                   WAUKESHA, WI 53186
JAPAN
FUSHENG ELECTRONICSCase   25-90163
                        CORP         Document  87 Filed
                                        FUSION ELECTRIC INCin TXSB on 07/03/25 FUSION
                                                                                 PageLIGHTING
                                                                                       305 ofINC
                                                                                              944
ATTN PRESIDENT                           3350 MONIER CIRCLE UNIT 3            ATTN MICHAEL URY
NO. 17, INDUSTRY E.RD.IX                 RANCHO CORDOVA, CA 95742-6835        15700 CRABBS BRANCH WAY
SCIENCE-BASED INDUSTRIAL PARK                                                 ROCKVILLE, MD 20855
HSIN-CHU TAIWAN



FUSION LIGHTING INC                      FUSION OPTIX INC                     FUSION OPTIX INC
ATTN SR VP OF OPERATIONS                 ATTN CEO                             ATTN TERENCE YEO, DR
7524 STANDISH PL                         19 WHEELING AVE                      179 SIDNEY ST
ROCKVILLE, MD 20855                      WOBURN, MA 01801                     CAMBRIDGE, MA 02139




FUSION RISK MANAGEMENT                   FUSION SEMICONDUCTOR SYSTEMS         FUSION UV SYSTEMS INC
2 NORTH RIVERSIDE PLAZA STE. 1000        C/O FUSION LIGTING INC               ATTN VP TECHNOLOGY
CHICAGO, IL 60606-0003                   15700 CREBBE BRANCH WAY              910 CLOPPER RD
                                         ROCKVILLE, MD 20855                  GAITHERSBURG, MD 20878




FUSION408                                FUTEK ADVANCED SENSOR TECHNOLOGY     FUTO ELECTRONIC IND CO LTD
ATTN SR STAFF TECH RECRUITER             INC                                  ATTN PRES
4848 SAN FELIPE RD 150-161               P.O. BOX 844891                      2105 SHIMOTANBARA NAKATOMI CHO
SAN JOSE, CA 95135                       LOS ANGELES, CA 90084-4891           MINAMIKOMA GUN
                                                                              YAMANASHI 409-3305 JAPAN



[NAME REDACTED]                          [NAME REDACTED]                      FUTU CLEARING INC. (4272)
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   ATT COLLETE REX
                                                                              12750 MERIT DR, STE 475
                                                                              DALLAS, TX 75251




FUTURA STAMPI SRL                        FUTURE ENERGY SOLUTIONS LLC          FUTURE LIGHT LLC
ATTN PRES                                ATTN DIR OF ENGINEERING              ATTN KEITH WILSON
VIA DEL LAVORO 2, MONTEROBERTO           2801 EVANS ST                        200 W EVELYN AVE, STE 100
ANCONA 60030                             HOLLYWOOD, FL 33020                  MOUNTAIN VIEW, CA 94041
ITALY



FUTURE NOW INDUSTRIES LTD                FUTURE PACKAGING GROUP INC           FUTURE PLAN SRL
ATTN PRESIDENT                           214 DUPONT STREET BLD D              ATTN ENGINEERING MGR
369 NAN HUAN XI LU                       SAN JOSE, CA 95110-4810              VIA GALILEO FERRARIS, 125/D
BLDG 4, OFFICE 1107                                                           BOLLATE (MI) 20021
SUZHOU 215007 CHINA                                                           ITALY



FUTURE TOOL COMPANY                      FUTUREWEI TECHNOLOGIES INC           FUTUREWEI TECHNOLOGIES INC
ATTN OWNER                               ATTN VICE PRESIDENT                  DBA HUAWEI TECHNOLOGIES
612 SIKES MILL RD                        400 CROSSING BLVD, FL 2              ATTN DIRECTOR
MONROE, NC 28110                         BRIDGEWATER, NJ 07950                2301 W PLANO PKWY
                                                                              PLANO, TX 75075



FUTUREWEI TECHNOLOGIES INC               FUTURREX INC                         FUZHOU JJ INDUSTRIES INC
DBA HUAWEI TECHNOLOGIES                  24 MUNSONHURST ROAD                  ATTN PRESIDENT
ATTN VICE PRESIDENT R&D                  FRANKLIN, NJ 07416-1803              WANGFENG RD, YIXU INDUSTRIES PARK
5340 LEGACY DR, STE 175                                                       FUZHOU, PR 350026
PLANO, TX 75024                                                               CHINA



FUZHOU PHOTOP OPTICS CO LTD              FZTECH INC                           G ALBINI SRL
ATTN VP                                  5F-6, NO 496, BANNAN RD              ATTN ADMIN
12 HOUYU RD                              JUNG HE CITY                         VIA ARIOSTO 11
P.O. BOX 206                             TAIPEI 235                           BARBAIANA
FUZHOU, FUJIAN 350014 CHINA              TAIWAN                               MILANO 20020 ITALY
G FINKENBEINER INCCase 25-90163   Document
                                     G&G LED87
                                             LLC Filed in TXSB on 07/03/25 G&H
                                                                            Page   306 of 944
                                                                               ENTERPRISES, LLC
ATTN VP                               ATTN PRESIDENT                        RENTALS TO GO
33 RUMFORD AVE                        7509 N BROADWAY, STE 2                6108 COUNTY ROAD 32
WALTHAM, MA 02453                     RED HOOK, NY 12571                    NORWICH, NY 13815-3713




G&S BUSINESS COMMUNICATIONS           G2 HOLDINGS LLC                       G2 INSURANCE SERVICES INC
111 WEST 33RD STREET                  ATTN PRESIDENT                        14260 W GREENFIELD AVE
NEW YORK, NY 10001-2904               13407 SIR BRITTON CT                  P.O. BOX 1325
                                      CHESTERFIELD, VA 23832                BROOKFIELD, WI 53008-1325




G2 TECHNOLOGIES INC                   G2 TEST AND MEASUREMENT               G2V OPTICS INC
ATTN PRES                             ATTN PRES                             ATTN PRESIDENT
1050 CLASSIC RD                       1050 CLASSIC RD, STE 100              5963 103A ST NW
APEX, NC 27539                        APEX, NC 27539                        EDMONTON, AB T6H 2J7
                                                                            CANADA



G3 INC                                G4S SECURITY SYSTEMS (HONG KONG) LI   G4S TECHNOLOGY (CHINA) CO., LTD.
DBA PHOTO ETCH TECH                   1/F SECURICOR CENTRE                  RMV05 15/F NO.12 ZHUJIANG EAST ROAD
ATTN PRESIDENT                        HONG KONG 999077                      GUANGZHOU 510623
71 WILLIE ST                          HONG KONG                             CHINA
LOWELL, MA 01854



GAAS MANTECH, INC.                    [NAME REDACTED]                       [NAME REDACTED]
9459 SW GEMINI DR 26585               [ADDRESS REDACTED]                    [ADDRESS REDACTED]
BEAVERTON, OR 97008




GABRIEL BENSMAYOR SA                  [NAME REDACTED]                       [NAME REDACTED]
DBA AISMALIBAR NO AMER                [ADDRESS REDACTED]                    [ADDRESS REDACTED]
ATTN PRESIDENT
79 MILLIKEN BLVD, UNIT 4
TORONTO, ON M1V 1V3 CANADA



[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




GAGGIONE SAS                          GAIA GROUP PUBLIC RELATIONS LLC       GAIN MICROWAVE
ATTN SALES MGR OPTICS DIV             ATTN PRESIDENT                        ATTN CEO
3 RUE DE LA ROLLAND                   302 CAMERON STATION BLVD              3701 CARLING AVE, BLD 94, STE 216
MONTREAL LA CLUSE 01460               ALEXANDRIA, VA 22304                  OTTAWA, ON K2H 8S2
FRANCE                                                                      CANADA



GAIN MICROWAVE                        GAINSPAN CORP                         [NAME REDACTED]
ATTN GEN MGR                          ATTN VP OF BUSINESS DEV               [ADDRESS REDACTED]
1200 MONTREAL RD                      3590 N 1ST ST, STE 300
OTTAWA, ON K1A 0R6                    SAN JOSE, CA 95134
CANADA
                  Case
GAIUS INDUSTRIES CO LTD 25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  307 of 944
                                                                                 REDACTED]
ATTN PRESIDENT                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]
10-59 YANGJAE-DONG, CANA BLDG
SEOCHO-GU
SEOUL 137-887 SOUTH KOREA



GALAXY TECHNOLOGY DEVELOPMENT           [NAME REDACTED]                       GALCO INDUSTRIAL ELECTRONICS, INC.
COMPA                                   [ADDRESS REDACTED]                    26010 PINEHURST DRIVE
COMPANY                                                                       MADISON HEIGHTS, MI 48071-4139
NO 22-1 WUQUAN 7TH RD
WUGU DIST
NEW TAIPEI CITY 24890 TAIWAN


GALE FORCE SPORTS & ENTERTAINMENT       GALE FORCE SPORTS & ENTERTAINMENT     [NAME REDACTED]
LLC                                     LLC                                   [ADDRESS REDACTED]
ATTN MICHAEL AMENDOLA, VP               C/O NELSON MULLINS
PNC ARENA                               ATTN DENNIS WICKER
1400 EDWARDS MILL RD                    4140 PARKLAKE AVE, STE 200
RALEIGH, NC 27607                       RALEIGH, NC 27612


[NAME REDACTED]                         [NAME REDACTED]                       GALLAGHER FLUID SEALS INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    ATTN PRESIDENT
                                                                              500 HERTZOG BLVD
                                                                              KING OF PRUSSIA, PA 19406




GALLAGHER RISK & REWARD LTD             [NAME REDACTED]                       GALLANT TECH LTD
DBA ARTHUR J GALLAGHER                  [ADDRESS REDACTED]                    ATTN GM
ATTN CHIEF EXEC                                                               X/7, NO 28, HUNG TO RD, KWUN TONG
25 WALBROOK                                                                   KOWLOON
LONDON EC4N 8AW UNITED KINGDOM                                                HONG KONG



[NAME REDACTED]                         GALLIUM ARSENIDE ENABLING TECH        GALLIUM LIGHTING LLC
[ADDRESS REDACTED]                      CENTRE                                ATTN DIR OF OPERATIONS
                                        MINISTRY OF DEFENSE - SITAR           116 BETHEA RD, STE 402
                                        DRDO BHAWAN, RAJAJI MARG              FAYETTEVILLE, GA 30214
                                        NEW DELHI 110011
                                        INDIA


[NAME REDACTED]                         GALLO MECHANICAL LLC                  GALLOWAY PLASTICS INC
[ADDRESS REDACTED]                      4141 BIENVILLE STREET, STE 100        DBA GPI PROTOTYPE & MANUFACTURING
                                        NEW ORLEANS, LA 70119-5145            ATTN VP SALES & MKTG
                                                                              940 NORTH SHORE DR
                                                                              LAKE BLUFF, IL 60044



[NAME REDACTED]                         [NAME REDACTED]                       GALVIN HOLDINGS INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    ATTN PRESIDENT
                                                                              135 BEAVER ST, STE 206
                                                                              WALTHAM, MA 02452




[NAME REDACTED]                         GAM BRO CONSTRUCTION & REMODELING L   GAMBHIR, PIYUSH
[ADDRESS REDACTED]                      3416 TERAVISTA WAY                    1315 MORREENE RD
                                        RALEIGH, NC 27616-9310                DURHAM, NC 27705




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document 87 INCFiled in TXSB on 07/03/25 GAMEWELL
                                   GAMESTOP                               Page 308   of 944 (SALISBURY) INC
                                                                                  MECHANICAL
[ADDRESS REDACTED]                  625 WESTPORT PKWY                     ATTN BD MANAGER
                                    GRAPEVINE, TX 76051                   727 BENDIX DR
                                                                          SALISBURY, NC 28146




GAMING ENERGY SOLUTIONS LLC         GAMMA SCIENTIFIC INC                  GAMMA SP ZOO
ATTN VP                             ATTN PRESIDENT/ CTO                   ATTN CEO
2026 PACKERLAND DR                  8581 AERO DR                          UL KACZA 6 LOK A
GREEN BAY, WI 54155                 SAN DIEGO, CA 92123                   WARSAW 01-013
                                                                          POLAND



GAN SYSTEMS INC                     [NAME REDACTED]                       [NAME REDACTED]
ATTN JIM WITHAM, CEO                [ADDRESS REDACTED]                    [ADDRESS REDACTED]
1145 INNOVATION DR
OTTAWA, ON K2K 3G8
CANADA



[NAME REDACTED]                     [NAME REDACTED]                       GANNETT FLEMING PROJECT DEV CORP
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    ATTN PRES
                                                                          207 SENATE AVE
                                                                          CAMP HILL, PA 17011




[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     GARCHINGER TECHNOLOGIE UND            [NAME REDACTED]
[ADDRESS REDACTED]                  GRUNDERZENTRUM GMBH                   [ADDRESS REDACTED]
                                    LICHTENBERGSTRASSE 8
                                    GARCHING 85748
                                    GERMANY



[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                       GARDCO-EMCO LIGHTING
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    1611 CLOVIS BARKER RD
                                                                          SAN MARCOS, TX 78666
GARDNER & MEREDITHCase
                   INC 25-90163     Document 87DENVER
                                       GARDNER    FiledTHOMAS
                                                         in TXSB
                                                              INC on 07/03/25 [NAME
                                                                                Page  309 of 944
                                                                                    REDACTED]
ATTN VP                                 ATTN MANAGING DIR                    [ADDRESS REDACTED]
5504 CASTLEBROOK DR                     1419 ILLINOIS AVE
RALEIGH, NC 27604                       SHEBOYGAN, WI 53081




GARDTEC INC                             GARG, GOPAL                          [NAME REDACTED]
ATTN PRESIDENT                          44506 VISTA GRANDE CT                [ADDRESS REDACTED]
2909 MT PLEASANT ST                     FREMONT, CA 94539
RACINE, WI 53404




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         GARMIN AVIATION TECHNOLOGIES         GARMIN INTERNANTIONAL INC
[ADDRESS REDACTED]                      2345 TURNER RD SE                    ATTN GEN COUNSEL
                                        SALEM, OR 97302                      1200 E 151ST ST
                                                                             OLATHE, KS 66062




GARMIN USA INC                          [NAME REDACTED]                      [NAME REDACTED]
ATTN DIR OF AVIATION SUPPLY CHAIN       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
1200 E 151ST ST
OLATHE, KS 66062




[NAME REDACTED]                         [NAME REDACTED]                      GARNEY COMPANIES INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   1700 SWIFT STREET
                                                                             KANSAS CITY, MO 64116




GARNEY COMPANIES, INC.                  [NAME REDACTED]                      GARRATT-CALLAHAN CO
12927 US 64 SUITE 103                   [ADDRESS REDACTED]                   ATTN DIST MGR
APEX, NC 27523                                                               50 INGOLD RD
                                                                             BURLINGAME, CA 94010




GARRECHT AVIONIK GMBH                   [NAME REDACTED]                      [NAME REDACTED]
ALFRED-NOBEL-STRASSE 2D                 [ADDRESS REDACTED]                   [ADDRESS REDACTED]
BINGEN AM RHEIN 55411
GERMANY




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 GARRITY
                                   [NAME REDACTED]                      Page INDUSTRIES
                                                                               310 of 944
                                                                                        INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  ATTN PRESIDENT
                                                                        14 NEW RD
                                                                        MADISON, CT 06443




[NAME REDACTED]                     [NAME REDACTED]                     GARTNER EQUIPMENT CO., INC.
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  302 SAND ST
                                                                        SYRACUSE, NY 13204-1234




GARTNER INC                         [NAME REDACTED]                     [NAME REDACTED]
56 TOP GALLANT ROAD                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]
STAMFORD, CT 06902-7700




[NAME REDACTED]                     GARWOOD METAL COMPANY INC           GARY PLASTIC PKG. CO.
[ADDRESS REDACTED]                  ATTN VP                             1340 VIELE AVE
                                    231 NORTH AVE                       BRONX, NY 10474-7134
                                    GARWOOD, NJ 07027




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     GAS EQUIPMENT CO INC                GASFLO PRODUCTS
[ADDRESS REDACTED]                  11616 HARRY HINES BLVD              12 DWIGHT PLACE
                                    DALLAS, TX 75229-2203               FAIRFIELD, NJ 07004-3414




[NAME REDACTED]                     GATAN INC                           GATE PRECAST CO
[ADDRESS REDACTED]                  ATTN PRODUCT MANAGER                ATTN SALES MANAGER
                                    5933 CORONADO LN                    9540 SAN JOSE BLVD
                                    PLEASANTON, CA 94588                JACKSONVILLE, FL 32257




GATES CONSTRUCTION CO INC           [NAME REDACTED]                     GATEWAY ASIAN SOURCING CORP
ATTN ESTIMATOR                      [ADDRESS REDACTED]                  ATTN VP
P.O. BOX 150                                                            7F-6, NO 1, WU CHUAN 1ST RD
MOORESVILLE, NC 28115                                                   HSIN CHUANG CITY
                                                                        TAIPEI HSIEN 24892 TAIWAN



GATEWAY DISTRIBUTION                GATEWAY MODELING INC                [NAME REDACTED]
720 W MCALLISTER ST                 ATTN CEO                            [ADDRESS REDACTED]
LEBANON, IL 62254-2642              1604 EAST RIVER TERRACE
                                    MINNEAPOLIS, MN 55414




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 [NAME
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[NAME REDACTED]                            [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]




GAVITA HOLLAND BV                          [NAME REDACTED]                        [NAME REDACTED]
ATTN DIRECTOR OF ENG                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]
EUROQUATICS, OOSTEINDERWEG 127
AALSMEER 1432 AH
NETHERLANDS



[NAME REDACTED]                            GAYLOR ELECTRIC INC                    [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN SERVICE MGR                       [ADDRESS REDACTED]
                                           5750 CASTLE CREEK PKWY N DR, STE 400
                                           INDIANAPOLIS, IN 46250




GB TECHNOLOGIES INC                        GBT US LLC                             GC AERO
ATTN PRES                                  DBA AMERICAN EXP GLOBAL BUSINESS       ATTN DIR OF SALES
14460 NEW FALLS OD NEUSE RD                TRAVEL                                 3165 FUJITA ST
RALEIGH, NC 27614                          ATTN VP, SALES                         TORRANCE, CA 90505
                                           101 HUDSON ST, FL 34
                                           JERSEY CITY, NJ 07302


GCA COMMERCIAL FACILITY SERVICES INC       GCA SERVICES GROUP INC                 GCA SERVICES GROUP OF NORTH
ATTN PRESIDENT                             ATTN PRESIDENT & CEO                   CAROLINA INC
3400-C W WENDOVER AVE                      300 CONSHOHOCKEN STATE RD, STE 650     ATTN PRESIDENT
GREENSBORO, NC 27407                       W CONSHOHOCKEN, PA 19428               COMMERCIAL DIV EAST
                                                                                  3400-C W WENDOVER AVE
                                                                                  GREENSBORO, NC 27407


GCE MARKET INC                             GCIS CHINA STRATEGIC RESEARCH          G-COM CO LTD
1001 LOWER LANDING ROAD SUITE 307          ATTN MULTI-CLIENT STUDIES MGR          ATTN VICE PRESIDENT
BLACKWOOD, NJ 08012-3120                   2 JIUXIANQIAOLU                        3-24-87, CHIDORIGAOKA
                                           BEIJING 100015                         TARUMIKU, KOBE 655-0011
                                           CHINA                                  JAPAN



GCS QUALITY REGISTRARS LLC                 GD HANS YUEMING LASE TECHNOLOGY CO     GDANSK UNIVERSITY OF TECHNOLOGY -
ATTN BUS DIRECTOR                          LTD                                    FACULTY OF ELECTRONICS (WETI)
1603 RIKA POINT                            ATTN SALES DIR                         UL. NARUTOWICZA 11/12
HOUSTON, TX 77077                          28 E INDUSTRIAL RD, SONGSHAN LAKE      GDANSK 80-952
                                           HIGH TECH INDUSTRIAL DEVELOPMENT       POLAND
                                           ZONE
                                           DONGGUAN, GUANGDONG CHINA

GDC GROUP INC                              GDM HUMAN CAPITAL LTD                  GDSI
ATTN PRESIDENT                             ATTN MANAGING DIR                      ATTN SR PROCESS MGR
2274 S 1300 E, STE 270                     STE D, 16/F, ONHING BLDG               925 BERRYESSA RD
SALT LAKE CITY, UT 84106                   1 ON HING TERRACE                      SAN JOSE, CA 95133
                                           CENTRAL HONG KONG
                  Case 25-90163
GE ADVANCED MATERIALS               Document  87 SYSTEMS
                                       GE AVIATION Filed inLTD
                                                            TXSB on 07/03/25 GEPage   312
                                                                                CAPITAL    of 944
                                                                                        GLOBAL ELECTRONICS
ATTN MGR / SILICONES TECH               ATTN GLOBAL COMMODITY LEADER          SOLUTIONS INC
187 DANBURY RD                          CHELTENHAM RD, BISHOPS CLEEVE         ATTN VP
WILTON, CT 06897                        CHELTENHAM                            2050 MARTIN AVE
                                        GLOUCESTERSHIRE GL52 8SF UNITED       SANTA CLARA, CA 95050
                                        KINGDOM


GE CHINA TECHNOLOGY CENTER              GE COMMERCIAL FINANCE                 GE CONSUMER AND INDUSTRIAL SA
ATTN DESIGN MANAGER                     2050 MARTIN AVE                       ATTN CONSULTING ENGINEER
3/F EAST WING 1800 CALIUN RD            SANTA CLARA, CA 95050                 VIA CANTONALE 50
ZHANGJIANG HIGH TECH PARK, PUDONG                                             RIAZZINO 6595
SHANGHAI 201203 CHINA                                                         SWITZERLAND



GE HEALTHCARE                           GE LIGHTING SYSTEMS INC               GE LIGHTING SYSTEMS INC
ATTN ARCHITECT ENGINEER                 ATTN EVAN KARRS                       ATTN PRESIDENT
282 RUE DE LA MINIERE                   1975 NOBLE RD, BLDG 315, RM 202A      3010 SPARTANBURG HWY
BUC 78530                               CLEVELAND, OH 44112-6300              EAST FLAT ROCK, NC 28726
FRANCE



GE POLYMERLAND INC                      GE QUARTZ INC                         GE SOIL GOLD
DBA GE POLYMERSHAPES                    4901 CAMPBELL RD
ATTN REGIONAL MGR                       WILLOUGHBY, OH 44094
9930 KINCEY AVE
HUNTERSVILLE, NC 28078



GE SUPPLY                               GE XIAN INNOVATION CENTER             [NAME REDACTED]
GLOBE CENTERS, STE 110                  ATTN PROJECT MANAGER                  [ADDRESS REDACTED]
MORRISVILLE, NC 27560                   BLDG E, LONGCHEER PARK, NO 29
                                        JINYE 1ST RD, HI-TECH ZONE
                                        XIAN SHANXI 710065 CHINA



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
GEDMAN, STEVEN M Case 25-90163      Document 87 Filed
                                       GEE GRAPHITE LTD in TXSB on 07/03/25 [NAME
                                                                              Page  313 of 944
                                                                                  REDACTED]
                                        ATTN MANAGING DIRECTOR                      [ADDRESS REDACTED]
                                        HAVELOCK ST
                                        RAVENSTHORPE IND ESTATE
                                        DEWSBURY WF13 3LU UNITED KINGDOM



[NAME REDACTED]                         [NAME REDACTED]                             GEITZ MACHINE INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                          ATTN VICE PRESIDENT
                                                                                    4422 OLD BETHLEHEM PK
                                                                                    TELFORD, PA 18969




GEL GEOPHYSICS LLC                      GELCORE LLC                                 GELEST INC
ATTN DIRECTOR                           ATTN DIRECTOR BUSINESS DEVELOPMENT          ATTN EXEC VICE PRESIDENT
2040 SAVAGE RD                          6180 HALLE DR                               11 E STEEL RD
CHARLESTON, SC 29407                    VALLEY VIEW, OH 44125                       MORRISVILLE, PA 19067




GELLER MICROANALYTICAL LABORATORY       [NAME REDACTED]                             [NAME REDACTED]
INC                                     [ADDRESS REDACTED]                          [ADDRESS REDACTED]
ATTN PRESIDENT
426E BOSTON ST
TOPSFIELD, MA 01983



GEL-PAK                                 GEM CITY ENGINEERING CO, THE                GEM ELETTRONICA SRL
31398 HUNTWOOD AVE                      ATTN DIRECTOR OF ESTIMATING                 ATTN TECHNICAL DIR
HAYWARD, CA 94544-7818                  1425 N KEOWEE ST                            VIA AMERIGO VESPUCCI 9
                                        DAYTON, OH 45404                            SAN BENEDETTO DEL TRONTO
                                                                                    ASCOLI PICENO 63074 ITALY



GEM SERVICES USA INC                    GEMS SENSORS INC                            GEN3 SEMICONDUCTOR PTE. LTD.
ATTN DIR, NA & EUROPE SALES             133 DEFENSE HIGHWAY                         683A JURONG WEST CENTRAL 1 07-120
2880 LAKESIDE DR, STE 203               ANNAPOLIS, MD 21401-7098                    SINGAPORE 641683
SANTA CLARA, CA 95054                                                               SINGAPORE




GENCOA LIMITED                          GENERAC HOLDINGS INC                        GENERAC POWER SYSTEMS INC
ATTN MANAGING DIR                       ATTN ERIC SENECAL, SR DIR SUPPLY OPS        ATTN PROJECT MGR
4 DE HAVILLAND DR                       S45W29290 HWY 59                            S45W29290 STATE RD 59
ESTUARY COMMERCE PARK                   WAUKESHA, WI 53189                          WAUKESHA, WI 53189
LIVERPOOL L24 8RN UNITED KINGDOM



GENERAL ATOMICS                         GENERAL AUTOMATIC TRANSFER CO               GENERAL CHEMICAL CORP
ATTN SVP & COO                          ATTN PRESIDENT                              ATTN TOM TESTA
3550 GENERAL ATOMICS CT                 100 LARKIN WILLIAMS INDUSTRIAL CT           501 NICHOLS RD
SAN DIEGO, CA 92121                     ST LOUIS, MO 63026                          PITTSBURGH, PA 94565




GENERAL CHEMICAL CORP                   GENERAL COMPONENTS INDUSTRY CORP            GENERAL CONTROL SYSTEMS INC
ATTN VP & GEN COUNSEL                   NO. 24, ALLEY 15, LANE 151, SEC. 2,CHUNG-   17 CORPORATE CIRCLE
90 EAST HALSEY RD                       SHAN RD                                     ALBANY, NY 12203-5154
PARSIPPANY, NJ 07054                    SHUN-LIN CITY
                                        TAIPEI HSIEN
                                        TAIWAN


GENERAL DIGITAL CORP                    GENERAL DYNAMICS ADVANCED INFO              GENERAL DYNAMICS C4 SYSTEMS INC
ATTN PRESIDENT                          SYSTEMS INC                                 ATTN SUPPLY CHAIN MGR
8 NUTMEG RD S                           ATTN TERESA B GENTRY, LEAD SPEC             8201 E MCDOWELL RD
SOUTH WINDSOR, CT 06074                 CONTRACTS                                   SCOTTSDALE, AZ 85257
                                        CAROLINA CORPORATE CENTER
                                        P.O. BOX 26002
                                        GREENSBORO, NC 27420-6002
GENERAL DYNAMICSCase    25-90163
                  DECISION SYSTEMS   Document 87
                                        GENERAL    Filed LAND
                                                DYNAMICS in TXSB   on INC
                                                              SYSTEMS  07/03/25 GENERAL
                                                                                 Page 314   of 944
                                                                                        DYNAMICS SATCOM
INC                                      ATTN PDA ADMIN                         TECHNOLOGIES INC
ATTN MIKE GREENE                         38500 MOUND RD                         ATTN PURCHASING MANAGER
8220 E ROOSEVELT                         STERLING HEIGHTS, MI 48310             60 DECIBEL RD, STE 200
SCOTTSDALE, AZ 85257                                                            STATE COLLEGE, PA 16801



GENERAL ELECTRIC CO                      GENERAL ELECTRIC CO                    GENERAL ELECTRIC CO
ATTN GM, ELECTRICAL POWER                ATTN GM, ELECTRICAL POWER              ATTN MNST, MGR
1 NEUMANN WAY                            1000 WESTERN AVE                       ONE RESEARCH CIR
CINCINNATI, OH 45215-6301                LYNN, MA 01910                         NISKAYUNA, NY 12309




GENERAL ELECTRIC CO                      GENERAL ELECTRIC COMPANY               GENERAL ELECTRIC COMPANY
C/O GE SUPERABRASIVES                    3135 EASTON TPKE                       ATTN INSIDE SALES MGR
ATTN VP & GM                             FAIRFIELD, CT 06828                    4901 CAMPBELL RD
6325 HUNTLEY RD                                                                 WILLOUGHBY, OH 44094
WORTHINGTON, OH 43085



GENERAL ELECTRIC COMPANY                 GENERAL ELECTRIC COMPANY               GENERAL ELECTRIC COMPANY
ATTN LED TECHNOLOGY MNG                  ATTN MGR, COMMERCIAL SALES             ATTN RONALD NASTER
1975 NOBLE RD, NELA PARK                 8499 DARROW RD                         P.O. BOX 4840 - EP 3-265
EAST CLEVELAND, OH 44112                 TWINSBURG, OH 44087                    SYRACUSE, NY 13221




GENERAL ENGINEERING & ENVIRONMENTAL      GENERAL INSTRUMENT CORP                GENERAL LED INC
OF NC INC                                ATTN VP                                ATTN CTO
P.O. BOX 14262                           600 W JOHN ST                          1218 ARION PKWY, STE 108
RESEARCH TRIANGLE PARK, NC 27709-4262    HICKSVILLE, NY 11802                   SAN ANTONIO, TX 78216




GENERAL LUMINAIRE (SHANGHAI) LTD         GENERAL MARINE SERVICE DOO             GENERAL MICROCIRCUITS INC
ATTN PRESIDENT                           ATTN GMS                               ATTN PRES
7F NO. 1128 JINDU RD                     OBRTNA ULICA 11                        1133 N MAIN ST
MINHANG DIST                             IZOLA 6310                             MOORESVILLE, NC 28115
SHANGHAI 201108 CHINA                    SLOVENIA



GENERAL MOTORS HOLDINGS LLC              GENERAL MOTORS LLC                     GENERAL MOTORS LLC
ATTN: KRISTIN TOTH                       300 RENAISSANCE CENTER                 COLE ENGINEERING CENTER
29775 LOUIS CHEVROLET ROAD               DETROIT, MI 48265-3000                 29775 LOUIS CHEVROLET RD
WARREN, MI 48093                                                                WARREN, MI 48093-2350




GENERAL PRECISION SERVICES               GENERAL SUPPLY & SERVICES INC          GENERAL TECHNICAL SERVICES LLC
321 E MAIN ST                            DBA GEXPRO                             ATTN CONTRACTS ADMIN
CLAYTON, NC 27250                        ATTN BRANCH MGR                        3100 RTE 138, BLDG 3
                                         6600 LYNDON B JOHNSON FWY, STE 184     WALL TOWNSHIP, NJ 07719-9797
                                         DALLAS, TX 75240



GENERAL TOOL & DIE CO INC                [NAME REDACTED]                        GENERATION BRANDS LLC
ATTN TREASURER                           [ADDRESS REDACTED]                     ATTN ENGINEERING VP
1420 9TH ST                                                                     7400 LINDER AVE
RACINE, WI 53403                                                                SKOKIE, IL 60007




GENESIS ADVISERS, LLC                    GENESIS DEVICES E EQUIP. INDUSTRIA E   GENESIS DEVICES E EQUIPMENT -
P.O. BOX 990102                          COMERCIO LTDA                          INDUSTRIA E COMERCIO LTDA
BOSTON, MA 02199-0102                    RUA LORD COCKRANE - 494, IPIRANGA      ATTN MARIO SERGIO MARTINS, DIR
                                         SAO PAULO, SP 04213001                 R SIRIDIAO DURVAL, 102-C
                                         BRAZIL                                 ILHEUS, BAHIA 45652-165 BRAZIL
                 Case 25-90163
GENESIS ENTERPRISE                  Document
                                       GENESIS87   Filed in TXSB
                                               LED SOLUTIONS INC on 07/03/25 GENESIS
                                                                              Page PHOTONICS
                                                                                     315 of 944
ATTN MANAGING DIR                       ATTN SR VP                            NO 5 DALI 3RD R, TAINAN SCIENCE PK
109 COUNTY RD 18                        1000 JUPITER RD, STE 100              TAINEN 74144
STE-ANNE DE PRESCOTT, ON K0B 1M0        PLANO, TX 75074                       TAIWAN
CANADA



GENESIS TECHNOLOGY INCUBATOR            GENESIS TECHNOLOGY SHANGHAI CO LTD    GENIUS ELECTRONIC OPTICAL CO LTD
535 W RESEARCH CENTER BLVD              ATTN MANAGING DIR                     CENTRAL TAIWAN SCIENCE PARK
FAYETTEVILLE, AR 72701                  1305 BUILDING C                       NO. 1, KEYA E RD, DAYA TOWNSHIP
                                        70 CAOBAO RD                          TAICHUNG 428
                                        SHANGHAI 200235 CHINA                 TAIWAN



GENIUS ELECTRONICS OPTICAL CO LTD       GENLYTE THOMAS GROUP LLC              GENMARK AUTOMATION INC
ATTN PM                                 ATTN VP GEN COUNSEL                   ATTN DIR OF SALES
185-2, CHUNG CHING RD SEC 1             200 FRANKLIN SQ DR                    1201 CADILLAC CT
TAICHUN                                 SOMERSET, NJ 08875                    MILPITAS, CA 95035
TAIWAN



GENMIX TECHNOLOGY                       GENPACT INTERNATIONAL INC             GENPRO ENERGY SOLUTIONS LLC
ATTN MANAGERIAL RESEARCHER              ATTN VP - LEGAL                       ATTN CRYSTAL PATTERSON, CONTROLLER
1005, WOOLIMS LIONS VALLEY 3RD          105 MADISON AVE, 2ND FL               13261 TIMBERLINE PLAZA, STE B
SANGDAEWON-DONG, JUNGWON-GU             NEW YORK, NY 10016                    PIEDMONT, SD 57769
SEONGNAM, GYEONGGI-DO 462-819 SOUTH
KOREA


GENTEX CORP                             GENWARE COMPUTER SYSTEMS INC          [NAME REDACTED]
ATTN SNR RESEARCH SCIENTIST             ATTN SHERLOCK HOLMES, PRESIDENT       [ADDRESS REDACTED]
600 N CENTENNIAL RD                     1700 RTE 23N, STE 120
ZEELAND, MI 49464                       WAYNE, NJ 07470




GEOCORP INC                             GEOCYCLE LLC                          GEODIS GLOBAL SOLUTIONS MEXICO SA DE
9010 RIVER ROAD                         ATTN TECHNICAL SALES REP              CV
HURON TOWNSHIP, OH 44839-9523           6211 ANN ARBOR RD                     ATTN SAFETY & SEC DIR
                                        DUNDEE, MI 48131                      26 QUAI MICHELET
                                                                              LEVALLOIS-PERRET 92300
                                                                              FRANCE


GEODIS WILSON HONG KONG LTD             GEOMATRIX PUBLIC RELATIONS LTD.       GEORG FISCHER DISA INC
ATTN MANAGING DIRECTOR                  4TH FLOOR, BUILDING 11, GUANDONG ST   ATTN AUTOMATION SALES MGR
UNIT 1110, 11/F TRADE SQ, NO 681        BEIJING 100000                        80 KENDALL POINT DR
CHEUNG SHA WAN RD                       CHINA                                 OSWEGO, IL 60543
KOWLOON HONG KONG



GEORG NIEDER                            GEORGE E MISSBACH & COMPANY           GEORGE P JOHNSON CO
MANNHEIMER LANDSTR 44                   ATTN PRESIDENT                        ATTN EXECTUTIVE DIR
BRENSBACH                               3715 NORTHSIDE PKWY, STE 675          11 E 26TH ST, FL 12
HESSEN 64395                            ATLANTA, GA 30327                     NEW YORK, NY 10010
GERMANY



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




GEORGIA DEPARTMENT OF REVENUE           GEORGIA DEPT OF LABOR                 GEORGIA DEPT OF REVENUE
UNCLAIMED PROPERTY PROGRAM              148 ANDREW YOUNG INTL BLVD, NE        1000 TOWNE CENTER BLVD
4125 WELCOME ALL RD STE 701             ATLANTA, GA 30303-1751                BUILDING 900, SUITE A
ATLANTA, GA 30349-1824                                                        POOLER, GA 31322
                  Case 25-90163
GEORGIA DEPT OF REVENUE                Document
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                                                  DEPTFiled in TXSB on 07/03/25 GEORGIA
                                                       OF REVENUE                Page DEPT
                                                                                        316 OF
                                                                                            of REVENUE
                                                                                               944
1800 CENTURY CENTER BLVD., N.E.            314 EAST MAIN ST STE 150             528 BORAD ST SE
STE 12000                                  CARTERSVILLE, GA 30120               GAINESVILLE, GA 30501-3728
ATLANTA, GA 30345-3205




GEORGIA DEPT OF REVENUE                    GEORGIA DEPT OF REVENUE              GEORGIA ENVIRONMENTAL PROTECTION DIV
610 RONALD REAGAN DRIVE                    P.O. BOX 105408                      2 MARTIN LUTHER KING JR DRIVE
BUILDING G-1                               ATLANTA, GA 30348-5408               STE 1456
EVANS, GA 30809                                                                 ATLANTA, GA 30334-9000




GEORGIA GOVERNORS OFFICE OF                GEORGIA INSTITUTE OF OF TECHNOLOGY   GEORGIA INSTITUTE OF TECHNOLOGY
CONSUMER PROTECTION DIVISION               ATTN GEN MNGR                        ATTN ARAM PARTIZIAN
2 MARTIN LUTHER KING JR DR SESTE 356       225 NORTH AVE                        7220 RICHARDSON RD
ATLANTA, GA 30334-9077                     ATLANTA, GA 30332                    SMYRNA, GA 30080




GEORGIA INSTITUTE OF TECHNOLOGY            GEORGIA INSTITUTE OF TECHNOLOGY      GEORGIA SECRETARY OF STATE,
ATTN CHIEF LEGAL ADVISOR                   MICROELECTRONICS RESEARCH CENTER     CORPORATIONS DIVISION
225 NORTH AVE                              ATTN KYUTAE LIM                      2 MLK, JR DR
ATLANTA, GA 30332                          791 ATLANTIC DR                      STE 313
                                           ATLANTA, GA 30332                    FLOYD WEST TOWER
                                                                                ATLANTA, GA 30334-1530


GEORGIA TECH APPLIED RESEARCH CORP         GEOTECH ENGINEER EQUIPMENT INC       GERAC ELECTROMAGNETISME
ATTN ASST SECRETARY, TREASURER             ATTN ACCTSS REC                      BP 6914 - ESTER TECHNOPOLE
505 TENTH ST                               2650 40TH AVE                        LIMOGES 87069
ATLANTA, GA 30332                          DENVER, CO 80205                     FRANCE




[NAME REDACTED]                            GERARD LIGHTING GROUP LTD            [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN ILP DIV GEN MGR                 [ADDRESS REDACTED]
                                           101 PORT WAKEFIELD RD
                                           CAVAN, SA 5094
                                           AUSTRALIA



[NAME REDACTED]                            [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                            GERMILITE LLC                        GERMINOW-SIMON CORP
[ADDRESS REDACTED]                         ATTN PRESIDENT                       DBA G-S PLASTIC OPTICS
                                           2135 BOLSOVER                        ATTN PRESIDENT
                                           HOUSTON, TX 77005                    408 PAUL ST
                                                                                ROCHESTER, NY 14605



GES ASSOCIATES LLC                         [NAME REDACTED]                      GET CONTROL INC
ATTN COO                                   [ADDRESS REDACTED]                   1530 NORTH HOBSON STREET SUITE 101
3757 E BROADWAY RD, STE 4                                                       GILBERT, AZ 85233-1220
PHOENIX, AZ 85040




GET SPARES LLC                             [NAME REDACTED]                      [NAME REDACTED]
ATTN SALES MGR                             [ADDRESS REDACTED]                   [ADDRESS REDACTED]
900 RR 620 S, STE C101-180
AUSTIN, TX 78734
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 GETTLE
                                      [NAME REDACTED]                      PageINC
                                                                                 317 of 944
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 ATTN VP MD
                                                                          144 LAKEFRONT DR
                                                                          HUNT VALLEY, MD 21030




GEWISS SPA                             [NAME REDACTED]                    GF MACHINING SOLUTIONS LLC
ATTN DIR, CORP RESEARCH &              [ADDRESS REDACTED]                 560 BOND STREET
DEVELOPMENT                                                               LINCOLNSHIRE, IL 60069
VIA A VOLTA 1
CENATE SOTTO
BERGAMO 24069 ITALY


GFI TECH INC                           GGB INDUSTRIES INC                 GGPLP REIT SERVICES LLC
ATTN PRESIDENT                         4196 CORPORATE SQUARE              ATTN SVP, OPERATIONS
309 E RAND ROAD 270                    NAPLES, FL 34104-4753              110 N WACKER DR
ARLINGTON HEIGHTS, IL 60004                                               CHICAGO, IL 60606




GH ELECTROTERMIA SA                    [NAME REDACTED]                    [NAME REDACTED]
ATTN DEPUTY MGR                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]
VEREDA REAL S/N
SAN ANTONIO DE BENAGEBER
VALENCIA ES-46184 SPAIN



GHEE, LEE SOO                          [NAME REDACTED]                    [NAME REDACTED]
C/O PARAGON RELOCATION RESOURCES       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
LTD
88 GLOUCESTER, STE 1802, 18TH FL
WAN CHAN
HONG KONG


[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    GHZ TECHNOLOGY INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 ATTN FRANK W SCHNEIDER
                                                                          3000 OAKMEAD VILLAGE DR
                                                                          SANTA CLARA, CA 95051-0808




GIA TZOONG ENTERPRISE CO LTD           GIANT FORCE TECHNOLOGY INC         GIANT RESOURCE RECOVERY - SUMTER IN
ATTN VP                                ATTN DEPUTY GENERAL MGR            755 INDUSTRIAL RD
NO 39-4 HSING PONG RD                  NO. 12, TIAN BAO RD                SUMTER, SC 29151
TAOYUAN CITY 33001                     TIAN BAO INDUSTRIES PARK
TAIWAN                                 DONGGUAN, GUANDONG CHINA
                   Case 25-90163
GIANT RESOURCE RECOVERY  INC               Document  87 Filed
                                              GIANT RESOURCE   in TXSB on 07/03/25 GIANT
                                                             RECOVERY-HARLEYVILLE    Page  318 of 944 CORP
                                                                                         SEMICONDUCTOR
ATTN AL SMITH                                  P.O. BOX 352                        NO 12, LN 647
1600 DUKE ST, STE 400                          HARLEYVILLE, SC 29448-0352          SONGTAO RD, ZHANGJIANG HI-TECH PARK
ALEXANDRIA, VA 22314                                                               SHANGHAI
                                                                                   CHINA



GIANT TESTING EQUIPMENT LTD                    GIARC ENTERPRISES INC               [NAME REDACTED]
STE NO A 11/F, RITZ PLAZA, 122 AUSTIN RD       DBA RISE & SHINE LIGHTING           [ADDRESS REDACTED]
TSIMSHATSUI                                    4545 W RENO AVE, STE 182
HONG KONG                                      LAS VEGAS, NV 89118




GIBBS & SOELL                                  [NAME REDACTED]                     [NAME REDACTED]
111 WEST 33RD STREET, 22ND FLOOR               [ADDRESS REDACTED]                  [ADDRESS REDACTED]
NEW YORK, NY 10120




GIBLUE CO LTD                                  [NAME REDACTED]                     [NAME REDACTED]
ATTN RESEARCH ENGINEER                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]
1F ANNEX, ILDONG BLDG
983 DAECHI-DONG, GANGNAM-GU
SEOUL SOUTH KOREA



[NAME REDACTED]                                GIC O PTY LTD                       [NAME REDACTED]
[ADDRESS REDACTED]                             ATTN DIRECTOR                       [ADDRESS REDACTED]
                                               12 PEAL PL
                                               WARRIEWOOD
                                               SYDNEY, NSW 2102 AUSTRALIA



[NAME REDACTED]                                [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                             [ADDRESS REDACTED]                  [ADDRESS REDACTED]




GIENNE PLAST SRL                               [NAME REDACTED]                     [NAME REDACTED]
VIA SECONDA STRADA LUNGARNO, 130               [ADDRESS REDACTED]                  [ADDRESS REDACTED]
TERRANUOVA BRACCIOLINI, AR 52028
ITALY




GIGACOMP GMBH                                  GIGAHERTZ-OPTIK INC                 GIGALANE CO LTD
ATTN BERND FIESCHMANN, MANAGING DIR            ATTN PRESIDENT                      ATTN R&D MNGR
RICHARD-WAGNER-STR 31                          5 PERRY WY                          8F, E-DONG, DIGITAL EMPIRE BLDG 980-3
PULLACH 82049                                  NEWBURYPORT, MA 01950               YEONGTONG-DONG
GERMANY                                                                            SUWON, GYEONGGI-DO SOUTH KOREA



GIGAMAT TECHNOLOGIES INC                       GIGASOFT, INC.                      GIGAVAC LLC
47358 FREMONT BLVD                             965 CR 1743                         ATTN VP OF POWER PRODUCTS
FREMONT, CA 94538-6502                         CHICO, TX 76431-2101                1125 MARK AVE
                                                                                   CARPINTERIA, CA 93013




GIGAWAVE LTD                                   [NAME REDACTED]                     [NAME REDACTED]
ATTN ENGINEER                                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]
GIGAWAVE TECHNICAL CTR
EARLS COLNE BUSINESS PK, COLCHESTER
ESSEX CO6 2NS UNITED KINGDOM
                  Case 25-90163
GILBANE BUILDING COMPANY              Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  319 of 944
                                                                                   REDACTED]
150 FAYETTEVILLE STREET, SUITE 1100       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
RALEIGH, NC 27601-1665




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    GILDEMEISTER DREHMASCHINEN GMBH
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 ATTN PROD MGR AMERICA
                                                                             GILDEMEISTER STR 68
                                                                             BIELEFELD D-33689
                                                                             GERMANY



[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




GILLEN-BRIENZA SALES & ASSOCIATES         [NAME REDACTED]                    [NAME REDACTED]
ATTN OWNER                                [ADDRESS REDACTED]                 [ADDRESS REDACTED]
2700 BELLEVUE AVE
SYRACUSE, NY 13219




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]
GILLITZER ELECTRICCase    25-90163
                    SERVICES           Document  87 LLC
                                          GILMAN USA Filed in TXSB on 07/03/25 [NAME
                                                                                 Page  320 of 944
                                                                                     REDACTED]
2221 STATE RD 175                          DBA GILMAN PRECISION                [ADDRESS REDACTED]
RICHFIELD, WI 53076                        ATTN CHIEF EXECUTIVE OFFICER
                                           1230 CHEYENNE AVE
                                           GRAFTON, WI 53024



[NAME REDACTED]                            [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]




GIO OPTOELECTRONICS CORP                   [NAME REDACTED]                     [NAME REDACTED]
ATTN ASST VP                               [ADDRESS REDACTED]                  [ADDRESS REDACTED]
NO. 5, TI TANG GANG RD, FENG HUA VILLAGE
XIN SHI TOWNSHIP
TAINAN COUNTY 744 TAIWAN



[NAME REDACTED]                            [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                     GITHENS, MICHAEL
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  DBA APPLIED TECHNOLOGIES
                                                                               ATTN OWNER
                                                                               860 PINER RD, STE 18
                                                                               SANTA ROSA, CA 95403



[NAME REDACTED]                            GITTI AND PARTNERS                  GIVE BACK WIRELESS INC
[ADDRESS REDACTED]                         VIA DANTE 9                         ATTN PRESIDENT
                                           MILANO 20123                        4345 MURPHY RD, STE 110
                                           ITALY                               SAN DIEGO, CA 92123




[NAME REDACTED]                            [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]




GKN SINTER METALS LLC                      GKS INSPECTION SERVICES INC         GL AUTOMATION INC
ATTN VP ENGINEERING                        ATTN DIRECTOR                       ATTN PRESIDENT
3300 UNIVERSITY DR                         37100 PLYMOUTH RD                   10710 SANDHILL RD
AUBURN HILLS, MI 48236                     LIVONIA, MI 48150                   DALLAS, TX 75238




[NAME REDACTED]                            GLAMOCELL                           GLAMOX AS
[ADDRESS REDACTED]                         FINLAYSONINKUJA 22                  ATTN HAKAN WESTIN
                                           TAMPERE FIN-33210                   DRAMMENSVEIEN 175
                                           FINLAND                             OSLO NO-0277
                                                                               NORWAY
                  Case 25-90163
GLANLUCA TIGNANELLI               Document 87 Filed
                                     GLASER-MILLER      in TXSB on 07/03/25 GLASS
                                                   CO INC                     Page  321& of
                                                                                  LEWIS  CO 944
                                                                                            LLC
VIA STADIO N11                        ATTN PRESIDENT                         100 PINE STREET
PIETRAFITTA, CS 87050                 4027 BARCLAY FOREST DR                 SAN FRANCISCO, CA 94111-5136
ITALY                                 CHARLOTTE, NC 28213




GLASS SURFACE SYSTEMS INC             [NAME REDACTED]                        [NAME REDACTED]
ATTN PRESIDENT                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]
24 BROWN ST
BARBERTON, OH 44203




[NAME REDACTED]                       GLASSDOOR INC                          GLASSMAN HIGH VOLTAGE INC
[ADDRESS REDACTED]                    GLASSDOOR.COM                          ATTN SALES MGR
                                      MISSION ST                             124 W MAIN ST
                                      SAN FRANCISCO, CA 94105-2203           P.O. BOX 317
                                                                             HIGH BRIDGE, NJ 08829



GLAXOSMITHKLINE LLC                   GLAXOSMITHKLINE LLC                    GLAXOSMITHKLINE LLC
ATTN INDIRECT & CAPITAL BUYER         ATTN PAUL R NOLL, VP ASSOC GEN         ATTN SCOTT WILSON
200 N 16TH ST                         COUNSEL                                1011 N ARENDELL AVE
PHILADELPHIA, PA 19102                5 MOORE DR                             ZEBULON, NC 27597
                                      RESEARCH TRIANGLE PARK, NC 27709



[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                       GLEGGS PEST CONTROL                    GLEMCO INC
[ADDRESS REDACTED]                    2401 REICHARD ST                       ATTN BUSINESS MGR
                                      P.O. BOX 3089                          1015 COUNTY RD 270
                                      DURHAM, NC 27705                       LEANDER, TX 78641




GLEN RAVEN LOGISTICS, INC             GLEN WHITE & ASSOCIATES INC            GLEN WHITE ASSOCIATES INC
3726 ALTAMAHAW UNION RIDGE            ATTN OWNER                             ATTN PRESIDENT
ALTAMAHAW, NC 27202-9800              5832 FARINGDON PL, STE 1               1024 ROCK KNOLL CT
                                      RALEIGH, NC 27609                      WINSTON-SALEM, NC 27107




GLENMEDE TST CO (2139)                GLENN INTERNATIONAL INC                [NAME REDACTED]
ATT LINDA BELLICINI/PROXY MGR         ATTN DIRECTOR OF SALES                 [ADDRESS REDACTED]
ONE LIBERTY PL, STE 1200              ROSENDO VELA ACOSTA AVE, BLDG 9
1650 MARKET ST                        JARDINES DE CAROLINA INDUSTRIAL PARK
PHILADELPHIA, PA 19103                CAROLINA, PR 00987



[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                       GLOBAL COMMUNICATION                   GLOBAL CROSSING TELECOMMUNICATIONS
[ADDRESS REDACTED]                    SEMICONDUCTORS LLC                     INC
                                      ATTN VP, FOUNDRY SERVICES              ATTN VP COLLAB SALES E
                                      23155 KASHIWA CT                       225 KENNETH DR
                                      TORRENCE, CA 90505                     ROCHESTER, NY 14623
                  Case 25-90163
GLOBAL DISPLAY SOLUTIONS  SPA         Document
                                         GLOBAL 87  Filed
                                                ELECTRIC   in TXSB on 07/03/25 GLOBAL
                                                         ELECTRONIC              PageENERGY
                                                                                      322 ofADVANTAGE
                                                                                             944      INC
ATTN CTO                                  PROCESSING (USA) INC                  ATTN PRESIDENT
VIA TEZZE DI CEREDA, 20/A                 ATTN GEN MGR, NC PLANT                343 SIX FORKS RD, STE 100
CORNEDO                                   2710 WECK DR                          RALEIGH, NC 27609
VICENTINO 36073 ITALY                     DURHAM, NC 27713



GLOBAL ENERGY INTERCONNECTION RES         GLOBAL ENVIRONMENT CORPORATION        GLOBAL EQUIPMENT COMPANY
INST CO LTD                               ATTN CEO                              11 HARBOR PARK DRIVE
RESEARCH INSTITUTE CO LTD                 3940 LAWRENCEVILLE HWY                PORT WASHINGTON, NY 11050-4656
ATTN PROJECT MGR                          TUCKER, GA 30084
FUTURE SCIENCE & TECH CITY,CHNGPING
DIST
BEIJING 102211 CHINA

GLOBAL FAB INC                            GLOBAL FACTORY                        GLOBAL FOOD BANKING NETWORK
ATTN VICE PRESIDENT SALES AND             ATTN CEO                              70 E. LAKE STREET SUITE 1200
MARKETING                                 100 SARATOGA AVE, STE 200             CHICAGO, IL 60601-5959
195 KIRKSTONE LN                          SANTA CLARA, CA 95051
COLORADO SPRINGS, CO 80906



GLOBAL GUARDIAN LLC                       GLOBAL INDUSTRIAL COMPONENTS INC      GLOBAL INNOVATION CORP
ATTN COO                                  ATTN DIR BUS DEVELOPMENT              ATTN PRES
8280 GREENSBORO DR, STE 750               705 S COLLEGE ST                      901 HENSLEY LN
MCLEAN, VA 22102                          WOODBURY, TN 37190                    WYLIE, TX 75098




GLOBAL INTERPRETATION SERVICES INC        GLOBAL INTERPRETATION SERVICES INC    GLOBAL KNOWLEDGE SOLUTIONS INC
DBA LEXICON-GLOBAL                        DBA LEXICON-GLOBAL                    ATTN PRESIDENT
ATTN SR PROJECT MANAGER                   P.O. BOX 212920                       1910 PIPERWOOD CT
524 BENT TRAIL                            CHULA VISTA, CA 91921                 DURHAM, NC 27713
CHULA VISTA, CA 91914



GLOBAL KNOWLEDGE TRAINING LLC             GLOBAL LIGHT INDUSTRIES GMBH          GLOBAL LIGHTING PERSPECTIVES LLC
ATTN SECRETARY                            ATTN MG DIRECTOR                      ATTN MEMBER
9000 REGENCY PKWY, STE 500                CARL FRIEDRICH GAUSS STR 1            1605 N MAIN ST, BLDG B
CARY, NC 27518                            KAMP-LINTFORT 47475                   PEARLAND, TX 77581
                                          GERMANY



GLOBAL LIGHTING TECHNOLOGIES INC          GLOBAL MICROWAVE SYSTEMS INC          GLOBAL POWER ELECTRONICS INC
ATTN EVP & GM                             ATTN CFO                              27 MAUCHLY, STE 206
55 ANDREWS CIR                            1916 PALOMAR OAKS WY, STE 100         IRVINE, CA 92618
BRECKSVILLE, OH 44141                     CARLSBAD, CA 92008




GLOBAL POWER TECHNOLOGIES GROUP INC       GLOBAL PRECISION MANUFACTURING LLC    GLOBAL SHIPPING SERVICES LLC
ATTN PRESIDENT                            13355 NEVADA CITY AVE                 21 FADEM RD, UNIT 14
20692 PRISM PLACE                         9091                                  SPRINGFIELD, NJ 07081
LAKE FOREST, CA 92630                     GRASS VALLEY, CA 95945




GLOBAL SOFTWARE LLC DBA INSIGHTSOFT       GLOBAL TECH LED LLC                   GLOBAL TECH LED LLC
8529 SIX FORKS ROAD, STE 400              ATTN GARY MART                        ATTN SR MGR CERT & COMPLIANCE
RALEIGH, NC 27615-4971                    3808 TAMIAMI TRL E                    8901 QUALITY RD
                                          NAPLES, FL 34112                      BONITA SPRINGS, FL 34135




GLOBAL TEST SUPPLY                        GLOBAL TOP SERVICES (HK) LIMITED      GLOBAL TRADE & CONSULTING LTD
312 RALEIGH STREET SUITE 9                FLAT C, 6/F, PHASE 1 KWAI SHING IND   ATTN CHIEF EXECUTIVE OFFICER
WILMINGTON, NC 28405-6306                 HONG KONG 999077                      107-1504, SAMSUNG-RO
                                          HONG KONG                             64 GIL 5, GANGNAM-KU
                                                                                SEOUL SOUTH KOREA
GLOBAL TRANSLATIONCase   25-90163
                     SYSTEMS INC    Document
                                       GLOBAL 87  Filed& in
                                              TUNGSTEN      TXSB CORP
                                                          POWDERS on 07/03/25 GLOBAL
                                                                                PageWIRELESS
                                                                                     323 of 944
                                                                                             TECHNOLOGIES LLC
ATTN PRES                               1 HAWES ST                            ATTN DIRECTOR OF PRODUCT MKTG
910 MARTIN LUTHER KING JR BLVD          TOWANDA, PA 18848                     3 REGENT ST, 304
CHAPELHILL, NC 27514                                                          LIVINGSTON, NJ 07039-1682




GLOBALWAFERS CO LTD                     GLOBE-LOCAL LLC                       GLOBERTRONICS MANUFACTURING SDN
NO 8, INDUSTRIAL EAST ROAD 2            ATTN SHAWN W FOGARTY, PRINCIPAL       BHD
TAIPEI 30261                            32482 VIA MENTONE                     ATTN CHIEF EXECUTIVE OFFICER
TAIWAN                                  MONARCH BEACH, CA 92629               PLOT 2, PHASE 4
                                                                              FREE INDUSTRIAL ZONE
                                                                              BAYAN LEPAS, PENANG 11900 MALAYSIA


GLOBES ELEKTRONIK GMBH & CO KG          GLOBETRONICS SDN BHD                  GLOBITECH INCORPORATED
ATTN JAKOB DEMIR                        ATTN CEO                              DBA TEXAS GLOBITECH INC
BERLINER PLATZ 12                       PLOT 2, PHASE 4, FREE INDS ZONE       ATTN VP MKTG & SALES
HEILBRONN 74072                         BAYAS LEPAS, PENANG 11900             200 FM 1417 WEST
GERMANY                                 MALAYSIA                              SHERMAN, TX 75092



GLOBOFORCE LTD                          GLOSEL CO LTD                         GLO-USA INC
DBA WORKHUMAN                           ATTN PROMOTE SOLUTION DIV             ATTN TELINA PAGE
19 BECKETT WAY                          1, KANDA TSUKASA-MACHI 2-CHOME        1225 BORDEAUX DR
PARK WEST BUSINESS PARK                 CHIYODA-KU                            SUNNYVALE, CA 94089
DUBLIN 12 IRELAND                       TOKYO 101-0048 JAPAN



GLOVER STAPLETON ASSOCIATES INC         [NAME REDACTED]                       [NAME REDACTED]
ATTN PRESIDENT / PRINCIPAL              [ADDRESS REDACTED]                    [ADDRESS REDACTED]
3 BUNKERS CT
GRANSONVILLE, MD 21638




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       GMA INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    ATTN PARTNER
                                                                              7050 BRAMALEA RD, UNIT 27A
                                                                              MISSISSAUGA, ON L5S I1T1
                                                                              CANADA



GMAC LEASING GMBH                       GME TECHNOLOGIES                      GMR PROTECTION RESOURCES INC
C/O ALLY FINANCIAL INC                  ATTN CEO                              ATTN EXEC VP
ALLY DETROIT CTR                        474 PLACE DES NAUTONIERS              5 HORIZON CT
500 WOODWARD AVE                        MONTREAL, QC H3EIT3                   HEATH, TX 75032
DETROIT, MI 48226                       CANADA



GMR PROTECTION RESOURCES INC            GMT INC                               GMW ASSOCIATES INC
ATTN SR VICE PRESIDENT                  DBA GMT PLASTICS                      955 INDUSTRIAL ROAD
P.O. BOX 645                            ATTN PRESIDENT                        SAN CARLOS, CA 94070-4117
ROCKWALL, TX 75087                      180 S MELROSE AVE
                                        ELGIN, IL 60123



[NAME REDACTED]                         GNOSTIC SYSTEMS I LTD                 GO GREEN SOLUTIONS INC
[ADDRESS REDACTED]                      ATTN PRESIDENT                        ATTN CEO
                                        24 YELLOW TAIL COVE                   527 S LAKE AVE, STE 102
                                        AUSTIN, TX 78745                      PASADENA, CA 91101
GO RBMS CO        Case 25-90163        Document 87 INC
                                          GOANIMATE  Filed in TXSB on 07/03/25 [NAME
                                                                                 Page  324 of 944
                                                                                     REDACTED]
C/O SMITH ANDERSON; GERALD F ROACH         204 EAST 2ND AVENUE SUITE 638                   [ADDRESS REDACTED]
WELLS FARGO CAPITOL CENTER                 SAN MATEO, CA 94401-3904
150 FAYETTEVILLE ST, STE 2300
RALEIGH, NC 27601



[NAME REDACTED]                            [NAME REDACTED]                                 [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                              [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                                 GODFREY GROUP, THE
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                              ATTN PROJECT MGR
                                                                                           4102 S MIAMI BLVD
                                                                                           DURHAM, NC 27703




[NAME REDACTED]                            [NAME REDACTED]                                 GODWIN ELEVATOR COMPANY
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                              711 PERSHING RD.
                                                                                           RALEIGH, NC 27608-2711




[NAME REDACTED]                            [NAME REDACTED]                                 [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                              [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                                 GOENGINEER INC
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                              739 FORT UNION BLVD
                                                                                           MIDVALE, UT 84047-2348




[NAME REDACTED]                            [NAME REDACTED]                                 [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                              [ADDRESS REDACTED]




GOJI ISRAEL LTD                            [NAME REDACTED]                                 [NAME REDACTED]
ATTN PRESIDENT                             [ADDRESS REDACTED]                              [ADDRESS REDACTED]
6 HACHARASH ST
HOD HASHARON
ISRAEL



GOLD APPLE ASIA ALUM MFG (HK) CO LTD       GOLD ASIA PLASTIC INDUSTRIAL LTD                GOLD MEDAL SCREW METAL MFG CO LTD
ATTN MKTG DIRECTOR                         ATTN SR QUALITY MGR                             ATTN DIR
UNIT 821-822, 8/F                          FLAT C&D, 6/F, TSUEN TUNG FACTORY BLDG          UNIT 1304, 13/F, 6 SUN YIP ST
CHINA INSUR GRP BLDG                       38-40 CHAI WON KOK ST                           HONOUR INDUSTRIAL CTR
DES VOEUX CENTRAL 141 HONG KONG            TSEUN WAN, NT HONG KONG                         CHAI WAN HONG KONG



[NAME REDACTED]                            GOLDBERG SEGALLA                                GOLDEN ALTOS CORP
[ADDRESS REDACTED]                         ALBERT J. DAQUINO                               44061 OLD WARM SPRINGS BLVD
                                           665 MAIN STREET, BUFFALO                        FREMONT, CA 94538-6158
                                           NY
                                           14203-1425 ajdaquinogoldbergsegalla.com. 716-
                                           566-5401
                  Case 25-90163
GOLDEN CENTURY TECHNOLOGY     SDN BHD Document
                                         GOLDEN87     Filed in TXSB on 07/03/25 GOLDEN
                                                 FAB LLC                          PageHUGO325 ELECTRONICS
                                                                                                of 944     LTD
52 2ND FLOOR, LEBUH BUKIT KECIL SAT      1700 LONE OAK ROAD                     ATTN SALES MGR
PENANG                                   BRENTWOOD, CA 94513-1164               FLAT 4, 21/F TECHNOLOGY PLAZA
MALAYSIA                                                                        29-35, SHA TSUI RD
                                                                                TUSEN WAN HONG KONG



GOLDEN POINT TECHNOLOGY INC             GOLDEN RULE COMPANY                        GOLDEN SOFTWARE LLC
ATTN JIM SU                             ATTN OWNER                                 809 14TH ST
5F, NO. 9, PARK AVE II                  703 RAGSDALE RD                            GOLDEN, CO 80401-1866
SCIENCE BASED INDUSTRIAL PARK           JAMESTOWN, NC 27282
HSIN CHU CITY TAIWAN



GOLDEN STATE ALARMS INC                 GOLDEN WAY ELECTRONICS CORP LTD            [NAME REDACTED]
ATTN PRESIDENT                          ATTN MG DIRECTOR                           [ADDRESS REDACTED]
7114 DE CELIS PL                        4TH FLOOR 1, NO 18, LANE 270, PEISHEN RD
VAN NUYS, CA 91406                      SECTION 3, HENKENG
                                        TAIPEI 222 TAIWAN



GOLDMAN SACHS & CO LLC                  [NAME REDACTED]                            [NAME REDACTED]
200 WEST ST                             [ADDRESS REDACTED]                         [ADDRESS REDACTED]
NEW YORK, NY 10282




[NAME REDACTED]                         GOLDYEAR INDUSTRIAL LIMITED                GOLF CART WORLD
[ADDRESS REDACTED]                      NO. 168, DONG SHENG VILLAGE                ATTN OWNER
                                        HUIHUAN TOWN                               1006 E WEBB AVE
                                        HUIZHOU, GUANGDONG 516006                  BURLINGTON, NC 27217
                                        CHINA



[NAME REDACTED]                         GOLNER PRECISION PRODUCTS INC              [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN SHAREHOLDER & PRES                    [ADDRESS REDACTED]
                                        N56 W24600 N CORPORATE CIR
                                        SUSSEX, WI 53089




[NAME REDACTED]                         [NAME REDACTED]                            GOMEZ RESEARCH ASSOCIATES
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                         2707 ARTIE ST, STE 7
                                                                                   P.O. BOX 1336
                                                                                   HUNTSVILLE, AL 35805-4769




[NAME REDACTED]                         [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                         [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                            GOMSPACE A/S
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                         ALFRED NOBELS, VEJ 21A,1
                                                                                   ALABORG EAST 9220
                                                                                   DENMARK




[NAME REDACTED]                         [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                         [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  326 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




GOOD I TECH CO LTD                  GOOD SELECTIONS LTD                 GOOD SPORTSMAN MARKETING LLC
ATTN TEAM LEADER                    ATTN DIRECTOR                       ATTN VP PRODUCT DEV
26, YONGYEON-GIL, IKSAN-SI          PORTLAND HOUSE                      3385 ROY ORR BLVD
JEOLLABUK-DO 54582                  BELMONT BUSINESS PARK               GRAND PRAIRIE, TX 75050
SOUTH KOREA                         DURHAM DH1 1TW UNITED KINGDOM



[NAME REDACTED]                     GOOD-ARK SEMICONDUCTOR USA CORP     GOODFELLOW CORPORATION
[ADDRESS REDACTED]                  ATTN VP SALES & MKTG                ATTN PRESIDENT
                                    608 JOHNSON AVE, STE 7              305 HIGH TECH DR
                                    BOHEMIA, NY 11716                   OAKDALE, PA 15071




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     GOODRICH LIGHTING SYSTEMS INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  ATTN OPTICAL ENGINEER
                                                                        129 FAIRFIELD ST
                                                                        OLDSMAR, FL 34677




[NAME REDACTED]                     GOODVIEW INDUSTRIAL CO LTD          GOODWAY TECHNOLOGIES CORPORATION
[ADDRESS REDACTED]                  FUXING INDUSTRIAL ZONE, ZHENAN RD   420 WEST AVENUE
                                    XIAGANG, CHANGAN TOWN               STAMFORD, CT 06902-6329
                                    DONGGUAN, GUANGDONG
                                    CHINA



GOODWILL TALENTBRIDGE LLC           [NAME REDACTED]                     [NAME REDACTED]
ATTN VP                             [ADDRESS REDACTED]                  [ADDRESS REDACTED]
1800 NATIONS DR, STE 218
GURNEE, IL 60031
[NAME REDACTED] Case 25-90163    Document 87 Filed
                                    GOOGE THERMAL   in TXSB
                                                  COOLING     on 07/03/25 GOOGLE
                                                          TECHNOLOGY-      PageINC
                                                                                 327 of 944
[ADDRESS REDACTED]                   (HUANGSHAN) CO LTD                  C/O GOOGLE LEGAL DEPT - PATENTS
                                     NO 10 WENFENG W RD, HUIZHOU DIST    ATTN ALLEN LO, DEPUTY GENERAL
                                     HUANGSHAN CITY                      COUNSEL
                                     ANHUI PROVINCE 245061 CHINA         1600 AMPHITHEATRE PKWY
                                                                         MOUNTAIN VIEW, CA 94043


GOOSE MASTERS LLC                    GOOSEMASTERS TRIANGLE LLC           [NAME REDACTED]
2464 NC HWY 22 N                     P.O. BOX 2793                       [ADDRESS REDACTED]
FRANKLINVILLE, NC 27248-8615         DURHAM, NC 27715-2793




GOPROTO INC                          [NAME REDACTED]                     [NAME REDACTED]
ATTN DIR, EASTERN SALES              [ADDRESS REDACTED]                  [ADDRESS REDACTED]
10250 SW GREENBURG RD, 201
PORTLAND, OR 97233




GORDON ALUMINUM INDUSTRIES INC       GORDON SALES INC                    [NAME REDACTED]
ATTN DIR OF CUSTOMER RELATIONS       5023 HAZEL JONES RD                 [ADDRESS REDACTED]
1000 MASON ST                        BOSSIER CITY, LA 71111
SCHOFIELD, WI 54476




[NAME REDACTED]                      GORDON, TOM                         [NAME REDACTED]
[ADDRESS REDACTED]                   C/O BAREFOOT SOFTWARE CONSULTING    [ADDRESS REDACTED]
                                     421 COMMONS WALK CIR
                                     CARY, NC 27519




[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                      GOREOM SYSTEMS CORP                 [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN OWNER & PRESIDENT              [ADDRESS REDACTED]
                                     P.O. BOX 521
                                     HANOVER, MD 21076




GORMLEY-FARRINGTON INC               [NAME REDACTED]                     [NAME REDACTED]
ATTN PATRICK GORMLEY, PRES           [ADDRESS REDACTED]                  [ADDRESS REDACTED]
339 HAYMAKER RD
MONROEVILLE, PA 15146




[NAME REDACTED]                      [NAME REDACTED]                     GOSIGNO GMBH
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  SIMONSHOFCHEN 33
                                                                         WUPPERTAL 42327
                                                                         GERMANY




[NAME REDACTED]                      [NAME REDACTED]                     GOTOH MFG. CO. LTD
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  1-17 KITA-KOGYODANCHI
                                                                         KITAKAMI 0240002
                                                                         JAPAN
[NAME REDACTED] Case 25-90163   Document 87 WILHELM
                                   GOTTFRIED Filed in  TXSB on 07/03/25 [NAME
                                                    LEIBNIZ               Page  328 of 944
                                                                              REDACTED]
[ADDRESS REDACTED]                  UNIVERSITAET -                      [ADDRESS REDACTED]
                                    HANNOVER
                                    ATTN MANAGER
                                    AAPLESTR. 9A
                                    HANNOVER 30167 GERMANY


[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     GOVERNMENT SALES FORCE LLC          [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN CHIEF OPERATING OFFICER        [ADDRESS REDACTED]
                                    1420 SPRING HILL RD, STE 600
                                    MCLEAN, VA 22102




[NAME REDACTED]                     [NAME REDACTED]                     GP FABRICATION INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  ATTN SEC & TREASURER
                                                                        9968 US 158
                                                                        REIDSVILLE, NC 27320




GP INC                              GP TECHNOLOGIES LTD                 GPCNET INC
17 TECHON 11-RO                     16060 114 AVE NW                    ATTN OFFICE MANAGER
YUSEONG-GU                          EDMONTON, AB T5M 2Z5                611 SHILOH DR, STE 9
DAEJEON 305-570                     CANADA                              LAREDO, TX 78045
SOUTH KOREA



GPD GLOBAL, INC.                    GPI INTERNATIONAL LTD               GPW CONSULTING, LLC
611 HOLLINGSWORTH STREET            ATTN JOSEPHINE NG, MARKETING DIR    1043 GRANGE ROAD
GRAND JUNCTION, CO 81505-1017       8/F, GOLD PEAK BLDG                 LEESPORT, PA 19533-9166
                                    30 KWAI WING RD
                                    KAWAI CHUNG, NT HONG KONG



GR2-RALEIGH-RENTALS                 GRACE TECHNOLOGIES INC              GRACE TRADING CORP
1820 NEW HOPE CHURCH RD             ATTN BUSINESS DEV MGR               ATTN PRESIDENT
RALEIGH, NC 27609                   1515 E KIMBERLY RD                  1-11-6, SHIMANOUCHI
                                    DAVENPORT, IA 52807                 CHUO-KU
                                                                        OSAKA 542-0082 JAPAN



[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     GRAFIX PLASTICS                     GRAFTECH INTERNATIONAL HOLDINGS INC
[ADDRESS REDACTED]                  ATTN PRESIDENT                      ATTN DIR R&D
                                    5800 PENNSYLVANIA AVE               12900 SNOW RD
                                    MAPLE HEIGHTS, OH 44137             PARMA, OH 44130
GRAFTEK IMAGING INCCase 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  329 of 944
                                                                                REDACTED]
ATTN PRESIDENT                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]
8900 SHOAL CREEK BLVD, STE 300
AUSTIN, TX 78757-6853




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        GRAINGER INDUSTRIAL SUPPLY           GRAINGER
[ADDRESS REDACTED]                     ATTN REGIONAL SALES VP               308 ALLWOOD ROAD
                                       100 GRAINGER PKWY                    CLIFTON, NJ 07012-1701
                                       LAKE FOREST, IL 60045




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        GRAND OPTOELECTRONICS CO LTD         GRANDLITE (HUIDONG) CO LTD
[ADDRESS REDACTED]                     ATTN JAMES WANG                      SUN VALLEY INDUSTRIAL ZONE
                                       STE 311, BLDG 205, TAIRAN IND PARK   HUIDONG COUNTY
                                       TAIRAN 4TH RD                        GUANGDONG
                                       SHENZHEN CHINA                       CHINA



GRANDLITE INTERNATIONAL CORP           [NAME REDACTED]                      [NAME REDACTED]
ATTN DIR, BUS DEVELOPMENT              [ADDRESS REDACTED]                   [ADDRESS REDACTED]
505 S YORBITA RD
CITY OF INDUSTRY, CA 91744




GRANDVIEW MATERIALS INC                GRANDVUE DIGITEK CO LTD              [NAME REDACTED]
ATTN OPS ASST                          ATTN GEN MGR                         [ADDRESS REDACTED]
8598 COTTER ST                         4F, NO 103, LIDE ST
LEWIS CENTER, OH 48085                 CHUNG HO CITY
                                       TAIPEI 235 TAIWAN



[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




GRANT THORNTON LLP                     [NAME REDACTED]                      [NAME REDACTED]
201 S. COLLEGE STREET                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]
CHARLOTTE, NC 28244-0003
[NAME REDACTED] Case 25-90163     Document  87 Filed in TXSB on 07/03/25 [NAME
                                     [NAME REDACTED]                       Page  330 of 944
                                                                               REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       GRANVILLE MACHINE AND TOOL CO INC   GRANVILLE PALLET CO INC
[ADDRESS REDACTED]                    3832 GRAHAM SHERRON ROAD            ATTN SALES MGR
                                      WAKE FOREST, NC 27587-7845          3566 HGWY 15
                                                                          OXFORD, NC 27565




GRAPHIC PRODUCTS                      GRAPHICA                            GRAPHICAST INC
9825 SW SUNSHINE COURT                ATTN VP                             ATTN PRESIDENT
BEAVERTON, OR 97005-4190              306 E MARKET ST                     36 KNIGHT ST
                                      GREENSBORO, NC 27401                P.O. BOX 430
                                                                          JAFFREY, NH 03452



GRAPHICS SYSTEMS CORP                 GRAPHITE DIE MOLD                   GRAPHITE MACHINING INC
ATTN MANAGER, TECH OPS                ATTN REGIONAL SALESMAN              ATTN GENERAL MANAGER
W133 N5138 CAMPBELL DR                18 AIRLINE PARK                     240 MAIN ST
MENOMONEE FALLS, WI 53051             DURHAM, CT 06422-1000               TOPTON, PA 19562




GRAPHITE MACHINING SERVICES INC       [NAME REDACTED]                     [NAME REDACTED]
ATTN VP                               [ADDRESS REDACTED]                  [ADDRESS REDACTED]
2328 W CAMPUS DR
TEMPE, AZ 85282




[NAME REDACTED]                       [NAME REDACTED]                     GRAY INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  10 QUALITY ST
                                                                          LEXINGTON, KY 40507-1450




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




GRAYBAR ELECTRIC CO INC               GRAYBAR ELECTRIC COMPANY, INC.      [NAME REDACTED]
1113 CAPITAL BLVD                     ATTN: JOSEPH STOLL                  [ADDRESS REDACTED]
RALEIGH, NC 27603-1113                34 NORTH MERAMAEC AVE
                                      ST. LOUIS, MD 63105
GRAYGLASS GLOBALCase     25-90163
                  SOLUTIONS  LLC    Document  87INDUSTRIES
                                       GRAYLING    Filed inINC
                                                            TXSB on 07/03/25 GRE
                                                                              Page   331 of
                                                                                 KEYSTONE   944
                                                                                          TECH PARK THREE LLC
217-44 98TH AVE                         ATTN TERRITORY MANAGER                C/O CAPITAL ASSOC MGMT LLC
QUEENS VILLAGE, NY 11429                1008 BRANCH DR                        1255 CRESCENT GREEN, STE 300
                                        ALPHARETTA, GA 30004                  CARY, NC 27518




GRE KEYSTONE TECHNOLOGY PARK ONE        GREAT AMERICAN INSURANCE CO           GREAT BASIN LIGHTING INC
LLC                                     GREAT AMERICAN INSURANCE GROUP TWR    ATTN STEVE COLE
C/O CAPITAL ASSOC MANAGEMENT LLC        301 E FOURTH ST                       144 CONTINENTE AVE, STE 200
1100 CRESCENT GREEN, STE 115            CINCINNATI, OH 45202                  BRENTWOOD, CA 94513
CARY, NC 27511



GREAT BASIN LIGHTING INC                GREAT ELECTRONICS XIAMEN CO LTD       GREAT ELECTRONICS XIAMEN CO LTD
ATTN STEVE COLE                         6F GUANGXIA BLDG                      8F, UNIT A XIANGYU INDUSTRIAL FACTORY
P.O. BOX 1360                           TORE HI-TECH INDL DEV ZONE            ZONE
BRENTWOOD, CA 94513                     XIAMEN                                NO. 33 CHANGHONG RD
                                        CHINA                                 XIAMEN FUJIAN
                                                                              CHINA


GREAT LAKES BUILDING SYSTEMS INC        GREAT LAKES BUILDING SYSTEMS INC      GREAT LAKES CUSTOM TOOL MFG INC
3021 TRANSIT ROAD                       ATTN VICE PRESIDENT                   ATTN SALES & MARKETING MGR
ELMA, NY 14059-9126                     116 GRUNER RD                         101 N OLD PESHTIGO RD
                                        BUFFALO, NY 14227                     PESHTIGO, WI 54157




GREAT LAKES DIE CAST CORPORATION        GREAT LAKES ENGINEERING INC           GREAT LAKES INSURANCE SE
ATTN PRESIDENT                          8984 ZACHARY LANE NORTH               ATTN UNDERWRITER
701 W LAKETON AVE                       MAPLE GROVE, MN 55369-4018            KONIGINSTRASSE 107
MUSKEGON, MI 49441                                                            MUNICH 80802
                                                                              GERMANY



GREAT LAKES LIGHT WORKS LLC             GREAT NORTHERN CORP                   GREAT PLACE TO WORK INSTITUTE INC
ATTN SCOTT STEPHENS                     ATTN VP SALES                         1999 HARRISON ST, SUITE 2070
7565 GRAINGER RD, STE D                 395 STROEBE RD                        OAKLAND, CA 94612
INDEPENDENCE, OH 44125                  APPLETON, WI 54914




GREATER DURHAM CHAMBER OF               GREATER RALEIGH CHAMBER               GREATER UTICA CHAMBER OF COMMERCE
COMMERCE                                OF COMMERCE                           520 SENECA STREET SUITE 102
P.O. BOX 3829                           800 SALISBURY STREET                  UTICA, NY 13502-4349
DURHAM, NC 27702-3829                   RALEIGH, NC 27601-2202




GREATGLAS INC                           GRECHI ILLUMINAZIONE SRL              [NAME REDACTED]
ATTN PRESIDENT                          ATTN OWNER                            [ADDRESS REDACTED]
2040 TELEGRAPH RD                       VIA R PILO 75
WILMINGTON, DE 19808                    MAGENTA 20013
                                        ITALY



GREEN BULB LIGHTING LLC                 GREEN CLASSIC INVESTMENT LIMITED      GREEN CLASSIC INVESTMENT LIMITED
ATTN PRESIDENT                          ATTN: KEN CHAN                        ATTN: KEN CHAN
36 HUNTERS POND DR                      17/F., S.A.S. TOWER 55 LEI MUK ROAD   6/F, TOWER B HUNGHOM COMMERCIAL
COLUMBIA, SC 29229                      KWAI CHUNG                            CENTRE
                                        HONG KONG                             37 MA TAU WAI ROAD
                                                                              HUNGHOM, KOWLOON HONG KONG


GREEN GAP SOLUTIONS LLC                 GREEN HINGE OF AMERICA LLC            GREEN ILLUMINATING SYSTEMS INC
ATTN PRESIDENT                          ATTN CORP ACCT MANAGER                ATTN PRESIDENT
700-76 BROADWAY                         4429 HWY 22 E                         3440 SR 32 E
WESTWOOD, NJ 07675                      LENA, WI 54139                        WESTFIELD, IN 46074
                 Case 25-90163
GREEN LIGHTING COMPANY             Document 87 RADIO
                                      GREEN MTN FiledRESEARCH
                                                       in TXSBCOon 07/03/25 GREEN
                                                                             Page   332
                                                                                  PIER    of 944
                                                                                       FINTECH (3018)
ATTN PRESIDENT                         ATTN OWNER                              ATT PROXY DEPT
119 E WALNUT ST                        77 VERMONT AVE                          245 SUMMER STREET V3A
ROGERS, AR 72756                       FT ETHAN ALLEN                          BOSTON, MA 02210
                                       COLCHESTER, VT 05446



GREEN RADIO TECHNOLOGIES INC           GREEN RESOURCES INC                     GREEN STATE POWER LLC
ATTN CEO                               5204 HIGHGREEN CT                       ATTN PRESIDENT
5, 2021 28TH AVE NW                    COLFAX, NC 27235                        300 N GREENE ST, STE 200
CALGARY, AB T2M 2L7                                                            GREENSBORO, NC 27401
CANADA



GREEN TECHNOLOGY INVESTMENTS LLC       GREEN TRAIL LIGHTING LLC                GREEN WIZARD INC
ATTN EXEC VP                           ATTN VP                                 ATTN PRESIDENT
15936 N 78TH ST                        9400 TOLEDO WAY                         1036 E WALL ST
SCOTTSDALE, AZ 85260                   IRVINE, CA 92614                        MT PLEASANT, SC 29464




GREEN WORLDWIDE SHIPPING LLC           [NAME REDACTED]                         [NAME REDACTED]
ATTN EVP COMMERCIAL & PRODUCT          [ADDRESS REDACTED]                      [ADDRESS REDACTED]
619 E COLLEGE AVE, STE F
DECATUR, GA 30030




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163     Document  87 Filed in TXSB on 07/03/25 GREENE
                                     [NAME REDACTED]                      PageRESOURCES
                                                                                333 of 944
                                                                                         INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 805 SPRING FOREST ROAD
                                                                         RALEIGH, NC 27609-9123




GREENE RUBBER COMPANY INC             [NAME REDACTED]                    [NAME REDACTED]
ATTN MOLDED PRODUCTS MGR              [ADDRESS REDACTED]                 [ADDRESS REDACTED]
20 CROSS ST
WOBURN, MA 01801




GREENE, JAKE                          [NAME REDACTED]                    [NAME REDACTED]
118A LONDON RD, KNEBWORTH             [ADDRESS REDACTED]                 [ADDRESS REDACTED]
HERTS SG3 6HB
UNITED KINGDOM




GREENLAMPS USA, LLC                   [NAME REDACTED]                    GREENLIGHT LED LIGHTING SYSTEM
ATTN: CEO                             [ADDRESS REDACTED]                 ATTN PRESIDENT
2407 TEXOMA DRIVE                                                        19 OLD CREEK CIR
DENISON, TX 75020                                                        ORMOND BEACH, FL 32174




GREENMARK INC                         GREENPAGES INC                     GREENTEK LED LIGHTING
ATTN GEN MGR                          33 BADGERS ISLAND W                ATTN CHIEF EXECUTIVE OFFICER
5F, NO 205-1, SEC 3, BEISHIN RD       KITTERY, ME 03904                  182 A GHEORGE TITEICA ST
SHINDIEN DIST                                                            2ND DISTRICT
NEW TAIPEI CITY TAIWAN                                                   BUCHAREST 020303 ROMANIA



GREENVILLE ARENA DISTRICT             GREENWAVES SRL                     GREENWOOD INC
ATTN PREMIUM SEAT DEPT                VIA MILANO 37/C                    ATTN KIN COOK
650 N ACADEMY ST                      GORGONZOLA 20064                   16007 PRESTWOODS LN
GREENVILLE, SC 29601                  ITALY                              HUNTERSVILLE, NC 28078




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




GREGORY P SATA                        GREGORY POOLE EQUIPMENT CO.        GREGORY POOLE POWER SYSTEMS
DBA GPS CARPETS                       4807 BERYL ROAD                    ATTN PRODUCT SUPPORT ACCT MGR
ATTN OWNER                            RALEIGH, NC 27606-1406             701 BLUE RIDGE RD
11008 DARBY AVE                                                          RALEIGH, NC 27606
NORTHRIDGE, CA 91326



GREGORY SYSTEMS INC                   [NAME REDACTED]                    [NAME REDACTED]
ATTN PRESIDENT                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]
1411-E DIGGS DR
RALEIGH, NC 27603




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
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[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     GRIDBRIDGE INC                         GRIDCO INC
[ADDRESS REDACTED]                  ATTN CHIEF EXECUTIVE OFFICER           ATTN FOUNDER, CEO
                                    130 PENMARE DR, STE 101                20 UNIVERSITY RD, STE 450
                                    RALEIGH, NC 27603                      CAMBRIDGE, MA 02138




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     GRIFFIN LTD                            [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN MGR                               [ADDRESS REDACTED]
                                    703 KOWLOON BLDG, 555 NATHAN RD
                                    KOWLOON
                                    HONG KONG



[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     GRIFFITH ELECTRIC & CONSTRUCTION INC   [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN CHIEF EXECUTIVE OFFICER           [ADDRESS REDACTED]
                                    5682 RESEARCH DR, STE E
                                    HUNTINGDON, CA 92649




[NAME REDACTED]                     [NAME REDACTED]                        GRIFFITHS CORP
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     DBA WRICO STAMPING CO OF WISCONSIN
                                                                           ATTN SALES ENGINEER
                                                                           N 50 W 13471 OVERVIEW DR
                                                                           MENOMONEE FALLS, WI 53051
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  335 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         GRIMM BROTHERS PLASTICS CORP       GRIMMER, LAURA
[ADDRESS REDACTED]                      ATTN GENERAL MANAGER               345 E 81ST ST. NO 14-M
                                        1 QUALITY CT                       NEW YORK, NY 10028
                                        WAPELLO, IA 52653




[NAME REDACTED]                         GRINDING & DICING SVCS INC         [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN VICE PRESIDENT SALES          [ADDRESS REDACTED]
                                        555 TAXTER RD
                                        ELMSFORD, NY 10523




[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




GRIVEN SRL                              GRM INC                            [NAME REDACTED]
ATTN VP                                 ATTN PRESIDENT                     [ADDRESS REDACTED]
VIA BULGARIA, 16, CASTLE GOFFREDO       3365 PRETTY BRANCH DR, SE
MANTOVA 46042                           SMYRNA, GA 30081
ITALY



[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         GROOVE MANAGEMENT LLC              [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN PRINCIPAL                     [ADDRESS REDACTED]
                                        12674 OVERLOOK MOUNTAIN DR
                                        CHARLOTTE, NC 28216




[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




GROTE INDUSTRIES INC                    [NAME REDACTED]                    GROUP DEKKO INC
ATTN CHIEF ENG                          [ADDRESS REDACTED]                 ATTN EVP SALES & MARKETING
2600 LANIER DR                                                             2505 DEKKO DR
MADISON, IN 47250                                                          GARRETT, IN 46738




GROUP TOOL & DIE CO INC                 GROUP200 CAROLINAS                 GROUP4LABS LLC
ATTN PLANT MGR                          ATTN VP OWNER                      ATTN CEO
501 S SPENSER ST                        1050 CLASSIC RD                    3655 BRODERICK ST, STE 112
LEXINGTON, IL 61753                     APEX, NC 27539                     MENLO PARK, CA 94025
GROUP4LABS LLC Case 25-90163           Document 87 LLC
                                          GROUP4LABS Filed in TXSB on 07/03/25 GROUPE
                                                                                PageCARBONE
                                                                                      336 of 944
                                                                                             LORRAINE
ATTN CEO                                   ATTN PRES & CEO                     ATTN GROUP DIRECTOR OF DEVT
801 28TH AVE, STE 304                      1600 ADAMS DR, STE 112              900 HARRISON ST
SAN FRANCISCO, CA 94121                    MENLO PARK, CA 94025                BAY CITY, MI 48708




GROUPE IMBOTEC GROUP                       GROUPE NEXIO INC                    GROVE DIE CASTING INC
ATTN PRESIDENT                             2050 RUE DE BLEURY, BUREAU 500      ATTN PRESIDENT
12 CANNON CRESCENT                         MONTREAL, QC H3A 2J5                1339 INDUSTRIAL PARK DR
BRAMPTON, ON L6Y 4L8                       CANADA                              UNION GROVE, WI 53182
CANADA



[NAME REDACTED]                            GRT ELECTRONICS LLC                 [NAME REDACTED]
[ADDRESS REDACTED]                         3808 BERYL ROAD                     [ADDRESS REDACTED]
                                           RALEIGH, NC 27607-5241




GRUNAU CO INC                              GRUPO COLLADO SA DE CV              GRUPO PRILUX ILUMINACION SL
ATTN CONTROLLER                            ATTN LEGAL REP                      ATTN TECH DIRECTOR
1100 W ANDERSON CT                         ADOLPH B HOM JR NO 200              C/RIO JARAMA 149
OAK CREEK, WI 53154                        PARQUE INDUS SAN JORGE              TOLEDO 45007
                                           TLAJOMULCO DE ZUNIGA, JAL 45670     SPAIN
                                           MEXICO


GS ILUMINACIONES                           GSA                                 GSDWARE LLC
ATTN OWNER                                 1800 F ST NW                        1505 ACADIA STREET
HILARIO ASCASUBI 428                       WASHINGTON, DC 20405                DURHAM, NC 27701-1318
WILDE, BUENOS AIRES
ARGENTINA



GSEO GIANT ELECTRONIC OPTICAL CO LTD       GSK AWP LITIGATION ADMIN            GSL TECHNOLOGY INTERNATIONAL LTD
ATTN PRESIDENT                             C/O COMPLETE CLAIM SOLUTIONS LLC    ATTN SALES DIR
NO 8, CHUANG XIN RD, TORCH                 PO 24743                            UNIT A, 22/F, ROXY INDUSTRIAL CENTRE
HI-TECH INDUSTRIAL DEVELOPMENT, ZONE       WEST PALM BEACH, FL 33416           58-66 TAI LIN PAI RD
XIAMEN, FUJIAN CHINA                                                           KWAI CHUNG HONG KONG



GSMA LTD                                   GT BIOMESCILT LIGHT (M) SDN BHD     GT EQUIPMENT TECH INC
105 OTTLEY DRIVE SUITE 150                 ATTN COUNTRY MGR                    ATTN VP FINANCE
ATLANTA, GA 30324                          KOMPLEKS EUREKA                     472 AMHERST ST
                                           UNIVERSITI SAINS MALAYSIA           NASHUA, NH 03063
                                           PENANG 11800 MALAYSIA



GT EQUIPMENT TECHNOLOGIES INC              GTI SPINDLE                         GTI TECHNOLOGIES INC
ATTN EVP                                   33 ZACAHARY RD                      ATTN VP FINANCE & GM GTI
243 DANIEL WEBSTER HWY                     MANCHESTER, NH 03109-5639           6 ARMSTRONG RD
MERRIMACK, NH 03054                                                            SHELTON, CT 06484-0433




GTS THAUMAT XXI SA                         GTS, INC.                           GTT COMMUNICATIONS INC
ATTN AREA COORDINATOR                      1915 N SHILOH DR                    DBA GTT AMERICAS LLC
C/ MANUEL TOUAR, 14                        FAYETTEVILLE, AR 72704-6718         7900 TYSONS ONE PLACE SUITE 1450
MADRID 28034                                                                   DALLAS, TX 75284-0001
SPAIN



GUAM DEPT OF LABOR                         GUAM ENVIRONMENTAL PROTECTION       GUAM POWER AUTHORITY
414 WEST SOLEDAD AVE                       AGENCY                              P.O. BOX 2977
SUITE 808 (8TH FLOOR)                      BLDG 17-3304, MARINER AVE           AGANA, GU 96932
GCIC BUILDING                              TIYAN, BARRIGADA, GU 96913
HAGATNA, GU 96910
GUANGDONG CASUNCase    25-90163
                 LIGHTING           Document
                          TECH CO LTD          87 CHAOHUA
                                       GUANGDONG    Filed in TECH
                                                             TXSB COon
                                                                    LTD07/03/25 GUANGDONG
                                                                                 Page 337CONNECTEK
                                                                                          of 944 IOT TECH CO LTD
ATTN SALES MGR                         ATTN VICE DIRECTOR
YONGSHENG IND AREA, DONGSHAN           CHAOHUA INDUSTRIAL PARK
QISHI TOWN                             YANYANG, MEIZHOU
DONGGUAN, GUANGDONG CHINA              GUANGDONG CHINA



GUANGDONG DONGGUAN QUALITY-            GUANGDONG ELLINGTON ELECTRONICS       GUANGDONG EVERWIN PRECISION TECH CO
SUPERVISION & TESTING CENTER           TECH CO LTD                           LTD
NO 2, GONGYE SOUTH RD, SONGSHAN LAKE   88 GAOPING IND ZONE                   ATTN BUSINESS DEPT MGR
SCI-TECH IND PARK, DONGGUAN            SANJIAO TOWN                          NO. 6 INDUSTRIAL WEST RD, HIGH-TECH
GUANGDONG CHINA                        ZHONGSHAN, GUANGDONG CHINA            HIGH-TECH IND DEV ZONE, SONGSHAN
                                                                             LAKE DONGGUAN, GUANGDON CHINA


GUANGDONG GUO WEI XING PLASTIC TECH    GUANGDONG HAITONG TECHNOLOGY CO       GUANGDONG HEDONG COMPUTER
CO LTD                                 LTD                                   NETWORK SYSTEM CO LTD
NO.2 PINGAN RD, DAYUAN DEV ZONE        BLDG G, NEW BASE INDUSTRIAL PARK
NANSHA DIST                            NANCHENG DISTRICT
GUANGZHOU                              DONGGUAN
CHINA                                  CHINA


GUANGDONG HONG SHENG FIRE              GUANGDONG HUAXIA GONGCHENG GUWEN      GUANGDONG HUIZHITONG ENERGY
DETECTION-                             CO LTD                                ENVIRONMENT-
FACILITIES MAINTENANCE CO LTD                                                PROTECTION DEVELOPMENT CO LTD
12 CHENJIAN RD S, CHENJIANG TOWN
HUICHENG DISTRICT
HUIZHOU, GUANGDONG CHINA


GUANGDONG ILLUMINATING ELECTRIC -      GUANGDONG JIAYA ENTERPRISE CO LTD     GUANGDONG JIN ZHOU YUE LAW FIRM
APPLIANCE ASSOCIATION                  3RD RD HUIFENG
                                       NO 26, ZHONGKAI HIGH-TECH ZONE
                                       HUIZHOU, GUANGDONG
                                       CHINA



GUANGDONG KEYI JIANZHU                 GUANGDONG KEYWAY TESTING TECH CO      GUANGDONG MASON TECHNOLOGIES CO
                                       LTD                                   LTD
                                       BAISHUN IND ZONE, ZHANGMUTOU          ATTN VICE PRESIDENT
                                       DONGGUAN, GUANGDONG 523638            NO 1, GONGYEXI 1ST ROAD
                                       CHINA                                 SONGSHAN LAKE
                                                                             DONGGUANG, GUANGDONG 523000 CHINA


GUANGDONG SHENG TU SI YUAN XIAN -      GUANGDONG SILVER AGE SCI & TECH CO    GUANGDONG THINK FACTORY TECH CO LTD
TANG ZHI YE PEI XUN XUE YUAN           LTD                                   ATTN DEPT MANAGER
                                       NANGE INDUSTRIAL PARK                 NO C119B, JINBAO ENTREPRENEURSHIP
                                       DAOJIAO TOWN                          HOMES ZHONGKAI HIGH TECH ZONE
                                       DONGGUAN, GUANGDONG 523187            HUIZHOU, GUANGDONG 516000 CHINA
                                       CHINA


GUANGDONG WEIYUAN SERCURITY            GUANGDONG YUANTIAN ENGINEERING CO     GUANGHOU QIAGUANG
SERVICE CO LTD                         LTD                                   PHOTOELECTRICITY TECH CO LTD
RM 1204, BLOCK 1, BLDG 4               46 GUANGSHEN AVE                      ATTN VP
NO 1 ZHIHUI RD, CHANCHENG DISTRICT     XINTANG TOWN                          SANLIAN SEC, GUANGSHAN HWY,
FOSHAN, GUANGDONG                      GUANGDONG PROVINCE                    ZENGCHENG
CHINA                                  CHINA                                 GUANGZHOU CITY CHINA


GUANGZHOU BO YUAN ZHI SHAO GUANG-      GUANGZHOU CHAIYI LIGHT CO LTD         GUANGZHOU DESHENG LIGHTING INDUS CO
GAO YAU XIAN GONG SI                   NO 8, HEXIN RD                        LTD
                                       MING YI                               ATTN GENERAL MANAGER
                                       CUANGZHOU                             NO 3, HUACHENG INDUSTRY AREA
                                       CHINA                                 JIUTANGXI RD, XINHUA TN, HUADU DIST
                                                                             GUANGZHOU CHINA


GUANGZHOU DESHENG ZHIMENG TRADE CO     GUANGZHOU GISE GASES CO LTD           GUANGZHOU GOLDEN SEA DISCO LIGHT
LTD                                    17 CHONG, WANQINGSHA TOWN             MANUFACTURER
SOFTWARE RD                            NANSHA, GUANGZHOU 511464              RM 1014, OFFICE BLDGS
TIANHE DISTRICT                        CHINA                                 ZONE C LIVING SQR, NO11 YIYING ST
GUANGZHOU, GUANGDONG                                                         XINGANG MIDDLE RD, HAIZHU AREA
CHINA                                                                        GUANGZHOU CITY 510310 CHINA
GUANGZHOU HANMACase     25-90163
                   ELECTRONIC TECH CODocument   87 HAVELLS
                                        GUANGZHOU   Filed inSYLVANIA
                                                             TXSB on ENT 07/03/25
                                                                         LTD        Page 338
                                                                                  GUANGZHOU      of 944
                                                                                               HONG  YA PLASTIC CO LTD
LTD                                     ATTN GM                                   96 LANJIU RD, MB101
8 JIANYE MIDDLE RD                      1102 GUANGZHOU RADIO GRP SCIENCE &        LANHE TOWN, NANSHA DIST, GUANGZHOU
TAIHE TOWN, BAIYUN DIST                 TECH BLDG                                 GUANGDONG 511455
GUANGZHOU 510070                        NO 163 PINGYUN RD, WEST OF HUNGPU AVE     CHINA
CHINA                                   GUANGZHOU 510656 CHINA


GUANGZHOU HONGYU ELECTRIC CO LTD         GUANGZHOU HUANGPU KOLIDAK PLASTIC &      GUANGZHOU HUAXIN ELECTRONICS CO LTD
DONGGUAN INDUSTRIAL ZONE                 HARDWARE PROD FACTORY                    ATTN PROJECT SUPV
SOUTH FENGHUANG RD                       2/F, 4 BLDG, MIAOTOU INDUSTRIAL DIST     NO 3, FU FENG ST, DAN SHAN VILLAGE
XINHUA TOWN, HUADU DISTRICT              HUANGPU DISTRICT                         SHIQIAO TOWN, PANYU DISTRICT
GUANGZHOU, GUANGDONG CHINA               GUANGZHOU, GUANGDONG CHINA               GUANGZHOU, GUANGDONG 510663 CHINA



GUANGZHOU HUITIAN FINE CHEMICAL CO       GUANGZHOU JIAJIE PRECISION MACHINERY     GUANGZHOU JIANXIAN METAL PRODUCTS
LTD                                      CO LTD                                   CO LTD
NO.6 QIBEI RD, HUAGANG ST                LUOGANG FRIENDSHIP RD NO.91              NO.21 JIN CUN RD
HUADU DIST                                                                        DAFU VILLAGE, SHATOU ST
GUANGZHOU, GUANDONG                                                               PANYU DISTRICT
CHINA                                                                             GUANGZHOU CHINA


GUANGZHOU JV PHOTONICS CO LTD            GUANGZHOU KANGKE ANTISTATIC              GUANGZHOU LEDIA LIGHTING TECHNOLOGY
RM 2803, 81 KEFENG RD                    PRODUCTS CO LTD                          CO LTD
WANDA PLZA                               NO 2 SANGTIAN 2ND RD                     JINGU S RD, AIRPORT HIGH-TECH
SCIENCE CITY                             YONGHE ECONOMIC ZONE                     INDUSTRY BASE, HUADONG TOWN
HUANGPU, GUANGZHOU CHINA                 GUANGZHOU                                HUADU DIST
                                         CHINA                                    GUANGZHOU CHINA


GUANGZHOU LINKCORE AUTOMATION            GUANGZHOU NANOMAGNET ELECTRONICS         GUANGZHOU ORIGINAL LED LIGHTING
EQUIPMENT CO LTD                         TECH CO LTD                              PRODUCTS CO LTD
TIANHE DISTRICT, TIANHE RD               ATTN MANAGER
RM 2606-2609, RM B                       RM 1001, JINGAIE BLDG
FENG XING SQUARE, NO 242                 NO.15, SHIYOU EIHONG RD, YUEZIN DIST
GUANGZHOU, GUANGDONG 510620 CHINA        GUANGZHOU, GUANGDONG CHINA


GUANGZHOU SINOJOINT ELECTRONICS CO       GUANGZHOU SUPER SERIGRAPH ELECT CO       GUANGZHOU TIAXIN PHOTOELECTRIC CO
LTD                                      LTD                                      LTD
BLK B NO.1, CAIBIAN CUN DONGHUAN ST      ATTN GENERAL MANAGER                     ATTN WEI ZHANG
PANYU DISTRICT                           NO 6 HONG YOUN RD                        NO 56, MAGANGLING, SHIMA VILLAGE
GUANGZHOU                                EASTERN SECTION GETDD                    JUNHE ST, BAIYUN DISTRICT
CHINA                                    GUANGZHOU 510760 CHINA                   GUANGZHOU CITY CHINA


GUANGZHOU WANHONG JISUANJI KEJI CO       GUANGZHOU YAJIANG PHOTOELECTRIC          GUANGZHOU YUANSHENG TECHNOLOGY CO
LTD                                      EQUIP CO LTD                             LTD
                                         18 HUA HUI RD, LIANGLONG                 YUAN SHENG INTELLIGENT EQUIPMENT
                                         OVERSEAS CHINESE INDUSTRIAL DIST         INDUST PARK
                                         HUASHAN TOWN                             QIANFENG INDUSTRIAL ZONE, QIANFENG S
                                         GUANGZHOU 510880 CHINA                   RD
                                                                                  SHIJI TOWN, PANYU DIST
                                                                                  GUANGZHOU CHINA

GUANGZHOU YUEMEI PLASTIC INDUSTRIAL      GUANGZHOU YUSEI MACHINERY CO LTD         GUANZHOU HPW ENVIRONMENTAL TECH CO
NO 131, HONGQI RD                        WEISI RD, ZENGCHENG INDUSTRIAL ZONE      LTD
ZHELIAO TOWN, BAIYUN DIST                ZENGCHENG DIST, GUANGZHOU CITY
GUANGZHOU                                GUANGDONG PROVINCE
CHINA                                    CHINA



GUARDIAN DIGITIAL FORENSICS INC          GUARDIAN DIGITIAL FORENSICS INC          [NAME REDACTED]
5510 SIX FORKS RD, STE 150               ATTN CEO                                 [ADDRESS REDACTED]
RALEIGH, NC 27609                        4820 SIX FORKS RD
                                         RALEIGH, NC 27609




GUCKIAN ENERGY SYSTEMS LLC               [NAME REDACTED]                          GUDEL INC
596 FISHERS STATION DR                   [ADDRESS REDACTED]                       4881 RUNWAY BLVD
VICTOR, NY 14564                                                                  ANN ARBOR, MI 48108-9558
[NAME REDACTED] Case 25-90163      Document
                                      GUERRA,87  Filed in TXSB on 07/03/25 GUERRILLA
                                              YVONNE                        Page 339     of 944
                                                                                     RF LLC
[ADDRESS REDACTED]                     150 N FESTIVAL DR                    ATTN FOUNDER, CEO
                                       EL PASO, TX 79912                    5686 GREEN DALE CT
                                                                            SUMMERFIELD, NC 27358




GUERRINI SILVANO DI GUERRINI -         GUETZKE AND ASSOCIATES INC           [NAME REDACTED]
CRISTIANO & C SAS                      ATTN WIRELSS OPERATION               [ADDRESS REDACTED]
ATTN LEGAL REP                         W222N615 CHEANEY DR, STE D
VIA VITTORIO MICHELASSI 8/9            WAUKESHA, WI 53186
SCANDICI, FI 50018 ITALY



[NAME REDACTED]                        GUIDANCE SOFTWARE INC                [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN DEPUTY GEN COUNSEL              [ADDRESS REDACTED]
                                       215 N MARENGO AVE, STE 250
                                       PASADENA, CA 91101




[NAME REDACTED]                        [NAME REDACTED]                      GULF SUPPLY COMPANY, INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   1502 TELEGRAPH RD
                                                                            MOBILE, AL 36611




GULFSTREAM AIR INC                     [NAME REDACTED]                      [NAME REDACTED]
ATTN DISTRICT REPRESENTATIVE           [ADDRESS REDACTED]                   [ADDRESS REDACTED]
2508 SUMMERLAKE RD
CHARLOTTE, NC 28226-5627




GULSHAN INTERNATIONAL CORP.            [NAME REDACTED]                      [NAME REDACTED]
INVAX TECHNOLOGIES                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]
1355 GENEVA DRIVE
SUNNYVALE, CA 94089-1121




GUN ER CO                              [NAME REDACTED]                      [NAME REDACTED]
SEMSETTIN GUNALTAY CADDESI             [ADDRESS REDACTED]                   [ADDRESS REDACTED]
TUCCARBASI FAIK VANK APT 210
DAIRE 3, KADIKOY
ISTANBUL 34734 TURKEY



GUNMA ELECTRONICS CO LTD               GUNNAR STONE INC.                    [NAME REDACTED]
760 OOMAMA                             P.O. BOX 793872                      [ADDRESS REDACTED]
OOMAMA-CHO                             DALLAS, TX 75379-3872
MIDORI-CITY, GUNMA 376-0101
JAPAN



GUNZE ELECTRONICS CORP                 [NAME REDACTED]                      [NAME REDACTED]
ATTN SE US SALES                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
2113 WELLS BRANCH PKWY, STE 5400
AUSTIN, TX 78728




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  340 of 944
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[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    G-WAY MICROWAVE INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN TECHNICAL DIRECTOR/PRESIDENT
                                                                       38 LEUNING ST
                                                                       SOUTH HACKENSACK, NJ 07606




[NAME REDACTED]                     GXS INC                            [NAME REDACTED]
[ADDRESS REDACTED]                  9711 WASHINGTON BLVD               [ADDRESS REDACTED]
                                    GAITHERSBURG, MD 20878




[NAME REDACTED]                     [NAME REDACTED]                    GZ HRH BIO-TECH
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ROOM 3106 HUAXIA RD
                                                                       TIANHE DIST
                                                                       CHINA
H B FULLER CO     Case 25-90163        Document  87
                                          H C ZANG    FiledINC.
                                                   AGENCY,   in TXSB on 07/03/25 H EPage   341INC
                                                                                     WILLIAMS   of 944
ATTN DIR, GLOBAL ELECTRONICS               6204 GOODRICH RD                         ATTN MARK WILLIAMS, CEO
1200 WILLOW LAKE BLVD                      CLARENCE CENTER, NY 14032                831 W FAIRVIEW AVE
SAINT PAUL, MN 55110-5101                                                           CARTHAGE, MO 64836




H&H POLISHING INC                          H&H PRESCOTT INC                         H.T. LYONS INC
ATTN OFFICE MGR                            ATTN GREG HULL                           3 REXFORD WAY
4256 GULL ACRES DR                         100 CENTURY PARK S, 103                  HALFMOON, NY 12065-7830
CHARLOTTE, NC 28208                        BIRMINGHAM, AL 35226




H2A TECH INC                               H2L SOLUTIONS INC                        H3X TECHNOLOGIES INC
DBA INTEGRATED MICRO MATERIALS             ATTN CHIEF EXECUTIVE OFFICER             ATTN CHIEF EXECUTIVE OFFFICER
ATTN BUSINESS DEV MGR                      2227 DRAKE AVE, BLDG 3, STE A            9197 W 6TH AVE , STE 1100
8141 GATEWAY DR, STE 240                   HUNTSVILLE, AL 35805                     LAKEWOOD, CO 80215
ARGYLE, TX 76226



[NAME REDACTED]                            [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       [ADDRESS REDACTED]




HAAS AUTOMATION INC                        HABERDASHERY LONDON LTD                  HABERDASHERY LONDON LTD
ATTN PRES                                  ATTN DIRECTOR                            ENTERPRISE HOUSE
2800 STURGIS RD                            THE PRINT HOUSE, 18 ASHWIN STREET        BEESONS YARD, BURY LANE
OXNARD, CA 93030                           LONDON E8 3DL                            RICKMANSWORTH WD3 1DS
                                           UNITED KINGDOM                           UNITED KINGDOM



[NAME REDACTED]                            HABITAT FOR HUMANITY INTERNATIONAL INC   HABITAT FOR HUMANITY INTERNATIONAL
[ADDRESS REDACTED]                         ATTN SR VP DEV                           INC.
                                           121 HABITAT ST                           ATTN GEN COUNSEL
                                           AMERICUS, GA 31709-3498                  270 PEACHTREE ST NW, STE 1300
                                                                                    ATLANTA, GA 30303-1263



HABITEX CORP                               [NAME REDACTED]                          HACH COMPANY
ATTN BUS DEV MGR                           [ADDRESS REDACTED]                       2207 COLLECTIONS CENTER DR
2F, NO 199 SEC 3, CHENGDE RD                                                        CHICAGO, IL 60693-0022
DATONG DIST, TAIPEI CITY 103
TAIWAN



[NAME REDACTED]                            [NAME REDACTED]                          HAD - INDUSTRIA E COMERCIO DE -
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       COMPONENTES ELECTRONICOS LTDA
                                                                                    ATTN CEO
                                                                                    AVENIDA GERMANIA, 136 BAIRRO GERMANIA
                                                                                    NOVA PETROPOLIS, RS 95150-000 BRAZIL



HAD IND E COM DE COMPONENTES ELECTR        [NAME REDACTED]                          HADCO INC
LTDA                                       [ADDRESS REDACTED]                       ATTN PURCHASING MGR
DBA HDA ILUMINACAO                                                                  100 CRAFTWAY
ATTN OWNER                                                                          LITTLETON, PA 17340
RUA PADRE AMSTAD, 435
NOVA PETROPOLIS, RS 95159-000 BRAZIL


[NAME REDACTED]                            [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  342 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




HAENSCH WARNSYSTEME GMBH            HAEUSERMANN GMBH                      [NAME REDACTED]
SCHUETZENSTRASSE                    ATTN MANAGING DIR                     [ADDRESS REDACTED]
HERZLAKE 49770                      ZITTERNBERG 100
GERMANY                             GARS AM KAMP A-3571
                                    AUSTRIA



[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                       HAGEMEYER NORTH AMERICA INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    ATTN SALES REP
                                                                          2820 YONKERS RD
                                                                          RALEIGH, NC 27604




HAGEN MANUFACTURING INC             HAGEN STREIFF NEWTON & OSHIRO ACCTS   HAGER ELECTRO SAS
ATTN DIR OF SALES                   PC                                    ATTN DIRECTOR GENERAL
318 HOLBROOK DR                     ATTN PARTNER                          132 BLD EUROPE
WHEELING, IL 60090                  5871 GLENRIDGE DR, STE 250            OBERNAI 67215
                                    ATLANTA, GA 30328                     FRANCE



HAGERTY CONSULTING                  HAGERTY, JOSEPH                       [NAME REDACTED]
ATTN SETA / AFRC                    O/B/O ALECSY LABS LLC                 [ADDRESS REDACTED]
2050 AUTUMN LN                      1423 N 49TH ST
VERO BEACH, FL 32963                SEATTLE, WA 98103




[NAME REDACTED]                     [NAME REDACTED]                       HAI TECH LASERS INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    ATTN CHIEF EXECUTIVE OFFICER
                                                                          25026 ANZA DR
                                                                          SANTA CLARITA, CA 91355




[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                       HAINING LIANFENG DONGJIN ELECT CO LTD
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    NO 1, NO 5 RD, YANGUAN TOWN AREA
                                                                          HAINING, ZHEJIANG
                                                                          CHINA
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  343 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                       HAIZHOU DACHENG HUI JIN -
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    INDUSTRIAL CO LTD




HAJI COMMERCIAL COMPANY LLC               [NAME REDACTED]                       [NAME REDACTED]
ATTN ASST MGR, LIGHTING                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]
P.O. BOX 25868
ABU DHABI, DUBAI
UNITED ARAB EMIRATES



HAJOCA CORPORATION                        [NAME REDACTED]                       [NAME REDACTED]
DBA HAINES JONES & CADUBURY               [ADDRESS REDACTED]                    [ADDRESS REDACTED]
ATTN PURCHASING MGR
127 COULTER AVE
ARDMORE, PA 19003



HAKUTO SINGAPORE PTE LTD                  HALCO LIGHTING TECHNOLOGIES           [NAME REDACTED]
ATTN MANAGING DIR                         ATTN KIM COOK, CEO & PRES             [ADDRESS REDACTED]
BLOCK 2, KAKI BUKIT AVE 1, 04-01/04       2940 PACIFIC DR
KAKI BUKIT INDUS ESTATE                   NORCROSS, GA 30071
SINGAPORE 417938 SINGAPORE



[NAME REDACTED]                           HALE INTERNATIONAL RECRUITMENT US L   HALES & ASSOCIATES
[ADDRESS REDACTED]                        117 6TH AVE TOWER                     ATTN PROJECT MGR
                                          5TH FLOOR                             218-1 SWING RD
                                          NEW YORK, NY 10036                    GREENSBORO, NC 27409




HALES & MITCHELL INC                      [NAME REDACTED]                       [NAME REDACTED]
ATTN PRESIDENT                            [ADDRESS REDACTED]                    [ADDRESS REDACTED]
7101 ROCK CREEK CIR
WILMINGTON, NC 28405




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 HALLAM
                                      HALLA AS                              PageASSOCIATES
                                                                                 344 of 944INC
[ADDRESS REDACTED]                     ATTN CHAIRMAN OF THE BOARD          HALLAM-ICS
                                       LITVINOVSKA 288/11                  38 EASTWOOD DRIVE SUITE 200
                                       PRAHA 9 19000                       SOUTH BURLINGTON, VT 05403-4403
                                       CZECH REPUBLIC



[NAME REDACTED]                        HALLIBURTON MANUFACTURING &         [NAME REDACTED]
[ADDRESS REDACTED]                     SERVICES LIMITED                    [ADDRESS REDACTED]
                                       RUSSELL HOUSE, BLOCK D, REGENT PK
                                       KINGSTON RD, LEATHERHEAD
                                       SURREY KT22 7LU
                                       UNITED KINGDOM


HALO INDUSTRIES INC                    HALOGEN SOFTWARE INC                HALORION LIGHTING AND SECURITY
ATTN CHIEF EXECUTIVE OFFICER           ATTN PRESIDENT                      SYSTEMS LLC
3270 SCOTT BLVD                        17 AURIGA DR                        ATTN SEC & TREAS
SANTA CLARA, CA 95054                  OTTAWA, ON K2E 7T9                  2122 MARYLAND AVE
                                       CANADA                              BALTIMORE, MD 21218



[NAME REDACTED]                        [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




HALYCON ELECTRICAL DESIGNS INC         [NAME REDACTED]                     [NAME REDACTED]
ATTN PRES                              [ADDRESS REDACTED]                  [ADDRESS REDACTED]
2053 E LAKESHORE DR
TWIN LAKES, WI 53181




[NAME REDACTED]                        [NAME REDACTED]                     HAMBURG UNIVERSITY OF TECHNOLOGY
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  DENICKESTR 22
                                                                           INSITUT FUR HOCHFREQUENZTECHNIK
                                                                           HAMBURG 21073
                                                                           GERMANY



[NAME REDACTED]                        [NAME REDACTED]                     HAMILTON AUTOMATION INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  ATTN PRESIDENT
                                                                           1657 S BATESVILLE RD
                                                                           GREER, SC 29650




HAMILTON MANAGING AGENCY LTD           HAMILTON PCB DESIGN                 HAMILTON PROTOTYPE & MODEL
ATTN CFO DIRECTOR                      213 CARAWAY LANE                    ATTN ADMINISTRATRIX
LVL 3, 8 FENCHURCH PL                  CARY, NC 27519-5958                 58 WOODBURY ST
LONDON EC3M 4AJ                                                            SOUTH HAMILTON, MA 01982
UNITED KINGDOM



HAMILTON SUNDSTRAND CORP               HAMILTON SUNDSTRAND CORPORATION     [NAME REDACTED]
ATTN MGR, CONTRACTS AND BUSINESS       ATTN SR MGR, SUPPLY MGMT            [ADDRESS REDACTED]
MGMT                                   6633 CANOGA AVE
4747 HARRISON AVE                      CANOGA PARK, CA 91309
ROCKFORD, IL 61108



[NAME REDACTED]                        [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  345 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    HAMLIN ROOFING COMPANY INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 1411 WEST GARNER ROAD
                                                                       GARNER, NC 27529-3029




[NAME REDACTED]                     HAMMERTEK CORP                     HAMMERTON INC
[ADDRESS REDACTED]                  ATTN OPS MANAGER                   ATTN CHIEF EXECUTIVE OFFICER
                                    2400 EMERICK BLVD                  217 WRIGHT BROTHERS DR
                                    BETHLEHAM, PA 18020                SALT LAKE CITY, UT 84116




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     HAMMOND ELECTRONICS INC            [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN CONTROLLER                    [ADDRESS REDACTED]
                                    1230 W CENTRAL BLVD
                                    ORLANDO, FL 32805




HAMPOO ELECTRONIC TECH              HAMPTON PRODUCTS INTL CORP         [NAME REDACTED]
DEVELOPMENT SHENZHEN CO LTD         ATTN VP ENGINEERING                [ADDRESS REDACTED]
                                    50 ICON
                                    FOOTHILL RANCH, CA 92610




[NAME REDACTED]                     [NAME REDACTED]                    HANA (SHIPPING LOC) ENGG. PLAN
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 3625 DEL AMO BLDVD
                                                                       TORRANCE, CA 90503
                    CaseCO
HANA MICROELECTRONICS      25-90163      Document
                             LTD (JIAXING)           87 Filed in TXSB
                                            HANA MICROELECTRONICS           on 07/03/25 HANA
                                                                      CO., LTD.           Page   346 of 944 INC
                                                                                              MICROELECTRONICS
ATTN DIR OF MICT & PM                       NO. 18, HANA ROAD, XIN CHENG INDUSTRIAL     ATTN PRESIDENT
NO 18, HANA RD, XIN CHENG IND PARK          PARK                                        1731 TECHNOLOGY DR, STE 590
XIU ZHOU DIST, JIAXING CITY                 XIU ZHOU DISTRICT, JIAXING CITY, ZHEJIANG   SAN JOSE, CA 95110
ZHEJIANG PROVINCE 31400 CHINA               PROVINCE 31400
                                            CHINA


HANA MICROELECTRONICS INC                  HANA SEMICONDUCTOR BKK CO LTD               HANAMI INTERNATIONAL LIMITED
ATTN PRESIDENT                             ATTN PRESIDENT                              60 GROSVENOR STREET
25 METRO DR, STE 238                       10/4 MOO 7 SOI VIBHAVADI                    LONDON W1K 4PZ
SAN JOSE, CA 95110                         64 VIBHAVADI RANGSIT RD, K LASKSI           UNITED KINGDOM
                                           BANGKOK 10210 THAILAND



HANBURY EVANS WRIGHT VLATTAS CO            [NAME REDACTED]                             [NAME REDACTED]
ATTN ASSOC PRINCIPAL                       [ADDRESS REDACTED]                          [ADDRESS REDACTED]
223 S WILMINGTON ST, STE 200
RALEIGH, NC 27601




[NAME REDACTED]                            [NAME REDACTED]                             HANCON INDUSTRIAL CO LTD
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                          ATTN JEFF SUEN
                                                                                       UNIT 7-9, 19/F, METRO LOFT, NO 38
                                                                                       KWAI HEI ST
                                                                                       KWAI CHUNG, NT HONG KONG



HAND & REHABILITATION SPECIALISTS OF       [NAME REDACTED]                             HANDMADE COMMUNICATIONS
NORTH CAROLINA LLP                         [ADDRESS REDACTED]                          ATTN JOHN TEAGUE
ATTN OWNER, ERGO SPEC                                                                  75 EAGLE POINT RD
2701 HENRY ST                                                                          PITTSBORO, NC 27312
GREENSBORO, NC 27405



[NAME REDACTED]                            HANDY & HARMAN ELE (ASIA) SDN BHD           HANG KING (HK) ENGINEERING CO LTD
[ADDRESS REDACTED]                         ATTN VP OF SALES                            ATTN MANAGING DIR
                                           LEVEL 3, WISMA ATLAN                        UNIT B, 3/F, TAI CHAIP FACTORY BLDG
                                           8 PERSIARAN KG JAWA                         17 YUK YAT ST
                                           BAYAN LEPAS, PENANG 11900 MALAYSIA          KOWLOON, TOKWAWAN HONG KONG



HANG LAI                                   HANG SHING LABEL PRINTING PRODUCT CO        HANG TOUGH TECHNOLOGY CO LTD
1001 LIBERTY AVE, STE 1500                 LTD                                         ATTN GM
PITTSBURGH, PA 15222-3728                  ATTN SALES EXEC                             7F, 1, NO 512, SEC 2, CHENGGONG RD
                                           FLAT 3&4, 3/F, YUEN FAL IND BLDG            NEIHU DIST
                                           25 WANG CHIIU RD, KOWLOON BAY               TAIPEI CITY 114 TAIWAN
                                           KOWLOON HONG KONG


HANGZHOU CHENGYUE LIGHTING TECH CO         HANGZHOU CRYSTAL DISPLAY                    HANGZHOU DIDI LIGHTING ELECTRONICS CO
LTD                                        TECHNOLOGY CO LTD                           LTD
2 BLDG W PORT DEVELOPMENT CTR, FL 9        ATTN VP                                     ATTN MGR
W LAKE SCIENCE PARK, W LAKE AREA           1ST FL, SHUIYOU BLDG                        NO 06 MIDDLE PARK RD, GOUYUN RD
HONG KONG CITY                             3738 NANHUAN RD                             GOUZHUANG INDUSTRIAL AREA, HANGZHOU
ZHE JIANG 310030 CHINA                     HANGZHOU ZHEJIANG CHINA                     ZHEJIANG CHINA


HANGZHOU DINGYU ELECTRONIC TECH CO         HANGZHOU EVERFINE PHOTO-E-INFO CO           HANGZHOU GREATSTAR TECHNOLOGY CO
LTD                                        LTD                                         LTD
ATTN VICE PRESIDENT                        ATTN MANAGER                                ATTN PURCHASE MANAGER
ROOM 901, UNIT 1, A SIDE, LIANHE TOWER     669 BINKANG RD, BINJIANG ZONE               NO. 35 JIUHUAN RD
NO. 2 ZI JING HUA RD                       HANGZHOU 310051                             JIUBAO TOWN,
XI HU DIST, HANGZHOU CHINA                 CHINA                                       HANGZHOU ZHEJIANG 310019 CHINA


HANGZHOU HPWINNER OPTO CORP                HANGZHOU MALL YEAH ENVIRONMENTAL-           HANGZHOU MULTI-COLOR OPTOELECT CO
ATTN MANAGER                               PROTECTION & SCIENCE CO LTD                 LTD
BLDG 1, NO 18, KANGZHONG RD                                                            ATTN JIANG ZHONGYONG, GM
GONGSHU DISTRICT                                                                       ECONOMIC & TECHNOLOGY DEVT ZONE
HANGZHOU, ZHEJIANG CHINA                                                               NO 300, NO 10 RD
                                                                                       HANGZHOU, ZHEJIANG CHINA
                  Case 25-90163
HANGZHOU NAJING TECHNOLOGY     CO LTD   Document 87 NAJING
                                           HANGZHOU   FiledTECHNOLOGY
                                                            in TXSB onCO 07/03/25
                                                                         LTD        Page 347
                                                                                  HANGZHOU    of 944 CO LTD
                                                                                           SKY-LIGHTING
ATTN CTO                                    ATTN SU KAI                                 NO 161 NORTH STAR BRIDGE RD
1576 CHUNBO RD, BLDG 1, 4TH FL              NO 02, FL 4, BLDG C3, KEXING SCIENCE PARK   LINPING
BINJIANG DISTRICT                           NO 15 KENYUAN RD, NANSHAN DISTRICT          HANGZHOU, ZHEJIANG 311100
HANGZHOU, ZHEJIANG 310052 CHINA             SHENZHEN, GUANGDONG 518057 CHINA            CHINA



HANGZHOU ZHONGWEI PHOTOELECTRICITY          HANHZHOU NAJING TECHNOLOGY CO LTD           [NAME REDACTED]
CO LTD                                      ATTN CTO                                    [ADDRESS REDACTED]
NO 6, XIYUAN NO 9 RD                        4TH FL, 1 BLDG, NO 500 QIUYI RD
WEST LAKE TECHNOLOGY PARK                   BINJIANG DIST, HANGZHOU
HANGZHOU, HANGZHOU                          ZHEJIANG 310052 CHINA
ZHEJIANG CHINA


[NAME REDACTED]                             HANKUK UNIVERSITY OF FOREIGN STUDIES        HANMA CO LTD
[ADDRESS REDACTED]                          107, IMUN-RO, DONGDAEMUN-GU                 ATTN GENERAL MANAGER
                                            SEOUL 02450                                 NO 8, JIANYE MIDDLE RD, TAIHE TOWN
                                            KOREA                                       BAIYUN DIST, GUANGZHOU 510070
                                                                                        CHINA



[NAME REDACTED]                             [NAME REDACTED]                             [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                          [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                             HANPU SMART TECH CO., LTD.
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                          ROOM 301-306, FACTORY BUILDING, FEN
                                                                                        SHENZHEN 518100
                                                                                        CHINA




HANS LASER TECH INDUSTRY GROUP CO           [NAME REDACTED]                             [NAME REDACTED]
LTD                                         [ADDRESS REDACTED]                          [ADDRESS REDACTED]
ATTN REGIONAL MANAGER
NO 9988 SHENNAN RD
NANSHAN DISTRICT
SHENZHEN 518052 CHINA


[NAME REDACTED]                             [NAME REDACTED]                             [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                          [ADDRESS REDACTED]




HANSEN, RITA                                [NAME REDACTED]                             HANSOL TECHNICS CO LTD
585 NUTCRACKER DR                           [ADDRESS REDACTED]                          ATTN SALES & MKTG MGR
REDMOND, OR 97756                                                                       11TH FL, HANSOL BLDG
                                                                                        736-1, YEOKSAM-DONG, GANGUAM-GU
                                                                                        SEOUL 135-080 SOUTH KOREA



HANSON SYSTEMS LLC                          [NAME REDACTED]                             [NAME REDACTED]
EAGLE TECHNOLOGIES                          [ADDRESS REDACTED]                          [ADDRESS REDACTED]
9850 RED ARROW HIGHWAY
BRIDGMAN, MI 49106-9000




[NAME REDACTED]                             [NAME REDACTED]                             [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                          [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163         Document 87ELCOMTEC
                                         HANSUNG    Filed in
                                                           COTXSB
                                                              LTD on 07/03/25 [NAME
                                                                                Page  348 of 944
                                                                                    REDACTED]
[ADDRESS REDACTED]                        ATTN KYUNQPYO SUN                      [ADDRESS REDACTED]
                                          110-1 GALGOT-RI
                                          JINWI-MYEON, PYEONGTAEK-SI
                                          GYEONGGI-DO 451-862 SOUTH KOREA



HANWHA THALES CO LTD                      HANYANG UNIVERSITY                     HAO YANG ELECTRONIC CO LTD
ATTN HEAD OF PURCHASING                   ATTN RESEARCH ASSISTANT                ATTN PURCHASER/ENGINEER
FL 9, N BLDG, H-SQUARE 235, PANGYOYEOK-   55 HANYANGDAEHAK RO                    NO 109, HAI YONG RD
RO                                        SANGNOK GU                             SHI JI TOWN, PAN YU ZONE
BUNGDANG-GU                               ANSAN, GYEONGI-DO 426791 SOUTH KOREA   GUANGZHOU CITY 511450 CHINA
SEONGNAME, GYEONGGI-DO SOUTH KOREA


HAPMAN INC                                [NAME REDACTED]                        [NAME REDACTED]
ATTN VP                                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]
5944 E N AVE
KALAMAZOO, MI 49048




HARBOR ENTERPRISES LLC                    [NAME REDACTED]                        [NAME REDACTED]
DBA SURVIVE-A-STORM SHELTERS              [ADDRESS REDACTED]                     [ADDRESS REDACTED]
ATTN PRESIDENT/CEO
1207 SUNSET DR
THOMASVILLE, GA 31792



[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                        HARDINGE, INC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     ONE HARDINGE DRIVE
                                                                                 ELMIRA, NY 14903-1946




[NAME REDACTED]                           [NAME REDACTED]                        HARDWARE DISTRIBUTORS INC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     216 INDUSTRIAL AVE
                                                                                 GREENSBORO, NC 27406-4507




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 [NAME
                                          [NAME REDACTED]                       Page  349 of 944
                                                                                    REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




HARMONIC DRIVE LLC                         [NAME REDACTED]                    [NAME REDACTED]
42 DUNHAM RIDGE                            [ADDRESS REDACTED]                 [ADDRESS REDACTED]
BEVERLY, MA 01915




HAROHAT WORKFORCE SOLUTIONS INC            HARPER & TWO INC                   [NAME REDACTED]
ATTN PRESIDENT                             ATTN CHIEF EXECUTIVE OFFICER       [ADDRESS REDACTED]
3409 D W WEMOOVER AVE                      2937 CHERRY AVE
GREENSBORO, NC 27407                       SIGNAL HILL, CA 90755




[NAME REDACTED]                            [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                    HARRINGTON ELECTRIC CO
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 ATTN PRESIDENT
                                                                              3800 PERKINS AVE
                                                                              CLEVELAND, OH 44114




HARRINGTON INDUSTRIAL PLASTICS, INC.       HARRINGTON PURE                    [NAME REDACTED]
, INC.                                     180 MIDDLESEX STREET               [ADDRESS REDACTED]
6708 WESTBOROUGH DRIVE                     NORTH CHELMSFORD, MA 01863-2060
RALEIGH, NC 27612-1945
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
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                                                                                REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        HARRIS CORP                        HARRIS CORP
[ADDRESS REDACTED]                     909 MONTREAL CIR                   ATTN SUBCONTRACT MGR
                                       ST PAUL, MN 55102                  1680 UNIVERSITY AVE
                                                                          ROCHESTER, NY 14610




HARRIS CORPORATION SEMICONDUCTOR       HARRIS CORPORATION                 HARRIS CORPORATION
SECTOR                                 ATTN DIR                           ATTN SUBCONTRACTS MGR
ATTN SR MGR, CONTRACTS ADMIN           637 DAVIS DR                       P.O. BOX BOX 37
P.O. BOX 883                           DURHAM, NC 27713                   MELBOURNE, FL 32902
MELBOURNE, FL 32901



HARRIS MANUFACTURING INC               HARRIS MOTOR SPORTS INC            HARRIS N.A. (2697)
DBA HARRIS LIGHTING                    DBA HARRIS GOLF CARS               JUDY KWOKA OR PROXY MGR
ATTN EXEC VICE PRESIDENT               ATTN SALES MGR                     111 WEST MONROE
4035 REYNOLDS BLVD                     13900 LEETSBIR RD                  CHICAGO, IL 60603
GREEN COVE SPRINGS, FL 32043           STURTEVANT, WI 53177



HARRIS WALL SYSTEMS INC                [NAME REDACTED]                    [NAME REDACTED]
ATTN PRESIDENT                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]
610 GREENWAY INDUSTRIAL DR
CHARLOTTE, NC 28273




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




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[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  351 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     HARRIS, MICHAEL J                  [NAME REDACTED]
[ADDRESS REDACTED]                  205 YORKHILL DR                    [ADDRESS REDACTED]
                                    CARY, NC 27513




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




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[NAME REDACTED] Case 25-90163     Document  87 Filed in TXSB on 07/03/25 [NAME
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[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




HARROD & ASSOC CONSTRUCTORS INC       [NAME REDACTED]                    [NAME REDACTED]
ATTN PROJECT MGR                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]
6612 FLEETWOOD DR
RALEIGH, NC 27612




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    HARTFIEL AUTOMATION SA, LLC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 9708 ASHLEY DAWN COURT
                                                                         FREDERICKSBRG, VA 22408-9472




HARTFORD FINISHING INC                HARTFORD FIRE INSURANCE CO         HARTFORD FIRE INSURANCE COMPANY
ATTN VICE PRESIDENT                   ATTN SR MANAGING DIR               690 ASYLUM AVE
844 W STATE ST                        ONE HARTFORD PLAZA                 HARTFORD, CT 06155
HARTFORD, WI 53027                    HARTFORD, CT 06155




HARTFORD STEAM BOILER                 [NAME REDACTED]                    HARTLAUER PRAZISIONS ELEKTRONIC GMBH
1 STATE ST                            [ADDRESS REDACTED]                 ATTN PRESIDENT
HARTFORD, CT 06102                                                       BAHNHOFSSTRASSE 110
                                                                         GRASSAU 83224
                                                                         GERMANY



HARTMAN SCALE COMPANY INC             HARTMANN PROJECT TEAM LLC          HARTMANN, NATHAN
ATTN GEN MGR                          ATTN GENERAL MANAGER               10118 ROSE PETAL PL
100 N SEVENTH ST                      70 W OHIO AVE, STE H               RIVERVIEW, FL 33578
PERKASIE, PA 18944                    RICHMOND, CA 94804




[NAME REDACTED]                       HARTWIG INC                        [NAME REDACTED]
[ADDRESS REDACTED]                    DBA HARTWIG EXHIBIT & DISPLAY      [ADDRESS REDACTED]
                                      ATTN ACCOUNTANT
                                      16325 W RYERSON RD
                                      NEW BERLIN, WI 53151
                 Case
HARVARD ENGINEERING PLC25-90163   Document 87ENGINEERING
                                     HARVARD    Filed in TXSB on 07/03/25 HARVATEK
                                                                            Page 353  of 944
                                                                                   CORP
ATTN ENGINEERING MGR                  ATTN VP                             ATTN ENGINEER MGR
TYLER CLOSE, NORMANTON                4660 LA JOLLA VILLAGE DR, STE 500   NO 18, LANE 522, CHUNG HWA RD, SEC 5
WAKEFIELD                             SAN DIEGO, CA 92122                 HSIN CHU
WEST YORKSHIRE WF6 1RL UNITED                                             TAIWAN
KINGDOM


HARVATEK                              HARVEST ELECTRIC CO LTD             [NAME REDACTED]
ATTN VP SALES                         ATTN MANAGER                        [ADDRESS REDACTED]
3350 SCOTT BLVD                       UNIT 3, FL 16, YEN SHENG CENTRE
SANTA CLARA, CA 95054                 64 HOI YUEN RD, KWUN TONG
                                      KOWLOON HONG KONG



[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




HARWIN INC                            HARWOOD ASSOCIATES INC              HARY MANUFACTURING INC
ATTN OPERATIONS MGR                   ATTN PRESIDENT                      ATTN PRESIDENT
7B RAYMOND AVE, STE 11                19575 JANACEK CT                    3087 HWY 22
SALEM, NH 03079                       BROOKFIELD, WI 53045                NORTH BRANCH, NJ 08876




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




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[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]
HAST SOLUTIONS INCCase 25-90163     Document
                                       HASTEST87  Filed inINC.
                                               SOLUTIONS,   TXSB on 07/03/25 HATCH
                                                                               Page  354 of 944 INC
                                                                                   TRANSFORMERS
112 FRIDLEY DR                          2139 SOUTH 10TH STREET                  ATTN PRESIDENT
SANTA CRUZ, CA 95060-2427               SAN JOSE, CA 95112-4113                 7821 WOODLAND CTR BLVD
                                                                                TAMPA, FL 33614




[NAME REDACTED]                         HATFIELD METAL FAB., INC.               [NAME REDACTED]
[ADDRESS REDACTED]                      16 HATFIELD LANE                        [ADDRESS REDACTED]
                                        POUGHKEEPSIE, NY 12603-6250




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




HATSUSHIBA TECH CO LTD                  [NAME REDACTED]                         [NAME REDACTED]
ATTN VIA HUANG                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]
3F, NO 158, JIANKANG RD
CHUNG HO, TAIPEI 235
TAIWAN



[NAME REDACTED]                         HAUG NORTH AMERICA                      HAUN SPECIALTY GASES INC
[ADDRESS REDACTED]                      ATTN GENERAL MANAGER                    5921 COURT STREET ROAD
                                        1200 AEROWOOD DR                        SYRACUSE, NY 13206-1707
                                        MISSISSAUGA, ON L4W 2S7
                                        CANADA



HAUSERMANN GMBH                         [NAME REDACTED]                         [NAME REDACTED]
ATTN PRODUCT MGR                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]
A-3571 GARS AM KAMP
ZITTERNBERG 100
AUSTRIA



HAVELLS INDIA LTD                       HAVELLS SYLVANIA EUROPE LTD             HAVELLS SYLVANIA EUROPE LTD
QRG TOWERS                              ATTN DIRECTOR                           ATTN SR VP
2D, SEC 126, EXPRESSWAY                 AVIS WAY, NEWHAVEN                      LOMGBOW HOUSE
NOIDA, UTTAR PRADESH 201304             EAST SUSSEX BN9 0ED                     14-20 CHISWELL ST
INDIA                                   UNITED KINGDOM                          LONDON EC1Y 4TW UNITED KINGDOM



HAVENS, AMY                             [NAME REDACTED]                         HAVERTY FURNITURE COMPANIES INC
                                        [ADDRESS REDACTED]                      ATTN RAWSON HAVERTY
                                                                                780 JOHNSON FERRY RD NE, STE 800
                                                                                ATLANTA, GA 30342




HAW HAMBURG                             HAWAII COMMUNITY FOUNDATION             HAWAII DEPARTMENT OF COMMERCE AND
ATTN PROFESSOR/DIR                      827 FORT STREET MALL                    CONSUMER AFFAIRS
BERLINER TOR 7                          HONOLULU, HI 96813                      OFFICE OF CONSUMER PROTECTION
HAMBURG 20099                                                                   335 MERCHANT ST
GERMANY                                                                         HONOLULU, HI 96813



HAWAII DEPARTMENT OF COMMERCE AND       HAWAII DEPARTMENT OF COMMERCE AND       HAWAII DEPT OF LABOR AND INDUSTRIAL
CONSUMER AFFAIRS-HILO                   CONSUMER AFFAIRS-HONOLULU (MAIN LOC.)   RELATIONS
OFFICE OF CONSUMER PROTECTION           OFFICE OF CONSUMER PROTECTION           830 PUNCHBOWL ST 321
120 PAUAHI ST, STE 212                  235 S BERETANIA ST STE 801              HONOLULU, HI 96813
HILO, HI 96720                          HONOLULU, HI 96813
                  Case
HAWAII DEPT OF LAND      25-90163
                    & NATURAL       Document   87 OF
                                       HAWAII DEPT Filed in TXSB on 07/03/25 HAWAII
                                                     TAXATION                  Page   355OFof
                                                                                    DEPT      944
                                                                                            TAXATION
RESOURCES                               3060 EIWA STREET 105                   54 S. HIGH STREET 208
KALANIMOKU BLDG                         LIHUE, HI 96766-1889                   WAILUKU, HI 96793-2198
1151 PUNCHBOWL ST
HONOLULU, HI 96813



HAWAII DEPT OF TAXATION                 HAWAII DEPT OF TAXATION                HAWAII DEPT OF TAXATION
75 AUPUNI STREET 101                    P.O. BOX 259                           P.O. BOX 275
HILO, HI 96720-4245                     HONOLULU, HI 96809-0259                KAUNAKAKAI, HI 96748




HAWAII SECURITIES BRANCH                [NAME REDACTED]                        HAWK SECURITY AND CONSULTING LLC
COMMISSIONER OF SECURITIES              [ADDRESS REDACTED]                     ATTN CEO
P.O. BOX 40                                                                    2501 BLUE RIDGE RD, STE 470
HONOLULU, HI 96810                                                             RALEIGH, NC 27607




HAWKES PEERS & G                        HAWKEYE METAL SPINNING INC             HAWKINS DESIGN GROUP
ATTN MANAGING DIR                       ATTN SALES                             ATTN PROJECT MNGR
3386 FAIRWAY RD                         1040 HAWKEYE RD                        2152 S VINEYARD AVE, 107
OCEANSIDE, NY 11572                     JESSUP, IN 50648                       MESA, AZ 85210




HAWKINS SALES OF OHIO INC               [NAME REDACTED]                        [NAME REDACTED]
ATTN WILL HAWKINS, PRESIDENT            [ADDRESS REDACTED]                     [ADDRESS REDACTED]
1355 VALLEY BELT RD
BROOKLYN HEIGHTS, OH 44131




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                        HAWKINS, R ALLEN
[ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 HAY
                                   [NAME REDACTED]                       Page  356
                                                                           GROUP INCof 944
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  ATTN CLIENT MGR
                                                                        100 PENN SQ E
                                                                        PHILADELPHIA, PA 19107-3388




[NAME REDACTED]                     HAYDEN SERVICES INC                 HAYES BUSINESS GROUP LLC
[ADDRESS REDACTED]                  DBA HAYDEN TENT RENTALS             DBA ALLAN INDUSTRIAL COATINGS
                                    ATTN VP                             22191 HWY 3
                                    2130 CESSNA DR                      ALLISON, IA 50602
                                    BURLINGTON, NC 27215



HAYES LOGISTICS INC                 [NAME REDACTED]                     [NAME REDACTED]
707 PENINSULA DRIVE                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]
CORNELIUS, NC 28031




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     HAYS US CORPORATION                 [NAME REDACTED]
[ADDRESS REDACTED]                  4350 W CYPRESS ST                   [ADDRESS REDACTED]
                                    TAMPA, FL 33607-4247




HAYWARD ELECTRIC CO                 HAYWARD INDUSTRIES INC              HAZARDOUS TREE REMOVAL
ATTN VP                             DBA GOLDLINE CONTROLS               ATTN OWNER
3150 DIABLO AVE                     ATTN DIR OF ENGINNERING             3104 HILLSBOROUGH ST
HAYWARD, CA 94545                   61 WHITECAP DR                      RALEIGH, NC 27607
                                    NORTH KINGSTOWN, RI 02852



HBH MICROWAVE GMBH                  HC SEMITEK CORP                     HCA MANAGEMENT SERVICES LP
HELMHOLTZSTR 1 STUTENSEE            8 BINHU ROAD                        DBA HOSPITAL CORP OF AMERICA
BADEN-WUERTTEMBERG 76297            WUHAN 430223                        ATTN VP FACILITY GROUP
GERMANY                             CHINA                               1 PARK PLZ
                                                                        NASHVILLE, TN 37203



HCC GLOBAL FINANCIAL PRODUCTS       HCC LIFE INSURANCE CO               HCL AMERICA INC
111 TOWN SQ PL, STE 1201            ATTN AVP COMPLIANCE                 2600 GREAT AMERICA WY, STE 401
JERSEY CITY, NJ 07310               225 TOWNPARK DR, STE 350            SANTA CLARA, CA 95054
                                    KENNESAW, GA 30144
HCL TECHNOLOGIESCase     25-90163
                   CORPORATE SRVS LTDDocument   87 Filed LTD
                                        HCL TECHNOLOGIES    in TXSB on 07/03/25 HDPage    357 of 944
                                                                                   COMMUNICATIONS  CORP
70, 6TH FL, GRACECHURCH ST              806 SIDDHARTHA, 96 NEHRU PL             ATTN PRESIDENT
LONDON                                  NEW DELHI 110019                        2180 FIFTH AVE
UNITED KINGDOM                          INDIA                                   RONKONKOMA, NY 11779




HD MICROSYSTEMS L.L.C.                  HD SUPPLY SUPPORT SERVICES INC          HD-FLEX TECHNOLOGY CO LTD
22826 NETWORK PLACE                     3400 CUMBERLAND BLVD SE                 ATTN MARKETING DIR
CHICAGO, IL 60673                       ATLANTA, GA 30339                       QIANWU TOWN, DOUMEN, QUANGDONG
                                                                                ZHUHAI
                                                                                CHINA



HDI GLOBAL INSURANCE COMPANY            HDI GLOBAL INSURANCE COMPANY            HDI GLOBAL INSURANCE COMPANY
161 N CLARK ST, 48TH FL                 ATTN CASUALTY MGR                       HDI GLOBAL SE
CHICAGO, IL 60601                       161 N CLARK ST, 48TH FL                 HDI-PLATZ 1
                                        CHICAGO, IL 60601                       HANNOVER 30659
                                                                                GERMANY



HDI SPECIALTY INS. CO.                  HDR ENGINEERING, INC.                   HE SYSTEM ELECTRONIC GMBH
161 N CLARK ST, 48TH FL                 1917 S 67TH ST                          REITWEG 1
CHICAGO, IL 60601                       OMAHA, NE 68106-2973                    VEITSBRONN 90587
                                                                                GERMANY




[NAME REDACTED]                         [NAME REDACTED]                         HEAD ELECTRONICS BV
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      ATTN MG DIRECTOR
                                                                                AMBACHTSWEG 17
                                                                                KATWIJK ZH 2222 AH
                                                                                NETHERLANDS



[NAME REDACTED]                         HEADFIRST CREATIVE LLC                  HEADS UP TECHNOLOGIES INC
[ADDRESS REDACTED]                      ATTN PRINCIPAL OWNER                    ATTN EXECUTIVE VP
                                        30150 WALSER                            2033 CHENNAULT, STE 100
                                        CHAPEL HILL, NC 27517                   CARROLLTON, TX 75006




[NAME REDACTED]                         [NAME REDACTED]                         HEALTH ADVOCATE SOLUTIONS, INC.
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      3043 WALTON ROAD
                                                                                PLYMOUTH MEETING, PA 19462-9462




HEALTH FITNESS CORP                     HEALTH SCREENING INC                    HEALTHCARE HORIZONS INC
ATTN CHIEF OPERATING OFFICER            ATTN PRESIDENT/OWNER                    ATTN SVP
1700 W 82ND ST, STE 200                 105 W NC HWY 54                         ONE CHEROKEE MILLS
MINNEAPOLIS, MN 55431                   DURHAM, NC 27713                        222 SUTHERLAND AVE
                                                                                KNOXVILLE, TN 37919



HEALTHCARE OF ONTARIO PENSION PLAN      HEALTHSTAT INC                          HEALY & MATTOS INC
TRUST FUND                              ATTN COO & EVP                          ATTN MICHAEL GARRIGAN
1 YORK STREET                           4651 CHARLOTTE PARK DR, STE 300         23898 FOLEY ST
STE 1900                                CHARLOTTE, NC 28217                     HAYWARD, CA 94545
TORONTO, ON M5J 0B6
CANADA


HEAT INNOVATION LTD                     HEAT SYSTEMS INC                        [NAME REDACTED]
ATTN GENERAL MGR                        ATTN PRODUCT MGR                        [ADDRESS REDACTED]
503 SILVER CORD, TOWER 2                1938 NEW HWY
TSIMSHATSUI                             FARMINGDALE, NY 11735
HONG KONG
HEATH CO LLC       Case 25-90163   Document  87 Filed
                                      HEATH COMPANY LLCin TXSB on 07/03/25 [NAME
                                                                             Page  358 of 944
                                                                                 REDACTED]
ATTN VP, ENGINEERING                   ATTN VP ENGINEERING                 [ADDRESS REDACTED]
2901 INDUSTRIAL DR                     2445 NASHVILLE RD
BOWLING GREEN, KY 42102                BOWLING GREEN, KY 42102-9045




HEATRON INC                            [NAME REDACTED]                     [NAME REDACTED]
ATTN PRESIDENT                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]
3000 WILSON AVE
LEAVENWORTH, KS 66048




[NAME REDACTED]                        HED INC                             [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN CONTRACT MGR                   [ADDRESS REDACTED]
                                       321 JEFFREYS RD
                                       ROCKY MOUNT, NC 27804




[NAME REDACTED]                        HEESUNG ELECTRONICS CO LTD          HEFEI UNIVERSITY OF TECHNOLOGY (HFUI)
[ADDRESS REDACTED]                     ATTN DIR                            TUNXI RD, NO 193 HEFEI
                                       710 HOSAN DONG                      ANHUI
                                       DALSEO GU                           CHINA
                                       DAUEGU SOUTH KOREA



HEI INC                                [NAME REDACTED]                     HEIDELBERGER DRUCKMASCHINEN AG
ATTN GENERAL MANAGER                   [ADDRESS REDACTED]                  GUTENBERGRING 19
1465 STEIGER LAKE LN                                                       WIESLOCH 69168
VICTORIA, MN 55386                                                         GERMANY




[NAME REDACTED]                        HEILIND ELECTRONICS INC             [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN BRANCH SVCS & OPERATIONS MGR   [ADDRESS REDACTED]
                                       150 S SUNNY SLOPE RD, STE 146
                                       BROOKFIELD, WI 53005




HEINMILLER, GLENN                      HELANDER METAL SPINNING CO          [NAME REDACTED]
84 SHERMAN ST                          ATTN PRESIDENT                      [ADDRESS REDACTED]
CAMBRIDGE, WA 02138                    931 N RIDGE AVE
                                       LOMBARD, IL 60148




[NAME REDACTED]                        HELIOS CREW CORP                    HELIOS CREW CORP
[ADDRESS REDACTED]                     ATTN CEO                            ATTN TRUNG TRI DOAN, CHAIRMAN & CEO
                                       615 S DUPONT HWY                    999 MAIN ST, STE 1010
                                       DOVER, DE 19901                     BOISE, ID 83702




HELIOS CREW CORP                       HELIX TECHNOLOGY CORPORATION        HELLA CORPORATE CENTER USA INC
C/O BAKER BOTTS LLP                    ATTN DIRECTOR
ATTN G HOPKINS GUY III, ESQ            NINE HAMPSHIRE ST
1001 PAGE MILL RD                      MANSFIELD, MA 02048
PALO ALTO, CA 94304



HELLA INNENLEUCHTEN-SYSTEME GMBH       HELLA KGAA HUECK & CO               HELLER SEARCH ASSOCIATES LLC
MAIENBUHLSTRASSE 7                     ATTN EXEC VP                        ATTN PRESIDENT
WEMBACH 79677                          RIXBECKER STRAPE 75                 33 LYMAN ST
GERMANY                                LIPPSTADT 59552                     WESTBOROUGH, MA 01581
                                       GERMANY
                  Case 25-90163
HELLMANN DESIGN, INC.             Document  87 Filed
                                     HELLO DIRECT INC in TXSB on 07/03/25 HELM
                                                                            Page  359 of 944
                                                                               ELECTRIC
3708 BRYN MAWR COURT                  ATTN GENERAL MGR                     2283 BUSINESS US 20 E
RALEIGH, NC 27606-2515                77 NORTHEASTERN BLVD                 P.O. BOX 750
                                      NASHUA, NH 03062                     FREEPORT, IL 61032




HELM PRECISION LTD                    HELM, WILLIAM                        [NAME REDACTED]
ATTN VP                               123 W MILLS AVE, STE 410             [ADDRESS REDACTED]
2426 E WASHINGTON ST                  EL PASO, TX 79901
PHOENIX, AZ 85034




HELP ME FINISH CORPORATION            HELPING HAND MISSION                 [NAME REDACTED]
ATTN OWNER                            623 ROCK QUARRY RD                   [ADDRESS REDACTED]
39226 N ABERDEEN CT                   RALEIGH, NC 27610
BEACH PARK, IL 60083




[NAME REDACTED]                       HEMCO CORPORATION                    HEMLOCK SEMICONDUCTOR CORPORATION
[ADDRESS REDACTED]                    ATTN QUALITY MGR                     ATTN DIR
                                      455 DOUGLAS AVE                      12334 GEDDES RD
                                      HOLLAND, MI 49424                    HEMLOCK, MI 48626




[NAME REDACTED]                       HENAN UNION ABRASIVES CORP           [NAME REDACTED]
[ADDRESS REDACTED]                    ATTN GEN MGR                         [ADDRESS REDACTED]
                                      109, 5TH AVE, HENNAN PROVINCE
                                      ZHENGZHOU ECONOMIC & TECH DEV ZONE
                                      ZHENGZHOU CITY CHINA



[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       HENDERSON, ROBERT L                  [NAME REDACTED]
[ADDRESS REDACTED]                                                         [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                      HENDIAN GROUP TOSPO LIGHTING CO LTD
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   ATTN SALES DIRECTOR
                                                                           4TH FL, 122 SHUGUANG RD
                                                                           HANGZHOU 310007
                                                                           CHINA
HENDRICK DODGE RAMCase
                    FIAT 25-90163   Document  87ENVIRONMENTAL
                                       HENDRICK   Filed in TXSB   on 07/03/25
                                                              SYSTEMS &         Page
                                                                              [NAME   360 of 944
                                                                                    REDACTED]
81 MACKENAN DR                          CONTROLS INC                         [ADDRESS REDACTED]
CARY, NC 27511-7910                     ATTN PRESIDENT
                                        P.O. BOX 5128
                                        CONCORD, NC 28027



[NAME REDACTED]                         [NAME REDACTED]                      HENDRIX MFG
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   ATTN OWNER
                                                                             310 B PINE AVE
                                                                             GOLETA, CA 93117




[NAME REDACTED]                         HENEK MANUFACTURING INC              HENGDIAN GROUP TOSPO LIGHTING CO LTD
[ADDRESS REDACTED]                      9700 ALMEDA GENOA RD BLDG 601        3/F, WORLD TRADE OFFICE PLZ
                                        HOUSTON, TX 77075-2437               WORLD TRADE CTR, 122 SHUGUANG RD
                                                                             HANGZHOU, ZHEJIANG 310007
                                                                             CHINA



HENGEN PHOTOGRAPHY LLC                  HENKEL CORPORATION                   [NAME REDACTED]
ATTN OWNER/PHOTOGRAPHER                 1001 TROUT BROOK CROSSING            [ADDRESS REDACTED]
2832 S BURRELL ST                       ROCKY HILL, CT 06067-3582
MILWAUKEE, WI 53207




[NAME REDACTED]                         [NAME REDACTED]                      HENRY MOLDED PRODUCTS INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   ATTN ENGINEERING MGR
                                                                             71 N 16TH ST
                                                                             LEBANON, PA 17042




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         HENSLEY ELECTRIC INC                 HENSOLDT SENSORS GMBH
[ADDRESS REDACTED]                      ATTN PRESIDENT                       ATTN PROJECT SOURCING MGR
                                        5633 LAKECREST DR                    WILLY-MESSERSCHMITT-STRASSE
                                        SHAWNEE MISSION, KS 66218            TAUFKIRCHEN 82024
                                                                             GERMANY



HENSOLDT SENSORS GMBH                   [NAME REDACTED]                      HEPACO INC
ATTN PROJECT SOURCING MGR               [ADDRESS REDACTED]                   ATTN TREASURER
WORTHSTRASSE 85                                                              2711 BURCH DR
ULM 89077                                                                    CHARLOTTE, NC 28269
GERMANY



HEPHAE ENERGY TECHNOLOGY CORP           HEPHAS CO LTD                        HEPTA CONTROL SYSTEMS INC
ATTN VP SYSTEMS                         ATTN CEO                             ATTN PRESIDENT
515 W GREENS RD                         1207 SUNIL-TECHNOPIA                 6221 KING RD
HOUSTON, TX 77379                       440 SANGDAEWON-DONG, JUNGWON-GU      MARINE CITY, MI 48039
                                        SEONGNAM-SI, GYEONGGI-DO SOUTH
                                        KOREA


HEPTAGON MICRO OPTICS PTE LTD           HEPTAGON OY                          HERA LABORSYSTEME GMBH
ATTN VP SALES MKTG                      ATTN SR VICE PRESIDENT               HERMAN-RAPP-STRABE 40
26 WOODLANDS LOOP                       ZWEIGNEIDERLASSUNG RUSCHLIKON        BLAUFELDEN 74572
SINGAPORE 738317                        MOOSSTRASSE 2                        GERMANY
SINGAPORE                               RUSCHLIKON CH-8803 SWITZERLAND
HERA LUCE SRL      Case 25-90163   Document 87
                                      HERAEUS    FiledINCin TXSB on 07/03/25 HERAEUS
                                              AMERSIL                          Page 361  of 944 GMBH & CO. KG
                                                                                     DEUTSHLAND
ATTN GEN DIR                           17 MADISON RD                          HERAEUSSTRABE 12-14
VIA DUE MARTIRI N2                     FAIRFIELD, NJ 07004                    HANAU 63450
SAN MAURO PASCOLI (FC) 936700                                                 GERMANY
ITALY



HERAEUS GMSI LLC                       HERAEUS MATERIALS MALAYSIA SDN BHD     HERAEUS MATERIALS SINGAPORE PTE LTD
ATTN PRESIDENT                         NO. 6, JALAN I-PARK 1-1                ATTN VP
8175 S HARDY DR                        KULAI, JOHOR DARUL TAZIM 81000         BLK 5002 ANG MO KIO AVE 5
TEMPE, AZ 85284                        MALAYSIA                               TECHPLACE II
                                                                              SINGAPORE 569871 SINGAPORE



HERAEUS MATERIALS TECHNOLOGY LLC       HERAEUS PRECIOUS METALS N.AMERICA      HERALD DATANETICS LTD
ATTN VP                                CONSHOHOCKEN LLC                       ATTN SENIOR ENGINEERING MGR
24 UNION HILL RD                       24 UNION HILL ROAD                     11F EXPRESS INDUSTRIAL BLDG
WEST CONSHOHOCKEN, PA 19428            CONSHOHOCKEN, PA 19428-2719            43 HEUNG YIP RD
                                                                              ABERDEEN HONG KONG



[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        HERCULES LONE STAR ASSETS LLC          HEREAUS QUARTZ AMERICA LLC
[ADDRESS REDACTED]                                                            ATTN PRESIDENT
                                                                              15705 LONG VISTA DR
                                                                              AUSTIN, TX 78728




HERGY LIGHTING TECHNOLOGY CORP         HERITAGE ENVIRONMENTAL SERVICES LLC    HERITAGE-CRYSTAL CLEAN LLC
ATTN VICE PRESIDENT                    P.O. BOX 933024                        ATTN CONTRACT ADMIN
9F-1 NO 13, SEC 2 BEITOU RD            CLEVELAND, OH 44193-0031               2175 POINT BLVD, STE 375
BEITOU DISTRICT                                                               ELGIN, IL 60123
TAIPEI CITY 112 TAIWAN



HERLEY INDUSTRIES INC                  HERLEY INDUSTRIES INC                  HERLEY WIRELESS TECHNOLOGIES INC
ATTN CONTRACTS DIR                     ATTN VP                                ATTN VP OF OPERATIONS
3061 INDUSTRY DR                       425 SMITH ST                           10 SONAR DR
LANCASTER, PA 17603                    FARMINGDALE, NY 11735                  WOBURN, MA 01801




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  362 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     HERNANDEZ, JR                      [NAME REDACTED]
[ADDRESS REDACTED]                  4050 RIO BRAVO ST                  [ADDRESS REDACTED]
                                    EL PASO, TX 79902




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




HERNON MANUFACTURING INC            HERO FAIR LTD                      [NAME REDACTED]
ATTN PRESIDENT                      2/19 WESTIN CRT                    [ADDRESS REDACTED]
121 TECH DR                         26 HUNG TO RD
SANFORD, FL 32771                   KWUN TONG
                                    HONG KONG



[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




HERRICK TECHNOLOGY LABS             [NAME REDACTED]                    [NAME REDACTED]
ATTN DIRECTOR                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
20201 CENTURY BLVD
GERMANTOWN, MD 20874




[NAME REDACTED]                     HERRMANS OY AB                     HERST VENTURES INC
[ADDRESS REDACTED]                  ATTN PRESIDENT                     ATTN CEO
                                    P.O. BOX 36                        2000 POWELL ST
                                    JAKOBSTAD, PIETARSAARI FI-68601    EMERYVILLE, CA 94608
                                    FINLAND



[NAME REDACTED]                     HERTZ CORP, THE                    HERTZ CORP, THE
[ADDRESS REDACTED]                  225 BRAE BLVD                      ATTN REGIONAL SALES MGR
                                    PARK RIDGE, NJ 07656-0713          18510 STATESVILLE RD
                                                                       CORNELIUS, NC 28031
[NAME REDACTED] Case 25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
                                    HESS CORP                             Page  363 of 944
                                                                              REDACTED]
[ADDRESS REDACTED]                   ATTN ENGINEER MGR                    [ADDRESS REDACTED]
                                     427 HYATT ST
                                     GAFFNEY, SC 29341




HESSE & KNIPPS INC                   HESSE & KNIPPS INC                   HESSE ASIA LIMITED
ATTN PRESIDENT                       ATTN PRESIDENT                       UNIT 807,8/F, WESTIN CENTRE, 26 HUN
225 HAMMOND AVE                      2305 PARAGON DR                      HONG KONG 999077
FREMONT, CA 94539                    SAN JOSE, CA 95131                   HONG KONG




HESSE MECHATRONICS INC               [NAME REDACTED]                      [NAME REDACTED]
213 HAMMOND AVENUE                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]
FREMONT, CA 94539-7465




[NAME REDACTED]                      HEUER LAW OFFICES SC                 HEWITT ASSOCIATES LLC
[ADDRESS REDACTED]                   ATTN ASSOC FEDERAL COUNSEL           100 HALF DAY RD
                                     9312 W NATIONAL AVE                  LINCOLNSHIRE, IL 60069
                                     WEST ALLIS, WI 53227




HEWITT ASSOCIATES LLC                HEWITT POWER LLC                     HEWLETT-PACKARD CO
ATTN VICE PRESIDENT LEGAL            ATTN PRESIDENT                       3000 HANOVER ST, BLDG 20B
4 OVERLOOK POINT                     206 CAPE COD DR                      MS 1601
LINCOLNSHIRE, IL 60069               CARY, NC 27511                       PALO ALTO, CA 94304




HEXAGEM AB                           HEXAGON MANUFACTURING INTELLIGENCE   HEXAGON METROLOGY INC
ATTN EXEC CHAIRMAN                   INC                                  ATTN DIST SALES MANAGER
BLOMSTERGARDEN 15                    250 CIRCUIT DRIVE                    13245 REESE BLVD W, STE 150
HJARUP, SKANE 245 52                 NORTH KINGSTOWN, RI 02852-7441       HUNTERSVILLE, NC 28078
SWEDEN



HEXATECH, INC.                       HEXEM CO LTD                         HEXEM CO LTD
991 AVIATION PARKWAY                 ATTN CHIEF EXECUTIVE OFFICER         ATTN SC PARK, CEO
MORRISVILLE, NC 27560-8458           RM 1209, LEADERS TWR, 60-15          RM 529, 606 SEO BU SAET GIL, DAESUNG
                                     GASAN-DONG, GEUMCHEON-KU             D-POLIS, GASAN DONG, GEUMCHEON-KU
                                     SEOUL 153-801 SOUTH KOREA            SEOUL SOUTH KOREA



HEXEM CO LTD                         HEXEM                                HEXION INC
ROUTE INDUSTRIELLE 33                C/O LAW OFFICE OF JOHN W MARTIN      ATTN DIRECTOR
PORT-VALAIS 1897                     ATTN JOHN W MARTIN, ESQ              180 E BROADWAY ST
SWITZERLAND                          28126 PEACOCK RIDGE DR, STE 210      COLUMBUS, OH 43215
                                     RANCHO PALOS VERDES, CA 90275



HEXION SPECIALTY CHEMICALS INC       HEXMOTO CONTROLS PVT LTD             HEYCO PRODUCTS INC
ATTN VP                              ATTN MANGING DIR                     ATTN DIRECTOR OF ENGINEERING
1800 MEIDINGER TOWER                 4A BELAVADI INDUSTRIAL AREA          1800 INDUSTRIAL WAY
LOUISVILLE, KY 40202                 MYSORE 570018                        TOMS RIVER, NJ 08755
                                     INDIA



HFT5-1                               HG ENGINEERING                       HG SOLUTIONS INC
ATTN PROF DR ING                     ATTN R&D                             ATTN CEO
EINSTEINUFER 25                      SUEDERSTRASSE 12                     2020 COPPER ST
BERLIN 10587                         BERLIN 10115                         GARLAND, TX 75042-6656
GERMANY                              GERMANY
HGI RESOURCES LLCCase 25-90163   Document
                                    HIALEAH87  Filed
                                           METAL     in TXSB
                                                 SPINNING INC on 07/03/25 [NAME
                                                                            Page  364 of 944
                                                                                REDACTED]
ATTN PRESIDENT                       ATTN PRESIDENT                        [ADDRESS REDACTED]
742-748 N 109TH CT, STE A            8155 W 20TH AVE
OMAHA, NE 68154                      HIALEAH, FL 33014




[NAME REDACTED]                      HICKS PLASTICS COMPANY INC            [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN PROGRAM MANAGER                  [ADDRESS REDACTED]
                                     51308 INDUSTRIAL
                                     MACOMB, MI 48042




[NAME REDACTED]                      [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                      HI-DEF LIGHTING & ELECTRICAL INC      HIDT TECHNOLOGY CORP
[ADDRESS REDACTED]                   ATTN VP                               ATTN VP
                                     4470 YANKEE HILL RD, STE 120          NO 101, SEC 1, FENLIAO RD
                                     ROCKLIN, CA 95677                     LINKOU DIST
                                                                           NEW TAIPEI CITY 244 TAIWAN



[NAME REDACTED]                      [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                      HIGH FREQUENCY ELECTRONICS LAB -      HIGH POWER OPTO INC
[ADDRESS REDACTED]                   AT THE UNIVERSITY OF CAL              ATTN PRESIDENT
                                     2232 ENGINEERING GATEWAY              NO.8, KEYUAN 3RD RD
                                     IRVINE, CA 92697                      XITUN DIST
                                                                           TAICHUNG CITY 407 TAIWAN



HIGH PURITY PRODUCTS INC             HIGH SPEED INTERCONNECTS LLC          HIGH TECH SERVICES
ATTN GENERAL MANAGER                 8777 NORTH GAINEY CENTER DRIVE SUIT   ATTN PRESIDENT
14157 NE AIRPORT WY                  SCOTTSDALE, AZ 85258-2133             P.O. BOX 4525
PORTLAND, OR 97230                                                         CARY, NC 27519




[NAME REDACTED]                      HIGHLANDS DIVERSIFIED SERVICES INC    HIGHSOFT AS
[ADDRESS REDACTED]                   ATTN DIRECTOR OF SALES & MKTG         SENTRUMSGATA
                                     250 WESTINGHOUSE DR                   VIK I SOGN 6893
                                     LONDON, KY 40741                      NORWAY




HIGHSPOT INC                         [NAME REDACTED]                       HIGHVAC CORP
2211 ELLIOTT AVE SUITE 400           [ADDRESS REDACTED]                    4710 N. CHESTNUT STREET
SEATTLE, WA 98121                                                          COLORADO SPRINGS, CO 80907-3530
HIGHWOODS REALTYCase      25-90163
                    LTD PARTNERSHIP   Document
                                         HIIZHOU 87  FiledPROPERTY
                                                 GUANHUA    in TXSB on 07/03/25 [NAME
                                                                                  Page  365 of 944
                                                                                      REDACTED]
ATTN VP & DIVISION MGR                    MANAGEMENT CO LTD                    [ADDRESS REDACTED]
3100 SMOKETREE CT, STE 600
RALEIGH, NC 27604




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




HI-LITE MANUFACTURING CO LTD              HILL & ASSOCIATES (INDIA) PVT LTD    HILL PHOENIX INC
ATTN SALES MGR                            ATTN COUNTRY MGR                     ATTN DIR OF MATERIALS
13450 MONTE VISTA                         2ND FLOOR, 3A DLF CORPORATE PARK     709 SIGMAN RD
CHINO, CA 91710                           DLF CITY PHASE III, GURGAON          CONYERS, GA 30013
                                          HARYANA 122002 INDIA



HILL STUDIO INC                           [NAME REDACTED]                      [NAME REDACTED]
ATTN OWNER DESIGNER                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
1821 NORTH LAKESHORE DR
CHAPEL HILL, NC 27514




HILL, CHRIS                               [NAME REDACTED]                      [NAME REDACTED]
1704 EAGLE LODGE LN                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
DURHAM, NC 27703




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




HILL, MATTHEW                             [NAME REDACTED]                      [NAME REDACTED]
DBA THE HILL GROUP                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]
ATTN PRESIDENT
1127 BENTOAK CT
SAN JOSE, CA 95129



[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 HILLAS
                                   [NAME REDACTED]                       Page   366 of 944
                                                                              PACKAGING INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    ATTN CSR
                                                                          3301 W BOLT ST
                                                                          FORTH WORTH, TX 76110




HILLCREST ENERGY TECHNOLOGIES       [NAME REDACTED]                       HILLIARD CORPORATION, THE
ATTN CTO                            [ADDRESS REDACTED]                    ATTN INSIDE SALES MNGR
1030 W GEORGIA ST, STE 1910                                               100 W FOURTH ST
VANCOUVER, BC V6E 2Y3                                                     ELMIRA, NY 14901
CANADA



[NAME REDACTED]                     [NAME REDACTED]                       HILLS & ASSOCIATES PRIVATE LTD
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    ATTN COUNTY MANAGER
                                                                          3A, 2ND FL, DLF CORPORATE PARK
                                                                          DLF CITY PHASE 111, GURGAON
                                                                          HARYANA 122002 INDIA



[NAME REDACTED]                     HILLSDALE COLLEGE                     HILLTOP SECS (0279,5128)
[ADDRESS REDACTED]                  ATTN ENERGY SPECIALIST                ATT PROXY DEPT
                                    33 E COLLEGE ST                       1201 ELM ST
                                    HILLSDALE, MI 49242                   STE 3500
                                                                          DALLAS, TX 75270



[NAME REDACTED]                     HILUMZ USA LLC                        [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN MANAGING MEMBER                  [ADDRESS REDACTED]
                                    1595 REDI RD, STE 700
                                    CUMMING, GA 30040




[NAME REDACTED]                     HINDLEY CIRCUITS LTD                  HINDS INSTRUMENTS INC
[ADDRESS REDACTED]                  ATTN CHIEF EXECUTIVE OFFICER          ATTN TECHNICAL SALES
                                    2B NELSON PARK W                      7245 NW EVERGREEN PKWY
                                    CRAMLINGTON NE24 1WG                  HILLSBORO, OR 97124
                                    UNITED KINGDOM



HINES ACQUISITIONS LLC              HINES ACQUISITIONS LLC                HINES ACQUISITIONS LLC
C/O HINES INTERESTS LIMITED         C/O HINES INTERESTS LIMITED           C/O HINES INTERESTS LIMITED
PARTNERSHIP                         PARTNERSHIP                           PARTNERSHIP
ATTN CORPORATE COUNSEL              ATTN MICHAEL HARRISON                 ATTN PAUL ZARIAN
845 TEXAS AVE, STE 3300             383 17TH ST NW, STE 100               201 FENTON GATEWAY DR, STE 10
HOUSTON, TX 77002                   ATLANTA, GA 30363                     CARY, NC 27511


HINES GROUP INC, THE                HINES INTERESTS LIMITED PARTNERSHIP   [NAME REDACTED]
ATTN PRESIDENT                      ATTN: MR. MARK MULVEY                 [ADDRESS REDACTED]
OLD HWY 54 EAST                     280 CONGRESS STREET, 10TH STREET
P.O. BOX 1598                       BOSTON, MA 02210
OWENSBORO, KY 42302



[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  367 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         HIOKI USA CORPORATION              HIONIX INC
[ADDRESS REDACTED]                      6 CORPORATE DRIVE                  ATTN PRESIDENT
                                        CRANBURY, NJ 08512-3616            2157 OTOOLE AVE, UNIT E
                                                                           SAN JOSE, CA 95131




HIPAGE COMPANY INCORPORATED             HIPOTRONICS INC                    HIPP DESIGN AND CONSULTING, INC
1 COMMERCIAL PL, STE 300                3030 KUTZTOWN RD                   AND CONSULTING, INC.
NORFOLK, VA 23510                       READING, PA 19605                  2301 REXWOODS DR
                                                                           RALEIGH, NC 27607-6684




HIPP ENGINEERING & CONSULTING INC       HIPP WORKFORCE SOLUTIONS INC       HIPRO ELECTRONICS CO LTD
ATTN PRESIDENT                          2301 REXWOODS DRIVE SUITE 200      2F, NO 25, WU-GONG 6TH RD
600 B WADE AVE                          RALEIGH, NC 27607-3366             WU-KU INDUSTRIAL PARK
RALEIGH, NC 27605                                                          TAIPEI HSIEN
                                                                           TAIWAN



HIQ SOLAR INC                           HIQUE RF TECHNOLOGY LLC            HIRE NETWORKS INC
ATTN CTO                                ATTN PRESIDENT                     ATTN VP FINANCE
2030 DUANE AVE                          1011 N DAM DR                      8020 ACRO CORP DR, 118
SANTA CLARA, CA 95054                   HUDDLESTON, VA 24104               RALEIGH, NC 27617




HI-REL LABORATORIES INC                 HIREQ INC                          HIRETEAMMATE INC DBA HIRETUAL
6116 N. FREYA STREET                    DBA POMELLO                        2513 EAST CHARLESTON ROAD SUITE 200
SPOKANE, WA 99217-6509                  ATTN PRESIDENT & CEO               MOUNTAIN VIEW, CA 94043-1607
                                        885 WOODSIDE RD, 204
                                        REDWOOD CITY, CA 94061



HIROSE ELECTRIC (USA) INC               HIROSE KOREA CO LTD                [NAME REDACTED]
ATTN EVP                                ATTN MANAGING DIR                  [ADDRESS REDACTED]
2688 WESTHILL CT                        1261-10 JEOUNGWHANG-DONG
SIMI VALLEY, CA 93065                   SHIHUNG, KYUNGGI
                                        SOUTH KOREA
[NAME REDACTED] Case 25-90163        Document   87 Filed in TXSB on 07/03/25 HISCOX
                                        HISCO, INC.                            PageSYNDICATE
                                                                                    368 of 944
                                                                                             LTD
[ADDRESS REDACTED]                       2933 S MIAMI BLVD                    ATTN SR UNDERWRITER
                                         DURHAM, NC 27703-8025                1 GREAT ST HELENS
                                                                              LONDON EC3A 6HX
                                                                              UNITED KINGDOM



HISENSE CO LTD                           HISPANIC LIAISON OF CHATHAM COUNTY   HISPANICA DEL LED
ATTN ZHAO XING, INTELLECTUAL PROP DEPT   200 N CHATHAM AVE                    ATTN MANAGER
B13F, HISENSE R&D CTR, NO 399            SILER CITY, NC 27344                 CTRA VILLA VERDE A VALLECAS KM 3,4
SONGLING RD                                                                   MADRID 28053
QINGDAO 266100 CHINA                                                          SPAIN



HITACHI ABB POWER GRIDS LTD              HITACHI APPLIANCES INC               HITACHI AUTOMOTIVE SYSTEMS LTD
ATTN VP                                  ATTN YASUO NAKAZAWA                  ATTN SR VP/EXEC OFFICER
FABRIKSTRASSE 3                          1-1, HIGASHITAGA-CHO 1-CHOME         2520 TAKABA
LENZBURG 5600                            HITACHI-SHI, IBARAKI 316-8502        HITACHINAKA, IBARAKI 312-8503
SWITZERLAND                              JAPAN                                JAPAN



HITACHI CABLE PRECISION CO LTD           HITACHI CHEMICAL CO LTD              HITACHI CHEMICAL CO LTD
ATTN PRESIDENT                           ATTN GENERAL MGR                     ATTN VICE PRESIDENT& CTO
901 HOUSEN-MACHI                         1-1, NISHI-SHINJUKU 2-CHOME          9-2, MARUNOUCHI 1-CHOME
YONEZAWA, YAMAGATA 992-1442              SHINJUKU-KU                          CHIYODA-KU
JAPAN                                    TOKYO 163-0449 JAPAN                 TOKYO 100-6606 JAPAN



HITACHI CONSULTING CORP                  HITACHI ENERGY SWITZERLAND LTD       HITACHI ENERGY SWITZERLAND LTD
ATTN VICE PRESIDENT                      C/O LEGAL & INTEGRITY                SEMICONDUCTORS
14643 DALLAS PKWY, STE 800               ATTN ALESSANDRA BASCHNAGEL           ATTN VP PRODUCT
DALLAS, TX 75254                         BRUGGERSTRASSE 72                    FABRIKSTRASSE 3
                                         BADEN 5400 SWITZERLAND               LENZBURG CH-5600 SWITZERLAND



HITACHI ENERGY                           HITACHI HIGH TECHNOLOGIES CORP       HITACHI HIGH-TECH AMERICA, INC.
BROWN-BOVERI STRASSE 5                   ATTN GENERAL MANAGER                 10 N. MARTINGALE RD.
ZURICH 8050                              24-14, NISHI-SHIMBASHI 1 CHOME       SCHAUMBURG, IL 60173-2295
SWITZERLAND                              MINATO KU
                                         TOKYO 105-8717 JAPAN



HITACHI KOKUSAI ELECTRIC INC             HITACHI KOKUSAI ELECTRIC INC         HITACHI KYOWA ENGINEERING CO LTD
ATTN DIR & GEN MGR                       ATTN GEN MGR                         ATTN DEPT MANAGER
3-14-20 HIGASHI-NAKANO                   4-4-1 SOTOKANDA, CHIYODA-KU          3-10-2 BENTEN-CHO
NAKANO-KU                                TOKYO 101-8980                       HITACHI-SHI, IBARAKI 317-0072
TOKYO 164-8511 JAPAN                     JAPAN                                JAPAN



HITACHI LIGHTING LTD                     HITACHI LTD                          HITACHI METALS AMERICA LTD
ATTN SR MGR, DEVELOPMENT DEPT            ATTN MANAGER                         ATTN DIRECTOR
16-2, SHINMACHI 6-CHOME                  1-280, HIGASHI-KOIGAKUBO             2107 N 1ST ST, STE 500
OME-SHI, TOKYO 198-8611                  KOKUBUNJI-SHI, TOKYO                 SAN JOSE, CA 95131
JAPAN                                    JAPAN



HITACHI METALS AMERICA LTD               HITE CO, THE                         HITEC21 INC
ATTN DIRECTOR                            ATTN VP OF BUS DEV                   ATTN DIR & GEN MGR, EQUIPMENT BUS DEPT
SEAVANS N BLDG, 1-2-1 SHIBAURA           3101 BEALE AVE                       KANDA-KONYACHO 8
MINATO-KU                                ALTOONA, PA 16601                    CHIYODAKU
TOKYO 105-5614 JAPAN                                                          TOKYO 101-0035 JAPAN



HITECH CIRCUITS INC                      HI-TECH ELECTRIC CO                  HI-TECH FABRICATION INC
ATTN PRESIDENT                           ATTN PROJECT MGR                     ATTN BUSINESS DEV MGR
1200-D WOODFIELD WAY                     839 LENOX AVE                        8900 MIDWAY W RD
ROLLING MEADOWS, NC 28697                PORTAGE, MI 49024                    RALEIGH, NC 27617
HI-TECH INDUSTRIALCase      25-90163 Document
                    (ASIA) LTD          HI-TECH 87  Filed
                                                METALS INC in TXSB on 07/03/25 HITTITE
                                                                                 PageMICROWAVE
                                                                                        369 of 944CORP
ATTN MARKETING MGR                      139 FARM ST                            ATTN DIR OF MMIC TECH
ROOM 12, 24/F, WAH FAT INDUSTRIAL BLDG  BELLINGHAM, MA 02019                   20 ALPHA RD
10-14 KUNG YIP ST                                                              CHELMSFORD, MA 01824
KWAI CHUNG, NT HONG KONG



HITTITE MICROWAVE CORP                  HITTITE MICROWAVE INTERNATIONAL LTD     HIVE BOX TECHNOLOGY CO LTD
ATTN PRESIDENT                          ATTN TONY SEXTON                        FL 16, NO 2, YONGXIN, NANSHAN DIST
12 ELIZABETH DR                         CORK AIRPORT BUSINESS PARK, BLDG 6900   SHENZHEN 518000
CHELMSFORD, MA 01824                    KINSALE RD                              CHINA
                                        CORK IRELAND



HIVRON INC                              HJ UNKEL (FOSHAN) LTD                   HK HONSONG LIGHTING GROUP LTD
ATTN EXECUTIVE DIR                      D BLDG TONGJI RD 66A                    ATTN PRESIDENT
427-9 CHEONGCHEON-DONG                  FOSHAN, GUANGDONG                       RM 428, 4/F BLDG HUICHAO
BUPYEONG-GU                             CHINA                                   YINTIAN INDL PARK, BAOAN AVE
ICHEON SOUTH KOREA                                                              SHENZHEN CHINA



HKBN ENTERPRISE SOLUTIONS LTD           HKTDC                                   HKUST SHENZHEN ELECTRONIC
UNIT 925,9/F, KITEC, 1 TRADEMART DR     30/F, WU CHUNG HOUSE                    MATERIALS & PACKAGING LAB
HONG KONG 999077                        213 QUEENS RD E
HONG KONG                               WANCHAI
                                        HONG KONG



HL CLAUSING INC                         HL MANDO                                HMH CORPORATION
ATTN PRESIDENT                          ATTN H/W ENGINEER                       DBA HASSEL MATERIAL HANDLING CO
8038 N MONTICELLO AVE                   21 PANGYO-RO 255BEON-GIL, BUNDANG-GU    ATTN CEO
SKOKIE, IL 60076                        SEONGNAM, GYEONGGI-DO 13486             2450 W SILVER SPRING DR
                                        SOUTH KOREA                             MILWAUKEE, WI 53209



HMI INNOVATION                          HMS HOLDINGS CORP                       HO KANG TECHNOLOGY CO LTD
ATTN TECHNICAL DIR                      ATTN MANAGING DIR                       ATTN DIV DIRECTOR
160 RUE BLAISE PASCAL                   5615 HIGH POINT DR                      NO 20, LN 17, NIUPU S RD
ST JEAN DILLAC 33127                    IRVING, TX 75038                        HSINCHU CITY 30091
FRANCE                                                                          TAIWAN



[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




HOBART CABINET COMPANY                  HOBART ELECTRONICS                      [NAME REDACTED]
ATTN PRESIDENT                          ATTN PRESIDENT                          [ADDRESS REDACTED]
301 E WATER ST                          160 S ILLINOIS ST
TROY, OH 45373                          HOBART, IN 46342
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 HOBGOOD,
                                      [NAME REDACTED]                      Page 370DONof 944
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 120L PAVIA BLVD, UNIT 11
                                                                          VENICE, FL 34292




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
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[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        HOFFMAN & HOFFMAN INC              HOFFMAN INSTRUMENTATION SUPPLY
[ADDRESS REDACTED]                     3816 PATTERSON STREET              HIS INNOVATIONS GROUP
                                       GREENSBORO, NC 27407-3238          5500 NE MOORE CT
                                                                          HILLSBORO, OR 97124-6421




HOFFMAN MECHANICAL SOLUTIONS INC       [NAME REDACTED]                    [NAME REDACTED]
P.O. BOX 77319                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]
GREENSBORO, NC 27417-7319




[NAME REDACTED]                        HOFFMANN & CO ELEKTROKOHLE AG      [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN MANAGING DIR                  [ADDRESS REDACTED]
                                       BAD GOISERN
                                       AU 62 A-4822
                                       AUSTRIA



[NAME REDACTED]                        HOGBERG KRAFTKONSTRUKTION AB       HOI PO INDUSTRIAL CO LTD
[ADDRESS REDACTED]                     ATTN CHIEF EXECUTIVE OFFICER       ATTN MANAGING DIR
                                       TUNAGATAN 72                       G/F, 9 LUK HOP ST
                                       UPPSALA 753 37                     SAN PO KONG
                                       SWEDEN                             KOWLOON HONG KONG



HOI YIP DEVELOPMENT CO LTD             HOIST & CRANE SYSTEMS INC          HOISTS DIRECT INC
ATTN SALES MGR                         ATTN SALES ENGINEER                ATTN SALES MGR
THE FLAT C, 9/F, LIN FUNG CENTRE       1901-B ASHWOOD CT                  123 CHARTER ST
NO 184-186 TEXACO RD                   GREENSBORO, NC 27455               ALBERMARIE, NC 28001
TSUEN WAN, NT HONG KONG
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  371 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




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[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    HOLLISTER ASSOCIATES INC.
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 1135 STODDARD AVENUE
                                                                       WHEATON, IL 60187-3723




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     HOLLY, RAOUL                       [NAME REDACTED]
[ADDRESS REDACTED]                  101 HASBROUCK DR                   [ADDRESS REDACTED]
                                    APEX, NC 27523
[NAME REDACTED] Case 25-90163   Document
                                   HOLMAN,87  Filed in TXSB on 07/03/25 [NAME
                                           MARK                           Page  372 of 944
                                                                              REDACTED]
[ADDRESS REDACTED]                  22 SHELLEY AVE, WINCHAM             [ADDRESS REDACTED]
                                    NORTHWICH
                                    CHESHIRE CW9 6PH
                                    UNITED KINGDOM



[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




HOLO/OR LTD                         HOLOCHIP CORP                       HOLOGENIX
3 ILAN RAMON ST, BLDG 1             ATTN PRESIDENT                      15154 TRANSISTOR LANE
SCIENCE PARK                        4940 W 147TH ST                     HUNTINGTON BEACH, CA 92649-1150
NESS ZIONA 7403636                  HAWTHORNE, CA 90250
ISRAEL



HOLOGRAPHIX LLC                     HOLOPHANE CORP                      [NAME REDACTED]
ATTN PRESIDENT & CEO                ATTN EXEC VP & GM                   [ADDRESS REDACTED]
577 E MAIN ST, STE 260              214 OAKWOOD AVE
HUDSON, MA 01749-3054               NEWARK, OH 43055




HOLT FARLEY CONSULTING LLC          [NAME REDACTED]                     [NAME REDACTED]
7313 KEPLEY RD, STE 100             [ADDRESS REDACTED]                  [ADDRESS REDACTED]
CHAPEL HILL, NC 27517




[NAME REDACTED]                     [NAME REDACTED]                     HOLTEC INTERNATIONAL
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  ATTN CORP FINANCIAL MGR
                                                                        CORPORATE TECHNOLOGY CTR
                                                                        555 LINCOLN DR W
                                                                        MARLTON, NJ 08053



[NAME REDACTED]                     [NAME REDACTED]                     HOLTZHAUSER, TIMOTHY
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  135 ALAN LN
                                                                        CLAYTON, NC 27520




[NAME REDACTED]                     HOLY STONE ENTERPRISE CO LTD        HOLY STONE ENTERPRISE CO LTD
[ADDRESS REDACTED]                  41700 IVY ST, STE D                 ATTN VP
                                    MURRIETA, CA 92562                  62, SEC 2 HUANG SHAN RD
                                                                        NEI HU DIST
                                                                        TAIPEI TAIWAN



[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]
                  Case 25-90163
HOME DEPOT INC, THE                      Document 87 MEXICO
                                            HOME DEPOT Filed inS DE
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                                                                         CV 07/03/25 HOME
                                                                                      Page   373OFofCANADA
                                                                                          DEPOT      944 INC
ATTN MERCHANT                                AV RICARDO MARGAIN ZOZAYA NO 605       1 CONCORDE GATE, STE 900
2455 PACES FERRY RD SE                       SANTA ENGRACIA SAN PEDRO GARZA         TORONTO, ON M3C 4H9
ATLANTA, GA 30339                            GARCIA                                 CANADA
                                             NUEVO LEON 66267
                                             MEXICO


HOME GROWN LIGHTS LLC                        HOME OFFICE TECHNOLOGIES INC           HOMELITE LIMITED
ATTN OWNER                                   ATTN PRESIDENT                         ATTN VICE PRESIDENT
3905 SAFFLOWER TERRACE                       8332 CORPORATE DR                      TONG FANG BLVD
OVIEDO, FL 32766                             RACINE, WI 53406                       TSINGHUA UNIVERSITY, BLDG 28
                                                                                    BEIJING CHINA



HOMELITE LTD                                 HOMEWARMTH INC                         HOMTEK TECHNOLOGY (HUIZHOU) CO.,LTD
NO. 1001-1003 SONGHUA RD                     ATTN GREGORY F BYRD, PRESIDENT         NO. 68, WEST HUANCHENG ROAD
QINGPU INDUSTRIAL PARK                       5222 GUESS RD                          HUIZHOU 516000
SHANGHAI                                     ROUGEMONT, NC 27572                    CHINA
CHINA



HON HAI PRECISION INDUSTRY CO LTD            HON HAI PRECISION INDUSTRY CO.,LTD.    HONA R&D CO LTD
ATTN KAY CHIU, BUSINESS GROUP GM             ZHONG SHAN RD., NO.3-2, TUCHENG DIS    ATTN GEN MANAGER
20 2 ZIYOU ST                                NEW TAIPEI CITY 23680                  4630 SHIMOTAKANEZAWA
TUCHENG DISTRICT                             TAIWAN                                 HAGA-MACHI, HAGA-GUN
NEW TAIPEI CITY 23678 TAIWAN                                                        TOCHIGI 321-3393 JAPAN



HONDA R&D CO LTD                             HONEST JOBS INC.                       HONESTAR SHENZEN ELECTRONICS CO LTD
ATTN OPERATING OFFICER                       25814 BUDDE RD.                        EAST TOWER, RM 1502, FIYTA TECH BLDG
1220-32 SHIMOKOUDO                           SPRING, TX 77380-2055                  HIGH-TECH INDUSTRIAL PARK, SOUTHERN
SAKURA, TOCHIGI 329-1402                                                            DIST
JAPAN                                                                               NANSHAAN DIST
                                                                                    SHENZHEN 518057 CHINA


HONESTAR TECHNOLOGIES CO LTD                 HONESTAR TECHNOLOGIES CO LTD           HONEYWELL AEROSPACE LIGHTING
ATTN AUTH OFFICER                            ATTN PAOLO WANG, CEO/PHD               550 STATE RTE 55
UNIT A 20/F, CDW BLDG, 388 CASTLE PEAK       14F WILSON LOGISTICS CENTRE            URBANA, OH 43078
RD                                           NO 24-28 KUNG YIP ST, KWAI CHUNG
TSUEN WAN                                    NEW TERRITORIES HONG KONG
NEW TERRITORIES HONG KONG


HONEYWELL AEROSPACE                          HONEYWELL ANALYTICS INC                HONEYWELL ELECTRONIC MATERIALS INC
ATTN CUSTOMER BUSINESS MGR                   B&W TECHNOLOGIES INC                   DEPT LA21112
LOCHEND INDUSTRIAL ESTATE, QUEEN ANN         405 BARCLAY BLVD                       PASADENA, CA 91185-1112
DR                                           LINCOLNSHIRE, IL 60069-3609
EDINBURGH EH28 8PL
UNITED KINGDOM


HONEYWELL FEDERAL MANUFACTURING &            HONEYWELL FM&T LLC                     HONEYWELL INTERNATIONAL INC
TECH LLC                                     C/O THE US DEPT OF ENERGY              1944 E SKY HARBOR CIR
ATTN SENIOR BUYER                            ATTN SR BUYER                          PHOENIX, AZ 85034
2000 E 95TH ST                               14540 BOTTS RD, BLDG 4
KANSAS CITY, MO 64131                        KANSAS CITY, MO 64147-1302



HONEYWELL INTERNATIONAL INC                  HONEYWELL INTERNATIONAL INC            HONEYWELL INTERNATIONAL INC
ATTN PROCUREMENT SPECIALIST                  C/O BUSINESS & GENERAL AVIATION        C/O HONEYWELL AEROSPACE SYS LAB CO
550 STATE RTE 55                             ATTN AMY HUFFMAN                       SRL
URBANA, OH 43078                             5812 RED LEAF LN                       CALZADA DEL ORO LOTE 7 PORCION 1.2
                                             MONCLOVA, OH 43542                     PARQUE INDUSTRIAL EL VIGIA
                                                                                    MEXICALI, BCN 21397 MEXICO


HONEYWELL OPTOELECTRONICS                    HONEYWELL SAFETY PRODUCTS USA, INC     HONEYWELL TECHNOLOGY SOLUTIONS LAB
ATTN MANAGER                                 HONEYWELL SAFETY TRAINING              PVT LTD
830 E ARAPACHO RD                            P.O. BOX 418430                        ATTN SR DIR ENGINEERING-AERO
RICHARDSON, TX 75081-2241                    BOSTON, MA 02241-8430                  151/1, DORAISANIPALYA
                                                                                    BANNERGHATTA RD
                                                                                    BANGALORE, KARNATAKA 560226 INDIA
HONG KONG BEAMY Case
                  GROUP 25-90163
                         TECHNOLOGY Document   87 BROADBAND
                                       HONG KONG    Filed in TXSB  on 07/03/25 HONG
                                                              NETWORK            Page KONG374  of 944 LTD
                                                                                             CHEMI-CON
RM B1 8/F, CHONG MING BLDG 72          LIMITED                                 ATTN MANAGING DIR
CHEUNG SHA WAN RODA                    19/F, TOWER1, THE QUAYSIDE              2101, 21/F, CHINACHEM EXCH SQUARE
KOWLOON                                77 HOI BUN ROAD, KWUN TONG              1 HOI WAN ST
HONG KONG                              KOWLOON, HONG KONG                      QUARRY BAY HONG KONG
                                       HONG KONG


HONG KONG GREATEST CO LTD               HONG KONG HOIHO ELMATEK TECHNOLOGY       HONG KONG PRODUCTIVITY COUNCIL
ATTN NDA                                LTD                                      ATTN GENERAL MGR
1/8 F PO HONG CENTER, 2 WANG TUNG ST    ATTN MGR                                 HKPC BLDG, TAT CHEE AVE
KOWLOON BAY                             6/F, 609 HENG NGAI CTR                   KOWLOON
HONG KONG                               4 HOK YUEN ST E                          HONG KONG
                                        KOWLOON HONG KONG


HONG KONG RYOSAN LTD                    HONG KONG SCIENCE & TECHNOLOGY           HONG KONG SCIENCE & TECHNOLOGY
ATTN MGR                                PARKS CORP                               PARKS CORP
RM 1901 TELFORD HOUSE                   5/F BLDG 5E, 5 SCIENCE PARK E AVE        ATTN CEO
16 WANG HOI RD, KOWLOON BAY             HONG KONG SCIENCE PARK                   8/F BIO-INFORMATICS CENTRE
KOWLOON HONG KONG                       NEW TERRITORIES                          2 SCIENCE PARK WEST AVE, HK SCIENCE
                                        HONG KONG                                PARK
                                                                                 SHATIN, NT HONG KONG

HONG KONG STANDARDS AND TESTING         HONG KONG TELECOMMUNICATIONS (HKT)       HONG KONG TIN PING LTD
CENTRE                                  LTD                                      ATTN SALES MGR
ATTN BUSINESS MGR                       39/F, PCCW TOWER, TAIKOO PL              FLAT D, E & J, FL 5, PHASE 2
10 DAI WANG ST, TAI PO IND ESTATE       979 KINGS RD                             KWUN TONG IND CTR, 460-470 KWUN TONG
TAI PO, NT                              QUARRY BAY                               RD
HONG KONG                               HONG KONG                                KOWLOON HONG KONG


HONG YEU INDUSTRIAL CO LTD              [NAME REDACTED]                          HONGFA AMERICA INC
ATTN SALES MANAGER                      [ADDRESS REDACTED]                       ATTN DIRECTOR OF SALES
SHANGBAPTAN INDUSTRIAL ZONE,                                                     20381 HERMANA CIR
HENGAHAN                                                                         LAKE FOREST, CA 92630
SHIPAI TOWN, DONGGUAN,
GUNGDONG CHINA


HONGKONG HONESTAR TECHNOLOGY CO         HONGKONG HONESTAR TECHNOLOGY CO          HONGKONG JIANSAN ELECTRON
LTD                                     LTD                                      FLAT/RM 19H MAXGRAND PLAZA
ATTN CHIEF EXECUTIVE OFFICER            ATTN PAOLO WANG                          HONG KONG
14/F WILSON LOGISTICS CENTRE            RM 1502, EAST TWR, FIYTA TECH BLDG       HONG KONG
NO 24-28 KUNG YIP ST, KWAI CHUNG        NANSHAN HIGH-TECH PK
NEW TERRITORIES HONG KONG               SHENZHEN CHINA


HONGKONG KEY DOT TECHNOLOGY LTD         HONGZHI INDUSTRIE GMBH                   HONJIG TECH MACHINE CO LTD
1601, SHANGJINGTIANDI                   ATTN SALES MGR                           ATTN MANAGER
518 W YINGGAO RD, BAOSHAN DIST          EMANUEL-LEUTZE-STR 21                    NO 63 LANE 115 SECTION 1
SHANGHAI                                DUSSELDORF 40547                         DONG SHIANG RD
CHINA                                   GERMANY                                  HSIN CHU CITY TAIWAN



HONJO CONSULTATIONS LTD                 [NAME REDACTED]                          [NAME REDACTED]
25-29 MOMINOKIDAI, AOBA-KU              [ADDRESS REDACTED]                       [ADDRESS REDACTED]
YOKOHAMA 225-0026
JAPAN




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163     Document 87 INCFiled in TXSB on 07/03/25 [NAME
                                     HOOTSUITE                               Page  375 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                    111 E 5TH AVE                               [ADDRESS REDACTED]
                                      VANCOUVER, BC V5T 4L1
                                      CANADA




[NAME REDACTED]                       [NAME REDACTED]                             [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                          [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                             HORIBA INSTRUMENTS INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                          ATTN VP
                                                                                  17671 ARMSTRONG AVE
                                                                                  IRVING, CA 92614




HORIBA INSTRUMENTS INCORPORATED       HORIBA JOBIN YVON INC                       HORIBASTEC
9701 DESSAU ROAD SUITE 605            ATTN OEM ACCOUNTS MGR                       ATTN VICE PRESIDENT OPS
AUSTIN, TX 78754-3941                 3880 PARK AVE                               9701 DESSAU RD, STE 605
                                      EDISON, NJ 08820                            AUSTIN, TX 78754




HORIZON HOUSE PUBLICATION INC         HORIZON INDUSTRIAL (HK) LTD                 HORIZON SUITE HOTEL AT TOLO HARBOUR
46 GILLINGHAM ST                      ATTN BUSINESS MGR                           29 ON CHUN ST
LONDON SW1V UK                        TSUEN WAN WAG WO TSAI ST                    MA ON SHAN
UNITED KINGDOM                        16-26, SHUN INDUSTRIAL BLDG, 12TH FL RM 1   NEW TERRITORIES
                                      HONG KONG                                   HONG KONG



HORIZON TECHNOLOGIES                  HORIZON VIDEO PRODUCTIONS INC               HORIZON VISION RESEARCH INC
ATTN PRES                             ATTN PRESIDENT                              ATTN PRES
8120 PENN AVE S, 156                  4222 EMPEROR BLVD, STE 520                  1717 SHIPYARD BLVD, STE 130
BLOOMINGTON, MN 55431                 DURHAM, NC 27703                            WILMINGTON, NC 28403




HORIZONS INC                          HORLEY PAINT CO                             [NAME REDACTED]
ATTN PRESIDENT                                                                    [ADDRESS REDACTED]
18531 S MILES RD
CLEVELAND, OH 44128




[NAME REDACTED]                       HORNBILL SYSTEMS LTD                        [NAME REDACTED]
[ADDRESS REDACTED]                    ARGYLE HOUSE, JOEL ST                       [ADDRESS REDACTED]
                                      NORTHWOOD HILLS
                                      MIDDX HA6 1LN
                                      UNITED KINGDOM



[NAME REDACTED]                       [NAME REDACTED]                             HORNER APG LLC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                          ATTN PRESIDENT
                                                                                  59 S STATE AVE
                                                                                  INDIANAPOLIS, IN 46201




[NAME REDACTED]                       [NAME REDACTED]                             [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                          [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
                                    [NAME REDACTED]                       Page  376 of 944
                                                                              REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                          HORUS TECH INC
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                       ATTN PRESIDENT
                                                                              1360 PIPER DR
                                                                              MILPITAS, CA 95035




[NAME REDACTED]                      HOSOKAWA MICRON POWDER SYSTEMS           [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN VP & GM                             [ADDRESS REDACTED]
                                     10 CHATHAM RD
                                     SUMMIT, NJ 07901




[NAME REDACTED]                      [NAME REDACTED]                          HOSSLEY LIGHTING ASSOCIATES INC
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                       ATTN AL NEAR, PRESIDENT & CEO
                                                                              1202 DRAGON ST, STE 100
                                                                              DALLAS, TX 75207




HOST ANALYTICS INC                   [NAME REDACTED]                          HOTTINGER BRUEL & KJAER INC
ATTN VICE PRESIDENT, SALES           [ADDRESS REDACTED]                       19 BARTLETT STREET
2299 TECHNOLOGY DR, STE 170                                                   MARLBOROUGH, MA 01752-3014
OFALLON, MO 63368




[NAME REDACTED]                      [NAME REDACTED]                          HOUSE OF BATTERIES
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                       ATTN REGIONAL SALES MGR
                                                                              10910 TALBERT AVE
                                                                              FOUNTAIN VALLEY, CA 92708




HOUSE OF BLUES CLEVELAND             HOUSE OF BLUES CLEVELAND                 HOUSEHOLDER, JOHN R
ATTN SALES REP                       ATTN SHEILA SMALL, VP OF LEGAL AFFAIRS   DBA FIVE TALENT CONSULTING
308 EUCLID AVE                       6255 SUNSET BLVD, 16TH FL                13492 RESEARCH BLVD, STE 120
CLEVELAND, OH 44114                  HOLLYWOOD, CA 90028                      PMB 722
                                                                              AUSTIN, TX 78750



[NAME REDACTED]                      [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                       [ADDRESS REDACTED]




HOUSTON CASUALTY CO UK BRANCH        [NAME REDACTED]                          HOVAC SOUTHEAST
ATTN ENGINEERING UNDERWRITER         [ADDRESS REDACTED]                       ATTN SOLE PROPRIETOR
1 ALDGATE                                                                     3616 HARDEN BLVD 302
LONDON EC3N 1RE                                                               LAKELAND, FL 33803
UNITED KINGDOM



HOW WEIH INTERNATIONAL LIMITED       HOWARD G HINZ CO INC, THE                [NAME REDACTED]
ATTN GENERAL MANAGER                 ATTN MGR BUSINESS DEV                    [ADDRESS REDACTED]
NO.305 NANHUAN RD                    9930 S FRANKLIN DR
SHAJING TOWN                         FRANKLIN, WI 53132
SHENZHEN, GUANGDONG CHINA
[NAME REDACTED] Case 25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
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[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      HOWARDS PRECISION MACHINING        [NAME REDACTED]
[ADDRESS REDACTED]                   940 3RD STREET                     [ADDRESS REDACTED]
                                     VINTON, VA 24179-3350




[NAME REDACTED]                      [NAME REDACTED]                    HOWELL, E KEITH
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 45 WAXWING WAY
                                                                        HENDERSONVILLE, NC 28792-2840




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      HOYA CORP USA                      HOYA OPTICAL LABS OF AMERICA INC
[ADDRESS REDACTED]                   ATTN DIV MGR                       651 EAST CORPORATE DRIVE
                                     3400 EDISON WAY                    LEWISVILLE, TX 75057-6403
                                     FREMONT, CA 94538




HOYMILES POWER ELECTRONICS INC       HP INTERNATIONAL CO LTD            HPS VACUM COMPONENTS
F6, BLDG 5, 99 HOUSHENG RD           ATTN MANAGING DIR                  C/O HPS PERFORMANCE
GONGSHU DISTRICT                     37 BUIL-RO, 815 BEON-GIL           5367 AYON AVE
HANGZHOU 310015                      GURO GU                            IRWINDALE, CA 91706
CHINA                                SEOUL 08262 SOUTH KOREA



HQ-DIELECTRICS GMBH                  HR GENIE DIGITAL SERVICE INC       HR GENIE DIGITAL SERVICE INC
ATTN GEN MNG                         ATTN CHAIRMAN                      ATTN CHAIRMAN
DORNSTADTER WEG 9/1                  4F-3, NO 3-2, PARK ST              4F-A NO 46
DORNSTADT 89160                      NANKANG DISTRICT                   TUNHWA S RD, SEC 2
GERMANY                              TAIPEI 11503 TAIWAN                TAIPEI 106 TAIWAN



[NAME REDACTED]                      [NAME REDACTED]                    HRL LABORATORIES LLC
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 ATTN PATENT COUNSEL
                                                                        3011 MALIBU CANYON RD
                                                                        MALIBU, CA 90265
                 CaseGMBH
HS ELECTRONIK SYSTEME   25-90163    Document  87 USA/CLEARING
                                       HSBC BANK   Filed in TXSB
                                                              (8396)on 07/03/25 HSBC
                                                                                  Page  378
                                                                                     SECS      of (0816)
                                                                                          () INC.  944
ATTN DIRECTOR FINANCE/HR                 ATT BARBARA SKELLY/PROXY MGR              CHRIS ARMATO OR PROXY MGR
ANTON-JAUMANN-INDUSTRIEPARK 10           545 WASHINGTON BLVD                       1 WEST 39TH ST
NORDLINGEN 86720                         10TH FL                                   NEW YORK, NY 10018
GERMANY                                  JERSEY CITY, NJ 07310



HSBC SECURITIES (USA) INC                HSE EBIZ LLC                              HSI RESIDENTIAL I LLC
EQUITY CAPITAL MARKETS AMERICAS          ATTN OWNER                                C/O HSI COMMERCIAL
ATTN JEFFREY NICKLAS, SVP                1209 S OVERLUND PASS                      2911 PIEDMONT RD NE, STE B
452 5TH AVE, 3RD FL                      SIOUX FALLS, SD 57110                     ATLANTA, GA 30305
NEW YORK, NY 10018



[NAME REDACTED]                          HSIN-SUN ENGINEERING CO LTD               HSM ELECTRONIC PROTECTION SVCS
[ADDRESS REDACTED]                       NO 5, NANYUAN RD                          ATTN DISTRICT GM
                                         TAOYUAN COUNTY                            4253 PIEDMONT PKWY, STE 101
                                         JHONGLI CITY 320 TAIWAN                   GREENSBORO, NC 27410




H-SQUARE CORPORATION                     HST MATERIALS INC                         HST SPINDLES LLC
3100 PATRICK HENRY DRIVE                 ATTN VP                                   1357 ROUTE 3-A UNIT A
SANTA CLARA, CA 95054-1850               1631 BRUMMEL AVE                          BOW, NH 03304-4000
                                         ELK GROVE VILLAGE, IL 60007




[NAME REDACTED]                          [NAME REDACTED]                           HT AIRSYSTEMS OF CAROLINAS
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                        DBA INSIGHT PARTNERS
                                                                                   P.O. BOX 12569
                                                                                   NORFOLK, VA 23541-0569




HTC (BVI) CORP                           HTC (BVI) CORP                            [NAME REDACTED]
ATTN MIRANDA HSIAO                       C/O HTC CORP, LEGAL DEPT                  [ADDRESS REDACTED]
3RD FL, OMAR HODGE BLDG, WICKHAMS        ATTN MIRANDA HSIAO
CAY I                                    NO 23 XING-HUA RD
P.O. BOX 361                             TAOYUAN CITY, TAOYUAN 300 TAIWAN
ROAD TOWN, TORTOLA BRITISH VIRGIN
ISLANDS

HTT INC                                  [NAME REDACTED]                           [NAME REDACTED]
ATTN PRESIDENT                           [ADDRESS REDACTED]                        [ADDRESS REDACTED]
428 CLEVELAND ST
SHEBOYGAN FALLS, WI 53085




[NAME REDACTED]                          [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                        [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                        [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                           HUAWEI TECH INVESTMENT CO LTD
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                        ATTN DIRECTOR
                                                                                   9TH FLOOR, TOWER 6, THE GATEWAY
                                                                                   NO 9 CANTON ROAD, TSIM SHA TSUI
                                                                                   KOWLOON HONG KONG
                 CaseSWEDEN
HUAWEI TECHCNOLOGIES    25-90163
                             AB    Document
                                      HUAWEI 87  Filed in TXSB
                                             TECHNOLOGIES CO LTD on 07/03/25 HUB
                                                                               Page  379
                                                                                 GROUP INCof 944
ATTN VICE PRESIDENT R&D                ATTN SR ENGINEER                      DBA UNYSON LOGISTICS
SKALHOLTSGATAN 9-11                    NO 2222 XINJINQIAO RD                 ATTN EVP - SALES
KISTA 16494                            PUDONG                                3050 HIGHLAND PKWY, STE 100
SWEDEN                                 SHANGHAI 201206 CHINA                 DOWNERS GROVE, IL 60515



[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        HUBBARD-HALL INC                      HUBBELL INCORPORATED
[ADDRESS REDACTED]                     1101 COMPTON BRIDGE ROAD              ATTN VP, GENERAL COUNSEL
                                       INMAN, SC 29349-8476                  40 WATERVIEW DR
                                                                             SHELTON, CT 06484




HUBBELL LIGHTING INC                   HUBBELL                               HUBER & SUHNER (NA) CORP
ATTN PRESIDENT                         C/O MARK KARASIK, ATTORNEY            ATTN CONTROLLER
701 MILLENNIUM BLVD                    300 E RANDOLPH DR                     19 THOMPSON DR
GREENVILLE, SC 29607                   CHICAGO, IL 60601                     ESSEX, VT 05452




[NAME REDACTED]                        HUCUL, DONNA                          [NAME REDACTED]
[ADDRESS REDACTED]                     1106 WINSTON DR                       [ADDRESS REDACTED]
                                       APEX, NC 27502




[NAME REDACTED]                        [NAME REDACTED]                       HUDSON FINANCIAL PRODUCTS
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    11 E BROADWAY
                                                                             NEW YORK, NY 10038-1013




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       HUEN ELECTRIC INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    1801 WEST 16TH STREET
                                                                             BROADVIEW, IL 60155-3955




[NAME REDACTED]                        HUETTINGER ELECTRONIC INC             HUETTINGER ELECTRONIC INC
[ADDRESS REDACTED]                     4000 BURTON DR                        ATTN PRESIDENT
                                       SANTA CLARA, CA 95054                 111 HYDE RD
                                                                             FARMINGTON, CT 06032




HUETTINGER ELEKTRONIK GMBH CO KG       [NAME REDACTED]                       [NAME REDACTED]
ATTN PURCHASING DIR & MGR              [ADDRESS REDACTED]                    [ADDRESS REDACTED]
BOETZINGER STR 80
FREIBURG 79111
GERMANY
[NAME REDACTED] Case 25-90163     Document  87 Filed in TXSB on 07/03/25 [NAME
                                     [NAME REDACTED]                       Page  380 of 944
                                                                               REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




HUGG AND HALL EQUIPMENT COMPANY       HUGH LIGHTING DESIGN LLC           HUGHES AIRCRAFT COMPANY
8101 FOURCHE RD                       ATTN PRESIDENT                     ATTN PROG MGR
LITTLE ROCK, AR 72209-3147            115 S MARION ST, STE 100           3110 W LOMITA BLVD
                                      OAK PARK, IL 60302                 TORRANCE, CA 90505




HUGHES CIRCUITS INC                   HUGHES CONSTRUCTION INC            HUGHES HUBBARD & REED LLP
540 S PACIFIC ST                      29311 CECIL DR                     1 BATTERY PARK PLAZA
SAN MARCOS, CA 92078-4050             EASTON, MD 21601                   NEW YORK, NY 10004-1482




HUGHES NETWORK SYSTEMS INC            HUGHES RESEARCH LABORATORIES       [NAME REDACTED]
ATTN GENERAL COUNSEL                  ATTN MGR CONTRACTS MATERIAL        [ADDRESS REDACTED]
11717 EXPLORATION LN                  3011 MALIBU CANYON RD
GERMANTOWN, MD 20876                  MALIBU, CA 90265




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       HUGHES, TREVOR                     [NAME REDACTED]
[ADDRESS REDACTED]                    3252 WESTOVER RIDGE                [ADDRESS REDACTED]
                                      WILLIAMSBURG, VA 23188




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       HUHTAMAKI INC                      HUI CHENG QU HOMTEK TECHNOLOGY
[ADDRESS REDACTED]                    ATTN VP CONSUMER GOODS             SHANG MAO HANG
                                      9201 PACKAGING DR                  FENGHU VILLAGE, ELING NORTH ROAD
                                      DE SOTO, KS 66018                  HUIZHOU 510000
                                                                         CHINA
HUI ZHOU HANG TIANCase    25-90163
                   XIN XI YOU XIAN    Document  87
                                         HUI ZHOU    FiledPRECISION
                                                  HEROEN    in TXSB   on 07/03/25
                                                                    MOLDING CO      Page
                                                                                  HUI ZHOU 381 of 944
                                                                                           PRODUCT PORCH INDUSTRIAL CO
GONG SI                                   LTD                                     LTD
                                          FACTORY BLDG NO3
                                          TIANMIN SCIENCE AND TECH PK
                                          COMM NO35, ZHONGKAI HI-TECH DEV ZN
                                          HUIZHOU CITY CHINA


HUI ZHOU QING LONG FANG SHUI BU LOU       HUI ZHOU SHI DEFENG CHUANG ZHAN-        HUI ZHOU SHI ZHONG KAI GAO XIN-
GONG CHENG YOU XIAN GONG SI               SHI YE KAI FA YOU XIAN GONG SI          QU GANG GUO YUAN SHUI GUO DIAN




HUI ZHOU XIN ZHANG STAMP CO LTD           HUI ZHOUSHI SUI XING FANG               HUICHENG XINGBAO GARMENT
                                          SHUI BU QIANG YOU XIAN GONG SI          FACTORY SALES DEPT




HUICHENGQU BEIDI GUANGCAO ZHUANGSHI       HUISHUI YUNFU (DALIAN) NETWORK TECH     HUIZHAN YI XIN INDUSTRY CO LTD
GONGCHENGBU                               CO LTD
                                          RM 20-5, FL 1, BLDG A, TORCH ROAD
                                          OVERSEAS STUDENTS PIONEER PARK, NO.1
                                          TECH IND PARK, DALIAN HITECH PARK
                                          LIAONING PROVINCE CHINA


HUIZHON TAI SUN PRECISION PARTS CO LTD    HUIZHOU AMTEK TECHNOLOGY LTD            HUIZHOU BAODA PACKAGING CO LTD
                                          ATTN SALES MANAGER
                                          NO.3 PINGNAN RD, XIEXIQ
                                          HUIZHOU CITY
                                          CHINA



HUIZHOU BAOSHENG STAINLESS STEEL-         HUIZHOU BESTFILM CO LTD                 HUIZHOU CHANGCHUN FOOD AND
KITCHENWARE CO LTD                        1F BUING D, PINGNAN INDUSTRIAL PARK     BEVERAGE-
                                          ZHONGKAI HIGHI-TECH ZONE                MANAGEMENT SERVICES LTD
                                          GUANGDONG PROVINCE
                                          HUIZHOU 516006 CHINA



HUIZHOU CHENG XIANG SHANG WU TUWU         HUIZHOU CITY HUIYANG HUALONG IND GAS    HUIZHOU CITY HUIYINTONG ZHIZUO CO LTD
CO LTD                                    CO LTD
                                          CHANGLONGGANG INDUSTRY AREA
                                          SHATIAN TOWN, HUIYANG DIST
                                          HUIZHOU, GUANGDONG
                                          CHINA


HUIZHOU CITY JINGHUA INDUSTRIAL CO LTD    HUIZHOU CITY RONG CAN TECHNOLOGY CO     HUIZHOU CITY SUNSHINE MOTORS CLUB CO
                                          LTD                                     LTD




HUIZHOU DAYAWAN CUOXIN -                  HUIZHOU DONGJIANG CONSTRUCTION &        HUIZHOU DONJIANG VEOLIA
LAOWN PAIQUIAN CO LTD                     INSTALLATION ENGINEERING CO LTD         ENVIRONMENTAL-
                                                                                  SERVICES CO LTD




HUIZHOU ETA ADVERTISEMENT                 HUIZHOU FANGZHOU ZONGHEMENZHEBU         HUIZHOU FORYOU OPTOELECTRONICS
DECORATION ENGINEERING CO                 BLDG 1-3 FLOORS, YUDONG PARK            TECH CO LTD
CHENJIANG TOWN, HUICHENG DISTRICT         MEDING RD, HONGTIAN PORT                NO 1 NORTH SHANGXIA RD
HUIZHOU 510000                            HUICHENG DISTRICT, HUIZHOU CITY         DONGJIANG HIGH-TECH IND PARK
CHINA                                     GUANGDONG CHINA                         HUIZHOU, GUANGDONG CHINA
                   Case
HUIZHOU GIFFORD FOOD       25-90163CO Document
                        DISTRIBUTION     HUIZHOU87     FiledPROPERTY
                                                  GUANLIAN    in TXSBCO onLTD
                                                                            07/03/25 HUIZHOU
                                                                                       Page GUANSHENGHUA
                                                                                             382 of 944 ENVIRONMENTAL
LTD                                      FL 4, BLOCK C, TCL YUNSHAN IND PARK         ENGINEERING CO LTD
2-5, NO 91 QINGYUNG JINLONG AVE          21 YUNSHAN E RD
PINGSHAN STREET, HUIDONG COUNTY          HUIZHOU
GUANGDONG 516300                         CHINA
CHINA


HUIZHOU HENGLI PRECISION MOULD CO LTD   HUIZHOU HONG CHANG INVESTMENT DEV           HUIZHOU HONGHUA INDUSTRIAL
ATTN MANAGER                            CO LTD                                      DEVELOPMENT CO LTD
DAXIN SECOND ZONE                                                                   ATTN CAI JUNXI
CHENJIANG SHUGUANG AVE                                                              3RD FL, NO 6 BAN ZHANG HU RD
HUIZHOU, GUANGDONG 516029 CHINA                                                     HE NAN AN
                                                                                    HUIZHOU CITY CHINA


HUIZHOU HONGKE HUAN JING JIANCE         HUIZHOU HONGSHUNYE TRADING CO LTD           HUIZHOU HOSPITAL FOR PREVENTION &
YOUXIAN GONGSI                          FIRST BLDG OF PORT CUSTOMS                  HEALTH
                                        CLEARANCE SERVICE CENTER                    TREATMENT OF OCCUPATIONAL
                                        NO. 22 XIEXIA AREAS
                                        HUIZHOU CHINA



HUIZHOU HUANFU INDUSTRIAL CO LTD        HUIZHOU HUICHENG HENGZHIBAO -               HUIZHOU HUIJIA MOLD FACTORY
HUADI INDUSTRY PARK, HUAGUO VILLAGE     HARDWARE APPLIANCES STORE                   6TH FL, BLDG 3, NO 101 SHILIULING ROAD
XINXU TOWN                                                                          ZHONGKAI HIGH TECH ZONE, CHINA KOREA
HUIZHOU                                                                             INDUSTRIAL PARK START ZONE HUIZHOU
GUNAGDONG CHINA                                                                     GUANGDONG 516000 CHINA



HUIZHOU HUILONG FREIGHT AGENCY CO       HUIZHOU JEMPY ELECTRONIC TECH CO LTD        HUIZHOU JIANHE PHOTOELECTRIC CO LTD
LTD                                                                                 SCIENCE AND TECHNOLOGY IND PARK
                                                                                    DAYA BAY W DIST, HUIZHOU CITY
                                                                                    GUANGDONG PROVINCE 516000
                                                                                    CHINA



HUIZHOU JINJIACHENG APPLIANCE -         HUIZHOU JINTONG BUS TRANSPORTATION          HUIZHOU KING STAR OPTO-ELECTRONIC CO
MAINTENNCE DEPT                         CO LTD                                      LTD
                                        NO 110 E LING NAN LU                        ATTN PRESIDENT
                                        HUIZHOU, GUANGDONG                          KINGSTAR IND PARK, XIKENG VILLAGE
                                        CHINA                                       HUIHUAN ST, ZHONGKAI HIGH-TECH ZONE
                                                                                    HUIZHOU, GUANGDONG CHINA


HUIZHOU KINGDEE MANAGEMENT              HUIZHOU KINGSUM ELECTRONICS CO LTD          HUIZHOU LEADING ELECTRONIC COMMERCE
SOFTWARE LTD                            HUIZHOU CITY, HUIDONG TOWN                  CO LTD
1604 DESAY BLDG, JIANGBEI               BAIHUA IND PARK
HUIZHOU, HUICHENG 516000                HUIZHOU
CHINA                                   CHINA



HUIZHOU LIGHT ENGINE LTD                HUIZHOU MIRUN DECO ENGINEERING CO           HUIZHOU MUNICIPAL STATE-OWNED
NO 9 YUANHUI RD, CHENJIANG              LTD                                         LAND ADMIN BUREAU
ZONGKAI HI-TECH IND DEV ZONE            RM 304, UNIT 2, BLDG 12, 220, DAYAWAN AVE   NO 106, CHENJIANG AVE MIDDLE
GUANGDONG PROVINCE                      HUANAN INTER. CONSTRUCTION                  HUIZHOU ZHONGKAI HIGH-TECH INDUS DEV
HUIZHOU 516029 HONG KONG                WHOLESALE MKT                               ZN
                                        HUIZHOU DAYA, GUANGDONG 516000              CHINA
                                        CHINA

HUIZHOU PENG XIANG LENG QI -            HUIZHOU PIN JIA TECHNOLOGY TRADE LTD        HUIZHOU POWER SURVEY & DESIGN INST
SHE BEI GONG CHENG CO LTD               ATTN GENERAL MANAGER                        CO LTD
                                        CHENJIANG 5 1 RD
                                        ZHONGKAI HI TECH IND PARK
                                        HUIZHOU 516006 CHINA



HUIZHOU PUTIAN LABOR DISPATCHING CO     HUIZHOU SECURITY SERVICE CORP               HUIZHOU SHENGKE MACHANICAL &
LTD                                                                                 ELECTRICAL -
                                                                                    EQUIPMENT CO LTD
                 Case 25-90163
HUIZHOU SHI HENG AN-                    Document
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                                                                   DIAN SHE 07/03/25 HUIZHOU
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                                                                                             383  of 944 QU SHUNYI WEN JU-
                                                                                                HUICHENG
XIAO FANG GONG                              GONG CHENG YOU XIAN GONG SI                TRADING HOUSE




HUIZHOU SHI HUIRUN QINGJIE FUWU             HUIZHOU SHI JU NENG JI DIAN SHE BEI YOU-   HUIZHOU SHI MEI LUN
YOUXIAN GONGSI                              XIAN GONGSI                                QING XI YOU XIAN GONG SI




HUIZHOU SHI SHI PIN YAO PIN JIAN YAN SUO    HUIZHOU SHI XIN HUA HUAN BAO               HUIZHOU SHI XINHONG ZHUANGSHI
                                            CHUJU GONGCHANG YOUXIAN GUNGSI             GONGCHENG-
                                                                                       YOUXIAN GONGSI




HUIZHOU SHI ZHONG KAI GAO XIN QU KU -       HUIZHOU SOLID STATE LIGHT CO LTD           HUIZHOU SUNSHINE ELECTRIC CO LTD
CHUANG JI DIAN WEI XIU BU                   NO 32, ZHONGKAI HI-TECH INDUSTRIAL         1D BLDG 1903 HOUSE, GANGHUI PLAZA
SHOP 22,A3 EAST JINDIAN INTEGRATED          DEVELOPMENT PARK                           YANDA RD
MARKET                                      QUANGDONG                                  HUIZHOU, GUANGDONG
49 CHENJIANG AV, ZHONGKAI HIGHTECH          HUIZHOU 516006 CHINA                       CHINA
ZONE
HUIZHOU CHINA

HUIZHOU SUNYES HUIYING ELECTRONICS          HUIZHOU TAI WAH METAL MFG CO LTD           HUIZHOU TCL LIGHTING ELEC APPL CO LTD
CO LTD                                      NO 47, XIEXIA PINGNAN IND ZONE             26 OF THE THIRD RD
                                            HUIZHOU                                    ZHONGKAI AVE
                                            CHINA                                      HUIZHOU GUANDONG
                                                                                       CHINA



HUIZHOU WATER SUPPLY GENERAL CO             HUIZHOU XINGBANG LABOR DISPATCHING         HUIZHOU XINGDA TRADE & IND DEV CO LTD
ZHONGKAI BRANCH                             CO LTD




HUIZHOU XINGFA ELECTRON CO LTD              HUIZHOU XINTONG JIN AUTOMOBILE -           HUIZHOU YIDA JIAKING ENVIRONMENTAL-
RM 406, YINHU BLDG, GUANGDONG               SALES CO LTD                               PROTECTION EQUIPMENT CO LTD
HUIZHOU                                                                                111 DONGAN GARDEN, HUICENG DIST
CHINA                                                                                  HUIZHOU, GUANGDONG
                                                                                       CHINA



HUIZHOU YONGHUI TECHNIC-                    HUIZHOU YUANTONG INDUSTRIAL CO LTD         HUIZHOU YUEDONG KANGTI SHEBEI-
ELECTRONICS & EQUIPMENT CO LTD                                                         YOUXIAN GONGSI
BLDG 2,NO 197 PLANT, E SIDE ZINHUA AVE
TONGQIAO TWN, ZHONGKAI HIGHTECH ZONE
HUIZHOU, GUANGDONG 516032 CHINA



HUIZHOU YUN DA ADVERT & PLANNING CO         HUIZHOU YZ CRAFT PRECISE HARDWARE          HUIZHOU ZHENGHUA MECHANICAL &-
LTD                                         CO LTD                                     ELECTRICAL ENGINEERING CO LTD
                                            FIVE RD, ZHONG KAI HIGH TECH ZONE
                                            HUI FENG NO 3
                                            HUIZHOU
                                            CHINA


HUIZHOU ZHONGKAI HIGH TECH INDUSTRY         HUIZHOU ZHONGLI YUAN PACKING               HUIZHOUKUAIDI CVS MANAGEMENT CO LTD
DEVELOPMENT ZONE MGMT COMMITTEE             PRODUCTS CO LTD
                                            A DONG 8 CENG F HAO XIE ZI LOU
                                            BANZHANGHU, GUOSHANG SASHA
                                            HENANAN
                                            HUIZHOU CHINA
                 Case 25-90163
HUIZHOUR CITY SHANGPINXINYUAN -         Document  87 HUIYANGQU
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                                                               ZHENLONG-           Page 384 JIEof
                                                                                               YU944
                                                                                                  LENQI TONGFENG
FINANCIAL CONSULTING CO LTD                 XINHONGCHANG WUJIN MENSH               SHEBEI-
                                                                                   ANZHUANG GONG CHENG YOU XIAN GONGSI




HUIZHOUSHI LI MING CHENG JIAJU CO LTD       HUIZHOUSHI RENLI ZIYUAN XIEHUI         HUIZHOUSI SHUN AN TU QI CHE -
                                                                                   ZU LIN TU NU YOU XIAN GONG SI




HUIZOU LONGTENG HOTEL INVEST MGMT           [NAME REDACTED]                        [NAME REDACTED]
CO LTD                                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                             HUMAN CAPITAL SOLUTIONS INC            HUMANSCALE CORP
[ADDRESS REDACTED]                          ATTN CHIEF EXECUTIVE OFFICER           ATTN ACCOUNT DEVELOPMENT REP
                                            2018 EASTWOOD RD                       11 E 26TH ST, 8TH FL
                                            WILMINGTON, NC 28403                   NEW YORK, NY 10010




HUMAVOX LTD                                 HUMBOLDT STATE UNIV SPONSORED          HUMMELS OFFICE EQUIPMENT CO. INC.
ATTN CHIEF EXECUTIVE OFFICER                PROGRAMS FND                           P.O. BOX 351
8 HAHAROSHET ST                             O/B/O SCHATZ ENERGY RESEARCH CENTER    HERKIMER, NY 13350-0351
KFAR SABA 44640                             ATTN EXEC DIR
ISRAEL                                      1 HARPST ST
                                            ARCATA, CA 95521


[NAME REDACTED]                             [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                     [ADDRESS REDACTED]




HUNAN AIHUA GROUP CO LTD                    HUNAN HARVEST TECHNOLOGY DEV CO LTD    [NAME REDACTED]
ATTN DIRECTOR OF MKTG                       R&D BLDG, MUYUN INDUST PK              [ADDRESS REDACTED]
AIHUA INDUSTRIAL PARK                       DINGLI SCIENCE & TECH PK
EAST TAOHUALUN RD                           CHANGSHA, HUNAN
YIYANG CITY, HUNAN CHINA                    CHINA



HUNG, ANDREW                                [NAME REDACTED]                        [NAME REDACTED]
ATTN MANAGER                                [ADDRESS REDACTED]                     [ADDRESS REDACTED]
66 CLOCKTOWER
IRVINE, CA 92620




[NAME REDACTED]                             [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  385 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          HUNTER INDUSTRIES INC              [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN ENGINEERING MANAGER           [ADDRESS REDACTED]
                                         1940 DIAMOND ST
                                         SAN MARCOS, CA 92069




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




HUNTINGTON MECHANICAL LABORATORIES       HUNTINGTON NATL BANK (2305,2898)   HUNTSMAN ADVANCED MATERIALS
INC                                      ATT RIA BOLTON OR PROXY MGR        AMERICAS INC
ATTN PRES                                7 EASTON OVAL - EA4 E78            ATTN VP
1040 LA AVENIDA ST                       COLUMBUS, OH 43219                 1003 WOODLOCH FOREST DR
MOUNTAIN VIEW, CA 94043                                                     THE WOODLANDS, TX 77380



[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




HUSS, SANDRA                             [NAME REDACTED]                    [NAME REDACTED]
288 STEEL HOPPER WAY                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]
GARNER, NC 27529




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  386 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




HUTCHINS & HUTCHINS INC                  [NAME REDACTED]                        HUTCHINSON TECHNOLOGY INC
ATTN PRESIDENT                           [ADDRESS REDACTED]                     ATTN DIR NEW BUS DEV
39 HUTCHWOOD LN                                                                 40 WEST HIGLAND PARK DR NE
WAYNESBORO, VA 22980                                                            HUTCHINSON, MN 55350




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                          HUZIZHOU YUANHUI LUMINANT DEVICE LTD   HVA LLC
[ADDRESS REDACTED]                       COMPANY                                ATTN INTERIM SALES MGR
                                                                                12880 MOYA BLVD
                                                                                RENO, NV 89506




HWA-FENG LIGHTING CO LTD                 HWEI LUNG PRECISION MACHINERY CO LTD   HXI LLC
HUANAN INDUSTRIAL AREA LIABU TOWN        ATTN SALES MANAGER                     ATTN PROD MGR
GUANG DONG PROVINCE                      NO 2, LANE 531, SEC 1                  12 LANCASTER COUNTY RD
DONG GUAN CITY                           WANSHOU RD, GUISHAN SHIANG             HARVARD, MA 01451
CHINA                                    TAOYUAN 33350 TAIWAN



HYATT HOUSE RALEIGH DURHAM AIRPORT       HYATT REGENCY HONG KONG SHA TIN        HYBOND INC
10962 CHAPEL HILL RD                     ATTN SALES EXEC                        ATTN VP/OPERATIONS MGR
MORRISVILLE, NC 27560                    18 CHAK CHEUNG ST, SHA TIN             330 STATE PLACE
                                         NEW TERRITORIES                        ESCONDIDO, CA 92029
                                         HONG KONG



HYBRID SCREEN TECHNOLOGIES INC           HYBRID SYSTEMS                         [NAME REDACTED]
ATTN PLANT MNGR                          ATTN DAVID GARAKANIAN                  [ADDRESS REDACTED]
3301 LABORE RD                           554 W GARFIELD AVE
WHITE BEAR LAKE, MN 55110                GLENDALE, CA 91204-1824




HYDRAWAVE INC                            HYDRO ALUMINUM NORTH AMERICA INC       HYDRO SERVICE & SUPPLIES, INC.
ATTN PRESIDENT                           ATTN DIRECTOR OF BUS DEV               513 UNITED DRIVE
2441 LOFTANNE DR                         999 CORPORATE BLVD, STE 100            DURHAM, NC 27713-1477
MISSISSAUGA, ON L5K 1P1                  LINTHICUM, MD 21090
CANADA



HYDRO-PHOTON INC                         HYDROXYL SYSTEMS INC                   [NAME REDACTED]
ATTN PRESIDENT                           STE 202, 26 BASTION SQ                 [ADDRESS REDACTED]
P.O. BOX 675                             VICTORIA, BC V8W 1HP
BLUE HILL, ME                            CANADA




[NAME REDACTED]                          HYMITE A/S                             [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN JORGEN NIELSEN, CEO               [ADDRESS REDACTED]
                                         DIPLOMVEJ BLDG 376
                                         KGS LYNGBY DK-2800
                                         DENMARK
[NAME REDACTED] Case 25-90163          Document 87LLCFiled in TXSB on 07/03/25 HYPERION
                                          HYPERFLO                               Page 387   of 944& TECHNOLOGIES
                                                                                        MATERIALS
[ADDRESS REDACTED]                         ATTN CFO                              USA, LLC
                                           240 N SUNWAY BLVD, STE B              1111 WEST NEWPORT CENTER
                                           GILBERT, AZ 85233                     DEERFIELD BEACH, FL 33442-7732




HYPERION MATERIALS & TECHNOLOGIES          HYPERLOOP TECHNOLOGIES INC            HYPERTHERM INC
P.O. BOX 3898                              DBA HYPERLOOP ONE                     ATTN SR STAFF ENG - DESIGN MECH
CAROL STREAM, IL 60132-3898                ATTN GENERAL COUNSEL                  21 GREAT HOLLOW RD
                                           2159 BAY ST                           HANOVER, NH 03755
                                           LOS ANGELES, CA 90021



[NAME REDACTED]                            HYPHENATED SYSTEMS LLC                HYTEL GROUP INC
[ADDRESS REDACTED]                         ATTN VP SALES & MARKETING             ATTN PRES
                                           1826 ROLLINS RD                       290 INDUSTRIAL DR
                                           BURLINGAME, CA 94010                  HAMPSHIRE, IL 60140




HYUNDAI AUTRON CO LTD                      HYUNDAI LED                           HYUNDAI MOBIS CO LTD
ATTN JIYEON KIM, MNG/PURCHASING TEAM       ATTN SNR RESEARCH ENGINEER            ATTN VP
MTEK IT TOWER, 344                         602-6 PALGOGIL-DONG                   203, TEHERAN-RO, GANGNAM-GU
PANGYO-RO, BUNDANG-GU                      SAMGNOK-GU                            SEOUL 06141
SEONGNAM, GYEONGGI-DO SOUTH KOREA          ANSAN-SI, GYEONGGI-DO 426-200 SOUTH   SOUTH KOREA
                                           KOREA


HYUNDAI MOTOR CO                           HYUNDAI MOTOR CO                      HY-VEE INC
ATTN GRP MGR                               ATTN GRP MGR                          5820 WESTOWN PKWY
150, HUNDAIYEONGUSO-RO                     231, YANGJAE-DONG                     WEST DES MOINES, IA 50266
HWASEONG-SI, GYEONGGI-DO                   SEOCHONG-GU
SEOUL SOUTH KOREA                          SEOUL SOUTH KOREA



HZ ELECTRIC SUPPLY                         I & J FISNAR INC                      I & M INDUSTRIALS INC
274 TAYLOR STREET                          ATTN CCO                              ATTN TREASURER
SPRINGFIELD, MA 01105                      15 CORPORATE DR                       10 AKRON DR
                                           WAYNE, NJ 07470                       P.O. BOX 8775
                                                                                 GREENVILLE, SC 29604



I C INTERACTIVE INC                        I SQUARED R ELEMENT COMPANY INC       I TECH (GUANGZHOU) ELECTRONIC TECH
DBA INFOPROS INTERACTIVE INC               ATTN VP                               CO LTD
ATTN BUSINESS DEVELOPMENT MGR              12600 CLARENCE CENTER RD              UNIT 3102 ZHONGJING A, POLY-PLAZA
12325 ORACLE BLVD, STE 100                 AKRON, NY 14001                       CLOVER
COLORADO SPRINGS, CO 80921                                                       NO 406, 2, HUASUI RD, ZHUJIANG NEW TOWN
                                                                                 GUANGZHOU, GUANGDONG 510623
                                                                                 CHINA

I. MILLER PRECISION OPTICAL INC.           I2 TECHNOLOGIES US INC                I2R NANOWAVE INC
325 BUSTLETON PIKE                         ATTN DEPUT GENERAL COUNSEL            ATTN DIR OF ENGINEERING
FEASTERVILLE TREVOSE, PA 19053             11701 LUNA RD                         85 5TH ST NW
                                           DALLAS, TX 75234                      ATLANTA, GA 30308




IA INC                                     [NAME REDACTED]                       IAD GMBH
ATTN EVP                                   [ADDRESS REDACTED]                    ATTN GENERAL MGR
5-23, 22-GIL, SONGPA-DAERO                                                       UNTERSCHLAUERSBACHER HAUPTSTR 10
SONGPA-GU                                                                        GROSSHABERSDORF 90613
SEOUL 05805 SOUTH KOREA                                                          GERMANY



IAR SYSTEMS SOFTWARE INC                   IAS PRODUCTS                          IASE COMPANY INC
ATTN US F&A MGR                            ATTN VP OPS                           ATTN VICE PRESIDENT
1065 E HILLSDALE BLVD, STE 420             1415 DOMINION ST                      161-6 INDUSTRIAL PKWY
FOSTER CITY, CA 94404                      NORTH VANCOUVER, BC V7J 1B3           BRANCHBURG, NJ 08876
                                           CANADA
IAUTOMATION       Case 25-90163      Document   87 Filed INC
                                        IBASE TECHNOLOGY  in TXSB on 07/03/25 IBASE
                                                                                Page   388 of 944
                                                                                    TECHNOLOGY INC
ATTN PRESIDENT                           ATTN PRESIDENT                             ATTN PRESIDENT
500 CUMMINGS CENTER, STE 1750            1050 STEWART DR                            11F, NO 3-1, YUAN QU ST
BEVERLY, MA 01915                        SUNNYVALE, CA 94085                        NANKANG, TAIPEI 115
                                                                                    TAIWAN



IBBETSON, JAMES P                        IBC CUSTOMS BROKAGE INC                    IBIDEN CO LTD
910 RANDOLPH RD                          11034 LA CIENEGA BLVD                      ATTN DIV MGR ADV CERAMIC DIV
SANTA BARBARA, CA 93111                  INGLEWOOD, CA 90304                        2-1 KANDA-CHO
                                                                                    OGAKI, GIFU 503-8604
                                                                                    JAPAN



IBIDEN USA CORPORATION                   [NAME REDACTED]                            IBIS TEK LLC
ATTN PRESIDENT                           [ADDRESS REDACTED]                         ATTN DAVE GRAFTON
875 TOLL GATE RD                                                                    912 PITTSBURGH RD
ELGIN, IL 60123                                                                     BUTLER, PA 16002




IBL LIGHTING LTD                         IBM                                        [NAME REDACTED]
ATTN DIRECTOR                            1 NEW ORCHARD RD, STE 1                    [ADDRESS REDACTED]
1 FARNHAM RD, GUILDFORD                  ARMONK, NY 10504-1722
SURREY GU2 4RG
UNITED KINGDOM



IC DESIGN CENTRE BEL                     IC INDUSTRIELLE COMPUTERTECHNIK GMBH       IC LIGHTING LTD
JALAHALLI POST                           ATTN GF                                    UNIT 18A, STATION RD BUSINESS PARK
BANGALORE 560013                         KONKORDIASTR 11                            BARNACK PA9 3DW
INDIA                                    DUSSELDORF 40219                           UNITED KINGDOM
                                         GERMANY



IC PARTNERSHIP LTD, THE                  IC RESOURCES                               IC2 SOLUTIONS LLC
ATTN CHIEF EXECUTIVE OFFICER             1530 ARLINGTON BUSINESS PARK               ATTN PRESIDENT
4TH FL STE, ECOVERT HOUSE                BERKSHIRE RG7 4SA                          686 S TAYLOR AVE, STE 108
2 BARTHOLOMEWS, BRIGHTON                 UNITED KINGDOM                             LOUISVILLE, CO 80027
EAST SUSSEX BN1 1HG UNITED KINGDOM



ICC INNOVATIVE CONCEPTS CORP             ICE COMPONENTS INC                         ICE CORPORATION
ATTN CHIEF EXECUTIVE OFFICER             ATTN PRESIDENT                             ATTN CHIEF DESIGN ENGINEER
200 SMITH WAY                            1165 ALLGOOD RD, STE 20                    2700 AMHERST AVE
CANTON, CT 06019                         MARIETTA, GA 30062                         MANHATTAN, KS 66502




ICERTIS INC                              ICF RESOURCES LLC                          I-CHARGING MOBILIDADE ELETRICA
14711 NE 24TH PLACE SUITE 100            ATTN SR MGR, CONTRACTS                     ATTN CEO
BELLEVUE, WA 98007-0001                  9300 LEE HWY                               RUA DE SERRALVES 351
                                         FAIRFAX, VA 22031                          PORTO 4150-707
                                                                                    PORTUGAL



ICHEL, DAVID W, ESQ                      ICHIKOH INDUSTRIES LTD                     ICIMO LLC
                                         80 ITADO                                   ATTN PRINCIPALS
                                         ISEHARAM, KANAGAWA 259-1192                P.O. BOX 1291
                                         JAPAN                                      HOLLY SPRINGS, NC 27540




ICIMS INC                                ICM TECHNOLOGIES                           ICMAS INC
ATTN VP SALES                            KANTARCI RIZA SOK, BAHABEY, APT NO 14/15   ATTN PRESIDENT
101 CRAWFORDS CORNER RD, STE 3-100       ERENKOY                                    1012 HITCH RD
HOLMDEL, NJ 07733                        ISTANBUL                                   MARYVILLE, TN 37804
                                         TURKEY
ICMAS INC          Case 25-90163 Document
                                    ICMFG & 87  Filed in
                                            ASSOCIATES INCTXSB on 07/03/25 ICOMM
                                                                             Page  389
                                                                                 TELE LTDof 944
ATTN PRESIDENT                          ATTN VP OF ENGINEERING                   ATTN SR VP
354 GLASCOCK ST                         2630 COUNTRY GROVE BLVD                  PLOT NO 40-46, TELECOM CENTRE
ALCOA, TN 37701                         PALM HARBOR, FL 34684                    IDA, CHERLAPALLY
                                                                                 HYDERABAD 500 051 INDIA



ICON DESIGN AUTOMATION PVT LTD          ICON DESIGN AUTOMATION PVT LTD           ICON INTERNATIONAL INC
ATTN GEN MGR                            ATTN TECH MGR                            ATTN PROJECT MNG
510 7TH CROSS, 10TH MAIN                NO 3016, 5TH CROSS, 12TH B MAIN HAL II   500 CALLAHAN RD
HAL III STAGE                           STAGE                                    NORTH KINGSTOWN, RI 02852
BANGALORE 560 075 INDIA                 BAMGALORE 560008
                                        INDIA


ICONIC SOLUTIONS LLC                    ICONTROL NETWORKS INC                    ICOS VISION SYSTEMS INC
ATTN MANAGING PARTNER                   ATTN VP ECOSYSTEM DEV                    ATTN COO & MANAGING DIRECTOR
401 HARRISON OAKS BLVD, STE 220         555 TWIN DOLPHIN DR                      2000 WYATT DR, STE 13
CARY, NC 27513                          REDWOOD CITY, CA 94065                   SANTA CLARA, CA 95054




ICOS VISION SYSTEMS                     ICP TECHNOLOGY CO LTD                    ICS/INTEGRATED CIRCUIT SUPPORT, INC.
RESEARCH PARK HAASRODE                  ATTN GEN MGR                             20988 CORSAIR BLVD.
ESPERANTOLAAN 8                         NO 526, NANSHANG RD                      HAYWARD, CA 94545-1002
HEVERLEE 3001                           GUISHAN TOWNSHIP
BELGIUM                                 TAOYUAN COUNTY 333 TAIWAN



ICSN INC                                ID LABEL INC                             ID SYSTEMS & SUPPLIES CO
ATTN PROJECT MGR                        ATTN DIRECTOR OF FINANCE                 2367 LOMITA BLVD
1826 POMONA RD                          864 PARK AVE                             LOMITA, CA 90717-1438
CORONA, CA 92880                        CRANSTON, RI 02910




ID TECHNOLOGY LLC                       IDAHO ATTORNEY GENERALS OFFICE           IDAHO DEPT OF ENVIRONMENTAL QUALITY
ATTN AREA SALES MGR                     CONSUMER PROTECTION DIVISION             1410 N HILTON ST
N26 W23323 PAUL RD                      954 W JEFFERSON 2ND FL                   BOISE, ID 83706
PEWAUKEE, WI 53072                      BOISE, ID 83720




IDAHO DEPT OF LABOR                     IDAHO DEPT OF WATER RESOURCES            IDAHO STATE TAX COMMISSION
UNEMPLOYMENT INSURANCE                  IDAHO WATER CENTER                       1111 N 8TH AVE
317 W MAIN ST                           322 E FRONT ST                           POCATELLO, ID 83201-5789
BOISE, ID 83735                         STE 648
                                        BOISE, ID 83702-7371



IDAHO STATE TAX COMMISSION              IDAHO STATE TAX COMMISSION               IDAHO STATE TAX COMMISSION
1118 "F" ST                             11321 W CHINDEN BLVD                     150 SHOUP AVE
LEWISTON, ID 83501                      BOISE, ID 83714-1021                     STE 16
                                                                                 IDAHO FALLS, ID 83402




IDAHO STATE TAX COMMISSION              IDAHO STATE TAX COMMISSION               IDAHO STATE TREASURER
1910 NORTHWEST BLVD                     440 FALLS AVE                            UNCLAIMED PROPERTY DIVISION
STE 100                                 TWIN FALLS, ID 83301-3320                304 N 8TH ST STE 208
COEUR DALENE, ID 83814-2371                                                      BOISE, ID 83702




IDAHO STATE TREASURER                   IDAMEX SA DE CV                          IDEA PARTNERSHIPS LLC
UNCLAIMED PROPERTY DIVISION             ATTN GENERAL MANAGER                     ATTN MEMBER
P.O. BOX 83720                          CARRETERA A CHAPALA 7020                 2410 PINE ST
BOISE, ID 83720-9101                    CLUB DE GOL ATLAS                        PHILADELPHIA, PA 19103
                                        JALISCO 45680 MEXICO
IDEA SPA          Case 25-90163   Document  87 Filed in TXSB on 07/03/25 IDEAL
                                     IDEA SQUAD                            Page   390 of INC
                                                                               INDUSTRIES 944
ATTN R&D LIGHTING                     ATTN PRESIDENT                       ATTN GROUP PRESIDENT
VIA PARELLELA 2/4                     1421 SALADO DR                       1375 PARK AVE
VILLA BARTOLOMEA 37049                ALLEN, TX 75013                      SYCAMORE, IL 60178
ITALY



IDEAL INDUSTRIES LIGHTING LLC         IDEAL INDUSTRIES LIGHTING LLC        IDEAL PROPERTY INTELLIGENCE SDN BHD
ATTN MANAGER                          DBA CREE LIGHTING                    1-5-1, KRYSTAL POINT CORPATEPARK
9201 WASHINGTON AVE                   ATTN LEGAL DEPT                      JALAN TUN DR AWANG
RACINE, WI 53406                      4401 SILICON DR                      SUNGAI NIBONG, BAUAN LEPAS
                                      DURHAM, NC 27703                     PULAU PINANG 11900 MALAYSIA



IDEAL PROTOTYPES INC                  IDEAL VACUUM PRODUCTS LLC            IDEALAND ELECTRONICS LTD
2216-102 PAGE ROAD                    5910 MIDWAY PARK BVLD NE             ATTN GM
DURHAM, NC 27703-5950                 ALBUQUERQUE, NM 87109-5805           1/F, PO SHING INDUSTRIAL BLDG
                                                                           23 TAI YAU STREET
                                                                           SAN PO KONG, KOWLOON HONG KONG



IDEALED IT SRL                        IDEE PRODUCTS LTD                    IDEMITSU KOSAN CO LTD
ATTN MANAGING DIRECTOR                ATTN DIRECTOR                        ATTN EXEC OFFICER & GM
VIA COLOMBO 2                         RM 2101, APEC PLAZA                  1-1 MARUNOUCHI 3-CHOME
CREAZZO 36051                         49 HOI YUEN RD                       CHIYODA-KU
ITALY                                 KWUN TONG HONG KONG                  TOKYO 100-8321 JAPAN



IDENTATRONICS INC                     IDENTCO INTERNATIONAL CORP           IDENTIFICATION PRODUCTS CORP
ATTN VP                               ATTN DIR OF OP                       ATTN INSIDE SALES
165 N LIVELY BLVD                     28164 CONCRETE DR                    104 SILLMAN AVE
ELK GROVE VILLAGE, IL 60007           INGLESIDE, IL 60041                  BRIDGEPORT, CT 06605




IDI GAZELEY                           IDMWORKS, LLC                        IDSI LLC
1100 PEACHTREE ST                     P.O. BOX 140040                      ATTN DIR OF CONTRACTS & ADMIN
ATLANTA, GA                           CORAL GABLES, FL 33114               281 INDUSTRIAL RD
                                                                           GLEN ROCK, PA 17327




[NAME REDACTED]                       IEDLINK LLC                          IEHK TECHNOLOGY CO LTD
[ADDRESS REDACTED]                    ATTN PRES                            ATTN SALES MGR
                                      20464 CHARTWELL CENTER DR, STE J     2/F, 822 LAI CHI KOK RD
                                      CORNELIUS, NC 28031-9644             KOWLOON
                                                                           HONG KONG



IEM INC                               IEMN - UMR 8520                      IENSO INC
ATTN COO                              AVE POINCARE                         ATTN PRESIDENT
2400 ELLIS RD, STE 200                BP 60069                             20 MURAL ST, UNIT 7
RESEARCH TRIANGLE PK, NC 27709        VILLENEUVE DASCQ 59652               RICHMOND HILL, ON L4B 1K3
                                      FRANCE                               CANADA



IES COMMERCIAL INC.                   IES COMMUNICATIONS LLC               IFM EFECTOR INC
IES COMMUNICATIONS, LLC,              ATTN LEGAL DIR                       805 SPRINGDALE DRIVE
FAIR LANE                             2801 S FAIR LN                       EXTON, PA 19341-2843
TEMPE, AZ 85282-3777                  TEMPE, AZ 85282




IFM QUALITY SERVICES PTY LTD          IFS SERVICES LLC                     IGE SA
ATTN DIRECTOR                         3317 S. HIGLEY ROAD SUITE 114-290    ATTN GERENTE GENERAL
UNIT 4, 58 STENNETT RD                GILBERT, AZ 85297-5456               ISIDORA GOYENECHEA, PISO 13
P.O. BOX 877                                                               SANTIAGO 3365
INGLEBURN, NSW 2565 AUSTRALIA                                              CHILE
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 IGENTI
                                   [NAME REDACTED]                       Page INC391 of 944
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   ATTN PRES
                                                                         12200 W COLONIAL DR, 201
                                                                         WINTER GARDEN, FL 34787




IGPS LOGISTICS LLC                  IGT                                  IGUZZINI ILLUMINAZIONE SPA
ATTN DIR SALES                      ATTN MARK TAYLOR, MGR                ATTN CEO
225 E ROBINSON ST, STE 200          9295 PROTOTYPE DR                    VIA MARIANO GUZZINI 37
ORLANDO, FL 32801                   RENO, NV 89521                       RECANATI, MACERATA 62019
                                                                         ITALY



IHEALTH UTICA                       IHF DER RWTH AACHEN                  IHP GMBH
51 N. GENESEE ST, SUITE 2           ATTN UNIV PROF                       ATTN DIRECTOR
UTICA, NY 13502-4358                MELATENER STRASSE 25                 IM TECHNOLOGIEPARK 25
                                    AACHEN 52074                         FRANKFURT (ODER) 15236
                                    GERMANY                              GERMANY



IHS GLOBAL INC                      [NAME REDACTED]                      [NAME REDACTED]
ATTN SVP, OE&RM                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]
15 INVERNESS WAY EAST
ENGLEWOOD, CO 80112




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




III-V MATERIALS INC                 II-VI INC                            II-VI OPTICAL SYSTEMS INC
1261 BROADWAY, STE 403              ATTN PRESIDENT                       ATTN GEN MGR
NEW YORK, NY 10001                  375 SAXONBURG BLVD                   36570 BRIGGS RD
                                    SAXONBURG, PA 16056                  MURRIETA, CA 92563




II-VI WIDE BAND GAP INC             IJ RESEARCH INC                      [NAME REDACTED]
ATTN GEN MGR                        ATTN PRES                            [ADDRESS REDACTED]
20 CHAPIN RD, STE 1005              2919 TECH CNTR DR
P.O. BOX 840                        SANTA ANA, CA 92705
PINE BROOK, NJ 07058



IJET INTERNATIONAL INC              IKANG GUO BIN MEDICAL SCREENING      IKATECH SDN BHD
ATTN CEO                            (SHENZEN)                            ATTN ANITA LIN
910 F BESTGATE RD                   6F, TOWER B, SHIMAO TOWER            10F-1 NO 508, SEC 5, JHONGSIA E RD
ANNAPOLIS, MD 21401                 BEIJING 100022                       SINYI DISTRICT
                                    CHINA                                TAIPEI CITY 11083 TAIWAN



IKE INC                             IKEA COMPONENTS (SHANGHAI) CO LTD    IKEA COMPONENTS (SHENZHEN) CO LTD
ATTN PRESIDENT                      NO 399, GANGWEN ROAD                 BLDG A-C, BLOCK C, MIN ZHU JIU JIU
486 AMHERST ST                      FENGXIAN, SHANGHAI 201413            INDUSTRIAL ZONE
NASHUA, NH 03063                    CHINA                                WEST INDUSTRIAL PARK, BOAN DIST
                                                                         SHENZHEN CHINA
IKEA OF SWEDEN ABCase 25-90163         Document  87 AG
                                          IKEA SUPPLY Filed in TXSB on 07/03/25 IKERLAN
                                                                                  PageS.COOP
                                                                                        392 of 944
ATTN PURCHASE SALES MGR                    ATTN DIRECTOR                        ATTN GENERAL MANGER
BOX 702                                    GRUSSENWEG 15                        P J M ARIZMENDIARRIETA 2
ALMHULT S-343 81                           PRATTEIN CH-4133                     ARRASATE-MONDRAGON
SWEDEN                                     SWITZERLAND                          GIPUZKOA 20500 SPAIN



[NAME REDACTED]                            ILEAD PHOTOELECTRONICS INC           [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN CHI-YUAN HSU                    [ADDRESS REDACTED]
                                           2F, NO 23 WUCHUAN RD
                                           WUGU TOWNSHIP
                                           TAIPEI COUNTY 24891 TAIWAN



[NAME REDACTED]                            [NAME REDACTED]                      ILIOS PARTNERS LLC
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   ATTN MANAGING PARTNERS
                                                                                550 W VAN BUREN, STE 1120
                                                                                CHICAGO, IL 60607




ILLINOIS DEPT OF EMPLOYMENT SECURITY       ILLINOIS DEPT OF LABOR               ILLINOIS DEPT OF LABOR
7650 MAGNA DR, STE 120                     160 N. LA SALLE STREET               524 S. 2ND STREET
BELLEVILLE, IL 62223                       C-1300                               STE 400
                                           CHICAGO, IL 60601                    SPRINGFIELD, IL 62701




ILLINOIS DEPT OF NATURAL RESOURCES         ILLINOIS DEPT OF REVENUE             ILLINOIS DEPT OF REVENUE
ONE NATURAL RESEOURCES WAY                 15 EXECUTIVE DR STE 2                200 S WYMAN ST
SPRINGFIELD, IL 62702-1271                 FAIRVIEW HEIGHTS, IL 62208-1331      ROCKFORD, IL 61101




ILLINOIS DEPT OF REVENUE                   ILLINOIS DEPT OF REVENUE             ILLINOIS DEPT OF REVENUE
2309 W MAIN ST STE 114                     555 W MONROE, STE 1100               RETAILERS OCCUPATION TAX
MARION, IL 62959-1196                      CHICAGO, IL 60661                    SPRINGFIELD, IL 62796-0001




ILLINOIS DEPT OF REVENUE                   ILLINOIS DEPT OF REVENUE             ILLINOIS ENVIRONMENTAL PROTECTION
SUBURBAN N REGIONAL BLDG                   WILLARD ICE BLDG                     AGENCY
9511 HARRISON ST                           101 W JEFFERSON ST.                  1021 N GRAND AVE E
DES PLAINES, IL 60016-1563                 SPRINGFIELD, IL 62702                P.O. BOX 19276
                                                                                SPRINGFIELD, IL 62794-9276



ILLINOIS OFFICE OF THE ATTORNEY            ILLINOIS OFFICE OF THE ATTORNEY      ILLINOIS OFFICE OF THE ATTORNEY
GENERAL                                    GENERAL                              GENERAL
CARBONDALE                                 CHICAGO                              SPRINGFIELD
CONSUMER FRAUD BUREAU                      CONSUMER FRAUD BUREAU                CONSUMER FRAUD BUREAU
601 S UNIVERSITY AVE                       100 W RANDOLPH ST                    500 S 2ND ST
CARBONDALE, IL 62901                       CHICAGO, IL 60601                    SPRINGFIELD, IL 62701


ILLINOIS SECURITIES DEPARTMENT             ILLINOIS SECURITIES DEPARTMENT       ILLINOIS TOOL WORKS INC DBA SIMCO-I
421 E. CAPITOL AVE.                        69 W WASHINGTON ST, STE 1220         A DIVISION OF ITW INC.
2ND FL                                     CHICAGO, IL 60602                    825 UNIVERSITY AVE., 825
SPRINGFIELD, IL 62701                                                           NORWOOD, MA 02062-2643




ILLUM TECHNOLOGY LLC                       ILLUMAGIC OPTO CO LTD                ILLUMINART
ATTN CHIEF EXECUTIVE OFFICER               ATTN SALES MANAGER                   5145 LIVERNOIS AVE, STE 100
2120 E SIXTH ST, STE 16                    8F-9, NO 72, JIANPING 8TH ST         TROY, MI 48098
TEMPE, AZ 85281                            ANPING
                                           TAINAN 708 TAIWAN
                   Case 25-90163
ILLUMINATING ENG SOCIETY OF BEIJING   Document  87 Filed
                                         ILLUMINATION       in TXSB on 07/03/25 ILLUMINATION
                                                      DEVICES                     Page 393DYNAMICS
                                                                                             of 944 INC
85 BROAD ST, FL 17                        ATTN EVP                                21335 NEEDHAM RANCH PKWY
NEW YORK, NY 10004                        100 HARWOOD BLVD, 005                   SANTA CLARITA, CA 91321
                                          VAUDREUIL-DORION, QC J7V 1X9
                                          CANADA



ILLUMINATION MACHINES LLC                 ILLUMINATION MANAGEMENT SOLUTIONS       ILLUMINATION MANAGEMENT SOLUTIONS
ATTN CEO                                  INC                                     INC
100 TECHNOLOGY WAY, STE 130               ATTN MANAGER                            ATTN PRESIDENTE
MT LAUREL, NJ 08054                       1121 HWY 74 S                           18242 MCDURMOTT W, STE J
                                          PEACHTREE CITY, GA 30269                IRVINE, CA 92614



ILLUMINATION MANAGEMENT SOLUTIONS         ILLUMINATION OPTICS INC                 ILLUMINATION SALES
INC                                       ATTN PRES                               ATTN PRESIDENT
C/O EATEN CORPORATION PLC                 10437 INNOVATION DR, STE 303            1800 E 123RD ST
ATTN GENERAL COUNSEL                      WAUWATOSA, WI 53226                     OLATHE, KS 66061
1000 EATON BLVD
CLEVELAND, OH 44122


ILLUMINETIX INC                           ILLUMINETIX INC                         ILLUMISOFT LIGHTING INC
ATTN DEXTER KUMANO                        ATTN PRES                               ATTN PRESIDENT
95-1040 AUINA ST                          P.O. BOX 894620                         2020 HOWELL MILL RD, STE 135
MILILANI, HI 96789                        MILILANI, HI 96789                      ATLANTA, GA 30318




ILLUMITECH INC                            ILLUMITTEX INC                          ILLUTECH CO LTD
ATTN PRESIDENT                            ATTN SOP, STM                           ATTN DEV TEAM MGR
5319 S DORCHESTER AVE                     6301 E STASSNEY LANE, BLDG 6, STE 400   ILLUTECH B/D, 354-6 MYEONMOK-7DONG
CHICAGO, IL 60615-5307                    AUSTIN, TX 78744                        JUNGRANG-GU
                                                                                  SEOUL 131-207 SOUTH KOREA



ILSUNG CO LTD                             ILSUNG MOOLSAN CO LTD                   ILSUNG MOOLSAN CO LTD
ATTN PRESIDENT                            501 DAEJI BLDG                          74 DAEJEONG-RO, ONSAN-EUB
5 FL, 1125-15, HWAGOKDONG                 1125-15 HWAGOK-DONG                     ULJU-GUN
KANGSEOKU                                 KANGSEO-GU                              ULSAN 45009
SEOUL SOUTH KOREA                         SEOUL SOUTH KOREA                       SOUTH KOREA



ILUMINATING CONCEPTS LTD                  ILUMITECH                               IM ELECTRONICS CO LTD
ATTN PRESIDENT                            ATTN VP ENGINEERING                     ATTN GEN MGR
30733 W 10 MILE RD                        5319 S DORCHESTER AVE                   22-2 SEOKWOO-DONG
FARMINGTON HILLS, MI 48336                CHICAGO, IL 60615-5307                  HWASEONG-CITY
                                                                                  GYUNGGI-DO SOUTH KOREA



[NAME REDACTED]                           IMA NORTH AMERICA INC                   IMACHINES
[ADDRESS REDACTED]                        ATTN PRESIDENT                          ATTN PRESIDENT
                                          7 NEW LANCASTER RD                      383 DORCHESTER AVE
                                          LEOMINSTER, MA 01453                    BOSTON, MA 02127




IMAGE MANAGEMENT LLC                      IMAGE QUALITY LABS INC                  IMAGE TECHNOLOGY INC
ATTN ACCT EXEC                            ATTN JASON M COPE, PRESIDENT            ATTN PRESIDENT
610 MAIN ST                               2327 ENGLERT DR, STE 204                821 SAN ANTONIO RD
RACINE, WI 53403                          DURHAM, NC 27713                        PALO ALTO, CA 94303




IMAGETREND                                IMAGEWAVE CORP                          IMAGINEOPTIX CORP
20855 KENSINGTON BLVD                     ATTN OFFICER                            ATTN PRESIDENT
LAKEVILLE, MN 55044-7542                  P.O. BOX 4504                           10030 GREEN LEVEL CHURCH RD, STE 802-
                                          LAGOVISTA, TX 78645                     1260
                                                                                  CARY, NC 27519
IMAGINOVATION LLC Case 25-90163      Document  87 Filed in TXSB on 07/03/25 IMBEL
                                        [NAME REDACTED]                       Page  394 of 944
                                                                                  FMCE
8369 CREEDMOOR RD, STE 100               [ADDRESS REDACTED]                    RUA MONSENHOR MANUEL GOMES, 520
RALEIGH, NC 27613                                                              CAJU
                                                                               RIO DE JANEIRO 20931-673
                                                                               BRAZIL



IME OF CHINESE ACADEMY OF SCIENCES       IMEC TECHNOLOGIES INC                 IMEKS LLC
BEITUCHENG RD 3                          777 BRICKELL AVENUE 500-96015         ATTN SERGEY ROZANOV, DIRECTOR
BEIJING 100000                           MIAMI, FL 33131-2809                  RM H6, LETTER B, CHKALOVA STR 33A
CHINA                                                                          RYAZAN 390029
                                                                               RUSSIA



IMI LAGUNA (SUBCON) ENGG. PLAN           IMOTION SYSTEMS                       [NAME REDACTED]
NORTH SCIENCE AVENUE                     14175 W. INDIAN SCHOOL RD. STE. B4-   [ADDRESS REDACTED]
BINAN, LAGUNA 4024                       GOODYEAR, AZ 85395-8494
PHILIPPINES




IMPACT ANALYTICAL                        IMPACT LIGHTING INC                   IMPACT NETWORKING INDIANA LLC
ATTN PRESIDENT                           663 JACKSON AVE                       ATTN SR CONSULTANT
1910 W SAINT ANDREWS RD                  WINTER PARK, FL 32789                 13875 W BOULTON BLVD
MIDLAND, MI 48640                                                              LAKE FOREST, IL 60045




IMPACT PERFORMANCE LIGHTING LLC          IMPACT UNLIMITED INC                  IMPERIAL ELECTRIC COMPANY
ATTN GENE DAVIS                          ATTN CONTROLLER                       8 ASHLEY AVE
615 OBERLIN RD, STE 40                   250 RIDGE RD                          SANTA BARBARA, CA 93103
RALEIGH, NC 27605                        DAYTON, NJ 08810




IMPERIAL LIGHTING MAINTANANCE CO         IMPLANT CENTER INC                    IMPLANT SCIENCES CORP
ATTN SR SALES                            ATTN CEO                              ATTN PRESIDENT
4555 N ELSTON AVE                        2121 ZANKER RD                        107 AUDUBON RD
CHICAGO, IL 60630                        SAN JOSE, CA 95131                    WAKEFIELD, MA 01880




IMQ SPA                                  IMR TEST LABS                         IMS ENGINEERED PRODUCTS
ATTN GENERAL MGR                         ATTN VP - CORPORATE QUALITY           ATTN DIR OF SALES
VIA QUINTILIANO 43                       131 WOODSEDGE DR                      1 INNOVATION DR
MILANO 20138                             LANSING, NY 14882                     DES PLAINES, IL 60016
ITALY



IMS INDUSTRIAL MICRO SYSTEMS AG          IMS LIGHTING INC                      IMST GMBH
ATTN CEO                                 ATTN GM                               ATTN PRESIDENT
ZUERCHERSTRASSE 262                      18242 MCDURMOTT W, STE J              CARL-FRIEDRICH-GAUB-STR. 2-4
WINTERTHUR 8406                          IRVINE, CA 92614                      KAMP-LINTFORT 47475
SWITZERLAND                                                                    GERMANY



IMTEC ACCULINE LLC                       IMTECH INC                            IN TOUCH MARKETING CORP
ATTN PRESIDENT                           ATTN PRES                             ATTN PRESIDENT
49036 MILMOUNT DR                        2600 MALLARD GREEN COVE               3821 N 33RD ST
FREMONT, CA 94538                        AUSTIN, TX 78728                      PHOENIX, AZ 85018




INA USA                                  INABA ELECTRIC WORK CO LTD            INABATA AMERICA CORP
308 SPRINGHILL FARM RD                   ATTN SR ENGINEER                      ATTN PRESIDENT
FURT MILLS, SC 29715                     976, NISHIURA, HABIKINO               1270 AVE OF THE AMERICAS, STE 602
                                         OSAKA 583-0861                        NEW YORK, NY 10020
                                         JAPAN
INCAL TECHNOLOGY Case
                  INC   25-90163       Document
                                          INCLINE 87  Filed in TXSB
                                                  CONSTRUCTION INC  on 07/03/25 INCODEMA
                                                                                  Page 395
                                                                                         INC of 944
ATTN VP/GM                                 ATTN PRESIDENT                            ATTN SALES MGR
47613 WARM SPRINGS BLVD                    2503 E PETTIGREW ST                       407 CLIFF ST
FREMONT, CA 94539                          DURHAM, NC 27703                          ITHACA, NY 14850




INCOLUM LTD                                INCONTROL ENGINEERING LLC                 INCREASE COMPANY
26, 16-TH PARKOVAYA ST                     ATTN LLC MEMBER                           231 HAKE STREET
MOSCOW 105484                              7606 N 22ND PL                            FORT ATKINSON, WI 53538-1211
RUSSIA                                     PHOENIX, AZ 85020




IND INC.                                   INDAK MANUFACTORING CORP                  INDALUX ILUMINACION TECNICA SL
18110 SE 34TH STREET, BLDG 5               ATTN SALES MGR                            CARRETERA ARCAS REALES, S/N
VANCOUVER, WA 98683-9466                   1915 TECHNY RD                            VALLADOLID 47008
                                           NORTHBROOK, IL 60062                      SPAIN




INDATA DOO                                 INDELCO PLASTICS CORPORATION              INDEPENDENCE FIRST INC
ATTN CEO                                   ATTN CONTROLLER                           540 S 1ST
POVSETOVA 47                               6530 CAMBRIDGE ST                         MILWAUKEE, WI 53204-1605
LJUBLJANA SI-1000                          ST LOUIS PARK, MN 55426
SLOVENIA



INDEPENDENT BROKERAGE LLC                  INDEPENDENT ELECTRIC MACHINERY CO         INDEPENDENT TESTING LABORATORIES INC
                                           ATTN MANAGER                              ATTN PRESIDENT
                                           4425 OLIVER ST                            3386 LONGHORN RD
                                           KANSAS CITY, KS 66106                     BOULDER, CO 80302




INDIA INSTITUTE OF TECHOLOGY, MADRAS       INDIAN AUTOMATED DIE CASTING CO (P) LTD   INDIAN INSTITUTE OF TECHNOLOGY, THE
IIT PO                                     ATTN DIRECTOR                             IIT CAMPUS, HAUZ KHAS
CHENNAI 600 036                            E-9 SGM NAGAR, KC BADKHAL RD              NEW DELHI, DELHI 110016
INDIA                                      FARIDABAD                                 INDIA
                                           HARYANA 121001 INDIA



INDIANA DEPARTMENT OF LABOR                INDIANA DEPT OF ENVIRONMENTAL MGMT        INDIANA DEPT OF REVENUE
402 W. WASHINGTON ST                       INDIANA GOVERNMENT CENTER NORTH           100 EXECUTIVE DR STE B
ROOM W195                                  100 N SENATE AVE                          LAFAYETTE, IN 47905
INDIANAPOLIS, IN 46204                     INDIANAPOLIS, IN 46204-2251




INDIANA DEPT OF REVENUE                    INDIANA DEPT OF REVENUE                   INDIANA DEPT OF REVENUE
100 N SENATE IGCN                          105 E JEFFERSON BLVD STE 350              1200 MADISON ST STE E
RM N105                                    SOUTH BEND, IN 46601                      CLARKSVILLE, IN 47129
INDIANAPOLIS, IN 46204




INDIANA DEPT OF REVENUE                    INDIANA DEPT OF REVENUE                   INDIANA DEPT OF REVENUE
124 W SUPERIOR ST                          1411 E 85TH AVE                           1531 S CURREY PIKE
KOKOMO, IN 46901                           MERRILLVILLE, IN 46410                    STE 400
                                                                                     BLOOMINGTON, IN 47403




INDIANA DEPT OF REVENUE                    INDIANA DEPT OF REVENUE                   INDIANA DEPT OF REVENUE
30 N 8TH ST 3RD FL                         3640 N BRIARWOOD LN STE 5                 4475 RAY BOLL BLVD
TERRE HAUTE, IN 47807                      MUNCIE, IN 47304                          COLUMBUS, IN 47203
                   Case 25-90163
INDIANA DEPT OF REVENUE                Document
                                          INDIANA 87
                                                  DEPT Filed in TXSB on 07/03/25 INDIANA
                                                       OF REVENUE                  PageDEPT
                                                                                         396OFofREVENUE
                                                                                                 944
500 S GREEN RIVER RD                       7230 ENGLE RD., STE. 314              P.O. BOX 7218
STE 202, GOODWILL BLDG                     FT WAYNE, IN 46804                    INDIANAPOLIS, IN 46207-7218
EVANSVILLE, IN 47715




INDIANA DEPT OF WORKFORCE                  INDIANA MICROELECTRONICS LLC          INDIANA OFFICE OF THE ATTORNEY
DEVELOPMENT                                ATTN PRESIDENT                        GENERAL
INDIANA GOVERNMENT CTR SOUTH               1281 WIN HENTSCHEL BLVD               CONSUMER PROTECTION DIVISION
10 N SENATE AVE                            WEST LAFAYETTE, IN 47906              302 W WASHINGTON ST, 5TH FL
INDIANAPOLIS, IN 46204                                                           INDIANAPOLIS, IN 46204



INDIANA SECRETARY OF STATE                 INDIANA SECURITIES DIVISION           INDIANA UNIVERSITY OF PENNSYLVANIA
200 W. WASHINGTON ST.                      302 WEST WASHINGTON ST                ATTN PROVOST & VPAA
ROOM 201                                   ROOM E111                             1011 SOUTH DR
INDIANAPOLIS, IN 46204                     INDIANAPOLIS, IN 46204                INDIANA, PA 15705




INDIANAPOLIS METAL SPINNING COMPANY        INDICE SEMICONDUCTOR INC              INDIE ENERGY INC
ATTN PRESIDENT                             ATTN CTO                              ATTN PRESIDENT
1924 MIDWEST BLVD                          18840 SW BOONES FERRY RD, STE 315     226 WHITNEY RUN
INDIANAPOLIS, IN 46214                     TUALATIN, OR 97062                    BUDA, TX 78610




INDIUM CORPORATION CO LTD                  INDIUM CORPORATION OF AMERICA         [NAME REDACTED]
ATTN VP SOLDER PRODUCTS BUS UNIT           1676 LINCOLN AVE                      [ADDRESS REDACTED]
UNIT NO 14C, SUCHUN INDUSTRIAL SQ          UTICA, NY 13503-5312
NO 428 XINGLONG ST, SUZHOU INDL PARK
JIANGSU 215126 CHINA



INDRA SISTEMAS SA                          INDTOOL INC                           INDUCON INDUSTRIES LTD
ATTN DIR ENG OF PURCHASING PROC            412 BRADLEY STREET
AVENIDA DE BRUSELAS, 35, ALCOBENDAS        BURLINGTON, NC 27215-7242
MADRID 28108
SPAIN



INDUCTION CONSULTANTS INC                  INDUCTIV ENGINEERING LTD              INDUCTIVE AUTOMATION, LLC
ATTN PRESIDENT                             ATTN PRESIDENT                        90 BLUE RAVINE ROAD
2604 ELMWOOD AVE, STE 214                  209 SAGO COVE                         FOLSOM, CA 95630-4715
ROCHESTER, NY 14618                        SHERWOOD PARK, AB T8H 1A8
                                           CANADA



INDUCTOR SUPPLY INC                        [NAME REDACTED]                       INDUS TEQSITE
ATTN VP SALES                              [ADDRESS REDACTED]                    ATTN PROJ LEADER
5362 OCEANUS DR, A                                                               PLOT H9, 4TH MAIN RD SIPCOT IT PARK
HUNTINGTON BEACH, CA 92649                                                       SIRUSERI, RAJIV GANDHI SALAI
                                                                                 CHENNAI 603 103 INDIA



INDUSTEQ INC                               INDUSTRIA METALLI SRL                 INDUSTRIAL AIR SOLUTIONS INC
ATTN VICE PRESIDENT                        ATTN SALES MGR                        ATTN SALES MGR
12807 TRINITY DR                           VIA GARIBALDI, 21                     6212-A WESTGATE RD
STAFFORD, TX 77477                         BEDIZZOLE (BRESCIA) 25081             RALEIGH, NC 27617
                                           ITALY



INDUSTRIAL AUTOMATED SYSTEMS INC           INDUSTRIAL AUTOMATION SOLNS INC       INDUSTRIAL CHEMICALS INC
4189 DIXIE INN ROAD                        ATTN PRESIDENT                        ATTN VP SALES
WILSON, NC 27893-9000                      2077 S 116TH ST                       2540 BELLWOOD RD
                                           WEST ALLIS, WI 53227                  RICHMOND, VA 23237
                  CaseOF25-90163
INDUSTRIAL COMMISSION    ARIZONA    Document  87 CONTAINER
                                       INDUSTRIAL Filed in TXSB   on- NC
                                                           SERVICES    07/03/25
                                                                         LLC      Page 397
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                                                                                           DESIGN AND SERVICE
LABOR DEPARTMENT                        ATTN ACCT MGR                            COMPANY INC
800 W. WASHINGTON ST                    1540 S GREENWOOD AVE                     ATTN PRESIDENT
PHOENIX, AZ 85007                       MONTEBELLO, CA 90640                     7633 KNIGHTDALE BLVD, 117
                                                                                 KNIGHTDALE, NC 27545



INDUSTRIAL DISTRIBUTION GROUP INC       INDUSTRIAL FUEL COMPANY                  INDUSTRIAL FUEL COMPANY
ATTN DIR SALES                          ATTN PRESIDENT                           ATTN PRESIDENT
2100 THE OAKS PKWY                      118 5TH AVE NW                           1331-A EAST GARRISON BLVD
BELMONT, NC 28012                       HICKORY, NC 28601                        GASTONIA, NC 28054




INDUSTRIAL HYGIENE SCIENCES LLC         INDUSTRIAL MACHINE SOLUTIONS INC         INDUSTRIAL MEASURING TECHNOLOGY
ATTN OWNER                              ATTN OFFICE MGR                          CORP
602 FOX KNOLL DR                        3734 OVERLOOK RD                         ATTN VP N. AMERICAN SALES
WATERFORD, WI 53185                     RALEIGH, NC 27616                        6250 SYCAMORE LN N
                                                                                 MAPLE GROVE, MN 55369



INDUSTRIAL MOTION CONTROL LLC           INDUSTRIAL PACKING SUPPLIES INC          INDUSTRIAL SEARCH PARTNERS LLC
ATTN MGR PRODUCT APPS                   ATTN OUTSIDE SALES                       ATTN MG PARTNER
1444 S WOLF RD                          106 CONTENDER DR                         154 E AVE
WHEELING, IL 60090                      CLAYTON, NC 27520                        NORWALK, CT 06851




INDUSTRIAL SUPPLY SOLUTIONS INC         INDUSTRIAL TOWEL & UNIFORM INC           INDUSTRIAS ASTURIAS SA DE CV
ATTN VP                                 ATTN GENERAL MANAGER                     ATTN CHIEF EXECUTIVE OFFICER
804 JULIAN RD                           2700 S 160 ST                            CALLE SANTA LUCIA 102
SALISBURY, NC 28147                     NEW BERLIN, WI 53151                     COLONIA SANTA LUCIA
                                                                                 LEON, GTO 37490 MEXICO



INDUSTRIAS SELBOR SA DE CV              INDUSTRIAS UNIDAS SA DE CV               INDUSTRY DATA EXCHANGE ASSOC INC
ATTN PROJECTS ENGINEER                  ATTN LEGAL REP                           ATTN PRESIDENT
EJE 126, NO 219                         CARRETERA PANAMERICANA                   2900 CRYSTAL DR, STE 500
SAN LUIS POTOSI 78395                   MEXICO QUERETARO KILOMETRO 109           ARLINGTON, VA 22202
MEXICO                                  JOCOTITLAN, PASTEJE 50734 MEXICO



INELTRO AG                              INELTRO ELECTRONICS GMBH                 INER CONSULTORES
RIEDTHOFSTRASSE 100                     ATTN: WOLFGANG MARTINSCHITZ              ATTN DIRECTOR
REGENSDORF CH - 8105                    LAMEZANSTRASSE 10                        AV TERESA DE LA PARRA
SWITZERLAND                             VIENNA                                   QTA MI BALITA
                                        AUSTRIA                                  SANTA MONICA, CARCARCAS VENEZUELA



INERGI SUSTAINABLE SOLUTIONS LTD        INESC PORTO                              INFICON INC
ATTN GENERAL MANAGER                    CAMPUS DA FEUP                           HINTERGASSE 15B
10/F, MAN HING IND CENTRE               RUA DR ROBERTO FRIAS 378                 BAD RAGAZ SG 7310
4 YIP FAT ST                            PORTO 4200-465                           SWITZERLAND
WONG CHUK HANG HONG KONG                PORTUGAL



INFICON INC                             INFICON INC.                             INFINEON TECH CTR OF COMPETENCE
P.O. BOX 88133                          ATTN: JOHN BEHNKE                        (SHANGHAI) CO LTD
CHICAGO, IL 60695-1133                  TWO TECHNOLOGY PLACE                     NO 7 & 8, LANE 647, SONG TAO ROAD
                                        EAST SYRACUSE, NY 13057                  ZHANG JIANG HI-TECH PARK
                                                                                 PUDONG, SHANGHAI CHINA



INFINEON TECHNOLOGIES AG                INFINEON TECHNOLOGIES AG                 INFINEON TECHNOLOGIES AG
ATTN MARKUS HERMWILLE, DIR              ATTN: JEFF GOULD, DIRECTOR,              ATTN: MICHAEL VON EICKSTEDT; DR. HORST
MAX-PLANCK-STRASSE 5                    PROCUREMENT                              MEYER
WARSTEIN 59581                          GLOBAL CATEGORY MANAGEMENT               AM CAMPEON 1-12
GERMANY                                 101 N. PACIFIC COAST HIGHWAY             NEUBIBERG 85579
                                        EL SEGUNDO, CA 90245                     GERMANY
                 Case 25-90163
INFINEON TECHNOLOGIES                    Document  87
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                                                                  AMERICAS 07/03/25 INFINEON
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                                                                                             TECHNOLOGIES
AKTIENGESELLSCHAFT                           101 N SEPULVEDA BLVD                  ATTN KEL WHISNER
AM CAMPEON 1-15                              EL SEGUNDO, CA 90245                  18275 SERENE DR
NEUBIBERG 85579                                                                    MORGAN HILL, CA 95037
GERMANY



INFINEON TECHNOLOGIES AMERICAS CORP          INFINEON TECHNOLOGIES AUSTRIA AG      INFINEON TECHNOLOGIES NORDIC AB
NORTH AMERICA CORPORATION                    ATTN CEO                              ATTN FINANCE DIRECTOR
640 N MCCARTHY BLVD                          SIEMENSSTRASSE 2                      BOX 1297
MILPITAS, CA 95035-5113                      VILLACH A-9500                        KISTA 12964
                                             AUSTRIA                               SWEDEN



INFINEON TECHNOLOGIES NORTH AMERICA          INFINET RESULTS LLC                   INFINILUX CORP
ATTN GM                                      DBA WSI DIGITAL                       ATTN CEO
640 N MCCARTHY BLVD                          ATTN PARTNER                          1457 GLENN CURTISS AVE
MILPITAS, CA 95035                           1127 PRAIRIE DR, STE 200              CARSON, CA 90746
                                             RACINE, WI 53406



INFINILUX CORPORATION                        INFINILUX INC                         INFINILUX
ATTN PRES & CEO                              1457 GLENN CURTISS                    ATTN VP SALES & MKTG
5349 ZAMBRANO ST                             CARSON, CA 90746                      2030 E GLADWICK
COMMERCE, CA 90040                                                                 RANCHO DOMINGUEZ, CA 90220




INFINITE CONTROLS INC.                       INFINITE CORPORATE SOLUTIONS INC      INFINITE ELECTRONICS INTERNATIONAL
3803 HIGH MEADOW ROAD                        ATTN PRESIDENT                        17792 FITCH
CHAPEL HILL, NC 27514-6664                   1400 BATTLEGROUND AVE, STE 207-B      IRVINE, CA 92614-6020
                                             GREENSBORO, NC 27408




INFINITIUM FUEL CELL SYSTEMS LLC             INFINITY FIRE PROTECTION LLC          INFINITY SYSTEMS INC
ATTN DIR OF ENGINEERING                      ATTN PRESIDENT                        (A DIV OF MICRO COMP TECH INC)
2514 RIVER RD                                1000 FREEDOM DR                       ATTN CHRM/CEO
PIEDMONT, SC 29673                           RALEIGH, NC 27610                     7855 S RESEARCH DR, STE 114
                                                                                   TEMPE, AZ 86284



INFINITY TECH DISTR & CONSULT SVCS LLC       INFINITYQS INTL INC                   INFINTE GRAPHICS CORP
ATTN VP                                      ATTN CFO                              ATTN VP OF OPERATIONS
234 OVERHILL DR                              14900 CONFERENCE CTR DR               4611 E LAKE ST
MOORESVILLE, NC 28117                        CHANTILLY, VA 20151                   MINNEAPOLIS, MN 55406




INFLUENT CORP                                INFOCUS MARKETING INC                 INFOGENESIS
ATTN CEO                                     ATTN PRESIDENT                        1351 HOLIDAY HILL RD
10201 MAPLE LEAF CRT                         19706 ONE NORMAN BLVD, STE 157        GOLETA, CA 93111
ASHLAND, VA 23005                            CORNELIUS, NC 28031




INFONOW CORPORATION                          INFOR (US) INC                        INFORMA TECH LLC
DBA CHANNELINGISHT                           ATTN DIRECTOR, CONTRACTS              ATTN LEGAL DEPT
ATTN CFO                                     13560 MORRIS RD, STE 4100             101 PARAMOUNT DR, STE 100
1875 LAWRENCE ST, STE 1200                   ALPHARETTA, GA 30004                  SARASOTA, FL 34232
DENVER, CO 80202



INFORMATICA LLC                              INFORMATION BUILDERS INC              INFORMATIVE DESIGN PARTNERS INC
2100 SEAPORT BLVD                            11 PENN PLZ, FL 8                     ATTN VP
REDWOOD CITY, CA 94063-5596                  NEW YORK, NY 10001-2027               413 7TH ST NE, STE 202
                                                                                   CHAROLETTESVILLE, VA 22902
INFOSAPIENT INC   Case 25-90163       Document  87INC Filed in TXSB on 07/03/25 INFOSYS
                                         INFOSTAT                                 Page BPM
                                                                                        399LIMITED
                                                                                             of 944
ATTN BUSINESS MGR                         DBA K LAB CORPORATION                 HOSUR ROAD, BANGALORE
7777 GLADES RD, STE 100                   ATTN DIR ADV TECH                     ELECTRONIC CITY
BOCA RATON, FL 33434                      100 STRYKER LN, BLDG 3, STE 9         INDIA
                                          HILLSBOROUGH, NJ 08844



INFOSYS LIMITED                           INFRASCIENCE LLC                      ING EBRL STREET LIGHT ENGINEERING
ATTN: VENKAT SRINIVASAN                   ATTN CHIEF EXECUTIVE OFFICER          GMBH
PLOT NO. 44/97 A, 3RD CROSS, ELECTR       3440 PRESTON RIDGE RD                 ATTN CEO
BENGALURU, 10 560100                      ALPHARETTA, GA 30005                  RUSTER STRASSE 124
                                                                                EISENSTADT 7000
                                                                                AUSTRIA


INGALLS & SNYDER, LLC (0124)              [NAME REDACTED]                       INGEN SOFTWARE INC
ATT JOSEPH DI BUONO/PROXY MGR             [ADDRESS REDACTED]                    ATTN VICE PRESIDENT
1325 AV OF THE AMERICAS                                                         3022 HWY 367 S
18TH FL                                                                         CABOT, AR 72023
NEW YORK, NY 10019



INGENIERIA VIESCA SL                      INGENIOUS SOLUTIONS LLC               INGENIUM HR SOLUTIONS LLC
ATTN ADMIN                                23106 E MAYBERRY RD                   ATTN PRESIDENT
C/RUMANIA, 5-B2                           QUEEN CREEK, AZ 85142-4358            305 CHURCH ST
ALCALA DE HENARES                                                               SOLDIERS GROVE, WI 54655
MADRID 28802 SPAIN



INGERSOLL-RAND INDUSTRIAL U.S., INC       INGETEAM POWER TECHNOLOGY SA          INGINE SEMICONDUCTOR MATERIALS CO
525 HARBOUR PLACE, SUITE 600              ATTN DEPUTY DIRECTOR                  LTD
DAVIDSON, NC 28036                        PARQUE TECNOLOGICO DE BIZKAIA         ATTN SALES MGR
                                          EDIFICIO 106, ZAMUDIO                 RM 804, 8/F, FOTAN INDUSTRIAL CENTRE
                                          BIZKAIA 48170 SPAIN                   26-28 AU PUI WAN ST
                                                                                FOTAN, NT HONG KONG


[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                           INGUN USA, INC.                       INKRON LTD
[ADDRESS REDACTED]                        252 LATITUDE LANE, SUITE 105-106      ATTN CHAIRMAN
                                          LAKE WYLIE, SC 29710-8150             MICRONOVA, TIETOTIE 3
                                                                                ESPOO FIN-02150
                                                                                FINLAND



INKRON OY                                 INLAND VACUUM INDUSTRIES INC          INLED
ATTN VP OPERATIONS                        35 HOWARD AVENUE                      ATTN TECNICO
TEKNIIKANTIE 2                            CHURCHVILLE, NY 14428-8008            C/MURCIA 60-D
ESPOO 2150                                                                      SANT BOI DE LLOBREGAT
FINLAND                                                                         BARCELONA 08830 SPAIN



IN-LITE DESIGN BV                         [NAME REDACTED]                       INMAR INC
ATTN R&D ENGINEER                         [ADDRESS REDACTED]                    ATTN PRESIDENT
SOLINGENSTRAAT 31                                                               635 VINE ST
DEVENTER 7421 ZP                                                                WINSTON-SALEM, NC 27101
NETHERLANDS



INNER KAI LLC                             INNERSENSE                            INNOCEM KOREA CO LTD
ATTN TOM RUCKDASCHEL                      ATTN DIRECTOR                         ATTN PRESIDENT
22102 E 33RD TERRACE CT S                 19 HARTOM ST                          601, DAERUNG TECHNOTOWN-7
BLUE SPRINGS, MO 64015                    P.O. BOX 4530                         KASAN-DONG, KUMCHON-GU
                                          JERUSALEM 91044 ISRAEL                SEOUL 489-11 SOUTH KOREA
INNOLAS GMBH      Case 25-90163       Document
                                         INNOLUX87  Filed in TXSB on 07/03/25 INNOTEC
                                                 CORPORATION                    Page CORP
                                                                                      400 of 944
ATTN GENERAL MGR                          NO 160, KESYUE RD, JHUNAN SCIENCE PARK   ATTN HEAD OF PROD DEV
JUSTUS-VON-LIEBIG-RING 8                  MIAOLI COUNTY 35053                      441 E ROOSEVELT, STE 100
KRAILLING 82152                           TAIWAN                                   ZEELAND, MI 49464
GERMANY



INNOTRONICS INC                           INNOV LITE INDIA PVT LTD                 INNOVALIGHT INC
ATTN CHIEF EXECUTIVE OFFICER              ATTN DIRECTOR                            ATTN PRES
KEMPELEETIE 7B                            818 13TH CROSS 7TH BLOCK W               12024 VISA PARKE DR
OULU 90400                                JAYANAGER BANGALORE 560 082              AUSTIN, TX 78726
FINLAND                                   INDIA



INNOVATIA MEDICAL SYSTEMS LLC             INNOVATIONAL DIAMOND TECHNOLOGIES        INNOVATIVE CARBON GROUP LLC
ATTN CEO                                  1043 KAISER RD SW                        ATTN PRES & CEO
400 BEACH DR NE, STE 1404                 OLYMPIA, WA 98512                        717 FOREST AVE, STE 270
ST PETERSBURG, FL 33701                                                            LAKE FOREST, IL 60045




INNOVATIVE CERT TECH PLTNG LLC            INNOVATIVE CONCEPTS IN ENTERTAINMENT     INNOVATIVE DESIGN SOLUTIONS INC
DBA INCERTEC                              INC                                      2010 RTE 9W, STE 7
ATTN DIR OF SALES                         ATTN DIR OF SOFTWARE/APP DEV             MILTON, NY 12547
160 83RD AVE NE                           10123 MAIN ST
FRIDLEY, MN 55432                         CLARENCE, NY 14031-2164



INNOVATIVE ELECTRONIC SOLUTIONS LLC       INNOVATIVE FABRICATION INC               INNOVATIVE FEDERAL STRATEGIES, LLC
ATTN CTO                                  ATTN PRESIDENT                           511 C STREET NE
125-H INTERNATIONAL DR                    182 KITTY HAWK DR                        WASHINGTON, DC 20002-5809
MORRISVILLE, NC 27560                     MORRISVILLE, NC 27560




INNOVATIVE IDEAS AND DESIGNS LLC          INNOVATIVE LED TECHNOLOGIES S.L.         INNOVATIVE LIGHTING SYSTEMS INC
ATTN PRESIDENT                            ATTN FRED HOFFMAN                        ATTN STEVE CRANDALL
1210 E CAMPVILLE RD                       POLIGONO INDL EL REGAS CARRER DELS       801 W SOUTH BOUNDARY ST, STE A
ENDICOTT, NY 13760                        OFICIS                                   PERRYSBURG, OH 43551
                                          GAVA
                                          BARCELONA 08850 SPAIN


INNOVATIVE MICRO TECHNOLOGY INC           INNOVATIVE MICROWAVE DEVICES LLC         INNOVATIVE MICROWAVE DEVICES LLC
ATTN CEO                                  ATTN PRESIDENT                           ATTN PRESIDENT
75 ROBIN HILL RD                          19 VALLEY CROSSINGS CIR                  P.O. BOX 7172
GOLETA, CA 93117                          COCKEYSVILLE, MD 21030                   YORK, PA 17404




INNOVATIVE OFFICE PRODUCTS LLC            INNOVATIVE ORGANICS                      INNOVATIVE RESEARCH CENTER FOR
ATTN CFO                                  ATTN GM                                  SUSTAIN
100 KUEBLER RD                            4905 E HUNTER AVE                        ATTN EXEC DIRECTOR
EASTON, PA 18040                          ANAHEIM, CA 92807                        334 E BAY ST, 214
                                                                                   CHARLESTON, SC 29401



INNOVATIVE ROBOTICS                       INNOVATIVE SALES & MARKETING INC         INNOVATIVE SECURITY DESIGNS LLC
ATTN PRESIDENT                            DBA INTEGRATED SALES & MARKETING INC     ATTN CHIEF EXECUTIVE OFFICER
3241 KELLER ST                            ATTN PRESIDENT                           18 TECHNOLOGY DR, STE 134
SANTA CLARA, CA 95054                     125 ELECTRONICS BLVD SW, STE D           IRVINE, CA 92618
                                          HUNTSVILLE, AL 35824



INNOVATIVE TECHNOLOGIES CORP              INNOVENTA LLC                            INNOVION CORP.
ATTN PRESIDENT                            ATTN PRINCIPAL                           2121 ZANKER ROAD
201 INDUSTRIAL DR                         3741 E AHWATUKEE DR                      SAN JOSE, CA 95131-2109
HORICON, WI 53032                         PHOENIX, AZ 85044
INNOWAVE INC     Case 25-90163        Document  87TECHNOLOGIES
                                         INNOWIRE    Filed in TXSB
                                                               PV LTDon 07/03/25 INOMTECH
                                                                                   Page 401
                                                                                          INC of 944
ATTN PRESIDENT                            ATTN CHIEF EXECUTIVE OFFICER           ATTN PRODUCT MANAGER
30 DANIEL WEBSTER HYWY, STE 3             S-614 MANIPAL CENTRE, DICKENSON RD     681 MOUNTAIN RD
MERRIMACK, NH 03054                       BANGALORE 560-042                      WEST HARTFORD, CT 06117
                                          INDIA



INOTEC SICHERHEITSTECHNIK GMBH            [NAME REDACTED]                        INOVANCE
ATTN HEAD OF DEVT                         [ADDRESS REDACTED]                     INOVANCE HEADQUARTERS TOWER
AM BUSCHGARTEN 17                                                                HIGH-TECH INDUSTRIAL PARK
ENSE 59469                                                                       GUANLAN STREET
GERMANY                                                                          LONGHUA NEW DISTRICT, SHENZHEN CHINA



INOVAXE CORPORATION                       INOVIS USA INC                         INOVIS USA INC
260 SW 12TH AVENUE                        ATTN CONTRACTS MGR                     ATTN CONTRACTS MGR
DEERFIELD BEACH, FL 33442-3104            11720 AMBERPARK DR                     PKWY 400, 11720 AMBER PARK DR
                                          STE 100, PKWY 400                      ALPHARETTA, GA 30004
                                          ALPHARETTA, GA 30009-2271



INOVISION CORP                            INOVUS SOLAR INC                       IN-PLAST SRL
6521 ANGUS DR                             ATTN VP OF R&D                         VIA NAZIONALE, 180
RALEIGH, NC 27617                         1401 W IDAHO ST                        PONTE A MORIANO, LU 55100
                                          BOISE, ID 83702                        ITALY




INRESOL AB                                INRETECH                               INSACO
ATTN CHIEF EXECUTIVE OFFICER              ATTN OWNER                             1365 CANARY ROAD
HASSELGATAN 5                             465 NW GARIBALDI                       QUAKERTOWN, PA 18951-9006
GAVLE 80262                               HILLSBORO, OR 97124
SWEDEN



[NAME REDACTED]                           INSIDIX                                INSIGHT 2 DESIGN INC
[ADDRESS REDACTED]                        14 RUE HENRI DUNANT                    ATTN DIR OPERATIONS
                                          SEYSSINS 38180                         9142 W 135TH ST
                                          FRANCE                                 OVERLAND PARK, KS 66221




INSIGHT DEMAND CREATION, S.C.             INSIGHT DIRECT USA INC                 INSIGHT ENTERPRISES (SHANGHAI)
ATTN: JAIME MORALES, PRESIDENT            6820 SOUTH HARL AVE                    COMPANY LTD
AV. REAL ACUEDUCTO 360, 4TH FLOOR         TEMPE, AZ 85283-4318                   ROOM 606, NO. 1801 HONGMEI ROAD
PUERTA DE HIERRO, ZAPOPAN JALISCO                                                SHANGHAI 201500
45116                                                                            CHINA
MEXICO


INSIGHT GLOBAL LLC                        INSIGHT GLOBAL LLC                     INSIGHT LIGHTING INC
1224 HAMMOND DRIVE                        ATTN ACCT MGR                          ATTN MGR OF RESEARCH
ATLANTA, GA 30346-1537                    4208 SIX FORKS RD, STE 840             4341 FULCRUM WAY NE
                                          RALEIGH, NC 27609                      RIO RANCHO, NM 87143




INSIGHT TECHNOLOGY SOLUTIONS PTE LT       INSIGHT TELEVISION PRODUCTIONS LLC     INSITE SOLUTIONS LLC
16 COLLYER QUAY                           4171 HILLSBORO BLVD                    ATTN MG DIRECTOR
24-03/04                                  COCONUT CREEK, FL 33073                3650 ROGERS RD, 298
SINGAPORE 49318                                                                  WAKE FOREST, NC 27587
SINGAPORE



INSITU ARCHITECTURE                       INSOURCE SOFTWARE SOLUTIONS            INSPECTROLOGY LLC
ATTN PRINCIPAL ARCHITECT                  11321 BUSINESS CENTER DRIVE            35 UPTON DRIVE
123 W MILLS AVE, STE 410                  RICHMOND, VA 23236-3069                WILMINGTON, MA 01887
EL PASO, TX 79901
INSPEX INC         Case 25-90163     Document  87LLCFiled in TXSB on 07/03/25 INST
                                        INSPIRAGE                               Page   402 of 944
                                                                                   OF ELECTRICAL ENGINEERING SAS
ATTN DIR OF SALES & MKTG                 ATTN VP SOLUTIONS MGMT                 DUBRAVSKA CESTA 9
47 MANNING RD                            600 108TH AVE NE, STE 540              BRATISLAVA 841 04
BILLERICA, MA 01821                      BELLEVUE, WA 98004                     SLOVAKIA




INST OF ELECTRONIC MATERIALS TECH, THE   INST OF MICROWAVE ENGINEERING          INST OF SPACE & ASTRONAUTICAL SCI JAXA
ATTN DIRECTOR                            INFFELDGASSE 12/451                    3-1-1, YOSHINODAI, CHUO KU
WOLCZYNSKA 133                           GRAZ 8010                              SAGAMIHARA, KANAGAWA 252-5210
WARSAW 00-854                            AUSTRIA                                JAPAN
POLAND



INST. OF ELECTRICAL & ELECTRONICS        INSTA ELEKTRO GMBH                     INSTEL POWER PRODUCTS
3 PARK AVENUE                            ATTN MG DIRECTOR                       303 GREER DRIVE
17TH FLOOR                               WEFELSHOHLER STRASSE 35                SIMPSONVILLE, SC 29681-6118
NEW YORK, NY 10016-5997                  LUDENSCHEID 58511
                                         GERMANY



INSTITUT FUR THEORETISCHE-               INSTITUT NATIONAL POLYTECHNIQUE DE     INSTITUTE FOR INFOCOMM RESEARCH
ELEKTROTECHNIK DER RWTH AACHEN           TOULOUSE                               ATTN EXEC DIR
ATTN DIRECTOR                            ATTN PRES                              1 FUSIONOPOLIS WAY, 21-01 CONNEXIS
KOPERNIKUSSTRASSE 16                     6 ALLEE EMILE MONSO, BP34038           SINGAPORE 138632
AACHEN 52074 GERMANY                     TOULOUSE CEDEX 7 31071                 SINGAPORE
                                         FRANCE


INSTITUTE FOR PLASMA RESEARCH            INSTITUTE OF ELECTRICAL & OPTICAL      INSTITUTE OF MICROELECTRONIC CAD -
AHMEDABAD - GANDHINAGAR RD, GIDC BHAT    COMMUNICATIONS-                        HANGZHOU DIANZI UNIVERSITY
BHAT, AHMEDABAD                          ENGINEERING, UNIVERSITY OF STUTTGART   2 RD, XIASHA HIGHER EDUCATION ZONE
GUJARAT 382428                                                                  HANGZHOU 310018
INDIA                                                                           CHINA



INSTITUTE OF MICROWAVE & PHOTONIC        INSTITUTE OF SEMICONDUCTOR PHYSICS     INSTITUTIONAL INVESTOR, LLC
UNIVERSITY OF LEEDS, UK                  41, NAUKY AVE                          1270 AVENUE OF THE AMERICAS, SUITE
                                         KYIEV 02000                            NEW YORK, NY 10020-1700
                                         UKRAINE




INSTITUTIONAL SHAREHOLDER SERVICES       INSTITUTO DE TELECOMUNICACOES          INSTITUTO MILITAR DE ENGENHARIA
ATTN EVP, GEN MGR, CORP SVS              ATTN MEMBER BOARD DIR                  PRACA GENERAL TIBURCIO, 80
2099 GAITHER RD, STE 501                 CAMPUS UNIVERSITARIO DE SANTIAGO       PRAIA VERMELHA, URCA
ROCKVILLE, MD 20850-4045                 AVEIRO 3810-193                        RIO DE JANEIRO 22290-270
                                         PORTUGAL                               BRAZIL



INSTITUTO POLITECNICO NACIONAL           INSTRON CORPORATION                    INSTRON DBA ILLINOIS TOOL WORKS
ATTN COORDINATOR                         ATTN ACCOUNT REP                       75 REMITTANCE DRIVE
MIGUEL OTHON DE MENDIZABAL S/N           825 UNIVERSITY AVE                     CHICAGO, IL 60675-1001
COL LA ESCALERA, GUSTAVO A MADERO        NORWOOD, MA 02062
DISTRITO FEDERAL 07320 MEXICO



INSTRUMART                               INSTRU-MEASURE INC                     INSTRUMENT & VALVE SERVICES CO
35 GREEN MOUNTAIN DRIVE                  ATTN PRESIDENT                         ATTN DIR OF ROSEMOUNT LIFECYCLE SVCS
SOUTH BURLINGTON, VT 05403-7824          9191 WINKLER, STE E                    8200 MARKET BLVD
                                         HOUSTON, TX 77017                      CHANHASSEN, MN 55317




INSTRUMENT DESIGN                        INSTRUMENT SYSTEMS CANADA              INSTRUMENT SYSTEMS GMBH
ATTN PRESIDENT                           ATTN PRES                              ATTN INTERNATIONAL SALES MGR
4760 CALLE CAMARADA                      1960 SCOTT ST, STE 302                 NEUMARKTER STR, 83
SANTA BARBARA, CA 93110                  OTTAWA, ON K1Z8L8                      MUNICH 81673
                                         CANADA                                 GERMANY
                 Case
INSTYTUT TECHNOLOGII    25-90163
                     MATERIALOW       Document  87 SERVICES,
                                         INSULATING Filed inINC.
                                                             TXSB on 07/03/25 INSULATION
                                                                                Page 403    of 944 INC
                                                                                         DISTRIBUTORS
ELEKTRONICZYNYCH                          10709 GRANITE ST, SUITE H           ATTN JOSEPH F NOVOGRATZ, PRESIDENT
133 WOLCZYNSKA STR                        CHARLOTTE,, NC 28273-0596           327 HILLSBOROUGH ST
WARSAW 01-919                                                                 RALEIGH, NC 27603-1725
POLAND



INSULATION DISTRIBUTORS INC               INSULFAB PLASTICS INC               INSURANCE PEOPLE OF NC INC
ATTN JOSEPH F NOVOGRATZ, PRESIDENT        ATTN PCB TOOLING MGR                ATTN VP AGENCY MGR
8303 AUDUBON RD                           834 HAYNE ST                        1920 FRONT ST
CHANHASSEN, MN 55317                      SPARTANBURG, SC 29301               DURHAM, NC 27705




INSURETRUST.COM                           INT EX SRL                          INTACT INSURANCE GROUP USA LLC
ATTN BRIAN NORMAN                         ATTN LEGAL REP                      ATTN RISK CONTROL DIRECTOR
5185 PEACHTREE PKWY, STE 230              VIA L LAMA 1                        605 HWY 169 N, STE 800
NORCROSS, GA 30092                        CADELBOSCA DI SOPRA                 PLYMOUTH, MN 55441
                                          REGGIO EMILIA 42023 ITALY



INTAV SRL                                 INTECHWAVE CO LTD                   INTEGRA REALTY COMPANY
VIA QUATRO NEGRONI 61                     ATTN ASST RESEARCH ENGINEER         DBA INTEGRA REALTY RESOURCES
ARICCIA ROMA 00040                        501 ACE TECHNO-TOWER I              ATTN MANAGING DIR
ITALY                                     197, GURO-DONG, GURO-GU             214 W TREAMONT AVE, STE 200
                                          SEOUL 152-868 SOUTH KOREA           CHARLOTTE, NC 28203



INTEGRA TECHNOLOGIES SILICON VALLEY       INTEGRA TECHOLOGIES LLC             INTEGRAL POWERTRAIN LTD
1635 MCCARTHY BLVD                        3450 N ROCK ROAD 100                ATTN CHIEF ENGINEER
MILPITAS, CA 95035                        BEL AIRE, KS 67226-1351             DENBIGH RD, BLETCHLEY, MILTON KEYNES
                                                                              BUCKINGHAMSHIRE MK1 1BD
                                                                              UNITED KINGDOM



INTEGRAL SYSTEMS ENGINEERING INC          INTEGRASERV INC                     INTEGRATED CIRCUIT DESIGNS INC
1244 COMMERCE AVENUE                      7339 WEST FRIENDLY AVENUE SUITE A   ATTN PRESIDENT
WOODLAND, CA 95776-5902                   GREENSBORO, NC 27410-6391           3223-A CORPORATE CT
                                                                              ELICOTT CITY, MD 21042




INTEGRATED CIRCUIT PACKAGING CORP         INTEGRATED CONTROL SOLUTIONS LLC    INTEGRATED DEFENSE SYSTEMS INC
DBA COASTAL CIRCUITS                      ATTN OWNER                          ATTN CO MANAGING DIR
1602 TACOMA WY                            6031 HAWS SHOP TRAIL                781 FAR HILLS DR, STE 800
REDWOOD CITY, CA 94063                    HANOVER, VA 23069                   NEW FREEDOM, PA 17349




INTEGRATED DESIGN PA                      INTEGRATED DEVICE TECHNOLOGY INC    INTEGRATED EQUIPMENT SOLUTIONS LLC
111 OBERLIN ROAD                          ATTN VP & CFO                       ATTN PARTNER
RALEIGH, NC 27605-1136                    6024 SILVER CREEK VALLEY RD         4 HEMLOCK RD
                                          SAN JOSE, CA 95138                  KINGSTON, NH 03848




INTEGRATED EQUIPMENT SOLUTIONS            INTEGRATED ID SYSTEMS INC           INTEGRATED ILLUMINATION SYSTEMS INC
4 HEMLOCK ROAD                            ATTN GENERAL MANAGER                ATTN SUPPLY CHAIN MGMT
KINGSTON, NH 03848-3421                   1150 E CREWS RD                     355 BANTAM LAKE RD
                                          MATTHEWS, NC 28105                  MORRIS, CT 06763




INTEGRATED INDUSTRIAL                     INTEGRATED INFORMATION SYSTEMS      INTEGRATED MICRO-ELECTRONICS INC
SERVICES, INC DBA INSERV                  460 BOARDWALK DR                    ATTN DAVID CORRY
121 DICKENS ROAD                          YOUNGSVILLE, NC 27596-3318          9604 N 132ND PL
FUQUAY-VARINA, NC 27526-8302                                                  SCOTTSDALE, AZ 85259
                  Case 25-90163
INTEGRATED MICRO-ELECTRONICS   INC    Document   87 MICRO-ELECTRONICS
                                         INTEGRATED  Filed in TXSB onINC07/03/25 INTEGRATED
                                                                                   Page 404    of 944
                                                                                             MICRO-ELECTRONICS, INC.
N SCIENCE AVE, SPECIAL EXPORTING ZONE    NORTH SCIENCE AVENUE LAGUNA TECHNOP     ATTN: ANDREW CARREON
LAGUNA TECHNOPARK                        BINAN 4024                              NORTH SCIENCE AVENUE
BINAN, LAGUNA                            PHILIPPINES                             BO, BINAN LAGUNA 4024
PHILIPPINES                                                                      PHILIPPINES



INTEGRATED PARTNER SOLUTIONS INC         INTEGRATED POWER SERVICES LLC            INTEGRATED PROJECT SERVICES LLC
ATTN VP                                  ATTN VP & CORP CONTROLLER                SPRINGTIDE
P.O. BOX 277                             250 EXECUTIVE CENTER DR, STE 201         721 ARBOR WAY
HAMMOND, WI 54015                        GREENVILLE, SC 29615                     BLUE BELL, PA 19422




INTEGRATED ROOFING LLC                   INTEGRATED SERVICE TECHNOLOGY INC.       INTEGRATED SYSTEM TECHNOLOGIES
ATTN OWNER                               P.O. BOX 1055                            ATTN SALES DIRECTOR
612 MARTIN AVE                           E BROWKAW RD                             BIRCH HOUSE, STE 5, BIRCH LN, ALDRIDGE
FOND DU LAC, WI 54935                    STE 30 141                               WEST MIDLANDS WS9 0NF
                                         SAN JOSE, CA 95131                       UNITED KINGDOM



INTEGRATED TECHNOLOGIES CO               INTEGRATED TECHNOLOGY CORP               INTEGRITECH SALES & SERVICE
ATTN PRESIDENT                           ATTN VP & TECHNICAL DIR                  ATTN OWNER
5012 MEDICAL CENTER CIR                  1228 N STADEM DR                         15-2691 MANINI ST
ALLENTOWN, PA 18106                      TEMPE, AZ 85281                          PAHOA, HI 96778




INTEGRITY TECHNICAL SALES LLC            INTEGRITY                                INTEK PLASTICS INC
ATTN PRESIDENT                           ATTN DAVE WILHELM, OWNER                 ATTN COO
79 WILLIAM FEATHER DR                    2252 ARROWLEAF HILLS DR                  1000 SPIRAL BLVD
VOORHEES, NJ 08043                       BOZEMAN, MT 59715-9207                   HASTINGS, MN 55033




INTEL CORPORATION                        INTELAPORT NETWORKS INC                  INTEL-DIAMOND LLC
ATTN VP                                  ATTN CFO                                 ATTN PRESIDENT
2200 MISSION COLLEGE BLVD                18 HAWTHORN ST                           1420 CYPRESS CREEK RD, STE 200/404
SANTA CLARA, CA 95052                    BELLEVILLE, ON K8P 5M5                   CEDAR PARK, TX 78613
                                         CANADA



INTELEX TECHNOLOGIES INC                 INTELEX TECHNOLOGIES INC                 INTELLECT TECH CORP PVT LTD
ATTN BRYDEN WAGGOT                       ATTN CFO                                 ATTN RF DESIGN ENGR
366 ADELAIDE ST W, STE 100               70 UNIVERSITY AVE, 800                   H.NO 8-3-319/8/4, S-4, SRI NALAYAM
TORONTO, ON M5V 1R9                      TORONTO, ON M5J 2M4                      APTS YOUSUFGUDA
CANADA                                   CANADA                                   HYDERABAD 500073 INDIA



INTELLECTUAL ASSET GROUP LLC             INTELLECTUAL CAPITAL GROUP GMBH          INTELLECTUAL CAPITAL RESOURCES LTD
ATTN MANAGING DIR                        ROTTMANNSTRASSE 5                        7710 N FM 620
31555 WEST 14 MILE RD, STE 215           MUNICH 80333                             BLDG 13-D
FARMINGTON HILLS, MI 48334               GERMANY                                  AUSTIN, TX 78726




INTELLICOM, INC                          INTELLIGENT OPTICAL SYSTEMS INC          INTELLIGENT SOLUTIONS
2902 SOUTH MIAMI BLVD                    ATTN ENGINEERING MANAGER                 ATTN CHIEF EXECUTIVE OFFICER
DURHAM, NC 27703-9042                    2520 W 237TH ST                          SONDERTOFTEN 20
                                         TORRANCE, CA 90505                       TAASTRUP DK2630
                                                                                  DENMARK



INTELLIGROUP INC                         INTELLILIGHT CORP                        INTELLINET CORP
ATTN CFO                                 ATTN COO                                 ATTN CFO
499 THORNALL, 11TH FL                    ONE MARKET ST, SPEAR TOWER, STE 3574     2 CONCOURSE PKWY, STE 100
EDISON, NJ 08837                         SAN FRANCISCO, CA 94105                  ATLANTA, GA 30328
                  Case 25-90163
INTELLISHARE ENVIRONMENTAL INC.    Document   87 Filed
                                      INTELLISHARE       in INC
                                                   LEASING   TXSB on 07/03/25 INTEMATIX
                                                                                Page 405   of 944
                                                                                        CORP
1422 INDIANHEAD DRIVE E                ATTN VP                                   ATTN CFO
MENOMONIE, WI 54751-8524               1422 INDIANHEAD DR E                      46430 FREMONT BLVD
                                       MENOMONIE, WI 54751                       FREMONT, CA 94538




INTEMATIX INC                          INTENCITY LIGHTING INC                    INTENSE LIGHTING INC
ATTN CHIEF SCIENTIST                   ATTN PRESIDENT                            ATTN VP MKTG
46410 FREMONT BLVD                     22922 N HWY 7                             2861 E LAPALMA AVE
FREMONT, CA 94538                      DARDANELLE, AR 72834                      ANAHEIM, CA 92806




INTENSE LIGHTING LLC                   INTER ELECTRIC INSTALLATIONS (1983) LTD   INTERACTIVE BROKERS (0534)
ATTN PRESIDENT                                                                   ATT KARIN MCCARTHY/PROXY DEPT
3340 E LA PALMA AVE                                                              2 PICKWICK PLAZA, 2ND FL
ANAHEIM, CA 92806                                                                GREENWICH, CT 06830




INTERCARGO BROKERS LLC                 INTERCONNECT DEVICES INC                  INTERCONTINENTAL GRAND STANFORD
825 UNION PACIFIC BLVD                 ATTN DIR OF NA SALES                      HONG KONG
LAREDO, TX 78045                       5101 RICHLAND AVE                         70 MODY RD, EAST TSM
                                       KANSAS CITY, KS 66106                     SHA TSUI
                                                                                 KOWLOON
                                                                                 HONG KONG


INTERDIGITAL INC                       INTERFACE AMITA SOLUTIONS INC             INTERFACESOLUTIONS INC
ATTN ASSOC GENERAL COUNSEL             ATTN PRES & CEO                           1806 INDIAN TRAIL
200 BELLEVUE PARKWAY, STE 300          2033 GATEWAY PL, STE 500                  ROWLETT, TX 75088-1538
WILMINGTON, DE 19809                   SAN JOSE, CA 95110




INTERFEROMETRICS INC                   INTERFOS LIGHTING INSTRUMENTS             INTER-GLOBAL INC
8150 LEESBURG PIKE                     ATTN MANAGING DIRECTOR                    ATTN PRESIDENT
VIENNA, VA 22314                       40-42 KARATHEODORI STR                    6333 ETZEL AVE
                                       NEW PSYCHIKO                              ST LOUIS, MI 63133
                                       ATHENS 11525 GREECE



INTERGRATED DISPENSING SOLUTIONS       INTERGROUP                                INTERILUM MAQUIACERO
ATTN CHIEF EXECUTIVE OFFICER           3500 AV DAS AMERICAS                      CALLE 3-12, FRACC. IND BENITO JUAREZ
5311 DERRY AVE, BLDG D                 CONDOMINIO LE MONDE OFFICE                FELG FELIZ OSOREZ
AGOURA HILLS, CA 91301                 BLDG 04, SALA 701, BARRA DA TIJUCA        QUERETARO 76120
                                       RIO DE JANIERO, RJ 22631-003 BRAZIL       MEXICO



INTERIM CONNEXIONS                     INTERIOR AB CONSTRUCTION INC              INTERIOR AB CONSTRUCTION INC
4011 WESTCHASE BLVD                    ATTN ANTONIO LLANES-REYES, PRESIDENT      ATTN ANTONIO LLANES-REYES, PRESIDENT
RALEIGH, NC 27607                      2400 HUFFINE MILL RD                      4449 BURLINGTON RD, LOT 62
                                       MCLEANSVILLE, NC 27301                    GREENSBORO, NC 27405




INTERIOR ARCHITECHS INC                INTERIOR ARCHITECTS                       INTERIOR MOTIVES CONTRACTING CORP
500 SANSOME STREET 8TH FLOOR           615 S. COLLEGE ST. 725                    ATTN SR PROJECT MGR
SAN FRANCISCO, CA 94111-3224           CHARLOTTE, NC 28202                       2005 CITATION DR
                                                                                 GARNER, NC 27529




INTERIORS UNLIMITED INC                INTERIORS UNLIMITED                       INTER-LAKES BASES INC
ATTN PRES                              ATTN VICE PRESIDENT                       ATTN PROJECT COORDINATOR
P.O. BOX 699                           2810 FRANKLIN RD                          17480 MALYN BLVD
HILLSBOROUGH, NC 27278                 HILLSBOROUGH, NC 27278                    FRASIER, MI 48026
INTERLED SOUNDS &Case
                  VISIONS25-90163
                          SLU          Document   87BRANDS
                                          INTERLINE   FiledINC
                                                             in TXSB on 07/03/25 INTERMATIC
                                                                                   Page 406 INCof 944
C GREMI DE TINTOREROS 43                   ATTN DIR OF MERCHANDISING               ATTN VP RESEARCH & DEV
PALMA DE MALLORCA 7009                     701 SAN MARCO BLVD                      INTERMATIC PLZ
SPAIN                                      JACKSONVILLE, FL 32207                  SPRING GROVE, IL 60081




INTERNAL REVENUE SERVICE LOCAL OFFICE      INTERNAL REVENUE SERVICE LOCAL OFFICE   INTERNAL REVENUE SERVICE LOCAL OFFICE
21309 BERLIN RD UNIT 13                    600 ARCH STREET                         611 S. DUPONT HWY
GEORGETOWN, DE 19947                       PHILADELPHIA, PA 19106                  DOVER, DE 19904




INTERNAL REVENUE SERVICE LOCAL OFFICE      INTERNAL REVENUE SERVICE                INTERNATIONAL BUSINESS CENTER
844 KING ST                                P.O. BOX 7346                           30 CANTON RD
WILMINGTON, DE 19801                       PHILADELPHIA, PA 19101-7346             SILVERCORD, TOWER II, STE 1111
                                                                                   TSIMSHATSUI
                                                                                   KOWLOON HONG KONG



INTERNATIONAL BUSINESS MACHINES CORP       INTERNATIONAL BUSINESS MACHINES CORP    INTERNATIONAL BUSINESS MACHINES CORP
ATTN CHIEF PATENT COUNSEL                  ATTN NANOELECTRONICS PROG MGR           P.O. BOX 643600
1 N CASTLE DR                              1101 KITCHAWAN RD, RTE 134              PITTSBURGH, PA 15264-3600
ARMONK, NY 10504                           YORKTOWN HEIGHTS, NY 10598




INTERNATIONAL CENTRE FOR DIFFRACTION       INTERNATIONAL CERAMICS ENGINEERING      INTERNATIONAL DEVELOPMENT CORP
DATA                                       235 BROOKS ST                           ATTN CEO
12 CAMPUS BLVD                             WORCESTER, MA 01606-3307                899 HENRIETTA CREEK RD
NEWTOWN SQUARE, PA 19073                                                           ROANOKE, TX 76262-6309




INTERNATIONAL DISPLAY CONSORTIUM INC       INTERNATIONAL ELECTRIC SUPPLY CORP      INTERNATIONAL LEED & SOLAR
ATTN PRES                                  14951 DALLAS PKWY, STE 1000             TECHNOLOGIES
410 WINKLER DR, STE B                      DALLAS, TX 75254                        ATTN MNG
ALPHARETTA, GA 30004                                                               20/A, 1/10, KALMAR JOZSEF UTCA
                                                                                   KISKUNFELEGYHAZA 6100
                                                                                   HUNGARY


INTERNATIONAL MANUFACTURING                INTERNATIONAL PAPER CO                  INTERNATIONAL POLYMER SOLUTIONS INC
SERVICES INC                               ATTN GENERAL MANAGER                    5 STUDEBAKER
50 SCHOOLHOUSE LANE                        6400 POPULAR AVE                        IRVINE, CA 92618-2013
PORTSMOUTH, RI 02871-2435                  MEMPHIS, TN 38197




INTERNATIONAL RECTIFIER CORPORATION        INTERNATIONAL RESISTIVE COMPANY         INTERNATIONAL SEAL/SIMRIT DIVISION
ATTN VP, RESEARCH & DEV                    ATTN BUS UNIT DIR                       (FREUDENBERG-NOK)
233 KANSAS ST                              4222 S STAPLES ST                       ATTN VP - BUS DEVELOPMENT
EL SEGUNDO, CA 90245                       CORPUS CHRISTI, TX 78411                2041 E WILSHIRE AVE
                                                                                   SANTA ANA, CA 92705



INTERNATIONAL SOS ASSISTANCE INC           INTERNATIONAL TEST SOLUTIONS INC        INTERNATIONAL VENDING MANAGEMENT INC
3600 HORIZON BLVD, STE 300                 ATTN VP APPLICATIONS                    ATTN DIRECTOR OF OPERATIONS
FEASTERVILLE TREVOSE, PA 19053-4949        1595 MEADOW WOOD LN                     9901 E 30TH ST
                                           RENO, NV 89502                          INDIANAPOLIS, IN 46229




INTERNATIONAL ZINC ASSOCIATION             INTERNET CREATIONS 2000 LLC             INTERNIX INCORPORATED
ATTN AR, TMD                               ATTN CHAD MEYER, DIR                    ATTN TOSHIO HORI, DIR NEW BUS DEV
1822 E NC HWY 54, STE 120                  2000 WATERVIEW DR, STE 100              6-5-1 NISHI-SHINJUKU
DURHAM, NC 27713                           HAMILTON, NJ 08691                      SHINJUKU-KU
                                                                                   TOKYO 163-1378 JAPAN
                  Case
INTERPLEX ENGINEERED     25-90163
                       PRODUCTS INC   Document
                                         INTERSIL87  Filed in TXSB on 07/03/25 INTERSTATE
                                                  CORP                           Page 407   of 944 SERVICES CORP
                                                                                          ELECTRICAL
ATTN VP - SALES                           ATTN DIRECTOR OF CONTRACTS                ATTN PRESIDENT
231 FERRIS AVE                            1001 MURPHY RANCH RD                      70 TREBLE COVE RD
E PROVIDENCE, RI 02916                    MILPITAS, CA 95035                        NORTH BILLERICA, MA 01862




INTERSURFACE DYNAMICS INC                 INTERTEK AGEUS SOLUTIONS                  INTERTEK TESTING SERVICES NA INC
ATTN VICE PRESIDENT SALES                 1223 MICHAEL ST. N                        8431 MURPHY DR
21 FRANCIS J CLARKE CIR                   OTTAWA, ON K1J 7T2                        MIDDLETON, WI 53562
P.O. BOX 181                              CANADA
BETHEL, CT 06801



INTERTEK TESTING SERVICES NA INC          INTERTEK TESTING SERVICES NA LTD          INTERTEK TESTING SERVICES
ATTN SALES                                6225 KENWAY DR                            1809 10TH STREET SUITE 400
165 MAIN ST                               MISSISSAUGA, ON L5T 2L3                   PLANO, TX 75074-8009
CORTLAND, NY 13045




INTERTEK TRADING AG                       INTERTEK USA INC                          INTERTRUST (LUXEMBOURG) S.AR.I
ATTN GENERAL MANAGER                      DBA INTERTEK PLASTICS TECH LABS           6 RUE EUGENE RUPPERT
HUFGASSE 11                               50 PEARL ST                               LUXEMBOURG 2453
ZURICH CH-8008                            PITTSFIELD, MA 01201                      LUXEMBOURG
SWITZERLAND



INTERUNIVERSITAIR MICRO ELECTRONICA       INTERWORLD HIGHWAY LLC                    INTERWOVEN INC
CENTRUM VZW                               TEQUIPMENT.NET                            ATTN DIR OF CORP SALES
ATTN PRESIDENT & CEO                      205 WESTWOOD AVE                          803 11TH AVE
KAPELDREEF 75                             LONG BRANCH, NJ 07740-6564                SUNNYVALE, CA 94089
LEUVEN 3001
BELGIUM


INTEST EMS LLC                            INTEST SILICON VALLEY CORPORATION         [NAME REDACTED]
804 EAST GATE DRIVE SUITE 200             ATTN OFFICER & GM                         [ADDRESS REDACTED]
MT. LAUREL, NJ 08054-1209                 7 ESTERBROOK LN
                                          CHERRY HILL, NJ 08003




INTILED OOO                               INTITUTE OF ELEC, COMM & INFO TECH, THE   INTL FCSTONE FIN, INC. (0750)
ATTN HEAD OF R&D                          NORTHERN IRELAND SCIENCE PARK             ATT KEN SIMPSON OR PROXY MGR
NAB RIV VOLKOVKA, 17                      QUEENS RD, QUEENS ISLAND                  2 PERIMETER PARK,
SAINT PETERSBURG 192007                   BELFAST BT39DT                            STE 100W
RUSSIA                                    UNITED KINGDOM                            BIRMINGHAM, AL 35209



INTL RECTIFIER CORP ITALIANA SPA          INTL RESISTIVE CO OF TEXAS LP             INTOUCH TRANSPORTATION CO LTD
ATTN R&D DIRECTOR                         BUS UNIT DIR, THICK FILM                  ATTN ADMIN MGR
VIA LIGURIA 49                            4222 S STAPLES                            21-33 TAI LIN PAI RD
BORGARO 10071                             CORPUS CHRISTI, TX 78411                  KWAI CHUNG, NT
ITALY                                                                               HONG KONG



INTRA LIGHTING DOO                        INTRACOM SA DEFENSE ELECTRONIC            INTRALINKS INC
ATTN TECH DIRECTOR                        SYSTEMS                                   ATTN CFO
MIREN 137B                                ATTN CONTRACTS DIR                        150 E 42ND ST, 8TH FLOOR
MIREN 5291                                21 KM MARKOPOULOU AVE                     NEW YORK, NY 10017
SLOVENIA                                  KOROPI 19400
                                          GREECE


INTREXIS AG                               INTRIGUE LIGHTING LLC                     INTRINSIC SEMICONDUCTOR CORP
ATTN SR DESIGN ENGINEER                   ATTN VP CHIPS & MATERIALS                 ATTN PRESIDENT
TOBELRAASTRASSE 4                         N60 W14592 KAUL AVE                       22660 EXECUTIVE DR, STE 101
NEUHAUSEN AM RHEINFALL                    MENORNEE FALLS, WI 53051                  DULLES, VA 20166
SCHAFFHAUSEN CH-8212 SWITZERLAND
                  Case
INTRINSIQ MATERIALS INC 25-90163   Document   87CORP
                                      INTRINSIX    Filed in TXSB on 07/03/25 INTROLINES
                                                                               Page 408    of 944 (HK) LTD
                                                                                        INDUSTRIAL
ATTN VICE PRESIDENT                    ATTN CTO                                ATTN SALES & MKTG MGR
1200 RIDGEWAY AVE                      100 CAMPUS DR                           UNIT A-B, 18/F, CAPITAL TRADE CENTER
ROCHESTER, NY 14615                    MARLBOROUGH, MA 01752                   62 TSUM YIP STREET
                                                                               KWUN TONG, KOWLOON HONG KONG



INTROTEK INTERNATIONAL LP              INTUITECH MICROELECTRONICS INC          INTUITIVE SURGICAL INC
ATTN GM                                ATTN OPS MGR                            ATTN SR MECHANICAL ENGINEER
150 EXECUTIVE DR                       6810 KITIMAT RD, UNIT 4                 1020 KIFER RD
EDGEWOOD, NY 11717                     MISSISSAUGA, ON L5N 5M2                 SUNNYVALE, CA 94086
                                       CANADA



INVAX TECHNOLOGIES                     INVENO ENGINEERING INC                  INVENSYS SYSTEMS INC
ATTN PRESIDENT                         ATTN TECH MANAGER                       ATTN DIR OF OPS
1355 GENEVA DR                         3379 PEACHTREE RD, STE 555              26561 RANCHO PKWY S
SUNNYVALE, CA 94089                    ATLANTA, GA 30326                       LAKE FOREST, CA 92630




INVENSYS SYSTEMS INC                   INVENTORY MANAGEMENT INC (IMI)          INVENTRONICS (HANGZHOU) CO LTD
ATTN VP FINANCE                        ATTN SECRETARY                          ATTN VP
33 COMMERICAL ST                       1053 E WHITAKER MILL RD                 3RD FL, BLDG B, 66 DONGIXN RD
FOXBORO, MA 02035                      RALEIGH, NC 27604                       EASTCOM CITY, BINJANG DISTRICT
                                                                               HAUGZHOU, ZHEJIANG 310053 CHINA



INVENTRONICS USA INC                   INVERTEC LTD                            INVEST NORTHERN IRELAND
ATTN VP BUS DEV                        ATTN ENGINEERING MANAGER                BEDFORD SQUARE
4701 SW 20TH                           WHELFORD RD, FAIRFORD                   BEDFORD ST
OKLAHOMA, OK 73128                     GLOCESTSHIRE GL7 4DT                    BELFAST BT2 7ES
                                       UNITED KINGDOM                          UNITED KINGDOM



INVESTCORP TECHNOLOGY PARTNERS         INVESTIGATIVE CONSULTANTS LLC           INVESTMENT CORP
ATTN DR DIRK SCHMUCKING, PARTNER       ATTN OWNER                              DBA EFFICIENCY VERMONT
280 PARK AVE, 36 W                     1510 W 228TH ST                         ATTN LIGHTING STRATEGY MGR
NEW YORK, NY 10017                     TORRANCE, CA 90501                      128 LAKESIDE AVE, STE 401
                                                                               BURLINGTON, VT 05401



INVISIONAPP INC                        INVOCAL, INC.                           INVOLAR CORPORATION LTD
ATTN VP SALES                          15577 SHEADS MOUNTIAN ROAD              ATTN SR POWER ELECTRONICS ENGR
41 MADISON AVE, FL 25                  RIXEYVILLE, VA 22737-2350               RM 408, BLDG 84, NO 887, ZUCHONGZHI RD
NEW YORK, NY 10010                                                             PUDONG DISTRICT
                                                                               SHANGHAI CHINA



IN-WATER SERVICES CO. INC              INX INC                                 IO LIGHTING LLC
ATTN PRESIDENT                         ATTN VP                                 ATTN DIRECTOR
3683 SE SCHOOL R                       6401 SW FRWY                            370 CORPORATE WOODS PKWY
GREENSBORO, NC 27406                   HOUSTON, TX 77074                       VEMON HILLS, IL 60061




ION ASSOCIATES INC                     ION BEAM SERVICES                       IONAXIS TECHNOLOGY SERVICE INC
ATTN DIR OF SALES                      ATTN DIR FINANCE                        ATTN PRES
2221 E LAMAR BLVD, STE 250             RUE G IMBERT PROLONGEE                  3319 GIBBS LN
ARLINGTON, TX 76006                    Z I PENIER ROUSSET                      HILLSBOROUGH, NC 27278
                                       PEYNIER 13790 FRANCE



IONIC TECHNOLOGIES INC                 IOTA ENGINEERING LLC                    IOTA ENGINEERING LLC
ATTN PRESIDENT                         ATTN CHIEF EXECUTIVE OFFICER            ATTN NATIONAL SALES MNGR
207 FAIRFOREST WAY                     1361 E WIEDING RD                       P.O. BOX 11846
GREENVILLE, SC 29607                   TUSCON, AZ 85706                        TUCSON, AZ 85734
                   CaseCO
IOVISION PHOTOELECTRIC   25-90163
                          LTD       Document  87OFFiled
                                       IOWA DEPT        in TXSB
                                                  NATURAL        on 07/03/25 IOWA
                                                           RESOURCES           Page  409
                                                                                  DEPT     of 944
                                                                                       OF REVENUE
ATTN PRESIDENT                          WALLACE STATE OFFICE BLDG             1305 E WALNUT ST, 4TH FL
ROOM 8, 14F, NO184 JHONGYANG RD         502 E 9TH ST, 4TH FL                  DES MOINES, IA 50319
CHANGHUA COUNTY                         DES MOINES, IA 50319-0034
CHANGHUA CITY 500 TAIWAN



IOWA DIVISION OF LABOR                  IOWA INSURANCE DIVISION               IOWA OFFICE OF THE ATTORNEY GENERAL
150 DES MOINES STREET                   1963 BELL AVE, STE 100                CONSUMER PROTECTION DIVISION
DES MOINES, IA 50309-1836               DES MOINES, IA 50315                  HOOVER STATE OFFICE BUILDING
                                                                              1305 E WALNUT ST
                                                                              DES MOINES, IA 50319



IOWA WORKFORCE DEVELOPMENT              IP TEST LIMITED                       IPASS INC
UNEMPLOYMENT INSURANCE SERVICES         40 ALAN TURING ROAD, SURREY RESEARC   ATTN VP & CONTROLLER
1000 E GRAND AVE                        GUILDFORD GU2 7YF                     3800 BRIDGE PKWY
DES MOINES, IA 50319-0209               UNITED KINGDOM                        REDWOOD SHORES, CA 94065




IPC GLOBAL SERVICES                     IPDIA                                 IPFS CORPORATION
ATTN VP ENTERPRISE SERVICES             ATTN STRATEGY & PARTNER               3522 THOMASVILLE RD STE 400
4080 MCHINNIS FERRY RD, STE 1304        2 RUE DE LA GIRAFE                    TALLAHASSEE, FL 32309
ALPHARETTA, GA 30005                    CAEN 14000
                                        FRANCE



IPFS CORPORATION                        IPG LASER GMBH                        IPG MICROSYSTEMS LLC
P.O. BOX 730223                         ATTN HEAD OF ELECTRONICS DESIGN GRP   ATTN GLOBAL INTELLECTUAL PROPERTY
DALLAS, TX 75373-0223                   SIEMENSTRASSE 7                       MGR
                                        BURBACH 57229                         220 HACKETT HILL RD
                                        GERMANY                               MANCHESTER, NH 03102



IPIXC LLC                               IPOH PRECISION TOOLS SDN BHD          IPOINT-SYSTEMS GMBH
ATTN CEO                                28 LORONG KLEDANG UTARA 16, PERUSAH   LUDWIG-ERHARD-STR 58
39 MITCHELL BLVD, STE 9C                MENGLEMBU 31450                       REUTLINGEN 72760
SAN RAFAEL, CA 94903                    MALAYSIA                              GERMANY




IPOLIPO INC DBA JIFFLENOW               IPSWITCH INC                          IPT CO
3300 DOUGLAS BLVD., SUITE 260,          10 MAGUIRE RD, STE 220                7230 HOLLISTER AVE
ROSEVILLE, CA 95661                     LEXINGTON, MA 02421                   GOLETA, CA 93117




IPTE LLC                                IPTEST LTD                            IPTEST LTD
ATTN PRESIDENT                          ATTN MANAGING DIR                     ATTN PRODUCT & APPLICATIONS MGR
5935 SHILOH RD E, STE 100               8 HURLANDS BUSINESS CENTRE            40 ALAN TURING RD
ALPHARETTA, GA 30005                    HURLANDS CLOSE, FARNHAM               GUILDFORD GU2 7YF
                                        SURREY GU9 9JE UNITED KINGDOM         UNITED KINGDOM



IPVALUE MANAGEMENT INC                  IPVALUE MANAGEMENT INC                IQ CONTRACTING LLC
1070 ARASTRADERO RD, STE 300            ATTN SVP                              ATTN PARTNER
PALO ALTO, CA 94304                     200 W EVELYN AVE, STE 100             632 PERSHING RD
                                        MOUNTAIN VIEW, CA 94041               RALEIGH, NC 27608




IQ GROUP SDN BHD                        [NAME REDACTED]                       IQD FREQUENCY PRODUCTS
ATTN MANAGING DIR                       [ADDRESS REDACTED]                    ATTN VP SALES
PLOT 149, JALAN SULTAN AZLAN SHAH                                             STATION RD, CREWKERNE
TAMAN PERINDUSTRIAN, BAYAN LEPAS                                              SOMERSET TA18 8AR
FASA 1                                                                        UNITED KINGDOM
BAYAN LEPAS, PULAU PINANG 11900
MALAYSIA
IQE KC LLC       Case 25-90163     Document
                                      IQE PLC 87 Filed in TXSB on 07/03/25 IQE
                                                                             Page
                                                                               RF LLC410 of 944
200 JOHN HANCOCK RD                    ATTN GENERAL COUNSEL                 ATTN VP & GEN MGR
TAUNTON, MA 02780-7320                 PASCAL CLOSE, ST MELLONS             265 DAVIDSON AVE, STE 215
                                       CARDIFF CF3 0LW                      SOMERSET, NJ 08873
                                       UNITED KINGDOM



IQHQ                                   IQPC EXCHANGE                        IQUW SYNDICATE
ATTN MAURICE HUSBAND                   ATTN MANAGING DIR                    ATTN UNDERWRITER
MALVERN TECHN CTR, ST ANDREWS RD       1410 N WESTSHORE BLVD, STE 650       21 LOMBARD ST
MALVERN                                TAMPA, FL 33607                      LONDON EC3V 9AH
WORCESTERSHIRE WR14 3PS UNITED                                              UNITED KINGDOM
KINGDOM


[NAME REDACTED]                        IRIS OHYAMA INC                      IRIS USA INC
[ADDRESS REDACTED]                     ATTN MGR                             ATTN DIR OF HUMAN RESOURCES
                                       KAMIOSAKA-1                          11111 80TH AVE
                                       OSAKA KAKUDA, MIYAGI 981-1596        PLEASANT PRAIRIE, WI 53158
                                       JAPAN



IRISO USA INC                          [NAME REDACTED]                      IRONEARTH CONSTRUCTION INC.
ATTN MGR DIR                           [ADDRESS REDACTED]                   266 SMITH ROAD
34405 W 12 MILE RD, STE 237                                                 SMITHFIELD, NC 27577-8016
FARMINGTON HILLS, MI 48331




IRONSHORE HOLDINGS (US) INC            IRONSHORE INSURANCE SERVICES LLC     IRONSHORE SPECIALTY INS. CO.
ATTN SW REGIONAL MGR- AVP              ATTN UNDERWRITING SPECIALIST         175 BERKELEY ST
5 CONCOURSE PKWY, STE 3000             28 LIBERTY ST, 5TH FL                BOSTON, MA 02116
ATLANTA, GA 30328                      NEW YORK, NY 10005




IRONWOOD ELECTRONICS INC               IR-TEC INTERNATIONAL LTD             IRVINE ACCESS FLOORS INC
ATTN VP OF ENGINEERING                 ATTN DIRECTOR, BUS DEVT              2210 E MILLBROOK ROAD UNIT 109
11351 RUPP DR, STE 400                 6 RONG AN RD                         RALEIGH DURHAM AIRPORT, NC 27623-1786
BURNSVILLE, MN 55337                   LUZHU, TAOYUAN 338
                                       TAIWAN



[NAME REDACTED]                        ISA                                  [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN CUSTOMER SERVICE                [ADDRESS REDACTED]
                                       67 ALEXANDER DR
                                       RESEARCH TRIANGLE PARK, NC 27709




[NAME REDACTED]                        [NAME REDACTED]                      ISDA
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   10 E 53RD ST, 9TH FL
                                                                            NEW YORK, NY 10022




ISE LABS, INC.                         ISEE IMAGING SYSTEMS                 ISET (INSTITUTE FOR SOLARE-
46800 BAYSIDE PARKWAY                  ATTN VP ENGINEERING                  ENERGIEVEORGUNGDTECHNIK)
FREMONT, CA 94538-6592                 6321 B ANGUS DR                      ATTN CHAIRMAN - EXEC BOARD
                                       RALEIGH, NC 27617                    KOENIGSTOR 59
                                                                            KASSEL D-34119 GERMANY



ISIMAC MACHINE CO INC                  [NAME REDACTED]                      [NAME REDACTED]
321 JUNE AVE                           [ADDRESS REDACTED]                   [ADDRESS REDACTED]
BLANDON, PA 19510
[NAME REDACTED] Case 25-90163           Document  87 Filed in TXSB on 07/03/25 [NAME
                                           [NAME REDACTED]                       Page  411 of 944
                                                                                     REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                        [ADDRESS REDACTED]




[NAME REDACTED]                             ISMECA EUROPE SEMICONDUCTOR S.A.          ISMECA S A
[ADDRESS REDACTED]                          283, RUE DE LHELVETIE                     ATTN VP SALES
                                            LA CHAUX-DE-FONDS 2301                    283 RUE DE LHELVETIE
                                            SWITZERLAND                               LA CHAUX-D-FONDS CH-2301
                                                                                      SWITZERLAND



ISO TECHNOLOGY SDN BHD                      ISOLITE SYSTEMS                           ISOLUX LIMITED LIABILITY COMPANY
ATTN CHIEF EXECUTIVE OFFICER                N/K/A ZYRIS                               ATTN MANAGING MEMBER
PLOT 290 & 291, PHASE 3                     6868A CORTONA DR                          1045 COLLIER CENTER WAY, STE 6 & 7
FREE INDUSTRIAL ZONE                        SANTA BARBARA, CA 93117                   NAPLES, FL 34110
BAYAN LEPAS, PENANG 11900 MALAYSIA



ISOTECH PTY LTD                             ISOTEK OIL AND GAS LTD                    [NAME REDACTED]
ATTN MANAGING DIR                           ATTN DIRECTOR & GENERAL MGR               [ADDRESS REDACTED]
9 EDWARD ST                                 9 CLAYRON WOOD BANK
ARNCLIFF, NSW 2205                          LEEDS LS16 6QZ
AUSTRALIA                                   UNITED KINGDOM



ISRO TELEMETRY TRACKING AND COMMAND         ISS CORPORATE SERVICES INC                ISS FACILITY SERVICES INC
NETWORKS                                    ATTN EVP & GENERAL MANAGER                ATTN GENERAL MGR
ATTN SCIENTIST ENGINEER                     2101 GAITHER RD, STE 200                  2606 PHOENIX DR, STE 200
A1/6 PEENVAA INDUSTRIAL AREA                ROCKVILLE, MD 20850-4045                  GREENSBORO, NC 27406
BANGALORE 560058
INDIA


ISSI INC                                    ISTANBUL TECHNICAL UNIVERSITY             ISTRAC/ISRO
ATTN PRESIDENT                              ITU AYAZAGA CAMPUS                        ATTN ENGINEER
314 DOUGLAS AVE, STE 201                    RECTORATE BLDG                            A1-6, PEENYA INDL ESTATE
WAUKEGAN, IL 60085                          MASLAK, ISTANBUL 34467                    BANGALORE 560058
                                            TURKEY                                    INDIA



ISUPPLI CORP                                IT ELECTRONICS 11TH DESIGN & RESEARCH     IT PLUS
ATTN JAGDISH REBELLO, DIR & PRINCIPAL       INST -                                    RM101, 117, GWANYANG-FO, DONGAN-GU
ANALYST                                     SCIENTIFIC & ENGR CORP LTD                SEOUL 06140
1700 E WALNUT AVE, STE 600                  ROOM 701, CANGSONG MANSION NORTH          SOUTH KOREA
EL SEGUNDO, CA 90245                        TAIRAN 4TH ROAD, TAIRAN INDUSTRIAL AREA
                                            CHEGONG MIAO, SHENZEN 518040 CHINA


ITALIX CO INC                               ITALPRESSE INDUSTRIE SPA                  ITECH II LLC
ATN SALES MGR                               ATTN GM                                   ATTN PRESIDENT
2232 CALLE DELMOND                          VIA TRENTO 178                            14460 NEW FALLS OF NEUSE RD, STE 149
SANTA CLARA, CA 95054                       CAPRIANO DEL COLLE                        PMB 284
                                            BRESCIA 20520 ITALY                       RALEIGH, NC 27614



I-TECH INC                                  I-TECHNOLOGIES INC                        ITI SYSTEMS CORP
ATTN OWNER & PRESIDENT                      ATTN PRES                                 ATTN PRESIDENT
8711 SIX FORKS RD, STE 104                  5313 LEESVILLE RD                         425 YORK RD
RALEIGH, NC 27615                           DURHAM, NC 27703                          NEW HOPE, PA 18938




IT-ISAC                                     ITOCHU CORPORATION                        ITOCHU HONG KONG LTD
INFORMATION TECHNOLOGY- I                   ATTN DEPUTY MANAGER                       ATTN KOJI MATSUMURA, CEO
P.O. BOX 471                                1-3 KYUTARO-MACHI 4-CHOME                 TOKQJ SECTION, 5-1, KITA-AOYAMA
MANASSAS, VA 20108-0471                     CHUO-KU                                   2-CHOME, MINATO-KU
                                            OSAKA 541-77 JAPAN                        TOKYO 107-8077 JAPAN
                  Case
ITOCHU INTERNATIONAL     25-90163 Document
                      INCORPORATION     ITRAMAS87CORPFiled   in TXSB on 07/03/25 ITRAMAS
                                                       SDN BHD                     Page MANUFACTURING
                                                                                          412 of 944 SDN BHD
ATTN MGR, INDUS TEXTILE & MATERIALS DIV NO 1, JALAN PJU 8/5A, DAMANSARA          ATTN CHIEF EXECUTIVE OFFICER
1411 BROADWAY, 35TH FL                  PERDANA                                  542A &542B MUKIM 1
NEW YORK, NY 10018                      PETALING JAYA, SELANGOR DARUL            LORONG PERUSAHAAN BARU 2, PRAI
                                        EHSAN 47820                              PENANG 13600 MALAYSIA
                                        MALAYSIA


ITRONIX SYSTEMS INC                     ITS ELECTRONICS INC                      ITS INC
ATTN COO                                ATTN VP BUSINESS DEVT                    ATTN CEO
321 E BROKAW RD                         200 EDGELEY BLVD, UNITS 24-27            3041 BERKSWAY, STE 102
SAN JOSE, CA 95112                      CONCORD, ON L4K 348                      RALEIGH, NC 27614
                                        CANADA



ITS PARTNERS LLC                        ITSUWA SHOJI KAISHA INC                  ITT AEROSPACE/COMMUNICATIONS
496 ADA DR SE, STE 201                  ATTN PRESIDENT                           ATTN SR CONTRACT ADMINISTRATOR
ADA, MI 49301-9269                      1-8-1 CHOME UEHONMACHI NISHI             1919 W COOK RD
                                        CHUO-KU                                  FORT WAYNE, IN 46818
                                        OSAKA 542-0062 JAPAN



ITT AUTOMOTIVE ELECTRICAL SYSTEMS INC   ITT AVIONICS                             ITT CANNON LLC
2040 FORRER BLVD                        DIV OF ITT INDUSTRIES INC                ATTN DIR ADVANCED TECH
P.O. BOX 1804                           ATTN MARTIN APA                          100 NEW WOOD RD
DAYTON, OH 45401-1804                   100 KINGSLAND RD                         WATERTOWN, CT 06795
                                        CLIFTON, NJ 07014



ITT ELECTRONIC SYSTEMS -                ITT ELECTRONIC SYSTEMS-RADAR SYSTEMS     ITT ES/FPS
INTERGRATED ELECTRONIC WARFARE          ATTN SANG LEE                            ATTN RF EGINEER
SYSTEMS                                 7821 ORION AVE                           3500 WILLOW LN
ATTN CONTRACTS ADMINISTRATOR            VAN NUYS, CA 91406                       THOUSAND OAKS, CA 91361
77 RIVER RD
CLIFTON, NJ 07014


ITT EXLIS INC                           ITT GILFILLAN                            ITT INDUSTRIES INC
ATTN SENIOR BUYER                       ATTN PROCUREMENT MNGR                    ATTN CONTRACT MGR
176 TECHNOLOGY DR, STE 300              7821 ORION AVE                           7670 ENON DR
BOALSBURG, PA 16827                     VAN NUYS, CA 91406                       ROANOKE, VA 24019




ITU ABSORBTECH INC                      ITU ELECTRIC - ELECTRONIC FACULTY        ITW DYMON
ATTN DIST MGR                           ELECTRONIC & COMMUNICATION               805 E OLD 56 HWY
2700 S 160TH ST                         ENGINEERING                              OLATHE, KS 66061
NEW BERLIN, WI 53151




ITW MERITEX SND BHD                     ITW TRANS TECH                           ITX E-GLOBALEDGE CORP
ATTN GENERAL MANAGER                    ATTN EQPT BUSINESS UNIT MGR              ATTN GM
PHASE 4 TECHNOPLEX                      475 N GARY AVE                           7F NAKAMEGURO GT TOWER
BAYAN LEPAS, PENANG 11900               CAROL STREAM, IL 60188                   2-1-1 KAMIMEGURO, MEGURO-KU
MALAYSIA                                                                         TOKYO 153-0051 JAPAN



[NAME REDACTED]                         I-VALO OY                                IVEK CORP
[ADDRESS REDACTED]                      ATTN PRODUCT & R&D MGR                   ATTN VP, MANAGER OF SALES
                                        TEHTAANTIE 3B                            10 FAIRBANKS RD
                                        IITTALA FI-14500                         NORTH SPRINGFIELD, VT 05150
                                        FINLAND



IVELA SPA                               [NAME REDACTED]                          IVEY MECHANICAL CO
VIA B. BUOZZI 15                        [ADDRESS REDACTED]                       1928 GARNER STATION BLVD
LISCATE MI 20060                                                                 RALEIGH, NC 27603
ITALY
                   Case 25-90163
I-VISION LIGHTING SOLUTIONS LTD       Document   87 Filed
                                         IVUS INDUSTRIES LLCin TXSB on 07/03/25 IVY
                                                                                  Page    413 of 944
                                                                                    HILL PARTNERS LLC
ATTN DIRECTOR                             ATTN CEO                               ATTN PRESIDENT
UNIT 2, LAKESIDE HOUSE, LAKESIDE          610 N ALMON ST, STE 130                7 SHIPWRIGHT HARBOR
CWMBRAN NP44 3XS                          MOSCOW, ID 83843                       ANNAPOLIS, MD 21401
UNITED KINGDOM



[NAME REDACTED]                           IWAFER LLC                             [NAME REDACTED]
[ADDRESS REDACTED]                        ATTN GENERAL MANAGER                   [ADDRESS REDACTED]
                                          3084 MERLINN RD
                                          CHESTER SPRINGS, PA 19425




IWASAKI ELECTRIC CO LTD                   IWATANI MATERIALS                      IWATT INC
ATTN GEN MGR                              ATTN GM                                ATTN PRES & CEO
BAKUROCHO-DAICHI BLDG, 1-4-16             HIGASHI-YAESU CITY BLDG, 14-2          101 ALBRIGHT WAY
NIHONBASHI-BAKUROCHO, CHUO-KU             HATCHOBORI 3-CHOME, CHUO-KU            LOS GATOS, CA 95032
TOKYO 103-0002 JAPAN                      TOKYO 104-0032 JAPAN



IXMATION INC                              IXRF SYSTEMS INC                       IXYS CORP
ATTN DIR OF APPLICATION ENGINEERING       ATTN COO                               ATTN SR VICE PRESIDENT
31 PRESIDENTIAL DR                        10421 OLD MANCHACA RD, STE 620         3540 BASSETT ST
ROSELLE, IL 60172                         AUSTIN, TX 78748                       SANTA CLARA, CA 95054




IXYS SEMICONDUCTORS GMBH                  [NAME REDACTED]                        [NAME REDACTED]
ATTN PRESIDENT                            [ADDRESS REDACTED]                     [ADDRESS REDACTED]
EDISONSTRASSE 15
LAMPERTHEIM D-68623
GERMANY



IZMIRAN                                   IZUMRUD CO LTD                         J & A INDUSTRIES INC
                                          52-3, ADMIRAL LAZAREV ST               ATTN CHIEF EXECUTIVE OFFICER
                                          MOSCOW 117042                          211 AYER LN
                                          RUSSIA                                 MILPITAS, CA 95035




J & J ELECTRONICS INC                     J & L INDUSTRIES OF NC LLC             J A CRAWFORD CO
ATTN VP PURCHASING                        ATTN PRES                              ATTN TECHNICAL SALES REP
7 WHATNEY                                 2224 PAGE RD, UNIT 105                 11813 E SLAUSON AVE
IRVINE, CA 92618                          DURHAM, NC 27703                       SANTA FE SPRINGS, CA 90670




J B KENEHAN LLC                           J BRADY CONTRACTING INC                J C PENNEY CORPORATION INC
ATTN PRESIDENT                            ATTN DIR OF ENERGY SERVICES            ATTN PROCUREMENT DIR
W 238 N 1700 ROCKWOOD DR                  401 KITTY HAWK DR                      6501 LEGACY DR
WAUKESHA, WI 53188                        MORRISVILLE, NC 27560                  PLANO, TX 75024




J DAW INC                                 J EVANS ASSOCIATES INC                 J GRAHAM INC
ATTN VP                                   909 LENDERMANS CIR                     ATTN PRESIDENT
10815 BEAVER DAM RD B                     RALEIGH, NC 27603-7802                 6049 CLOVERLAND DR
COCKEYSVILLE, MD 21030                                                           BRENTWOOD, TN 37027




J J KELLER & ASSOCIATES INC               J M INDUSTRIES INC                     J SCHNEIDER ELEKTROTECHNIK GMBH
3003 W BREEZEWOOD LANE                    ATTN PRESIDENT                         ATTN GEN MGR
NEENAH, WI 54957-0548                     55 HIGH ST                             HELMHOLTZSTRASSE 13
                                          BILLERICA, MA 01862                    OFFENBURG 77652
                                                                                 GERMANY
J STREET 1976 LLC Case 25-90163     Document     87 Filed in TXSB on 07/03/25 J TECH
                                       J T & T INC                               Page  414 of 944USA LTD
                                                                                     DISTRIBUTORS
ATTN INTERIM CFO                        ATTN JOE VAN BREE                      ATTN PRES
310 E MAIN ST, STE 200                  1718 LAYARD AVE                        1270 MANOR DR
CARRBORO, NC 27510                      RACINE, WI 53404                       WARMINSTER, PA 18974




J WARNER ELECTRIC                       J&B SALES INC                          J&H MACHINE TOOLS INC
12560 W HARVEY DR                       ATTN PRESIDENT                         ATTN SALES SUPPORT ENGINEER
NEW LENOX, IL 60451                     7461 WHITE OAK RD                      4335 MORRIS PARK DR
                                        GARNER, NC 27529                       CHARLOTTE, NC 28227




J&L TECH CO LTD                         J. OBRIEN CO., INC.                    J.P. MORGAN/CLEAR (0352,2424)
ATTN JASON BAI                          40 COMMERCE STREET                     ATT CORPORATE ACTIONS TEAM
RM 26, 9TH FL, DIAOSUJIAYUAN BLDG       SPRINGFIELD, NJ 07081                  500 STANTON CHRISTIANA RD.
ZHONGKANG RD, FUTAIN DIST                                                      NCC5 FL3
SHENZHEN CHINA                                                                 NEWARK, DE 19713



J.S. HELD ULC                           J.W SPEAKER CORP                       JA COST ENGINEERS & ADVISORS INC
321 WATER STREET, SUITE 501             ATTN DIRECTOR R&D/ENG                  ATTN PRESIDENT
VANCOUVER, BC V6B 1B8                   W185 N11315 WHITNEY DR                 104 MEADOW DR
CANADA                                  GERMANTOWN, WI 53022                   LIGONIER, PA 15658




JA KING & COMPANY LLC                   JA SEVERN PTY LTD                      JA WOOLLAM CO INC
6541-C FRANZ WARNER PKWY                ATTN CHIEF EXECUTIVE OFFICER           645 M STREET
WHITSETT, NC 27377-9215                 UNIT 4 8A KOOKABURRA RD                LINCOLN, NE 68508-2243
                                        HORNSBY, NSW 2077
                                        AUSTRALIA



JABIL CIRCUIT INC                       JABIL CIRCUIT INC                      JABIL CIRCUIT INC
3800 GIDDINGS RD                        ATTN DESIGN ENGINEERING MGR            ATTN MATERIALS MGR
AUBURN HILLS, MI 48326                  10560 DR MARTIN LUTHER KING JR ST N    AV VALDEPENAS 19203
                                        ST PETERSBURG, FL 33716                ZAPOPAN, JAL 45130
                                                                               MEXICO



JABIL HUNGARY LP LLC                    JACK ENGEL MANUFACTURING               JACK IN THE BOX INC
HUSZAR ANDOR UT 1.                      DBA CREATIVE AUTOMATION CO             ATTN DIR
TISZAUJVAROS 3580                       ATTN PRESIDENT                         9330 BALBOA AVE
HUNGARY                                 11641 PENDLETON ST                     SAN DIEGO, CA 92123
                                        SUN VALLEY, CA 91352



[NAME REDACTED]                         JACKSON COUNTY PROSECUTING             JACKSON DIGITAL IMAGING CORP
[ADDRESS REDACTED]                      ATTORNEY                               ATTN CEO
                                        FAMILY LAW DIVISION                    3055 NORTHERN AVE
                                        ATTN ASSISTAN PROSECUTING ATTORNEY     KINGMAN, AZ 86409-2033
                                        1697 LANSING AVE
                                        JACKSON, MI 49202


JACKSON LEWIS LLP                       [NAME REDACTED]                        [NAME REDACTED]
ATTN TED N. KAZAGLIS                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]
1400 CRESCENT GREEN, STE 215
CARY, NC 27518




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163     Document  87 Filed in TXSB on 07/03/25 [NAME
                                     [NAME REDACTED]                       Page  415 of 944
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[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




JACKSON-HALE ENVIRONMENTAL TECH       JACKSON-HIRSH INC                  [NAME REDACTED]
ATTN SALES ENGINEER                   ATTN VP                            [ADDRESS REDACTED]
P.O. BOX 1839                         700 ANTHONY TRL
CLEMMON, NC 27012                     NORTHBROOK, IL 60062




[NAME REDACTED]                       [NAME REDACTED]                    JACOBS CONTRACTING LLC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 ATTN SR PM
                                                                         975 PINEBROOK KNOLLS DR
                                                                         WINSTON SALEM, NC 27105




JACOBS ENGINEERING GROUP INC          JACOBS GLASS CO INC                [NAME REDACTED]
ATTN DIRECTOR OF OPPS                 ATTN PRESIDENT                     [ADDRESS REDACTED]
111 CORNING RD, STE 200               4915 HILLSBOROUGH RD
CARY, NC 27518                        DURHAM, NC 27705
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  416 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                    JACOBSON PAINT FINISHES LLC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 ATTN PRESIDENT
                                                                           2702 DIVISION ST
                                                                           MANITOWOC, WI 54220




JACOBSON VAN DEN BERG (HONG KONG)       [NAME REDACTED]                    [NAME REDACTED]
LTD                                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]
ATTN MKTG MGR
8/F HONG KONG SPINNERS IND BLDG
PHASE 6, 481-483 CASTLE PEAK RD
KLN HONG KONG


[NAME REDACTED]                         [NAME REDACTED]                    JADE GLOBAL INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 ATTN KARAN YARAMADA
                                                                           2001 GATEWAY PL, STE 570W
                                                                           SAN JOSE, CA 95110




JADE SKY TECHNOLOGIES INC               JAE ELECTRONICS INC                JAECO PRECISION INC
ATTN CEO                                ATTN GEN MGR, ADMIN                ATTN OWNER
1551 MCCARTHY BLVD, STE 103             142 TECHNOLOGY DR, STE 100         1201 NC 49
MILPITAS, CA 95035                      IRVINE, CA 92618                   ASHEBORO, NC 27205




JAFTECH MANUFACTURING INC               [NAME REDACTED]                    [NAME REDACTED]
ATTN GENERAL MGR                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]
6399 142ND AVE N, STE 118
CLEARWATER, FL 33760




JAGUAR LAND ROVER LIMITED               JAGUAR LAND ROVER LTD              JAGUAR LAND ROVER
ABBEY ROAD, WHITELY                     ATTN FAO CO SECRETARY              ABBEY RD.
COVENTRY CV3 4LF                        ABBEY RD                           WHITLEY
UNITED KINGDOM                          WHITLEY                            COVENTRY CV3 4LF
                                        COVENTRY CV3 4LF UNITED KINGDOM    UNITED KINGDOM



[NAME REDACTED]                         JAHNS WINDOW CLEANERS LLC          [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN OWNER/OPERATOR                [ADDRESS REDACTED]
                                        2915 WEBSTER ST
                                        RACINE, WI 53403




[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]
JAKE DYSON LLP   Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                    [NAME REDACTED]                       Page  417 of 944
                                                                              REDACTED]
ATTN MG DIRECTOR                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]
1 CRAWFORD PASSAGE
LONDON EC1R 3DP
UNITED KINGDOM



[NAME REDACTED]                      [NAME REDACTED]                    JAMES A HARRELL III & ASSOCIACTES PLLC
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 2600 FAIRVIEW RD, STE 200
                                                                        RALEIGH, NC 27608




[NAME REDACTED]                      [NAME REDACTED]                    JAMES M PLEASANTS CO INC
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 ATTN OPERATIONS MANAGER
                                                                        603 DIAMOND HILL CT
                                                                        GRENSBORO, NC 27406




JAMES RIVER SEMICONDUCTOR INC        [NAME REDACTED]                    [NAME REDACTED]
ATTN PRESIDENT                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
2132 HULL ST
RICHMOND, VA 23224




JAMES TAYLOR INC                     [NAME REDACTED]                    [NAME REDACTED]
                                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      JAMESDRURYPARTNERS                 [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN MATTHEW V MCGREAL             [ADDRESS REDACTED]
                                     875 N MICHIGAN AVE, STE 3805
                                     CHICAGO, IL 60611
                 Case
JAMESTOWN PLASTICS INC 25-90163     Document   87 Filed in TXSB on 07/03/25 [NAME
                                       JAMIL, ANWAR                           Page  418 of 944
                                                                                  REDACTED]
ATTN GM                                 360 LITTLETON RD, UNIT C-18         [ADDRESS REDACTED]
8806 HIGLAND AVE                        CHELMSFORD, MA 01824
BROCTON, NY 14716




[NAME REDACTED]                         [NAME REDACTED]                     JAN WATERCRAFT PRODUCTS LLC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  13354 GREENLEAF LANE
                                                                            GRAND HAVEN, MI 49417-9453




JANA PARTNERS MANAGEMENT LP             JANE STREET GROUP LLC               [NAME REDACTED]
767 5TH AVE, 8TH FL                     250 VESEY ST                        [ADDRESS REDACTED]
NEW YORK, NY 10153                      NEW YORK, NY 10281




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




JANICE INDUSTRIES INC                   [NAME REDACTED]                     JANI-KING FRANCHISING INC
DBA JANMAR LIGHTING                     [ADDRESS REDACTED]                  ATTN DIRECTOR NC DIVISION
                                                                            16885 DALLAS PKWY
                                                                            ADDISON, TX 75001




JANI-KING FRANCHISING INC               JANITRONICS INC                     [NAME REDACTED]
DBA JANI-KING RALEIGH/DURHAM            ACTION WINDOW CLEANING              [ADDRESS REDACTED]
ATTN GREG BOONE                         1988 CENTRAL AVENUE
801 JONES FRANKLIN RD, STE 230          ALBANY, NY 12205-4535
RALEIGH, NC 27606



JANMAR ENTERPRISES INC                  JANNEY MONT. SCOTT INC. (0374)      [NAME REDACTED]
ATTN CHAIR OF BOARD                     ATT KURT DODDS OR PROXY MGR         [ADDRESS REDACTED]
730 W GOLDEN GROVE WAY                  1717 ARCH ST, 17TH FL
COVINA, CA 91722                        PHILADELPHIA, PA 19103




JAN-PRO CLEANING SYSTEMS                [NAME REDACTED]                     JANTECH SERVICES INC
ATTN SALES MGR                          [ADDRESS REDACTED]                  ATTN VINCE PUDELSKI
8321 BANDFORD WAY, STE 003                                                  3201 WELLINGTON CT, STE 111
RALEIGH, NC 27615                                                           LINCOLN PARK NORTH
                                                                            RALEIGH, NC 27615



JAP OPTOELECTRONIC LTD                  JAPAN APPLIED OPTICS CO LTD         JAPAN FINE STEEL COMPANY LTD
ATTN MANAGING DIR                       ATTN VP                             19-1 ISHIDE 1-CHOME
1 RUTHERFORD HOUSE                      HN CHITOSEDAI 3-CHOME               SANYOONODA 7560063
MANCHESTER SCIENCE PARK                 SETAGAYA-KU                         JAPAN
MANCHESTER M15 6GG UNITED KINGDOM       TOKYO 157-0071 JAPAN



JAPAN PIONICS & KSA INC                 JAPAN PIONICS CO LTD                JAPAN RADIO CO LTD
ATTN CEO, GEN MGR                       ATTN GM SALES DEPT                  ATTN DIR & EXEC TECHNOLOGY
3657 LA CANADA RD                       1-3, NISHI-SHIMBASHI 1-CHOME        1-1, SHIMORENJAKU 5 CHOME
FALLBROOK, CA 92028                     MINATO-KU                           MITAKA-SHI
                                        TOKYO 105-0003 JAPAN                TOKYO 181-8510 JAPAN
[NAME REDACTED] Case 25-90163     Document  87 Filed in TXSB on 07/03/25 [NAME
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                                                                               REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




JARO COMPONENTS INC                   JAROS TECHNOLOGIES                 JARRER CO LTD
DBA JARO THERMAL                      ATTN VP                            NO 71-1 JUANG CHYAN RD
ATTN PRES & CEO                       544 NEIDRINGHAUS BLVD              SHENKANG DIST
6600 PARK OF COMMERCE BLVD            GRANITE CITY, IL 62040             TAICHUNG CITY
BOCA RATON, FL 33487                                                     TAIWAN



[NAME REDACTED]                       [NAME REDACTED]                    JAS FORWARDING (USA) INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 6195 BARFIELD RD
                                                                         ATLANTA, GA 30328




JAS FORWARDING                        [NAME REDACTED]                    [NAME REDACTED]
4833 SANDY PORTER RD. UNIT A          [ADDRESS REDACTED]                 [ADDRESS REDACTED]
CHARLOTTE, NC 28273-0001




JASCO PRODUCTS CO                     JASCO PRODUCTS COMPANY LLC         JASNIK SOLUTIONS INC
ATTN DIR OF EMERGING TECH             10 EAST MEMORIAL RD, BLDG B        ATTN ROBERT W BARNETT
10 E MEMORIAL RD                      OKLAHOMA CITY, OK 73114            5944 SUNSCAPE DRIVE NW
OKLAHOMA CITY, OK 73114                                                  LOUISVILLE, OH 44641




[NAME REDACTED]                       [NAME REDACTED]                    JAY ROYSTER
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 DBA J.R. TEST SERVICES
                                                                         1110 LUPINE CT, APT L
                                                                         RALEIGH, NC 27606




JAYA MICROPRECISION ENGINEERING       [NAME REDACTED]                    [NAME REDACTED]
115, JALAN S2 E7, GARDEN HOMES        [ADDRESS REDACTED]                 [ADDRESS REDACTED]
SEREMBAN 2
SEREMBAN, NEGERI SEMBILAN 70300
MALAYSIA



JB HUNT LLC                           JBC TECHNOLOGIES INC               JBC TOOLS USA INC
DBA JB HUNT TRANSPORT                 ATTN CFO                           9296 DIELMAN INDUSTRIAL DR
ATTN SR PARTNERSHIP DEV MNG           888 WATSON AVE                     SAINT LOUIS, MO 63132-2203
615 JB HUNT CORPORATE DR              MADISON, WI 53713
LOWELL, AR 72745



JBS ASSOCIATES INC                    JC BEVERAGE COMPANY LLC            JC PENNEY CO INC
ATTN PRES                             112 FRONT STREET EAST              ATTN VP
5025 E WASHINGTON ST, 108             HITTERDAL, MN 56552-0144           6501 LEGACY DR
PHOENIX, AZ 85034                                                        PLANO, TX 75024
JCF3 LLC          Case 25-90163      Document  87 FiledINC
                                        JCMR TECHNOLOGY in TXSB on 07/03/25 JDA
                                                                              Page  420 of
                                                                                SOFTWARE   944INC
                                                                                         GROUP
DBA BRENNAN ASSOCIATES                   ATTN PRESIDENT                      ATTN CORPORATE COUNSEL
ATTN MANAGING MEMBER                     15105-D JOHN J DELANEY STE 174      14400 N 87TH ST
906 RETRIEVER AVE                        CHARLOTTE, NC 28277                 SCOTTSDALE, AZ 85260
SEFFNER, FL 33584



JDI MOLD & TOOL                          JDM ASSOCIATES INC                  JDR PAINTING LLC
ATTN PRESIDENT                           ATTN PRESIDENT                      ATTN PRESIDENT
2510 HILLER RIDGE                        7661 PERSIAN CT                     4715 GREEN BAY RD
JOHNSBURG, IL 60050                      ORLANDO, FL 32819                   KENOSHA, WI 53144




JDS UNIPHASE CORPORATION                 JE CUNNINGHAM & ASSOCIATES LLC      JE DUNN CONSTRUCTION CO
ATTN SR CONTRACT SPECIALIST              ATTN PARTNER                        ATTN VICE PRESIDENT
430 N MCCARTHY BLVD                      89 PARKER ST, STE 201               414 FAYETTEVILLE ST, STE 400
MILPITAS, CA 95035                       CLINTON, MA 01510                   RALEIGH, NC 27601




[NAME REDACTED]                          JEDEC SOLID STATE TECHNOLOGY        [NAME REDACTED]
[ADDRESS REDACTED]                       ASSOCIATION                         [ADDRESS REDACTED]
                                         3103 NORTH 10TH STREET SUITE 2405
                                         ARLINGTON, VA 22201-2107




JEFFEREYS MANUFACTORING SOLUTIONS        JEFFERIES & CO, INC. (0019)         JEFFERIES FINANCIAL GROUP INC
ATTN PRESIDENT                           ATT ROBERT MARANZANO/PROXY MGR      520 MADISON AVE
7858 THORNDIKE RD                        34 EXCHANGE PL                      NEW YORK, NY 10022
GREENSBORO, NC 27409-9690                JERSEY CITY, NJ 07311




[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




JEFFERSON WELLS INTERNATIONAL            [NAME REDACTED]                     [NAME REDACTED]
100 MANPOWER PL                          [ADDRESS REDACTED]                  [ADDRESS REDACTED]
MILWAUKEE, WI 53212




[NAME REDACTED]                          [NAME REDACTED]                     JEFFREYS MANUFACTURING INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  7858 THORNDIKE RD
                                                                             GREENSBORO, NC 27409




[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




JEHARA CORP                              JEIO TECH INC                       JELIGHT COMPANY INC
ATTN PRESIDENT                           ATTN ACCOUNTING & OPS MGR           2 MASON
102-409, DIGITALEMPIRE2, SHIN-DONG       1A GILL ST                          IRVINE, CA 92618-2513
YOUNGTONG-GU                             WOBURN, MA 01801
SUWON, GYEONGGI-DO 443-734 SOUTH
KOREA
JEM AMERICA CORP Case 25-90163   Document  87 Filed
                                    JEM INDUSTRIES    in TXSB on 07/03/25 JEMA
                                                   CORP                     Page
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ATTN PRESIDENT                       1-5 YORIKI-CHO, KITA-KU              ATTN R&D MANAGER
3000 LAURELVIEW CT                   OSAKA 5300036                        AV JEAN-ETIENNE LENOIR 16
FREMONT, CA 94538                    JAPAN                                PARC SCIENTIFIQUE EINSTEIN
                                                                          LOUVAIN-LA-NEUVE B-1348 BELGIUM



JEMMS-CASCADE INC                    [NAME REDACTED]                      JENKINS WILSON TAYLOR & HUNT PA
ATTN PRESIDENT                       [ADDRESS REDACTED]                   UNIVERSITY TOWER, STE 1200
1886 LARCHWOOD DR                                                         3100 TOWER BLVD
TROY, MI 48083                                                            DURHAM, NC 27707




[NAME REDACTED]                      JENKINS, EVERETT                     [NAME REDACTED]
[ADDRESS REDACTED]                   510 KINLEY NE                        [ADDRESS REDACTED]
                                     ALBUQUERQUE, NM 87102




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      JENOPTIK OPTICAL SYSTEM GMBH         [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN MANAGING DIR                    [ADDRESS REDACTED]
                                     GOESCHWITZER STR 25
                                     JENA 07745
                                     GERMANY



[NAME REDACTED]                      JEOL INC                             JERGENS INC
[ADDRESS REDACTED]                   11 DEARBORN ROAD                     ATTN REGIONAL SALES MGR
                                     PEABODY, MA 01961-3823               JERGENS WAY
                                                                          15700 S WATERLOO RD
                                                                          CLEVELAND, OH 44110



[NAME REDACTED]                      JERNEH INSURANCE BERHAD              JERNEH INSURANCE BHD
[ADDRESS REDACTED]                   ATTN MGR                             ATTN SR MANAGER
                                     38 JALAN SULTAN ISMAIL               WISMA JERNEH, 38 JALAN SULTAN ISMAIL
                                     KUALA LUMPUR 50250                   KUALA LUMPUR 50250
                                     MALAYSIA                             MALAYSIA



[NAME REDACTED]                      JERRY KUYPER PARTNERS, LLC           [NAME REDACTED]
[ADDRESS REDACTED]                   42 RAYFIELD ROAD                     [ADDRESS REDACTED]
                                     WESTPORT, CT 06880-4525




JERSEY MICROWAVE LLC                 [NAME REDACTED]                      [NAME REDACTED]
ATTN NEW BUS DEV                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]
230 RTE 206, STE 407
FLANDERS, NJ 07836




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]
                 Case 25-90163
JET PROCESS CORPORATION                  Document  87 Filed
                                            JET PROCESS      in TXSB on 07/03/25 JETPage
                                                        CORPORATION                      422 ofLABORATORY-CALTECH
                                                                                     PROPULSION 944
24 SCIENCE PARK                              ATTN GM                               4800 OAK GROVE DR
NEW HAVEN, CT 06511                          57B DODGE AVE                         PASADENA, CA 91109
                                             NORTH HAVEN, CT 06473




JET PULVERIZER COMPANY, THE                  [NAME REDACTED]                       [NAME REDACTED]
ATTN TREASURER                               [ADDRESS REDACTED]                    [ADDRESS REDACTED]
1255 N CHURCH ST
MOORESTOWN, NJ 08057




JET-GLORY LIGHTING CO LTD                    JETSWORTH LLC                         [NAME REDACTED]
WAIJING INDUSTRIAL PARK, NIUSHAN VILLA       ATTN PRESIDENT                        [ADDRESS REDACTED]
EAST DISTRICT                                4506 ERIN DR
DONGGUAN CITY, GUANGDONG                     HAYMARKET, VA 20169
CHINA



JF AHERN CO                                  JF MICROTECHNOLOGY SDN. BHD.          JFE SHOJI ELECTRONICS MALAYSIA SDN
ATTN DEPARTMENT MGR                          LOT 6 JALAN TEKNOLOGI 3/6 TAMAN SAI   WISMA AMFIRST, SUITE 801-1, LEVEL 8
3201 W CANAL ST                              PETALING JAYA 47810                   PETALING JAYA 47301
MILWAUKEE, WI 53208                          MALAYSIA                              MALAYSIA




JH LAVENDER & COMPANY LTD                    JHAVERI LABS                          [NAME REDACTED]
ATTN MANAGING DIR                            ATTN FOUNDER                          [ADDRESS REDACTED]
CRANKHALL LANE                               ANAND UDYOG CO-OP SOC, AGARWAL EST
WEST BROMWICH                                168 CST RD, KALINA, SANTA CRUZ E
WEST MIDLANDS B71 3JZ UNITED KINGDOM         MUMBAI 400098 INDIA



JIACO INSTRUMENTS BV                         JIACO INSTRUMENTS BV                  JIADE PLASTIC PRODUCTS CO LTD
ACHMANSTRAAT 21                              FELDMANNWEG 17                        ATTN GEN MGR
DELFGAUW 2645 MD                             DELFT 12 (ZUID-HOLLAND) 2628 CT       LANGXIA VILLAGE, QIAOTOU TOWN
NETHERLANDS                                  NETHERLANDS                           DONGGUAN CITY
                                                                                   GUANGDONG PROVINCE 523132 CHINA



JIANGMEN MUYANGREN LIGHTING CO               JIANGMEN YAOXIANG INDUSTRIAL CO LTD   JIANGNAN ELECTRONIC COMMUNICATION
F24 NO 2401 TAK KING IND BLDG                HIGH-TECH ZONE                        RESEARCH INSTITUE
27 LEE CHUNG ST                              DIV GARDEN RD NO 2                    ATTN ENGINEER
CHAI WAN                                     JIANGMEN, GUANGDONG 510000            NO 99 HONGXING ST
HONG KONG                                    CHINA                                 JIAXING CHINA



JIANGNAN INSTITUTE OF ELECTRONIC             JIANGSU CHANGJIANG ELECTRONICS TECH   JIANGSU DALITE ELECTRICAL TECHNOLOGY
TECHNOLOGY                                   CO LTD                                CO LTD
NO 99 HONGXING RD, JIAXING                   ATTN QUALITY VP                       DBA DALITE TECHNOLOGY
ZHEJIANG 314001                              NO. 275 BINJIANG RD M                 ATTN GENERAL MGR
CHINA                                        JIANGYIN                              QIYUE RD, WUJIN QU, CHANGZHOU SHI
                                             JIANGSU CHINA                         JIANGSU SHENG CHINA


JIANGSU HUAMING INDUSTRIAL CO LTD            JIANGSU SHENGYE PHOTOELEC TECH CO     JIANGSU SINODIAMOND LED CO LTD
ATTN PRESIDENT                               LTD                                   ATTN EVP SALES & MKTG
1 E JIANGFANG RD                             ATTN WANG CHICH                       RM 3006, BLDG 1, NO 369, XIANXIA RD
CHENGNAN PARK                                A4, NO 2 PLOT, CHUANGYE ZONE          CHANGNING DIST
JINGJIANG, JIANGSU CHINA                     YONGAN RD                             SHANGHAI 200336 CHINA
                                             YIXING CITY, JIANGSU CHINA


JIANGSU SUED CHEMIE                          JIANGSU SUN&MOON LIGHTING CO LTD      JIANGSU YASHIPS LIGHTING GROUP CO LTD
PERFORMANCE PACKAGING MATERIAL CO            ATTN PRESIDENT                        HENGSHANQIAO TOWN
LTD                                          NO. 88, MINGXING N RD                 CHANGZHOU, JIANGSU 213119
TANG HONG INDL ZONE, 4TH BLDG                ECONOMIC DEV ZONE, JIANHU COUNTY      CHINA
SHIJIE TOWN, DONGGUAN CITY                   YANCHENG, JIANGSU 224700 CHINA
GUANGDONG CHINA
                   CaseCO25-90163
JIANGXI LATTICELIGHTING    LTD      Document   87 Filed in
                                       JIANJIE ENGINEERING   TXSB
                                                           DESIGN   on 07/03/25 JIANXING
                                                                  CONSULTING      Page XINGCHEN
                                                                                         423 of 944
                                                                                                 ELECTRONICS CO LTD
NO 699 N AIXIHU RD                      HZ CO LTD                               NO 8, YUNDU E RD,
NATIONAL HI-TECH IND DVPT ZONE                                                  DAYUN INDUSTRIAL ZONE
NANCHANG, JIANGXI 330029                                                        JIASHAN, ZHEJIANG 314113
CHINA                                                                           CHINA



[NAME REDACTED]                         JIAOZUO CITY CRYSTAL PHOTOELECTRIC      JIASHAN SHENGGUANG ELECTRONICS CO
[ADDRESS REDACTED]                      MATERIAL CO LTD                         LTD
                                        3RD ST, SHANYANG RD                     NO. 1919 JIASHAN DADAO RD
                                        JIAOZUO, HENAN 454000                   JIASHAN, ZHEJIANG 314100
                                        CHINA                                   CHINA



JIAXING SUPER LIGHTING ELECTRIC         JIEHUI ELECTROPLATING CO LTD            [NAME REDACTED]
APPLIANCE CO LTD                                                                [ADDRESS REDACTED]
ATTN CHIEF EXECUTIVE OFFICER
NO 1288 JIACHUANG RD
XIUZHOU AREA
JIAXING, ZHEJIANG 314000 CHINA


JIGSAW SYSTEMS INC                      [NAME REDACTED]                         [NAME REDACTED]
ATTN PRESIDENT                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]
855 WOODEWIND DR
NAPERVILLE, IL 60563




JILL NOLDE                              JIM ROHMAN PHOTOGRAPHY INC              [NAME REDACTED]
                                        ATTN PRESIDENT                          [ADDRESS REDACTED]
                                        7339 CROSSCUT RD
                                        HOLLAND, OH 43528




[NAME REDACTED]                         JIMCO SALES & MANUFACTURING INC         JIMCO SALES & MANUFACTURING
[ADDRESS REDACTED]                      ATTN JIM HENDRICKS, PRESIDENT           ATTN PRESIDENT
                                        3113 SAINT LOUIS AVE                    VIA DEL COLLE 80
                                        FORT WORTH, TX 76110                    CALENZANO, FI 50041
                                                                                ITALY



[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                         JIMWAY INCORPORATED
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      DBA ALTAIR LIGHTING
                                                                                ATTN VP SOURCING & LOGISTICS
                                                                                20101 S SANTA FE AVE
                                                                                RANCHO DOMINQUEZ, CA 90221



JIN DIAN PHOTONICS CO LTD               JIN LONG MACHINERY & ELECTRONICS CO     JING MEI INDUSTRIAL LTD
ATTN YU TIAN WANG                       LTD                                     ATTN PRESIDENT & CEO
NO 9, ALY 40, LN 65                     ATTN SALES DIRECTOR                     FL 2, FLAT D, WAYLEE IND CTR
SANJUN ST, SHULIN DIST                  JINLONG SCIENCE PARK, JIN GANG AVE      38 TSUEN KING CIRCUIT
NEW TAIPEI CITY 23864 TAIWAN            BAIXIANG YUEQING                        TSUEN WAN, NT HONG KONG
                                        WHENZHOU, ZHEJIANG 325603 CHINA


JING YING RUBBER CO LTD                 JINWOO ELTEC                            JISHAN PACK SDN. BHD.
ATTN MANAGER                            ATTN DEPUTY DIR                         LOT 20384, JALAN BUKIT PANCHOR
28 LN 94 SANLONG ST                     3F, 199, GILJU-RO                       14300 NIBONG TEBAL, PENANG
SHULIN, TAIPEI                          WONMI-GU                                NIBONG TEBAL PIN (PULAU PINANG) 14300
TAIWAN                                  BUCHEON, GYEONGGI-DO 420-847 SOUTH      MALAYSIA
                                        KOREA
JIUJIANG HENGTONGCase   25-90163
                   AUTO-CONTROL    Document
                                      JIUZHOU87  Filed
                                             GREEBLE   in TXSB
                                                     (HONG KONG) on 07/03/25 JIUZHOU
                                                                 CO LTD        PageGREEBLE
                                                                                     424 of 944
DEVICE CO LTD                          UNITS A2 & A3 25/F, CHEUK NAWG PLZ   8/F, JIUZHOU ELECTRIC BLDG, 12TH RD S
NO 18, GANGXING RD                     250 HENNESSY RD                      HI-TECH PARK, NANSHAN DIST
ECONOMY TECH DEVELOPMENT ZONE          WAN CHAI                             SHENZHEN 518057
JIUJIANG, JIANGXI                      HONG KONG                            CHINA
CHINA


JJI LIGHTING GROUP INC                 JK LOHR ENTERPRISES LLC              JK TOOL & DIE INC
ATTN VP                                BUDGET BLINDS OF NWA / FO            ATTN PRESIDENT
1324 WASHINGTON AVE, STE 200           21559 INDINA CREEK DR                321 N WASHINGTON RD
ST LOUIS, MO 63103                     GARFIELD, AR 72732-9181              APOLLO, PA 15613




JKT TECHNOLOGY LTD                     JKUN CONNECTOR CO LTD                JLC TECH LLC
ATTN VP                                NO 2 TIANGONG ER RD                  ATTN MANAGING MEMBER
4F, NO 8 4LN 27, SANHE ROAD            TIANCHENG INDUSTRIAL ZONE            370 CORPORATE PARK
DAYUN TOWNSHIP                         YUEQING, ZHEJIANG 325608             PEMBROKE, MA 02359
TAOYUAN COUNTY TAIWAN                  CHINA



JLR                                    JLT INTERNATIONAL NETWORK            JM SOLID-STATE LIGHTING CO LTD
ABBEY ROAD                             C/O MARSH & MCLENNAN CO              ATTN VICE MANAGING DIR
WHITLEY                                1166 AVE OF THE AMERICAS             NO 259, JIUZHOU RD
COVENTRY CV3 4LF                       NEW YORK, NY 10036                   KE CHUANG PARK, MIANYANG CITY
UNITED KINGDOM                                                              SICHUAN CHINA



JM SOLID-STATE LIGHTING CO             JM TEST SYSTEMS, INC.                JM WALTERS & SON INC
ATTN VICE PRESIDENT                    7323 TOM DRIVE                       401 FERRY ST, STE 101
8/F JIUZHOU ELECTRIC BLDG              BATON ROUGE, LA 70806-2313           METROPOLIS, IL 62960-1860
NO 12 RD S, HI TECH INDUS PARK
NANSHAN DIST, SHENZHEN CHINA



JMB PROPERTY TAX CONSULTING INC        JME INC                              JME INC
DBA JMB PROPERTY TAX INC               ATTN PRESIDENT                       DBA TMB
ATTN DIR BUS DEVELOPMENT               23500 MERCANTILE RD, STE L           ATTN MARKETING DIRECTOR
803 S CALHOUN ST, STE 100              BEACHWOOD, OH 44122                  527 PARK AVE
FORT WAYNE, IN 46802                                                        SAN FERNANDO, CA 91340



JMF PRODUCTIONS                        JMH FABRICATIONS INC                 JMI SOFTWARE CONSULTANTS INC
ATTN PRES                              ATTN PRESIDENT                       ATTN PRESIDENT
210 WESTRIDGE DR                       4200 LEIDER DR, UNIT E               200 GIBRALTAR RD, STE 315
BURLINGTON, NC 27215                   UNION GROVE, WI 53182                HORSHAM, PA 19044-2318




JMJ KOREA                              JMJK INC                             JMK TOOL & DIE INC
ATTN CEO                               DBA LIGHT                            3482 NC 27 E
182-3 DODANG-DONG, WONMI-GU            ATTN JEFF SKIPPON, PRESIDENT         COATS, NC 27521
BUCHEON CITY                           500 S SEPULVEDA BLVD, STE 204
GYONGGI-DO 420-806 SOUTH KOREA         MANHATTAN BEACH, CA 90266



JMP EQUIPMENT CO LLC                   JMP STATISTICAL DISCOVERY LLC        JMS ENGINEERING LLC
603 DIAMOND HILL CT                    920 SAS CAMPUS DR                    ATTN OWNER
GREENSBORO, NC 27406-4617              CARY, NC 27513-2414                  5501 376TH AVE
                                                                            BURLINGTON, WI 53105




JO GMBH & CO KG                        JOB SERVICE NORTH DAKOTA             JOBIN YVON INC
ATTN GENERAL MANAGER                   UNEMPLOYMENT INSURANCE               3880 PARK AVE
BRUCHSTRASSE 89                        P.O. BOX 5507                        EDISON, NJ 08820-3012
OLPE D-57462                           BISMARCK, ND 58506-5507
GERMANY
JOBTARGET, LLC   Case 25-90163     Document  87 Filed
                                      JOBY AVIATION LLC in TXSB on 07/03/25 JOBY
                                                                              Page
                                                                                 INC 425 of 944
600 SUMMER STREET                      ATTN CHIEF EXECUTIVE OFFICER          ATTN CEO
STAMFORD, CT 06901                     340 WOODPECKER RIDGE                  1535 MISSION ST
                                       SANTA CRUZ, CA 95060                  SAN FRANCISCO, CA 94103




JOEL USA INC                           JOHANSON MANUFACTURING CORP           JOHANSON TECHNOLOGY INC
ATTN EXEC PRES                         ATTN VP OPERATIONS                    ATTN CONTRACT ADMIN
11 DEARBORN RD                         301 ROCKAWAY VALLEY RD                4001 CALLE TECATE
P.O. BOX 6043                          BOONTON, NJ 07005                     CAMARILLO, CA 93012
PEABOSY, MA 01961-6043



JOHN BARTELSTONE PHOTOGRAPHY LLC       JOHN DEERE ELECTRONIC SOLUTIONS INC   [NAME REDACTED]
ATTN MEMBER                            ATTN STRATEGIC SOURCING MGR           [ADDRESS REDACTED]
96 ACADEMY ST                          1750 NDSU RESEARCH PARK DR
POUGHKEEPSIE, NY 12601                 FARGO, ND 58102




JOHN GALT SOLUTIONS INC                [NAME REDACTED]                       [NAME REDACTED]
ATTN ACCT REP                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]
125 S CLARK ST, STE 1950
CHICAGO, IL 60603




[NAME REDACTED]                        JOHN MANUFACTURING LTD                [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN MGR                              [ADDRESS REDACTED]
                                       6/F, YAU LEE CENTER
                                       45 HOI YUEN RD
                                       KWUN TONG HONG KONG



JOHN RILEY GROUP LLC, THE              JOHN RYBURN SERVICES INC              JOHN W DANFORTH COMPANY
ATTN MANAGING PRIN                     ATTN PRESIDENT                        300 COLVIN WOODS PARKWAY
7413, 139 SIX FORKS RD                 201 S MAIN ST                         TONAWANDA, NY 14150-6976
RALEIGH, NC 27615                      LANAGAN, MO 64847




JOHN ZINK CO LLC                       [NAME REDACTED]                       [NAME REDACTED]
ATTN VICE PRESIDENT SYS GRP            [ADDRESS REDACTED]                    [ADDRESS REDACTED]
11920 E APACHE
TULSA, OK 74116




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




JOHNS HOPKINS UNIVERSITY APL           [NAME REDACTED]                       JOHNSON & JOHNSON VISION CARE INC
ATTN ASSOC GEN COUNSEL (IP)            [ADDRESS REDACTED]                    ATTN VICE PRESIDENT
11100 JOHN HOPKINS RD                                                        7500 CENTURION PKWY, STE 100
LAUREL, MD 20723                                                             JACKSONVILLE, FL 32256




JOHNSON & JOHNSON                      JOHNSON CONTROLS FIRE PROTECTION LP   JOHNSON CONTROLS INC
ATTN KIN LEE, SR PRINC ELEC ENG        FIRE PROTECTION LP                    12393 SLAUSON AVE
1 JOHNSON AND JOHNSON DR               DEPT CJ 10320                         WHITTIER, CA 90606
NEW BRUNSWICK, NJ 08933                PALATINE, IL 60055-0001
JOHNSON CONTROLSCase    25-90163
                  LIGHTING  SERVICES   Document 87CONTROLS
                                          JOHNSON    Filed in  TXSBSERVICES
                                                            LIGHTING on 07/03/25 JOHNSON
                                                                                   Page 426  of 944
                                                                                         CONTROLS SECURITY SOLUTIONS
INC                                        INC                                   9826 SOUTHERN PINE
250 HEMBREE PARK DR, STE 114               VILLA TRUST BLDG, STE D               CHARLOTTE, NC 28273-5561
ROSWELL, GA 30076                          CHALAN SAN ANTONIO
                                           TAMUNING, GU 96913



JOHNSON CONTROLS, INC.                     JOHNSON MECHANICAL CONTRACTORS INC    JOHNSON PARK CENTER
507 E MICHIGAN STREET                      P.O. BOX 562357                       26 JOHNSON PARK
MILWAUKEE, WI 53201-5202                   CHARLOTTE, NC 28256-2357              UTICA, NY 13501-4439




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[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
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[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
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[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    JOHNSSON LIGHTING TECHNOLOGIES AB
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN CEO
                                                                       SORHALLSTORGET 10
                                                                       GOTEBORG SE-417 63
                                                                       SWEDEN



JOHNSTECH INTERNATIONAL             JOHNSTON COMMUNITY COLLEGE         JOHNSTON COUNTY INDUSTRIES INC
CORPORATION                         P.O. BOX 2350                      ATTN BUS DIV MGR
1210 NEW BRIGHTON BLVD              SMITHFIELD, NC 27577-2350          1100 E PRESTON ST
MINNEAPOLIS, MN 55413-1641                                             SELMA, NC 27576
                 Case
JOHNSTON INDUSTRIAL    25-90163
                    SUPPLY INC    Document 87 ANDREA
                                     JOHNSTON,  Filed in TXSB on 07/03/25 [NAME
                                                                            Page  429 of 944
                                                                                REDACTED]
ATTN BRANCH MGR                       DBA GOOD CONTENT DESIGN             [ADDRESS REDACTED]
1802 ROOSEVELT AVE                    17 WINTER ST, 1
JOPLIN, MO 64801                      SALEM, MA 01970




[NAME REDACTED]                       JOHNSTONE SUPPLY                    JOHSON AIR CONDITIONING INC
[ADDRESS REDACTED]                    3172 HILLSBOROUGH RD                ATTN PRESIDENT
                                      DURHAM, NC 27705                    1250 N LEVERETT
                                                                          FAYETTEVILLE, AZ 72703




[NAME REDACTED]                       JOINT STOCK CO CONCERN SOZVESDIE    [NAME REDACTED]
[ADDRESS REDACTED]                    ATTN CHIEF ENGINEER                 [ADDRESS REDACTED]
                                      PLEKHANOVSKAGA ST, 14
                                      VORONEZH
                                      RUSSIA



[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                     JON GOLDMAN ASSOCIATES INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  ATTN PRESIDENT
                                                                          2337 N BATAVIA ST
                                                                          ORANGE, CA 92865




JONA FITNESS INC                      JONACO MACHINE INC                  [NAME REDACTED]
ATTN PRESIDENT                        3990 PEAVEY RD                      [ADDRESS REDACTED]
16969 NORTH TEXAS AVE, STE 500        CHASKA, MN 55318
WEBSTER, TX 77598




[NAME REDACTED]                       [NAME REDACTED]                     JONES DAY
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  51 LOUISIANA AVE NW
                                                                          WASHINGTON, DC 20001-2113




JONES INSURANCE AGENCY INC            JONES LANG LASALLE AMERICAS INC     JONES LANG LASALLE MIDWEST LLC
P.O. BOX 407                          18 PENNY LN                         ATTN SIR MANAGING DIR
GARNER, NC 27529                      PLYMOUTH, MA 02360                  200 E RANDOLPH DR
                                                                          CHICAGO, IL 60601




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
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[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
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JONES, GREGORY                      [NAME REDACTED]                    [NAME REDACTED]
3428 BAYONNE DR                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]
SAN DIEGO, CA 92109
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  431 of 944
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[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
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[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        JORDAN REFLECTORS LTD                 JORDAN REFLEKTOREN GMBH & CO KG
[ADDRESS REDACTED]                     ATTN TECH MGR                         ATTN MD
                                       9-10 SEAX WY                          SCHWELMER STRASSE 161-171
                                       BASILDON SS15 6SW                     WUPPERTAL 42389
                                       UNITED KINGDOM                        GERMANY



JORDAN VALLEY SEMICONDUSTORS INC       [NAME REDACTED]                       [NAME REDACTED]
ATTN SALES MGR                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]
8601 CROSS PK DR, STE 200
AUSTIN, TX 78754




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        JOS (MALAYSIA) SDN BHD                [NAME REDACTED]
[ADDRESS REDACTED]                     WISMA PROSPER, BLOCK B, KELANA CENT   [ADDRESS REDACTED]
                                       NO. 3, JALAN SS7/19, PETALING JAYA
                                       SELANGOR 47301
                                       MALAYSIA



[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




JOSEPH L ERTL INC                      [NAME REDACTED]                       [NAME REDACTED]
DBA DYERSVILLE DIE CAST                [ADDRESS REDACTED]                    [ADDRESS REDACTED]
ATTN GM
502 5TH ST NW
DYERSVILLE, IA 52040
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
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JOT AUTOMATION INC                  JOULE TECHNOLOGIES INC             JOURNEE LIGHTING INC
ATTN SALES MGR                      ATTN PRESIDENT                     ATTN PRESIDENTE
115 SHIELDS CT                      4167 W ORLEANS ST                  4607 LAKEVIEW CANYON RD, 500
MARKHAM, ON L3R 5H8                 MCHENRY, IL 60050                  WEST LAKE VILLAGE, CA 91361
CANADA



[NAME REDACTED]                     JOWGLOW MEDIA TECHNOLOGY CHINA     JOYNER MASONRY WORKS INC
[ADDRESS REDACTED]                  (HANGZHOU) INC                     ATTN PRESIDENT
                                    NO 8, HOUSHAN RD, WUCHANG ST       695 PARCEL ST
                                    YUHANG DISTRICT, HANGZHOU          GREENVILLE, NC 27834
                                    ZHEJIANG 529728
                                    CHINA


[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
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[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     JP MORGAN CHASE BANK CO. LTD       JP MORGAN SECURITIES LLC
[ADDRESS REDACTED]                  ATTN SANTOSH SREENIVASAN           383 MADISON AVE, FL 9
                                    3424 PEACHTREE ROAD NE             NEW YORK, NY 10179-0001
                                    FLOOR 23
                                    ATLANTA, GA 30326
                  Case 25-90163
JP OPTICAL CONSULTING                   Document  87ASSOCIATES
                                           JP SERCEL  Filed in TXSB
                                                               INC  on 07/03/25 JPM
                                                                                  Page  434
                                                                                    CHASE     of 944
                                                                                          (902,1970,2357,3622,
1342 DAVENTRY CT                            ATTN TREASURER                          2975)
CHAPEL HILL, NC 27517-9412                  220 HACKETT HILL RD                     ATTN C MANOS/M GREEN
                                            MANCHESTER, NH 03102                    575 WASHINGTON BLVD. 6TH FL
                                                                                    JERSEY CITY, NJ 07310



JPMORGAN CHASE BANK NA                      JPMORGAN CHASE BANK NA                  JPMORGAN CHASE BANK NA
270 PARK AVE                                ATTN CONTRACT MGMT                      ATTN MANNY PATINO
NEW YORK, NY 10017                          MAIL CODE OH1-0638                      237 PARK AVE, 12TH FL, NY1-R066
                                            111 POLARIS PKWY, STE 1N                NEW YORK, NY 10017
                                            COLUMBUS, OH 43240-0638



JPMORGAN CHASE BANK NA                      JPO PRODUCTIONS                         JPS
C/O LEGAL DEPT, TECH IP & SRC LAW GRP       17 LEDGELAND DR                         ATTN VICE PRINCIPAL
ATTN WORKFLOW MGR, MAIL CDE NY1A425         MYSTIC, CT 06355                        824 MELROSE AVE
ONE CHASE MANHATTAN PLZ, 25TH FL                                                    LEXINGTON, KY 40522
NEW YORK, NY 10081



JR AUTOMATION TECHNOLOGIES LLC              JR AUTOMATION TECHNOLOGIES, LLC         [NAME REDACTED]
ATTN: SHAWN SMITH                           4190 SUNNYSIDE DR.                      [ADDRESS REDACTED]
13365 TYLER STREET                          HOLLAND, MI 49424
HOLLAND, MI 49424-9421




[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  435 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
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[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




JRC INC                                 JRWC WINDOW CLEANERS LLC             JS INTERNATIONAL SHIPPING CORP
ATTN OWNER                              ATTN OWNER                           1535 B ROLLINS RD
3041 WEST 2100 S                        6652 LONELM DR                       BURLINGAME, CA 94010
SALT LAKE CITY, UT 84119                RACINE, WI 53402




JSC ANALOG                              JSC MICROWAVE SYSTEMS                JSI LOGISTICS HONG KONG LTD
ATTN SALES DIR                          ATTN R&D DIR                         ATTN GENERAL MGR
4/1 KULAKOV PROSPECT                    NIZHNYAYA SYROMYATNICHESKAYA SR 11   16/F GOODMAN TSUEN WAN CENTRE
STAVROPOL 355044                        MOSCOW 105120                        68 WANG LUNG ST
RUSSIA                                  RUSSIA                               TSUEN WAN HONG KONG



JSI TRANSPORTATION                      JSP CONSULTING                       JSP TECHNOLOGY INC
DBA JSI LOGISTICS CORP                  7040 N 59TH PL                       ATTN PRES & CEO
ATTN DIR OF BUS DEV                     PARADISE VALLEY, AZ 85253            10015-I METROMONT IND. BLVD
1535 ROLLINS RD                                                              CHARLOTTE, NC 28269
BURLINGAME, CA 94010



JST MANUFACTURING, INC                  JST PERFORMANCE INC                  JST PERFORMANCE INC
4040 EAST LANARK STREET SUITE 100       ATTN VP ENGINEERING                  DBA RIDGID INDUSTRIES
MERIDIAN, ID 83642-5365                 4245 E PALM ST                       ATTN CTO
                                        MESA, AZ 85215                       779 N COLORADO ST
                                                                             GILBERT, AZ 85233
JT&T INC         Case 25-90163 Document     87 ALLIANCE
                                    JTH LIGHTING Filed in INC
                                                           TXSB on 07/03/25 JTHPage   436ALLIANCE
                                                                                LIGHTING    of 944 INC
DBA INDUSTRIAL CONSTRUCTION & ASSOC ATTN JOHN T HARTLEY                     C/O PETERSON HABICHT PA
ATTN PRESIDENT                      6885 146TH ST W                         ATTN KATHRYN GETTMAN, ATTORNEY
1718 LAYARD AVE                     APPLE VALLEY, MN 55124                  33 S 6TH ST, STE 3500
RACINE, WI 53404                                                            MINNEAPOLIS, MN 55402



JTS WORKS LLC DBA PRISTINE PROWASH    [NAME REDACTED]                          [NAME REDACTED]
17 FAIRFAX PL                         [ADDRESS REDACTED]                       [ADDRESS REDACTED]
UTICA, NY 13502




[NAME REDACTED]                       JUCHEM, THERESA (TERRY)                  [NAME REDACTED]
[ADDRESS REDACTED]                    301 E OCEAN BLVD, FL 17                  [ADDRESS REDACTED]
                                      TEAM 718
                                      LONG BEACH, CA 9802-8841




[NAME REDACTED]                       [NAME REDACTED]                          JUICE TECHNOLOGY LIMITED
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                       ATTN CTO
                                                                               2 MAPLE PARK
                                                                               HODDESDON, HERTFORDSHINE EN11 OEX
                                                                               UNITED KINGDOM



JUICEWORK LLC                         JUKI AUTOMATION SYSTEMS INC              JULABO USA INC
ATTN GENERAL MANAGER                  ATTN VICE PRESIDENT, CFO                 754 ROBLE RD
1100 CRESCENT GREEN                   507 AIRPORT BLVD                         ALLENTOWN, PA 18109
CARY, NC 27518                        MORRISVILLE, NC 27560




JULABO USA INC                        [NAME REDACTED]                          [NAME REDACTED]
884 MARCON BLVD                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]
ALLENTOWN, PA 18109-9558




JULIYA HOUSEHOLD GOODS CO LTD         JULUEN ENTERPRISE CO LTD                 [NAME REDACTED]
FL 3, BLDG T, HENGYU SCIENCE & TECH   ATTN SALES & MKTG VP                     [ADDRESS REDACTED]
PARK                                  8F-1 NO. 502 DAAN RD
NANLIAN, LONGGANG DISTRICT            SHULIN DISTRICT
SHENZHEN 518116                       NEW TAIPEI CITY 23849 TAIWAN
CHINA


[NAME REDACTED]                       JUNG CHUEN BAKELITE & PLASTIC MFY LTD    JUNGIL LIGHTING CO LTD
[ADDRESS REDACTED]                    ATTN PROJECT MANAGER                     ATTN VP OF MARKETING
                                      4 DONG TAI RD, HENG DONG LING IND AREA   345-3 SONGNEA-DONG SOSA-GU
                                      BAI NI KENG, PING HU                     KYUNGKI-PROVINCE
                                      LONGGANG, SHENZHEN CHINA                 BUCHEON CITY 422-040 SOUTH KOREA



JUNIPER NETWORKS INC                  JUNIPER NETWORKS INC                     JUNIPER NETWORKS INC
ATTN SR DIR OF REAL ESTATE            C/O REED SMITH LLP                       C/O WP CAREY & CO LLC
1194 N MATHILDA AVE                   ATTN SIMON T ADAMS ESQ                   ATTN SR DIR REAL ESTATE
SUNNYVALE, CA 94089                   TWO EMBARCADERO CTR, STE 2000            1194 MATHILDA AVE
                                      SAN FRANCISCO, CA 94111                  SUNNYVALE, CA 94089



JUNO LIGHTING INC                     [NAME REDACTED]                          [NAME REDACTED]
ATTN VP OF MKTG                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]
1300 SOUTH WOLF RD
DES PLAINES, IL 60018
[NAME REDACTED] Case 25-90163           Document   87 CORP
                                           JUST IN TIME Filed in TXSB on 07/03/25 JUST
                                                                                    Page  437INTEGRATED
                                                                                       POWER   of 944 TECHNOLOGY
[ADDRESS REDACTED]                          ATTN COO                             ATTN PRESIDENT
                                            36 WEST YEW ST                       2F NO 12 SIHWEI RD
                                            STURGEON BAY, WI 54235               HUKOU TOWNSHIP
                                                                                 HSINCHU COUNTY 30351 TAIWAN



JUSTECH INC LTD                             [NAME REDACTED]                      [NAME REDACTED]
NO 166 FU TANG RD                           [ADDRESS REDACTED]                   [ADDRESS REDACTED]
TANG XIA YONG COMMUNITY
SONG GANG ST, BAO AN DISTRICT
SHENZHEN, GUANGDONG 518105 CHINA



[NAME REDACTED]                             [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                             JUSTLIGHT SPA                        JUUL LABS
[ADDRESS REDACTED]                          ATTN GENERAL MANAGER
                                            VIA AMERIGO VESPUCCI 38
                                            ASTI 14100
                                            ITALY



JVV GROUP INC                               JW SPREAKER CORPORTATION             JY MANUFACTURING CENTER INC
ATTN GEN MGR                                ATTN PRESIDENT                       ATTN ENG MGR
C-17, EXIT LA LLAGOSTA - PLA DEN COLL       W185 N11315 WHITNEY DR               201 RT 59, UNIT C-4
C/ SEGRE, 20 POL IND PLA DEN COLL           GERMANTOWN, WI 53022                 HILLBURN, NY 10931
MONTEADA I REIXAC 08110 SPAIN



JY MANUFACTURING CENTER INC                 K & J VENTURES LLC                   K & L MICROWAVE INC
ATTN PRESIDENT                              DBA BOBA BABA                        ATTN GEN MGR/ VP OPERATIONS
61 HALLEY DR                                ATTN CO-FOUNDER                      2250 NORTHWOOD DR
POMONA, NY 10970                            12102 BRADFORD GREEN SQR             SALISBURY, MD 21801
                                            CARY, NC 27519



K LINE AIR SERVICE (USA) INC                K SOURCE TECHNOLOGY LTD              K&L REST EQUIP
145-68 228 ST, UNIT 2                       22178 NO 35, DAAN ST                 ATTN PRES
SPRINGFIELD GARDENS, NY 11413               XIZHI DISTRICT                       1213 BUXTON RD
                                            NEW TAIPEI CITY 221                  WILSON, NC 27893
                                            TAIWAN



K&R AUSBAUTEAM GMBH                         K&S ASSOCIATES INC                   K&Y DIAMOND LTD
SCHONBRUNN AM LUSEN 5                       ATTN VP                              ATTN VP
HOHENAU 94545                               1926 ELM TREE DR                     2645 DIAB
GERMANY                                     NASHVILLE, TN 37210                  ST-LAURENT, QC H4S 1E7
                                                                                 CANADA



[NAME REDACTED]                             K.N.M. INDUSTRIES, INC.              K2 SOURCING INC
[ADDRESS REDACTED]                          LEXCO CABLE                          ATTN PRESIDENT
                                            7320 W AGATITE AVE                   222 E MAIN ST, STE 230
                                            NORRIDGE, IL 60706-4752              PT WASHINGTON, WI 53074




[NAME REDACTED]                             [NAME REDACTED]                      KACO NEW ENERGY GMBH
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   ATTN CTO
                                                                                 FRIEDRICH GAUSS STRASSE 1
                                                                                 NECKARSULM 74172
                                                                                 GERMANY
[NAME REDACTED] Case 25-90163        Document
                                        KAESER 87  Filed in TXSB
                                               COMPRESSORS  INC  on 07/03/25 [NAME
                                                                               Page  438 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                       ATTN JR CONTRACT SPECIALIST           [ADDRESS REDACTED]
                                         511 SIGMA DR
                                         FREDERICKSBURG, VA 22408




[NAME REDACTED]                          KAGOSHIMA MATSUSHITA ELEC CO LTD      KAGOSHIMA UNIVERSITY
[ADDRESS REDACTED]                       ATTN KAZUFUMI ISOMICHI                ATTN MASASHI MURAGUCHI, PROF
                                         1786-6 TOKUSHIGE                      KORIMOTO 1-21-40
                                         IJUIN-CHO                             KAGOSHIMA, KAGOSHIMA 890-8580
                                         HIOKI, KAGOSHIMA 899-2595 JAPAN       JAPAN



[NAME REDACTED]                          KAH DAT METAL MANUFACTURING LTD       [NAME REDACTED]
[ADDRESS REDACTED]                       371 BEACH RD, 07-04                   [ADDRESS REDACTED]
                                         KEYPOINT 199597
                                         SINGAPORE




[NAME REDACTED]                          KAI LI HUA INTERNATIONAL HOTEL        [NAME REDACTED]
[ADDRESS REDACTED]                       NO. 601 B BLDG ZHONGHUANJINJIE        [ADDRESS REDACTED]
                                         WUHUA
                                         WUHUA, KUNMING 650100
                                         CHINA



KAIJO CORPORATION                        [NAME REDACTED]                       KAIPHONE TECHNOLOGY CO LTD
9TH FL KANDABASHI PARK BLDG              [ADDRESS REDACTED]                    ATTN SALES
1-19 KANDA-NISHIKICHO                                                          11F, NO. 99, ZHONGCHENG RD
CHIYODA-KU                                                                     TUCHENG DIST
TOKYO 101-0054 JAPAN                                                           NEW TAIPEI CITY 236 TAIWAN



KAISER ELECTRONICS                       KAISER FOUNDATION HEALTH PLAN INC     KAIST
2701 ORCAHRD PARK WAY                    ATTN BUSINESS MGR                     ATTN JUNG WON YU
SAN JOSE, CA 95134                       4460 HACIENDA DR, BLDG A, 3RD FL      373-1 DEPT OF EE KAIST
                                         PLEASANTON, CA 94588                  GUSENG-DONG YUSENG-GU
                                                                               DAEJEON SOUTH KOREA



KAITENG ELECTONIC TECHNIQUE CO LTD       KAITENG SIFANG DIGITAL BROADCASTING   KAJON SYSTEMS INC
                                         & TV EQUIPMENT CO LTD                 ATTN CEO
                                         ATTN ENGINEER, NO A-4 QINGYANG        2287 MIDDLETOWN DR
                                         INDUSTRY CONCENTRATED DEVELOPMENT     CAMPBELL, CA 95008
                                         ZONE
                                         CHENGDU SICHAUN CHINA


[NAME REDACTED]                          [NAME REDACTED]                       KALEIDOSCOPE IMAGING INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    ATTN CFO
                                                                               700 N SACRAMENTO BLVD
                                                                               CHICAGO, IL 60612




[NAME REDACTED]                          [NAME REDACTED]                       KALIBRIERSERVICE BRANDL GMBH
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    SUDETENSTR. 2
                                                                               PFAFFENHOFEN 85276
                                                                               GERMANY




KAM TOOL & DIE INC                       KAMALSONS (PVT) LTD                   [NAME REDACTED]
530 INDUSTRIAL DRIVE                     ATTN MANAGING DIRECTOR                [ADDRESS REDACTED]
ZEBULON, NC 27597-2748                   15/7, COL TG JAYAWARDENA MAWATHA
                                         COLOMBO 00300
                                         SRI LANKA
[NAME REDACTED] Case 25-90163   Document   87 Filed in TXSB on 07/03/25 [NAME
                                   KAMIS INCORPORATED                     Page  439 of 944
                                                                              REDACTED]
[ADDRESS REDACTED]                  P.O. BOX 67                         [ADDRESS REDACTED]
                                    MAHOPAC FALLS, NY 10542-0067




KAMTEL INC                          [NAME REDACTED]                     [NAME REDACTED]
DBA OZARK CIRCUITS                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]
ATTN PRESIDENT
3171 E SUNSHINE
SPRINGFIELD, MO 65084



[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




KANEBO LTD                          KANEMATSU USA INC                   [NAME REDACTED]
ATTN ASST MNGR/SALES                2154 PARAGON DRIVE                  [ADDRESS REDACTED]
12-43 HONAMI CHO                    SAN JOSE, CA 95131-1305
SUITA-SHI, OSAKA
JAPAN



KANG RONG CERAMIC CO LTD            [NAME REDACTED]                     KANGXIN PARTNERS PC
INDUSTRIAL RD, LANGSHA              [ADDRESS REDACTED]                  16TH FL, TOWER A, INDO BLDG
LUOCUN, NANHAI                                                          A48 RD, HAIDIAN DISTRICT
FOSHAN                                                                  BEIJING 1000098
GUANGDONG 528226 CHINA                                                  CHINA



KANO LABORATORIES INC               KANSAI DENKI SEISAKUSHO CO LTD      KANSAI ELECTRIC POWER CO, THE
ATTN CUSTOMER SERVICE               ATTN CORP OFF, ENGINEERING DEPT     ATTN SHINICHI OKADA
1000 E THOMPSON LN                  6-40 3-CHOME                        11-20, NAKOJI 3-CHOME
NASHVILLE, TN 37222                 WAKAE-NISHI-SHINMACHI               AMAGASAKI, HYOGO 661-0974
                                    HIGASHIOSAKA 578-0944 JAPAN         JAPAN



KANSAI ELECTRIC POWER CO, THE       KANSAS CITY SERIES OF LOCKTON       KANSAS DEPT OF HEALTH & ENVIRONMENT
ATTN TOSHIKAZU NISHIKAWA            COMPANIES LLC                       1000 SW JACKSON ST
6-16, NAKANOSHIMA 3-CHOME           ATTN COO                            TOPEKA, KS 66612
KITA-KU                             444 W 47TH ST, STE 600
OSAKA 530-8270 JAPAN                KANSAS CITY, MO 64112



KANSAS DEPT OF LABOR                KANSAS DEPT OF REVENUE              KANSAS SECURITIES COMMISSIONER
EMPLOYMENT SECURITY                 120 SE 10TH AVE                     KANSAS INSURANCE DEPT
UNEMPLOYMENT INSURANCE              TOPEKA, KS 66612-1588               1300 SW ARROWHEAD RD
4601 STATE AVE                                                          TOPEKA, KS 66604
KANSAS CITY, KS 66102



KANSAS STATE TREASURER              KANTHAL THERMAL PROCESS INC         KANTO CORPORATION
UNCLAIMED PROPERTY DIVISION         19500 NUGGET BLVD                   13424 N WOODRUSH WAY
900 SW JACKSON, STE 201             SONORA, CA 95370-9248               PORTLAND, OR 97203-6417
TOPEKA, KS 66612
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 KAOYI
                                       [NAME REDACTED]                       Page   440 of 944
                                                                                 ELECTRONIC CO LTD
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   ATTN VICE PRESIDENT
                                                                             LONGYAN INDUSTRIAL HUMAN TOWN
                                                                             DONGGUAN, GUANDONG
                                                                             CHINA



KAOYI ELECTRONIC CO LTD                 KAPER II INC                         [NAME REDACTED]
NO 241, SEC 1, MEILIAO RD               ATTN PRESIDENT                       [ADDRESS REDACTED]
CHANGUA COUNTY                          2212 1/2 PARROT WAY
HOMEI 508                               KELSO, WA 98626
TAIWAN



[NAME REDACTED]                         [NAME REDACTED]                      KARACA KAIM
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   ATTN GEN MGR
                                                                             KARADENIZ CD KUYU SK
                                                                             NO 30 ASAGI DUDULLU, UMRANIYE
                                                                             ISTANBUL TURKEY



[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      KARCZEWSKI, KEITH J
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   C/O THE NOBEL LAW FIRM PLLC
                                                                             ATTN NICHOLAS SANSERVINO, JR
                                                                             141 PROVIDENCE RD, STE 210
                                                                             CHAPEL HILL, NC 27514



[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




KARIMEX COMPONENTES ELECTRONICOS        [NAME REDACTED]                      [NAME REDACTED]
LTDA                                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]
ATTN RENATO PISANI
RUA AMERICO BRASILIENSE, 2444
CH. STO ANTONIO
SAO PAULO, SP 04715-005 BRAZIL


[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




KARLSRUHE INSTITUTE OF TECHNOLOGY       [NAME REDACTED]                      [NAME REDACTED]
ATTN LEGAL AFFAIRS                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]
KASERSTRASSE 12
KARLSRUHE 76131
GERMANY
[NAME REDACTED] Case 25-90163        Document
                                        KARMAX87  Filed in TXSB on 07/03/25 [NAME
                                              CO LTD                          Page  441 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       ATTN GENERAL MGR                       [ADDRESS REDACTED]
                                         3F-1, 222, CHENGTE RD, SEC 4
                                         TAIPEI
                                         TAIWAN



[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




KARWIN TECHNOLOGIES LTD                  KAS ELECTRIC CORP                      [NAME REDACTED]
ATTN DIRECTOR                            27578 N OWENS RD                       [ADDRESS REDACTED]
BLOCK A, 8/F, WAH HING IND MANSION       MUNDELEIN, IL 60060
36 TAI YAU ST, SAN PO KONG
KOWLOON HONG KONG



[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




KASSEL UNIVERSITY                        [NAME REDACTED]                        [NAME REDACTED]
WILHELMSHOEHER ALLEE 73                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]
KASSEL D-34121
GERMANY




[NAME REDACTED]                          KATHOLIEKE UNIVERSITIEIT LEUVEN, THE   KATHREIN AUSTRIA GMBH
[ADDRESS REDACTED]                       ATTN GEN MGR & LEGAL COUNSEL           SPARCHNER STRABE 14
                                         MINDERBROEDERSSTRAAT 8A BOX 5105       KUFSTEIN 6330
                                         LEUVEN 3000                            AUSTRIA
                                         BELGIUM



KATHREIN WERKE KG                        [NAME REDACTED]                        [NAME REDACTED]
ATTN HEAD OF DEV ELECTRONICS             [ADDRESS REDACTED]                     [ADDRESS REDACTED]
ANTON-KATHREIN-STR N -3
ROSENHEIM 83004
GERMANY
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 KATTEN
                                   [NAME REDACTED]                       PageMUCHIN
                                                                              442 ofLAW
                                                                                      944
                                                                                        FIRM
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  REBECCA LINDAHL
                                                                        550 TRYON STREET, CHARLOTTE
                                                                        NC
                                                                        28202



[NAME REDACTED]                     KAUFMAN PHOTOGRAPHY LLC             [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN OWNER                          [ADDRESS REDACTED]
                                    33 OFFICE PARK RD, A252
                                    HILTON HEAD, SC 29910




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     KAVIT LTD                           [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN MNGR                           [ADDRESS REDACTED]
                                    1 PLETIM ST
                                    RISHON-LEIZON
                                    ISRAEL



[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




KAYAKU ADVANCED MATERIALS INC       [NAME REDACTED]                     [NAME REDACTED]
200 FLANDERS ROAD                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]
WESTBOROUGH, MA 01581-1040




[NAME REDACTED]                     KBK TECHNOLOGIES INC                KBR ENGINEERING OF NORTH CAROLINA INC
[ADDRESS REDACTED]                  ATTN PRESIDENT                      ATTN VICE PRESIDENT & COMM
                                    1310 S POWELINE RD                  2450 PERIMETER PARK DR, STE 100
                                    DEERFIELD BEACH, FL 33442           MORRISVILLE, NC 27560




KBS TRADING INC                     KC HILITIES INC                     KC INDUSTRIAL
98B MAYFIELD AVE                    ATTN COO                            185. SINCHEOKSANDAN5-RO
EDISON, NJ 00837                    2843 W AVENIDA DE LUCES             JINCHEON-GUN 27850
                                    WILLIAMS, AZ 86046                  SOUTH KOREA




KCB SIGNAL SOLUTION LLC             KCC CORPORATION                     KCH SERVICES INC
ATTN PRESIDENT                      344 SAPYEONG-DAERO SEOCHO-GU        144 INDUSTRIAL DR
2 SHAKER RD, STE D209               SEOUL 137703                        FOREST CITY, NC 28043-9675
SHIRLEY, MA 01464                   SOUTH KOREA
KCS INTERNATIONALCaseLLC 25-90163   Document   87 Filed in TXSB on 07/03/25 KCS
                                       KCS LIMITED                            Page  443 of 944
                                                                                OUTSOURCING SOLUTIONS PVT LTD
ATTN CHIEF EXECUTIVE OFFICER            15 QUEENS RD, 8TH FL                  36 ROBINSON RD
144 HILL RD, STE 208                    GLOUCESTER TOWER, THE LANDMARK,       17-01 CITY HOUSE
NEW HOLLAND, PA 17557                   CENTRAL                               SINGAPORE 068877
                                        HONG KONG                             SINGAPORE



KCS SALES & MARKETING SDN BHD           KDG MEDIATECH GMBH                    KDY AUTOMATION SOLUTIONS INC
ATTN DIRECTOR                           ATTN CTO                              ATTN SR AUTOMATION ENGINEER
9 JALAN RISHAH PERMAI 1                 ELBIGENALP 91                         13200 STRICKLAND RD, STE 114-202
TAMAN RISHAH PERMAI                     ELBIGENALP A-6652                     RALEIGH, NC 27613
IPOH, PERAK 30100 MALAYSIA              AUSTRIA



KEA PRODUCTS LIMITED                    KEACO INC                             KEAL CASES, INC.
ATTN COO                                ATTN SALES MGR                        1100 W OLD SETTLERS BLVD
10C, 10/F, 2 CHONG YIP ST               6410 TRI COUNTY PKWY                  ROUND ROCK, TX 78681-1200
MAYER INDUST BLDG,KWUN TONG             SCHERTZ, TX 78154
KOWLOON HONG KONG



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




KEC CORPORATION                         KECO ENGINEERED COATINGS, INC         [NAME REDACTED]
ATTN CHIEF OF OEM                       2111 W. FRONT STREET                  [ADDRESS REDACTED]
275-2 YANGJAE-DONG                      STATESVILLE, NC 28677-3650
SEOCHO-GU
SEOUL SOUTH KOREA



[NAME REDACTED]                         [NAME REDACTED]                       KEEN MATERIALS & DEVICES LTD
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    ATTN PRES
                                                                              77 VREELAND RD
                                                                              WEST MILFORD, NJ 07480




[NAME REDACTED]                         [NAME REDACTED]                       KEEPER TECHNOLOGY CO LTD
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    ATTN TIGER WANG
                                                                              5F, NO 8, WUGONG 5TH RD
                                                                              SINJHUANG CITY, TAIPEI 242
                                                                              TAIWAN



KEES INC                                [NAME REDACTED]                       [NAME REDACTED]
ATTN VICE PRESIDENT                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]
400 SOUTH INDUSTRIAL DR
P.O. BOX 327
ELKHART LAKE, WI 53020
KEI SHING ENTERPRISE Case
                        (HK) 25-90163
                             CO LTD     Document   87 Filed
                                           KEIHIN NORTH      in INC
                                                        AMERICA TXSB on 07/03/25 [NAME
                                                                                   Page  444 of 944
                                                                                       REDACTED]
ATTN DIRECTOR                               ATTN PLANT MNG                       [ADDRESS REDACTED]
RM 207, 2/F, BLK B, NEW TRADE PLZ           2701 ENTERPRISE DR
6 ON PING ST                                ANDERSON, IN 46013
SHATIN, NT HONG KONG



[NAME REDACTED]                             [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                      KEITHLEY INSTRUMENTS INC
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   ATTN ACCT MGR
                                                                                 28775 AURORA RD
                                                                                 CLEVELAND, OH 44139-1891




[NAME REDACTED]                             KELE, INC.                           [NAME REDACTED]
[ADDRESS REDACTED]                          330 BROTHER BLVD                     [ADDRESS REDACTED]
                                            BARTLETT, TN 38133




KELLER TECHNOLOGY CORP                      [NAME REDACTED]                      [NAME REDACTED]
ATTN VP                                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]
11905 VANSTORY DR
HUNTERSVILLE, NC 28078




KELLERS INC                                 [NAME REDACTED]                      [NAME REDACTED]
6750 GORDON ROAD                            [ADDRESS REDACTED]                   [ADDRESS REDACTED]
WILMINGTON, NC 28411-8464




KELLOGG MEMORIALS                           KELLY CONSTRUCTION INC               KELLY SERVICES
1014 WEST DOMINICK STREET                   12550 LAKE STATION PL                6800 WASHINGTON AVE, STE 1A
ROME, NY 13440-2926                         LOUISVILLE, KY 40299                 RACINE, WI 53406




[NAME REDACTED]                             [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]
KELVIN HUGHES LTDCase 25-90163     Document
                                      KEMENY87  Filed in
                                            ASSOCIATES   TXSB on 07/03/25 KEMET
                                                       LLC                  Page  445 of 944
                                                                                ELECTRONICS CORPORATION
VOLTAGE, MOLLISON AGE                  DBA MIDDLETON SPECTRAL VISION         ATTN VP SALES
ENFIELD EN3 7XQ                        ATTN PRESIDENT                        1 E BROWARD BLVD, 5TH FL
UNITED KINGDOM                         8505 UNIVERSITY GREEN                 FORT LAUDERDALE, FL 33301
                                       MIDDLETON, WI 53562



KEMLAB INC                             KEMPEL, KEN                           KEMPPI OY
ATTN GENERAL MGR                       DBA K&J LUMINAIRE SAFETY CONSULTING   ATTN SR PURCHASING MGR
254 W CUMMINGS RD                      15 COBBLERIDGE CT                     KEMPINKATU 1
WOBURN, MA 01801                       DURHAM, NC 27713                      LAHTI 15801
                                                                             FINLAND



KEN, TEOH EE                           KENALL MANUFACTURING CO               [NAME REDACTED]
                                       ATTN PRESIDENT                        [ADDRESS REDACTED]
                                       1020 LAKESIDE DR
                                       GURNEE, IL 60031-2400




[NAME REDACTED]                        [NAME REDACTED]                       KENDELL INTERMEDIATE CORP
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    ATTN BVP
                                                                             1312 NORTHLAND DR, STE 100
                                                                             MENDOTA HEIGHTS, MN 55120




[NAME REDACTED]                        KENGINEERING TECHNICAL SERVICES INC   KENLY PRECISION INDUSTRIAL CO LTD
[ADDRESS REDACTED]                     ATTN PRESIDENT                        ATTN GM
                                       14222 S 131 ST                        NO 4, INDUSTRIAL 5TH RD
                                       GILBERT, AZ 85233                     PING CHENG IND DIST, PING CHENG CITY
                                                                             TAOYUAN HSIEN TAIWAN



KENMODE TOOL AND ENGINEERING INC       KENNAMETAL INC                        KENNEDY, BRIAN
DBA KENMODE PRECISION METAL STAMPING   ATTN SALES ENGINEER                   DBA INNOVATIVE MAINTENANCE SYSTEMS
ATTN VP SALES                          600 GRANT ST, STE 5100                ATTN SALES MGR
820 W ALGONQUIN RD                     PITTSBURGH, PA 15219                  P.O. BOX 74
ALGONQUIN, IL 60102                                                          WAKE FOREST, NC 27587



[NAME REDACTED]                        [NAME REDACTED]                       KENNEDYS LAW LLP
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    25 FENCHURCH AVE
                                                                             LONDON EC3M 5AD
                                                                             UNITED KINGDOM




[NAME REDACTED]                        [NAME REDACTED]                       KENNETH MAYS KMAYS TECHNICAL
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    SERVICES
                                                                             ATTN OWNER
                                                                             10115 SW MURDOCK ST
                                                                             TIGARD, OR 97224



[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       KENOSA HEATING & COOLING LLC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    ATTN MEMBER
                                                                             4421 SHERIDAN RD
                                                                             KENOSHA, WI 53140
KENRICH INDUSTRIALCase
                   INC 25-90163   Document  87 Filed
                                     KENT CLEMENCO    in TXSB on 07/03/25 KENT
                                                   PHOTOGRAPHY              Page  446
                                                                               KIMYA    ofURUNLERI
                                                                                     LAB.  944
ATTN PRESIDENT                        ATTN OWNER                            SEYRANTEPE MAH. IBRAHIM
W234 N700 BUSSE RD                    1777 LAFAYETTE ST, STE 108            KARAOGLANOGLU
WAUKESHA, WI 53188                    SANTA CLARA, CA 95050                 ISTANBUL 34418
                                                                            TURKEY



KENT OPTRONICS INC                    [NAME REDACTED]                       [NAME REDACTED]
ATTN CEO                              [ADDRESS REDACTED]                    [ADDRESS REDACTED]
40 CORPORATE PARK DR
HOPEWELL JUNCTION, NY 12533




[NAME REDACTED]                       KENTUCKY CHILD SUPPORT                KENTUCKY DEPT OF REVENUE
[ADDRESS REDACTED]                    RE: 15-J-0493 (ORIGINAL)              15100 N US 26 E, STE 2
                                      P.O. BOX 14059                        CORBIN, KY 40701
                                      LEXINGTON, KY 40512




KENTUCKY DEPT OF REVENUE              KENTUCKY DEPT OF REVENUE              KENTUCKY DEPT OF REVENUE
1539 GREENUP AVE                      181 HAMMOND DR                        201 W PROFESSIONAL PARK CT
ASHLAND, KY 41101                     HOPKINSVILLE, KY 42240                BOWLING GREEN, KY 42104




KENTUCKY DEPT OF REVENUE              KENTUCKY DEPT OF REVENUE              KENTUCKY DEPT OF REVENUE
501 HIGH ST, STATION 38               600 W CEDAR ST, 2ND FL WEST           CLARK BUSINESS COMPLEX, STE G
FRANKFORT, KY 40601-2103              LOUISVILLE, KY 40202                  2928 PARK AVE
                                                                            PADUCAH, KY 42001




KENTUCKY DEPT OF REVENUE              KENTUCKY DEPT OF REVENUE              KENTUCKY DEPT OF REVENUE
CORPORATE CENTER                      TURFWAY RIDGE OFFICE PARK             UNIPLEX CENTER
401 FREDERICA ST                      7310 TURFWAY RD, STE 190              126 TRIVETTE DR, STE 203
BDLG C, STE 201                       FLORENCE, KY 41042                    PIKEVILLE, KY 41501
OWENSBORO, KY 42301



KENTUCKY DEPT OF                      KENTUCKY LABOR CABINET                KENTUCKY OFFICE OF THE ATTORNEY
ENVIRONMENTAL PROTECTION              500 METRO ST, 3RD FL                  GENERAL
300 SOWER BLVD                        FRANKFORT, KY 40601                   CONSUMER PROTECTION DIVISION
FRANKFORT, KY 40601                                                         1024 CAPITAL CTR DRSTE 200
                                                                            FRANKFORT, KY 40601



KENTUCKY OFFICE OF THE ATTORNEY       KENTUCKY OFFICE OF THE ATTORNEY       KENTUCKY PERSONNEL CABINET
GENERAL                               GENERAL                               501 HIGH ST
LOUISVILLE                            PRESTONSBURG                          FRANKFORT, KY 40601
CONSUMER PROTECTION DIVISION          361 N LAKE DR
310 WHITTINGTON PKWY STE 101          PRESTONSBURG, KY 41653
LOUISVILLE, KY 40222


KENTUCKY SECRETARY OF STATE           KENTUCKY SECURITIES DIVISION          KENTUCKY STATE TREASURER
700 CAPITAL AVE                       500 METRO ST                          UNCLAIMED PROPERTY DIVISION
STE 152                               FRANKFORT, KY 40601                   1050 US HIGHWAY 127 SOUTH, STE 100
FRANKFORT, KY 40601                                                         FRANKFORT, KY 40601




KENWALT DIE CASTING CORP              [NAME REDACTED]                       [NAME REDACTED]
ATTN QUALITY MGR                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
8719 BRADLEY AVE
SUN VALLEY, CA 91352
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 KEO
                                        [NAME REDACTED]                       Page  447
                                                                                MUSIC    of 944
                                                                                      RECORDINGS
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     ATTN CLINTON A SHEARIN JR
                                                                                109 EVENING STORM PL
                                                                                APEX, NC 27539




KEPCO                                    KERAGIS CORP                           KERN PRECISION INC
131-38 SANFORD AVENUE                    ATTN PRODUCTION MGR                    1010 W. FULLERTON AVENUE UNIT E
FLUSHING, NY 11355-4231                  12131 COMMUNITY RD                     ADDISON, IL 60101-4333
                                         POWAY, CA 92064




[NAME REDACTED]                          [NAME REDACTED]                        KERR CORPORATION
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     ATTN VP INNOVATION/R&D
                                                                                1717 W COLLINS AVE
                                                                                ORANGE, CA 92867




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                          KES SYSTEMS & SERVICE (1993) PTE LT    [NAME REDACTED]
[ADDRESS REDACTED]                       1093 LOWER DELTA ROAD 02-01/08         [ADDRESS REDACTED]
                                         SINGAPORE 169204
                                         SINGAPORE




KESM INDUSTRIES BERHAD                   KESTE LLC                              KESTREL SYSTEMS CORP
ATTN COO                                 ATTN CFO                               ATTN PRESIDENT
LOT 4, SS 8/4, SUNGEI WAY                6100 W PLANO PKWY, STE 1800            6965 EL CAMINO REAL, STE 105
FREE INDUSTRIAL ZONE, PETALING JAYA      PLANO, TX 75093                        CARLSBAD, CA 92009
SELANGOR DARUL EHSAN 47300 MALAYSIA



KETECA SINGAPORE LTD                     KETECA USA INC                         [NAME REDACTED]
35 TANNERY ROAD 07-06 RUBY INDUSTR       4280 W OPPORTUNITY WAY                 [ADDRESS REDACTED]
SINGAPORE 347740                         PHOENIX, AZ 85086-1045
SINGAPORE




[NAME REDACTED]                          KETRA INC                              KETTERING UNIVERSITY
[ADDRESS REDACTED]                       ATTN CHIEF EXECUTIVE OFFICER           1700 UNIVERSITY AVE
                                         3815 S CAPITAL OF TEXAS HWY, STE 100   FLINT, MI 48504
                                         AUSTIN, TX 78704




[NAME REDACTED]                          [NAME REDACTED]                        KEVIN KENNEDY AND ASSOCIATES INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     ATTN PRES
                                                                                3905 VINCENNES RD, STE 320
                                                                                INDIANAPOLIS, IN 46268




KEWEENAW POWER SYSTEMS INC               KEY LAB OF ANTENNA & MICROWAVE         KEY TECHNOLOGIES INC
7287 FAUSSETT RD                         TECHNOLOGY                             ATTN CHIEF EXECUTIVE OFFICER
FENTON, MI 48430                                                                40 E CROSS ST
                                                                                BALTIMORE, MD 21230
KEY TRONIC CORP Case 25-90163     Document  87 Filed
                                     KEY TRUCKING LLC in TXSB on 07/03/25 [NAME
                                                                            Page  448 of 944
                                                                                REDACTED]
DBA KEYTRONICEMS CO                   ATTN CO-PRESIDENT                     [ADDRESS REDACTED]
ATTN PRESIDENT & CEO                  19657 78TH AVE S
4424 N SULLIVAN RD                    KENT, WA 98032
SPOKANE VALLEY, WA 99216



KEYBANK NATL ASSOC (2205)             KEYENCE (M) SDN BHD                   KEYENCE CORPORATION OF AMERICA
ATT WILLIAM WEBBER/PROXY MGR          LOT NO. B-25-2, LEVEL 25,             300 ARBORETUM PLACE
4900 TIEDEMAN RD                      THE ASCEN NO. 1 JALAN SS 7/26A        RICHMOND, VA 23236-3475
BROOKLYN, OH 44144                    KELANA JAYA 47301
                                      MALAYSIA



KEYENCE CORPORATION OF AMERICA        KEYES FOX & WIEDMAN LLP               KEYMAC USA LLC
3730 GLEN LAKE DR, STE 275            ATTN SUSAN, GOUCHOE                   ATTN MANAGING DIRECTOR
CHARLOTTE, NC 28208                   436 14TH ST                           2905 WESTINGHOUSE BLVD, STE 200
                                      OAKLAND, CA 94612                     CHARLOTTE, NC 28273




KEYSIGHT TECHNOLOGIES CO LTD          KEYSIGHT TECHNOLOGIES DEUTSCHLAND G   KEYSIGHT TECHNOLOGIES INC
RM 1604, NO 1350 N SICHUAN ROAD       SINGAPORE (SALES) PTE LTD             ATTN CONTRACT SPECIALIST
HONGKOU DISTRICT                      NO. 1 YISHUN AVENUE 7                 1400 FOUNTAINGROVE PKWY
SHANGHAI                              SINGAPORE 768923                      SANTA ROSA, CA 95403
CHINA                                 SINGAPORE



KEYSIGHT TECHNOLOGIES SWEDEN AB       KEYSTONE GROUP INC                    KEYSTONE TECHNOLOGIES LLC
32837 COLLECTIONS CENTER DRIVE        ATTN DIRECTOR                         ATTN SALES MANAGER
CHICAGO, IL 60693-0328                300 N LASALLE ST, STE 4300            208 PROGRESS DR
                                      CHICAGO, IL 60654                     MONTGOMERYVILLE, PA 18936




KEYW CORP, THE                        KFORCE INC                            KH SALES
ATTN SR CONTRACTS ADMIN               ATTN DIRECTOR                         ATTN OWNER
7740 MILESTONE PKWY, STE 400          1001 E PALM AVE                       7019 WILLOWTREE AVE
HANOVER, MD 21076                     TAMPA, FL 33605                       MIDDLETOWN, MD 21769




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  449 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     KHATOD OPTOELECTRONIC SRL              KHATOD USA OPTOELECTRONIC
[ADDRESS REDACTED]                  ATTN PRESIDENT                         ATTN DIR
                                    VIA MONFALCONE 41, CINISELLO BALSAMO   1033 LENAPE RD
                                    MILAN 20092                            WEST CHESTER, PA 19382
                                    ITALY



[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




KHVATEC CO LTD                      KIC                                    KICHLER LIGHTING
ATTN MANAGING DIR                   ATTN SALES ADMIN                       ATTN PRES, CEO
293 GONG DAN-DONG                   16120 W BERNARDO DR                    7711 E PLEASANT VALLEY RD
GUMI GYEONG BUK                     SAN DIEGO, CA 92127                    CLEVELAND, OH 44131-0810
SOUTH KOREA
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  450 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                           [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                              KIDDCO INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                           ATTN OPERATIONS MNGR
                                                                                      8000 DIRT RD
                                                                                      APEX, NC 27539




KIEFEL GMBH                              [NAME REDACTED]                              [NAME REDACTED]
ATTN MG DIRECTOR                         [ADDRESS REDACTED]                           [ADDRESS REDACTED]
SUDETENSTR 3
FREILASSING D-83395
GERMANY



[NAME REDACTED]                          [NAME REDACTED]                              KIKUMA, ISSHU
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                           9 CIRCUIT DR
                                                                                      DURHAM, NC 27710




KIKUSUI AMERICA INC                      [NAME REDACTED]                              [NAME REDACTED]
ATTN SR MNG OF CORP OPERATION            [ADDRESS REDACTED]                           [ADDRESS REDACTED]
1633 BAYSHORE HWY, STE 331
BURLINGAME, CA 94010




[NAME REDACTED]                          KILPATRICK LAW FIRM                          KILPATRICK TOWNSEND & STOCKTON LLP
[ADDRESS REDACTED]                       JOHN ALEMANNI                                214 N TYRON ST, STE 2500
                                         4208 SIX FORKS ROAD SUITE 400, RALEIGH       CHARLOTTE, NC 28202-2381
                                         NC
                                         27609



KILPATRICK TOWNSEND & STOCKTON LLP       KILPATRICK TOWNSEND & STOCKTON LLP           [NAME REDACTED]
4208 6 FORKS RD, STE 1400                KEITH RICHARDSON                             [ADDRESS REDACTED]
RALEIGH, NC 27609                        1100 PEACHTREE STREET NE, STE 2800,
                                         ATLANTA
                                         GA
                                         30309-4528 KRichardsonktslaw.com 404-0541-
                                         3365

[NAME REDACTED]                          [NAME REDACTED]                              [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                           [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                              [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                           [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                              [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                           [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  451 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                         KIMBERLY LIGHTING LLC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                      ATTN DOUG JENKINS, CEO
                                                                            5827 TEREX
                                                                            CLARKSTON, MI 48346




KIMBERLY-CLARK CORP                 [NAME REDACTED]                         [NAME REDACTED]
ATTN DIRECTOR                       [ADDRESS REDACTED]                      [ADDRESS REDACTED]
1400 HOLCOMB BRIDGE RD
ROSWELL, GA 30076




[NAME REDACTED]                     KIMCON LLC                              KIMLEY-HORN AND ASSOCIATES, INC.
[ADDRESS REDACTED]                  ATTN OWNER                              421 FAYETTEVILLE STREET
                                    3704 FIR ST                             RALEIGH, NC 27601-1792
                                    THE VILLAGES, FL 32163




[NAME REDACTED]                     KINA RESERVE INC                        [NAME REDACTED]
[ADDRESS REDACTED]                  129 MOURNING DOVE LN                    [ADDRESS REDACTED]
                                    RACINE, WI 53406




[NAME REDACTED]                     KINAXIS CORP                            [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN CONTRACTS MGR                      [ADDRESS REDACTED]
                                    40 E CHICAGO AVE, 391
                                    CHICAGO, IL 60611




KINEQUIP INC                        KINETIC SYSTEMS, INC.                   KINETICS METAL & PLASTICS MFG LTD
365 OLD NIAGARA FALLS BLVD          20 ARBORETUM ROAD                       ATTN GEN MGR
BUFFALO, NY 14228-1636              BOSTON, MA 02131-1102                   RM 11, 16TH FL, CHEONG CAN CENTRE NO. 8
                                                                            YIP WONG RD, TUEN MUN
                                                                            NEW TERRITORIES HONG KONG



KING & SCHICKLI PLLC                KING BAG & MANUFACTURING CO             KING BROTHER TECHNOLOGY LIMITED
ATTN PATRICK M TORRE, PHD           ATTN SALES MANAGER                      FLAT A, 14/F, WILLY COMMERCIAL BUIL
247 N BROADWAY                      1500 SPRING LAWN AVE                    HONGKONG 999077
LEXINGTON, KY 40507                 CINCINNATI, OH 45223                    CHINA




KING ELECTRIC CO                    KING FINE METAL LIMITED                 KING MOBILE HOME MOVERS
ATTN PRESIDENT                      ATTN SALES & MARKETING MGR              ATTN OWNER
808 CHAPEL HILL RD                  A3, 10F, YEE LAM IND CENTER             P.O. BOX 506
BURLINGTON, NC 27216                28 KWAI LOK ST                          EFLAND, NC 27243
                                    KWAI CHUNG, NT HONG KONG



KING PRECISION INC                  KING SAUD UNIVERSITY                    KING STAR COMPUTER INC
ATTN CHIEF EXECUTIVE OFFICER        BLDG 3041, KING ABDULLAH RD WESTWARD    ATTN VP
6996 SOQUEL AVE                     P.O. BOX 14511                          855 KIFER RD
SANTA CRUZ, CA 95062                BEFORE INTERSECTION OF KING KHALID RD   SUNNYVALE, CA 94086
                                    RIYADH 4545 SAUDI ARABIA
KING SWORD MFG CO    Case
                       LTD 25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
                                          [NAME REDACTED]                       Page  452 of 944
                                                                                    REDACTED]
NO. 16 LN 132, SEC. 1 CHONG-HSING RD       [ADDRESS REDACTED]                      [ADDRESS REDACTED]
HO MEI CHEN
CHANG HUA HSIEN 508
TAIWAN



[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]




KINGBRIGHT ELECTRONIC CO LTD               KINGBRIGHT ELECTRONIC CO LTD            [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER               ATTN WEN JOE SONG                       [ADDRESS REDACTED]
RM 106, 54 HOI YUEN RD                     3 FL, 317-1, SEC 2 CHUNG-SHAN RD
KWUN TONG                                  CHUNG HO CITY,
KOWLOON HONG KONG                          TAIPEI HSIEN TAIWAN



KINGFISHER ASIA LTD                        KINGLUMI CO LTD                         KINGMATE CORP
21/F CORNWALL HOUSE, TAIKOO PL             BLDG 3, NANGANG THIRD INDUSTRIAL ZONE   14F, NO.243, DONG SEC 1
HONG KONG                                  TANGTOU SHIYAN TOWN                     GUANGMING 6TH RD
                                           BAOAN DISTRICT                          JHUBEI, HSINCHU 30264
                                           SHENZHEN CHINA                          TAIWAN



KINGS III EMERGENCY COMMUNICATIONS         KINGS III OF AMERICA LLC                KINGSLEY NORTH INC
751 CANYON DR                              DBA KINGS III EMERGENCY                 ATTN PRESIDENT
STE 100                                    COMMUNICATIONS                          910 BROWN ST
COPPELL, TX 75019                          ATTN SALES ADMIN                        NORWAY, MI 49870
                                           751 CANYON DR, STE 100
                                           COPPELL, TX 75019


KINGSTON MARTINEZ & HOGAN LLP              KINGSUN OPTOELECTRONICS CO LTD          KINGWONG ELECTRONIC (SHENZHEN) CO
1300 SANTA BARBARA ST                      HENGJIANGXIA ADMINISTRATION ZONE        LTD
SANTA BARBARA, CA 93101                    CHANGPING, GUANGDONG                    ATTN SALES MGR
                                           DONGGUAN 523565                         NO. 166 SHUIKU RD, TIEGANG VILLAGE
                                                                                   XIXIANG TOWN, BAOAN
                                                                                   SHENZHEN CHINA


KINGWOOD INTERNATIONAL ENTERPRISES         KINI GROUP LLC, THE                     KINIK COMPANY
LTD                                        ATTN CHIEF EXECUTIVE OFFICER            ATTN PLANT MANAGER
UNIT 01, 23/F, ONE HARBOUR SQUARE          1422 W WILLOW ST, 202                   NO. 10, YANPING S RD
181 HOI BUN RD, KWUN TONG                  CHICAGO, IL 60642                       TAIPEI
KOWLOON                                                                            TAIWAN
HONG KONG


[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document  87 Filed INC
                                       KINPO ELECTRONICS in TXSB on 07/03/25 KINSLEY
                                                                               PageGROUP,
                                                                                     453 ofINC.
                                                                                             944
[ADDRESS REDACTED]                      ATTN BOARD DIR                       KINSLEY POWER SYSTEMS
                                        NO 147, SEC 3, BEISHEN RD            14 CONNECTICUT SOUTH DRIVE
                                        SHENKENG TAIPEI                      EAST GRANBY, CT 06026-9738
                                        TAIPEI COUNTY 222 TAIWAN



KIN-TEK LABORATORIES INC                KINTETSU WORLD EXPRESS (USA) INC     [NAME REDACTED]
ATTN SERVICE MGR                        ONE JERICHO PLAZA, STE 100           [ADDRESS REDACTED]
504 LAUREL ST                           JERICHO, NY 11753
LA MARQUE, TX 77568




KIPPSDESANTO & CO                       [NAME REDACTED]                      KIRENTEC LTD
ATTN MANAGING DIR                       [ADDRESS REDACTED]                   WALTER SCOTT HOUSE
8000 TOWERS CRESCENT DR, STE 1200                                            ROSS-ON-WYE
TYSONS CORNER, VA 22182                                                      HEREFORDSHIRE HR9 5PB
                                                                             UNITED KINGDOM



[NAME REDACTED]                         KIRINTEC UK                          KIRK NOE DATABASE & SOFTWARE LLC
[ADDRESS REDACTED]                      ATTN FINANCE DIR                     3005 WESTERN WAY
                                        10 OLD GLOUCESTER RD                 ROCKLIN, CA 95765
                                        ROSS ON WYE
                                        HEREFORDSHIRE HR9 5PB UNITED
                                        KINGDOM


KIRK SOMMER SALES INC                   KIRK SOMMER SALES INC                KIRKCO CORP
ATTN KIRK SOMMER                        ATTN VP SALES & MARKETING            ATTN PRESIDENT
1740 PLUM LN, STE A                     1323 W COLTON AVE                    2213 STAFFORD ST
REDLANDS, CA 92374                      REDLANDS, CA 92374                   MONROE, NC 28110




KIRKER KUBALA INC                       KIRKLAND & ELLIS LLP                 KIRKLAND & ELLIS LLP
ATTN JEFF KIRKER, PRESIDENT             COUNSEL TO RENESAS ELECTRONICS       COUNSEL TO RENESAS ELECTRONICS
4004 COMMERCIAL BLVD                    AMERICA INC.                         AMERICA INC.
CINCINNATI, OH 45245                    ATTN: STEVEN N. SERAJEDDINI, CIARA   ATTN: YUSUF SALLOUM, CLAIRE STEPHENS
                                        FOSTER                               333 WEST WOLF POINT PLAZA
                                        601 LEXINGTON AVENUE                 CHICAGO, IL 10022
                                        NEW YORK, NY 10022

[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         KISCO (HK) LIMITED                   KISCO CONFORMAL COATING LLC
[ADDRESS REDACTED]                      ATTN MANAGING DIR                    ATTN PRESIDENT
                                        UNIT 2608, THE METROPOLIS TOWER      98 QUICK RD
                                        10 METROPOLIS DR, HUNGHOM            MILFORD, CT 06460
                                        KOWLOON HONG KONG



KISHIMOTO SANGYO CO LTD                 KISWIRE TRADING INC                  [NAME REDACTED]
ATTN VICE PRESIDENT                     ATTN SALES MANAGER                   [ADDRESS REDACTED]
4-11-2 NIHONBASHI HONCHO, CHUO-KU       3890 STEVE REYNOLDS BLVD
TOKYO 103-8410                          NORCROSS, GA 30093
JAPAN



KITEC MICROELECTRONIC TECHNOLOGIE       KIVA CONTAINER CORP                  [NAME REDACTED]
GMBH                                    ATTN SALES MGR                       [ADDRESS REDACTED]
ATTN MANAGING DIR                       2700 E REGAL PARK DR
ERDINGER STRASSE 15A                    ANAHEIM, CA 92806
WOERTH HOERIKOFEN D85457
GERMANY
KJ INNOVATION    Case 25-90163   Document  87 CO
                                    KJ PRETECH Filed
                                                 LTD in TXSB on 07/03/25 KKPage
                                                                            WORLD454 of CENTER
                                                                                  TRADE 944 BUILDING
2502 ROBERTSON RD                    ATTN GENERAL MANAGER
SANTA CLARA, CA 95051                594-1, PANWOL-DONG
                                     HWASEONG, GYEONGGI-DO 445-390
                                     SOUTH KOREA



KL MOBLEY EQUIPMENT                  KL PRABHU M TECH                    KLA CORPORATION
ATTN PRESIDENT                       C/O GITAM UNIVSERSITY RUSHI         THREE TECHNOLOGY DRIVE
540 PYLON DR                         GANHI NAGAR VISAKHAPATNAM           MILPITAS, CA 95035
RALEIGH, NC 27606                    ANDHRA PRADESH 530045




KLAROS CORPORATION                   KLA-TENCOR CORP                     [NAME REDACTED]
ATTN PRESIDENT                       ATTN GEN MGR                        [ADDRESS REDACTED]
19800 LYNDENWOOD AVE                 ONE TECHNOLOGY DR
REALSVILLE, MD 20839                 MILPITAS, CA 95035




[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




KLE ABE                              KLEBERG BANK NA                     KLEIN DICKERT MILWAUKEE INC
ATTN ELECTRICAL ENGINEER             ATTN CHIEF INFO OFF                 ATTN CFO
HILDEDALSGATEN 18                    100 E KLEBERG AVE                   W231 N2837 ROUNDY CIR E
GOTENBERG 417 05                     KINGSVILLE, TX 78363                PEWAUKEE, WI 53072
SWEDEN



[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                      KLEINFELDER SOUTHEAST INC           [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN VICE PRESIDENT                 [ADDRESS REDACTED]
                                     327 HILLSBOROUGH ST
                                     RALEIGH, NC 27603




KLH ELECTRONICS PLC                  KLH INDUSTRIES INC                  [NAME REDACTED]
SOUTHPORT BUSINESS PARK              ATTN PRESIDENT                      [ADDRESS REDACTED]
WIGHT MOSS WAY                       N117 W18607 FULTON DR
SOUTHPORT PR8 4ZZ                    GERMANTOWN, WI 53022
UNITED KINGDOM



[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




KLOUDHIVE LLC                        [NAME REDACTED]                     KLUBER LUBRICATION NORTH AMERICA LP
1 BARNEY ROAD SUITE 248              [ADDRESS REDACTED]                  ATTN CHIEF FINANCIAL OFFICER
CLIFTON PARK, NY 12065-5843                                              32 INDUSTRIAL DR
                                                                         LONDONBERRY, NH 03053
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 KMPage
                                          [NAME REDACTED]                        KELLY,455
                                                                                       INC. of 944
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   P.O. BOX 275
                                                                                ROCHDALE, MA 01542-0275




KMC SYSTEM CO LTD                          KMG ELECTRONIC CHEMICALS INC         KMIC TECHNOLOGY INC
102-705 SK VENTIUM 522                     ATTN GENERAL COUNSEL                 ATTN PRES & CEO
DANGJUNG-DONG                              9555 W SAM HOUSTON PKWY S, STE 600   1019 E BROKAW RD
GUNPO-SI, GYUNGGI-DO                       HOUSTON, TX 77099                    SAN JOSE, CA 95131
SOUTH KOREA



KMW INC                                    KMW INC                              KMZ ENTERPRISES LLC
ATTN GEUN-YOUNG KIM                        ATTN TEAM MGR                        DBA SPECIALTY GLASS PRODUCTS INC
65 YOUNGCHUN-RI                            183-6, YEONGCHEON-RO                 ATTN PRESIDENT
DONGTAN-MYUN                               DONGTAN-MYEON                        2885 TERWOOD RD
HWASUNG, GYEONGGI-DO 445-813 SOUTH         HWASEONG, GYEONGGI-DO SOUTH KOREA    WILLOW GROVE, PA 19090
KOREA


[NAME REDACTED]                            [NAME REDACTED]                      KNESS RND CENTER LLC
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   ATTN DIRECTOR
                                                                                ENERGETYCHNA STR., 5A
                                                                                VINNITSA 21022
                                                                                UKRAINE



KNIGHT FRANK (SHANGHAI) PROPERTY           [NAME REDACTED]                      [NAME REDACTED]
CONSULTANTS CO. LTD                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]
9/F PLATINUM, 233 TAICANG ROAD, HUA
SHANGHAI 200020
CHINA



[NAME REDACTED]                            [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]




KNOCKOUT TECHNOLOGY                        KNOWBE4 INC                          KNOWLES CAZENOVIA INC
SERIES 55 OF THE ALLIED SECURITY TRUST I   ATTN CHIEF REV OFFICER               DBA DITF INTERCONNECT TEC
C/O FENWICK & WEST LLP; JAKE HANDY         33 N GARDEN AVE, STE 1200            2777 ROUTE 20 EAST
555 CALIFORNIA ST, 12TH FL                 CLEARWATER, FL 33755                 CAZENOVIA, NY 13035-8444
SAN FRANCISCO, CA 94140



[NAME REDACTED]                            [NAME REDACTED]                      KNOWMADE
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   2405 ROUTE DES DOLINES LE DRAKKAR, BAT
                                                                                D
                                                                                VALBONNE SOPHIA ANTIPOLIS (ALPES-
                                                                                MARITIMES) 06560
                                                                                FRANCE


[NAME REDACTED]                            [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]




KOARTAN LLC                                [NAME REDACTED]                      KOBO PRODUCTS INC
ATTN SENIOR PARTNER                        [ADDRESS REDACTED]                   ATTN VP OF RD
1248 SUSSEX TPKE, UNIT B12                                                      3474 S CLINTON AVE
RANDOLPH, NJ 07869                                                              SOUTH PLAINFIELD, NJ 07080
                  Case 25-90163
KOCH EQUITY DEVELOPMENT LLC        Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  456 of 944
                                                                                REDACTED]
ATTN SETH WALTON                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
4111 E 37TH ST N
WICHITA, KS 67220




[NAME REDACTED]                        KODIS CO LTD                       [NAME REDACTED]
[ADDRESS REDACTED]                     404-2 DOOJUNG DONG                 [ADDRESS REDACTED]
                                       CHUNAN, CHOONGNAM
                                       SOUTH KOREA




[NAME REDACTED]                        KOETTER FIRE PROTECTION INTL LLC   KOETTER FIRE PROTECTION L.L.C
[ADDRESS REDACTED]                     P.O. BOX 59385                     10351 OLYPMIC DRIVE
                                       DALLAS, TX 75229-1385              DALLAS, TX 75220-4437




KOH YOUNG AMERICA INC                  KOH YOUNG TECHNOLOGY INC           KOHA CO LTD
ATTN GENERAL MGR                       15F, HALLA SIGMA VALLEY            ATTN PRES
6505 W FRYE RD                         53 GASAN DIGITAL 2-RO              2-6-8 KOUYAMA, NERIMA-KU
CHANDLER, AZ 85226                     GEUMCHEON-GU                       TOKYO 176-0022
                                       SEOUL SOUTH KOREA                  JAPAN



[NAME REDACTED]                        KOHLS DEPT STORES INC              [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN SR MGR                        [ADDRESS REDACTED]
                                       N56 W17000 RIDGEWOOD DR
                                       MENOMONEE FALLS, WI 53051




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




KOIZUMI LIGHTING TECHNOLOGY CORP       KOKUSAI ELECTRIC CORPORATION       [NAME REDACTED]
ATTN GM                                ATTN PRESIDENT                     [ADDRESS REDACTED]
3-7, 3-CHOME, BINGOMACHI               OAK KANDA KAJI-CHO BLDG 5F
CHUO-KU, OSAKA 541-0051                3-4 KANDA KAJI-CHO, CHIYODA-KU
JAPAN                                  TOKYO JAPAN



[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        KOLLMORGEN AB                      KOLTAI LIGHTING DESIGN LLC
[ADDRESS REDACTED]                     ATTN MANAGING DIR                  ATTN PRESIDENT
                                       SOLKRAFTSVAGEN 13                  824 TOLMAN DR
                                       STOCKHOLM 135 70                   STANFORD, CA 94305
                                       SWEDEN



[NAME REDACTED]                        KOMASA INC                         KOMICO TECHNOLOGY INC
[ADDRESS REDACTED]                     ATTN MANAGING DIR                  201 MICHAEL ANGELO WAY
                                       4-8-1 HONMACHI, CHUO-KU            AUSTIN, TX 78728-1211
                                       OSAKA
                                       JAPAN
[NAME REDACTED] Case 25-90163           Document  87 Filed in TXSB on 07/03/25 [NAME
                                           [NAME REDACTED]                       Page  457 of 944
                                                                                     REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                      KONE CORP
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   ATTN VP, LEGAL CORP
                                                                                 KARTANONTIE 1
                                                                                 HELSINKI 00330
                                                                                 FINLAND



[NAME REDACTED]                             KONECRANES, INC                      KONECS D&T INC
[ADDRESS REDACTED]                          4401 GATEWAY BLVD                    1208, HALLA SIGMAVALEY
                                            SPRINGFIELD, OH 45502-9339           442-2, SANGDAEWON-DONG, JUNGWON-GU
                                                                                 SEONGNAM, GEONGGI-DO
                                                                                 SOUTH KOREA



[NAME REDACTED]                             KONG, PAN                            KONGSBERG DEFENCE & AEROSPACE AS
[ADDRESS REDACTED]                                                               ATTN VP DEF COM PROD & TECH
                                                                                 KIRKEGARDSVEIEN 45
                                                                                 KONGSBERG NO-3616
                                                                                 NORWAY



KONGSBERG DEFENCE COMMUNICATIONS            KONINKLIJKE PHILIPS ELECTRONICS NV   KONINKLIJKE PHILIPS ELECTRONICS NV
AS                                          ATTN SR MGR PROD DEVELOPMENT         C/O PHILIPS INTELLECTUAL PROP &
ATTN DIR OF OPERATIONS                      1611 CLOVIS BAKER RD                 STANDARDS
P.O. BOX 87                                 SAN MARCOS, TX 78666                 ATTN ARIAN DUIJVESTIJN
BILLINGSTAD 1375                                                                 P.O. BOX 220
NORWAY                                                                           EINDHOVEN 5600 AE NETHERLANDS


KONINKLIJKE PHILIPS NV                      KONINKLIJKE PHILIPS NV               KONOSHIMA CHEMICAL CO LTD
ATTN CHIEF INTELLECT OFF                    DBA PHILIPS INDONESIA                ATTN MGR
HIGH TECH CAMPUS 5                          ATTN PLANT MGR                       80 KODA TAKUMA-CHO
AE EINDHOVEN 5656                           J1 BERBEK INDUSTRI I, KAV 5-19       MITOYO-SHI, KAGAWA 769-1103
NETHERLANDS                                 SIDOARJO 61256 INDONESIA             JAPAN



[NAME REDACTED]                             [NAME REDACTED]                      KONSTANT PRODUCTS INC
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   ATTN CFO
                                                                                 1600 GOLD RD, STE 520
                                                                                 ROLLING MEADOWS, IL 60008




KONWIN TECHNOLOGY LTD                       KOOLANCE INC.                        KOONCE SECS, INC. (0712)
ATTN DD MANAGER                             2840 W VALLEY HWY H SUITE 101        ATT G. SOHAN OR PROXY MGR
6TH FLOOR, NO. 16, SCIENCE PARK E AVE       AUBURN, WA 98001-2464                6550 ROCK SPRING DR.
HARBOUR VIEW 2, HK SCIENCE PARK                                                  STE 600
SHATIN, NT HONG KONG                                                             BETHESDA, MD 20817



KOPP GLASS INC                              KOPPL PIPELINE SERVICES INC          [NAME REDACTED]
ATTN DIR TECH SVS                           1228 DATE STREET                     [ADDRESS REDACTED]
2108 PALMER ST                              MONTEBELLO, CA 90640-6373
PITTSBURGH, PA 15218




KORD KING CO                                [NAME REDACTED]                      [NAME REDACTED]
ATTN VP SALES                               [ADDRESS REDACTED]                   [ADDRESS REDACTED]
62 INDUSTRIAL CIR
LANCASTER, PA 17601
[NAME REDACTED] Case 25-90163        Document  87 Filed
                                        KORE ADVISORS LP in TXSB on 07/03/25 KOREA
                                                                               Page  458 of 944
                                                                                   ELECTRONICS TECH INST
[ADDRESS REDACTED]                       1501 CORPORATE DRIVE                  ATTN MANAGERIAL RESEARCHER
                                         STE 230                               68 YATAP-DONG
                                         BOYNTON BEACH, FL 33426               BUNDANG-GU, SEONGNAM-SI,
                                                                               GYEONGGI-DO SOUTH KOREA



KOREA LED CO LTD                         KOREA TESTING LABORATORY              KOREAN RE
ATTN MGR                                 ATTN SENIOR ENGINEER                  ATTN UNDERWRITER
929-2 WOLAM-DONG                         222-13 GURO3-DONG                     JONGNO 5 GIL, 68 (SUSONG-DONG)
DALSEO-GU                                GURO-GU                               JONGNO-GU
DAEGU SOUTH KOREA                        SEOUL 152-718 SOUTH KOREA             SEOUL SOUTH KOREA



[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




KOROSEAL WALLCOVERINGS                   KORTCOM CO LTD                        KORTMAN ELECTRIC INC
ATTN SALES REP                                                                 ATTN DIRECTOR
6767-E PEACHTREE INDUSTRIAL BLVD                                               2416 S 17TH PL
NORCROSS, GA 30092                                                             PHOENIX, AZ 85034




KORUS DESIGN SDN BHD                     [NAME REDACTED]                       KOSSITER INTERNATIONAL CO LTD
1-12-05, PLAZA BUKIT JALIL (AURORA       [ADDRESS REDACTED]                    ATTN MANAGING DIR
KUALA LUMPUR 57000                                                             NO. 2 LANE 180, NAN FU ST
MALAYSIA                                                                       FENG SHAN, KAOHSIUNG HSIEN
                                                                               TAIWAN



KOSTAT INC                               KOSTECSYS CO.,LTD                     [NAME REDACTED]
2033 GATEWAY PLACE, SUITE 500            625 BEON-GIL 43, NEUNGHEO DAE-RO,     [ADDRESS REDACTED]
SAN JOSE, CA 95110-3712                  INCHEON 21700
                                         SOUTH KOREA




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          KOWATEC CO LTD                        KOYO MACHINERY USA INC
[ADDRESS REDACTED]                       ATTN MANAGER                          ATTN PRES
                                         FUJI INCUBATE CENTER B-4              14878 GALLEON CT
                                         OOBUCHI FUJI CITY                     PLYMOUTH, MI 48170
                                         SHIZUOKA 417-0801 JAPAN



KOYOCERA TYCOM CORP                      [NAME REDACTED]                       [NAME REDACTED]
ATTN MGR DIST SALES                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
3565 CADILLAC AVE
COSTA MESA, CA 92626
[NAME REDACTED] Case 25-90163        Document  87INCFiled in TXSB on 07/03/25 KPIPage
                                        K-PATENTS                                      459 INC
                                                                                  PARTNERS  of 944
[ADDRESS REDACTED]                       ATTN NATIONAL SALES MGR               ATTN DIR BUSINES DEV
                                         1804 CENTRE POINT CIR, STE 106        39111 PASEO PADRE PKWY
                                         NAPERVILLE, IL 60563                  FREMONT, CA 94538




KPIT INFOSYSTEMS INC                     KPMG AG                               KPMG CORPORATE FINANCE LLC
ATTN VP                                  ATTN PARTNER                          ATTN MANAGING DIR
379 THORNALL ST                          GANGHOLERSTRASSE 25                   200 E RANDOLPH DR, 61ST FL
EDISON, NJ 08830                         HUNICH 80339                          CHICAGO, IL 60601
                                         GERMANY



KPMG LAW                                 KPMG LAW                              KPMG LLP
RECHTSANWALTSGESELLSCHAFT                RECHTSANWALTSGESELLSCHAFT             1601 MARKET STREET
345 PARK AVE                             KLINGELHOFERSTRABE 18                 PHILADELPHIA, PA 19103-2301
NEW YORK, NY 10154                       BERLIN 10785
                                         GERMANY



KPMG                                     [NAME REDACTED]                       [NAME REDACTED]
ATTN PARTNER                             [ADDRESS REDACTED]                    [ADDRESS REDACTED]
8TH FL, PRINCES BLDG, 10 CHATER RD
CENTRAL
HONG KONG



KRAMDEN INSTITUTE INC                    KRAMER ELECTRONICS HOLDINGS LLC       [NAME REDACTED]
5010 NC HWY 55                           ATTN GLOBAL DATABASE ADMIN            [ADDRESS REDACTED]
DURHAM, NC 27713                         6 RTE 173W
                                         CLINTON, NJ 08809




[NAME REDACTED]                          KRANZ INC                             [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN ACCOUNT MGR                      [ADDRESS REDACTED]
                                         2200 DEKOVEN AVE
                                         RACINE, WI 53403




KRANZ, JONATHAN                          KRATOSTRUCTURES LLC                   KRAUSS MAFFEI CORP
DBA KRANZ COMMUNICATIONS                 2688 SE MARKET PLACE                  ATTN VP FINANCE
14 AVON ST                               STUART, FL 34997-4934                 7095 INDUSTRIAL RD
MELROSE, MA 02176                                                              FLORENCE, KY 41042




KRAYDEN INC                              [NAME REDACTED]                       [NAME REDACTED]
1491 W. 124TH AVENUE                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]
WESTMINSTER, CO 80234-1701




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




KREISCHER OPTICS LTD                     [NAME REDACTED]                       KRF CO LTD
ATTN PRES                                [ADDRESS REDACTED]                    ATTN DIRECTOR
1729 OAK DR                                                                    1101, 401, SIMIN-DAERO
MCHENRY, IL 60050-0306                                                         DONGAN-GU
                                                                               ANYANG, GYEONGGI-DO 431-060 SOUTH
                                                                               KOREA
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  460 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




KRISTIANSEN ENTERPRISES INC             [NAME REDACTED]                        [NAME REDACTED]
DBA CLEANCO                             [ADDRESS REDACTED]                     [ADDRESS REDACTED]
ATTN PRESIDENT
1615 9TH ST
RACINE, WI 53403



KROHN, JOSHUA                           [NAME REDACTED]                        [NAME REDACTED]
2501 HAYES AVE                          [ADDRESS REDACTED]                     [ADDRESS REDACTED]
RACINE, WI 53405




KROMET INTERNATIONAL INC                [NAME REDACTED]                        [NAME REDACTED]
ATTN VP, NEW BUSINESS DEVELOPMENT       [ADDRESS REDACTED]                     [ADDRESS REDACTED]
200 SHELDON DR
CAMBRIDGE, ON N1R 7K1
CANADA



KRONOS INC                              [NAME REDACTED]                        KRUSE, DOUG
297 BILLERICA ROAD                      [ADDRESS REDACTED]
CHELMSFORD, MA 01824-4119




KRUSS SCIENTIFIC INSTRUMENTS INC        KRUVAND ASSOCIATES INC                 KRYPTON SOLUTIONS LLC
1020 CREWS ROAD SUITE K                 ATTN TSM MEXICO                        3060 SUMMIT AVENUE
MATTHEWS, NC 28105-7587                 ARIES 4058, COL JUAN MANUEL VALLARTA   PLANO, TX 75074-7200
                                        GUADALAJARA, JAL 45120
                                        MEXICO



KRYTON ENGINEERED METALS INC            KSM CO LTD                             KSM ELECTRONICS INC
ATTN VP OF BUSINESS DEV                 ATTN TEAM MGR                          ATTN CHIEF OPERATING OFFICER
7314 CHANCELLOR DR                      71, SORAE-RO                           5607 HIATUS RD, STE 600
CEDAR FALLS, IA 50613                   DAEGOT-MYEON                           TAMARAC, FL 33321
                                        GYEONGGI-DO 10040 SOUTH KOREA



KSM VACUUM PRODUCTS INC                 K-SOURCE TECHNOLOGY LTD                K-SPACE ASSOCIATES INC
ATTN SECTION MGR                        ATTN ERIC SZU                          3626 W LIBERTY RD
102 PERSIAN DR                          22178 NO 35, LN 56, DAAN ST            ANN ARBOR, MI 48103
SUNNYVALE, CA 94089                     XIZHI DISTRICT
                                        NEW TAIPEI CITY TAIWAN



KT PERFECT COMPANY                      KTECH CORP                             KTS INC
NO.60, JUNAN ST                         ATTN DIR OF SALES                      ATTN TREASURER
SHULIN DIST                             10800 GIBSON BLVD SE                   2970 WILIAMS DR, 255
NEW TAIPEI CITY 238                     ALBUQUERQUE, NM 87123                  GEORGETOWN, TX 78628
TAIWAN



[NAME REDACTED]                         KUANLUNG INDUSTRY                      KUCHERA DEFENSE SYSTEMS INC
[ADDRESS REDACTED]                      ATTN HSIEH CHENG HON                   ATTN DIR OF ENGINEER
                                        NO 799, DAWAN RD                       4345 POMROYS DR
                                        YONGKANG DIST                          WINDBER, PA 15963
                                        TAINAN 71070 TAIWAN
[NAME REDACTED] Case 25-90163     Document  87 LLC
                                     KUDZU TECH Filed in TXSB on 07/03/25 KUEHL,
                                                                            PageSARAH
                                                                                  461 Lof 944
[ADDRESS REDACTED]                    29 MONROE ST                         9354 W WAKEFIELD CT
                                      HONEYOE FALLS, NY 14472              BOISE, ID 83714




KUESTER SALES COMPANY INC             [NAME REDACTED]                      KUHL CONCEPTS INC
ATTN VICE PRESIDENT                   [ADDRESS REDACTED]                   DBA ALLIANCE ELECTRONICS MARKETING
611 TEMPLETON AVE, 106                                                     GRP
CHARLOTTE, NC 28203                                                        ATTN PRES
                                                                           1100 CRESCENT GREEN, STE 104
                                                                           CARY, NC 27518


[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       KULICKE & SOFFA INDUSTRIES INC       KULICKE AND SOFFA PTE LTD
[ADDRESS REDACTED]                    1005 VIRGINIA DR                     23A SERANGOON NORTH AVENUE 5
                                      FORT WASHINGTON, PA 19034-3101       SINGAPORE 554369
                                                                           SINGAPORE




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




KUMHO ELECTRIC INC                    KUMKYEONG LIGHTING CO LTD            [NAME REDACTED]
ATTN MNGR                             ATTN DIRECTOR OF R&D                 [ADDRESS REDACTED]
211-1, JANGJI-RI, DONGTAN-MYEON       12-6 SANDAN 6RO
HWASEOUNG-CITY                        GIJANG-GUN, JEONGGWAN-EUP
GYEONGGI-DO SOUTH KOREA               BUSAN 48088 SOUTH KOREA



[NAME REDACTED]                       KUNGSLEDEN KISTA 1 AB                KUNSHAN EAGERNESS ELECTRONICS CO
[ADDRESS REDACTED]                    BOX 70414                            LTD
                                      STOCKHOLM SE107 25                   ATTN BUSINESS MGR
                                      SWEDEN                               NO 6 SHUANGHE RD, DIANSHANKU TOWN
                                                                           KUNSHAN JIANGSU 215345
                                                                           CHINA


KUNSHAN ENDO LIGHTING CO LTD          KUNSHAN WASUNN ELECTRONIC TECH       [NAME REDACTED]
NO 333, YUNQUE RD                     CORP                                 [ADDRESS REDACTED]
KUSHAN ECONOMIC DVPT AREA             ATTN VICE GM
KUNSHAN                               NO 123 DUJUAN RD
CHINA                                 KUNSHAN CITY
                                      JIANGSU CHINA


[NAME REDACTED]                       KUPLIC ENGINEERING                   [NAME REDACTED]
[ADDRESS REDACTED]                    ATTN PRESIDENT                       [ADDRESS REDACTED]
                                      101 SILVER GLADE
                                      CHAPEL HILL, NC 27514
                  Case 25-90163
KURARAY AMERICA INC                Document  87 Filed in TXSB on 07/03/25 KUREHA
                                      [NAME REDACTED]                       PageCORP
                                                                                 462 of 944
ATTN PRES & CEO                        [ADDRESS REDACTED]                 ATTN GM
2825 BAY AREA BLVD                                                        3-3-2, NIHONBASHI-HAMACHO
HOUSTON, TX 77058                                                         CHUO-KU
                                                                          TOKYO 103-8552 JAPAN



[NAME REDACTED]                        [NAME REDACTED]                    KURPIERS, JOYCE
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 DBA KURPIERS CONSULTING
                                                                          ATTN CONSULTANT
                                                                          6 COLINDALE CT
                                                                          DURHAM, NC 27704



KURT J LESKER CO                       KURT J LESKER COMPANY              [NAME REDACTED]
ATTN GEN COUNSEL                       1515 WORTHINGTON AVENUE            [ADDRESS REDACTED]
P.O. BOX 10                            CLAIRTON, PA 15025-2734
1925 RTE 51
CLAIRTON, PA 15025



[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




KVA INC                                KVEST LTD                          [NAME REDACTED]
ATTN SALES & MKTG MGR                  ATTN GENERAL DIRECTOR              [ADDRESS REDACTED]
480 MAYFIELD RD                        ENGELSA STR 1, CHISTOPOL
DUNCAN, SC 29334                       TATARSTAN REPUBLIC 422980
                                       RUSSIA



KWIATKOWSKI, ED                        KWIK TRIP INC                      KWS TRAINING, INC.
DBA PUREBRED COMPUTERS                 ATTN RYAN ROBERTS                  1300 MEADOW LANE
26 NESBITT ST                          1626 OAK ST                        CHAPEL HILL, NC 27516-7826
OTTAWA, ON K2H 8C6                     P.O. BOX 2107
CANADA                                 LA CROSSE, WI 54602



[NAME REDACTED]                        [NAME REDACTED]                    KYM SEMI SERVICES INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 2850 WCF & N DR
                                                                          WATERLOO, IA 50703




KYMA TECHNOLOGIES INC                  KYOCERA CHEMICAL CORP              KYOCERA CORP
ATTN PRES & CEO                        ATTN SR EXEC MNGING DIR            ATTN GENERAL MGR
8829 MIDWAY W RD                       5-14-25 RYOKE                      1810 TAKI-CHO
RALEIGH, NC 27617                      KAWAGUCHI, SAITAMA 332-8533        SATSUMASENDAI-SHI
                                       JAPAN                              KAGOSHIMA 895-0211 JAPAN



KYOCERA INDUSTRIAL CERAMICS CORP       KYORITSU ELEX CO                   KYPAI LTD
24 PRIME PKWY                          ATTN GEN MNGR                      THE OLD BARN, WARINGTON BARN
NATICK, MA 01760-1528                  170-1 OOKIKO, NISHIARITA-MACHI     WARRINGTON, NR OLNEY
                                       NISHIMATSUURA-GUN                  BUCKINGHAMSHIRE MK46 4HN
                                       SAGA 849-4103 JAPAN                UNITED KINGDOM
                  Case
KZJ COMPONENT SALES INC 25-90163          Document   87 Filed in TXSB on 07/03/25 L &Page
                                             L & H TECHNOLOGIES                            463 of 944
                                                                                      M CORRUGATED CONTAINER INC
DBA C-TECH SALES                              11616 WILMAR BLVD BOX 7207               ATTN OFFICE MGR
ATTN PRESIDENT                                CHARLOTTE, NC 28241-6409                 10680 88TH AVE
7820 BRECKON WAY                                                                       PLEASANT PRAIRIE, WI 53158
RALEIGH, NC 27615



L H HAJNAL & ASSOCIATES                       L&E RESEARCH INC                         L&T TECHNOLOGY SERVICES LTD
                                              ATTN DIR OF ENGINEERING                  ATTN BUSINESS HEAD - IP
                                              5505 CREEDMOOR RD, STE 200               L&T HOUSE, BALLARD ESTATE
                                              RALEIGH, NC 27612                        MUMBAI 400001
                                                                                       INDIA



L&T TECHNOLOGY SERVICES LTD                   L-3 COMMUNICATIONS CINCINNATI            L-3 COMMUNICATIONS CORP
ATTN BUSINESS HEAD - IP                       ELECTRONICS CORP                         ATTN PRESIDENT
L&T KNOWLEDGE CITY (IT/ITES) SEZ, NH-08       ATTN CONTRACTS MGR -SPACE                960 INDUSTRIAL RD
AJWA WAGHODIA CROSSING                        7500 INNOVATION WAY                      SAN CARLOS, CA 94070
VADODARA, GUJARAT 390019 INDIA                MASON, OH 45040



L-3 COMMUNICATIONS CORPORATION                L-3 ELECTRONIC SYSTEMS INC               L-3 MUSTANG TECHNOLOGY LP
ATTN DIR, CONTRACTS                           ATTN VP, CONTRACTS                       ATTN SUPPLY CHAIN MGR
5 CIRCLE FREEWAY DR                           25 CITY VIEW DR                          6900 K AVE
CINCINNATI, OH 45246                          TORONTO, ON M9W 5A7                      PLANO, TX 75074
                                              CANADA



L3/POWER PARAGON                              L3HARRIS TECHNOLOGIES INC                L3HARRIS TECHNOLOGIES
901 E BALL RD                                 F/K/A HARRIS CORP                        77 RIVER RD
ANAHEIM, CA 92805                             ATTN CATEGORY MGR                        CLIFTON, NJ 07014
                                              1680 UNIVERSITY AVE
                                              ROCHESTER, NY 14610



LA MAXTECH INTERNATIONAL CORP                 LA QUINTA INN & SUITES MORGAN HILL/SAN   [NAME REDACTED]
ATTN DIR, NA OPERATIONS                       JOSE                                     [ADDRESS REDACTED]
6315 RIDGEMAR CT                              ATTN GENERAL MGR
RANCHO PALOS VERDES, CA 90275                 17043 CONDIT RD
                                              MORGAN HILL, CA 95037



[NAME REDACTED]                               LA. OFFICE OF THE ATTORNEY GENERAL       LA. OFFICE OF THE ATTORNEY GENERAL
[ADDRESS REDACTED]                            CONSUMER PROTECTION SECTION              CONSUMER PROTECTION SECTION
                                              1885 N 3RD ST                            P.O. BOX 94005
                                              BATON ROUGE, LA 70802                    BATON ROUGE, LA 70804




[NAME REDACTED]                               LAATUVALO OY                             LAB DEPOT INC, THE
[ADDRESS REDACTED]                            ATTN DIRECTOR                            ATTN ACCTS REG MGR
                                              GAMLA VINTERVAGEN 11                     469 LUMPKIN CAMPGROUND RD
                                              HELSINKI 00580                           DAWSONVILLE, GA 30534
                                              FINLAND



LAB GRUPPEN AB                                LAB SPHERE                               [NAME REDACTED]
ATTN RESEARCH & TECH MGR                      P.O. BOX 70, SHAKER ST                   [ADDRESS REDACTED]
FAKTORVAGEN 1                                 N SUTTON, NH 03260
KUNSBACKA SE43437
SWEDEN



LABCRAFT LTD                                  LABEL MASTER                             [NAME REDACTED]
ATTN DIRECTOR                                 5724 NORTH PULASKI ROAD                  [ADDRESS REDACTED]
THUNDERLEY BARNS, THAXTED RD                  CHICAGO, IL 60646-6820
WIMBISH, SAFFRON WALDEN
ESSEX CB10 2UT UNITED KINGDOM
[NAME REDACTED] Case 25-90163    Document  87 Filed in TXSB on 07/03/25 LABOR
                                    [NAME REDACTED]                       Page  464INC
                                                                              SMART of 944
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 ATTN DIRECTOR OPS
                                                                        5604 WENDY BAGWELL PKWY, STE 223
                                                                        HIRAM, GA 30141




LABORATORY QUALITY SYSTEMS LLC       [NAME REDACTED]                    LABSPHERE
ATTN PRESIDENT                       [ADDRESS REDACTED]                 213 SHAKER ST
11645 BLUE HERON TRAIL                                                  P.O. BOX 70
CHARDON, OH 44024                                                       NORTH SUTTON, NH 03260




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      LACKWERKE PETERS GMBH & CO KG      LACROIX TRAFFIC SA
[ADDRESS REDACTED]                   ATTN GENERAL MGR                   ATTN PURCHASING MGR
                                     HOOGHE WEG 13                      ZI LERE AVE, 11EME RUE
                                     KEMPEN 47906                       CARROS 06510
                                     GERMANY                            FRANCE



[NAME REDACTED]                      LAD INC                            LADE DANLAR
[ADDRESS REDACTED]                   DBA CHARLES TAYLOR                 2050 MOUNTAIN INDUSTRIAL BLVD
                                     ATTN DIR & EXEC VP                 TUCKER, GA 30084
                                     9725 NW 117TH AVE, STE 415
                                     MIAMI, FL 33178



LADUKE & ASSOCIATES INC              [NAME REDACTED]                    [NAME REDACTED]
ATTN PRESIDENT                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
4746 E 127TH AVE
THORNTON, CO 80241




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




LAGEN PACKAGING INC                  [NAME REDACTED]                    [NAME REDACTED]
ATTN VP FINANCE                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]
3618 MAXWELL DR NE
HICKORY, NC 28601




[NAME REDACTED]                      LAHEY, NICK                        [NAME REDACTED]
[ADDRESS REDACTED]                   1210 S JASON ST                    [ADDRESS REDACTED]
                                     DENVER, CO 80223




[NAME REDACTED]                      [NAME REDACTED]                    LAIRD TECHNOLOGIES INC
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 ATTN CONTRACT MGR
                                                                        16401 SWINGLEY RIDGE RD
                                                                        CHESTERFIELD, MO 63017
                  Case 25-90163
LAKE AND POND SOLUTIONS CO          Document  87 Filed in TXSB on 07/03/25 LAKESHORE
                                       LAKE ENGINEERING                      Page 465  of 944 INC
                                                                                     CRYOTRONICS
ATTN BIOLOGIST                          2085 DANIELS ST                      575 MCCORKLE BLVD
N1025 JULIUS DR                         LONG LAKE, MN 55356                  WESTERVILLE, OH 43082-8699
GREENVILLE, WI 54942




LAKESIDE INTERNATIONAL TRUCKS INC       [NAME REDACTED]                      LAKOTEL LLC
ATTN CREDIT SUPV                        [ADDRESS REDACTED]                   ATTN DIRECTOR
1008 SYLVANIA AVE                                                            LUE TOLSTOGO ST 15, OFFICE 10
STURTEVANT, WI 53177                                                         KIEV 01033
                                                                             UKRAINE



[NAME REDACTED]                         LAM PARTNERS                         LAM RESEARCH CORP
[ADDRESS REDACTED]                      ATTN ARCHITECTURAL LIGHTING DESIGN   ATTN VP & GM
                                        84 SHERMAN ST                        4650 CUSHING PKWY
                                        CAMBRIDGE, WA 02138                  FREMONT, CA 94538-6470




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




LAM, SYLVIA                             LAMAR TEXAS LIMITED PARTNERSHIP      [NAME REDACTED]
21F GOLDKING IND BLDG, RM D6            THE LAMAR COMPANIES                  [ADDRESS REDACTED]
35 TAI LIN PAI RD                       P.O. BOX 746966
KWAI CHUNG, NT                          ATLANTA, GA 30374-6966
HONG KONG



[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




LAMBDA ELECTRONICS INC                  LAMBDA PHYSIK USA INC                LAMBDA TECHNOLOGIES INC
ATTN DIRECTOR, ADV DEV                  ATTN COO                             ATTN PRES & CEO
515 BROAD HOLLOW RD                     3201 W COMMERCIAL BLVD, STE 110      860 AVIATION PKWY, STE 900
MELVILLE, NY 11747                      FORT LAUDERDALE, FL 33309            MORRISVILLE, NC 27560




LAMBERGA SRO                            [NAME REDACTED]                      [NAME REDACTED]
ATTN ING                                [ADDRESS REDACTED]                   [ADDRESS REDACTED]
KOCIANKA 8/10
BRNO 61200
CZECH REPUBLIC



[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         LAMP 83 AYDINLATMA SAN VE TIC AS     [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN LED PRODUCT MGR                 [ADDRESS REDACTED]
                                        MERKEZ MAHALLESI SANAYI CADDESI
                                        NO 1, KAGITHANE
                                        ISTANBUL 34410 TURKEY
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 LANCE
                                        [NAME REDACTED]                       Page  466 LLC
                                                                                  MARINE of 944
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  ATTN MANAGING DIR
                                                                             12450 N SHAWDEE RD SE
                                                                             HUNTSVILLE, AL 35803




[NAME REDACTED]                          LANDES, JEFF                        [NAME REDACTED]
[ADDRESS REDACTED]                       263 WINN ST                         [ADDRESS REDACTED]
                                         BURLINGTON, MA 01803




LANDMARK MEASUREMENT SOLUTIONS INC       LANDMARK TITLE OF RACINE INC        [NAME REDACTED]
9990 COCONUT ROAD                        719 WASHINGTON AVE                  [ADDRESS REDACTED]
ESTERO, FL 34135-8488                    RACINE, WI 53403




LANDS END BUSINESS OUTFITTERS            LANDS SUPERABRASIVES                LANDSBERG - SAN JOSE
ATTN DIR                                 575 8TH AVE, 18TH FLOOR             1900 W. UNIVERSITY DRIVE, SUITE 101
1 LANDS END LN                           NEW YORK, NY 10018                  TEMPE, AZ 85281-3292
DODGEVILLE, WI 53595




LANDSCAPE FORMS INC                      [NAME REDACTED]                     [NAME REDACTED]
ATTN CAD ENGINEER                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
431 LAWNDALE AVE
KALAMAZOO, MI 49048




[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




LANGLAIS GROUP INC                       [NAME REDACTED]                     LANGSPIRE LANGUAGE SERVICES LLC
ATTN PRESIDENT                           [ADDRESS REDACTED]                  ATTN SALES DIR
15 MORGAN FARMS DRIVE                                                        7901 4TH ST N, STE 12077
P.O. BOX 696                                                                 ST PETERSBURG, FL 33702
SOUTH WINDSOR, CT 06074



[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                          LANNER GROUP INC                    [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN DIRECTOR                       [ADDRESS REDACTED]
                                         1077 WESTHEIMER RD. STE 100
                                         HOUSTON, TX 77042
LANP ELECTRICAL COCase
                    LTD 25-90163 Document
                                     LANSPEED87SYSTEMS
                                                  Filed INC
                                                        in TXSB on 07/03/25 [NAME
                                                                              Page  467 of 944
                                                                                  REDACTED]
WEIJIU RD, YUEQING ECONOMIC DEV ZONE ATTN SR SYSTEMS ENGINEER               [ADDRESS REDACTED]
ZHEJIANG                             100 N HOPE AVE,STE 20
CHINA                                SANTA BARBARA, CA 93110




[NAME REDACTED]                      LAN-WAY ROOFING CO INC                [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN VP                               [ADDRESS REDACTED]
                                     3200 SPOTTSWOOD ST, STE 106
                                     RALEIGH, NC 27658




[NAME REDACTED]                      [NAME REDACTED]                       LAPD LIGHTING DESIGN LTD
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    ATTN DESIGN DIRECTOR
                                                                           THE MILL RACE, LEMSFORD VILLAGE
                                                                           HERTFORDSHIRE AL8 7TW
                                                                           UNITED KINGDOM



[NAME REDACTED]                      [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]




LAPHAM-HICKEY STEEL CORP             [NAME REDACTED]                       LAPMASTER INTERNATIONAL LLC
ATTN EXEC VP                         [ADDRESS REDACTED]                    ATTN CHIEF COMMERCIAL OFF
2050 S OAKWOOD RD                                                          501 W ALGONQUIN RD
OSHKOSH, WI 54904                                                          MOUNT PROSPECT, IL 60056




[NAME REDACTED]                      [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                      LARCAN INC                            [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN VP ENGINEERING                   [ADDRESS REDACTED]
                                     228 AMBASSDOR DR
                                     MISSISSAUGA, ON L5T 2J2
                                     CANADA



LAREDO BECNEL INC                    LAROCHE INDUSTRIES INC                [NAME REDACTED]
8412 EL GATO RD                      1100 JOHNSON FERRY RD                 [ADDRESS REDACTED]
LAREDO, TX 78045                     ATLANTA, GA 30342




[NAME REDACTED]                      [NAME REDACTED]                       LARSEN & TOUBRO INFOTECH LIMITED
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    ATTN: LEGAL DEPARTMENT
                                                                           2035 LINCOLN HIGHWAY, SUITE 3000 / 3006
                                                                           EDISON SQUARE WEST
                                                                           EDISON, NJ 08817



LARSEN & TOUBRO INFOTECH LTD         LARSEN MANUFACTURING LLC              [NAME REDACTED]
ATTN GENERAL COUNSEL                 ATTN PRODUCT MGR                      [ADDRESS REDACTED]
L&T TECHNOLOGY CENTRE                1201 ALLANSON RD
GATE NO 5, SAKI VIHAR RD, POWAI      MUNDELEIN, IL 60060
MUMBAI 400 072 INDIA
LARSON ELECTRONICCase
                  GLASS25-90163
                        INC              Document
                                            LARSON 87
                                                   TOOLFiled in TXSB
                                                       & STAMPING CO on 07/03/25 [NAME
                                                                                   Page  468 of 944
                                                                                       REDACTED]
ATTN PRESIDENT                               ATTN SALES MGR                      [ADDRESS REDACTED]
2840 BAY RD                                  90 OLIVE ST
REDWOOD CITY, CA 94063                       ATTLEBORO, MA 02703




LASALLE INVESTMENT MANAGEMENT INC            LASALLE SYSTEMS LEASING INC         LASEN MOLD CO INC
ATTN LAURA ARTUS                             DBA LASALLE SOLUTIONS               1 MAIN ST
1808 SWIFT RD                                ATTN PRESIDENT                      HANCOCK, MA 01237-9201
OAK BROOK, IL 60523                          611 N RIVER RD
                                             ROSEMONT, IL 60018



LASER AIMING SYSTEMS CORP                    LASER COMPLIANCE                    LASER FORWARDING INC
ATTN PRESIDENT                               ATTN OFFICE MGR                     ATTN CHIEF BUSINESS DEV OFFICER
5475 PIONEER CREEK DR                        1256 W 50 S                         13166 S UNITEC DR
MAPLE PLAIN, MN 55359                        CENTERVILLE, UT 84014               LAREDO, TX 78045




LASER LIGHT TECHNOLOGIES INC                 LASER SAFETY SYSTEMS LLC            LASER SEPERATION INTERNATIONAL NV
ATTN CHIEF EXECUTIVE OFFICER                 ATTN PRESIDENT                      ATTN DIR OF COMMERCE
5 DANUSER DR                                 527 LAKESHEAD DR                    PLATINAWERF 20-G
HERMANN, MO 65041                            WILLIAMSBURG, VA 23185              TL BEUNINGEN (BLD) 6641
                                                                                 NETHERLANDS



LASER SOLUTIONS CO LTD                       LASERMAX INC                        LASEROD INC
ATTN GM BUS PROMO DEPT                       ATTN DIRECTOR OF ENG                ATTN PRESIDENT
KEIHAN BUS JUJO BLDG, 5 MINAMI-ISHIDA-       3495 WINTON PLACE                   20312 GRAMERCY PL
CHO                                          ROCHESTER, NY 14623                 TORRANCE, CA 90501
HIGASHI-KUJO, MINAMI-KU
KYOTO 601-8033 JAPAN


LASERTEC USA INC                             LASERTEC USA INC                    [NAME REDACTED]
3131 JAY STREET SUITE 110                    ATTN PRESIDENT                      [ADDRESS REDACTED]
SANTA CLARA, CA 95054-3336                   2025 GATEWAY PL, STE 430
                                             SAN JOSE, CA 95110




[NAME REDACTED]                              [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                  [ADDRESS REDACTED]




LASORSA & ASSOCIATES                         [NAME REDACTED]                     [NAME REDACTED]
322 SILVER CREEK LANDING RD                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]
SWANSBORO, NC 28584-8272




[NAME REDACTED]                              [NAME REDACTED]                     LASTER TECH CORPORATION LTD
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                  ATTN ANGELA LIU
                                                                                 BLDG F, NO 4, MINXIANG ST, ZHONGHE DIST
                                                                                 NEW TAIPEI CITY 23545
                                                                                 TAIWAN



[NAME REDACTED]                              LASTING EARTH DISPLAY TECHNOLOGY    LASTING EARTH DISPLAY TECHNOLOGY
[ADDRESS REDACTED]                           ATTN OWNER/ LEAD DESIGNER           ATTN OWNER/LEAD DESIGNER
                                             12A CHAPMILL, ST QUINTONS RD        306 DOLPHIN PL, 1 MAIN RD, KENILWORTH
                                             ORANJEZICHT CAPE TOWN               CAPE TOWN 7708
                                             SOUTH AFRICA                        SOUTH AFRICA
                  Case 25-90163
LASX INDUSTRIES INC               Document   87 Filed in TXSB on 07/03/25 LATHAM
                                     LASX INDUSTRIES                        Page&469 of 944
                                                                                 WATKINS LLP
ATTN PRES                             4444 CENTERVILLE RD, STE 170        ATTN RAY C SCHROCK, ALEXANDER WELCH
4817 WHITE BEAR PKWY                  SAINT PAUL, MN 55127-3708           1271 AVE OF THE AMERICAS
ST PAUL, MN 55110                                                         NEW YORK, NY 10020




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       LAUDA BRINKMANN LP                  LAUDA-NOAH LP
[ADDRESS REDACTED]                    9 EAST STOW ROAD, SUITE C           ATTN VP OPS
                                      MARLTON, NJ 08053                   2501 SE COLUMBIA WAY, STE 140
                                                                          VANCOUVER, WA 98661




LAUNCHPOINT TECHNOLOGIES INC          LAURELL TECHNOLOGIES CORPORATION    LAUREN MANUFACTURING LLC
ATTN ELECTRICAL ENG                   1400 PENNBROOK PARKWAY              ATTN DIR OF SALES
5735 HOLLISTER AVE, STE B             LANSDALE, PA 19446-3840             2162 REISER AVE SE
GOLETA, CA 93117                                                          NEW PHILADELPHIA, OH 44663




LAURIER INC                           LAURIN PUBLISHING CO INC            [NAME REDACTED]
ATTN VP MARKETING SALES               100 WEST ST                         [ADDRESS REDACTED]
10 TINKER AVE                         PITTSFIELD, MA 01201
LONDONDERRY, NH 03053




[NAME REDACTED]                       [NAME REDACTED]                     LAW OFFICES OF HULL & CHANDLER PA
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  ATTN NATHAN HULL
                                                                          521 E MOREHEAD ST, STE 101
                                                                          CHARLOTTE, NC 28202




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




LAWRENCE LIVERMORE NATIONAL           [NAME REDACTED]                     [NAME REDACTED]
LABORATORY                            [ADDRESS REDACTED]                  [ADDRESS REDACTED]
ATTN DAVE SANDERS
7000 EAST AVE
L-645
LIVEMORE, CA 94550


LAWRENCE, JENNIFER                    [NAME REDACTED]                     [NAME REDACTED]
225 CLIFTON ST, APT 214               [ADDRESS REDACTED]                  [ADDRESS REDACTED]
OAKLAND, CA 94618
[NAME REDACTED] Case 25-90163       Document
                                       LAWSON87 Filed INC
                                             PRODUCTS  in TXSB on 07/03/25 [NAME
                                                                             Page  470 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      ATTN SALES                            [ADDRESS REDACTED]
                                        8770 W BRYN MAWR AVE, STE 900
                                        CHICAGO, IL 60631




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         LAWYERS AND MERCHANTS TRANSLATION     LAWYERS TITLE INS CORP
[ADDRESS REDACTED]                      BUREAU INC                            ATTN TABATHA L CRUDEN
                                        DBA RWS GROUP                         421 FAYETTEVILLE ST, STE 215
                                        ATTN DIRECTOR                         RALEIGH, NC 27601
                                        11 BROADWAY, STE 466
                                        NEW YORK, NY 10004


LAWYERS TITLE INSURANCE CORP            LAWYERS TITLE INSURANCE CORP          [NAME REDACTED]
421 FAYETTEVILLE ST MALL, STE 215       ATTN DCA                              [ADDRESS REDACTED]
RALEIGH, NC 27601                       P.O. BOX 45023
                                        JACKSONVILLE, FL 32232-5023




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         LAYTEC GMBH                           LAYTON SALES AGENCY INC
[ADDRESS REDACTED]                      ATTN PRESIDENT                        ATTN BLAIR MORRIS
                                        HELMHOLTZSTRASSE 13-14                4404 W 2100 S
                                        BERLIN D-10587                        SALT LAKE CITY, UT 84120
                                        GERMANY



LAYTON SALES ASSOCIATES                 [NAME REDACTED]                       [NAME REDACTED]
ATTN PRESIDENT                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]
4404 WEST 2100 S
SALT LAKE CITY, UT 84120




LAYTONS ELECTRICAL                      [NAME REDACTED]                       [NAME REDACTED]
6309 N 95TH CT, STE 201                 [ADDRESS REDACTED]                    [ADDRESS REDACTED]
OMAHA, NE 68122




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




LB MARKETING INC                        LBS REFRESHMENT SERVICES LIMITED      [NAME REDACTED]
DBA PS BRANDS                           6/F PORT 33, 33 TSEUK LUK STREET KL   [ADDRESS REDACTED]
ATTN COO                                SAN PO KONG
8480 HOLCOMB RD                         HONG KONG
ALPHARETTA, GA 30022
                  Case TECH
LCFRE DURHAM KEYSTONE   25-90163
                             PARK LLCDocument   87 Filed in TXSB on 07/03/25 LDPage
                                        L-COM INC                               KICHLER471
                                                                                         CO of 944
C/O CAPITAL ASSOCIATES MANAGEMENT       ATTN CONTRACT CTR MGR                ATTN TONY DAVIDSON, PRESIDENT
LLC                                     45 BENCHWOOD DR                      7711 EAST PLEASANT VALLEY RD
1100 CRESCENT GREEN, STE 115            NORTH ANDOVER, MA 01845              P.O. BOX 318010
CARY, NC 27511                                                               CLEVELAND, OH 44131-8010



LD KICHLER CO, THE                     LDDF INC                               LDS VACUUM PRODUCTS INC
DBA KICHLER LIGHTING                   APPLIED INSTRUMENTS                    773 BIG TREE DRIVE
ATTN ROY MINOFF, GEN COUNSEL           3317 EL SALIDO PKWY                    LONGWOOD, FL 32791-3513
7711 E PLEASANT VALLEY RD              CEDAR PARK, TX 78613-5537
CLEVELAND, OH 44131



LE GROUPE INTERCONNEXION               LE SUEUR INC                           [NAME REDACTED]
DBA MEGAWAVZ                           ATTN SALES ENGINEER                    [ADDRESS REDACTED]
ATTN DIRECTOR                          1409 VINE ST
1801 RUE                               LE SUEUR, MN 56058
NOBEL, QC J3E 1Z6 CANADA



[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        LEACH INTERNATIONAL CORP
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     ATTN VICE PRESIDENT, TECH
                                                                              6900 ORANGETHORPE AVE
                                                                              P.O. BOX 5032
                                                                              BUENA PARK, CA 90622



[NAME REDACTED]                        [NAME REDACTED]                        LEAD JUMP PCB (ZHUHAI) LTD
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     NO.13, XINQING RD 2
                                                                              JING AN TOWN, DOUMEN
                                                                              ZHUHAI, GUANGDONG
                                                                              CHINA
LEADEAST INDUSTRIESCase 25-90163
                     CORP             Document
                                         LEADER 87  Filed in
                                                ELECTRONIC INCTXSB on 07/03/25 LEADER
                                                                                 PageINTERNATIONAL
                                                                                       472 of 944 CORP
ATTN GEN MGR                              ATTN SR VP & GM                      ATTN PRESIDENT & CEO
1F, NO 21, LN 435                         7F NO 138 LN, 235 BAOQIAO RD         1540 LEADER INTL DR
ZHONGZHENG RD, SHIHLIN DIST               XINDIAN DISTRICT                     PORT ORCHARD, WA 98367
TAIPEI CITY 111 TAIWAN                    NEW TAIPEI CITY 231 TAIWAN



[NAME REDACTED]                           LEADERS INSITUTE LLC, THE            LEADERSADVICE LLC
[ADDRESS REDACTED]                        ATTN BILL RESH                       ATTN CHIEF PEOPLE OFFICER & OWNER
                                          6703 CORONATION CT                   422 N GLADSTONE AVE
                                          ARLINGTON, TX 76017                  MARGATE CITY, NJ 08402




LEADERSHIP WORTH FOLLOWING LLC            LEADFORMIX                           LEADING OPTOELECTRONICS CO LTD
5605 NORTH MACARTHUR BLVD SUITE 760       2975 BOWERS AVE, STE 323             ATTN AARON WU
IRVING, TX 75038-2686                     SANTA CLARA, CA 95051                FL 12, NO 105, ZHONGCHENG RD
                                                                               TUCHENG DIST
                                                                               NEW TAIPEI CITY 236 TAIWAN



LEADINTEX KK                              LEADRAY ENERGY CO LTD                LEAF FINANCIAL CORP
10 MIKURACHO KANDA                        ATTN PRESIDENT                       ATTN ROBERT MOSKOVITZ
CHIYODA-KU                                11F-2, NO 229, FUSING 2ND RD         1818 MARKET ST, 9TH FL
TOKYO 101-0038                            HSINCHU COUNTY                       PHILADELPHIA, PA 19103
JAPAN                                     JHUBEI CITY 30271 TAIWAN



LEAF FINANCIAL CORPORATION                [NAME REDACTED]                      [NAME REDACTED]
ONE COMMERCE SQ                           [ADDRESS REDACTED]                   [ADDRESS REDACTED]
2005 MARKET ST, 14TH FL
PHILADELPHIA, PA 19103




[NAME REDACTED]                           [NAME REDACTED]                      LEAR AUTOMATIVE INDIA PVT LTD
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   ATTN ARVIND SHARMA
                                                                               15/4 A, PUNE-SATARA RD
                                                                               PUNE, MAHARASHTRA 411043
                                                                               INDIA



LEAR CORPORATION                          LEARNING TECHNOLOGIES                LEASE PLAN USA INC
ATTN VP                                   ATTN MANAGING PTR                    ATTN CFO
21557 TELEGRAPH RD                        5206 DURALEIGH RD                    1165 SANCTUARY PKWY
SOUTHFIELD, MI 48033                      RALEIGH, NC 27612                    ALPHARETTA, GA 30009




LEASEQUERY LLC                            LEASING TECHNOLOGIES INTERNATIONAL   [NAME REDACTED]
3 RAVINA DRIVE NE SUITE P7                INC                                  [ADDRESS REDACTED]
ATLANTA, GA 30346-2176                    ATTN PRESIDENT
                                          221 DANBURY RD
                                          WILTON, CT 06897



LEATEC FINE CERAMICS CO LTD               [NAME REDACTED]                      [NAME REDACTED]
NO 160, SEC 1 PING-TUNG RD                [ADDRESS REDACTED]                   [ADDRESS REDACTED]
PING-JEN, TAO-YUAN HSIEN
TAIWAN




[NAME REDACTED]                           LEATHERWOOD PLASTICS                 [NAME REDACTED]
[ADDRESS REDACTED]                        ATTN PRESIDENT                       [ADDRESS REDACTED]
                                          1426 CRESCENT AVE
                                          LEWISVILLE, TX 75057
LECO CORPORATIONCase 25-90163        Document  87 Filed
                                        LED BUSINESS SIGNS in
                                                           LLCTXSB on 07/03/25 LED
                                                                                 Page   473INC
                                                                                   CITY USA  of 944
ATTN SALES ENGINEER                      ATTN MANAGER                           ATTN PRESIDENT
3000 LAKEVIEW AVE                        14879 CROMWELL DR                      2415 SOUTHWELL RD
ST JOSEPH, MI 49085                      CLEARWATER, FL 33764                   DALLAS, TX 75229




LED CONSORTIUM (M) SDN BHD               LED DO BRASIL COMERCIO DE PROD         LED DO BRASIL COMERCIO DE PROD
2&3, LOT 3, WISMA LITTLE                 ELETRONICOS LTDA                       ELETRONICOS LTDA
JALAN HALBA 16/16                        ATTN DIRECTOR                          ATTN DIRECTOR
INDUSTRIAL CENTER POINT SEKSYEN 16       R LORD COCKRANE, 498                   R MARIA QUITERIA, 5
SHAH ALAM SELANGOR 40200 MALAYSIA        SAO PAULO, SP 04213-001                ILHEUS, BA 04213-001
                                         BRAZIL                                 BRAZIL


LED DO BRASIL COMERCIO DE PROD           LED DO BRASIL COMERCIO DE PRODUTOS     LED EFFECTS
ELETRONICOS LTDA                         ELETRONICOS LTDA                       ATTN PRESIDENT
ATTN MARIO SERGIO MARTINS                ATTN MARIO SERGIO MARTINS              11390 SUNRISE GOLD CIR, 800
R SIRIDIAO DURVAL, 102C                  R LORD COCKRANE, 494                   RANCHO CORDOVA, CA 95742
VILA PAULISTA, SP 04360-020              SAO PAULO, SP 04213-001 BRAZIL
BRAZIL


LED ENGINEERING DEVELOPMENT              LED EXPERT BV                          LED GO SRL
ATTN DIRECTOR                            ATTN INNOVATION OFFICER                ATTN PRESIDENT
11 RUE DU MONT DORE                      JOOST VERHOCKS, WILLEMSTRAAT 17B       VIA ROMA 41
TOULOUSE 31100                           EINDHOVEN HB 5611                      CINTO COAMAGGIORE
FRANCE                                   NETHERLANDS                            VENEZIA ITALY



LED GREENLIGHT INTERNATIONAL LLC         LED IBOND A/S                          LED ILUMINACION E IMAGEN SL
ATTN VP                                  ATTN DEVELOPMENT MNG                   ATTN PRESIDENT
4737 SANDALWOOD WAY                      DIPLOMVEJ 381                          CALLE MURCIA, 60, NAVE D
OCEANSIDE, CA 92057                      KONGENS LYNGBY 2800                    SAINT BOI DE LLOBREGAT
                                         DENMARK                                BARCELONA 08830 SPAIN



LED ITALY SRL                            LED LENSER CORP LTD                    LED LIGHTING EXPERT LTD
ATTN ADMIN                               ATTN CEO                               ATTN DIRECTOR
VIA CESARE LUDA 2                        NO 25 YUDONG INDUSTRY ZONE             UNITS 1302-1303, 13/F, VANTA IND CENTRE
CARMAGNOLA 10022                         YANGDONG COUNTY                        21-33 TAI LIN PAI ST, KWAI CHUNG
ITALY                                    GUANGDUANG 529931 CHINA                NEW TERRITORIES HONG KONG



LED LIGHTING FICTURES INC                LED LIGHTING FIXTURES INC              LED LIGHTING FIXTURES INC
ATTN CHIEF EXEC OFFICER                  ATTN CEO                               ATTN CINDY MERRELL
617 DAVIS DR, STE 200                    617 DAVIS DR, STE 200                  523 DAVIS DR, STE20
MORRISVILLE, NC 27560                    MORRISVILLE, NC 27560                  MORRISVILLE, NC 27560




LED LIGHTING FIXTURES INC                LED LIGHTING FIXTURES INC              LED LIGHTING FIXTURES INC
ATTN CTO                                 ATTN PRESIDENT                         C/O WYRICK ROBBINS YATES & PONTON LLP
1717B RIVERSIDE DR                       KEYSTONE TECHNOLOGY PARK VI            ATTN DONALD R REYNOLDS
HILLSBOROUGH, NC 27278                   617 DAVIS DRIVE, STE 200               4101 LAKE BOONE TRL, STE 300
                                         MORRISVILLE, NC 27560                  RALEIGH, NC 27607



LED LIGHTING SOLUTIONS LTD               LED LIGHTING SOUTH AFRICA              LED LIGHTING SUPPLY CO LLC
ATTN DIR                                 ATTN PIERRE VAN HELDEN, CEO            ATTN DAN FALZONE
MATCH MOSS LN, BURSCOUGH                 40 WOODLANDS RD, WOODSTOCK             1004 BAY TREE LN
ORMSKIRK L40 0PH                         CAPE TOWN 7925                         DULUTH, GA 30097
UNITED KINGDOM                           SOUTH AFRICA



LED LLC LLC                              LED LUCE E DINTORNI SRL                LED LUMINA USA LLC
ATTN MEMBER                              ATTN CEO                               ATTN GERARD DUFFY
7850 N SILVERBELL, 114-203               STRADA MOLINI, 50                      116 WILBUR PL
NARANA, AZ 85743                         VICENZA 36100                          BOHEMIA, NY 11716
                                         ITALY
LED MOTION SDN BHDCase 25-90163 Document      87 AMERICA
                                       LED NORTH    Filed in
                                                           INCTXSB on 07/03/25 LED
                                                                                 Page    474 of 944
                                                                                   ONE HANGZHOU    CO LTD
ATTN DIRECTOR                          ATTN PRESIDENT                          ATTN DIR OF SCM
PRIMA TANJUNG, 98-03-19B, JALAN FETTES 1010 COMMERCE PARK DR, STE G            2ND FL, BLDG D, 66 DONGXIN RD
BANDAR TAJUNG TOKONG                   OAK RIDGE, TN 37830                     EASTCOM CITY, BINJANG DISTRICT
PENANG 11200 MALAYSIA                                                          HANGZHOU ZHEJIAN CHINA



LED OPTICAL SOLUTIONS LLC               LED OPTICS INC                          LED ROADWAY LIGHTING LTD
ATTN PRESIDENT & CEO                    ATTN PRESIDENT                          ATTN GEN MGR
64155 VAN DYKE, STE 247                 9825 MARINA BLVD                        21 TANTRAMAR CRESCENT
WASHINGTON, MI 48095                    BOCA RATON, FL 33428                    AMHERST, NS B4H 4S8
                                                                                CANADA



LED ROADWAY LIGHTING LTD                LED SMART INC                           LED SOLEIL SL
ATTN VP BUS & PROD DEV                  ATTN PRESIDENT                          ATTN MANAGING DIR
115 CHAIN LAKE DR                       3813 98TH ST NW                         CALLE JUAN SEBASTIAN ELCANO
HALIFAX, NS B3S 1B3                     EDMONTON, AB T6E 5V4                    (ED NAUTIC CT), BENALMADENA
CANADA                                  CANADA                                  MALAGA 29639 SPAIN



LED SOURCE LLC                          LED SPECIALISTS INC                     LED SUPPLY CO
ATTN VP                                 ATTN PRESIDENTE                         ATTN EVP
3101 FAIRLANE FARMS RD, STE 4           7A MAIN ST                              747 SHERIDAN BLVD, UNIT 8E
WELLINGTON, FL 33414                    KINGS PARK, NY 11754                    LAKEWOOD, CO 80214




LED TRANSFORMATIONS LLC                 LEDA                                    LEDALL PTY LTD
ATTN PRESIDENT                                                                  ATTN COMPANY DIR
P.O. BOX 224                                                                    359 PLUMMER ST
STANTON, NJ 08885                                                               PORT MELBOURNE, VIC 3207
                                                                                AUSTRALIA



LEDARTIST LLC                           [NAME REDACTED]                         [NAME REDACTED]
ATTN CHIEF VISION OFFICER               [ADDRESS REDACTED]                      [ADDRESS REDACTED]
450 PARK AVE S
NEW YORK, NY 10016




[NAME REDACTED]                         LED-DESIGN GMBH                         LEDDYNAMICS INC
[ADDRESS REDACTED]                      ATTN CHIEF EXECUTIVE OFFICER            DBA LEDSUPPLY
                                        INGENIERBURO FUR LED-TECHNIK            ATTN SALES REP
                                        HASPINGERGASSE 1-3/21                   44 HULL ST, STE 200
                                        WIEN 1080 AUSTRIA                       RANDOLPH, VT 05060



LEDEL                                   LEDENGIN INC                            LEDENGIN INC
ATTN CEO                                ATTN CEO                                ATTN DAVID TAHMASSEBI, CEO
BUILDING 31A, SHAMILYA USMANOVA ST      651 RIVER OAKS PKWY                     3350 SCOTT BLVD BLDG 9
KAZAN                                   SAN JOSE, CA 95134                      SANTA CLARA, CA 95054
TATARSTAN 420094 RUSSIA



[NAME REDACTED]                         [NAME REDACTED]                         LEDIKO WALENDOWSKI
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      125 KLECINSKA
                                                                                WROCLAW 54-413




LEDIL OY                                LEDIL OY                                LEDINLIGHT LTD
ATTN CEO                                ATTN CEO                                ATTN R&D MANAGER
SALORANKATU 10                          TEHDASKATU 13                           REGENT ST, FIRST FLR
SALO 24240                              SALO 24100                              NOTTINGHAM NG1 5BS
FINLAND                                 FINLAND                                 UNITED KINGDOM
LEDINSIDE TRENDFORCE Case  25-90163
                         CORP          Document 87 Filed in TXSB on 07/03/25 LEDLIGHT
                                          LEDLENSER                            Page 475    of 944
                                                                                      GRP AS
11F, NO 68, SEC 3, NANJING E RD            80 SE MADISON ST, STE 130              ATTN R&D MANAGER, ELECTRONICS
TAIPEI 104                                 PORTLAND, OR 97214                     P.O. BOX 425
TAIWAN                                                                            HORTEN N-3193
                                                                                  NORWAY



LEDLINK OPTICS (DONG GUAN) CO LTD          LEDLINK OPTICS INC                     LEDLINK OPTICS INC
ATTN GM                                    ATTN GM                                ATTN SALES VP
BUILD 13 DIRST DISTRICT                    11F-5 NO 800, CHUNG CHENG RD           15F, NO. 655, BANNAN RD
WEST INDUSTRIAL ZONE, HENGLI TOWN          CHUNG-HO CITY                          CHUNG-HO DISTRICT
DONGGUAN, GUANGDONG CHINA                  TAIPEI TAIWAN                          NEW TAIPEI CITY TAIWAN



[NAME REDACTED]                            LEDMAN OPTOELECTRONIC HZ CO LTD        LEDMANIA
[ADDRESS REDACTED]                         BLDG 8, BLOCK 2                        ATTN GENERAL MGR
                                           BAIMANG BAIWANGXIN INDUSTRIAL PARK     CASTILLEJOS 437
                                           XILI AREA, NANSHAN DIST                BARCELONA 08024
                                           SHENZHEN 518055 CHINA                  SPAIN



LEDNED BV                                  LEDNIUM PTY LTD                        LEDNOVATION INC
ATTN MANAGING DIR                          272-274 MAROONDAH HWY                  ATTN CEO
ZUIDDIJK 9                                 MOOROOLBARK, VIC 3138                  13053 W LINEBAUGH AVE, STE 102
HELMOND 5705 CS                            AUSTRALIA                              TAMPA, FL 33626
NETHERLANDS



LEDO LED TECHNOLOGIE GMBH                  LEDON LIGHTING JENNERSDORF GMBH        LEDOPTIX
ATTN GENERAL MGR                           TECHNOLOGIEPARK 10                     ATTN GEN MGR
LUDWIG-ECKES-ALLEE 6                       JONNERSDORF 8380                       KOLPINGRING 22
NIEDER-OLM 55268                           AUSTRIA                                OBERHACHING 82041
GERMANY                                                                           GERMANY



LEDRA BRANDS INC                           LEDRAY TECHNOLOGY CO LTD               LEDSCENE SA
ATTN ENGINEER                              ATTN RAY CHANG                         ATTN PRESIDENT
15774 GATEWAY CIR                          2F, NO 48, KEYA RD                     CHASCOMUS, CIUDAD DE
TUSTIN, CA 92780                           DAYA TOWNSHIP                          BUENOS AIRES 4766
                                           TAICHUNG COUNTY 428 TAIWAN             ARGENTINA



LEDSIS AYDINLATMA SAN VE TIC LTD STI       LEDSTAR INC                            LEDTECHELECTRONICS CORP
ATTN GM                                    ATTN VP ENGINEERING                    ATTN PRES
ESKI BUYUKDERE CAD, DILAVER SOK            131 WESTCREEK DR                       5F, NO. 542-5, CHUNG CHENG RD
ORKUN ISHANI KAT 1 NO. 44                  WOODBRIDGE, ON L4L 9N6                 HSIN-TIEN CITY
LEVENT, ISTANBUL TURKEY                    CANADA                                 TAIWAN



LEDTRONICS INC                             LEDUS LIGHTING TECHNOLOGY LTD          LEDVANCE GMBH
ATTN MEENA ZEHRA                           F/K/A LIGHT RESOURCE ENVIRONMENT CO    ATTN GEN COUNSEL
23105 KASHIWA CT                           LTD                                    PARKRING 29-33
TORRANCE, CA 90505                         UNIT 1402 14 F GRAND MILLENIUM PLAZA   GARCHING 85748
                                           181 QUEENS RD CENTRAL                  GERMANY
                                           HONG KONG HONG KONG


LEDVANCE LLC                               LEDVISION SDN BHD                      LEDWAY LIGHTING TECHNOLOGY CO LTD
200 BALLADVALE ST                          ATTN MD                                RM 201-204, CHUANGYE CTR
WILMINGTON, MA 01887                       109 JLN PM1 TAMAN PERINDUSTRIAN        TIANAN TECH INDUSTRY PARK, NO 555
                                           MERDEKA 75320                          PANYU DA DAO N, PANYU DIST
                                           MALAYSIA                               GUANGZHOU CITY CHINA



LEDWORX GMBH                               LEDZWORLD TECHNOLOGY SDN BHD           [NAME REDACTED]
ATTN MANAGING PARTNER                      ATTN CHIEF EXECUTIVE OFFICER           [ADDRESS REDACTED]
HEGERHASSE 6                               63 PESARA KAMPUNNG JAWA
WIEN A-1030                                BAYAN LEPAS
AUSTRIA                                    PENANG 11900 MALAYSIA
                  Case
LEE GREEN CONSULTING    25-90163
                      LLC                Document  87 Filed in TXSB on 07/03/25 LEE
                                            LEE MCCARTHY                          Page   476 of 944
                                                                                    SING INDUSTRIAL CO LTD
11913 STATE ROUTE 365                        ATTN MCCARTHY, LEE                    ATTN MANAGER
REMSEN, NY 13438-3366                        1519 SAN PASCUAL                      FLAT D, 3/F, SHING KING IND BLDG
                                             SANTA BARBARA, CA 93101               45, KUT SHING ST
                                                                                   CHAIWAN HONG KONG



LEE TAT CHEMICAL CO LTD                      [NAME REDACTED]                       [NAME REDACTED]
ATTN BUSINESS MGR                            [ADDRESS REDACTED]                    [ADDRESS REDACTED]
FLAT 7, 6/F BLCK A, WAH YOU IND CENTRE
30-32 AU PUI WAN STREET, FO TAN
SHATIN, NT HONG KONG



[NAME REDACTED]                              [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  477 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




LEEDARSON LIGHTING                       [NAME REDACTED]                     [NAME REDACTED]
ATTN GENERAL MGR                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]
LEEDARSON BLDG, NO. 20 GUANRI RD
XIAMEN
CHINA



LEEPORT (HOLDINGS) LTD                   [NAME REDACTED]                     [NAME REDACTED]
ATTN SUPERVISOR                          [ADDRESS REDACTED]                  [ADDRESS REDACTED]
1/F, BLOCK 1, GOLDEN DRAGON IND CENTRE
152-160 TAI LIN PAI RD
NT HONG KONG



[NAME REDACTED]                          LEFT COAST INSTRUMENTS INC          [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN CHIEF EXECUTIVE OFFICER        [ADDRESS REDACTED]
                                         271 RIO DEL MAR BLVD
                                         P.O. BOX 2217
                                         APTOS, CA 95001



LEGACY LIGHTING INC                      LEGACY RECYCLING LLC                LEGACY SYSTEMS INC
ATTN PRESIDENT                           ATTN VICE PRESIDENT                 ATTN PRESIDENT
612B WINFLO                              9825 DURAND AVE, BLDG 7A            4160 TECHNOLOGY DR, STE E
AUSTIN, TX 78703                         STURTEVANT, WI 53177                FREMONT, CA 94538




LEGAL SYSTEMS HOLDING COMPANY            LEGENDARY GRAPHICS INC              [NAME REDACTED]
DBA SERENGETI LAW                        ATTN VP                             [ADDRESS REDACTED]
ATTN PRES                                3450 ACWORTH DUE WEST RD, STE 350
155 108TH AVE NE, STE 650                KENNESAW, GA 30144
BELLEVUE, WA 98004



[NAME REDACTED]                          LEGO ANALYTIC SOLUTIONS LLC         LEGRAND PASS & SEYMOUR INC
[ADDRESS REDACTED]                       ATTN LEGO GONZALEZ, OWNER           50 BOYD AVE
                                         13705 19TH AVE NE                   SYRACUSE, NY 13209
                                         SEATTLE, WA 98125




LEGRAND                                  [NAME REDACTED]                     LEHIGHTON ELECTRONICS INC
ATTN PRODUCT MGR                         [ADDRESS REDACTED]                  208 MEMORIAL DR
2234 RUTHERFORD RD                                                           LEHIGHTON, PA 18235
CARLSBAD, CA 92008




LEHMAN BROTHERS INC                      [NAME REDACTED]                     [NAME REDACTED]
399 PARK AVE, 6TH FLR                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]
NEW YORK, NY 10022
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 LEIDOS
                                   [NAME REDACTED]                       PageINC478 of 944
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  ATTN CONTRACTS REP
                                                                        2109 AIR PARK RD SE, STE 150
                                                                        ALBUQUERQUE, NM 87106




[NAME REDACTED]                     [NAME REDACTED]                     LEITNER LEITNER
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  AM HEUMARKT 7
                                                                        WIEN 1030
                                                                        AUSTRIA




[NAME REDACTED]                     LEMAN USA INC                       [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN VP & CFO                       [ADDRESS REDACTED]
                                    1860 RENAISSANCE BLVD
                                    STURTEVANT, WI 53177




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     LENSVECTOR INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  ATTN VP BUSINESS DEV
                                                                        677 PALOMAR AVE
                                                                        SUNNYVALE, CA 94085




LENVIK & MINOR ARCHITECTS           LEO ELECTRON MICROSCOPY INC         LEO F CASEY
ATTN VP                             ATTN TREASURER                      320 WAWONA ST
315 W HALEY ST                      1 ZEISS DR                          SAN FRANCISCO, CA 94127
SANTA BARBARA, CA 93101             THORNWOOD, NY 10594




[NAME REDACTED]                     LEON, ERIN                          [NAME REDACTED]
[ADDRESS REDACTED]                                                      [ADDRESS REDACTED]




LEONARD ASSOCIATES INC              [NAME REDACTED]                     LEONARD, JAYME
ATTN JAYME LEONARD, OWNER           [ADDRESS REDACTED]                  5430 BRIDGETOWN RD
5630 BRIDGETOWN RD, STE 2                                               CINCINNATI, OH 45248
CINCINNATI, OH 45248




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]
LEONARDO MW LTD Case 25-90163        Document 87SPA
                                        LEONARDO  Filed in TXSB on 07/03/25 [NAME
                                                                              Page  479 of 944
                                                                                  REDACTED]
ATTN ISOBEL NASH                         ATTN CTO, ELECTRONIC DIVISION      [ADDRESS REDACTED]
SIGMA HOUSE, CHRISTOPHER MARTIN RD       VIA TIBURTINA KM 12,400
BASILDON                                 ROME 00131
ESSEX SS14 3EL UNITED KINGDOM            ITALY



LEOTEK ELECTRONICS CO                    LEOTEK ELECTRONICS CORP            LEOTEK ELECTRONICS CORP
ATTN CHIN NANG TU, VP                    50, LUNGYUAN 7TH RD                ATTN VP
NO 50 LUNG-YUAN 7TH RD                   LUNGTAN HSIANG                     1330 MEMOREX DR
LUNG-TAN TAO-TUAN                        TAO YUAN HSIEN, TAOYUAN            SANTA CLARA, CA 95050
HEIEN TAIWAN                             TAIWAN



LEPEL CORP                               [NAME REDACTED]                    LES VENTES FUTURA INC
W227 N937 WESTMOUND DR                   [ADDRESS REDACTED]                 ATTN LARRY NOREYKO
WAUKESHA, WI 53186                                                          952 RUE BELIVEAU
                                                                            SAINTE-THERESE, QC J7E 5M5
                                                                            CANADA



[NAME REDACTED]                          [NAME REDACTED]                    LESLEY, MELISSA A
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 4020 SKIPJACK CT
                                                                            RALEIGH, NC 27613




LESLIE, SCOTT                            LESSER, BOBBI                      [NAME REDACTED]
113 RAVEN DR                                                                [ADDRESS REDACTED]
GREENSBURG, PA 15601




LETECH INC                               [NAME REDACTED]                    LEUCHTSTOFFWERK BREITUNGEN GMBH
4716 52ND AVE                            [ADDRESS REDACTED]                 ATTN MANAGING DIRECTOR
KENOSHA, WI 53144                                                           LANGE SOMME 17
                                                                            BREITUNGEN 98597
                                                                            GERMANY



[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




LEUPOLD & STEVENS INC                    [NAME REDACTED]                    LEUZE ELECTRONIC INC
ATTN DIRECTOR MKT & PRODUCT DEV          [ADDRESS REDACTED]                 ATTN CONTROLLER
14400 NW GREENBRIER PKWY                                                    55395 LYON INDUSTRIAL DR
BEAVERTON, OR 97006                                                         NEW HUDSON, MI 48165




[NAME REDACTED]                          [NAME REDACTED]                    LEVEL 3 COMMUNICATIONS HONG KONG
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 ATTN VP
                                                                            2301 TWR 2, TIMES SQUARE
                                                                            1 MATHESON ST
                                                                            CAUSEWAY BAY HONG KONG



LEVEL 3 COMMUNICATIONS, LLC              LEVIN ENERGY ADVISORS LLC          [NAME REDACTED]
DBA LUMEN TECHNOLOGIES GROUP             ATTN PRESIDENT                     [ADDRESS REDACTED]
ATTN LEGAL-BANKRUPTCY                    330 THIRD AVE, STE 101
1025 EL DORADO BLVD                      PELHAM, NY 10803
BROOMFIELD, CO 80021
[NAME REDACTED] Case 25-90163         Document
                                         LEVITON87 Filed in TXSB
                                                MANUFACTURING CO INCon 07/03/25 LEVITON
                                                                                  PageMANUFACTURING
                                                                                        480 of 944 CO INC
[ADDRESS REDACTED]                        ATTN CHERYL SAMARTANO                ATTN EXEC VP
                                          59-25 LITTLE NECK PKWY               201 N SERVICE RD
                                          LITTLE NECK, NY 11362                MELVILLE, NY 11747




LEVITRONIX TECHNOLOGIES LLC               LEWIS ELECTRICAL CONTRACTORS INC     LEWIS PR INC
20 SPEEN STREET                           ATTN SR PROJECT MGR                  ATTN SVP
FRAMINGHAM, MA 01701-4680                 1346 STONEFIELD CT                   575 MARKET ST, STE 1200
                                          ALPHARETTA, GA 30004                 SAN FRANCISO, CA 94105




LEWIS ROCA ROTHGERBER CHRISTIE LLP        [NAME REDACTED]                      [NAME REDACTED]
3993 HOWARD HUGHES PKWY, STE 600          [ADDRESS REDACTED]                   [ADDRESS REDACTED]
LAS VEGAS, NV 89169




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                           LEWIS-GOETZ AND COMPANY INC          LEXEDIS LIGHTING GMBH
[ADDRESS REDACTED]                        ATTN OPERATIONS MGR                  TECHNOLOGIEPARK 10
                                          805 PRESSLEY RD, STE 102             JENNERSDORF A-8380
                                          CHARLOTTE, NC 28217                  AUSTRIA




LEXEL IMAGING SYSTEMS INC                 LEXINGTON INSURANCE CO               LEXINGTON INSURANCE COMPANY
ATTN PRESIDENT                            ATTN ASST PROD LINE MGR              ATTN VP
1500 BULL LEA BLVD, STE 150               99 HIGH ST                           100 SUMMER ST
LEXINGTON, KY 40511                       BOSTON, MA 02110                     BOSTON, MA 02110




LEXINGTON LIGHTING GROUP LLC              LEXINGTON PRECISION CORP             LEXINGTON SPECIALTY INSURANCE
DBA VANTAGE LIGHTING & WILSHIRE MFG       DBA QURE MEDICAL                     AGENCY INC
ATTN CEO                                  ATTN GM                              99 HIGH ST, FLOOR 25
645 MYLES STANDISH BLVD                   1810 RENAISSANCE BLVD                BOSTON, MA 02110-2378
TAUNTON, MA 02780                         STURTEVANT, WI 53177
LEXIS-NEXIS        Case 25-90163      Document  87 LTD
                                         LEX-LONDON Filed in TXSB on 07/03/25 LEXTAR
                                                                                PageELECTRONICS
                                                                                     481 of 944CORP
P.O. BOX 7247-7090                        STE 3, GRAPES HOUSE                   ATTN DR DAVID SU, CHAIR & CEO
PHILADELPHIA, PA 19170-0001               79A HIGH ST                           NO 3, GONGYE E 3RD ROAD
                                          ESHER                                 HSINCHU SCIENCE PARK
                                          ENGLAND KT10 9QA UNITED KINGDOM       HSIN CHU 30075 TAIWAN



LEYBOLD USA INC                           [NAME REDACTED]                       LEZYNE USA INC
25968 NETWORK PLACE                       [ADDRESS REDACTED]                    ATTN PRESIDENT
CHICAGO, IL 60673-1259                                                          645 TANK FARM UNIT 4
                                                                                SAN LUIS OBISPO, CA 93401




LF ILLUMINATION LLC                       LG CHEM HONG KONG LTD                 LG DISPLAY CO LTD
ATTN CHIEF EXECUTIVE OFFICER              ATTN SALES MGR                        ATTN HO SUNG KIM, VP
9200 DEERING AVE                          26/F, 633 KINGS RD                    20 YEOIDO-DONG
CHATSWORTH, CA 91311                      NORTH POINT                           YOUNGDUNGOPO-GU
                                          HONG KONG                             SEOUL 150-721 SOUTH KOREA



LG ELECTRONICS INC                        LG ELECTRONICS                        LG INNOTEK CO LTD
ATTN VP                                   C/O LG R&D COMPLEX                    ATTN VICE PRESIDENT
20 YOIDO-DONG                             533 HOGYE-DONG                        LG TWIN TOWERS, YEOUIDO-DONG, FL 33
YOUNGDUNGPO-GU                            DONGAN-GU                             YEONGDEUNGPO-GU
SEOUL 150-721 SOUTH KOREA                 ANYANG-SI, GYENONGGI-DO SOUTH KOREA   SEOUL SOUTH KOREA



LG INNOTEK CO., LTD.                      LG INTERNATIONAL                      LG MAGNA E-POWERTAIN CO., LTD.
416 SEOUL SQUARE 20F, 416 HANGANGDA       6700 S.W. BRADBURY CT.                322, GYEONGMYEONG-DAERO
SEOUL - JUNG-GU 100714                    PORTLAND, OR 97224-7734               SEO-GU, INCHEON 22744
SOUTH KOREA                                                                     SOUTH KOREA




LG PHILIPS LCD CO LTD                     LG PHILIPS LCD CO LTD                 LG PHILLIPS LCD R&D CENTER
ATTN JOHN KIM                             ATTN JT HONG, SR GC                   ATTN GROUP LEADER
642-3 JINPYUNG-DONG                       18TH FLOOR, LG TWIN TOWERS WEST       533 HOGAE-GONG
GUMI-CITY                                 20 YOIDO-DONG, YOUNGDUNGPO-GU         DONGAN-GU ANYANG-SHI
GYUNGBUK 730-726 SOUTH KOREA              SEOUL 150-721 SOUTH KOREA             GYONGKI-DO 431 080 SOUTH KOREA



LGA THIN FILMS INC                        LGBT CENTER OF RALEIGH                LGE ELECTRONICS INC
ATTN PRESIDENT                            19 WEST HARGETT STREET SUITE 507      ATTN MGR OF IP CTR
3064 LAWRENCE EXPWY                       RALEIGH, NC 27601-1350                LG TWIN TOWERS, 20 YOIDO-DONG
SANTA CLARA, CA 95051                                                           YOUNGDUNGPO-GU
                                                                                SEOUL 150-721 SOUTH KOREA



LGS INNOVATIONS LLC                       LGS INNOVATIONS LLC                   LH HAJNAL & ASSOCIATES CONSULTING
ATTN DAVID CHOI                           ATTN SR MNGR, SUBCONTRACTS            ENGINEERS
11300 WESTMOOR CIR                        5440 MILLSTREAM RD, STE E210          ATTN PRESIDENT
WESTMINISTER, CO 80021                    MCLEANSVILLE, NC 27301                11620 WILLSHIRE BLVD, STE 750
                                                                                LOS ANGELES, CA 90025



LHC STRUCTURAL ENGINEERS PC               LHH RECRUITMENT SOLUTIONS             [NAME REDACTED]
ATTN VICE PRESIDENT                       LANDSBERGERSTRAßE 290A                [ADDRESS REDACTED]
1331 SUNDAY DR, STE 121                   MUNCHEN 80687
RALEIGH, NC 27607                         GERMANY




LHY ASSOCIATES LLC                        LI & PARTNERS                         [NAME REDACTED]
ATTN GEN MGR                              22/F WORLD-WIDE HOUSE                 [ADDRESS REDACTED]
10 TUNBRIDGE RD                           19 DES VOEUX RD CENTRAL
CHERRYHILL, NJ 08003                      CENTRAL
                                          HONG KONG
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  482 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




LI, YIFEI                                LIAN, JIAN XIONG                      LIAN-FA LIGHTING TECHNOLOGY CO LTD
C/O IOWA STATE UNIVERSITY                                                      ATTN PRES
2201 COOVER                                                                    32F, NO. 21, LN 444, ZHONGHENG E RD
AMES, IA 50014                                                                 DAYUAN TOWNSHIP
                                                                               TAOYUAN COUNTY 33745 TAIWAN



LIANG DAR TECHNOLOGY CO LTD              LIANG RONG MACHINERY CO LTD           [NAME REDACTED]
ATTN SALES MGR                           ATTN CHIEF EXECUTIVE OFFICER          [ADDRESS REDACTED]
NO 27, TA-YU 1 ST                        NO 506, BADE ST, SHULIN DIST
TA-FA INDUSTRIAL PARK                    NEW TAIPEI CITY 238
KAOHSIUNG HSIEN TAIWAN                   TAIWAN



[NAME REDACTED]                          LIANHE, FOSHAN NANHAIQU               [NAME REDACTED]
[ADDRESS REDACTED]                                                             [ADDRESS REDACTED]




LIANTRONICS (HUIZHOU) CO LTD             LIANZHEN PLASTIC & ELEC TECH CO LTD   [NAME REDACTED]
TECHNOLOGY INDUSTRIAL PARK               2 FLOOR, TOWER 1                      [ADDRESS REDACTED]
DAYAWAN W DISTRICT                       GREAT WALL JUYI INDUSTRY AREA
HUIZHOU, GUANGDONG                       TUTANG VILLAGE, CHANGPING TOWN
CHINA                                    DONGGUAN, GUANGDONG CHINA



[NAME REDACTED]                          [NAME REDACTED]                       LIBERTY ANALYTICAL CORP
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    ATTN PRESIDENT
                                                                               501 MADISON AVE
                                                                               CARY, NC 27513




LIBERTY CRAFTSMAN CO                     LIBERTY LIFE ASSURANCE OF BOSTON      LIBERTY MUTUAL INSURANCE COMPANY
ATTN OWNER                               100 LIBERTY WAY                       175 BERKELEY ST
P.O. BOX 1354                            DOVER, NH 03820-4597                  BOSTON, MA 02116
VASS, NC 28394




LIBERTY PROPERTY LTD PARTNERSHIP         LIBERTY TEST EQUIPMENT INC            [NAME REDACTED]
ATTN SR VP & REG DIR                     1640 LEAD HILL BLVD SUITE 120         [ADDRESS REDACTED]
1628 JOHN F KENNEDY BLVD, STE 1100       ROSEVILLE, CA 95661-3091
PHILIDELPHIA, PA 19103




[NAME REDACTED]                          LICHT & MEDIENSYSTEME GMBH            LICHT VISION GMBH
[ADDRESS REDACTED]                       LINDBERGSTRAFLE 15                    WELSER ST 10-12
                                         KONIGSBRUNN 86343                     BERLIN 10777
                                         GERMANY                               GERMANY




LICHT ZENTRALE GMBH                      [NAME REDACTED]                       LICONIX
ATTN PRODUCT MGR                         [ADDRESS REDACTED]                    ATTN PRES
NEUHOFSTRASSE 9                                                                3281 SCOTT BLVD
BENSHEIM 64625                                                                 SANTA CLARA, CA 95054
GERMANY
LICT CO LTD      Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                    [NAME REDACTED]                       Page  483 of 944
                                                                              REDACTED]
ATTN SENIOR RESEARCH ENGINEER        [ADDRESS REDACTED]                 [ADDRESS REDACTED]
456 GOMAE-DONG, GIHEUNG-GU
YONGIN-SI, GYEONGGI-DO 446-901
SOUTH KOREA



LIDL US LLC                          LIDROTEC GMBH                      [NAME REDACTED]
ATTN LEGAL                           LOTHRINGER ALLEE 2                 [ADDRESS REDACTED]
3500 S CLARK ST                      BOCHUM 44805
ARLINGTON, VA 22202                  GERMANY




LIEBERMAN SOFTWARE CORP              LIEBERT CORP                       LIEBHERR-ELEKTRONIK GMBH
ATTN SR VP SALES                     ATTN VP AC POWER ENGINEERING       ATTN MANAGING DIR
1900 AVE OF THE STARS, STE 425       1050 DEARBOR DR                    PETER-DORNIER-STRASSE 11
LOS ANGELES, CA 90067                COLUMBUS, OH 43085                 LINDAU 88131
                                                                        GERMANY



[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      LIFEGEAR INC                       LIFEWORK RECRUITMENT AGENCY SDN BHD
[ADDRESS REDACTED]                   ATTN COO                           ATTN BRANCH MANAGER
                                     3444 TRIPP COURT, STE B            76 & 76A MACALISTER LN
                                     SAN DIEGO, CA 92121                PENANG 10400
                                                                        MALAYSIA



LIG NEX1 CO LTD                      LIG NEX1 CORP                      LIGHT & MOTION INDUSTRIES
ATTN DIRECTOR                        ATTN RESEARCH ENGINEER             ATTN CEO
PRUDENTIAL TOWER, 11/12F 838         333, PANGYO-RO, BUNDANG-GU         300 CANNERY ROW
YEOKSAM-DONG, GANGNAM-GU             SEONGNAM, GYEONGGI-DO 13488        MONTEREY, CA 93940
SEOUL 135-982 SOUTH KOREA            SOUTH KOREA



LIGHT & MOTION INDUSTRIES            LIGHT AUDIO DESIGN                 LIGHT BASED TECHNOLOGIES
ATTN CHIEF EXECUTIVE OFFICER         ATTN DIR                           ATTN CHAIRMAN
711 NEESON RD                        93/A DZERZHINSKOGO STR             200-689 E 1ST AVE
MARINA, CA 93933                     CHELYABINSK 454078                 VANCOUVER, BC V5M 1C2
                                     RUSSIA                             CANADA



LIGHT BOHRD LLC                      LIGHT BOY CO LTD                   LIGHT BULBS PLUS
ATTN PRESIDENT                       ATTN GEN MGR                       ATTN PRESIDENT
1232 PINE FOREST CIR                 2-6-14 KURIGI ASAO                 2689 CITRUS RD
ROUND ROCK, TX 78665                 KAWASAKI, KANAGAWA 215-0033        RANCHO CORDOVA, CA 95742
                                     JAPAN



LIGHT CONCEPT TECHNOLOGY LTD         LIGHT CONTRACT SRL                 LIGHT CORP INC
ATTN LOGISTIC DEPT                   ATTN MANAGING DIR                  ATTN DIR OF ENG
8/F, YUEN LONG HI-TECH CENTRE        VIA ALCIDE DE GASPERI 2            14800 172ND AVE
11 WANG YIP ST W                     COLLEBEATO (BRESCIA) 25060         GRAND HAVEN, MI 49417-8969
YUEN LONG, NT HONG KONG              ITALY
LIGHT CORP, THE   Case 25-90163      Document  87 Filed
                                        LIGHT EMISSION     in TXSBLTD
                                                       TECHNOLOGY   on 07/03/25 LIGHT
                                                                                  Page   484LTD
                                                                                      ENGINE of 944
ATTN PRODUCT DEV MGR                     ATTN GEN MGR                               ATTN DIRECTOR
UNIT 3, NORTHBRIDGE RD                   3 RD LIUXIAN, 68 ZONE                      6/F, PHOTONICS CENTRE, 2 SCIENCE PARK E
BERKHAMSTED                              BAOAN DISTRICT, GUANGDONG                  AVE
HERTFORDSHIRE HP4 1EF UNITED             SHENZHEN 518101 CHINA                      HONG KONG SCIENCE PARK
KINGDOM                                                                             SHATIN HONG KONG


LIGHT ENGINEERING & DESIGN LLC           LIGHT KINETICS (PTY) LTD                   LIGHT LIFE AND EARTH LLC
ATTN MANAGING MEMBER                     ATTN MG DIRECTOR                           ATTN PRINCIPAL
P.O. BOX 30105                           15 NURSERY RD                              119 E WALNUT ST
4901 SPICEWOOD SPRINGS RD                THE GARDENS                                ROGERS, AR 72756
AUSTIN, TX 78755                         JOHANNESBURG 2192 SOUTH AFRICA



LIGHT POLES PLUS LLC                     LIGHT POLYMERS HOLDINGS HK LTD             LIGHT POLYMERS INC
ATTN OWNER                               ATTN LICENSING DEPT                        ATTN PRESIDENT
206 W MCWILLIAMS ST                      22ND FL TAI YAU BLDG                       347 LITTLEFIELD AVE
FOND DU LAC, WI 54935                    181 JOHNSTON RD                            S SAN FRANCISCO, CA 94080
                                         WAN CHAI HONG KONG



LIGHT POWER INC                          LIGHT PRESCRIPTION INNOVATIONS LLC         LIGHT PRESCRIPTIONS INNOVATORS LLC
212-270 W 7TH AVE                        ATTN PRESIDENT                             ATTN PRESIDENT & CEO
VANCOUVER, BC VSY 1M1                    16662 HALE AVE                             2400 LINCOLN AVE
CANADA                                   IRVINE, CA 92606                           ALTADENA, CA 91001




[NAME REDACTED]                          LIGHT SPEED AVIATION LLC                   LIGHT SPEED AVIATION LLC
[ADDRESS REDACTED]                       ATTN CHRISTOPHER RUUD                      C/O ACFM LLC
                                         9201 WASHINGTON AVE                        ATTN CHRISTOPHER RUUD, MEMBER
                                         RACINE, WI 53406                           P.O. BOX 081188
                                                                                    RACINE, WI 53408



LIGHT TEC                                LIGHT WGT LTD                              LIGHTART INTERNATIONAL CO LTD
ATTN DIRECTOR                            ATTN MANAGING DIRECTOR                     ATTN GEN MGR
ESPACE ALEXANDRA 359 RUE SAINT JOSEPH    NO 1 BELMONT RD, WEST KIRBY                PEACH VILLAGE IND ZONE, BEIJIAO TOWN
HYERES 83400                             WIRRAL CH48 5EY                            SHUNDE DIST, FOSHAN CITY
FRANCE                                   UNITED KINGDOM                             GUANGDONG 528311 CHINA



[NAME REDACTED]                          LIGHTECH ELECTRONIC INDUSTRIES LTD         LIGHTECH ELECTRONICS LTD
[ADDRESS REDACTED]                       DBA LIGHTECH ELECTRONICS                   ATTN VICE PRESIDENT
                                         ATTN VP                                    9 HAMELACHA ST
                                         1511 N WESTSHORE BLVD, STE 255             NORTH INDUSTRIAL ZONE
                                         TAMPA, FL 33607                            LOD 71520 ISRAEL



LIGHTER & C. S.A.S.                      LIGHTFAIR INTERNATIONAL                    LIGHTHORSE TECHNOLOGIES
ATTN RODOLFO BERRETTA, OWNER             240 PEACHETREE ST NW, STE 2200             9511 RIDGEHAVEN CT. STE B
VIA PRADA, 11                            ATLANTA, GA 30303                          SAN DIEGO, CA 92123-5618
BRIVIO 23883
ITALY



LIGHTHOUSE INTERNATIONAL HOLDINGS LTD    LIGHTHOUSE TECHNOLOGIES LTD                LIGHTHOUSE TECHNOLOGIES LTD
ATTN TONY VAN DE VEN, DIRECTOR           ATTN MANAGING DIR                          ATTN TONY VAN DE VEN, DIRECTOR
5B02 HKPC BLDG                           UNIT 301-306& 316-320, 3/F PHOTONICS CTR   5B02 HKPC BLDG
78 TAT CHEE AVE                          2 SCIENCE PARK E AVE, HK SCIENCE PARK      78 TAT CHEE AVE
KOWLOON TONG HONG KONG                   NEW TERRITORIES HONG KONG                  KOWLOON TONG HONG KONG



LIGHTHOUSE WORLDWIDE SOLUTIONS INC       LIGHTING ANALYSTS INC                      LIGHTING ASSOC INC
300 WEST ANTELOPE ROAD                   ATTN VICE PRESIDENT                        ATTN MARK MYERS
WHITE CITY, OR 97503                     10440 BRADFORD RD, UNIT A                  1557 W SAM HOUSTON PKWY N, STE 100
                                         LITTLETON, CO 80127                        HOUSTON, TX 77043
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                                               COMPANY                        Page ELECTRONIC
                                                                                     485 of 944DEVICES SL
ATTN PRESIDENT                         ATTN PRESIDENT                         POL EMP TACTICA
186 E KIRKHAM AVE                      1-1 SAIWAI-CHO                         C/VELLUTERS 1, PARCELA 12B, NAV 10
WEBSTER GROVES, MO 63119               TAKATSUKI CITY, OSAKA 569-1193         PATERNA, VALENCIA 46980
                                       JAPAN                                  SPAIN



LIGHTING GROUP UTAH, INC.              LIGHTING INNOVATIONS CORP              LIGHTING LANGUAGE & DESIGN LLC
ATTN: DONNY DURRANT                    ATTN PRESIDENT                         360 FROSTY MEADOW DR
12272 S. 800 E, SUITE C                28120 BELCOURT RD                      PITTSBORO, NC 27312
DRAPER, UT 84020                       PEPPER PIKE, OH 44124




LIGHTING PARTNER BV                    LIGHTING PRODUCTS LTD                  LIGHTING PROJECT LLC, THE
ATTN DIR LUMINARIES DEVELOPMENT        ATTN MKTG MGR                          ATTN GENERAL MANAGER
AMUNDSENWEG 1                          11/F FOOK LEE COMMERICAL CENTER        210 W 4TH ST, STE B
GOES 4462 GP                           33 LOCKHART RD                         VANCOUVER, WA 98660
NETHERLANDS                            WANCHAI HONG KONG



LIGHTING RESEARCH CENTER               LIGHTING SCIENCE GROUP CORPORATION     LIGHTING SCIENCES INC
RENSSELAER POLYTECHNIC INSTITUTE       ATTN CHAIRMAN & CEO                    ATTN VICE PRESIDENT
ATTN PROFESSOR                         2100 MCKINNEY AVE, STE 1555            7826 E EVANS RD
21 UNION ST                            DALLAS, TX 75201                       SCOTTSDALE, AZ 85260
TROY, NY 12180



LIGHTING SOLUTIONS LS                  LIGHTING SOLUTIONS                     LIGHTING SPECIALIST INC
10 VETERANS SQUARE 1ST FL              ATTN PRINCIPAL                         ATTN PRESIDENT
MEDIA, PA 19063                        701 37TH ST S, STE 3                   4727 CENTER ST
                                       BIRMINGHAM, AL 35222                   OMAHA, NE 68106




LIGHTING SYSTEMS DESIGNS INC           LIGHTING SYSTEMS INC                   LIGHTING TEC SRL
ATTN PRES                              ATTN BRENT CHAFFEE, PRINCIPAL          VIA POLVICA N 180
4625 WINTER GARDEN RD, STE A-2         1310 BLUE OAKS BLVD, STE 400           SAN FELICE A CANCELLO (CE) 81027
ORLANDO, FL 32811                      ROSEVILLE, CA 95678                    ITALY




LIGHTING TECH TRADING CO LLC           LIGHTING TECHNOLOGIES INDIA PVT LTD    LIGHTING TECHNOLOGIES INTL GROUP OF
ATTN GEN DIRECTOR                      MC JCT, 201, 3RD MAIN, KASTURI NAGAR   CO
OTRADNAYA ST, 2B BUILD 2               BANGALORE, KARNATAKA 560 043           ATTN DIRECTOR
MOSCOW 127273                          INDIA                                  OTRADNAYA STR, 2B BUILD 7
RUSSIA                                                                        MOSCOW 127273
                                                                              RUSSIA


LIGHTING TECHNOLOGIES PRODUCTION LLC   LIGHTING TECHNOLOGIES TRADING CO       LIGHTING U UP INC
ATTN GENERAL DIR                       ATTN GENERAL DIR                       161 FERRIS DR UNIT 22
MAGISTRALNAYA ST 11A                   OTRADNAYA ST 2B BUILD 2                NORTH BAY, ON P1A 4K2
RYAZAN 390010                          MOSCOW 127273                          CANADA
RUSSIA                                 RUSSIA



LIGHTING UNLIMITED INC                 LIGHTINGCENTRAL.NET LTD                LIGHTINGS SCIENCE GROUP CORP
ATTN EDDY RAJCZYK, PRESIDENT           ATTN PRESIDENT                         ATTN CEO
1335 KING AVE                          1402 CUTLER                            2100 MCKIMEY AVE, STE 1555
COLUMBUS, OH 43212                     HUDSON, OH 44236                       DALLAS, TX 75201




LIGHTLED S.A.                          LIGHTLINES INC                         LIGHTMOTIF BV
ATTN GEN MGR                           ATTN VP                                ATTN DIRECTOR
SANT ADRIA, 93-95                      3679 BELLGROVE RIDGE                   PANTHEON 12
BARCELONA 08030                        MARIETTA, GA 30062                     ENSCHEDE 7521 PR
SPAIN                                                                         NETHERLANDS
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LIGHTNING OPTOELECTRONIC  TECH (SZ) CODocument  87 INC
                                         LIGHTOLIER   Filed in TXSB on 07/03/25 LIGHTOP
                                                                                  Page TECHNOLOGY
                                                                                          486 of 944CO LTD
LTD                                      ATTN VP STRATEGIC PD                   ATTN GEN MNGR
ATTN XIHONG WAN                          346 CLAREMONT AVE                      5F, NO 371-1, SEC 2, CHUNG-SHAN RD
B BLDG, WENATO TECHNOLOGY PARK           JERSEY CITY, NJ 07305                  CHUNG-HO, TAIPEI HSIEN
YINGRENSHI COMMUNITY, SHIYAN ST                                                 TAIWAN
BAOAN, SHENZHEN CHINA


LIGHTS CAMERA ACTION LLC                 LIGHTS OF AMERICA INC                     LIGHTS ON US INTERNATIONAL
ATTN CHIEF FINANCIAL OFFICER             ATTN USMAN VAKIL, PRESIDENT               382 LAURELWOOD RD
1025 N MCQUEEN RD, STE 156               611 REYES DR                              SANTA CLARA, CA 95054
GILBERT, AZ 85233                        WALNUT, CA 91789




LIGHTS                                   LIGHTSCAPE MATERIALS INC                  LIGHTSHOW/WEST
ATTN PRESIDENT                           ATTN COO                                  1405 OLD ALABAMA RD, STE 120
500 S SEPULVEDA BLVD, STE 204            201 WASHINGTON RD                         ROSWELL, GA 30076
MANHATTAN BEACH, CA 90266                PRINCETON, NJ 08540




LIGHTSOURCE                              LIGHTSPAN LLC                             LIGHTWAVE ENTERPRISES INC
ATTN CHIEF FINANCIAL OFFICER             ATTN PRES                                 ATTN CEO
30690 HILL ST                            14 KENDRICK RD                            1999 MT READ BLVD, BLDG 2
THOUSAND PALMS, CA 92276                 MAREHAM, MA 02571                         ROCHESTER, NY 14615




LIGHTWIND CORP                           LIGITEK ELECTRONICS CO LTD                LIGMAN LIGHTING CO LTD
ATTN CHAIRMAN                            ATTN YICHUN CHEN                          ATTN FACTORY DEPT MGR
ONE EMBARCADERO CENTER, STE 1140         NO. 238, BO-AI ST, SHULIN DISTRICT        17/2 MOO 4
SAN FRANCISCO, CA 94111                  NEW TAIPEI CITY 238                       MONTHONG BANGNAMPREAW
                                         TAIWAN                                    CHACHOENGSAO 24150 THAILAND



LIH REALTY CORP                          LI-HONG SCIENCE AND TECHNOLOGY CO         LILIUM EAIRCRAFT GMBH
                                         LTD                                       ATTN DEPUTY GEN COUNSEL
                                         ATTN CHARMAN                              CLAUDE-DORNIER-STR 1, GEB 335
                                         NO 392, JHULIAO RD, JHULIAO VILLAGE       WESSLING 82234
                                         DASHU TOWNSHIP                            GERMANY
                                         KAOHSIUNG COUNTY 84043 TAIWAN


[NAME REDACTED]                          [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                        [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                        [ADDRESS REDACTED]




LIM BOON HUI                             [NAME REDACTED]                           [NAME REDACTED]
ATTN LIM BOON HUL                        [ADDRESS REDACTED]                        [ADDRESS REDACTED]
78, LENGKOK KENARI 1
SUNGAI ARA, BAYAN LEPAS
PENANG 11900 MALAYSIA



LIME ENERGY SERVICES CO                  LIMEADE INC                               LIMIT LOCK
16810 KENTON DR, STE 240                 ATTN CTO                                  ATTN GENERAL MANAGER
HUNTERSVILLE, NC 28078                   10885 NE 4TH ST, STE 400                  12 HABSOR
                                         BELLEVUE, WA 98004                        ASHDOD 7770232
                                                                                   ISRAEL
LIN JUNZUO         Case 25-90163 Document  87 Filed in TXSB on 07/03/25 [NAME
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                                                                              REDACTED]
                                       [ADDRESS REDACTED]                      [ADDRESS REDACTED]




LIN, WEI-HENG                          [NAME REDACTED]                         [NAME REDACTED]
4 FL NO.15, JHONGSIA ST                [ADDRESS REDACTED]                      [ADDRESS REDACTED]
YONGHE DISTRICT
NEW TAIPEI CITY 23441
TAIWAN



LINARO LTD                             LINC LIGHTING & ELECTRICAL LP           LINCOLN TECHNICAL SERVICES INC
ATTN CHIEF OPERATING OFFICER           DBA SUNDOWN LIGHTING & ELECTRICAL       ATTN PRESIDENT, LTSI
HARSTON MILL, ROYSTON RD, HARSTON      25612 COMMERCENTRE DR                   60 MCLEOD POND RD
CAMBRIDGE CB22 7GG                     LAKE FOREST, CA 92630                   GLENMOORE, PA 19343
UNITED KINGDOM



LINCOLN TECHNOLOGY SOLUTIONS INC       LINDA BURGERT CONSULTING LLC            [NAME REDACTED]
ATTN VP                                ATTN MEMBER & AUTHORIZED AGENT          [ADDRESS REDACTED]
3434 KILDAIRE FARM RD, STE 370         1286 MARSHALL RD
CARY, NC 27518                         BOYNE CITY, MI 49712




[NAME REDACTED]                        LINDE (HUIZHOU) INDUSTRIAL GAS CO LTD   LINDE ADVANCED MATERIAL
[ADDRESS REDACTED]                     PLOT J-4, PETROCHEMICAL INDUSTRY ZONE   TECHNOLOGIES INC
                                       DAYA BAY, GUANGDONG PROVINCE            FKA PRAXAIR SURFACE TECHNOLOGIES INC
                                       HUIZHOU                                 542 ROUTE 303
                                       CHINA                                   ORANGEBURG, NY 10962-1329



LINDE ELECTRONICS & SPECIALTY GASES    LINDE ELECTRONICS AND SPECIALTY GAS     LINDE GAS & EQUIPMENT INC.
(SUCCESSOR TO THE BOC GROUP, INC.)     53 FRONTAGE ROAD, SUITE 210             ATTN: DAVID LEE
ATTN: MARK QUINN                       HAMPTON, NJ 08827                       53 FRONTAGE AVENUE, SUITE 210
1 GREENWICH DRIVE, SUITE 100                                                   HAMPTON, NJ 08827
STEWARTSVILLE, NJ 08886



LINDE INC                              [NAME REDACTED]                         [NAME REDACTED]
ATTN VP/GM ELECTRONICS                 [ADDRESS REDACTED]                      [ADDRESS REDACTED]
575 MOUNTAIN AVE
MURRAY HILL, NJ 07974




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         LINEAR LIGHTING CORP
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      ATTN PRESIDENT
                                                                               31-30 HUNTER POINT AVE
                                                                               LONG ISLAND CITY, NY 11101
                  Case 25-90163
LINEAR PHOTONICS LLC                Document  87 FiledINC
                                       LINEAR SOLUTIONS in TXSB on 07/03/25 LINEAR
                                                                              PageTECHNOLOGY
                                                                                    488 of 944
                                                                                             CORPORATION
ATTN VP                                 500 POINTE SOUTH DR.                  ATTN VP
3 NAMI LN, STE 7C                       RANDLEMAN, NC 27317-9503              1630 MCCARTHY BLVD
HAMILTON, NJ 08619                                                            MILPITAS, CA 95035




[NAME REDACTED]                         [NAME REDACTED]                       LINEDRIVE UNLIMITED, LLC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    ATTN: KEVIN MULLINS
                                                                              222 SPRING LAKE DRIVE
                                                                              ITASCA, IL 60143




[NAME REDACTED]                         [NAME REDACTED]                       LING, NG YEOW
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    RM 1808, BLDG B, TIANAN INNO & TECH PLZ
                                                                              CHE KUNG TEMP, FUTIAN DISTRICT
                                                                              SHENZHEN CITY
                                                                              CHINA



[NAME REDACTED]                         LING, XIUQIN                          LINGPERFECT TRANSLATION INC
[ADDRESS REDACTED]                                                            ATTN SR ACCOUNT EXEC
                                                                              1110 BRICKELL AVE, STE 430-K25
                                                                              MIAMI, FL 33131




LINGSEN PRECISION INDUSTRIES LTD        LINHAI BOLI-FAR LIGHTING              [NAME REDACTED]
ATTN VP                                 PRODUCING CO LTD                      [ADDRESS REDACTED]
5-1 NAN 2ND RD, TEPZ                    MIDDLE ST INDUSTRIAL DISTRICT
TAICHUNG 42701                          DONGCHENG TOWN, LINHAI CITY
TAIWAN                                  ZHEJIANG 317005 CHINA



LINK LABS INC                           LINK TEK CO LTD                       [NAME REDACTED]
ATTN CFO                                ATTN PRESIDENT                        [ADDRESS REDACTED]
49 OLD SOLOMONS ISLAND RD               418 DOCHANG-DONG
ANNAPOLIS, MD 21401                     SIHUNG-SI, KYUNGGI-DO
                                        SOUTH KOREA



[NAME REDACTED]                         LINKEDIN CORPORATION                  LINK-LIGHT OPTO CO LTD
[ADDRESS REDACTED]                      2029 STIERLIN CT                      ATTN MIKE LIN
                                        MOUNTAIN VIEW, CA 94043-4655          1F, NO. 8, LN 1188
                                                                              YONGAN RD
                                                                              TAOYUAN, TAOYUAN 33055 TAIWAN



[NAME REDACTED]                         [NAME REDACTED]                       LINKSQUARES INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    ATTN CFO
                                                                              1 LINCOLN ST, 28TH FL
                                                                              BOSTON, MA 02111




LINKSRECHTS INGENIEURGESELLSCHAFT       LINKTEK CORP                          LINSEIS INC
GMBH                                    ATTN LEGAL OFFICER                    109 NORTH GOLD DRIVE
ATTN MANAGING DIRECTOR                  1805 DREW ST                          ROBBINSVILLE, NJ 08691
DAMPFSCHIFFSWEG 11                      CLEARWATER, FL 33765
HAMBURG 21079
GERMANY


LINSTITUT NATL POLYTECHNIQUE DE         LINTEC ADVANCED TECHNOLOGIES (S) PL   LINTEC CORPORATION
TOULOUSE                                20 BENDEMEER ROAD 04-11/14            ATTN GM
ATTN PRESIDENT                          SINGAPORE 339914                      23-23 HONCHO
6 ALLEE EMILE MONSO                     SINGAPORE                             ITABASHI-KU
BP 34038                                                                      TOKYO 173-0001 JAPAN
TOULOUSE CEDEX 4 31029 FRANCE
LINTEC OF AMERICA Case
                   INC  25-90163    Document   87 FiledPTE
                                       LINTEC SINGAPORE in LTD
                                                           TXSB on 07/03/25 LINWAVE
                                                                              Page TECHNOLOGY
                                                                                    489 of 944LTD
15930 SOUTH 48TH STREET                 20 BENDEMEER ROAD 02-01             ATTN DIRECTOR
PHOENIX, AZ 85048-0903                  SINGAPORE 339914                    DIGITEK HOUSE, WHISBY WAY
                                        SINGAPORE                           LINCOLN LN6 2LQ
                                                                            UNITED KINGDOM



LINWAVE TECHNOLOGY                      LION TECHNOLOGY INC.                LIONHEART POWER SYSTEMS INC
ATTN PRINCIPAL DESIGN ENG               570 LAFAYETTE ROAD                  13151 EXECUTIVE CT
4 SADLER RD, MARLIN BLDG, LINCOLN       SPARTA, NJ 07871-3447               HUNTLEY, IL 60142
LINCOLNSHIRE LN6 3RS
UNITED KINGDOM



[NAME REDACTED]                         LIPSCOMB CHEMICAL CO INC            [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN REGIONAL SALES MGR             [ADDRESS REDACTED]
                                        5150 E PACIFIC COAST HWY, STE 600
                                        LONG BEACH, CA 90804




[NAME REDACTED]                         [NAME REDACTED]                     LIPURAY SCIENCE AND TECHNOLOGY CO
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  LTD
                                                                            ATTN CHAIRMAN
                                                                            NO 31, LANE 19
                                                                            DUNHUANG RD, SANMIN DISTRICT
                                                                            KAOHSIUNG CITY 807 TAIWAN


LIQUID CONTROL CORP                     LIQUID HANDLING EQUIPMENT, INC.     LIQUIDIA TECHNOLOGIES INC
ATTN PRESIDENT & COO                    2311 EXECUTIVE ST                   ATTN PRESIDENT
8400 PORT JACKSON AVE NW                CHARLOTTE, NC 28208-3637            627 DAVIS DR, STE 500
NORTH CANTON, OH 44720                                                      MORRISVILLE, NC 27560




LIRAD LIGHTING ENGINEERING LTD          LISA DRAXIMAIER GMBH                LISA RAGAN CUSTOMS BROKERAGE
                                        ATTN PURCH COMPONENTS MGR           1 CLAY PL
                                        LANDSHUTER STRASSE 100              HAPEVILLE, GA 30354
                                        VILSBIBURG 84137
                                        GERMANY



[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




LISTAR TECHNOLOGY CO LTD                LITA LIGHTNING IRELAND LTD          LITE LED LTD
ATTN Y H LEE                            ATTN R&D CONSULTANT                 ATTN MD
4F, NO 42, YINSHAN ST                   2A CENTURY BUSINESS PARK            UNIT 5, PARKSIDE INDUSTRIAL ESTATE
SANMIN DIST                             ST MARGARETS RD                     GLOVER WAY
KAOHSIUNG 80786 TAIWAN                  FINGLAS, DUBLIN 11 IRELAND          LEEDS LS115JP UNITED KINGDOM



LITE ON TECHNOLOGY CORP                 LITE ON TECHNOLOGY CORP             LITE SOURCE LLC
ATTN PAUL LU, LEGAL                     ATTN REX CHUANG                     ATTN CHRIS KERAVUORI, PRINCIPAL
22F, 392 RUEY KUANG RD                  NO 90, CHIEN 1 RD                   4801 HARGROVE RD, STE 14
NEIHU                                   CHUNG HO                            RALEIGH, NC 27616
TAPEI 114 TAIWAN                        NEW TAIPEI 23585 TAIWAN



LITE SOURCE                             LITEC-LLL GMBH                      LITEHARDBOR LIGHTING TECHNOLOGY CO
ATTN PRINCIPAL                          ATTN GENERAL MNGR                   LTD
908 INDIAN TRAIL DR                     BRANDTEICHSTRASSE 20                ATTN GENERAL MANAGER
RALEIGH, NC 27609                       GREIFSWALD 17489                    HECUN DEVELOPMENT ZONE
                                        GERMANY                             DANZAO TOWN, NANHAI DISTRICT
                                                                            FOSHAN, GUANGDONG 528216 CHINA
LITELAB CORP       Case 25-90163   Document
                                      LITE-MAX87  Filed in TXSB
                                               OPTOELECTRONICS CO on
                                                                  LTD07/03/25 LITE-ON
                                                                                PagePOWER
                                                                                      490 of
                                                                                          SBG944
ATTN VICE PRESIDENT                    ATTN EXEC ASST OF GM                  ATTN SR PROCUREMENT MGR
5-40 54TH AVE                          SUN INDUSTRIAL CITY                   90, CHIEN I RD, CHUNG HO
LONG ISLAND CITY, NY 11101             HUI DONG, GUANG DONG 516300           TAIPEI HSIEN 235
                                       CHINA                                 TAIWAN



LITE-ON SEMICONDUCTOR CORP             LITEON SEMICONDUCTOR CORP             LITE-ON TECHNOLOGY CORP
ATTN EXEC VP                           ATTN GEN MGR                          ATTN JOHNSON WU
28-1 WU SHIN ST, TA-WU LUNG            9F, NO 232-2, PAO-CHIAO RD            NO 11 FU-YUAN RD, WUQING DEV AREA
KEELUNG 20446                          HSIN-TIEN DISTRICT                    TIANJIN
TAIWAN                                 NEW TAIPEI CITY 231 TAIWAN            CHINA



LITE-ON TECHNOLOGY CORP                LITE-ON TECHNOLOGY CORP               LITE-ON TECHNOLOGY CORP
ATTN MANAGER                           ATTN PRESIDENT                        ATTN TS CHANG, CHIEF LEGAL COUNSEL
4F, 90, CHIEN I RD, CHUNG-HO           392 RUEY KUANG RD                     22F, NO 392, RUEY KUANG RD, NEIHU
TAIPEI HSIEN 235                       NEIHU                                 TAIPEI 114
TAIWAN                                 TAIPEI 114 TAIWAN                     TAIWAN



LITE-ON                                LITEPLAN LTD                          LITE-SOURCE INC
ATTN VP                                ATTN TECHNICAL MANAGER                ATTN CONTROLLER
392 RUEY KUANG RD                      APEX HOUSE, BRYANT AVENUE             14425 YORBA AVE
NEIHU                                  ROMFORD, ESSEX RM3 0AP                CHINO, CA 91710
TAIPEI TAIWAN                          UNITED KINGDOM



LITESOURCE INDUSTRIES                  LITESOURCE LLC                        LITETRONICS INTERNATIONAL INC
ATTN PRINCIPAL (PARTNER)               ATTN PRINCIPAL/OWNER                  4101 WEST 123RD ST
1011-7455 132ND ST                     4801 HARGROVE RD, STE 14              ALSIP, IL 60803
SURREY, BC V3W 1J8                     RALEIGH, NC 27616
CANADA



LITHIOS LLC                            LITON LIGHTING                        LITTELFUSE INC
310 S HARRINGTON ST, STE 207           DIV OF EEMA INDUSTRIES INC            ATTN VICE PRESIDENT & GM
RALEIGH, NC 27603                      5461 W JEFFERSON BLVD                 8755 W HIGGINS RD, STE 500
                                       LOS ANGELES, CA 90016                 CHICAGO, IL 60631




LITTLE DIVERSIFIED ARCHITECTUAL        [NAME REDACTED]                       [NAME REDACTED]
CONSULTING INC                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]
410 BLACKWELL STREET SUITE 10
DURHAM, NC 27701-3986




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163    Document   87 Filed in TXSB on 07/03/25 [NAME
                                    LIU, YANG                              Page  491 of 944
                                                                               REDACTED]
[ADDRESS REDACTED]                                                       [ADDRESS REDACTED]




[NAME REDACTED]                      LIVEPERSON                          [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN GENERAL COUNSEL                [ADDRESS REDACTED]
                                     475 TENTH AVE, 5TH FL
                                     NEW YORK, NY 10018




LIVINGSTON & HAVEN LLC               LIVINGSTON INTERNATIONAL INC        LIYUAN LIGHTING TECHNOLOGY
ATTN VP OF SALES                     405 THE WEST MALL, STE 400 & 500    ATTN PRESIDENT
11529 WILMAR BLVD                    TORONTO, ON M9C 5K7                 JINJI LING, SHABU COUNTRY
CHARLOTTE, NC 28273                  CANADA                              DALANG TOWN,
                                                                         DONGGUAN, GUANGDONG 523755 CHINA



LJ TECHNOLOGIES INC                  LJ-MFG                              LLC BL TRADE
ATTN CHIEF EXECUTIVE OFFICER         ATTN MGR OF ADMIN & FINANCE         ATTN PROCUREMENT DIR
81 CHENGHI, NO 1, LN 58              PRIV ANTONIO ALVAREZ ESPARZA 23     PROSPEKT MIRA, 106 BUILDING VNISI
EAST XINGIAN RD                      COL LAS LIEBRES                     4TH FLOOR, OFFICE 430
SHANGHAI 201199 CHINA                TLAQUEPAQUE, JAL 45623 MEXICO       MOSCOW 129626 RUSSIA



LLC LIGHTING TECH TRADING CO         LLEDO ILUMINACION SA                LLOYD & PARTNERS LTD
ATTN GENERAL DIR                     ATTN MG DIRECTOR                    ATTN PARTNER
OTRADNAYA ST 2B, BLDG 2              C/CID CAMPEADOR, 14                 ONE AMERICA SQ
MOSCOW 127273                        MADRID, MOSTOLES 28935              LONDON EC3N 2JL
RUSSIA                               SPAIN                               UNITED KINGDOM



LLOYD JONES CONSTRUCTION INC         [NAME REDACTED]                     [NAME REDACTED]
LJ ELECTRICAL COMPANY                [ADDRESS REDACTED]                  [ADDRESS REDACTED]
5995 CHAPEL HILL RD SUITE 113
RALEIGH, NC 27607-5995




[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




LLOYD’S INSURANCE COMPANY S.A.       LLOYDS OF LONDON                    LLOYDS OF LONDON
8/10 RUE LAMENNAIS                   C/O DENENBERG TUFFLEY PLLC          C/O DEVORE ACTON & STAFFORD
PARIS 75008                          28411 NORTHWESTERN HWY, STE 600     ATTN FRED W DEVORE III
FRANCE                               SOUTHFIELD, MI 48034                438 QUEENS RD
                                                                         CHARLOTTE, NC 28207



LLOYDS OF LONDON                     LMI TECHNOLOGIES (USA) INC          LMR PARTNERS LLP
ONE LIME STREET                      ATTN REGIONAL SALES MGR             412 W 15TH ST
LONDON EC3M 7HA                      21455 MELROSE AVE, STE 22           9TH FL
UNITED KINGDOM                       SOUTHFIELD, MI 48075                NEW YORK, NY 10011
LNL OPTENIA INC  Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  492 of 944
                                                                                 REDACTED]
400 MARCH RD                            [ADDRESS REDACTED]                      [ADDRESS REDACTED]
OTTAWA, ON K2K 3H4
CANADA




[NAME REDACTED]                         LOADING DOCK SYS OF THE CAROLINAS INC   LOADSPRING SOLUTIONS INC.
[ADDRESS REDACTED]                      ATTN PROJECT MGR                        1500 DISTRICT AVENUE
                                        9521 LUMLEY RD, STE E                   BURLINGTON, MA 01803-5069
                                        MORRISVILLE, NC 27560




LOBSERVATOIRE INTERNATIONAL INC         [NAME REDACTED]                         [NAME REDACTED]
ATTN RETAIL DIR                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]
120 WALKER ST
NEW YORK, NY 10013




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         LOCKHEED MARTIN CORP                    LOCKHEED MARTIN CORP
[ADDRESS REDACTED]                      ATTN VP, TECHNICAL OPERATIONS           O/B/O SANDERS; LINDA DUPRAS
                                        497 ELECTRONICS PARK                    65 SPIT BROOK RD
                                        P.O. BOX 4840                           P.O. BOX 868, MER 15-2403
                                        SYRACUSE, NY 13221                      NASHUA, NH 03061-0868



LOCKHEED MARTIN CORPORATION             LOCKHEED MARTIN CORPORATION             LOCKHEED MARTIN CORPORATION
ATTN ALAN SMITH, SUBCONTRACTS MGR       ATTN ASSOC MGR, CONTRACT MGMT           ATTN MNGR, CONTRACTS
12257 S WADSWORTH BLVD                  1210 MASSILLON RD                       199 BORTON LANDING RD
LITTLETON, CO 80125                     AKRON, OH 44315                         P.O. BOX 1027
                                                                                MOORESTOWN, NJ 08057-0927



LOCKHEED MARTIN CORPORATION             LOCKHEED MARTIN CORPORATION             LOCKHEED MARTIN MISSILES & FIRE
ATTN SUBCONTRACT ADMIN                  ATTN SUBCONTRACT ADMIN                  CONTROL
1111 LOCKHEED MARTIN WAY                5600 SAND LAKE RD                       5600 SAND LAKE RD
SUNNYVALE, CA 94089-1212                ORLANDO, FL 32819-8907                  ORLANDO, FL 32819-8907




LOCKHEED MARTIN SHARED SE               [NAME REDACTED]                         [NAME REDACTED]
P.O. BOX 33017                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]
LAKELAND, FL 33807-3017




[NAME REDACTED]                         LOCKTON COMPANIES LLP                   LOCKTON COMPANIES
[ADDRESS REDACTED]                      THE ST BOTOLPH BLDG                     3280 PEACHTREE RD NE, STE 250
                                        138 HOUNDSDITCH                         ATLANTA, GA 30305
                                        LONDON EC3A 7AG
                                        UNITED KINGDOM
LOCKTON COMPANIES Case 25-90163       Document 87
                                         LOCKTON    Filed inINC.
                                                 COMPANIES,   TXSB
                                                                 (FOR on 07/03/25 LOCKTON
                                                                                    Page 493  of 944INC. (FOR SURETY
                                                                                          COMPANIES,
3500 LENOX RD NE                          INSURANCE POLICIES)                     BONDS)
ATLANTA, GA 30326                         ATTN LINDSAY JONES                      ATTN KELLI HANSEN
                                          4725 PIEDMONT ROW DR                    3280 PEACHTREE RD NE
                                          SUITE 510                               SUITE 1000
                                          CHARLOTTE, NC 28210                     ATLANTA, GA 30305


LOCKWOOD PRODUCTS INC                     [NAME REDACTED]                         [NAME REDACTED]
ATTN CEO                                  [ADDRESS REDACTED]                      [ADDRESS REDACTED]
4450 COMMERCE DR SW
ATLANTA, GA 30336




LOCOMATION INC                            [NAME REDACTED]                         [NAME REDACTED]
6350 QUADRANGLE DR, STE 310               [ADDRESS REDACTED]                      [ADDRESS REDACTED]
CHAPEL HILL, NC 27517




LOFFE INSTITIUTE                          LOFINGS LIGHTING INC                    LOFTECH LLC
ATTN WARD OF LABORATORY                   ATTN VP                                 PIECEPART MANUFACTURING
26 POLYTEKNITCHESKAYA STR.                2121 J ST                               2512 NE 1ST BLVD
ST PETERSBURG 194021                      SACRAMENTO, CA 95811                    GAINESVILLE, FL 32609-6022
RUSSIA



LOFTIN EQUIPMENT CO                       LOFTIN EQUIPMENT CO.                    [NAME REDACTED]
ATTN DIRECTOR CONTRACTS & RISK MGMT       P.O. BOX 641055                         [ADDRESS REDACTED]
5204 BEAR CREEK CT                        DALLAS, TX 75264-1055
IRVING, TX 75061




[NAME REDACTED]                           LOGICA LLC                              LOGICAL DATA SOLUCTIONS INC
[ADDRESS REDACTED]                        ATTN PRESIDENT                          ATTN VP
                                          6955 UNION PARK CTR                     31 WINDWARD ISLE
                                          SALT LAKE CITY, UT 84047                PALM BEACH GARDENS, FL 33418




LOGIN LOGISTICS LLC                       LOGISTICS ENGINEERING SOLUTIONS INC     LOGISTICS MANAGEMENT LLC
1300 BAXTER ST, STE 355                   ATTN PRESIDENT                          ATTN PRESIDENT
CHARLOTTE, NC 28204                       130 STONE MOUNTAIN ST                   N1096 FREMONT RD
                                          LAWRENCEVILLE, GA 30046                 P.O. BOX 529
                                                                                  WHITEWATER, WI 53190



LOGISTYX TECHNLOLOGIES, LLC               LOGITECH PRODUCT GROUP INC              LOGIX MDN LLC
2448 EAST 81ST STREET SUITE 5100          ATTN PRESIDENT                          908 WISTERIA WAY
TULSA, OK 74137-4289                      24766 DETROIT RD                        RICHARDSON, TX 75080-4026
                                          WESTLAKE, OH 44145




LOGIX SALES & MARKETING INC               LOGOSOL INC                             LOGRHYTHM INC
ATTN JEFF MAY, PRES                       2833 JUNCTION AVENUE SUITE 101          ATTN CONTRACTS MGR
24 GREENWAY PLZ, STE 540                  SAN JOSE, CA 95134-1920                 4780 PEARL EAST CIR
HOUSTON, TX 77046                                                                 BOULDER, CO 80301




[NAME REDACTED]                           LOGWIN AIR OCEAN MALAYSIA SDN BHD       [NAME REDACTED]
[ADDRESS REDACTED]                        BLOCK B UNIT 03 NO 14 PERSIARAN         [ADDRESS REDACTED]
                                          PERUSAHAAN
                                          SHAH ALAM, SELANGOR 40300
                                          MALAYSIA
LOIDIGH, CHAD     Case 25-90163 Document  87 Filed
                                   LOKIN HOLDINGS     in TXSB on 07/03/25 LOKISA
                                                  LIMITED                   PageSMART
                                                                                  494 ENERGY
                                                                                      of 944GMBH
                                       ATTN DIRECTOR                           ATTN CHIEF EXECUTIVE OFFICER
                                       UNIT 711, 7/F, LAKESIDE ONE             TRIERER STRASSE 53A
                                       8 SCIENCE PARK W AVE, HK SCIENCE PARK   MECHERNICH D-53894
                                       SHATIN, NT HONG KONG                    GERMANY



LOMAK INDUSTRIAL CO LTD                [NAME REDACTED]                         LOMOPRESS SRL
ATTN OPERATION MNGR                    [ADDRESS REDACTED]                      ATTN EXPORT MGR
14/F PHASE 1, LEADER IND CENTRE                                                VIA SAN FAUSTINO, 11
188-202 TEXACO RD                                                              MONTICELLI BRUSATI 25040
TSUEN WAN HONG KONG                                                            ITALY



[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




LONE STAR LIGHTING                     LONESTAR BADGE AND SIGN                 LONG ISLAND LIGHTING COMPANY
ATTN PRINCIPAL                         301 QUAIL RUN ROAD                      DBA LIPA
12107 COLWICK                          MARTINDALE, TX 78655-3950               ATTN LINDA SCHWANTNER
SAN ANTONIO, TX 78216                                                          333 EARLE OVINGTON BLVD, STE 403
                                                                               UNIONDALE, NY 11801



LONG, ADAM                             [NAME REDACTED]                         [NAME REDACTED]
                                       [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




LONGENT LLC                            LONGHILL IND/ETC                        LONGHILL INDUSTRIES LTD
ATTN CHIEF EXECUTIVE OFFICER           ATTN AGENT& OWNER                       22/FI LEVER CENTRE
7517 PRECISION DR, STE 102             2320D WALSH AVE                         HONG KONG 999077
RALEIGH, NC 27617                      SANTA CLARA, CA 95051                   HONG KONG




LONGJOIN ELECTRONICS CO LTD SHANGHAI   [NAME REDACTED]                         LONGO REAL ESTATE SERVICES INC
ATTN GENERAL MANAGER                   [ADDRESS REDACTED]                      C/O CARDINAL INDUSTRIAL
NO 398, NAN WEN ZAO RD                                                         ATTN MICHAEL MCFARLAND
BOA SHAN, SHANGHAI 200443                                                      2131 PALOMAR AIRPORT RD, STE 360
CHINA                                                                          CARLSBAD, CA 92011-1476



[NAME REDACTED]                        [NAME REDACTED]                         LOOMIS INDUSTRIES INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      ATTN PRESIDENT
                                                                               1204 CHURCH ST
                                                                               ST HELENA, CA 94574




LOOMIS SAYLES & CO LP                  [NAME REDACTED]                         LOOP ELECTRONICS PTE LTD
ONE FINANCIAL CENTER                   [ADDRESS REDACTED]                      ATTN DIRECTOR
BOSTON, MA 02111                                                               BLK 5012, ANG MO KIO AVE 5
                                                                               04-04A TECHPLACE II
                                                                               SINGAPORE 65-569876 SINGAPORE
LOOP1 LLC          Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  495 of 944
                                                                                REDACTED]
405 BRUSHY CREEK ROAD                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]
DALLAS, TX 75267-1327




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        LORAC DESIGN                          LORAD CHEMICAL CORPORATION
[ADDRESS REDACTED]                     ATTN PRESIDENT                        ATTN PRESIDENT
                                       P.O. BOX 175                          1200 19TH ST N
                                       PENFIELD, NY 14526                    ST PETERSBURG, FL 33713




LORANGER INTERNATIONAL CORP            LORD BENEX INTERNATIONAL CO LTD       LORD CORP
817 FOURTH AVE                         ATTN DANIEL LEE                       ATTN JARRETT RATHKE
WARREN, PA 16365-1801                  9F, NO 61, SEC 2, GONGYI RD           111 LORD DR
                                       NANTUN DISTRICT                       CARY, NC 27511
                                       TAICHUNG CITY 40861 TAIWAN



[NAME REDACTED]                        [NAME REDACTED]                       LOREX INDUSTRIES INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    ATTN PRESIDENT
                                                                             41 PAGE PARK DR
                                                                             POUGHKEEPSIE, NY 12603




LORIN INDUSTRIES INC                   LOS ALAMOS NATIONAL SECURITY LLC      [NAME REDACTED]
ATTN VP SALES & MKTG                   C/O RICHARD P FEYNMAN CTR FOR INNOV   [ADDRESS REDACTED]
1960 S ROBERTS ST                      ATTN LICENSING ADMIN
MUSKEGON, MI 49443                     P.O. BOX 1663, MAIL STOP C334
                                       LOS ALAMOS, NM 87545



[NAME REDACTED]                        LOSTETTER, ALEXANDER                  LOSTETTER, ALEXANDER
[ADDRESS REDACTED]                     2051 FREEDOM PL                       C/O SMITH HURST PLC
                                       FAYETTEVILLE, AR 72704                ATTN JAMES SMITH
                                                                             226 W DICKSON ST, STE 201
                                                                             FAYETTEVILLE, AR 72701



[NAME REDACTED]                        [NAME REDACTED]                       LOTUS F1 TEAM LIMITED
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    ATTN COO
                                                                             16 OLD BAILEY
                                                                             LONDON EC4M 7E6
                                                                             UNITED KINGDOM



LOTUSWORKS, INC                        LOU HUTTER CONSULTING LLC             [NAME REDACTED]
10 CABOT ROAD                          2323 NORTH HOUSTON STREET 602         [ADDRESS REDACTED]
MEDFORD, MA 02155-5173                 DALLAS, TX 75219-7624
                   Case
LOUISIANA DEPARTMENT   OF25-90163
                         THE TREASURYDocument   87DEPARTMENT
                                        LOUISIANA    Filed in TXSB
                                                              OF THE on 07/03/25 LOUISIANA
                                                                     TREASURY      Page 496DEPTof
                                                                                                OF944
                                                                                                   REVENUE
UNCLAIMED PROPERTY DIVISION             UNCLAIMED PROPERTY DIVISION              617 N THIRD ST
LOUISIANA STATE CAPITOL BLDG            P.O. BOX 44154                           BATON ROUGE, LA 70802
900 N THIRD ST, 3RD FL                  BATON ROUGE, LA 70804
BATON ROUGE, LA 70802



LOUISIANA DEPT OF REVENUE               LOUISIANA DEPT OF                        LOUISIANA OFFICE OF FINANCIAL
P.O. BOX 201                            602 N FIFTH ST                           INSTITUTIONS
BATON ROUGE, LA 70821                   BATON ROUGE, LA 70802                    SECURITIES DIVISION
                                                                                 8660 UNITED PLAZA BLVD.
                                                                                 2ND FLOOR
                                                                                 BATON ROUGE, LA 70809


LOUISIANA WORKFORCE COMMISSION          [NAME REDACTED]                          [NAME REDACTED]
1001 N 23RD ST                          [ADDRESS REDACTED]                       [ADDRESS REDACTED]
BATON ROUGE, LA 70802




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]




LOWES COMPANIES INC                     [NAME REDACTED]                          [NAME REDACTED]
ATTN LEGAL DEPT NB6LG                   [ADDRESS REDACTED]                       [ADDRESS REDACTED]
1000 LOWES BLVD
MOORESVILLE, NC 28117




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]




LOXHAM PRECISION LTD                    [NAME REDACTED]                          [NAME REDACTED]
ATTN DIRECTOR                           [ADDRESS REDACTED]                       [ADDRESS REDACTED]
90 CENTRAL AVE
CRANFIELD CAMPUS
CRANFIELD MK43 0AL UNITED KINGDOM



[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document   87 Filed in TXSB on 07/03/25 LPPage
                                       LOZIER, BENJAMIN                       GLASS 497 of 944
                                                                                    BLOWING
[ADDRESS REDACTED]                                                          ATTN DIRECTOR
                                                                            2322 CALLE DEL MUNDO
                                                                            SANTA CLARA, CA 95054




LPI EUROPE SL                           LPI LLC                             LPI PRECISION OPTICS LIMITED
ATTN TECHNOLOGY DIRECTOR                ATTN PRESIDENT & CEO                ATTN DIR
PARQUE CIENTIFICO Y TECNOLOGICO DE LA   20422 BEACH BLVD, 320               UNIT G02, G/F, PHOTONICS CENTRE
UPM                                     HUNTINGTON BEACH, CA 92648          2 SCEINCE PARK E AVE, HK SCIENCE PARK
EDIFICIO CEDINST CESVIMA, 2A PLANTA                                         SHATIN, NT HONG KONG
DCHA
POZUELO DE ALARCON, MADRID 28223
SPAIN

LPKF LASER & ELECTRONICS, INC.          LPL FIN CORP (0075)                 LR ENVIRONMENTAL EQUIPMENT CO INC
12555 SW LEVETON DRIVE                  ATT CORPORATE ACTIONS               ATTN VP
TUALATIN, OR 97062-6073                 1055 LPL WAY                        12902 S SPRING ST
                                        FORT MILL, SC 29715                 LOS ANGELES, CA 90061




LRB GROUP LLC                           LRI                                 LSA LLC
8209 MARKET STREET SUITE A 307                                              ATTN ALAN J RUUD
WILMINGTON, NC 28411-9632                                                   9201 WASHINGTON AVE
                                                                            RACINE, WI 53406




LSA LLC                                 LSI COMPUTER SYSTEMS INC            LSI INC
C/O ACFM LLC                            ATTN VP SALES & MKTG                ATTN PRESIDENT
ATTN ALAN J RUUD, MEMBER                1235 WALT WHITMAN RD                1621 BARBER LN
P.O. BOX 081188                         MELVILLE, NY 11747                  MILPITAS, CA 95035
RACINE, WI 53408



LSI INDUSTRIES INC                      LSI RESOURCES                       LSP TECHNOLOGIES INC
ATTN VP                                 DBA HDI SOLUTIONS INC               ATTN COO
10000 ALLIANCE RD                       ATTN PRESIDENT                      6145 SCHERERS PL
CINCINNATI, OH 45242                    2378C WALSH AVE                     DUBLIN, OH 43016
                                        SANTA CLARA, CA 95051



LT INDUSTRIES                           LT TECHNOLOGIES LLC                 LTEC CORPORATION
ATTN TECHNICAL DIRECTOR                 ATTN PRES                           4-42-8 HIGASHIARIOKA
811 RUSSELL AVE                         3819 CHARLES STEWART DR             ITAMI 6640845
GAITHERSBURG, MD 20879                  FAIRFAX, VA 22033                   JAPAN




LTF LIGHTING LLC                        LTI LED                             LTL COLOR COMPOUNDERS INC
DBA LIGHTING THE FUTURE                 ATTN SARAH OUELETT                  ATTN PRES
ATTN PARTNER                            2185 LEON-HARMEL                    20 PROGRESS DR
9927 STEPHEN DECATUR HWY, STE 20        QUEBEC, QC G1N 4N5                  MORRISVILLE, PA 19067
OCEAN CITY, MD 21842                    CANADA



LTN SEMICONDUCTOR EQUIPMENT SERVICE     LTO CERAMICS INC                    LTS LICHT & LEUCHTEN GMBH
INC                                     ATTN DIRECTOR                       ATTN GENERAL MGR
ATTN PRES                               7411 CENTRAL AVE                    WALDESCH 24
1280 ALMA CT                            NEWARK, CA 94560                    TETTNANG D-88069
SAN JOSE, CA 95112                                                          GERMANY



[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  498 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     LUCAS/SIGNATONE CORPORATION          LUCE 5 SRL
[ADDRESS REDACTED]                  393-J TOMKINS CT                     ATTN LEGAL REP
                                    GILROY, CA 95020-3632                VIA F.LLI ALINARI N 9/11
                                                                         MONTEVARCHI (AR) 502025
                                                                         ITALY



LUCE&LIGHT SRL                      LUCENT TECHNOLOGIES INC              LUCENT TECHNOLOGIES NETWORK
ATTN PRES                           ATTN EXEC VICE PRESIDENT             SYSTEMS GMBH
VIA DELLA TECNICA, 42               600 MOUNTAIN AVE                     ATTN MANAGING DIRECTOR
POVOLARO DI DUEVILLE                MURRAY HILL, NJ 07974                THURN-UND-TAXIS-STRASSE 10
VICENZA 36031 ITALY                                                      NUERNBERG 90411
                                                                         GERMANY


LUCENT TECHNOLOGIES                 [NAME REDACTED]                      LUCES TECHNOLOGY CO LTD
ATTN SR PROCUREMENT SPEC            [ADDRESS REDACTED]                   ATTN JAMES WU, VP
67 WHIPPANY RD                                                           6F-5 NO 94 BAOZHONG RD
WHIPPANY, NJ 07981                                                       XINDIAN CITY
                                                                         NEW TAIPEI CITY 231 TAIWAN



LUCIBEL SA                          LUCID MOTORS INC                     LUCID USA INC
ATTN PATRICK GINTER                 ATTN WENDY CHEN                      ATTN DIRECTOR PURCHASING
3, PLACE LOUIS RENAULT              7373 GATEWAY BLVD                    LUCID MOTORS LOGISTICS OPS CTR
RUEIL MALMAISON 92500               NEWARK, CA 94560                     1115 W ALAMEDA DR
FRANCE                                                                   TEMPE, AZ 85282



LUCID USA INC                       LUCIDLED INC                         LUCIFER LIGHTING COMPANY
ATTN VP SUPPLY CHAIN                ATTN PRESIDENT                       ATTN CEO
7373 GATEWAY BLVD                   5320 E 25TH ST                       3750 IH35 NORTH
NEWARK, CA 94560                    INDIANAPOLIS, IN 42618               SAN ANTONIO, TX 78219




LUCINIAN, PENELOPE A                LUCITE INTERNATIONAL UK LIMITED      LUCITE INTERNATIONAL UK LIMITED
ATTN RF ENGINEER                    ATTN GLOBAL BUSINESS DEV DIR         ATTN GLOBAL BUSINESS DEV DIR
16103 OPAL CREEK DR                 CUMBERLAND HOUSE, 15-17 CUMBERLAND   WILTON CENTRE, WILTON
WESTON, FL 33331-3125               PL                                   REDCAR TS10 4RF
                                    SOUTHHAMPTON                         UNITED KINGDOM
                                    HAMPSHIRE SO15 2BG UNITED KINGDOM


LUCIX CORP                          LUCKY GROUP CO LTD                   LUCKY HARVEST (HK) CO LTD
ATTN CONTRACTS MGR                  3/F TIN ON SING                      ATTN DIR OF MARKET DEV
800 AVENIDA ACASO                   COML BUILDING 41-43, GRAHAM ST C     RM 06, 12/F KWAI CHEONG CENTRE
CAMARILLO, CA 93013                 CENTRAL DISTRICT                     NO 50 KWAI CHEONG RD
                                    HONG KONG                            KWAI CHUNG NT HONG KONG



LUCKY LIGHT ELECTRONIC CO LTD       LUCKY PLASTIC MOULD PTE LTD          [NAME REDACTED]
ATTN CAROL TANG                     ATTN SALES DIRECTOR                  [ADDRESS REDACTED]
15/F COOPERATIVE FINANCE BLDG       6TH INDUS ZONE, SHANGSHA
SHENNAN EAST RD, LUOHU DIST         HUAQIANG RD, CHANGAN
SHENZHEN CHINA                      DONGGUAN, GUANGDONG 523867 CHINA



LUDLOW MANUFACTURING INC            [NAME REDACTED]                      LUG LIGHT FACTORY SP ZOO
ATTN SALES MANAGER                  [ADDRESS REDACTED]                   NOWY KISIELIN NOWA 7
3821 HAWTHORNE CT                                                        ZIELONA GORA 66-002
WAUKEGAN, IL 60087                                                       POLAND
LUGER RESEARCH Case 25-90163     Document  87 Filed in TXSB on 07/03/25 LUKE
                                    [NAME REDACTED]                       Page   499LLCof 944
                                                                             BUILDS
MOOSMAHDSTRASSE 30                   [ADDRESS REDACTED]                   3592 HOBART RD
DORNBIRN 6850                                                             HOBART, IN 46342
AUSTRIA




LUKE LANDS LLC                       LUMAGINE LLC                         LUMASCAPE LIGHTING INDUSTRIES PTY
C/O THOMAS M COLLINS II              11441 RUPP DR                        ATTN GEN MGR
3592 N HOBART RD                     BURNSVILLE, MN 55337                 38-44 ENTERPRISE ST
HOBART, IN 46342                                                          CLEVELAND, QLD 4163
                                                                          AUSTRALIA



LUMASCAPE USA INC                    LUMASENSE TECHNOLOGIES INC           LUMAX INDUSTRIES INC
ATTN VP                              3301 LEONARD CT                      ATTN VP BUSINESS DEV
1300 INDUSTRIAL RD                   SANTA CLARA, CA 95054-2054           CHESTNUT AVE & 4TH ST
SAN CARLOS, CA 94070                                                      P.O. BOX 991
                                                                          ALTOONA, PA 16603



[NAME REDACTED]                      LUMECON LLC                          LUMEN
[ADDRESS REDACTED]                   ATTN GEN MGR                         ATTN KEITH GOODSON
                                     24114 RESEARCH DR                    931 14TH ST
                                     FARMINGTON HILLS, MI 48335           DENVER, CO 80202




LUMENEC                              LUMENETIX INC                        LUMENFLOW CORP
ATTN MANAGING DIR                    ATTN PRINCIPAL ENGINEER              ATTN PRESIDENT
993 S PINE RD                        4742 SCOTTS VALLEY DR                3685 HAGEN DR SE, ST B
EVERTON HILLS, QLD 4053              SCOTTS VALLEY, CA 95066              WYOMING, MI 49548
AUSTRALIA



LUMENOPTIX LLC                       LUMENPULSE                           LUMENS CO LTD
ATTN PRINCIPAL                       ATTN PRESIDENT                       ATTN S H PAENG
203 PROGRESS DR                      5455 DE GASPE, STE 100               456 GOMAE-DONG, GIHEUNG-GU
MONTGOMERYVILLE, PA 18936-9618       MONTREAL, QC H2T 3B3                 YONGIN-SI, GYEONGGI-DO 446-901
                                     CANADA                               SOUTH KOREA



LUMENWERX INC                        LUMERICAL COMPUTATIONAL SOLUTIONS    LUMESSE INC
ATTN OWNER                           INC                                  ATTN REGIONAL FINANCIAL CONTROLLER
393 ST CROIX, STE B                  ATTN COO                             2705 BEE CAVE RD, STE 160
ST-LAURENT, QC H4N 2L3               300 - 535 THURLOW ST                 AUSTIN, TX 78746
CANADA                               VANCOUVER, BC V6E 3L2
                                     CANADA


LUMETRICS INC                        LUMEWAVE INC                         LUMI M CO LTD
1565 JEFFERSON ROAD SUITE 420        ATTN PRESIDENT                       ATTN PRESIDENT
ROCHESTER, NY 14623-3190             4803 B ST                            633 CHERRIES BLDG
                                     SACRAMENTO, CA 95819                 392-20 SEOGYO-DONG, MAPO-GU
                                                                          SEOUL SOUTH KOREA



LUMICENTRO INTERNATIONAL SA          LUMIFICIENT CORP                     LUMIGROW INC
ATTN RAMON ZAFRANI                   ATTN R&D / APPLICATION ENGINEER      ATTN CHIEF EXECUTIVE OFFICER
P.O. BOX 4813                        8752 MONTICELLO LN N                 1480 64TH ST, STE 150
PANAMA CITY, PANAMA 5                MAPLE GROVE, MN 55369                EMERYVILLE, CA 94608
PANAMA



LUMILEDS LIGHTING US LLC             LUMINA POWER INC                     LUMINAIDE PTY LTD ACN 125 981 599
ATTN STEVE LANDAU, WORLDWIDE         ATTN PRESIDENT                       ATTN MANAGING DIR
MARCOM MGR                           240 JUBILEE DR                       6 SWORD ST
370 W TRIMBLE RD                     PEABODY, MA 01960                    WOOLLOONGABBA, QLD 4102
SAN JOSE, CA 95131                                                        AUSTRALIA
LUMINAIDE PTY LTD Case 25-90163     Document  87TESTING
                                       LUMINAIRE  FiledLABORATORY
                                                        in TXSB onINC07/03/25 LUMINANT
                                                                                Page 500   of 944
                                                                                       ENERGY COMPANY LLC
ATTN MG DIRECTOR                        ATTN PRESIDENT                            ATTN: BILL RANKIN
P.O. BOX 1034                           905 HARRISON ST                           6555 SIERRA DRIVE
COORPAROO, QLD 4151                     ALLENTOWN, PA 18103                       IRVING, TX 75039
AUSTRALIA



LUMINANZ LTD                            LUMINARY LOGIC LIMITED                    LUMINATION LLC
ATTN TECH DIRECTOR                      ATTN PRESIDENT                            ATTN DIR BUS DEV
45 REDWOOD                              10462 WATERFOWL TERR                      6180 HALLE DR
BOLTON BL5 2RU                          COLUMBIA, MD 21044                        VALLEY VIEW, OH 44125
UNITED KINGDOM



LUMINATOR HOLDING LP                    LUMINATOR USA                             LUMINESCENT SYSTEMS INC
ATTN VP, ENGINEERING                    ATTN VP OF ENGINEERING                    ATTN DIR ENG
900 KLEIN RD                            900 KLEIN RD                              4 LUCENT DR
PLANO, TX 75074                         PLANO, TX 75074-3712                      LEBANON, NH 03766




LUMINEX INTERNATIONAL LLC               LUMINI EQUIPAMENTOS DE ILUMINACAO         LUMINIT
ATTN PRESIDENT                          LTDA                                      ATTN GLOBAL ACCT MGR
20401 S STATE RD 7, STE 311             ATTN DIRECTOR                             20600 GRAMERCY PL, BLDG 203
MIAMI, FL 33179                         RUA FERREIRA VIANA, 786                   TORRANCE, CA 90501
                                        SOCORRO, SP SP 04761-010
                                        BRAZIL


LUMINOUS GREEN TECHNOLOGY SDN BHD       LUMISHORE LTD                             LUMISYN LLC
NO 3,JALAN MUTIARA MELAKA 5             ATTN CHIEF EXECUTIVE OFFICER              ATTN CTO
MELAKA 75350                            UNIT 11, TECHNIUM, KINGS RD               1200 RIDGEWAY AVE, STE 124
MALAYSIA                                SWANSEA                                   ROCHESTER, NY 14615
                                        WEST GLAMORGAN SA1 8PH UNITED
                                        KINGDOM


LUMI-TECH CO LTD                        LUMITECH PATENTVERWERTUNG GMBH            LUMITRONIX LED-TECHNIK GMBH
ATTN PRESIDENT                          ATTN MAG ING GUNTHER KLAMMER              ATTN PAUL SPARENBORG
SHIRATORI 2-4-4-422, KATSUSHIKAKU       TECHNOLOGIEPARK 10                        HAIGERLOCHER STRASSE 42
TOKYO                                   JENNERSDORF 8380                          HECHINGEN D-72379
JAPAN                                   AUSTRIA                                   GERMANY



LUMIYA TECHNOLOGY LTD                   LUMMEN LIGHTING INC                       LUMOTECH HOLLAND BV
ATTN GENERAL MANAGER                    ATTN PRESIDENT                            ATTN PRESIDENT
5F NO.534 DA-AN RD                      5720A LABATH AVE                          CELDIUSSTRAAT 20
SHULIN CITY, TAIPEI 238                 ROHNERT PARK, CA 94928                    HEERHUGOWAARD 1704 RW
TAIWAN                                                                            NETHERLANDS



[NAME REDACTED]                         LUMQUEST LLC                              [NAME REDACTED]
[ADDRESS REDACTED]                      1305 REMINGTON RD, STE M                  [ADDRESS REDACTED]
                                        SCHAUMBURG, IL 60173




LUM-TECH LIGHTING INC                   LUMYCOMP DESIGN LTD                       [NAME REDACTED]
201 COMMERCE DR, STE 5                  ATTN MANAGING DIR                         [ADDRESS REDACTED]
MOORESTOWN, NJ 08057                    FL 4, OFFICE 402, 7-TH KM, TZARIGRADSKO
                                        SHOSSE BLVD
                                        HI-TECH PARK
                                        SOFIA 1784 BULGARIA


LUNA LITE CO LTD                        LUNAR ACCENTS DESIGN CORP                 [NAME REDACTED]
ATTN PRESIDENT                          ATTN OWNER                                [ADDRESS REDACTED]
19-7 4-CHOME, NOBIDOME                  2774 N COBB PKWY, STE 109311
NIZA-SHI, SAITAMA 353-0011              KENNESAW, GA 30152
JAPAN
                  CaseA RIMOUSKI
LUNIVERSITE DU QUEBEC    25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  501 of 944
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300, ALLEE DES URSULINES                 [ADDRESS REDACTED]                   [ADDRESS REDACTED]
CP 3300, SUCC A
RIMOUSKI, QC G6L 3A1
CANADA



[NAME REDACTED]                          LUOYANG GRASEN POWER TECHNOLOGY      LUPINE LIGHTING SYSTEMS GMBH
[ADDRESS REDACTED]                       CO LTD                               ATTN PRESIDENT
                                         ATTN ENGINEER                        WINNBERGER WEG 11
                                         4/F BLDG C, TORCH PARK YANGUANG RD   NEUMARKT 92318
                                         HIGH-TECH ZONE                       GERMANY
                                         LUOYANG CHINA


LUST HYBRID-TECHNIK                      [NAME REDACTED]                      [NAME REDACTED]
ATTN SALES & DEVELOPMENT MNG             [ADDRESS REDACTED]                   [ADDRESS REDACTED]
MAX-HELLERMANN-STR 8
HERMSDORF 07629
GERMANY



LUSTROUS TECHNOLOGY LTD                  [NAME REDACTED]                      LUTRON ELECTRONICS CO INC
5F, NO. 212-1 SEC 3, DATONG RD           [ADDRESS REDACTED]                   ATTN VICE PRESIDENT & GEN MGR
SIJHIH CITY, TAIPEI 221                                                       7200 SUTER RD
TAIWAN                                                                        COOPERSBURG, PA 18036




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          LUWA ENVIROMENTAL SPECIALTIES        LUX DESIGN LLC
[ADDRESS REDACTED]                       ATTN PROD SALES SPECIALIST           ATTN PRESIDENT
                                         4412 TRYON RD                        29 MANSFIELD RD
                                         RELEIGH, NC 27606                    NORTH HAVEN, CT 06473




LUXDEY LLC                               LUXERA INC                           LUXEXCEL GROUP BV
ATTN: JONATHAN ESTANOL SR. MANAGER       ATTN CHIEF EXECUTIVE OFFICER         ATTN CEO
5040 NW 7TH STREET, SUITE 690            39300 CIVIC CTR DR, STE 145          AMUNDSENWEG 25
MIAMI, FL 33126                          FREMONT, CA 94538                    GP GOES 4462
                                                                              NETHERLANDS



LUXEXCEL GROUP BV                        LUXINTEC SL                          LUXINVEST CAPITAL ADVISOR SA
ATTN CHIEF EXECUTIVE OFFICER             ATTN MG DIRECTOR                     121 AVENUE DE LA FAIENCERIE
WEIHOEK 10A                              PARQUE TECNO DE BOECILLO             LUXEMBOURG 1511
KRUININGEN 4416 PX                       PARCELAS 137-142                     LUXEMBOURG
NETHERLANDS                              BOECILLO, VALLADOLID 47151 SPAIN



LUXION INC                               LUXO AS                              LUXPIA CO LTD
ATTN OFFICE MGR                          ATTN ELECTRO ENGINEER                ATTN DIR/R&D CTR
18201 VON KARMON, STE 1180               DRAMMENSVEIEN 175                    948-1 DUNSAN-LI BONGDONG-EUP
IRVINE, CA 92612                         OSLO N-0277                          WANJU-GUN
                                         NORWAY                               JEONBUK SOUTH KOREA



LUXR LTD                                 [NAME REDACTED]                      LUX-TSI LTD
ATTN CHIEF EXECUTIVE OFFICER             [ADDRESS REDACTED]                   ATTN CHIEF EXECUTIVE OFFICER
7/24 BISHOP DUNN PL                                                           UNIT 1B, PENCOED TECHNOLOGY PARK
BOTANY SOUTH                                                                  PENCOED, BRIDGEND CF35 5AQ
AUCKLAND NEW ZEALAND                                                          UNITED KINGDOM
[NAME REDACTED] Case 25-90163   Document   87 FiledINC
                                   LXI TEXHNOLOGIES  in TXSB on 07/03/25 [NAME
                                                                           Page  502 of 944
                                                                               REDACTED]
[ADDRESS REDACTED]                  ATTN CHIEF EXECUTIVE OFFICER         [ADDRESS REDACTED]
                                    12 BALDWIN DR
                                    FREDERICKSBURG, VA 22406




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




LYNDEX-NIKKEN INC                   LYNK LABS INC                        LYNN PRODUCTS INC
ATTN CFO                            ATTN PRES/CEO                        2645 W 237TH ST
1468 ARMOUR BLVD                    2511 TECHNOLOGY DR, STE 108          TORRANCE, CA 90505
MUNDELEIN, IL 60060                 ELGIN, IL 60123




LYNN RAI ELECTRIC INC               [NAME REDACTED]                      [NAME REDACTED]
218 COOPER HILL RD                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]
WINDSOR, NC 27983




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




LYNXSPRING INC                      [NAME REDACTED]                      [NAME REDACTED]
ATTN PRESIDENT                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]
1210 NE WINDSOR DR
LEES SUMMIT, MO 64086




LYONS CONSULTING GROUP INC          LYONS CONSULTING GROUP LLC           LYONS DOUGHERTY LLC
ATTN KATIE DUNLAP                   ATTN COO & CFO                       ATTN JOSEPH J DOGHERTY, ESQ
405 W SUPERIOR, STE 300             20 N WACKER DR, STE 1750             6 PONDS EDGE DR, STE 1
CHICAGO, IL 60654                   CHICAGO, IL 60606                    CHADDS FORD, PA 19317




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  503 of 944
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[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




LYRACOM TECHNOLOGIES                LYS VENTURES LLC                   LYTE POLES INC
ATTN PRESIDENT                      ATTN IHOR LYS,PHD                  ATTN OWNER/EXEC MGR
2 RUE ROBERT ALGAYON                7428 ENCELIA DR                    P.O. BOX 340
AYGUEMORTE LES GRAVES 33640         LA JOLLA, CA 92037                 EASTEPOINTE, MI 48021
FRANCE



LYTESTYLES                          LYTESTYLES                         LYTRON INC
ATTN ELISE GILCHRIST                ATTN JACKLYN HEYWOOD-STANTON,      ATTN DIR OF BUSINESS DEVELOPMENT
7261 SHARE DR                       PRINCIPAL                          55 DRAGON CT
HARRISON, TN 37541                  3969 POPLAR SPRINGS RD             WOBURN, MA 01801
                                    LOUDON, TN 37774



M & J ENGINEERING                   M A KAPSLINGSTEKNIK AB             M AND W SYSTEMS
ATTN OPS MGR                        ATTN CHIEF EXECUTIVE OFFICER       ATTN PRES
1 S FAIRVIEW AVE                    MASKINVAGEN 6                      2346 TRIPALDI WAY
GOLETA, CA 93117                    BALSTA 746 30                      HAYWARD, CA 94545
                                    SWEDEN



M HOLLAND CO                        M LIZEN MANUFACTURING CO           M SPECIALTIES LLC
ATTN DIR OF DIST SALES              ATTN PRES                          1815 W 1ST AVE.
400 SKOKIE BLVD, STE 600            42-46 E 30TH PL                    MESA, AZ 85202-1147
NORTHBROOK, IL 60062                STEGER, IL 60475




M TEK CORPORATION                   M&A RAILROAD ELECTRIC SUPPLY LLC   M&P MOTION CONTROL
169 BORLAND AVENUE                  ATTN MANAGING MEMBER               & POWER ELECTRONICS GMBH
AUBURN, CA 95603-4921               12925 W HWY 42                     ATTN MANAGING DIR
                                    PROSPECT, KY 40059                 BISMARCKTSR 56
                                                                       DRESDEN 01257 GERMANY



M.A. SELMON CO. INC.                M.B HAYNES CORPORATION             M.C. SCHROEDER COMPANY, INC.
4 OXFORD ROAD SUITE D9              ATTN VICE PRESIDENT                DEPT CH 17002
MILFORD, CT 06460-3851              187 DEARVIEW RD                    PALATINE, IL 60055-0001
                                    P.O. BOX 16589
                                    ASHEVILLE, NC 28816



M.D. MECHANICAL DEVICES LTD         M.S KENNEDY CORP                   M/A COM INC
34 HA’AMELIM STREET                 4707 DEY RD                        1011 PAWTUCKET BLVD
HAIFA 2624409                       LIVERPOOL, NY 13088                LOWELL, MA 01853
ISRAEL




M/A-COM INC                         M/A-COM TECHNOLOGY SOLUTIONS INC   M/S INNOVLITE PRIVATE LIMITED
ATTN DIR CONTRACTS                  ATTN CONTRACTS MNGR                NO 818, AMBAPRASAD
221 JEFFERSON RIDGE PKWY            100 CHELMSFORD ST                  13TH CROSS 7TH BLOCK
LYNCHBURG, VA 24501                 LOWELL, MA 01851                   NEAR JSS CIR JAYANAGAR
                                                                       BANGALORE 560082 INDIA
M/S SPAZE BUILDINGCase   25-90163
                  MAINTENANCE       Document
                              PVT LTD         87TOWERS
                                       M/S SPAZE   FiledPVTin TXSB
                                                              LTD  on 07/03/25 M1Page   504
                                                                                  FINANCE     of 944
                                                                                           (1497)
807 PRAKASH DEEP BLDG, 7               18 COMMUNITY CENTRE                     PROXY MGR
TOLSTOY MARG                           MAYAPURI, PHASE - I                     200 N LASALLE ST, SUITE 800
NEW DELHI                              NEW DELHI                               CHICAGO, IL 60601
INDIA                                  INDIA



M12-FACTORY GMBH                         M2 TRADE COMM V                          M3 TECHNOLOGY GROUP INC
ATTN CHIEF EXECUTIVE OFFICER             ATTN JOACHIM DE SCHRYVER                 ATTN HEATHER STRICKHOUSER
MORTIZ-VON-ROHR-STR 1A                   STEENSTRAAT 21                           6101 CARNEGIE BLVD, STE 350
JENA 07745                               HEUSDEN 9070                             CHARLOTTE, NC 28209
GERMANY                                  BELGIUM



M3 TECHNOLOGY GROUP LLC                  M4 KNICK LLC                             M7 ELECTRO-OPTICS LLC
ATTN MANAGING DIR                        ATTN NATIONAL SALES MGR                  ATTN GM
6101 CARNEGIE BLVD, STE 150              55 W TECHNE CENTER DR, STE C             1372 SHORELINE COURT EAST
CHARLOTTE, NC 28209                      MILFORD, OH 45150                        ST LOUIS, MO 63045




MA DRYWALL CORP                          MA DRYWALL CORP                          MA DRYWALL CORP
1221 JANICE RD                           ATTN MARIO ANDRADE, PRESIDENT            C/O DEVORE, ACTON & STAFFORD PA
LINCOLNTON, NC 28092                     4870 YODER RD                            438 QUEENS RD
                                         CROUSE, NC 28033                         CHARLOTTE, NC 28207




MA DRYWALL CORP                          MA. OFFICE OF ATTORNEY GENERAL           MA. OFFICE OF ATTORNEY GENERAL
C/O DEVORE, ACTON & STAFFORD PA          CONSUMER ADVOCACY AND RESPONSE           CONSUMER PROTECTION DIVISION
44 QUEENS RD                             DIVISION                                 10 MECHANIC ST STE 301
CHARLOTTE, NC 28207                      ONE ASHBURTON PL                         WORCESTER, MA 01608-2417
                                         BOSTON, MA 02108-1518



MA. OFFICE OF ATTORNEY GENERAL           MA. OFFICE OF ATTORNEY GENERAL           MA. OFFICE OF CONSUMER AFFAIRS
CONSUMER PROTECTION DIVISION             CONSUMER PROTECTION DIVISION             AND BUSINESS REGULATION
1441 MAIN ST 12TH FL                     700 PLEASANT ST, STE 310                 501 BOYLSTON ST, STE 5100
SPRINGFIELD, MA 01103-1629               NEW BEDFORD, MA 02740-6257               BOSTON, MA 02116




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




MAC MEETINGS AND EVENTS LLC              MAC METAL PRODUCTS OF WISCONSIN INC      MACDERMID ENTHONE INC
ATTN JEREMY MOYER                        ATTN GEN MGR                             245 FREIGHT STREET
801 NORTH SECOND ST, STE 302             W190 N11225 CARNEGIE DR                  WATERBURY, CT 06702-1818
ST LOUIS, MO 63102                       GERMANTOWN, WI 53022




MACDERMIDALPHA                           MACDONALD DETTWILER ASSOCIATES CORP      [NAME REDACTED]
ELECTRONICSSOLUTIONS                     ATTN SR CONTRACTS SPECIALIST             [ADDRESS REDACTED]
14 JOO KOON CRESCENT                     21025 TRANS-CANADA HWY
SINGAPORE 629014                         STE-ANNE-DE-BELLEVUE, QC H9X 3R2
SINGAPORE                                CANADA
[NAME REDACTED] Case 25-90163    Document 87ANDFiled
                                    MACGUIRE         in TXSB
                                                CRAWFORD  INC on 07/03/25 [NAME
                                                                            Page  505 of 944
                                                                                REDACTED]
[ADDRESS REDACTED]                   ATTN VP                                 [ADDRESS REDACTED]
                                     2536B PLANTATION CNTR DR
                                     MATTHEWS, NC 28105




[NAME REDACTED]                      MACHINE & WELDING SUPPLY CO DBA ARC3    MACHINE CONSULTING SERVICES
[ADDRESS REDACTED]                   GASES INC                               -CI-MACH0050
                                     P.O. BOX 1708                           1545 COOPER STREET
                                     DUNN, NC 28335-1708                     DURHAM, NC 27703-5082




MACHINE TECH CO INC                  MACHINE TOOL ACCESSORY SALES INC        MACHINE VISION PRODUCTS INC
ATTN PRES                            ATTN PRESIDENT                          ATTN PRESIDENT
809 E PARKER ST                      883 ANGEVINE CT SW                      5940 DARWIN CT
GRAHAM, NC 27253                     LILBURN, GA 30047                       CARLSBAD, CA 92008




MACHINERY SOLUTIONS, INC             MACHINING - ALL AXIS INC                MACHINIST GROUP CORPORATION
1681 TWO NOTCH ROAD                  ATTN PRESIDENT                          1045 TELEGRAPH STREET
LEXINGTON, SC 29073-8370             3716 MT VERNON WAY                      RENO, NV 89502-2212
                                     PLANO, TX 75025




[NAME REDACTED]                      MACK MOLDING CO                         [NAME REDACTED]
[ADDRESS REDACTED]                   608 WARM BROOK RD                       [ADDRESS REDACTED]
                                     ARLINGTON, VT 05250




[NAME REDACTED]                      [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                      [ADDRESS REDACTED]




MACKIE RESEARCH CAP/CDS (5029)       [NAME REDACTED]                         [NAME REDACTED]
ATT TONY RODRIGUES/PROXY MGR         [ADDRESS REDACTED]                      [ADDRESS REDACTED]
199 BAY ST
COMMERCE CT WEST, STE 4600
TORONTO, ON M5L 1G2 CANADA



MACKWELL ELECTRONICS LTD             MACNICA BRILLIANT TECHNOLOGIES CO INC   MACNICA FUJI ELECTRONICS HOLDINGS INC
ATTN DESIGN ENGINEER                 ATTN SHOICHI TESHIBA, PRESIDENT         ATTN PRESIDENT & CEO
VIGO PLACE, ALDRIDGE                 MACNICA BLDG, NO.1                      1-6-3 SHINYOKOHAMA
WEST MIDLANDS                        1-6-3 SHIN-YOKOHAMA, KOHOKU-KU          KOHOKU-KU
WALSALL WS9 8UG UNITED KINGDOM       YOKOHAMA, KANAGAWA 222-8561 JAPAN       YOKOHAMA JAPAN
MACNICA, INC.     Case 25-90163   Document 87 Filed inSOLUTIONS
                                     MACOM TECHNOLOGY  TXSB on 07/03/25 MACOM
                                                                         PageTECHNOLOGY
                                                                              506 of 944SOLUTIONS INC
ATTN: KENJI OKAWA                     HOLDINGS, INC.                        ATTN ROBERT DENNEHY, SR VP OF OPS
1-6-3 SHIN-YOKOHAMA, KOHOKU-KU        ATTN: ROBERT DENNEHY                  144 CHELMSFORD ST
YOKOHAMA, 2220033                     100 CHELMSFORD STREET                 LOWELL, MA 01851
JAPAN                                 LOWELL, MA 01851



[NAME REDACTED]                       MACRO GROUP                           MACRO SOLUTIONS CO LTD
[ADDRESS REDACTED]                    SVEABORGSKAYA STR. 12                 ATTN CHIEF EXECUTIVE OFFICER
                                      SAINT PETERSBURG 196105               OFFICE 1, ROOM 3-N, LETTER A
                                      RUSSIA                                12 SVEABORGSKAYA STR
                                                                            SAINT-PETERSBURG 196105 RUSSIA



MACRON ASSOCIATE CO                   MACROVIEW TELECOM (GUANGZHOU) LTD     MACSON LTD
NO.352, PERNG-YI RD                   YUEXIU DISTRICT, GUANGZHOU CITY       ATTN PRESIDENT
TAIPING, TAICHUNG 411                 HUIZHOU 510000                        UNIT 3, 5/F SUN FUNG IND BLDG
TAIWAN                                CHINA                                 8 MA KOK ST
                                                                            TSUEN WAN, NT HONG KONG



MACTRONIC MOCEK I SPOLKA SJ           MACTRONIX ENGINEERING SDN BHD         MACTRONIX GROUP LLC.
ATTN PRESIDENT                        NO. 2 JALAN NIAGA JELAPANG 2 HALAMA   2050 NORTH PLANO ROAD SUITE 300
UL METALOWCOW 25A                     JALAPANG 30020                        RICHARDSON, TX 75082-4430
WROCLAW 54-156                        MALAYSIA
POLAND



MACTRONIX INC                         [NAME REDACTED]                       MAD CITY LABS INC
ATTN VP SALES                         [ADDRESS REDACTED]                    ATTN PRES
2050 N PLANO RD                                                             2524 TODD DR
RICHARDSON, TX 75082                                                        MADISON, WI 53713




MAD ELEVATOR INC                      MAD FISH SEO INC                      [NAME REDACTED]
6635 ORDAN DRIVE                      DBA MAD FISH DIGITAL INC              [ADDRESS REDACTED]
MISSISSAUGA, ON L5T 1K6               ATTN CEO
CANADA                                1305 NW 18TH AVE
                                      PORTLAND, OR 97209



MADDISON CONSULTANTS LTD              [NAME REDACTED]                       MADE IN CANADA INC
ATTN SIMON NEIL, DIRECTOR             [ADDRESS REDACTED]                    AON3D
THE GRANARY, 1 WAVERLEY LANE,                                               9494 BOUL. SAINT-LAURENT, SUITE 600
FARNHAM                                                                     QUEBEC, QC H2N 1P4
SURREY GU9 BBB                                                              CANADA
UNITED KINGDOM


MADE TO MEASURE LLC                   MADISON BARNES                        MADISON CENTRAL MONTESSORI SCHOOL
ATTN PROJECT ENGINEER                 2816 ERWIN RD, APT 31                 INC
302 E MAIN ST                         DURHAM, NC 27705                      LOT 26 PRAIRE HOME ESTS
E. DUNDEE, IL 60118                                                         MIDDLETOWN, WI 53718




[NAME REDACTED]                       MADJACK APPLICATIONS LLC              [NAME REDACTED]
[ADDRESS REDACTED]                    ATTN BUSINESS OWNER                   [ADDRESS REDACTED]
                                      35 HARBORVIEW DR, UNIT 208
                                      RACINE, WI 53403




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document  87 Filed
                                       MAF AGROBOTIC SAS in TXSB on 07/03/25 MAG
                                                                              Page   507 of INC
                                                                                 INSTRUMENT  944
[ADDRESS REDACTED]                      ATTN ELECTRONIC DESIGN ENGINEER        ATTN PRESIDENT
                                        546 RUE GUSTAVE JAY                    1635 S SACRAMENTO AVE
                                        MONTAUBAN 82000                        ONTARIO, CA 91761
                                        FRANCE



MAG INSTRUMENT INC                      MAG LAYERS USA INC                     [NAME REDACTED]
ATTN PRESIDENT                          ATTN VICE PRESIDENT                    [ADDRESS REDACTED]
2001 S HELLMAN AVE                      2154 MICHELSON DR, STE B
ONTARIO, CA 91761-1083                  IRVINE, CA 92612




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                         MAGEE, CHRIS                           MAGENTO INC
[ADDRESS REDACTED]                      840 GRIER DR                           C/O ADOBE
                                        LAS VEGAS, NV 89109                    345 PARK AVE
                                                                               SAN JOSE, CA 95110-2704




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




MAGICALL INC                            MAGID GLOVE & SAFETY MFG COMPANY LLC   [NAME REDACTED]
ATTN PRESIDENT                          ATTN RVP SALES                         [ADDRESS REDACTED]
4550 CALLE ALTO                         2060 N KOLMAR AVE
CAMARILLO, CA 93012                     CHICAGO, IL 60639




MAGMA DESIGN AUTOMATION INC             MAGNA AUTOMOTIVE INDIA PRIVATE LTD     MAGNA PRODUCTS CORP
ATTN CONTROLLER                         ATTN MPT DIRECTOR                      ATTN PRESIDENT
1650 TECHNOLOGY DR                      1ST FL, KAPIL ZENITH, SR N 55          777 MT READ BLVD
SAN JOSE, CA 95110                      HISSA NO1, BAVDHAN KHURD, MULSHI       ROCHESTER, NY 14606
                                        PUNE, MAHARASHTRA 411021 INDIA



MAGNACHIP SEMICONDUCTOR CORP            MAGNACHIP SEMICONDUCTOR LLC            MAGNANI RAPPRESENTANZE
ATTN SVP & GEN COUNSEL                  ATTN SR VP & GEN COUNSEL               VIA L VISCONTI N140
20400 STEVENS CREEK BLVD, 370           891 DAECHI DONG                        CESENA 470123
CUPERTINO, CA 90514                     GANGNAM,                               ITALY
                                        SEOUL 135-738 SOUTH KOREA



MAGNA-POWER ELECTRONICS                 MAGNAREP INC                           MAGNEFLUX ELECTRONICS CC
39 ROYAL ROAD                           ATTN PRESIDENT                         10 ACACIA AVE
FLEMINGTON, NJ 08822-6001               1618 CRYSTAL CREEK DR                  CEDAR LAKES ESTATES
                                        DURHAM, NC 27712                       FOURWAYS, GAUTENG 2191
                                                                               SOUTH AFRICA



MAGNESIUM PRODUCTS OF AMERICA INC       MAGNETI MARELLI S.PA                   MAGNETI MARELLI S.PA
DBA MERIDIAN LIGHTWEIGHT                ATTN BUS LINE MANAGING DIR             MOTORSPORT BUSINESS LINE
TECHNOLOGIES                            VIALE A BORLETTI 61/63                 ATTN GIUSEPPE RINALDI
ATTN DIR, BUSINESS DEV                  CORBETTA (MI) 20011                    VIALE CARLO EMANUELE II, 150
47805 GALLEON DR                        ITALY                                  VENARIA REALE (TO) 10078 ITALY
PLYMOUTH, MI 48170
                 Case
MAGNETIC COMPONENT    25-90163
                   ENGINEERING INC Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  508 of 944
                                                                                REDACTED]
ATTN GENERAL MGR                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]
2830 LOMITA BLVD
TORRANCE, CA 90505




MAGNUS MOBILITY SYSTEMS             MAGOSYS SYSTEMS LTD                  [NAME REDACTED]
2805 BARRANCA PARKWAY               7 OPPENHEIMER ST                     [ADDRESS REDACTED]
IRVINE, CA 92606-5114               REHOVOT
                                    ISRAEL




MAGTECH INDUSTRIES CORP             [NAME REDACTED]                      [NAME REDACTED]
ATTN VP SALES & MARKETING           [ADDRESS REDACTED]                   [ADDRESS REDACTED]
5625 ARVILLE ST, STE A
LAS VEGAS, NV 89118




MAGYARI TECHNOLOGIES LLC            [NAME REDACTED]                      [NAME REDACTED]
ATTN PRESIDENT                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]
1465 AXTELL, STE A
TROY, MI 48084




[NAME REDACTED]                     MAHCO INC                            [NAME REDACTED]
[ADDRESS REDACTED]                  1202 MELISSA DR                      [ADDRESS REDACTED]
                                    BENTONVILLE, AR 72712




[NAME REDACTED]                     MAHLE INTERNATIONAL GMBH             [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN VICE PRESIDENT                  [ADDRESS REDACTED]
                                    PRAGSTR 26-46
                                    STUTTGART 70376
                                    GERMANY



[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




MAILWAUKEE MAILING & SHIPPING       [NAME REDACTED]                      MAINE ATTORNEY GENERALS OFFICE
EQUIPMENT INC                       [ADDRESS REDACTED]                   CONSUMER INFO. & MEDIATION SERVICE
N27W23713 PAUL RD                                                        6 STATE HOUSE STATION
UNIT B                                                                   AUGUSTA, ME 04333
PEWAUKEE, WI 53072
                  Case CREDIT
MAINE BUREAU CONSUMER  25-90163    Document  87 OFFiled
                                      MAINE DEPT   PROF.in TXSB on 07/03/25 MAINE
                                                         & FINANCIAL         Page   509
                                                                                  DEPT OF of 944
                                                                                          PROFESSIONAL &
PROTECTION                             REGULATION                                FINANCIAL REGULATION
35 STATE HOUSE STATION                 OFFICE OF SECURITIES (FED EX, UPS)        OFFICE OF SECURITIES (USPS)
AUGUSTA, ME 04333                      76 NORTHERN AVE                           121 STATE HOUSE STATION
                                       GARDINER, ME 04345                        AUGUSTA, ME 04333



MAINE DEPT OF                          MAINE REVENUE SERVICES                    MAINE STATE TREASURER
ENVIRONMENTAL PROTECTION               51 COMMERCE DRIVE                         UNCLAIMED PROPERTY DIVISION
17 STATE HOUSE STATION                 AUGUSTA, ME 04330                         39 STATE HOUSE STATION
AUGUSTA, ME 04333-0017                                                           BURTON M. CROSS BLDG, 3RD FL, 111
                                                                                 SEWALL ST
                                                                                 AUGUSTA, ME 04333-0039


[NAME REDACTED]                        MAINFREIGHT LTD                           MAINLINE CRAFTS INCORPORATED
[ADDRESS REDACTED]                     DBA MAINFREIGHT EXPRESS LINES             ATTN PRESIDENT
                                       UNITS 7-10, 8/F TWR 1, MILLENIUM CITY 1   275 12TH ST, B
                                       NO 388, KWUN TONG RD, KWUN TONG           WHEELING, IL 60090
                                       KOWLOON HONG KONG



MAINSPRING ENERGY INC                  MAINSTREAM ENGINEERING CORP               [NAME REDACTED]
ATTN SR DIRECTOR                       ATTN PRESIDENT                            [ADDRESS REDACTED]
3601 HAVEN AVE                         200 YELLOW PL
MENLO PARK, CA 94025                   ROCKLEDGE, FL 32955




MAJESTIC SOLUTIONS INC                 MAJOR LINDSEY & AFRICA-IN HOUSE LLC       [NAME REDACTED]
ATTN PRESIDENT                         ATTN VP, GLOBAL BUS DEV                   [ADDRESS REDACTED]
7602 CONGRESS ST, STE 1                222 S TRYON ST, STE 1660
NEW PORT RICHEY, FL 34653              CHARLOTTE, NC 28281




[NAME REDACTED]                        [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                        [ADDRESS REDACTED]




MAL EFFEKT TECHNIK GMBH                [NAME REDACTED]                           [NAME REDACTED]
ATTN GM                                [ADDRESS REDACTED]                        [ADDRESS REDACTED]
TROMAGSTRASSE 1
BEBRA 36179
GERMANY



MALASTER COMPANY, INC.                 MALAYSIA SEMICONDUCTOR INDUSTRY ASS       MALAYSIAN FAB
3291 EDWARD AVENUE                     MSIA                                      C/O FOOD AID FOUNDATION
SANTA CLARA, CA 95054-2341             BEG BERKUNCI 206                          NO 9 JALAN 7/118B
                                       JALAN TUN HAMDAN SHEIKH TAHIR             DESA TUN RAZAK, CHERAS
                                       SEBERANG PERAI UTARA PIN (PULAU           KUALA LUMPUR 56000 MALAYSIA
                                       PINANG) 13200
                                       MALAYSIA

MALAYSIAN INDUSTRIAL DEVELOPMENT       [NAME REDACTED]                           [NAME REDACTED]
AUTH                                   [ADDRESS REDACTED]                        [ADDRESS REDACTED]
BLK 4, PLAZA SENTRAL
JALAN STESEN SENTRAL 5
KUALA LUMPUR SENTRAL
KUALA LUMPUR 50470 MALAYSIA


[NAME REDACTED]                        [NAME REDACTED]                           MALIBU INTEGRATED CIRCUITS LLC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                        ATTN MANAGING DIR
                                                                                 3007 MALIBU CANYON RD
                                                                                 MALIBU, CA 90265
MALICO INC      Case 25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
                                    [NAME REDACTED]                       Page  510 of 944
                                                                              REDACTED]
ATTN MARKETING MGR                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]
5, MING-LUNG RD
YANG-MEI 32663
TAIWAN



[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




MALKA MEDIA GROUP LLC                [NAME REDACTED]                    MALLARD HANDLING SOLUTIONS LLC
75 MONTGOMERY STREET                 [ADDRESS REDACTED]                 DBA MALLARD MANUFACTURING
JERSEY CITY, NJ 07302-3929                                              ATTN VP/GM
                                                                        101 MALLARD RD
                                                                        STERLING, IL 61081



MALLETT TECHNOLOGY INC               MALLIN PHOTOGRAPHY OF NORTH        MALLINCKRODT BAKER INC
ATTN PRESIDENT                       CAROLINA INC                       ATTN PRESIDENT
400 TECHNOLOGY DR, STE 200           ATTN PRESIDENT                     222 RED SCHOOL LN
CANONSBURG, PA 15317                 7424 ACC BLVD, STE 109             PHILLIPSBURG, NJ 08865
                                     RALEIGH, NC 27617



[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




MALTANI LIGHTING CO LTD              MALVERN INSTRUMENTS INC            MALVERN PANALYTICAL INC
ATTN ASSISTANT MNGR                  ATTN VP FINANCE & ADMIN            2400 COMPUTER DRIVE
TAEWON BLDG, 905-3 DAECHI-DONG       117 FLANDERS RD                    WESTBOROUGH, MA 01581-1042
KANGNAM-GU                           WESTBOROUGH, MA 01581
SEOUL 135-280 SOUTH KOREA



[NAME REDACTED]                      MAMCO PRECISION MOLDING            [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN VP                            [ADDRESS REDACTED]
                                     147 RIVER ST
                                     ONEONTA, NY 13820




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




MANAGEMENT PLUS INC                  [NAME REDACTED]                    [NAME REDACTED]
944 HWY 51, STE 5                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]
MADISON, MS 39110-8499
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  511 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




MANDIANT CORP                       [NAME REDACTED]                    MANDO AMERICA CORP
ATTN VP MANAGED DEFENSE             [ADDRESS REDACTED]                 ATTN DIR PURCHASING
2318 MILL RD, STE 500                                                  29930 HUDSON DR
ALEXANDRIA, VA 22314                                                   NOVI, MI 43877




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     MANITOWOC TOOL & MACHINING LLC     MANJER ENGINEERING CO LTD
[ADDRESS REDACTED]                  ATTN VP SALES                      ATTN GENERAL MANAGER
                                    4211 CLIPPER DR                    NO 522 TA-AN RD, SHU-LIN CITY
                                    MANITOWOC, WI 54220                TAIPEI HSIEN
                                                                       TAIWAN



[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    MANNCORP
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN PRES
                                                                       4901 MORENA BLVD, STE 314
                                                                       SAN DIEGO, CA 92117
[NAME REDACTED] Case 25-90163     Document  87 Filed in TXSB on 07/03/25 [NAME
                                     [NAME REDACTED]                       Page  512 of 944
                                                                               REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    MANNING, THOMAS
[ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    MANPOWER BUSINESS SOLUTION SDN BHD
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 SUITE 20.01
                                                                         LEVEL 20, CENTREPOINT SOUTH
                                                                         WILAYA PESEKUTUAN
                                                                         KUALA LUMPUR 59200 MALAYSIA



MANPOWERGROUP GLOBAL INC              [NAME REDACTED]                    [NAME REDACTED]
ATTN SR VP                            [ADDRESS REDACTED]                 [ADDRESS REDACTED]
100 MANPOWER PL
MILWAUKEE, WI 53212




[NAME REDACTED]                       [NAME REDACTED]                    MANSFIELD & ASSOCIATES LTD
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 ATTN PRESIDENT
                                                                         401 SAINT ANDREWS LN
                                                                         BROADVIEW, OH 44147




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    MANUFACTURA DE MEXICO CCT
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 ATTN GENERAL MGR
                                                                         AV LAS CANADAS NO 900
                                                                         BOSQUES DE SAN ISIDIRO
                                                                         ZAPOPAN, JAL 45133 MEXICO



MANUFACTURAS T/ASA DE CV              MANUFACTURED ASSEMBLIES CORP       MANUFACTURERS & TRADERS (0990)
ATTN SALES COORD                      ATTN VP & GM                       ATT DON SCHMIDT OR PROXY MGR
CARRETERA DE MEXICO, KM 188 S/N       1000 NORTHBROOK PKWY               ONE M&T PLAZA
VILLA DE POZOS, SLP 78399             SUWANEE, GA 30025                  8TH FL
MEXICO                                                                   BUFFALO, NY 14240
                  Case 25-90163
MANUFACTURING ADVISORS LLC          Document 87 Filed
                                       MANUFACTURING    in TXSB
                                                     NETWORKS INCon 07/03/25 MANUFACTURING
                                                                              Page 513 ofRESOURCES
                                                                                           944     INTL INC
DBA CATALYST MANUFACTURING              ATTN PRESIDENT                       ATTN PRESIDENT & CEO
8925 BLAKEWOOD COURT                    3350 SCOTT BLVD, UNIT 37             4445 BURGESS HILL LN
GAINESVILLE, GA 30506                   SANTA CLARA, CA 95054                ALPHARETTA, GA 30022




[NAME REDACTED]                         [NAME REDACTED]                      MAPQUEST INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   ATTN VP & GENERAL MGR
                                                                             555 17TH ST, STE 1600
                                                                             DENVER, CO 80202




MAPQUEST INC                            MAPR TECHNOLOGIES INC                MAQUET GETINGE GRP
C/O AOL LLC                             ATTN GENERAL COUNSEL                 AVENUE DE LA POMME DE PIN
ATTN DEPUTY GENERAL COUNSEL             350 HOLGER WAY                       CS 10008 ARDON
22000 AOL WAY                           SAN JOSE, CA 95134                   ORLEANS CEDEX 2 45074
DULLES, VA 20166                                                             FRANCE



MAQUET SA                               MAQUILADORA GRAFICA MEXICANA         [NAME REDACTED]
ATTN PURCHASER                          ATTN LEGAL REP                       [ADDRESS REDACTED]
PARC DE LIMERE, AVENUE DE LA POMME DE   PEREFERIC SUR 6400-B
PIN                                     COL ARTESANOS INDUSTRIAL
CS 1008 ARDON                           TLARQUEPAQUE, JA 45601 MEXICO
ORLEANS CEDEX 45074 FRANCE


[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




MARATHON HEALTH INC                     MARATHON POWER                       MARATHON SALES LLC
DBA MARATHON HEALTH                     2538 E. 54TH STREET                  ATTN PRESIDENT
20 WINOOSKI FALLS WY                    HUNTINGTON PARK, CA 90255-2509       6016 MCKINLEY ST
WINOOSKI, VT 05404                                                           BETHESDA, MD 20817




[NAME REDACTED]                         MARC INC                             [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN NATIONAL SALES MGR              [ADDRESS REDACTED]
                                        P.O. BOX 1001
                                        HENDERSONVILLE, NC 28793




[NAME REDACTED]                         MARCH PLASMA SYSTEMS INC             MARCH PLASMA SYSTEMS INC
[ADDRESS REDACTED]                      ATTN PRES                            ATTN PRESIDENT
                                        2470-A BATES AVE                     4057 PORT CHICAGO HWY
                                        CONCORD, CA 94520                    CONCORD, CA 94520-1122




[NAME REDACTED]                         [NAME REDACTED]                      MARCONI COMMUNICATIONS GMBH
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   ATTN DIR RRD FWA
                                                                             GERBERSTRASSE 33
                                                                             BACKNANG D-71522
                                                                             GERMANY



[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 MARETTI
                                         MARES SPA                            Page PROJECTVERLICHTING
                                                                                     514 of 944
[ADDRESS REDACTED]                        ATTN TECHNICAL DIR                 ATTN DIRECTOR
                                          SALITA BONSEN, 4                   MEERPAALWEG 6
                                          RAPALLO 16035                      ALMERE 1332 BB
                                          ITALY                              NETHERLANDS



MARETTI/ ADD-LED BV                       [NAME REDACTED]                    [NAME REDACTED]
ATTN DIRECTOR                             [ADDRESS REDACTED]                 [ADDRESS REDACTED]
MEERPAALWEG 6
ALMERE 1332 BB
NETHERLANDS



[NAME REDACTED]                           MARIAN INC                         MARICOPA COUNTY
[ADDRESS REDACTED]                        ATTN ACC EXEC                      P.O. BOX 52133
                                          1011 E SAINT CLAIR ST              PHOENIX, AZ 85072-2133
                                          INDIANAPOLIS, IN 46202




[NAME REDACTED]                           [NAME REDACTED]                    MARIN SUPPLY CO OF CALIFORNIA
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 DBA PM INDUSTRIAL SUPPLY CO
                                                                             ATTN PRESIDENT
                                                                             9613 CANOGA AVE
                                                                             CHATSWORTH, CA 91311



MARINE CORPS TOYS FOR TOTS FOUNDATI       [NAME REDACTED]                    [NAME REDACTED]
18251 QUANTICO GATEWAY DRIVE              [ADDRESS REDACTED]                 [ADDRESS REDACTED]
TRIANGLE, VA 22172




[NAME REDACTED]                           [NAME REDACTED]                    MARITEX LESZEK LOSIN SP. J
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 ATTN: PIOTR LOSIN
                                                                             UL. RDESTOWA, 53D
                                                                             GDYNIA
                                                                             POLAND



MARITEX PHP                               MARK ALIGNER SERVICE LLC           MARK DICKERSON CONSULTING, LLC
ATTN DIR                                  ATTN MANAGING MEMBER               10 SHELLCROSS CT
RDESTOWA 53D                              240 MERESTONE CIR                  YOUNGSVILLE, NC 27596-7043
GDYNIA 81-577                             FUQUAY VARINA, NC 27526
POLAND



MARK FLANNERY PHOTOGRAPHY                 [NAME REDACTED]                    MARKAM CO
ATTN PRESIDENT                            [ADDRESS REDACTED]
16 ROYALSTON AVE
WINCHESTER, MA 01890




MARKEL SERVICES INC                       [NAME REDACTED]                    MARKET PATHWAYS P L
ATTN MANAGING DIR                         [ADDRESS REDACTED]                 ATTN DIRECTOR
4521 HIGHWOODS PKWY                                                          STE 28, 2 PARK DR
GLEN ALLEN, VA 23060                                                         BUNDOORA, VIC 3083
                                                                             AUSTRALIA



MARKET TECH INC                           MARKETECH INTERNATIONAL            MARKETING & ENGINEERING SOLUTIONS INC
ATTN CEO                                  ATTN PRESIDENT                     ATTN PRESIDENT
1500 GREEN HILLS RD                       4750 MAGNOLIA ST                   625 BEAR RUN
SCOTTS VALLEY, CA 95066                   PORT TOWNSEND, WA 98368            LEWIS CENTER, OH 43035
                 Case
MARKETING ALLIENCE  CORP25-90163      Document 87 INC
                                         MARKETPRO Filed in TXSB on 07/03/25 MARKETS
                                                                              Page 515    of 944
                                                                                     AND MARKETS
ATTN VP                                   ATTN DAN FALZONE                    ATTN STRATEGIC GROWTH MGR
356 S BURTON PL                           1004 BAY TREE LN                    UNIT NO 802, TWR 7
ARLINGTON HEIGHTS, IL 60005               DULUTH, GA 30097                    MAGARPATTA CYBERCITY, HADAPSAR, PUNE
                                                                              MAHARASHTRA 411013 INDIA



MARKIT GROUP LTD                          MARKIT NORTH AMERICA INC            MARKLAND SPECIALTY ENGINEERING LTD
C/O S&P GLOBAL                            620 8TH AVE, 35TH FL                ATTN GENERAL MGR
55 WATER ST                               NEW YORK, NY 10018                  305 ARMASTRONG AVE, UNIT 9
NEW YORK, NY 10041                                                            GEORGETOWN, ON L7G 4X6
                                                                              CANADA



[NAME REDACTED]                           MARKMONITOR INC                     [NAME REDACTED]
[ADDRESS REDACTED]                        5335 GATE PKWY                      [ADDRESS REDACTED]
                                          JACKSONVILLE, FL 32256-3070




[NAME REDACTED]                           MARKS ELECTRIC INC                  MARKSMEN INC
[ADDRESS REDACTED]                        114 GRANT ST W                      ATTN CHIEF EXECUTIVE OFFICER
                                          DETROIT LAKES, MN 56501             P.O. BOX 10038
                                                                              GLENDALE, CA 91209




MARKTECH INTERNATIONAL CORPORATION        [NAME REDACTED]                     MARLABS INC
DBA MARKTECH OPTOELECTRONICS              [ADDRESS REDACTED]                  ATTN GENERAL COUNSEL
ATTN: WILLIAM J. MOORE, EVP/COO                                               1 CORPORATE PLACE S
3 NORTHWAY LANE                                                               PISCATAWAY, NJ 08854
NORTH LATHAM, NY 12110



MARLEY COOLING TECHNOLOGIES               MARO & ASSOCIATES INC               MARQUETTE UNIVERSITY
C/O SPX COOLING TECH LLC                  ATTN CHIEF EXECUTIVE OFFICER        1250 W WISCONSIN AVE
7401 W 129TH ST                           110 4TH AVE SE                      MILWAUKEE, WI 53233
OVERLAND PARK, KS 66213                   BOX 238
                                          GWINNER, ND 58040



MARQUIS JET PARTNERS, INC., NETJETS       [NAME REDACTED]                     [NAME REDACTED]
AVIATION, INC.                            [ADDRESS REDACTED]                  [ADDRESS REDACTED]
NETJETS SERVICES, INC.
4111 BRIDGEWAY AVE.
COLUMBUS, OH 43219



[NAME REDACTED]                           [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




MARRS ELECTRIC                            MARSCO INVESTMENT CORP (0287)       MARSH & MCLENNAN AGENCY LLC
701 KAWNEER DRIVE                         ATT KAREN JACOBSEN/PROXY MGR        3625 N ELM ST
SPRINGDALE, AR 72764-3859                 101 EISENHOWER PKWY                 GREENSBORO, NC 27455
                                          ROSELAND, NJ 07068




MARSH & MCLENNAN CO. INC DBA MERCER       MARSH ELECTRONICS INC               MARSH USA INC
LLC                                       ATTN NC BRANCH MGR                  ATTN VP
1166 AVENUE OF THE AMERICAS               1563 S 101ST ST                     100 N TRYON ST, STE 3200
NEW YORK, NY 10036                        MILWAUKEE, WI 53214                 CHARLOTTE, NC 28202
                 Case 25-90163
MARSH VENTURES LLC               Document 87 Filed
                                    MARSH VENTURES   in TXSB on 07/03/25 [NAME
                                                   LLC                     Page  516 of 944
                                                                               REDACTED]
ATTN GARRY MARSH, PRESIDENT          ATTN PRESIDENT                      [ADDRESS REDACTED]
275 SW 3RD ST                        1023 W HERITAGE CLUB CIR
BOCA RATON, FL 33432                 DELRAY BEACH, FL 33483




[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                     MARSHALLS LOCKSMITH SERVICES INC
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  ATTN ACCOUNTING MGR
                                                                         4205 POOLE RD
                                                                         RALEIGH, NC 27610




MARTECK INC                          MARTEK AUTOMATION                   [NAME REDACTED]
10505 BENNETT PKWY. SUITE 200        1725 SOUTH ESCONDIDO BLVD           [ADDRESS REDACTED]
ZIONSVILLE, IN 46077-7853            ESCONDIDO, CA 92025-6546




[NAME REDACTED]                      MARTIN ARCHITECTURAL PRODUCTS LLC   MARTIN F POER & CO
[ADDRESS REDACTED]                   ATTN PROJECT MGR                    ATTN KATHRYN MCBRIDE
                                     511 E CHATHAM ST                    12700 HILLCREST RD, STE 125
                                     CARY, NC 27511                      DALLAS, TX 75230




[NAME REDACTED]                      MARTIN MARIETTA CORPORATION         MARTIN MARIETTA ENERGY SYSTEMS INC
[ADDRESS REDACTED]                   ATTN MGR, CONTRACT ADMIN            6028 TRIANGLE DR
                                     199 BORTON LANDING RD               RALEIGH, NC 27617
                                     MOORESTOWN, NJ 08057-3075




MARTIN PETERSEN CO INC               MARTIN PROFESSIONAL A/S             MARTIN SIFREDI DESIGN PTY LTD
ATTN SVC DIV MGR                     ATTN EXEC VP                        ATTN DIR
9800 55TH ST                         OLOF PALMES ALLE 18                 1/6 CABENA CRESCENT
KENOSHA, WI 53144                    AARHUS 8200                         CHADSTONE, VIC 3148
                                     DENMARK                             AUSTRALIA



[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  517 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    MARTINI SPA
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN VP
                                                                       VIA PROVINCIALE 24
                                                                       CONCORDIA SULLA SECCHIA
                                                                       MODENA 41033 ITALY



[NAME REDACTED]                     [NAME REDACTED]                    MARUBENI AMERICA CORP
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN VP & GEN MGR
                                                                       3945 FREEDOM CIR, STE 1000
                                                                       SANTA CLARA, CA 95054
MARUBENI AMERICA Case    25-90163
                  CORPORATION        Document 87CORPORATION
                                        MARUBUN   Filed in TXSB on 07/03/25 MARUWA
                                                                             Page AMERICA
                                                                                   518 of 944
                                                                                          CORPORATION
3979 FREEDOM CIRCLE SUITE 600            8-1 NIHONBASH, ODEMNA-CHO            200 E. SANDPOINTE AVENUE
SANTA CLARA, CA 95054-1247               CHUO-KU                              SANTA ANA, CA 92707-5751
                                         TOKYO 103-8577
                                         JAPAN



MARVELL SEMICONDUCTOR INC                MARVIN BOCHNER INC                   MARVIN F POER AND CO
ATTN CONTRACT MNGR                       3145 NW 38 ST                        12700 HILLCREST RD, STE 125
5488 MARVELL LN                          MIAMI, FL 33142                      DALLAS, TX 75230
SANTA CLARA, CA 95054




MARX DIGITAL MFG INC                     [NAME REDACTED]                      MARYLAND CHILD SUPPORT
3551 VICTOR STREET                       [ADDRESS REDACTED]                   RE: 220114579 (ORIGINAL)
SANTA CLARA, CA 95054-2321                                                    P.O. BOX 17396
                                                                              BALTIMORE, MD 21297-1396




MARYLAND DEPARTMENT OF                   MARYLAND DEPT OF LABOR               MARYLAND DEPT OF LABOR
ASSESSMENTS AND TAXATION                 1100 NORTH EUTAW ST                  DIVISION OF LABOR AND INDUSTRY
700 E PRATT ST                           BALTIMORE, MD 21201                  10946 GOLDEN W DR, STE 160
BALTIMORE, MD 21202                                                           HUNT VALLEY, MD 21031




MARYLAND DEPT OF NATURAL RESOURCES       MARYLAND DEPT OF THE ENVIRONMENT     MARYLAND OFFICE OF THE ATTORNEY
580 TAYLOR AVE                           1800 WASHINGTON BLVD                 GENERAL
ANNAPOLIS, MD 21401                      BALTIMORE, MD 21230                  CONSUMER PROTECTION DIVISION
                                                                              BALTIMORE METRO AREA
                                                                              200 SAINT PAUL PL
                                                                              BALTIMORE, MD 21202


MARYLAND OFFICE OF THE ATTORNEY          MARYLAND OFFICE OF THE ATTORNEY      MARYLAND OFFICE OF THE ATTORNEY
GENERAL                                  GENERAL                              GENERAL
CONSUMER PROTECTION DIVISION             CONSUMER PROTECTION DIVISION         CONSUMER PROTECTION DIVISION
EASTERN SHORE                            PRINCE GEORGES                       SOUTHERN MARYLAND
DISTRICT CT, 201 BAPTIST ST STE 30       9200 BASIL CT STE 301                P.O. BOX 745
SALISBURY, MD 21801                      LARGO, MD 20774                      HUGHESVILLE, MD 20637


MARYLAND OFFICE OF THE ATTORNEY          MARYLAND OFFICE OF THE COMPTROLLER   MARYLAND THERMOFORM CORP
GENERAL                                  REVENUE ADMINISTRATION CENTER        ATTN PRESIDENT
CONSUMER PROTECTION DIVISION             TAXPAYER SERVICES DIVISION           2717 WILMARCO AVE
WESTER MARYLAND                          110 CARROL ST                        BALTIMORE, MD 21233
44 N POTOMAC ST STE 104                  ANNAPOLIS, MD 21411-0001
HAGERSTOWN, MD 21740


[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




MASCO CORPORATION                        MASERY COMMUNICATIONS INC            [NAME REDACTED]
ATTN DIR R&D                             ATTN BRIAN DEAN                      [ADDRESS REDACTED]
21001 VAN BORN RD                        2740 N DALLAS PKWY, STE 260
TAYLOR, MI 48180                         PLANO, TX 75093




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  519 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




MASS GROUP INC                          MASSACHUSETTS DEPT OF LABOR AND     MASSACHUSETTS DEPT OF REVENUE
ATTN DIR BUSINESS DEV                   WORKFORCE DEVELOPMENT               DIVISION OF LOCAL SERVICES
21601 DEVONSHIRE ST, SUITE 108          ONE ASHBURTON PLC, STE 2112         100 CAMBRIDGE ST, 6TH FL
CHATSWORTH, CA 91311                    BOSTON, MA 02108                    BOSTON, MA 02114-9569




MASSACHUSETTS DEPT OF REVENUE           MASSACHUSETTS DEPT OF REVENUE       MASSACHUSETTS ELECTRIC
DIVISION OF LOCAL SERVICES              P.O. BOX 7010                       DBA NATIONAL GRID MASSACHUSETTS
P.O. BOX 9569                           BOSTON, MA 02204-7010
BOSTON, MA 02114-9569




MASSACHUSETTS EXECUTIVE OFFICE OF       MASSACHUSETTS INSTITUTE OF          MASSACHUSETTS INSTITUTE OF
ENERGY AND ENVIRONMENTAL AFFAIRS        TECHNOLOGY                          TECHNOLOGY
100 CAMBRIDGE ST, 9TH FL                77 MASSACHUSETTS AVE                ATTN TECH TRANSFER OFFICER
BOSTON, MA 02114                        CAMBRIDGE, MA 02139                 244 WOOD ST
                                                                            LEXINGTON, MA 02420-9108



MASSACHUSETTS LABOR AND WORKFORCE       MASSACHUSETTS SECURITIES DIVISION   [NAME REDACTED]
DEVT                                    ONE ASHBURTON PLACE                 [ADDRESS REDACTED]
ONE ASHBURN PLACE, STE 212              BOSTON, MA 02108
BOSTON, MA 02108




[NAME REDACTED]                         [NAME REDACTED]                     MASSETTI, GARY
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  ATTN INTAKE SUPERVISOR
                                                                            1000 LIBERTY AVE, RM 1112
                                                                            PITTSBURGH, PA 15222




MASSEY COMPANY                          [NAME REDACTED]                     [NAME REDACTED]
P.O. BOX 26                             [ADDRESS REDACTED]                  [ADDRESS REDACTED]
MT HOLLY, NC 28120-2117




MASSIE LABS INC                         MASS-VAC INC                        [NAME REDACTED]
C/O CLARITY MEDICAL SYSTEMS INC         247 RANGEWAY ROAD                   [ADDRESS REDACTED]
5775 W LAS POSITAS BLVD, STE 200        NORTH BILLERICA, MA 01862-0359
PLEASANTON, CA 94588-4084




MASTEC NORTH AMERICA INC                MASTEQ LLC                          MASTER BOND, INC.
ATTN CFO                                ATTN DIR NEW BUS DEV                154 HOBART STREET
800 S DOUGLAS RD, 12TH FL               W189 S8224 MERCURY DR               HACKENSACK, NJ 07601-3922
CORAL GABLES, FL 33134                  MUSKEGO, WI 53150




MASTER GAGE & TOOL CO                   MASTER PACKAGING SOLUTIONS INC      MASTER SPRING & WIRE FORM CO
ATTN SALES/VP                           1329 NORTH FREEWAY BLVD             ATTN QUOTING MGR
112 MAPLEWOOD ST                        SACRAMENTO, CA 95834-2960           1340 ARDMORE AVE
DANVILLE, VA 24540                                                          ITASCA, IL 60143
MASTERCONTROL INC    Case 25-90163   Document  87 Filed in TXSB on 07/03/25 MAT
                                        [NAME REDACTED]                      Page   520 of 944INC
                                                                                VAC TECHNOLOGY
ATTN EVP SALES                           [ADDRESS REDACTED]                      ATTN PRESIDENT
6330 S 3000 E, STE 200                                                           415 ORANGE AVE
SALT LAKE CITY, UT 84121                                                         DAYTONA BEACH, FL 32114




MATCHLESS GROUP LLC, THE                 MATCO DISTRIBUTORS INC                  [NAME REDACTED]
DBA MATCHLESS WIRING                     ATTN VP                                 [ADDRESS REDACTED]
1235 OAKLAWN RD                          2775 N 32ND ST
CHAPMANSBORO, TN 37035                   P.O. BOX 100020
                                         MILWAUKEE, WI 53210



MATERIAL FLOW & CONVEYOR SYSTEMS INC     MATERIAL HANDLING TECHNOLOGIES INC      MATERIALS ANALYTICAL SERVICES INC
ATTN MGR                                 ATTN REG SALES MGR                      ATTN OPERATIONS MGR
21150 BUTTEVILLE RD NE                   113 INTERNATIONAL DR                    616 HUTTON ST, STE 101
DONALD, OR 97020                         MORRISVILE, NC 27560                    RALEIGH, NC 27606




MATERIALS ANALYTICAL SERVICES INC        MATERIALS AND ANALYTICAL SCIENCES INC   MATERIALS CHARACTERIZATION SERVICES
ATTN PRESIDENT                           ATTN OPERATIONS MANAGER                 LLC
3945 LAKEFIELD CT                        616 HUTTON ST                           ATTN OWNER
SUWANEE, GA 30024                        RALEIGH, NC 27606                       16200 WHITE CREEK CV
                                                                                 AUSTIN, TX 78717



MATERIALS DATA INC                       MATERIALS DEVELOPMENT CORP              MATERIALS RESEARCH FURNACES, LLC
ATTN PRES, MDI                           21541 NORDHOFF STREET                   65 PINEWOOD ROAD
1224 CONCANNON BLVD                      CHATSWORTH, CA 91311-6905               ALLENSTOWN, NH 03275
LIVERMORE, CA 94550




MATERION ADVANCE MATERIALS               MATERION ADVANCE MATERIALS              MATERION BREWSTER LLC
TECHNOLOGIES                             TECHNOLOGIES                            42 MOUNT EBO RD
AND SERVICES INC                         AND SERVICES INC                        BREWSTER, NY 10509-4005
28 WOODLANDS LOOP 01-00                  ATTN: RICH OLIVERI
SINGAPORE 738308                         2978 MAIN STREET
SINGAPORE                                BUFFALO, NY 14214-1004


MATERION SINGAPORE PTE LTD               [NAME REDACTED]                         MATHESON GAS PRODUCTS
28 WOODLANDS LOOP, 01-00 SINGAPORE       [ADDRESS REDACTED]                      909 LAKE CAROLYN PKWY, STE 1300
SINGAPORE 738308                                                                 IRVING, TX 75039
SINGAPORE




MATHESON LLP                             MATHESON TRI-GAS, INC.                  [NAME REDACTED]
70 SIR JOHN ROGERSONS QUAY               166 KEYSTONE DRIVE                      [ADDRESS REDACTED]
DUBLIN D02 R29                           MONTGOMERYVILLE, PA 18936-9637
IRELAND




[NAME REDACTED]                          [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                         MATHWORKS
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      3 APPLE HILL DRIVE
                                                                                 NATICK, MA 01760-2081
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  521 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         MATRIUM GMBH                       MATRIUM GMBH
[ADDRESS REDACTED]                      HARDECKSTRASSE 5                   WORTHSTRASSE 85
                                        KARLSRUHE 76185                    ULM 89077
                                        GERMANY                            GERMANY




MATRIX ELECTRONICA SL                   MATRIX ELECTRONICS LTD             MATRIX ENGINEERS AND CONTRACTORS INC
ATTN PRESIDENT                          ATTN MKTG & CS MGR                 ATTN PRESIDENT
ALEJANDRO SANCHEZ, 109                  1201 KWONG WAH PLAZA               475 PRODUCTION ST
MADRID 28019                            11 TAI TONG RD                     SAN MARCOS, CA 92078
SPAIN                                   YUEN LONG, NT HONG KONG



MATRIXONE INC                           [NAME REDACTED]                    [NAME REDACTED]
2 EXECUTIVE DR                          [ADDRESS REDACTED]                 [ADDRESS REDACTED]
CHELMSFORD, MA 01824




[NAME REDACTED]                         MATSUSADA PRECISION, INC           MATSUSHITA COMM IND CO LTD
[ADDRESS REDACTED]                      5960 FAIRVIEW ROAD                 ATTN SR STAFF ENGINEER
                                        CHARLOTTE, NC 28210-3102           5-3 HIKARINOOKA
                                                                           YOKOSUKA, KANAGAWA 239-0847
                                                                           JAPAN



MATSUSHITA ELECTRIC INDUSTRIAL CO LTD   MATSUSHITA ELECTRIC WORKS LTD      MATT MARSHALL & CO
ATTN DIRECTOR                           ATTN DIRECTOR                      ATTN PRESIDENT
1-1 SAIWAI-CHO                          1048 OAZA KADOMA                   22249 BISHOP RD
TAKATSUKI-SHI                           KADOMA-SHI, OSAKA 571-8686         GREENSBORO, NC 27417-7357
OSAKA 569-1193 JAPAN                    JAPAN



MATTACHIONE CONSTRUCTION INC            MATTERHACKERS INC                  [NAME REDACTED]
ATTN PRESIDENT                          20321 VALENCIA CIRCLE              [ADDRESS REDACTED]
2121 E WILLIAMS ST                      LAKE FOREST, CA 92630-8159
APEX, NC 27539




[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]
MATTSON TECHNOLOGYCase
                     INC 25-90163    Document 87THERMAL
                                        MATTSON    FiledPRODUCTS
                                                         in TXSBGMBH
                                                                 on 07/03/25 [NAME
                                                                               Page  522 of 944
                                                                                   REDACTED]
47131 BAYSIDE PARKWAY                    ATTN VP & GM THERMAL PRODUCTS          [ADDRESS REDACTED]
FREMONT, CA 94538-6517                   DAIMLERSTRASSE 10
                                         DORNSTANDT D 89160
                                         GERMANY



[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                        MAURICE ELECTRICAL SUPPLY COMPANY
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     6500A SCRIFF RD
                                                                                LANDOVER, MD 20785




[NAME REDACTED]                          MAURY MICROWAVE CORP                   MAW MEN AT WORK SPA
[ADDRESS REDACTED]                       2900 INLAND EMPIRE BLVD                ATTN LEGAL REP
                                         ONTARIO, CA 91764-4804                 VIA CORFU 50
                                                                                BRESCIA 25121
                                                                                ITALY



MAX LOGISTICS LTD                        MAX TECHNICAL SALES INC                [NAME REDACTED]
ATTN OCGAN DEPT                          ATTN PRESIDENT                         [ADDRESS REDACTED]
MANHATTAN CENTRE, 8 KWAI CHEONG RD       2121 E ARMY TRAIL RD, 112
KWAI CHUNG                               ADDISON, IL 60101
HONG KONG



MAXCHAN INTERNATIONAL CORP               MAXCO TECHNOLOGIES LTD                 MAXELL CORP OF AMERICA
NO 13, SEC 2, ZHONGXING RD               ATTN GENERAL MANAGER                   ATTN VP
WUGU DIST                                ROOM M, 11/F EVEREST INDUST BUILDING   22-08 RTE 208
NEW TAIPEI CITY 24873                    396 KWUN TONG ROAD                     FAIR LAWN, NJ 07410
TAIWAN                                   KWUN TONG HONG KONG



MAXELL CORPORATION OF AMERICA            MAXEMIL PHOTONICS CORP                 MAXENTRIC TECHNOLOGIES LLC
ATTN VP                                  ATTN VICE PRESIDENT                    ATTN MANAGING DIRECTOR
3 GARRET MOUNTAIN PLZ, STE 300           7F, NO 133, LANE 235                   2071 LEMOINE AVE, STE 302
WOODLAND PARK, NJ 07424                  BAO-CHIAO RD, XINDIAN DISTRICT         FORT LEE, NJ 07024
                                         NEW TAIPEI CITY 231 TAIWAN



MAXERA LLC                               [NAME REDACTED]                        MAXI WORLD TECHNOLOGY LTD
ATTN OWNER                               [ADDRESS REDACTED]                     ATTN MG DIRECTOR
763 HWY 310                                                                     1904 NANYANG PLAZA
ENGLEWOOD, TN 37329                                                             57 HUNG TO ROAD
                                                                                KWUN TONG, KOWLOON HONG KONG



MAXIM INTEGRATED PRODUCTS INC            MAXIMUM ADVANTAGE-CAROLINAS LLC        MAXIMUM INDUSTRIES INC
ATTN SVP & GENERAL COUNSEL               ATTN DIRECTOR OF OPS                   ATTN VICE PRESIDENT
120 SAN GABRIEL DR                       2166 GOLD HILL RD, C-3                 1408 W WALNUT HILL LN
SUNNYVALE, CA 94086                      FORT MILL, SC 29708                    IRVING, TX 75038




MAXIMUM SECURITY SYS OF SE WISCONSIN     MAXMILE TECHNOLOGIES INC               MAXRAY INC
LLC                                      ATTN CHIEF SCIENTIST                   ATTN GENERAL MGR
ATTN OWNER                               10623 WINCHELSEA DR                    2-18-6, SHIGINO-NISHI, JOTO-KU
1129 MAIN ST                             AUSTIN, TX 78750                       OSAKA 536-0014
UNION GROVE, WI 53182                                                           JAPAN
                 CaseINC
MAXSON AND ASSOCIATES  25-90163   Document  87 Filed in TXSB on 07/03/25 MAXTIM
                                     [NAME REDACTED]                      PageLIGHT
                                                                                523TECHNOLOGY
                                                                                    of 944    CO LTD
ATTN SALES ACCOUNT MGR                [ADDRESS REDACTED]                    33350 NO 1367-2, WANSHOU RD
P.O. BOX 240257                                                             GUISHAN SHIANG
CHARLOTTE, NC 28224                                                         TAOYUAN COUNTY
                                                                            TAIWAN



MAXVAC INC                            MAY LUEN CLEANING LTD                 [NAME REDACTED]
601-G N 1ST STREET                    ATTN DIRECTOR                         [ADDRESS REDACTED]
PATTERSON, CA 95363-2468              5-7 PHASE 2 G/F, KWAN YICK BLDG
                                      343 DES VOEUX RD
                                      WEST WESTERN HONG KONG



[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       MAYER ENGINEERING                     [NAME REDACTED]
[ADDRESS REDACTED]                    ATTN PRESIDENT                        [ADDRESS REDACTED]
                                      P.O. BOX 670732
                                      NORTHFIELD, OH 44067-0732




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




MAYFIELD LIGHTING SALES INC           MAYFIELD LIGHTING SALES INC           MAYHEW BROS INC
ATTN LOUIS MAYFIELD                   ATTN PRESIDENT                        ATTN GENERAL MANAGER
2647 MILO ST                          2413 CROWN FLAIR DR                   1413 FORESTVILLE RD
OSCEOLA, IA 50213                     WEST DES MOINES, IA 50265             WAKE FOREST, NC 27587




MAYLONE, STEVEN MICHAEL               MAYNARD VOLUNTEER FIRE DEPARTMENT I   [NAME REDACTED]
DBA MAYLONE PHOTOGRAPHY               P.O. BOX 377                          [ADDRESS REDACTED]
ATTN OWNER                            MARCY, NY 13403-0377
P.O. BOX 938
DILLON, CO 80435



[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  524 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          MAZET GMBH                         [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN CHIEF EXECUTIVE OFFICER       [ADDRESS REDACTED]
                                         GOSCHWITZER STRASSE 32
                                         JENA 07745
                                         GERMANY



[NAME REDACTED]                          M-B INDUSTRIES INC                 MB TECH
[ADDRESS REDACTED]                       ATTN PRESIDENT                     106 CHEMIN DE LA GIRONDE
                                         9205 ROSMAN HWY                    SAINT LYS 31470
                                         ROSMAN, NC 28772                   FRANCE




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




MBMETAL NORTHAMERICA LLC                 [NAME REDACTED]                    MC SUPPLY
DBA MB METAL TECHNOLOGIES                [ADDRESS REDACTED]                 P.O. BOX 614
ATTN MANAGER                                                                GREENVILLE, SC 29602-0614
403 S HAWLEY RD
MILWAUKEE, WI 53214



MC2 TECHNOLOGIES                         MC-21 INC                          [NAME REDACTED]
ATTN GENERAL MANAGER                     ATTN PRESIDENT                     [ADDRESS REDACTED]
10, RUE HUBBLE                           5100 CONVAIR DR
PARC DE LA HAUTE BORNE BAT 7             CARSON CITY, NV 89706
SAINGHIN-EN-MELANTOIS 59262 FRANCE



[NAME REDACTED]                          MCAFEE INC                         [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN REGIONAL DIR                  [ADDRESS REDACTED]
                                         2821 MISSION COLLEGE BLVD
                                         SANTA CLARA, CA 95054




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    MCBAIN INSTRUMENTS
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 ATTN ENG SALES MGR
                                                                            9601 VARIEL AVE
                                                                            CHATSWORTH, CA 91311
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  525 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          MCCALL BROTHERS INC                [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN PRES                          [ADDRESS REDACTED]
                                         6700 BROOKSHIRE BLVD
                                         CHARLOTTE, NC 28216




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




MCCANN CONSTRUCTION CONSULTING LLC       [NAME REDACTED]                    [NAME REDACTED]
ATTN PRINCIPAL                           [ADDRESS REDACTED]                 [ADDRESS REDACTED]
3005 CREGLER DR
APEX, NC 27502




[NAME REDACTED]                          [NAME REDACTED]                    MCCARTER
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 ATTN VP
                                                                            P.O. BOX 868
                                                                            LAURINBURG, NC 28352




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    MCCLEER POWER INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 ATTN TOM LIPO
                                                                            2421 RESEARCH DR
                                                                            JACKSON, MI 49203
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  526 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    MCCOMBS STEEL CO INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN OUTSIDE SALES
                                                                       117 SLINGSHOT RD
                                                                       STATESVILLE, NC 28677




[NAME REDACTED]                     MCCONNELL WASTE SYSTEMS &          [NAME REDACTED]
[ADDRESS REDACTED]                  RECYCLING INC                      [ADDRESS REDACTED]
                                    ATTN BRANDI MCCONNELL, PRESIDENT
                                    113 FLINT POINT LN
                                    HOLLY SPRINGS, NC 27540



MCCORD CONTRACTORS INC              MCCORKLE SIGN COMPANY INC          [NAME REDACTED]
ATTN VICE PRESIDENT                 1107 EAST GEER STREET              [ADDRESS REDACTED]
3299 FROG LEVEL RD, STE B           DURHAM, NC 27704-0384
GREENVILLE, NC 27834




[NAME REDACTED]                     MCCORMICK PROPERTIES               [NAME REDACTED]
[ADDRESS REDACTED]                                                     [ADDRESS REDACTED]




[NAME REDACTED]                     MCCOURT ASSOCIATES                 [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN ACCOUNT EXEC                  [ADDRESS REDACTED]
                                    3017 GROVES EDGE LN
                                    WAXHAW, NC 28173




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  527 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     MCCULLERS MAINTENANCE INC          [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN VP                            [ADDRESS REDACTED]
                                    715 IREDELL ST
                                    DURHAM, NC 27705




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




MCDEVITT, MICHAEL M                 [NAME REDACTED]                    MCDONALD YORK INC
713 WALCOTT WAY                     [ADDRESS REDACTED]                 801 OBERLIN RD, STE 235
CARY, NC 27519                                                         RALEIGH, NC 27605




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    MCDONALDS APMEA LLC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN CHIEF DEV OFFICER
                                                                       1 MCDONALDS PLAZA
                                                                       OAK BROOK, IL 60523
                  Case 25-90163
MCDONALDS CORPORATION             Document  87 Filed in TXSB on 07/03/25 [NAME
                                     [NAME REDACTED]                       Page  528 of 944
                                                                               REDACTED]
ATTN CORPORATE VP                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]
2915 JORIE BLVD
OAK BROOK, IL 60523




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       MCE CHEMICALS & EQUIP CO           [NAME REDACTED]
[ADDRESS REDACTED]                    ATTN PRESIDENT                     [ADDRESS REDACTED]
                                      2442 MAIN ST
                                      LAKE PLACID, NY 12946




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




MCFADDEN LIGHTING CO INC              [NAME REDACTED]                    [NAME REDACTED]
ATTN LIGHTING ENGINEER                [ADDRESS REDACTED]                 [ADDRESS REDACTED]
2601 OHIO AVE ST
LOUIS, MI 63118




MCFARLANDS MAINTENANCE SERVICE        [NAME REDACTED]                    [NAME REDACTED]
270 DUFFERIN RD                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
PERTH, ON K7H 3B6
CANADA




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




MCGILL POWER S&E INC                  [NAME REDACTED]                    [NAME REDACTED]
351 NORTH PLANK STREET                [ADDRESS REDACTED]                 [ADDRESS REDACTED]
ROSSVILLE, IN 46065-9412
MCGLADREY & PULLENCase 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                           [NAME REDACTED]                       Page  529 of 944
                                                                                     REDACTED]
C/O RSM US LLP                              [ADDRESS REDACTED]                 [ADDRESS REDACTED]
30 S WACKER DR, STE 3300
CHICAGO, IL 60606




[NAME REDACTED]                             [NAME REDACTED]                    MCGRAW HILL CONSTRUCTION
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                 2 PENN PLAZA
                                                                               NEW YORK, NY 10121




[NAME REDACTED]                             [NAME REDACTED]                    MCGREIVEY & ASSOCIATES
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                 ATTN DENNIS MCGREIVY, PRESIDENT
                                                                               9 MORNING DOVE
                                                                               LAGUNA NIGUEL, CA 92693




MCGRIFF, SEIBELS &WILLIAMS OF GEORGIA       [NAME REDACTED]                    MCGUIREWOODS LLP
INC                                         [ADDRESS REDACTED]                 ATTN BRIAN C RIOPELLE
ATTN PRES                                                                      901 E CARY ST
ONE PREMIER PLAZA                                                              RICHMOND, VA 23219-4030
5605 GLENRIDGE DR, STE 300
ATLANTA, GA 30342


MCI TRANSFORMER CORPORATION                 MCI WORLDCOM COMMUNICATIONS INC    MCINERNEY, LARRY
ATTN VP                                     ATTN SVP BUSINESS DEV              954 S BANANA RIVER DR
411 MANHATTAN AVE                           22001 LOUDOUN CONTY PKWY           MERRITT ISLAND, FL 32952
BABYLON, NY 11704                           ASBURN, VA 20147




[NAME REDACTED]                             MCINTYRE GLOBAL EXEC SEARCH        [NAME REDACTED]
[ADDRESS REDACTED]                          375 N FRONT ST, STE 222            [ADDRESS REDACTED]
                                            COLUMBUS, OH 43215




MCKAM INC                                   [NAME REDACTED]                    [NAME REDACTED]
ATTN RICHARD L HALVERSON                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]
P.O. BOX 10977
SALAMEN, NC 27108




[NAME REDACTED]                             [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                    MCKINSEY & COMPANY
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                 ATTN: LEGAL DEPARTMENT
                                                                               711 THIRD AVENUE, 4 FLOOR
                                                                               NEW YORK, NY 10017
                 Case 25-90163
MCKINSEY & COMPANY                 Document 87& COMPANY
                                      MCKINSEY   Filed in TXSB on 07/03/25 [NAME
                                                                             Page  530 of 944
                                                                                 REDACTED]
ATTN: WADE TOLLER                      ATTN: WADE TOLLER                     [ADDRESS REDACTED]
3 WORLD TRADE CENTER                   3 WORLD TRADE CENTER
175 GREENWICH STREET                   175 GREENWICH STREET
NEW YORK, NY 10007                     NEW YORK, NY 10007-2439



[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       MCL INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    ATTN VP OPERATIONS
                                                                             501 S WOODCREEK
                                                                             BOLINGBROOK, IL 60440




[NAME REDACTED]                        MCLAREN APPLIED TECHNOLOGIES LTD      MCLAREN AUTOMOTIVE LTD
[ADDRESS REDACTED]                     C/O MCLAREN APPLIED LTD               ATTN MANAGER HYBRID SYSTEMS
                                       DUKES CT, BLOCK E, DUKE ST            MCLAREN TECHNOLOGY CTR, CHERTSEY RD
                                       WOKING GU21 5BH                       WOKING
                                       UNITED KINGDOM                        SURREY GU21 4YH UNITED KINGDOM



[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




MCLORMACK, BENJAMIN                    MCLUHAN AND DAVIES COMMUNICATIONS I   MCM ENERGY LAB SRL
5203 SWEENY DR                         1 ST CLAIR AVE W                      ATTN MANAGING DIR
DURHAM, NC 27705                       STE 1200                              VIA G DURANDO, 38/A
                                       TORONTO, ON M4T 1Y5                   MILAN 20158
                                       CANADA                                ITALY



MCMAHAN ELECTRO-OPTICS INC             MCMAHAN RESEARCH                      [NAME REDACTED]
ATTN ROBERT K MCMAHAN, PRESIDENT       C/O MCMAHAN LAB ASDRP                 [ADDRESS REDACTED]
2160 PARK AVE                          2160 N PARK AVE
WINTER PARK, FL 32789                  WINTER PARK, FL 32789-2310




MCMASTER CARR INC                      MCMILLAN LLP                          [NAME REDACTED]
6100 FULTON INDUSTRIAL BLVD            BROOKFIELD PLACE                      [ADDRESS REDACTED]
ATLANTA, GA 30374-2853                 181 BAY ST, SUITE 4400
                                       TORONTO, ON M5J 2T3
                                       CANADA
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  531 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    MCNC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN VP RESOURCE DEV
                                                                       P.O. BOX 122889
                                                                       RESEARCH TRIANGLE PARK, NC 27709




MCNEAL ENTERPRISES INC              [NAME REDACTED]                    [NAME REDACTED]
ATTN VICE PRESIDENT                 [ADDRESS REDACTED]                 [ADDRESS REDACTED]
2031 RINGWOOD AVE
SAN JOSE, CA 95131




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    MCQUADE & BANNIGAN INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 1300 STARK STREET
                                                                       UTICA, NY 13502-4448




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 MCV
                                   [NAME REDACTED]                      Page   532 of 944
                                                                           TECHNOLOGIES INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  ATTN PRES
                                                                        6370 LUSK BLVD, SET F110
                                                                        SAN DIEGO, CA 92121




[NAME REDACTED]                     MCWB DESIGN CONSULTANTS             [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN PRES                           [ADDRESS REDACTED]
                                    6 POINT PL
                                    WRIGHTSVILLE BEACH, NC 28480




MD PREVATT INC                      MDC PRECISION LLC                   MDC VACUUM PRODUCTS
ATTN PRES                           30962 SANTANA STREET                23842 CABOT BLVD
165 CONNER DR                       HAYWARD, CA 94544                   HAYWARD, CA 94545-1661
CLAYTON, NC 27520




MDN CABINETS INC                    MDP ELECTRONICS INC                 MDT INC
ATTN PRESIDENT                      DBA ECI                             DBA AUVESY MDT
2209 ASSOCIATE DR                   53 MAIN LINE DR                     ATTN GENERAL MGR
RALEIGH, NC 27603                   P.O. BOX 1536                       3480 PRESTON RIDGE RD, STE 450
                                    WESTFIELD, MA 01086                 ALPHARRETA, GA 30005



ME CONSULTING LLC                   [NAME REDACTED]                     [NAME REDACTED]
ATTN OWNER                          [ADDRESS REDACTED]                  [ADDRESS REDACTED]
9916 BAILEYWICK RD
RALEIGH, NC 27613




ME2 SYSTEMS LLC                     [NAME REDACTED]                     [NAME REDACTED]
ATTN PARTNER                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
360 W 22ND ST
NEW YORK, NY 10011




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     MEADWESTVACO CHINA HOLDING CO LTD
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  21 FL, GRAND GATEWAY TOWER 1
                                                                        1 HONGQIAO RD
                                                                        SHANGHAI 200030
                                                                        CHINA



MEAN WELL ENTERPRISES CO LTD        MEAN WELL                           MEARTHANE PRODUCTS LLC DBA MERRIT
ATTN REGIONAL SALES MGR             ATTN LEO CHEONG                     PRECISION PRODS.
NO 28, WU-CHUAN 3RD RD              44030 FREMONT BLVD                  MERRITT PRECISION PRODUCT
WU KU IND PARK                      FREMONT, CA 94538                   1080 CLASSIC ROAD
TAIPEI HSIEN 248 TAIWAN                                                 APEX, NC 27539



MEASUREMENT COMPUTING CORP          MEASUREMENT DYNAMICS                MEBANE MACHINE & TOOL LLC
10 COMMERCE WAY                     ATTN OWNER                          P.O. BOX 1173
NORTON, MA 02766-3321               107 SAINT LENVILLE DR               MEBANE, NC 27302-1173
                                    CARY, NC 27518
MEC SRL           Case 25-90163   Document 87 FiledLLC
                                     MECCO PARTNERS  in TXSB on 07/03/25 MECH
                                                                          Page  533SRL
                                                                              WORKS of 944
VIA SAN NICOLO DVILLOLA 1             ATTN CFO                           VIA VALLESCURA, 8/2
BOLOGNA 40127                         290 EXECUTIVE DR, STE 200          BOLOGNA 40136
ITALY                                 CRANBERRY TOWNSHIP, PA 16066       ITALY




MECHA INC                             MECHANICAL EQUIPMENT CO INC        MECHANICAL POWER CONVERSION LLC
ATTN PRESIDENT                        ATTN NORTHEAST REGION MGR          DBA E&M POWER
6204 DAIMLER WAY, STE 107             68375 COMPASS WAY E                ATTN PRESIDENT
RALEIGH, NC 27607                     MANDEVILLE, LA 70471               6 EMMA ST
                                                                         BINGHAMTON, NY 13905



MECHANICAL SOLUTIONS INC              MECHANICAL SPECIALTIES             MECHATRONIC SYSTEMS LLC
ATTN PRESIDENT                        4412 TRYON ROAD                    ATTN PRESIDENT
620-J VALLEY FORGE RD                 RALEIGH, NC 27606-4218             5082 BOLSA AVE, STE 103
HILLSBOROUGH, NC 27278                                                   HUNTINGTON BEACH, CA 92649




MECHINNO SRL                          MECHTRONICS CONTROLS LLC           MECHWORKS SRL
ATTN CHIEF EXECUTIVE OFFICER          ATTN SALES MNGR                    ATTN PRESIDENT
VIA DELLINDUSTRIA 2                   2646 HIGHLAND DR                   VIA VALLESCURA 8/2
CALDERARA DI RENO (BO) 40012          LAS VEGAS, NV 89109                BOLOGNA
ITALY                                                                    ITALY



[NAME REDACTED]                       [NAME REDACTED]                    MECO INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 ATTN DIR OF SALES
                                                                         1 XIAO WAN ROAD, LISHUI INDUSTRIAL PARK
                                                                         NANJING, JIANGSU 211200
                                                                         CHINA



MEC-TRIC CONTROL COMPANY              MEDALIST LLC                       MEDCOM SP ZOO
4110 MONROE                           ATTN PRESIDENT                     ATTN PRESIDENT
CHARLOTTE, NC 28205                   2840 BRADLEY ST                    UL JUTRZENKI 78A
                                      OSHKOSH, WI 54902                  WARZAWA 02-230
                                                                         POLAND



[NAME REDACTED]                       [NAME REDACTED]                    MEDIA ANALYTICS LTD
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 DBA GLOBAL WATER INTELLIGENCE
                                                                         ATTN HEAD OF SPONSORSHIP
                                                                         KINGSMEAD HOUSE, STE C, OXPENS RD
                                                                         OXFORD, OXFORDSHIRE OX1 1XX UNITED
                                                                         KINGDOM


MEDIA BLAST & ABRASIVES INC           MEDIA CYBERNETICS INC              MEDIFIT CORP SERVICES INC
ATTN GEN MGR                          ATTN GENERAL MGR                   ATTN COO
591 W APOLLO ST                       401 N WASHINGTON ST, STE 350       25 HANOVER RD
BREA, CA 92821                        ROCKVILLE, MD 20850                FLORSHAM PARK, NJ 07932




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    MEDIY GLASS MANUFACTURE LTD
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 4, THE FRENCH APARTMENTS
                                                                         DE COURCEL RD
                                                                         BRIGHTON BN2 5RZ
                                                                         UNITED KINGDOM
[NAME REDACTED] Case 25-90163       Document
                                       MEDPRO87  Filed
                                              WASTE     in TXSB
                                                    DISPOSAL LLC on 07/03/25 MEDREVIEW
                                                                              Page 534 LLCof 944
[ADDRESS REDACTED]                      1751 W DIEHL RD, 400                 ATTN PRESIDENT
                                        NAPERVILLE, IL 60563                 812 S BROAD ST, STE 14
                                                                             THOMASVILLE, GA 31792




MEDTRONIC INC                           MEECO INC                            [NAME REDACTED]
ATTN TECH SOURCING SPEC                 250 TITUS AVENUE                     [ADDRESS REDACTED]
8200 CORAL SEA ST NE                    WARRINGTON, PA 18976
MOUNDS VIEW, MN 55112




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




MEET LIGHT SRL                          [NAME REDACTED]                      MEGA ELECTRONICS LTD
                                        [ADDRESS REDACTED]                   ATTN DIRECTOR
                                                                             MEGA HOUSE GRIP INDUSTRIAL ESTATE
                                                                             LISTON
                                                                             CAMBRIDGE CB21 4XN UNITED KINGDOM



MEGA FLUID SYSTEMS INC                  MEGA SQUARE SDN BHD                  MEGA-LINE RACING ELECTRONIC GMBH
6161 INDUSTRIAL WAY                     ATTN MANAGER                         ATTN MANAGING DIR
LIVERMORE, CA 94551-9710                NO. 3, KAWASAN PERUSAHAAN RINGAN     HAUNERSDORFER STR 3
                                        SUNGAI SIPUT, FASA II                SAAL D-93342
                                        PERAK DARUL RIDZUAN 31100 MALAYSIA   GERMANY



MEGAPHASE LLC                           MEGAWATT SOLAR INC                   MEGLIO & ASSOCIATES INC
2098 WEST MAIN ST, BLDG 3               ATTN PRES & CEO                      ATTN DAVID MEGLIO
STROUDSBURG, PA 18360-6549              437 DIMMOCKS MILL RD                 14220 LADUE RD
                                        HILLSBOROUGH, NC 27278               CHESTERFIELD, MO 63017




[NAME REDACTED]                         MEHR SOLAR TECHNOLOGIES LLC          [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN PRESIDENT                       [ADDRESS REDACTED]
                                        3012 CYPRESS KNEE CT
                                        RALEIGH, NC 27607




[NAME REDACTED]                         MEI LLC                              MEI RIGGING & CRATING LLC
[ADDRESS REDACTED]                      3838 WESTERN WY NE                   ATTN DIR, NATIONAL & STRATEGIC
                                        ALBANY, OR 97321-7421                421 WATER AVE NE, STE 4300
                                                                             ALBANY, OR 97321




MEI WET PROCESSING & SERVICES LLC       MEIDENSHA CORPORATION                MEIKO ELECTRONICS CO LTD
ATTN CFO                                ATTN GENERAL MGR, CORE TECHNOLOGY    ATTN SR MANAGING EXEC OFF
3838 WESTERN WAY NE                     THINKPARK TOWER, 2-1-1 OSAKI         5-14-15 OGAMI
ALBANY, OR 97321                        SHINAGAWA-KU                         AYASE, KANAGAWA 252-1104
                                        TOKYO 141-6029 JAPAN                 JAPAN



[NAME REDACTED]                         MEIOH KASEI CO LTD                   [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN PRESIDENT                       [ADDRESS REDACTED]
                                        2-31-2, NISHIMAGOME, OTA-KU
                                        TOKYO 143-0026
                                        JAPAN
MEISTER ABRASIVESCase
                  AG  25-90163   Document
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                                            ABRASIVES in TXSB
                                                          INC on 07/03/25 MEIVAC
                                                                           PageINCORPORATED
                                                                                 535 of 944
INDUSTRIESTRASSE 10                  201 CIRCUIT DRIVE                   ATTN SR COMPONENT PRODUCT MNG
ANDELFINGEN 8450                     NORTH KINGSTOWN, RI 02852-7440      5830 HELLYER AVE
SWITZERLAND                                                              SAN JOSE, CA 95138




[NAME REDACTED]                      [NAME REDACTED]                     MEKODA OPTICAL COMPANY
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  NO. 228, HUAIDE RD
                                                                         HUAIDE, HUMEN
                                                                         DONGGUAN, GUANGDONG
                                                                         CHINA



[NAME REDACTED]                      MEKTEC INTERNATIONAL CORP           [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN PRESIDENT                      [ADDRESS REDACTED]
                                     1731 TECHNOLOGY DR, STE 840
                                     SAN JOSE, CA 95110




[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                     MELCOM ELECTRONICS LTD
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  ATTN MANAGING DIR
                                                                         2AC COURT, HIGH ST
                                                                         THAMES DITTON
                                                                         SURREY KT7 0SR UNITED KINGDOM



MELCOM ELECTRONICS LTD               [NAME REDACTED]                     MELFES SHOES
QUANTUM HOUSE, 59-61                 [ADDRESS REDACTED]                  P.O. BOX 654
GUILDFORD ST                                                             ILION, NY 13357-0654
CHERTSEY KT16 9AX
UNITED KINGDOM



[NAME REDACTED]                      MELIOR TECHNOLOGY INC               MELISSA LIGHTING INC
[ADDRESS REDACTED]                   ATTN DIRECTOR                       ATTN PRESIDENT
                                     1000 LOUISIANA ST                   4859 OLSON DR
                                     HOUSTON, TX 77002                   DALLAS, TX 75227




MELLEN CO INC, THE                   MELLER OPTICS INC                   [NAME REDACTED]
ATTN COO                             ATTN EXEC VP                        [ADDRESS REDACTED]
40 CHENELL DR                        120 CORLISS ST
CONCORD, NH 03301                    PROVIDENCE, RI 02904




[NAME REDACTED]                      [NAME REDACTED]                     MELTZER, JEFFREY
[ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163     Document  87 Filed in TXSB on 07/03/25 MEM
                                     [NAME REDACTED]                      Page  536 of GROUP
                                                                             CONSULTING 944 SND BHD
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 ATTN MANAGING DIR
                                                                         18-3, 2ND FLOOR, JALAN USJ 21/4
                                                                         SUBANG JAYA SELANGOR 47630
                                                                         MALAYSIA



MEMS TECHNOLOGY CORP                  MEMSSTAR LTD                       [NAME REDACTED]
6F, NO.192, SEC 3, CHONGYANG RD       ATTN DIRECTOR                      [ADDRESS REDACTED]
SANCHONG CITY                         1 FLEMMING RD
TAIPEI 241                            LIVINGSTON EH54 7BN
TAIWAN                                UNITED KINGDOM



[NAME REDACTED]                       [NAME REDACTED]                    MENDLER VETRIEBS-GMBH
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 INDUSTRIESTR 60
                                                                         WELZHEIM DE-73642
                                                                         GERMANY




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




MENLO MICROSYSTEMS INC                MENLO WORLDWIDE FORWARDING         MENOLINX LTD
ATTN CFO                              ATTN GENERAL MGR                   ATTN CEO
49 DISCOVERY, STE 150                 ONE LAGOON DR                      5 MENACHEM BEGIN AVE
IRVINE, CA 92618                      REDWOOD CITY, CA 94065             BEIT-DAGAN 50250
                                                                         ISRAEL



[NAME REDACTED]                       MENTOR GRAPHICS                    MEODEX SARL
[ADDRESS REDACTED]                    ATTN CONTRACTS REP                 ATTN CEO
                                      8005 SW BOECKMAN RD                85 AV ANTOINE BECQUEREL
                                      WILSONVILLE, OR 97070              NARBONNE 11100
                                                                         FRANCE



MEP AMERICA INC                       MERBETH SHEET METAL PRODUCTS INC   MERCEDES AMG HIGH PERF POWERTRAINS
ATTN VP                               ATTN PRESIDENT                     LTD
420 LEXINGTON AVE, STE 219            W229 N5087 DUPLAINVILLE RD         MORGAN DRIVE
NEW YORK, NY 10170                    PEWAUKEE, WI 53072                 BRIXWORTH
                                                                         NORTHAMPTONSHIRE NN6 9GZ
                                                                         UNITED KINGDOM


MERCEDES-BENZ AMG HIGH PE             MERCEDES-BENZ EXTRA LLC            MERCEDES-BENZ R&D NA INC
MORGAN DRIVE                          ATTN CHIEF EXECUTIVE OFFICER       ATTN STAFF ENGINEER
BRIXWORTH NN6 9YW                     1 MERCEDES DR                      309 N PASTORIA AVE
UNITED KINGDOM                        VANCE, AL 35490                    SUNNYVALE, CA 94085
MERCER (US) INC   Case 25-90163     Document
                                       MERCER87    Filed in TXSB on 07/03/25 MERCER
                                             (US) INC                         PageCONSULTING
                                                                                    537 of 944(CHINA) LTD
3560 LENOX RD, STE 2400                 ATTN PRINCIPAL                        HONG KONG NEW WORLD TOWER
ATLANTA, GA 30326                       400 W MARKET ST, STE 700              HUAIHAI ZHONG RD 300, FL 46
                                        LOUISVILLE, KY 40202                  SHANGHAI 200021
                                                                              CHINA



MERCER HR SERVICES LLC                  [NAME REDACTED]                       [NAME REDACTED]
ATTN PRINCIPAL                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]
100 N TRYON ST, STE 3400
CHARLOTTE, NC 28202




[NAME REDACTED]                         [NAME REDACTED]                       MERCK KGAA
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    ATTN DIRECTOR, SR MGR
                                                                              FRANKFURTER STRASSE 250
                                                                              DARMSTADT 64293
                                                                              GERMANY



MERCURY AIRCRAFT MEXICO S DE RL DE CV   MERCURY LIGHTING PRODUCTS CO INC      MERCURY LLC
ATTN PRESIDENT                          ATTN PRESIDENT                        ATTN MIKE MCSHERRY, MANGING DIR
ACATLAN DE JUAREZ                       20 AUDREY PL                          300 TINGEY ST SE, STE 202
GUADALAJARA, JAL 45600                  FAIRFIELD, NJ 07004                   WASHINGTON, DC 20003
MEXICO



MERCURY MICROWAVE INC                   MERCURY MICROWAVE INC                 MERCURY PLASTICS, INC.
15 PELTZ AVE                            ATTN PRES                             4535 W. FULLERTON AVE.
KITCHENER, ON N2H 6A4                   196 MICHENER CRESCENT                 CHICAGO, IL 60639-1933
CANADA                                  KITCHENER, ON N2A 3V9
                                        CANADA



MERCURY PUBLIC AFFAIRS LLC              MERCURY SYSTEMS                       MERCURYGATE INTERNATIONAL INC
ATTN PRESIDENT                          ATTN TECH DIRECTOR                    ATTN GEN COUNSEL
300 TINGEY ST SE, STE 202               201 RIVERNECK RD                      200 REGENCY FOREST DR, STE 400
WASHINGTON, DC 20003                    CHELMSFORD, MA 01824                  CARY, NC 27518




MERIDIONALE IMPIANTI                    [NAME REDACTED]                       MERISEL AMERICAS INC
VIA SENATORE SIMONETTA, 26/D            [ADDRESS REDACTED]                    DBA COMP24
CAPONAGO, MB 20867                                                            ATTN ACCT MANAGER
ITALY                                                                         1100 NORTHSIDE DR
                                                                              ATLANTA, GA 30318



MERIT MEZZANINE FUND IV LP              MERIT MEZZANINE FUND IV LP            MERITDIRECT LLC
C/O MCGUIRE WOODS LLP                   C/O MERIT CAPITAL PARTNERS            ATTN EXEC VICE PRESIDENT
ATTN CRAIG R CULBERTSON                 ATTN TIMOTHY J MACKENZIE              2 INTERNATIONAL DR
77 W WACKER, STE 4100                   303 W MADISON ST, STE 2100            RYE BROOK, NY 10573
CHICAGO, IL 60601                       CHICAGO, IL 60606



MERITECH INC                            MERITEK ELECTRONICS CORP              MERITOR ELECTRIC VEHICLES LLC
ATTN LABORATORY MNGR                    ATTN REG SALES MGR                    C/O MERITOR INC
642 TAMCO RD                            5160 RIVERGRADE RD                    ATTN SCOTT M CONFER, VP/CHIEF IP
REIDSVILLE, NC 27320                    BALDWIN PARK, CA 91706                COUNSEL
                                                                              2135 W MAPLE RD
                                                                              TROY, MI 48084


[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
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                                                  LYNCH & CO in TXSB on 07/03/25 MERRILL
                                                                                  PageLYNCH
                                                                                         538 of 944 FENNER & SMITH
                                                                                             PIERCE
[ADDRESS REDACTED]                          ATTN DIRECTOR                         INC
                                            WORLD FINANCIAL CENTER, N TOWER       ATTN MANAGING DIRECTOR
                                            NEW YORK CITY, NY 10281-1320          3075B HANSEN WY
                                                                                  PALO ALTO, CA 94304



MERRILL LYNCH, PIERCE, FENNER & SMITH       [NAME REDACTED]                       [NAME REDACTED]
INC                                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]
ATTN KEVIN BRUNNER, MANAGING DIR
ONE BRYANT PK
NEW YORK, NY 10036



[NAME REDACTED]                             [NAME REDACTED]                       MERRIMAC INDUSTRIES INC
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    ATTN VP
                                                                                  41 FAIRFIELD PLACE
                                                                                  WEST CALDWELL, NJ 07006




MERRITT PRECISION TECHNOLOGY                [NAME REDACTED]                       [NAME REDACTED]
1080 CLASSIC RD                             [ADDRESS REDACTED]                    [ADDRESS REDACTED]
APEX, NC 27502-4401




[NAME REDACTED]                             [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                       MERSEN USA BN CORPORATION
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    ATTN: MATTHIEU ELRIZ
                                                                                  900 HARRISON STREET
                                                                                  BAY CITY, MI 48708-8244




MERSEN USA GREENVILLE - MI CORP             MERSEN USA GS CORP                    MERSEN USA ROCHESTER-NY CORP
P.O. BOX 7247-6213                          ATTN: MERSEN GROUP LEGAL VP           ATTN ASST TREASURER
PHILADELPHIA, PA 19170-0001                 900 HARRISON STREET                   1500 JEFFERSON RD
                                            BAY CITY, MI 48708                    ROCHESTER, NY 14623




MERTEK SOLUTIONS INC                        MERZ NORTH AMERICA INC                MES AFTY CORPORATION
ATTN PRESIDENT                              ATTN CHIEF EXECUTIVE OFFICER          ATTN DIRECTOR
3913 HAWKINS AVE                            6501 SIX FORKS RD                     2-35-2 HYOUE
SANFORD, NC 27330                           RALEIGH, NC 27615                     HACHIOJI, TOKYO 192-0918
                                                                                  JAPAN



MESAGO MESSE FRANKFURT                      MESAMETROLOGY LLC                     MESOPHOTONICS LTD
ROTEBUEHLSTRABE 83-85                       87 TRACIS TRAIL                       ATTN CEO
STUTTGART 70178                             LAVONIA, GA 30553-2195                2 VENTURE RD
GERMANY                                                                           CHILDWORTH SCIENCE PARK
                                                                                  SOUTHHAMPTON HAMPSHIRE SO16 7NP
                                                                                  UNITED KINGDOM


MESOSCRIBE TECHNOLOGIES INC                 MESOSYSTEMS TECHNOLOGY INC            MESS & PRUEFSYSTEME GMBH
ATTN CHIEF EXECUTIVE OFFICER                ATTN CHIEF EXECUTIVE OFFICER          ATTN MANAGING DIR
7 FLOWERFIELD, STE 28                       1001 MENAUL BLVD NE, STE A            INDUSTRIESTRASSE 17
ST. JAMES, NY 11780                         ALBUQUERQUE, NM 87107                 ELTMANN 97483
                                                                                  GERMANY
MESSAGELABS INC Case 25-90163       Document  87 Filed in TXSB on 07/03/25 MESSER
                                       [NAME REDACTED]                      PageLLC
                                                                                  539 of 944
ATTN DIRECTOR                           [ADDRESS REDACTED]                    ATTN: TAMMY HOTTE
512 SEVENTH AVE, 6TH FL                                                       200 SOMERSET CORPORATE BLVD SUITE 7
NEW YORK, NY 10018                                                            BRIDGEWATER TOWNSHIP, NJ 08807-2882




[NAME REDACTED]                         MESSRS ERNST & YOUNG                  MESTER LED LTD
[ADDRESS REDACTED]                      22/F, CITIC TWR, 1 TIM MEI AVE        3RD F, SUNSHINE INDUSTRIAL PK
                                        CENTRAL                               SOUTH INDUSTRIAL AREA OF HEZHOU
                                        HONG KONG                             XIXIANG, BAOAN DISTRICT
                                                                              SHENZHEN CHINA



MESURO LTD                              MET LABORATORIES INC                  MET LABORATORIES INC
ATTN CHIEF EXECUTIVE OFFICER            ATTN SALES ENGINEER                   ATTN VP SALES
EASTGATE HOUSE, 8TH FL                  2200 GATEWAY CENTRE BLVD, STE 215     914 W PATAPSCO AVE
35-43 NEWPORT RD                        MORRISVILLE, NC 27560                 BALTIMORE, MA 21230
CARDIFF CF24 0AB UNITED KINGDOM



MET ONE INSTRUMENTS INC                 META PLATFORMS TECHNOLOGIES LLC       META SYSTEM SPA
ATTN CFO                                1601 WILLOW RD                        ATTN CFO
1600 NW WASHINGTON BLVD                 MENLO PARK, CA 94025                  VIA GALIMBERTI 5
GRANTS PASS, OR 97526                                                         REGGIO EMILIA 42124
                                                                              ITALY



METAL ETCH SERVICES INC                 METAL ETCHING TECHNOLOGY ASSOCIATES   METAL FINISHING SUPPLY CO INC
1165 LINDA VISTA DRIVE 106              INC                                   ATTN SALES MGR
SAN MARCOS, CA 92078-3821               ATTN PRESIDENT                        21575 DORAL RD
                                        140 MOUNT HOLLY BYPASS, UNIT 10       P.O. BOX 526
                                        LUMBERTON, NJ 08048                   BROOKFIELD, WI 53008



METAL MATRIX CAST COMPOSITES LLC        METAL PARTS & EQUIPMENT CO INC        METAL PREP
ATTN CEO                                ATTN PRESIDENT                        P.O. BOX 126
101 CLEMATIS AVE                        425 HUEHL RD, BLDG 10                 JAMESTOWN, NC 27282
WALTHAM, MA 02453                       NORTHBROOK, IL 60062




METAL SHOP LLC, THE                     METAL SOLUTIONS INC                   METAL SPINNERS INC
ATTN VP OPERATIONS                      1821 BROAD STREET                     ATTN VP SALES & MKTG
10555 86TH AVE, STE D                   UTICA, NY 13501-1114                  914 WOHLERT ST
PLEASANT PRAIRIE, WI 53158                                                    ANGOLA, IN 46703




METAL TECH CO INC                       METALCRAFT FABRICATING CO INC         METALCRAFTERS INC
ATTN PRESIDENT                          ATTN GEN MGR                          ATTN PRESIDENT
10877 ROCKWALL RD                       1316 OLD OXFORD HWY                   855 NC 111 S
DALLAS, TX 75238                        DURHAM, NC 27704                      GOLDSBORO, NC 27534




METALICOS INDUSTRIALES MEGAN SA DE CV   METALLIFE USA INC                     METALLIX INC
ROTONDA NO 6 COL, VALLE DEL ALAMO       15 URBINO                             ATTN CEO
GUADALAJARA, JAL 44440                  IRVINE, CA 92620-1870                 64C BRIDGE AVE
MEXICO                                                                        REDBANK, NJ 07701




METALWORLD INC                          METAPHASE TECHNOLOGIES INC            [NAME REDACTED]
ATTN PRESIDENT                          200 RITTENHOUSE CIRCLE WEST UNIT 7    [ADDRESS REDACTED]
1920 17TH ST                            BRISTOL, PA 19007-1619
RACINE, WI 53403
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2150 NC HWY 56 E                       13607 S POINT BLVD                     320 RONEY STREET
CREEDMOOR, NC 27522-7840               CHARLOTTE, NC 28273                    DURHAM, NC 27701-2141




METHODE ELECTRONICS INC                METHODS MACHINE TOOLS INC              METIRIONIC GMBH
ATTN DIR OF SALES & MARKETING          65 UNION AVENUE                        ATTN MANAGING DIR
1700 HICKS RD                          SUDBURY, MA 01776-2245                 STREHLENER STRASSE 12 - 14
ROLLING MEADOWS, IL 60008                                                     DRESDEN 01069
                                                                              GERMANY



METRICON CORP                          METRO SERVICES GROUP                   METRO TITLE CO
ATTN PRESIDENT                         413 NW 69 STREET                       ATTN AGENT
12 N MAIN ST, D                        VANCOUVER, WA 98665-8449               726 N BLOUNT ST
PENNINGTON, NJ 08534                                                          RALEIGH, NC 27604




METROLOGY SOLUTION                     METROLOGYTEK INC                       METRON TECHNOLOGY DISTRIBUTION CORP
ATTN VP OF SALES & SVC                 1370 TULLY ROAD SUITE 507              ATTN ACCOUNT MGR
100 POWDERMILL RD, 189                 SAN JOSE, CA 95122-3056                655 RIVERS OAKS PKWY
ACTON, MA 01720                                                               SAN JOSE, CA 95134




METROSPEC TECHNOLOGY LLC               METROSPEC TECHNOLOGY LLC               METTLER CONSULTING
ATTN PRESIDENT                         ATTN PRESIDENT                         ATTN PRESIDENT
1313 5TH ST SE                         2401 PILOT KNOB RD, STE 108            5700 SPUR CIR
MINNEAPOLIS, MN 55414                  MENDOTA HEIGHTS, MN 55120              NORCROSS, GA 30092




METTLER-TOLEDO INTERNATIONAL INC       METTLER-TOLEDO PROCESS ANALYTICS INC   [NAME REDACTED]
DBA METTLER-TOLEDO LLC                 DBA METTLER-TOLEDO INGOLD              [ADDRESS REDACTED]
1900 POLARIS PARKWAY                   23669 NETWORK PLACE
COLUMBUS, OH 43240-2020                CHICAGO, IL 60673-1236




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        METZ-JADE ASSOCIATES INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     ATTN PRESIDENT
                                                                              PAOLI EXECUTIVE GREEN II
                                                                              43 LEOPARD RD, STE 200
                                                                              PAOLI, PA 19301



[NAME REDACTED]                        MEUSONIC SAS                           MEV ELEKTRONIK SERVICE GMBH
[ADDRESS REDACTED]                     ATTN DIR RD&E                          NORDEL 5A
                                       130 BLVD DE CAMELINAT                  HILTER D-49176
                                       MALAKOFF 92240                         GERMANY
                                       FRANCE



MEVERDEN ENVIRONMENTAL INC             [NAME REDACTED]                        [NAME REDACTED]
ATTN PRINCIPAL                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]
5159 N BAY RIDGE AV
MILWAUKEE, WI 53217
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 MFREQ
                                      [NAME REDACTED]                      PageLLC541 of 944
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 ATTN OWNER
                                                                          10325 CANYON LAKE VW
                                                                          MCKINNEY, TX 75070




MG DESIGN ASSOCIATES CORP              MGI ELECTRONICS INC                MGM RESORTS
ATTN CREATIVE DIR                      ATTN CEO                           840 GRIER DR
8778 100TH ST                          1203 W GENEVA DR                   LAS VEGAS, NV 89109
PLEASANT PRAIRIE, WI 53158             TEMPE, AZ 85282




MGN INTERNATIONAL INC                  MGP ELECTRONICS                    MH GOPOWER CO LTD
41984 RIO NEDO SUITE 200               ATTN PRES                          ATTN VICE PRESIDENT, BUSINESS DEV
TEMECULA, CA 92590-3714                22311 NONA ST                      NO 6-2, LUKE 3RD RD
                                       DEARBORN, MI 48124                 LUZHU DIST
                                                                          KAOHSIUNG 821 TAIWAN



MHA LIGHTING LTD                       MHA WORKS                          MI SERVICES
ATTN MARKETING MGR                     501 WASHINGTON STREET, SUITE G     ATTN CEO
STATION HOUSE, STATION APPROACH        DURHAM, NC 27701                   900 W VALLEY RD
ATHERTON M46 9LJ                                                          WAYNE, PA 19087
UNITED KINGDOM



MIAMI UNIVERSITY                       [NAME REDACTED]                    MICA CONSTRUCTION CONSULTING LLC
ATTN DIRECTOR TTBP                     [ADDRESS REDACTED]                 106 CREEKHILL DRIVE
501 E HIGH ST                                                             HOLLY SPRINGS, NC 27540-7497
OXFORD, OH 45056




MICA CONSTRUCTION                      MICHAEL & SON SERVICES LLC         [NAME REDACTED]
106 CREEKHILL DRIVE                    ATTN ELECTRICAL MANAGER            [ADDRESS REDACTED]
HOLLY SPRINGS, NC 27540-7497           4001 ATLANTIC AVE
                                       RALEIGH, NC 27604




MICHAEL BEST & FRIEDRICH LLP           [NAME REDACTED]                    MICHAEL HINING ARCHITECTS
TWO RIVERWOOD PL                       [ADDRESS REDACTED]                 C/O MHAWORKS
N19 W24133 RIVERWOOD DR, STE 200                                          800 TAYLOR ST, STE 9A-154
WAUKESHA, WI 53188-1174                                                   DURHAM, NC 27701




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




MICHAELS SIGNS INC                     [NAME REDACTED]                    [NAME REDACTED]
ATTN PRESIDENT                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]
3914 S MEMORIAL DR
RACINE, WI 53403
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  542 of 944
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[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




MICHIGAN CORPS., SECURITIES &          MICHIGAN DEPARTMENT OF LICENSING     MICHIGAN DEPARTMENT OF TREASURY
COMMECTIAL LICENSING                   AND REGULATORY AFFAIRS               UNCLAIMED PROPERTY DIVISION
P.O. BOX 30018                         P.O. BOX 30670                       7285 PARSONS DR
LANSING, MI 48909                      LANSING, MI 48909                    DIMONDALE, MI 48821




MICHIGAN DEPARTMENT OF TREASURY        MICHIGAN DEPT OF TREASURY            MICHIGAN DEPT OF TREASURY
UNCLAIMED PROPERTY DIVISION            ATTN BUREAU DIR                      DEPT 77703
P.O. BOX 30756                         7285 PARSONS DR, 2ND FL              DETROIT, MI 48277-0001
LANSING, MI 48909                      DIAMONDALE, MI 48821




MICHIGAN DEPT OF                       MICHIGAN LIGHTING SYSTEMS EAST LLC   MICHIGAN METROLOGY LLC
ENVIRONMENTAL QUALITY                  ATTN OWNER                           ATTN MANAGING MEMBER
525 W ALLEGAN ST                       1389 WHEATON AVE, STE 500            17199 N LAUREL PARK DR, 51
P.O. BOX 30473                         TROY, MI 48083                       LIVONIA, MI 48152
LANSING, MI 48909-7973



MICHIGAN OFFICE OF THE ATTORNEY        MICHIGAN OFFICE OF THE ATTORNEY      MICHIGAN STATE DISBURSEMENT UNIT
GENERAL                                GENERAL                              RE: 730027695 (ORIGINAL)
CONSUMER PROTECTION DIVISION           CONSUMER PROTECTION DIVISION         P.O. BOX 30350
G MENNEN WILLIAMS BLDG                 P.O. BOX 30213                       LANSING, MI 48909-7850
LANSING, MI 48909                      LANSING, MI 48909



MICHIGAN UNEMPLOYMENT INSURANCE        MICHIGAN WORKFORCE DEVELOPMENT       MICRALYNE INC
AGENCY                                 AGENCY                               ATTN VP SALES & MARKETING
P.O. BOX 169                           P.O. BOX 30805                       1911-94 ST
GRAND RAPIDS, MI 49501-0169            LANSING, MI 48909                    EDMONTON, AB T6N 1E6
                                                                            CANADA



MICREL INC                             MICRO CHIP SCALE PACKAGING INC       MICRO COATEC CO LTD
ATTN VP & GENERAL COUNSEL              ATTN PRESIDENT                       ATTN CEO
2180 FORTUNE DR                        3236 SCOTT BLVD                      2-19 SEIDO-CHO
SAN JOSE, CA 95131                     SANTA CLARA, CA 95054                ASHIYA-SHI, HYOGO 659-0064
                                                                            JAPAN



MICRO COMMERCIAL COMPONENTS CORP       MICRO COMPONENTS LTD                 MICRO CONTROL COMPANY
20736 MARILLA ST                       ATTN CHIEF EXEC OFFICER              ATTN NATIONAL SALES MGR
CHATSWORTH, CA 91311                   P.O. BOX 470                         7956 MAIN ST NE
                                       470 RAMAT-GABRIEL                    MINNEAPOLIS, MN 55432
                                       MIGDAL HAEMEK 23000 ISRAEL



MICRO DESIGN SPECIALISTS               MICRO ELECTRONIC COMPONENTS          MICRO EPSILON AMERICA LP
DBA TECNOVA                            ATTN PRESIDENT                       8120 BROWNLEIGH DR
ATTN SR TECH ENGINEER                  621 NW 53RD ST, 240                  RALEIGH, NC 27617-7410
2383 N DELANY RD                       BOCA RATON, FL 33487
WAUKEGAN, IL 60087



MICRO FASTENERS                        MICRO INDUSTRIES INC                 MICRO MECH INC
ATTN PRESIDENT                         ATTN VICE PRESIDENT                  33 TURNPIKE RD
24 COKESBURY, STE 2                    200 W 2ND ST                         IPSWICH, MA 01938-1048
LEBANON, NJ 08833                      ROCK FALLS, IL 61071
                 Case
MICRO MO ELECTRONICS INC25-90163     Document  87 Filed
                                        MICRO MOBIO CORP in TXSB on 07/03/25 MICRO
                                                                               Page  543 ofSYSTEM
                                                                                   MODULAR  944 (M) SDN BHD
ATTN SALES DIR                           ATTN SR DIR, TECHNOLOGY & MARKETING        ATTN COO
14881 EVERGREEN AVE                      2275 E BAYSHORE RD, STE 101                84A LINTANG BAYAN LEPAS 9
CLEARWATER, FL 33762                     PALO ALTO, CA 94303                        BAYAN LEPAS IND PARK, PHASE 4
                                                                                    PENANG 11900 MALAYSIA



MICRO MOTION INC                         MICRO PHOTONICS INC                        MICRO PHOTONICS INC
ATTN CONTRACTS ADMIN                     ATTN PRESIDENT                             ATTN PRODUCT MANAGER
7070 WINCHESTER CIR                      4972 MEDICAL CENTER CIR                    21 MORGAN, STE 200
BOULDER, CO 80301                        ALLENTOWN, PA 18106                        IRVINE, CA 92618




MICRO SURFACE CORPORATION                MICRO SYSTEMS INC                          MICRO TECH INSTRUMENTS INC
465 EAST BRISCOE DRIVE                   ATTN CONTRACTS MGR                         ATTN OWNER
MORRIS, IL 60450-6802                    35 HILL AVE                                2910 N POWERS BLVD
                                         FORT WALTON BEACH, FL 32548                COLORADO SPRINGS, CO 80922




MICROASSEMBLY TECHNOLOGIES LTD           MICROCHEM CORP                             MICRO-CHEM INC
ATTN DIRECTOR                            ATTN EXEC VP, SALES & MKTG                 ATTN SALES MGR
6 HACARMEL ST                            90 OAK ST                                  2986 OAKMEAD VILLAGE CT
YOKNEAM ILLIT 20692                      NEWTON, MA 02464                           SANTA CLARA, CA 95051
ISRAEL



MICROCHIP TECHNOLOGY (BARBADOS) II INC   MICROCHIP TECHNOLOGY INC                   MICROCHIP TECHNOLOGY INC
2355 W CHANDLER BLVD                     2355 W CHANDLER BLVD                       ATTN JANOHN BOWEN
CHANDLER, AZ 85224-6199                  CHANDLER, AZ 85224-6199                    6470 E JOHNS CROSSING, STE 190
                                                                                    DULUTH, GA 30097




MICRO-COAX INC                           MICROCOMPLETE INC                          MICROCONSULT ENGINEERING GMBH
ATTN PRESIDENT                                                                      ATTN MANAGING DIR
206 JONES BLVD                                                                      HOLUNDERWEG 8
POTTSTOWN, PA 19464-3465                                                            BERNSTADT 89192
                                                                                    GERMANY



MICROCOSM SYSTEM CORPORATION             MICROCRAFTX LLC                            MICRODYNE PLASTICS INC
ATTN PRESIDENT                           ATTN CONSULTANT                            ATTN PRESIDENT
4F, 212 RUIGUANG RD                      1613 SAGEWOOD DR                           4651 E AIRPORT DR
NEIHU DISTRICT                           FORT COLLINS, CO 80525                     ONTARIO, CA 91761
TAIPEI CITY 114 TAIWAN



MICRO-ELECTRONIC COMPONENTS CORP         MICROELECTRONICS TECHNOLO                  MICROELIT SPA
ATTN PRESIDENT                           NO.1 INNOVATION RD. II, HSIN-CHU SCIENCE   ATTN PRES
621 NW 53RD ST, 240                      PARK,                                      VIA SARDEGNA 1
BOCA RATON, FL 33487                     HSINCHU 300                                MILANO 20146
                                         TAIWAN                                     ITALY



MICROEX ENGINEERING                      MICROFAB INC                               MICROFIRE TECHNOLOGY CO LTD
ATTN PRESIDENT                           ATTN VP                                    ATTN CHIEF ENGINEER
990 N HILL ST, 205                       180 ZACHARY RD                             1ST FLOOR, R&D BLDG
LOS ANGELES, CA 90012                    MANCHESTER, NH 03109                       HANGTIAN WEIDIANJI DASHA
                                                                                    SHENZHEN 518057 CHINA



MICROFX SA                               MICROKIM LTD                               MICROLIGHTS LTD
ATTN MANAGING PARTNER                    3 YOZMA ST                                 EUROPARK, FRANKLAND RD, BLAGROVE
EX COMBATIENTE JUAN SANCHEZ 3048         TIRAT CARMEL                               SWINDON SN5 8YG
SAN FERNANDO, BA B1646                   ISRAEL                                     UNITED KINGDOM
ARGENTINA
MICROLOOPS ZHUHAI  Case
                    CORP 25-90163     Document  87 INC
                                         MICRO-MECH Filed in TXSB on 07/03/25 MICRO-MECHANICS
                                                                                Page 544 of 944
                                                                                              PTE. LTD.
ATTN GEN MGR                              ATTN PRESIDENT                        NO 31 KAKI BIJKIT PLACE
BLDG 4, HENGLI INDUSTRIAL AREA            33 NEWBURYPORT TURNPIKE               EUNOS TECHPARK 416209
NO 5 AREA OF ZHUHAI FREE TRADE ZONE       IPSWICH, MA 01938                     SINGAPORE
GUANGDONG CHINA



MICRO-MECHANICS TECHNOLOGY SDN BHD        MICRO-MECHANICS, INC.                 MICROMERITICS ANALYTICAL SERVICE
NO. 31 KAKI BUKIT PLACE                   465 WOODVIEW DRIVE                    ONE MICROMERITICS DR
EUNOS TECHPARK                            MORGAN HILL, CA 95037-2800            NORCROSS, GA 30093
SINGAPORE 416209
SINGAPORE



MICROMERITICS INSTRUMENT                  MICROMETALS INC                       MICROMODJE
CORPORATION                               ATTN DIR OF SALES & MARKETING         13, PARSTU ST, TAHERKHANI ST
4356 COMMUNICATIONS DRIVE                 5615 E LA PALMA AVE                   ANKARA
NORCROSS, GA 30093-2901                   ANAHEIM, CA 92807                     TURKEY




MICRON METAL FINISHING LLC                MICRON TECHNOLOGY INC                 MICRONETICS INC
ATTN OWNER                                ATTN GEN COUNSEL                      ATTN CEO
8585 S 77TH AVE                           8000 S FEDERAL WAY                    26 HAMPSHIRE DR
BRIDGEVIEW, IL 60455                      BOISE, ID 83716-9632                  HUDSON, NH 03051




MICROPAC INDUSTRIES INC                   MICRO-POINT PRO LTD.                  MICROPROCESSADOR SISTEMAS DIGITAIS
ATTN PRES & CEO                           6 HAYEZIRA                            SA
905 E WALNUT ST                           YOKNEAM ELITE 2069200                 ATTN MANAGING DIR
GARLAND, TX 75040                         ISRAEL                                RUA DE CIDRES, 1444
                                                                                PERAFITA, MATOSINHOS 4455-442
                                                                                PORTUGAL


MICRO-SCAN SERVICES INC                   MICROSCOPE SOLUTIONS INC              MICROSEMI CORP
ATTN PRESIDENT                            644 HOLLY SPRINGS ROAD, SUITE 415     ATTN CURTISS OLSEN
P.O. BOX 9167                             HOLLY SPRINGS, NC 27540-9030          8700 EAST THOMAS RD
NISKAYUNA, NY 12309                                                             SCOTTSDALE, AZ 85251




MICROSEMI CORP                            MICROSEMI POWER MODULE PRODUCTS       MICROSISTEMI SRL
ATTN VP LEGAL                             SAS                                   ATTN OWNER
3 SOUTHSIDE RD                            ATTN SR VICE PRESIDENT                VIA DEL SERSIMONE 29
DANVERS, MA 01923                         26 RUE DE CAMPILLEAU                  TERNI 05100
                                          BRUGES F-33520                        ITALY
                                          FRANCE


MICROSOFT CORPORATION                     MICROSOFT LICENSING GP                MICROSS ADVANCED INTERCONNECT
ATTN: SCOTT DOUGLASS                      DEPT 551, VOLUME LICENSING            TECHNOLOGY LLC
ONE MICROSOFT WAY                         6100 NEIL RD, STE 210                 3021 E. CORNWALLIS ROAD
REDMOND, WA 98052-6399                    RENO, NV 89511-1137                   RESEARCH TRIANGLE PARK, NC 27709-0146




MICROSTOCK INC                            MICRO-STRATEGIES INC                  MICROSTRATEGY INC
ATTN VP                                   ATTN VP                               ATTN VP, FINANCIAL PLANNING & ANALYSIS
1901 W POINT PK                           104 BROADWAY                          1850 TOWERS CRESCENT PLZ
WEST POINT, PA 19486                      DENVILLE, NJ 07834                    TAYSONS CORNER, VA 22182




MICROTECH LABORATORIES LLC                MICROTEK INC                          MICROTOOL TECHNOLOGY
ATTN LAB MANAGER                          ATTN PRESIDENT                        824 SOUTH TEJON STREET
538 HAGGARD ST, STE 402                   10865 RANCHO BERNARDO RD, STE 101     COLORADO SPRINGS, CO 80903-4149
PLANO, TX 75074                           SAN DIEGO, CA 92127
MICROTRAC, INC    Case 25-90163   Document 87 Filed
                                     MICROTRONIC INC in TXSB on 07/03/25 MICROVISION
                                                                           Page 545INC
                                                                                     of 944
3230 N SUSQUEHANNA TRAIL              ATTN PRESIDENT                         ATTN GARTH ELIASON
YORK, PA 17406-9716                   4 CHARLESGATE EAST, STE 801            19910 N CREEK PKWY S
                                      BOSTON, MA 02215                       POB 3008
                                                                             BOTHELL, WA 98011



MICROVISION INC                       MICROWARE LTD                          MICROWAVE AMPLIFIERS LTD
ATTN VICE PRESIDENT                   ATTN ACCT EXEC                         ATTN MD
2203 AIRPORT WAY S, STE 100           1/F, CENTURY CTR, 44-46 HUNG TO RD     4 HIGH ST, NAILSEA
SEATTLE, WA 98134                     KWUN TONG                              BRISTOL BS48 1BT
                                      KOWLOON HONG KONG                      UNITED KINGDOM



MICROWAVE BONDING INC                 MICROWAVE BONDING INSTRUMENTS          MICROWAVE CHARACTERIZATION CENTER
ATTN PRESIDENT                        ATTN DANIELWANG, NASSER BUDRAA, JOHN   MC2
2400 NORTH LINCOLN AVE                MAI                                    DBA MC2 TECHNOLOGIES
ALTADENA, CA 91001                    2400 N LINCON AVE                      ATTN MR NICOLAS VELIAS, CEO
                                      ALTADENA, CA 91001                     5 RUE DU COLIBRI
                                                                             VILLENEUVE D ASCQ CEDEX 59650 FRANCE


MICROWAVE CONCEPTS                    MICROWAVE DOMAIN AB                    MICROWAVE ENGINEERING LAB TU BERLIN
ATTN VP & GM                          RODSYSSLEVAGEN 26                      EINSTEINUFER 25
2 HENDERSON DR                        AKERSBERGA 18435                       BERLIN 10587
W CALDWELL, NJ 07006                  SWEDEN                                 GERMANY




MICROWAVE INNOVATIONS                 MICROWAVE LAB POLITECNICO DI MILANO    MICROWAVE PACKAGING TECHNOLOGY INC
3069 EDISON FURLONG RD                ATTN RESPONSIBLE OF LABORATORY         ATTN VP OF BUSINESS DEV
FURLONG, PA 18925                     VIA PONZIO 34/5                        2601 SATURN ST, STE 100
                                      MILANO 20133                           BREA, CA 92821
                                      ITALY



MICROWAVE SOLUTIONS LTD               MICROWAVE SYSTEMS JOINT STOCK CO       MICROWAVE TECHNOLOGY INC
ATTN DIRECTOR                         ATTN R&D DIR                           ATTN CTO
HAMILTON HOUSE, 111 MARLOWES          OFFICE 2, BLDG 3, 20                   4268 SOLAR WAY
HEMEL HEMPSTEAD                       NOVAJA BASMANNAJA ST                   FREMONT, CA 94538
HERTS HP1 1BB UNITED KINGDOM          MOSCOW RUSSIA



MID ATLANTIC CRANE                    MID ATLANTIC ENERGY CONCEPTS INC       MID ATLANTIC MICROWAVE SALES INC
ATTN SERVICE MGR                      DBA ATLANTIC ENERGY CONCEPTS           ATTN PRESIDENT
3312 NORTHSIDE DR                     129 EXCELSIOR DR, P.O. BOX 14745       3537 SPENCERVILLE RD, STE 2
RALEIGH, NC 27615                     READING, PA 19612                      BURTONSVILLE, MD 20866




MID ATLANTIC RF SYSTEMS INC           MID STATES ALUMINUM CORP               MIDAMERICAN ENERGY SERVICES LLC
ATTN PRES                             ATTN DIR OF SALES & MKTG               P.O. BOX 657
105 E JARRETTSVILLE                   132 TROWBRIDGE DR                      DES MOINES, IA 50306-0657
FOREST HILL, MD 21050                 FOND DU LAC, WI 54936




MID-ATLANTIC CIRCUITS                 MID-ATLANTIC ENERGY CONCEPTS INC       MIDDLE DISTRICT OF ALABAMA
ATTN SECRETARY/TREASURER              DBA ATLANTIC ENERGY CONCEPTS           KEVIN P DAVIDSON
1001 PULINSKI RD                      ATTN VP                                131 CLAYTON ST
IVYLAND, PA 18974                     129 EXCELSIOR DR                       MONTGOMERY, AL 36104
                                      READING, PA 19612



MIDDLE DISTRICT OF FLORIDA            MIDDLE DISTRICT OF FLORIDA             MIDDLE DISTRICT OF FLORIDA
GREGORY W KEHOE                       GREGORY W KEHOE                        GREGORY W KEHOE
US ATTORNEYS OFFICE                   US ATTORNEYS OFFICE                    US ATTORNEYS OFFICE
2110 FIRST ST, STE 3-137              300 N HOGAN ST, STE 700                35 SE 1ST AVE, STE 300
FT. MYERS, FL 33901                   JACKSONVILLE, FL 32202                 OCALA, FL 34471
MIDDLE DISTRICT OFCase    25-90163
                    FLORIDA          Document  87 Filed
                                        MIDDLE DISTRICT    in TXSB on 07/03/25 MIDDLE
                                                        OF FLORIDA               PageDISTRICT
                                                                                       546 ofOF944
                                                                                                GEORGIA
GREGORY W KEHOE                          GREGORY W KEHOE                       C SHANELLE BOOKER
US ATTORNEYS OFFICE                      US ATTORNEYS OFFICE                   CB KING UNITED STATES COURTHOUSE
400 N TAMPA ST, STE 3200                 400 W WASHINGTON ST, STE 3100         201 W BROAD AVE, 2ND FL
TAMPA, FL 33602                          ORLANDO, FL 32801                     ALBANY, GA 31701



MIDDLE DISTRICT OF GEORGIA               MIDDLE DISTRICT OF GEORGIA            MIDDLE DISTRICT OF LOUISIANA
C SHANELLE BOOKER                        C SHANELLE BOOKER                     APRIL M LEON
P.O. BOX 1702                            P.O. BOX 2568                         RUSSEL B LONG FEDERAL COURTHOUSE,
MACON, GA 31202-1702                     COLUMBUS, GA 31902-2568               US ATTORNEYS OFFICE
                                                                               777 FLORIDA ST, STE 208
                                                                               BATON ROUGE, LA 70801


MIDDLE DISTRICT OF NORTH CAROLINA        MIDDLE DISTRICT OF NORTH CAROLINA     MIDDLE DISTRICT OF PENNSYLVANIA
RANDALL S GALYON                         RANDALL S GALYON                      JOHN C GURGANUS
101 S EDGEWORTH ST, 4TH FL               251 N MAIN ST, STE 726                HARRISBURG FEDERAL BLDG AND
GREENSBORO, NC 27401                     WINSTON-SALEM, NC 27101               COURTHOUSE, 228 WALNUT ST, STE 220
                                                                               P.O. BOX 11754
                                                                               HARRISBURG, PA 17108-1754


MIDDLE DISTRICT OF PENNSYLVANIA          MIDDLE DISTRICT OF PENNSYLVANIA       MIDDLE DISTRICT OF TENNESSEE
JOHN C GURGANUS                          JOHN C GURGANUS                       ROBERT E MCGUIRE
HERMAN T SCHNEEBELI FEDERAL BLDG         WILLIAM J NEALON FED. BLDG &          UNITED STATES ATTORNEYS OFFICE
240 W THIRD ST                           COURTHOUSE                            719 CHURCH ST, STE 3300
WILLIAMSPORT, PA 17701-6465              235 N WASHINGTON AVE, STE 311         NASHVILLE, TN 37203
                                         SCRANTON, PA 18503


MIDDLE EAST TECHNICAL UNIVERSITY         [NAME REDACTED]                       MIDLAND CONTAINER CORP
INONU BULVARI                            [ADDRESS REDACTED]                    ATTN CEO
ANKARA 06531                                                                   3545 NICHOLSON RD
TURKEY                                                                         FRANKSVILLE, WI 53126




MIDLAND MATERIALS RESEARCH INC           MIDLAND MATERIALS RESEARCH INC        MIDLAND RADIO CORP
ATTN PRESIDENT                           ATTN PRESIDENT                        ATTN VP FINANCE
2927 VENTURE DR                          P.O. BOX 186                          5900 PARRETTA DR
MIDLAND, MI 48640                        MIDLAND, MI 48640                     KANSAS CITY, MO 64120




MIDMOON SHENZHEN SEMICONDUCTOR           MID-SOUTH ELECTRIC CONTRACTORS INC    MID-STATES ALUMINUM CORP
LIGHTING CO LTD                          3869 NEW GETWELL RD                   ATTN VP SALES & MKTG
ATTN PETER WANG                          MEMPHIS, TN 38118-6016                132 TROWBRIDGE DR
4-5/F, BLDG D, HONGFA                                                          FOND DU LAC, WI 54936
HI-TECH PARK ZONE B
SHIYAN, SHENZHEN 518108 CHINA


MIDSTREAM LIGHTING                       MIDWAY INDUSTRIAL SUPPLY, INC         MIDWEST COMPOSITE TECHNOLOGIES INC
ATTN DIRECTOR                            51 WURZ AVE                           1050 WALNUT RIDGE DR
5 HOBART PLACE, BELGRAVIA                UTICA, NY 13502                       HARTLAND, WI 53029
LONDON SW1W 0HU
UNITED KINGDOM



MIDWEST ELECTRIC LLC                     MIDWEST ELECTRONIC COMPONENTS INC     MIDWEST ENGINEERED PROD CORP
ATTN PROJECT MANAGER                     ATTN MANAGER                          ATTN PRES
N6997 OLD 26 RD                          0N638 DELANO ST                       9900 WESTPOINT DR,STE 138
WATERTOWN, WI 53094                      WHEATON, IL 60187                     INDIANAPOLIS, IN 46256




MIDWEST ENGINEERED SYSTEMS INC           MID-WEST FEEDER INC                   MIDWEST RESEARCH CORP
ATTN VP SALES                            ATTN PRESIDENT                        ATTN PRESIDENT
W238N, 1800 ROCKWOOD DR                  601 E PLEASANT ST                     108 W PALM DR, STE 304D
WAUKESHA, WI 53188                       BELVIDERE, IL 61008                   FAIRFIELD, IA 52556
MIDWEST SOFTWARECase    25-90163
                   SPECIALISTS       Document 87
                                        MIDWEST    Filed inINC
                                                SPECIALTIES  TXSB on 07/03/25 MIDWEST
                                                                                Page UTILITY
                                                                                      547 ofSALES
                                                                                             944 LLC
ATTN PRESIDENT                           DBA FLEX ARM                         ATTN BOB SLAUGHTER
2853 N WOLCOTT, STE B                    ATTN SALES                           1268 WASHBOARD RD
CHICAGO, IL 60657                        851 INDUSTRIAL DR                    BEDFORD, IN 47421
                                         WAPAKONETA, OH 45895



MIDWEST UTILITY SALES LLC                [NAME REDACTED]                      [NAME REDACTED]
ATTN BOB SLAUGHTER                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
P.O. BOX 1390
BLOOMINGTON, IN 47402




MIINC L.P.                               MIKE MOORE SALES & CONSULTING LLC    MIKE OTTELIEN DECORATING &
1960 W. NORTHWEST HWY.                   ATTN SALES REP                       REMEDIATION LLC
DALLAS, TX 75220-2314                    255 POST OFFICE DR, STE D            ATTN PRESIDENT
                                         INDIAN TRAIL, NC 28079               2341 THOR AVE
                                                                              RACINE, WI 53405



MIKES MICROWAVE ELECTRONIC SYSTEMS       [NAME REDACTED]                      MIKOM GMBH
INC                                      [ADDRESS REDACTED]                   ATTN GENERAL MGR
ATTN DESIGN ENGINEER                                                          INDUSTRIERING 10
CANKIRI YOLU 5KM                                                              BUCHDORF 86675
ANKARA 06750                                                                  GERMANY
TURKEY


[NAME REDACTED]                          MIL LIGHTING CO LTD                  MILANES, EDDY JUAN
[ADDRESS REDACTED]                       ROOM H, 8/F, WINNER BUILDING         4243 ROXBURY ST
                                         37 DAGUILAR STREET                   SIM VALLEY, CA 93063
                                         CENTRAL
                                         HONG KONG



[NAME REDACTED]                          MILARA INC                           MILBERG WEISS LLP
[ADDRESS REDACTED]                       ATTN: RAYCHO SPILKOV                 ONE CALIFORNIA PLAZA
                                         49 MAPLE STREET                      300 S GRAND AVE, STE 3900
                                         MILFORD, MA 01757-3650               LOS ANGELES, CA 90071




[NAME REDACTED]                          [NAME REDACTED]                      MILHOLLAND & ASSOCIATES LLC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   ATTN MGR
                                                                              3208 MILLS LAKE WYND
                                                                              HOLLY SPRINGS, NC 27540




MILITARY MISSIONS IN ACTION              MILLARD REFRIGERATED SERVICES INC    [NAME REDACTED]
411-B NORTH JUDD PARKWAY                 ATTN VP PURCHASING                   [ADDRESS REDACTED]
FUQUAY VARINA, NC 27526-2379             13030 PIERCE
                                         OMAHA, NE 68144




MILLENIUM PRECISION LLC                  MILLENNIUM MANAGEMENT LLC / NY       MILLENNIUM SPACE SYSTEMS INC
ATTN VP                                  399 PARK AVE                         ATTN GENERAL COUNSEL
1200 WOODRUFF RD                         NEW YORK, NY 10022                   2265 E EL SEGUNDO BLVD
GREENVILLE, SC 29607                                                          EL SEGUNDO, CA 90245




MILLER CREATIVE LLC                      MILLER ELECTRIC CO                   MILLER ELECTRIC MFG CO
ATTN PARTNER/CREATIVE DIR                ATTN SERVICE MGR                     ATTN DIRECTOR CORP ENG
704 CANDLEWOOD COMMONS                   2251 ROSSELLE ST                     1635 W SPENCER ST
HOWELL, NJ 07731                         JACKSONVILLE, FL 32204               APPLETON, WI 54912
                 Case
MILLER ENVIRONMENTAL     25-90163
                      GROUP         Document   87 FiledSUPPLY
                                       MILLER INDUSTRIAL in TXSB on 07/03/25 MILLER
                                                                               PagePLATING
                                                                                     548 of 944
538 EDWARDS AVENUE                      3104 GLEN ROYAL ROAD                 ATTN EXEC VP
CALVERTON, NY 11933-1636                RALEIGH, NC 27617-7402               3200 N 6TH AVE
                                                                             EVANSVILLE, IN 47710




MILLER SAFETY CONSULTANTS LTD           [NAME REDACTED]                      [NAME REDACTED]
ATTN OWNER                              [ADDRESS REDACTED]                   [ADDRESS REDACTED]
10614 PINE VW
MANASSAS, VA 20111




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      MILLER, ERIC H
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   5520 HUNTING COUNTRY RD
                                                                             TRYON, NC 28782




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      MILLER, NICOLE
[ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  549 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                     MILLER-NELSON ANALYTICAL LLC            MILLICARE COMMERICAL CARPET CARE
[ADDRESS REDACTED]                  ATTN MANAGING MEMBER                    6700 FORUM DR, STE 150
                                    1028 W NORTH BLVD, STE B                ORLANDO, FL 32821
                                    LEESBURG, FL 34748




[NAME REDACTED]                     [NAME REDACTED]                         MILLIPORE CORP
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                      C/O MERCK & CO
                                                                            126 E LINCOLN AVE
                                                                            P.O. BOX 2000
                                                                            RAHWAY, NJ 07065



[NAME REDACTED]                     MILLS OAKLEY LAWYERS PTY LTD            MILLS OAKLEY LAWYERS PTY LTD
[ADDRESS REDACTED]                  LVL 2, 217 GEORGE ST                    LVL 34, 60 MARGARET ST
                                    BRISBANE, QLD 4000                      SYDNEY, NSW 2000
                                    AUSTRALIA                               AUSTRALIA




MILLS OAKLEY LAWYERS PTY LTD        MILLS OAKLEY LAWYERS PTY LTD            MILLS OAKLEY LAWYERS PTY LTD
LVL 6, 530 COLLINS ST               P.O. BOX 12608                          P.O. BOX 453
MELBOURNE, VIC 3000                 GEORGE ST                               COLLINS ST WEST
AUSTRALIA                           BRISBANE, QLD 4003                      MELBOURNE, VIC 8007
                                    AUSTRALIA                               AUSTRALIA



MILLS OAKLEY LAWYERS PTY LTD        [NAME REDACTED]                         [NAME REDACTED]
P.O. BOX H316                       [ADDRESS REDACTED]                      [ADDRESS REDACTED]
AUSTRALIA SQ, NSW 1215
AUSTRALIA




[NAME REDACTED]                     [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                      [ADDRESS REDACTED]




MILLWORK SHOP INC, THE              MILMEGA LTD                             [NAME REDACTED]
ATTN OWNER                          ATTN FINANCE DIR                        [ADDRESS REDACTED]
6801 GUESS RD                       RYDE BUSINESS PARK
ROUGEMONT, NC 27572                 NICHOLSON RD, RYDE
                                    ISLE OF WIGHT PO33 1BQ UNITED KINGDOM
[NAME REDACTED] Case 25-90163         Document
                                         MILPLEX87  Filed
                                                CIRCUIT    in TXSB
                                                        (CANADA) INC on 07/03/25 [NAME
                                                                                   Page  550 of 944
                                                                                       REDACTED]
[ADDRESS REDACTED]                        ATTN DIR OF SALES & MKTG                    [ADDRESS REDACTED]
                                          70 MAYBROOK DR
                                          SCARBOROUGH, ON M1V 4B6
                                          CANADA



MILWAUKEE ELECTRIC TOOL CORP              MILWAUKEE PLATING CO                        MILWAUKEE WHOLESALE LLC
ATTN SVP - CFO                            ATTN PRESIDENT                              ATTN MEMBER
13135 W LISBON RD                         1434 N 4TH ST                               400 W MARQUETTE AVE
BROOKFIELD, WI 53005                      MILWAUKEE, WI 53212                         OAK CREEK, WI 53154




MILWAUKEE WHOLESALE LLC                   MILWAUKEE WHOLESALE LLC                     MIMIX BROADBAND INC
C/O CAPITOL CITY TECHLAW                  C/O VBS                                     ATTN CHIEF TECHNOLOGY OFFICER
ATTN JASBIR SINGH                         ATTN WAJAHAT LAIQ                           10795 ROCKLEY RD
333 MAPLE AVE E, 900                      655 DEERFIELD RD                            HOUSTON, TX 77099
VIENNA, VA 22180                          DEERFIELD, IL 60015



MIMOS SEMICONDUCTOR (M) SDN BHD           MIMOSA NETWORKS INC                         MIMOSA SYSTEMS INC
TECHNOLOGY PARK MALAYSIA                  ATTN GENERAL COUNSEL                        ATTN CONTRACTS
KUALA LUMPUR 57000                        300 ORCHARD CITY DR, STE 100                3200 CORONADO DR
MALAYSIA                                  CAMPBELL, CA 95008                          SANTA CLARA, CA 95054




[NAME REDACTED]                           MIN HAN                                     MINARIK CORPORATION
[ADDRESS REDACTED]                        202-1605, NEW SEOUL,                        905 E THOMPSON AVE
                                          26-1 JAKJEON-DONG                           GLENDALE, CA 91201
                                          GYEYANG-GU, INCHEON
                                          SOUTH KOREA



[NAME REDACTED]                           MIND GYM (USA) INC                          MIND WAVE RESEARCH INC
[ADDRESS REDACTED]                        ATTN FINANCE MGR                            ATTN PRESIDENT/CEO
                                          9 E 37TH ST                                 511 W 7TH ST
                                          NEW YORK, NY 10016                          AUSTIN, TX 78701




MINDCURRENTS LLC                          [NAME REDACTED]                             MINDREADY SOLUTIONS (USA) INC
ATTN PRESIDENT                            [ADDRESS REDACTED]                          ATTN TEST ENGINEER
8030 TAHOE PK CIR                                                                     2375 W 8TH ST
AUSTIN, TX 78726                                                                      LOVELAND, CO 80537




MINEBEA CO LTD                            [NAME REDACTED]                             MING HSIN OPTO CORP
ATTN HEAD OF OPTO DVPT DIV                [ADDRESS REDACTED]                          ATTN MR JACKY BAI
743-1 ASANA                                                                           5F, NO 653, BANNAN RD
FUKUROI-SHI, SHIZUOKA 437-1193                                                        ZHONGHE CITY, TAIPEI 235
JAPAN                                                                                 TAIWAN



MING LUNG ENERGY-SAVING TECH CO LTD       MING TAK ELECTRICALNWIRING CO LTD           [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER              ATTN SALES MGR                              [ADDRESS REDACTED]
NO. 106 GONGMING S 1ST RD                 FLAT I,J,K, 9F, CENTURY INDUSTRIAL CENTRE
ANNAN DIST, TAINAN 709                    33-35 AU PUI WANT ST
TAIWAN                                    FO TAN HONG KONG



MINGIN ENTP CONSTRUCTION CO INC           MINGIN INDUSTRIAL INC                       MINGXIN MICROELECTRONICS CO LTD
ATTN FOREMAN                              ATTN PRESIDENT                              ATTN DEP GEN MGR
P.O. BOX 627                              P.O. BOX 397                                NO 168 CANGHAI RD
WEST END, NC 27376                        ANGIER, NC 27501                            NINGBO HI-TECH PARK, NINGBO
                                                                                      ZHEJIANG 315040 CHINA
                  Case
MINIATURE PRECISION    25-90163
                    COMPONENTS INC    Document   87 Filed in TXSB on 07/03/25 MINI-SYSTEMS
                                         MINI-CIRCUITS                          Page 551INCof 944
820 WISCONSIN ST                          P.O. BOX 22329                         ATTN VICE PRESIDENT/ GENERAL MNG
WALWORTH, WI 53184                        NEW YORK, NY 10087-0001                20 DAVID RD
                                                                                 NORTH ATTLEBORO, MA 02761




[NAME REDACTED]                           MINMETALS INC                          MINNESOTA CHILD SUPPORT PAYMENT
[ADDRESS REDACTED]                        ATTN MKTG MANAGER                      CENTER
                                          1200 HARBOR BLVD, 8TH FL               RE: 001448517403 (AMENDED)
                                          WEEHAWKEN, NJ 07086                    P.O. BOX 64306
                                                                                 ST. PAUL, MN 55164-0306



MINNESOTA DEPARTMENT OF COMMERCE          MINNESOTA DEPT OF LABOR AND INDUSTRY   MINNESOTA DEPT OF REVENUE
UNCLAIMED PROPERTY DIVISION               443 LAFAYETTE RD N                     600 N ROBERT ST. N
MAIN OFFICE, GOLDEN RULE BLDG             ST PAUL, MN 55155                      SAINT PAUL, MN 55101
85 7TH PLACE E, STE 280
ST. PAUL, MN 55101



MINNESOTA DEPT OF                         MINNESOTA POLLUTION CONTROL AGENCY     MINNESOTA UNEMPLOYMENT INSURANCE
NATURAL RESOURCES                         500 LAFAYETTE ROAD                     P.O. BOX 4629
500 LAFAYETTE ROAD                        ST. PAUL, MN 55155-4194                ST PAUL, MN 55101-4629
ST. PAUL, MN 55155-4194




MINNTRONIX INC                            [NAME REDACTED]                        [NAME REDACTED]
ATTN PRES                                 [ADDRESS REDACTED]                     [ADDRESS REDACTED]
1600 9TH AVE SW
WATERTOWN, SD 57201




[NAME REDACTED]                           MINTEQ INTERNATIONAL INC               MINULAMP
[ADDRESS REDACTED]                        ATTN GEN MGR PYROGENICS                ATTN TECH DIR
                                          640 N 13TH ST                          VIA CAL LONGA, VAZZOLA
                                          EASTON, PA 18042                       TREVISO 31028
                                                                                 ITALY



MINUTEMAN PRESS INTERNATIONAL INC         MIPOX INTERNATIONAL CORP               MIRACLE SOFTWARE SYSTEMS INC
ATTN DBA INTERNATIONAL MINUTE PRESS       ATTN VICE PRESIDENT                    ATTN DIRECTOR
ATTN MANAGER                              25821 INDUSTRIAL BLVD, STE 200         45625 GRAND RIVER AVE
2231 E MILLBROOK RD                       HAYWARD, CA 94545                      NOVI, MI 48374
RALEIGH, NC 27604



MIRAE ASSET SECS (1043,1385)              MIRANDA DE TREJO, ROSA EVELYN          [NAME REDACTED]
ATT PROXY MGR                             C/O UNC CIVIL LEGAL ASSITANCE CLINIC   [ADDRESS REDACTED]
810 7TH AV, 37TH FL                       102 RIDGE RD
NEW YORK, NY 10019                        CHAPEL HILL, NC 27514




MIRO MANUFACTURING INC                    MIRTEC (SHENZHEN) CO LTD               MIRTEC CORP
ATTN SALES MGR                            ATTN GENERAL MANAGER                   ATTN REG SALES MGR
201 SENTRY DR                             RM 1401, YING LONG ZHANG YE BLDG       3 MORSE RD
WAUKESHA, WI 53186                        6025 SHENZHEN ST, FUTIAN               OXFORD, CT 06478
                                          SHENZHEN CHINA



MIS INC                                   MISCO INC                              [NAME REDACTED]
500 MARQUETTE AVE NW, STE 1200            1101 CARRINGTON PARK CIR, 305          [ADDRESS REDACTED]
ALBUQUERQUE, NM 87102                     MORRISVILLE, NC 27560
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  552 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      [ADDRESS REDACTED]




MISHRA, KAREN                            MISHRA, MEENA                           [NAME REDACTED]
604 HARKNESS CIR                                                                 [ADDRESS REDACTED]
DURHAM, NC 27705




[NAME REDACTED]                          [NAME REDACTED]                         MISSCO CONTRACT SALES LLC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      ATTN VP
                                                                                 P.O. BOX 321400
                                                                                 FLOWOOD, MS 39232




MISSION MICROWAVE TECHNOLOGIES INC       MISSION MOTOR COMPANY                   MISSION UNDERWRITING MANAGERS LLC
ATTN PRESIDENT                           ATTN CEO                                ATTN CHIEF EXECUTIVE OFFICER
10012 NORWALK BLVD, STE 150              1177 HARRISON ST                        34522 N SCOTTDALE RD, STE 120-436
SANTA FE SPRINGS, CA 90670               SAN FRANCISCO, CA 94103                 SCOTTSDALE, AZ 85266




MISSIONSHIRE LLC                         MISSISSIPPI CHILD SUPPORT               MISSISSIPPI DEPARTMENT OF
1406 E MISSION BLVD                      RE: 619637550 (ORIGINAL)                AGRICULTURE &
FAYETTEVILLE, AR 72701-2257              P.O. BOX 1449                           COMMERCE BUREAU OF REGULATORY
                                         YAZOO CITY, MS 39194                    SERVICES
                                                                                 P.O. BOX 1609
                                                                                 JACKSON, MS 39215


MISSISSIPPI DEPARTMENT OF REVENUE        MISSISSIPPI DEPARTMENT OF REVENUE       MISSISSIPPI DEPT OF EMPLOYMENT
500 CLINTON CENTER DR                    P.O. BOX 22808                          SECURITY
CLINTON, MS 39056                        JACKSON, MS 39225-2808                  OFFICE OF THE GOVERNOR
                                                                                 1235 ECHELON PKWY
                                                                                 JACKSON, MS 39215-1699



MISSISSIPPI DEPT OF LABOR                MISSISSIPPI DEPT OF                     MISSISSIPPI OFFICE OF ATTORNEY GENERAL
MCCOY FEDERAL BUILDING                   ENVIRONMENTAL QUALITY                   CONSUMER PROTECTION DIVISION
100 W CAPITAL ST, STE 608                LEGAL DIVISION                          P.O. BOX 1609
JACKSON, MS 39269                        P.O. BOX 2261                           JACKSON, MS 39225-2947
                                         JACKSON, MS 39225



MISSISSIPPI SECURITIES DIVISION          MISSISSIPPI SECURITIES DIVISION         MISSISSIPPI STATE TAX COMMISSION
125 S. CONGRESS ST                       401 MISSISSIPPI ST                      500 CLINTON CTR DR
JACKSON, MS 39201                        JACKSON, MS 39201                       CLINTON, MS 39056




MISSISSIPPI STATE TAX COMMISSION         MISSISSIPPI TANK CO                     [NAME REDACTED]
P.O. BOX 22808                           ATTN VP SALES                           [ADDRESS REDACTED]
JACKSON, MS 39225-2808                   3000 W 7TH ST
                                         HATTIESBURG, MS 39401




MISSOURI ATTORNEY GENERALS OFFICE        MISSOURI DEPT OF LABOR AND INDUSTRIAL   MISSOURI DEPT OF LABOR AND
CONSUMER PROTECTION UNIT                 RELATIONS, EMPLOYMENT SECURITY          INDUSTRIAL RELATIONS
207 W HIGH ST                            421 E DUNKLIN                           421 E DUNKLIN ST
P.O. BOX 899                             P.O. BOX 59                             P.O. BOX 504
JEFFERSON CITY, MO 65102                 JEFFERSON CITY, MO 65102-0059           JEFFERSON CITY, MO 65102-0504
                  Case 25-90163
MISSOURI DEPT OF NATURAL  RESOURCES Document
                                       MISSOURI87DEPT
                                                    Filed  in TXSB on 07/03/25 MISSOURI
                                                       OF REVENUE                Page 553    of 944OF STATE, BUSINESS
                                                                                        SECRETARY
DIVISION OF ENVIRONMENTAL QUALITY      301 W HIGH ST, RM 102                   SERVICES DIV
1101 RIVERSIDE DR                      JEFFERSON CITY, MO 65101                600 WEST MAIN ST
P.O. BOX 176                                                                   JEFFERSON CITY, MO 65010-1
JEFFERSON CITY, MO 65102-0176



MISSOURI STATE TREASURER                MISSOURI UNIVERSITY OF SCIENCE & TECH   [NAME REDACTED]
UNCLAIMED PROPERTY DIVISION             205 CENTENNIAL HALL                     [ADDRESS REDACTED]
P.O. BOX 210                            300 W 12TH ST
JEFFERSON CITY, MO 65102                ROLLA, MO 65409




MISTRAS GROUP INC                       MISUMI USA, INC.                        MIT LINCOLN LABORATORY
ATTN SE REGIONAL EXEC                   1475 E WOODFIELD RD                     ATTN CONTRACTING SERVICES ASST DEPT
1721 WILLIAMS RD                        SCHAUMBURG, IL 60173                    HEAD
MONROE, NC 28110                                                                244 WOOD ST
                                                                                LEXINGTON, MA 02420



[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                         MITCHELL, JOHN A
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      1717 COLVARD FARMS RD
                                                                                DURHAM, NC 27713




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                         MITCHELLS CATERING & EVENTS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      1732 CAPITAL BLVD
                                                                                RALEIGH, NC 27604-1362




[NAME REDACTED]                         MITEC TELECOM INC                       MITEQ INC
[ADDRESS REDACTED]                      ATTN VICE PRESIDENT                     ATTN DIRECTOR OF CONTRACTS
                                        3299 JEAN BAPTISTE DESCHAMPS BLVD       100 DAVIDS DR
                                        LACHINE, QC H8T 3E4                     HAUPPAUGE, NY 11788
                                        CANADA



MITRE CORP, THE                         [NAME REDACTED]                         MITRONIC GMBH
ATTN CONTRACTS MGR                      [ADDRESS REDACTED]                      ATTN BUSINESS DEV MGR
202 BURLINGTON RD                                                               LOCHHAMER SCHLAG 1
M/S M135                                                                        GRAFELFING 82166
BEDFORD, MA 01730                                                               GERMANY
                  Case
MITSUBISHI CHEMICAL  CORP25-90163   Document  87 CHEMICAL
                                       MITSUBISHI  Filed inCORP
                                                            TXSB on 07/03/25 MITSUBISHI
                                                                               Page 554    of 944CORPORATION
                                                                                        CHEMICAL
ATTN GENERAL MGR, PHOSPOR DEPT          ATTN YASUJI KOBASHI, GM               1-1, MARUNOUCHI 1-CHOME
14-1 SHIBA 4 CHOME, MINATO-KU           OPTOELECTRONICS                       CHIYODA-KU 13 (TOKYO) 1008251
TOKYO                                   33-8 SHIBA 5 CHOME, MINATO-KU         JAPAN
JAPAN                                   TOKYO
                                        JAPAN


MITSUBISHI ELECTRIC COPORATION          MITSUBISHI ELECTRIC CORP              MITSUBISHI ELECTRIC CORP
ATTN MGR, ELECTRON DEVICE DEPT A        ATTN GEN MGR & DIRECTOR               ATTN SR MGR
TOKYO BLDG, 2-7-3, MARUNOUCHI           8-1-1 TSUKAGUCHI HONMACHI             1-1-1 IMAJUKU-HIGASHI NISHI-KU
CHIYODA-KU                              AMAGASAKI-SHI, HYOGO 661-8661         FUKUOKA 819-0192
TOKYO 100-8310 JAPAN                    JAPAN                                 JAPAN



MITSUI CHEMICALS AMERICA                MITSUI ELECTRONICS INC                MITSUI ENGINEERING & SHIPBUILDING CO
1 N LEXINGTON AVENUE                    ATTN PRESIDENT                        LTD
WHITE PLAINS, NY 10601-1712             DAVINCI SHIBA PARK, A-10F             ATTN PRESIDENT
                                        4-1 SHIBAKOEN 2-CHOME, MINATO-KU      3-16-2, TAMAHARA
                                        TOKYO 105-0011 JAPAN                  TAMANO, OKAYAMA 706-0014
                                                                              JAPAN


MITSUI ENGINEERING & SHIPBUILDING       MITSUI HIGH-TEC (SINGAPORE) PTE. LT   MITSUI MINING & SMELTING CO LTD
ATTN MANAGER                            37 TUAS AVE 8                         ATTN AST BUSINESS DEV UNIT GM
6-4, TSUKIJI 5-CHROME, CHUO-KU          SINGAPORE 639249                      1333-2 HARAICHI
TOKYO 104-8439                          SINGAPORE                             AGEO, SAITAMA 362-0021
JAPAN                                                                         JAPAN



MITUTOYO AMERICA CORPORATION            MIXBAAL SA DE CV                      MIYACHI UNITEK CORPORATION
ATTN REGIONAL MNGR                      ATTN CHIEF EXECUTIVEE OFFICER         ATTN VP SALES
965 CORPORATE BLVD                      AV PERIFERICO SUR, 7980-2E            1820 S MYRTLE AVE
AURORA, IL 60502                        COL SANTA MARIA DE TEQUEPEXPAN        MONROVIA, CA 91017-7133
                                        TALQUEPAQUE, JAL 45601 MEXICO



[NAME REDACTED]                         MIZUHO SECS INC. (0892)               MIZUHO TST & BANKING CO (2888)
[ADDRESS REDACTED]                      GREG RAIA OR PROXY MGR                ATT ROBERT KOWALEWSKI/PROX MGR
                                        111 RIVER ST                          666 FIFTH AV
                                        HOBOKEN, NJ 07030                     NEW YORK, NY 10103




MIZZELLE, CHANDA L                      MJM LOGISTICS AGENCY SDN BHD          MK CO LTD
1484 HUNTDELL MAIN DR                   ATTN MARKETING MGR                    ATTN R&D MANAGER
WENDELL, NC 27591                       WISMA RETHINA NO. 4919                BIZ, 205, 124 SAGIMAKGOL-RO
                                        TINGKAT 3 JALAN BAGAN LUAR,           JUNGWON-GU
                                        BUTTERWORTH                           SEONGNAM, GYEONGGI-DO 13207 SOUTH
                                        PULAU PENANG 12100 MALAYSIA           KOREA


MK DIGITAL DIRECT INC                   [NAME REDACTED]                       MKS INSTRUMENTS
ATTN PRESIDENT                          [ADDRESS REDACTED]                    100 HIGHPOWER RD
8580 AVE DE LA FUENTE, STE F                                                  ROCHESTER, NY 14623-3434
SAN DIEGO, CA 92154




ML/BOFA (5143,5198,6582,8862)           MLG CONSTRUCTION CONSULTANTS LLC      MM SCHRANZ ROOFING INC
ATT PROXY DEPT                          P.O. BOX 90997                        ATTN PRESIDENT
C/O MERRILL LYNCH CORP ACTIONS          RALEIGH, NC 27675-0997                4111 W MILL RD
4804 DEER LAKE DR. E.                                                         P.O. BOX 1068
JACKSONVILLE, FL 32246                                                        MILWAUKEE, WI 53209



MM WICANT                               [NAME REDACTED]                       MMB CONTROL SP ZOO
ATTN PRESIDENT                          [ADDRESS REDACTED]                    ATTN PRESIDENT
KEREN HAYESOD 27                                                              MASZYNOWA 26
HAIFA                                                                         GDANSK 80-298
ISRAEL                                                                        POLAND
MMB RESEARCH INC Case 25-90163      Document 87 Filed
                                       MMF HOLDING      in TXSB
                                                   PARTNERSHIP III LPon 07/03/25 MMF
                                                                                  Page   555PARTNERSHIP
                                                                                     HOLDING of 944     III LP
ATTN CHIEF EXECUTIVE OFFICER             C/O MCGUIRE WOODS LLP                   C/O MERIT CAPITAL PARTNERS
25 PRINCE ARTHUR AVE                     ATTN CRAIG R CULBERTSON                 ATTN TIMOTHY J MACKENZIE
TORONTO, ON M5R 1B2                      77 W WACKER, STE 4100                   303 W MADISON ST, STE 2100
CANADA                                   CHICAGO, IL 60601                       CHICAGO, IL 60606



MMIC LAB POSTECH                         MN. OFFICE OF THE ATTORNEY GENERAL      MOAC MALL HOLDINGS LLC
ATTN PROFESSOR                           CONSUMER SERVICES DIVISION              ATTN IT DIR
LG BLDG, R 210, SAN 31 HYOJA-DONG        445 MINNESOTA STSTE 1400                60 E BROADWAY
NAM-GU, POHANG                           ST PAUL, MN 55101-2131                  BLOOMINGTON, MN 55425
GYEONGBUK 790-784 SOUTH KOREA



[NAME REDACTED]                          MOBERN LIGHTING CO                      MOBIL COMMUNICATIONS TECHNOLOGY
[ADDRESS REDACTED]                       ATTN GEN MGR                            CORP
                                         8200 STAYTON DR, STE 500                ATTN DIRECTOR
                                         JESSUP, MD 20794                        230 EARL STEWARD DR
                                                                                 AURORA, ON L4G 6V8
                                                                                 CANADA


MOBILE COMMUNICATIONS AMERICA            MOBILE EXPERTS INC                      MOBILE MINI INC
4800 REAGAN DRIVE                        3235 CALLE BONITA                       7420 S KYRENE RD STE 101
CHARLOTTE, NC 28206-3188                 SANTA YNEZ, CA 93460-9389               TEMPE, AZ 85283-4610




MOBILE MINI SOLUTIONS                    MOBILE TECHNO CORP                      MOBILKOM AUSTRIA
4646 E VAN BUREN                         ATTN MANAGER                            OBERE DONAUSTRASSE 29
PHOENIX, AZ 85008                        4-4-5, MINATOMIRAI, NISHI-KU            WEIN 1020
                                         YOKOHAMA, KANAGAWA 220-0012             AUSTRIA
                                         JAPAN



[NAME REDACTED]                          [NAME REDACTED]                         MOCO ENTERPRISES LLC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      ATTN TOM MOE, PRES
                                                                                 1600 CAPITAL AVE, STE 200
                                                                                 PLANO, TX 75074




MOD OP LLC                               MOD SUPER FAST PIZZA LLC                MODA LIGHT LLC
444 BRICKELL AVE                         ATTN CONTRUCTION PROCUREMENT MGR        ATTN SALES MANAGER
MIAMI, FL 33131-2403                     2035 158TH CT NE, STE 200               715 NE 19TH PLACE
                                         BELLEVUE, WA 98008                      CAPE CORAL, FL 33909




MODE INDUSTRIES INC                      MODE LIGHTING UK LTD                    MODEL N, INC.
ATTN PRESIDENT                           ATTN MANAGING DIRECTOR                  ATTN: GENERAL COUNSEL
1723 WOOLSEY ST                          THE MALTINGS, 63 HIGH ST, WARE          777 MARINERS ISLAND BLVD, STE 300
DELAVAN, WI 53115                        HERTFORDSHIRE SG12 9AD                  SAN MATEO, CA 94404-5089
                                         UNITED KINGDOM



MODELITHICS INC                          MODELITHICS, INC.                       MODERN MACHINING INC
ATTN PRESIDENT                           3802 SPECTRUM BLVD                      115 BRADY RD
3650 SPECTRUM BLVD, STE 170              TAMPA, FL 33612-9212                    SANFORD, NC 27330-9503
TAMPA, FL 33612




MODIS INC                                MODSPACE                                MOD-TEC LLC
ATTN SVP & GEN COUNSEL                   1200 SWEDESFORD RD                      ATTN OWNER
1 INDEPENDENT DR                         BERWYN, PA 19312                        3378 TOMAHAWK DR SW
JACKSONVILLE, FL 32202                                                           GRANDVILLE, MI 49418
MODULAR COMFORTCase     25-90163
                   SYSTEMS, INC      Document 87CONNECTIONS
                                        MODULAR   Filed in TXSB
                                                            LLC on 07/03/25 MODULAR
                                                                             Page 556   of 944SERVICES
                                                                                    MECHANICAL
5860 BELLE ISLE ROAD                     1090 INDUSTRIAL BLVD                  ATTN ASST SERVICE COORDINATOR
SYRACUSE, NY 13209-9211                  BESSEMER, AL 35022-6009               5860 BELLE ISLE RD
                                                                               SYRACUSE, NY 13209




MODULAR PIPING SUPPLY INC                MODULAR PROCESS TECHNOLOGY            MODUS ADVANCED INC
12690 AUER AVE                           ATTN PRES & CEO                       ATTN PRESIDENT
BROOKFIELD, WI 53005                     2233 PARAGON DR                       1575 GREENVILLE RD
                                         SAN JOSE, CA 95131                    LIVERMORE, CA 94550




MODUS                                    [NAME REDACTED]                       MOES CARY LLC DBA MOES SOUTHWEST
130 E 3RD, STE 300                       [ADDRESS REDACTED]                    101 ELSOW COURT
DES MOINES, IA 50309                                                           CARY, NC 27519




[NAME REDACTED]                          [NAME REDACTED]                       MOHAMED MUSTAFA & SAMSUDDIN CO PTE
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    LTD
                                                                               ATTN VP MKTG
                                                                               BLOCK 668, CHANDER RD, 02-18
                                                                               SINGAPORE 210668
                                                                               SINGAPORE


[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       MOHAWK CARPET DISTRIBUTION INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    160 SOUTH INDUSTRIAL BLVD
                                                                               CALHOUN, GA 30701-3030




MOHAWK INDUSTRIAL & NUCLEAR SUPPLY       MOHAWK VALLEY COMMUNITY COLLEGE FDN   MOHAWK VALLEY DESIGNS
INC                                      ATTN EXECUTICE DIRECTOR               4 RIVERSIDE DRIVE
ATTN VP SALES                            1101 SHERMAN DR                       UTICA, NY 13502-2355
5 GLEN RD                                UTICA, NY 13501
MANCHESTER, CT 06040



MOHAWK VALLEY ENGG. PLANT                MOHAWK VALLEY RESOURCE CTR FOR REFU   MOHAWK VALLEY WATER AUTHORITY
5757 MARCY-SUNY PARKWAY                  5757 MARCY-SUNY PARKWAY               1 KENNEDY PLAZA
MARCY, NY 13403                          MARCY, NY 13403                       UTICA, NY 13502-4234




[NAME REDACTED]                          [NAME REDACTED]                       MOISSANITE.COM LLC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    170 SOUTHPORT DR
                                                                               MORRISVILLE, NC 27560
[NAME REDACTED] Case 25-90163        Document  87 INCFiled in TXSB on 07/03/25 [NAME
                                        MOJO LABS                                Page  557 of 944
                                                                                     REDACTED]
[ADDRESS REDACTED]                       ATTN PRESIDENT                           [ADDRESS REDACTED]
                                         230 MAIN ST, STE F
                                         LONGMONT, CO 80501




[NAME REDACTED]                          MOL PLC                                  [NAME REDACTED]
[ADDRESS REDACTED]                       DOMBOVARI UT 28                          [ADDRESS REDACTED]
                                         BUDAPEST 1117
                                         HUNGARY




[NAME REDACTED]                          MOLECULAR DATA CORP                      MOLECULAR IMPRINTS INC
[ADDRESS REDACTED]                       ATTN PRESIDENT                           ATTN COO
                                         2869 SCARBOROUGH RD                      1807-C W BRAKER LN
                                         CLEVELAND, OH 44118                      AUSTIN, TX 78758




MOLEX INC                                [NAME REDACTED]                          [NAME REDACTED]
ATTN NEW PRODUCT DEV MGR                 [ADDRESS REDACTED]                       [ADDRESS REDACTED]
2222 WELLINGTON CT
LISLE, IL 60532




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          MOLY TECH LTD                            MOLYCORP MINERALS LLC
[ADDRESS REDACTED]                       ATTN ACCOUNT MGR                         ATTN EXEC VP
                                         ROOM 2002, ALITKEN VANSON CENTRE         6400 S FIDDLERS GREEN CIR, STE 1610
                                         61 HOI YUEN RD, KWUN TONG                GREENWOOD VILLAGE, CO 80111
                                         HONG KONG



[NAME REDACTED]                          MOMENTIVE PERFORMANCE MATERIALS          MONA ELECTRIC GROUP INC
[ADDRESS REDACTED]                       JAPAN LLC                                ATTN VP
                                         ATTN VP & COO                            7915 MALCOLM RD
                                         AKASAKA PARK BLDG 12FR, 5-2-20 AKASAKA   CLINTON, MD 20735
                                         MINATO-KU
                                         TOKYO 107-6112 JAPAN


[NAME REDACTED]                          MONAGHAN GROUP PLLC                      [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN CONSULTANT                          [ADDRESS REDACTED]
                                         1120 E BLVD
                                         CHARLOTTE, NC 28203




MONAHAN, RUSTY                           MONARCH ALTERNATIVE CAPITAL LP           MONARCH ELECTRIC COMPANY
DBA MONOHAN MECHANICAL & TECH SVCS       ATTN LEGAL DEPT                          1250 CRANBURY SOUTH RIVER ROAD
LLC                                      535 MADISON AVE, 22ND FL                 CRANBURY, NJ 08512
ATTN OWNER/OPERATOR                      NEW YORK, NY 10022
717 SYKES RD
LOUISBURG, NC 27549


[NAME REDACTED]                          MONDE WIRELESS INC                       MONDELEZ EUROPE PROCUREMENT GMBH
[ADDRESS REDACTED]                       ATTN BRIAN ROMANCZYK                     LINDBERGH-ALLEE 1
                                         5662 CALLE REAL, 319                     GLATTPARK 8152
                                         GOLETA, CA 93117                         SWITZERLAND
MONETATE INC    Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  558 of 944
                                                                                  REDACTED]
ATTN PRESIDENT                           [ADDRESS REDACTED]                 [ADDRESS REDACTED]
951 E HECTOR ST
CONSHOHOCKEN, PA 19428




MONOLITH SEMICONDUCTOR INC               MONOLITHIC POWER SYSTEMS INC       [NAME REDACTED]
ATTN PRESIDENT                           ATTN DIR NA SALES                  [ADDRESS REDACTED]
101 E STATE ST                           6409 GUADALUPE MINES RD
THE COMMONS 198                          SAN JOSE, CA 95120
ITHACA, NY 14850



[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          MONSTER COMPONENTS LLC             MONTANA COMMISSIONER OF SECURITIES &
[ADDRESS REDACTED]                       ATTN MANAGING PARTNER              840 HELENA AVE.
                                         16201 DODD ST, STE 204             HELENA, MT 59601
                                         VOLENTE, TX 78641




MONTANA DEPARTMENT OF REVENUE            MONTANA DEPT OF ENVIRONMENTAL      MONTANA DEPT OF LABOR AND INDUSTRY
UNCLAIMED PROPERTY                       QUALITY                            P.O. BOX 1728
P.O. BOX 5805                            1520 E 6TH AVE                     HELENA, MT 59624-1728
HELENA, MT 59604-5805                    HELENA, MT 59601




MONTANA DEPT OF LABOR AND INDUSTRY       MONTANA DEPT OF REVENUE            MONTANA OFFICE OF CONSUMER
UNEMPLOYMENT INSURANCE DIV.              P.O. BOX 5805                      PROTECTION
P.O. BOX 8020                            HELENA, MT 59604-5805              OFFICE OF CONSUMER PROTECTION
HELENA, MT 59604-8020                                                       555 FULLER AVE
                                                                            HELENA, MT 59601-3394



MONTANA OFFICE OF CONSUMER               [NAME REDACTED]                    MONTCO SILICON TECHNOLOGIES INC
PROTECTION                               [ADDRESS REDACTED]                 ATTN VP OF SALES AND MARKETING
OFFICE OF CONSUMER PROTECTION                                               500 S MAIN ST
P.O. BOX 200151                                                             SPRING CITY, PA 19475
HELENA, MT 59620-0151



[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
MONTRATEC GMBH Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                  [NAME REDACTED]                       Page  559 of 944
                                                                            REDACTED]
JOHANN-LIESENBERGER-STRABE 7       [ADDRESS REDACTED]                    [ADDRESS REDACTED]
NIEDERESCHACH 78078
GERMANY




[NAME REDACTED]                    MONZ HANDELSGESELLSCHAFT INTL MBH &   MOO INC.
[ADDRESS REDACTED]                 CO KG                                 25 FAIRMOUNT AVENUE
                                   ATTN MANAGER                          EAST PROVIDENCE, RI 02914
                                   SCHONDORFER STRASSE 60-62
                                   TRIER 54292
                                   GERMANY


[NAME REDACTED]                    [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                    [ADDRESS REDACTED]




MOOG, INC.                         MOOG, INC.                            [NAME REDACTED]
400 JAMISON ROAD                   ATTN: OSCAR FROTA                     [ADDRESS REDACTED]
ELMA, NY 14059-9596                20263 S WESTERN AVE
                                   TORRANCE, CA 90501




[NAME REDACTED]                    [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                    MOONS INDUSTRIES AMERICA INC          MOORE ELECTRICAL SERVICE INC
[ADDRESS REDACTED]                 ATTN OPERATIONS MGR                   ATTN PROJECT MGR
                                   1113 NORTH PROSPECT AVE               7528 RAVINE RD
                                   PROSPECT, IL 60143                    KALAMAZOO, MI 49009




[NAME REDACTED]                    [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                    [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                 [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  560 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  561 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     MORGAN & KEEGAN COMPANY INC          MORGAN & KEEGAN COMPANY INC
[ADDRESS REDACTED]                  510 GLENWOOD AVE, STE 311            ATTN CHRIS B HARRELL
                                    RALEIGH, NC 27603                    4300 SIX FORKS RD, STE 400
                                                                         RALEIGH, NC 27609




MORGAN & KEEGAN COMPANY INC         MORGAN ADVANCED CERAMICS INC         MORGAN ADVANCED CERAMICS INC
ATTN JIM RITT                       ATTN VP FINANCE                      C/O DIAMONEX PRODUCTS DIV
40 FRONT ST, 16TH FL                2425 WHIPPLE RD                      ATTN VP, TECHNOLOGY
MEMPHIS, TN 38103                   HAYWARD, CA 94544                    7331 WILLIAM AVE
                                                                         ALLENTOWN, PA 18106



MORGAN ADVANCED MATERIALS &         [NAME REDACTED]                      MORGAN HILL ENGG. PLANT
TECHNOLOGY INC                      [ADDRESS REDACTED]                   18275 SERENE DRIVE
YORK HOUSE, SHEET ST                                                     MORGAN HILL, CA 95037
WINDSOR SL4 1DD
UNITED KINGDOM



MORGAN STANLEY & CO LLC             MORGAN STANLEY REAL ESTATE ADVISOR   MORGAN STATE UNIVERSITY
1300 THAMES STREET                  INC                                  ATTN VP FINANCE & MGMT
BALTIMORE, MD 21231-3496            ATTN EXECUTIVE DIRECTOR              1700 E COLD SPRING LN
                                    1633 BROADWAY                        BALTIMORE, MD 21251
                                    NEW YORK, NY 10019



[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  562 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                       MORGANFRANKLIN CONSULTING LLC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    ATTN CONTRACTS DIR
                                                                          7900 TYSONS ONE PLACE, STE 300
                                                                          MCLEAN, VA 22102




MORI SEIKI USA INC                  [NAME REDACTED]                       [NAME REDACTED]
ATTN SALES SUPPORT ENGINEER         [ADDRESS REDACTED]                    [ADDRESS REDACTED]
9001 CURRENCY ST
IRVING, TX 75063




MORIN L, WILLIAM                    MORITEX CORP                          MORNINGSIDE TRANSLATIONS INC
DBA WLM COMPONENT SALES             ATTN PRESIDENT                        ATTN DIRECTOR
165 BERKELEY RD                     3-13-45 SENZUI                        450 7TH AVE, STE 1001
NORTH ANDOVER, MA 01845             ASAKA, SAITAMA 351-0024               NEW YORK, NY 10123
                                    JAPAN



[NAME REDACTED]                     MORRIS SOUTH LLC                      [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN EVP                              [ADDRESS REDACTED]
                                    12428 SAM NEELY RD
                                    CHARLOTTE, NC 28278




[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




MORRIS, SCOTT G                     MORRISETTE PAPER COMPANY INC.         [NAME REDACTED]
DBA SGM PHOTOGRAPHY                 3081 BUSINESS PARK DRIVE, WALNUT CR   [ADDRESS REDACTED]
ATTN OWNER                          RALEIGH, NC 27610
1031 166TH ST
WHITESTONE, NY 11357



[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 MORRISSEY
                                         [NAME REDACTED]                      Page 563    of 944 SDN BHD
                                                                                       TECHNOLOGY
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  ATTN DIR
                                                                              A95 & A96, JALAN 2A-3
                                                                              KAWASAN OERUSAHAAN MIEL, SG PETANI
                                                                              KEDAH DARUL AMAN 08000 MALAYSIA



[NAME REDACTED]                           [NAME REDACTED]                     MORSE ELECTRIC INC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  1045 W STEPHENSON ST
                                                                              FREEPORT, IL 61032




MORSE MANUFACTURING CO INC                MORSE MICRO PTY LTD                 [NAME REDACTED]
ATTN SALES MANAGER                        ATT VP & SALES                      [ADDRESS REDACTED]
727 W MANLIUS ST                          2-4 CORWALLIS ST, STE 113
EAST SYRACUSE, NY 13057                   EVELEIGH, NSW 2015
                                          AUSTRALIA



[NAME REDACTED]                           [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




MORTON INTERNATIONAL INC                  [NAME REDACTED]                     MOSAIC DATA CONSULTING LLC
ATTN VP, SALES & MKTG                     [ADDRESS REDACTED]                  ATTN OWNER
148 ANDOVER ST                                                                921-41 NORTHEAST DR
DANVERS, MA 01923                                                             DAVIDSON, NC 28036




MOSAIC MASTER OWNERS ASSOCIATION IN       [NAME REDACTED]                     MOSCOW ENGINEERING PHYSICS INST
P.O. BOX 78080                            [ADDRESS REDACTED]                  ATTN VICE-CHANCELLOR
PHOENIX, AZ 85062-8080                                                        KASHIRSKOYE SHOSSE 31
                                                                              MOSCOW 115409
                                                                              RUSSIA



MOSCOW PLANT FIZPRIBOR LTD                MOSELEY ASSOCIATES INC              [NAME REDACTED]
ATTN CHIEF DESIGNER                       ATTN DIR OF ENGINEERING             [ADDRESS REDACTED]
40/12 BLDG 20, NIZHNYAYA                  82 COROMAR DR
KRASNOSELSKAYA ST                         SANTA BARBARA, CA 93117
MOSCOW 105066
RUSSIA


[NAME REDACTED]                           MOSES LAKE INDUSTRIES INC           [NAME REDACTED]
[ADDRESS REDACTED]                        8248 RANDOLPH ROAD NE               [ADDRESS REDACTED]
                                          MOSES LAKE, WA 98837-9328




MOSO POWER SUPPLY TECHNOLOGY CO           [NAME REDACTED]                     [NAME REDACTED]
LTD                                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]
ATTN VP OF SALES
13100 ALONDRA BLVD, UNIT 106
CERRITOS, CA 90703



[NAME REDACTED]                           [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
MOSSNER GMBH     Case 25-90163          Document  87 Filed in TXSB on 07/03/25 [NAME
                                           [NAME REDACTED]                       Page  564 of 944
                                                                                     REDACTED]
ATTN MANAGING DIRECTOR                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]
DIAMANTWERKZEUGE, KELTERSTR 82
PFORZHEIM 75179
GERMANY



[NAME REDACTED]                             MOTION INDUSTRIES INC              MOTION INDUSTRIES, INC. DBA MOTION
[ADDRESS REDACTED]                          BOX 504606                         7350 GOLDEN TRIANGLE DRIVE
                                            ST. LOUIS, MO 63150-4606           EDEN PRAIRIE, MN 55344-2232




MOTION TECH AUTOMATION LLC                  MOTION TECH LLC                    MOTIV POWER SYSTEMS
DBA LION PRECISION                          ATTN PRESIDENT                     ATTN FOUNDER & CTO
ATTN SALES MKTG DIRECTOR                    118 BROOKHAVEN TRL                 330 HATCH DR
7166 4TH ST                                 LELAND, NC 28451                   FOSTER CITY, CA 94404
OAKDALE, MN 55128



[NAME REDACTED]                             [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                 [ADDRESS REDACTED]




MOTOROLA A/S                                MOTOROLA INC                       MOTOROLA INC
SYDVESTVEJ 15                               1455 W SHURE DR                    ATTN CHARLES E WEITZEL MS-EL508
GLOSTRUP 2600                               ARLINGTON HEIGHTS, IL 60004        PHOENIX CORP RESEARCH LABORATORIES
DENMARK                                                                        2100 E ELLIOT RD
                                                                               TEMPE, AZ 85284



MOTOROLA INC                                MOTOROLA INC                       MOTOROLA INC
ATTN CORP VP, TECH - PHYS REALIZATION       ATTN RALPH A KAMIN JR, VP & DIR    ATTN VP & DIRECTOR
1301 E ALGONQUIN RD                         5555 N BEACH ST                    3102 N 56TH ST
SCHAUMBURG, IL 60196                        FORT WORTH, TX 76137               PHOENIX, AZ 85018




MOTOROLA MOBILITY INC                       MOTOROLA SOLUTIONS                 [NAME REDACTED]
C/O MOTOROLA INC                            1301 E ALGONQUIN RD                [ADDRESS REDACTED]
600 N HWY 45, BLDG IL93                     SCHAUMBURG, IL 60196
LIBERTYVILLE, IL 60048




[NAME REDACTED]                             [NAME REDACTED]                    MOULDED OPTICS GMBH
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                 STRINSTRASSE 13-15
                                                                               SCHOEFFENGRUND D-35641
                                                                               GERMANY




[NAME REDACTED]                             [NAME REDACTED]                    MOUND LASER & PHOTONICS CENTER INC
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                 ATTN PRES & CEO
                                                                               965 CAPSTONE, STE 308
                                                                               MIAMISBURG, OH 45342




MOUNT BETHEL INDUSTRIES INC                 MOUNT BLODGETT DESIGN INC          MOUNT JOY WIRE CORPORATION
ATTN VP                                     ATTN PRESIDENT                     ATTN CFO
432 MOUNT BETHEL HWY                        2190 HOODOO DR                     1000 E MAIN ST
BANGOR, PA 18013                            COLORADO SPRINGS, CO 80919         MOUNT JOY, PA 17552
MOUNTZ, INC.      Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  565 of 944
                                                                                  REDACTED]
1080 N. 11TH ST.                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]
SAN JOSE, CA 95112-2927




MOUSER (SHANGHAI) ELECTRONICS            MOUSER ELECTRONICS, INC.            [NAME REDACTED]
TRADING CO.,LTD                          ATTN: PETE SHOPP, SR. VP BUSINESS   [ADDRESS REDACTED]
RM2506-2510CHANGFANG INTL PLAZA OF       OPERATIONS
SHANGHAI 201500                          1000 N. MAIN STREET
CHINA                                    MANSFIELD, TX 76063-1514



[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                          MOVIDIUS LTD                        MOVIE MAGIC, INC
[ADDRESS REDACTED]                       ATTN CFO                            5502 TURKEY FARM RD
                                         OCONNELL BRIDGE HOUSE, 1ST FL       DURHAM, NC 27705-8558
                                         DOLIER ST
                                         DUBLIN 2 IRELAND



[NAME REDACTED]                          [NAME REDACTED]                     MOXIE INDUCTOR CORPORATION
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  ATTN VP NORTH AMERICA
                                                                             7545 IRVINE CENTER DR
                                                                             IRVINE, CA 92618




MOX-LINDE GASES SDN BHD                  [NAME REDACTED]                     [NAME REDACTED]
ATTN HEAD OF ELECTRONICS                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]
NO 13, JALAN 222
PETAILING JAYA, SELANAGOR
MALAYSIA



[NAME REDACTED]                          [NAME REDACTED]                     MP DESIGN INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  ATTN VP
                                                                             16 W 4TH AVE
                                                                             VANCOUVER, BC V5Y 1G3
                                                                             CANADA



MP LIGHTING                              MPACT BLUE RIDGE MARKETING          MPACT SOLUTIONS
ATTN PRESIDENT                           ATTN CEO                            ATTN CEO
16 W 4TH AVE                             1402 WEST RIDGE RD                  2300 W MEADOWVIEW RD, STE 100
VANCOUVER, BC V5Y 1G3                    GREENSBORO, NC 27410                GREENSBORO, NC 27407
CANADA



[NAME REDACTED]                          MPD TECHNOLOGIES INC                MPHASIS CORPORATION
[ADDRESS REDACTED]                       ATTN DIR OF CONTRACTS               ATTN PRESIDENT, BPO
                                         49 WIRELESS BLVD                    460 PARK AVE S, STE 1101
                                         HAUPPAUGE, NY 11788-3935            NEW YORK, NY 10016
MPI AMERICA       Case 25-90163        Document  87 Filed in TXSB on 07/03/25 MPIPage
                                          MPI CORPORATION                             566
                                                                                  SUZHOU   of 944
                                                                                         CORP
2360 QUME DRIVE SUITE C                    NO. 155 CHUNG-HO STREET, CHU-PEI    FL 2, UNIT T, NO 13 CHUNHAI RD LONG
SAN JOSE, CA 95131-1838                    CHU-PEI 302                         SUZHOU INDUSTRIAL PARK
                                           TAIWAN                              SUZHOU 215121
                                                                               CHINA



M-PLUS TECHNOLOGIES ITHALAT IHRACAT        MPM QUARTZ, INC.                    MPS MESS-& PRUFSYSTEME GMBH
VE TIC LTD STI                             MOMENTIVE TECHNOLOGIES              INDUSTRIESTRASSE 17
ATTN: TAHSIN BAHADIR PEKCAN                22557 WEST LUNN ROAD                ELTMANN 97483
TANTAVI MAH. ESTERGON CAD. NO: 24F,        STRONGSVILLE, OH 44149-4871         GERMANY
EXEN DA: 178
UMRANIYE 34764
TURKEY

MPT INC                                    [NAME REDACTED]                     [NAME REDACTED]
DBA MICROWAVE PRODUCTS &                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]
TECHNOLOGY
ATTN VP ENGINEERING
2501 E CHAPMAN AVE, STE 230
FULLERTON, CA 92831


MQK LIMITED                                MRA INSTITUTE OF MANAGEMENT INC     MRA-THE MANAGEMENT ASSOCIATION, INC
ATTN MGR; AGRICULTURAL BANK OF CHINA       N19W24400 RIVERWOOD DR              5980 GOLDEN HILLS DR
BEIJING MAIKENQIAO ZIXUN                   WAUKESHA, WI 53188                  GOLDEN VALLEY, MN 55416
YOUXIANGONGSI, RM 702
CYBER TWR B, 2 ZHONG GUAN CUN S AVE
HAIDIAN DIST
BEIJING 10086 CHINA

[NAME REDACTED]                            M-RF CO LTD                         M-RF CO LTD
[ADDRESS REDACTED]                         ATTN GENERAL MGR                    ATTN PRESIDENT
                                           2-3-1 KANDA SUDA-CHO, NBF KANDA     1-8-11, KANDAIZUMI-CHO
                                           SUCHACHO                            CHIYODA-KU
                                           BLDG., 9F, CHIYODA-KY               TOKYO 101-0024 JAPAN
                                           TOKYO 101-0041 JAPAN


MRL CONSULTING GROUP LIMITED               MRL INDUSTRIES                      [NAME REDACTED]
THE AGORA ELLEN STREET                     ATTN DIR SALES & MARKETING          [ADDRESS REDACTED]
HOVE BN3 3LN                               19500 NUGGET BLVD
UNITED KINGDOM                             SONORA, CA 95370




[NAME REDACTED]                            MS KENNEDY CORP                     MSA SYSTEMS INC.
[ADDRESS REDACTED]                         ATTN SALES MGR                      1340 S DE ANZA BLVD., SUITE 103
                                           4707 DEY RD                         SAN JOSE, CA 95129-4644
                                           LIVERPOOL, NY 13088




MSB-ELEKTRONIK & GERATEBAU GMBH            MSC FAMILIENGESELLSCHAFT MBH        MSC INDUSTRIAL SUPPLY CO
ATTN CHIEF EXECUTIVE OFFICER               ATTN MANFRED SCHWARZTRAUBER         75 MAXESS ROAD
HOFWIESENSTRASSE 23                        INDUSTRIESTRASSE 16                 MELVILLE, NY 11747-3151
CRAILSHEIM 74564                           STUTENSEE D-76297
GERMANY                                    GERMANY



MSC TECHNOLOGIES GMBH                      MSC VERTRIEBS GMBH                  MSI LLC
ATTN THOMAS KLEIN, VP & GM                 ATTN MANFRED SCHWARZTRAUBER         1342 S POWERLINE RD
INDUSTRIESTRASSE 16                        INDUSTRIESTRASSE 16                 DEERFIELD BEACH, FL 33442
STUTENSEE D-76297                          STUTENSEE D-76297
GERMANY                                    GERMANY



MSI LLC                                    MSILICA INC                         MSI-VIKING GAGE LLC
ATTN MGR                                   ATTN VP                             ATTN PRES
622 BANYAN TRAIL, STE 200                  3300 CENTRAL EXPWY                  1865 AVENUE B NORTH, BLDG 177
BOCA RATON, FL 33431                       SANTA CLARA, CA 95051               CHARLESTON, SC 29492
MSLGROUP AMERICASCase
                   INC 25-90163   Document 87 Filed
                                     MSM SOLUTIONS, INC.in TXSB on 07/03/25 MSP
                                                                             Page  567 of 944
                                                                                COMMUNICATIONS
ATTN MANAGING DIR                     K4 ELECTRICAL & CONTROLS             220 S 6TH ST, STE 500
375 HUDSON ST                         11010 NE 37TH CIRCLE                 MINNEAPOLIS, MN 55402
NEW YORK, NY 10014                    VANCOUVER, WA 98682-7356




MSS FIRE & SECURITY, LLC              MSSW LLC                             MT SYSTEMS INC
11524 WILMAR BLVD                     907 RAMSEUR STREET                   ATTN PRES
CHARLOTTE, NC 28273                   DURHAM, NC 27701-4142                4466 ENTERPRISE ST
                                                                           FREMONT, CA 94538




MTA TECHNICAL SALES                   MTD MICRO MOLDING INC                MTEC SYSTEMS LTD
ATTN OWNER                            ATTN OPERATIONS MGR                  RECTORY BARN
7513 WYSTONE AVE                      15 TROLLEY CROSSING RD               LAZONBY, CMA CA101BL
RESEDA, CA 91335                      CHARLTON, MA 01507                   UNITED KINGDOM




MTECH LABORATORIES LLC                MTI CORPORATION                      MTI CORPORATION
ATTN PRESIDENT                        860 SOUTH 19TH STREET                ATTN SALES MGR
P.O. BOX 227                          RICHMOND, CA 94804-3809              5327 JACUZZI ST
BALLSTON SPA, NY 12020                                                     RICHMOND, CA 94804




MTI LABORATORY INC                    MTM METAL TECHNIC MACHINES GMBH      MTR CORP LTD
ATTN PRESIDENT                        ATTN MANAGER                         MTR HEADQUARTERS BLDG
201 CONTINENTAL BLVD, STE 300         AUGUSTIN-WIBBELT-STR 43              TELFORD PLAZA, 33 WAI YIP ST
EL SEGUNDO, CA 90245                  AHLEN 59227                          KOWLOON BAY
                                      GERMANY                              KOWLOON HONG KONG



MTS SERVICES INC                      MTS SYSTEMS                          [NAME REDACTED]
ATTN CFO                              14000 TECHNOLOGY DR                  [ADDRESS REDACTED]
1015 AVIATION PKWY, STE 1000          EDEN PRAIRIE, MN 55344
MORRISVILLE, NC 27560




[NAME REDACTED]                       MUEHLBAUER AG                        MUELLER CORP
[ADDRESS REDACTED]                    ATTN SALES SEMICONDUCTOR             ATTN VP
                                      JOSEF MUEHLBAUER PLATZ 1             530 SPRING ST
                                      RODING 93426                         EAST BRIDGEWATER, MA 02333
                                      GERMANY



MUELLER DIE CUT SOLUTIONS INC         MUELLER DIE CUT SOLUTIONS INC        [NAME REDACTED]
ATTN SALES SUPP MGR                   P.O. BOX 7503                        [ADDRESS REDACTED]
9201 STOCKPORT PL                     CHARLOTTE, NC 28273
CHARLOTTE, NC 28273




[NAME REDACTED]                       MUEZZINOGLU ELEKTRIK                 [NAME REDACTED]
[ADDRESS REDACTED]                    TURGUT OZAL BULVART                  [ADDRESS REDACTED]
                                      SAIR MEHMET AKIS ERSOY CAD 11A
                                      CEKMEKOY, ALEMDAG
                                      ISTANBUL 34000 ISTANBUL



[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]
                 Case 25-90163
MUI CONSULTING LLC                   Document  87
                                        MUJIN CO LTD Filed in TXSB on 07/03/25 [NAME
                                                                                 Page  568 of 944
                                                                                     REDACTED]
ATTN VICE PRESIDENT                      11 CHUNGNYEOL-DAERO                     [ADDRESS REDACTED]
34 SUMMIT DR                             BEON GIL-DONGNAE GU
ROCHESTER, NY 14620                      BUSAN 336
                                         SOUTH KOREA



MUKESH, JOSH                             [NAME REDACTED]                         [NAME REDACTED]
                                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                          MULLER, JAMES                           [NAME REDACTED]
[ADDRESS REDACTED]                       1008 EASTBROOK DR                       [ADDRESS REDACTED]
                                         BURLINGTON, WI 53105




[NAME REDACTED]                          [NAME REDACTED]                         MULTATECH ENGINEERING INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      ATTN PROGRAM MANAGER
                                                                                 2821 W 7TH ST
                                                                                 FT WORTH, TX 76107




MULTI PACKAGING SOLUTIONS INC            MULTIABLE COMPANY                       MULTI-CRAFT CONTRACTORS INC
ATTN SR VICE PRESIDENT, SALES            ATTN OPERATIONS MGR                     2300 LOWELL RD.
7915 INDUSTRIAL VILLAGE RD               RM 1903-1905 HOPEWELL CENTRE            SPRINGDALE, AR 72765-1760
GREENSBORO, NC 27409                     183 QUEENS RD E
                                         WANCHAI HONG KONG



MULTILAYER CIRCUIT TECH CO LTD           MULTILAYER PCB INTERNATIONAL (HK) LTD   MULTILAYER PROTOTYPES INC
ATTN SALES                               ATTN SALES                              ATTN VP OPERATIONS
RM604 BLK3B, HEZHOU, NORTH NO.7 RD       RM802, 8/F, CHINA INSURANCE GRP BLDG    2513 TELLER RD
VILLAGE XIXIANG TOWN, GUANGDONG          141 DES VOEUX ROAD CENTRAL              NEWBURY PARK, CA 91320
SHENZHEN CHINA                           CENTRAL HONG KONG



MULTIMICRO SYSTEMS LLC                   MULTINATIONAL RESOURCES INC             MULTIPLAYER PROTOTYPES INC
ATTN CHIEF EXECUTIVE OFFICER             ATTN VP SALES & MARKETING               ATTN VP OPS
987 FLAMECREST DR                        167 EXETER RD                           2513 TELLER RD
STONE MOUNTAIN, GA 30083                 NEWFIELDS, NH 03856                     NEWBURY PARK, CA 91320




MULTIWIRE LABORATORIES LTD               [NAME REDACTED]                         MUNACO SEALING SOLUTIONS INC
ATTN COO                                 [ADDRESS REDACTED]                      ATTN VICE PRESIDENT
266A LANGMUIR BLDG, MS 1018                                                      5 KETRON CT
95 BROWN RD                                                                      GREENVILLE, SC 29607
ITHACA, NY 14850



[NAME REDACTED]                          [NAME REDACTED]                         MUNDAY SCIENTIFIC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      90 MISHA LANE
                                                                                 SANFORD, NC 27330-7587
MUNDILEC SL      Case 25-90163 Document        87 Filed
                                        MUNDOCOLOR          in TXSB
                                                      ILUMINACION    on 07/03/25
                                                                  TECNICA S.A.     Page 569 INTERNACIONAL
                                                                                 MUNDOCOLOR     of 944    S.A.
ATTN PURCHASING                         ATTN PURCH MGR                           ATTN FRED HOFFMAN
CTRA DE MOLINS DE REI A SABADELL, KM135 DELS OFICIS, 25, GAVA                    BAILEN, 71 BIS
RUBI BARCELONA 08191                    BARCELONA 08850                          BARCELONA 08009
SPAIN                                   SPAIN                                    SPAIN



[NAME REDACTED]                         MUNOZ, SHEILA                           MUNSON MACHINERY CO INC
[ADDRESS REDACTED]                      DBA RS INSIGHTS                         ATTN MARKETING MGR
                                        ATTN OWNER                              210 SEWARD AVE
                                        2829 HICKORY RIDGE DR                   UTICA, NY 13502
                                        LAKELAND, FL 33813



MUNSON-WILLIAMS-PROCTOR INSTITUTE       MURACH, JOHN J                          [NAME REDACTED]
310 GENESEE STREET                      1218 COOPER DR                          [ADDRESS REDACTED]
UTICA, NY 13502-4764                    RALEIGH, NC 27607




[NAME REDACTED]                         MURAT AYDINLATMA SAN TICLTD VI          MURATA MACHINERY USA, INC.
[ADDRESS REDACTED]                      ATTN PRESIDENT                          ATTN: CHRIS COBB TREASURER &
                                        ADNAN KAHVECI MAH, MEHMETEIK CAD        SECRETARY
                                        NO 12 GURPINAR, BEYLIKDUZU              2120 QUEEN CITY DR.
                                        ISTANBUL 34520 TURKEY                   CHARLOTTE, NC 28208



MURATA MANUFACTURING CO LTD             MURATA POWER SOLUTIONS INC              [NAME REDACTED]
ATTN DIRECTOR, DEVICES DEV CTR          ATTN GM                                 [ADDRESS REDACTED]
10-1, HIGASHIKOTARI 1-CHOME             4118 14TH AVE, UNIT 4
NAGAOKAKYO, KYOTO 617-8555              MARKHAM, ON L3R 0J3
JAPAN                                   CANADA



[NAME REDACTED]                         [NAME REDACTED]                         MURILLO, RAUL
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      DBA SALVATUS SECURITY AGENCY
                                                                                ATTN CHIEF OF INVESTIG
                                                                                2416 GUTIERREZ DR
                                                                                FORT WORTH, TX 76177



[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  570 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         MURRAY, MICHAEL                    [NAME REDACTED]
[ADDRESS REDACTED]                      DBA LAKESIDE DESIGN OF MA          [ADDRESS REDACTED]
                                        254 LAKESIDE DR
                                        HANSON, MA 02341




MURRELEKTRONIK POWER OY                 [NAME REDACTED]                    MURSIX CORP
ATTN R&D MGR                            [ADDRESS REDACTED]                 ATTN ACCOUNT MGR
PALTTINAKATU 2                                                             2401 N EXECUTIVE PARK RD
LAHTI 15230                                                                YORKTOWN, IN 47396
FINLAND



[NAME REDACTED]                         [NAME REDACTED]                    MUSASHI ENGINEERING EUROPE GMBH
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 MARCEL-BREUER-STR. 15
                                                                           MUNICH 80807
                                                                           GERMANY




MUSCO SPORTS LIGHTING LLC               MUSIC GROUP INNOVATION SE AB       [NAME REDACTED]
ATTN GEN COUNSEL                        ATTN RESEARCH & TECH MGR           [ADDRESS REDACTED]
100 1ST AVE W                           FAKTORVAGEN 1
OSKALOOSA, IA 52577                     KUNGSBACKA 43498
                                        SWEDEN



[NAME REDACTED]                         [NAME REDACTED]                    MUSSETT NICHOLAS & ASSOCIATES INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 ATTN PRINCIPAL
                                                                           5974 6 FORKS RD, STE B
                                                                           RALEIGH, NC 27609




[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




MUSTANG TECHNOLOGY GROUP                MUTO TECHNOLOGY INC                MUZA METAL PRODUCTS LLC
ATTN SR HARDWARE SYSTEMS ENGINEER       2121 GRAND AVENUE PARKWAY          ATTN NEW BUSINESS DEV MGR
400 W BETHANY, STE 110                  AUSTIN, TX 78728-3938              606 E MURDOCK AVE
ALLEN, TX 75013                                                            OSHKOSH, WI 54901




MVB ASSOCIATES LLC                      MW MCWONG INTERNATIONAL INC        MW PRODUCTS GMBH
ATTN PRESIDENT                          ATTN VP                            ATTN HEAD OF SALES
1314 WELLINGTON DR                      9121 ARENA BLVD                    LOTTERBERGSTR 30
VICTOR, NY 14564                        SACRAMENTO, CA 95834               STUTTGART 70499
                                                                           GERMANY



MW US INC                               MW WATERMARK LLC                   M-WAVE INTERNATIONAL LLC
ATTN VICE PRESIDENT                     4660 136TH AVENUE                  ATTN PRES
1001 KLEIN RD, STE 400                  HOLLAND, MI 49424-9452             1300 NORWOOD AVE
PLANO, TX 75074                                                            ITASCA, IL 60143
MWI INC          Case 25-90163 Document      87 Filed
                                     MWS PRECISION  WIREin TXSB onINC07/03/25 MWT
                                                         INDUSTRIES            Page 571 of 944
ATTN PRESIDENT                       DBA MWS WIRE INDUSTRIES
1269 BRIGHTON HENRIETTA TOWN LINE RD ATTN SALES
ROCHESTER, NY 14623                  31200 CEDAR VALLEY DR
                                     WESTLAKE VILLAGE, CA 91362



MY RED BARN LLC                         MYA TECH SRL                         [NAME REDACTED]
12866 LEEPER PERKINS ROAD               ATTN ADMIN                           [ADDRESS REDACTED]
MARYSVILLE, OH 43040-9442               VIA TREVES 72/74
                                        TREZZANO SUL NAVIGLIO (MI) 20090
                                        ITALY



MYCARR LIGHTING TECH CO LTD             MYCIO WEALTH PARTNERS LLC            MYERS BIGEL SIBLEY & SAJOVEC PA
1, LANE 174, JUNG YOUNG RD              ATTN PARTNER                         4140 PARKLAKE AVE, STE 600
CHANGHUA 500                            2929 ARCH ST, STE 650                RALEIGH, NC 27612
TAIWAN                                  PHILADELPHIA, PA 19104-7396




MYERS BIGEL SIBLEY & SAJOVEC PA         MYERS VACUUM                         [NAME REDACTED]
P.O. BOX 37428                          1155 MYERS LN                        [ADDRESS REDACTED]
RALEIGH, NC 27627                       KITTANNING, PA 16201




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         MYGPS LLC                            [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN DIRECTOR                        [ADDRESS REDACTED]
                                        2-4-6-8-10-12 CHACHAVA
                                        TBILISI 0159
                                        GEORGIA



MYLED SARL                              [NAME REDACTED]                      MYSEC SWEDEN AB
ATTN PRESIDENT                          [ADDRESS REDACTED]                   VASTABERGA ALLE 60
RUE DE CORCELLES 60                                                          STOCKHOLM 012 63
ATTALENS 1616                                                                SWEDEN
SWITZERLAND



[NAME REDACTED]                         N.C. DEPT OF ENVIRONMENTAL QUALITY   N.C. DEPT OF ENVIRONMENTAL QUALITY
[ADDRESS REDACTED]                      1601 MAIL SERVICE CTR                217 W JONES ST
                                        RALEIGH, NC 27699-1601               RALEIGH, NC 27603




N.D. OFFICE OF STATE TAX COMMISSIONER   N.D. UNCLAIMED PROPERTY DIVISION     N.H. OFFICE OF ATTORNEY GENERAL
600 E BLVD AVE                          1707 NORTH 9TH STREET                CONSUMER PROTECTION & ANTITRUST
DEPT 127                                BISMARCK, ND 58501-1853              BUREAU
BISMARCK, ND 58505-0599                                                      33 CAPITOL ST
                                                                             CONCORD, NH 03301



N1 CRITICAL TECHNOLOGIES INC            N2NETSECURITY INC                    NAACP EMPOWERMENT PROGRAMS INC
211 NORTH PARKER DRIVE                  ATTN VP                              4805 MOUNT HOPE DR
JANESVILLE, WI 53545-3021               2500 REGENCY PKWY                    BALTIMORE, MD 21215
                                        CARY, NC 27518
[NAME REDACTED] Case 25-90163   Document 87
                                   NABHOLZ     Filed inSERVICES
                                           INDUSTRIAL    TXSB on 07/03/25 NADA
                                                                            Page  572 of 944
                                                                               TECHNOLOGIES LLC
[ADDRESS REDACTED]                  3301 NORTH 2ND STREET                 3500 COMSOUTH DRIVE
                                    ROGERS, AR 72756-6961                 AUSTIN, TX 78744




[NAME REDACTED]                     NADLEC SRL                            NAF NORTHERN OCEAN FREIGHT LTD
[ADDRESS REDACTED]                  ATTN GEN MGR                          ATTN OCEAN FREIGHT OPS MGR
                                    STRADA PER CASALMORO, 2H              STELUX HOUSE, 698 PRINCE EDWARD RD E
                                    CASTEL GOFFREDO (MN) 46042            SAN PO KONG
                                    ITALY                                 KOWLOON HONG KONG



NAFCO INTERNATIONAL INC             [NAME REDACTED]                       [NAME REDACTED]
ATTN OWNER                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]
206 W MCWILLIAMS ST
FOND DU LAC, WI 54935




[NAME REDACTED]                     NAGASE AMERICA LLC                    [NAME REDACTED]
[ADDRESS REDACTED]                  39555 ORCHARD HILL PLACE SUITE 356    [ADDRESS REDACTED]
                                    NOVI, MI 48375-5525




[NAME REDACTED]                     NAI HIFFMAN                           NAIR & CO LTD
[ADDRESS REDACTED]                  ATTN SAM BADGER, SVP                  ATTN LEGAL COUNSEL
                                    ONE OAK BROOK TERRACE, STE 400        WHITEFRIARS
                                    ROSEMONT, IL 60181                    LEWINS MEAD
                                                                          BRISTOL BS1 2NT UNITED KINGDOM



[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




NALCO CO                            [NAME REDACTED]                       [NAME REDACTED]
ATTN VP RD & E                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
1601 W DIEHL RD
NAPERVILLE, IL 60563




NALPEIRON INC                       NALUX CO LTD                          NAMICS TECHNOLOGIES INC
ATTN CHIEF REVENUE OFFICER          ATTN PRESIDENT                        226 AIRPORT PARKWAY SUITE 660
2225 E BAYSHORE RD, STE 200         2-1-7 YAMAZAKI, SHIMAMOTO CHO         SAN JOSE, CA 95110-3706
PALO ALTO, CA 94303                 MISHIMA-GUN
                                    OSAKA JAPAN



NAMIKI PRECISION JEWEL CO LTD       NAMIKI PRECISION OF CALIFORNIA INC    [NAME REDACTED]
ATTN EXEC MGR, SALES HQ             ATTN EXEC MGR, SALES HQ               [ADDRESS REDACTED]
8-22, SHINDEN 3-CHOME               282 HARBOR BLVD
ADACHI-KU                           BELMONT, CA 94002
TOKYO 123-8511 JAPAN



NAN FANG PUMP INDUSTRY CO LTD       [NAME REDACTED]                       [NAME REDACTED]
NO 20 HENGYI ST                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]
LINPING ECON & TECH DEV ZONE
HANGZHOU
CHINA
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 NANGJING
                                        [NAME REDACTED]                       Page 573   of 944
                                                                                     RESEARCH INSTITUTE OF-
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     ELECTRONICS TECHNOLOGY
                                                                                ATTN RF DESIGNER
                                                                                GUORUI RD
                                                                                NANJING 210039 CHINA



NANJING CHANGJIANG MACHINERY GROUP       NANJING CHEVRON INDUSTRY CO LTD        NANJING HANDSON CO LTD
NO.97 LUXIYING GULOU DISTRICT            WEST TIAN-YUAN RD                      HANDSON SCIENCE PARK
NANJING 210037                           NANJING ECONOMIC & TECH DEVELOPMENT    JIANGNING SCIENCE PARK
CHINA                                    ZONE                                   NANJING
                                         JIANGSU PROVINCE                       JIANGSU CHINA
                                         NANJING CHINA


NANJING J-CRYSTAL PHOTOELECTRIC TECH     NANJING SILIVERMICRO ELECTRONICS LTD   NANJING UNIVERSITY OF SCIENCE & TECH
CO LTD                                   9 XIUSHAN W RD                         200 XIAOLINGWEI RD
ATTN SALES MGR                           LISHUI ECONOMIC DEVELOPMENT ZONE       NANJING, JIANGSU 210094
NO. 58 HENGGUANG RD                      NANJING                                CHINA
NANJING ECONOMY & TECHNOLOGY ZONE        CHINA
JIANGSU CHINA


NANO MATERIALS INTL CORP                 NANO PACKAGING TECHNOLOGY              NANO SILICON, INC.
ATTN PRESIDENT                           ATTN R&D GM                            2461 AUTUMNVALE DR.
7960 S KOLB RD                           971-9 WOLCHUL-DONG                     SAN JOSE, CA 95131-1802
TUCSON, AZ 85706                         BUK-GU
                                         GWANGJU-CITY 500-460 SOUTH KOREA



NANOAI LLC                               NANOCO TECHNOLOGIES LTD                NANOCRYSTAL LIGHTING CORP
ATTN CTO                                 ATTN CEO                               33 W MAIN ST
8025 LAMON AVE, STE 446                  46 GRAFTON ST                          ELMSFORD, NY 10523-2446
SKOKIE, IL 60077                         MANCHESTER M13 9NT
                                         UNITED KINGDOM



NANOCRYSTALS TECHNOLOGY                  NANOENS                                NANOGRAM CORP
ATTN CHIEF TECH OFFICER                  ATTN PRES                              ATTN VP GLOBAL BUS DEV
235 ELM RD                               RM 526, 906-5 GYEONGGI R&DB CENTER     165 TOPAZ ST
BRIARCLIFF MANOR, NY 10510               906-5, LUI-DONG, YEONGTONG-GU          MILPITAS, CA 95035
                                         SUWON-SI, GYEONGGI-DO 443-766 SOUTH
                                         KOREA


NANOLUMENS INC                           NANO-MASTER INC                        NANOMETRICS INC
ATTN CEO                                 ATTN PRESIDENT                         ATTN PRESIDENT & CEO
6625 THE CORNERS PKWY, STE 100           3019 ALVIN DEVANE BLVD, STE 300        1550 BUCKEYE DR
NORCROSS, GA 30092                       AUSTIN, TX 78741                       MILPITAS, CA 95035




NANONEX                                  NANO-OR INC                            NANOPHORM LLC
ATTN COO                                 ATTN VP, SALES & MKTG                  ATTN GEN MGR
1 DEER PARK DR, STE O                    12750 FREDERICKSBURG DR                919 INCLINE WAY, UNIT 2
MONMOUTH JUNCTION, NJ 08852              SARATOGA, CA 95070                     INCLINE VILLAGE, NV 89451




NANOPIERCE CONNECTION SYSTEMS INC        NANOSCRIBE GMBH                        NANOSIL LLC
ATTN PRES & CEO                          ATTN CHIEF EXECUTIVE OFFICER           1170 SONORA COURT
4180 CENTER PARK DR                      HERMANN-VON-HELMHOLTZ-PLATZ 1          SUNNYVALE, CA 94086-5308
COLORADO SPRINGS, CO 80916               EGGENSTEIN-
                                         LEOPOLDSHAFEN 76344 GERMANY



NANOSYS INC                              NANOTRONICS IMAGING LLC                NANOTRONICS INC
ATTN VP INTELLECTUAL PROPERTY            ATTN VP & GM                           777 FLYNN ROAD
2625 HANOVER ST                          2251 FRONT ST, STE 100                 HOLLISTER, CA 95023-9558
PALO ALTO, CA 94304                      CUYAHOGA FALLS, OH 44221
NANOVEA INC      Case 25-90163        Document 87 TECHNOLOGIES
                                         NANOWAVE   Filed in TXSB
                                                               INC on 07/03/25 NANOWIRED
                                                                                 Page 574  of 944
                                                                                         GMBH
ATTN DIR OF OPERATIONS                    ATTN PRES/CEO                         99 EMANUEL-MERCK-STR.
6 MORGAN ST, 156                          425 HORNER AVE                        GERNSHEIM 64579
IRVINE, CA 92618                          ETOBICOKE, ON M8W 4W3                 GERMANY
                                          CANADA



NANTERO INC                               NANTONG FUJITSU MICROELECTRONICS CO   NANTONG TONGFANG SEMICONDUCTOR LTD
ATTN CEO                                  LTD                                   ATTN VICE PRESIDENT
25 E OLYMPIA AVE                          ATTN DEPUTY GEN MGR                   NO 499 DONGFANG RD NETDA
WOBURN, MA 01801                          NO 30, CHONGCHUAN RD                  JIANGSU
                                          NANTONG CITY 226006                   CHINA
                                          CHINA


NANYANG TECHNOLOGICAL UNIVERSITY          NAOTEK SARL                           [NAME REDACTED]
ATTN PROGRAM PRINCIPAL INVESTIGATOR       ATTN BUSINESS UNIT DIR                [ADDRESS REDACTED]
50 NANYANG AVE                            5 RUE ANTARES
SINGAPORE 639798                          CARQUEFOU 44470
SINGAPORE                                 FRANCE



[NAME REDACTED]                           NARDA HOLDINGS INC DBA NARDA-MITEQ    NASDAQ OMX GROUP CORP SVCS INC
[ADDRESS REDACTED]                        P.O. BOX 7140604                      ATTN CONTRACTS GROUP
                                          CHICAGO, IL 60674-0604                9600 BLACKWELL RD, 3RD FL
                                                                                ROCKVILLE, MD 20850




NASDAQ OMX GROUP CORP SVCS INC            [NAME REDACTED]                       [NAME REDACTED]
ATTN FINANCE DEPT                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]
12 CLOCK TOWER PLACE, STE 300
MAYNARD, MA 01754




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




NASSAU GROUP, LTD, THE                    NASSAU NATIONAL CABLE CORP            [NAME REDACTED]
ATTN PRESIDENT/CEO                        ATTN VICE PRESIDENT                   [ADDRESS REDACTED]
7361 BERRY HILL DR                        505 NORTHERN BLVD, STE 209
PALOS VERDE, CA 90274                     GREAT NECK, NY 11021




NATECH PLASTICS                           NATEL ENGINEERING CO INC              [NAME REDACTED]
ATTN DIRECTOR, BUS DEV                    C/O NEOTECH                           [ADDRESS REDACTED]
1750 JULIA GOLDBACH AVE                   9340 OWENSMOUTH AVE
RONKONKOMA, NY 11779                      CHATSWORTH, CA 91311




[NAME REDACTED]                           NATIONAL AIR FILTERS INC              NATIONAL AMUSEMENTS INC
[ADDRESS REDACTED]                        ADVANCED AIR TECHNOLOGY               ATTN CONSTRUCTION DEPT
                                          RALEIGH, NC 27610-1415                P.O. BOX 9126
                                                                                DEDHAM, MA 02027-9126




NATIONAL BENEFITS AMERICA                 NATIONAL CHUNG CHENG UNIVERSITY       NATIONAL CHUNG SHAN INST OF SCIENCE &
ATTN UNDERWRITING MNGR                    C/O DEPT OF ELECTRICAL ENG            TECHNOLOGY
10590 INDEPENDENCE POINTE PKWY            ATTN ASSOC PROFFESOR                  ATTN CHIEF
MATTHEWS, NC 28105                        168 DASHIEH RD, MINGSHIUN TOWNSHIP    NO 481, CHIA AN SEC
                                          CHIAYI COUNTY 62102 TAIWAN            CHUNG CHENG RD, CHIA AN VILLAGE
                                                                                LUNG TAN TAIWAN
NATIONAL COATINGSCase 25-90163       Document  87COMPASSION
                                        NATIONAL   Filed in FUND
                                                            TXSB on 07/03/25 NATIONAL
                                                                               Page 575   of 944
                                                                                      CONTROL DEVICES LLC
5115 NEW BERN AVE. STE 110               1450 DUKE STREET                      ATTN OWNER
RALEIGH, NC 27610-1429                   ALEXANDRIA, VA 22314-3403             P.O. BOX 455
                                                                               OSCEOLA, MO 64776




NATIONAL DIAGNOSTICS INC                 NATIONAL DIGITAL FORENSICS INC        NATIONAL ELECTRIC SUPPLY CO INC
6407 IDLEWILD RD, STE 211                ATTN PRESIDENT                        ATTN PRESIDENT
CHARLOTTE, NC 28212                      127 WEST HARGETT, STE 400             2200 MIDTOWN PL NE, STE C
                                         RALEIGH, NC 27601                     ALBUQUERQUE, NM 87101-4134




NATIONAL ELECTRICAL CARBON PRODUCTS      NATIONAL ELECTRICAL CARBON PRODUCTS   NATIONAL FIRE PROTECTION ASSOC (NFPA)
INC                                      200 N TOWNE ST                        1 BATTERYMARCH PARK
ATTN ROBERT M KRULAC                     FOSTORIA, OH 44830-2835               QUINCY, MA 02169
251 FORRESTER DR
GREENVILLE, SC 29607



NATIONAL GRID DBA NIAGARA MOHAWK         NATIONAL GRID                         NATIONAL IMAGING SYSTEMS
POWER CORPORATION                        1-3 STRAND                            729 E PRATT ST
300 ERIE BLVD WEST                       LONDON WC2N 5EH                       BALTIMORE, MD 21202
SYRACUSE, NY 13202-4201                  UNITED KINGDOM




NATIONAL INST OF STANDARDS &             NATIONAL INSTITUTE OF TECHNOLOGY      NATIONAL INSTRUMENTS CORPORATION
TECHNOLOGY                               TRICHY                                11500 NORTH MOPAC EXPWY
US DEPARTMENT OF COMMERCE                TANJORE MAIN ROAD, NATIONAL HIGHWAY   AUSTIN, TX 78759-3504
ATTN ACTING CHIEF                        67
100 BUREAU DR, STOP 2140                 TIRUCHIRAPPALLI
GAITHERSBURG, MD 20899-2140              TAMIL NADU 620 015
                                         INDIA

NATIONAL INSTRUMENTS SINGAPORE           NATIONAL PLASTIC HEATER SENSOR &      NATIONAL POWER CORPORATION
(PTE) LTD                                CONTROL INC                           4541 PRESLYN DRIVE
WESTGATE TOWER 1 GATEWAY DRIVE 08-       ATTN JAMES KANICHIS, PRESIDENT        RALEIGH, NC 27616-3178
SINGAPORE 608531                         5839 16TH SIDEROAD, RR1
SINGAPORE                                SCHOMBERG, ON L0G 1TO
                                         CANADA


NATIONAL RECYCLING INC                   NATIONAL RENEWABLE ENERGY LAB LLC     NATIONAL SECURITY TECHNOLOGY ACCELE
ATTN VP                                  ATTN JONATHAN KELLER                  220 NW 8TH AVE
4244 S 13TH ST                           1617 COLE BLVD, MAIL STOP 3911        PORTLAND, OR 97209
MILWAUKEE, WI 53221                      GOLDEN, CO 80401




NATIONAL SECURITY TECHNOLOGY             NATIONAL SEMICONDUCTOR CORP           NATIONAL SOCIETY OF BLACK ENGINEERS
ACCELERATOR (NSTXL)                      ATTN VP SALES & MKTG                  205 DAINGERFIELD ROAD
9450 SW GEMINI DRIVE SUITE 83246         2900 SEMICONDUCTOR DR                 ALEXANDRIA, VA 22314-2833
BEAVERTON, OR 97008-7105                 SANTA CLARA, CA 95051




NATIONAL SPECIALTY GASES                 NATIONAL STARCH AND CHEMICAL          NATIONAL TAIWAN UNIVERSITY OF SCIENCE
C/O AIRGAS                               COMPANY                               TECH
259 N RADNOR-CHESTER RD, STE 100         ATTN EXECUTIVE VP                     ATTN DEPT OF ELECTRONIC ENGINEERING
RADNOR, PA 19087-5283                    10 FINDERNE AVE                       NO 43, SEC 4, KEELUNG RD
                                         BRIDGEWATER, NJ 08807                 DAAN DIS
                                                                               TAIPEI 106 TAIWAN


NATIONAL TECHNOLOGY INC                  NATIONAL TRAFFIC SERVICE INC          NATIONAL UNION FIRE INSURANCE CO OF
ATTN PRESIDENT                           ATTN VP                               PITTSBURGH PA
1101 CARNEGIE ST                         151 JOHN JAMES AUDUBON PKWY
ROLLING MEADOWS, IL 60008                AMHERST, NY 14228
                  Case
NATIONAL UNION FIRE      25-90163
                    INSURANCE         Document  87WELDERS
                                         NATIONAL   Filed SUPPLY
                                                          in TXSB    on 07/03/25 NATIONAL
                                                                 CO INC            Page 576   of 944
                                                                                          WELDERS SUPPLY COMPANY INC
COMPANY OF PITTSBURGH, PA.                ATTN MG FIELD SVCS                      810 GESCO ST
1271 AVENUE OF THE AMERICAS, FL 41        P.O. BOX 31007                          CHARLOTTE, NC 28208
NEW YORK, NY 10020                        CHARLOTTE, NC 28231




NATIONAL WELDERS SUPPLY COMPANY INC       NATIONGATE TECHNOLOGY (M) SDN BHD       NATIONWIDE MUTUAL INSURANCE COMPANY
DBA AIRGAS NATIONAL WELDERS               ATTN DIRECTOR                           ATTN SR AVP
ATTN PRES                                 1413, SOLOK PERUSAHAAN SATU             18700 N. HAYDEN RD
5311 77TH CENTER DR                       KAWASAN PERINDUSTRIAN PRAI              SCOTTSDALE, AZ 85255
CHARLOTTE, NC 28217                       PERAI, PENANG 13600 MALAYSIA



NATIXIS BLEICHROEDER INC (0031)           NATL BANK OF CANADA FIN (8353)          NATL ELECTRICAL MANUFACTURERS ASSOC
JOHN CLEMENTE OR PROXY MGR                ATT PROXY MGR                           ATTN GENERAL COUNSEL
1345 AV OF THE AMERICAS                   FOUR EMBARCADERO CTR                    1300 N 17TH ST
NEW YORK, NY 10105-4300                   26TH FL                                 ROSSLYN, VA 22209
                                          SAN FRANCISCO, CA 94111



NATL FIN SVCS. (0226)                     NATL INST OF TECH TIRUCHIRAPPALLI       NATL INSTITUTE OF STANDARDS & TECH
ATT SEAN COLE OR PROXY DEPT               TANJORE MAIN RD, NATIONAL HWY 83        ATTN TESSA GORDON/LORI GRUBER
NEWPORT OFFICE CTR III                    TAMIL NADU 620015                       100 BUREAU DR, MS 2140
499 WASHINGTON BLVD                       INDIA                                   GAITHERSBURG, MD 20899-2140
JERSEY CITY, NJ 07310



NATL SEMICONDUCTOR CORP WEBENCH           NATL UNION FIRE INS CO OF PITTSBURGH,   [NAME REDACTED]
PRVT LABEL PRGM                           PA                                      [ADDRESS REDACTED]
ATTN VICE PRESIDENT TECHNICAL SALES       ATTN ASST VP
                                          1200 ABERNATHY RD NE, 7TH FL
                                          ATLANTA, GA 30328



[NAME REDACTED]                           NAUTEL LTD                              [NAME REDACTED]
[ADDRESS REDACTED]                        10089 PEGGYS COVE RD                    [ADDRESS REDACTED]
                                          HACKETTS COVE, NS B3Z 3J4
                                          CANADA




[NAME REDACTED]                           NAVAL SURFACE WARFARE CTR, CRANE DIV    [NAME REDACTED]
[ADDRESS REDACTED]                        ATTN ELECTRICAL ENGINEER                [ADDRESS REDACTED]
                                          300 HWY 361
                                          CODE GXRV, BLDG 3168
                                          CRANE, IN 47522



[NAME REDACTED]                           [NAME REDACTED]                         NAVEX GLOBAL INC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      ATTN GEN COUNSEL
                                                                                  5500 MEADOWS RD, STE 500
                                                                                  LAKE OSWEGO, OR 97035




NAVICO ITALIA SRL                         NAVIGANT CONSULTING INC                 NAVIGANT CONSULTING INC
VIA BENADIR 14                            ATTN DIRECTOR                           ATTN MANAGING DIR
MILAN 20132                               1320 PEARL ST, STE 300                  30 S WACKER DR, STE 3100
ITALY                                     BOULDER, CO 80302                       CHICAGO, IL 60606




NAVIGATORS MANAGEMENT CO INC              NAVIGATORS PRO                          NAVIGATORS SPECIALTY INS. CO.
ATTN SR MARINE UNDERWRITER                DIV OF NAVIGATORS MANAGEMENT CO INC     ONE PENN PLAZA, 50TH FL
1 PENN PLZ, FL 32                         ATTN CHRIS DUCA                         NEW YORK, NY 10119
NEW YORK, NY 10119                        ONE PENN PLZ, 32ND FL
                                          NEW YORK, NY 10119
                  Case
NAVILLE ILLUMINACAO LTDA 25-90163       Document
                                           NAVITAR87
                                                  INC Filed in TXSB on 07/03/25 NAVITAS
                                                                                  PageSEMICONDUCTOR
                                                                                        577 of 944 INC
ATTN MANAGING PARTNER                       200 COMMERCE DRIVE                   ATTN GENE SHERIDAN, CEO
RUA CANDEL 357, JD PRESIDENTE DUTRA         ROCHESTER, NY 14623-3506             2101 EL SEGUNDO BLVD
GUARULHOS                                                                        EL SEGUNDO, CA 90245
SAO PAULO BRAZIL



NAVITAS                                     NAVRAY KOREA                         NAVRICK ULTRAPURE WATER ENGINEERING
MIKE PHILLIPS AT BELL DAVIS & PITT          ATTN DIRECTOR                        CONSULTANT SERVICES
100 N. CHERRY ST                            20F, BLDG A, GUNPO IT VALLEY 543     3100 DOMINIC DRIVE
WINSTON-SALEM, NC 27101                     DANGJUNG-DONG                        AUSTIN, TX 78745-7462
                                            GUNPO, GYEONGGI-DO 15849 SOUTH
                                            KOREA


NBCN INC. /CDS (5008)                       NBS OPCO LTD                         NC AGRICULTURAL & TECH STATE
ATT DANIEL NTAP OR PROXY MGR                46 NEW BROAD ST                      UNIVERSITY
1010 DE LA GAUCHETIERE OUEST                LONDON EC2M 1JH                      ATTN VC RESEARCH & ECONOMIC DEV
STE 1925                                    UNITED KINGDOM                       1601 E MARKET ST
MONTREAL, QC H3B 5J2 CANADA                                                      GREENSBORO, NC 27411



NC CHILD SUPPORT CENTRALIZED                NC DEPARTMENT OF ENVIRONMENTAL       NC DEPARTMENT OF ENVIRONMENTAL
COLLECTIONS                                 QUALITY                              QUALITY
RE: 0007882287 (ORIGINAL)                   DIV OF WASTE MANAGEMENT, HAZARDOUS   DIVISION OF AIR QUALITY
P.O. BOX 900012                             WASTE SECTION                        1641 MAIL SERVICE CENTER
RALEIGH, NC 27675-9012                      217 WEST JONES STREET                RALEIGH, NC 27699-1641
                                            RALEIGH, NC 27603


NC DEPARTMENT OF ENVIRONMENTAL              NC DEPARTMENT OF REVENUE             NC DEPT OF COMMERCE
QUALITY                                     RE: 3623828250412                    ATTN SEC OF COMMERCE
DIVISION OF ENERGY, MINERAL, AND LAND       P.O. BOX 27431                       301 N WILMINGTON ST
RESOURCES                                   RALEIGH, NC 27611-7431               RALEIGH, NC 27699-4301
1612 MAIL SERVICE CENTER
RALEIGH, NC 27699-1612


NC DIVISION OF EMPLOYMENT SECURITY          NC GENERAL LEAKS REPAIRS LLC         NC HAZARDOUS WASTE SECTION
RE: 47178735                                ATTN OWNER                           ATTN: PHYLLISTINE SPINKS
P.O. BOX 25903                              1345 UJAMAA DR                       RALEIGH, NC 27605-1358
ATTN: BENEFITS INTEGRITY                    RALEIGH, NC 27610
RALEIGH, NC 27611



NC MEASUREMENTS CORP                        NC RADIATION PROTECTION SERVICES     NC STATE EMERGENCY RESPONSE
ATTN PRESIDENT                              1645 MAIL SERVICE CENTER             COMMISSION
100-A CENTREWEST COURT                      RALEIGH, NC 27699-1600               4201 MAIL SERVICE CENTER
CARY, NC 27513                                                                   RALEIGH, NC 27699-4201




NC STATE ENGINEERING FOUNDATION             NC STATE UNIVERSITY                  NC TONERSERV LLC
CAMPUS BOX 7295                             CAMPUS BOX 7203                      ATTN DIR SALES
RALEIGH, NC 27695-0001                      RALEIGH, NC 27695-0001               1109 COPELAND OAKS DR
                                                                                 MORRISVILLE, NC 27560




NC, CITY & COUNTY OF DURHAM                 NCAB GROUP ASIA LTD                  NCAB GROUP USA INC
101 CITY HALL PLAZA                         ATTN SALES DIR                       ATTN PRESIDENT
DURHAM, NC 27701                            STE D, 6/F, HO LEE COMM BLDG         10 STARWOOD DR
                                            38-44 DAGUILAR ST                    HAMPSTEAD, NH 03841
                                            CENTRAL HONG KONG



NCC NANO LLC                                NCI INC                              NCSU - DEPT OF PHYSICS
DBA NOVACENTRIX                             7125 NORTHLAND TERRACE SUITE 100     104 COX HALL
ATTN VP MKTG                                BROOKLYN PARK, MN 55428-1535         127 YARBOROUGH DR
200B PARKER DR, STE 580                                                          RALEIGH, NC 27650
AUSTIN, TX 78728
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  578 of 944
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[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         NEBRASKA DEPARTMENT OF BANKING AND   NEBRASKA DEPT OF ENVIRONMENTAL
[ADDRESS REDACTED]                      FINANCE                              QUALITY
                                        1526 K ST                            P.O. BOX 98922
                                        300                                  LINCOLN, NE 68509-8922
                                        LINCOLN, NE 68508



NEBRASKA DEPT OF LABOR                  NEBRASKA DEPT OF LABOR               NEBRASKA DEPT OF REVENUE
AMERICAN JOB CENTER , LINCOLN           OFFICE OF UNEMPLOYMENT INSURANCE     200 S SILBER ST
1330 N ST, STE A                        550 S 16TH ST                        NORTH PLATTE, NE 69101-4200
LINCOLN, NE 68508                       LINCOLN, NE 68509




NEBRASKA DEPT OF REVENUE                NEBRASKA DEPT OF REVENUE             NEBRASKA DEPT OF REVENUE
301 CENTENNIAL MALL S                   304 N 5TH ST, STE D                  505A BROADWAY STE 800
LINCOLN, NE 68508                       NORFOLK, NE 68701-4091               SCOTTSBLUFF, NE 69361




NEBRASKA DEPT OF REVENUE                NEBRASKA DEPT OF REVENUE             NEBRASKA OFFICE OF THE ATTORNEY
NEBRASKA STATE OFFICE BLDG              P.O. BOX 94818                       GENERAL
1313 FARNAM ST STE 100                  LINCOLN, NE 68509-4818               CONSUMER PROTECTION DIVISION
OMAHA, NE 68102-1836                                                         2115 STATE CAPITOL
                                                                             LINCOLN, NE 68509



NEBRASKA STATE TREASURER                NEBULA ENTERPRISES LLC               NEBULA ENTERPRISES LLC
UNCLAIMED PROPERTY DIVISION             ATTN PRES & CEO                      ATTN PRESIDENT
809 P ST                                242 STATE AVE                        3801 LAKE PADGETT DR
LINCOLN, NE 68508-1390                  HOLLY HILL, FL 32117                 LAND O LAKES, FL 34639




NEBULA EXHIBITS POLAND SP. Z O.O.       NEC CORP                             NEC NETWORK & SENSOR SYSTEMS LTD
OBORNICKA 4                             ATTN GENERAL MANAGER                 ATTN DEPT MANAGER
SUCHY LAS 62002                         7-1, SHIBA 5-CHOME, MINATO-KU        1-10, NISSIN-CHO
POLAND                                  TOKYO 108-8001                       FUCHU
                                        JAPAN                                TOKYO 185-8501 JAPAN



NEC TOKIN AMERICA INC                   [NAME REDACTED]                      NEEL LIGHITNG & CONTROLS INC
ATTN PRESIDENT                          [ADDRESS REDACTED]                   ATTN DAVID NEEL, OWNER
2460 N 1ST ST, STE 220                                                       1996 EASTMAN AVE, STE 111
SAN JOSE, CA 95131                                                           VENTURA, CA 93003




NEEL LIGHTING & CONTROLS INC            [NAME REDACTED]                      NEELTRAN INC
ATTN DAVID NEEL                         [ADDRESS REDACTED]                   ATTN EXEC VP
15500 W TELEGRAPH RD, STE A2                                                 71 PICKETT DISTRICT RD
SANTA PAULA, CA 93060                                                        NEW MILFORD, CT 06776
[NAME REDACTED] Case 25-90163          Document  87 FiledOFinWINCONSIN
                                          NEFF ENGINEERING    TXSB onINC
                                                                       07/03/25 [NAME
                                                                                  Page  579 of 944
                                                                                      REDACTED]
[ADDRESS REDACTED]                         ATTN ACCT MGR                          [ADDRESS REDACTED]
                                           12250 N CORPORATE PKWY
                                           MEQUON, WI 53092




[NAME REDACTED]                            [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                            NEHANET CORP                           [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN DIR SALES & ACCT MGMT             [ADDRESS REDACTED]
                                           5001 GREAT AMERICAN PKWY, STE 250
                                           SANTA CLARA, CA 95054




NEIL BOYD PHOTOGRAPHY INC                  [NAME REDACTED]                        [NAME REDACTED]
ATTN CEO                                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]
7209 CREEDMOR RD
RALEIGH, NC 27613




NELSON ELECTRIC SUPPLY CO INC              [NAME REDACTED]                        [NAME REDACTED]
ATTN VICE PRESIDENT, GM                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]
926 STATE ST
RACINE, WI 53404




[NAME REDACTED]                            [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]




NELTRON INDUSTRIAL CO LTD                  [NAME REDACTED]                        [NAME REDACTED]
ATTN SALES EXEC                            [ADDRESS REDACTED]                     [ADDRESS REDACTED]
R2102 CHINA UNITED PLZ
1008 TAI NAM WEST ST
LAI CHI KOK, KOWLOON HONG KONG



NEMOTO LUMI-MATERIALS CO LTD               NENG TYI PRECISION INDUSTRIES CO LTD   NENG TYI PRECISION INDUSTRIES CO LTD
ATTN PRES                                  ATTN GEN MGR                           ATTN GM
4-10-9, TAKAIDO-HIGASHI, SUGINAMI-KU       NO 23, WU CHUAN 3 RD                   7TH FL, NO 20, WUCHUAN 7TH RD
TOKYO 168-0072                             WU-KU HSIANG                           WUGU TOWN
JAPAN                                      TAIPEI HSIEN TAIWAN                    TAIPEI COUNTY TAIWAN



[NAME REDACTED]                            NEO-BRIGHT LIGHTING CO LTD             NEO-BRIGHT LIGHTING LTD
[ADDRESS REDACTED]                         ATTN CEO                               ATTN MR XUE-LIN LI, DIR & CHIEF ENGINEER
                                           2034 JINTONG ST, HUITONG DISTRICT      3/F, NO 7, PINGXI RD 3
                                           TANGJIAWAN, ZHUAI                      NANPING INDUSTRIAL PARK
                                           GUANGDONG CHINA                        ZHUHAI, GUANGDONG CHINA
NEOFOCAL SYTEMS Case 25-90163        Document
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                                              INCORP                          Page  580
                                                                                 KING LTD of 944
ATTN VICE PRESIDENT                      ATTN VP                              ATTN ASSITANT MKT MGR
10170 SW NIMBUS AVE, STE H-4             241 OSWALT AVE                       UNIT 601, 602 6/F, STAR HOUSE
PORTLAND, OR 97223                       BATAVIA, IL 60510                    NO.3 SALISBURY RD
                                                                              TSIMSHATSUI, KLN HONG KONG



NEON-EC LTD                              NEON-EC LTD                          NEON-ELECTRONIC COMPONENTS LTD
ATTN DEPUTY GEN DIRECTOR                 ATTN EKATERINA KOROTKOVA             ATTN GENERAL DIR
39, 10TH LINE, VO                        160 LENINSKY PROSPEKT                6-N OFFICE, 68/2 BUILDING
P.O. BOX 101                             VORONEZH 394063                      5-YA IINIYA VO
ST. PETERSBURG 199178 RUSSIA             RUSSIA                               ST PETERSBURG 199178 RUSSIA



NEO-NEON HOLDINGS LTD                    NEO-NEON INTERNATIONAL LTD           NEONICA POLSKA SP ZOO
GONG HE TOWN, HE SHAN CITY               13/F TWR A, NEW MANDARIN PLAZA       ATTN CEO
GUANGDONG 529728                         14 SCIENCE MUSEUM RD                 UL WEDMANOWEJ 6A
CHINA                                    KOWLOON                              LODZ 93-228
                                         HONG KONG                            POLAND



NEONLITE ELECTRONIC & LIGHTING LTD       NEOTRONI LIGHTING INC                NEOWAVE TECHNOLOGY CORP CO LTD
ATTN ASST PRODUCT MNG                    ATTN MR VICTOR WANG                  ATTN MKTG MANAGER
31/F TWO LANDMARK EAST                   NO 114 SEC 1                         23 SOI SUKHUMVIT 64, SUKHUMVIT RD
100 HOW MING ST                          ZHONGQING RD DAYA DIST               BANGCHAK, PRAKHANONG
KWUN TONG HONG KONG                      TAICHUNG CITY 428 TAIWAN             BANGKOK 10260 THAILAND



[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      NEPHOS CONSULTING LLC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   ATTN TREVOR RUSSELL
                                                                              2119 SW 162ND CT
                                                                              SEATTLE, WA 98116




NERA NETWORKS AS                         NERAC INC                            NERI SPA
ATTN VP TECHNOLOGY                       ATTN CONTROLLER                      ATTN ADMIN DELEGATOR
KOKSTADVEIEN 23                          ONE TECHNOLOGY DR                    SS EMILIA 1622, LONGIANO
BERGEN                                   TOLLAND, CT 06084                    CESENA 47020
NORWAY                                                                        ITALY



[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




NEST CONSULTING SRL                      [NAME REDACTED]                      NET MERCURY
ATTN SALES MANAGER                       [ADDRESS REDACTED]                   13438 FLOYD CIRCLE
PIAZZALE DELLA RESISTENZA, 3                                                  DALLAS, TX 75243-1503
SCANDICI (FI) 50018
ITALY
NET RAY (M) SDN BHDCase 25-90163   Document  87USAFiled
                                      NET ZERO     INC in TXSB on 07/03/25 NETAPP
                                                                             PageINC
                                                                                   581 of 944
ATTN BUSINSESS DEV DIR                 ATTN PERRY BELL                     ATTN DIST MNGR
B3-3-3, SOLARIS DUTAMAS                7565 INDUSTRIAL CT                  495 E JAVA DR
NO. 1, JALAN DUTAMAS 1                 ALPHARETTA, GA 30004                SUNNYVALE, CA 94089
KUALA LUMPUR 50480 MALAYSIA



NETFLIX INC                            NETFORWARD CORP                     [NAME REDACTED]
100 WINCHESTER CIR                     FORMERLY NETFORWARD LLC             [ADDRESS REDACTED]
LOS GATOS, CA 95032-1815               P.O. BOX 85911
                                       RACINE, WI 53408-5911




NETJETS AVIATION INC                   NETJETS SALES INC                   NETJETS, INC.
4111 BRIDGEWAY AVENUE                  4111 BRIDGEWAY AVENUE               ATTN: NETJETS CONTRACTS DEPT, OWNER
COLUMBUS, OH 43219-1882                COLUMBUS, OH 43219-1882             CONTRACT ADMIN
                                                                           4111 BRIDGEWAY AVENUE
                                                                           COLUMBUS, OH 43219



NETRIX LLC                             NETSCOUT SYSTEMS INC                NETSMART INC
2801 LAKESIDE DRIVE                    ATTN SR MGR                         ATTN IT CONSULTANT
BANNOCKBURN, IL 60015-1211             310 LITTLETON RD                    1312 BROOKGREEN DR
                                       WESTFORD, MA 01886                  CARY, NC 27511




NETSUITE INC                           NETUREN CO LTD                      NETWORK HARDWARE RESALE LLC
ATTN SALES MGR                         ATTN GM RESEARCH DEV CTR            ATTN SR COUNSEL
2955 CAMPUS DR, STE 100                OVAL CT OHSAKI MARK W, 2-17-1       6500 HOLLISTER AVE, STE 210
SAN MATEO, CA 94403                    HIGASHI-GOTANDA, SHINAGAWA-KU       SANTA BARBARA, CA 93117
                                       TOKYO 141-8639 JAPAN



NETWORKFAB CORP                        NETZERO DEV GROUP                   NETZSCH PREMIER TECHNOLOGIES LLC
ATTN PRESIDENT & CEO                   ATTN OWNER                          ATTN PRESIDENT
2066 WALSH AVE, STE B2                 10460 ROOSEVELT BLVD, 290           125 PICKERING WAY
SANTA CLARA, CA 95050                  ST PETERSBURG, FL 33716             EXTON, PA 19341




NEU CONCEPTS                           NEU DYNAMICS CORP & NDC             NEUMAN ALUMINIUM IMPACT EXTRUSION INC
1731 CANDEN AVENUE                     INTERNATIONAL INC                   ATTN DIR OF TECH SALES
DURHAM, NC 27704-4613                  ATTN PRESIDENT                      1418 GENICOM DR
                                       110 STEAMWHISTLE DR                 WAYNESBORO, VA 22980
                                       IVYLAND, PA 18974



[NAME REDACTED]                        NEUMARK ROTHSCHILD, GERTUDE F       NEUMARK ROTHSCHILD, GERTUDE F
[ADDRESS REDACTED]                     153 OLD COLONY RD                   C/O LAW OFFICES OF DIANA D PARKER
                                       HARTSDALE, NY 10530                 ATTN DIAN D PARKER
                                                                           162 E 80TH ST
                                                                           NEW YORK, NY 10075



NEUMARK ROTHSCHILD, GERTUDE F          [NAME REDACTED]                     [NAME REDACTED]
C/O TROUTMAN SANDERS LLP               [ADDRESS REDACTED]                  [ADDRESS REDACTED]
ATTN ALBERT L JACOBS, JR
CHRYSLER BLDG, 405 LEXINGTON AVE
NEW YORK, NY 10174



[NAME REDACTED]                        [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  582 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                         NEUROLEADERSHIP INSTITUTE INC       NEUSCHWANGER ENTERPRISES INC
[ADDRESS REDACTED]                      165 BROADWAY, SUITE 2301            DBA PACKAGING SPECIALTIES
                                        NEW YORK, NY 10006-1428             ATTN CONTROLLER
                                                                            18199 SW BOONES FERRY RD
                                                                            PORTLAND, OR 97224



[NAME REDACTED]                         NEUTECH PACKING SYSTEMS LLC         NEUTEK LLC
[ADDRESS REDACTED]                      ATTN PRESIDENT                      4040 E PRESIDIO ST, 115
                                        2049 MERCER RD                      MESA, AZ 85215
                                        LEXINGTON, KY 40511




NEUTRON LTD                             NEUTRONIX                           NEVADA CONSUMER AFFAIRS
ATTN DAVID HARDY                        ATTN VP                             DEPARTMENT OF BUSINESS & INDUSTRY
THE COURTYARD                           133 BERNAL RD                       1830 E COLLEGE PKWY STE 100
7 ACRES, SMALLFIELD RD                  SAN JOSE, CA 95119                  CARSON CITY, NV 89706
HORNE, SURREY RH6 9JP UNITED KINGDOM



NEVADA CONSUMER AFFAIRS                 NEVADA DEPT OF EMPLOYMENT,          NEVADA DEPT OF EMPLOYMENT,
DEPARTMENT OF BUSINESS & INDUSTRY       TRAINING & REHABILITATION           TRAINING & REHABILITATION
3300 W SAHARA AVE STE 425               2800 E ST LOUIS AVE                 6330 W CHARLESTON BLVD
LAS VEGAS, NV 89102                     LAS VEGAS, NV 89104                 LAS VEGAS, NV 89146




NEVADA DEPT OF TAXATION                 NEVADA DEPT OF TAXATION             NEVADA DEPT OF TAXATION
1550 COLLEGE PKWY                       4600 KIETZKE LANE                   700 E WARM SPRINGS RD, 2ND FL
STE 115                                 BLDG L, STE 235                     LAS VEGAS, NV 89119
CARSON CITY, NV 89706                   RENO, NV 89502




NEVADA DIVISION OF                      NEVADA OFFICE OF ATTORNEY GENERAL   NEVADA OFFICE OF ATTORNEY GENERAL
ENVIRONMENTAL PROTECTION                CONSUMER PROTECTION DIVISION        CONSUMER PROTECTION DIVISION
901 S STEWART ST                        100 N CARSON ST                     5420 KIETKE LANE STE 202
STE 4001                                CARSON CITY, NV 89701               RENO, NV 89511
CARSON CITY, NV 89701-5249



NEVADA OFFICE OF ATTORNEY GENERAL       NEVADA OFFICE OF THE LABOR          NEVADA OFFICE OF THE LABOR
CONSUMER PROTECTION DIVISION            COMMISSIONER                        COMMISSIONER
GRANT SAWYER BLDG                       1818 COLLEGE PKWY, STE 102          3340 W SAHARA AVE
555 E WASHINGTON AVE STE 3900           CARSON CITY, NV 89706               LAS VEGAS, NV 89102
LAS VEGAS, NV 89101



NEVADA SECRETARY OF STATE               NEVADA STATE TREASURER              [NAME REDACTED]
SECURITIES DIVISION                     UNCLAIMED PROPERTY DIVISION         [ADDRESS REDACTED]
NORTH LAS VEGAS CITY HALL               GRANT SAWYER BUILDING
2250 LAS VEGAS BLVD, N, STE 400         LAS VEGAS, NV 89101
LAS VEGAS, NV 89030



NEVERSET CORPORATION                    NEVRON SOFTWARE LLC                 NEW BREED LOGISTICS INC
DBA TRIANGLE COMPUTER ASSOC             ATTN PRESIDENT                      ATTN CHIEF EXECUTIVE OFFICER
ATTN PRESIDENT                          501 SILVERSIDE RD, STE 105          4035 PIEDMONT PKWY
3205 NIMICH POND WAY                    WILMINGTON, DE 19809                HIGHPOINT, NC 27265
RALEIGH, NC 27613
NEW BRIGHT TECH LTDCase 25-90163     Document 87 Filed
                                        NEW CONCEPT     in TXSB
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                                                                                Page 583 of
                                                                                  DOMINION   944LLC
                                                                                           GROUP
RM 2105, JFZ1728 TREND CENTRE            ATTN PRESIDENT                       ATTN PRES
29-31 CHEUNG LEE ST                      320 BUSSER RD                        2711 CREEK RUN CRT
CHAIWAN                                  EMIGSVILLE, PA 17318                 CHAPEL HILL, NC 27514
HONG KONG



NEW ENERGY CELLS INC                     NEW ENERGY LLC                       NEW EQUATION LLC
ATTN CHIEF EXECUTIVE OFFICER             ATTN RUSSELL SHAVER, GM              DBA SEER INTERACTIVE
634 NORTH ST                             1008 BULLARD CT, STE 200             ATTN COO
GREENWICH, CT 06830                      RALEIGH, NC 27615-6833               1028 N 3RD ST
                                                                              PHILADELPHIA, PA 19123



NEW HAMPSHIRE BUREAU OF SECURITIES       NEW HAMPSHIRE DEPT OF LABOR          NEW HAMPSHIRE DEPT OF REVENUE ADMIN
REGULATIONS                              95 PLEASANT ST                       109 PLEASANT ST
107 N MAIN ST                            CONCORD, NH 03301                    CONCORD, NH 03301
CONCORD, NH 03301-4989




NEW HAMPSHIRE DEPT OF REVENUE ADMIN      NEW HAMPSHIRE DEPT OF                NEW HAMPSHIRE EMPLOYMENT SECURITY
TAXPAYER SERVICES DIVISION               ENVIRONMENTAL SERVICES               ADMINISTRATIVE OFFICE
P.O. BOX 637                             29 HAZEN DR                          45 S FRUIT ST
CONCORD, NH 03302-0457                   CONCORD, NH 03002-0095               CONCORD, NH 03301




NEW HARTFORD SAFE & LOCK CO., LLC.       NEW IRON GROUP INC                   NEW JAPAN RADIO CO LTD
52 CAMPION ROAD                          5703B WILLIAM HOLLAND AVENUE         ATTN GEN MGR, RESEARCH & DEV DEPT III
NEW HARTFORD, NY 13413-1653              AUSTIN, TX 78735-1225                3-10 NIHONBASHI YOKOYAMA CHO
                                                                              CHUO KU
                                                                              TOKYO 103-8456 JAPAN



NEW JERSEY BUREAU OF SECURITIES          NEW JERSEY DEPARTMENT OF LABOR       NEW JERSEY DEPARTMENT OF REVENUE
OFFICE OF THE NEW JERSEY ATTORNEY        DIVISION OF TAXATION                 DIVISION OF TAXATION
GENERAL                                  TRENTON, NJ 08695-0281               TRENTON, NJ 08695-0281
153 HALSEY ST
6TH FL
NEWARK, NJ 07102


NEW JERSEY DEPT OF ENVIRON.              NEW JERSEY DEPT OF LABOR             NEW JERSEY DEPT OF THE TREASURY
PROTECTION                               AND WORKFORCE DEVELOPMENT            DIVISION OF ADMINISTRATION
P.O. BOX 420                             1 JOHN FITCH PLAZA                   P.O. BOX 211
TRENTON, NJ 08625                        TRENTON, NJ 08611                    TRENTON, NJ 08625-0211




NEW JERSEY DIVISON OF CONSUMER           NEW JERSEY FAMILY SUPPORT            NEW JERSEY NANOTECHNOLOGY
AFFAIRS                                  RE: CS52519033A (ORIGINAL)           CONSORTIUM LLC
OFFICE OF CONSUMER PROTECTION            P.O. BOX 4880                        600 MOUNTAIN AVE
124 HALSEY ST                            TRENTON, NJ 08650                    MURRAY HILL, NJ 07974
NEWARK, NJ 07102



NEW METALS AND CHEMICAL LTD              NEW MEXICO DEPT OF WORKFORCE         NEW MEXICO DEPT OF WORKFORCE
ATTN DIR                                 SOLUTIONS                            SOLUTIONS
NEWMET HOUSE, RUE DE SAINT LAWRENCE      UNEMPLOYMENT INSURANCE               UNEMPLOYMENT INSURANCE
WALTHAM ABBEY                            401 BROADWAY NE                      P.O. BOX 1928
ESSEX EN9 1PF UNITED KINGDOM             ALBUQUERQUE, NM 87102                ALBUQUERQUE, NM 87103



NEW MEXICO ENVIRONMENT DEPT              NEW MEXICO ENVIRONMENT DEPT          NEW MEXICO OFFICE OF ATTORNEY
HAROLD RUNNELS BLDG                      P.O. BOX 5469                        GENERRAL
1190 ST FRANCIS DR                       SANTA FE, NM 87502-5469              CONSUMER PROTECTION DIVISION
STE N4050                                                                     1175 COMMERCE DR, STE A
SANTA FE, NM 87505                                                            LAS CRUCES, NM 88001
NEW MEXICO OFFICECase     25-90163
                    OF ATTORNEY      Document 87 OFFICE
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                                                            ATTORNEY            Page  584SECRETARY
                                                                                  MEXICO   of 944 OF STATE,
GENERRAL                                 GENERRAL                              BUSINESS SCVS DIV
CONSUMER PROTECTION DIVISION             CONSUMER PROTECTION DIVISION          325 DON GASPAR, SUITE 300
201 3RD ST NE STE 300                    408 GALISTEO ST                       SANTA FE, NM 87501
ALBUQUERQUE, NM 87102                    VILLAGRA BUILDING
                                         SANTA FE, NM 87501


NEW MEXICO SECUIRITIES DIVISION          NEW MEXICO TAXATION AND REVENUE       NEW NAM LEE ELECTRIC WIRE CO LTD
2550 CERRILLOS RD                        1200 S ST FRANCIS DRIVE               ATTN SALES MGR
3RD FL                                   SANTA FE, NM 87504-0630               BIK A, 7/FL, GEE FAT FACTORY
SANTE FE, NM 87505                                                             FUK TSUN ST
                                                                               TAI KOK TSUI, KLN HONG KONG



NEW PIG CORPORATION                      NEW PNR ENTERPRISE CO LTD             NEW POTATO TECHNOLOGIES INC
ONE PORK AVENUE                          ATTN CHAIRMAN                         ATTN PRESIDENT
TIPTON, PA 16684-9025                    8F NO 987-7 CHUNRI RD                 5508 BUSINESS DR
                                         TAOYUAN DIST                          WILMINGTON, NC 28405
                                         TAOYUAN CITY 330022 TAIWAN



NEW RELIC INC                            NEW RESTORATION AND RECOVERY LLC      NEW REVOLUTION MEDIA LLC
ATTN LEGAL DEPT                          AQUALIS                               ATTN OWNER
188 SPEAR ST, STE 1200                   2510 MERIDIAN PARKWAY, STE 350        1250 MISSOURI ST, UNIT 112
SAN FRANCISCO, CA 94105                  DURHAM, NC 27713-2580                 SAN FRANCISCO, CA 94107




NEW SUMMIT SOLUTIONS LLC                 NEW TECH INC                          NEW TECHNOLOGY LIGHTING SRL
17081 CREEK RIDGE TRAIL                  ATTN PRESIDENT                        ATTN PRES
MINNETONKA, MN 55345                     15915 ASSEMBLY LOOP, PBPOC            VIA ARMANDO FABI, 327
                                         JUPITER, FL 33478                     FROSINONE 03100
                                                                               ITALY



NEW WAVE RESEARCH INC                    NEW WORLD RUBBER PRODUCTS CO LTD      NEW YORK DEPARTMENT OF TAXATION AND
ATTN CHAIRMAN                            ATTN ADMIN MGR                        FINANCE
47613 WARM SPRINGS BLVD                  7TH FL, MANSION INDUSTRIAL BLDG       PROCESS UNIT
FREMONT, CA 94539                        SIL 739 AH KUNG NGAM RD               P.O. BOX 1909
                                         SHAU KI WAN HONG KONG                 ALBANY, NY 12201-1909



NEW YORK DEPT OF REVENUE                 NEW YORK DEPT. OF FINANCE             NEW YORK DEPT. OF TAXATION AND
JP MORGAN CHASE                          CORRESPONDENCE UNIT                   FINANCE
BROOKLYN, NY 11245-0004                  ONE CENTRE ST, 22ND FL                BANKRUPTCY SECTION
                                         NEW YORK, NY 10007                    P.O. BOX 5300
                                                                               ALBANY, NY 12205-0300



NEW YORK DEPT. OF TAXATION AND           NEW YORK INVESTOR PROTECTION BUREAU   NEW YORK LIFE INSURANCE CO
FINANCE                                  28 LIBERTY ST                         C/O NY LIFE INVESTMENT MGMT LLC
OFFICE OF COUNSEL                        15TH FL                               ATTN REAL ESTATE GROUP
BUILDING 9                               NEW YORK, NY 10005                    51 MADISON AVE
WA HARRIMAN CAMPUS                                                             NEW YORK, NY 10010
ALBANY, NY 12227


NEW YORK LIGHTING CO LTD                 NEW YORK OFFICE OF THE ATTORNEY       NEW YORK OFFICE OF THE ATTORNEY
DBA WAC LIGHTING                         GENERAL                               GENERAL
ATTN VP OF R&D                           ALBANY OFFICE                         NEW YORK CITY OFFICE
44 HARBOR PARK DR                        BUREAU OF CONSUMER FRAUDS &           BUREAU OF CONSUMER FRAUDS &
PORT WASHINGTON, NY 11050                PROTECTION                            PROTECTION
                                         THE CAPITAL                           28 LIBERTY ST
                                         ALBANY, NY 12224-0341                 NEW YORK, NY 10005

NEW YORK STATE DEPARTMENT OF STATE       NEW YORK STATE DEPT OF LABOR          NEW YORK STATE DEPT. OF ENVIRONMENT
DIVISION OF CORPORATIONS, STATE          BLDG 12                               CONSERVATION
RECORDS                                  W.A. HARRIMAN CAMPUS                  625 BROADWAY STREET
AND UNIFORM COMMERCIAL CODE              ALBANY, NY 12226                      ALBANY, NY 12233-5013
99 WASHINGTON AVE
ALBANY, NY 12231
                 Case
NEW YORK STATE SALES    25-90163
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                                                            DEVELOPMENT         Page
                                                                                  YORK585 ofURBAN
                                                                                       STATE 944 DEVELOPMENT
JP MORGAN CHASE                          CORP                                CORPORATION
BROOKLYN, NY 11245-0004                  DBA EMPIRE STATE DEVELOPMENT        ATTN: JEAN WILLIAMS, SENIOR PROJECT
                                         ATTN VP & DIRECTOR                  MANAGER
                                         633 3RD AVE                         95 PERRY STREET, SUITE 500
                                         NEW YORK, NY 10017                  BUFFALO, NY 14203


[NAME REDACTED]                          [NAME REDACTED]                     NEWARK ELECTRONICS CORP
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  ATTN COO
                                                                             FARNEL HOUSE, FORGE LN
                                                                             LEEDS LS12 2NE
                                                                             UNITED KINGDOM



NEWARK                                   [NAME REDACTED]                     [NAME REDACTED]
300 S. RIVERSIDE, SUITE 2200             [ADDRESS REDACTED]                  [ADDRESS REDACTED]
CHICAGO, IL 60606-6765




NEWCASTLE SYSTEMS INC                    NEWCO INC                           NEWCOMB AND COMPANY
ATTN OFFICE MGR / OWNER                  121 ABERDEEN DR                     ATTN VP
15B SYLVAN ST                            FLORENCE, SC 29501                  3000 COMFORT CT
MIDDLETON, MA 01949                                                          RALEIGH, NC 22604




NEWCOMB CO INC                           [NAME REDACTED]                     NEWEDGE SIGNAL SOLUTIONS LLC
ATTN PRESIDENT                           [ADDRESS REDACTED]                  F/K/A KCB SIGNAL SOLUTIONS LLC
6352 UNIVERSITY DR                                                           ATTN PRESIDENT
HUNTSVILLE, AL 35806                                                         2 SHAKER RD, STE D209
                                                                             SHIRLEY, MA 01464



[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




NEWMONT MINING CORPORATION               NEWORLD ELECTRONICS LTD             NEWPORT CORP
ATTN SR ELECTRICAL ENGINEER              ATTN VICE PRESIDENT                 13976 COLLECTIONS CENTER DRIVE
6363 S FIDDLERS GREEN CIR, STE 800       UNIT 606, 6F, SHUI HING CENTRE      CHICAGO, IL 60693-0001
GREENWOOD VILLAGE, CO 80111              13 SHEUNG YUET RD, KOWLOON BAY
                                         KOWLOON HONG KONG



NEWSEMI TECHNOLOGY LTD                   NEWSIGHT CORP                       [NAME REDACTED]
ATTN CHENG, TIEN-YI                      F/K/A OPTICALITY CORP               [ADDRESS REDACTED]
4F-4, NO 1249, ZHONGZHEN RD              ATTN GENERAL COUNSEL
TAOYUAN CITY 33045                       11000 REGENCY PRWY, STE 403
TAIWAN                                   CARY, NC 27511



NEWTON INSTRUMENT COMPANY                NEWTON R&D CENTRE SDN. BHD          [NAME REDACTED]
ATTN PRES & CEO                          PLOT 96,                            [ADDRESS REDACTED]
111 E A ST                               SUNGAI PETANI IPOH PER KED 08000
BUTNER, NC 27503                         MALAYSIA
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 [NAME
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[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]




NEWWAVE CO LTD                             NEXEO SOLUTIONS LLC                   NEX-G SOLAR PTE LTD
ATTN DIR OF RESEARCH                       ATTN SR COUNSEL                       ATTN CEO
RM 814, 361 SIMIN-DAERO                    1400 WOODLOCH FOREST DR               25 KALLANG AVE, 07-05
DONGAN-GU                                  THE WOODLANDS, TX 77380               SINGAPORE 339416
ANYANG, GYEONGGI-DO 361 SOUTH KOREA                                              SINGAPORE



NEXGEN ENVIRO SYSTEMS INC                  NEXJEN SYSTEM LLC                     NEXOLVE CORPORATION
190 E HOFFMAN AVE                          ATTN VP                               ATTN SR CONTRACT MGR
LINDENHURST, NY 11757                      5933 BROOKSHIRE BLVD                  655 DISCOVERY DR, BLDG 3, STE 200
                                           CHARLOTTE, NC 28216                   HUNTSVILLE, AL 35806




NEXON ELECTRONICS KOREA CO., LTD.          NEXPERIA BV                           NEXPHASE LIGHTING INC
ATTN: MICHAEL CHO                          ATTN GENERAL COUNSEL                  ATTN COO
A-1211 GANGSEO HANGANGXI TOWER, 401,       JONKERBOSPLEIN 52                     7301 WILES RD, UNIT 103
YANGCHEON-RO, GANGSEO-GU                   NIJMEGEN 6534 AB                      CORAL SPRINGS, FL 33067
GANGSEO-GU, SEOUL SOUTH KOREA              NETHERLANDS



NEXT GEN ILLUMINATION INC                  NEXT GENERATION LIGHTING SOURCE CO    NEXT GENERATION LIGHTING SUPPLY
ATTN VP RESEARCH & DEV                     LTD                                   ATTN VICE PRESIDENT
472 E BOWEN BLVD                           ATTN PRESIDENT                        2236 S 3270 W, UNIT 5
FAYETTEVILLE, AR 72703                     4F NO. 18, PUDING RD                  SALT LAKE CITY, UT 84119
                                           HSINCHU CITY 30072
                                           TAIWAN


NEXT GENERATION LIGHTING                   NEXT IMAGING INC                      NEXT LEVEL PARTNERS LLC
ATTN OWNER                                 1STVISION INC                         ATTN EXEC VP NLP
5910 SHILOH RD E, STE 104                  40 SHATTUCK ROAD                      2338 IMMOKALEE RD, STE 415
ALPHARETTA, GA 30005                       ANDOVER, MA 01810-2491                NAPLES, FL 34110




NEXT SAFETY INC                            NEXT VENTURES LIMITED NEXT VENTURES   NEXTDOT SAS
ATTN VP OF BUSINESS DEVELOPMENT            LIMITED                               ATTN CHIEF EXECUTIVE OFFICER
6523 CLARKSDALE LN                         140 ALDERSGATE STREET, 7TH FLOOR      PARC BIOCITECH
DURHAM, NC 27713                           LONDON LND (LONDON) EC1A 4HY          102 AVE GASTON ROUSSEL
                                           UNITED KINGDOM                        ROMAINVILLE F-93230 FRANCE



NEXTEL                                     NEXTER ELECTRONICS                    NEXTEV CO LTD
12502 SUNRISE VALLEY DR                    ATTN COO                              BLDG 20, NO.56, ANTUO RD
RESTON, VA 20191-3438                      6 RUE CLAUDE MARIE PERROUD            ANTING TOWN, JIADING
                                           BP 84790, CEDEX 1                     SHANGHAI 201805
                                           TOULOUSE 31047 FRANCE                 CHINA



NEXTGEN ILLUMINATION INC                   NEXTLIGHT LLC                         NEXTNET WIRELESS INC
ATTN CHIEF LEGAL OFFICER                   ATTN PRESIDENT                        ATTN VP & CHIEF ARCHITECT
700 W RESEARCH CTR BLVD, STE 1000          431 OHIO PIKE, STE 206 S              2900 COUNTY RD 42 W
FAYETTEVILLE, AR 72701                     CINCINNATI, OH 45255                  BURNSVILLE, MN 55306




NEXTRACKER INC                             NEXTREME THERMAL SOLUTIONS INC        NEXTRONICS
ATTN CTO                                   ATTN VP MKT & BUS DEV                 ATTN OWNER
6200 PASEO PADRE PKWY                      3980 PATRIOT DR, STE 140              5254 CHERRINGTON RD, STE 100
FREMONT, CA 94555                          DURHAM, NC 27703                      TOLEDO, OH 43623
NEXUS LIGHT DR LLCCase 25-90163   Document  87 DR
                                     NEXUS LIGHT Filed
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                                                                              Page  587 of 944INC
                                                                                  TECHNOLOGIES
ATTN DIRECTOR                         DBA AFFINEON LIGHTING                 ATTN PRESIDENT
3250 CORPORATE WAY, UNIT A            ATTN CARROLL SMITH                    11 NATIONAL AVE
MIRAMAR, FL 33025                     3941 NW 126 AVE                       FLETCHER, NC 28732
                                      CORAL SPRINGS, FL 33065



NEXX SYSTEMS                          NEXXUS LIGHTING INC                   NFI INDUSTRIES INC
ATTN CEO                              ATTN DIR OF ENG                       ATTN VICE PRESIDENT OF SALES
90 INDUSTRIAL WY                      124 FLOYD SMITH DR, STE 300           1150 COMMERCE BLVD
WILMINGTON, MA 01887-4610             CHARLOTTE, NC 28262                   LOGAN TOWNSHIP, NJ 08085




NG CHER PENG                          [NAME REDACTED]                       [NAME REDACTED]
RM 303, BLDG A                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]
TIANAN INNOVATION & TECH PL
CHE KUNG MIAO
SHENZHEN, FUTIAN CHINA



[NAME REDACTED]                       [NAME REDACTED]                       NGC LTD
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    ATTN MATHRE ODUKA, INSTRUMENT
                                                                            ENGINEER
                                                                            A-9 MOSCOW RD
                                                                            PORT HARCOURT
                                                                            NIGERIA


[NAME REDACTED]                       NGK ELECTRONICS DEVICES, INC.         NGK INSULATORS, LTD.
[ADDRESS REDACTED]                    2701-1 HIGASHIBUN OMINE-CHO           2-56 SUDA-CHO, MIZUHO
                                      MINE-CITY 7592212                     NAGOYA 4678530
                                      JAPAN                                 JAPAN




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                       NGS GLOBAL AMERICAS LLC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    ATTN MANAGING PARTNER
                                                                            2603 CAMINO RAMON, STE 200
                                                                            SAN RAMON, CA 94583




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
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[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                           NH RAPID MACHINING LLC               NHANZ SYSTEMS PRIVATE LTD
[ADDRESS REDACTED]                        ATTN CUSTOMER ADVOCATE               ATTN CTO
                                          22 CHARRON AVE                       PLOT 204, SHED 2, 3RD PHASE
                                          NASHUA, NH 03063                     IND AREA BOMMASANDRA BENGALURU
                                                                               KARNATAKA 5600 099 INDIA



NHK SPRING CO LTD                         NIBECKER & ASSOCIATES INC            [NAME REDACTED]
ATTN IND MACH & EQUIP DIV SALES DIR       ATTN PRESIDENT                       [ADDRESS REDACTED]
2-1-49 NUMAME                             1320 FLYN RD, STE 404
ISEHARA-SHI, KANAGAWA 259-1126            CAMARILLO, CA 93012
JAPAN



NICETY TECHNOLOGIES INC                   NICHIA CHEMICAL INDUSTRIES INC LTD   NICHIA CORP
ATTN CHAIRMAN & CEO                       491 OKA, KAMINAKA-CHO                ATTN MR K AKUTAGAWA
242-4 NAMIKI                              ANAN-SHI, TOKUSHIMA 744-8601         491 OKA KAMINAKA-CHO
KAWAGOE-SHI, SAITAMA 30-0023              JAPAN                                ANAN-SHI, TOKUSHIMA 774-8601
JAPAN                                                                          JAPAN



NICHICON (AMERICA) CORPORATION            [NAME REDACTED]                      [NAME REDACTED]
ATTN PRESIDENT                            [ADDRESS REDACTED]                   [ADDRESS REDACTED]
927 E STATE PKWY
SCHAUMBERG, IL 60173
[NAME REDACTED] Case 25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
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[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      NICOFORM INC                       NICOL SCALES, LP
[ADDRESS REDACTED]                   ATTN PRESIDENT                     7239 ENVOY CT.
                                     72 CASCADE DR                      DALLAS, TX 75247-5103
                                     ROCHESTER, NY 14614




[NAME REDACTED]                      [NAME REDACTED]                    NICOR INC
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 ATTN ROCKLAND LAWRENCE
                                                                        2200 MIDTOWN PLACE NE
                                                                        ALBUQUERQUE, NM 87107




NICOR INC                            NICOR INC                          NIDEC COPAL ELECTRONICS INC
ATTN VP                              C/O BAUMAN DOW & STAMBAUGH         ATTN PRESIDENT
2700 MIDTOWN PL NE                   ATTN CHRISTOPHER P BAUMAN          367 VAN NESS WAY, STE 621
ALBUQUERQUE, NM 87107                7309 INDIAN SCHOOL RD NE           TORRANCE, CA 90501
                                     ALBUQUERQUE, NM 87110



NIDEC CORPORATION                    NIDEC GENMARK AUTOMATION INC       NIDEC MOTOR CORP
ATTN SVP/DEPUTY CTO                  46723 LAKEVIEW BLVD                ATTN VP NEW PRODUCT DEV
2-8 SHINKAWASAKI, SAIWAI-KU          FREMONT, CA 94538-6528             8050 W FLORISSANT AVE
KAWASAKI-SHI                                                            ST LOUIS, MO 63136
KANAGAWA 212-0032 JAPAN



NIDEC SV PROBE PTE LTD               NIDEC TOSOK CORPORATION            [NAME REDACTED]
ATTN VP OF SALES                     ATTN GEN MGR, SALES & MARKETING    [ADDRESS REDACTED]
54 SERANGOON NORTH AVE 4 01-02       2-215 SOBUDAI, ZAMA
555854                               KANAGAWA 228-8570
SINGAPORE                            JAPAN



[NAME REDACTED]                      NIEHENKE CONSULTING INC            NIELSEN MACHINE CO INC
[ADDRESS REDACTED]                   ATTN PRESIDENT                     ATTN PRESIDENT
                                     5829 BALANCE DR                    1201 WASHINGTON AVE
                                     ELKRIDGE, MD 21010                 RACINE, WI 53403




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]
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                                                 CORP LTD in TXSB on 07/03/25 NIGHTHAWK
                                                                                Page 591  of 944& CONSULTING
                                                                                        SECURITY
LTD                                       ATTN JOSEPH HU                        ATTN DENISE MARTIN
ATTN CHIEF EXECUTIVE OFFICER              NO 53, WEN YI ST, CHUPEI CITY         P.O. BOX 30099
BLDG 7, CAILUN RD 285                     HSIN CHU                              RALEIGH, NC 27622
ZHANJIANG HI-TECH ZONE, PUDONG NEW        TAIWAN
AREA
SHANGHAI CHINA

NIGHTSUN ENTERPRISES LTD                  [NAME REDACTED]                       NIHISR ADVANCE CLEANING EQUIPMENT
NIGHTSUN INDUSTRIAL PARK                  [ADDRESS REDACTED]                    SHANGHOU LTD
GUANGLONG RD, ZHONGLOU TAN TOWN
BAI YUN AREA
GUANGZHOU CHINA



NIHON DENGYO KOSAKU CO LTD                NIHON GARTER CO LTD                   NIHON GARTER KK
ATTN ENGINEER                             5-13, IMAI 3-CHOME, OME               C/O YAC GARTER CO LTD
7-4 NISSAI HANAMIZUKI                     TOKYO                                 3-5-13 IMAI, OME-SHI
SAKADO 350-0269                           JAPAN                                 TOKYO
JAPAN                                                                           JAPAN



NIHON INTER ELECTRONICS CORP              NIHON MACROMOLECULAR MATERIAL(SH)     NIIPP
ATTN PRES                                 CO LTD                                KEASNOARMEYSKAYA
1-9-5 NISHI SHINJUKU, MEIHO BLDG 2        ATTN DIR                              TOMSK 634034
SHINJUKU-KU                               255 CAILUN RD                         RUSSIA
TOKYO 160-0023 JAPAN                      SHANGHAI
                                          CHINA


NIKKA SEIKO CO LTD                        NIKON INSTRUMENTS INC                 NIKON METROLOGY INC
ATTN EXEC DIRECTOR                        ATTN EXEC VP                          12701 GRAND RIVER AVENUE
2-2-1, NOZAWA, SETAGAYA-KU                1300 WALT WHITMAN RD                  BRIGHTON, MI 48116-8506
TOKYO 154-0003                            MELVILLE, NY 11747
JAPAN



NIKON PRECISION INC                       NIKSO GROUP                           NIL TECHNOLOGY APS
ATTN VP TECH SALES & MKTG                 ATTN EFRAIM SAGI, PRES & CEO          ATTN SALES DIR
1399 SHOREWAY RD                          2A HABARZEL ST                        DIPLOMVEJ 381
BELMONT, CA 94002-4107                    TEL AVIV                              KONGENS LYNGBY DK-2800
                                          ISRAEL                                DENMARK



NILA INC                                  NILA INC                              NILFISK ADVANCE AMERICA INC
ATTN PRES                                 ATTN PRESIDENT                        740 HEMLOCK ROAD SUITE 100
4335 VAN NUYS BLVD, 237                   723 WEST WOODBURY RD                  MORGANTOWN, PA 19543-9744
SHERMAN OAKS, CA 91403                    ALTADENA, CA 91001




NILTOK                                    [NAME REDACTED]                       NIMBUS GROUP GMBH
ATTN DIR                                  [ADDRESS REDACTED]                    ATTN PRODUCT DEV
SLUNECNA 319                                                                    SIEGLESSTRASSE 41
STREDOKLUKY CZ-25268                                                            STUTTGART 70469
CZECH REPUBLIC                                                                  GERMANY



NIMBUS LIGHTING GROUP LTD                 NIMET INDUSTRIES                      NING BI SHI HAI SHU SHI JI RU QI
ATTN MARKETING MANAGER                    ATTN MGR                              SHANG MAO YOUXIAM GONG SI
180 STATION RD                            2424 FOUNDATION DR
PENROSE, AUCKLAND                         SOUTH BEND, IN 46628
NEW ZEALAND



NINGBO BRIGHT MAX CO LTD                  NINGBO CADYSUN LIGHTING TECH CO LTD   NINGBO FUTAI ELECTRIC CO LTD
ATTN DIRECT MGR                           ATTN SALES MGR                        ATTN GENERAL MGR
7F, NO 1 BLDG                             NO 8 S LONGSHUA RD, LONGSHAN TOWN     669 JINYUAN RD
HI-TECH SCIENCE & TECHNOLOGY SQ           CIXI, NINGBO                          YINZHOU IND INVESTMENT ZONE
ZHEJIANG 315040 CHINA                     ZHEJIANG 315311 CHINA                 NINGBO, ZHEJIANG 315104 CHINA
NINGBO FUTAI ELECTRICCaseCO 25-90163
                            LTD        Document
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                                                                                                 944          -
ATTN VP                                    ATTN GENERAL MGR                          TECHNOLOGY CO LTD
RM 705, UNIT B, SHIJIWEIYE BLDG            NO 37 RONG CHUANG RD, MING WEI CUN        NO 747, CIZHANG RD
NO. 6 NIANJIU LN, ZHONGSHAN W RD           YU YAO CITY                               ZHANGQI TOWN, CIXI
NINGBO 315016 CHINA                        ZHE JIANG 315400 CHINA                    NINGBO CHINA



NINGBO HONGFU ALUMINUM & PLASTIC -         NINGBO KING-BRIDGE LIGHTING TECH CO       NINGBO KOMACS ELECTRICAL INDUSTRY CO
ELECTRIC APPLICANCE CO LTD                 LTD                                       LTD
YOUIJIA VILLAGE, XIDAN TOWN                XINQIAO INDUSTRY ZONE                     JIFENG RD, JISHIGANG INDUSTRIAL ZONE
NINGHAI COUNTRY                            YANGMING ST                               YINZHOU DISTRICT
NINGBO, ZHEJIANG 315613 CHINA              YUYAO CITY, ZHEJIANG 315400               NINGBO
                                           CHINA                                     CHINA


NINGBO LIAOYUAN LIGHTING CO LTD            NINGBO MAIST VISION INSPECTION & MEAS     NINGBO MAYFLOWER OPTOELECTRONICS
ATTN LIGHTING LAB DIR                      CO LTD                                    CO LTD
XIAODONG INDUSTRY AREA, YUYAO NINGBO       ATTN MANAGER                              ATTN PRESIDENT
ZHEJIANG 315408                            A5-602, NO 15, LN 587, JUXIAN RD          FL 4, C5 NINGBO R&D PK, LN 299
CHINA                                      NINGBO 315040                             GUANGHUA RD, NINGBO
                                           CHINA                                     ZHEIJIANG CHINA


NINGBO MINGXIN MICROELECTRONICS CO         NINGBO SHI MAO TONG INTERNATIONAL CO      NINGBO SHUANGTONG ELECTRIC APP CO
LTD                                        LTD                                       LTD
168 CANG HAI RD                            NO 1203, 4TH BLDG, NO 495 N JIANGDON RD
NINGBO HI TECH PARK                        NINGO, ZHEJIAND
NINGBO, ZHEJIANG 315040                    CHINA
CHINA


NINGBO SUN LIGHT & POWER TECHNOLOGY        NINGBO SUNNY OPOTECH CO LTD               NINGBO WEITAO ELECTRICAL APPLICANCE
CO LTD                                     ATTN CFO                                  CO LTD
3F NO 151 DUANTANG W RD, HAISGU            NO 66-68, SHUNYU RD                       ATTN SALES MGR
DISTRICT                                   YUYAO                                     INDUSTRIAL ZONE OF XIDIAN
NINGBO CITY                                ZHEJIANG 315400 CHINA                     NINGHAI, NINGBO
CHINA                                                                                CHINA


NINGBO WELL ELECTRIC APPLIANCE CO LTD      NINGBO XIESHENG LIGHTING INDL CO LTD      NINGBO XUANHUA ELECTRIC COMPANY LTD
XIHUAN S RD NO 565                         BINHAI INDUSTRIAL ZONE                    ATTN MANAGER
YUYAO CITY, ZHEJIANG 315408                XIDIAN, NINGHAI                           XIAOLUXIA COUNTRY, SIMEN TOWN
CHINA                                      ZHEJIANG 315613                           YUYAO CITY
                                           CHINA                                     ZHEJIANG 315472 CHINA



NINGHAI JINCHAO ELECTRIC APPL CO LTD       NINGHAI XINGUANG ELECTRIC APP CO LTD      NINGO GINLONG TECHNOLOGIES CO LTD
HUANYUAN RD, BINHAI INDUSTRIAL ZONE        NO 8, YUANZHONG RD                        ADD 57 JINTONG RD
ZIDIAN, NINGHAI                            BINHAI INDUSTRIAL ZONE, XIDIAN TOWN       BINHAI (SEAFRONT) INDUSTRIAL PARK
NINGBO                                     NINGHAI COUNTY                            XIANGSHAN, NINGBO
CHINA                                      NINGBO, ZHEJIANG CHINA                    ZHEJIANG 315712 CHINA



NIPPO (HONG KONG) LTD                      NIPPON CARBON OF AMERICA LLC              NIPPON EXPRESS (HK) CO LTD
ATTN MANAGING DIRECTOR                     17706 ROUGH RIVER COURT                   ATTN ASST MANAGER
11/F, OCEAN CENTRE, STE 1113               HUMBLE, TX 77346-8265                     2F-3F CHINA RESOURCES INTERNATIONAL
HARBOUR CITY, 5 CANTON RD                                                            LOGISTICS CENTRE, 2 TAI MEI RD
KOWLOON HONG KONG                                                                    KWAI CHUNG, NT HONG KONG



NIPPON EXPRESS USA INC                     NIPPON GASES DEUTSCHLAND GMBH             NIPPON KORNMEYER CARBON GROUP GMBH
800 N IL ROUTE 83                          ATTN SALES MGR ESPG                       IM NASSEN 3
WOOD DALE, IL 60191                        HANS-BOECKLER-STRASSE 1                   WINDHAGEN 53578
                                           DUESSELDORF 40476                         GERMANY
                                           GERMANY



NIPPON SANSO CORPORATION                   NIPPON STEEL & SUMITOMO METAL             NIPRO OPTICS INC
ATTN BUSINESS DEVELOPMENT MGR              CORPORATION                               ATTN PRESIDENT
1-67-7 NISHI-SHINBASHI                     2-6-1, MARUNOUCHI MARUNOUCHI PARK         7 MARCONI
MINATO-KU                                  BLDG.                                     IRVINE, CA 92618
TOKYO 105-8442 JAPAN                       CHIYODA-KU
                                           TOKYO 1000005
                                           JAPAN
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  593 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         NISENE TECHNOLOGY GROUP INC           NISHIMURA PORCELAIN CO LTD
[ADDRESS REDACTED]                      ATTN SALES & MKTG MGR                 ATTN OVERSEAS SALES
                                        384 PINE ST                           3-2 KAWATA KIYOMIZUYAKI DANCHI
                                        WATSONVILLE, CA 95076                 YAMASHINA-KU
                                                                              KYOTO JAPAN



NISKO GROUP                             NISKO PROJECTS ELECTRONICS USA INC    NISSAN
ATTN: EFRAIM SAGI PRESIDENT & CEO       ATTN BRYAN FEINBERG                   1 NISSAN WAY
2A HABARZEL STR                         144 E 44TH ST                         FRANKLIN, TN 37067
TEL AVIV                                NEW YYORK, NY 10017
ISRAEL



NISSEI ASB CO                           NISSEI SANGYO AMERICA LTD             NISSIN INTERNATIONAL TRANSPORT USA
ATTN VP & GENERAL MGR                   C/O ELECTRON MICROSCOPE SYSTEM        1540 W 190TH ST
125 WESTLAKE PKWY, STE 120              GROUP                                 TORRANCE, CA 90501
ATLANTA, GA 30336                       ATTN ASSISTANT DIR
                                        755 RAVENDALE DR
                                        MOUNTAIN VIEW, CA 94043


NISSIN ION EQUIPMENT CO LTD             NISSIN ION EQUIPMENT USA INC.         NITE IZE INC
ATTN GENERAL MANAGER                    8701 N. MO-PAC EXPRESSWAY, STE. 130   ATTN CHIEF OPS OFFICER
575 KUZE-TONOSHIRO-CHO                  AUSTIN, TX 78759-8377                 5660 CENTRAL AVE
MINAMI-KU                                                                     BOULDER, CO 80301
KYOTO 601-8213 JAPAN



NITE IZE INC                            NITEK INC                             NITERIDER TECHNICAL LIGHTING SYSTEMS
ATTN CHIEF OPS OFFICER                  ATTN CONTRACTS MGR                    ATTN CEO & DIR
5735 E ARAPAHOE RD                      23031 LADBROOK DR                     8205 RONSON RD, STE E
BOULDER, CO 80303                       DULLES, VA 20166                      SAN DIEGO, CA 92111




NITRIDE SOLUTIONS INC                   NITRONEX CORPORATION                  NITTO (CHINA) NEW MATERIALS CO LTD
ATTN CHIEF EXECUTIVE OFFICER            ATTN PRESIDENT                        ATTN SALES MGR
333 W PAWNEE                            920 MAIN CAMPUS DR, STE 400           3F, BLDG 2, NO 631, JINZHONG RD
WITCHITA, KS 67217                      RALEIGH, NC 27606                     CHANGNING DIST
                                                                              SHANGHAI CHINA



NITTO DENKO AMERICA INC                 NITTO DENKO CORPORATION               NITTO INC
ATTN VICE PRESIDENT                     ATTN CORP VP, GM CORE TECH CNTR       1990 RUTGERS UNIVERSITY BLVD.
48500 FREMONT BLVD                      1-1-2 SHIMOHUZUMI, IBARAKI            LAKEWOOD, NJ 08701-4537
FREMONT, CA 94538                       OSAKA 567-8680
                                        JAPAN



NITTOH KOGAKU KK                        NIUMAMA CLEANING SERVICE CO           [NAME REDACTED]
ATTN MG DIR & GEN MANAGER               NO 87-1, FUXING ST                    [ADDRESS REDACTED]
1-1538 KAMIGAWA                         NEW TAIPEI, BANQIAO DIST 220
SUWA-SHI, NAGANO 392-0021               TAIWAN
JAPAN



NIVISS LESZEK LOSIN                     NIXON POWER SERVICES LLC              [NAME REDACTED]
ATTN PRESIDENT                          155 FRANKLIN ROAD SUITE 255           [ADDRESS REDACTED]
UL RDESTOWA 53D                         BRENTWOOD, TN 37027-4693
GDYNIA 81-577
POLAND
[NAME REDACTED] Case 25-90163             Document  87 Filed in TXSB on 07/03/25 [NAME
                                             [NAME REDACTED]                       Page  594 of 944
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[ADDRESS REDACTED]                            [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                               [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                            [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                               [NAME REDACTED]                    NLITEN INC
[ADDRESS REDACTED]                            [ADDRESS REDACTED]                 ATTN PRESIDENT
                                                                                 19300 SE VISTA HILL DR
                                                                                 HILLSBORO, OR 97123




NM KNIGHT CO INC                              [NAME REDACTED]                    NMERA CORP LLC
ATTN SALES MGR                                [ADDRESS REDACTED]                 ATTN PRESIDENT
1001 S 2ND ST                                                                    11550 NW REEVES ST
MILLVILLE, NJ 08332                                                              PORTLAND, OR 97229




NNCRYSTAL US CORPORATION                      NN-LABS LLC                        NNR GLOBAL LOGISTICS (M) SDN BHD
ATTN PRESIDENT                                ATTN PRESIDENT & COO               ATTN ASST MNG ACCOUNTS, ADMIN &
534 W RESEARCH CNTR BLVD, STE 254             P.O. BOX 2168                      QUALITY MGMT
FAYETTEVILLE, AR 72701                        FAYATTEVILLE, AR 72702-2168        NO. 15, JALAN BATU MAUNG, DIS3PLEX FCZ
                                                                                 AIRFREIGHT FORWARDERS WAREHOUSING
                                                                                 BAYAN LEPAS, PENANG 11960 MALAYSIA


NNR GLOBAL LOGISTICS USA INC                  NO 36 RESEARCH INSTITUTE OF CETC   NOAHS PLACE PETTING ZOO INC
ATTN NATIONAL SALES MGR                       RM 209, BLDG 12, KECHUANG CENTER   ATTN OWNER
1900J CENTER PARK DR                          NO 1369, CHENGNAN RD               1130 N MAIN ST
CHARLOTTE, NC 28217                           JIAXING ZHEJIANG                   KERNERSVILLE, NC 27284
                                              CHINA



NOBILE ILLUMINAZIONE SRL                      [NAME REDACTED]                    [NAME REDACTED]
ATTN CEO                                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]
VIA PORTUENSE 1555, COMMERCITY
ISOLA P, MODULI 21-22-23, PONTE GALERIA
ROMA 00148 ITALY



[NAME REDACTED]                               [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                            [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                               [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                            [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                               [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                            [ADDRESS REDACTED]                 [ADDRESS REDACTED]
NOETIX CORP       Case 25-90163         Document  87 Filed in TXSB on 07/03/25 NOKIA
                                           [NAME REDACTED]                      Page   595 of 944
                                                                                     CORP
ATTN SR VP                                  [ADDRESS REDACTED]                   ATTN PROJECT MGR
2229 112TH AVE NE                                                                KEILALAHDENTIE 4
BELLEVUE, WA 98004-2936                                                          P.O. BOX 300
                                                                                 ESPOO FI-00045 FINLAND



NOKIA INC                                   NOKIA SOLUTIONS & NETWORKS GMBH &    NOKIA SOLUTIONS & NETWORKS OY
ATTN IPR COUNSEL                            CO KG                                KARAPORTTI 3, P.O. BOX 1
6000 CONNECTION DR, MAIL DROP 1-4-755       LISE MEITNER STRASSE 7               ESPOO FI-02022
IRVING, TX 75039                            ULM 89081                            FINLAND
                                            GERMANY



NOKIA SOLUTIONS AND NETWO                   [NAME REDACTED]                      NOLETEC AB
GATE 1, PLOT NO OZ-8,19,20&21               [ADDRESS REDACTED]                   ATTN CHIEF EXECUTIVE OFFICER
TAMIL NADU 33 602105                                                             SMEDSTORPSVAGEN 10
INDIA                                                                            BALSTA SE-74693
                                                                                 SWEDEN



[NAME REDACTED]                             [NAME REDACTED]                      NOMADICS INC
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   ATTN CHIEF OPERATING OFFICER
                                                                                 1024 S INNOVATION WAY
                                                                                 STILLWATER, OK 74074




NOMURA REAL ESTATE DEVELOPMENT CO           NOMURA REAL ESTATE MASTER FUND INC   NOMURA SECS (0180)
LTD                                         ATTN EXECUTIVE OFFICER               ATT ADRIAN ROCCO OR PROXY MGR
ATTN GENERAL MANAGER                        8-5-1 NISHI-SHINJUKU, SHINJUKU-KU    WORLDWIDE PLAZA
1-26-2 NISHI-SHINJUKU, SHINJU-KU            TOKYO                                309 W. 49TH ST
TOKYO 163-0566                              JAPAN                                NEW YORK, NY 10019-7316
JAPAN


[NAME REDACTED]                             [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]




NOR CAL PRODUCTS INC                        NORA LIGHTING INC                    NOR-CAL PRODUCT
1967 SOUTH OREGON STREET                    ATTN PRESIDENT                       POB 518
YREKA CITY, CA 96097-3462                   6505 GAYHART ST                      YREKA, CA 96097
                                            COMMERCE, CA 90040




NORCHEM CORP                                NORCIMBUS                            NORCOM SYSTEMS INC
ATTN VP                                     ATTN CFO                             ATTN VP & GENERAL MGR
5649 ALHAMBRA AVE                           3415 E HARBOUR DR                    1055 W GERMANTOWN PIKE
LOS ANGELES, CA 90032                       PHOENIX, AZ 85034                    NORRISTOWN, PA 19403




NORCROSS CORPORATION                        [NAME REDACTED]                      NORDEON GMBH
255 NEWTONVILLE AVE                         [ADDRESS REDACTED]                   RATHENAUSTRASSE 2-6
NEWTON, MA 02458                                                                 SPRINGE D-31832
                                                                                 GERMANY
                 Case 25-90163
NORDIC LIGHT GROUP               Document
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                                           SEMICONDUCTOR  INC on 07/03/25 NORDSON
                                                                           Page 596   of 944
                                                                                  ADVANCED TECHNOLOGY
ATTN CHIEF EXECUTIVE OFFICER         1250 OAKMEAD PKWY, STE 210            INTERNATIONAL PTE LTD
P.O. BOX 86                          SUNNYVALE, CA 94085                   2 CORPORATION ROAD 03-10 CORPORATI
SKELLEFTEA SE-931 21                                                       SINGAPORE 618494
SWEDEN                                                                     SINGAPORE



NORDSON ASYMTEK                      NORDSON CORP                          NORDSON CORPORATION
25033 NETWORK PLACE                  21076 NETWORK PLACE                   45677 HELM ST
CHICAGO, IL 60673-1250               CHICAGO, IL 60673-1210                PLYMOUTH TOWNSHIP, MI 48170-6025




NORDSON EFD LLC                      NORDSON SONOSCAN                      NORDSON TEST AND INSPECTIONS AMERIC
ATTN PRESIDENT                       2149 EAST PRATT BLVD                  28601 CLEMENS RD
40 CATAMORE BLVD                     ELK GROVE VILLAGE, IL 60007-5914      WEST LAKE, OH 44145-4551
EAST PROVIDENCE, RI 02914




NOREN PRODUCTS INC                   [NAME REDACTED]                       NORITAKE CO INC
ATTN CEO                             [ADDRESS REDACTED]                    ATTN ABRASIVES DIV PRESIDENT
1010 OBRIEN DR                                                             4990 ALLIANCE DR
MENLO PARK, CA 94025                                                       MASON, OH 45040




NORLUX CORP                          [NAME REDACTED]                       NORMAN LAMPS INC
ATTN VICE PRESIDENT                  [ADDRESS REDACTED]                    ATTN PRESIDENT
575 RANDY RD                                                               P.O. BOX 3550
CAROL STREAM, IL 60188-2121                                                1775 WALLACE AVE ST
                                                                           CHARLES, IL 60174



[NAME REDACTED]                      [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                      NORSAT INTERNATIONAL INC              NORTEL NETWORKS CORPORATION
[ADDRESS REDACTED]                   ATTN CFO                              ATTN DIRECTOR
                                     110 4020 VIKING WAY                   3500 CARLING AVE
                                     RICHMOND, BC V6V 2L4                  NEPEAN, ON K2H 8E9
                                     CANADA                                CANADA



NORTEL NETWORKS LIMITED              NORTH AMERICAN CAPACITY INS. CO.      NORTH AMERICAN CAPACITY INSURANCE CO
ATTN VICE PRESIDENT                  650 ELM ST                            ATTN UNDERWRITER
8200 DIXIE RD, STE 100               MANCHESTER, NH 03101                  1301 AVE OF THE AMERICAS
BRAMPTON, ON L6T 5P6                                                       NEW YORK, NY 10019
CANADA



NORTH BAY TECHNICAL INC              NORTH CAROLINA ADVANCED ENERGY CORP   NORTH CAROLINA AGRICULT. & TECHNICAL
ATTN OWNER                           ATTN SR VICE PRESIDENT                STATE UNIV.
P.O. BOX 1052                        909 CAPABILITY DR, STE 2100           1601 E. MARKET STREET
FAIRFAX, CA 94978                    RALEIGH, NC 27606                     GREENSBORO, NC 27411-0002
                 Case
NORTH CAROLINA ARTS      25-90163
                     IN ACTION        Document  87 Filed
                                         NORTH CAROLINA    in TXSB onCENTER
                                                        BIOTECHNOLOGY 07/03/25 NORTH
                                                                                Page   597 ofBUSINESS
                                                                                     CAROLINA 944     LEADERS
P.O. BOX 51277                            15 TW ALEXANDER DR                    FOR EDUCATION DBA BEST NC
DURHAM, NC 27717-1277                     DURHAM, NC 27713                      501 SAS CAMPUS DRIVE BUILDING V
                                                                                CARY, NC 27513-2080




NORTH CAROLINA CHAMBER                    NORTH CAROLINA COASTAL CONTAINER IN   NORTH CAROLINA DEPARTMENT OF
701 CORPORATE CENTER DRIVE                3204 KINGSBRIDGE COURT                REVENUE
RALEIGH, NC 27607-5084                    WAKE FOREST, NC 27587-5419            P.O. BOX 25000
                                                                                RALEIGH, NC 27640-0100




NORTH CAROLINA DEPARTMENT OF              NORTH CAROLINA DEPT OF COMMERCE       NORTH CAROLINA DEPT OF LABOR
REVENUE                                   301 N WILMINGTON ST                   1101 MAIL SERVICE CTR
RE: 3814376220507                         RALEIGH, NC 27601-1058                RALEIGH, NC 27699-1101
P.O. BOX 871
RALEIGH, NC 27602-0871



NORTH CAROLINA DEPT OF LABOR              NORTH CAROLINA DEPT OF THE            NORTH CAROLINA DEPT. OF ENVIRO.
4 W EDENTON ST                            SECRETARY OF STATE                    QUALITY
RALEIGH, NC 27603                         P.O. BOX 29622                        1606 MAIL SERVICE CENTER
                                          RALEIGH, NC 27626                     RALEIGH, NC 27699-1606




NORTH CAROLINA OFFICE OF THE              NORTH CAROLINA SECURITIES DIVISION    NORTH CAROLINA STATE TREASURER
ATTORNEY                                  2 SOUTH SALISBURY ST                  UNCLAIMED PROPERTY DIVISION
GENERAL                                   RALEIGH, NC 27601-2903                P.O. BOX 20431
CONSUMER PROTECTION DIVISION                                                    RALEIGH, NC 27619-0431
114 WEST EDENTON ST
RALEIGH, NC 27603


NORTH CAROLINA STATE UNI                  NORTH CAROLINA STATE UNIVERSITY       NORTH CAROLINA STATE UNIVERSITY
DEPT OF ELECTRICAL & COMPUTER             2005 HARRIS HALL CAMPUS BOX 7123      ATTN DIR OF TECH TRANSFER
ENGINEERING                               RALEIGH, NC 27695-0001                920 MAIN CAMPUS DR
339 B EGRC CAMPUS BOX 7911                                                      RALEIGH, NC 27606
RALEIGH, NC 27695-7911



NORTH CAROLINA STATE UNIVERSITY           NORTH CAROLINA STATE UNIVERSITY       NORTH CAROLINA STATE UNIVERSITY
ATTN DIR, OFFICE TECH TRANSFER            ATTN DIRECTOR OF TECH ADMIN           OFFICE OF SPONSORED PROGRAMS
CAMPUS BOX 8210                           P.O. BOX 7003                         2701 SULLIVAN DR, STE 240
RALEIGH, NC 27695-8210                    RALEIGH, NC 27695-7003                CAMPUS BOX 7514
                                                                                RALEIGH, NC 27695-7514



NORTH COAST CALIBRATIONTION               NORTH DAKOTA DEPT OF HEALTH           NORTH DAKOTA DEPT OF LABOR
ATTN PRES                                 600 E BLVD AVE, DEPT 325              600 E BLVD AVE DEPT 406
3420 CAVALIER TRL, UNIT B                 BISMARCK, ND 58505-0250               BISMARCK, ND 58505-0340
CUYAHOGA FALLS, OH 44224




NORTH DAKOTA OFFICE OF ATTORNEY           NORTH DAKOTA SECURITIES DEPARTMENT    NORTH DAKOTA STATE UNIVERSITY
GENERAL                                   600 E BOULEVARD AVE                   ATTN ASST DIR BUS DEV
CONSUMER COMPLAINTS                       BISMARCK, ND 58505-0510               1715 NDSU RESEARCH PK DR
GATEWAY PROFESSIONAL CTR                                                        FARGO, ND 58102
600 E BOULEVARD AVE DEPT 125
BISMARCK, ND 58505


NORTH EAST SILICON TECHNOLOGIES INC       NORTH SEA ELECTRONICS                 NORTH STAR LIGHTING INC
ATTN PRES                                 ATTN MSC ELECTRONICS                  ATTN PRES
11 DAVID ST                               GRAVDALSVEIEN 245                     2150 PARKES DR
NEW BEDFORD, MA 02744                     LAKSEVAGG 5164                        BROADVIEW, IL 60155
                                          NORWAY
                  Case
NORTH STAR SCIENTIFIC   25-90163
                      CORP          Document  87 STAMPING
                                       NORTH STAR Filed in &TXSB   on 07/03/25 NORTH
                                                             TOOL INC           Page   598EXPRESS
                                                                                     STATE of 944
91-238A KALAELOA BLVD                   ATTN PRESIDENT                           ATTN PRES
KAPOLEI, HI 96707                       1264 INDUSTRIAL DR                       2520 S TRICENTER BLVD
                                        LAKE HILLS, IL 60156                     DURHAM, NC 27713




[NAME REDACTED]                         [NAME REDACTED]                          NORTHEAST HVAC SOLUTIONS, INC.
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       898 ROUTE 146
                                                                                 CLIFTON PARK, NY 12065-3414




NORTHEAST MOLD & PLASTICS INC           NORTHEASTERN AIR QUALITY INC             NORTHEASTERN UNIVERSITY
ATTN PRESIDENT                          730 THIRD STREET                         ATTN VP, FINANCE
137 NATIONAL DR                         ALBANY, NY 12206-2007                    360 HUNTINGTON AVE
GLASTONBURY, CT 06033                                                            BOSTON, MA 02115




NORTHEASTERN WATER SERVICES, INC.       NORTHERN CALIFORNIA FIRE PROTECTION      NORTHERN DISTRICT OF ALABAMA
CULLIGAN WATER CONDITIONI               SVS INC                                  PRIM F ESCALONA
429 AIRPORT DR.                         16840 JOLEEN WAY, STE A                  1801 4TH AVE NORTH
ENDICOTT, NY 13760-9998                 MORGAN HILL, CA 95037                    BIRMINGHAM, AL 35203




NORTHERN DISTRICT OF CALIFORNIA         NORTHERN DISTRICT OF CALIFORNIA          NORTHERN DISTRICT OF CALIFORNIA
PATRICK D ROBBINS                       PATRICK D ROBBINS                        PATRICK D ROBBINS
FEDERAL COURTHOUSE                      FEDERAL COURTHOUSE                       HERITAGE BANK BLDG
1301 CLAY ST                            450 GOLDEN GATE AVE                      150 ALMADEN BLVD STE 900
OAKLAND, CA 94612                       SAN FRANCISCO, CA 94102                  SAN JOSE, CA 95113



NORTHERN DISTRICT OF FLORIDA            NORTHERN DISTRICT OF FLORIDA             NORTHERN DISTRICT OF FLORIDA
MICHELLE SPAVEN                         MICHELLE SPAVEN                          MICHELLE SPAVEN
GAINESVILLE DIVISION                    PENSACOLA DIVISION                       TALLAHASSEE HEADQUARTERS, 111 N
300 E UNIVERSITY AVE, STE 310           21 E GARDEN ST, STE 400                  ADAMS ST
GAINESVILLE, FL 32601                   PENSACOLA, FL 32502                      4TH FL US COURTHOUSE
                                                                                 TALLAHASSEE, FL 32301


NORTHERN DISTRICT OF GEORGIA            NORTHERN DISTRICT OF ILLINOIS            NORTHERN DISTRICT OF ILLINOIS
RICHARD S MOULTRIE JR                   MORRIS PASQUAL, ACTING                   MORRIS PASQUAL, ACTING
RICHARD B RUSSELL FEDERAL BLDG          NORTHERN DISTRICT OF ILLINOIS, EASTERN   NORTHERN DISTRICT OF ILLINOIS, WESTERN
75 TED TURNER DR, SW, STE 600           DIVISION                                 DIVISION
ATLANTA, GA 30303-3309                  219 S DEARBORN ST, 5TH FL                327 S CHURCH ST, ROOM 3300
                                        CHICAGO, IL 60604                        ROCKFORD, IL 61101


NORTHERN DISTRICT OF INDIANA            NORTHERN DISTRICT OF INDIANA             NORTHERN DISTRICT OF INDIANA
TINA L NOMMAY                           TINA L NOMMAY                            TINA L NOMMAY
E. ROSS ADAIR FEDERAL BLDG & US         HAMMOND FEDERAL BLDG & US                ROBERT A. GRANT FEDERAL BLDG & US
COURTHOUSE, 3128 FEDERAL BLDG           COURTHOUSE, UNITED STATE ATTORNEYS       COURTHOUSE
1300 S HARRISON ST                      OFFICE                                   204 S MAIN ST, ROOM MO-1
FORT WAYNE, IN 46802                    5400 FEDERAL PLAZA, STE 1500             SOUTH BEND, IN 46601
                                        HAMMOND, IN 46320

NORTHERN DISTRICT OF IOWA               NORTHERN DISTRICT OF IOWA                NORTHERN DISTRICT OF MISSISSIPPI
TIMOTHY D. DUAX                         TIMOTHY D. DUAX                          CLAY JOYNER
UNITED STATES ATTORNEYS OFFICE          UNITED STATES ATTORNEYS OFFICE, HO-      UNITED STATES ATTORNEYS OFFICE,
111 7TH AVE, SE, BOX 1                  CHUNKBLDG, STE 670                       ETHRIDGE BLDG
CEDAR RAPIDS, IA 52401                  600 4TH ST                               900 JEFFERSON AVE
                                        SIOUX CITY, IA 51101                     OXFORD, MS 38655


NORTHERN DISTRICT OF NEW YORK           NORTHERN DISTRICT OF NEW YORK            NORTHERN DISTRICT OF NEW YORK
JOHN A SARCONE III                      JOHN A SARCONE III                       JOHN A SARCONE III
US ATTORNEYS OFFICE                     US ATTORNEYS OFFICE                      US ATTORNEYS OFFICE, 319 FEDERAL BDLG
14 DURKEE ST, STE 340                   445 BROADWAY, ROOM 218                   15 HENRY ST
PLATTSBURGH, NY 12901                   ALBANY, NY 12207-2924                    BINGHAMTON, NY 13901
NORTHERN DISTRICTCase
                   OF NEW25-90163
                           YORK       Document 87 DISTRICT
                                         NORTHERN   Filed in
                                                           OF TXSB
                                                              OHIO on 07/03/25 NORTHERN
                                                                                Page 599    of 944
                                                                                        DISTRICT OF OHIO
JOHN A SARCONE III                        CAROL M SKUTNIK                         CAROL M SKUTNIK
US ATTORNEYS OFFICE, P.O. BOX 7198        OFFICE OF THE UNITED STATES ATTORNEY,   US ATTORNEYS OFFICE
100 S CLINTON ST                          UNITED STATES COURTHOUSE                100 FEDERAL PLAZA EAST
SYRACUSE, NY 13261-7198                   801 W SUPERIOR AVE, STE 400             YOUNGSTOWN, OH 44503
                                          CLEVELAND, OH 44113-1852


NORTHERN DISTRICT OF OHIO                 NORTHERN DISTRICT OF OHIO               NORTHERN DISTRICT OF OKLAHOMA
CAROL M SKUTNIK                           CAROL M SKUTNIK                         CLINTON J. JOHNSON
US ATTORNEYS OFFICE                       US ATTORNEYS OFFICE                     110 W 7TH ST, STE 300
2 MAIN ST                                 FOUR SEAGATE, THIRD FL                  TULSA, OK 74119
AKRON, OH 44308                           TOLEDO, OH 43604



NORTHERN DISTRICT OF TEXAS                NORTHERN DISTRICT OF TEXAS              NORTHERN DISTRICT OF TEXAS
CHAD MEACHAM                              CHAD MEACHAM                            CHAD MEACHAM
1100 COMMERCE ST, THIRD FL                1205 TEXAS AVE, STE 700                 AMARILLO NATIONAL PLAZA TWO
DALLAS, TX 75242-1699                     LUBBOCK, TX 79401-40024                 500 S TAYLOR ST, STE 300
                                                                                  AMARILLO, TX 79101-2446



NORTHERN DISTRICT OF TEXAS                NORTHERN DISTRICT OF WEST VIRGINIA      NORTHERN DISTRICT OF WEST VIRGINIA
CHAD MEACHAM                              RANDOLPH J BERNARD                      RANDOLPH J BERNARD
BURNETT PLAZA, STE 1700                   CLARKSBURG FEDERAL BLDG                 FEDERAL BLDG
801 CHERRY ST, UNIT 4                     320 W PIKE ST, STE 300                  300 THIRD ST, STE 300
FT. WORTH, TX 76102-6882                  CLARKSBURG, WV 26301                    ELKINS, WV 26241



NORTHERN DISTRICT OF WEST VIRGINIA        NORTHERN DISTRICT OF WEST VIRGINIA      NORTHERN ENGRAVING CORP
RANDOLPH J BERNARD                        RANDOLPH J BERNARD                      ATTN VP OF SALES
FREDERICK P STAMP, JR, FEDERAL BLDG       US COURTHOUSE & POST OFFICE BLDG        803 S BLACK RIVER ST
STE 3000, 1125 CHAPLINE ST                STE 400, 217 W KING ST                  SPARTA, WI 54656
WHEELING, WV 26003                        MARTINSBURG, WV 25401



NORTHERN INDUSTRIAL SUPPLY LLC            NORTHERN LIGHTS SSI INC                 NORTHERN MARIANA ISLANDS ATTORNEY
482 LOCUST GROVE ROAD                     ATTN PRESIDENT & CEO                    GENERAL
GREENFIELD CENTER, NY 12833-1701          9155 JUDICIAL DR, STE 5201              ATTN: EDWARD MANIBUSAN
                                          SAN DIEGO, CA 92122                     CALLER BOX 10007
                                                                                  SAIPAN, MP 96950-8907
                                                                                  MARIANA ISLANDS


NORTHERN MIST LAWN SPRINKLER LTD          NORTHERN ROCKIES AGENCY INC             NORTHERN SAFETY CO INC
38009 31ST ST                             ATTN JAMES E ARMSTRONG, PRESIDENT       P.O. BOX 4250
BURLINGTON, WI 53105                      246 TIMBERLINE DR                       UTICA, NY 13504
                                          BOZEMAN, MT 59718




NORTHERN STATES METALS                    NORTHERN TST CO, THE (2669)             NORTHFIELD PRECISION INSTRUMENT
ATTN DISTRICT SALES MGR                   ATT ANDREW LUSSEN OR PROXY MGR          4400 AUSTIN BLVD
51 N MAIN ST                              801 S. CANAL ST                         ISLAND PARK, NY 11558-1621
WEST HARTFORD, CT 06107                   ATT: CAPITAL STRUCTURES-C1N
                                          CHICAGO, IL 60607



[NAME REDACTED]                           NORTHLAND COMMUNICATIONS                NORTHLAND COMMUNICATIONS
[ADDRESS REDACTED]                        ATTN JOHN MATTHEWS                      P.O. BOX 419
                                          1 DUPLI PARK DR                         HOLLAND PATENT, NY 13354-0419
                                          SYRACUSE, NY 13204




NORTHROP GRUMMAN CORP AEROSPACE           NORTHROP GRUMMAN CORP                   NORTHROP GRUMMAN CORPORATION - BWI
SYSTEMS                                   ATTN MADELINE GUILLORY, SR PRINCIPAL    ATTN MGR, MMIC DESIGN
ATTN SUBCONTRACTS MGR                     121 WINTERSON RD                        LINTHICUM
1 SPACE PK                                LINTHICUM, MD 21090                     LINTHICUM, MD 21090
REDONDO BEACH, CA 90278
NORTHROP GRUMMAN Case    25-90163
                    CORPORATION     Document 87 GRUMMAN
                                       NORTHROP  Filed inINFORMATION
                                                           TXSB on 07/03/25 NORTHROP
                                                                             Page 600   of 944SPACE & MISSION
                                                                                     GRUMMAN
ATTN M ZAHAROFF                         TECHNOLOGY                            SYSTEMS CORP
1310 BEULAH RD                          ATTN KAREN PADMORE, SR CONTRACTS      ATTN MATTHEW BREDEL
PITTSBURGH, PA 15235-5098               SPECIALIST                            1 RANCHO CARMEL
                                        ATTN KAREN PADMORE, SR CONTRACTS      SAN DIEGO, CA 92128
                                        7575 COLSHIRE DR, MS C8W1
                                        MCLEAN, VA 22102-5050

NORTHROP GRUMMAN SYSTEMS CORP           NORTHROP GRUMMAN SYSTEMS CORP         NORTHROP GRUMMAN SYSTEMS CORP
ATTN CONTRACTS ADMIN                    ATTN CONTRACTS ADMIN                  ATTN MGR, TCS SUBCONTRACTS
1580 A WEST NURSERY RD                  600 HICKS RD                          9326 SPECTRUM CENTER BLVD
LINTHICUM, MD 21090                     ROLLING MEADOWS, IL 60008             SAN DIEGO, CA 92123




NORTHROP GRUMMAN SYSTEMS CORP           NORTHROP GRUMMAN SYSTEMS CORP         NORTHROP GRUMMAN SYSTEMS CORP
ATTN PAUL LAUX, MGR                     ATTN SUBCONTRACT SPECIALIST           ATTN SUBCONTRACTS ADM
7323 AVIATION BLVD, MS-85               1580 W NURSERY RD                     1840 CENTURY PARK E
BALTIMORE, MD 21240                     LINTHICUM HEIGHTS, MD 21090           LOS ANGELES, CA 90067




NORTHROP GRUMMAN SYSTEMS                NORTHWEST ARKANSAS CHILDRENS SHELT    NORTHWEST CONTROL SYSTEMS INC
2000 WEST NASA BLVD                     860 NW VAUGHN RD                      7631 NORTHSHORE PLACE
MELBOURNE, FL 32904-0001                BENTONVILLE, AR 72713                 NO LITTLE ROCK, AR 72118-5311




NORTHWESTERN UNIVERSITYS-               NORTHWOOD RTC LLC                     [NAME REDACTED]
KELLOGG SCHOOL OF MANAGEMENT            C/O NORTHWOOD INVESTORS LLC           [ADDRESS REDACTED]
                                        ATTN MICHAEL OSHAUGHNESSY
                                        575 FIFTH AVE, 23RD FL
                                        NEW YORK, NY 10017



NORTON ARMATUREN                        NORTON COMPANY                        [NAME REDACTED]
C/O SPAAPEN HANDELMAATSCHAPPIJ BV       ONE NEW BOND ST                       [ADDRESS REDACTED]
TASVELD 4                               WORCESTER, MA 01606
MONTFOORT 3417 XS
NETHERLANDS



NORTONS SERVICES                        NORWEGIAN DEFENSE RESEARCH EST        NORWEGIAN DEFENSE RESEARCH
60 E RIO SALADO PKWY, STE 1000          INSTITUTION 20                        ESTABLISHMENT
TEMPE, AZ 85281                         KELLER 2007                           ATTN DIRECTOR
                                        NORWAY                                P.O. BOX 25
                                                                              KJELLER N-2027
                                                                              NORWAY


NORWEGIAN UNIVERSITY OF SCIENCE &       [NAME REDACTED]                       [NAME REDACTED]
TECH                                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]
ELECTRONICS & TELECOM DEPT
ATTN HEAD OF DEPT
OS BRAGSTADSPLASS 2
TRONDHEIM NO-7491 NORWAY


[NAME REDACTED]                         NOURYON FUNCTIONAL CHEMICALS LLC      NOUVEAU VENTE INC
[ADDRESS REDACTED]                      131 S. DEARBORN SUITE 1000            DBA JDF ASSOCIATES
                                        CHICAGO, IL 60603-5566                1061 CAMBRIDGE SQ, STE A
                                                                              ALPHARETTA, GA 30009




NOVA ELECTRONIC MATERIALS LLC           NOVA ELECTRONICS INC                  NOVA LIGHTING SERVICES INC
ATTN MGR, SALES ACCOUNTS                ATTN PRESIDENT                        3215 WELLINGTON CT, STE B
1189 PORTER RD                          36 DOCTOR FOOTE RD                    RALEIGH, NC 27615
FLOWER MOUND, TX 75022                  COLCHESTER, CT 06415
                 Case 25-90163
NOVA MEASURING INSTUMENTS             Document 87MICROWAVE
                                         NOVACOM    Filed in LTD
                                                              TXSB on 07/03/25 NOVACOM
                                                                                Page 601   of 944LTD
                                                                                       MICROWAVE
3342 GATEWAY BLVD, FREMONT, CA 9453       ATTN DIRECTOR                          ATTN JOHN EVANS, MANAGING DIR
FREMONT, CA 94538-6525                    47 RIVERSIDE                           UNIT 6, 22 THE GREEN NETTLEHAM
                                          MEDWAY CITY                            LINCOLN LN2 2NR
                                          ROCHESTER, KENT ME2 4DP UNITED         UNITED KINGDOM
                                          KINGDOM


NOVACOM MICROWAVE LTD                     NOVAE SYNDICATES LTD                   NOVAEST INTERNATIONAL CO LTD
ATTN MG DIRECTOR                          ATTN ASST UNDERWRITER                  ATTN GEN MGR
5 NETTLEHAM ENTERPRISE PARK               71 FENCHURCH ST, 7TH FL                NO 5, SEC 5, SINYI RD
DEEPDALE LANE, NETTLEHAM                  LONDON EC3M 4HH                        SINYI DISTRICT
LINCOLN LN2 2LT UNITED KINGDOM            UNITED KINGDOM                         TAIPEI CITY 110 TAIWAN



NOVAGARD SOLUTIONS INC                    NOVAK ELECTRIC                         NOVALED AG
ATTN CFO                                  440 HIGHLAND AVE                       ATTN DR SVEN MIRANO
5109 HAMILTON AVE                         FAIRFAX, IA 52228                      TATZBERG 49
CLEVELAND, OH 44114                                                              DRESDEN 01307
                                                                                 GERMANY



NOVANTA CORPORATION                       NOVASIC                                NOVATECH CO LTD
DBA CAMBRIDGE TECHNOLOGY                  ATTN PRES & CEO                        ATTN NAKAGAWA HIROSHI, PRESIDENT
125 MIDDLESEX TURNPIKE                    SAVOI TECHNOLAC, ARCHE BAT 4, BP 267   515-5 OISO, OISO-MACHI, NAKA-GUN
BEDFORD, MA 01730-1409                    LE BOURGET DU LAC CEDEX                KANAGAWA 255-0003
                                          73375 FRANCE                           JAPAN



NOVELLUS SYSTEMS IINC                     NOVI PROPERTY HOLDINGS LLC             [NAME REDACTED]
ATTN CTO & EXEC VP                                                               [ADDRESS REDACTED]
4000 NORTH FIRST ST
SAN JOSE, CA 95134




[NAME REDACTED]                           NOVOREAL IMMOBILIENINVEST AG           NOVORELL LTD
[ADDRESS REDACTED]                        FREYUNG 4/15                           ATTN CHIEF EXECUTIVE OFFICER
                                          PALAIS KINSKY                          34 KICHEVO ST, STE 9
                                          MARIAHILFER STRASSE 196                PLOVDIV 4004
                                          VIENNA 1010 AUSTRIA                    BULGARIA



[NAME REDACTED]                           NOVOTO INC                             NOVOTO LLC
[ADDRESS REDACTED]                        ATTN PRESIDENT                         ATTN PRINCIPAL
                                          8030 TAHOE PARKE CIR                   15915 WALUGA DR
                                          AUSTIN, TX 78726                       LAKE OSWEGO, OR 97035




NOVOTRON GMBH                             NOVUS ENGINEERING & APPLIED RESEARCH   NOVUS GROUP INC, THE
ATTN DIRECTOR                             INC                                    ATTN VP
MAUSERSTRASSE 31                          ATTN TIM NEAR                          2905 WESTCORP BLVD, STE 120
LUDWIGSBURG 71640                         310 CREEKVIEW TERRACE                  HUNTSVILLE, AL 35805
GERMANY                                   JOHNS CREEK, GA 30005-4697



[NAME REDACTED]                           NOZEL ENGINEERING CO LTD               NOZZLE SUPPLY CO
[ADDRESS REDACTED]                        ATTN DIR                               ATTN OWNER
                                          2-14-8 KAMITAKAIDO                     4523 FM 541 W
                                          SUGINAMI-KU                            FLORESVILLE, TX 78114
                                          TOKYO 168-0074 JAPAN



NP TECHNOLOGIES INC                       NPC GRANAT                             NPF NUOVA PRESSO FONDAL SPA
ATTN PRESIDENT                            ATTN ENGINEER                          ATTN CHIEF EXECUTIVE OFFICER
2393 TELLER , STE 111                     SHATELEN ST 3                          VIA CAMINANZ, 5
NEWBURY PARK, CA 91320                    ST PETERSBURG 194021                   BOSISIO PARINI (LC) 23842
                                          RUSSIA                                 ITALY
                  Case
NPM HOLDINGS US INC     25-90163
                    DBA NEO           Document  87 CO
                                         NR ELECTRIC Filed
                                                        LTD in TXSB on 07/03/25 NRPage  602 of 944GES MBH & CO KG
                                                                                   NEUE RAUMPFLEGE
CHEMICALS & OXIDES LLC                    ATTN MANAGER                          HEGERGASSE 7
P.O. BOX 912632                           69 SUYUAN AVE                         WEIN 1030
DENVER, CO 80291-2632                     NANJING                               AUSTRIA
                                          CHINA



NRC ELECTRONICS INC                       NRC GULF ENVIRONMENTAL SERVICES INC   NRG INSTALLATIONS LLC
ATTN VP SALES & OPERATIONS                600 GRAND PANAMA BLVD SUITE 200       ATTN OWNER
6600 PARK OF COMMERCE BLVD                BAYSHORE GARDENS, FL 34207            5693 W HOWARD
BOCA RATON, FL 33486-8295                                                       NILES, IL 60714




NSBE AT NC STATE                          NSCRYPT INC                           [NAME REDACTED]
NATIONAL SOCIETY OF BLACK                 ATTN CEO                              [ADDRESS REDACTED]
111 LAMPE DRIVE                           3251 PROGRESS DR, STE D
RALEIGH, NC 27607                         ORLANDO, FL 32826




NSTAR GLOBAL SERVICES INC                 NSTAR                                 NSW AUTOMATION SDN BHD
ATTN PRODUCT MGR                          C/O EVERSOURCE                        ATTN MANAGING DIR
120 PARTLO ST                             107 SELDEN ST                         25, LTG BERINGIN 3, DIAMOND VALLEY
GARNER, NC 27529                          BERLIN, CT 06037                      PENANG
                                                                                MALAYSIA



NSWC CRANE                                [NAME REDACTED]                       NTEK LITHO LIMITED
ATTN ELECTRICAL ENGINEER                  [ADDRESS REDACTED]                    UNIT 2A 86 CANYON ROAD EXCELSIOR PA
300 HWY 361                                                                     GLASGOW ML20EG
CODE GXRV, BLDG 3168                                                            UNITED KINGDOM
CRANE, IN 47522



NTEK TECHNOLOGIES INC                     NTH DEGREE TECHNOLOGIES WORLDWIDE     [NAME REDACTED]
ATTN PRESIDENT                            INC                                   [ADDRESS REDACTED]
823 KIFER RD                              ATTN PRES & COO
SUNNYVALE, CA 94086                       1320 W AUTO DR
                                          TEMPE, AZ 85284



NTK TECHNOLOGIES INC                      NTNU                                  [NAME REDACTED]
ATTN VP OF MARKETING/CONTRACTS            OS BRAGSRTADSPLASS 2                  [ADDRESS REDACTED]
3979 FREEDOM CIR, STE 320                 TRONDHEIM 7491
SANTA CLARA, CA 95054                     NORWAY




NTS LABS LLC                              NTS TECHNICAL SYSTEMS                 NTT CLOUD COMMUNICATIONS US INC
ELEMENT MATERIALS TECHNOL                 1146 MASSACHUSETTS AVENUE             1501 E WOODFIELD ROAD, SUITE 400 E
5 NORTH PARK DRIVE                        BOXBOROUGH, MA 01719-1415             SCHAUMBURG, IL 60173-6052
HUNT VALLEY, MD 21030-1813




NTT MSC SDN BHD                           NTT PHILIPPINES SOLUTIONS INC         NU CON CORPORATION
LEVEL 11 1 FIRST AVENUE BANDAR UTAM       ATTN SALES DIRECTOR                   ATTN SALES & MKTG MGR
PETALING JAYA, SELANGOR 47809             26/F ZUELLIG BLDG                     34100 INDUSTRIAL RD
MALAYSIA                                  MAKATI AVE, COR PASEO DE ROXAS        LIVONIA, MI 48150
                                          MAKATI CITY 1227 PHILIPPINES



NUALIGHT EUROPE                           NUALIGHT LIMITED                      NUALIGHT LTD
ATTN COO                                  ATTN BERRY KOCK, CTO                  ATTN MANAGING DIR
CORK BUSINESS PARK, MODEL FARM RD         MODEL FARM RD                         UNIT 3, AIRPORT E BUSINESS & TECH PARK
CORK                                      CORK                                  FARMER CROSS
IRELAND                                   IRELAND                               UNITED KINGDOM
[NAME REDACTED] Case 25-90163        Document
                                        NUCORE87  Filed in TXSB on 07/03/25 NUDT
                                              ELECTRIC                        Page 603 of 944
[ADDRESS REDACTED]                       651 S SUTTON RD, STE 305               DEYA ST 109
                                         STREAMWOOD, IL 60107                   CHANGSHA, HUNAN 410073
                                                                                CHINA




NUFLARE TECHNOLOGY INC                   NUI MAYNOOTH                           [NAME REDACTED]
ATTN DIRECTOR                            ATTN BURSAR                            [ADDRESS REDACTED]
8-1, SHINSUGITA-CHO                      MAYNOOTH
YOKOHAMA, KANAGAWA 235-8522              CO KILDARE
JAPAN                                    IRELAND



NUJIRA LTD                               [NAME REDACTED]                        [NAME REDACTED]
ATTN CEO                                 [ADDRESS REDACTED]                     [ADDRESS REDACTED]
BLDG 1010, CAMBOURNE BUS PARK
CAMBOURNE
CAMBRIDGE CB23 6DP UNITED KINGDOM



[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




NUSOD INSTITUTE LLC                      [NAME REDACTED]                        NUTANIX INC
ATTN PRESIDENT                           [ADDRESS REDACTED]                     ATTN CHIEF ACCTG OFFICER
P.O. BOX 7204                                                                   1740 TECHNOLOGY DR, STE 150
NEWARK, DE 19714                                                                SAN JOSE, CA 95110




NUTEK AMERICAS INC                       NUTEK PRIVATE LTD                      NUTHERM TECH INC
ATTN PRESIDENT                           ATTN GM, CHINA OPS                     ATTN CTO
1831 LEFTHAND CIR, STE E                 39 JOO KOON CIRCLE                     45401 RESEARCH AVE, STE 117
LONGMONT, CO 80502                       SINGAPORE 629105                       FREEMONT, CA 94539
                                         SINGAPORE



NUTRIM TECH INC                          [NAME REDACTED]                        NUTZ GMBH
ATTN PRESIDENT                           [ADDRESS REDACTED]                     ALDERSTRASSE 1
1F, NO 25-1, JILIN RD                                                           AMPFING 84539
ZHONGLI DISTRICT                                                                GERMANY
TAOYUAN CITY 320679 TAIWAN



NUVENTIX INC                             NUVOTRONICS INC                        NUVU CAMERAS INC
ATTN CEO                                 ATTN EXECUTIVE VP                      355 PEEL STREET
4301 W BANK DRIVE, BLDG A150             2305 PRESIDENTIAL DR                   MONTREAL, QC H3C 2G9
AUSTIN, TX 78746                         DURHAM, NC 27703                       CANADA




NUWAVES LTD                              NVC LIGHTING TECHNOLOGY CORP           NVIDIA CORP
DBA NUWAVES ENGINEERING                  ATTN LED MGR
ATTN PRESIDENT                           2E, NO 22 BLDG, NO 1188 LIAN HANG RD
122 EDISON DR                            PUJIANG TOWN, MING HANG AREA
MIDDLETOWN, OH 45044                     SHANGHAI CHINA



NVISION INDUSTRIES INC                   [NAME REDACTED]                        NWL INC
DBA WEINSCHEL ASSOCIATES                 [ADDRESS REDACTED]                     ATTN DIRECTOR OF BUSINESS DEV
11401 MOUNTAIN VIEW ROAD SUITE 201                                              312 RISING SUN RD
DAMASCUS, MD 20872-1605                                                         BORDENTOWN, NJ 08505
NWN CORPORATION Case
                   INC    25-90163   Document
                                        NXEDGE87
                                              INC Filed in TXSB on 07/03/25 NXGEN
                                                                              Page  604 of 944
                                                                                  ELECTRONICS INC
ATTN SHANNON LUDWIG                      ATTN SECRETARY CEO                    ATTN PRESIDENT
860 AVIATION PKWY, STE 1000              10900 NE 8TH ST, STE 1525             9771 CLAREMONT MESA BLVD
MORRISVILLE, NC 27560                    BELLEVUE, WA 98004                    SAN DIEGO, CA 92124




NXP SEMICONDUCTORS NETHERLANDS BV        NXP SEMICONDUCTORS USA INC            NXP SEMICONDUCTORS USA INC
ATTN GENERAL COUNSEL                     ATTN SENIOR COUNSEL                   ATTN VICE PRESIDENT & GENERAL COUNSEL
HIGH TECH CAMPUS 60                      411 E PLUMERIA DR                     1109 MCKAY DR, M/S 54SJ
EINDHOVEN 5656AG                         SAN JOSE, CA 95135                    SAN JOSE, CA 95131
NETHERLANDS



NXP USA INC                              NXP USA INC                           NY CHILD SUPPORT PROCESSING CENTER
6501 W WILLIAM CANNON DR                 F/K/A FREESCALE SEMICONDUCTOR INC     RE: BQ18053U2 (AMENDED)
AUSTIN, TX 78735                         ATTN AUTHORIZED REP                   P.O. BOX 15363
                                         2100 E ELLIOT RD                      ALBANY, NY 12212-5363
                                         TEMPE, AZ 85284



NY DEPARTMENT OF ENVIRONMENTAL           NYACOL NANO TECHNOLOGIES INC          NYC DEPARTMENT OF FINANCE
CONSERVATION                             ATTN PRES & CEO                       P.O. BOX 3933
DIVISION OF MATERIALS MANAGEMENT         MEGUNKO RD                            NEW YORK, NY 10008-3933
625 BROADWAY                             P.O. BOX 349
ALBANY, NY 12233-7251                    ASHLAND, MA 01721



[NAME REDACTED]                          NYCOM INC                             NYE LUBRICANTS INC
[ADDRESS REDACTED]                       ATTN DIRECTOR OF FINANCE              12 HOWLAND ROAD
                                         2415 PRESIDENTIAL DR, STE 101         FAIRHAVEN, MA 02719-3453
                                         DURHAM, NC 27703




[NAME REDACTED]                          NYLER RESEARCH LLC                    NYPRO INC
[ADDRESS REDACTED]                       ATTN OWNER                            ATTN SR CORP COUNSEL
                                         371 CANNON GREEN DR, UNIT B           101 UNION ST
                                         GOLETA, CA 93117                      CLINTON, MA 01510




NYS ASSESSMENT RECEIVABLES               NYS CHILD SUPPORT PROCESSING CENTER   NYS DEPT OF HEALTH BERP
RE: E-054500174-E001-2                   (SDU)                                 12TH FL EMPIRE STATE PLAZA, CORNING
P.O. BOX 4127                            RE: BS63364D1 (ORIGINAL)              ALBANY, NY 12237
BINGHAMTON, NY 13902                     P.O. BOX 15363
                                         ALBANY, NY 12212



NYS URBAN DEVELOPMENT CORP.              NYSE MARKET (DE) INC                  O
DBA EMPIRE STATE DEVELOPM                5660 NEW NORTHSIDE DRIVE 3RD FLOOR    ATTN PRESIDENT
95 PERRY STREET                          ATLANTA, GA 30328-5800                PARC MINITECH
BUFFALO, NY 14203-3030                                                         124 RUE PASTEUR
                                                                               MONS-EN-BAROEUL F-59370 FRANCE



O3 STRATEGIES INC                        OAI                                   OAK RIDGE NATIONAL LABORATORY
DBA O3 CREATIVE                          ATTN VP INT SALES & MKTG              ATTN PETER J BLAU
1500 SUNDAY DR, STE 213                  685 RIVER OAKS PKWY                   ONE BETHAEL VALLEY RD
RALEIGH, NC 27607                        SAN JOSE, CA 95134                    BLDG 4500N, MS-6063
                                                                               OAK RIDGE, TN 37831-6063



OAK STREET REAL ESTATE CAPITAL LLC       [NAME REDACTED]                       [NAME REDACTED]
30 N LASALLE ST, STE 4140                [ADDRESS REDACTED]                    [ADDRESS REDACTED]
CHICAGO, IL 60602
OAK-MITSUI INC    Case 25-90163   Document  87 Filed in TXSB on 07/03/25 OAS
                                     OANDA CORPORATION                    Page   605 of 944
                                                                             DE MEXICO
ATTN VP OF STRATEGIC TECH             228 PARK AVE S., STE 20236         ATTN: BRYAN STEVENS
1 MECHANIC ST                         NEW YORK, NY 10003-1502            11225 N. 28TH DR SUITE D114
HOOSICK FALLS, NY 12090                                                  PHOENIX, AZ 85029




OASIS TECHNOLOGY PARTNERS             OASYS TECHNOLOGY LLC               [NAME REDACTED]
ATTN CEO                              ATTN COO                           [ADDRESS REDACTED]
175 PORTLAND ST                       25 SUNDIAL AVE, STE 404
BOSTON, MA 02114                      MANCHESTER, NH 03103




[NAME REDACTED]                       [NAME REDACTED]                    OBDUCAT AB
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 ATTN CEO
                                                                         P.O. BOX 580
                                                                         HALLAND 20125
                                                                         SWEDEN



[NAME REDACTED]                       OBELUX OY                          OBERG INDUSTRIES INC
[ADDRESS REDACTED]                    ATTN CHIEF EXECUTIVE OFFICER       ATTN EXEC VP
                                      KUTOMOTIE 6 B                      2301 SILVERVILLE RD
                                      HELSINKI FI-00380                  P.O. BOX 368
                                      FINLAND                            FREEPORT, PA 16229



[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




OBRIEN & GERE ENGINEERS INC           OBRIEN ATKINS ASSOCIATES PA        OBRIEN PLUMBING LLC
, A RAMBOLL COMPANY                   ATTN PRINCIPAL ARCHITEC            ATTN PARTNER
333 W. WASHINGTON STREET              5001 S MIAMI BLVD                  10638 DURAND AVE
SYRACUSE, NY 13202-6103               DURHAM, NC 27703                   STURTEVANT, WI 53177




OBRIEN RILEY & ASSOCIATES INC         [NAME REDACTED]                    [NAME REDACTED]
ATTN CEO                              [ADDRESS REDACTED]                 [ADDRESS REDACTED]
56 SLATEFORD DR
CLAYTON, NC 27520




[NAME REDACTED]                       [NAME REDACTED]                    OBRYAN GLASS CORP
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 DBA GRAYGLASS




OBSERVEIT INC                         OBSERVINT TECHNOLOGIES INC         OBSIDIAN MICROWAVE LLC
ATTN SR DIR OPERATIONS                DBA SC TECHNOLOGIES INC            ATTN OWNER
200 CLARENDON ST, 21ST FLR            ATTN CFO                           9845 SW DAPPLEGREY LOOP
BOSTON, MA 02116                      11000 N MOPAC EXPWY, BLDG 300      BEAVERTON, OR 97008
                                      AUSTIN, TX 78759
                Case 25-90163
OBX COMPUTING CORP                   Document  87 JR
                                        OC MITCHELL Filed
                                                      INC in TXSB on 07/03/25 [NAME
                                                                                Page  606 of 944
                                                                                    REDACTED]
ATTN CHIEF COMMERCIAL OFFICER            ATTN PRESIDENT                       [ADDRESS REDACTED]
2500 REGENCY PKWY                        1411 S MIAMI BLVD
CARY, NC 27518                           DURHAM, NC 27703




OCCUPATIONAL SAFETY & HEALTH ADMIN       OCEAN MANAGEMENT SYSTEMS INC         OCEAN OPTICS INC
ATTN WILLIAM PETERSON, REG               ATTN PRESIDENT                       OCEAN INSIGHT
INVESTIGATOR                             1625 RTE 211 EAST                    3500 QUADRANGLE BLVD
RALEIGH AREA OFFICE                      MIDDLETOWN, NY 10941                 ORLANDO, FL 32817-8326
4407 BLAND RD, STE 210
RALEIGH, NC 27609


OCEAN SPRINGS METAL MANUFACTURE LTD      OCEAN TOMO AUCTIONS LLC              OCEANLED LTD
501 MAIN ST                              ATTN PRES                            ATTN R&D DIR
BOX 74                                   200 W MADISON, 37TH FL               21 PTARMIGAN PL
BOONTON, NJ 07005                        CHICAGO, IL 60606                    ATTLEBOROUGH FIELD IND ESTATE
                                                                              WARWICKSHIRE CV11 6RX UNITED
                                                                              KINGDOM


[NAME REDACTED]                          [NAME REDACTED]                      OCO INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   ATTN CEO
                                                                              504 TOTTEN POND RD
                                                                              WALTHAM, MA 02451




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




OCONNOR SALES AGENCY                     OCR SERVICES INC                     OCTALEX GREEN LIGHTING PTY LTD
ATTN CHUCK MITCHELL                      15825 SHADY GROVE ROAD SUITE 90      ATTN DIRECTOR
5797 CHESAPEAKE CT, STE 200              ROCKVILLE, MD 20850-4048             64 RIVIERA ST
SAN DIEGO, CA 92123                                                           MENTONE, VIC 3194
                                                                              AUSTRALIA



OCTANE LLC                               OCTAVE TECHNOLOGIES INC              OCTOPART INCORPORATED
ATTN DIR OF CONSULTING                   ATTN ENGINEERING MGR                 29 WEST 38TH FLOOR 14
626 E WISCONSIN AVE, 12TH FL             2416 MAIN ST & E 8TH AVE, STE 398    NEW YORK, NY 10018-2048
MILWAUKEE, WI 53202                      VANCOUVER, BC V5T 3E2
                                         CANADA



OCULON OPTOELECTRONICS INC               [NAME REDACTED]                      [NAME REDACTED]
ATTN PURCHASING                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]
12F, NO 408, RUEIGUANG RD
NEIHU DISTRICT
TAIPEI CITY 114 TAIWAN



ODECO ELECTRONICA SA                     ODEFEY, JASON                        [NAME REDACTED]
C/RAMON MARTI ALSINA 2-4-6                                                    [ADDRESS REDACTED]
BADALONA 08911
SPAIN




[NAME REDACTED]                          ODELIC CO LTD                        ODELL MILL SUPPLY COMPANY INC
[ADDRESS REDACTED]                       ATTN DIRECTOR                        ATTN GENERAL MGR
                                         1-17-5 MIYAMAE                       901A NORWALK ST
                                         SUGINAMI-KU                          GREENSBORO, NC 27407
                                         TOKYO 168-0081 JAPAN
[NAME REDACTED] Case 25-90163    Document 87 Filed
                                    ODLUM BROWN      in TXSB
                                                LIMITED/CDS     on 07/03/25 ODM
                                                            (5074)           Page   607 of 944
                                                                                TECHNOLOGIES INC
[ADDRESS REDACTED]                   ATT CARLA BONNELL OR PROXY MGR         ATTN PRES
                                     250 HOWE ST                            6361 NANCY RIDGE DR
                                     STE 1100                               SAN DIEGO, CA 92121
                                     VANCOUVER, BC V6C 3T4 CANADA



ODM TECHNOLOGIES INC                 [NAME REDACTED]                        ODYSSEY TECHNICAL SOLUTIONS
ATTN PRES                            [ADDRESS REDACTED]                     2000 STEAM WAY
6362 NANCY RIDGE DR                                                         ROUND ROCK, TX 78665-2234
SAN DIEGO, CA 92121




OEC FLUID HANDLING INC               OEI MALAYSIA SDN BHD                   OEM GROUP EAST INC
ATTN PRESIDENT                       ATTN VICE PRESIDENT, TECH              416 S 4TH STREET
140 CEDAR SPRING RD                  1-2 12 MAYANG MALL                     COOPERSBURG, PA 18036-2039
SPARTANBURG, SC 29302                JALAN MAYANG PASIR 1
                                     BAYAN BARU, PENANG 11900 MALAYSIA



OEM MANUFACTURING & SALES INC        OEM SERVICES LLC                       OEM SURPLUS INC
ATTN GENERAL MGR                     ATTN PRESIDENT                         ATTN PRESIDENT
969 BUENOS AVE                       1523 CORRINGTON AVE                    2629 ROSE GARDEN LN
SAN DIEGO, CA 92110                  KANSAS CITY, MO 64126                  PHOENIX, AZ 85050




OERLIKON BALZERS COATING AG          OERLIKON LEYBOLD VACUUM INTL CO LTD    OERLIKON OPTICS UK LTD
ATTN HEAD OF SUPPLY CHAIN MGMT       ATTN SALES                             ATTN HEAD OF CO
IRAMALI 18                           1-318, NO. 118, 8TH HAIBIN RD          OXFORD INDUSTRIAL PARK
BALZERS 9496                         TIANJIN FREE TRADE ZONE                YARNTON
LIECHTENSTEIN                        CHINA                                  OXFORD OX5 1QU UNITED KINGDOM



[NAME REDACTED]                      [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 OFFICE
                                         [NAME REDACTED]                       PageDEPOT
                                                                                     608 INC
                                                                                          of 944
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      ATTN VICE PRESIDENT
                                                                                  6600 N MILITARY TRL
                                                                                  BOCA RATON, FL 33496-2434




OFFICE GURUS LLC, THE                     OFFICE OF CHILD SUPPORT ENFORCEMENT     OFFICE OF DEFENSE TRADE CONTROLS
ATTN PRESIDENT                            RE: 015170594 (ORIGINAL)                COMPLIANCE
10055 SEMINOLE BLVD                       P.O. BOX 8125                           ATTN DANIELLE PRESSLER
SEMINOLE, FL 33772                        LITTLE ROCK, AR 72203                   PM/DDTC, SA-1, RM L132
                                                                                  2401 E ST, NW
                                                                                  WASHINGTON, DC 20522


OFFICE OF EXPORT ENFORCEMENT              OFFICE OF KANSAS ATTORNEY               OFFICE OF SEC. OF STATE OF A.S.
US DEPT OF COMMERCE                       CONSUMER PROTECTION DIVISION            HON. LEMANU PALEPOL S. MAUGA
ATTN DOUGLAS HASSEBROCK, DIR              120 SW 10TH AVE 2ND FL                  LT GOVERNOR -E OFFICE OF THE
1401 CONSTITUTION AVE, RM H4514           TOPEKA, KS 66612-1597                   GOVERNOR
WASHINGTON, DC 20230                                                              3RD FL, UTULEI
                                                                                  PAGO PAGO, AS 96799 AMERICAN SAMOA


OFFICE OF SEC. OF STATE OF ALABAMA        OFFICE OF SEC. OF STATE OF ALASKA       OFFICE OF SEC. OF STATE OF ARIZONA
HON. WES ALLEN                            HON. NANCY DAHLSTROM                    HON. ADRIAN FONTES
P.O. BOX 5616                             LIEUTENANT GOVERNOR -E                  1700 W WASHINGTON ST, FL 7
MONTGOMERY, AL 36103-5616                 P.O. BOX 110015                         PHOENIX, AZ 85007-2808
                                          JUNEAU, AK 99811-0001



OFFICE OF SEC. OF STATE OF ARKANSAS       OFFICE OF SEC. OF STATE OF CALIFORNIA   OFFICE OF SEC. OF STATE OF COLORADO
HON. JOHN THURSTON                        HON. SHIRELY N WEBER                    HON. JENA GRISWOLD
STATE CAPITOL                             1500 11TH ST                            1700 BROADWAY, STE 550
500 WOODLANE ST, STE 256                  SACRAMENTO, CA 95814                    DENVER, CO 80290
LITTLE ROCK, AR 72201



OFFICE OF SEC. OF STATE OF CT.            OFFICE OF SEC. OF STATE OF D.C.         OFFICE OF SEC. OF STATE OF DELAWARE
HON. STEPHANIE THOMAS                     HON. KIMBERLY A BASSETT                 HON. JEFFREY W. BULLOCK
P.O. BOX 150470                           1350 PENNSYLVANIA AVE, NW               401 FEDERAL ST
STE 1000                                  STE 419                                 DOVER, DE 19901
HARTFORD, CT 06115-0470                   WASHINGTON, DC 20004



OFFICE OF SEC. OF STATE OF DELAWARE       OFFICE OF SEC. OF STATE OF FLORIDA      OFFICE OF SEC. OF STATE OF GEORGIA
HON. JEFFREY W. BULLOCK                   HON. CORD BYRD                          HON. BRAD RAFFENSPERGER
820 N FRENCH ST, 10TH FL                  R.A. GRAY BLDG                          214 STATE CAPITOL
WILMINGTON, DE 19801                      500 S BRONOUGH ST                       ATLANTA, GA 30334
                                          TALLAHASSEE, FL 32399



OFFICE OF SEC. OF STATE OF GUAM           OFFICE OF SEC. OF STATE OF HAWAII       OFFICE OF SEC. OF STATE OF IDAHO
HON. LOURDES (LOU) A. LEON GUERRERO       HON. SYLVIA LUKE                        HON. PHIL MCGRANE
LIEUTENANT GOVERNOR -E                    LIEUTENANT GOVERNOR -E                  450 N 4TH ST
P.O. BOX 2950                             STATE CAPITOL                           BOISE, ID 83702
HAGATNA, GU 96932                         HONOLULU, HI 96813



OFFICE OF SEC. OF STATE OF IDAHO          OFFICE OF SEC. OF STATE OF ILLINOIS     OFFICE OF SEC. OF STATE OF INDIANA
HON. PHIL MCGRANE                         HON. ALEXI GIANNOULIAS                  HON. DIEGO MORALES
P.O. BOX 83720                            213 STATE CAPITOL                       200 W WASHINGTON ST, ROOM 201
BOISE, ID 83720-0080                      SPRINGFIELD, IL 62756                   INDIANAPOLIS, IN 46204




OFFICE OF SEC. OF STATE OF IOWA           OFFICE OF SEC. OF STATE OF KANSAS       OFFICE OF SEC. OF STATE OF KENTUCKY
HON. PAUL D. PATE                         HON. SCOTT SCHWAB                       HON. MICHAEL G ADAMS
LUCAS BLDG, 1ST FL                        MEMORIAL HALL - 1ST FL                  700 CAPITAL AVE, STE 152
321 E 12TH ST                             120 SW 10TH AVE                         FRANKFORT, KY 40601
DES MOINES, IA 50319                      TOPEKA, KS 66612
                   CaseOF25-90163
OFFICE OF SEC. OF STATE   LOUISIANA      Document  87SEC.
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                                                                                                     STATE OF MAINE
HON. R. KYLE ARDOIN                          HON. WILLIAM FRANCIS GALVIN             HON. SHENNA BELLOWS
P.O. BOX 94125                               1 ASHBURTON PLACE                       148 STATE HOUSE STATION
BATON ROUGE, LA 70804-9125                   BOSTON, MA 02108                        AUGUSTA, ME 04333-0148




OFFICE OF SEC. OF STATE OF MARYLAND          OFFICE OF SEC. OF STATE OF MICHIGAN     OFFICE OF SEC. OF STATE OF MINNESOTA
HON. SUSAN C LEE                             HON. JOCELYN BENSON                     HON. STEVE SIMON
16 FRANCIS ST                                3315 E MICHIGAN AVE                     180 STATE OFFICE BLDG
ANNAPOLIS, MD 21401                          LANSING, MI 48912                       100 REV DR MLK JR BLVD
                                                                                     ST. PAUL, MN 55155-1299



OFFICE OF SEC. OF STATE OF MISSOURI          OFFICE OF SEC. OF STATE OF MONTANA      OFFICE OF SEC. OF STATE OF MS.
HON. JOHN R. ASHCROFT                        HON. CHRISTI JACOBSEN                   HON. MICHAEL WATSON
600 W MAIN ST                                P.O. BOX 202801                         125 S CONGRESS ST
JEFFERSON CITY, MO 65101                     HELENA, MT 59620-2801                   JACKSON, MS 39201




OFFICE OF SEC. OF STATE OF N.C.              OFFICE OF SEC. OF STATE OF N.H.         OFFICE OF SEC. OF STATE OF NEBRASKA
HON. ELAINE F. MARSHALL                      HON. DAVID M. SCANLAN                   HON. ROBERT B EVNEN
P.O. BOX 29622                               107 N MAIN ST                           P.O. BOX 94608
RALEIGH, NC 27626                            CONCORD, NH 03301                       LINCOLN, NE 68509-4608




OFFICE OF SEC. OF STATE OF NEVADA            OFFICE OF SEC. OF STATE OF NEW JERSEY   OFFICE OF SEC. OF STATE OF NEW MEXICO
HON. FRANCISCO V. AGUILAR                    HON. SHEILA Y. OLIVER                   HON. MAGGIE TOULOUSE OLIVER
NEVADA STATE CAPITOL BLDG                    LIEUTENANT GOVERNOR -E                  NEW MEXICO CAPITOL ANNEX NORTH
101 N CARSON ST, STE 3                       P.O. BOX 001                            325 DON GASPAR, STE 300
CARSON CITY, NV 89701                        TRENTON, NJ 08625                       SANTA FE, NM 87501



OFFICE OF SEC. OF STATE OF NEW YORK          OFFICE OF SEC. OF STATE OF NORTH        OFFICE OF SEC. OF STATE OF OHIO
HON. ROBERT J RODRIGUEZ                      DAKOTA                                  HON. FRANK LAROSE
ONE COMMERCE PLAZA                           HON. MICHAEL HOWE                       22 N FOURTH ST, 16TH FL
99 WASHINGTON AVE, STE1100                   600 E BLVD AVE DEPT 108                 COLUMBUS, OH 43215
ALBANY, NY 12231                             BISMARCK, ND 58505-0500



OFFICE OF SEC. OF STATE OF OKLAHOMA          OFFICE OF SEC. OF STATE OF OREGON       OFFICE OF SEC. OF STATE OF P.R. (PDP)
HON. DAVE LOPEZ                              HON. SHEMIA FAGAN                       HON. LUIS G. RIVERA MARIN
2300 N LINCOLN BLVD                          255 CAPITAL ST NE                       SAN JOSE ST SAN FRANCISCO ST CORNER
ROOM 122                                     STE 151                                 OLD SAN JUAN, PR 00902
OKLAHOMA CITY, OK 73105-4897                 SALEM, OR 97310-0722



OFFICE OF SEC. OF STATE OF                   OFFICE OF SEC. OF STATE OF RHODE        OFFICE OF SEC. OF STATE OF S.C.
PENNSYLVANIA                                 ISLAND                                  HON. MARK HAMMOND
HON. AL SCHMIDT                              HON. GREGG M AMORE                      1205 PENDLETON ST, STE 525
302 N OFFICE BLDG                            148 W RIVER ST                          COLUMBIA, SC 29201
401 N ST                                     PROVIDENCE, RI 02904
HARRISBURG, PA 17120


OFFICE OF SEC. OF STATE OF S.D.              OFFICE OF SEC. OF STATE OF TENNESSEE    OFFICE OF SEC. OF STATE OF TEXAS
HON. MONAE L JOHNSON                         HON. TRE HARGETT                        HON. JANE NELSON
500 E CAPITOL AVE, STE 204                   STATE CAPITOL                           1100 CONGRESS
PIERRE, SD 57501-5070                        NASHVILLE, TN 37243-1102                CAPITOL BLDG, ROOM 1E.8
                                                                                     AUSTIN, TX 78701



OFFICE OF SEC. OF STATE OF U.S. VI (I)       OFFICE OF SEC. OF STATE OF UTAH         OFFICE OF SEC. OF STATE OF VERMONT
HON. TREGENZA ROACH                          HON. DEIDRE HENDERSON                   HON. COPELAND HANZAS
LIEUTENANT GOVERNOR -E                       350 N STATE ST, STE 220                 128 STATE ST
1131 KING ST, STE 101 CHRISTIANSTED          P.O. BOX 142325                         MONTPELIER, VT 05633-1101
ST. CROIX, VI 00802                          SALT LAKE CITY, UT 84114-2325
                   CaseOF25-90163
OFFICE OF SEC. OF STATE   VIRGINIA     Document  87SEC.
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                                                                                                   STATE OF WASHINGTON
HON. KAY COLE JAMES                        HON. MAC WARNER                         HON. KIM WYMAN
P.O. BOX 1475                              STATE CAPITAL BUILDING                  P.O. BOX 40220
RICHMOND, VA 23218                         CHARLESTON, WV 25305-0770               OLYMPIA, WA 98504-0220




OFFICE OF SEC. OF STATE OF WISCONSIN       OFFICE OF SEC. OF STATE OF WYOMING      OFFICE OF TECHNOLOGY
HON. DOUGLAS LA FOLLETTE                   HON. CHUCK GRAY                         COMMERCIALIZATION
STATE CAPITAL BUILDING                     HERSCHLER BUILDING EAST                 1291 CUMBERLAND AVE, STE F
ROOM B41W                                  122 W 25TH ST, STE 100                  WEST LAFAYETTE, IN 47906
MADISON, WI 53703                          CHEYENNE, WY 82002-0020



OFFICE OF THE ATTORNEY GENERAL OF          OFFICE OF THE CFO (DC)                  OFFICE OF THE ILLINOIS STATE TREASURER
GUAM                                       UNCLAIMED PROPERTY DIVISION             UNCLAIMED PROPERTY DIVISION
ATTN: LEEVIN TAITANO CAMACHO               1101 4TH ST SW, STE 800W                MARINE BANK BUILDING
ADMINISTRATION DIVISION                    WASHINGTON, DC 20024                    1 EAST OLD STATE C APITOL PLAZA
590 S MARINE CORPS DR, STE 901                                                     SPRINGFIELD, IL 62701
TAMUNING, GU 96913


OFFICE OF THE INDIANA ATTORNEY             OFFICE OF THE MS. STATE TREASURER       OFFICE OF THE N.Y. STATE COMPTROLLER
GENERAL                                    UNCLAIMED PROPERTY DIVISION             OFFICE OF UNCLAIMED FUNDS
UNCLAIMED PROPERTY DIVISION                P.O. BOX 138                            110 STATE ST
P.O. BOX 2504                              JACKSON, MS 39205-0138                  ALBANY, NY 12236
GREENWOOD, IN 46142



OFFICE OF THE STATE TREASURER (CT.)        OFFICE OF THE UNITED STATES TRUSTEE     OFFICE TIMELINE LLC
UNCLAIMED PROPERTY DIVISION                515 RUSK STREET, SUITE 3516             ATTN VP GROWTH
P.O. BOX 5065                              HOUSTON, TX 77002                       1916 PIKE PL, STE 12 1325
HARTFORD, CT 06102                                                                 SEATTLE, WA 98101




OFFICEMAX INCORPORATED                     OFF-SITE RECORDS MANAGEMENT LLC         OG TRAVEL CO LTD
ATTN DIR OF SALES                          1959 MONTEREY ROAD                      HAMAMATSU-CHO OFFICE
263 SHUMAN BLVD                            SAN JOSE, CA 95112-6119                 RBM SHIBA PARK, BLDG, 2-12-7
NAPERVILLE, IL 60563                                                               SHIBADAIMON, MINATO-KU
                                                                                   TOKYO 105-0012 JAPAN



[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]




OGILVY & MATHER GROUP (HOLDINGS) LTD       [NAME REDACTED]                         [NAME REDACTED]
ATTN SARAH WHITTAKER, CLIENT DIR           [ADDRESS REDACTED]                      [ADDRESS REDACTED]
18 UPPER GROUND
LONDON SE1 9RQ
UNITED KINGDOM



OHARA CORPORATION                          [NAME REDACTED]                         OHARE SPRING COMPANY INC
ATTN PRES                                  [ADDRESS REDACTED]                      ATTN BUSINESS DEVELOPMENT MGR
23141 ARROYO VISTA, STE 200                                                        100 LAURA DR
RANCHO SANTA MARGARITA, CA 92688                                                   ADDISON, IL 60101




OHD, LLLP                                  OHIO ATTORNEY GENERALS OFFICE           OHIO BUREAU OF WORKERS’
2200 RESOURCE DRIVE                        CONSUMER PROTECTION                     COMPENSATION (BWC)
BIRMINGHAM, AL 35242-5457                  30 E BROAD ST 14TH FL                   30 W SPRING ST
                                           COLUMBUS, OH 43215-3400                 COLUMBUS, OH 43215
OHIO DEPARTMENT OF Case   25-90163
                     COMMERCE          Document  87OFFiled
                                          OHIO DEPT        in TXSB
                                                     JOB & FAMILY    on 07/03/25 OHIO
                                                                  SERVICES        PageDEPT611  of 944
                                                                                           OF JOB AND FAMILY SERVICES
DIVISION OF UNCLAIMED FUNDS                4020 EAST 5TH AVENUE                    OFFICE OF UNEMPLOYMENT COMPENSATION
77 SOUTH HIGH ST, 23RD FL                  COLUMBUS, OH 43219                      30 E BROAD ST, 32ND FL
COLUMBUS, OH 43215-6133                                                            COLUMBUS, OH 43215




OHIO DEPT OF JOB AND FAMILY SERVICES       OHIO DEPT OF NATURAL RESOURCES          OHIO DEPT OF TAXATION
OFFICE OF UNEMPLOYMENT INSURANCE           2045 MORSE ROAD                         P.O. BOX 182131
P.O. BOX 182212                            COLUMBUS, OH 43229-6693                 COLUMBUS, OH 43218-2131
COLUMBUS, OH 43218-2212




OHIO DIVISION OF SECURITIES                OHIO ENVIRONMENTAL PROTECTION           OHIO STATE UNIVERSITY RESEARCH
77 SOUTH HIGH ST                           AGENCY                                  FOUNDATION, THE
23RD FLOOR                                 LAZARUS GOVT CTR                        ATTN MARK WESNEY
COLUMBUS, OH 43215-6133                    50 W TOWN ST, STE 700                   1960 KENNY RD
                                           P.O. BOX 1049                           COLUMBUS, OH 43210-1016
                                           COLUMBUS, OH 43216-1049


[NAME REDACTED]                            OHYAMA LIGHTS                           [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN LEGAL DEPT                         [ADDRESS REDACTED]
                                           11111 80TH AVE
                                           PLEASANT PRAIRIE, WI 53158




[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                            OKAMOTO CORPORATION                     OKAMURA ELECTRIC CORPORATION
[ADDRESS REDACTED]                         ATTN DIRECTOR                           ATTN PRES
                                           370 CORPORATE WOODS PKWY                1825 16 SAGETO
                                           VERNON HILLS, IL 60061                  ABIKO-SHI, CHIBA 270-1138
                                                                                   JAPAN



OKAMURA ELECTRIC CORPORATION               [NAME REDACTED]                         [NAME REDACTED]
ATTN R&D MGR                               [ADDRESS REDACTED]                      [ADDRESS REDACTED]
6-27 IRIYAZU
WAKASHIBA
KASHIWA SHI, CHIBA JAPAN



OKANO ELECTRIC CO LTD                      OKAYA & CO LTD                          OKAYA & CO., LTD.
ATTN PRESIDENT                             ATTN YOSHINARI YOKOE & KAZUSHIGE        2-4-18 SAKAE, NAKA-KU
2-8-18 KANAYAMA-CHO                        MIYAGAWA                                NAGOYA CITY, AICHI PREFECTURE 4608666
HIGASHIKURUME, TOKYO 203-0003              MARUNOUCHI CENTRAL BLDG, NO 9-1         JAPAN
JAPAN                                      MARUNOUCHI 1-CHOME, CHIYODA-KU
                                           TOKYO 100-0005 JAPAN


[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]




OKEL CO LTD                                OKLAHOMA ATTORNEY GENERAL               OKLAHOMA DEPARTMENT OF CONSUMER
ATTN CEO                                   CONSUMER PROTECTION UNIT                CREDIT
424 NAGWOL-DONG                            313 NE 21ST ST                          629 NE 28TH ST
DONG-GU                                    OKLAHOMA CITY, OK 73105                 OKLAHOMA CITY, OK 73105
DEAJEON 300-220 SOUTH KOREA
                  CaseOF25-90163
OKLAHOMA DEPARTMENT       SECURITIES   Document 87 DEPT
                                          OKLAHOMA   Filed in TXSB on 07/03/25 OKLAHOMA
                                                        OF ENVIRONMENTAL        Page 612   ofOF944
                                                                                        DEPT    ENVIRONMENTAL
204 N ROBINSON AVE                         QUALITY                              QUALITY
STE 400                                    707 N ROBINSON                       P.O. BOX 1677
OKLAHOMA CITY, OK 73102-7001               OKLAHOMA CITY, OK 73102              OKLAHOMA CITY, OK 73101-1677




OKLAHOMA DEPT OF LABOR                     OKLAHOMA EMPLOYMENT SECURITY         OKLAHOMA STATE TREASURER
409 NE 28TH ST, 3RD FL                     COMMISSION                           UNCLAIMED PROPERTY DIVISION
OKLAHOMA CITY, OK 73105                    UNEMPLOYMENT INSURANCE               9520 N MAY AVE, LOWER LEVEL
                                           P.O. BOX 52003                       OKLAHOMA CITY, OK 73120
                                           OKLAHOMA CITY, OK 73152-2003



OKLAHOMA STATE UNIVERSITY                  OKLAHOMA TAX COMMISSION              OKLITING (GUANGZHOU) CO LTD
ATTN ASS DIR OF PURCHASING                 300 N BROADWAY AVE                   ATTN MGR OF PROD DEPT
202 ENGINEERING S                          OKLAHOMA CITY, OK 73102              NO.219 QIAOZHONG MIDDLE RD
STILLWATER, OK 74078                                                            LIWAN DISTRICT
                                                                                GUANGZHOU CITY 510163 CHINA



OKONITE CO INC, THE                        [NAME REDACTED]                      OKOS SOLUTIONS, LLC
ATTN DISTRICT MGR                          [ADDRESS REDACTED]                   7036 TECH CIR
102 HILLTOP RD                                                                  MANASSAS, VA 20109-7314
RAMSEY, NJ 07446




[NAME REDACTED]                            OLAMEF USA INC                       [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN MANAGER                         [ADDRESS REDACTED]
                                           4812 GALICIA WAY
                                           OCEANSIDE, CA 92056




OLD DOMINION ELECTRIC CO-OP                OLD DOMINION FREIGHT LINE INC        [NAME REDACTED]
ATTN MGR., MEMBER SVCS                     ATTN SALES & SVC MGR                 [ADDRESS REDACTED]
4201 DOMINION BLVD, STE 300                500 OLD DOMINION WAY
GLEN ALLEN, VA 23060                       THOMASVILLE, NC 27630




[NAME REDACTED]                            OLIGHT LLC                           [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN RODGER W STONE                  [ADDRESS REDACTED]
                                           615 SPICE ISLAND DR, STE 1
                                           SPARKS, NV 89431




OLIN COLLEGE RAYTHEON SCOPE TEAM           OLIN CORPORATION                     [NAME REDACTED]
ATTN PROJECT MGR                           190 CARONDELET PLZ, STE 1530         [ADDRESS REDACTED]
1000 OLIN WAY                              CLAYTON, MO 63105
NEEDHAM, MA 02492




[NAME REDACTED]                            [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]
OLIVIAARNOLD ARNOLDCase  25-90163
                      RESEARCH INC    Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  613 of 944
                                                                                   REDACTED]
ATTN PRESIDENT                            [ADDRESS REDACTED]                    [ADDRESS REDACTED]
530 B-HARKLE RD, STE 100
SANTE FE, NM 87505




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                       OLSA SPA
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    ATTN LAB DIRECTOR
                                                                                CORSO ALLAMANO 70
                                                                                RIVOLI 10098
                                                                                ITALY



[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




OLYMPIA ELECTRONICS                       OLYMPUS AMERICA INC                   OLYMPUS INDUSTRIAL AMERICA INC
ATTN GM                                   ATTN PRESIDENT                        ATTN VP, SALES MICRO IMAGING
72 KM OLD NATIONAL RD                     3500 CORPORATE PKWY                   1 CORPORATE DR
THESSALONIKIS - KATERINS                  CENTER VALLEY, PA 18034               ORANGEBURG, NY 10962
KONINDROS, PIERIA 60061 GREECE



OMA LIGHTING CO LTD                       [NAME REDACTED]                       OMARIM TECHNOLOGIES LTD
ATTN DIRECTOR                             [ADDRESS REDACTED]                    ATTN TAHSIN BAHADIR PEKCAN
11F, NO 90, XINGDE RD                                                           KATIP SALIH SOKAK
NEW TAIPEI, SANCHONG                                                            NO 65A KOSUYOLU KADIKOY
TAIWAN                                                                          ISTANBUL 34000 TURKEY



OMEGA ENGINEERING INC                     OMEGA LTD                             OMEGA MANAGEMENT GROUP CORP
ONE OMEGA DRIVE                           ATTN PRES                             ATTN CFO
STAMFORD, CT 06907-2336                   3671 S HURON, 301                     300 CONCORD RD, STE 330
                                          ENGLEWOOD, CO 80110-3425              BILLERICA, MA 01821-3476




OMEGA PACIFIC ELECTRICAL SUPPLY INC       OMEGA PACIFIC ELECTRICAL SUPPLY INC   OMEGA SEMICONDUCTOR SDN BHD
ATTN PRESIDENT                            ATTN PRESIDENT                        ATTN GROUP MANAGING DIR
1555 BURKE, UNIT B                        618 S 8TH ST, 400A                    LOT 6, BATU BERENDAM, FTZ PHASE 3
SAN FRANCISCO, CA 94124                   RICHMOND, CA 94804                    MELAKA 75350
                                                                                MALAYSIA
                  Case
OMER G FERRELL & SON INC25-90163     Document 87 INC
                                        OMG LUMENS Filed in TXSB on 07/03/25 OMICRON
                                                                              Page 614   of 944 CORP USA
                                                                                     ELECTRONICS
ATTN VP                                  ATTN PRESIDENT                         ATTN CUSTOMER & SALES SUPPORT
1600 MORRISVILLE CARPENTER RD            213 E AMBERWAY LN                      3550 WILLOWBEND BLVD
CARY, NC 27519                           GARLAND, TX 75040                      HOUSTON, TX 77054




OMINUS HONG KONG LTD                     OMNEX (SHANGHAI) CONSULTING CO LTD     OMNEX ENGINEERING AND MANAGEMENT
ATTN DIRECTOR                            OFFICE 08, FLOOR 37                    INC
FLAT 1412,TOWER 2,88 CONTAINER PORT RD   501 DONGDAMING RD                      DBA OMNEX INC
EVERGRAIN PLAZA                          HONGKOU DISTRICT                       315 E EISENHOWER PKWY, STE 214
KWAI CHUNG, NT HONG KONG                 SHANGHAI CHINA                         ANN ARBOR, MI 48108



OMNI LOGISTICS LLC                       OMNI MOLD & DIE LLC                    OMNI PROFESSIONAL ENVIRONMENTAL
3200 OLYMPUS BLVD, STE 300               ATTN MANAGER                           ASSOCIATES P.A
DALLAS, TX 75019                         2710 BOULDER PARK CT                   ATTN PRESIDENT
                                         WINSTON-SALEM, NC 27101                P.O. BOX 13404
                                                                                RESERCH TRIANGLE PARK, NC 27709



OMNI TRADE SERVICES LLC                  OMNICORE BIOMEDICAL SERVICES           OMNIFUSION LLC
ATTN EXEC DIRECTOR & OFFICER             2201 MILTON AVENUE                     ATTN CHIEF EXECUTIVE OFFICER
3100 OLYMPUS DR, STE 420                 SYRACUSE, NY 13209-2135                3226 FRENCHMENS RD
DALLAS, TX 75019                                                                TOLEDO, OH 43607




OMNI-LITE INC                            OMNILUX INC                            OMNIPLESS MANUFACTURING (PTY) LTD
ATTN VP SALES & MKTG                     ATTN PRES                              ATTN DIRECTOR
263 WINN ST                              66 SPRINGER DR, STE 314                WESTLAKE DR
BURLINGTON, MA 01803                     LITTLETON, CO 80129                    WESTLAKE, CAPE TOWN 7945
                                                                                SOUTH AFRICA



OMNITREND SOFTWARE, INC.                 OMNIVISION ELECTRONICS SRL             [NAME REDACTED]
3 STANWICH LANE                          ATTN CEO                               [ADDRESS REDACTED]
BURLINGTON, CT 06013-2000                BD1 MAI NR 20, BL 10S14, AP 30 SEC 6
                                         BUCHAREST
                                         ROMANIA



[NAME REDACTED]                          OMP MECHTRON                           OMRON CORP
[ADDRESS REDACTED]                       ATTN VP SALES NA                       ATTN ACCOUNT MGR
                                         VIA BERNI 18                           SHIOKOJI HORIKAWA
                                         USMATE VELATE MB 20865                 SHIMOGYO-KU
                                         ITALY                                  KYOTO 600-8530 JAPAN



OMS LTD                                  OMT SRL                                OMV
ATTN R&D                                 ATTN GENERAL MGR                       TRABRENNSTRASSE 6-8
DOJC 419                                 VIA TITO SPERI, 7/E                    WIEN, OBEROSTERREICH 1020
DOJC 906 02                              NIGOLINE DI CORTEFRANCA 25040          AUSTRIA
SLOVAKIA                                 ITALY



ON COMPUTER SERVICES LLC                 ON DESIGN ARCHITECTS INC               ON SEARCH PARTNERS LLC
DBA UNIFIED POWER                        ATTN PRINCIPAL                         ON PARTNERS
ATTN EXEC VP                             319 W CARRILLO ST                      102 FIRST STREET, SUITE 201
217 METRO DR                             SANTA BARBARA, CA 93101                HUDSON, OH 44236-0881
TERRELL, TX 75160



ON SEMICONDUCTOR                         ON SITE LIGHTING & SURVEY LLC          ON24 INC.
5005 E MCDOWELL RD                       ATTN CONTROLLER                        50 BEALE STREET, 8TH FLOOR
PHOENIX, AZ 85008                        1111 HWY 25 N, STE 201                 SAN-FRANCISCO, CA 94105-1813
                                         BUFFALO, MN 55313
ONCHIP DEVICES INCCase 25-90163       Document  87 Filed
                                         ONCHIP POWER CORPin TXSB on 07/03/25 ONCOR
                                                                               PageELECTRIC
                                                                                     615 ofDELIVERY
                                                                                            944     CO LLC
ATTN VP, ENGINEER                         ATTN VP SALES & MKTG                 TRANSMISSION RIGHT OF WAY OFFICE
300 SCOTT BLVD, STE 109                   27 DRYDOCK AVE, 2ND FL               777 MAIN ST, STE 707
SANTA CLARA, CA 95054                     BOSTON, MA 02210                     FORT WORTH, TX 76102




ONE ENGINEERING INC, THE                  ONE SOURCE DISTRIBUTORS INC          ONE SOURCE INDUSTRIES INC
ATTN CFO                                  3951 OCEANIC DR                      ATTN ACCT REP
1640 S GROVE AVE, UNIT D                  OCEANSIDE, CA 92056                  13700 MCCORMICK DR
ONTARIO, CA 31761                                                              TAMPA, FL 33626




ONE SOURCE LIGHTING & DESIGN LLC          ONE TREE MICRO DEVICES               ONE WORLD TECHNOLOGIES INC
ATTN ROBERT S EMERY, PRINCIPAL            ATTN DIRECTOR                        DBA TECHTRONIC INDUSTRIES POWER EQPT
609 BROWN ST                              2751 TREETOPS WAY                    ATTN TREASURER
VINEGROVE, KY 40175                       SANTA ROSA, CA 95404                 1428 PEARMAN DAIRY RD
                                                                               ANDERSON, SC 29625



ONEAL INC                                 [NAME REDACTED]                      [NAME REDACTED]
C/O CARROLL DANIEL CONSTRUCTION           [ADDRESS REDACTED]                   [ADDRESS REDACTED]
10 FALCON CREST DR
GREENVILLE, SC 29607




ONEBEACON INSURANCE GROUP LTD             ONEBEACON INSURANCE GROUP LTD        ONECLICK TECHNOLOGIES LTD
5 TECHNOLOGY DR                           ATTN MARY BIGNAULT                   ATTN MANAGING DIR
MILFORD, MA 01757-3681                    150 ROYALL ST                        H20 BUSINESS COMPLEX, LAKE VIEW DR
                                          CANTON, MA 02021                     ANNESLEY NOTTINGHAM NG15 OHT
                                                                               UNITED KINGDOM



ONE-CYCLE CONTROL INC                     ONEIDA CIVIL DIVISION                ONEIDA COUNTY INDUSTRIAL
ATTN CHIEF EXECUTIVE OFFICER              RE: 24002937                         DEVELOPMENT AGENCY
12 MAUCHLY, BLDG P                        200 ELIZABETH STREET                 ATTN: CHAIRMAN
IRVINE, CA 92618                          UTICA, NY 13501                      584 PHOENIX DRIVE
                                                                               ROME, NY 13441-4105



ONEIDA COUNTY INDUSTRIAL                  ONEIDA COUNTY INDUSTRIAL             ONEIDA RESEARCH SERVICES, INC.
DEVELOPMENT AGENCY                        DEVELOPMENT AGENCY                   8282 HALSEY ROAD
ATTN: LINDA E. ROMANO, ESQ                P.O. BOX 442                         WHITESBORO, NY 13492-3400
501 MAIN STREET                           UTICA, NY 13503-0442
UTICA, NY 13501



ONEIDA-HERKIMER SOLID WASTE AUTHORI       [NAME REDACTED]                      [NAME REDACTED]
1600 GENESEE STREET                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
UTICA, NY 13502-5407




[NAME REDACTED]                           [NAME REDACTED]                      ONEILL, TIMOTHY S
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   2805 ASHLAND AVE
                                                                               RACINE, WI 53403




ONESTREAM SOFTWARE LLC                    O-NET AUTOMATION                     ONETASTIC SRL
362 SOUTH STREET                          35TH, CUIJING RD                     ATTN PRESIDENT
ROCHESTER HILLS, MI 48307-2240            PINGSHAN NEW DISTRICT                VIA GHISLANDI 47
                                          SHENZHEN                             BRESCIA, BS 25125
                                          CHINA                                ITALY
                 Case 25-90163
ONETREE MICRODEVICES             Document  87 Filed in TXSB on 07/03/25 ONGINE
                                    [NAME REDACTED]                      PageTECHNOLOGY
                                                                               616 of 944(CHENGDU) CO LTD
ATTN PRESIDENT                       [ADDRESS REDACTED]                    ATTN VICE GENERAL MANAGER
545 LIMERICK LN                                                            RM 1801 PANGDA PLAZA
HEALDSBURG, CA 95448                                                       12 KEJI SOUTH RD, HI-TECH PARK
                                                                           SHENZHEN CHINA



ONION CORP                           [NAME REDACTED]                       ONN WAH TECH PTE LTD
ATTN COO                             [ADDRESS REDACTED]                    ATTN MANAGING DIR
177 HUNTINGTON AVE, STE 1703                                               11 CHANGI SOUTH LN 02-02
BOSTON, MA 02115                                                           ONN WAH BUILDING
                                                                           SINGAPORE 486154 SINGAPORE



[NAME REDACTED]                      [NAME REDACTED]                       ONPOINT LLC
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    ATTN AMBER BALDWIN DAMICO
                                                                           13155 NOEL RD, STE 900
                                                                           DALLAS, TX 75240




ONPOINT LLC                          ONPRESS PRINTED CIRCUITS LTD          ONQ TECHNOLOGY INC
C/O MUNCK WILSON MANDALA LLP         ATTN SR MKTG & SALES VP               ATTN PRESIDENT
ATTN LAWRENCE B MANDALA              9/F, BLOCK B, ELDEX INDUSTRIAL BLDG   1817 S CITRUS AVE
12770 COIT RD, STE 600               21 MA TAU WAI RD, HUNG HOM            ESCONDIDO, CA 92027
DALLAS, TX 75251                     KOWLOON HONG KONG



ONSOLVE LLC                          ONSPEX                                ONSPHERE CORP
ATTN VP CUSTOMER SUCCESS             ATTN ACCT MGR                         ATTN MISTY DOVE
780 W GRANADA BLVD                   2210 JUSTIN TRL                       3304 GLEN ROYAL RD
ORMOND BEACH, FL 32174               ALPHARETTA, GA 30004                  RALEIGH, NC 27617




ONTARGET GROUP INC                   ON-TARGET SUPPLIES & LOGISTICS LTD    ONTARIO INC
ATTN CHIEF EXECUTIVE OFFICER         1133 S MADISON AVE                    DBA LIGHTING U UP
8605 BELL GROVE WAY, STE 100         DALLAS, TX 75208                      ATTN PRESIDENT
RALEIGH, NC 27615                                                          P.O. BOX 453
                                                                           NORTH BAY, ON P1B 8J1 CANADA



ONTO INNOVATION                      ONTRAK CONTROL SYSTEMS INC            [NAME REDACTED]
DBA RUDOLPH TECHNOLOGIES             ATTN DIRECTOR                         [ADDRESS REDACTED]
P.O. BOX 416180                      764 NOTRE DAME AVE, UNIT 1
BOSTON, MA 02241-6180                SUDBURY, ON P3A 2T2
                                     CANADA



[NAME REDACTED]                      OONUKI SEISAKUSHO CO                  OOO NTC YURION
[ADDRESS REDACTED]                   5-10-8 MORIYAMA-CHO                   ATTN GEN DIR
                                     HITACHI, IBARAKI 316-0025             105005, RADIO ST, 24, K2
                                     JAPAN                                 MOSCOW
                                                                           RUSSIA



OOO SVCH RADIOSYSTEM                 OP TEST                               OPCOM INC
ATTN CHIEF ENGINEER                  ATTN CFO                              8F-5, NO 6, LN 609 SEC 5, CHUNG HSING RD
PROMYSHLENNAYA ST, 5                 8794 AIRPORT RD                       SANCHUNG DIST
SAINT PETERSBURG 199397              REDDING, CA 96002                     NEW TAIPEI CITY 241
RUSSIA                                                                     TAIWAN



OPELCO                               OPEN INTELLIGENCE LLC                 OPEN OPTIONS LLC
105 EXECUTIVE DR, 100                ATTN CEO, OPEN INTELLIGENCE           16650 WESTROVE DRIVE SUITE 150
DULLES, VA 20166-9558                1126 N BLOUNT ST                      DALLAS, TX 75370
                                     RALEIGH, NC 27604
OPEN SKY GROUP LLC,Case
                      THE 25-90163    Document  87GROUP
                                         OPEN SKY   Filed inTHE
                                                        LLC, TXSB on 07/03/25 OPEN
                                                                               Page   617 SECURITY
                                                                                   SOURCE of 944 INC
ATTN LEGAL                                ATTN MG PRINCIPAL                   DBA GRSECURITY
1421 E BROAD ST, STE 305                  1501 LAKESTONE VLG LN, STE 207      ATTN PRESIDENT
FUQUAY-VARINA, NC 27526                   FUQUAY-VARINA, NC 27526             2437 RALEIGH DR
                                                                              LANCASTER, PA 17601



OPENSYMMETRY LLC                          OPENSYMMETRY LLC                    OPHIR-SPIRICON INC
110 WILD BASIN RD                         ATTN MG PARTNER                     60 W 1000 N
AUSTIN, TX 78746                          11824 JOLLYVILLE RD, STE 103        LOGAN, UT 84321-2240
                                          AUSTIN, TX 78759




OPI INC.                                  OPPENHEIMER & CO. INC. (0571)       OPPORTUNITY ENTERPRISES INC
ATTN GENERAL MANAGER                      ATT COLIN SANDY OR PROXY MGR        DBA FLEX EXECS MANAGEMENT SOLUTIONS
2208 S 19TH ST                            85 BROAD ST, 4TH FL                 ATTN ACCOUNTING MGR
SHEBOYGAN, WI 53081                       NEW YORK, NY 10004                  645 EXECUTIVE DR
                                                                              WILLOWBROOK, IL 60527



OPS SOLUTIONS LLC                         OPTEK SYSTEMS INC                   OPTEL CONSORTIUM
ATTN CTO                                  12 PILGRIM ROAD                     ATTN CHAIRMAN OF THE BOARD
24371 CATHERINE INDUSTRIAL DR             GREENVILLE, SC 29607-5701           VIA GIUSEPPE GIOACHINO BELL, 39
NOVI, MI 48375                                                                ROME 00193
                                                                              ITALY



OPTELIAN ACCESS NETWORKS INC              OP-TEST INC                         OPTICAL FILTER CORPORATION
ATTN PRESIDENT                            DBA SOF-TEK INTEGRATIONS INC        DBA CORNING SPECIALTY MATERIALS
1 BREWER HUNT WAY                         ATTN CEO                            69 ISLAND ST
OTTAWA, ON K2K 2B5                        630 TWIN VIEW BLVD                  KEENE, NH 03431
CANADA                                    REDDING, CA 96003



OPTICAL GAGING PRODUCTS                   OPTICAL RESEARCH ASSOCIATES         OPTICALITY CORP
ATTN PRESIDENT                            ATTN CFO                            ATTN VP-INTELLECTUAL PROPERTY &
850 HUDSON AVE                            3280 E FOOTHILL BLVD, STE 300       LICENSING
ROCHESTER, NY 14621                       PASADENA, CA 91107                  233 BROADWAY, FL 45
                                                                              NEW YORK, NY 10007



OPTICHRON INC                             OPTICS BALZERS AG                   OPTICS LIGHTING AGENCY INC
ATTN CEO                                  NEUGRUET 35                         ATTN PHIL STEVENSON
4221 TECHNOLOGY DR                        BALZERS 9496                        7710 5TH ST SE, 218
FREMONT, CA 94538                         LIECHTENSTEIN                       CALGARY, AB T2H 2L9
                                                                              CANADA



OPTILED HOLDINGS COMPANY LTD              OPTILED JAPAN LTD                   OPTILED LIGHTING INTERNATIONAL LTD
ATTN MANAGING DIR                         ATTN VP                             ATTN SENIOR MGR, INTL MARKETING
6/F PHOTONICS CENTRE                      21F, SHIODOME, SHIBARIKYU BLDG      STE 2302, 23/F, ONE LANDMARK E
NO.2 SCIENCE PARK E AVE, HK SCIENCE       1-2-3 KAIGAN MINATO-KU              100 HOW MING ST
PARK                                      TOKYO 105-0022 JAPAN                KWUN TONG, KOWLOON HONG KONG
HONG KONG


OPTIMA ENGINEERING PA                     OPTIMAX SYSTEM INC                  OPTIMEMS TECHNOLOGY INC
ATTN BUSINESS MGR                         ATTN CEO                            ATTN GENERAL MANAGER
150 FAYETTEVILLE ST, STE 520              6367 DEAN PKWY                      43422 W OAKS DR, STE 183
RALEIGH, NC 27601                         ONTARIO, NY 14519                   NOVI, MI 48377




OPTIMIZE ENETRANET TECHNOLOGIES PVT       OPTIMIZE HIRE LLC                   OPTIMUM BATTERY CO LTD
LTD                                       ATTN VP OF BUS DEV                  ATTN OVERSEAS MKTG MGR
ATTN TECH ARCHITECT                       7100 SIX FORKS RD, STE 301          BLD 9 ZHUKENG INDUSTRIAL PARK
66 KELUSKAR RD                            RALEIGH, NC 27615                   PINGSHAN NEW DISTRICT
SAIPRASAD BLDG, SHIVAJI PK, DADAR                                             SHENZHEN CITY 518118 CHINA
MUMBAI 400028 INDIA
                 Case
OPTIMUM FILTRATION     25-90163
                   COMPANY          Document
                                       OPTIPRO87   FiledLLC
                                               SYSTEMS    in TXSB on 07/03/25 OPTIS
                                                                               Page   618AMERICA
                                                                                    NORTH of 944INC
ATTN VP/SALES ENGINEER                  6368 DEAN PARKWAY                       ATTN PRESIDENT
152 P&G LN                              ONTARIO, NY 14519-8970                  100 W BIG BEAVER RD, STE 230
WASHINGTON, NC 27889                                                            TROY, MI 48084




OPTIS SA                                OPTIS SAS                               OPTIV SECURITY INC
BP 275 ZELA FARLEDE                     ZE LA FARLEDE                           1125 17TH STREET SUITE 1700
CEDEX 9                                 20 RUE PARMENTIER, BP 275               DENVER, CO 80202-2032
TOULON 83078                            CEDEX 9
FRANCE                                  TOULON 83708 FRANCE



OPTO SYSTEM KK                          OPTO SYSTEMS CO LTD                     OPTO TECH CORPORATION
86-1 MIYAMAKINOGAMI                     ATTN DIRECTOR                           ATTN SUPERVISOR OF SALES
KYOTANABE, KYOTO                        100 NOGAMI,MIYAMAKI                     NO. 1, LI-HSIN RD V
JAPAN                                   KYOTANABE, KYOTO 610-0313               HSINCHU SCIENCE PARK
                                        JAPAN                                   HSINCHU TAIWAN



OPTO TECHNOLOGY INC                     OPTOELECTRONIX INC                      OPTOLUM INC
ATTN DIR PROD DEV                       ATTN PRES & CEO                         4238 E WELDON AVE
160 E MARQUARDT DR                      1735 TECHNOLOGY DR, STE 175             PHOENIX, AZ 85018-5938
WHEELING, IL 60090                      SAN JOSE, CA 95110




OPTOMEC INC                             OPTORESOURCES                           OPTOSOURCE OPTOELECTRONIC
ATTN CORP COUNSEL                       ATTN PRESIDENT                          TECH DEVELOPMENT CO LTD
3911 SINGER BLVD NE                     5401 JESSAMINE ST                       NO.509, SANLIAN SEC, GUANGSHAN HWY
ALBUQUERQUE, NM 87109                   HOUSTON, TX 77081                       ZENGCHENG
                                                                                GUANGZHOU CITY CHINA



OPTOTECH CORPORATION                    OPTPTHERM INC                           OPULENT AMERICAS INC
ATTN ENGINEER                           ATTN OPS MGR                            ATTN PRESIDENT
NO. 1, LI-HSIN RD                       2591 WESXFORD BAYNE RD, STE 304         807 SPRING FOREST RD, STE 900
HSIN CHU SCIENCE PARK                   SEWICKLEY, PA 15143                     RALEIGH, NC 27609
HSIN COUNTY TAIWAN



OPULENT SOLUTIONS SDN BHD               OPULENT TECHNO PTE LTD                  [NAME REDACTED]
ATTN SR MGR                             ATTN MKTG MGR                           [ADDRESS REDACTED]
PLOT III, BEYAN LEPAS INDUSTRIAL PARK   10 UBI CRESCENT, UBI TECH PARK, 07-12
LEBUH RAYA KAMPUNG JAWA, BAYAN LEPAS    LOBBY B
PENANG 11900 MALAYSIA                   SINGAPORE 408564
                                        SINGAPORE


ORACLE CORP                             ORACLE CORPORATION                      ORACLE CORPORATION
2300 ORACLE WAY                         500 ORACLE PKWY                         ATTN BRAXTON DUKE
AUSTIN, TX 78741                        REDWOOD SHORES, CA 94065                1100 ABERNATHY RD, STE 1120
                                                                                ATLANTA, GA 30328




ORACLE ELEVATOR HOLDCO, INC.            ORACLE ELOQUA MKTG BASIC CLOUD SVCS     ORAMA INC
EMR ELEVATOR                            F/K/A ELOQUA MARKETER                   ATTN GEN MGR
DEPT. 9901 - P.O. BOX 850001                                                    1700 S AMPHLETT BLVD, STE 260
ORLANDO, FL 32885-9901                                                          SAN MATEO, CA 94402




ORANGE COAST PNEUMATICS, INC.           ORANGE COUNTY INDUSTRIAL PLASTICS INC   ORANGE TEK
3810 PROSPECT AVE                       ATTN FAB MANAGER                        ATTN DIRECTOR
YORBA LINDA, CA 92886-1777              4811 EAST LA PALMA AVE                  5F, NO 194, DADUN RD
                                        ANAHEIM, CA 92807                       TAICHUNG CITY, XITUN 407
                                                                                TAIWAN
ORB OPTRONIX INC Case 25-90163     Document 87 FiledPRODUCTS
                                      ORBAN MICROWAVE in TXSB on 07/03/25 ORBEL
                                                                           Page   619 of 944
                                                                                CORPORPORATION
ATTN PRES                              ATTN PRESIDENT                        ATTN VP & COO
1003 7TH AVE, STE B                    4C REMY LANE                          2 DANFORTH DR
KIRKLAND, WA 98033                     LEUVEN 3018                           EASTON, PA 18045
                                       BELGIUM



ORBIS CORP                             ORBIT AUSTRALIA PTY LTD               ORBIT SEMICONDUCTOR INC
ATTN CORPORATE COUNSEL                 ATTN BUSINESS DEV MGR                 1215 BORDEAUX DR
1328 EARL ST                           STE 145, NATL INNOVATION CENTRE       SUNNYVALE, CA 94089
MENASHA, WI 54952                      AUSTRALIAN TECH PK, 4 CORNWALLIS ST
                                       EVELEIGH, NSW 2015 AUSTRALIA



ORBITAL MECHANICS LLC                  ORBITFORM GROUP LLC                   ORBOTECH INC
ATTN PRINCIPAL                         ATTN VP OF SALES                      ATTN VP FINANCE & OPS
335 SHERWEE DR, STE 107                1600 EXECUTIVE DR                     44 MANNING RD
RALEIGH, NC 27603                      JACKSON, MI 49203                     BILLERICA, MA 01821




ORC PRODUCTS INC                       [NAME REDACTED]                       [NAME REDACTED]
683 BAIN STREET                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]
SPRINGDALE, AR 72764-1162




OREE ADVANCED ILLUMINATION SOLUTIONS   OREGON BUREAU OF LABOR AND            OREGON DEPARTMENT OF JUSTICE
ATTN CEO & PRES                        INDUSTRIES                            FINANCIAL FRAUD
BEIT OR, 30 TUVAL ST                   800 NE OREGON ST STE 1045             CONSUMER PROTECTION SECTION
RAMAT GAN 52522                        PORTLAND, OR 97232                    1162 COURT ST NE
ISRAEL                                                                       SALEM, OR 97301-4096



OREGON DEPARTMENT OF STATE LANDS       OREGON DEPT OF ENVIRONMENTAL          OREGON DEPT OF FISH AND WILDLIFE
UNCLAIMED PROPERTY DIVISION            QUALITY                               4034 FAIRVIEW INDUSTRIAL DRIVE, SE
900 COURT ST NE                        700 NE MULTNOMAH ST, STE 600          SALEM, OR 97302
SALEM, OR 97301-1279                   PORTLAND, OR 97232-4100




OREGON DEPT OF REVENUE                 OREGON DIVISION OF FINANCIAL          OREGON EMPLOYMENT DEPT
955 CENTER ST NE                       REGULATION                            DIV. OF UNEMPLOYMENT INSURANCE
SALEM, OR 97301                        P.O. BOX 14480                        875 UNION ST NE
                                       SALEM, OR 97309-0405                  SALEM, OR 97311




OREGON SECRETARY OF STATE,             [NAME REDACTED]                       ORENES SL
CORPORATION DIVISION                   [ADDRESS REDACTED]                    ATTN MANAGER
255 CAPITOL ST. NE                                                           AUTOVIA MURCIA ALICANTE
STE 151                                                                      SALIDA 84, CABEZO DE TORRES
SALEM, OR 97310                                                              MURCIA 30110 SPAIN



ORENTRIX INC                           [NAME REDACTED]                       ORIENT OVERSEAS CONTAINER LINE LTD
ATTN PRESIDENT                         [ADDRESS REDACTED]                    OOCL HONG KONG BRANCH
P.O. BOX 211235                                                              31/F, HARBOUR CENTRE 25, HARBOUR ROAD
CHULA VISTA, CA 91921                                                        WANCHAI
                                                                             HONG KONG



ORIENT SEMICONDUCTOR ELECTRONICS       ORIENT SYSTEM CO LTD                  ORIGINALITY LTD
LTD                                    ATTN SALES MGR                        ATTN CHIEF EXECUTIVE OFFICER
ATTN SR DIRECTOR                       4-10 YAMATOCHO                        THE OLD VICARAGE, UPPER SOUTH
NO 9, CENTRAL 3RD ST                   ITABASHI-KU                           WRAXALL
NANZIH DIST                            TOKYO 173-0012 JAPAN                  BRADFORD ON AVON
KAOHSIUNG 811 TAIWAN                                                         WILTSHIRE BA15 2SB UNITED KINGDOM
                 CaseINC25-90163
ORION ENERGY SYSTEMS                  Document  87 Filed
                                         ORION ENTRANCE   in TXSB
                                                        CONTROL INC on 07/03/25 ORION
                                                                                 Page ICS620
                                                                                          LLC of 944
ATTN CEO                                  ATTN CHIEF EXECUTIVE OFFICER           8000 REGENCY PKWY STE 430
2210 WOODLAND DR                          76A LEXINGTON DR                       CARY, NC 27518-7703
MANITOWOE, WI 54220                       LACONIA, NH 03246




ORION INDUSTRIES INCORPORATED             ORIX                                   ORKIN EXTERMINATING INC
ATTN PRESIDENT                            LOT 10.02, 10TH FL, MWE PLAZA NO 8     ATTN BRANCH MGR
ONE ORION PARK DR                         LEBUGH FARQUHAR                        2411 S ALSTON AVE
AYER, MA 01432                            PENANG 10200 MALAYSIA                  DURHAM, NC 27703




ORKIN, LLC DBA ORKIN COMMERCIAL SER       [NAME REDACTED]                        ORLUNA LED TECHNOLOGIES LTD
8810 WESTGATE PARK DRIVE SUITE 106        [ADDRESS REDACTED]                     ATTN CTO
RALEIGH, NC 27617-4821                                                           UNIT C, HOLLY IND PARK, RYAN WAY
                                                                                 WATFORD WD2 44YP
                                                                                 UNITED KINGDOM



[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




ORTHO SMART LLC                           ORTHODYNE ELECTRONICS CORP             [NAME REDACTED]
ATTN OWNER                                16700 RED HILL AVE                     [ADDRESS REDACTED]
11908 ARENOSO DR                          IRVINE, CA 92606
LAS VEGAS, NV 89138




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           ORYX SYSTEMS INC                       OSAKA GAS CHEMICALS CO LTD
[ADDRESS REDACTED]                        1064 VAN BUREN AVENUE SUITE 6          ATTN GEN MNG
                                          INDIAN TRAIL, NC 28079-5569            3-6-14, BINGOMACHI
                                                                                 CHUO-KU
                                                                                 OSAKA 541 0051 JAPAN



[NAME REDACTED]                           [NAME REDACTED]                        OSBORNE CLARKE LLP
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     ONE LONDON WALL
                                                                                 LONDON EC2Y 5EB
                                                                                 UNITED KINGDOM
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  621 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




OSIMO OY                                [NAME REDACTED]                         [NAME REDACTED]
ATTN COO                                [ADDRESS REDACTED]                      [ADDRESS REDACTED]
TEKNIIKANTIE 2
ESPOO 02150
FINLAND



[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         OSRAM ASIA PACIFIC LTD                  OSRAM GMBH
[ADDRESS REDACTED]                      30/F CHINA RESOURCES BLDG, 26 HARBOUR   ATTN VP
                                        RD                                      HELLABRUNNER STRASSE 1
                                        WANCHAI                                 MUNCHEN 81543
                                        HONG KONG                               GERMANY



OSRAM OPTO SEMICONDUCTORS (CHINA)       OSRAM OPTO SEMICONDUCTORS GMBH &        OSRAM SYLVANIA PRODUCTS INC
CO LTD                                  CO OHG                                  ATTN GENERAL MANAGER
NO 57, XIQIN RD                         ATTN GENERAL MANAGER                    100 ENDICOTT ST
WUXI NEW DISTRICT                       WERNERWERKSTRASSE 2                     DANVERS, MA 01923
WUXI 214000                             REGENSBURG D-93049
CHINA                                   GERMANY


OSRAM SYLVANIA PRODUCTS INC             OSRAM WORLDWIDE                         OSTERHOUT GROUP INC
ATTN SCOTT BUTLER                       C/O OSRAM OPTO SEMICONDUCTORS GMBH      ATTN PRES/CEO
71 CHERRY HILL DR                       LIGHT EMITTING DIODES                   2 CLARENCE PL, 9
BEVERLY, MA 01915                       WERNERWERKSTRASSE 2                     SAN FRANCISCO, CA 94107
                                        REGENSBURG D-93049 GERMANY



OSTI INC                                [NAME REDACTED]                         OTB DESIGNS & ENGINEERING LLC
ATTN PRESIDENT                          [ADDRESS REDACTED]                      2531 NEWPORT DR
99 PACIFIC ST, STE 555H                                                         FORT COLLINS, CO 80525
MONTEREY, CA 93940




OTF DESIGNS LLC                         OTIS ELEVATOR COMPANY                   OTIS ELEVATOR COMPANY
ATTN MDIR, CTO                          ATTN GM                                 ATTN RICHARD JANDORA, GM
1685 MAYTOWN RD                         10 FARM SPRINGS RD                      6070 N FLINT RD
OAK HILL, FL 32759                      FARMINGTON, CT 06032                    MILWAUKEE, WI 53209




[NAME REDACTED]                         OTTAWA UNIVERSITY                       OTTER COMPUTER INC
[ADDRESS REDACTED]                      1001 S CEDAR ST                         ATTN VP
                                        OTTAWA, KS 66067                        3075 LAWRENCE EXPY
                                                                                SANTA CLARA, CA 95051
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 OTY,
                                       [NAME REDACTED]                       Page   622 of 944
                                                                                CRAIG
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      12 SAN PABLO CT
                                                                                NOVATO, CA 94949




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         OUELLETTE & ASSOCIATES CONSULTING INC   [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN SR RELATIONSHIP MGR                [ADDRESS REDACTED]
                                        40 SOUTH RIVER RD, 66
                                        BEDFORD, NH 03110




[NAME REDACTED]                         [NAME REDACTED]                         OUT FOR UNDERGRADUATE BUSINESS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      CONFERENCE INC
                                                                                2216 PADRE BOULEVARD SUITE B 117
                                                                                SOUTH PADRE ISLAND, TX 78597-0204




OUTBACK EQUIPMENT COMPANY INC           OUTDOOR LIGHTING                        [NAME REDACTED]
ATTN MANAGER                            ATTN PRESIDENT                          [ADDRESS REDACTED]
6205 ENGLE WAY, UNIT F                  P.O. BOX 1437
GILROY, CA 95020                        CARRBORO, NC 27510




[NAME REDACTED]                         [NAME REDACTED]                         OVATION POLYMER TECH & ENGINEERED
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      MATERIALS INC
                                                                                ATTN PRESIDENT
                                                                                1030 W SMITH RD
                                                                                MEDINA, OH 44256



[NAME REDACTED]                         OVERHEAD DOOR COMPANY                   OVERHEAD MATERIAL HANDLING INC
[ADDRESS REDACTED]                      3224 GRESHAM LAKE RD                    ATTN SALES MANAGER
                                        RALEIGH, NC 27658-4106                  7747 S 6TH ST
                                                                                OAK CREEK, WI 53154




OVERLAND ROOFING & REMODELING LLC       [NAME REDACTED]                         OVERSOL OY
ATTN VP                                 [ADDRESS REDACTED]                      ATTN SR VP
944 M 46TH ST                                                                   SATAKUNNANTIE 164
MILWAUKEE, WI 53208                                                             TURKU 20320
                                                                                FINLAND



[NAME REDACTED]                         OVIS ENTERPRISES CO LTD                 [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN SALES MGR                          [ADDRESS REDACTED]
                                        4TH FL, 649-8, CHUNG CHENG RD
                                        HSIN CHUANG CITY
                                        TAIPEI HSIEN TAIWAN



OWENS INDUSTRIES INC                    [NAME REDACTED]                         [NAME REDACTED]
ATTN PRESIDENT                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]
7815 S 8TH ST
OAKCREEK, WI 53154
[NAME REDACTED] Case 25-90163           Document  87 Filed in TXSB on 07/03/25 [NAME
                                           [NAME REDACTED]                       Page  623 of 944
                                                                                     REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                             OWLET GMBH                          [NAME REDACTED]
[ADDRESS REDACTED]                          ATTN GENERAL MGR                    [ADDRESS REDACTED]
                                            70 FRIEDRICH EBERT STR
                                            MAINZ 55130
                                            GERMANY



OX OPTIMAL INC                              OXFORD ECONOMICS USA INC            OXFORD GLOBAL RESOURCES INC
ATTN CO-FOUNDER                             ATTN SVP, AMERICAS                  ATTN CORP COUNSEL
2923 S DELAWARE                             5 HANOVER SQ, 8TH FL                100 CUMMINGS CENTER, STE 206L
MILWAUKEE, WI 53207                         NEW YORK, NY 10004                  BEVERLY, MA 01915




OXFORD IMMUNOTEC INC                        OXFORD INSTRUMENTS AMERICA INC.     OXFORD LASERS INC
ATTN SALES & CONTRACT ADMIN                 300 BAKER AVE. STE 150              ATTN INDUSTRIAL NA SALES MGR
700 NICKERSON RD, STE 200                   CONCORD, MA 01742-2124              2 SHAKER RD, UNIT D201
MARLBOROUGH, MA 01752                                                           SHIRLEY, MA 01464




OXLEY INC                                   OXY-GON INDUSTRIES INC              OZARK DESIGN WORKS
31 BUSINESS PARK DR                         P.O. BOX 40                         122 W MAIN STREET
BRANFORD, CT 06405                          EPSOM, NH 03234-0040                MOUNTAIN VIEW, AR 75260




OZARK DESIGNWORKS LLC                       OZARK IC                            OZARK INTEGRATED CIRCUITS INC
1885 NORTH COLONY WAY                       ATTN MATT FRANCIS                   ATTN PRESIDENT
FAYETTEVILLE, AR 72704-6919                 P.O. BOX 332                        700 W RESEARCH CTR BLVD
                                            FAYETTEVILLE, AR 72702              FAYETTEVILLE, AR 72701




OZDISAN ELEKTRONIK PAZ.SAN.VE TIC.A.S       [NAME REDACTED]                     OZONE ENGINEERING
ATTN: MUSTAFA YURTTAS                       [ADDRESS REDACTED]                  2530 PATRA DRIVE
DES SANAYI SITESI, 104 SOKAK A07,                                               EL SOBRANTE, CA 94803-3628
BLOK NO.: 54-56, YUKARI DUDULLU,
UMRANIYE
ISTANBUL TURKEY


P & A ROOFING & SHEET METAL INC             P & C PRECISION MACHINING           P & R SPECIAL SERVICES
ATTN GENERAL MGR                            929 EAST JUANITA AVENUE, STE: 105   ATTN ANN SMALL
1003 MORRISVILLE PKWY, STE 190              MESA, AZ 85204-6625                 2200 CLARK AVE
MORRISVILLE, NC 27560                                                           RACINE, WI 53403




P&C INSURANCE SERVICES INC                  P&R SERVICES                        P&R TECHNOLOGIES INC
405 N CALHOUN RD, STE 203                   DIV OF HOWARDS INVESTMENTS INC      ATTN PRESIDENT
BROOKFIELD, WI 53005                        ATTN MANAGER                        8700 SW NIMBUS AVE, STE C
                                            2200 CLARK ST                       BEAVERTON, OR 97008
                                            RACINE, WI 53403



P&S MECHINING & FABRICATION LLC             PA CONSULTING SERVICES LIMITED      PA SYSTEMS CO LTD
ATTN CHIEF EXECUTIVE OFFICER                10 BRESSENDEN PL                    ATTN GEN MGR
2900 TUCKER ST, STE 102                     LONDON SW1E 5DN                     708, ACE PYEONGCHON TOTER
BURLINGTON, NC 27215                        UNITED KINGDOM                      883, GWANYANG-DONG
                                                                                ANYANG, GYEONGGI-DO SOUTH KOREA
                  CaseGENERAL
PA. OFFICE OF ATTORNEY 25-90163       Document  87 Filed in TXSB on 07/03/25 PACE
                                         [NAME REDACTED]                       Page  624 of SERVICES
                                                                                  ANALYTICAL 944     INC
BUREAU OF CONSUMER PROTECTION             [ADDRESS REDACTED]                    1800 ELM STREET SE
STRAWBERRY SQUARE                                                               MINNEAPOLIS, MN 55414-2500
16TH FLOOR
HARRISBURG, PA 17120



PACE INC                                  PACE INC                              PACE INDUSTRIES INC
739 S MILL ST                             ATTN SERVICE MANAGER                  ATTN SALES MGR
PLYMOUTH, MI 48170                        1221 AMBLE DR                         513 HWY 52/65 BYPASS N
                                          CHARLOTTHE, NC 28256-0427             HARRISON, AZ 72602




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




PACEMAKER STEEL AND PIPING CO., INC       [NAME REDACTED]                       [NAME REDACTED]
501 MAIN STREET                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]
UTICA, NY 13501




[NAME REDACTED]                           PACIFIC ACOUSTICS NORTH AMERICA INC   PACIFIC BUILDING MAINTENANCE
[ADDRESS REDACTED]                        ATTN SUPERINTENDENT                   ATTN OWNER
                                          133 E ORTEGA ST                       2646 PALMA DR, 320
                                          SANTA BARBARA, CA 93101               VENTURA, CA 93003




PACIFIC CAPITAL GROUP LLC                 PACIFIC DATA MANAGEMENT INC           PACIFIC DIE CASTING CORP
ATTN PRESIDENT                            ATTN DAVID TERRY, PRESIDENT           ATTN PROJECT ENGINEER
212 TUSIN AVE                             111 N MARKET ST, STE 815              6155 S EASTERN AVE
NEWPORT BEACH, CA 92663                   SAN JOSE, CA 95113                    COMMERCE, CA 90040




PACIFIC GAS AND ELECTRIC COMPANY          PACIFIC HEALTH INSURANCE CO., LTD.    PACIFIC INSIGHT ELECTRONICS CORP
300 LAKESIDE DR                           BAOLAND PLAZA                         ATNN DIRECTOR FINANCE
OAKLAND, CA 94612                         SHANGHAI 200082                       1155 INSIGHT DRIVE
                                          CHINA                                 NELSON, BC V1L 5P5
                                                                                CANADA



PACIFIC INSPECTION COMPANY                PACIFIC LIGHT CONCEPTS LLC            PACIFIC LIGHTING CORP
ATTN PRESIDENT                            ATTN COO                              ATTN JOEL EHLERS
9271 IRVINE BLVD                          1267 WILLIS ST, STE 200               5447 S DURANGO DR
IRVINE, CA 92618                          REDDING, CA 96001                     LAS VEGAS, NV 89113




PACIFIC LIGHTING TECHNOLOGIES CORP        PACIFIC MICROWAVE RESEARCH INC        PACIFIC POWER SOURCE INC
2828 SW CORBETT AVE, STE 3                ATTN PRESIDENT                        ATTN SALES MANAGER
PORTLAND, OR 97201                        1485 POINSETTIA AVE, STE 111          17692 FITCH
                                          VISTA, CA 92081                       IRVINE, CA 92614




PACIFIC QUARTZ INC                        PACIFIC RIM INTERNATIONAL             PACIFIC SCIENTIFIC INSTRUMENTS
ATTN SALES & MKTG MGR                     ATTN PRESIDENT                        ATTN PRINCIPAL SCIENTIST, R&D MGR
1404 E SAINT GERTRUDE PL                  P.O. BOX 230667                       481 CALIFORNIA AVE
SANTA ANA, CA 92705                       ENCINITAS, CA 92023                   GRANTS PASS, OR 97526
                  Case 25-90163
PACIFIC SHORES ENGINEERING  LLC    Document
                                      PACIFIC 87   FiledCORPORATION
                                              TRINETICS  in TXSB on INC07/03/25 PACIFIC
                                                                                  PageWESTERN
                                                                                        625 of SYSTEMS
                                                                                               944
ATTN VP ELECTRICAL ENGINEERING         ATTN PRESIDENT                          ATTN AREA MGR
200 S GARFIELD AVE, STE 318            10542 CALLE LEE, STE 114                505 E EVELYN AVE
ALHAMBRA, CA 91801                     LOS ALAMITOS, CA 90720                  MOUNTAIN VIEW, CA 94041




PACIFICA COMMERCIAL REALTY             [NAME REDACTED]                         [NAME REDACTED]
504 1ST ST, STE A                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]
PASO ROBLES, CA 93446




PACKAGING SALES INC                    [NAME REDACTED]                         PACKING SEALS & ENGINEERING LLC
ATTN PRESIDENT                         [ADDRESS REDACTED]                      ATTN PRESIDENT
W188 N11770 MAPLE RD                                                           2520 LEON LANE
GERMANTOWN, WI 53022                                                           SPRINGFIELD, OH 45502




PACTECH - PACKAGING TECHNOLOGIES       PACTECH USA PACKAGING TECHNOLOGIES      PACTRON INC
GMBH                                   INC                                     ATTN COO
AM SCHLANGENHORST 7-9                  328 MARTIN AVE                          3000 PATRICK HENRY DR
NAUEN 14641                            SANTA CLARA, CA 95050-3112              SANTA CLARA, CA 95054
GERMANY



PACUR LLC                              PAD PRINT MACHINERY                     [NAME REDACTED]
ATTN GRAPHICS PROD MGR                 ATTN PRESIDENT                          [ADDRESS REDACTED]
3555 MOSER ST                          201 TENNIS WAY
OSHKOSH, WI 54901                      EAST DORSCT, VT 05253




[NAME REDACTED]                        PADLOCK (3/PK)                          PADT INC
[ADDRESS REDACTED]                                                             ATTN CO-OWNER
                                                                               7755 S RESEARCH DR, STE 110
                                                                               TEMPE, AZ 85284




PAESSLER AG                            [NAME REDACTED]                         [NAME REDACTED]
ATT CEO & COO                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]
BUCHER STR 79E
NUREMBERG D-90419
GERMANY



[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




PAITS HOME IMPROVEMENT INC             PAK TECH ENTERPRISE CO LTD              PAK-RITE LTD
ATTN OWNER/PRES                        ATTN VICE GM                            ATTN SALES
401 LAKESIDE DR                        6F-1, 12, LN 270, SEC 3, PEI-SHAN RD    2395 S BURRELL ST
LUMBERTON, NC 28360                    SHANKENG HSIANG                         MILWAUKEE, WI 53207
                                       TAIPEI HSIEN TAIWAN
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  626 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        PALISADE CORP
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     ATTN ACCOUNTING & OPS DIR
                                                                           798 CASCADILLA ST
                                                                           ITHACA, NY 14850




PALL CORP                           PALL TRINCOR                           PALLADIUM ENERGY INC
ATTN SR VP                          770 PENNSYLVANIA DRIVE-SUITE 100       ATTN DIR OF SALES
25 HARBOR PARK DR                   EXTON, PA 19341-1186                   3030 WARRENVILLE RD, STE 600
PT WASHINGTON, NY 11050                                                    LISLE, IL 60532




[NAME REDACTED]                     PALLETONE INC                          PALLIDUS INC
[ADDRESS REDACTED]                  ATTN VICE PRESIDENT FINANCE            ATTN PRESIDENT
                                    1470 HGWY 17 S                         6002 ROGERDALE RD, STE 310
                                    BARTOW, FL 33830                       HOUSTON, TX 77072




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




PALMER, ERIC                        PALMETTO AIR & WATER BALANCE-RALEIGH   PALMETTO PLANTING CO INC
[ADDRESS REDACTED]                  INC                                    ATTN VP
                                    165 S HAMMETT ROAD                     510 SACO-LOWELL RD
                                    GREER, SC 29651                        EASLEY, SC 29640




[NAME REDACTED]                     [NAME REDACTED]                        PALOMA PARTNERS MANAGEMENT CO
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     300 PARK AVE
                                                                           17TH FLOOR
                                                                           NEW YORK, NY 10022




PALOMAR TECHNOLOGIES, INC.          PALPILOT INTL CORP                     [NAME REDACTED]
6305 EL CAMINO REAL                 ATTN VP                                [ADDRESS REDACTED]
CARLSBAD, CA 92009-1606             15591 RED HILL AVE, 102
                                    TUSTIN, CA 92780




PALT & ASSOCIATES INC               PALT COMPANY CORP, THE                 [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER        ATTN PRESIDENT / CEO                   [ADDRESS REDACTED]
5626 DEER CREEK WY                  3130 SKYWAY DR, 408
PASO ROBLES, CA 93446               SANTA MARIA, CA 93455
                  Case
PALWONN ELECTRONICS     25-90163
                     (SUZHOU) CO LTD Document  87 Filed in TXSB on 07/03/25 PAN
                                        [NAME REDACTED]                       Page    627 of 944
                                                                                 INTERNATIONAL  SRL
ATTN SALES SR DIR                       [ADDRESS REDACTED]                  ATTN ADMIN
NO 689, XUBANG RD                                                           VIA G MICHELUCCI, 1
WUZHONG EXP PROCESSING ZONE, SUZHOU                                         TAVARNELLE VAL DI PESA
JIANGSU PROVINCE 215004 CHINA                                               FIRENZE 50028 ITALY



PAN JIT AMERICAS INC                    PAN JIT AMERICAS INC                   PAN JIT INTERNATIONAL INC
ATTN DIR SALES & MARKETING              ATTN SEMICOND SALES MG                 ATTN CHIEF EXECUTIVE OFFICER
1702 W 3RD ST                           2502 W HUNTINGTON DR                   NO.24 KANG SHAN RD
TEMPE, AR 85281                         TEMPE, AZ 85282                        KANG SHAN TOWN
                                                                               KAOHSIUNG HSIEN 820 TAIWAN



PANACEA SELECTION LTD                   PANADYNE INC                           PANALPINA INC
DYRHAM LODGE                            ATTN PRESIDENT                         ATTN BUSINESS UNIT MANAGER
16 CLIFTON PARK                         2049 STOUT DR, STE A-4                 3140 YORKMONT RD, STE 600
BRISTOL BS8 3BY                         WARWICK, PA 18974                      CHARLOTTE, NC 28208
UNITED KINGDOM



PANALYTICAL INC                         [NAME REDACTED]                        PANASONIC CORP
ATTN BUSINESS DEVPT MGR                 [ADDRESS REDACTED]                     ATTN PRESIDENT
12 MICHIGAN DR                                                                 1-1 SAIWAI-CHO
NATICK, MA 01760                                                               TAKATSUKI-SHI, OSAKA 569-1193
                                                                               JAPAN



PANASONIC ELECTRIC WORKS CORP OF        PANASONIC ELECTRIC WORKS ELECTRONIC-   PANASONIC EMERGING ADVANCED RF LAB
AMERICA                                 MATERIALS SINGAPORE PTE LTD            OF PANASONIC R&D CO OF AMERICA
ATTN PAMELA LABAJ, SR CORP COUNSEL      ATTN DEPUTY MANAGING DIR               ATTN PRESIDENT
2 RIVERFRONT PLZ                        12 JOO KOON RD                         469 EL CAMINO REAL, STE 202
LEGAL DEPT                              SINGAPORE 628975 SINGAPORE             SANTA CLARA, CA 95050
NEWARK, NJ 07102-5490


PANASONIC FACTORY AUTOMATION            PANASONIC IND DEVICE SALES CO OF       PANASONIC INDUSTRIAL COMPANY
COMPANY                                 AMERICA                                ATTN DIRECTOR
ATTN PRESIDENT                          ATTN GROUP MANAGER                     THREE PANASONIC WAY
1711 N RANDALL RD                       2 RIVERFRONT PL, 7TH FL                SECAUCUS, NJ 07094
ELGIN, IL 60123                         NEWARK, NJ 07102-5490



PANASONIC INDUSTRIAL DEVICES SALES CO   PANASONIC OPERATIONAL EXCELLENCE CO    PANASONIC SEMICONDUCTO OPTO
OF AMERICA                              LTD                                    DEVICES CO LTD
ATTN VP, ABCD, COMPONENTS               ATTN DIRECTOR, GLOBAL PROCUREMENT      1786-6 TOKUSHIGE
2 RIVERFRONT PLZ, FL 7                  DIV                                    IJUIN-CHO
NEWARK, NJ 07102-5490                   4-33 KITAHAMAHIGASHI                   HIOKI-SHI, KAGOSHIMA 899 2595
                                        CHUO KU                                JAPAN
                                        OSAKA 540-0031 JAPAN

[NAME REDACTED]                         PANDA GLOBAL FORWARDING LTD            [NAME REDACTED]
[ADDRESS REDACTED]                      5F, NO 209, SEC 3, CIVIC BLVD          [ADDRESS REDACTED]
                                        TAIPEI 10492
                                        TAIWAN




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]
PANERATECH INC Case 25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  628 of 944
                                                                             REDACTED]
ATTN CHIEF EXECUTIVEE OFFICER       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
7056 FALLS REACH DR, STE 304
FALLS CHURCH, VA 22043




[NAME REDACTED]                     PAN-LIGHT INTERNATIONAL CO LTD     [NAME REDACTED]
[ADDRESS REDACTED]                  10 ANSON RD 12-08                  [ADDRESS REDACTED]
                                    INTERNATIONAL PLAZA
                                    SINGAPORE 079903
                                    SINGAPORE



[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     PANTHER PREMIUM LOGISTICS INC      PANTRONIX CORPORATION
[ADDRESS REDACTED]                  ATTN VP LEGAL & RISK               ATTN DIR PROGRAM MGR
                                    4940 PANTHER PKWY                  2710 LAKEVIEW CT
                                    SEVILLE, OH 44273                  FREMONT, CA 94538




PANTRY INC, THE                     PAPA JOHNS                         [NAME REDACTED]
ATTN ALAN ALI                       DBA RBJ RESTAURANT GROUP LLC       [ADDRESS REDACTED]
305 GREGSON DR                      11504 W NORTH AVE
CARY, NC 27511                      WAUWATOSA, WI 53226




[NAME REDACTED]                     PAPERTEC INC                       [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN PRESIDENT                     [ADDRESS REDACTED]
                                    141 LANZA AVE, BLDG 29
                                    GARFIELD, NJ 07026




[NAME REDACTED]                     PAR TECH LLC                       PARA LGHT ELECTRONICS CO LTD
[ADDRESS REDACTED]                  ATTN CEO                           ATTN DAVID MA
                                    54 INLET VIEW PATH                 4F, NO 1, LN 93, CHIEN YI ROAD
                                    EAST MORICHES, NY 11940            CHUNG HO
                                                                       NEW TAIPEI CITY TAIWAN



PARADIGM WIRELESS SYSTEMS INC       PARADISE DATACOM LLC               [NAME REDACTED]
ATTN EVP & CFO                      ATTN VP ENGINEERING                [ADDRESS REDACTED]
2028 MCGAW AVE                      328 INNOVATION BLVD, STE 100
IRVINE, CA 92614                    STATE COLLEGE, PA 16803




PARADOX INC                         PARADYNE INC                       PARAFLEX INDUSTRIES 2006 INC
ATTN CFO                            ATTN PRES                          ATTN PRESIDENT
6330 E THOMAS RD                    320 CONSTANCE DR                   3 LUGER RD, STE 1
SCOTTSDALE, AZ 85251                WARMINSTER, PA 18974               DENVILLE, NJ 07834




PARAGON COMMUNICATIONS LTD          PARAGON DECISION RESOURCES INC     PARAGON MECHANICAL INC
ATTN VP R&D                         ATTN SR VP/CFO                     16160 CAPUTO DRIVE
6 PALYAM AVE                        8650 FREEPORT PKWY, STE 200        MORGAN HILL, CA 95037-5539
HAIFA 33095                         IRVING, TX 75063
ISRAEL
PARAGON RELOCATION Case 25-90163
                     RESOURCES INC   Document 87SPACE
                                        PARAGON    Filed in TXSB on
                                                      DEVELOPMENT    07/03/25 [NAME
                                                                  CORP          Page  629 of 944
                                                                                    REDACTED]
ATTN PRESIDENT                           ATTN CFO                             [ADDRESS REDACTED]
30071 TOMAS, STE 200                     3481 E MICHIGAN ST
RANCHO SANTA MARGARITA, CA 92688         TUCSON, AZ 85714




PARALLEL NORTH IP AB                     [NAME REDACTED]                      [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER             [ADDRESS REDACTED]                   [ADDRESS REDACTED]
TORNKAMMAREGATAN 10
TYGELSJO 21872
SWEDEN



PARAMETER GENERATION & CONTROL INC       PARAMETRIC TECHNOLOGY CORP           PARAMOUNT EXTRUSIONS COMPANY
ATTN PRESIDENT                           ATTN GENERAL COUNSEL                 ATTN ENGINEERING ANALYST
1054 OLD US HWY 70 W                     140 KENDRICK ST                      6833 E ROSECRANS AVE
BLACK MOUNTAIN, NC 28711                 NEEDHAM, MA 02494                    P.O. BOX 847
                                                                              PARAMOUNT, CA 90723



PARANET GROUP INC, THE                   [NAME REDACTED]                      PARATECH AMBULANCE SERVICE INC
ATTN VP OF OPERATIONS                    [ADDRESS REDACTED]                   ATTN CFO
10000 INNOVATION DR, STE 105                                                  9401 W BROWN DEER RD
MILWAUKEE, WI 53226                                                           MILWAUKEE, WI 53224




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          PARIJAT CONTROLWARE INC              [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN PROJECT MNG                     [ADDRESS REDACTED]
                                         1450 BLALOCK RD, STE 201
                                         HOUSTON, TX 77055




[NAME REDACTED]                          PARK AUTOMATION INC                  PARK SYSTEMS
[ADDRESS REDACTED]                       18 WEST                              3040 OLCOTT STREET
                                         CHAPEL HILL, NC 275016               SANTA CLARA, CA 95054-3207




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
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[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  630 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




PARKELL INC                         PARKER HANNIFIN CORPORATION        [NAME REDACTED]
ATTN GEN COUNSEL                    ATTN VP OF TECHNOLOGY              [ADDRESS REDACTED]
4300 EXECUTIVE DR                   6035 PARKLAND BLVD
EDGEWOOD, NY 11717                  CLEVELAND, OH 44124




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




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[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
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[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




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[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




PARKWAY PRODUCTS INC                PARLO TOURS SDN. BHD.              PARMI CO LTD
ATTN VP OPERATIONS                  NO. 72 JALAN KAMPONG ATTA          ATTN GLOBAL SALES SR MNGR
51 CAVALIER BLVD, STE 200           KUALA LUMPUR 50460                 32-18, YUSEONG-DAERO
FLORENCE, KY 41042                  MALAYSIA                           1596 BEON-GIL, YUSEONG-GU
                                                                       DAEJEON 34054 SOUTH KOREA



[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
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[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  632 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    PARS INTERNATIONAL CORP
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 253 W 35TH ST, 7TH FLOOR
                                                                       NEW YORK, NY 10001




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




PARTECH LLC                         PARTH J INC                        PARTICLE MEASURING SYSTEMS
ATTN JOHN HEIMMER                   DBA MIDWESTS CIRCUITS              21571 NETWORK PLACE
54 INTLET VIEW PATH                 ATTN PRESIDENT                     CHICAGO, IL 60673-1215
EAST MORICHES, NY 11940             2206 BURDETTE
                                    FERNDALE, MI 48220



PARTICLE TECHNOLOGY GROUP LLC       [NAME REDACTED]                    [NAME REDACTED]
ATTN DIR OF OPERATIONS              [ADDRESS REDACTED]                 [ADDRESS REDACTED]
555 ROGERS ST
DOWNERS GROVE, IL 60515




PARTNER CONSULTANTS LTD             PARTNERS INTERNATIONAL LLC         PARTOE INC
5 THE PADDOCKS                      ATTN JENNY HIATT, DIR              ATTN CEO
MAIDENHALL, HIGHNAM                 309 E MOREHEAD ST, STE 290         3705 HAVEN AVE, STE 114
GLOUCESTERHIRE GL2 8DD              CHARLOTTE, NC 28202                MENLO PARK, CA 94025
UNITED KINGDOM



[NAME REDACTED]                     PARYLENE COATING SERVICES INC      [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN MANAGER                       [ADDRESS REDACTED]
                                    6819 HWY BLVD, STE 510
                                    KATY, TX 77494




PASCAL TECHNOLOGIES INC             [NAME REDACTED]                    [NAME REDACTED]
ATTN V PRES / OWNER                 [ADDRESS REDACTED]                 [ADDRESS REDACTED]
5104 PARK DR, STE 101
FREDERICKSBURG, VA 22408




PASS SEYMOUR INC                    [NAME REDACTED]                    [NAME REDACTED]
50 BOYD AVE                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]
SYRACUSE, NY 13209




[NAME REDACTED]                     PASSLOGIX INC                      [NAME REDACTED]
[ADDRESS REDACTED]                  75 BROAD ST, STE 815               [ADDRESS REDACTED]
                                    NEW YORK, NY 10004
[NAME REDACTED] Case 25-90163    Document  87 Filed in TXSB on 07/03/25 PAT
                                    [NAME REDACTED]                       Page  633 ofSOUTHEAST
                                                                            ASSOCIATES 944      DIVISION
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   ATTN SALES ENGINEER
                                                                          14323 OCEAN HWY
                                                                          PAWLEYS ISLAND, SC 29585




PATAGONIA PLANNING SYSTEMS SPA       [NAME REDACTED]                      [NAME REDACTED]
PASAJE BOETTCHER 128                 [ADDRESS REDACTED]                   [ADDRESS REDACTED]
FRUTILLAR 5620175
CHILE




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
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[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




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[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




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[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




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[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  635 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    PATENTICA LIMITED LIABILITY PARTNERSHIP
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN MANAGING PARTNER
                                                                       111 PICCADILLY, STE 315
                                                                       MANCHESTER M1 2HX
                                                                       UNITED KINGDOM



[NAME REDACTED]                     PATHWAY LIGHTING PRODUCTS INC      [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN COO                           [ADDRESS REDACTED]
                                    175 ELM ST, 5
                                    OLD SAYBROOK, CT 06475




[NAME REDACTED]                     PATIL, PRAJAKTA                    [NAME REDACTED]
[ADDRESS REDACTED]                  1617 VALLEY DALE DR                [ADDRESS REDACTED]
                                    FUQUAY-VARINA, NC 27526




PATRIA AVIATION OY                  [NAME REDACTED]                    [NAME REDACTED]
ATTN VP PROCURMENT                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
NAULAKATU 3
TAMPERE 33100
FINLAND



[NAME REDACTED]                     PATRIOT TOOLS & SERVICE INC        [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN VP                            [ADDRESS REDACTED]
                                    622 NC HWY 120
                                    MOORESBORO, NC 28114




[NAME REDACTED]                     [NAME REDACTED]                    PATTERSON PUMP COMPANY
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN VP CONTRACT COMPLIANCE
                                                                       2129 AYERSVILLE RD
                                                                       TOCCOA, GA 30577




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




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[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 PATTONS
                                      [NAME REDACTED]                       Page INC
                                                                                  636 of 944
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 ATTN BRANCH MANAGER
                                                                          2616 DISCOVERY DR
                                                                          RALEIGH, NC 27616




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    PAUL BARBOUR AND SON
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 ATTN VP
                                                                          11496 US HWY 401
                                                                          N FUQUAY VARINA, NC 27526




PAUL HASTINGS LLP                      PAUL HASTINGS LLP                  [NAME REDACTED]
COUNSEL TO AD HOC 26S NOTEHOLDER       COUNSEL TO AD HOC 26S NOTEHOLDER   [ADDRESS REDACTED]
GROUP                                  GROUP
ATTN: MATTHEW L. WARREN, RYAN S.       ATTN: RYAN S. BREWER
BREWER                                 2050 M STREET NW
71 S. WACKER DRIVE                     WASHINGTON, DC 20036
CHICAGO, IL 60606

PAUL MATERIALS CO LTD                  PAUL MUELLER CO                    PAUL REILLY CO INC
ATTN DON-GAP KIM                       ATTN RISK ANALYST                  ATTN PRESIDENT
2F, TAEAM BD, 3-4 JAYANG, 4 DONG       1600 W PHELPS ST                   10650 N BAEHR RD, STE N
SEOUL 143-841                          SPRINGFIELD, MO 65802              MEQUON, WI 53092
SOUTH KOREA



PAUL, CASSEL                           [NAME REDACTED]                    [NAME REDACTED]
ATTN PROGRAM MGR                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
160 NE 58TH ST
MIAMI, FL 33137




[NAME REDACTED]                        [NAME REDACTED]                    PAUL, WEISS, RIFKIND, WHARTON &
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 GARRISON LLP
                                                                          COUNSEL TO AD HOC SENIOR SECURED
                                                                          NOTEHOLDER GROUP
                                                                          ATTN: KEN ZIMAN, BRIAN M. JANSON, KYLE
                                                                          KIMPLER
                                                                          1285 6TH AVENUE
                                                                          NEW YORK, NY 10019

[NAME REDACTED]                        [NAME REDACTED]                    PAULMANN LICHT GMBH
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 ATTN HEAD OF PRODUCT DESIGN
                                                                          QUIEZINGER FELD 2
                                                                          SPRINGE VOELKSEN 31832
                                                                          GERMANY



PAULTEC                                [NAME REDACTED]                    [NAME REDACTED]
ATTN PRES                              [ADDRESS REDACTED]                 [ADDRESS REDACTED]
2F, TAEAM BD, 3-5
JAYANG-4-DONG, GWANGJIN-GU
SEOUL 143-841 SOUTH KOREA
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  637 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                         PAYMETRIC INC                       [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN DIR, SALES OPS                 [ADDRESS REDACTED]
                                        300 COLONIAL CENTER PKWY, STE 130
                                        ROSWELL, GA 30076




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                         PBM GRAPHICS INC                    PBP RESEARCH B V
[ADDRESS REDACTED]                      ATTN PRESIDENT                      ATTN ROBERT STOLK
                                        3700 S MIAMI BLVD                   NARITAWEG 116
                                        DURHAM, NC 27703                    AMSTERDAM 1043 CA
                                                                            NETHERLANDS



PBP RESEARCH B V                        PCG TRADING LLC                     PCHEM LLC
ATTN ROBERT STOLK                       DBA CONVERGE                        ATTN MANAGING MEMBER
ZEKERINGSTRAAT 17-A                     ATTN CHIEF EXECUTIVE OFFICER        7030 N. KARLOV
AMSTERDAM 1014 BM                       FOUR TECHNOLOGY DR                  LINCOLNWOOD, IL 60712
NETHERLANDS                             PEABODY, MA 10960



PCI SERVICE SUPPORT TECHNOLOGY CO       PCM PRODUCTS INC                    PCT CAPITAL LLC
LTD                                     ATTN PRESIDENT                      ATTN CEO
4/F, JIADU WISDOM BLDG                  1225 WHITE TAIL DR                  300 NEW JERSEY AVE NW, STE 650
NO.2 XINCEN 4TH RD, TIANHE DIST         TITUSVILLE, FL 32780                WASHINGTON DC 20001
GUANGZHOU, GUANGDONG 510663
CHINA


PC-WARRIORS LLC                         PDI COMMUNICATION SYSTEMS INC       PDM SERVICES LLC
555 FLOWER FIELDS LANE                  ATTN VICE PRESIDENT OPS             ATTN OWNER
ORLANDO, FL 32824-6153                  40 GREENWOOD LN                     5317 HOLDEN ST
                                        SPRINGBORO, OH 45066                CHARLESTON, SC 29418




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




PEAK INNOVATIONS INC                    PEAK RF LIMITED                     PEAK RF LTD
ATTN LEGAL COUNSEL                      ATTN MANAGING DIR                   ATTN MANAGING DIR
ONE INDUSTRIAL PKWY                     5 ST IVES ENTERPRISE CENTRE         5 ST IVES ENTERPISE CENTRE
JOHNSTOWN, CO 80534                     CAXTON RD, ST IVES                  CAXTON RD, ST IVES
                                        CAMBRIDGESHIRE PE27 3NP UNITED      CAMBRIDESHIRE PE273NP UNITED
                                        KINGDOM                             KINGDOM
PEAK SEMICONDUCTOR Case   25-90163
                       PACKING SDN BHD Document   87 LLC
                                          PEAK STEEL   Filed in TXSB on 07/03/25 PEAK
                                                                                   Page    638 of 944
                                                                                       SUBSTATION SERVICES LLC
11 & 11-A, JALAN RAWA, TAMAN PERLING      ATTN PRESIDENT                         P.O. BOX 67
JOHOR BAHRU, JOHOR 81200                  1610 N SALEM ST                        BIRMINGHAM, AL 35201-0067
MALAYSIA                                  APEX, NC 27523




[NAME REDACTED]                          PEAKLOGIX LLC                            PEAK-RYZEX INC
[ADDRESS REDACTED]                       ATTN EXEC VP                             ATTN CFO
                                         14409 JUSTICE RD                         10330 OLD COLUMBIA RD
                                         MIDLOTHIAN, VA 23113                     COLUMBIA, MD 21046




[NAME REDACTED]                          [NAME REDACTED]                          PEARCE STAINLESS
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       20 COPE DRIVE
                                                                                  KANATA, ON K2M 2V8
                                                                                  CANADA




[NAME REDACTED]                          [NAME REDACTED]                          PEARL MEYER & PARTNERS LLC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       ATTN MANAGING DIR
                                                                                  1348 MATTHEWS TOWNSHIP PKWY, STE 250
                                                                                  MATTHEWS, NC 28105




PEARL STREET SYSTEMS LLC                 [NAME REDACTED]                          PEARSON ELECTRONICS INC
ATTN PRESIDENT                           [ADDRESS REDACTED]                       4009 TRANSPORT STREET
27 CLEARVIEW RD                                                                   PALO ALTO, CA 94303-4914
WHITEHOUSE STATION, NJ 08889




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          PECCAD LLC                               [NAME REDACTED]
[ADDRESS REDACTED]                       15780 VERNON DR                          [ADDRESS REDACTED]
                                         BROOKFIELD, WI 53005




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document 87
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                                               CHEMICALS    TXSB on 07/03/25 PEGASUS
                                                                               Page 639   of 944
                                                                                     LOGISTICS GROUP INC
[ADDRESS REDACTED]                      BUILDING 4A, DG ESTATE, FACTORY RD     ATTN CIO
                                        SANDYCROFT CH5 2QJ                     306 AIRLINE DR, STE 100
                                        UNITED KINGDOM                         COPPELL, TX 75019




PEGASUS TECHNOLOGIES INC                [NAME REDACTED]                        PEIFER, DON
ATTN PRESIDENT                          [ADDRESS REDACTED]                     148 HAMILTON AVE
108 PAWNOOK FARM RD                                                            MOUNTAIN VIEW, CA 94043
LENOIR CITY, TN 37771




[NAME REDACTED]                         [NAME REDACTED]                        PELI AALG LTD
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     ATTN DIR
                                                                               4 CHATER CT, HALIFAX DR
                                                                               MARKET DEEPING
                                                                               PETERBROUGH PE6 8AH UNITED KINGDOM



PELICAN PRODUCTS INC                    [NAME REDACTED]                        [NAME REDACTED]
ATTN DIR OF WW SOURCING                 [ADDRESS REDACTED]                     [ADDRESS REDACTED]
23215 EARLY AVE
TORRANCE, CA 90505




[NAME REDACTED]                         PELLITTERI DESIGN SNC                  PELYCO SYSTEMS CORP
[ADDRESS REDACTED]                      VIALE MONTALBANO, 358                  ATTN VP
                                        QUARRATA 51039                         505 MORRO CT
                                        ITALY                                  FOSTER CITY, CA 94404




PEMCO LIGHTING PRODUCTS INC             PEMSTAR INC                            [NAME REDACTED]
ATTN PRESIDENT                          ATTN EXEC DIRECTOR                     [ADDRESS REDACTED]
150 SEARS BLVD                          3535 TECHNOLOGY DR NE
WILMINGTON, DE 19804                    ROCHESTER, MN 55901




[NAME REDACTED]                         PENASCO ENTERPRISES                    PENCHEM TECHNOLOGIES SDN BHD
[ADDRESS REDACTED]                      ATTN CEO                               ATTN BUSINESS, DEV DIR
                                        1232 HENDERSON LN                      1015, J1N PERINDUSTRIAN BUKIT MINYAK 7
                                        HAYWARD, CA 94544                      KAWASAN PERINDUSTRIAN
                                                                               BUKIT MINYAK, PENANG 14100 MALAYSIA



PENDANT SYSTEMS MANUFACTURING CO        [NAME REDACTED]                        [NAME REDACTED]
ATTN PRESIDENT                          [ADDRESS REDACTED]                     [ADDRESS REDACTED]
1670 WINCHESTER RD
BENSALEM, PA 19020




PENDERFUND CAPITAL MANAGEMENT LTD       [NAME REDACTED]                        [NAME REDACTED]
1830-1066 W HASTINGS ST                 [ADDRESS REDACTED]                     [ADDRESS REDACTED]
VANCOUVER, BC V6E 3X2
CANADA




[NAME REDACTED]                         PENGURUSAN MURNI SDN BHD               PENHALL COMPANY INC
[ADDRESS REDACTED]                      ATTN CHIEF EXECUTIVE OFFICER           ATTN ACCOUNT MGR
                                        LEVEL 8, PERAK TECHNO TRADE CENTRE     1801 PENHALL WAY
                                        BANDER MERU RAYA, OFF JALAN JELAPANG   ANAHEIM, CA 92801
                                        IPOH, PERAK DARUL RIDZUAN 30020
                                        MALAYSIA
PENINSULA PLASTICSCase 25-90163   Document  87 COMPONENTS
                                     PENINSULAR Filed in TXSB on 07/03/25 [NAME
                                                                            Page  640 of 944
                                                                                REDACTED]
2800 AUBURN CT                        DBA PENCOM                          [ADDRESS REDACTED]
AUBURN HILLS, MI 48326                ATTN REGIONAL MGR
                                      1300 INDUSTRIAL RD 21
                                      SAN CARLOS, CA 94070



PENMAN COMMUNICATIONS LLC             PENN COMPRESSION MOULDING INC       PENN LIGHTING ASSOCIATES
ATTN MANAGING DIR                     ATTN DIR OF BUSINESS DEV            ATTN DAVID QUINN, PRESIDENT
6712 THURMONT CT                      309 COMPONENTS DR                   239 S 24TH ST
CHARLOTTE, NC 28277                   SMITHFIELD, NC 27577                PHILADELPHIA, PA 19103




PENN STATE RESEARCH FDN, THE          PENN UNITED TECHNOLOGIES INC        [NAME REDACTED]
C/O INTEL PROP OFFICE                 DBA PARKER MAJESTIC                 [ADDRESS REDACTED]
ATTN DIRECTOR                         ATTN VP
113 TECHNOLOGY CTR, PSU               799 N PIKE RD
UNIVERSITY PARK, PA 16802             CABOT, PA 16023



[NAME REDACTED]                       [NAME REDACTED]                     PENNENGINEERING
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  5190 OLD EASTON RD
                                                                          DANBORO, PA 18916




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       PENNSLYVANIA DEPT OF REVENUE        PENNSYLVANIA DEPARTMENT OF BANKING
[ADDRESS REDACTED]                    P.O. BOX 280422                     AND SECURITIES
                                      HARRISBURG, PA 17128-0422           MARKET SQUARE PLAZA
                                                                          17 N SECOND STREET, SUITE 1300
                                                                          HARRISBURG, PA 17101



PENNSYLVANIA DEPT OF LABOR AND        PENNSYLVANIA DEPT OF STATE          PENNSYLVANIA DEPT OF STATE
INDUSTRY                              11 PARKWAY CTR                      110 N 8TH ST
PENNSYLVANIAS UNEMPLOYMENT            STE 175                             STE 204A
COMPENSATION                          875 GREENTREE RD                    PHILADELPHIA, PA 19107-2412
1700 LABOR AND INSTUSTRY BLDG         PITTSBURGH, PA 15220
HARRISBURG, PA 17120


PENNSYLVANIA DEPT OF STATE            PENNSYLVANIA DEPT OF STATE          PENNSYLVANIA DEPT OF STATE
15 W THIRD ST                         401 N ST                            411 7TH AVE
SECOND FL                             HARRISBURG, PA 17120                ROOM 420
GREENSBURG, PA 15601-3003                                                 PITTSBURGH, PA 15219-1905




PENNSYLVANIA DEPT OF STATE            PENNSYLVANIA DEPT OF STATE          PENNSYLVANIA DEPT OF STATE
419 AVENUE OF THE STATES              425 MAIN ST                         448 W 11TH ST
6TH FL                                JOHNSTOWN, PA 15901-1808            ERIE, PA 16501-1501
STE 602
CHESTER, PA 19013-451



PENNSYLVANIA DEPT OF STATE            PENNSYLVANIA DEPT OF STATE          PENNSYLVANIA DEPT OF STATE
535 CHESTNUT ST                       555 UNION BLVD                      625 CHERRY ST
SUNBURY, PA 17801-2834                ALLENTOWN, PA 18109-3389            READING, PA 19602-1186
PENNSYLVANIA DEPTCase   25-90163
                  OF STATE           Document 87 Filed
                                        PENNSYLVANIA DEPT in
                                                          OF TXSB
                                                             STATE on 07/03/25 PENNSYLVANIA
                                                                                 Page 641 DEPT
                                                                                            of 944
                                                                                                 OF STATE
BANK TOWERS                              PHILADELPHIA NORTHE DISTRICT           STONY CREEK OFFICE CENTER
207 WYOMING AVE                          3240 RED LION RD                       151 W MARSHALL ST
SCRANTON, PA 18503-1427                  PHILADELPHIA, PA 19114-1109            SECOND FL
                                                                                NORRISTOWN, PA 19401-4739



PENNSYLVANIA DEPT OF                     PENNSYLVANIA MANUFACTURERS             PENNSYLVANIA STATE TREASURY
ENVIRONMENTAL PROTECTION                 ASSOCIATION INS CO                     UNCLAIMED PROPERTY DIVISION
RACHEL CARSON STATE OFFICE BLDG          ATTN INFO SERVICES CONSULTANT          4TH FL, RIVERFRONT OFFICE CTR
400 MARKET ST                            380 SENTRY PKWY                        1101 SOUTH FRONT ST
HARRISBURG, PA 17101                     BLUE BELL, PA 19422-0754               HARRISBURG, PA 17104-2516



PENNSYLVANIA STATE UNI, THE              PENNSYLVANIA STATE UNIVERSITY          PENNSYLVANIA STATE UNIVERSITY
ATTN ASSOC DIR, CONTRACTS ADMIN          ATTN JOAN M REDWING PHD                ATTN UNIVERSITY PATENT COUNSEL
OFFICE OF SPONSORED PROG                 101 STEIDLE BLDG                       304 OLD MAIN
110 TECHNOLOGY CENTER                    UNIVERSITY PARK, PA 16802              UNIVERSITY PARK, PA 16802
UNIVERSITY PARK, PA 16802-7000



PENNSYLVANIA STATE UNIVERSITY, THE       PENNSYLVANIA STATE UNIVERSITY,THE      PENNWELL CORP
C/O ELECTRO-OPTICS CENTER                ATTN DIR, INTELLECTUAL PROP OFF        98 SPIT BROOK RD
ATTN ASSOC DIR, SPONSORED PROGS          0165 ARL BUILDING                      NASHUA, NH
222 NORTHPOINTE                          UNIVERSITY PARK, PA 16802
FREEPORT, PA 16229



PENNWELL CORP                            PENNWELL CORPORATION                   PENSION BENEFIT GUARANTY CORP
ATTN ASSOC EDITOR                        21428 NETWORK PL                       DIR. CORP. FINANCE & NEGOTIATION DEPT.
1421 S SHERIDAN RD                       CHICAGO, IL 60673                      445 12TH ST SW
TULSA, OK 74112                                                                 WASHINGTON, DC 20024




PENSKE TRUCK LEASING CO LP               [NAME REDACTED]                        PENSONIC HOLDINGS BHD
ATTN VP FACILITIES                       [ADDRESS REDACTED]                     ATTN GENERAL MANAGER
2675 MORGANTOWN RD                                                              LOT 11 B JIN 223 SECOND 51A
READING, PA 19607                                                               PJ
                                                                                MALAYSIA



PENTAGON EMS CORP                        PENTAMASTER TECHNOLOGY (M) SDN BHD     PENTECH FINANCIAL SERVICES INC
ATTN PRESIDENT                           PLOT 18 & 19 TECHNOPLEX MEDAN BAYAN    ATTN PRESIDENT & CEO
10950 SW 5TH ST, STE 275                 PERINDUSTRIAN BAYAN LEPAS PAHSE IV     910 EAST HAMILTON AVE SUITE 400
BEAVERTON, OR 97005                      BAYAN LEPAS PIN (PULAU PINANG) 11900   CAMPBELL, CA 95008
                                         MALAYSIA



PENTICO, CLARK                           [NAME REDACTED]                        [NAME REDACTED]
290 GRANITE ST                           [ADDRESS REDACTED]                     [ADDRESS REDACTED]
SIMI VALLEY, CA 93065




PEOPLE PROPERTY & ENVIRON                [NAME REDACTED]                        PEOPLEWORKS
PROTECTION INC                           [ADDRESS REDACTED]                     ATTN SR RESEARCH ENGINEER
ATTN PRESIDENT                                                                  501 ACE TECHNOTWOER, 197-17 GURO
12 REYNARD PL, STE 1A                                                           SEOUL
HILLSBOROUGH, NC 27278                                                          SOUTH KOREA



PEPPER HAMILTOM LLP                      [NAME REDACTED]                        [NAME REDACTED]
ATTN CHARLES S MARION                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]
3000 TWO LOGAN SQ
EIGHTEENTH AND ARCH STREETS
PHILADELPHIA, PA 19103-2799
                  Case 25-90163
PERCIVALL ADVERTISING                 Document  87 Filed in TXSB on 07/03/25 PEREGRINE
                                         [NAME REDACTED]                       Page 642  of 944
                                                                                       POWER LLC
2831 VAN HURON DRIVE                      [ADDRESS REDACTED]                     ATTN EVP
RALEIGH, NC 27615-8416                                                           27350 SW 95TH AVE, STE 3030
                                                                                 WILSONVILLE, OR 97070




PEREGRINE SEMICONDUCTOR CORP              [NAME REDACTED]                        [NAME REDACTED]
ATTN INTELLECTUAL PROP VP                 [ADDRESS REDACTED]                     [ADDRESS REDACTED]
9380 CARROLL PARK DR
SAN DIEGO, CA 92121




PERELLA WEINBERG PARTNERS LP              PERENNIAL CABLE (HK) LTD               [NAME REDACTED]
767 FIFTH AVE                             ATTN DIRECTOR                          [ADDRESS REDACTED]
NEW YORK, NY 10153                        UNIT 2006, 20/FL, GREENFIELD TWR
                                          CONCORDIA PLZ, 1 SCIENCE MUSEUM RD
                                          TSIMSHATSUI HONG KONG



[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




PERFECT CAPITAL SOLUTIONS INC             PERFECT PROMOTIONS AND MORE            PERFECTION PRODUCTS INC
8611 OLD HARFORD RD SUITE 300             ATTN OWNER                             1320 INDIANAPOLIS AVENUE
BALTIMORE, MD 21234                       209 THORN HOLLOW DR                    LEBANON, IN 46052-2949
                                          APEX, NC 27523




PERFECTION SERVO HYDRAULICS INC           PERFICIENT INC                         PERFORCE SOFTWARE INC
1290 LYON RD                              ATTN GENERAL MANAGER                   ATTN SALES OPS MGR
BATAVIA, IL 60510                         555 MARYVILLE UNIVERSITY DR, STE 600   2320 BLANDING AVE
                                          ST LOUIS, MO 63141                     ALAMEDA, CA 94501




PERFORMANCE CONTRACTING, INC.             PERFORMANCE ENHANCEMENTS INC           PERFORMANCE GLASS INC
11145 THOMPSON AVENUE (CORP.OFFICE)       ATTN TIMOTHY KRUEGER, PRES             ATTN PRESIDENT
LENEXA, KS 66219-2302                     5435 AIRPORT BLVD, STE 106             8813-F GULF COURT
                                          BOULDER, CO 80301                      RALEIGH, NC 27617




PERFORMANCE MATTERS INC                   PERFORMANCE MICRO TOOL INC             PERFORMANCE TEAM LLC
ATTN PRESIDENT                            ATTN GM                                ATTN VP - STRATEGY & MARKETING
3012 WHITEHART LN                         4280 KENNEDY RD                        2240 E MAPLE AVE
RALEIGH, NC 27606                         JANESVILLE, WI 53547                   EL SEGUNDO, CA 90245




PERFORMENSATION CONSULTING LLC            [NAME REDACTED]                        PERIGON INTERNATIONAL INC
ATTN PRES & CEO                           [ADDRESS REDACTED]                     ATTN DEAN NORWOOD, PRESIDENT
514 PRECITA AVE, STE 100                                                         931 INDUSTRIAL DR
SAN FRANCISCO, CA 94110                                                          MATTHEWS, NC 28105




PERIGON PRODUCT RECALL LTD                PERIOPTIX INC                          PERKINELMER INC
ATTN CHIEF EXECUTIVE OFFICER              ATTN COO                               ATTN SALES
37/39 LIME ST                             1001 AVENIDA PICO, STE C620            940 WINTER ST
LONDON EC3M 7AY                           SAN CLEMENTE, CA 92673                 WALTHAM, MA 02451
UNITED KINGDOM
                  Case 25-90163
PERKINELMER LIFE SCIENCES         Document  87 Filed in TXSB on 07/03/25 [NAME
                                     PERKINELMER                           Page  643 of 944
                                                                               REDACTED]
ATTN SR FIELD SCIENTIST               ATTN SR ELECTRICAL ENG                [ADDRESS REDACTED]
710 BRIDGEPORT AVE                    501 ROWNTREE DAIRY RD
SHELTON, CT 06484                     UNIT 6
                                      WOODBRIDGE, ON L4L 8H1 CANADA



[NAME REDACTED]                       PERKINS, MICHAEL                      PERKINS-EVERITT LIGHTING & CONTROLS
[ADDRESS REDACTED]                    1631 HALIFAX WAY                      INC
                                      EL DORADO HILLS, CA 95762             ATTN PRES
                                                                            1255 LYNNFIELD RD, STE 205
                                                                            MEMPHIS, TN 38119



[NAME REDACTED]                       PERMA PLASTICS INC                    PERMABOND LLC
[ADDRESS REDACTED]                    DBA SUBTRONICS ASSEMBLY CORP          ATTN OPS DIRECTOR
                                      940 LAKESIDE DR                       14 ROBINSON ST
                                      GURNEE, IL 60031                      POTTSTOWN, PA 19464




PERMLIGHT PRODUCTS INC                PERPETUA ADVISORS LLC                 PERPETUAL ELECTRONICS GMBH
ATTN CFO                              4447 N. CENTRAL EXPRESSWAY, STE 110   ATTN GEORG KUEHHOLZER
422 W SIXTH ST                        DALLAS, TX 75205                      SPITZBERGWEG 14
TUSTIN, CA 92780                                                            ATTNANG PUCITHEIM A-6800
                                                                            AUSTRIA



PERPIU-GRUPPO LAVOROPIU SPA           PERPORT (GUANGZHOU) SCIENTIFIC LTD    [NAME REDACTED]
ATTN RICARDO TORREGGAN                                                      [ADDRESS REDACTED]
VIA ZAGO 2
BOLOGNA 40128
ITALY



[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




PERRY, DONALD E, JR                   [NAME REDACTED]                       [NAME REDACTED]
3424 FALLS RIVER AVE                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]
RALEIGH, NC 27614




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  644 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     PERRY, LARRY                       [NAME REDACTED]
[ADDRESS REDACTED]                  2624 BURTON RD                     [ADDRESS REDACTED]
                                    DURHAM, NC 27704




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




PERSHING (0443)                     PERSISTENT SYSTEMS LLC             [NAME REDACTED]
ATT JOSEPH LAVARA/PROXY DEPT        303 5TH AVE, STE 306               [ADDRESS REDACTED]
1 PERSHING PLAZA                    NEW YORK, NY 10016
JERSEY CITY, NJ 07399




[NAME REDACTED]                     [NAME REDACTED]                    PERSONA INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 300 MISSION ST, 95
                                                                       SAN FRANCISCO, CA 94103




PERSONAL LIGHTING DEVICES           PERSYS ENGINEERING                 [NAME REDACTED]
ATTN PRESIDENT                      2501 MISSION ST.                   [ADDRESS REDACTED]
190 WATERS EDGE                     SANTA CRUZ, CA 95060-5851
VALLEY COTTAGE, NY 10989




PERYTONS LTD                        PETE DUTY & ASSOCIATES INC         [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER        2219 LEAH DRIVE                    [ADDRESS REDACTED]
P.O. BOX 3437                       HILLSBOROUGH, NC 27278-9010
NESS-ZIONA 74133
ISRAEL
                  CaseLIGHTING
PETER KRISTUFEK POWER  25-90163   Document  87 Filed
                                     PETER PARTS      in TXSB
                                                 ELECTRONICS INC on 07/03/25 [NAME
                                                                               Page  645 of 944
                                                                                   REDACTED]
ATTN GEN MGR                          ATTN SALES MANAGER                    [ADDRESS REDACTED]
E.KFM., OHMSTRASSE 13                 6285 DEAN PKWY
KARLSFELD D-85757                     ONTARIO, NY 14519
GERMANY



PETER WOLTERS OF AMERICA INC          PETER WOLTERS OF AMERICA INC          [NAME REDACTED]
ATTN PRESIDENT                        ATTN PRESIDENT                        [ADDRESS REDACTED]
14 HIGH ST                            509 N 3RD AVE
P.O. BOX 1585                         DES PLAINS, IL 60016
PLAINVILLE, MA 02762



[NAME REDACTED]                       [NAME REDACTED]                       PETERS WOLTERS OF AMERICA INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    ATTN PRESIDENT
                                                                            14 HIGH ST
                                                                            P.O. BOX 1585
                                                                            PLAINVILLE, MA 02762



[NAME REDACTED]                       PETERSON MANUFACTURING CO             [NAME REDACTED]
[ADDRESS REDACTED]                    ATTN ENG MGR                          [ADDRESS REDACTED]
                                      4200 E 135TH ST
                                      GRANDVIEW, MO 64030




[NAME REDACTED]                       [NAME REDACTED]                       PETERSON, JOHN
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    1009 WADE AVE, APT 246
                                                                            RALEIGH, NC 27605




[NAME REDACTED]                       [NAME REDACTED]                       PETRA ENGINEERING PLLC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    ATTN PRINCIPAL
                                                                            2732 SILVER SHRIMP LN
                                                                            APEX, NC 27502




PETRA SOLAR INC                       [NAME REDACTED]                       [NAME REDACTED]
ATTN DEPUTY GENERAL COUNSEL           [ADDRESS REDACTED]                    [ADDRESS REDACTED]
300-G CORPORATE CT
SOUTH PLAINFIELD, NJ 07080




[NAME REDACTED]                       PETROCHOICE HOLDINGS INC              [NAME REDACTED]
[ADDRESS REDACTED]                    1009 SCHIEFFELIN ROAD                 [ADDRESS REDACTED]
                                      APEX, NC 27502-1777




PETROREP INTERNATIONAL LTD            PETROREP INTERNATIONAL LTD            [NAME REDACTED]
21 EMMA LN                            P.O. BOX 1085                         [ADDRESS REDACTED]
JACKSON, NJ 08527                     JACKSON, NJ 08527




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  646 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     PEXCO LLC                          PF CHANGS CHINA BISTRO INC
[ADDRESS REDACTED]                  ATTN VP SALES                      ATTN CHIEF LEGAL OFFICER
                                    2500 NORTHWINDS PKWY, STE 472      7676 E PINNACLE PEAK RD
                                    ALPHARETTA, GA 30009               SCOTTSDALE, AZ 85255




PFARR STANZTECHNIK GMBH             PFEIFFER VACUUM INC                PFI OF FLORIDA INC
AM KLEINEN SAND 1                   24 TRAFALGAR SQUARE                ATTN VP OPERATIONS
BUTTLAR 36419                       NASHUA, NH 03063-1988              607 SAVAGE CT
GERMANY                                                                LONGWOOD, FL 32750




PFISTER ENERGY INC                  PG & E                             [NAME REDACTED]
ATTN VP                             BOX 997300                         [ADDRESS REDACTED]
57 GOFFLE RD                        SACRAMENTO, CA 95899-7300
HAWTHORNE, NJ 07506




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     PHAMTEC, INC.                      [NAME REDACTED]
[ADDRESS REDACTED]                  1019 PECTEN CT.                    [ADDRESS REDACTED]
                                    MILPITAS, CA 95035-6804




PHARMA DATABASE SERVICES INC        PHAROS INNOVATION INC              PHAROS INNOVATION INC
ATTN PRESIDENT                      ATTN BOON CHUAH                    C/O HEENAN BLAIKIE LLP
2488 GIBSONVILLE OSSIPEE RD         91 AMELIA ST                       ATTN MARK EDWARD DAVIS
ELON, NC 27244                      TORONTO, ON M4X 1E5                S TOWER ROYAL BANK PLZ, 200 BAY ST, STE
                                    CANADA                             2600
                                                                       TORONTO, ON M5J 2J4 CANADA


PHASE 3 TECHNOLOGIES INC            PHASE MOTION CONTROL               [NAME REDACTED]
ATTN VICE PRESIDENT SALES           ATTN CEO                           [ADDRESS REDACTED]
780 MONTAGUE EXPY, STE 401          VIA LUIGI CIBRARIO 4
SAN JOSE, CA 95131                  GENOVA GE 16154
                                    ITALY
PHB INC            Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                         PHDATA,INC                            Page  647 of 944
                                                                                   REDACTED]
ATTN CORP SALES                           P.O. BOX 15051                           [ADDRESS REDACTED]
7900 WEST RIDGE RD                        MINNEAPOLIS, MN 55415
FAIRVIEW, PA 16415




[NAME REDACTED]                           [NAME REDACTED]                          PHIDIAX LLC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                       ATTN CHIEF EXECUTIVE OFFICER
                                                                                   1550 LARIMER ST, 314
                                                                                   DENVER, CO 80202




PHIHONG USA CORP                          PHIL CALVERT DESIGN INC                  [NAME REDACTED]
ATTN VICE PRESIDENT                       ATTN PRESIDENT                           [ADDRESS REDACTED]
47800 FREMONT BLVD                        6247 CREEKSTONE PATH
FREMONT, CA 94538                         CUMMING, GA 30041




[NAME REDACTED]                           [NAME REDACTED]                          PHILIPS & YAMING LUMINAIRE CO LTD
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                       NO.2688, HU YI RD
                                                                                   JIADING, SHANGHAI
                                                                                   CHINA




PHILIPS (CHINA) INVESTMENT CO LTD         PHILIPS BODINE                           PHILIPS CANLYTE INC
ATTN INNOVATION MGR                                                                ATTN DIR PRODUCT DEV
PHILIPS INNOVATION CAMPUS SHANGHAI,                                                3015 LOUIS AMOS
NO 2                                                                               LACHINE, QC H8T 1C3
BLDG NO 9, LANE 888, TIAN LIN RD                                                   CANADA
SHANGHAI 200233 CHINA


PHILIPS ELECTRONICS HONG KONG LTD         PHILIPS ELECTRONICS INDIA LTD            PHILIPS ELECTRONICS NORTH AMERICA
LIGHITNG CHINA SOURCING GROUP             ATTN DIR - LEGAL                         CORP
LEVEL 6, 3 PACIFIC PL                     C-47, SECTOR 57                          3 BURLINGTON WOODS DR
1 QUEENS RD E                             NOIDA 201301                             BURLINGTON, MA 01803
WANCHAI HONG KONG                         INDIA



PHILIPS ELECTRONICS NORTH AMERICA         PHILIPS FRANCE                           PHILIPS HEALTHCARE
CORP                                      ATTN R&D EUROPE MGR                      ATTN SR DIRECTOR DVPT ENGINEERING
ATTN GEN MGR                              RUE DES BROTTAEUX, MIRIBEL               22100 BOTHELL EVERETT HWY
236 MT PLEASANT RD                        CEDEX 01708                              BOTHELL, WA 98012
COLLIERVILLE, TN 38017                    FRANCE



PHILIPS INTERNATIONAL BV                  PHILIPS IPSC TAMASI LTD                  PHILIPS LABORATORIES-BRIARCLIFF
ATTN DIR                                  SZABADSAG STREET 107                     345 SCARBOROUGH RD
HIGH TECH CAMPUS 5                        TAMASI 7090                              BRIARCLIFF MANOR, NY 10510
EINDHOVEN AE 5656                         HUNGARY
NETHERLANDS



PHILIPS LIGHTING BV                       PHILIPS LIGHTING BV                      PHILIPS LIGHTING LUMINAIRE CO LTD
ATTN GENERAL MGR                          ATTN GM                                  NO.2688, HU YI RD
PHILIPSWEG 1                              BU SSL, MATHILDELAAN 1                   JIADING, SHANGHAI
MAARHEEZE 6026 RA                         BD EINDHOVEN 5611                        CHINA
NETHERLANDS                               NETHERLANDS



PHILIPS LIGHTING NORTH AMERICA CORP       PHILIPS LIGHTING NORTH AMERICA CORP      PHILIPS LIGHTING
DBA PHILIPS COLOR KINETICS                F/K/A PHILIPS SOLID-ST LIGHT SOLUTIONS   1820 BUCKINGHAM RD
ATTN DIR HW CONTROLS & ARCH               INC                                      STOUGHTON, WI 53589-4855
LUMINAIRES                                ATTN VP GEN COUNSEL
3 BURLINGTON WOODS DR                     200 FRANKLIN SQ DR
BURLINGTON, MA 01803                      SOMERSET, NJ 08875
PHILIPS SELECON Case 25-90163       Document   87 Filed in TXSB
                                       PHILIPS SEMICONDUCTORS B V on 07/03/25 PHILIPS
                                                                                PageSEMICONDUCTORS
                                                                                      648 of 944 BV
ATTN PRODUCT DEV MGR                    ATTN SOURCING & CT MGR              DBA NXP SEMICONDUCTORS
19-21 KAWANA ST, NORTHCOTE              HURKSESTRAAT 19                     ATTN VICE PRESIDENT
AUCKLAND 0627                           EINDHOVEN 5652 AH                   HIGH TECH CAMPUS 45
NEW ZEALAND                             NETHERLANDS                         EINDHOVEN 5656 AE NETHERLANDS



PHILIPS SPA                             PHILIPS TAIWAN LTD                  PHILL CAP (8460)
ATTN MANAGING DIR, LIGHTING             15F, NO. 3-1, YUAN QU ST            ATT PROXY MGR
VIA MASCHERONI 5                        NAN GANG DISTRICT, BLDG G           141 W JACKSON BLVD
MILANO 20123                            TAIPEI 115                          CBOT BLDG, STE 3050
ITALY                                   TAIWAN                              CHICAGO, IL 60604



[NAME REDACTED]                         PHILLIPS 66 CO                      PHILLIPS ANALYTICAL INC
[ADDRESS REDACTED]                      P.O. BOX 421959                     ATTN PRODUCT MARKETING MGR
                                        HOUSTON, TX 77242-1959              125 W GEMINI DR, STE E-20
                                                                            TEMPE, AZ 85283




PHILLIPS COMMERCIAL CORP                PHILLIPS CORP                       PHILLIPS HIGH TECH PLASTICS BV
ATTN SALES MGR                          ATTN PRES, CNC APP & EDU DIV        DE RUN 4315
8500 TRIAD DR                           3599A MARSHALL LN                   VELDHOVEN 5503 LP
COLFAX, NC 27235                        BENSALEM, PA 19020                  NETHERLANDS




PHILLIPS IRON WORKS LLC                 PHILLIPS PLASTICS CORP              PHILLIPS SAFETY PRODUCTS INC
ATTN PRESIDENT                          ATTN CONTRACTS & COMPLIANCE MGR     ATTN VICE PRESIDENT
4809 AUBURN KNIGHTDALE RD               7 LONG LAKE DR                      123 LINCOLN BLVD
RALEIGH, NC 27610                       PHILLIPS, WI 54555                  MIDDLESEX, NJ 08846




PHILLIPS SEMICONDUCTEURS                [NAME REDACTED]                     [NAME REDACTED]
ATTN GENERAL MGR                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
2 RUE BENOIT-MALON
SURESNES 92156
FRANCE



[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




PHILTECH INC                            [NAME REDACTED]                     PHJ RF CONSULT
ATTN CTO                                [ADDRESS REDACTED]                  ATTN CONSULTANT
108 SEONGNAM VENTURE BLDG 587                                               HOSTRUPSVEJ 23, 2, TH
SUJIN-DONG, SUJEONG-GU                                                      HILLEROAD DK-3400
SEONGNAM, GYEONGGI-DO SOUTH KOREA                                           DENMARK
                  CaseCAROLINA
PHOENIX AGCY OF NORTH   25-90163
                               INC,   Document
                                         PHOENIX87   Filed& in
                                                 ANALYSIS      TXSB
                                                            DESIGN    on 07/03/25 PHOENIX
                                                                   TECHNOLOG        Page CONTRACT
                                                                                          649 of 944
                                                                                                  POWER SUPPLIES
THE                                       (PADT)                                 GMBH
ATTN PRESIDENT                            7755 S. RESEARCH DRIVE SUITE 110       ATTN HEAD OF R&D
5750 SHATTALON DR                         TEMPE, AZ 85284-1803                   OBERES FELD 1
WINSTON SALEM, NC 27105                                                          PADERBORN 33106
                                                                                 GERMANY


PHOENIX ELECTRIC CO LTD                   PHOENIX EQUIPMENT INC                  PHOENIX INDUSTRIAL TECHNOLOGIES LLC
ATTN HARVO KOKADO, SR MGR                 ATTN VP                                16163 CAPUTO DR
703 AZA-TAKAMARU MIKAGE TOYOTOMI-CHO      315 MT READ BLVD                       MORGAN HILL, CA 95037
HIMEJI-SHI, HYOGO 679-2122                ROCHESTER, NY 14611
JAPAN



PHOENIX INNOVATION INC                    PHOENIX INTERNATIONAL CORPORATION      PHOENIX OPTRONICS CORP
500 VICTOR STREET SUITE 800               ATTN DIR OF POWER ELECTRONICS          ATTN CHAO REN-CHENG
AUSTIN, TX 78753-3120                     1750 NDSU RESEARCH PARK DR             11F-3, NO.400, HUANBEI RD
                                          FARGO, ND 58102                        ZHONGLI CITY, TAOYUAN 320
                                                                                 TAIWAN



PHOENIX REP SALES INC                     PHOENIX SERVICE SRL                    PHOENIX SILICON INTERNATIONAL
ATTN PRESIDENT                            ATTN CEO                               NO. 6 LI HSIN RD.
515 W HARRIS AVE, STE 200                 VIA DEI MURARI 10                      HSIN CHU CITY 300
SAN ANGELO, TX 76902                      BREMBATE 24041                         TAIWAN
                                          ITALY



PHOENIX TEST ARRAYS                       [NAME REDACTED]                        PHONONIC DEVICES INC
3105 SOUTH POTTER DRIVE                   [ADDRESS REDACTED]                     ATTN CHIEF EXECUTIVE OFFICER
TEMPE, AZ 85282-3141                                                             800 CAPITOLA DR, STE 7
                                                                                 DURHAM, NC 27713




[NAME REDACTED]                           PHOSPHOR CONSULTING SVCS               PHOSPHOR TECHNOLOGY LTD
[ADDRESS REDACTED]                        ATTN CONSULTANT                        ATTN CHAIRMAN & CEO
                                          7739 IVANHOE AVE                       NORTON PARK, NORTON RD, STEVANAGE
                                          LA JOLLA, CA 92037                     HERTS SG1 2BB
                                                                                 UNITED KINGDOM



PHOSPHORTECH CORP                         PHOSPHORTECH CORP                      PHOSPHORTECH CORP
ATTN EXEC VICE PRESIDENT                  ATTN EXEC VICE PRESIDENT               ATTN VICE PRESIDENT
351 THORNTON RD, STE 130                  723775 AKERS MILL STN                  3645 KENNESAW N INDUSTRIAL PKWY
LITHIA SPRINGS, GA 30122                  ATLANTA, GA 31139                      KENNESAW, GA 30144




PHOSTER INDUSTRIES                        PHOTO FABRICATION ENGINEERING INC      PHOTO RESEARCH INC
ATTN FOUNDER AND CHIEF OFFICER            ATTN VP OPERATIONS                     ATTN VP AND GEN MGR
8509 PLACE DEVONSHIRE                     500 FORTUNE DR                         9731 TOPANGA CANYON PL
MOUNT ROYAL, QC H4P 2K1                   MILFORD, MA 01757                      CHATSWORTH, CA 91311
CANADA



PHOTO SERVICES INC                        PHOTO STENCIL LLC                      PHOTO TRANSFER INDUSTRIES
ATTN VP                                   ATTN SVP                               ATTN GENERAL MGR
2542 W 37TH ST                            4725 CENTENNIAL                        837 HAWTHORNE LN
TORRANCE, CA 90505                        COLORADO SPRINGS, CO 80919             LIBERTYVILLE, IL 60048




PHOTON INC                                PHOTONIC MICRODEVICES INC              PHOTONIC SYSTEMS INC
ATTN SALES ENGINEER                       ATTN PRESIDENT                         ATTN VP RESEARCH & DEV
6860 SANTA TERESA BLVD                    40 SUMMIT RD                           900 MIDDLESEX TPKE, BLDG 5
SAN JOSE, CA 95119                        MURRAY HILLS, NJ 07974                 BILLERICA, MA 01821
PHOTONMD INC       Case 25-90163   Document 87 Filed
                                      PHOTONSTAR       in TXSB on 07/03/25 PHOTONSTAR
                                                 LED LTD                     Page 650LED
                                                                                      of LTD
                                                                                         944
ATTN PRESIDENT                         ATTN CEO                           ATTN CEO
627 DAVIS DR, STE 400                  2 VENTURE RD                       UNIT 8, BELBINS BUSINESS PARK
MORRISVILLE, NC 27560                  CHILWORTH SCIENCE PARK             CUPERNHAM LN, ROMSEY
                                       SOUTHHAMPTON SO16 7NP UNITED       HAMPSHIRE SO51 7JF UNITED KINGDOM
                                       KINGDOM


PHOTOP TECHNOLOGIES INC                PHOTOP TECHNOLOGIES INC            PHOTOQUIP INDIA LTD
ATTN DIRECTOR, SALES & MKTG NA         ATTN DIRECTOR, SALES & MKTG NA     ATTN VIMAL J SONI, DIR
1520 CENTRE POINTE DR                  7 JINZHOU N RD                     A-33, ROYAL INDUSTRIES ESTATE
MILPITAS, CA 95035                     P.O. BOX 206, FUZHOU               NAIGAON CROSS RD, WADALA
                                       FUJIAN 350002 CHINA                MUMBAI 400031 INDIA



PHOTRONIC LABS INC                     PHOTRONICS INC                     [NAME REDACTED]
ATTN REG SALES MGR                     P.O. BOX 911369                    [ADDRESS REDACTED]
P.O. BOX 226, SECOR RD                 DALLAS, TX 75391-1369
BROOKFIELD CENTER, CT 06805




PHYSICAL DEVICES INC                   PI (PHYSIK INSTRUMENTE) LP         PIAB USA INC
ATTN PRESIDENT                         ATTN PRESIDENT                     ATTN VACUUM AUTOMATION DIV MGR
28 SURREY LN                           5420 TRABUCO RD, STE 100           65 SHARP ST
DURHAM, NC 27703                       IRVINE, CA 92620                   HINGHAM, MA 02043




[NAME REDACTED]                        PIANO Q                            [NAME REDACTED]
[ADDRESS REDACTED]                     PIAZZA SAN FRANCESCO 3             [ADDRESS REDACTED]
                                       VERVELLI, VC 13100
                                       ITALY




[NAME REDACTED]                        PICA MANUFACTURING SOLUTIONS INC   PICARRO INC
[ADDRESS REDACTED]                     ATTN SR DIR                        ATTN GEN COUNSEL
                                       4 ASH ST EXT                       1050 E DUANE AVE, STE H
                                       DERRY, NH 03038                    SUNNYVALE, CA 94085




PICKARD ROOFING CO INC                 [NAME REDACTED]                    [NAME REDACTED]
ATTN PRESIDENT                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]
823 E TRINITY AVE
DURHAM, NC 27704




[NAME REDACTED]                        PICKERING INTERFACES INC           [NAME REDACTED]
[ADDRESS REDACTED]                     221 CHELMSFORD STREET SUITE 6      [ADDRESS REDACTED]
                                       CHELMSFORD, MA 01824-2300




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document   87 Filed in
                                       PICO INTERNATIONAL   TXSB
                                                          TAIWAN LTDon 07/03/25 PICO
                                                                                  Page   651 of 944
                                                                                     INTERNATIONAL TAIWAN LTD.
[ADDRESS REDACTED]                      3F, NO 343, NANKING E RD                 4F, NO.208, RUIGUANG RD., NEIHU DIS
                                        SECT 5                                   TAIPEI CITY 11491
                                        TAIPEI                                   TAIWAN
                                        TAIWAN



PICO SALES AND DISTRIBUTION LLC         PICODOSTEC GMBH                          PICOSECOND PULSE LABS INC
PICO TECHNOLOGY                         ATTN GENERAL MGR                         ATTN CTO
320 N GLENWOOD BLVD                     HOPFENSTRASSE 2                          2500 55TH ST
TYLER, TX 75702-5427                    GILCHING D-82205                         BOULDER, CO 80301
                                        GERMANY



PIEDMONT AIR CONDITIONING COMPANY       PIEDMONT AIR CONDITIONING COMPANY        PIEDMONT COMMUNITY COLLEGE
CAROLINA CHILLER SERVICES INC           WRIGHT, BRIAN                            1715 COLLEGE DRIVE
                                        C/O PIEDMONT AIRE CONDITIONING           ROXBORO, NC 27574-5522
                                        COMPANY
                                        1031 NOWELL RD
                                        RALEIGH, NC 27607


PIEDMONT GEOLOGIC PC                    PIEDMONT METALWORKS, LLC                 PIEDMONT NATURAL GAS
ATTN PRESIDENT                          5902 US HWY 70 W                         1915 REXFORD RD
6003-109 CHAPEL HILL RD                 MEBANE, NC 27302-8808                    CHARLOTTE, NC 28211
RALEIGH, NC 27607




PIEDMONT NATURAL GAS                    PIEDMONT PLASTICS INC                    PIEDMONT PRECISION MACHINE CO INC
PIEDMONT GAS ACCT 3004786               9401 GLOBE CENTER DRIVE SUITE 120        ATTN OWNER/PRESIDENT
P.O. BOX 1246                           MORRISVILLE, NC 27560-6211               150 AIRSIDE DR
CHARLOTTE, NC 28201-1246                                                         DANVILLE, VA 24540




PIEDMONT PRECISION MACHINE CO INC       PIEDMONT SERVICE GROUP LLC               PIEDMONT TECHNICAL SALES
ATTN OWNER/PRESIDENT                    1031 NOWELL ROAD                         ATTN SALES ENGINEER
P.O. BOX 10309                          RALEIGH, NC 27607-5130                   10316 FELDFARM LN, STE 200
DANVILLE, VA 24543                                                               CHARLOTTE, NC 28210




PIEPER POWER                            PIER ELECTRIC                            [NAME REDACTED]
5477 S WESTRIDGE CT                     2171 S CRANBROOK AVE                     [ADDRESS REDACTED]
NEW BERLIN, WI 53151                    ST AUGUSTINE, FL 32092




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]
PIEZO SYSTEMS INC Case 25-90163      Document  87 Filed in TXSB on 07/03/25 PIKE
                                        [NAME REDACTED]                       Page   652 LLC
                                                                                 ELECTRIC of 944
ATTN PRESIDENT                           [ADDRESS REDACTED]                     ATTN CONTRACT ADMIN DIR
65 TOWER OFFICE PARK                                                            100 PIKE WAY
WOBURN, MA 01801                                                                MOUNT AIRY, NC 27030




PIKE TECHNOLOGIES OF WISCONSIN INC       [NAME REDACTED]                        PILIPUF-GRIST & ASSOCIATES
ATTN CEO                                 [ADDRESS REDACTED]                     ATTN PRINCIPAL
6125 COTTONWOOD DR                                                              1830 HOWARD ST, UNIT B
MADISON, WI 53719                                                               ELK GROVE, IL 60007




PILLER POWER SYSTEMS                     PILOT TRAVEL CENTERS LLC               PIMAS SRL
2128 WEST BRAKER LANE BK12               5508 LONAS DR                          STREET GALILEO GAILEI, 8
AUSTIN, TX 78758-4163                    KNOXVILLE, TN 37909-3221               GALLIERA VENETA 35015
                                                                                ITALY




[NAME REDACTED]                          [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                        PINEHURST INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     80 CAROLINA VISTA
                                                                                PINEHURST, NC 28374




PING IDENTITY CORP                       PINGOOD ENTERPRISE CO LTD              PINK GMBH THERMOSYSTEME
ATTN ASSOC LEGAL COUNSEL                 ATTN SALES MGR                         ATTN CHIEF EXECUTIVE OFFICER
1001 17TH ST, STE 100                    NO 8, ALLEY1 LN 768, SEC 4, PATEH RD   AM KESSLER 6
DENVER, CO 80202                         TAIPEI 11577                           WERTHEIM 97877
                                         TAIWAN                                 GERMANY



[NAME REDACTED]                          PINNACLE MARKETING COMMUNICATIONS      PINNACLE PARK LLC
[ADDRESS REDACTED]                       LTD                                    ATTN NEAL COKER
                                         ATTN DIRECTOR & PRESIDENT              4521 TOUCHSTONE FOREST RD
                                         75 BERMONOSEY ST                       RALEIGH, NC 27612
                                         LONDON SEI 3XF
                                         UNITED KINGDOM


PINNACLE PARK LLC                        PINNACLE PARK LLC                      PINNACLE PRECISION TECHNOLOGIES LLC
C/O ALEX BROWN REALITY INC               C/O GALLAGHER EVELIUS & JONES          ATTN PRESIDENT
ATTN LEGAL DEPT                          ATTN MARK P KEENER, ESQ                2607 EATON LN
300 E LOMBARD ST, STE 1200               218 NORTH CHARLES ST, STE 400          RACINE, WI 53404
BALTIMORE, MD 21202                      BALTIMORE, MD 21201



PINNELL, JESSICA                         PINSENT MASONS GERMANY LLP             [NAME REDACTED]
DBA PINNELL STUDIOS                      OTTOSTR. 21                            [ADDRESS REDACTED]
32 CEDAR HILL LN                         MUNICH 80333
WEAVERVILLE, NC 28787                    GERMANY




PIONEER METAL FINISHING LLC              PIONEER PLASTIC INC                    PIONEER-DIETECS CORPORATION
ATTN SALES MGR                           ATTN ENGINEERING MGR                   ATTN PRES
480 PILGRAM WAY, STE 1400                3660 DODD RD                           73 WOODROCK RD
GREEN BAY, WI 54304                      EAGAN, MN 55123                        WEYMOUTH, MA 02189
PIPER COMPANIES LLCCase 25-90163   Document  87 Filed
                                      PIPER COMPANIES   in TXSB on 07/03/25 PIPER
                                                      LLC                     Page   653 ofCO944
                                                                                  ELECTRIC    INC
ATTN TOM KELLER                        ATTN TOM KELLER                        ATTN PRESIDENT
1410 SPRING HILL RD, STE 300           2803 SLATER RD, STE 120                5960 JAY ST
MCLEAN, VA 22102                       MORRISVILLE, NC 27560                  ARVADA, CO 80003




PIPER PLASTICS INC                     [NAME REDACTED]                        PIPERLUX SRL
ATTN CHIEF FINANCIAL OFFICER           [ADDRESS REDACTED]                     ATTN PRESIDENT
1840 ENTERPRISE CT                                                            VIA DEI TIGLI 21
LIBERTYVILLE, IL 60048                                                        BIASSONO 20033
                                                                              ITALY



[NAME REDACTED]                        PIRAJNANCHAI, VIROTE                   PIRANHA INDUSTRIES INC
[ADDRESS REDACTED]                     C/O DEPT OF ELEC & TELECOM             ATTN OWNER
                                       RANGSIT-NAKHON, NAYOK RD, KHLONG HOK   1229 FARM CREEK RD
                                       THUNYABURI                             WAXHAW, NC 28173
                                       PATHUMTANI 12110 THAILAND



[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




PITNEY BOWES INC.                      PITNEY BOWES-PURCHASE POWER            [NAME REDACTED]
P.O. BOX 371896                        P.O. BOX 371874                        [ADDRESS REDACTED]
PITTSBURGH, PA 15250-7896              PITTSBURGH, PA 15250-7874




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        PIVOT POINT MEDIA                      PIVOTAL RETAIL GROUP LLC
[ADDRESS REDACTED]                     1107 WELLS STREET                      ATTN VICE PRESIDENT PARTNER
                                       DURHAM, NC 27707-1623                  1965 VAUGHN RD, STE A
                                                                              KENNESAW, GA 30114




[NAME REDACTED]                        PIXALEN STUDIOS LLC                    PIXEL INTERCONNECT INC
[ADDRESS REDACTED]                     ATTN DIRECTOR                          ATTN PRESIDENT
                                       3555 MOSER ST                          8215 TUALATIN-SHERWOOD RD, STE 200
                                       OSHKOSH, WI 54901                      TUALATIN, OR 97062
                 Case 25-90163
PIXELLIGENT TECHNOLOGIES  LLC        Document  87 INC
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                                                                               PageCORP
                                                                                    654 of 944
ATTN CHIEF EXECUTIVE OFFICER             ATTN PRESIDENT                        ATTN CHIEF EXECUTIVE OFFICER
6411 BECKLEY ST                          600 BUSINESS PARK LN                  2838 COOLIDGE HWY, STE 112
BALTIMORE, MD 21224                      KNOXVILLE, TN 37932                   BERKELY, MI 48072




[NAME REDACTED]                          [NAME REDACTED]                       PJA MARKETING AND ADVERTISING LLC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    12 ARROW ST
                                                                               CAMBRIDGE, MA 02138-5105




PK SAFETY LLC                            P-L TOOL AND MFG CO                   [NAME REDACTED]
ATTN CORP ACC EXPERT                     ATTN PRES                             [ADDRESS REDACTED]
1829 CLEMENT AVE, STE 200                3624 UNION AVE
ALAMEDA, CA 94501                        STEGER, IL 60475




[NAME REDACTED]                          [NAME REDACTED]                       PLANCK SHENZHEN OPTO-ELEC TECH CO
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    LTD
                                                                               ATTN FANRONG WU
                                                                               3F EAST, BLDG A, HENGCHAO IND
                                                                               SHIYAN TOWN, BAOAN DIST
                                                                               SHENZHEN CHINA


PLANS UNLIMITED CONSTRUCTION             [NAME REDACTED]                       PLAS TECH SERVICES
ATTN CORP DEV & COMM REL DIR             [ADDRESS REDACTED]                    3903 WASHINGTON BLVD
141 PELHAM DR, STE 143                                                         BALTIMORE, MD 21227-4146
COLUMBIA, SC 29229




PLASCORE INC                             PLASKOLITE INC                        PLASKOLITE NEW JERSEY LLC
615 N FAIRVIEW ST                        ATTN NATIONAL ACCT MGR                ATTN MITCHELL GRINDLEY
ZEELAND, MI 49464-9421                   1770 JOYCE AVE                        400 NATIONWIDE BLVD, STE 400
                                         COLUMBUS, OH 43219                    COLUMBUS, OH 43215




PLASMA ETCH INC                          PLASMA PROCESSES LLC                  PLASMA RUGGEDIZED SOLUTIONS INC
ATTN PRESIDENT & CEO                     ATTN DIR, LED COMPONENTS R&D          ATTN CFO
3522 ARROWHEAD DR                        4914 MOORES MILL RD                   2284 RINGWOOD AVE, STE A
CARSON CITY, NV 89706                    HUNTSVILLE, AL 35811                  SAN JOSE, CA 95131




PLASMA TECH                              PLASTEQUIP INC                        PLASTIC ART PRODUCTS
1754 CRENSHAW BLVD                       ATTN PARTNER                          ATTN GM
TORRANCE, CA 90501                       4054 ANCIENT AMBER WAY                1226 E 18TH ST
                                         NORCROSS, GA 30092                    GREELEY, CO 80631




PLASTIC DESIGN & MANUFACTURING INC       PLASTIC ENGINEERING INC DBA PLASTEE   PLASTIC INGENUITY INC
ATTN PRESIDENT & OWNER                   3104 SOUTH 52ND STREET                ATTN GEN COUNSEL
2855 KIRBY CIR, NE 1                     TEMPE, AZ 85282-3212                  1017 PARK ST
PALM BAY, FL 32905                                                             CROSS PLAINS, WI 53528




PLASTIC MOLDING MFG LLC                  PLASTIC TECHNOLOGIES INC              PLASTICAIR INC.
ATTN VICE PRESIDENT                      ATTN VP                               31 WOODSLEE AVE
114 NEW PK DR                            1440 TIMBERWOLF DR                    PARIS, ON N3L 3V1
BERLIN, CT 06037                         HOLLAND, OH 43528                     CANADA
PLASTICASE INC    Case 25-90163   Document  87 FiledINC
                                     PLASTIC-MART.COM in TXSB on 07/03/25 PLASTICS
                                                                            Page 655    of 944 CO
                                                                                   ENGINEERING
ATTN SALES MGR                        ATTN TRAINING MGR                     ATTN PRESIDENT & CEO
1059 BOUL DES ENTREPRISES WEST        3303 RANCH RD                         3518 LAKESHORE RD
TERREBONNE, QC J6Y 1V2                AUSTIN, TX 78734                      P.O. BOX 758
CANADA                                                                      SHEBOYGAN, WI 53082



PLASTICS UNLIMITED INC                PLASTI-FAB INC                        [NAME REDACTED]
303 1ST ST NW                         ATTN PRESIDENT                        [ADDRESS REDACTED]
PRESTON, IA 52069                     6430 WULIGER WAY, STE J
                                      N RICHLAND HILLS, TX 76180




[NAME REDACTED]                       PLASTIQUES CASCADES                   PLASTRONICS SOCKET PARTNERS LP
[ADDRESS REDACTED]                    ATTN SALES MGR SPG                    DBA PLASTRONICS SOCKET CO
                                      404 MARIE-VICTORIN BLVD               ATTN PRESIDENT
                                      KINGSEY FALLS, QC J0A 1B0             2601 TEXAS DR
                                      CANADA                                IRVING, TX 75062



PLATAN LLC                            PLATERONICS PROCESSING INC            PLATFORMATICS INC
ATTN MG DIRECTOR                      9164 INDEPENDENCE AVE.                ATTN PRESIDENT
BEGOVATA STR 6A                       CHATSWORTH, CA 91311-5902             303 N CURRY PIKE
MOSCOW 125284                                                               BLOOMINGTON, IN 47404
RUSSIA



PLATINUM LED LIGHTING                 [NAME REDACTED]                       PLATTE RIVER POWER AUTHORITY
ATTN PRESIDENT                        [ADDRESS REDACTED]                    2000 E HORSETOOTH RD
14333 TANGLEWOOD DR                                                         FORT COLLINS, CO 80525
FARMERS BRANCH, TX 75234




PLAYNITRIDE DISPLAY CO LTD            [NAME REDACTED]                       [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER          [ADDRESS REDACTED]                    [ADDRESS REDACTED]
8F, NO 13, KEZHONG RD
ZHUNAN TOWNSHIP
MIAOLI COUNTY 35053 TAIWAN



[NAME REDACTED]                       PLESSEY SEMICONDUCTORS LTD            PLEXIM GMBH
[ADDRESS REDACTED]                    ATTN DIRECTOR                         TECHNOPARKSTRASSE 1
                                      TAMERTON RD, ROBROUGH                 ZURICH 8005
                                      A386 PLYMOUTH                         SWITZERLAND
                                      DEVON PL6 7BQ UNITED KINGDOM



PLEXIM INC                            PLEXTEK RFI LTD                       PLEXUS CORPORATION
5 UPLAND ROAD SUITE 4                 C/O PLEXTEK SERVICES LTD              5550 NICOLLET AVENUE
CAMBRIDGE, MA 02140-2771              THE PLEXTEK BLDG                      MINNEAPOLIS, MN 55419-1930
                                      LONDON RD, GREAT CHESTERFORD
                                      SAFFRON WALDEN CB10 1NY UNITED
                                      KINGDOM


PLEXUS SERVICES CORP                  PLOTWATT INC                          PLP ENTERPRISES INC
ATTN CORPORATE COUNSEL                ATTN CHIEF EXECUTIVE OFFICER          DBA ADVANCED PLASTIC SERVICES
940 MAIN CAMPUS DR                    1715 SIX GABLES RD                    ATTN PRESIDENT
RALEIGH, NC 27606                     DURHAM, NC 27712                      401 E LAMM ST
                                                                            BLUE RIDGE, TX 75424



PLUGREEN CORPORATION                  [NAME REDACTED]                       [NAME REDACTED]
ATTN CTO                              [ADDRESS REDACTED]                    [ADDRESS REDACTED]
LAATTAKATU 13
LOHJA 08150
FINLAND
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 PLUS
                                   [NAME REDACTED]                       Page
                                                                            ONE656 of MANAGEMENT
                                                                               HEALTH 944        INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    ATTN SVP OPERATIONS
                                                                          75 MAIDEN LN, STE 801
                                                                          NEW YORK, NY 10038




PLUS OPTO LTD                       PLUSRITE ELECTRIC (CHINA) CO LTD      PLUSTECH INC
B13 DERWENT CT, WILLIAM WAY         ATTN GEN MGR                          ATTN GENERAL MANAGER
MOSS INDUSTRIAL ESTATE              NO 1 PEOPLE W RD, WUJIN               735 E REMINGTON RD
LEIGH, LANCASHIRE WN7 3PT           CHANGZHOU, JIANGSU 213163             SCHAUMBURG, IL 60173
UNITED KINGDOM                      CHINA



[NAME REDACTED]                     PM LEAD GMBH                          PM MARKET RESEARCH LLC
[ADDRESS REDACTED]                  PFINZINGWEG 17                        ATTN PRESIDENT
                                    ERLANGEN 91058                        202 BROOKWOOD DR
                                    GERMANY                               HORTONVILLE, WI 54944




PMC SIERRA INC                      PMC-SIERRA INC                        PN GROUP SRL
ATTN COO                            ATTN DIR OF SALES                     VIA GEN CARLO ALBERTO DALLA CHIESA, 2/4
MISSION TOWERS                      8555 BAXTER PL                        ROVATO 25038
3975 FREEDOM CIR                    BURNABY, BC V5A4V7                    ITALY
SANTA CLARA, CA 95054               CANADA



PNC BANK, NA                        PNC BANK, NATL ASSOC (2616)           PO SHUN CORP
ATTN SVP                            ATT EILEEN BLAKE OR PROXY MGR         ATTN DIR
300 FIFTH AVE                       8800 TINICUM BLVD                     RM 1103, 11/F, HANG CHEONG CENTRE
THE TOWER AT PNC PLZ                F6-F266-02-2                          138 BEDFORD RD
PITTSBURGH, PA 15222                PHILADELPHIA, PA 19153                TAI KOK TSUI, KOWLOON HONG KONG



POCO GRAPHITE                       [NAME REDACTED]                       PODPONICS LLC
300 OLD GREENWOOD ROAD              [ADDRESS REDACTED]                    ATTN VP OF ENGINEERING
DECATUR, TX 76234-3903                                                    5673 OLD DIXIE RD, STE 106
                                                                          FOREST PARK, GA 30297




[NAME REDACTED]                     POH MEDIA LLC                         POHANG UNIVERSITY OF SCIENCE AND
[ADDRESS REDACTED]                  ATTN JAMES POH, PRESIDENT             TECHNOLOGY
                                    1000 SAWGRASS CORP PKWY, STE 110      ATTN PROFESSOR
                                    SUNRISE, FL 33323                     LG BLDG, R 210, SAN 31 HYOJA-DONG
                                                                          NAM-GU, POHANG
                                                                          GYEONGBUK 790-784 SOUTH KOREA


POHLIG BROS LLC                     POINT TO POINT INC                    POINT72 ASSET MANAGEMENT LP
DBA POHLIG PACKAGING                ATTN CHIEF EXECUTIVE OFFICER          55 HUDSON YARDS
ATTN VP OF SALES                    23240 CHAGRIN BLVD, STE 200           10TH FLOOR
8001 GREENPINE RD                   BEACHWOOD, OH 44122                   NEW YORK, NY 10001
N. CHESTERFIELD, VA 23237



POINTECH INC                        POINTER BRAND PROTECTION & RESEARCH   [NAME REDACTED]
ATTN PRESIDENT                      111 BROADWAY                          [ADDRESS REDACTED]
3/F, 203-3, ANYANG 7 DONG           NEW YORK, NY 10006-1901
MANAN-GU, ANYANG-SI
GEYONGGI-DO SOUTH KOREA



[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  657 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                    POLAR LIGHT TECHNOLOGIES
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 TEKNIKRINGEN 7
                                                                           LINKOPING 583 30
                                                                           SWEDEN




POLAR PACKING INC                       POLAR RAY LLC                      POLARIS LOGISTICS GROUP INC
26 VICTORIA CRESCENT                    ATTN PRESIDENT                     ATTN PRESIDENT
BRAMPTON, ON L6T 1E5                    5171 ELDORADO SPRINGS DR           100 N SUMMIT ST, STE 400
CANADA                                  BOULDER, CO 80303                  TOLEDO, OH 43604




POLARITY INC                            POLAROID CORP                      POLARSOFT INC
ATTN PRESIDENT                          4350 BAKER RD, STE 180             914 S AIKEN AVE
11294 SUNRISE PARK DR                   MINNETONKA, MN 55343               PITTSBURGH, PA 15232
RANCHO CORDOVA, CA 95742




POLE/ZERO ACQUISITION INC               POLICOS SPA                        POLISHING CORP OF AMERICA
DBA POLE/ZERO CORP                      VIALE DON MINZONI, 59              ATTN GENERAL MANAGER
ATTN CONTRACTS MGR                      FIRENZE                            442 MARTIN AVE
5558 UNION CENTRE DR                    ITALY                              SANTA CLARA, CA 95050
WEST CHESTER, OH 45069



POLISHING SOLUTIONS INTERNATIONAL LLC   [NAME REDACTED]                    [NAME REDACTED]
ATTN PRES                               [ADDRESS REDACTED]                 [ADDRESS REDACTED]
2223 SOUTH 48TH ST
TEMPE, AZ 85282




POLITECNICO DI TORINO                   [NAME REDACTED]                    [NAME REDACTED]
CORSO DUCA DEGLI ABRUZZI 24             [ADDRESS REDACTED]                 [ADDRESS REDACTED]
TORINO 10129
ITALY




[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                    POLLUTION SYSTEM SOLUTIONS INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 POLLUTION SYSTEMS INC
                                                                           26451 HANNA ROAD
                                                                           THE WOODLANDS, TX 77385-6603




POLMONT GMBH                            POLY GRAM INDUSTRIAL CO LTD        POLY WRAP RECYCLING LLC
MAX-PLANCK-STR 7                        ATTN MANAGER                       ATTN MEMBER
RADEVORMWALD 42477                      NO 8, SIWEI RD                     1434 S 12TH ST
GERMANY                                 HUKOU TOWNSHIP                     SHEBOYGAN, WI 53081
                                        HSINCHU COUNTY 303 TAIWAN
POLYCOM INC        Case 25-90163     Document  87 ENGINEERING
                                        POLY-FLOW  Filed in TXSB
                                                              INC on 07/03/25 POLYLED
                                                                                Page SDN
                                                                                      658BHD
                                                                                          of 944
6001 AMERICA CENTER DR                   ATTN VP                              ATTN GM
SAN JOSE, CA 95164                       15392 COBALT ST                      8-4-5 SUNNY POINT COMPLEX
                                         SYLMAR, CA 91342                     GELUGOR, PENANG 11700
                                                                              MALAYSIA



POLYMER INNOVATIONS INC                  POLYMER OPTICS LIMITED               POLYTEC, INC
ATTN PRESIDENT                           ATTN COM DIR                         16400 BAKE PKWY SUITE 200
2426 CADES WAY                           6, KILN RIDE, WOKINGHAM              IRIVINE, CA 92618-5603
VISTA, CA 92081                          BERKSHIRE RG40 3JL
                                         UNITED KINGDOM



POLY-TECH PLASTIC MOLDING INC            POLYTECHNIC STATES OF BANDUNG        POLYTOOL INTEGRATION SDN BHD
ATTN PROJECT MGR                         JL GEGERKALONG HILIR, DS CIWARUGA    ATTN GENERAL MGR
126 N INDUSTRIAL PARK RD                 PARONGPONG, BANDUNG BARAT            PLOT 30, HILLIR SUNGAI KLUANG SATU
PRAIRIE GROVE, AR 72753                  BANDUNG, JAWA BARAT                  BAYAN LEPAS INDUSTRIAL PARK, PHASE 4
                                         INDONESIA                            PENANG 11900 MALAYSIA



POLYTRONICS TECHNOLOGY CORP              POMEROY COMPUTER RESOURCES INC       [NAME REDACTED]
ATTN PRESIDENT                           9 AMADOR PLACE                       [ADDRESS REDACTED]
NO 24-1 INDUSTRY E RD IV                 DURHAM, NC 27712
HSINCHU SCIENCE PARK
HSINCHU 300 TAIWAN



[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




POND HOUSE, SERIES 59-                   [NAME REDACTED]                      [NAME REDACTED]
OF THE ALLIED SECURITY TRUST I           [ADDRESS REDACTED]                   [ADDRESS REDACTED]
C/O FENWICH & WEST LLP; JAKE HANDY
555 CALIFORNIA ST, 12TH FL
SAN FRANCISCO, CA 94104



[NAME REDACTED]                          PONTILUX LLC                         [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN PRESIDENT                       [ADDRESS REDACTED]
                                         3700 OSUNA RD, STE 512
                                         ALBUQUERQUE, NM 87109




POOLE PAVING SEALING SHIPPING INC        [NAME REDACTED]                      [NAME REDACTED]
ATTN OWNER                               [ADDRESS REDACTED]                   [ADDRESS REDACTED]
12591 HWY 50
WILLOW SPRINGS, NC 27592




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      POPEK ELEKTRONIK
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   ATTN OWNER
                                                                              JASMINOWA 28
                                                                              ZAMOSC 22-400
                                                                              POLAND
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  659 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




POREX CORP                          [NAME REDACTED]                    PORSCHE BANK AG
ATTN CFO                            [ADDRESS REDACTED]                 VOGELWEIDERSTRASSE 75
500 BOHANNON RD                                                        SALZBURG 5020
FAIRBURN, GA 30213                                                     AUSTRIA




PORSCHE CONSULTING GMBH             PORSCHE CONSULTING INC             [NAME REDACTED]
ATTN SR PARTNER AUTOMOTIVE          ATTN PRESIDENT                     [ADDRESS REDACTED]
PORSCHESTRASSE 1                    1 PORSCHE DR
BIETIGHEIM-BISSINGEN 74321          ATLANTA, GA 30354
GERMANY



[NAME REDACTED]                     PORTER SCALES                      [NAME REDACTED]
[ADDRESS REDACTED]                  1721 LAKE WHEELER ROAD             [ADDRESS REDACTED]
                                    RALEIGH, NC 27611-2329




PORTFOLIO MEDIA INC                 PORTFOLIO MEDIA INC                [NAME REDACTED]
ATTN ACCT EXEC CORPORATE            ATTN CORPORATE RENEWAL ACCT EXEC   [ADDRESS REDACTED]
111 W 19TH ST, 5TH FL               230 PARK AVE, 7TH FL
NEW YORK, NY 10011                  NEW YORK, NY 10169




PORTICOS INC                        [NAME REDACTED]                    [NAME REDACTED]
ATTN DIR OF ENGINEERING             [ADDRESS REDACTED]                 [ADDRESS REDACTED]
1012 COPELAND OAKS DR
MORRISVILLE, NC 27560




POSCO LED                           [NAME REDACTED]                    [NAME REDACTED]
60, GONGSE-RO                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
GIHEUNG-GU
YONGIN
SOUTH KOREA



[NAME REDACTED]                     POST GLOVER RESISTORS, INC.        [NAME REDACTED]
[ADDRESS REDACTED]                  1369 COX AVENUE                    [ADDRESS REDACTED]
                                    ERLANGER, KY 41018-1001




[NAME REDACTED]                     [NAME REDACTED]                    POSTORINO DECORATING INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN PRESIDENT
                                                                       1101 MOUND AVE
                                                                       RACINE, WI 53404




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
POTECH ENTERPRISECase   25-90163 Document
                  LIMITED                  87 Filed in TXSB on 07/03/25 POTOMAC
                                    [NAME REDACTED]                       Page 660   of 944
                                                                                 ELECTRIC CORP.
RM 2001, MONGKOK COMMERICAL CENTRE  [ADDRESS REDACTED]                  1 WESTINGHOUSE PLAZA
16 ARGYLES ST                                                           BOSTON, MA 02136-2075
MONGKOK, KOWLOON
HONG KONG



POTOMAC PHOTONICS INC                POTTER ANDERSON CORROON LLP             [NAME REDACTED]
ATTN VP OF SALES                     1313 N MARKET ST                        [ADDRESS REDACTED]
4445 NICOLE DR                       P.O. BOX 951
LANHAM, MD 20706                     WILMINGTON, DE 19899-6000




[NAME REDACTED]                      [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                      [ADDRESS REDACTED]




POTTINGER STEEL WORKS INC            [NAME REDACTED]                         [NAME REDACTED]
ATTN TREASURER                       [ADDRESS REDACTED]                      [ADDRESS REDACTED]
2711 MT PLEASANT ST
RACINE, WI 53404




[NAME REDACTED]                      [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                         POUNCE CONSULTING SA DE CV
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                      ATTN R&D DIR
                                                                             AV 8 DE JULIO 1295
                                                                             GUADALAJARA, JA 44190
                                                                             MEXICO



POUR BAR SERVICES INC                POWAY METAL MFG COMPANY                 POWDER ALLOY CORP
ATTN SALES MGR                       RM 1, 3/F, BLOCK A, SHEUNG SHUI PLAZA   ATTN CONTROLLER
2650-108 DISCOVERY DR                95 PO WAN RD                            101 NORTHEAST DR
RALEIGH, NC 27616                    SHEUNG SHUI, NT                         LOVELAND, OH 45140
                                     HONG KONG



POWDER COAT USA INC                  POWDER TECHNOLOGY INC                   POWELL ELECTRICAL SYSTEMS, INC
ATTN PRES                            ATTN VP & GM MATERIALS                  8550 MOSLEY DRIVE
4200 ATLANTIC AVE, BLDG 126          14331 EWING AVE SOUTH                   HOUSTON, TX 77075-4834
RALEIGH, NC 27604                    BURNSVILLE, MN 55337




[NAME REDACTED]                      [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                      [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 POWER
                                       [NAME REDACTED]                       Page& LIGHT
                                                                                   661 ofLLC944
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   ATTN VP
                                                                             1220 EAST GLENWOOD PL
                                                                             SANTA ANA, CA 82707




POWER AND COMMUNICATION SYSTEMS LLC     POWER DESIGN ENGINEERING             POWER ELECTRONIC DESIGN AB
ATTN MEMBER                             11600 9TH ST N                       ATTN DESIGN ENGINEER POWER
1109 STONES RIVER CT                    ST PETERSBURG, FL 33716              ELECTRONICS
LA VERGNE, TN 37086                                                          BJORKBACKEN 3
                                                                             VALLDA 43479
                                                                             SWEDEN


POWER ELECTRONICS DEPT OF STATE         POWER GOLD LLC                       POWER HUB VENTURES LLC
GRID -                                  ATTN FOUNDER                         ATTN PRESIDENT
SMART GRID RESEARCH INSTITUTE           3131 E MUIRWOOD DR                   1700 KRAFT DR, STE 1325
FUTURE SCIENCES & TECHNOLOGY CITY       PHOENIX, AZ 85048                    BLACKSBURG, VA 24060
CHANGPING DISTRICT
BEIJING 102211 CHINA


POWER INTEGRATIONS INC                  POWER INTEGRATIONS INC               POWER LENS TECHNOLOGY INC
ATTN CEO                                ATTN DOUG, BAILEY, MARKETING VP      ATTN WEN-HUA HAN
1200 SEAPORT BLVD                       5245 HELLYER AVE                     NO. 38-2, TAIYUAN ST
REDWOOD CITY, CA 94063                  SAN JOSE, CA 95138                   ZHUHEI CITY, HSINCHU 302
                                                                             TAIWAN



POWER MACH ENTERPRISE CO LTD            POWER ONE INC                        POWER ONE ITALY SPA
NO 1 LN 366, SEC 2 CHUNG SHAN RD        ATTN LOCAL PRODUCT GRP MNG, SOLAR    ATTN PRESIDENT
CHUNG HO CITY, TAIPEI                   DM ITALY                             VIA S GIORGIO, 642
HSIEN                                   740 CALLE PLANO                      TERRANUOVA BRACCIOLINI 52028
TAIWAN                                  CAMARILLO, CA 93012                  ITALY



POWER OPTO CO LTD                       POWER PERSONNEL                      POWER PLUS ELECTRIC INC
ATTN GENERAL MANAGER                    ATTN STAFFING CONSULTANT             ATTN PRESIDENT
B1, NO.186 CHIEN YIE RD                 4000 ATLANTIC AVE                    2040 WISCONSIN ST
CHUNG HO CITY, TAIPEI HSIEN             RALEIGH, NC 27604                    STURTEVANT, WI 53177
TAIWAN



POWER RESEARCH ELECTRONICS BV           POWER SYSTEMS TECHNOLOGIES LTD       POWER TEAM TECHNOLOGIES (S) PTE LTD
ATTN DIRECTOR                           ATTN MANNY MARIMUTHU, DIR            5004 ANG MO KIO AVE 5 TECHPLACE II
BENELUXWEG 45                           LEVEL 3, ALEXANDER HOUSE             SINGAPORE 569872
OOSTERHOUT 4904 SJ                      35 CYBERCITY                         SINGAPORE
NETHERLANDS                             EBENE MAURITIUS



POWER TECHNOLOGY ASSOCIATES INC         POWER TEST INC                       [NAME REDACTED]
ATTN PRESIDENT                          ATTN SEC/TREAS                       [ADDRESS REDACTED]
1200 PROVIDENCE HWY                     2200 HWY 49 S
SHARON, MA 02067                        HARRISBURG, NC 28075




POWER/MATION DIVISION INC               POWERAMERICA                         POWEREX INC
ATTN INSIDE SALES REP                   CAMPUS BOX 7124                      ATTN BUSINESS UNIT MGR
1310 ENERGY LN                          930 MAIN CAMPUS DR, STE 200          173 PAVILION LN
ST PAUL, MN 55108                       RALEIGH, NC 27695-7124               YOUNGWOOD, PA 15697




POWEREX INC                             POWERFUL MICROWAVE                   POWERHOUSE DYNAMICS INC
ATTN DIR OF RECT,THYR,CUSTOM MOD        ATTN DIRECTOR                        ATTN CHIEF EXECUTIVE OFFICER
200 E HILLS ST                          15 ADELAIDE PL, RYDE                 ONE BRIDGE ST
YOUNGWOOD, PA 15697                     ISLE OF WIGHT PO33 3DP               NEWTON, MA 02458
                                        UNITED KINGDOM
                 Case
POWERHOUSE LIGHTING    25-90163
                     AND ELECTRICAL Document  87INCFiled in TXSB on 07/03/25 POWERNETICS
                                       POWERISM                                Page 662 LTDof 944
ATTN DBA LEDSPARKS PR                  ATTN PRESIDENT                        ATTN MD
                                       800 W CUMMINGS PARK, STE 2950         POWER HOUSE, JASON WORKS
                                       WOBURN, MA 01801                      CLARENCE ST, LOUGHSBOROUGH
                                                                             LEICCHESTERSHIRE LE11 1DX UNITED
                                                                             KINGDOM


POWER-ONE INC                          POWER-ONE ITALY SPA                    [NAME REDACTED]
ATTN CTO                               ATTN GLOBAL COMMODITY MGR              [ADDRESS REDACTED]
740 CALLE PLANO                        VIA SAN GIORGIO 642
CAMARILLO, CA 93012                    TERRANUOVA BRACCIOLINI 52028
                                       ITALY



[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        POWERSECURE SOLAR LLC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     ATTN BENJAMIN SCHNEIDER
                                                                              1609 HERITAGE COMMERCE CT
                                                                              WAKE FOREST, NC 27587




POWERSECURE SOLAR LLC                  POWERSIM INC                           POWERSPEC INC
C/O KEGLER BROWN HILLRITTER CO LPA     2275 RESEARCH BLVD, STE 500            ATTN DIRECTOR
ATTN ERIC B TRAVERS                    ROCKVILLE, MD 20850                    25 4TH ST
65 E STATE ST, STE 1800                                                       SOMERVILLE, NJ 08876
COLUMBUS, OH 43215



POWERSYS INC                           POWERTECH INC                          POWER-TEK ELECTRICAL SERVICES INC
ATTN CBO                               ATTN PRESIDENT                         ATTN OFFICE MGR
5465 MOREHOUSE DR, STE 160             360 E SOUTH ST                         155 IBER RD
SAN DIEGO, CA 92121                    COLLIERVILLE, TN 38017                 STITTSVILLE, ON K2S 1E7
                                                                              CANADA



POWERWAVE TECHNOLOGIES INC             POWERWAVE TECHNOLOGIES INC             POWERWORKS ELECTRIC LLC
2026 MCGAW AVE                         ATTN CEO                               ATTN CHIEF EXECUTIVE OFFICER
IRVINE, CA 92614                       1801 E ST ANDREW PL                    160 GASOLINE ALLEY
                                       SANTA ANA, CA 92705                    MOORESVILLE, NC 28117




[NAME REDACTED]                        POZZETTA MICRO CLEAN LLC               PPC TECHNOLOGIES & SOLUTIONS LTD
[ADDRESS REDACTED]                     ATTN PRESIDENT                         ATTN PRESIDENT
                                       3121 S PLATTE RIVER DR                 1092 RIVERWAY CT
                                       ENGLEWOOD, CO 80110                    PEWAUKEE, WI 53072




PPG INDUSTRIES INC                     PPI SYSTEMS INC                        PPSI INC
ONE PPG PLACE                          ATTN PRESIDENT                         ATTN SVC COORDINATOR
PITTSBURGH, PA 15272                   560 STROKES RD, 23-394                 7051 HAYVENHURST AVE
                                       MEDFORD, NJ 08055                      VAN NUYS, CA 91406




PR HOFFMAN                             PR NEWSWIRE ASSOC INC                  [NAME REDACTED]
453 LINCOLN STREET                     ATTN SHERRI F DRATFIELD, GC            [ADDRESS REDACTED]
CARLISLE, PA 17013-1814                810 SEVENTH AVE, 35TH FL
                                       NEW YORK, NY 10019
[NAME REDACTED] Case 25-90163     Document 87INCFiled in TXSB on 07/03/25 [NAME
                                     PRAENDEX                               Page  663 of 944
                                                                                REDACTED]
[ADDRESS REDACTED]                    DBA PI WORLDWIDE                    [ADDRESS REDACTED]
                                      ATTN PRESIDENT
                                      16 LAUREL AVE, STE 10
                                      WELLESLEY HILLS, MA 02481



[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       PRATT & WHITNEY ROCKETDYNE INC      PRATT (GEORGIA BOX) INC
[ADDRESS REDACTED]                    ATTN SR MGR, SUPPLY MGMT            ATTN CFO
                                      6633 CANOGA AVE                     5620 DEPARTURE DR
                                      P.O. BOX 7922                       RALEIGH, NC 27616
                                      CANOGA PARK, CA 91309



[NAME REDACTED]                       [NAME REDACTED]                     PRAXAIR INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  ATTN CONTRACT ADMIN
                                                                          55 OLD RIDGEBURY RD
                                                                          P.O. BOX 1986
                                                                          DANBURY, CT 06813-1986



PRAXAIR INC                           PRCOATERS INC                       PRECISE LOCATE INC
ATTN SALES MANAGER                    ATTN PRESIDENT                      ATTN PRESIDENT
39 OLD RIDGEBURY RD                   5259 MINOLA DR                      718 BRIDGE ST
DANBURY, CT 06810-5113                LITHONIA, GA 30038                  EDEN, NC 27288




PRECISION AGRITECHNOLOGIES LLC        PRECISION AIR TECHNOLOGY            PRECISION ALLIANCE LLC, THE
DBA LOCAL ROOTS FARMS                 P.O. BOX 46449                      ATTN GEN MGR
ATTN VP BUS DEVT                      RALEIGH, NC 27620-6449              4215 PLEASANT RD
5000 HAMPTON ST                                                           FORT MILL, SC 29708
VERNON, CA 90058



PRECISION CABLE ASSEMBLIES INC        PRECISION CERAMICS USA, INC.        PRECISION COATING CO INC
ATTN VICE PRESIDENT OF SALES          9843 18TH STREET NORTH SUITE 120    ATTN SALES MANAGER
16830 PHEASANT DR                     ST PETERSBURG, FL 33716-4208        63 SPRAGUE ST
BROOKFIELD, WI 53005                                                      HYDE PARK, MA 02136




PRECISION CONCEPT GROUP LLC           PRECISION CONTACTS INC              PRECISION ELECTRONIC BALANCING CO
2701 BOULDER PARK CT                  ATTN PRESIDENT                      ATTN PRESIDENT
WINSTON-SALEM, NC 27101               990 SUNCAST LN                      10 BARNES DR
                                      EL DORADO HILLS, CA 95762           BELMONT, NC 28012




PRECISION ELECTRONICS GLASS INC       PRECISION ENGINEERED CERAMICS INC   PRECISION FLOW ENGINEERING LLC
ATTN VP & CFO                         ATTN VICE PRESIDENT                 ATTN PRESIDENT
1013 HENDEE RD                        812 TRADESMAN PARK LP               1475 HERITAGE PKWY, STE 301
VINELAND, NJ 08360                    HUTTO, TX 78634                     MANSFIELD, TX 76063




PRECISION FLOW TECHNOLOGIES INC       PRECISION GRINDING & MFG            PRECISION IBC, INC.
ATTN CEO                              ATTN SALES ENGINEER                 8054 MCGOWIN DR
3 TOWER DR                            1305 EMERSON ST                     FAIRHOPE, AL 36532-5542
SAUGERTIES, NY 12477                  ROCHESTER, NY 14606
PRECISION MACHINECase    25-90163
                   FABRICATION       Document  87MAG
                                        PRECISION  Filed in TXSB
                                                     BEARING        on 07/03/25 PRECISION
                                                             SYST INC             Page 664   of 944
                                                                                          MEASUREMENTS CORP
ATTN VP                                  ATTN PRESIDENT                         553-E PYLON DRIVE
1100 N NEW HOPE RD                       25 WALKER WAY, SEC 2A                  RALEIGH, NC 27606-1466
RALEIGH, NC 27610                        ALBANY, NY 12205




PRECISION METROLOGY INC                  PRECISION MICROFAB LLC                 PRECISION PATTERN CO INC
ATTN CONTROLLER                          ATTN PRESIDENT                         ATTN VICE PRESIDENT
7350 N TEUTONIA AVE                      7500 ENERGY CT, STE 4                  1901 S 71ST ST
MILWAUKEE, WI 53209                      CURTIS BAY, MD 21226                   MILWAUKEE, WI 53219




PRECISION PCB LLC                        PRECISION PLATING COMPANY INC          PRECISION SCREW THREAD CORP
ATTN SR PCB DESIGNER                     ATTN BUSINESS UNIT MGR                 DBA HELI-TEK
5440 GREENSFLAG LN                       4123 W PETERSON AVE                    ATTN BUSINESS UNIT MANAGER
FUQUAY-VARINA, NC 27526                  CHICAGO, IL 60646                      S82 W 19275 APOLLO DR
                                                                                MUSKEGO, WI 53150



PRECISION SPRINKLER CO                   PRECISION STAMPINGS INC                PRECISION STEEL ERECTORS
343 TECHNOLOGY DR, STE 2110              ATTN PRESIDENT                         ATTN PRESIDENT
GARNER, NC 27529                         500 EGAN AVE                           6519 CHAPEL HILL RD
                                         BEAUMONT, CA 92223                     RALEIGH, NC 27607




PRECISION TECHNOLOGIES PTE LTD           PRECISION TEM INC                      PRECISION VALVE & AUTOMATION
211 HENDERSON ROAD 13-02 HENDERSON       ATTN LAB DIRECTOR                      ATTN DIR MKTG, REGIONAL SALES
SINGAPORE 159552                         1500 WYATT DR, STE 12                  15 SOLAR DR
SINGAPORE                                SANTA CLARA, CA 95054                  HALFMOON, NY 12065




PRECISION WALLS INC                      PRECISION WALLS INC                    PRECISIONFLOW TECHNOLOGIES INC
ATTN ASST ESTIMATOR/PM                   ATTN TILE DIV MNGR                     ATTN PRESIDENT
1230 NE MAYNARD RD                       4501 BERYL RD                          1500 STERLING RD
CARY, NC 27513                           RALEIGH, NC 27606                      P.O. BOX 149
                                                                                SAUGERTIES, NY 12477



PREDICTIVE INDEX, LLC                    PREFERRED SALES AGENCY LTD             PREFLIGHT VENTURES INC
101 STATION DRIVE, SUITE 210             ATTN CHIEF EXECUTIVE OFFICER           ATTN PRESIDENT
WESTWOOD, MA 02090-2391                  316 W SABINE ST                        728 MALBAY LN
                                         CARTHAGE, TX 75633                     RALEIGH, NC 27615




PREMIER DIE CASTING CO LLC               PREMIER FARNELL UK LIMITED             PREMIER FARNELL UK LIMITED
DBA SUPERIOR DIE CAST LLC                ATTN: SIMON MEADMORE, GLOBAL HEAD      GENERAL COUNSEL
ATTN MEMBER                              SEMICONDUCTORS                         300 S. RIVERSIDE PLAZA, SUITE 2200
1020 S BOLTON, P.O. BOX 2154             FARNELL HOUSE, FORGE LANE              CHICAGO, NC 60606
JACKSONVILLE, TX 75766                   LEEDS
                                         UNITED KINGDOM


PREMIER FARNELL UK LTD                   PREMIER FARNELL UK LTD                 PREMIER LIGHTING & CONTROLS
ATTN PRESIDENT                           CANAL ROAD                             401 SE FLEETWAY DR
150 ARMLEY RD                            LEEDS LS12 2TU                         LEES SUMMIT, MO 64081
LEEDS LS12 2Q                            UNITED KINGDOM
UNITED KINGDOM



PREMIER LIGHTING LTD                     PREMIER LIGHTING                       PREMIER LIGHTING
ATTN PRES                                ATTN PRESIDENT                         ATTN PRESIDENT
1052 BOUNDARY RD                         12427 W 92ND ST                        P.O. BOX 2776
BURNABY, BC V5K 4T3                      LENEXA, KS 66215                       OLATHE, KS 66063
CANADA
PREMIER PRODUCTSCase    25-90163
                  OF RACINE INC       Document
                                         PREMIER87  Filed in TXSB on 07/03/25 PREMIER
                                                 RECYCLING                      Page TECH
                                                                                      665 SALES
                                                                                          of 944INC
ATTN VP                                   WALTON RD, 239                       ATTN CHIEF EXECUTIVE OFFICER
1220 MOUND AVE, STE 104                   SEABROOK, NH 03874-0241              825 SAN ANTONIO RD, STE 102
RACINE, WI 53404                                                               PALO ALTO, CA 94303




PREMIER TECHNICAL SALES, LLC              PREMIER WATER & ENERGY TECHNOLOGY    PREMIERE COMMUNICATIONS &
3317 S. HIGLEY ROAD, SUITE 114-306        INC                                  CONSULTING INC
GILBERT, AZ 85297                         ATTN CUSTOMER SUPPORT                ATTN SALES & MARKETING DIR
                                          11481 COLUMBIA PARK DR W             516 S NEW HOPE RD
                                          JACKSONVILLE, FL 32258               RALEIGH, NC 27610



[NAME REDACTED]                           PRESCISION MACHINING TECHNOLOGY      PRESIDIO COMPONENTS INC.
[ADDRESS REDACTED]                        ATTN PRES                            7169 CONSTRUCTION COURT
                                          3221 RED BERRY DR                    SAN DIEGO, CA 92121-2615
                                          WILMINGTON, NC 28409




PRESIDIO NETWORKED SOLUTIONS, INC.        PRESIDIO STX LLC                     [NAME REDACTED]
5337 MILLENIA LAKES BLVD. SUITE 300       ATTN PRESIDENT & CEO                 [ADDRESS REDACTED]
ORLANDO, FL 32839-6302                    3979 FREEDOM CIR, STE 340
                                          SANTA CLARA, CA 95054




PRESSURE CONCEPTS INC                     PRESSURE METRICS LLC                 [NAME REDACTED]
3133 MAY STREET                           ATTN PARTNER                         [ADDRESS REDACTED]
CHARLOTTE, NC 28217-1337                  531 ROUTE 22 E, STE 323
                                          WHITEHOUSE STATION, NJ 08889




PRESTON-HILL INC                          PRETTL ELECTRIC CORPORATION          PRETTY LIGHT ELECTRONIC CO LTD
DBA BELL LEADERSHIP INST                  ATTN GENERAL MANAGER                 ATTN DAISY WU
ATTN AMY HAGEN, DIR PROGRAMS & SVCS       1721 WHITE HORSE RD                  NO. 103, CHIN YUAN IND ZONE
214 W CAMERON AVE                         GREENVILLE, SC 29605                 HOAOTSUN, HENG KANG TN, LONG KONG
CHAPEL HILL, NC 27516                                                          AREA
                                                                               SHENZHEN, GUANGDONG CHINA


PREVENTURE INC                            PREZIOSO VENTURES, LLC               [NAME REDACTED]
ATTN CHIEF OPERATING OFFICER              A-LINE CORPORATION                   [ADDRESS REDACTED]
2000 NOOSENECK HILL RD                    5410 POWERHOUSE CT
COVENTRY, RI 02816                        CONCORD, NC 28027-5339




PRICE COSTCO INTL INC                     PRICE WATERHOUSE COOPERS LLP         [NAME REDACTED]
C/O COSTCO WHOLESALE CORP                                                      [ADDRESS REDACTED]
ATTN LEGAL DEPT
999 LAKE DR
ISSAQUAH, WA 98027



[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163          Document 87 Filed COOPERS
                                          PRICEWATERHOUSE in TXSBLLP
                                                                   on 07/03/25 PRICEWATERHOUSECOOPERS
                                                                                 Page 666 of 944      GMBH WPG
[ADDRESS REDACTED]                         1 EMBANKMENT PLACE                  FRIEDRICH-EBERT-ANLAGE 35-37
                                           LONDON WC2N GRH                     FRANKFURT AM MAIN 60327
                                           UNITED KINGDOM                      GERMANY




PRICEWATERHOUSECOOPERS GMBH                PRICEWATERHOUSECOOPERS GMBH         PRICEWATERHOUSECOOPERS LLP
ALSTERUFER 1                               POSTFACH 30 17 50                   31 GREAT GEORGE ST
HAMBURG 20354                              HAMBURG 20306                       BRISTOL BS1 5QD
GERMANY                                    GERMANY                             UNITED KINGDOM




PRICEWATERHOUSECOOPERS LLP                 PRICEWATERHOUSECOOPERS SC           PRICEWATERHOUSECOOPERS SC
4208 6 FORKS RD, STE 1200                  2 RUE GERHARD MERCATOR              ATTN BUSINESS SUPPORT DEPT
CAPTRUST TOWER                             BP 1443                             400 ROUTE DESCH
RALEIGH, NC 27609                          LUXEMBOURG L-1014                   BP 1443
                                           LUXEMBOURG                          LUXEMBOURG L-1014 LUXEMBOURG



PRIDE INTERNATIONAL SHANGHAI CO LTD        [NAME REDACTED]                     [NAME REDACTED]
B17, FL 4, NO 231, FUTE N RD               [ADDRESS REDACTED]                  [ADDRESS REDACTED]
PILOT FREE TRADE ZONE
SHANGHAI
CHINA



PRIMARY AUTOMATION SYSTEMS INC             PRIMARY URGENT CARE (UTICA)         PRIMATECH INC
548 - 154TH AVE. NE                        1904 GENESEE STREET                 ATTN VP FINANCE & ADMIN
HAM LAKE, MN 55304-5578                    UTICA, NY 13502-5646                50 NORTHWOODS BLVD
                                                                               COLUMBUS, OH 43235




PRIMATRONIX (NAN HO) ELECTRONICS LTD       PRIMATRONIX LTD                     PRIME ACCESS CONSULTING, INC
ATTN MARKETING MGR                         ATTN SENIOR ENGINEERING MNG         3038 WINFRED DELL LANE
NO 100 BU SHA WAN                          21/F, TEXACO CENTRE                 CARY, NC 27511-3325
LONG GANG DISTRICT                         126-140 TEXACO RD
SHENZHEN, GUANG DONG CHINA                 TSUEN WAN HONG KONG



PRIME LIGHT PTE LTD                        PRIME POWER                         PRIME SOURCE OPC LLC
ATTN ELECTRONIC ENGINEER                   8225 TROON CIR                      ATTN VP SALES MKTG
07-03 BAN TECK HAN BLDG                    AUSTELL, GA 30168                   320 PERIMETER POINT BLVD
21 SERANGOON N AVE 5                                                           WINSTON-SALEM, NC 27105
SINGAPORE 554864 SINGAPORE



PRIME TECHNICAL SERVICES INC               PRIMEKEY SOLUTIONS AB               PRIMO LITE CO LTD
ATTN INDUSTRY DIR                          ATTN REG SALES MANAGER              NO.8, LN 178, SEC 1, PING-DONG RD
3495 PIEDMONT RD NE, BLDG 11-404           LUNDAGATAN 16                       PING-CHEN
ATLANTA, GA 30305                          SOLNA SE-171                        TAOYUAN
                                           SWEDEN                              CHINA



PRIMO OPTO ELECTRONICS (SHANGHAI) CO       PRIMOCELER OY                       PRIMUS CONTRACTING INC
LTD                                        ATTN MG DIRECTOR                    ATTN PRESIDENT
918 XINZHU RD                              KAUHAKORVENKATU 52                  3602 PLAYER LN
MINGHANG DISTRICT                          TAMPERE 33720                       MOREHEAD CITY, NC 28557
SHANGHAI                                   FINLAND
CHINA


PRINCE CONSULTING LLC                      [NAME REDACTED]                     [NAME REDACTED]
ATTN OWNER                                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]
3500 SHERIDAN DR
DURHAM, NC 27707
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 [NAME
                                          [NAME REDACTED]                       Page  667 of 944
                                                                                    REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




PRINCENTON POWER SYSTEMS INC               PRINCETON MICROWAVE TECH INC       PRINCETON MICROWAVE TECHNOLOGY INC
ATTN CEO                                   ATTN VP                            ATTN VP
501 FORRESTAL RD, STE 211, FORRESTAL       5 NAMI LN, UNIT A                  UNIT C10, 3 NAMI LN
CAMPUS                                     MERCERVILLE, NJ 08619              MERCERVILLE, NJ 08619
PRINCETON, NJ 08540



PRINCETON TEC                              PRINCETON UNIVERSITY               PRINCIPAL FINANCIAL (2925)
5198 ROUTE 130                             ATTN PROJECT ENERGY ENG            ATTN PROXY MGR
BORDENTOWN, NJ 08505                       ELM DRIVE, MACMILLAN BLDG          711 HIGH ST
                                           PRINCETON, NJ 08543                DES MOINES, IA 50392




PRINT MACHINE INC, THE                     PRINTAR LTD                        [NAME REDACTED]
DBA TCM INC                                ATTN VP BUS DEV                    [ADDRESS REDACTED]
ATTN DIRECTOR OF SALES                     5 OPPENHEIMER ST
1003 LAURENS RD                            REHOVOT 7600
GREENVILLE, SC 29607                       ISRAEL



PRIORITY ENERGY                            PRIORITY INVESTMENT LLC            PRISM ELECTRONICS CORPORATION
ATTN PRES                                  ATTN PRESIDENT                     18305 SUTTER BLVD.
1505 ORCHARD VIEW RD                       511 EASTWICK DR                    MORGAN HILL, CA 95037-2842
READING, PA 19606                          READING, PA 19606




PRISM GROUP INC                            PRISM RESEARCH GLASS INC           PRISM RESPONSE LLC
ATTN PRES                                  P.O. BOX 14187                     ATTN BRANCH MGR
10131 COORS RD, STE 520                    RTP, NC 27709-4187                 4000 TRIANGLE LN, STE 160
ALBUQUERQUE, NM 87114                                                         EXPORT, PA 15632




PRISM SKYLABS INC                          PRISMIER LLC                       PRISMVIEW LLC
ATTN SVP                                   ATTN VP GLOBAL OPS                 ATTN SUPPLY CHAIN MGR
799 MARKET ST                              158 GREENLEAF DR                   1651 N 1000 W
SAN FRANCISCO, CA 94103                    OAK BROOK, IL 60523                LOGAN, UT 84321




PRISTINE PROWASH                           [NAME REDACTED]                    [NAME REDACTED]
ATTN OWNER                                 [ADDRESS REDACTED]                 [ADDRESS REDACTED]
10599 HINMAN RD
BARNEVELD, NY 13304




PRITCHETT, BJ                              PRIVCO MEDIA LLC                   [NAME REDACTED]
126 WILDFLOWER PL                          ATTN ACCOUNT EXEC                  [ADDRESS REDACTED]
HOT SPRINGS NATL PARK, AR 71909            19 W 21ST ST, 11TH FL
                                           NEW YORK, NY 10010
                  Case 25-90163
PRIZM PACKAGING SOLUTIONS             Document 87 FiledINC.
                                         PRO ENGINEERING in TXSB on 07/03/25 PRO
                                                                               Page  668
                                                                                 METAL   of 944
                                                                                       WORKS INC
3505 W. HUDSON ROAD                       2480 KRUSE DR.                      ATTN PRESIDENT
ROGERS, AR 72756-1996                     SAN JOSE, CA 95131-1234             804 BURTON BLVD
                                                                              DEFOREST, WI 53532




PRO PALUM                                 PRO ULTRASONICS INC                 PROACTIVE NETWORKS & SECURITY INC
RUE AU TRIAGE DE BOIS                     ATTN PRESIDENT                      ATTN PRESIDENT
ST SIMEON 27560                           9235 ARCHIBALD AVE                  P.O. BOX 2322
FRANCE                                    RANCHO CUCAMONGA, CA 91730          PINEHURST, NC 28370




PROACTIVE TECHNICAL RECRUITMENT           PROACTIVE TECHNICAL RECRUITMENT     PROBE SPECIALISTS INC
LIMITED                                   ATTN RYAN COOL, EXEC CONSULTANT     ATTN CEO
222 BISHOPSGATE                           QUEENSBURY HOUSE, 106 QUEENS RD     375 DIGITAL DR
LONDON EC2M 4QD                           BRIGHTON BN1 3XF                    MORGAN HILL, CA 95037
UNITED KINGDOM                            UNITED KINGDOM



PROBE TEST SOLUTIONS LTD                  PROCEDES HALLIER                    PROCESS & POWER INC
1 ARGYLE CRESCENT HILLHOUSE INDUSTR       ATTN DIR                            1721 CORPORATE AVENUE
HAMILTON ML3 9BQ                          69 RUE VICTOR HUGO                  MEMPHIS, TN 38132-1702
UNITED KINGDOM                            MONTREUIL 93100
                                          FRANCE



PROCESS ENGINEERING PROD CO               PROCESS EQUIPMENT                   PROCESS NMR ASSOCIATES LLC
621 MOOREFIELD PARK DRIVE                 1058 N TAMIAMI TRAIL, STE 108 311   ATTN MEMBER
RICHMOND, VA 23236-3668                   SARASOTA, FL 34236                  87A SAND PIT RD
                                                                              DANBURY, CT 06810




PROCESS PRODUCTS CORP                     PROCESS RESEARCH PRODUCTS           PROCESS SENSORS CORP
ATTN PRESIDENT                            1013 WHITEHEAD RD                   ATTN CORPRATE CONTROLLER
37 FLAGSHIP DR                            TRENTON, NJ 08638-2418              113 CEDAR ST, STE S-1
N ANDOVER, MA 01845                                                           MILFORD, MA 01757




PROCESS SENSORS CORPORATION               PROCESS SOLUTIONS CONSULTING INC    PROCESS SPECIALTIES INC
ATTN DIV MGR                              8009 GEORGE ROAD                    ATTN CFO
787 SUSQUEHANNA AVE                       NEW TRIPOLI, PA 18066-2847          1660 W LINNE RD BLDG A
FRANKLIN LAKES, NJ 07417                                                      TRACY, CA 95377




PROCESS TECHNOLOGY INCORPORATED           PROCESSED METAL INNOVATORS LLC      PROCESSIA SOLUTIONS CORPORPORATION
29069 NETWORK PLACE                       ATTN PRESIDENT                      100 ILLINOIS ST
CHICAGO, IL 60673-1290                    600 21ST AVE S                      STE 200
                                          BLOOMER, WI 54724                   ST CHARLES, IL 60174




PROCHEM INC                               PROCOM/PROCESS COMPONENT INC        PROCOMP INC
ATTN PRES                                 ATTN OFFICE MGR                     12 TRAVIS WAY
826 ROOSVELT RD                           650-A PRESSLEY RD                   LITTLE EGG HARBOR, NJ 08087-9782
ROCKFORD, IL 61109                        CHARLOTTE, NC 28217




PROCON AUTOMATION INC                     [NAME REDACTED]                     PROCORE TECHNOLOGIES INC
ATTN PRESIDENT                            [ADDRESS REDACTED]                  6309 CARPINTERIA AVENUE
1320 OLD OXFORD HWY                                                           CARPINTERIA, CA 93013-2924
DURHAM, NC 27704
                 CaseBV
PRODRIVE TECHNOLOGIES  25-90163       Document 87 Filed
                                         PRODUCCIONES    in TXSB
                                                      MULTIPLES    on 07/03/25
                                                                MODERNAS SA      Page 669
                                                                               PRODUCT      of 944 & SOLUTIONS INC
                                                                                       DEV SYSTEMS
ATTN HEAD OF SALES                        ATTN PRODUCT DESIGNER                   ATTN TREASURER
SCIENCE PARK EINDHOVEN 5501               CARRETERA DE REYNOSA KM 12              20 SAN RAFAEL DR
SON 5692 EM                               GUADALUPE, NLE 67190                    ROCHESTER, NY 14618
NETHERLANDS                               MEXICO



PRODUCT FARM LLC, THE                     PRODUCT IDENTIFICATION INC              PRODUCT SAFETY ENGINEERING INC
ATTN OWNER/LEAD CREATOR                   ATTN PRESIDENT                          ATTN VICE PRESIDENT
953 PALACE GARDEN WAY                     1725 CARPENTER FLETCHER RD              12988 BELLAMY BROTHERS BLVD
RALEIGH, NC 27603                         DURHAM, NC 27713                        DADE CITY, FL 33525




PRODUCT SLINGSHOT INC                     PRODUCTION AUTOMATION COMPANY           PRODUCTION EQUIPMENT SALES
DBA FORECAST 3D                           121 CHESHIRE LANE                       ATTN SALES ENG
ATTN GENERAL MGR                          MINNETONKA, MN 55305-1062               P.O. BOX 412
2221 RUTHERFORD RD                                                                FALLBROOK, CA 92088
CARLSBAD, CA 92008



PRODUCTION SPECIALTIES INC                PRODUCTIVE TECHNOLOGIES INC             PRO-EMIT UG
ATTN COO                                  ATTN PRESIDENT                          ATTN CHIEF EXECUTIVE OFFICER
1782 E PERSON                             340 RALEIGH ST                          SCHWERDTFEGERSTRASSE 9
MEMPHIS, TN 38114                         HOLLY SPRINGS, NC 27540                 SOEHLDE D-31185
                                                                                  GERMANY



PROFEN TELECOMMUNICATION                  PROFESSIONAL INSULATION SVCS INC        PROFESSIONAL LIGHTING GENIUS SRL
YILDIZ TEKNIK UNI DAVUTPASA KAMPUSU       10403 STALLION WAY                      ATTN PRESIDENT
TEKNOPARK B1 BLOK NO.409                  BAHAMA, NC 27503-9631                   VIA FLORA 16
ESENLER                                                                           TORITTO (BA)
ISTANBUL 34220 TURKEY                                                             ITALY



PROFESSIONAL PACKAGING SYSTEMS LLC        PROFESSIONAL PLASTICS LLC               PROFESSIONAL PLATING INC
ATTN VP & DIRECTOR                        ATTN GEN COUNSEL                        ATTN PRESIDENT
210 S GREAT SOUTHWEST PKWY                1810 E VALENCIA DR                      2625 9TH AVE N
GRAND PRAIRIE, TX 75051                   FULLERTON, CA 92831                     ANOKA, MN 55303




PROFESSIONAL PROJECT SERVICES INC         PROFESSIONAL TRANSLATING SERVICES INC   [NAME REDACTED]
ATTN VICE PRESIDENT                       DBA PROTRANSLATING                      [ADDRESS REDACTED]
3100 SMOKETREE CT, STE 800, BOX 14        ATTN TRANSLATIONS DIR
RALEIGH, NC 27604                         2850 S DOUGLAS RD, 4TH FL
                                          CORAL GABLES, FL 33134



PROGRASS ENVIRONMENTAL SERVICES INC       PROGRESS CONTAINER & DISPLAY            PROGRESS INSTRUMENTS INC
DBA SWS ENVIRONMENTAL SERVICES            ATTN VP OF SALES                        ATTN VP
600 GRAND PANAMA BLVD, STE 200            635 PATRICK MOLL RD SW                  807 NW COMMERCE DR
PANAMA CITY BEACH, FL 32407               WINDER, GA 30680                        LEES SUMMIT, MO 64086




PROGRESS LIGHTING INC                     PROGRESS SOFTWARE                       PROGRESSIVE AUTOMATIONS INC
ATTN VP BRAND MGMT                        14 OAK PARK DRIVE                       ATTN DIRECTOR
701 MILLENNIUM BLVD                       BEDFORD, MA 01730-1414                  120-11300 NO 5 RD
GREENVILLE, SC 29607                                                              RICHMOND, BC V7A 5J7
                                                                                  CANADA



PROGRESSIVE ELECTRIC                      PROGRESSIVE ENVIRONMENTAL SERVICES      PROGRESSIVE MANUFACTURING
                                          INC                                     TECHNOLOGY INC
                                          DBA SWS ENVIRONMENTAL SERVICES          ATTN VP OF OP
                                          ATTN CEO                                828 NEW MEISTER LN, STE 100
                                          600 GRAND PANAMA BLVD, STE 200          PFLUGERVILLE, TX 78660
                                          PANAMA CITY BEACH, FL 32407
                  Case& PIPING
PROGRESSIVE PLUMBING    25-90163
                               INC     Document 87 Filed
                                          PROGRESSIVE      inMANAGEMENT
                                                      SAFETY  TXSB on 07/03/25
                                                                        LLC      Page ENGINEERING
                                                                               PROJECT 670 of 944 ASSOCIATES INC
ATTN PRESIDENT                             ATTN PRESIDENT                       212 COLTSGATE DR
110 FORTUNE WAY                            4000 PARK RD, STE 100                CARY, NC 27518
RAYLEIGH, NC 27617                         CHARLOTTE, NC 28209




PROJECT FIBONACCI FOUNDATION INC           PROJECT SPECIFIC INC                 PROJECT WAVE
P.O. BOX 424                               ATTN VP
ROME, NY 13442-0424                        2208 SETTER LN
                                           EFLAND, NC 27243




PROJECTIONS INC                            PROLIGHT OPTO TECHNOLOGY CORP        PROLITE GROUP INC
ATTN CEO                                   NO 10-1, KUNG-YEH 10TH RD            ATTN MARKETING DIR
3264 MEDLOCK BRIDGE RD                     PING CHEN INDUSTRIAL ZONE            LESHINSKOGO 8-307
NORCROSS, GA 30092                         PING CHENG, TAOYUAN HSIEN 324        MINSK
                                           TAIWAN                               BELARUS



PROLOGIS NA2 SUB LP                        PROLOGIS, L.P.                       PROLUX LIGHTING CALGARY LTD
C/O PROLOGIS, L.P.                         1800 WAZEE STREET, SUITE 500         ATTN PRES
ATTN: MARKET OFFICER / LEANNA ATKINS       DENVER, CO 80202                     2, 5025-51 ST SE
1900 SOUTH BLVD., SUITE 302                                                     CALGARY, AB T2B 3S7
CHARLOTTE, NC 28203                                                             CANADA



PROLUX LIGHTING EDMONTON LTD               PROMATIC AUTOMATION INC              PRO-MATION INC
ATTN TIM DRADER, PRESIDENT                 ATTN PRESIDENT                       ATTN PRESIDENT
15334 123 AVE NW                           33-C LOOP RD                         9522 58TH PL, STE 100
EDMONTON, AB TSV 1K8                       ARDEN, NC 28704                      KENOSHA, WI 53144
CANADA



PROMERUS LLC                               PROMESS INCORPORATED                 PROMEX INDUSTRIES, INC
ATTN PRESIDENT & COO                       11429 GRAND RIVER ROAD               QP TECHNOLOGIES
9921 BRECKSVILLE RD                        BRIGHTON, MI 48116-9615              2063 WINERIDGE PLACE
BRECKSVILLE, OH 44141                                                           ESCONDIDO, CA 92029-1931




[NAME REDACTED]                            PRONTO AUTOMATION TECHNOLOGY INC     PROOFPOINT INC
[ADDRESS REDACTED]                         130 WOLFPACK LN                      ATTN GENERAL COUNSEL
                                           DURHAM, NC 27704                     892 ROSS DR
                                                                                SUNNYVALE, CA 94089




PROPERTY RESERVE INC                       PROPHESI TECHNOLOGIES INC            PROPHET BRAND STRATEGY INC
ATTN VP                                    ATTN VP OF ENGINEERING               ATTN MGR
51 S MAIN ST, STE 301                      110 WILD BASIN RD, STE 100           180 N STETSON AVE, STE 460
SALT LAKE CITY, UT 84111                   AUSTIN, TX 78746                     CHICAGO, IL 60601




[NAME REDACTED]                            PROPST, CHRISTINA                    PROSHARE CO LTD
[ADDRESS REDACTED]                         DBA TWILIGHT STUDIOS                 ATTN MANAGING DIR
                                           P.O. BOX 99518                       2-13-17 CHUO, CHUO-KU
                                           RALEIGH, NC 27624                    SAGAMIHARA, KANAGAWA 252-0239
                                                                                JAPAN



PROSINT LLC                                PROSOFT LTD                          PROSPERITY LAMPS & COMPONENT LTD
2220 OAKLAND RD                            ATTN ALEXANDER POLISHUK              ATTN SHIRLEY CHAN
SAN JOSE, CA 95131                         108 PROFSOYUZNAYA STR                RM 4001-06, OFFICE TWR, CONVENTION PLZ
                                           MOSCOW 117437                        1 HARBOUR RD
                                           RUSSIA                               WANCHAI HONG KONG
[NAME REDACTED] Case 25-90163         Document 87AMERICA
                                         PROTAVIC  Filed in TXSB on 07/03/25 PROTEAN
                                                                               Page 671  of 944
                                                                                     ELECTRIC LTD
[ADDRESS REDACTED]                        ATTN VP                                ATTN DIRECTOR
                                          8 RICKER AVE                           SILVERTREE, UNIT 10B
                                          LONDONDERRY, NH 03053                  COWBRIDGE BUSINESS PK, ALTON RD
                                                                                 FARNHAM GU10 5EH UNITED KINGDOM



PRO-TEC FINISHES                          PRO-TECH CONSTRUCTION INC              PROTECHNIC ELECTRIC INC
5200 TRADEMARK DR, STE 101                ATTN VICE PRESIDENT                    ATTN VP
RALEIGH, NC 27610                         7429 ACC BLVD, STE 109                 4118 CLIPPER CT
                                          RALEIGH, NC 27617                      FREEMONT, CA 94538




PROTECTIVE PACKAGING LIMTED               PROTECTIVE RESOURCES INC               PROTEMP MECHANICAL, INC.
UNIT 3, GATEWAY, 1 OPUS CLOSE             ATTN PRESIDENT                         3350 SCOTT BLVD., BLDG. 3
CARRINGTON                                P.O. BOX 31142                         SANTA CLARA, CA 95054-3108
MANCHESTER M31 4RQ                        RALEIGH, NC 27622
UNITED KINGDOM



PROTEUS TECHNICAL SALES LLC               PROTIVITI HONG KONG CO LTD             PROTIVITI HONG KONG CO LTD
P.O. BOX 941                              ATTN PHILIP YAU, MANAGING DIR          C/O PROTIVITI INC
PLAISTOW, NH 03865-0941                   18 HARBOUR RD, STE 2102, CENTRAL PLZ   ATTN GENERAL COUNSEL
                                          WANCHAI                                50 CALIFORNIA ST, 17H FL
                                          HONG KONG                              SAN FRANCISCO, CA 94111



PROTO LABS, INC                           PROTO SPEC LLC                         PROTOCASE INC.
5540 PIONEER CREEK DRIVE                  ATTN OWNER                             210 S. 8TH STREET
MAPLE PLAIN, MN 55359-9003                1419 TOWNLINE RD                       LEWISTON, NY 14092-1702
                                          BENTON HARBOR, MI 49022




PROTOCAST INC                             PROTON LIGHTING                        PROTON-ELECTROTEX JSC
DBA PROTOTYPE CASTINGS INC                ATTN R&D MGR                           ATTN CHIEF EXECUTIVE OFFICER
ATTN SALES DIR                            BOX 1002                               LESKOVA STR 19
4696 IRONTON ST                           VARNAMO SE-33129                       OREL 302027
DENVER, CO 80239                          SWEDEN                                 RUSSIA



PROTOTEK SHEETMETAL FABRICATION LLC       PROTOTRON INC                          PROTOTYPE & PRODUCTION SYSTEMS INC
ATTN SALES/ESTIMATING                     DBA PROTOTRON CIRCUITS INC             ATTN PRESIDENT
244 BURNHAM INTERVALE RD                  ATTN GEN MGR                           13000 HWY 55
CONTOOCOOK, NH 03229                      15225 NE 95TH ST                       PLYMOUTH, MN 55441
                                          REDMOND, WA 98052



PROTOTYPE & SHORT-RUN SERVICES INC        PROTOTYPES SRL                         PROTOTYPING SOLUTIONS INC
ATTN GM                                   VIALE DELLE FONTANELLE 73              2076 VALLEYDALE TERRACE
2512-L E FENDER AVE                       SAN BONIFACIO 37047                    BIRMINGHAM, AL 35244-1726
FULLERTON, CA 92631                       ITALY




PROTRANS INTERNATIONAL INC                PROTRONICS INC                         [NAME REDACTED]
ATTN CHIEF COMMERCIAL OFFICER             861 OLD KNIGHT ROAD                    [ADDRESS REDACTED]
8311 N PERIMETER RD                       KNIGHTDALE, NC 27545-7803
INDIANAPOLIS, IN 46241




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]
PROVAC SALES, INC.Case 25-90163   Document 87 LTD
                                     PROVECTOR Filed in TXSB on 07/03/25 PROVEN
                                                                           PageDIRECT
                                                                                672 ofHINC
                                                                                        944
3131 SOQUEL DRIVE                     ATTN DIRECTOR                        ATTN ACCT MGR
SOQUEL, CA 95073-2098                 6 ST GEORGES TWR, HATLEY ST GEORGE   1301 W CANAL ST
                                      SANDY                                MILWAUKEE, WI 53233
                                      BEDFORDSHIRE SG19 3SH UNITED
                                      KINGDOM


PRO-VIBE CONDITION MONITORING         PROVIDENCE CREATIVE CO LLC           PROVIDENCE ELECTRIC INC
8940 NORTH COVE DRIVE                 ATTN OWNER                           ATTN PRESIDENT
PARK CITY, UT 84098-4731              830 BRANCHWOOD DR                    390 FREEPORT BLVD, STE 11
                                      KERNERSVILLE, NC 27284               SPARKS, NV 89431




PROVIDENCE MANAGEMENT GROUP INC       PROVIDENCE METALLIZING CO INC        PROVIDENT LIFE AND ACCIDENT INS CO
ATTN GREG PREUER                      ATTN PRESIDENT                       P.O. BOX 11588
1614 CASCADE OVERLOOK                 51 FAIRLAWN AVE                      PITTSBURGH, PA 15238
PEACHTREE CITY, GA 30269              PAWTUCKET, RI 02860




PROVINCIAL SIGN SYSTEMS               PROWAY TECH CO LTD                   PROXY ADVISORY GROUP LLC, THE
ATTN PRESIDENT                        ATTN CHIEF EXECUTIVE OFFICER         ATTN PRESIDENT
375 FRANKCOM ST                       6F, 3B, NO 5, SEC 3                  575 MADISON AVE, 10TH FL
AJAX, ON L1S 1R4                      NEW TAIPEI BLVD, XINZHUANG DIST      NEW YORK, NY 10022-2518
CANADA                                NEW TAIPEI CITY 242 TAIWAN



[NAME REDACTED]                       PRUDENTIAL CLEANROOM SERVICES        PRUDENTIAL LIGHTING PRODUCTS LLC
[ADDRESS REDACTED]                    1429 NORTH MILPITAS BLVD.            ATTN RICK KULPINSKI
                                      MILPITAS, CA 95035-3154              1737 E 22ND ST
                                                                           LOS ANGELES, CA 90058




PRUDENTIAL OVERALL SUPPLY CORP        [NAME REDACTED]                      [NAME REDACTED]
ATTN STEVE DILEO                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]
531 EASTPARK CT
SANDSTON, VA 23150




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                      PSC MOTOR AND FAN INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   ATTN DIRECTOR
                                                                           3000 PASEO MERCADO, STE 104
                                                                           OXNARD, CA 93036




[NAME REDACTED]                       PSG COLLEGE OF TECHNOLOGY            PSI CONTROL SOLUTIONS INC
[ADDRESS REDACTED]                    AVINASHI RD                          DBA E CARE INC
                                      PEELAMEDU                            ATTN OFFICE MGR
                                      COIMBATORE 641004                    5808 N LONG CREEK PARK DR
                                      INDIA                                CHARLOTTE, NC 28269



PST INC                               PT HUTCHINS COMPANY LTD              PT NEW VISION COOPERATIONS
4975 LACROSS RD, STE 102              ATTN INSIDE SALES                    PANGERAN JAYAKARTA NO 73
CHARLESTON, SC 29406-6523             901 S STIMSON AVE                    JL, GATEP BLOK B1 NO 14
                                      CITY OF INDUSTRY, CA 91745           KEL MANGGA DUE SELATAN, KEC SAWAH
                                                                           BESAR
                                                                           JAKARTA PUSAT 10730 INDONESIA
                  Case 25-90163 Document
PT. NEW VISION COOPERATIONS               87INCFiled in TXSB on 07/03/25 PTIPage
                                   PTB SALES                                      673 of
                                                                             INDUSTRIES INC944
ATTN: MR. HUANG PEI                1361 MOUNTAIN VIEW CIRCLE             ATTN VP SALES & MARKETING
PANGERAN JAYAKARTA NO.73 JL.       AZUSA, CA 91702-1649                  45 BALDWIN ST
GATEP BLOK B1 NO. 14 KEL.                                                EAST LONGMEADOW, MA 01028
MANGGA DUA SELATAN KEC SAWAH BESAR
JAKARTA PUSAT INDONESIA


PUBLIC LIGHTING AUTHORITY              PUBLIC LIGHTING AUTHORITY           PUBLIC SERVICE COMPANY OF NORTH
ATTN EXECUTIVE DIR                     C/O THE ALLEN LAW GROUP             CAROLINA, INC.
2900 CADILLAC TWR                      2500 FISHER BLDG                    A S. CAROLINA CORP DBA DOMINION
65 CADILLAC SQ                         3011 WEST GRAND BLVD                ENERGY N. CAROLINA
DETROIT, MI 48202                      DETROIT, MI 48202                   800 GASTON RD
                                                                           GASTONIA, NC 28056


PUBLIX SUPER MARKETS INC               PUBLIX SUPER MARKETS INC            [NAME REDACTED]
ATTN DIRECTOR, FACILITIES PURCHASING   ATTN GENERAL COUNSEL                [ADDRESS REDACTED]
3300 PUBLIX CORPORATE PKWY             P.O. BOX 407
LAKELAND, FL 33802-0407                LAKELAND, FL 33802-0407




PUDI DESIGN ASSOCIATES                 PUERTO RICO DEPARTMENT DE ASUNTOS   PUERTO RICO DEPT OF ENVIRONMENT
ATTN DESIGN DIRECTOR                   DEL CONSUMIDOR                      & NATURAL RESOURCES
FIVE FLOOR, KA HENG BUILDING           BOX 41059                           1250 H ST NW, STE 850
NO 1 MEIZHONG ROAD                     MINILLAS STATION                    WASHINGTON, DC 20005
FUTIAN, SHENZHEN 518017 CHINA          SAN JUAN, PR 00940-1059



PUERTO RICO DEPT OF LABOR AND          PUGENT SOUND ENERGY                 [NAME REDACTED]
HUMAN RESOURCES                        ATTN TREVOR RASMUSSEN               [ADDRESS REDACTED]
505 MUNIZ RIVERA AVENUE                615 2ND AVE, STE 280
GP.O. BOX 3088                         SEATTLE, WA 98104
HATO REY, PR 00918



[NAME REDACTED]                        [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                        PULSE ELECTRONICS                   PULSE PRECISION LLC
[ADDRESS REDACTED]                     ATTN DIRECTOR SALES                 260 E DYER RD
                                       12220 WORLD TRADE DR                SANTA ANA, CA 92801-3753
                                       SAN DIEGO, CA 92128




PULSE SYSTEMS INC                      [NAME REDACTED]                     [NAME REDACTED]
ATTN PRESIDENT                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]
100 ENERGY DR
CANTON, MA 02021




[NAME REDACTED]                        PUMP SOLUTIONS INC                  PUMPS BLOWERS & ELECTRICAL MOTORS
[ADDRESS REDACTED]                     ATTN PRESIDENT                      LLC
                                       1409 GREENWAY CROSS                 ATTN OWNER
                                       MADISON, WI 53713                   2712 EDMUND ST
                                                                           DURHAM, NC 27705



[NAME REDACTED]                        [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]
PUNCH POWERTRAINCase   25-90163
                  FRANCE (FORMERLY Document  87 Filed
                                      PUNE INSTITUTE     in TXSB on 07/03/25 [NAME
                                                     OF COMPUTER               Page  674 of 944
                                                                                   REDACTED]
APOJEE)                               TECHNOLOGY                             [ADDRESS REDACTED]
ATTN SITE MGR                         SR NO 27, PUNE-SATARA RD, DHANKAWADI
29, RUE GEORGES BESSE                 DHANKAWADI, PUNE
CLERMONT-FERRAND 63100                MAHARASHTRA 411 043
FRANCE                                INDIA


[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       PURDUE RESEARCH FOUNDATION            PURDUE RESEARCH FOUNDATION
[ADDRESS REDACTED]                    ATTN DIRECTOR                         ATTN DIRECTOR
                                      3000 KENT AVE                         OFFICE OF TECHNOLOGY TRANSFER
                                      WEST LAFAYETTE, IN 47906              1063 HOVDE HALL, PURDUE UNI
                                                                            WEST LAFAYETTE, IN 47907-1063



PURDUE UNIVERSITY                     PURDUE UNIVERSITY                     PURE AIR SYSTERMS
ATTN CONTRACT ANALYST                 C/O SCH OF ELEC & COMP ENG            ATTN PRES
302 WOOD ST                           ATTN WILLIAM J CHAPPELL               660 N NEELY ST, STE 4
WEST LAFAYETTE, IN 47907-2108         465 NORTHWESTERN AVE                  GILBERT, AZ 85233
                                      WEST LAFAYETTE, IN 47907



PURE FILTRATION LLC                   PURE FLOW, INC.                       PURE LIGHTING INDUSTRIES LLC
121 BROADWAY SUITE 201                1241 JAY LANE                         ATTN DIR OF ENGINEERING
DOVER, NH 03820-4332                  GRAHAM, NC 27253-2615                 1718 W FULLERTON AVE
                                                                            CHICAGO, IL 60614




PURE LINE PLUMBING INC.               PURE STORAGE INC                      PURE WAFER INC
4611 HILLSBOROUGH ROAD                ATTN VP & GEN COUNSEL                 2240 RINGWOOD AVE.
DURHAM, NC 27705-1227                 650 CASTRO ST, STE 260                SAN JOSE, CA 95131-1716
                                      MOUNTAIN VIEW, CA 94041




PUREAIRE MONITORING SYSTEMS INC       PUREFLOW INC                          PUREFLOW INC.
ATTN PRESIDENT                        ATTN LAUREN HOLT                      P.O. BOX 601165
557 CAPITAL DR                        1241 JAY LN                           CHARLOTTE, NC 28260-1165
LAKE ZURICH, IL 60047                 GRAHAM, NC 27253




[NAME REDACTED]                       PUREX INC                             PURI, ANDREW
[ADDRESS REDACTED]                    ATTN PRESIDENT                        C/O RESOURCE HUB LLC, THE
                                      2246 PALMER DR, STE 108               ATTN CONSULTANT
                                      SCHAUMBURG, IL 60173                  1050 CROWN POINTE PKWY, STE 500
                                                                            ATLANTA, GA 30338



[NAME REDACTED]                       PURITAN PRODUCTS INC                  PURITY SYSTEM INC
[ADDRESS REDACTED]                    ATTN PRESIDENT                        ATTN INSPECTOR
                                      LEHIGH VALLEY INDUSTRIAL PARK 1       1933 OTOOLE AVE
                                      2290 AVE A                            SAN JOSE, CA 95131
                                      BETHLEHAM, PA 18017



PUROMATICS CORP                       [NAME REDACTED]                       PUTCO INC
ATTN GENERAL MGR                      [ADDRESS REDACTED]                    ATTN CHIEF EXECUTIVE OFFICER
9321 PINE NEEDLE DR                                                         5701 NE 22ND ST
MENTOR, OH 44060                                                            DES MOINES, IA 50313
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 PVIPage
                                         [NAME REDACTED]                              675 INC
                                                                                 SOLUTIONS of 944
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    ATTN CTO
                                                                                101 2ND ST, STE 110
                                                                                PETALUMA, CA 94952




PWC PRODUCT SALES LLC                     PWD METAL STAMPING & MACHINING INC    PWRF INC
4040 WEST BOY SCOUT BOULEVARD             ATTN PRESIDENT                        ATTN PRESIDENT
TAMPA, FL 33607                           155 E EASY ST, UNIT H                 805 SUNFISH ST
                                          SIMI VALLEY, CA 93065                 LAKEWAY, TX 78734




PXIT                                      [NAME REDACTED]                       [NAME REDACTED]
420 BEDFORD ST, STE 310                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]
LEXINGTON, MA 02420




PYE BARKER FIRE & SAFETY INC              PYROMETER LLC                         Q HOLDING CO
832-101 PURSER DR                         70 WEBER AVE                          DBA QUALITY SYNTHETIC RUBBER
RALEIGH, NC 27603-4167                    EWING, NJ 08638-3763                  ATTN VP BUSINESS DEV
                                                                                1700 HIGHLAND RD
                                                                                TWINSBURG, OH 44087



Q4 INC                                    QA TECHNOLOGIES INC                   QA TECHNOLOGY CO. INC
469A KING STREET WEST                     DBA QAT GLOBAL                        110 TOWLE FARM ROAD
TORONTO, ON M5V 1K4                       ATTN VICE PRESIDENT                   HAMPTON, NH 03842-1805
CANADA                                    222 S 15TH ST, STE 1001 N
                                          OMAHA, NE 68102



[NAME REDACTED]                           QAI AI LLC                            QATAR FUEL (WOQOD) QSC
[ADDRESS REDACTED]                        ATTN CHIEF EXECUTIVE OFFICER          P.O. BOX 777
                                          1715 3RD AVE W                        3RD & 4TH FL QATAR INDL DEV BANK BLDG
                                          P.O. BOX 763                          GRAND HAMAD ST
                                          COLUMBIA FALLS, MT 59912              DOHA CITY QATAR



QAV TECHNOLOGIES SDN BHD                  QBAS CORP                             QBE UNDERWRITING LTD
150-E, JALAN KAMPUNG JAWA, MK12,PLO       ATTN DAN WU                           ATTN PROD LEADER, EO CASUALTY
BAYAN LEPAS PIN 11900                     6F, NO 2-1, GONGYE E 1ST RD, E DIST   30 FENCHURCH ST
MALAYSIA                                  HSINCHU CITY 300                      LONDON EC3M 3BD
                                          TAIWAN                                UNITED KINGDOM



QCERT ORGANISMO DE CERTIFICACION          QD VISION INC                         QDESYS DI QUAGREDA DIEGO
ATTN MANAGER                              ATTN CEO                              ATTN OWNER
CALLE 8B, NO 65-191, INTERIOR 241         313 PLEASANT ST                       VIA MAZZANO, 14/A
PBX 57-4-444 8087                         WATERTOWN, MA 02472                   NEGRAR (VR) 37024
MEDELLIN COLOMBIA                                                               ITALY



QDOS INTERCONNECT SDN BHD                 QED TECHNOLOGIES INC                  QES (ASIA-PACIFIC) SDN BHD
ATTN GROUP STRATEGY DEVELOPMENT           ATTN PRESIDENT                        NO. 9 JALAN JURUUKUR U1/19
MGR                                       1040 UNIVERSITY AVE                   HICOM GLENMARIE INDUSTRIAL PARK
PMT 743, PERSIARAN CASSIA SELATAN 4       ROCHESTER, NY 14601                   SHAH ALAM 40150
BATU KAWAN INDUSTRIAL PARK                                                      MALAYSIA
PENANG 14110 MALAYSIA


QES MECHATRONIC SDN. BHD.                 Q-FREE TCS INC                        [NAME REDACTED]
NO. 2, JALAN JURURANCANG U1/21,           ATTN ENGINEER                         [ADDRESS REDACTED]
SHAH ALAM, SELANGOR 40150                 70 6 POINT RD
MALAYSIA                                  ETOBICOKE, ON M8Z 2X2
                                          CANADA
[NAME REDACTED] Case 25-90163           Document
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                                                   LIMITED                          Page   676
                                                                                        TANG GUOof 944
[ADDRESS REDACTED]                          ATTN DEPUTY BGM, MSBG                   RM 610, NO 1615 HUASHAN RD
                                            85 BUCKINGHAM GATE                      SHANGHAI 200333
                                            LONDON SW1E 6PD                         CHINA
                                            UNITED KINGDOM



QINGDAO HAIXI ELECTRIC MACHINE CO LTD       QINGDAO HISENSE ELECTRONICS CO LTD      QINGDAO VICTALL RAILWAY GROUP CO LTD
NO. 10 CHANGJIANG E RD                      NO 218 QIANWANGANG RD                   ATTN NA REPRESENTATIVE
HUANGDAO DIST, QINGDAO                      QINGDAO ECONOMIC AND TECH DEV ZONE      NO 3 XINGHAI BRANCH RD, HUANHAI
CHINA                                       CHINA                                   ECONOMIC
                                                                                    TECHNICAL DEV ZONE, CHENGYANG DIST
                                                                                    QINGDAO 266109 CHINA


Q-LAB CORP                                  QM LIGHTING CO LTD                      QMBASE GMBH
ATTN SITE MGR                               NO 23, HEMING E RD, LIULIAN COMMUNITY   FELDSTRABE 61-63
800 CANTERBURY RD                           LONGGANG DISTRICT                       DORTMUND 44141
WESTLAKE, OH 44145                          SHENZHEN, GUANGDONG                     GERMANY
                                            CHINA



QNS FACILITY MANAGEMENT PVT LTD             QNURU INC                               QORTEK INC
SITE OFFICE UNIWORLD RESORT                 ATTN CTO                                ATTN PRES
BEHIND VAISHNO DHARAM KATA                  5300 EAGLE ROCK AVE                     4121 JACKS HOLLOW RD
SECTOR-33 NEAR SUBHASH CHOWK                ALLBUQUERQUE, NM 87113                  WILLIAMSPORT, PA 17702
GURGAON 122018 INDIA



QORVO TEXAS LLC                             QORVO TEXAS LLC                         QORVO TEXAS, LLC
ATTN JASON K GIVENS                         C/O KIRKLAND & ELLIS LLP                ANDREW R. VAN NOORD, P.C
7628 THORNDIKE RD                           ATTN ANDREW R VAN NOORD                 4550 TRAVIS STREET
GREENSBORO, NC 27409                        4550 TRAVIS ST                          DALLAS, TX 75205
                                            DALLAS, TX 75205



QORVO US INC.                               QORVO US, INC.                          QP TECHNOLOGIES
ATTN KHOZEIMA RANGWALA                      ATTENTION KHOZEIMA RANGWALA             770
7628 THORNDIKE RD                           7628 THORNDIKE ROAD                     GURAON 122001
GREENSBORO, NC 27409                        GREENSBORO, NC 27409                    INDIA




QPICS INC                                   QPL (US) INC                            QPPROADVISORDESK.COM
ATTN ED BARNES                              2795 EAST BIDWELL STREET SUITE 100      102 ACTION CT
2311 W FRONT ST                             FOLSOM, CA 95630-6480                   FREMONT, CA 94539
BURLINGTON, NC 27615




QPS EVALUATION SERVICES INC                 QREP INC                                QSC AUDIO PRODUCTS INC
81 KELFIELD STREET UNIT 8                   ATTN PRESIDENT                          ATTN STAFF ENGINEER
TORONTO, ON M9W 5A3                         219 N SALEM ST 202                      1675 MACARTHUR BLVD
CANADA                                      APEX, NC 27502                          COSTA MESA, CA 92626




QSC LLC                                     QSI LLC                                 QSIX INDIA PRIVATE LTD
ATTN VP RESOURCE & DEVELOPMENT              ATTN VP TECHNOLOGY                      6023/4, SECTOR D-6, VASANT KUNJ
1675 MACARTHUR BLVD                         8021 REYCAN RD                          NEW DELHI 110070
COSTA MESA, CA 92626                        RICHMOND, VA 23237                      INDIA




QSL PLUS                                    QTEC TECH SDN BHD                       Q-TECH EQUIPMENT & SVCS OF THE
ATTN MANGER                                 ATTN DIRECTOR                           CAROLINAS LLC
1706 WALKUD AVE                             NO 24-1 JALAN KU 3                      DBA CARRINGTON ENGINEERING SALES
MONROE, NC 28110                            TAMAN KRUBONG UTAMA                     ATTN PRESIDENT
                                            KRUBONG, MELAKA 75260 MALAYSIA          10320 FELD FARM LN, STE 100
                                                                                    CHARLOTTE, NC 28210
[NAME REDACTED] Case 25-90163     Document 87 CORP
                                     QUAD GROUP Filed in TXSB on 07/03/25 QUAD
                                                                           Page   677
                                                                               STATE   of 944
                                                                                     SALES AND MARKETING INC
[ADDRESS REDACTED]                    ATTN ADMINISTRATOR                    ATTN PRESIDENT
                                      1815 S LEWIS ST                       1701 N COLLINS BLVD, STE 1200
                                      SPOKANE, WA 99224                     RICHARDSON, TX 75080




QUAD/MED LLC                          [NAME REDACTED]                       QUADTECH INC
ATTN PRESIDENT                        [ADDRESS REDACTED]                    ATTN PRESIDENT
N53 W24700 CORPORATE CIR                                                    734 FOREST ST
SUSSEX, WI 53089                                                            MARLBOROUGH, MA 01752




QUALCOMM CDMA TECHNOLOGIES GMBH       QUALCOMM CDMA TECHNOLOGIES GMBH       QUALCOMM INC
ATTN DIRECTOR                         ATTN ENGINEERING VP                   5775 MOREHOUSE DR
BUSINESS PARK CAMPUS M                FRANZISKANERSTRASSE 14                SAN DIEGO, CA 92121
HOLLERITHSTRASSE 7 A                  MUNCHEN 81669
MUNICH 81829 GERMANY                  GERMANY



QUALCOMM NEW ZEALAND LTD              QUALCOMM NEW ZEALAND LTD              QUALCOMM WIRELESS GMBH
ATTN VP                               C/O DLA PIPER NEW ZEALAND             ATTN ENGINEERING DIR
28 HEATHER ST                         LEVEL 15, PWC TOWER                   GEWERBERAUME, FL 1 GEWERBEPARK
PARNELL AUCKLAND 1052                 15 CUSTOMS STREET, AUCKLAND CENTRAL   HINTERMATTLISTRASSE 3
NEW ZEALAND                           AUCKLAND 1010 NEW ZEALAND             MAEGENWIL 5506 SWITZERLAND



QUALCOMM WIRELESS GMBH                QUALICHEM INC                         QUALITY ASSOCIATES INTERNATIONAL INC
C/O BRUWI TREUHAND AG                 ATTN VP                               DBA QUALITY-ONE INTERNATIONAL
TAFERNSTRASSE 31 DATTWIL              2003 SALEM INDUSTRIAL DR              ATTN VP
AARGAU 5405                           SALEM, VA 24153                       1333 ANDERSON RD
SWITZERLAND                                                                 CLAWSON, MI 48017



QUALITY JANITOR SERVICE INC           QUALITY MANAGEMENT SOLUTIONS INC      QUALITY QUARTZ ENGINEERING INC
815 RAMSEUR ST, STE D                 ATTN PRINCIPAL & OFFICER              ATTN VP OF BUSINESS DVPT
P.O. BOX 11431                        930 TAHOE BLVD, STE 241 802           8484 CENTRAL AVE
DURHAM, NC 27703                      INCLINE VILLAGE, NV 89451             NEWARK, CA 94560




QUALITY RESOURCE GROUP INC            QUALITY STAMPING & TUBE CORP          QUALITY SUPPLY CHAIN CO-OP INC
ATTN VP                               ATTN OWNER                            ATTN VP EQUIPMENT, ENERGY & SVCS
5165 S TOWNE DR                       N169 W21010 MEADOW LN                 ONE DAVE THOMAS BLVD
NEW BERLIN, WI 53151                  P.O. BOX 146                          DUBLIN, OH 43017
                                      JACKSON, WI 53037



QUALITY TOOL GRINDING INC             QUALITY VISION INTERNATIONAL INC      QUALITYTECH LP
ATTN OWNER                            DBA OPTICAL GAGING PRODUCTS           ATTN ASSOC GC
1405 16H ST                           ATTN NA SALES MGR                     12851 FOSTER ST, STE 205
RACINE, WI 53403                      850 HUDSON AVE                        OVERLAND PARK, KS 66213
                                      ROCHESTER, NY 14621



QUALTRICS LLC                         QUALYS INC                            QUALYS INCORPORATED
33 WEST RIVER PARK DRIVE              919 E HILLSDALE BLVD, 4TH FL          ATTN CFO
PROVO CANYON, UT 84604-5787           FOSTER CITY, CA 94404                 1600 BRIDGE PKWY, 2ND FL
                                                                            REDWOOD SHORES, CA 94065




QUANTUM COMPOSERS INC                 QUANTUM DIMENSION INC                 QUANTUM ELECTRONICS SUPPLY
ATTN GENERAL MANAGER                  ATTN VP OF BUSINESS DVPT              ATTN OWNER
212 DISCOVERY DR                      15061 SPRINGDALE ST, STE 202          9611 102 AVE
BOZEMON, MT 59718                     HUNTINGTON BEACH, CA 92649            EDMONTON, AB T5H 0E5
                                                                            CANADA
                   Case 25-90163
QUANTUM FOCUS INSTRUMENTS  CORP    Document 87GLOBAL
                                      QUANTUM    Filed in TXSB onLLC
                                                     TECHNOLOGIES  07/03/25 QUANTUM
                                                                             Page 678
                                                                                    LEAP of 944
                                                                                         PACKAGING INC
2385 LA MIRADA DRIVE                   123 N MAIN ST                         ATTN LEAH GIOVAN
VISTA, CA 92081-7863                   DUBLIN, PA 18917-2107                 200 RESEARCH DR
                                                                             WILMINGTON, MA 01887




QUANTUM LEAP TECHNOLOGIES LTD          QUANTUM LIGHTING PRODUCTS LTD         QUANXIN LIGHTING AND ELECTRICAL
ATTN CHIEF EXECUTIVE OFFICER           ATTN PROJECT MGR                      CORPORATION LTD
SEAWAYS RESTRONGUET POINT FEOCK        PLAT A, 13/F, EFFICIENCY HOUSE        ATTN JULIE XIE, MARKETING DEPT MGR
TRURO, CORNWALL TR3 6RL                35 TAI YAU ST, SAN PO KONG            HONG JI ST, SHA LANG
UNITED KINGDOM                         KOWLOON HONG KONG                     ZHONGSHAN CITY, GUANGDONG 528400
                                                                             CHINA


QUARK GLASS                            QUARLES & BRADY                       [NAME REDACTED]
ATTN PRESIDENT                         411 EAST WISCONSIN AVE                [ADDRESS REDACTED]
P.O. BOX 2396                          SUITE 2400, MILWAUDEE
VINELAND, NJ 08362                     WI
                                       53200



QUARTET MECHANICS INC                  [NAME REDACTED]                       QUARTZ SCIENTIFIC INC
ATTN CTO                               [ADDRESS REDACTED]                    819 EAST ST
2343 BERING DR                                                               FAIRPORT HARBOR, OH 44077-5596
SAN JOSE, CA 95131




QUASAR TECHNOLOGIES INC                QUEENS UNIVERSITY AT KINGSTON         QUESANT INSTRUMENT CORP
ATTN CONTROLLER                        ATTN INTERIM DIR, RESEARCH SERVICES   ATTN VP, MARKETING & SALES
1701 BARRETT LAKES BLVD, STE 200       3RD FL, FLEMING HALL, JEMMETT WING    29397 AGOURA RD
KENNESAW, GA 30144                     78 FIFTH FIELD COMPANY LN             AGOURA HILLS, CA 91301
                                       KINGSTON, ON K7L 3N6 CANADA



[NAME REDACTED]                        QUEST DIAGNOSTICS CLINICAL LABS INC   QUEST INTEGRITY USA LLC
[ADDRESS REDACTED]                     ATTN VP - HEALTH & WELLNESS SVS       ATTN GLOBAL DIR, HR & CONTRACTS
                                       3 GIRALDA FARMS                       17146 FEATHERCRAFT 350
                                       MADISON, NJ 07940                     WEBSTER, TX 77598




QUEST LEADERSHIP LTD                   QUEST TECHNOLOGY (DG) LTD             QUESTEK INNOVATIONS
2A TESLA COURT,INNOVATION WAY          ATTN CONTROLLER                       ATTN RICH KOOY
PETERBOROUGH, CAM PE2 6FL              RM 805-806, INTERNATIONAL COMMERCE    1820 RIDGE AVE
UNITED KINGDOM                         BLDG                                  EVANSTON, IL 60201
                                       NAN CHENG DIST, HONG FU RD W
                                       DONGGUAN CITY 511700 CHINA


QUESTRADE INC./CDS (5084)              QUETECH LTD                           QUICK TURN CIRCUITS LLC
ATT AL NANJI OR PROXY MGR              ATTN VP SALES & DEV                   ATTN GM
5650 YONGE ST                          477 KINGSMILL CT                      122 S NAVAJO ST
TORONTO, ON M2M 4G3                    WATERLOO, ON N2T 1S4                  SALT LAKE CITY, UT 84104
CANADA                                 CANADA



[NAME REDACTED]                        QUICKCUTCNC                           QUICKFOX CONSULTING LLC
[ADDRESS REDACTED]                     8209 MARKET ST                        ATTN PRESIDENT
                                       ST WILMINGTON, NC 28411               112 ARTILLERY LN
                                                                             RALEIGH, NC 27615




QUICKMOLDS                             QUICKPARTS.COM INC                    QUICKSILVER EXPRESS COURIER OF
ATTN OWNER                             ATTN VICE PRESIDENT                   WISCONSIN INC
4006 WOLF POND RD                      219 PERIMETER CENTER PKWY             ATTN GENERAL MGR
MONROE, NC 28112                       ATLANTA, GA 30346                     11220 W LINCOLN AVE
                                                                             WEST ALLIS, WI 53227
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                      QUIK-PAK                              Page  679 of 944
                                                                                REDACTED]
[ADDRESS REDACTED]                      A DIVISION OF DELPHON INDUSTRIES LLC    [ADDRESS REDACTED]
                                        ATTN GENERAL MGR
                                        10987 VIA FRONTERA
                                        SAN DIEGO, CA 92127



QUINN EMANUEL URQUHART & SULLIVAN LLP   QUINN EMANUEL URQUHART & SULLIVAN LLP   QUINN EMANUEL URQUHART & SULLIVAN LLP
16 OLD BAILEY                           250 S WACKER DR, STE 230                50 CALIFORNIA ST, 22ND FL
LONDON EC4M 7EG                         CHICAGO, IL 60606                       SAN FRANCISCO, CA 94111
UNITED KINGDOM




QUINN EMANUEL URQUHART & SULLIVAN LLP   QUINN EMANUEL URQUHART & SULLIVAN LLP   QUINN EMANUEL URQUHART & SULLIVAN LLP
51 MADISON AVE, 22ND FL                 555 TWIN DOLPHIN DR, STE 560            865 S FIGUEROA ST, 10TH FL
NEW YORK, NY 10010                      REDWOOD SHORES, CA 94065                LOS ANGELES, CA 90017




QUINN EMANUEL URQUHART & SULLIVAN LLP   QUINN EMANUEL                           QUINN POWER SYSTEMS
ALASKA TWIN TOWER MAIN BLDG, 6TH FL     RICHARD ERWINE                          3500 SHEPHERD ST
17-22 AKASAKA 2-CHOME                   295 5TH AVENUE, 9TH FL, NEW YORK        CITY OF INDUSTRY, CA 90601-4700
MINATO-KU                               NY
TOKYO 107-0052 JAPAN                    10016



QUINSTAR TECHNOLOGY INC                 [NAME REDACTED]                         [NAME REDACTED]
ATTN EXEC VP                            [ADDRESS REDACTED]                      [ADDRESS REDACTED]
24085 GARNIER ST
TORRANCE, CA 90505




QUINTECH ELECTRONICS &                  [NAME REDACTED]                         QUIQLITE INC
COMMUNICATIONS INC                      [ADDRESS REDACTED]                      ATTN PRESIDENT
ATTN ACCOUNT MGR                                                                5276 HOLLISTER AVE, STE 263
250 AIRPORT RD                                                                  SANTA BARBARA, CA 93111
INDIANA, PA 15701



QUIRKY INC                              [NAME REDACTED]                         [NAME REDACTED]
321 W 44TH ST                           [ADDRESS REDACTED]                      [ADDRESS REDACTED]
NEW YORK, NY 10036




QUORUM COMMUNICATIONS                   [NAME REDACTED]                         [NAME REDACTED]
ATTN RF ENGINEER                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]
3807 CARBON RD
IRVING, TX 75038




[NAME REDACTED]                         QVS GROUP BV                            QWEST CYBERSOLUTIONS LLC
[ADDRESS REDACTED]                      DBA GREENINTELLI                        1899 WYNKOOP, 3RD FL
                                        ATTN SALES                              DENVER, CO 80202
                                        DORPSSTRAAT 48, ASSENDELFT
                                        AMSTERDAM 1566 AL NETHERLANDS



R & D LIGHTING & CONTROLS INC           R & D LIGHTING AND CONTROLS, INC.       R BROWN & ASSOCIATES INC
ATTN PRINCIPAL                          1327 BUTTERFIELD ROAD, SUITE 614        2659 FREEDOM PKWY
1327 BUTTERFIELD RD, STE 604            DOWNERS GROVE, IL 60515                 CUMMING, GA 30041
DOWNERS GROVE, IL 60515
                  Case
R BROWN & ASSOCIATES INC25-90163   Document
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                                                                                 USSERY INCof 944
ATTN RICHARD BROWN                     945 LOWNDES HILL RD                    ATTN PRES
4020 SHELBY LN                         GREENVILLE, NC 29607-2624              546 DYNAMIC DR
CUMMING, GA 30041                                                             GARNER, NC 27529




R STAHL SCHALTGERATE GMBH              R&B GRINDING CO INC                    R&D LAMINATIONS INC
ATTN TEAM LEADER R&D                   ATTN FINANCE DIR                       ATTN CEO/OWNER
AM BAHNHOF 30                          1900 CLARK ST                          12505 S INDUSTRIAL DR
WALDENBURG 74638                       RACINE, WI 53403                       PLAINFIELD, IL 60544
GERMANY



R&M MANUFACTURING CO LLC               R&R FIXTURES LLC                       R.C.S. INC
ATTN PRESIDENT                         ATTN SALES MGR                         ATTN PRES / OWNER
200 CENTENNIAL DR                      1809 INDUSTRIAL PARK DR                7125 CABIN CREEK RD
BUFFALO, MN 55313                      GRAND HAVEN, MI 49417                  HOPKINS, SC 29061




R.L. POLK & CO                         RA LED LLC                             RA ORGILI LTD
26533 EVERGREEN ROAD                   ATTN MANAGER                           DBA RADDION
SOUTHFIELD, MI 48076                   207 N MOSS RD, STE 207                 ATTN CEO
                                       WINTER SPRINGS, FL 32708               DEREH-HAYAM ST 24/26
                                                                              GANEY-TIKVA 55900 ISRAEL



RA PINKUS INC                          [NAME REDACTED]                        RAB LIGHTING INC
                                       [ADDRESS REDACTED]                     ATTN ROSS BARNA, CEO
                                                                              170 LUDLOW AVE
                                                                              NORTHVALE, NJ 07647




RABBIT SUB INC                         [NAME REDACTED]                        [NAME REDACTED]
C/O CREE INC                           [ADDRESS REDACTED]                     [ADDRESS REDACTED]
ATTN GENERAL COUNSEL
4600 SILICON DR
DURHAM, NC 27703



[NAME REDACTED]                        [NAME REDACTED]                        RACINE COUNTY ECONOMIC DEVELOMENT
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     CORP
                                                                              ATTN ASST SECY
                                                                              2320 RENAISSANCE BLVD
                                                                              STURTEVANT, WI 53177



RACINE COUNTY SHERIFFS OFFICE          RACINE METAL-FAB LTD                   RACINE PLASTIC INC
ATTN LIEUTENANT STEVE SIKORA           ATTN PRESIDENT                         3737 DOUGLAS AVE
717 WISCONSIN AVE                      2137 ROOSEVELT AVE                     RACINE, WI 53402
RACINE, WI 53403                       RACINE, WI 53406




RACKSPACE US INC                       RADCO INDUSTRIES INC                   RADCO INFUSION TECHNOLOGIES LLC
DBA RACKSPACE HOSTING                  ATTN PRODUCT MGR                       ATTN CHIEF EXECUTIVE OFFICER
ATTN GEN COUNSEL                       39W930 MIDAN DR                        3226 FRENCHMENS RD
5000 WALZEM RD, MSC US 109-2301        LAFOX, IL 60147                        TOLEDO, OH 43607
SAN ANTONIO, TX 78218



RADFORD SURVEYS & CONSULTING           [NAME REDACTED]                        RADIAN THERMAL PRODUCTS INC
ATTN SR VICE PRESIDENT                 [ADDRESS REDACTED]                     ATTN REGIONAL SALES MGR
TWO WILLOW ST, STE 202                                                        2160 WALSH AVE
SOUTHBOROUGH, MA 01745                                                        SANTA CLARA, CA 95050
                 Case
RADIANCE RESOURCES  LLC 25-90163   Document
                                      RADIANT87   Filed
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                                                     LOGISTICS INC on 07/03/25 RADIANT
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                                                                                       681 of INC
                                                                                               944
ATTN MANAGING PARTNER                  AIRGROUP                               ATTN VPO
77 PARK ST, 2                          700 S. RENTON VILLAGE PLACE            15321 MAIN ST NE, STE 310
BROOKLINE, MA 02446                    RENTON, WA 98057-0001                  DUVALL, WA 98019




RADIANT OPTO-ELECTRONICS CORP          RADIANT ZEMAX LLC                      RADIATION MONITORING DEVICES INC
ATTN CHAIR MAN                         ATTN CHIEF FINANCIAL OFFICER           ATTN VP
NO 1 CENTRAL 6TH RD                    22908 NE ALDER CREST DR, STE 100       44 HUNT ST
KAOHSIUNG EXPORT PROCESSING ZONE       REDMOND, WA 98053                      WATERTOWN, MA 02472
KAOHSIUNG TAIWAN



RADIO ENGINEERING GROUP                RADIO PROM DESIGN                      RADIO SYSTEMS DESIGN LTD
CARRETERA DE VALENCIA KM 7             ATTN EXECUTIVE DIRECTOR                ATTN RICHARD G RANSON
MADRID 2803                            12 LINYA VO 43 LIT A                   107 WEST END LANE
SPAIN                                  SAINT PETERSBURG 199178                LEEDS
                                       RUSSIA                                 WEST YORKS LS18 5ES UNITED KINGDOM



RADIOCOMP LLC                          RADIODATA GMBH                         RADIOGAL LTD
ATTN MANAGING DIR                      ATTN HEAD OF DEVELOPMENT               2 HAPRAT ST
KRAKASVEJ 17                           RINGBAHNSTR 32-34                      YAVNE 81227
HILLEROD DK-3400                       BERLIN 12099                           ISRAEL
DENMARK                                GERMANY



RADIOVILLE CO LTD                      RADISSON BLUE HOTEL FRANKFURT AM       RADITEK INC
ATTN DIR OF RESEARCH                   MAIN GMBH                              1702 H MERIDIAN AVE, STE 127
712 MEGAVALLEY                         ATTN EVENT MANAGER                     SAN JOSE, CA 95125
799 GWANYANG                           FRANKLINSTRASSE 65
ANYANG, GYEONGGI-DO SOUTH KOREA        FRANKFURT DE 60486
                                       GERMANY


RADIUS GROUP COMMERCIAL REAL ESTATE    RADIX GROUP INTL INC                   RADOVE GMBH
INC                                    DBA DHL GLOBAL FORWARDING              SCHUCHARDTWEG 2
ATTN BOB TULER                         29200 NORTHWESTERN HWY                 BERLIN 14109
205 E. CARILLO ST, STE 100             SOUTHFIELD, MI 48034                   GERMANY
SANTA BARBARA, CA 93101



[NAME REDACTED]                        RADVISTA CORPORATION                   RADWELL INTERNATIONAL INC
[ADDRESS REDACTED]                     ATTN PRESIDENT                         1 MILLENNIUM DRIVE
                                       3501 ALGONQUIN RD, STE 230             WILLINGBORO, NJ 08046-1000
                                       ROLLING MEADOWS, IL 60008




RAFAEL USA INC                         [NAME REDACTED]                        [NAME REDACTED]
ATTN MGR                               [ADDRESS REDACTED]                     [ADDRESS REDACTED]
570 7TH AVE, 11TH FL
NEW YORK, NY 10018




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  682 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        RAINBOW ELECTRONICS
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     ATTN GEN MGR, LIGHTING DIV
                                                                           AVIAMOTORNAYA 10-2
                                                                           MOSCOW 111024
                                                                           RUSSIA



RAINBOW TECHNOLOGIES LTD            [NAME REDACTED]                        [NAME REDACTED]
ATTN EUGENE LEVIN                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]
OFFICE 22, BLDG 22
PLEKHANOVA STR
MINSK 220095 BELARUS



[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




RAJA RAMANA CENTER FOR ADV          [NAME REDACTED]                        [NAME REDACTED]
TECHNOLOGY                          [ADDRESS REDACTED]                     [ADDRESS REDACTED]
PO CAT
INDORE, MP 452 013
INDIA



[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




RAJSHI INDUSTRIES                   [NAME REDACTED]                        RALEIGH CONVENTION CENTER
ATTN OPERATIONS HEAD                [ADDRESS REDACTED]                     2E SOUTH ST
2 INDUSTRIAL ESTATE, STE 1                                                 RALEIGH, NC 27601
SULTAN RD, RAEBARELI
UTTAR PRADESH 229010 INDIA



RALEIGH RECLAIMED LLC               RALEIGH RECYCLING NC SCRAP METAL LLC   RALEIGH VALVE & FITTING CO
2101 HARROD STREET                  DBA RALEIGH METAL RECYCLING            ATTN OFFICE MNGR
RALEIGH, NC 27604-1725              ATTN PRESIDENT & CEO                   2621 ROWLAND RD
                                    2310 GARNER RD                         RALEIGH, NC 27615
                                    RALEIGH, NC 27610
[NAME REDACTED] Case 25-90163            Document  87 Filed
                                            RALEIGH-DURHAM   in TXSB
                                                           RUBBER      on 07/03/25 [NAME
                                                                  & GASKET           Page  683 of 944
                                                                                         REDACTED]
[ADDRESS REDACTED]                           P.O. BOX 90397                       [ADDRESS REDACTED]
                                             RALEIGH, NC 27675-0397




RALLY ELECTRONICS COMPANY                    [NAME REDACTED]                      [NAME REDACTED]
ATTN DIRECTOR                                [ADDRESS REDACTED]                   [ADDRESS REDACTED]
NO 15, 13/F BLOCK B, HANG WAI IND BLDG
6 KING TAI STREET
TUEN MUN HONG KONG



[NAME REDACTED]                              [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                              RAMBOLL AMERICAS INTEGRATED          RAMBUS INC
[ADDRESS REDACTED]                           SOLUTIONS INC                        ATTN SVP
                                             333 WEST WASHINGTON STREET           1050 ENTERPRISE WAY, STE 700
                                             SYRACUSE, NY 13202-6103              SUNNYVALE, CA 94089




[NAME REDACTED]                              [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                      RAMIREZ, LOUIS
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                   DBA JUST 4U CUSTOM CANVAS
                                                                                  211 E YANONALI ST, 14-C
                                                                                  SANTA BARBARA, CA 93101




[NAME REDACTED]                              [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                      RAMONA RESEARCH
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                   13741 DANIELSON ST
                                                                                  PAWAY, CA 92064




[NAME REDACTED]                              [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                      RAMPARD SYSTEMS INC
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                   ATTN PRESIDENT
                                                                                  63-15 53RD DR, 1ST FL
                                                                                  QUEENS, NY 11378
RAMPF GROUP INC Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  684 of 944
                                                                             REDACTED]
ATTN VP                             [ADDRESS REDACTED]                     [ADDRESS REDACTED]
49037 WIXOM TECH DR
WIXOM, MI 48393




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     RANCORE TECHNOLOGIES PRIVATE LTD       RAND TECHNOLOGY INC
[ADDRESS REDACTED]                  ATTN VP                                ATTN PRESIDENT
                                    MAB 1ST FLOOR, THANE-BELAPUR RD        15225 ALTON PKWY, STE 100
                                    5-TTC INDUSTRIAL AREA, GHANSOLI NAVI   IRVINE, CA 92618
                                    MUMBAI 400701 INDIA



[NAME REDACTED]                     [NAME REDACTED]                        RANDOLPH ELECTRIC MEMBERSHIP
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     CORPOR
                                                                           879 MCDOWELL RD
                                                                           ASHEBORO, NC 27205




[NAME REDACTED]                     [NAME REDACTED]                        RAND-WHITNEY PACKAGING CORP
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     ATTN GENERAL MGR
                                                                           3829 S MIAMI BLVD, STE 200
                                                                           DURHAM, NC 27703




RANDY BERGER PHOTOGRAPHY            [NAME REDACTED]                        RANG DONG LIGHT SOURCE AND VACUUM
ATTN OWNER                          [ADDRESS REDACTED]                     FLASK-
14460 NEW FALLS OF NEUSE RD                                                JOINT STOCK CO
STE 149-346                                                                87-89 HA DINH STR, THANH XUAN DIST
RALEIGH, NC 27614                                                          HANOI
                                                                           VIETNAM


[NAME REDACTED]                     [NAME REDACTED]                        RANGSONS DEFENCE SOLUTIONS PVT LTD
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     ATTN SR MANAGER, RF
                                                                           142 3RD FL, KMH TOWER, KH RD
                                                                           BANGALORE 560 027
                                                                           INDIA



[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]




RAPID CUT INC                       RAPID PRODUCT DEVELOPMENT GROUP INC    RAPIERBIT LLC
ATTN BUSINESS DEV                   ATTN CUST SERV MGR                     ATTN PROPRIETOR
P.O. BOX 609                        300 W GRAND AVE, STE 200               2539 WOODHAVEN DR
HAMPSTEAD, NC 28443                 ESCONDIDO, CA 92025                    DURHAM, NC 27712
                  Case 25-90163
RAPT INDUSTRIES INC               Document  87 Filed in TXSB on 07/03/25 RARE
                                     [NAME REDACTED]                       Page  685
                                                                              EARTH   of 944 INC
                                                                                    PRODUCTS
ATTN PRES/CEO                         [ADDRESS REDACTED]                  ATTN PRESIDENT
46535 FREMONT BLVD                                                        P.O. BOX 7074
FREMONT, CA 94538                                                         BEVERLY, MA 01915




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




RASHEIN, RANDY                        [NAME REDACTED]                     [NAME REDACTED]
32427 OLD HWY 34                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]
TANGENT, OR 97389




RASIRC INC                            [NAME REDACTED]                     [NAME REDACTED]
ATTN PRESIDENT                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
11760 SORRENTO VALLEY RD, STE E
SAN DIEGO, CA 92121




RATHBUN ASSOCIATES INC                [NAME REDACTED]                     [NAME REDACTED]
ATTN PRESIDENT                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
48890 MILMONT DR, STE 111D
FREMONT, CA 94538




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




RAVEON TECHNOGIES CORP                RAVESH CO                           RAVILIGHTS LLC
ATTN CFO                                                                  ATTN CIO
2461 IMPALA DR                                                            2 KEYSTONE AVE, STE 500
CARLSBAD, CA 92010                                                        CHERRY HILL, NJ 08003




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




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[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 [NAME
                                          [NAME REDACTED]                       Page  686 of 944
                                                                                    REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                       RAYBEN MACAO COMMERCIAL OFFSHORE
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    LIMITED
                                                                                 ATTN COO
                                                                                 RUA DE PEQUIM NO. 244-246
                                                                                 MACAU FINANCE CENTRE 12 ANDAR G
                                                                                 MACAU CHINA


RAYBEN PRINTED CIRCUIT BOARD (ZHU HAI)     RAYBEN TECHNOLOGIES (ZHUHAI) LIMITE   RAYCO MANUFACTURING INC
LTD                                        8 XIPU ROAD, XINQING TECH IND PK      ATTN PRESIDENT
XIN QING SCIENCE & TECH-                   DOUMEN, ZHUHAI 519180                 5520 BRIDGEWOOD DR
NATL HIGH TECH CENTRE                      CHINA                                 STERLING HEIGHTS, MI 48310
XIBU AREA, DOUMEN DIST
ZHUHAI CITY CHINA


RAYCO SAFETY INC                           RAYCONN ELECTRONICS CO LTD            [NAME REDACTED]
375 WEST MAPLE STREET                      4 F TONGSHENG TECHNOLOGY BLDG         [ADDRESS REDACTED]
YADKINVILLE, NC 27055-7700                 SHANGHENLANG, DALANG
                                           SHENZEN 518109
                                           CHINA



RAYFORM LTD                                RAYMARINE UK LIMITED                  RAYMOND HANDLING CONCEPTS CORP
ATTN DIR PROD & BUS DEV                    QUAY POINT, NORTHARBOUR RD,           41400 BOYCE RD.
UNIT 901, FOOK YIP BLDG                    PORTSMOUTH                            FREMONT, CA 94538-3113
53-57 KWAI FUNG CRESCENT, KAWI CHUNG       HAMPSHIRE P06 3TD
KWAI CHUNG, NT HONG KONG                   UNITED KINGDOM



RAYMOND JAMES ASSOC (0725,5179)            RAYMOND JAMES LTD./CDS (5076)         [NAME REDACTED]
ATT ROBERTA GREEN OR PROXY MGR             ATT JEFF LUNSHOF OR PROXY MGR         [ADDRESS REDACTED]
880 CARILION PKWY                          2100-925 W GEORGIA ST
TOWER 2, 4TH FL                            VANCOUVER, BC V6C 3L2
ST. PETERSBURG, FL 33716                   CANADA



[NAME REDACTED]                            [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]




RAYON LIGHTING GROUP                       RAYOTEK SCIENTIFIC INC                [NAME REDACTED]
ATTN COO                                   ATTN CTO                              [ADDRESS REDACTED]
1303 MIRASOL ST                            11494 SORRENTO VALLEY RD, STE J
LOS ANGELES, CA 90023                      SAN DIEGO, CA 92121




RAYTECH MACHINE TOOLS INC                  RAYTHEON CANADA LTD                   RAYTHEON CO
4915 WATERS EDGE DRIVE SUITE 265           ATTN ENG FELLOW                       ATTN ROBERT S COOK
RALEIGH, NC 27606-2460                     400 PHILLIP ST                        180 HARTWELL RD
                                           WATERLOO, ON N2L 6R7                  BEDFORD, MA 01730
                                           CANADA



RAYTHEON CO                                RAYTHEON COMPANY                      RAYTHEON COMPANY
DBA SPACE & AIRBORNE SYSTEMS               528 BOSTON POST RD                    ATTN ANDREW W BONNOT
                                           SUDBURY, MA 01776                     13510 N CENTRAL EXPY
                                                                                 DALLAS, TX 55243
RAYTHEON COMPANY Case 25-90163     Document 87COMPANY
                                      RAYTHEON  Filed in TXSB on 07/03/25 RAYTHEON
                                                                            Page 687  of 944
                                                                                   COMPANY
ATTN CONTRACT SPECIALIST               ATTN CORPORATE                         ATTN JACK WHITE
870 WINTER ST                          1200 S JUPITER RD C2-2                 6380 HOLLISTER AVE
WALTHAM, MA 02451                      GARLAND, TX 75042                      GOLETA, CA 93117




RAYTHEON E-SYSTEMS INC                 RAYTHEON SYSTEMS CO                    RAYTHEON SYSTEMS LIMITED
ATTN ALLEN LAUDER                      ATTN MNGR, CONTRACTS                   KAO ONE, KAO PARK, HARLOW
7700 ARLINGTON BLVD                    2000 E IMPERIAL HWY                    ESSEX CM17 9NA
FALLS CHURCH, VA 22049-1571            EL SEGUNDO, CA 90245                   UNITED KINGDOM




RAYTHEON SYSTEMS LTD                   [NAME REDACTED]                        [NAME REDACTED]
ATTN COMMERCIAL EXEC                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]
THE PINNACLES, ELIZABETH WAY
HARLOW, ESSEX CM19 5BB
UNITED KINGDOM



RAZR LIGHTING LLC                      RAZZANO GLOBAL SALES & SUPPLY INC      RB SERVICES
ATTN GENERAL MANAGER                   DBA RGS PARTNERS                       ATTN OWNER
600 HIGHLAND AVE SE                    ATTN PRESIDENT                         2000 GOLDEN HORSESHOE CIR
HICKORY, NC 28602                      138 KINGSTON AVE                       MORRISVILLE, NC 27560
                                       CRANBERRY TOWNSHIP, PA 16066



RB TATE INC                            RBB CORP                               RBC CAPITAL MKTS CORP (0235)
DBA AMERICAN AERIAL PHOTOS             DBA ADAM METAL PRODUCTS COMPANY        ATT STEVE SCHAFER OR PROXY MGR
ATTN PRES                              ATTN PRESIDENT                         60 S 6TH ST - P09
88 VILCOM CNTR DR, STE 155             7 ORBEN DR                             MINNEAPOLIS, MN 55402-1106
CHAPEL HILL, NC 27514                  LEDGEWOOD, NJ 07852



RBC DOMINION /CDS (5002)               RBD INSTRUMENTS INC                    RBM ENGINEERING
ATT PROXY MGR                          ATTN ASST SALES MNG                    ATTN ELECT DESIGNER
180 WELLINGTON STREET WEST             2437 NE TWIN KNOLLS DR, STE 2          150 N FESTIVAL DR
TORONTO, ON M5J 0C2                    BEND, OR 97701                         EL PASO, TX 79912
CANADA



RBP RALEIGH LLC RALEIGH MARRIOTT       RBP RALEIGH LLC                        RCAL PRODUCTS INC
CRABTREE VALLEY HOTEL                  DBA RALEIGH MARRIOTT CRABTREE VALLEY   ATTN CCO
4500 MARRIOTT DRIVE                    160 MINE LAKE CT, STE 200              2 BITWORKS WAY
RALEIGH, NC 27612-3365                 RALEIGH, NC 27615                      PRAIRIE GROVE, AR 72753




RCH CABLE LLC                          RCI INC                                RCS LOGISTICS INC
ATTN VP                                ATTN PRESIDENT                         ATTN ATL OFFICE SUPERVISOR
301 COMMERCE AVE                       21 CROWN PLACE                         510 PLAZA DR, STE 1220
MOORESTOWN, NJ 08057                   ROCKAWAY, NJ 07866                     COLLEGE PARK, GA 30349




RCT SYSTEMS INC                        RCT SYSTEMS INC                        RDA SUMMIT NC CEO FORUM LLC
ATTN SUE BAIRD, CFO & VP               ATTN VP & CFO                          102 ORANGE STREET
1705 TWIN SPRINGS RD, STE 107          1745A W NURSERY RD, MS 4018            CAPE FEAR, NC 28401-4421
BALTIMORE, MD 21227                    LINTHICUM, MA 21090




RDM PRODUCTS INC                       RDQ (4305)                             RE-ACTION DESIGN STUDIO
ATTN VP                                ATTN PROXY MGR                         ATTN PRINCIPLE
1652 WATSON CT                         1 WORLD TRADE CENTER, SUITE 47M        888 UNION STATION PKWY, 4201
MILPITAS, CA 95035                     NEW YORK, NY 10007                     LEWISVILLE, TX 75057
                Case 25-90163
READCO KURIMOTO LLC                  Document  87 Filed in TXSB on 07/03/25 READILITE
                                        [NAME REDACTED]                       Page 688    of 944 INC
                                                                                      & BARRICADE
ATTN MGR SALES                           [ADDRESS REDACTED]                       ATTN LARRY CASHWELL, PRESIDENT
460 GRIM LN                                                                       708 FREEDOM DR
YORK, PA 17406                                                                    RALEIGH, NC 27610




READS UNIFORMS LLC                       REALWINWIN INC                           [NAME REDACTED]
4 SWEETEN CREEK CROSSING                 1926 ARCH ST                             [ADDRESS REDACTED]
ASHEVILLE, NC 28803-2543                 PHILADELPHIA, PA 19103




[NAME REDACTED]                          REASON INC                               [NAME REDACTED]
[ADDRESS REDACTED]                       15 W 18TH ST                             [ADDRESS REDACTED]
                                         NEW YORK, NY 10011




[NAME REDACTED]                          REBA GUNES ENERJI SISTEMLERI SANAYI VE   REBATE BUS INC
[ADDRESS REDACTED]                       DIS TICARET LTD STI                      821 E WASHINGTON AVE, STE 200
                                         YESILKOY EGS BUSINESS PARK B1 BLOCK,     MADISON, WI 53703
                                         YESILKOY EGS BUSINESS PARK B1 BLOCK
                                         FL 12, NO 390
                                         BAKIRKOY/ISTANBUL TURKEY


REC SILICON INC                          RECHAZADOS & TROQUELADOS                 RECOLOGY SOUTH VALLEY
ATTN VP, COMMERCIAL                      MONTERRAY SA DE CV                       1351 PACHECO PASS HIGHWAY
1616 PIONEER WAY                         ATTN SALES MANAGER                       GILROY, CA 95020-9579
MOSES LAKE, WA 98837                     DR COSS 632 NORTE
                                         MONTERREY, NL 64000
                                         MEXICO


RECOM CONSULTING GMBH & CO KG            RECON RF INC                             RECSOLU INC DBA YELLO
ATTN GENERAL MGR                         ATTN CHIEF EXECUTIVE OFFICER             55 EAST MONROE STREET SUITE 3600
OTTO-HAN STRASSE 60                      10211 PACIFIC MESA BLVD, STE 408         CHICAGO, IL 60603-6032
DREIEICH 63303                           SAN DIEGO, CA 92121
GERMANY



RECTIFIER TECHNOLOGIES PACIFIC PTY LTD   RECTRON ELECTRONIC ENTERPRISES INC       RECYCLE TECHNOLOGIES INC
ATTN OPERATIONS MGR                      ATTN PRESIDENT                           ATTN CHIEF EXECUTIVE OFFICER
24 HARKER ST                             13405 YORBA AVE                          4000 WINNETKA AVE N, STE 210
BURWOOD, VIC 3125                        CHINO, CA 91710                          MINNEAPOLIS, MN 55427
AUSTRALIA



RECYCLING AND WASTE REDUCTION            RED 24 CONSULTING                        RED CANARY INC
8001 BOAT CLUB SUITE B                   C/O LIBERTY MUTUAL                       1515 WYNKOOP STREET SUITE 390
FORT WORTH, TX 76179                                                              DENVER, CO 80202-5550




RED CANYON SOFTWARE INC                  RED GATE SOFTWARE LTD.                   RED HAT INC
DBA CANYON ENGINEERING & SOFTWARE        NEWHAM HOUSE, CAMBRIDGE BUSINESS PA      1801 VARSITY DR
ATTN CEO                                 CAMBRIDGE CB40WZ                         RALEIGH, NC 27606
1200 PENNSYLVANIA ST, STE 100            UNITED KINGDOM
DENVER, CO 80203



RED LEONARD ASSOCIATES INC               RED LEONARD ASSOCIATES INC               RED LEONARD
5630 BRIDGETOWN RD, STE 2                ATTN OWNER                               ATTN SALES MGR
CINCINNATI, OH 45248                     VIA DEL COLLE 80                         7315 JOSEPH DR
                                         CALENZANO, FI 50041                      SOLON, OH 44139
                                         ITALY
                 Case 25-90163
RED PHASE TECHNOLOGIES             Document  87 FiledLIMITED
                                      RED24 OPERATIONS in TXSB on 07/03/25 [NAME
                                                                             Page  689 of 944
                                                                                 REDACTED]
ATTN CTO, CO FOUNDER, DIRECTOR         ATTN CHIEF EXECUTIVE OFFICER        [ADDRESS REDACTED]
7B SHEFFIELD PL                        THE COACH HOUSE, BILL HILL PARK
HAWKES BAY, NAPIER 4110                WOKINGHAM
NEW ZEALAND                            BERKSHIRE RG40 5QT UNITED KINGDOM



REDBRICK HEALTH CORP                   [NAME REDACTED]                     [NAME REDACTED]
ATTN GENERAL COUNSEL                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]
510 MARQUETTE AVE, STE 500
MINNEAPOLIS, MN 55402




[NAME REDACTED]                        REDLINE COMMUNICATIONS INC          REDLINE DESIGN GROUP
[ADDRESS REDACTED]                     ATTN VP PRODUCT DEV & PROD          6601 SIX FORKS RD
                                       302 TOWN CENTRE BLVD                RALEIGH, NC 27615-6520
                                       MARKHAM, ON L3R OE8
                                       CANADA



[NAME REDACTED]                        [NAME REDACTED]                     REDPINE SIGNALS INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  ATTN SR EXEC VP
                                                                           2107 N FIRST ST, STE 540
                                                                           SAN JOSE, CA 95131-2019




REDTRONIC LTD                          [NAME REDACTED]                     REDWOOD SYSTEMS INC
ATTN DIRECTOR                          [ADDRESS REDACTED]                  ATTN PRESIDENT
UNIT 9, WELLINGTON BUSINESS PARK                                           46665 FREMONT BLVD
QUEBEC ST                                                                  FREMONT, CA 94538
ELLAND HX5 9BX UNITED KINGDOM



[NAME REDACTED]                        [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                     REESE ASSOCIATE INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  ATTN PRES
                                                                           612 TWILIGHT TRAIL
                                                                           RICHARDSON, TX 75080




REESE ENTERPRISES INC                  [NAME REDACTED]                     [NAME REDACTED]
DBA ASTRO PLASTICS                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]
ATTN GENERAL MANAGER
14101 INDUSTRIAL PARK BLVD
COVINGTON, GA 30014
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  690 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                         REFINITIV US LLC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      P.O. BOX 415983
                                                                                  BOSTON, MA 02241




REFLECTIVE CONCEPTS INC                   REFLEK CORP                             REFLEKTIVE INC
ATTN VP                                   ATTN ALAN DORSKY                        ATTN CHIEF EXECUTIVE OFFICER
9571 58TH PL                              109 HOWE ST                             123 TOWNSEND ST, STE 300
KENOSHA, WI 53144                         FALL RIVER, MA 02724                    SAN FRANCISCO, CA 94107




REFLEXITE ENERGY SOLUTIONS INC            REFOND OPTOELECTRONICS CO LTD           REFU ELEKTRONIK
ATTN PRESIDENT                            6TH WING                                ATTN CEO
500 LEE RD                                2ND BLOCK OF BAIWANGXIN INDUSTRY PARK   URACHER STRASSE 91
ROCHESTER, NY 14606                       SONGBAI RD NANSHAN DIST                 METZINGEN 72555
                                          SHENZHEN CHINA                          GERMANY



REGAL FINISHING CO INC                    [NAME REDACTED]                         [NAME REDACTED]
ATTN SALES MANAGER                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]
3927 BESEMER RD
COLOMA, MI 49038




[NAME REDACTED]                           REGENCY ENTERPRISES INC                 REGENCY LIGHTING INCORPORATED
[ADDRESS REDACTED]                        ATTN EVAN REGENSTREIF, DIR STRATEGIC    ATTN DIR
                                          SOURCING                                16665 ARMINTA ST
                                          16665 ARMINTA ST                        VAN NUYS, CA 91406
                                          VAN NUYS, CA 91406



REGENT BELEUCHTUNGSKOERPER AG             REGENTS FOR UNIVERSITY OF NEW MEXICO    REGENTS OF THE UNI OF CALIFORNIA, THE
ATTN HEAD OF R&D                          ATTN MONICA WAQUIE                      ATTN LICENSING OFFICER
DORNACHERSTRASSE 390                      1 UNIVERSITY OF NEW MEXICO              OFFICE OF TECHNOLOGY TRANSFER
BASEL 4018                                1700 LOMAS BLVD, STE 2200, MSC01 1247   1111 FRANKLIN ST, 5TH FL
SWITZERLAND                               ALBUQUERQUE, NM 87131-0001              OAKLAND, CA 94607-5200



REGENTS OF THE UNIV OF CALIFORNIA, THE    REGENTS OF THE UNIVERSITY OF CA AT      REGENTS OF THE UNIVERSITY OF
C/O AFFIL MEM PRG, CA LI TECH CTR         SAN DIEGO, THE                          CALIFORNIA, THE
ATTN DR KONSTANTINOS PAPAMICHAEL          O/B/O CENTER FOR WIRELESS               1111 FRANKLIN ST, FL 12
1554 DREW AVE                             COMMUNICATIONS                          OAKLAND, CA 94607-5200
DAVIS, CA 95618                           ATTN CONTRACT & GRANT OFFICER
                                          9500 GILMAN DR
                                          LA JOLLA, CA 92093

REGENTS OF THE UNIVERSITY OF              REGENTS OF THE UNIVERSITY OF            REGENTS OF THE UNIVERSITY OF
CALIFORNIA, THE                           CALIFORNIA, THE                         CALIFORNIA, THE
ATTN ASST DIR, LICENSING TTIP SVCS        ATTN ASST DIR, LICENSING TTIP SVCS      ATTN DIR OF SPONSORED PROJ &
1111 FRANKLIN ST                          MC-0910                                 INTELLECTUAL PROP
OAKLAND, CA 94607-5200                    9500 GILMAN DR                          3227 CHEADLE HALL
                                          LA JOLLA, CA 92093-0910                 SANTA BARBARA, CA 93106-2050


REGENTS OF THE UNIVERSITY OF              REGENTS OF THE UNIVERSITY OF            REGENTS OF THE UNIVERSITY OF
CALIFORNIA, THE                           CALIFORNIA, THE                         CALIFORNIA, THE
ATTN DIR, TIA                             ATTN JIM RUBIN                          CONTRACTS & PURCHASING OFFICE
OFFICE OF TECH & INDUSTRY ALLIANCES       LOS ALAMOS LABORATORY                   ATTN RANDELL E STOSKOPF
552 UNIVERSITY AVE, TRAILER 342           P.O. BOX 1663, CTS-12, MS E537          6950 HOLLISTER AVE
SANATA BARBARA, CA 93106-2055             LOS ALAMOS, NM 87545                    SANTA BARBARA, CA 93106
                  CaseOF25-90163
REGENTS OF UNIVERSITY     CALIFORNIA   Document 87
                                          REGENTS    Filed in TXSB
                                                  OF UNIVERSITY       on 07/03/25 REGGIANI
                                                                OF CALIFORNIA       Page 691    of 944
                                                                                           SPA ILLUMINZAIONE
ATTN PR CONTRACT & GRANT OFFICER           DAVIS CAMPUS COLLEGE OF ECE             ATTN TECHNICAL MGR
200 UNIVERSITY OFFICE BLDG                 C/O TECHNOLOGY TRANSFER SVCS            V LE MONZA, 16
RIVERSIDE, CA 92521-0217                   1850 RESEARCH PARK DR, STE 100          SOVICO 20845
                                           DAVIS, CA 95618                         ITALY



[NAME REDACTED]                            REGIONAL PROBING SERVICES               [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN PRESIDENT                          [ADDRESS REDACTED]
                                           165 WOODCROFT DR
                                           YOUNGSVILLE, NC 27596




[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]




REGUS CORP SERVICE CENTRE PVT LTD          REGUS CORP SERVICES CENTRE PVT LTD      REHDER, CHRISTOPHER
ATTN TL - ASM                              5TH FLOOR, SREI SIGNATURE               3319 GIBBS LN
10TH FLOOR, TOWER B                        PLOT 14 A, ANATH ROAD                   HILLSBOROUGH, NC 27278
UNITECH CYBER PARK, SECTOR 39              UDYOG VIHAR, SECTOR 18
GURGAON, HARYANA 122003 INDIA              GURGAON 122015 INDIA



[NAME REDACTED]                            REHMAT LIGHTING LTD                     REICH TOOL & DESIGN INC
[ADDRESS REDACTED]                         NAM HOUSE                               ATTN PRESIDENT
                                           22-26 SPENCER RD                        W175 N5750 TECHNOLOGY DR
                                           JEWELLERY QUARTER                       MENOMONEE FALLS, WI 53051
                                           BIRMINGHAM B18 6DS UNITED KINGDOM



[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                            REILLY AND ASSOCIATES INC               [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN PRESIDENT                          [ADDRESS REDACTED]
                                           7754 PARKCREST CIR
                                           CLARKSTON, MI 48348




REINHART BOERNER VAN DEUREN SC             [NAME REDACTED]                         REITTER & SCHEFENACKER USA LP
ATTN MARTIN J MCLAUGHLIN                   [ADDRESS REDACTED]                      ATTN DIR OF LIGHTING R&D
1000 N WATER ST, STE 1700                                                          3985 W HAMLIN RD
MILWAUKEE, WI 53202                                                                ROCHESTER HILLS, MI 48309




[NAME REDACTED]                            RELAY SPECIALTIES INC                   RELIABILITY POINT LLC
[ADDRESS REDACTED]                         ATTN VP                                 ATTN ACCTS MGR
                                           17 RARITAN RD                           4787 WAYWOOD DR, STE A
                                           OAKLAND, NJ 07436                       ZACHARY, LA 70791
                  Case
RELIANCE JIO INFOCOMM   25-90163
                      LTD            Document  87JIO INFOCOMM
                                        RELIANCE     Filed in TXSB
                                                               LTD on 07/03/25 RELIANCE
                                                                                 Page 692     of 944 LTD
                                                                                        JIO INFOCOMM
101 SAFFRON, NR CENTRE POINT             ATTN FC&A; TC-30, 1ST FL, E-WING, WS 236   ATTN LEGAL; TC-22, 2ND FL, A-WING
PANCHWATI 5 RASTA, AMBAWADI              RELIANCE CORP PARK, THANE-BELAPUR RD       WS 141, RELIANCE CORP PARK
AHMEDABAD, GUJARAT 380006                GHANSOLI                                   THANE-BELAPUR RD, GHANSOLI
INDIA                                    NAVI MUMBAI 400701 INDIA                   NAVI MUMBAI 400701 INDIA



RELIANCE TST CO (5409)                   RELIANT LAB SYSTEMS INC                    RELIANT PAINTING CO
ATT TONIE MONTGOMERY                     ATTN PRESIDENT                             ATTN VP
1100 ABERNATHY RD                        545 SWANSON AVE                            1440 S BRIGGS AVE
STE 400                                  PLACENTIA, CA 92870                        DURHAM, NC 27703
ATLANTA, GA 30328



RELIASOFT CORP                           RELO DIRECT INC                            RELUME TECHNOLOGIES INC
ATTN VP                                  ATTN VP SALES                              ATTN CHRISTIAN JACOBSEN, DIR OF PURCH
1450 S EASTSIDE LOOP                     7825 VIEWMOUNT DR                          1795 N LAPEER RD
TUCSON, AZ 85710-6703                    CONCORD, OH 44077                          OXFORD, MI 48371




RELUME TECHNOLOGIES INC                  REMBAR COMPANY INC, THE                    REMBECKY, STEVEN
ATTN CHRISTIAN JACOBSEN, SR OPS MG       ATTN VP SALES & MFG                        DBA LDI
925 N LAPEER RD, STE B                   67 MAIN ST                                 440 N MOUNTAIN AVE, STE 204
OXFORD, MI 48371                         DOBBS FERRY, NY 10522                      UPLAND, CA 91786




REMCO SUPPLY, INC                        REMEC DEFENSE & SPACE INC                  REMEC INC
1815 EAST WENDOVER AVENUE                VP MKT & SALES                             ATTN SVP
GREENSBORO, NC 27405-6840                1701 N GREENSVILLE AVE, STE 304            17112 ARMSTRONG AVE
                                         RICHARDSON, TX 75081                       IRVINE, CA 92614




REMEC INC                                REMEDY STAFFING SERVICES                   [NAME REDACTED]
ATTN VICE PRESIDENT                      ATTN PRESIDENT                             [ADDRESS REDACTED]
3790 VILLA DE LA VALLE, STE 311          3700 NATIONAL DR, STE 109
DEL MAR, CA 92014                        RALEIGH, NC 27612




REMETAL LLC                              [NAME REDACTED]                            REMPHOS TECHNOLOGIES LLC
ATTN GEN MNG                             [ADDRESS REDACTED]                         ATTN PRESIDENT
150 KUNIHOLM DR, BLDG 4                                                             90 HOLTEN ST
HOLLISTON, MA 01746                                                                 DANVERS, MA 01923




REMTEC INC                               RENA TECHNOLOGIES NORTH AMERICA, LLC       RENAISSANCE LIGHTING INC
100 MORSE STREET                         3838 WESTERN WAY NE                        ATTN FOUNDER & PRES
NORWOOD, MA 02062-4679                   ALBANY, OR 97321-7421                      480 SPRINGPARK PL, STE 900
                                                                                    HERNDON, VA 20170




[NAME REDACTED]                          RENAULT SAS                                RENAULT SPORT F1
[ADDRESS REDACTED]                       ATTN GM ELECTRIC ELECTRONICS               ATTN MANAGING DIR
                                         13-15, QUAI-ALPHONSE-LE-GALLO              1 A 15, AV DU PDT KENNEDY
                                         BOULOGNE-BILLANCOURT 92 100                VIRY-CHATILLON CEDEX 91177
                                         FRANCE                                     FRANCE



RENAULT SPORT RACING LTD                 RENCO ELECTRONICS INC                      RENDELL ELECTRONICS INC
                                         ATTN DIR BUS DEV                           ATTN PRES
                                         595 INTERNATIONAL PL                       3621 W DEVON AVE
                                         ROCKLEDGE, FL 32955                        CHICAGO, IL 60659
[NAME REDACTED] Case 25-90163        Document 87
                                        RENESAS    Filed inAMERICA
                                                ELECTRONIC  TXSB INC
                                                                   on 07/03/25 RENESAS
                                                                                 Page 693  of 944 AMERICA INC.
                                                                                       ELECTRONICS
[ADDRESS REDACTED]                       ATTN VP & CFO                          1001 MURPHY RANCH RD
                                         2800 SCOTT BLVD                        MILPITAS, CA 95035
                                         SANTA CLARA, CA 95050




RENESAS ELECTRONICS CORPORATION          RENEW TECHNOLOGY INC                   [NAME REDACTED]
ATTN: SATOSHI NOGUCHI                    ATTN SALES MGR                         [ADDRESS REDACTED]
FOR 6.000 SENIOR UNSECURED CUSTOMER,     1701 E EDINGER AVE, STE C6
REFUNDABLE DEPOSIT DUE 2033              SANTA ANA, CA 92705
TOYOSU FORESIA, 3-2-24 TOYOSU, KOTO-KU
TOKYO JAPAN


RENGOTS CONSULTING LLC                   RENHE INDUSTRIAL PARTS CO LTD          RENISHAW PLC, SPECTROSCOPY PROD DIV
6925 HODGE ROAD                          ATTN MANAGER ASSISTANT                 OLD TOWN, WOOTON-UNDER EDGE
WENDELL, NC 27591-9123                   707 1 BLDG SHANGDONG BUSINESS CTR      GLOUCESTESHIRE GL12 7DW
                                         1926 CANGHAI RD                        UNITED KINGDOM
                                         JIANGDONG, NINGBO CHINA



RENNASENTIENT INC DBA ALPHAGRAPHIC       [NAME REDACTED]                        RENO SUB SYSTEMS INC
ALPHAGRAPHICS CARY                       [ADDRESS REDACTED]                     ATTN VP
301 ASHVILLE AVENUE                                                             50 E GREG ST, STE 105
CARY, NC 27518-9664                                                             SPARKS, NV 89431




[NAME REDACTED]                          RENOVATE EARTH INC                     [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN PRESIDENT                         [ADDRESS REDACTED]
                                         711 ATLANTIC AVE, LOWER LEVEL
                                         BOSTON, MA 02111




RENSSELAER POLYTECHNIC INSTITUTE         RENSSELAER POLYTECHNIC INSTITUTE       RENT-A-CENTER TEXAS LP
ATTN DIR, CONTRACTS & GRANTS             ATTN DIR, RESEARCH ADMIN & FIN         5501 HEADQUARTERS DR
CENTER FOR INEGRATED ELECTRONICS, CII    110 8TH ST                             PLANO, TX 75024
6015                                     TROY, NY 12180
110 EIGHTH ST
TROY, NY 12180-3590


RENTOKIL NORTH AMERICA INC               [NAME REDACTED]                        [NAME REDACTED]
AMBIUS                                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]
P.O. BOX 14086
READING, PA 19612-4086




REP INC                                  REP ONE ASSOCIATES INC                 REPEAT BUSINESS SYSTEMS INC
ATTN CHIEF EXECUTIVE OFFICER             ATTN CEO                               DBA ED & ED BUSINESS TECH
11535 GILLELAND RD                       5540 CENTERVIEW DR, STE 200            4919 STATE ROUTE 233
HUNTSVILLE, AL 35803                     RALEIGH, NC 27606                      WESTMORELAND, NY 13490-1309




[NAME REDACTED]                          REPLEX MIRROR CO                       [NAME REDACTED]
[ADDRESS REDACTED]                       DBA REPLEX PLASTICS                    [ADDRESS REDACTED]
                                         ATTN PRESIDENT
                                         11 MOUNT VERNON AVE
                                         MOUNT VERNON, OH 43050



REPUBLIC SERVICES INC                    REPUBLIC SERVICES OF NC LLC            REPUBLIC TITLE OF TEXAS INC
ATTN SALES MGR                           5111 CHIN PAGE ROAD                    ATTN ALEXANDRA MIELKE HESTER
18500 N ALLIED WAY                       DURHAM, NC 27703-8405                  2626 HOWELL ST, 10TH FL
PHOENIX, AZ 85054                                                               DALLAS, TX 75204
REPURPOSE-IT.ORG Case 25-90163          Document 87INC Filed in TXSB on 07/03/25 RES
                                           REPWAVE                                 Page  694 of 944COMPANY
                                                                                     MANUFACTORING
                                            ATTN PRESIDENT                         ATTN MARKET DEVELOPMENT MGR
                                            9 SHAUGHNESSY CRESCENT                 7801 N 73RD ST
                                            KANATA, ON K2K 2P1                     MILWAUKEE, WI 53223
                                            CANADA



RESCUE MISSION OF UTICA INC                 RESEARCH AIR FLO INC                   RESEARCH FOUNDATION FOR SUNY, THE
293 GENESEE STREET                          ATTN ESTIMATOR                         O/B/O SUNY POLYTECHNIC INSTITUTE
UTICA, NY 13501-3804                        2000A RAMBLEWOOD DR                    ATTN GENERAL COUNSEL
                                            APEX, NC 27523                         P.O. BOX 9
                                                                                   ALBANY, NY 12201



RESEARCH FOUNDATION FOR SUNY, THE           RESEARCH FOUNDATION FOR SUNY, THE      RESEARCH FOUNDATION OF STATE UNIVER
O/B/O SUNY POLYTECHNIC INSTITUTE            O/B/O THE SUNY POLYTECHNIC INSTITUTE   STATE UNIVERSITY OF NEW Y
ATTN OPS MANAGER                            ATTN RF OPERATIONS MGR                 PROF. DR. MICHAEL DUDLEY
257 FULLER RD                               35 STATE ST                            STONY BROOK, NY 11794-0001
ALBANY, NY 12203                            ALBANY, NY 12207



RESEARCH FOUNDATION OF SUNY, THE            RESEARCH IN MOTION LTD                 RESEARCH INST OF AUTOMATICS &
35 STATE ST                                 ATTN RANDALL MISHLER, SR DIR           ELECTROMECHANICS
ALBANY, NY 12207-2826                       5000 RIVERSIDE, BLDG 6                 ATTN HEAD OF AC DEPT
                                            BRAZOS E, STE 100                      53 BELINSKOGO ST
                                            IRVING, TX 75039                       TOMSK 634034 RUSSIA



RESEARCH TRIANGLE FDN OF NORTH              RESEARCH TRIANGLE FOUNDATION OF NC     RESEARCH TRIANGLE FOUNDATION OF
CAROLINA INC                                OF NEW YORK                            NORTH CAROLINA
ATTN COMMUNITY COORDINATOR                  SUNY ANALYTICAL LAB                    ATTN VP, FIN & ADMIN
P.O. BOX 12255                              ALBANY, NY 12201-0009                  700 PARK OFFICES DR, STE 007
RESEARCH TRIANGLE PK, NC 27709                                                     RESEARCH TRIANGLE PK, NC 27709



RESEARCH TRIANGLE INSTITUTE                 [NAME REDACTED]                        [NAME REDACTED]
RESEARCH TRIANGLE PARK                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]
3040 E CORNWALLIS RD
P.O. BOX 12194
RESEARCH TRIANGLE PARK, NC 27709-2194



RESER EUROPE BV                             RESIN DESIGNS LLC                      RESIN INC
VLIEGENIERSSTRAAT 9                         ATTN GENERAL MGR                       ATTN PRESIDENT
UDEN 5405 BH                                11 STATE ST                            1517 12TH AVE, STE 302
NETHERLANDS                                 WOBURN, MA 01801                       SEATTLE, WA 98122




RESISTACAP INC                              RESODYN ACOUSTIC MIXERS INC            RESOLUTION ANALYTICS INC
ATTN VP OF SALES                            ATTN PRESIDENT                         ATTN PRESIDENT
11547 S MEMORIAL HWY                        130 N MAIN ST, STE 630                 2733 LEE AVE
HUNTSVILLE, AL 35803                        BUTTE, MT 59701                        SANFORD, NC 27332




RESOLUTION TECHNOLOGY INC                   RESONAC CORP                           RESONANCE & ASSOCIATES LTD
ATTN SALES & ENG MGR                        ATTN INTELLECTUAL PROPERTY DEPT        8/FL PING LAM COMMERCIAL BLDG
5990 WILCOX PL, STE B                       TOKYO SHIODOME BLDG 1-9-1              282 LOCKHART RD
DUBLIN, OH 43016-0205                       HIGASHI-SHIMBASHI, MINATO-KU           WANCHAI
                                            TOKYO 105-7325 JAPAN                   HONG KONG



RESOURCE LIGHTING                           RESOURCE LIGHTING                      RESOURCE LIGHTING
ATTN OUTSIDE SALES/ CONTROLS                ATTN PRES                              ATTN SALES
SPECIALIST                                  3950 W 11 MILE RD                      4050 RIO BRAVO ST
5309-A RIO BRAVO DR                         BERKLEY, MI 48072                      EL PASO, TX 79902
SUNLAND PARK, NM 88063
RESOURCE LIGHTINGCase 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                          [NAME REDACTED]                       Page  695 of 944
                                                                                    REDACTED]
ATTN SPEC SALES                            [ADDRESS REDACTED]                     [ADDRESS REDACTED]
510 KINLEY NE
ALBUQUERQUE, NM 87102




RESPONSE SOLUTIONS LLC                     RESTAURANT SERVICES INC                RESTEK CORPORATION
ATTN SR ACCT EXEC                          ATTN VP EQUIPMENT & FACILITIES         110 BENNER CIRCLE
5276 SUMMERLIN COMMONS WAY, 703            2 ALHAMBRA PL, STE 500                 BELLEFONTE, PA 16823-8433
FT MYERS, FL 33907                         CORAL GABLES, FL 33134




RESTORATION AUTHORITY, INC.                RESTORATION EXPERTS, INC.              RESTRONICS MID-ATLANTIC GROUP INC
SERVPRO OF MORGAN HILL/GI                  SERVPRO OF CAMPBELL                    ATTN PRESIDENT
155 MAST STREET                            2230 WILL WOOL DRIVE                   1821 HILLANDALE RD, STE 1B-329
MORGAN HILL, CA 95037-5112                 SAN JOSE, CA 95112-2624                DURHAM, NC 27705




RESURFACING SPECIALIST LLC                 [NAME REDACTED]                        RETC LLC
ATTN OWNER                                 [ADDRESS REDACTED]                     A/K/A RENEWABLE ENERGY TEST CENTER
110 ECHO CT                                                                       ATTN CFO
KING, NC 27021                                                                    46457 LANDING PKWY
                                                                                  FREMONT, CA 94538



RETHINK LIGHITNG INC                       RETINAL DISPLAYS INC                   RETRO-LEDS LLC
ATTN CEO & PRES                            FOOTHILL RESEARCH CENTER               ATTN VP SALES & MKTG
324 S WILMINGTON ST                        4005 MIRANDA AVE, STE 150              12777 CLAUDE CT, BLDG C
RALEIGH, NC 27601                          PALO ALTO, CA 94304                    THORNTON, CO 80241




RETRONIX RF INC                            RETRO-TECH SYSTEMS INC                 RETSCH INC
ATTN OP MGR                                ATTN SALES MANAGER                     ATTN PRESIDENT
254 S MULBERRY, STE 110                    853 EASTPORT CENTRE DR                 74 WALKER LN
MESA, AZ 85202                             VALPARAISO, IN 46383                   NEWTON, PA 18940




[NAME REDACTED]                            REVALIZE INC                           REVASUM, INC
[ADDRESS REDACTED]                         ATTN GEN COUNSEL                       825 BUCKLEY ROAD
                                           50 N LAURA ST, STE 2500                SAN LUIS OBISPO, CA 93401-8192
                                           JACKSONVILLE, FL 32202




[NAME REDACTED]                            REVESOCEAN NETWORK LLC                 REVLITE TECHNOLOGIES INC
[ADDRESS REDACTED]                         DBA ORCA GREEN MACHINE (OGM) LLC       ATTN GENERAL MANAGER
                                           ATTN OWNER                             10 NEWGALE GATE UNIT 5
                                           7040 BEMBE BEACH RD, STE 1             TORONTO, ON M1X 1C5
                                           ANNAPOLIS, MD 21403                    CANADA



REVOLUTION LIGHTING TECHNOLOGIES INC       REVOLUTION LIGHTING TECHNOLOGIES INC   REX GAUGE COMPANY INC
ATTN JAMES A DEPALMA, CFO                  C/O BARLOW JOSEPHS & HOLMES LTD        ATTN OFFICE MGR
177 BROAD ST, 12TH FL                      ATTN STEPHEN HOLMES, ESQ               1250 BUSCH PKWY
STAMFORD, CT 06901                         101 DYER ST, 5TH FL                    BUFFALO GROVE, IL 60089
                                           PROVIDENCE, RI 02903



REX HEALTHCARE                             REX HOSPITAL INC                       REXEL ENERGY SOLUTIONS
ATTN SONYA G PHILLIPS                      DBA REX WELLNESS CENTERS               ATTN: CHICK CHICKANOSKY
SPECIAL CLAIMS DEPT                        4420 LAKE BOONE TRL                    350 MYLES STANDISH BOULEVARD, SUITE
4420 LAKE BOONE TRL                        RALEIGH, NC 27607                      204
RALEIGH, NC 27607                                                                 TAUNTON, MA 02780
REXEL HOLDINGS USACase
                   CORP25-90163      Document   87 Filed in TXSB on 07/03/25 REXEL
                                        REXEL INC                              Page  696
                                                                                   USA, INC.of 944
ATTN JOHN KUDLACEK, VP SALES AND         5429 LYNDON B JOHNSON FWY, STE 600    14951 DALLAS PARKWAY
SUPPLY                                   DALLAS, TX 75240                      DALLAS, TX 73254
14951 DALLAS PKWY
DALLAS, TX 75254



REXGEAR INC                              [NAME REDACTED]                       [NAME REDACTED]
14 HUGHES STE B101                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]
IRVINE, CA 92618-1923




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          RF AMPLIFIER-BG EOOD                  RF AND MICROWAVE POWER TECH LLC
[ADDRESS REDACTED]                       ATTN GEN MNG                          ATTN PRESIDENT
                                         SALVIANSKI 07, GATE 02                2380 SOLITUDE DR
                                         SHUMEN 9700                           RENO, NV 89511
                                         BULGARIA



RF COMMUNICATIONS CONSULTING             RF CONSULTANCY                        RF DYNAMICS LTD
ATTN OWNER                               225, 11TH B CROSS                     ATTN CTO, VP OF R&D
2383 PRUNERIDGE AVE, STE 3               5TH MAIN YELAHANKA NEW TOWN           499 GODMAN COTTAGE RD
SANTA CLARA, CA 95050                    BANGALORE 560064                      HAYWARDS HEATH RH17 6SH
                                         INDIA                                 UNITED KINGDOM



RF EDGE INC                              RF ENGINEERING RESOURCES LLC          RF INDUSTRIES PTY LTD
ATTN PRESIDENT                           ATTN RF CONSULTANT/CO-OWNER           ATTN SR RF ENGINEER
1908 TRESEDER CIR                        1095 N 500 E                          89 GRANGE RD
EL CAJON, CA 92019                       CENTERVILLE, UT 84014                 ALLONBY GARDENS, SA 5009
                                                                               AUSTRALIA



RF LAMBDA USA, LLC                       RF MICRO DEVICES INC                  RF NITRO COMMUNICATIONS INC
4300 MARSH RIDGE RD, STE 110             ATTN PHILIP E SMITH, DIR CONT & AN    10420-F HARRIS OAKS BLVD
CARROLLTON, TX 75010-4450                7628 THORNDIKE RD                     CHARLOTTE, NC 28269
                                         GREENSBORO, NC 27409




RF PARTS AUSTRALIA PTY LTD               RF PECK CO., INC.                     RF VII INC
ATTN JEFF GAYLARD                        22 COMPUTER DRIVE WEST                ATTN VP
277 MIDDLEBOROUGH RD, UNIT 6             ALBANY, NY 12205                      1041 GLASSBORO RD
BOX HILL SOUTH                                                                 WILLIAMSTOWN, NJ 08094
BOX HILL SOUTH, VIC 3128 AUSTRALIA
                 Case
RF WAGNER ELECTRIC INC 25-90163     Document  87 Filed
                                       RF2M MICROWAVE   in TXSB on 07/03/25 RFCORE
                                                      LTD                     PageCO
                                                                                   697
                                                                                     LTDof 944
ATTN PRESIDENT                          ATTN HEAD OF BUS DEV                ATTN CFO
23 E GRAND AVE                          FEATHERSTONE RD                     C708, BUNDANG TECHNO PARK
MONTVALE, NJ 07645                      WOVERTON MILL                       145 YATAP-DONG, BUNDANG-GU
                                        MILTON KEYNES MK12 5EW UNITED       SEONGNAM-SI, GYENGGI-DO SOUTH KOREA
                                        KINGDOM


RFENABLE APS                            RFHIC CORP                          RFHIC CORPORATION
ATTN CHIEF EXECUTIVE OFFICER            ATTN US R&D DIR                     41-14, BURIM-RO 170BEON-GIL
PLANTAGEVEJ 39                          RFHIC BLDG, 37-1, IMOK-DONG         GYEONGGI-DO 14055
BIRKEROED 3460                          JANGAN-GU                           SOUTH KOREA
DENMARK                                 SUWON 440 310 SOUTH KOREA



RFLIGHT COMMUNICATION ELEC CORP         RFMED SOLUTIONS LLC                 RFMW LTD
HUAI ST NO 20, NANJING                  ATTN FOUNDER / CTO                  188 MARTINVALE LANE
JIANGSU                                 5003 RAMBLING RD                    SAN JOSE, CA 95119-1356
CHINA                                   GREENSOBO, NC 27409




RFTRONICS LLC                           RGD PROJECT MANAGEMENT INC          RGI IMAGE INC
ATTN OWNER                              ATTN PRESIDENT                      ATTN PRESIDENT
1131 VISTA LOMAS LN                     1135 KILDAIRE FARM RD, STE 315      742-748 N 109TH COURT
CORONA, CA 92882                        CARY, NC 27511                      OMAHA, NE 68154




RGIS LLC                                RGRAHAM LLC                         RGT INC
ATTN PRESIDENT                          ATTN PRESIDENT                      ATTN VICE PRESIDENT
2000 E TAYLOR RD                        10450 BRACKETS FORD CIR             3870 E COLONIAL DR
AUBURN HILLS, MI 48326                  MANASSAS, VA 20110                  CHANDLER, AZ 85249




RH BARDEN INC                           [NAME REDACTED]                     RHEO ENGINEERING LLC
DBA LODESTONE PACIFIC                   [ADDRESS REDACTED]                  8800 N. ALLEN ROAD
ATTN PRESIDENT                                                              PEORIA, IL 61615-1556
4769 W WESLEY DR
ANAHEIM, CA 92807



RHETECH INC                             [NAME REDACTED]                     [NAME REDACTED]
2881 SCOTT BLVD M/S 2062                [ADDRESS REDACTED]                  [ADDRESS REDACTED]
SANTA CLARA, CA 95050




RHINEHART FAMILY COMPANY INC            [NAME REDACTED]                     RHODE ISLAND DEPARTMENT OF BUSINESS
DBA RHINEHART FIRE SERVIC               [ADDRESS REDACTED]                  REGULATION
22 PINEY PARK ROAD                                                          1511 PONTIAC AVE
ASHEVILLE, NC 28806-1786                                                    CRANSTON, RI 02920




RHODE ISLAND DEPARTMENT OF THE          RHODE ISLAND DEPT OF LABOR AND      RHODE ISLAND DEPT OF
ATTORNEY GENERAL                        TRAINING                            ENVIRONMENTAL MANAGEMENT
CONSUMER PROTECTION UNIT                1511 PONTIAC AVE                    235 PROMENADE ST
150 S MAIN ST                           CRANSTON, RI 02920                  PROVIDENCE, RI 02908-5767
PROVIDENCE, RI 02903



RHODE ISLAND DIVISION OF TAXATION       [NAME REDACTED]                     [NAME REDACTED]
ONE CAPITOL HILL                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
PROVIDENCE, RI 02908-5800
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  698 of 944
                                                                                REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




RHODIA INC                             RHOMBUS ENERGY SOLUTIONS INC       RI DEPARTMENT OF STATE BUSINESS
ATTN VP & GM                           ATTN CFO                           SERVICES DIVISION
8 CEDAR BROOK DR                       12245 WORLD TRADE DR, STE G        148 W RIVER ST
CRANBURY, NJ 08512                     SAN DIEGO, CA 92128                PROVIDENCE, RI 02904




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    RICE, WAYNE
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 5309-A RIO BRAVO DR
                                                                          SUNLAND PARK, NM 88063




RICH BRAND INDUSTRIES LTD              RICHARD E MISTLER INC              [NAME REDACTED]
ATTN ASST MGR                          ATTN PRESIDENT                     [ADDRESS REDACTED]
CHINSHA-TUN INDUS DIST                 P.O. BOX 296
SHUIKOU VILLAGE, TALANG                MORRISVILLE, PA 19067
DONGGUAN, GUANGDONG 523000 CHINA



[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  699 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           RICHARDSON ELECTRONICS LTD         RICHARDSON RFPD GERMANY GMBH
[ADDRESS REDACTED]                        ATTN CHUCK ROMANO                  EISENHEIMERSTR. 1
                                          40W267 KESLINGER RD                MUNICH 80687
                                          P.O. BOX 307                       GERMANY
                                          LAFOX, IL 60147-0307



RICHARDSON RFPD HONG KONG LIMITED         RICHARDSON RFPD INC                RICHARDSON RFPD INC.
UNIT 2004, 20F CA                         ATTN CHUCK ROMANO                  2001 BUTTERFIELD ROAD, SUITE 1800
CABLE TV TOWER                            40W267 KESLINGER RD                DOWNERS GROVE, IL 60515
NO 9 HOI SHING RD.                        P.O. BOX 307
HONG KONG HONG KONG                       LAFOX, IL 60147-0307



RICHARDSON RFPD JAPAN KK                  RICHARDSON RFPD                    RICHARDSON RFPD
35F, ATAGO GREEN HILLS MORI TOWER 2-5-1   40W267 KESLINGLER ROAD             4OW267 KESLINGER RD.
ATAGO, MINATO-KU                          P.O. BOX 393                       P.O. BOX 393
TOKYO 105-6235                            LA FOX, IL 60147                   LA FOX, IL 60147
JAPAN



[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
                                    [NAME REDACTED]                       Page  700 of 944
                                                                              REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




RICHTEK TECHNOLOGY CORPORATION       [NAME REDACTED]                    [NAME REDACTED]
ATTN VP OF TECHNOLOGY                [ADDRESS REDACTED]                 [ADDRESS REDACTED]
5F NO.20 TAI YUEN ST
CHUPEI CITY, HSINCHU
TAIWAN



[NAME REDACTED]                      [NAME REDACTED]                    RICKY YUE COMPANY LTD
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 FLAT B, 12/F, MONTE VERDE
                                                                        41 REPULSE BAY RD
                                                                        HONG KONG
                                                                        HONG KONG



RICOH USA INC                        [NAME REDACTED]                    RIDGETOP GROUP INC
300 EAGLEVIEW BLVD                   [ADDRESS REDACTED]                 ATTN VP OF ADMIN
EXTON, PA 19341-1155                                                    6595 N ORACLE RD
                                                                        TUCSON, AZ 85704




[NAME REDACTED]                      RIFINITI INC                       RIGAKU AMERICAS CORPORATION
[ADDRESS REDACTED]                   ATTN CHIEF EXECUTIVE OFFICER       7A RAYMOND AVENUE
                                     51 MELCHER ST                      SALEM, NH 03079-2949
                                     BOSTON, MA 02210




RIGAKU VACUUM PRODUCTS INC           RIG-ALL, INC                       [NAME REDACTED]
7A RAYMOND AVE                       2322 BROAD STREET                  [ADDRESS REDACTED]
SALEM, NH 03079                      FRANKFORT, NY 13340-5103




RIGGERS INC                          [NAME REDACTED]                    [NAME REDACTED]
ATTN PRESIDENT                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
901 HOLLY SPRINGS AVE
RICHMOND, VA 23224




[NAME REDACTED]                      [NAME REDACTED]                    RIGHT ANGLE MANAGEMENT
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 3130 WILSHIRE BOULEVARD, SUITE 600
                                                                        SANTA MONICA, CA 90403-2349




RIGHT HAND SYNERGY INC               RIGHT MANAGEMENT INC               RIGHT90 INC
ATTN PRESIDENT                       24677 NETWORK PLACE                ATTN VP WORLDWIDE SALES
BLVD INSURGENTES 19802-7             CHICAGO, IL 60673-1246             4100 E 3RD AVE, STE 104
CENTRO IND CERRO COLORADO                                               FOSTER CITY, CA 94404
TIJUANA, BC 22223 MEXICO



RIGHTMYER, SHELLY                    [NAME REDACTED]                    RIKA DENSHI AMERICA INC.
70 LAUREL RD                         [ADDRESS REDACTED]                 112 FRANK MOSSBERG DRIVE
BOYERTOWN, PA 19512                                                     ATTLEBORO, MA 02703-4632
[NAME REDACTED] Case 25-90163         Document   87 Filed
                                         RILEY SURVEYING PA in TXSB on 07/03/25 [NAME
                                                                                  Page  701 of 944
                                                                                      REDACTED]
[ADDRESS REDACTED]                        3326 DURHAM CHAPEL HILL BLVD, B-100   [ADDRESS REDACTED]
                                          DURHAM, NC 27707




RILEY, JAMES J                            [NAME REDACTED]                       [NAME REDACTED]
                                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                           RIMAC AUTOMOBILI DOO                  RIMINI STREET INC
[ADDRESS REDACTED]                        ATTN CHIEF EXECUTIVE OFFICER          3993 HOWARD HUGHES PARKWAY
                                          LJUBLJANSKA 7                         LAS VEGAS, NV 89169-0961
                                          SVETA NEDELJA 10431
                                          CROATIA



RIMMS NATL UNIVERSITY OF SCIENCE          RIMSA SRL                             [NAME REDACTED]
TECHNOLOGY                                ATTN MANAGING DIR                     [ADDRESS REDACTED]
ATTN PRINCIPAL                            VIA MONTEROSA 20
H 12 CAMPUS                               SEREGNO, MILANO 20038
ISLAMBAD                                  ITALY
PAKISTAN


[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                           RINGDALE INC                          RINGO ENGINEERING SERVICES INC
[ADDRESS REDACTED]                        ATTN DESIGN ENGINEER                  ATTN PRESIDENT
                                          101 HALMAR COVE                       809 W MAIN ST
                                          GEORGETOWN, TX 78628                  LEAGUE CITY, TX 77573




RIO INDUSTRIAL LIMITED                    RIO INDUSTRIAL LTD                    [NAME REDACTED]
ATTN MKTNG SUP                            ATTN MKTG MGR                         [ADDRESS REDACTED]
UNIT B, 1/F, 7446 CHEUNG SHA WAN RD       NO 1 MIDDLE RD, SHANNAN DEVELOPING
HUNG CHEONG FTY BLDG                      AREA
KOWLOON HONG KONG                         SONGGAN TOWN, GUANGDONG
                                          NANHAI FOSHAN CHINA


[NAME REDACTED]                           [NAME REDACTED]                       RIPLEY LIGHTING CONTROLS LLC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    ATTN VICE PRESIDENT
                                                                                2023 PLATT SPRINGS RD
                                                                                P.O. BOX 3229
                                                                                WEST COLUMBIA, SC 29171



RIPMAN LIGHTING CONSULTANTS               RIPPLE ASSOCIATES INC                 RIPPLE ASSOCIATES
ATTN PRESIDENT                            ATTN PAULA RIPPLE                     ATTN ASSOCIATE PRINCIPAL
3 LEXINGTON ST                            220 TORCASO CT                        7278 LONDALE BLVD
BELMONT, MA 02478                         WINTER SPRINGS, FL 32708              WINDERMERE, FL 34786




RIPPLE ASSOCIATES                         RIPPLE ASSOCIATES                     RIPPLE, CRAIG
ATTN OWNER                                ATTN PARTNER
1073 WILLA SPRINGS DR, STE 2021           156 TUSKAWILLA RD
WINTER SPRINGS, FL 32708                  WINTER SPRINGS, FL 32708
                   Case 25-90163
RISE LIGHTING CO LTD                 Document   87
                                        RISE-LITE    Filed
                                                  GROUP    in TXSB on 07/03/25 RISENSHINE
                                                        CO LTD                   Page 702   ofLLC
                                                                                          GRP  944
ATTN MGR OF R&D                          1 XINXING RD                             DBA QBPROADVISORDESK.COM
NO. 7 WU CHUAN 1ST RD, HSIN CHUANG       SHUTIANPU COMMUNITY, GONGMING            312 SUMMERFIELD DR
NEW TAIPEI CITY                          SHENZHEN, GUANGDONG 518106               MILPITAS, CA 95035
TAIWAN                                   CHINA



RISK MANAGEMENT ASSOCIATES INC           RISK RELKIABILITY & SAFETY ENGINEERING   RISK STRATEGY ADVISORS LLC
DBA PROTUS3                              LLC                                      964 HIGH HOUSE ROAD 27
ATTN PRESIDENT                           ATTN JOHN CRAMER                         CARY, NC 27513-3574
4000 WESTCHASE BLVD, STE 350             6455 S SHORE BLVD, STE 400
RALEIGH, NC 27607                        LEAGUE CITY, TX 77573



[NAME REDACTED]                          RITE AID HDQTRS CORP                     RITE ENGINEERING CO
[ADDRESS REDACTED]                       ATTN ADMINISTRATION                      ATTN VP
                                         30 HUNTER LN                             8719 INDUSTRIAL DR
                                         CAMP HILL, PA 17011                      FRANKSVILLE, WI 53126




RITE TRACK, INC.                         RITEC ENTERPRISES INC                    RITE-TEMP MANUFACTURING INC
8655 RITE TRACK WAY                      26 SAGINAW DRIVE                         ATTN VP ADMIN
WEST CHESTER, OH 45069-7064              ROCHESTER, NY 14623-3132                 1704 S 1ST ST
                                                                                  ROGERS, AR 72756




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                          RIVERBED TECHNOLOGY INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       ATTN ACG COMM TRANS
                                                                                  199 FREMONT ST
                                                                                  SAN FRANCISCO, CA 94105




RIVERBERI ENETEC SRL                     [NAME REDACTED]                          RIVERS AGENCY LLC
ATTN PRESIDENT                           [ADDRESS REDACTED]                       215 HENDERSON STREET
VIA ARTIGIANALE CROCE 13                                                          CHAPEL HILL, NC 27514-3511
CASTELNOVO NEMONTI, RE 42035
ITALY



[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]
                  Case
RIVERSIDE RESOURCES   LLC 25-90163   Document  87ENGINEERING
                                        RIVERVIEW  Filed in TXSB on 07/03/25 [NAME
                                                                               Page  703 of 944
                                                                                   REDACTED]
600 PARK OFFICES DRIVE SUITE 300         DBA DAVID C. HOFFMAN                 [ADDRESS REDACTED]
DURHAM, NC 27709-1012                    141 HARRIS ROAD
                                         SCHUYLERVILLE, NY 12871-1923




RIZ TRANSMITTERS CO                      [NAME REDACTED]                      [NAME REDACTED]
ATTN MGR                                 [ADDRESS REDACTED]                   [ADDRESS REDACTED]
BOZIDAREVICEVA 13
ZAGREB HR-10000
CROATIA



[NAME REDACTED]                          [NAME REDACTED]                      RJ GROSS & ASSOCIATES INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   ATTN DIR OF FINANCE
                                                                              3680 N 126TH ST
                                                                              BROOKFIELD, WI 53005




RJ SALES & ASSOCIATES INC                RJ STUDIOS INC                       RJR POLYMERS INC
ATTN VICE PRESIDENT                      ATTN PRESIDENT                       ATTN CEO
7535 NEWSTEAD DR                         13 SUMMIT SQ, 257                    7875 EDGEWATER DR
CUMMING, GA 30041                        LANGHORNE, PA 19047                  OAKLAND, CA 94621




RJR TECHNOLOGIES INC                     RK INDUSTRIES LLC                    RKD ENGINEERING CORP
7875 EDGEWATER DRIVE                     DBA RK SERVICE                       316 S NAVARRA DRIVE
OAKLAND, CA 94621-2001                   ATTN VICE PRESIDENT, SERVICE         SCOTTS VALLEY, CA 95066-3622
                                         3800 XANTHIA ST
                                         DENVER, CO 80238



RKS PLASTICS INC                         RL CELLULAR INSTALLATIONS INC        RL MATUS AND ASSOCIATES INC
ATTN PRES                                ATTN PRESIDENT                       2010 CRANE RD
100 JERSEY AVE                           1504 HARVEY JOHNSON RD               WAXHAW, NC 28173
NEW BRUNSWICK, NJ 08901                  RALEIGH, NC 27603




RLA INC                                  RLC ELECTRONICS INC                  RLI INSURANCE COMPANY
5630 BRIDGETOWN RD, STE 2                83 RADIO CIRCLE                      ATTN SR UNDERWRITER
CINCINNATI, OH 45248                     MT KISCO, NY 10549-2611              1165 SANCTUARY PKWY, STE 350
                                                                              ALPHARETTA, GA 30004




RLS COMMERCIAL INTERIORS INC             RM ELECTRONICS SRL                   RM EQUIPMENT SALES LLC
7212 SIEMENS RD                          ATTN ADMIN                           ATTN MANAGER
WENDELL, NC 27591                        VIA ONGAREA, 11                      151 HIGH COUNTRY DR
                                         VINOVO 10048                         CARY, NC 27513
                                         ITALY



RMC INC                                  RMF ENGINEERING, INC                 RMI LASER LLC
DBA ACCUTEMP MECHANICAL                  5520 RESEARCH PARK DRIVE 3RD FLOOR   ATTN VP CORP AFFAIRS
ATTN GENERAL MGR                         BALTIMORE, MD 21228-4842             106 LASER DR, BLDG 2
5732-95TH AVE, STE 700                                                        LAFAYETTE, CO 80026
KENOSHA, WI 53144



RMUTT                                    RNA AUTOMATED SYSTEMS                [NAME REDACTED]
39 M001, RANGSIT NAKHONNAYOK RD          ATTN GM                              [ADDRESS REDACTED]
KLONG6 THANYABURI                        10 KENMORE AVE, UNIT 2
PANTHUM THANI 12110                      STONEY CREEK, ON L8E 5N1
THAILAND                                 CANADA
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  704 of 944
                                                                                REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        ROADRUNNER TRANSPORTATION SERVICES   ROAL ELECTRONICS USA INC
[ADDRESS REDACTED]                     P.O. BOX 8903                        ATTN EXEC VP
                                       CUDAHY, WI 53110-8903                701 MAIN ST, STE 405
                                                                            STROUDSBURG, PA 18360




ROANOKE TRADE SERVICES INC             ROBATEL INC                          [NAME REDACTED]
1475 E WOODFIELD RD, STE 500           ATTN VP                              [ADDRESS REDACTED]
SCHAUMBURG, IL 60173-4903              703 W HOUSATONIC ST
                                       PITTSFIELD, MA 01201




[NAME REDACTED]                        [NAME REDACTED]                      ROBE LIGHTING SRO
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   ATTN PROJECT MGR
                                                                            PALACKEHO 416
                                                                            VALASSKE MEZINCI 75701
                                                                            CZECH REPUBLIC



[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                        ROBERT BOSCH GMBH                    ROBERT BOSCH GMBH
[ADDRESS REDACTED]                     ATTN EXEC VP ENGINEER                ROBERT-BOSCH-PLATZ 1
                                       P.O. BOX 10 60 50                    GERLINGEN-SCHILLERHOHE 70839
                                       STUTTGART 70049                      GERMANY
                                       GERMANY



[NAME REDACTED]                        ROBERT DURLAND PLLC                  ROBERT E MASON & ASSOCIATES INC
[ADDRESS REDACTED]                     ATTN OWNER                           1726 NORTH GRAHAM STREET
                                       4904 SWISSWOOD DR                    CHARLOTTE, NC 28206-3026
                                       RALEIGH, NC 27613




[NAME REDACTED]                        ROBERT HALF INTERNATIONAL INC        ROBERT HALF INTERNATIONAL INC
[ADDRESS REDACTED]                     ATTN GARY PITTMAN                    ATTN REGIONAL, VP
                                       4140 PARKLAKE AVE, STE 500           1525 STATE ST, STE 10
                                       RALEIGH, NC 27612                    SANTA BARBARA, CA 93101




ROBERT HALF INTERNATIONAL INC          [NAME REDACTED]                      [NAME REDACTED]
ROBERT HALF MANAGEMENT RESOURCES       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
10 S RIVERSIDE PLZ STE 2050
CHICAGO, IL 60693-0124
                   Case 25-90163
ROBERT L KISTLER SERVICE CORP      Document
                                      ROBERT 87    FiledSERVICE
                                             L. KISTLER  in TXSB   on 07/03/25 [NAME
                                                                CORP             Page  705 of 944
                                                                                     REDACTED]
ATTN DIR, SERVICE OPS                  2100 WEHRLE DR                         [ADDRESS REDACTED]
95 STARK ST                            BUFFALO, NY 14221
TONAWANDA, NY 14150




[NAME REDACTED]                        ROBERT RECK PHOTOGRAPHY LLC            [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN OWNER                             [ADDRESS REDACTED]
                                       2910 4TH ST NW, STE E
                                       ALBUQUERQUE, NM 87107




ROBERT W BAIRD & CO INC (0547)         [NAME REDACTED]                        ROBERTS & SELLERS INC
ATTN CORPORATE ACTIONS                 [ADDRESS REDACTED]                     ATTN CEO
777 E WISCONSIN AVE - 9TH FL                                                  3730 S SUSAN ST, STE 1620
MILWAUKEE, WI 53202                                                           SANTA ANA, CA 92704




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




ROBERTS, JOHN                          [NAME REDACTED]                        [NAME REDACTED]
401 N QUEEN ST                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]
DURHAM, NC 27701




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 ROBIN
                                   [NAME REDACTED]                      Page   706IMAGING
                                                                             MYERS of 944
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN OWNER
                                                                       3887 YOSEMITE CT N
                                                                       PLEASANTON, CA 94588




ROBINHOOD SECS, LLC (6769)          ROBINSON FIN MACHINES INC          [NAME REDACTED]
ATT MEHDI TAIFI                     ATTN VP SALES                      [ADDRESS REDACTED]
500 COLONIAL CTR PKWY 100           13670 US HWY 68
LAKE MARY, FL 32746                 KENTON, OH 43326




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
ROBSON TECHNOLOGIES Case   25-90163
                         INC.         Document  87 Filed in TXSB on 07/03/25 ROCA
                                         [NAME REDACTED]                      Page   707 ofMANUFACTURING
                                                                                  PRECISION 944          INC
SUITE 130 135 E. MAIN AVE                 [ADDRESS REDACTED]                   DBA ROCA PRINTED CIRCUITS
MORGAN HILL, CA 95037-7522                                                     ATTN VP
                                                                               12830 CENTURY DR
                                                                               STAFFORD, TX 77477



[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                      ROCHESTER INDUSTRIAL SERVICES INC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   ATTN OPS MGR
                                                                               291 MILLSTEAD WAY
                                                                               ROCHESTER, NY 14624




ROCHESTER INSTITUTE OF TECHNOLOGY         ROCHESTER PRECISION OPTICS LLC       ROCHESTER STAMPINGS INC
7 LOMB MEMORIAL DRIVE                     ATTN GM COMMERCIAL                   400 TRADE COURT
ROCHESTER, NY 14623-5608                  850 JOHN ST W                        ROCHESTER, NY 14624-4773
                                          HENRIETTA, NY 14586




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




ROCKBRIDGE INVESTMENTS LP                 ROCKET FUEL INC                      ROCKETT BURKHEAD & WINSLOW INC
220 S WARREN ST, 9TH FL                   ATTN GEN COUNSEL                     8601 SIX FORKS RD
SYRACUSE, NY 13202                        1900 SEAPORT BLVD                    RALEIGH, NC 27615
                                          REDWOOD CITY, CA 94063




ROCKETT, BURKHEAD & WINSLOW INC           ROCKWELL AUTOMATION INC              ROCKWELL COLLINS INC
ATTN PRESIDENT & COO                      ATTN CONTRACTS                       ATTN ROBERT STERNOWSKI
P.O. BOX 18189                            1201 S SECOND ST                     M/S 137-117
RALEIGH, NC 27619                         MILWAUKEE, WI 53204                  400 COLLINS RD NE
                                                                               CEDAR RAPIDS, IA 52498



ROCKWELL SCIENTIFIC COMPANY LLC           ROCKY RESEARCH CORP                  ROCKY TOP CATERING
ATTN EXED DIR OF MATERIALS                ATTN DIRECTOR                        ATTN CATERING SALES MGR
1049 CAMINO DOS RIOS                      2995 WALL TRIANA HWY, STE B3         5000 DEPARTURE DR
THOUSAND OAKS, CA 91360                   HUNTSVILLE, AL 35824                 RALEIGH, NC 27616




[NAME REDACTED]                           RODDA ELECTRIC INC                   [NAME REDACTED]
[ADDRESS REDACTED]                        ATTN PRESIDENT                       [ADDRESS REDACTED]
                                          380 CAROL CT, STE L
                                          BRENTWOOD, CA 94513




RODECO CO INC                             RODELCO ELECTRONICS CORP             [NAME REDACTED]
5811 ELWIN BUCHANAN DRIVE                 ATTN CONTRACT ADMIN                  [ADDRESS REDACTED]
SANFORD, NC 27330-9541                    111 HAYNES CT
                                          RONKONKOMA, NY 11779
                 Case 25-90163
RODGERS TAPPING SERVICE  INC     Document  87 Filed in TXSB on 07/03/25 [NAME
                                    [NAME REDACTED]                       Page  708 of 944
                                                                              REDACTED]
2808 CONNECTOR DR                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]
WAKE FOREST, NC 27587-5327




[NAME REDACTED]                      [NAME REDACTED]                        RODNEY CUSTOM CUT SIGN CO INC
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                     ATTN BILING MGR
                                                                            600 IRVING PKWY
                                                                            HOLLY SPRINGS, NC 27540




[NAME REDACTED]                      [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                        RODRIGUEZ, THEODORE
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                     2 PENNSYLVANIA PLZ
                                                                            NEW YORK, NY 10121




[NAME REDACTED]                      [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                        ROFIN-SINAR INC
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                     ATTN CONTROLLER
                                                                            40984 CONCEPT DR
                                                                            PLYMOUTH, MI 48170




[NAME REDACTED]                      ROGERS COMMUNICATIONS CANADA INC       ROGERS CORP
[ADDRESS REDACTED]                   ATTN DIR, DEAL & CONTRACT MANAGEMENT   ATTN ASSOCIATE GEN COUNSEL
                                     ONE MOUNT PLEASANT RD                  1 TECHNOLOGY DR
                                     TORONTO, ON M4Y 2Y5                    ROGERS, CT 06263
                                     CANADA



ROGERS ELECTRIC LIGHTING CORP        ROGERS GERMANY GMBH                    [NAME REDACTED]
ATTN PRESIDENT                       AM STADWALD 2                          [ADDRESS REDACTED]
2050 MARCONI DR, STE 200             ECHENBACH 92676
ALPHARETTA, GA 30005                 GERMANY
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  709 of 944
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[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       ROHDE & SCHWARZ , INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    6821 BENJAMIN FRANKLIN DR.
                                                                              COLUMBIA, MD 21046-2633




ROHDE & SCHWARZ GMBH & CO. KG           ROHDE & SCHWARZ SVERIGE AB            ROHINNI LLC
MUEHLDORFSTRASSE 15                     BOX 2006                              ATTN COO
MUNICH 81671                            SKARPNACK 128 21                      601 E FRONT AVE, STE 304
GERMANY                                 SWEDEN                                COEUR DALENE, ID 83814




ROHLIG USA LLC                          ROHM & HAAS ELECTRONIC MATERIALS CM   ROHM AND HAAS ELECTRONIC MATERIALS
ATTN COO                                LLC                                   CMP INC
1743 S LINNEMAN RD                      451 BELLEVUE ROAD                     111 WALL STREET
MOUNT PROSPECT, IL 60056                NEWARK, DE 19713-3431                 NEW YORK, NY 10043-1000




ROHM CO LTD                             ROHM PRODUCT OF AMERICA INC           ROHM, LTD
ATTN M FUKUSHIMA, PROCUREMENT DIV       ATTN GEN MGR                          21, SAIIN MIZOSAKI-CHO,
MGR                                     5155 SUGARLOAF PKWY, STE K            UKYO-KU, KYOTO-SHI,
21 SAIIN MIZOSAKI-CHO, UKYO-KU          LAWRENCEVILLE, GA 30043-5704          KYOTO, 615-8585
KYOTO 615-8585                                                                JAPAN
JAPAN
ROHS              Case 25-90163 Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  710 of 944
                                                                             REDACTED]
                                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




ROKE MANOR RESEARCH LTD               ROLED OPTO ELECTRONICS (SHANGHAI) CO   ROLEMODEL SOFTWARE INC
ATTN C EDWARDS, K COBLEY              LTD                                    ATTN PRESIDENT
ROKE MANOR                            ATTN VP                                6720 ROLEMODEL WAY
ROMSEY, HANTS SO51 0ZN                NO. 7 YEDA RD                          HOLLYSPRINGS, NC 27540
UNITED KINGDOM                        YEXIE, SONGJIANG DISTRICT
                                      SHANGHAI CHINA


ROLFE INDUSTRIES INC.                 ROLITH INC                             ROLLINS, INC.
2 PARKFORD DRIVE                      ATTN CHIEF EXECUTIVE OFFICER           ORKIN, LLC
CLIFTON PARK, NY 12065-3103           5880 W LAS POSITAS BLVD, STE 51        1001 NOYES STREET
                                      PLEASANTON, CA 94588                   UTICA, NY 13502-4400




ROLLS-ROYCE CORP                      ROLLS-ROYCE DEUTSCHLAND L              ROLLS-ROYCE NORTH AMERICAN TECH INC
450 S MERIDIAN ST                     EUROPEAN FINANCE SERVICE CENTRE        ATTN STANFORD CLEMENS
INDIANAPOLIS, IN 46225                BLANKENFELDE-MAHLOW 15827              2059 S TIBBS AVE
                                      GERMANY                                INDIANAPOLIS, IN 46241




ROLLS-ROYCE PLC                       ROLLS-ROYCE PLC                        ROLLS-ROYCE PLC
ATTN COMMERCIAL MGR, FUTURE PROGM     ATTN DIR OF R&T                        KINGS PLACE, 90 YORK WAY
P.O. BOX 3                            65 BUCKINGHAM GATE                     LONDON N1 9FX
FILTON, BRISTOL BS34 7QE              LONDON SW1E 6AT                        UNITED KINGDOM
UNITED KINGDOM                        UNITED KINGDOM



ROLLS-ROYCE PLC                       [NAME REDACTED]                        ROMAN CATHOLIC DIOCESE OF RALEIGH
P.O. BOX 31                           [ADDRESS REDACTED]                     ATTN FACILITY MANAGER
DERBY DE24 8BJ                                                               804 HIGH HOUSE RD
UNITED KINGDOM                                                               CARY, NC 27513




ROMAN ELECTRIC CO INC                 ROMAN MANUFACTURING INC                [NAME REDACTED]
ATTN VP                               861 47TH STREET                        [ADDRESS REDACTED]
640 S 70TH ST                         WYOMING, MI 49509-5103
MILWAUKEE, WI 53214




[NAME REDACTED]                       ROMANOBERGER LLC                       [NAME REDACTED]
[ADDRESS REDACTED]                    ATTN PARTNER                           [ADDRESS REDACTED]
                                      744 KINDS HWY W
                                      SOUTHPORT, CT 06890




ROMARIC CORPORATION                   ROMAX TECHNOLOGY                       ROME AREA CHAMBER OF COMMERCE
8410 SOUTH 700 EAST SUITE 201         ATTN ASHLEY CROWTHER                   139 WEST DOMINICK STREET
SANDY, UT 84070-0563                  THE RINCON BLDG                        ROME, NY 13440-5809
                                      2760 29TH ST, STE 2E
                                      BOULDER, CO 80301



ROMEO WIGGINS & COMPANY LLP           [NAME REDACTED]                        [NAME REDACTED]
8210 CREEDMOOR ROAD                   [ADDRESS REDACTED]                     [ADDRESS REDACTED]
RALEIGH, NC 27613
[NAME REDACTED] Case 25-90163           Document  87 Filed in TXSB on 07/03/25 [NAME
                                           [NAME REDACTED]                       Page  711 of 944
                                                                                     REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                             RONCO COMMUNICATIONS INC              [NAME REDACTED]
[ADDRESS REDACTED]                          ATTN REGIONAL VP OF SALES             [ADDRESS REDACTED]
                                            7903 THORNDIKE RD
                                            GREENSBORO, NC 27409




RONEX MANAGEMENT CONSULTING CO LTD          RONI INC                              RONS CABINETS INC
1109, SHING YIP STREET                      ATTN VP ENGINEERING                   ATTN SECRETARY
SHING YIP BUILDING                          9319 FORSYTH PARK DR                  P.O. BOX 265
KWUN TONG                                   CHARLOTTE, NC 28273                   FRANKSVILLE, WI 53126
HONG KONG



RONTEC GMBH                                 ROOK METERING EQUIPMENT INC           [NAME REDACTED]
ATTN SALES MNGR XRF/XRD                     ATTN PRESIDENT                        [ADDRESS REDACTED]
SCHWARZSCHILDSTR.12                         5625 VENTURE WAY
BERLIN 12489                                MT PLEASANT, MI 48858
GERMANY



[NAME REDACTED]                             ROPER SCIENTIFIC                      ROPER, GREG
[ADDRESS REDACTED]                          3660 QUAKERBRIDGE RD                  744 COVERED BRIDGE TRL
                                            TRENTON, NJ 08619                     CHAPEL HILL, NC 27517




ROPES & GRAY LLP                            R-OPTIONS INC                         [NAME REDACTED]
COUNSEL TO AD HOC 26S, 28S, 29S             50 INDUSTRIAL PARK CIRCLE             [ADDRESS REDACTED]
NOTEHOLDER GROUP                            ROCHESTER, NY 14624-2404
ATTN: RYAN P. DAHL, MATTHEW M. ROOSE,
SAM BADAWI
1211 AVENUE OF THE AMERICAS
NEW YORK, NY 10036

RORZE AUTOMATION INC                        [NAME REDACTED]                       [NAME REDACTED]
ATTN PRESIDENT                              [ADDRESS REDACTED]                    [ADDRESS REDACTED]
48625 WARM SPRINGS BLVD
FREMONT, CA 94539




[NAME REDACTED]                             [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                             ROSE HULMAN INSTITUTE OF TECHNOLOGY   ROSE PEST SOLUTIONS LLC
[ADDRESS REDACTED]                          5500 WABASH AVENUE                    ATTN BRANCH MGR
                                            TERRE HAUTE, IN 47803-3999            2711 DOUGLAS AVE
                                                                                  RACINE, WI 53404




ROSE POLYMER COMPOSITES LLC                 [NAME REDACTED]                       [NAME REDACTED]
ATTN MANAGING MEMBER                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]
5915 N 55TH ST
MILWAUKEE, WI 53218
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  712 of 944
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[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        ROSEMOUNT AEROSPACE INC            ROSEN LITE INC
[ADDRESS REDACTED]                     ATTN CONTROLLER                    6F NO, 649-9 CHUNG CHENG RD
                                       14300 JUDICIAL RD                  HSIN CHUANG
                                       BURNSVILLE, MN 55306-4894          TAIPEI 242
                                                                          TAIWAN



ROSENBERGER OF NORTH AMERICA LLC       [NAME REDACTED]                    [NAME REDACTED]
DBA ROSENBERGER TECHNOLOGY             [ADDRESS REDACTED]                 [ADDRESS REDACTED]
ATTN GENERAL MGR
309 COLONIAL DR
AKRON, PA 17501



[NAME REDACTED]                        ROSS ENGINEERING CORP              ROSS ENVIROMENTAL SERVICES INC
[ADDRESS REDACTED]                     540 WESTCHESTER DRIVE              ATTN PRESIDENT
                                       CAMPBELL, CA 95008-5012            150 INNOVATION DR
                                                                          ELYRIA, OH 44035




[NAME REDACTED]                        [NAME REDACTED]                    ROSS, CHERYL
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 130 COUNTESS CT
                                                                          WHISPERING PINES, NC 28327




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




ROSWIN INC                             ROTALIANA SRL                      ROTH STAFFING COMPANIES, INC.
ATTN CHIEF EXECUTIVE OFFICER           ATTN CEO                           P.O. BOX 60003
280, MOSI-RI, JIKSAN-EUP               VIA DELLA RUPE 35, MEZZOLOMBARDO   ANAHEIM, CA 92812-6003
SEOBUK-GU                              TRENTO 38017
CHOENAN, CHUNGNAM 331-814 SOUTH        ITALY
KOREA


[NAME REDACTED]                        ROTHMAN, IRA                       [NAME REDACTED]
[ADDRESS REDACTED]                     263 WINN ST                        [ADDRESS REDACTED]
                                       CAMBRIDGE, WA 02138
[NAME REDACTED] Case 25-90163        Document
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                                               EXTRUDERS    TXSB
                                                         INC, THE on 07/03/25 [NAME
                                                                                Page  713 of 944
                                                                                    REDACTED]
[ADDRESS REDACTED]                       ATTN NATL SALES MGR                  [ADDRESS REDACTED]
                                         1401 PARK AVE S
                                         LINDEN, NJ 07036




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      ROVAW TECH CO LTD
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   ATTN PRODUCT MANAGER
                                                                              RM 1046, BLDG 2, NO 25
                                                                              WEST NORTH 3RD RING RD, HAIDIAN DIST
                                                                              BEIJING CHINA



ROVEC ACQUISITIONS LTD LCC               ROVEC ACQUISITIONS LTD LCC           ROVISYS BUILDING TECHNOLOGIES LLC
ATTN MANAGING DIR                        C/O LION TECH LAW LLP                ATTN: JOSE PROANO
1209 ORANGE ST                           ATTN EMILY GAVIN                     480 GREEN OAKS PKWY
WILMINGTON, DE 19801                     15 BUENA VISTA TERRACE               HOLLY SPRINGS, NC 27540-7975
                                         SAN FRANCISCO, CA 94117



ROVISYS BUILDING TECHNOLOGIES, LLC       ROVISYS BUILDING TECHNOLOGIES, LLC   ROWAN WILLIAMS DAVIES & IRWIN INC
260 CAMPUS DR                            ATTN: JOSE PROANO                    ATTN SR PROJECT MGR
AURORA, OH 44202                         480 GREEN OAKS PKWY                  650 WOODLAWN RD W
                                         HOLLY SPRINGS, NC 27540-7975         GUELPH, ON N1K 1B8
                                                                              CANADA



[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




ROXIM TECHNOLOGIES INC                   ROXTEC INC                           ROY ELECTRIC CO INC
ATTN MR JERRY LIU                        ATTN TREASURER                       1249 KILDAIRE FARM RD, 106
NO 5, LANE 388, SEC 1, JIESHOU RD        10127 E. ADMIRAL PL                  CARY, NC 27511
SANXIA DIST                              TULSA, OK 74116
NEW TAIPEI CITY 237 TAIWAN
ROY LEE DESIGN    Case 25-90163        Document  87 Filed in TXSB on 07/03/25 ROYAL
                                          [NAME REDACTED]                      Page    714 of
                                                                                    CIRCUIT   944 INC
                                                                                            SOLUTIONS
ATTN OWNER                                 [ADDRESS REDACTED]                  ATTN CHIEF EXECUTIVE OFFICER
812 RAILROAD AVE                                                               21 HAMILTON CT
SANTA PAULA, CA 93060                                                          HOLLISTER, CA 95023




ROYAL DIE & STAMPING CO INC                ROYAL INSTITUTE OF TECHNOLOGY       ROYAL PARK HOTEL
ATTN PRESIDENT                             ATTN SR RESEARCHER                  ATTN EXEC ASST MANAGER
125 MERCEDES DR                            ISAFJORDSGATAN 39                   8 PAK HOK TING STREET
CAROL STREAM, IL 60188                     KISTA SE-16440                      SHATIN
                                           SWEDEN                              HONG KONG



[NAME REDACTED]                            [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                            ROYALE INTERNATIONAL COURIERS LTD   [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN EASTERN US ACCT MGR            [ADDRESS REDACTED]
                                           UNIT 2602, 26/F, OCTA TOWER
                                           8 LAM CHAK ST
                                           KOWLOON BAY HONG KONG



[NAME REDACTED]                            ROYCE INSTRUMENTS INC               [NAME REDACTED]
[ADDRESS REDACTED]                         P.O. BOX 3104                       [ADDRESS REDACTED]
                                           MANKATO, MN 56002-3104




[NAME REDACTED]                            [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]




ROZELL PROCESS SOLUTIONS LLC               [NAME REDACTED]                     RPA ASSOCIATES INC.
109 4TH ST                                 [ADDRESS REDACTED]                  RPA ENGINEERING
SARATOGA SPRINGS, NY 12866-7245                                                400 SPRING RIDGE DR
                                                                               WYOMISSING, PA 19610-3324




RPC PHOTONICS INC                          RPF TECHNICAL SERVICES LTD          RPM SYSTEMS CORPORATION
ATTN CEO                                   ATTN MANAGING DIRECTOR              ATTN PRESIDENT
330 CLAY RD                                143 SWAN LN, WICKFORD               17371 NE 67TH CT, STE A-5
ROCHESTER, NY 14623                        ESSEX SS11 7DG                      REDMOND, WA 98052
                                           UNITED KINGDOM



RPX CORPORATION                            RR DONNELLEY & SON COMPANY          RR DONNELLEY
ATTN SR VP                                 ATTN VP, VENUE SALES & OPS          ATTN ERROL BUXTON
1 MARKET PLZ, STEUART TOWER, STE 800       111 S WACKER DR                     1341 G ST NW, 3RD FL
SAN FRANCISCO, CA 94105                    CHICAGO, IL 60606-4301              WASHINGTON, DC 20005
RRR EXPRESS       Case 25-90163     Document  87 FiledLLCin TXSB on 07/03/25 RSPage
                                       RRS ENGINEERING                               715INC
                                                                                AMERICAS  ofFKA
                                                                                             944ALLIED
6432 CENTRE PK DR                                                               ELECTRONICS, INC.
WEST CHESTER, OH 45069-4800                                                     300 N EXECUTIVE DR 102
                                                                                BROOKFIELD, WI 53005-6016




RS COMPONENTS LTD                       RS COMPONENTS LTD                       RS INTERNATIONAL LLC
ATTN LANCE HEMMINGS                     C/O ELECTROCOMPONENTS PLC               DBA RS SOLUTIONS
P.O. BOX 99, BIRCHINGTON RD             ATTN HEAD OF GLOBAL LEGAL               2103 W PARKSIDE LN, 107
CORBY                                   8050 OXFORD BUSINESS PARK N             PHOENIX, AZ 85027
NORTHANTS NN17 9RS UNITED KINGDOM       OXFORD OX4 2HW UNITED KINGDOM



RS SALES & MARKETING INC                RSA SECURITY LLC                        RSIP VISION LTD
ATTN PRESIDENT                          F/K/A RSA SECURITY INC                  ATTN CHIEF EXECUTIVE OFFICER
3527 TIMBER CREEK LN                    ATTN DIRECTOR OF SALES OPS              2 BEN YEHUDA
NAPERVILLE, IL 60565                    174 MIDDLESEX TURNPIKE                  JERUSALEM 9462201
                                        BEDFORD, MA 01730                       ISRAEL



RSL MICROELECTRONICS CO LTD             RSM CORPORATE CONSULTING SDN BHD        RSM ELECTRON POWER INC
ATTN SC LOCK, MANAGING DIR              WISMA RKT 2, JALAN RAJA ABDULLAH        ATTN PURCHASING MGR
RM 601-604, 6/F, TOWER B                CHOW KIT, KUALA LUMPUR                  221 W INDUSTRY CT
HUNGHOM COMMERCIAL CTR, 37 MA TAU       WILAYAH PERSEKUTUAN                     DEER PARK, NY 11729
WAI RD                                  KUALA, LUMPUR 50300 MALAYSIA
HUNGHOM, KOWLOON HONG KONG


RSM INTERFIDUCIAIRE BV-SRL              RSM KWANG-I EARNEST & CO                RSM MCGLADREY INC
ATTN PARTNER                            5 FL, NO 179 FUSHING N RD               ATTN DIRECTOR
LOZENBERG 22 B 2 B                      TAIPEI CITY 105                         1201 EDWARDS MILL RD, STE 300
ZAVENTEM 1932                           TAIWAN                                  RALEIGH, NC 27605
BELGIUM



RSM MCGRLADREY INC                      RSM ROBERT TERO KUAN & CO               RSM US LLP
ATTN DIRECTOR                           ATTN DIR                                1201 EDWARD MILLS ROAD SUITE 300
1201 EDWARDS MILL RD, STE 300           PENTHOUSE, WISMA RKT, BLOCK A, NO 2     RALEIGH, NC 27607-3625
RALEIGH, NC 27607                       JALAN RAJA ABDULLAH, OFF JALAN SULTAN
                                        ISMAIL
                                        KUALA LUMPUR 50300 MALAYSIA


RSOFT DESIGN GROUP                      RSR PARTNERS INC                        RSVP EVENTS INC
ATTN PRESIDENT                          ATTN MANAGING DIR                       ATTN GENERAL MANAGER
200 EXECUTIVE BLVD                      600 STEAMBOAT RD                        2211 LEAH DR, STE 3
OSSINING, NY 10562                      GREENWICH, CT 06830                     HILLSBOROUGH, NC 27278




RSVP EVENTS INC                         RSVP EVENTS INC                         RSVP PARTY SERVICE INC
ATTN PRESIDENT                          C/O COLEMAN GLEDHILL HARGRAVE ET AL     ATTN PRESIDENT
9116 ORANGE GROVE RD                    ATTN JAMES RAINSFORD                    9116 ORANGE GROVE RD
CHAPEL HILL, NC 27516                   129 E TRYON ST                          CHAPEL HILL, NC 27516
                                        HILLSBOROUGH, NC 27278



R-TECH S.A                              RTI INTERNATIONAL                       RTP
ATTN GENERAL DIR                        ATTN KRISTIN WIGGINS, CONTRACTS         3028 CORNWALLIS RD.
3 RUE DE MONS                           SPECAILISTS                             RESEARCH TRIANGLE PARK, NC 27709
LIEGE 4000                              3040 CORNWALLIS RD
BELGIUM                                 RESEARCH TRIANGLE PARK, NC 27709



RTS WRIGHT INDUESTRIES                  RUBADUE WIRE CO INC                     [NAME REDACTED]
1520ELM HILL PIKE                       ATTN VP & GEN MGR                       [ADDRESS REDACTED]
NASHVILLE, TN 37210                     1301 N 17TH AVE
                                        GREELEY, CO 80631
RUBICON TECHNOLOGY Case
                      INC 25-90163     Document  87 Filed in TXSB on 07/03/25 RUBY
                                          [NAME REDACTED]                       Page  716 of
                                                                                   CLUSTER   944
                                                                                           TECHNOLOGY-
ATTN CFO                                   [ADDRESS REDACTED]                  SERIES 46 OF THE ALLIED SECURITY TRUST I
9931 FRANKLIN AVE                                                              ATTN CEO
FRANKLIN PARK, IL 60131                                                        555 CALIFORNIA ST, 12TH FL
                                                                               SAN FRANCISCO, CA 94104



RUBY CLUSTER TECHNOLOGY-                   [NAME REDACTED]                     RUD LIGHTING INC
SERIES 46 OF THE ALLIED SECURITY TRUST I   [ADDRESS REDACTED]                  9201 WASHINGTON AVE
ATTN CEO                                                                       RACINE, WI 53406
80 LAMBERT LN, STE 115
LAMBERTVILLE, NJ 08530



RUDD LIGHTNING INC                         [NAME REDACTED]                     [NAME REDACTED]
ATTN ENGINEERING MNG                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]
9201 WASHINGTON AVE
RACINE, WI 53406




[NAME REDACTED]                            [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]




RUDOLPH TECHNOLOGIES DBA ONTO INNOV        RUDOLPH TECHNOLOGIES INC            RUDRA LLC DBA RAVI GOSWAMI
INC.                                       ATTN VP AND GENERAL COUNSEL         142 LEMON LEAF PLACE
16 JONSPIN RD                              ONE RUDOLH RD                       HOLLY SPRINGS, NC 27540
WILMINGTON, MA 01887                       P.O. BOX 1000
                                           FLANDERS, NJ 07836



[NAME REDACTED]                            [NAME REDACTED]                     RUFFALO, TROY A
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  801 W LAWN AVE
                                                                               RACINE, WI 53405




[NAME REDACTED]                            [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                            RUFUS R BROWN II DBA DRIVEN         [NAME REDACTED]
[ADDRESS REDACTED]                         AUTOMATION                          [ADDRESS REDACTED]
                                           9716-B REA ROAD 57
                                           CHARLOTTE, NC 28277




RUGGEDCOM                                  [NAME REDACTED]                     [NAME REDACTED]
ATTN RADIO & HW TEAM LEAD                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]
MASKIT 32
HERZELIA
ISRAEL



RUI YIN PRECISION TECHNOLOGY CO LTD,       [NAME REDACTED]                     [NAME REDACTED]
THE                                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  717 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




RUNCOM                              [NAME REDACTED]                       [NAME REDACTED]
11 MOSHE LEVI ST                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]
RISHON LEZION 75658
ISRAEL




[NAME REDACTED]                     RUNTIME TECH LLC                      RUNZHEIMER INTERNATIONAL LTD
[ADDRESS REDACTED]                  DBA ISOS TECH                         ATTN VP OF FINANCE
                                    ATTN SVP, SALES                       1 RUNZHEIMER PKWY
                                    60 E RIO SALADO PKWY, STE 900         WATERFORD, WI 53185-3599
                                    TEMPE, AZ 85281



[NAME REDACTED]                     [NAME REDACTED]                       RUPPERT COMPANIES LLC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    ATTN BUSINESS DEV MGR
                                                                          7950 HAWKINS CREAMERY RD
                                                                          LAYTONSVILLE, MD 20882




RUPPERT LANDSCAPE, INC.             RURAL ENGINEERING COLLEGE BHALKI      RUSALOX LLC
23601 LAYTONSVILLE ROAD             C/O BHEEMANNA KHANDRE INS OF TECH     ATTN MICHAEL NAISH, CEO
GAITHERSBURG, MD 20882-2525         BHALKI                                5/7 ROZHDESTVENKA ST, BLDG 2
                                    HUMNABAD ROAD, BIDAR BHALKI           FLAT V, RM 18
                                    KARNATAKA 585328                      MOSCOW 107031 RUSSIA
                                    INDIA


RUSH PCB INC                        RUSH TRUCK CENTERS OF NORTH CAROLIN   [NAME REDACTED]
2149-20 OTOOLE AVE                  RUSH TRUCK CENTER, CHARLO             [ADDRESS REDACTED]
SAN JOSE, CA 95131-1341             3510 JEFF ADAMS DR
                                    CHARLOTTE, NC 28206




RUSSEL ELECTRONICS SALES INC        [NAME REDACTED]                       RUSSELL CONSULTING
ATTN PRESIDENT                      [ADDRESS REDACTED]                    ATTN PRINICPAL, GEOLOGIST
26 W 155 TOMAHAWK DR                                                      138 MOHAWK RD
WHEATON, IL 60189                                                         SANTA BARBARA, CA 93109




RUSSELL ELECTRONIC SALES INC        RUSSELL SIGLER INC                    RUSSELL, BRADFORD DAVID
ATTN PRESIDENT                      ATTN SR SALES ENGINEER                239 ROCKY RIDGE RD
26W 155 TOMAHAWK DR                 3451 N 34TH AVE                       LEASBURG, NC 27291
WHEATON, IL 60189                   PHOENIX, AZ 85017




RUSSELL, COLIN                      [NAME REDACTED]                       [NAME REDACTED]
101 SOLITUDE WAY                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]
CARY, NC 27518




[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163             Document  87 Filed in TXSB on 07/03/25 [NAME
                                             [NAME REDACTED]                       Page  718 of 944
                                                                                       REDACTED]
[ADDRESS REDACTED]                            [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                               [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                            [ADDRESS REDACTED]                       [ADDRESS REDACTED]




RUSSO & GOULD LLP                             [NAME REDACTED]                          [NAME REDACTED]
TRISHE L. A. HYNES                            [ADDRESS REDACTED]                       [ADDRESS REDACTED]
484 DELAWARE AVENUE, 3RD FL, BUFFALO
NY
14202 thynesrussogould.com 716-381-8155



[NAME REDACTED]                               [NAME REDACTED]                          RUSTON PAVING CO INC
[ADDRESS REDACTED]                            [ADDRESS REDACTED]                       ATTN PROJECT MGR
                                                                                       3874 S ALSTON AVE
                                                                                       DURHAM, NC 27713




[NAME REDACTED]                               RUTHERFORD A MARSH & MCLENNAN            [NAME REDACTED]
[ADDRESS REDACTED]                            C/O AGENCY LLC CO                        [ADDRESS REDACTED]
                                              6230 FAIRVIEW RD
                                              CHARLOTTE, NC 28210




[NAME REDACTED]                               RUTLEDGE COMMERCIAL LLC                  RUTLEN ASSOCIATES LLC
[ADDRESS REDACTED]                            ATTN PRESIDENT                           351 STANFORD AVE
                                              6105 WAKE FOREST HWY                     PALO ALTO, CA 94306
                                              DURHAM, NC 27703




[NAME REDACTED]                               RUUD LIGHTING ARABIA LLC                 RUUD LIGHTING ARABIA LLC
[ADDRESS REDACTED]                            ATTN COUNTRY MANAGER                     ATTN COUNTRY MANAGER
                                              OFC 305, 3RD FL, JUMEIRAH TERRACE BLDG   P.O. BOX 74616
                                              2ND DECEMBER ST, JUMEIRAH 1              DUBAI
                                              DUBAI UNITED ARAB EMIRATES               UNITED ARAB EMIRATES



RUUD LIGHTING ARABIA LLC                      RUUD LIGHTING EUROPE SRL                 RUUD LIGHTING INC
ATTN MANAGING DIR                             ATTN PRESIDENT                           ATTN CHAIRMAN & CEO
108, AL HANA CENTRE                           VIA DEI GIUNCHI 52-54                    9201 WASHINGTON AVE
SATWA, DUBAI                                  FIRENZE 50145                            RACINE, WI 53406
UNITED ARAB EMIRATES                          ITALY



RVEEL TECHNOLOGIES BV                         RVET OPERATING LLC DBA RECRUIT           RVS ACUITY, INC
ATTN MANAGING DIR                             MILITARY                                 921 WILD CHERRY CT
BURGEMEESTER VAN STAMPLEIN 300                1545 CROSSWAYS BLVD, SUITE 200           LAKE MARY, FL 32746-1909
HOOFDDORP BH 2132                             CHESAPEAKE, VA 23320-0205
NETHERLANDS



[NAME REDACTED]                               RWS RIEDEL APPEL HORNIG GMBH             RYAN HERCO PRODUCTS CORP
[ADDRESS REDACTED]                            ATTN JANINE BRAUS                        10401 JOHN PRICE ROAD
                                              IM BREITSPIEL 11                         CHARLOTTE, NC 28273-4526
                                              HEIDELBERG 69126
                                              GERMANY
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 [NAME
                                          [NAME REDACTED]                       Page  719 of 944
                                                                                    REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                        [ADDRESS REDACTED]




[NAME REDACTED]                            RYDER INTEGRATED LOGISTICS INC            [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN VP BUSINESS DEV                      [ADDRESS REDACTED]
                                           11690 NW 105TH ST
                                           MIAMI, FL 33178




RYERSON INC                                RYERSON MASTER & ASSOCS INC               RYMIC SYSTEMS INC
ATTN ACCOUNT MGR                           ATTN PRINCIPAL                            ATTN CHIEF OF SCIENTIST
2621 W 15TH PL                             735 STATE ST                              2104 W FERRY WAY
CHICAGO, IL 60608                          SANTA BARBARA, CA 93101                   HUNTSVILLE, AL 35801




RYODEN (NEW JAPANESE DISTY)                RYODEN CORP                               RYOSAN CO LTD
3-5-15 HIGASHI IKEBUKURO                   ATTN DIR OF BOARD SR EXEC OFFICER         ATTN MIZUSAWA SATOSHI, EXEC OFFICER
TOSHIMA-KU                                 3-15-15 HIGASHI-IKEBUKURO                 2-3-5 HIGASHI-KANDA
TOKYO 170-8448                             TOSHIMA-KU                                CHIYODA-KU
JAPAN                                      TOKYO 170-8448 JAPAN                      TOKYO 101-0031 JAPAN



RYOYO ELECTRO CORPORATION                  RYR SERVICIO DE ING & MFG SA DE CV        [NAME REDACTED]
ATTN TAKAYOSHI OOUCHI, PRESIDENT           ATTN ADMIN MANAGER                        [ADDRESS REDACTED]
KONWA BLDG, 1-12-22 TSUKIJI                PROLONGACION TEPEYAE 1224
CHUO-KU                                    COL GLORIAS DE COLLI
TOKYO 104-8408 JAPAN                       ZAPOPAN, JAL 45010 MEXICO



[NAME REDACTED]                            RYUKOKU UNIVERSITY                        RZ ENTERPRISES INC
[ADDRESS REDACTED]                         C/O ISHIZAKI LAB, FAC OF SCIENCE & TECH   18 HOLLYWOOD CRES
                                           ATTN PROFESSOR, ISHIZAKI LAB              NOBLETON, ON L0G 1N0
                                           1-5 YOKOTANI, SETA OE-CHO                 CANADA
                                           OTSU, SHIGA 520-2194 JAPAN



S & D MACHINE AND TOOL, INC                S & G ENTERPRISES INC                     S & ME. INC
1404 OLD OXFORD HWY                        ATTN PRES                                 2724 DISCOVERY DRIVE
DURHAM, NC 27704-9505                      N115 W19000 EDISON DR                     RALEIGH, NC 27616-0002
                                           GERMANTOWN, WI 53022




S BOND TECHNOLOGIES LLC                    [NAME REDACTED]                           S K AMERICA INC
ATTN PRES                                  [ADDRESS REDACTED]                        DBA MAXLITE
811 W FIFTH ST                                                                       80 LITTLE FALLS RD
LANSDALE, PA 19446                                                                   FAIRFIELD, NJ 07004




S LITE CO LTD                              S W FUNK INDUSTRIAL CONTRACTORS INC       S&A LIGHTING COMPANY
ATTN TSAI CHUN YU, DIR                     ATTN VP                                   ATTN BOBBY SMITHHART, PRINCIPAL
RM C13, 5F, NO. 210 SEC 3 TA-TUNG RD       1710 W HUNDRED RD                         134 FAIRMONT ST, STE A
SHI-CHIH CITY                              CHESTER, VA 23836                         CLINTON, MS 39056
TAIPEI HSIEN TAIWAN



S&B INFRASTRUCTURE LTD                     S&C ELECTRIC COMPANY                      S&EC PA
ATTN PRESIDENT / CEO                       ATTN VP - POWER QUALITY PRODUCTS DIV      ATTN ENVIORN SCIENTIST/PROJECT MNG
3535 SAGE RD                               5251 W FRANKLIN DR                        11010 RAVEN RIDGE RD
HOUSTON, TX 77056                          FRANKLIN, WI 53132                        RALEIGH, NC 27614
S&P GLOBAL MARKETCase   25-90163
                  INTELLIGENCE INC    Document  87 MARKET
                                         S&P GLOBAL Filed in  TXSB on LLC
                                                           INTELLIGENCE 07/03/25 S&S
                                                                                   Page  720COOLING
                                                                                     HEATING of 944& REFRIGERATION
300 BRICKSTONE SQUARE                     ATTN LEGAL DEP                         LLC
ANDOVER, MA 01810                         55 WATER ST                            ATTN OWNER
                                          NEW YORK, NY 10041                     104 EARL DR
                                                                                 GOLDSBORO, NC 27530



S&S INDUSTRIAL CORPORATION                S.C. DEPT OF NATURAL RESOURCES         S.C. DEPT OF NATURAL RESOURCES
1756 PATTERSON GROVE RD                   1000 ASSEMBLY ST                       P.O. BOX 11710
RAMSEUR, NC 27316-0566                    COLUMBIA, SC 29201                     COLUMBIA, SC 29211-1710




S.C. EMPLOYMENT SECURITY COMMISSION       S12 TECHNOLOGIES INC                   S1W1 ELECTRONIC
UNEMPLOYMENT INSURANCE                    ATTN VICE PRESIDENT, BUSINESS ADMIN
1550 GADSDEN ST                           267 BOSTON RD
P.O. BOX 995                              N BILLERICA, MA 01862
COLUMBIA, SC 29202



S2 INNOVATIVE PRODUCTS GROUP LTD          S3 SERVICE SUPPORT SPECIALTIES         S3J ELECTRONICS LLC
ATTN SHEA HEWITT                          P.O. BOX 365                           ATTN VP
2875 THACKER DR                           MONTVILLE, NJ 07045-0365               2000 COMMERECE PKWY
KELOWNA, BC VIZ 3L7                                                              LANCASTER, NY 14086
CANADA



S3-SECOND SILICON SOURCE LLC              S9ESTRE                                SAAB MICROWAVE SYSTEMS
                                          ATTN CHIEF EXECUTIVE OFFICER           ATTN DIR
                                          1 RIVER CT                             SOLHUSGATAN KALLEBACKS TEKNIKPARK
                                          AMSBURY, MA 01913                      GOTEBORG SE-412 89
                                                                                 SWEDEN



SAAB SENSIS CORP                          SAAB                                   [NAME REDACTED]
ATTN SUBCONTRACT ADMIN                    NETTOV 6                               [ADDRESS REDACTED]
85 COLLAMER CROSSINGS                     JARFALLA 17588
EAST SYRACUSE, NY 13057                   SWEDEN




[NAME REDACTED]                           SABBAGH, NABIL                         SABER DESIGN AND ANALYSIS SERVICES
[ADDRESS REDACTED]                        7648 E DECATUR ST                      LLC
                                          MEZA, AZ 85207                         ATTN PRES
                                                                                 11434 NEVERMORE WAY
                                                                                 CHARLOTTE, NC 28277



SABIC INNOVATIVE PLASTICS US LLC          [NAME REDACTED]                        [NAME REDACTED]
ATTN CHIEF IP COUNSEL                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]
1 PLASTICS AVE
PITTSFIELD, MA 01201




SACO CONTROLS INC                         SACO TECHNOLOGIES INC                  SACOPA SAU
ATTN GM                                   ATTN EVP                               ATTN TECH INNOVATION MGR
550 MCCAFFREY ST                          7809 RTE TRANSCANADIENNE               CTRA FIGUERES, 10
ST-LAURENT, QC H4T 1N1                    SAINT-LAURENT, QC H4S 1L3              GIRONA 17850
CANADA                                    CANADA                                 SPAIN



SACRAMENTO MUNICIPAL UTILITY DIST         SADDLE CREEK CORP                      [NAME REDACTED]
6301 S ST                                 ATTN SVP, MKT AND BUS DEV              [ADDRESS REDACTED]
SACRAMENTO, CA 95817                      3010 SADDLE CREEK RD
                                          LAKELAND, FL 33801
[NAME REDACTED] Case 25-90163   Document  87DE CV
                                   SADEP SA    Filed in TXSB on 07/03/25 [NAME
                                                                           Page  721 of 944
                                                                               REDACTED]
[ADDRESS REDACTED]                  ATTN GENERAL MANAGER                  [ADDRESS REDACTED]
                                    VIDRIO 1552, DESPACHO 11
                                    COL MODERNA
                                    GUADALAJARA, JAL 44190 MEXICO



[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     SAE TECH DEVELOPMENT (DONGGUAN) CO    [NAME REDACTED]
[ADDRESS REDACTED]                  LTD                                   [ADDRESS REDACTED]
                                    HONYUAN INDUSTRIAL ZONE
                                    NANCHENG DONGGUAN
                                    GUANGDONG 523087
                                    CHINA


[NAME REDACTED]                     SAES PURE GAS INC                     [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN CEO                              [ADDRESS REDACTED]
                                    4175 SANTA FE RD
                                    SAN LUIS OBISPO, CA 93401




SAFARIKAS, AL                       SAFC HITECH INC                       SAF-CUT
                                    ATTN PRESIDENT                        ATTN PRESIDENT
                                    1429 HILLDALE AVE                     175 T-BAR RD
                                    HAVERHILL, MA 01832                   BENSON, NC 27504




SAFECO JAPAN CO LTD                 SAFENAMES LTD                         SAFENET INC
ATTN PRESIDENT                      SFIT - P.O. BOX 851                   ATTN VP SALES
1-10-7-501 NISHI-WASEDA             ASHBURN, VA 20146-0851                4690 MILLENNIUM DR
SHINJUKU-KU                                                               BELCAMP, MD 21017
TOKYO 169-0051 JAPAN



SAFE-T-WORKS INC                    SAFETY & HEALTH CONSULTING SERVICES   SAFETY ENGINEERING LAB
ATTN PRESIDENT                      ATTN PRES                             ATTN PRESIDENT
1029 SUNSET AVE                     4117 CHARLES G DR, STE 200            2372-A QUME DR
ASHEBORO, NC 27203                  RALEIGH, NC 27606                     SAN JOSE, CA 95131




SAFETY INC.                         SAFETY INSTRUMENTS INC                SAFETY-KLEEN
119 FOSTER STREET, BUILDING 6       247 ROUTE 100                         42 LONGWATER DRIVE P.O. BOX 9149
PEABODY, MA 01960-5933              SOMERS, NY 10589-0220                 NORWELL, MA 02061-9149




SAFEWAY SERVICES LLC                SAF-GARD SAFETY SHOE COMPANY          SAFINA MATERIALS INC
3108 GLENN RD                       P.O. BOX 10379                        ATTN SALES DIR
DURHAM, NC 27704                    GREENSBORO, NC 27404-0379             100 HILBIG, STE B
                                                                          CONROE, TX 77301




SAFRA SECS (8457)                   SAFRAN                                SAGE PATENT GROUP PLLC
ATT PROXY MGR                       ATTN PURCHASING MGR R&T               ATTN LYNNE BORCHERS
546 FIFTH AV                        2, BLVD DU GENERAL MARTIAL VALIN      P.O. BOX 30789
NEW YORK, NY 10036                  PARIS 75015                           RALEIGH, NC 27622-0789
                                    FRANCE
SAGE TECHNOLOGIES    Case
                      CORP25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                           [NAME REDACTED]                       Page  722 of 944
                                                                                     REDACTED]
ATTN PRESIDENT                              [ADDRESS REDACTED]                   [ADDRESS REDACTED]
1835 E 6TH ST, STE 5
TEMPE, AZ 85281




[NAME REDACTED]                             [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]




SAHASRA ELECTRONICS PVT LTD                 [NAME REDACTED]                      [NAME REDACTED]
ATTN AMRIT MANWANI                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]
129 G
NSEZ NOIDA 201305
INDIA



[NAME REDACTED]                             SAIGEW MICROWAVE SCIENCE & TECH CO   [NAME REDACTED]
[ADDRESS REDACTED]                          LTD                                  [ADDRESS REDACTED]
                                            ATTN ENGINEER
                                            J03-B BLDG XIAOLIU INDUSTRIAL AREA
                                            HI-TECH, DEVELOPMENT ZONE
                                            NANJING CHINA


SAILPOINT TECHNOLOGIES INC                  [NAME REDACTED]                      [NAME REDACTED]
ATTN CONTRACTS DIR                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]
11305 FOUR POINTS DR, BLDG 2, STE 100
AUSTIN, TX 78726




SAINT GOBAIN CERAMICS & PLASTICS INC        [NAME REDACTED]                      SAINT-GOBAIN ABRASIVES INC
ATTN GEN MNG PHOTOMICS                      [ADDRESS REDACTED]                   1 NEW BOND STREET
750 S 32ND ST                                                                    WORCESTER, MA 01605-2614
WASHOUGAL, WA 98671




SAINT-GOBAIN CERAMIC MATERIALS              SAINT-GOBAIN PERFORMANCE PLASTICS    SAINT-GOBIAN CERAMICS & PLASTICS INC
WARREN/AMPLEX SUPERABRASIVES                CORP                                 ATTN GENERAL MANAGER
1 NEW BOND STREET                           ATTN GENERAL MGR, FILMS              4905 E HUNTER AVE
WORCESTER, MA 01615-2614                    701 DANIEL WEBSTER HWY               ANAHEIM, CA 92807
                                            MERRIMACK, NH 03054



[NAME REDACTED]                             [NAME REDACTED]                      SAISHA TECHNOLOGY AND CIRCUITS
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   INTERNATIONAL LC
                                                                                 AND MANUFACTURING PARTNERS
                                                                                 2921 W CYPRESS CREEK RD
                                                                                 FT LAUDERDALE, FL 33309



SAITEK INC                                  [NAME REDACTED]                      [NAME REDACTED]
RM. 1003, INNOVALLEY B, 253,PANKYO-         [ADDRESS REDACTED]                   [ADDRESS REDACTED]
GYEONGGI-DO 13486
SOUTH KOREA




[NAME REDACTED]                             [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document 87 INC
                                       SAKURAPLAN Filed in TXSB on 07/03/25 [NAME
                                                                              Page  723 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                      ATTN MGR                            [ADDRESS REDACTED]
                                        1673-91-918 KAMISHIZU, SAKURA-SHI
                                        SAKURA-SHI, CHIBA 7285-0846
                                        JAPAN



[NAME REDACTED]                         [NAME REDACTED]                     SALCO ENGINEERING & MFG INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  ATTN MKTG MANAGER
                                                                            2030 MICOR DR
                                                                            JACKSON, MI 49203




SALCOMP PLC                             [NAME REDACTED]                     [NAME REDACTED]
ATTN PRESIDENT & CEO                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]
P.O. BOX 95
JOENSUUNKATU 13
SALO 24101 FINLAND



[NAME REDACTED]                         SALEHI, HOSSEIN                     SALEM TECHNOLOGIES INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  ATTN PRES
                                                                            2580 SALEM POINT CT
                                                                            WINSTON-SALEM, NC 27103




[NAME REDACTED]                         SALES & SERVICE INC.,               SALES AND SERVICE INC, SO CAL
[ADDRESS REDACTED]                      4883 E. LA PALMA AVE., STE. 505     ATTN PRESIDENT
                                        ANAHEIM, CA 92807-1957              4883 E LA PALMA AVE, STE 505
                                                                            ANAHEIM, CA 92807




SALESFORCE, INC.                        SALESFORCE.COM                      SALEX MARNIK INC
SALESFORCE TOWER, 415 MISSION STREET,   P.O. BOX 203141                     ATTN PAUL HUDSON, OPS MGR
3RD FLOOR                               DALLAS, TX 75320-3141               45 ROLARK DR
SAN FRANCISCO, CA 94105                                                     SCARBOROUGH, ON M1R 3B1
                                                                            CANADA



[NAME REDACTED]                         SALIBA INDUSTRIES INC               SALICRU SA
[ADDRESS REDACTED]                      ATTN PRESIDENT                      AVDA DE LA SERRA 100
                                        13885 W LAUREL DR                   PALAUTORDERA 08460
                                        LAKE FOREST, IL 60045               SPAIN




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                         SALISIAN LEE LLP                    [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN ASSOCIATE                      [ADDRESS REDACTED]
                                        550 S HOPE ST, STE 750
                                        LOS ANGELES, CA 90071




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]
                  Case 25-90163
SALT PAYROLL CONSULTANTS   INC      Document   87 PROJECT
                                       SALT RIVER  Filed in TXSB on 07/03/25 SALT
                                                          AGRICULTURAL         Page   724
                                                                                  RIVER    of 944
                                                                                        PROJECT
ATTN SR ACCT EXEC                       IMPROVEMENT &                         ATTN FIELD MARKETING MGR
4300 W CYPRESS ST, STE 370              POWER DISTRICT                        1521 N PROJECT DR
TAMPA, FL 33607                                                               TEMPE, AZ 85281-1298




[NAME REDACTED]                         [NAME REDACTED]                       SAM ANALYTIC SOLUTIONS, LLC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    2511 E NC HIGHWAY 54
                                                                              DURHAM, NC 27713-2695




[NAME REDACTED]                         SAMARAS, PETE                         [NAME REDACTED]
[ADDRESS REDACTED]                      779 LAKEMEAD WAY                      [ADDRESS REDACTED]
                                        EMERALD HILLS, CA 94062




SAMCO INC.                              [NAME REDACTED]                       SAMIL PRICEWATERHOUSECOOPERS
2302 WALSH AVENUE                       [ADDRESS REDACTED]                    ATTN PARTNER
SANTA CLARA, CA 95051-1301                                                    KUKJE CENTER BUILDING
                                                                              191 HANKANGRO 2GA YONGSANKU
                                                                              SEOUL 140-702 SOUTH KOREA



SAMJIN LND CO LTD                       SAMMOON LIGHTING ELECTRICAL CO LTD    SAMMY PHILLIPS ELECTRIC INC
405 SINIL IT KNOWLEDGE INDUSTRY         NEW LIGHTING SOURCE INDUSTRY ZONE     ATTN VP
CENTRES                                 BLDG 2, ZONE A, LUOCUN                945 W NORTHWEST BLVD
13, LS-RO                               NANHAI DIST, FOSHAN                   WINSTON SALEM, NC 27101
GIMPO, GYEONGGI-DO SOUTH KOREA          GUANGDONG 528200 CHINA



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         SAMRITI KUMAR GARG                    [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN SCIENTIST/ENG-SF                 [ADDRESS REDACTED]
                                        SPACE APP CENTRE, ISRO, AMBAVADI
                                        VISTAAR PO JODPHUR TEKRA, SAT
                                        AHMEDABAD, GUJARAT 380015 INDIA



SAMSSIN PRECISION                       SAMSUNG ADV INSTITUTE OF TECH         SAMSUNG AMERICA INC
ATTN GENERAL MANAGER                    ATTN SUNG SOO PARK                    ATTN SR MANAGER
907, 27, 457TH ST                       SAN 14-1, NONGSEO-RI                  14251 FIRESTONE BLVD
DUNCHONDAE-RO JOONGWON-GU               KIHEUNG-EUP                           LA MIRADA, CA 90638
SEONGNAM, GYEONGGI-DO 13219 SOUTH       YONGIN-SI, KYUNGKI-DO SOUTH KOREA
KOREA


SAMSUNG CORNING CO LTD                  SAMSUNG ELECTRO-MECHANICS CO LTD      SAMSUNG ELECTRONICS CO LTD
ATTN VP, CHIEF TECH OFFICER             ATTN RSM                              ATTN JEONG HO LEE
472 SIN-DONG, PALDAL-GU                 GYEONGGI-DO, YOUNGTONG-GU             129, SAMSUNG-RO, YEONGTONG-GU
SUWON-SI, GYEONGGI-DO                   MAEYOUNG-RO 150 (MAETAN-DONG)         SUWON, GYEONGGI-DO 443-742
SOUTH KOREA                             SUWON-SI 443-743 SOUTH KOREA          SOUTH KOREA



SAMSUNG ELECTRONICS CO LTD              SAMSUNG ELECTRONICS CO LTD            SAMSUNG ELECTRONICS CO LTD
ATTN PRINCIPAL ENGINEER                 ATTN VP OPTO SYST DIV                 ATTN VP, POWER & RF
SAN 24, NONGSEO-RI, GIHEUNG-EUP         314 MAETAN 3DONG                      416 MAETAN 3DONG
YONGIN-CITY 449-711                     YEONGTONG GU                          YEONGTONG GU
SOUTH KOREA                             SUWON, GYENONGGI-DO 443-743 SOUTH     SUWON, GYENONGGI-DO 443-742 SOUTH
                                        KOREA                                 KOREA
                  Case
SAMSUNG ELECTRONICS      25-90163
                      SINGA          Document 87FIREFiled
                                        SAMSUNG           in TXSB
                                                     & MARINE       on 07/03/25
                                                              INSURANCE CO.,      Page 725
                                                                                SAMSUNG      of 944 JAPAN CO LTD
                                                                                        R&D INSTITUTE
30 PASIR PANJANG ROAD 17-31/32           LTD.                                       ATTN EXEC VICE PRESIDENT
MAPLETREE BUSINESS CITY                  14 SEOCHO-DAERO 74-GIL                     AR CENTER AR-1 LAB, AR-13 GROUP
SINGAPORE                                SEOCHO-GU                                  2-7 SUGASAWA-CHO TSURUMI KU
                                         SEOUL 06620                                YOKOHAMA, KANAGAWA 230-027 JAPAN
                                         REPUBLIC OF KOREA


SAMSUNG TELECOMMUNICATIONS AMERICA       SAMSUNG TELECOMMUNICATIONS AMERICA         SAMTEC INC
ATTN MIKE BROBSTON, SR MGR               ATTN SR VP                                 3837 RELIABLE PKWY
1301 E LOUKOUT DR                        1130 E ARAPAHO RD                          CHICAGO, IL 60686-0038
RICHARDSON, TX 75082                     RICHARDSON, TX 75081




[NAME REDACTED]                          [NAME REDACTED]                            SAMWHA USA INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                         ATTN PRESIDENT
                                                                                    2555 MELKSEE ST
                                                                                    SAN DIEGO, CA 92154




SAN DIEGO GAS AND ELECTRIC COMPANY       SAN JOSE STATE UNIVERSITY                  [NAME REDACTED]
ATTN ALTON KWOK                          ATTN PROF & LAB DIR                        [ADDRESS REDACTED]
8335 CENTURY PARK CT                     1 WASHINTON SQUARE
MAIL LOCATON CP12E                       SAN JOSE, CA 95112
SAN DIEGO, CA 92123



SANAN OPTOELECTRONICS CO LTD             [NAME REDACTED]                            SANBORN TUBE SALES OF WISCONSIN INC
ATTN CHIEF EXECUTIVE OFFICER             [ADDRESS REDACTED]                         N28 W24402 WATERTOWN RD
1721 LVLING RD                                                                      PEWAUKEE, WI 53072
SI MING DISTRICT
XIAMEN CHINA



[NAME REDACTED]                          [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                         [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                         [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                         [ADDRESS REDACTED]




[NAME REDACTED]                          SANDER ELECTRONIC CO LTD                   SANDERS RF CONSULTING LLC
[ADDRESS REDACTED]                       ATTN JOHN HUNAG                            2327 ENGLERT DR, STE 202
                                         4F, NO 153, LI KONG ST, PEI-TOU DISTRICT   DURHAM, NC 27713
                                         TAIPEI 112
                                         TAIWAN



[NAME REDACTED]                          [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                         [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 SANDIA
                                        [NAME REDACTED]                       PageCORPORATION
                                                                                   726 of 944
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                        ATTN GEORGE SLOAN
                                                                                   ORG 2345-MS, SANDIA INTL LAB
                                                                                   P.O. BOX 5800
                                                                                   ALBUQUERQUE, NM 87185-0529



[NAME REDACTED]                          [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                        [ADDRESS REDACTED]




SANDVIK HYPERION                         SANDVIK THERMAL PROCESS INC               SANETECH LTD
ATTN INDUSTRIAL PRODUCTS BUS MGR         ATTN DIR CUSTOMER SEGMENT, SEMI           ATTN WONG YEE KI EVA
6325 HUNTLEY RD                          19500 NUGGET BLVD                         15TH FL, ALEXANDRA HOUSE
WORTHINGTON, OH 43085                    SONORA, CA 95370                          16-20 CHATER RD
                                                                                   CENTRAL HONG KONG



SANETECH LTD                             SANETECH LTD                              SANETECH LTD
C/O YENNING LTD; TSE KAM BIU             P.O. BOX 71, CRAIGMUIR CHAMBERS           UNIT 1411, 14/F, LIPPO SUN PLAZA
UNIT 1714, MANHATTAN CENTRE              ROAD TOWN                                 28 CANTON RD, TSIM SHA TSUI
NO 8 KWAI CHEONG RD, KWAI CHUNG          TORTOLA                                   KOWLOON
NEW TERRITORES HONG KONG                 BRITISH VIRGIN ISLANDS                    HONG KONG



SANETRONIC CO., LTD.                     SANETRONIC CO., LTD.                      SANFORD C. BERNSTEIN (0013)
ATTN: P.Y. CHOW, MANAGING DIRECTOR       ATTN: P.Y. CHOW, MANAGING DIRECTOR        ATT RYAN CONNORS OR PROXY MGR
UNIT 2103, 21/F., REMINGTON CENTRE       UNITE, 17/F, MG TOWER 133 HOI BUN ROAD,   ONE NORTH LEXINGTON AV
23 HUNG TO ROAD, KWUN TONG               KWUN TONG                                 WHITE PLAINS, NY 10601-1785
KOWLOON BAY HONG KONG                    KOWLOON
                                         HONG KONG


SANFORD INDUSTRIALS STORAGE              SANFORD ROSE ASSOC INFLECTION POINT       [NAME REDACTED]
& DELIVERY LLC                           ATTN PRESIDENT                            [ADDRESS REDACTED]
ATTN OWNER                               917 PARKWOOD CT
2652 DALRYMPLE                           MCKINNEY, TX 75070
SANFORD, NC 27332



[NAME REDACTED]                          [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                        [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                        [ADDRESS REDACTED]




SANKEN ELECTRIC CO LTD                   SANMINA-SCI CORP                          SANNA TAKING
ATTN CORPORATE OFFICER IP                ATTN SR DIR OF SALES                      C/O UNIVERSITI MALAYSIA PERLIS UNIMAP
3-6-3 KITANO                             2700 N 1ST ST                             LEBUHRAYA CHANGLUN
NIIZA, SAITAMA 352-8666                  SAN JOSE, CA 95134                        KUALA PERLI, KAMPUNG ULU PAUH
JAPAN                                                                              02600



[NAME REDACTED]                          SAN-PIN LIGHTING TECHNOLOGY CO LTD        SANSEI SHOWA CO LTD
[ADDRESS REDACTED]                       ATTN GENERAL MGR                          ATTN VICE PRESIDENT
                                         1-2 FLOOR, NO. 22 15 ALLEY GU DAN RD      31000 BAINBRIDGE RD
                                         PU DONG NEW AREA                          SOLON, OH 44139
                                         SHANGHAI CHINA
SANTA CLARA COUNTYCase 25-90163       Document  87 Filed
                                         SANTA CLARA       in TXSB on 07/03/25 SANTA
                                                     UNIVERSITY                  PageFE 727  of 944I LLC
                                                                                        LA ORIGINAL
70 W HEDDING STREET                       ATTN PROFESSOR                         ATTN OWNER
SAN JOSE, CA 95110-1705                   500 EL CAMINO REAL                     1668 MONROE AVE
                                          SANTA CLARA, CA 95053                  RACINE, WI 53405




SANTA TECH (HONG KONG) LTD                [NAME REDACTED]                        SANTEC CO LTD
ATTN GENERAL MGR                          [ADDRESS REDACTED]                     ATTN PRESIDENT
RM 1203, 12/F, HIP KWAN COMMERCIAL BLDG                                          2105 SHIMO-TANBARA
38 PITT ST                                                                       MINOBU-CHO, MINAMIKOMA-GUN
YAU MA TEI, KOWLOON HONG KONG                                                    YAMANASHI 409-3305 JAPAN



SANTIAGO, IVAN                            [NAME REDACTED]                        [NAME REDACTED]
DBA SANTIAGO PHOTOGRAPHY SERVICES         [ADDRESS REDACTED]                     [ADDRESS REDACTED]
7280 SW 34TH ST RD
MIAMI, FL 33155




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




SANWA SYSTEM ENGINEERING KK               [NAME REDACTED]                        SANYO ELECTRIC CO LTD
7-430, 5CHO, SHINKANAOKACHO               [ADDRESS REDACTED]                     ATTN PRESIDENT, ELECTRONIC DEVISE
KITA-KU SAKAI                                                                    COMPANY
OSAKA 591-8021                                                                   5-5, KEIHAN-HONDORI 2-CHROME
JAPAN                                                                            MORIGUCHI-SHI, OSAKA 570-8677
                                                                                 JAPAN


SANYO TURNER INDUSTRIES CO TLD            SANYU REC CO LTD                       [NAME REDACTED]
ATTN PRESIDENT                            ATTN EXEC DIR                          [ADDRESS REDACTED]
1-1, SANYO CHO                            3-5-1 DOUCHO TAKATSUKI
DAITO CITY, OSAKA 574-8534                OSAKA 569-8558
JAPAN                                     JAPAN



SAP AG                                    SAP AMERICA INC                        SAPA EXTRUSIONS INC
ATTN NAOMI VOEGTLI                        3999 WEST CHESTER PIKE                 ATTN GLOBAL KEY ACCT MANAGER
3412 HILLVIEW AVE                         NEWTOWN SQUARE, PA 19073-2305          9600 W BRYN MAWR AVE
PALO ALTO, CA 94304                                                              ROSEMOUNT, IL 60018




SAPA OPERACIONES SL                       SAPARIBA                               [NAME REDACTED]
ATTN CHIEF TECHNOLOGIST                   210 SIXTH AVENUE                       [ADDRESS REDACTED]
CARRETERA N-I S/N                         PITTSBURGH, PA 15222-2602
ANDOAIN
DONOSTIA-SAN SEBASTIAN SPAIN



[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]
                 Case 25-90163
SAPTANEELA COMPANY                  Document
                                       SAPURA 87  Filed
                                              SECURED   in TXSB on 07/03/25 SARA
                                                      TECNOLOGIES             Page  728 of 944
                                                                                 ENTERPRISES INC
ATTN PRESIDENT                          ATTN ASST TECHNICAL MNG, RF DESIGN   DBA MONTROSE TRAVEL
627 SWALLOWTAIL DR                      LOT 26921, JLN REJANG                ATTN ANDI MCCLURE-MYSZA
FREDERICK, MD 21703                     SECTION 10, WANGSA MAJU              2349 HONOLULU AVE
                                        KUALA LUMPUR 53300 MALAYSIA          MONTROSE, CA 91020



[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




SARAS TECHNOLOGY LTD                    SARATHKRISHNA, S                     [NAME REDACTED]
ATTN DIRECTOR                                                                [ADDRESS REDACTED]
MABGATE MILLS, MILLS 6
UNITS 2 & 3, MACAULAY STREET
LEEDS LS9 7DZ UNITED KINGDOM



[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                         SARNOFF CORP                         [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN IP ADMIN                        [ADDRESS REDACTED]
                                        201 WASHINGTON RD
                                        P.O. BOX 5300
                                        PRINCETON, NJ 08543



[NAME REDACTED]                         SAS ALARM COMPANY                    SAS INSTITUTE INC
[ADDRESS REDACTED]                                                           ATTN CONTRACTS MANAGER
                                                                             1700 ROCKVILE PIKE, STE 330
                                                                             ROCKVILLE, MD 20852




SAS INSTITUTE SDN BHD                   SAS INSTITUTE SDN BHD                SAS INSTITUTE
ATTN MANAGER                            SUITE 6-3A, LEVEL 6, MENARA CIMB     P.O. BOX 406922
STE 2B-6-1, LEVEL 6, BLOCK 2B           KUALA LUMPUR SENTRAL 50470           ATLANTA, GA 30384-6922
PLAZA SENTRAL                           MALAYSIA
KUALA LUMPUR 50470 MALAYSIA



SAS LIGHTING CO LTD                     SAS LIGHTING COMPANY LIMITED         SAS LIGHTING COMPANY LTD
ATTN SC LOCK, DIR                       ATTN DIRECTOR                        ATTN SC LOCK, DIRECTOR
RM 1009-1110 TWR B, HUNGHOM COMML CTR   ROOM 1009-1110, TOWER B              RM 1009-1110 TWR B, HUNGHOM COM CTR
37 MA TAU WAI RD, HUNGHOM               HUNGHOM COMMERICAL CTR, 37 MA TAU    37 MA TAU WAI RD, HUNGHOM
KOWLOON HONG KONG                       WAI RD                               KOWLOON HONG KONG
                                        HUNGHOM KOWLOON HONG KONG


SASOL NORTH AMERICA INC                 SASTRA UNIVERSITY                    SATCON ELECTRONICS INC
ATTN BUSINESS MGR                       TIRUMALAISAMUDRAM                    ATTN VP SALES & MTKG
7800 S KOLB RD                          THANJAVUR, TAMILNADU 613401          165 CEDAR HILL ST
TUCSON, AZ 85706                        INDIA                                MARLBOROUGH, MA 01752




SATCON TECHNOLOGY CORP                  [NAME REDACTED]                      [NAME REDACTED]
ATTN LEO CASEY                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]
161 FIRST ST
CAMBRIDGE, MA 02142
[NAME REDACTED] Case 25-90163        Document
                                        SATURN 87  Filed inCORP
                                               ELECTRONICS  TXSB on 07/03/25 [NAME
                                                                               Page  729 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                       ATTN VP                             [ADDRESS REDACTED]
                                         28450 NORTHLINE RD
                                         ROMULUS, MI 48174




[NAME REDACTED]                          [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                          SAUTER AND ASSOCIATES               [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN PRES                           [ADDRESS REDACTED]
                                         9 GOV ST
                                         KITTERY, ME 03904




[NAME REDACTED]                          [NAME REDACTED]                     SAVE ENERGY LIGHTING PTE LTD
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  ATTN MANAGING DIR
                                                                             61 AIDA ST
                                                                             SINGAPORE 459975
                                                                             SINGAPORE



[NAME REDACTED]                          SAVIA ELECTRONICS (SUZHOU) CO LTD   [NAME REDACTED]
[ADDRESS REDACTED]                       86 XINJIANG RD                      [ADDRESS REDACTED]
                                         SUZHOU
                                         CHINA




SAVVY MARKETING GROUP LLC                SAW WIRE TECHNOLOGY LLC             SAWTECH CORP
ATTN CEO                                 ATTN PRESIDENT                      ATTN GM
104 RHAPSODY CT                          1455 ARTHUR TEAGUE RD               1935 W STATE ST, STE 102
CARY, NC 27519                           SILER CITY, NC 27344                GARLAND, TX 75042




[NAME REDACTED]                          [NAME REDACTED]                     SAXOGY POWER ELECTRONICS
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  DITTESSTR. 15
                                                                             CHEMNITZ 09126
                                                                             GERMANY




SAYO SEIKO LTD                           SBA MATERIALS INC                   [NAME REDACTED]
ATTN PRESIDENT                           ATTN CHIEF EXECUTIVE OFFICER        [ADDRESS REDACTED]
222 ENOJI, SAYO-CHO                      9430 H-SAN MATEO BLVD NE
SAYO-GUN                                 ALBUQUERQUE, NM 87113
HYOGO 679-5307 JAPAN



SBIF INC                                 SBT INDUSTRIES, LLC                 SC DEPARTMENT OF REVENUE
DBA SANTA BARBARA INDUSTRIAL FINISHING   20823 N CAVE CREEK RD               RE: 1301100
ATTN PRESIDENT                           PHOENIX, AZ 85024-4469              P.O. BOX 2535
873 S KELLOGG AVE                                                            COLUMBIA, SC 29202
GOLETA, CA 93117



SC ELBA SA                               SC JOHNSON & SON INC                SC STATE DISBURSEMENT UNIT
ATTN GEN MGR                             1525 HOWE ST                        RE: 8858136739 (AMENDED)
STR GARII NR 1                           RACINE, WI 53403                    P.O. BOX 100303
TIMISOARA 300166                                                             COLUMBIA, SC 29202-3303
ROMANIA
SC STEEL LLC      Case 25-90163   Document
                                     SCA IPLA87  FiledINC
                                              HOLDINGS in TXSB on 07/03/25 SCA
                                                                             Page   730 of 944
                                                                               IPLA HOLDINGS INC
ATTN VICE PRESIDENT                   C/O SONY CORP OF AMERICA               C/O SONY CORP
114 E WAREHOUSE CT                    ATTN VP, IP COUNSEL                    ATTN GM, IP ALLIANCE & LICENSING
TAYLORS, SC 29687                     1 SONY DR, MD2F2                       1-7-1 KONAN, MINATO-KU
                                      PARK RIDGE, NJ 07450                   TOKYO 108-0075 JAPAN



[NAME REDACTED]                       [NAME REDACTED]                        SCALE DESIGN CONSULTANT LTD
[ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                        SCANA ENERGY MARKETING INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     1400 LADY STREET
                                                                             COLUMBIA, SC 29201-3304




SCANA ENERGY MARKETING INC            SCANA ENERGY MARKETING INC             SCANDIA PLASTICS INC
ATTN TERRI CABRE                      ATTN TERRI CARBRE, CONTRACT ADMIN      ATTN SALES MGR
2231 S. CENTENNIAL AVE                P.O. BOX 12427                         55 WESTVILLE RD
AIKEN, SC 29803                       COLUMBIA, SC 29211                     PLAISTOW, NH 03865




SCANLAN, JACK                         SCAPA TAPES NORTH AMERICA LLC          [NAME REDACTED]
DBA JRS ASSOCIATES                    ATTN FINANCE DIRECTOR                  [ADDRESS REDACTED]
1507 KING EDWARD CT                   111 GREAT POND DR
PALATINE, IL 60067                    WINDSOR, CT 06095




[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]




SCATTER WORKS INC, THE                SCENERA RESEARCH LLC                   SCHAEFER SYSTEMS INTERNATIONAL INC
ATTN PRESIDENT                        ATTN PRESIDENT                         ATTN NORTHERN REGIONAL MGR
2100 N WILMOT, STE 202                5400 TRINITY RD. STE 303               10021 WESTLAKE DR
TUCSON, AZ 85712                      RALEIGH, NC 27607                      CHARLOTTE, NC 28273




[NAME REDACTED]                       SCHAEFFER MARKETING GROUP INC          SCHAFER ELEKTRONIC GMBH
[ADDRESS REDACTED]                    ATTN MICHAEL J SCHAEFFER, PRESIDENT    ATTN RESEARCH & DESIGN ENGINEER
                                      5614 HAMPTON AVE                       OSTSTR. 17
                                      ST. LOUIS, MO 63109                    ACHERN 77855
                                                                             GERMANY



SCHAFER MANUFACTURING INC             [NAME REDACTED]                        [NAME REDACTED]
ATTN VP                               [ADDRESS REDACTED]                     [ADDRESS REDACTED]
137 INDUSTRIAL DR
BURLINGTON, WI 53105




[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  731 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    SCHENZHEN EVER-ENERGY TECHNOLOGY
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 CO LTD
                                                                            ATTN WILL HU, PRESIDENT, MKTG
                                                                            FL 3, NO 1 BLDG, JIA AN TECHNOLOGY ZONE
                                                                            LIUXIANYI RD, BOA AN, SHENZHEN CITY
                                                                            GUANGDONG PROVINCE 518133 CHINA


SCHEUGENPFLUG INC                        SCHIEDERWERK GMBH & CO KG          [NAME REDACTED]
975 COBB PLACE BLVD NW                   ATTN MANAGING DIR                  [ADDRESS REDACTED]
KENNESAW, GA 30144-4800                  NEUBERGER STRASSE 40
                                         NUERENBERG 90451
                                         GERMANY



SCHINDLER ELEVATOR CORPORATION           [NAME REDACTED]                    [NAME REDACTED]
ATTN BRANCH MGR                          [ADDRESS REDACTED]                 [ADDRESS REDACTED]
2101 WESTINGHOUSE BLVD, STE 102
RALEIGH, NC 27604




SCHIRMER ENGINEERING CORPORATION         SCHIRMER, WILLIAM                  SCHLEGEL ELECTRONIC MATERIALS INC
ATTN VICE PRESIDENT                                                         ATTN GEN MGR
6455 S SHORE BLVD, STE 400                                                  806 LINDEN AVE, STE 100
LEAGUE CITY, TX 77573                                                       ROCHESTER, NY 14625




SCHLENK METALLFOLIEN GMBH & CO. KG       [NAME REDACTED]                    SCHLOSS & ASSOC PLLC
BARNSDORFER HAUPTSTR. 5                  [ADDRESS REDACTED]                 ATTN OWNER
ROTH 91154                                                                  P.O. BOX 381203
GERMANY                                                                     BIRMINGHAM, AL 35238-1203




[NAME REDACTED]                          [NAME REDACTED]                    SCHLUMBERGER KK
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 ATTN PRES
                                                                            2-2-1 FUCHINOBE
                                                                            SAGAMIHARA-SHI
                                                                            SAGAMIHARA, KANAGAWA 229-0006 JAPAN



SCHLUMBERGER TECHNOLOGY CORP             SCHLUMBERGER TECHNOLOGY            SCHMIDT TECHNOLOGY CORP
ATTN INTEGRATION CENTER MGR              CORPORATION                        ATTN FINANCE & ADMIN MGR
110 SCHLUMBERGER DR                      ATTN PRESIDENT                     CRANBERRY CORPORATE CTR
SUGAR LAND, TX 77478                     555 INDUSTRIAL DR                  280 EXECUTIVE DR
                                         SUGAR LAND, TX 77478               CRANBERRY TWP, PA 16066



[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




SCHMITT CONSULTING SERVICES INC          SCHMITT MEASUREMENT SYSTEMS INC    [NAME REDACTED]
DBA VIACOUSTICS                          ATTN MEASUREMENT SERVICES          [ADDRESS REDACTED]
ATTN PRESIDENT                           2765 NW NICOLAI ST
2512 STAR GRASS CIR                      PORTLAND, OR 97210
AUSTIN, TX 78745
[NAME REDACTED] Case 25-90163        Document 87 Filed
                                        SCHNEEBERGER INC in TXSB on 07/03/25 SCHNEIDER
                                                                               Page 732   of 944BUILDINGS AMERIC
                                                                                       ELECTRIC
[ADDRESS REDACTED]                       ATTN SE REG SALE MGR                  SW LEVETON DR
                                         11 DEANGELO DR                        STE 100
                                         BEDFORD, MA 01730                     TUALATIN, OR 97062




SCHNEIDER ELECTRIC INDUSTRIES SAS        SCHNEIDER ELECTRIC INDUSTRIES         SCHNEIDER NATIONAL INC
ATTN SR VP SCIENCE & TECH                SITE 38TECH/TECHNOPOLE/T3             ATTN DIR OF CORP FACILITIES
89 BLVD FRANKLIN ROOSEVELT               37 QUAI PAUL LOUIS MERLIN             3101 S PACKERLAND DR
RUEIL MALMAISON 92500                    GRENOBLE CEDEX 9 F-38050              GREEN BAY, WI 54313
FRANCE                                   FRANCE



SCHNEIDER TOSHIBA INVERTER EUROPE        SCHNEIDER TRANSPORTATION              [NAME REDACTED]
SAS                                      MANAGEMENT                            [ADDRESS REDACTED]
ATTN TECHNICAL DIR                       ATTN REGIONAL VP
33 RUE ANDRE BLANCHET                    3101 PACKERLAND DR
PACY SUR EURE 27120                      GREEN BAY, WI 54313
FRANCE


[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          SCHOLES ENGINEERING GROUP LLC, THE    [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN PRESIDENT                        [ADDRESS REDACTED]
                                         1021 CENTENNIAL AVE
                                         PISCATAWAY, NJ 08854




[NAME REDACTED]                          SCHOTT NORTH AMERICA INC              [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN CORP LEGAL COUNSEL               [ADDRESS REDACTED]
                                         555 TAXTER RD
                                         ELMSFORD, NY 10523




[NAME REDACTED]                          SCHRAMM ERSTE IMMOBILIEN GMBH & CO    SCHRAMM IMMOBILIEN GMBH & CO KG
[ADDRESS REDACTED]                       KG                                    ATTN GUNTHER SCHRAMM, MANAGING DIR
                                         ATTN LANDLORD                         DIESELSTR 11
                                         LEERBICHLALLEE 1                      KARLSFELD 85757
                                         GRUNWALD 82031                        GERMANY
                                         GERMANY


SCHRAMM IMMOBILIEN GMBH & CO KG          SCHREDER LIGHTING LLC                 SCHREDER SA
ATTN GUNTHER SCHRAMM, MANAGING DIR       ATTN GM / CEO                         ATTN PRESIDENT
EINSTEINSTRASSE 12                       985 BRUSSE RD                         RUE DE LUSAMBO 67
UNTERSCHLEIBHEIM 85716                   ELK GROVE VILLAGE, IL 60007           BRUSSELS 1190
GERMANY                                                                        BELGIUM



[NAME REDACTED]                          [NAME REDACTED]                       SCHROEDER SALES INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    ATTN PRES
                                                                               215 GOLD SW, STE 101
                                                                               ALBUQUERQUE, NM 87102




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  733 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




SCHUHEDER CONSULTING GMBH           SCHULER-HAAS ELECTRIC CORP         [NAME REDACTED]
KARL-BOHM-STRASSE 109               ATTN CONTROLLER                    [ADDRESS REDACTED]
BALDHAM 85598                       250 MT HOPE AVE
GERMANY                             ROCHESTER, NY 14620




SCHULTZ ELECTRIC INC                SCHULTZ FLUID HANDLING INC         [NAME REDACTED]
8491 MURPHY DR                      ATTN PRESIDENT                     [ADDRESS REDACTED]
MIDDLETON, WI 53562                 13232 ENTERPRISE AVE
                                    CLEVELAND, OH 44135




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    SCHULZ ENGINEERING CORP
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN PRESIDENT
                                                                       5785 THORNWOOD DR
                                                                       GOLETA, CA 93117




[NAME REDACTED]                     SCHUNK CARBON TECHNOLOGY GMBH      SCHUNK GRAPHITE TECHNOLOGY LLC
[ADDRESS REDACTED]                  AU 62                              ATTN VP
                                    BAD GOISERN 4822                   W 146 N9300 HELD DR
                                    AUSTRIA                            MENOMONEE FALLS, WI 53051




SCHUNK HOFFMANN CARBON TECHNOLOGY   SCHUNK SONOSYSTEMS GMBH            SCHUNK XYCARB TECHNOLOGY INC
AG                                  ATTN PRESIDENT                     101 SE INNER LOOP ROAD
ATTN MG DIRECTOR                    HAUPTSTRASSE 95                    GEORGETOWN, TX 78626-7597
AU 62                               WETTENBERG 35435
BAD GOISERN A-4822                  GERMANY
AUSTRIA


[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     SCHWARTZ COMMUNICATIONS INC        SCHWARTZ COMMUNICATIONS INC
[ADDRESS REDACTED]                  ATTN SR VICE PRESIDENT             ATTN SR VICE PRESIDENT
                                    595 MARKET ST, STE 2050            PROSPECT PLACE
                                    SAN FRANCISCO, CA 94105            230 THIRD AVE
                                                                       WALTHAM, MA 02451



[NAME REDACTED]                     [NAME REDACTED]                    SCHWARZKOPF TECHNOLOGIES
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 CORPORATION
                                                                       ATTN CFO
                                                                       115 CONSTITUTION BLVD
                                                                       FRANKLIN, MA 02038
                  Case 25-90163
SCHWEITZER ENGINEERING LABORATORIESDocument  87 ELECTRONIC
                                      SCHWEIZER   Filed in TXSB
                                                            AG  on 07/03/25 SCHWEIZER
                                                                              Page 734   of 944 AG
                                                                                      ELECTRONIC
INC                                   ATTN VP SALES & MKTG                  POSTFACH 561
ATTN VP FINANCE                       EINSTEINSTRASSE 10                    SCHRAMBERG 78707
2350 NE HOPKINS CT                    SCHRAMBERG 78713                      GERMANY
PULLMAN, WA 99163                     GERMANY



[NAME REDACTED]                      SCI & RES INST OF SEMICONDUCTOR       SCIENCE APPLICATIONS INTERNATIONAL
[ADDRESS REDACTED]                   DEVICES                               CORP
                                     ATTN HEAD OF LAB 41                   12010 SUNSET HILLS RD
                                     99A, KRASNOARMEISKAYA STR             RESTON, VA 20190
                                     TOMSK 634034
                                     RUSSIA


SCIENCE APPLICATIONS INTERNATIONAL   SCIENCE APPLICATIONS INTL CORP        SCIENCE APPLICATIONS INTL CORP
CORP                                 10260 CAMPUS POINT DR                 ATTN VP PROCUREMENT DIR
ATTN VP/BU DEPUTY CONT DIR           SAN DIEGO, CA 92121                   4001 N FAIRFAX DR, STE 375
7990 SCIENCE APPLICATIONS COURT                                            ARLINGTON, VA 22203
VIENNA, VA 22182



SCIENCE DIFFUSION LTD                SCIENCE RESEARCH LAB INC              SCIENSCOPE INTERNATIONAL CO
ATTN DIRECTOR                        ATTN PRESIDENT                        ATTN GM
288A GLOUCESTER RD, HORFIELD         15 WARD ST                            5751 SCHAEFER AVE
BRISTOL BS7 8PD                      SOMERVILLE, MA 02143                  CHINO, CA 91710
UNITED KINGDOM



SCIENTECH CORP                       SCIENTIFIC & PRODUCTION ASSOCIATION   SCIENTIFIC APPS & RESEARCH ASSOC INC
ATTN CHAIRMAN                        PULSAR                                ATTN PRESIDENT
182 BADE RD                          ATTN DEPUTY DIR OF SCIENTIFIC WORK    621 S SIERRA MADRE ST
HSINCHU 30069                        27, OKRUZHNOY PROEZD                  COLORADO SPRINGS, CO 80903
TAIWAN                               MOSCOW 105187
                                     RUSSIA


SCIENTIFIC COMPONENTS CORPORATION    SCIENTIFIC GLASS                      SCIENTIFIC MATERIALS CORPORATION
DBA MINI-CIRCUITS                    ATTN CUSTOMER SERVICES                ATTN PROJ MGR
ATTN PRESIDENT                       201 NORTHSTAR CT                      31948 E FRONTAGE RD
13 NEPTUNE AVE                       SANFORD, FL 32771                     BOZEMAN, MT 59175
BROOKLYN, NY 11235



SCIENTIFIC SEALING TECH              SCIENTIFIC TEXTILES INC               SCINTERA NETWORKS INC
                                     ATTN OWNER                            ATTN VICE PRESIDENT
                                     339-C FARMER INDUSTRIAL BLVD          1154 SONORA CT
                                     NEWNAN, GA 30263                      SUNNYVALE, CA 94086




SCIS                                 SCITRONIX GMBH                        [NAME REDACTED]
13900 LINCOLN PARK DRIVE             ATTN CFO                              [ADDRESS REDACTED]
HERNDON, VA 20171-3264               RINGSTRASSE 1
                                     LAUTERBACH 6923
                                     AUSTRIA



[NAME REDACTED]                      [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]




SCOTIA CAPITAL (USA) INC (8118)      SCOTIA CAPITAL /CDS (5011)            [NAME REDACTED]
ATTN TIM CORSO OR PROXY MGR          ATT EVELYN PANDE OR PROXY DEPT        [ADDRESS REDACTED]
ONE LIBERTY PLAZA                    SCOTIA PLAZA
165 BROADWAY                         40 KING ST W, 23RD FL
NEW YORK, NY 10006                   TORONTO, ON M5H 1H1 CANADA
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 SCOTT
                                   [NAME REDACTED]                       Page  735 of
                                                                             TURBON    944INC
                                                                                    MIXER
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   ATTN SALES MGR
                                                                         9351 INDUSTRIAL WAY
                                                                         ADELANTO, CA 92301




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     SCOTTSDALE INS. CO.                  [NAME REDACTED]
[ADDRESS REDACTED]                  8877 N GAINEY CTR DR                 [ADDRESS REDACTED]
                                    SCOTTSDALE, AZ 85258-2108




SCRAM TECHNOLOGIES INC              SCREEN NORTH AMERICA HOLDINGS, INC   SCREEN SEMICONDUCTOR SOLUTIONS CO
ATTN VP OF OPERATIONS               SCREEN SPE USA, LLC                  LTD
2827 CHESAPEAKE BEACH RD            3151 JAY STREET, 210                 TENJINKITA-MACHI 1-1, TERANOUCHI-AGARU
DUNKIRK, MD 20754                   SANTA CLARA, CA 95054-3308           4-CHOME,
                                                                         HORIKAWA-DORI, KAMIGYO-KU
                                                                         KYOTO 6028585
                                                                         JAPAN

SCREEN SPE USA LLC                  SCREEN SPE USA LLC                   SCREEN TECHNOLOGY LTD
ATTN CHRIS RAMAGE                   P.O. BOX 45893                       ATTN CEO
820 KIFER RD, STE B                 SAN FRANCISCO, CA 94145-0893         UNIT 5, BUTTON HEAD, HARSTON
SUNNYVALE, CA 94086                                                      CAMBRIDGE CB2 5NX
                                                                         UNITED KINGDOM



[NAME REDACTED]                     [NAME REDACTED]                      S-CUBED INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   9 MARS CT
                                                                         P.O. BOX 365
                                                                         MONTVILLE, NJ 07045




[NAME REDACTED]                     SCULPTOR CAPITAL MANAGEMENT INC      [NAME REDACTED]
[ADDRESS REDACTED]                  9 WEST 57TH ST                       [ADDRESS REDACTED]
                                    40TH FLOOR
                                    NEW YORK, NY 10019
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 SDG&E
                                         [NAME REDACTED]                       Page 736 of 944
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 ATTN PM
                                                                             8335 CENTURY PARK CT, CP12E
                                                                             SAN DIEGO, CA 92123




SDI CORP                                  SDI GROUP INC                      SDI SEMICONDUCTOR INSTRUMENTS
260 SEC. 2 CHANG NAN RD                   ATTN ASST VP OF SALES DEPT         IRELAND LTD
CHANG HUA                                 260 SEC. 2 CHANG NAN RD            20 NEWTOWN ABBEY
TAIWAN                                    CHANG HUA                          TRIM
                                          TAIWAN                             MEATH
                                                                             IRELAND


SDL LIGHTING CO LTD                       S-DOCS INC                         SDT SAS
BUILDING A, HUAFA INDUSTRY PARK           521 FIFTH AVENUE 17TH FLOOR        DBA SODETAL
XINHE, FUYONG BAOAN                       NEW YORK, NY 10175-1799            ATTN CEO
SHENZHEN, GUANGDONG                                                          RTE NATIONALE
CHINA                                                                        TRONVILLE EN BARROIS 55310 FRANCE



SDV HONG KONG LTD                         SE CLEANROOMS INC                  SE SETCO SERVICE CO.
ATTN FINANCE MGR                          ATTN PRESIDENT                     2402 TECH CENTER PARKWAY, SUITE 200
UNIT 1605, 16/F, KERRY CARGO CENTER       624 N EEAST ST                     LAWRENCEVILLE, GA 30043-1363
55 WING KEI RD                            RALEIGH, NC 27604
KWAI CHUNG HONG KONG



SE&M CONSTRUCTORS INC                     SEA GULL LIGHTING PRODUCTS LLC     SEA INTEGRATORS, LLC
ATTN VP                                   ATTN DESIGN ENGINEER               P.O. BOX 113211
6441 E HWY 97                             301 W WASHINGTON ST                CARROLLTON, TX 75011-3201
ELM CITY, NC 27822                        RIVERSIDE, NJ 08075




SEA TECH INC                              SEA UNION ENG ENTERPRISES LTD      SEACOMP DISPLAYS INC
ATTN PRESIDENT                            9F-1, NO 19-3, SAN-CHUNG RD        DBA DISPLAYTECH LTD
825 NE CIRCLE BLVD                        NAN-KANG                           ATTN VP SALES
CORVALLIS, OR 97330-4208                  TAIPEL 115                         5840 S EL CAMINO REAL, STE 108
                                          TAIWAN                             CARLSBAD, CA 92008



SEAGATE TECHNOLOGY INC                    [NAME REDACTED]                    SEAGULL SCIENTIFIC
ATTN JEANNE LE ROY                        [ADDRESS REDACTED]                 15325 SE 30TH PL, STE 100
920 DISC DR                                                                  BELLEVUE, WA 98007
SCOTT VALLEY, CA 95066




SEAKR ENGINEERING INC                     SEAL METHODS INC                   [NAME REDACTED]
ATTN SR VP, PROGRAMS                      ATTN VP SALES                      [ADDRESS REDACTED]
6221 S RACINE CIR                         11915 SHOEMAKER AVE
CENTENNIAL, CO 80111-6427                 SANTA FE SPRINGS, CA 90670




SEALED AIR CORP                           [NAME REDACTED]                    SEALING DEVICES INC
ATTN SALES REP                            [ADDRESS REDACTED]                 ATTN MARKETING MGR
200 RIVERFRONT BLVD                                                          4400 WALDEN AVE
ELMWOOD PARK, NJ 07407                                                       LANCASTER, NY 14086




SEALITE PTY LTD                           [NAME REDACTED]                    SEAMOUNT ENGINEERING INC
ATTN DIR                                  [ADDRESS REDACTED]                 955 DEEP VALLEY DR, 4203
11 INDUSTRIAL DR                                                             PALOS VERDES PENINSULA, CA 90274
SOMMERVILLE, VIC 3912
AUSTRALIA
[NAME REDACTED] Case 25-90163           Document 87LLCFiled in TXSB on 07/03/25 SEA-PORT
                                           SEANEMIL                               Page 737   of 944
                                                                                         TECHNICAL SALES, INC.
[ADDRESS REDACTED]                          ATTN OWNER                             3630 130TH AVENUE NE
                                            9 COURTESY DR                          BELLEVUE, WA 98005
                                            THOMASVILLE, NC 27360




SEARCH SOLUTION GROUP INC                   SEASTAR CHEMICALS INC                  SEAT PLASTIC SRL
ATTN DIR STRATEGIC ACCOUNTS                 ATTN PRESIDENT & CEO                   ATTN CHIEF EXECUTIVE OFFICER
2201 S BLVD, STE 300                        10005 MCDONALD PARK RD                 VIA DOMENICO TOSI, 8
CHARLOTTE, NC 28203                         SIDNEY, BC V8L 5Y2                     REGGIO EMILIA 42124
                                            CANADA                                 ITALY



SEA-TAC LIGHTING AND CONTROLS               SEATTLE CITY LIGHT                     SEAVERS, ROBIN
ATTN OWNER                                  ATTN EFI NCP                           2518 S 85TH ST
615 STRANDER BLVD                           40 WASHINGTON ST, STE 2000             WEST ALLIS, WI 53227
SEATTLE, WA 98188-2922                      WESTBOROUGH, MA 01581




SEAVERS, ROBIN                              SEAWAY PLASTICS ENGINEERING INC        SEBASTIAN BALINT - MGM RESORTS
C/O ALAN C OLSON & ASSOCIATES SC            ATTN PRESIDENT                         ATTN SF MANAGER
ATTN ALAN C OLSON, ESQ                      6006 SIESTA LN                         840 GRIER DR
2880 S MOORLAND RD                          PORT RICHEY, FL 34668                  LAS VEGAS, NV 89119
NEW BERLIN, WI 53151-3744



[NAME REDACTED]                             SECO ARCHITECTURAL SYSTEMS INC         SECOM ILLUMINACION SL
[ADDRESS REDACTED]                          ATTN PRESIDENT                         ATTN DEVELOPMENT MGR
                                            3685 HEWATT CT, STE E                  C/MARTE, 18, MOLINA DE SEGURA
                                            SNELVILLE, GA 30039                    MURCIA 30500
                                                                                   SPAIN



SECOM SP Z OO A                             SECOND SOURCE, INC                     SECOND STORY INC
UL SERNICKA 21                              3 INDUSTRY STREET                      ATTN CREATIVE DIR
WROCLAW 50-503                              POUGHKEEPSIE, NY 12603-6714            714 N FREEMONT ST, 200
POLAND                                                                             PORTLAND, OR 97227




SECRETARY OF STATE FOR DEFENSE, THE         SECRETARY OF THE COMMONWEALTH OF       SECRETARY OF THE STATE, NC
ATTN PRINCIPAL ENGINEER                     MASSACHUSETTS                          2 SOUTH SALISBURY ST
PORTON DOWN                                 CORPORATIONS DIVISION                  NC 27601-2903
SALISBURY, WILTSHIRE SP4 0JQ                ONE ASHBURTON PLACE, 17TH FLOOR
UNITED KINGDOM                              BOSTON, MA 02108



SECRETARY OF THE STATE, NC                  SECURITIES AND EXCHANGE COMMISSION     SECURITIES AND EXCHANGE COMMISSION
P.O. BOX 29622                              ATLANTA REGIONAL OFFICE                BOSTON REGIONAL OFFICE
RALEIGH, NC 27626-0622                      ATTN: WALTER E. JOSPIN, REGIONAL DIR   ATTN: PAUL LEVENSON, REGIONAL DIR
                                            950 E PACES FERRY, NE, STE 900         33 ARCH ST, 24TH FL
                                            ATLANTA, GA 30326-1382                 BOSTON, MA 02110-1424



SECURITIES AND EXCHANGE COMMISSION          SECURITIES AND EXCHANGE COMMISSION     SECURITIES AND EXCHANGE COMMISSION
CHICAGO REGIONAL OFFICE                     DENVER REGIONAL OFFICE                 FORT WORTH REGIONAL OFFICE
ATTN: DAVID A. GLOCKNER, REGIONAL DIR       ATTN: JULIE K. LUTZ, REGIONAL DIR      ATTN: SHAMOIL SHIPCHANDLER, REG. DIR
175 W JACKSON BLVD, STE 1450                1961 STOUT ST, STE 1700                801 CHERRY ST, STE 1900, UNIT 18
CHICAGO, IL 60604                           DENVER, CO 80294-1961                  FORT WORTH, TX 76102



SECURITIES AND EXCHANGE COMMISSION          SECURITIES AND EXCHANGE COMMISSION     SECURITIES AND EXCHANGE COMMISSION
LOS ANGELES REGIONAL OFFICE                 MIAMI REGIONAL OFFICE                  NEW YORK REGIONAL OFFICE
ATTN: MICHELE WEIN LAYNE, REGIONAL DIR      ATTN: ERIC I. BUSTILLO, REGIONAL DIR   ATTN: ANDREW CALAMARI, REGIONAL DIR
444 S FLOWER ST, STE 900                    801 BRICKELL AVE, STE 1950             100 PEARL ST., STE. 20-100
LOS ANGELES, CA 90071                       MIAMI, FL 33131                        NEW YORK, NY 10004-2616
                  Case 25-90163
SECURITIES AND EXCHANGE   COMMISSION Document   87 AND
                                        SECURITIES   Filed  in TXSB
                                                        EXCHANGE       on 07/03/25 SECURITIES
                                                                   COMMISSION        Page 738  ANDof 944
                                                                                                    EXCHANGE  COMMISSION
PHILADELPHIA REGIONAL OFFICE            SALT LAKE CITY REGIONAL OFFICE             SAN FRANCISCO REGIONAL OFFICE
ATTN: G. JEFFREY BOUJOUKOS, REG. DIR    ATTN: RICHARD BEST, REGIONAL DIR           ATTN: JINA CHOI, REGIONAL DIR
ONE PENN CTR, 1617 JFK BLVD, STE 520    351 S. WEST TEMPLE ST, STE 6.100           44 MONTGOMERY ST, STE 2800
PHILADELPHIA, PA 19103                  SALT LAKE CITY, UT 84101                   SAN FRANCISCO, CA 94104



SECURITIES AND EXCHANGE COMMISSION        SECURITY PEOPLE INC                       SECURITYCO INC
SEC HEADQUARTERS                          ATTN SALES REP
100 F STREET, NE                          9 WILLOWBROOK CT
WASHINGTON, DC 20549                      PETALUMA, CA 94954




SED SYSTEMS INC                           SEDC ENGINEERING PC                       SEDGWICK CLAIMS MANAGEMENT SERVICES
ATTN SR RF SPECIALIST                     ATTN PRESIDENT                            825 NE MULTNOMAH ST
18 INNOVATION BLVD                        3737 GLENWOOD AVE, STE 100                PORTLAND, OR 97232
SASKATOON, SK S0K 4SD                     RALEIGH, NC 27612
CANADA



SEDONA VISUAL CONTROLS INC                [NAME REDACTED]                           [NAME REDACTED]
ATTN PRESIDENT                            [ADDRESS REDACTED]                        [ADDRESS REDACTED]
5214 BURLESON RD, STE 104
AUSTIN, TX 78744




SEEBACHER, DAVID                          SEEDS THAT FEED                           SEEGARS FENCE COMPANY INC OF RALEIG
INFFELDGASSE 12/451                       1920 EAST TOWNSHIP STREET                 P.O. BOX 98206
GRAZ 8010                                 FAYETTEVILLE, AR 72703-4164               RALEIGH, NC 27624-8206
AUSTRIA




SEEHAFEN TRANSPORTKONTOR                  SEEKON MICROWAVE                          [NAME REDACTED]
GILDEMEISTER GMBH                         ATTN ENGINEER                             [ADDRESS REDACTED]
ATTN ACTING PRES                          XIEJIACI 228
JUISTSTRASSE 8-10                         CHONGDU
BREMEN D-28217                            CHINA
GERMANY


SEER INTERACTIVE LLC                      SEER INTERACTIVE LLC                      SEER SOFTWARE TECHNOLOGIES INC
ATTN WIL REYNOLDS                         C/O THE ERB LAW FIRM, PC                  ATTN PRESIDENT
1028 N 3RD ST                             ATTN J CHRISTOPHER ERB                    3469 MARITIME GLENN
PHILADELPHIA, PA 19123                    20 S VALLEY RD, 103                       GAINESVILLE, GA 30506
                                          PAOLI, PA 19301



SEESCAN INC                               SEESMART INC                              SEFAR PRINTING SOLUTIONS INC
ATTN PRESIDENT                            ATTN DIR OF ENGINEERING                   ATTN PRESIDENT
3855 RUFFIN RD                            4139 GAURDIAN ST                          3796 DUNLAP ST N
SAN DIEGO, CA 92123                       SIMI VALLEY, CA 93063                     ARDEN HILLS, MN 55112




SEFX2 LLC                                 [NAME REDACTED]                           SEGGER MICROCONTROLLER SYSTEMS LLC
ATTN MANAGING MEMBER                      [ADDRESS REDACTED]                        ATTN TECH SALES MGR
P.O. BOX 30105                                                                      106 FRONT ST
4901 SPICEWOOD SPRINGS RD                                                           WINCHENDON, MA 01475
AUSTIN, TX 78755



SEGI KRISTAL MANAGEMENT (M) SDN BHD       [NAME REDACTED]                           SEI GROUP INC
B12A-1, 1ST FLOOR JALAN SELAMAN 1         [ADDRESS REDACTED]                        303 WILLIAMS AVE SW, STE 135
AMPANG 3150                                                                         HUNTSVILLE, AL 35758
MALAYSIA
SEI INC DBA SERVICECase  25-90163
                    EXPRESS INC          Document   87 TST
                                            SEI PRIVATE Filed  in TXSB on 07/03/25 SEIDLER
                                                           CO (2039,2663)            PageCHEMICAL
                                                                                           739 of 944
DEPT 6306 P.O. BOX 30516                     ATT ERIC GREENE OR PROXY MGR             ATTN PRESIDENT
LANSING, MI 48909-8016                       ONE FREEDOM VALLEY DR                    537 RAYMOND BLVD
                                             OAKS, PA 19456                           NEWARK, NJ 07105




[NAME REDACTED]                              [NAME REDACTED]                          SEIKO ELECTRIC CO LTD
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                       ATTN PRES
                                                                                      2-4-27 SAKAIGAWA
                                                                                      NISHI-KU
                                                                                      OSAKA 550-0024 JAPAN



SEIKO INSTRUMENTS INC                        SEIKOH GIKEN CO LTD                      [NAME REDACTED]
ATTN PRESIDENT                               ATTN GENERAL MGR                         [ADDRESS REDACTED]
8, NAKASE 1-CHOME, MIHAMA-KU                 PHOTONIC DEVICE DEPARTMENT
CHIBA-SHI, CHIBA 261-8507                    296-1, MATSUHIDAI
JAPAN                                        MATSUDO-SHI, CHIBA 270-2214 JAPAN



[NAME REDACTED]                              SEIUN CONSULTING                         SEIWA ELECTRIC MFG CO LTD
[ADDRESS REDACTED]                           8303 COLESVILLE RD, APT 293              ATTN PRESIDENT
                                             SILVER SPRING, MD 20910                  36, TERADA-SHINIKE
                                                                                      JOYO, KYOTO 610-0192
                                                                                      JAPAN



[NAME REDACTED]                              SEKELA, GREG                             SEKI TECHNOTRON CORP
[ADDRESS REDACTED]                           5501 COUNTY HWY BB                       ATTN MAKOTO SEKI, PRES
                                             GILLETT, WI 54124                        6F FUKAGAWA CENTRAL BLDG
                                                                                      2-19-5 KIBA, KOTO-KU
                                                                                      TOKYO 135-0042 JAPAN



SEKI TECHNOTRON CORP                         SEKI TECHNOTRON CORP                     SEKISUI CHEMICAL CO LTD
ATTN TATSUYOSHI UEDA                         ATTN TATSUYOSHI UEDA, DEPT MGR           ATTN R&D GENERAL MGR
5-6-35 KIBA                                  5-6-30 KIBA, KOTO-KU                     TORANOMON2-3-17
KOTO-KU                                      TOKYO 135-0042                           MINATO-KU
TOKYO 135-0042 JAPAN                         JAPAN                                    TOKYO JAPAN



SEKO WORLDWIDE LLC                           SEKO WORLDWIDE                           SEKONIX CO LTD
ATTN PRESIDENT & CEO                         ATTN GEN MGR                             ATTN VICE PRESIDENT
1100 ARLINGTON HEIGHTS RD, STE 600           2520 S TRICENTER BLVD                    146-16 SANGBONGARMDONG
ITASCA, IL 60143                             DURHAM, NC 27713                         DONGDUCHEON, GYEONGGI-DO
                                                                                      SOUTH KOREA



SEKORM LIMITED                               SEKORM LTD                               SEKORM LTD
23 F, BUILDING 3A                            ATTN CALVIN XIAO                         ATTN PRESIDENT
1ST PHASE, TIANAN CLOUD PARK, NO. 2018       RM A & B, 11/F, BLK 1, CAMELPAINT BLDG   UNIT 1, 19/F, ASIA TRADE CTR
XUEGANG RD.                                  NO 62 HOI YUEN RD                        79 LEI MUK RD, KWAI CHUNG
LONGGANG DISTRICT                            KOWLOON HONG KONG                        NEW TERRITORIES HONG KONG
SHENZHEN 518129 CHINA


SEL ENGINEERING SERVICES INC,                [NAME REDACTED]                          [NAME REDACTED]
2350 NE HOPKINS COURT                        [ADDRESS REDACTED]                       [ADDRESS REDACTED]
PULLMAN, WA 99163-5603




SELC IRELAND LTD/SELC EIREANN                SELECT GROUP US LLC, THE                 SELECT SALES INC
TEORANTA                                     ATTN CONTRACTS ADMIN                     ATTN ACCT MANAGER
ATTN BUS DEV MGR                             5520 CAPITAL CENTER DR                   7750 W 78TH ST
206 Q HOUSE, FURZE RD                        RALEIGH, NC 27606                        BLOOMINGTON, MN 55439
SANDYFORD
DUBLIN 18 IRELAND
                  Case 25-90163
SELECTIVE SALES INC                  Document  87 Filed in TXSB
                                        SELEX COMMUNICATION LIMITED on 07/03/25 SELEX
                                                                                  Page  740 of 944 LTD
                                                                                      COMMUNICATIONS
143 E CAPITOL DR                         ATTN VP UK LEGAL & COMMERCIAL         ATTN COMMERCIAL MGR
HARTLAND, WI 53029                       W HANNINGFIELD RD, GREAT BADDOW       LAMBDA HOUSE, CHRISTOPHER MARTIN RD
                                         CHELMSFORD                            BASILDON
                                         ESSEX CM2 8HN UNITED KINGDOM          ESSEX SS14 3EL UNITED KINGDOM



SELEX ES LTD                             [NAME REDACTED]                       [NAME REDACTED]
SIGMA HOUSE, CHRISTOPHER MARTIN RD       [ADDRESS REDACTED]                    [ADDRESS REDACTED]
BASILDON, ESSEX SS14 3EL
UNITED KINGDOM




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       SELX COMMUNICATIONS SPA
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    ATTN MATERIALS ENGINEERING MGR
                                                                               VIA PIERAGOSTINI 80
                                                                               GENOVA 16151
                                                                               ITALY



[NAME REDACTED]                          SEMATOOL MOLD & DIE CO                SEMATRON ITALIA SRL
[ADDRESS REDACTED]                       ATTN OWNER                            ATTN MARIO CIRO RIZZO
                                         3350 SCOTT BLVD                       VALE MARX 153/2
                                         SANTA CLARA, CA 95054                 ROMA 00137
                                                                               ITALY



SEMATRON ITALIA SRL                      SEMATRON ITALIA SRL                   SEMBLEX CORP
ATTN MARIO CIRO RIZZO, PRESIDENT         ATTN MARIO CIRO RIZZO, PRESIDENT      ATTN DIR OF FIELD SALES
VIA MAZZINI 46                           VIALE MARX 135/2                      900 N CHURCH RD
TREZZO SULLADDA MI 20056                 ROMA 00137                            ELMHURST, IL 60126
ITALY                                    ITALY



SEMCON DEVOTEK AS                        SEMELAB LTD                           SEMI DICE, INC.
ATTN GENERAL MANAGER                     ATTN FIN DIR                          10961 BLOOMFIELD ST.
DYRMYGATA 47                             COVENTRY RD, LUTTERWORTH              P.O. BOX 3002
P.O. BOX 384                             LEICSTERSHIRE LE17 4JB                LOS ALAMITOS, CA 90720
KONGSBERG 3604 NORWAY                    UNITED KINGDOM



SEMI DICE, INC.                          SEMI TECNOLOGY SOLUTIONS LLC          SEMICAT INC
ATTN: DANIEL M. CORMACK, CEO             ATTN MANAGING PARTNER                 13801 HUTTON DRIVE
10961 BLOOMFIELD STREET                  535 W IRON AVE, STE 104               FARMERS BRANCH, TX 75234-9039
LOS ALAMITOS, CA 90720                   MESA, AZ 85210




SEMICOA CORP                             SEMICON PHOTOMETROLOGY SOLUTIONS      SEMICON PRECISION INDUSTRIES INC
ATTN VP STRATEGIC MKTG                   SEMIPHOTOMET                          ATTN PRESIDENT
333 MCCORMICK AVE                        413 TRAILS CT.                        8903 SOVEREIGN ROW
COSTA MESA, CA 92626                     GARLAND, TX 75043-9998                DALLAS, TX 75247
SEMICON TOOLS INCCase 25-90163      Document 87 Filed
                                       SEMICONDUCTOR   in TXSB on 07/03/25 SEMICONDUCTOR
                                                     CHARACTERIZATION        Page 741 ofCOMPONENTS
                                                                                         944
ATTN VP SALE/MKTG                       INSTRUMENTS                           INDUSTRIES LLC
554 N STATE RD                          ATTN PRESIDENT                        DBA ON SEMICONDUCTOR
BRIARCLIFF MANOR, NY 10510              146 COLUMBIA HEIGHTS, STE 2           ATTN SVP
                                        BROOKLYN, NY 11201                    5005 E MCDOWELL RD, MS C200
                                                                              PHOENIX, AZ 85008


SEMICONDUCTOR COMPONENTS                SEMICONDUCTOR DEPOSITIONS LLC         SEMICONDUCTOR ENGINEERING PRODUCTS
INDUSTRIES LLC                          ATTN PARTNER/PRES                     LLC
DBA ONSEMI                              8714 E VISTA DR                       60 RIVERSIDE DRIVE
ATTN CPO                                SCOTTSDALE, AZ 85250                  WRENTHAM, MA 02093-1453
5701 N PIMA RD
SCOTTSDALE, AZ 85250


SEMICONDUCTOR EQUIPMENT CORP            SEMICONDUCTOR EQUIPMENT SPECIALIST    SEMICONDUCTOR INDUSTRY ASSOCIATION
5154 GOLDMAN AVENUE                     INC                                   1101 K STREET, NW, SUITE 450
MOORPARK, CA 93021-1760                 ATTN CEO                              WASHINGTON, DC 20005-7037
                                        2609 N OGDEN RD, STE 102
                                        MESA, AZ 85215



SEMICONDUCTOR MATERIALS INC             SEMICONDUCTOR PACKAGING SOLUTIONS     SEMICONDUCTOR RESOURCES INC
ATTN PROD MGR                           ATTN PRES / OWNER                     ATTN VP
22108 S VERMONT AVE, UNIT 101           28659 BRIGADOON CT                    6055 BRENT DR
TORRANCE, CA 90502                      LAKE ARROWHEAD, CA 92352              TOLEDO, OH 43611




SEMICONDUCTOR SUPPORT SERVICES CO       SEMICONDUCTOR TECHNOLOGY RESEARCH     SEMICORE EQUIPMENT, INC
4715 STEINER RANCH BLVD                 US INC                                470 COMMERCE WAY
AUSTIN, TX 78732                        ATTN PRESIDENT                        LIVERMORE, CA 94551-5215
                                        10404 PATTERSON AVE, STE 108
                                        RICHMOND, VA 23238



SEMI-GENERAL INC                        SEMIKRON DANFOSS GMBH                 SEMIKRON DANFOSS GMBH
ATTN PRESIDENT                          11 EXECUTIVE DR                       ATTN BJORN ASMUSSEN
1 INDEPENDENCE DR                       P.O. BOX 66                           HUSUMER STRASSE 251
LONDONBERRY, NH 03053                   HUDSON, NH 03051                      FLENSBURG 24941
                                                                              GERMANY



SEMIKRON DANFOSS GMBH                   SEMIKRON DANFOSS SRL                  SEMIKRON ELEKTRONIC GMBH & CO KG
ATTN: BJORN ASMUSSEN                    SEMIKRON SRL VIA LAURENTINA           ATTN CEO
HUSUMER STRAßE 251                      ROME/POMEZIA 00071                    SIGMUNDSTRASSE 200
FLENSBURG 24941                         ITALY                                 NURNBERG 90431
GERMANY                                                                       GERMANY



SEMIKRON INC                            SEMIKRON INTERNATIONAL GMBH           SEMILAB USA LLC
11 EXECUTIVE DR                         ATTN DIR R&D                          101 BILLERICA AVENUE
HUDSON, NH 03051                        SIGMUNDSTRASSE 200                    NORTH BILLERICA, MA 01862-1271
                                        NUREMBERG 90431
                                        GERMANY



SEMILEDS CORP                           SEMILEDS OPTOELECTRONICS CO LTD       SEMILEDS OPTOELECTRONICS CO LTD
ATTN CEO                                ATTN CHAIRMAN                         ATTN TRUNG TRI DOAN, CHAIRMAN & CEO
615 S DUPONT HWY                        3F, NO 11, KE JUNG RD, CHU-NAN SITE   999 MAIN ST, STE 1010
DOVER, DE 19901                         HSINCHU SCIENCE PARK, CHU-NAN         BOISE, ID 83702
                                        MIAO-LI COUNTY 350 TAIWAN



SEMILEDS OPTOELECTRONICS CO LTD         SEMINCONDUCTOR COMPNENTS              SEMINET AUTOMATION
C/O BAKER BOTTS LLP                     INDUSTRIES LLC                        ATTN VP OF OPERATIONS
ATTN G HOPKINS GUY III, ESQ             ATTN CORPORATE CONTRACTS MGR          25000 AVE STANFORD
1001 PAGE MILL RD                       5005 E MCDOWELL RD                    VALENCIA, CA 91355
PALO ALTO, CA 94304                     PHOENIX, AZ 85008
SEMINET INC        Case 25-90163     Document  87OPTOELECTRON
                                        SEMIPEAK   Filed in TXSB   on 07/03/25 SEMIPROBE
                                                              CO LTD             Page 742LLCof 944
ATTN VP ENG                              ATTN GENERAL MANAGER                  ATTN PRESIDENT
160 GREAT OAKS BLVD                      RM 1202, 12/F, HSH MONGKOK PL         FARRELL HALL, 210 COLCHESTER AVE
SAN JOSE, CA 95119                       NATHAN RD, MONGKOK                    BURLINGTON, VT 05405
                                         KOWLOON 794-802 HONG KONG



SEMIQUIP/WEST                            SEMITOOL INC                          SEMITOOL INC
ATTN PRESIDENT                           ATTN ACCT MANAGER                     ATTN DIR OF CUSTOMER SERVICE
1953 E DUKE DR                           2881 SCOTT BLVD M/S 2062              655 W RESERVE DR
TEMPE, AZ 85283                          SANTA CLARA, CA 95050                 KALISPELL, MT 59901




SEMITORR GROUP INC.                      SEMITORR GROUP LLC                    SEMITORR GROUP LLC
10655 SW MANHASSET DRIVE                 3750 HIGHWAY 225                      DBA CTW SOLUTIONS
TUALATIN, OR 97062-8588                  PASADENA, TX 77503                    ATTN DIR, LEGAL
                                                                               7175 NE EVERGREEN PKWY, STE 200
                                                                               HILLSBORO, OR 97124



[NAME REDACTED]                          SEMPLASTICS LLC                       [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN VICE PRESIDENT                   [ADDRESS REDACTED]
                                         724 FENTRESS BLVD
                                         DAYTONA BEACH, FL 32114




SEMTECH CORPORATION                      SEMTECH SOLUTIONS INC                 [NAME REDACTED]
ATTN ASST GEN COUNSEL                    ATTN PRESIDENT                        [ADDRESS REDACTED]
200 FLYNN RD                             6 EXECUTIVE PARK DR
CAMARILLO, CA 93012                      NORTH BILLERICA, MA 01862




SENCORPWHITE INC                         SENECA5 INC                           [NAME REDACTED]
PREVIOUSLY WHITE SYSTEMS                 ATTN PRESIDENT                        [ADDRESS REDACTED]
400 KIDDS HILL ROAD                      417 N BOYLAN AVE, STE 102
HYANNIS, MA 02601-1850                   RALEIGH, NC 27603




SENERGY INTELLUTION PVT LTD              SENERGYTECH                           [NAME REDACTED]
ATTN DIRECTOR                            ATTN CEO                              [ADDRESS REDACTED]
351, RAHEJA TESLA INDUSTRIAL, MIDC       2102 EL DORADO WY
JUINAGAR                                 CARROLLTON, TX 75006
NAVI MUMBAI INDIA



[NAME REDACTED]                          [NAME REDACTED]                       SENGLED CO LTD
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    ATTN LILY XU
                                                                               10TH FLOOR, BUILDING C
                                                                               NO 1582 GUMEI RD, XUHUI DIST
                                                                               SHANGHAI 200233 CHINA



SENGLED CO LTD                           SENGLED OPTO ELECTRONICS CO LTD       [NAME REDACTED]
ROOM 201/15, BUILDING 1                  ECONOMIC PARK, WUZHEN                 [ADDRESS REDACTED]
NO 498 GUOSHOUJING ROAD                  TONGXIANG, ZHEJIANG
PILOT FREE TRADE ZONE                    CHINA
SHANGHAI 201308 CHINA



SENIOR OPERATIONS LLC                    SENJU METAL INDUSTRY CO LTD           [NAME REDACTED]
ATTN DIR OF SALES & MKTG                 ATTN GM, ADVANCED TECH                [ADDRESS REDACTED]
1075 PROVIDENCE HWY                      SENJU HASHIDO-CHO 23
SHARON, MA 02067                         ADACHI-KU
                                         TOKYO 120-8555 JAPAN
SENS4 A/S      Case 25-90163         Document  87 LTD
                                        SENSA-LIGHT Filed in TXSB on 07/03/25 SENSARRAY
                                                                                Page 743INCof 944
NORDRE STRANDVEJ 119G                    ATTN DON QUEEN                        5451 PATRICK HENRY DR
HELLEBAEK 3150                           1007F 55 AVE NE                       SANTA CLARA, CA 95054
DENMARK                                  CALGARY, AB T2E 6W1
                                         CANADA



SENSATA TECHNOLOGIES CHINA CO LTD        SENSE PRODUCTION LIMITED              SENSEG OY
ATTN PRESIDENT                           ROOM 1704, 17/F                       ATTN VP ENGINEERING
30TH FL, INTERCONTINENTAL CENTER         HONG KONG 999077                      LARS SONCKIN KAARI 12
100 YU TONG RD, ZHA BEI DISTRIC          HONG KONG                             ESPOO 02600
SHANGHAI 200070 CHINA                                                          FINLAND



SENSIS CORPORATION                       SENSIS CORPORATION                    SENSITRON SEMICONDUCTOR
ATTN BRIAN EDWARD, RF SYSTEMS            ATTN CONTRACTS MGR                    ATTN SALES DIR
ENGINEER                                 5793 WIDEWATERS PARKWAY               221 W INDUSTRY CT
85 COLLAMER CROSSINGS EAST               DEWITT, NY 13214                      DEER PARK, NY 11729
SYRACUSE, NY 13057



SENSITTY SYSTEMS INC                     SENSOR PRODUCTS INC                   SENSORS & ANTENNAS LANSDALE INC
ATTN DIRECTOR                            300 MADISON AVENUE                    ATTN PRINCIPLE RF ENGINEER
480 OAKMEAD PKWY                         MADISON, NJ 07940-1868                305 RICHARDSON RD
SUNNYVALE, CA 94085                                                            LANSDALE, PA 19446




SENSORS FOR MEDICINE & SCIENCE INC       SENSUS USA INC                        SENTRAL GROUP LLC, THE
ATTN CEO                                 ATTN VP OF MARKETING                  ATTN CFO
12321 MIDDLEBROOK RD                     8601 SIX FORKS RD, STE 300 & 700      595 BOND ST
GERMANTOWN, MD 20874                     RALEIGH, NC 27615                     LINCOLNSHIRE, IL 60069




SENTRO TECH CORPORATION                  SENTRY AIR SYSTEMS INC                SENTRY INSURANCE A MUTUAL COMPANY
ATTN SALES MGR                           21221 FM 529 RD.                      1800 N POINT DR
296 KARL ST                              CYPRESS, TX 77433-5139                STEVENS POINT, WI 54481
BEREA, OH 44017




[NAME REDACTED]                          SEOUL NATIONAL UNIVERSITY             SEOUL SEMICONDUCTOR CO LTD
[ADDRESS REDACTED]                       ATTN GRADUATE STUDENT                 148-29 GASAN-DONG, GEUMCHEON-GU
                                         132-308 INST OF NEW MEDIA AND COMM    SEOUL 153 801
                                         SAN 56-1, SHILLIM-DONG, KWANAK-GU     SOUTH KOREA
                                         SEOUL 151-742 SOUTH KOREA



SEOUL SEMICONDUCTOR CO LTD               SEP CO., LTD                          [NAME REDACTED]
97-11, SANDAN-RO 163BEON-GIL             2B-19 LOT, 930, GOSAEK-DONG, GWONSE   [ADDRESS REDACTED]
DANWON-GU                                SUWON-SI 16643
ANSAN, GYEONGGI-DO                       SOUTH KOREA
SOUTH KOREA



SEPS TECHNOLOGIES AB                     SEPTAGON RESEARCH GROUP LLC           SERCEL-GRC CORP
ATTN CEO                                 ATTN CEO                              ATTN ELECTRICAL DESIGN ENGINEER
AKROKEN SCIENCE PARK, STORGATAN 90       1910 PIPERWOOD CT                     6540 E APACHE ST
SUNDSVALL 81 70                          DURHAM, NC 27713                      TULSA, OK 74115
SWEDEN



SERCOMM CORP                             SERENE DRIVE LLC                      SERENE DRIVE LLC
ATTN GENERAL MNG, ISBU                   21 WATERWAY AVE                       41450 BOSCELL ROAD
8F, NO 3-1, YUANQU ST                    STE 225                               FREMONT, CA 94538-3103
NANKANG SOFTWARE PARK                    THE WOODLANDS, TX 77380
TAIPEI 105 TAIWAN
SERENGETI LAW      Case 25-90163      Document  87 Filed in TXSB on 07/03/25 SERIGRAPH
                                         [NAME REDACTED]                       Page 744INC of 944
ATTN VP SALES                             [ADDRESS REDACTED]                   ATTN SVP PRODUCT DVPT
155 108TH AVE NE, STE 650                                                      3801 E DECORAH RD
BELLEVUE, WA 98004                                                             WEST BEND, WI 53095




SERKAN ERDEN                              [NAME REDACTED]                      [NAME REDACTED]
                                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




SERT SYSTEMS INC                          SERTECH INC                          SERUS CORP
ATTN OWNER                                ATTN PRESIDENT                       DBA SERUS
2320 PRESIDENTIAL DR, STE 101             1380 WELSH RD                        ATTN SVP
DURHAM, NC 27703                          MONTGOMERYVILLE, PA 18934            785 N MARY AVE, STE 100
                                                                               SUNNYVALE, CA 94085



SERVICE CHEMICAL LLC                      SERVICE EXPRESS                      SERVICE LIGHTING & ELECTRICAL SUPPLIES
DBA CLEAN HARBORS DISPOSAL SERVICES       ATTN VP OF FINANCE                   INC
ATTN GEN MGR                              3854 BROADMOOR AVE SE                ATTN ACCOUNT MGR
221 SUTTON ST                             GRAND RAPIDS, MI 49512               2140 MERRIT DR
NORTH ANDOVER, MA 01845                                                        GARLAND, TX 75041



SERVICE PACKAGING DESIGN INC              [NAME REDACTED]                      SERVICENOW INC
ATTN PRESIDENT                            [ADDRESS REDACTED]                   4810 EASTGATE MALL
6238 LINCOLN AVE                                                               SAN DIEGO, CA 92121-1977
MORTON GROVE, IL 60053




SERVICENOW, INC.                          SERVO SOUTH INC                      SERVOMEX COMPANY
2225 LAWSON LANE                          ATTN PRESIDENT                       12300 DAIRY ASHFORD, STE. 400
SANTA CLARA, CA 95054                     515 PLATO LEE RD                     SUGAR LAND, TX 77478-6234
                                          SHELBY, NC 28150




SERVPRO OF SANTA BARBARA                  SERVPRO OF SOURTH DURHAM & ORANGE    SESALY
O/B/O SERVPRO INDUSTRIES INC              CO                                   ATTN INNOVATIVE RESEARCH
ATTN PRESIDENT                            ATTN PRESIDENT                       71 IMPASSE DE LA BALME
6485 CALLE REAL, STE H                    607 ELLIS RD                         ST PRIEST CEDEX 69808
GOLETA, CA 93117                          DURHAM, NC 27703                     FRANCE



[NAME REDACTED]                           [NAME REDACTED]                      SESCO LIGHTING INC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   ATTN CEO
                                                                               1133 W MORSE BLVD, STE 100
                                                                               WINTER PARK, FL 32789




[NAME REDACTED]                           SET GMBH                             SETARAM INC
[ADDRESS REDACTED]                        AUGUST-BRAUN-STRASSE 1               ATTN SALES & MARKETING
                                          WANGEN/ALLGAEU 88239                 8430 CENTRAL AVE, STE C
                                          GERMANY                              NEWARK, CA 94560
                  Case
SETON IDENTIFICATION    25-90163
                     PRODUCTS      Document  87SOLUTIONS
                                      SETPOINT    Filed inINCTXSB on 07/03/25 SETRA
                                                                                Page  745 ofINC
                                                                                    SYSTEMS   944
P.O. BOX 819                           ATTN VP                                ATTN DIR OF SALES
BRANFORD, CT 06405-0819                10419 CLUB CAR CT                      159 SWANSON RD
                                       CHARLOTTE, NC 28227                    BOXBOROUGH, MA 01719




SETRA SYSTEMS, INC                     [NAME REDACTED]                        [NAME REDACTED]
159 SWANSON ROAD                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]
BOXBOROUGH, MA 01719-1316




[NAME REDACTED]                        SEVAN MULTI-SITE SOLUTIONS LLC         SEVCON LIMITED
[ADDRESS REDACTED]                     3025 HIGHLAND PKWY, STE 850            ATTN LOGISTIC CONTROLLER
                                       DOWNERS GROVE, IL 60515                MILTON PARK INNOVATION CENTER
                                                                              99 MILTON PARK
                                                                              ABINGDON, OXFORDSHIRE OX14 4RY
                                                                              UNITED KINGDOM


SEVCON LTD                             SEVENTHWAVE INC                        [NAME REDACTED]
ATTN HEAD OF DEV                       ATTN PRESIDENT                         [ADDRESS REDACTED]
KINGSWAY S                             749 UNIVERSITY ROW, STE 320
GATESHEAD NE11 0QA                     MADISON, WI 53705
UNITED KINGDOM



[NAME REDACTED]                        SEW-EURODRIVE GMBH & CO KG             SEWON TELETECH INC
[ADDRESS REDACTED]                     ATTN DIR R&D ELECTRONIC                53, JEONPA-RO 44 BEON-GIL
                                       ERNST-BLICKLE-STR 42                   ANYANG-SI, GYEONGGI-DO 430-817
                                       BRUCHSAL 76646                         SOUTH KOREA
                                       GERMANY



SEWON TELETECH INC                     SEXTON & PEAKE INC                     [NAME REDACTED]
ATTN ENGINEER                          ATTN OFFICE MGR                        [ADDRESS REDACTED]
881 KWANYANG, DONGAHN                  9687 GERWIG LN
ANYANG, KYUNGHI 431 804                COLUMBIA, MD 21046
SOUTH KOREA



SEYBERT CASTINGS INC                   [NAME REDACTED]                        [NAME REDACTED]
ATTN SALES ENG MGR                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]
1840 COUNTY LINE RD, UNIT 108
HUNTINGDON VALLEY, PA 19006




SEZ AMERICA                            SF MOTORS INC                          SFAPEX LLC
ATTN VP OF TECHNICAL OPERATIONS        ATTN SR MANAGER                        ATTN DIR SALES & MKTG
4829 S 38TH ST                         3303 SCOTT BLVD                        30 CHALICE TRL
PHOENIX, AZ 85040                      SANTA CLARA, CA 94086                  SUGAR LAND, TX 77498




SFILIGOI SRL                           SFLA ARCHITECTS PA                     SFN GROUP INC
ATTN PRES                              ATTN PRINCIPAL                         ATTN LAW DEPARTMENT
VIA A MAGIO 21                         333 FAYETTEVILLE ST, STE 225           2050 SPECTRUM BLVD
BASSANO DEL GRAPPA 36061               RALEIGH, NC 27601                      FORT LAUDERDALE, FL 33309
ITALY



SG AMERICAS SECS, LLC (0286)           SG AMERICAS SECURITIES LLC             SG DESIGNS
ATT PAUL MITSAKOS OR PROXY MGR         245 PARK AVE                           ATTN PROPIETOR
1221 AV OF THE AMERICAS                NEW YORK, NY 10167                     5 COLLEGE CT, MACCLESFIELD
NEW YORK, NY 10020                                                            CHESHIRE SK11 8HN
                                                                              UNITED KINGDOM
                 Case 25-90163
SGG IMMOBILIEN VERWALTUNG GMBH        Document  87 CORPORATION
                                         SGL CARBON Filed in TXSB on 07/03/25 SGL
                                                                                Page  746LLCof 944
                                                                                  CARBON
EINSTEINSTRASSE 14                        ATTN: PETER ZIMMER                    ATTN PRES
UNTERSCHLEISSHEIM 85716                   900 THERESIA STREET                   8600 BILL FICKLEN DR
GERMANY                                   ST. MARYS, PA 15857-1832              CHARLOTTE, NC 28269




SGL CARBON LLC                            SGL CARBON LLC                        SGL CARBON SE
ATTN PRESIDENT                            ATTN PRESIDENT                        SOHNLEINSTRABE 8
10715 DAVID TAYLOR DR                     900 THERESIA ST                       WIESBADEN 65201
CHARLOTTE, NC 28262                       ST MARYS, PA 15857                    GERMANY




SGL CARBON, LLC                           SGLUX SOL GEL TECHNOLOGIE             SGLUX SOLGEL TECHNOLOGIES GMBH
ATTN: LEGAL DEPARTMENT                    OSTENDSTR, 25                         ATTN DIR
10715 DAVID TAYLOR DRIVE, SUITE 460       BERLIN 12459                          OSTENDSTR 25
CHARLOTTE, NC 28262                       GERMANY                               BERLIN D-12459
                                                                                GERMANY



SGM SPA                                   SGS CHINA CO LTD                      SGS NORTH AMERICA INC.
ATTN TECH DIR                             16TH FL, BLOCK A, NO 73, FUCHENG RD   201 ROUTE 17N, 17TH FLOOR
VIA PIO LA TORRE 1                        CENTURY YUHUI MANSION, HAIDIAN DIST   RUTHERFORD, NJ 07070-3901
TAVULLIA PU 61010                         BEIJING
ITALY                                     CHINA



SGS NORTH AMERICA INC.                    SGS TAIWAN LTD                        SGS-CSTC STANDARDS TECHNICAL SVCS
P.O. BOX 2502                             ATTN JOCELYN LIN                      CO LTD
CAROL STREAM, IL 60132-2502               33, WU CHYUAN RD                      ATTN AREA MGR
                                          NEW TAIPEI IND PARK, WU KU DISTRICT   4/F, 1 1ST ST, XIA MEI LIN
                                          NEW TAIPEI CITY 24886 TAIWAN          FU TIAN DISTRICT
                                                                                SHENZHEN 518033 CHINA


SGX SENSORTECH MA LTD                     SH BASNIGHT & SONS INC                SH ENGINEERING & MFG INC
ATTN DIR SALES & MARKETING                ATTN PRESIDENT                        575 SOUTHSIDE DRIVE SUITE D
SIRIUS HOUSE, WATERY LN                   6909 DODSONS CROSSROADS               GILROY, CA 95020-7031
WOOBURN GREEN, HIGH WYCOMBE               HILLSBOROUGH, NC 27278
BUCKINGHAMSHIRE HP10 0AP UNITED
KINGDOM


[NAME REDACTED]                           SHADDOCK, ANN M                       [NAME REDACTED]
[ADDRESS REDACTED]                        227 MONTIBELLO DR                     [ADDRESS REDACTED]
                                          CARY, NC 27513




[NAME REDACTED]                           SHADOW-CASTER                         [NAME REDACTED]
[ADDRESS REDACTED]                        ATTN PRESIDENT                        [ADDRESS REDACTED]
                                          1420 HALES HOLLOW DR
                                          DUNEDIN, FL 34698




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  747 of 944
                                                                                REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         SHAHID BEHESHTI UNIVERSITY            [NAME REDACTED]
[ADDRESS REDACTED]                      VELENJAK, DANESHJOO SQ                [ADDRESS REDACTED]
                                        TEHRN 09821
                                        IRAN




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         SHAMBAUGH & SON LP                    SHAMBAUGH
[ADDRESS REDACTED]                      ATTN VP OF CONTRACTS                  P.O. BOX 1287
                                        7614 OPPORTUNITY DR                   FORT WAYNE, IN 46801-1287
                                        FORT WAYNE, IN 46825




SHAMROCK ENVIRONMENTAL CORPORATION      SHAMROCK ENVIRONMENTAL CORPORATION    [NAME REDACTED]
3500 LAKE HERMAN DR                     ATTN SHANNON CROTTS                   [ADDRESS REDACTED]
BROWNS SUMMIT, NC 27214                 6106 CORPORATE PARK DRIVE
                                        BROWNS SUMMIT, NC 27214




[NAME REDACTED]                         [NAME REDACTED]                       SHANDONG PROSPEROUS STAR OPTOELEC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    CO LTD
                                                                              MARKETING CENTRE RM 1203-4, BLDG 4
                                                                              MEINIAN SQUARE
                                                                              SHEKOU, SHENZHEN 518067
                                                                              CHINA


SHANDONG UNIVERSITY OF SCIENCE & TECH   SHANG HAI MEI NIAN MEN                SHANG HAI SHI QI CHE XIU LI YOU XIA
ATTN STUDENT                            ZHEN BU YOU XIAN GONG SI              GONG SI QI CHE XIU LI SAN
QIANWANGANG RD, NO 579, QINGDAO         TIANYI BUILDING, XIAOMUQIAO ROAD, X   971 JINSHAJIANG ROAD
SHANDONG                                SHANGHAI 201500                       SHANGHAI 201500
CHINA                                   CHINA                                 CHINA



SHANGHAI AIDA TOOL MAKING CO LTD        SHANGHAI AIDA TOOL MAKING CO LTD      SHANGHAI AIDA TOOL MAKING CO., LTD.
15F, BLDG 1, NO 958, ZHENBEI RD         NO 958, ZHENBEI RD                    ATTN: SONG ZHENG
SHANGHAI 200333                         SHANGHAI 200333                       15F, BUILDING 1, NO. 958 ZHENBEI ROAD
CHINA                                   CHINA                                 SHANGHAI 200333
                                                                              CHINA
                   Case 25-90163
SHANGHAI BINGZHI ELECTRONIC               Document 87CANGUANG
                                             SHANGHAI  Filed inLIGHTING
                                                                 TXSB on 07/03/25 SHANGHAI
                                                                                    Page 748  of 944
                                                                                           CAREER DEVELOPMENT CO LTD
TECHNOLOGY CO., LTD                           (CANGLASS) CO LTD
ROOM 3R18, NO. 89 XINBANG ROAD, MIN           ATTN GM
SHANGHAI 201500                               NO. 51, LANE 2758 JINDU RD
CHINA                                         SHANGHAI 201108
                                              CHINA


SHANGHAI CHEN CHENG AUTOMATION                SHANGHAI DANGOO ELECTRONICS CO LTD       SHANGHAI DASHENG INDUSTRIAL CO LTD
EQUIPMENT CO.,LTD                             10F, LIQIN PLZ, NO 1885 DUHUI RD         NO. 6799, BEI QING RD
RM 04,6TH FLOOR,BUILDING 10,LANE 46           MINHANG                                  SHANGHAI
SHANGHAI 201500                               SHANGHAI                                 CHINA
CHINA                                         CHINA



SHANGHAI EVERDEVELOP INTL LOGISTICS           SHANGHAI EXCELLENCE ENVIRONMENTAL        SHANGHAI FAST-PCB CIRCUIT
                                              SERVICES CO.,LTD                         TECHNOLOGY CORPORATION LI
                                              ROOM 204-9, 2ND FLOOR, BUILDING 8,       699 XINGQING ROAD, JIADING INDUSTRI
                                              SHANGHAI 201500                          SHANGHAI 201500
                                              CHINA                                    CHINA



SHANGHAI FUQIN SHANGWU ZIXUN CO LTD           SHANGHAI GRANDAR LIGHT ART & TECH CO     SHANGHAI GUOZHE TRADE CO LTD
                                              LTD                                      ZHELIN TOWN, FENGXIAN DISTRICT
                                              FL 11 BLDG 90                            SHANGHAI
                                              1122 NORTH QUINZHOU RD                   CHINA
                                              SHANGHAI 200233
                                              CHINA


SHANGHAI HAO DI ENVIRONMENTAL PROTE           SHANGHAI HAOHESHENG INDL CO LTD          SHANGHAI HE XIN QI CHE FU WU YOU XIAN-
19F, MAGNOLIA GREEN SQUARE 353 JIAMUSI        AREA A, NO 8, SANJIRO ST                 GONG SI
ROAD                                          SHESHAN, SONGJIANG DIST
YANGPU DISTRICT                               SHANGHAI 201600
SHANGHAI                                      CHINA
CHINA


SHANGHAI H-FAST ELECTRONICS CO LTD            SHANGHAI HIIGH-FLYING ELECTRONICS        SHANGHAI HONGBAO LIGHTING CO LTD
ATTN QA MGR                                   TECH CO LTD                              ATTN OEM SALES MGR
NO 228, BEICUN RD                             ATTN GEN MGR                             NO 888, E HUIWANG ROAD
ZHELIN TOWN, FENGXIAN DIST                    RM 1002, BLDG 1, NO 3000, LONGDONG AVE   JIADING DISTRICT
SHANGHAI CHINA                                PUDONG NEW AREA                          SHANGHAI 201815 CHINA
                                              SHANGHAI 201203 CHINA


SHANGHAI HUANJIN ENERGY                       SHANGHAI INSTITUTE OF TECHNICAL          SHANGHAI JAI TANG ELECTRONICS CO LTD
CONSERVATION-                                 PHYSICS, THE                             NO 132 LIANXING RD
SERVICE CO LTD                                NO 500 YUTIAN RD                         HEQING TOWN, PUDONG
ATTN MANAGING DIR                             SHANGHAI 200083                          SHANGHAI
XINZHA JINGAN DIST, NO.831, FL 8, BLK K       CHINA                                    CHINA
SHANGHAI CHINA


SHANGHAI JIATONG UNIVERSITY                   SHANGHAI JINYING WENHUAYONGPIN LIMI      SHANGHAI JOIN WIN TRADING CO., LTD.
800 DONGCHUAN RD                                                                       ROOM 2839, BUILDING 2, NO. 469 FENG
MINHANG DIST                                                                           SHANGHAI 201500
SHANGHAI                                                                               CHINA
CHINA



SHANGHAI KEN XUN TRADE CO LTD                 SHANGHAI LEGEND INTERNATIONAL -          SHANGHAI LITON LIGHTING CO LTD
ATTN PRESIDENT                                TRAVEL AGENCY CO LTD                     ATTN GM
STE A 2207 137 BAI IAN RD                                                              RM 2108, NO 1088, XIN JIN QIAO RD
SHANGHAI 20063                                                                         SHANGHAI 201206
CHINA                                                                                  CHINA



SHANGHAI LONG-JOIN ELECTRONICS CO LTD         SHANGHAI LONGWAY SPECIAL GLASS CO        SHANGHAI LOOKFORWARD CONSULTING CO.
ATTN GEN MGR                                  LTD                                      21/F, LINK SQUARE 1, 222 HUBIN ROAD
NO 398 NAN WEN ZAO RD, BAO SHAN               ATTN SALES MGR                           HUANGPU DISTRICT
SHANGHAI                                      A2111 TOMSON CENTRE, NO 188              SHANGHAI 200021
CHINA                                         ZHANGYANG RD, PUDONG                     CHINA
                                              SHANGHAI 200122 CHINA
                  CaseLTD
SHANGHAI MIKIA LIGHTING 25-90163       Document 87MING
                                          SHANGHAI   Filed  in TXSB
                                                       KAI ZHAO       onJI 07/03/25
                                                                MING KE    YOU-       Page 749
                                                                                    SHANGHAI     of 944
                                                                                             MINGYEA ENTERPRISE CO LTD
ATTN DEPUTY CHIEF ENGINEER                 XIAN GONGSI                              ATTN MARKETING MGR
NO 258, MINFENG RD                                                                  RM 607, N0 228, JIANGCHANG SAN RD
CAOLU TOWN, PUDONG                                                                  SHANGHAI 200436
SHANGHAI CHINA                                                                      CHINA



SHANGHAI NAGASE TRADING CO LTD             SHANGHAI NEW MATERIALS CO LTD            SHANGHAI OKUKUN LOGISTICS EQPT CO LTD
04-06, 77 ECO CITY
1788 NANJING RD W
SHANGHAI 200040
CHINA



SHANGHAI QIDA CO LTD                       SHANGHAI RANDSTAD TALENT SERVICE CO      SHANGHAI REVON TRADE CO., LTD
ATTN VP                                    ROOM2310, NO.77 MEI YUAN ROAD, JING      ZHENDA ROAD
RM 2803, TONGDA CHUANGYE BLDG 1, 600 LN    SHANGHAI 200070                          SHANGHAI
TIANSHAN RD                                CHINA                                    CHINA
SHANGHAI CHINA



SHANGHAI RF EQUIPMENT RESEARCH INST        SHANGHAI ROCKCORE ELECTRONIC TECH        SHANGHAI SHARPARROW BRAND
ATTN ENGINEER                              LTD                                      CONSULTING &-
NO.185 HHUYI RD                            ATTN VP                                  DESIGN CO LTD
NANXIANG TOWN OF JIA DING                  RM 718, SHANGHAI UNIVERSITY TECH BLDG
SHANG HAI CHINA                            149
                                           YACHANG RD, ZHABEI DISTRICT
                                           SHANGHAI CHINA

SHANGHAI SHENKAI FLUID TECHNOLOGI CO       SHANGHAI SHUANGMIAO REFRIG EQPT CO       SHANGHAI SHUNCE ELECTRONICS CO.,LTD
LTD                                        LTD                                      ROOM 102, BUILDING 4, NO. 1005
                                           C/O SHANGHAI LANGTUO REFRIGERATION       JIUXIN HIGHWAY, SONGJIANG DISTRICT
                                           EQUIP CO LTD                             SHANGHAI 201615
                                           BLDG NO 20, XIANGMIN RD NO 601           CHINA
                                           CHEDUN TOWN, SONGJIANG DIST
                                           SHANGHAI CHINA

SHANGHAI SILBO ELECTRIC LIGHTING CO        SHANGHAI TIANDI SOFTWARE                 SHANGHAI WATEK INFORMATION
2ND FL, 1 BLDG NO 889, SUI DE RD           CHUANGYEYUAN CO LTD                      TECHNOLOGY CO.,LTD.
SHANGHAI                                                                            ROOM 1421, NO. 518 HONGQI EAST ROAD
CHINA                                                                               SHANGHAI 201500
                                                                                    CHINA



SHANGHAI WOFU SEMICONDUCTOR CO LTD         SHANGHAI WOLF SEMICONDUCTOR CO LTD       SHANGHAI XIANG ZHONG HUAN JING FU
RM 101, BLDG 10, NO 3000                   TOWER B, 17F, BLDG NO 20                 WU CO.,
LONGDONG AVE, PUDONG NEW AREA              958 ZHENBEI RD                           NO. 8 XIUSHAN ROAD, QIAOZHEN, CHONG
SHANGHAI                                   SHANGHAI 200333                          SHANGHAI 201500
CHINA                                      CHINA                                    CHINA



SHANGHAI XINHAI CUSTOMS                    SHANGHAI YAMING LIGHTING CO LTD          SHANGHAI YING MING ELECTRONIC -
BROKERAGE CO., LTD                         ATTN LUMINAIRE R&D DEPT MGR              TECHNOLOGY COMPANY LTD
FENGXIAN DISTRICT NANQIAO TOWN XINF        NO 1001 JIAXINGGONG RD                   RM 202 C, C DISTRICT
SHANGHAI 201500                            JIADING DISTRICT                         36 LIAN MIN RD, JINZE QINGPU DIST
CHINA                                      SHANGHAI CHINA                           SHANGHAI CHINA



SHANGHAI YINGTAI RENCAIFUWU LIMITED        SHANGHAI YUANMING LIGHTING TECH CO       SHANGHAI ZHUOKAI ELECTRONICS TECH CO
STE 20F HUAMINHANZUN INTL BLDG 726         LTD                                      LTD
YANAN WEST ROAD                            NO. 1251 HANGNAN RD                      XUHANG IND PARK, 399 BAOQIAN RD
SHANGHAI 200050                            ZHUANGHANG                               JIADING DIST
CHINA                                      SHANGHAI                                 SHANGHAI 201801
                                           CHINA                                    CHINA


SHANGHANG ZIJIN JIABO ELECTRONIC           SHANGYU SOUTHEAST LIGHTING CO LTD        [NAME REDACTED]
NEW MATERIAL TECHY CO LTD                  ATTN CTO                                 [ADDRESS REDACTED]
ZING MINING COLLEGE OF FUZHOU              WEST RENMIN RD, GUANDONG TOWN
UNIVERSITY                                 SHANGYU
SANHUAN RD, SHANGHANG                      ZHEJIANG CHINA
FUJIAN 364200 CHINA
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  750 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     SHANNON ELECTRIC LLC               [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN PROJECT MGR                   [ADDRESS REDACTED]
                                    26800 FARGO AVE, 6
                                    BEDFORD, OH 44146




[NAME REDACTED]                     [NAME REDACTED]                    SHAOLIN CAPITAL MANAGEMENT
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 230 NW 24TH ST
                                                                       STE 603
                                                                       MIAMI, FL 33127




[NAME REDACTED]                     SHARED TECHNOLOGIES INC            SHAREVIS
[ADDRESS REDACTED]                  ATTN VP, BUS OPERATIONS            ATTN CEO
                                    1405 S BELTLINE RD                 1042 N EL CAMINO REAL, STE B-214
                                    COPPELL, TX 75019                  ENCINITAS, CA 92024




[NAME REDACTED]                     SHARIFWAVE                         [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN R&D HEAD                      [ADDRESS REDACTED]
                                    13, PARSTU ST, TAHERKHANI ST
                                    ANKARA
                                    TURKEY



[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 SHARP
                                   SHARP CORP                            Page  751 of 944
                                                                             CORP
[ADDRESS REDACTED]                  ATTN GROUP DEPUTY GEN MNGR          ATTN VP, GM
                                    282-I HAJIKAMI                      22-22 NAGAIKE-CHO
                                    KITAKATSURAGI GUN                   ABENO-KU
                                    SHINJO-CHO, NARA JAPAN              OSAKA 545-8522 JAPAN



SHARP CORPORATION                   [NAME REDACTED]                     [NAME REDACTED]
ATTN GEN MGR                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
2613-1 ICHINOMOTO-CHO, TENRI
NARA 632-8567
JAPAN



[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




SHARS TOOL CO                       [NAME REDACTED]                     [NAME REDACTED]
ATTN BOOKKEEPER                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]
840 EQUITY DR
ST CHARLES, IL 60174




SHAT-R-SHIELD INC                   SHAW ENERGY DELIVERY SERVICES INC   [NAME REDACTED]
ATTN PRODUCT DVPT MGR               ATTN DIR OF STRATEGIC SERVICES      [ADDRESS REDACTED]
116 RYAN PATRICK DR                 6615 CRAIG ST, BLDG 5643
SALISBURY, NC 28147                 CHARLOTTE, NC 28214




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     SHAWN ROBERTS LAWN & TREE INC       [NAME REDACTED]
[ADDRESS REDACTED]                  3617 COUNTY RD H                    [ADDRESS REDACTED]
                                    STURTEVANT, WI 53177-2305




[NAME REDACTED]                     [NAME REDACTED]                     SHEALY ELECTRICAL WHOLESALERS INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  ATTN SR ACCT MANAGER
                                                                        120 SAXE GOTHA RD
                                                                        WEST COLUMBIA, SC 29172




SHEALY-EDI INC                      [NAME REDACTED]                     [NAME REDACTED]
ATTN DAVID LITTLEJOHN               [ADDRESS REDACTED]                  [ADDRESS REDACTED]
P.O. BOX 35623
CHARLOTTE, NC 28235
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 SHEENLY
                                      [NAME REDACTED]                       Page LIGHTING
                                                                                  752 of 944
                                                                                          CO LTD
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    ATTN HEAD OF OVERSEAS SALES
                                                                             BLDG 22, XUHUI INTL, NO 1688 LIAHANG RD
                                                                             MINHANG DISTRICT
                                                                             SHANGHAI 201112 CHINA



SHEENWAY ASIA LTD                      SHEERVISION INC                       [NAME REDACTED]
ATTN CHAIRMAN                          ATTN CHIEF EXECUTIVE OFFCER           [ADDRESS REDACTED]
ROOM 1313, 13/F AUSTIN TOWER           4030 PALOS VERDES DR N, STE 104
22-26 AUSTIN AVENUE                    ROLLING HILLS ESTATES, CA 90274
TSIMSHATSUI, KOWLOON HONG KONG



[NAME REDACTED]                        [NAME REDACTED]                       SHEILDS, PAUL
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    3101 BEALE AVE
                                                                             ALTOONA, PA 16601




[NAME REDACTED]                        [NAME REDACTED]                       SHELDON, NATHAN
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    2021 TRANSFORMATION DR
                                                                             LINCOLN, NE 68508




SHELL INTERNATIONAL PETROLEUM CO LTD   SHELLBACK SEMICONDUCTOR               SHELLBACK SEMICONDUCTOR TECHNOLOGY
ATTN CRAIG ROBERTSON                   TECHNOLOGY LLC                        416 S 4TH STREET
BRABAZON HOUSE, CONCORD BUSINESS PK    RESEARCH US, INC.                     COOPERSBURG, PA 18036-2098
THREAPWOOD RD                          10404 PATTERSON AVENUE S 108
MANCHESTER M22 0RR UNITED KINGDOM      RICHMOND, VA 23238-5128



[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




SHELTON GROUP INC, THE                 [NAME REDACTED]                       [NAME REDACTED]
ATTN PRES & CEO                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]
777 N 5TH AVE
KNOXVILLE, TN 37917




[NAME REDACTED]                        SHEN ZHEN JOVE ENTERPRISE CO LTD      [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN MARKETING DIR                    [ADDRESS REDACTED]
                                       1701 YUEHAI BLDG, NANYOU
                                       SHENZHEN
                                       CHINA



[NAME REDACTED]                        SHEN ZHEN XIANG YUN DA                SHEN ZHEN XIN PENG CHENG INDUSTRY
[ADDRESS REDACTED]                     OPTOELECTRONIC EQUIPMENT CO LTD       CO.,LTD
                                                                             SHENNAN MIDDLE ROAD
                                                                             SHENZHEN 518100
                                                                             CHINA



SHEN ZHEN YIJIE TRADING CO LTD         SHEN ZHENSHI XIN DONG TANG TUO ZHAN   [NAME REDACTED]
SHEN ZHEN SHI TU TIAN                  QIYE GUAN GU WEN YOU XIAN GANGSI      [ADDRESS REDACTED]
QU SHEN NAN LU
DON FANG XIN TIAN DI
GUANG CHONG 2007-31A CHINA
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 SHENGYI
                                          [NAME REDACTED]                       Page TECHNOLOGY
                                                                                      753 of 944CO LTD
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       ATTN PROJECT MGR
                                                                                    NO 411, GUANSUI AVE
                                                                                    DONGGUAN
                                                                                    CHINA



SHENZEN GREATER TECHNOLOGY CO LTD          SHENZEN JOTILO LAB EQUIPMENT CO LTD      SHENZEN METEN EDUCATION & TECH CO
ROOM 303, 39TH BLDG                                                                 LTD
TANGSHUIWEI 3RD ZONE
LONGHUA DISTRICT
SHENZHEN, GUANGDONG CHINA



SHENZEN SUPERWAVE LASER TECH CO LTD        SHENZEN ZYE TECHNOLOGY CO LTD            SHENZHEN ABSEN OPTOELECTRONIC CO
ATTN MANAGER                               RM 605, 6F, BLDG WI-A                    LTD
FL 5, BLDG 1, LIANTANG INDUSTRIAL PARK     HI-TECH PARK, NANSHAN DIST               18-20F, BLDG 3A
48 KANGZHENG RD, NANWAN                    SHENZHEN                                 CLOUD PARK, BANTIAN, LONGGANG DIST
LONGGANG CHINA                             CHINA                                    SHENZHEN
                                                                                    CHINA


SHENZHEN ADVANTAGE POWER CO., LTD.         SHENZHEN ADVANTAGE POWER LIMITED         SHENZHEN ADVANTAGE POWER LIMITED
4F PARKVIEW BUILDING, NEWS ROAD, FU        ATTN HENRY RUAN, GEN MGR                 ATTN: HENRY RUAN, GENERAL MANAGER
SHENZHEN 518100                            25 & 26 ON 6/F, LINCOLN CENTRE           4F QIAOFU BUILDING XINWEN ROAD, FUTIAN
CHINA                                      20 YIP FUND ST                           SHENZHEN, GUANGDONG PROVINCE
                                           FANLING, NT HONG KONG                    CHINA



SHENZHEN ADVANTAGE POWER LTD               SHENZHEN AOTO ELECTRONICS CO LTD         SHENZHEN AOTO ELECTRONICS CO LTD
ATTN HENRY RUAN, GM                        13TH BLDG, 3RD INDUSTRIAL ZONE           NO 7 YONGDA RD, WEST DISTRICT
4F QIAOFU BLDG, XIWEN RD, FUTIAN           TANGTOU SHIYAN ST                        DAYAWAN DEVELOPMENT ZONE
SHENZHEN, GUANGDONG                        BAOAN, SHENZHEN                          HUIZHOU, GUANGDONG
CHINA                                      CHINA                                    CHINA



SHENZHEN AUTOWELL CONTROL TECH CO          SHENZHEN BAIKANG OPTICAL CO LTD          SHENZHEN BAISHENG SEMICONDUCTOR
LTD                                        ATTN PRESIDENT                           LIGHT CO LTD
                                           F2, B4 BLDG, XINJIANXING IND PARK        ATTN GENERAL MANAGER
                                           FENGXIN RD, GUANGMING DISTRICT           A BLDG FUCHUANG INDUSTRIAL PARK
                                           SHENZHEN CHINA                           TIEGANG RESERVOIR RD, XIXIANG TOWN
                                                                                    BAOAN, SHENZHEN CHINA


SHENZHEN BAIXIN OFFICE                     SHENZHEN BANGKE INDUSTRY CO LTD          SHENZHEN BASIC SEMICONDUCTOR LTD
PRODUCTS CHAIN CO., LTD.                                                            22F, BLDG 2 SHENZHEN OVERSEAS
201, BUILDING 8, NO. 3, GUANLAN AVE                                                 CHINESE HIGH-TECH VENTURE PARK
SHENZHEN 518100                                                                     NANSHAN
CHINA                                                                               SHENZHEN CHINA



SHENZHEN BEAMY TECHNOLOGY CO LTD           SHENZHEN BETOP ELECTRONICS CO LTD        SHENZHEN BONLD ELECTRONICS CO LTD
ATTN ALEX LE                               5F, BLDG B, YUANLING QIAOTONG INDUS      ATTN CHIEF EXECUTIVE OFFICER
RM 911, JIAXIYE PLZ , MINZHI RD AND        ZONE                                     BLDG 2-5, TONGFUYU IND PARK
MINWANG RD INTERCHANGE, LONGHUA            SHIYAN TOWN, BAOAN DIST                  AIQUN RD, SHIYAN TOWN, BAOAN DIST
SHENZHEN CHINA                             SHENZHEN                                 SHENZHEN CHINA
                                           CHINA


SHENZHEN BOYEDA GONGYE SHEBEI CO           SHENZHEN BTREE INDUSTRIAL CO LTD         SHENZHEN BWIN OPTO CO LTD
LTD                                        ATTN SALES MGR                           ATTN CHENG LIU
                                           ROOM 13A, C BLOCK, YOURAN BLDG           UNIT B, 5/F JUNFENG INDUST PK
                                           SHEKOU                                   LEZHUJIAO VILLAGE, XIXIANG BAOAN
                                           NANSHAN DIST, SHENZHEN 518054 CHINA      SHENZHEN CHINA



SHENZHEN CENTRAL PROPERTY MGMT CO          SHENZHEN CENTURY ANA                     SHENZHEN CHIPOWER TECHNOLOGY CO
LTD                                        OPTOELECTRONICS TECH CO LTD              LTD
4TH FL, BLOCK B, NO 9, WENXIN 3RD RD       ROOM 301, BLDG 16, COOLPAD INFO CENTER   ATTN MGR
ZHONGZHOU H, GUANGDONG                     NORTH OF KERUAN RD, HI-TECH PARK         3/F 402 BLDG, CAI DIAN INDUSTRIAL ZONE
SHENZHEN 518054                            NANSHAN DISTRICT                         N HUANG GANG RD
CHINA                                      SHENZEN CITY CHINA                       SHENZHEN 518035 CHINA
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SHENZHEN CHUANGWEI-RGB-               Document 87CIMA
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                                                      HUAJING      on 07/03/25
                                                              TECHNOLOGY CO      Page 754
                                                                               SHENZHEN CITYof 944 TECHNOLOGY
                                                                                            ALLIANCE
ELECTRONICS CO LTD                        LTD                                      CO LTD
13-16/F, BLOCK A, CHUANGWEI BLDG          B508 MINGYOU BLDG, BAOYUAN RD            ATTN SALES MANAGER
GAOXIN AVE, 1S NANSHAN DISTRICT           BAOAN DIST                               3F, BLDG D, FENDA, TECH & CREATIVITY
SHENZHEN 518000 CHINA                     SHENZHEN CITY                            PARK
                                          CHINA                                    SANWEI, XIXIANG, BAOAN, SHENZHEN
                                                                                   GUANGDONG 518102 CHINA

SHENZHEN CITY EAST STAR TECHNOLOGY        SHENZHEN CLEAN SEA ENVIRON               SHENZHEN CLICK TECHNOLOGY CO LTD
CO LTD                                    PROTECTION CO LTD                        ATTN SALES DIR
BLK 4, BUCHONG DATIAN E, SHAJING          1/F, NO.17, NIPO AREA, PINDONG           7 ZHENGZHONG IND PARK, QIAOTOU
BAOAN DISTRICT                            COMMUNITY                                FUYONG, BAOAN
SHENZHEN                                  PINGDI SUB-DISTRICT, LONGGANG DISTRICT   SHENZHEN 518103 CHINA
CHINA                                     SHENZHEN, GUANGDONG 518015
                                          CHINA

SHENZHEN COLLECTION ENTERPRISES CO        SHENZHEN CSL VACUUM SCIENCE & TECH       SHENZHEN DAY POWER TECHNOLOGY CO
LTD                                       LTD                                      LTD
NO 19, NO 2 YANGYE RD                     BDG B, 101, 201, 301 TAOHUAYUAN SMART    S CHINA HUA LIFIA MARKET ST, FL 3, NO
TUYANG VILLAGE                            TOWN                                     3E053
KUICHONG TOWN                             FUNCTIONAL SUPPORTING AREA, TIEGANG      LONGGANG DIST, SHENZHEN
LONGGANG, SHEZHEN CHINA                   COMMUNITY                                PINGHU CITY 518111
                                          XIXIANG ST, BAOAN DISTRICT               CHINA
                                          SHENZHEN CHINA

SHENZHEN DECHENGWANG TECH CO LTD          SHENZHEN DO3THINK TECHNOLOGY CO LTD      SHENZHEN EASTFIELD LIGHTING CO LTD
B1108 JIESHUN BLDG NO 5                   ZONE A, FL 4, BLDG 2                     6/F A BLDG, B BLDG, 2-6/F C BLDG
GUANSHENG 2ND RD, LONGHUA DISTRICT        CHAOHUILOU SCIENCE PARK, 180 HUATING     NO.6 INDL ZONE, FUGADONG RD
GUANGDONG                                 RD                                       GAOQIAO DIST, PINGDI ST
SHENZHEN 518110 CHINA                     DALANG, CONGHUA DIST                     SHENZHEN, GUANGDONG 518116 CHINA
                                          SHENZHEN 518083 CHINA


SHENZHEN E-TECH ELECTRONICS CO LTD        SHENZHEN ETOMORROW TECHNOLOGIES          SHENZHEN FANHAI SANJIANG ELEC CO LTD
1982, SUHAD BLDG                          DEVELOPMENT CO LTD                       3/F, GUANGCAI XINTIANDI BLDG
NANXIN RD NANSHAN DIST                                                             NANSHAN DADAO, NANSHAN
SZ GD                                                                              SHENZHEN, GUANGDONG 518054
CHINA                                                                              CHINA



SHENZHEN FANTASIA PROPERTY                SHENZHEN FENG DA INDUSTRIAL TECH CO      SHENZHEN FONTA GRINDING TECH CO LTD
SERVICES CHENGDU BRANCH                   LTD                                      LIYUAN INDUSTRIAL PARK, AHOU SHI RD
NO. 605, NO. 216, XIADONG AVENUE, E                                                SHI YAN STREET
SHENZHEN 518100                                                                    BAOAN DISTRICT
CHINA                                                                              SHENZHEN CHINA



SHENZHEN FUMING OPTO ELECTRONICS -        SHENZHEN GALLANT TECH CO LTD             SHENZHEN GOOD-MACHINE AUTO EQUIP CO
TECHNOLOGY CO LTD                         ATTN LOG SUP                             LTD
3 JAO, TIANXINDADAO                       RM 801, SHENHUA COMMERCIAL               DIST A, FL 10, BLDG2, TENTH INDL ZONE
SHIYA ZHEN                                BLDG NO 2018, JIABIN ROAD                TION LIOO VILLAGE, GONG MING TOWN
BAOANQU, SHENZHEN CHINA                   SHENZHEN 518001 CHINA                    GUANG MING NEW DIST
                                                                                   SHENZHEN 518058 CHINA


SHENZHEN GREATECH INDUSTRIAL CO LTD       SHENZHEN GUANGXIN CONSTRUCTION CO.,      SHENZHEN GUARDIAN TECHNOLOGY CO LTD
ATTN GM RSRCH & DEVELOPMENT               THE FOURTH FL OF THE WEST BLOCK OF       1/F, NO.17, NIPO AREA, PINDONG
ROOM 3306-8,33/F, TWR A, GLXY CENT BLDG   SHENZHEN 518100                          COMMUNITY
NO 3069, CAITAN RD, FUTIAN DIST           CHINA                                    4TH FL, BLDG NO 14C, THE ZHONGHAIXIN
SHENZHEN 518026 CHINA                                                              INNOVATION INDUSTRY CITY
                                                                                   SHENZHEN, GUANGDONG CHINA


SHENZHEN HAN TOP TECHNOLOGY CO LTD        SHENZHEN HAOHAN LANDSCAPING CO.,LTD      SHENZHEN HENGZHIYUAN ELECTRIC-
18D WENWEI BLDG, 311 FUHUA RD             303, NO. 4, LANE 16, LONGQIU VILLAG      APPLIANCE CO LTD
FUTIAN DIST                               SHENZHEN CITY 518000                     NO C BLDG 1ST, INDUSTRIAL PARK
SHENZHEN 518033                           CHINA                                    GUANLONG XILI NANSHAN DIST
CHINA                                                                              SHENZHEN 518000 CHINA



SHENZHEN HIPOWER OPTOELECTRONIC CO        SHENZHEN HI-TEST SEMICONDUCTOR EQPT      SHENZHEN HOMESAFETY ELECTRONIC CO
LTD                                       CO LTD                                   LTD
BLDG A YIN HAO SHENG INDUSTRIAL PARK      C/O SHENZHEN HI-SEMICON ELECTRONICS      ATTN GENERAL MGR
FUAN RD, DA YANG DEVELOPMENT ZONE         RM A808, LIWAN BLDG, NO 0101             1ST FL, NO 10-2, YUANLING N RD
FUYONG TOWN, BAOAN DIST                   QIANHAI NANSHAN DIST RD                  E GONGLING COMM, PINGHU TOWN
SHENZHEN, GUANGDONG CHINA                 SHENZHEN, GUANDONG CHINA                 SHENZHEN, LONGGANG CHINA
SHENZHEN HONG JIECase     25-90163 Document
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                                                                & METALS          Page 755    of 944
                                                                                           HONGSHENGTAO  AUTOMOBILE
FREIGHTDEPUTIZE LTD CO                  PROCESSING FACTORY                      SERVICE CO LTD
621-622, HUIZHOU BLDG, NO 2011 YANHE RD NIUHU LAOCUN INDUSTRIAL PARK            104 TRAININGCOMPLEX BUILDING,NO.13
WENJIN COMMUNITY, NANHU ST, LUOHU       GUANLAN TOWN                            SHENZHEN 518000
DIST                                    SHENZHEN                                CHINA
SHENZHEN CHINA                          CHINA


SHENZHEN HOPEWIND ELECTRIC CO LTD       SHENZHEN HUA MAOXIANG ELECTRONICS        SHENZHEN HUANGTING BUSINESS
BLDG 5, GUAN LONG NO 2                  CO LTD                                   MANAGEMENT COMPANY LTD
INDUSTRY PARK XILI, NAN SHAN DIST       3RD FLOOR, BLDG A, SABIAN IND ZONE       19/4, HUARONG MANSION
SHENZHEN                                BAOAN AVE, XIXIANG BAOAN DISTRICT        91 MINITIAN RD
CHINA                                   GUANGDONG                                FUTIAN DISTRICT
                                        SHENZHEN CHINA                           SHENZHEN CHINA


SHENZHEN HUAZUJIA TECHNOLOGY CO LTD     SHENZHEN JIA YI MACHINERY METAL          SHENZHEN JIAWEI PHOTOVOLTAIC -
                                        PRODUCTS CO LTD                          LIGHTING CO LTD
                                        ATTN GENERAL MANAGER                     XINFA INDUSTRIAL PARK
                                        1-3/F OF LVKAI BLDG, LIUXIAN 3RD RD      FUPING RD, PINGDI ST, LONGGAN DISTRICT
                                        XINAN ST, 71 DISTRICT, BAO               SHENZHEN CHINA
                                        SHENZHEN, GUANGDONG 516557 CHINA


SHENZHEN JINBA TECHNOLOGY CO LTD        SHENZHEN JING YUAN JIANSAN ELEC CO LTD   SHENZHEN JINGCHENG WATERPROOF
ATTN GM                                 ROOM 5C01, SHENYE TERRA BLDG             ENGINEERING CO LTD
8/F, JIANJU BLDG, NO 110                SHATOU ST, N BINHAI AVE
TENGLONG INDUSTRIAL ZONE                FUTAIN DISTRICT
SHENZHEN, GUANGDONG 518109 CHINA        SHENZHEN CHINA



SHENZHEN JINGQUANHUA ELECT CO LTD       SHENZHEN JINGYUAN JIANSAN                SHENZHEN JINGYUAN JINSAN ELEC CO LTD
ATTN VP                                 ELECTRONICS CO., LTD.                    RM 101, BLOCK E,HONGWEI IND ZONE
JINGQUANHUA IND AREA, POTOUXIA          ATTN: MR. RONGLONG CHEN                  NO 6 LIUXIAN 3RD, NO DIST
COMMUNITY                               ROOM 5C01, SHENYE TERRA BUILDING,        XINGDONG COMM, XINAN ST,BAOAN NEW
GUANLAN ST, BAOAN DIST                  SHATOU STREET                            DIST
SHENZHEN, GUANGDONG CHINA               NORTH BINHAI AVENUE, FUTIAN DISTRICT     SHENZHEN CHINA
                                        SHENZHEN CHINA

SHENZHEN JINGYUAN JINSAN ELEC CO LTD    SHENZHEN JIUZHOU OPTOELECTRONICS         SHENZHEN JOVE ENTERPRISE CO LTD
RM 5CO1, SHENYE TERRA BLDG              TECH CO LTD                              ATTN MARKETING DIR
SHATOU ST, NORTH BINHAI AVE             SHENZHEN GUANGMING NE DIST OFF           RM 1701, YUEHAI BLDG
FUTAIN DIST                             GONGMING SONGBAI RD E, JIKUZHOU IND PK   NANYOU, NANSHAN DISTRICT
SHENZHEN CHINA                          SHENZHEN CHINA                           SHENZHEN, GUANGDONG CHINA



SHENZHEN KUANBAO ENV EQUIPMENT CO       SHENZHEN LANGER DEVELOPMENT              SHENZHEN LANGWEI DECORATION DESIGN
LTD                                     ENTERPRISE                               PROJECT CO LTD
ATTN MANAGER                            MANAGEMENT CONSULTING CO LTD
3F, BLDG 19, ZONE 1, JADEMALUAN IND
TANGKENG
SHENZHEN, PINGSHAN CHINA


SHENZHEN LEDFRIEND OPTOELECTRONICS      SHENZHEN LEIFEI LIGHTING TECH CO LTD     SHENZHEN LIGHTS INDUSTRIAL CO LTD
CO LTD                                  BLOCK 2, HONGTU INDUSTRIAL PARK          BLDG B2, XINFU PARK, CHOGGING RD
5/F 14A BLDG WUTONGDAO, XIXIANG         HEZHOU, BAOAN DIST                       FUYONG INDUSTRIAL AVE
GUSHU, BAOANQU                          SHENZHEN 518126                          FUYONG TOWN BAOAN DIST
SHENZHEN 518100                         CHINA                                    SHENZHEN, GUANGDONG CHINA
CHINA


SHENZHEN LONG SUN OPTOELECTRONICS       SHENZHEN LONGHAOXIN AUTOMATION           SHENZHEN M&S ELECTRONICS CO LTD
TECH CO LTD                             TECH CO LTD                              101 RM, BLDG 6, ZHENZHONG RD
ATTN VP                                 2F BLDG 8, LIANTANG INDUSTRIAL CITY      FUTIAN AREA
BLOCK A, WEIHAO HIGH TECH IND PARK      GUANGMING NEW DISTRICT                   SHENZHEN
SONGBAI RD 1026 XILI ST, NANSHAN DIST   SHENZHEN                                 CHINA
SHENZHEN CHINA                          CHINA


SHENZHEN MARCH ELECTRONIC               SHENZHEN MASON TECHNOLOGIES CO LTD       SHENZHEN MICROTIN TECHNOLOGY CO LTD
INSTRUMENT CO LTD                       ATTN ZHIJANG LI                          201, EAST BLDG C
RM 2803, 28 F, HUAFENG BLDG             B BLDG, YA SHENG INDUSTRIAL PARK         CDI MANSION
NO 6006 SHENNAN RD                      GONGCHANG RD, ZHENMEI, GUANGMING ST      YINHU, SHENZHEN
FUTIAN, SHENZHEN                        SHENZHEN CHINA                           CHINA
GUANGDONG CHINA
                    Case 25-90163
SHENZHEN MINDE ELECTRONIC               Document 87MINLIGHT
                                           SHENZHEN  Filed in
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                                                               LTD  on 07/03/25 SHENZHEN
                                                                                  Page 756   of 944
                                                                                         NAI MEI TE INDUSTRIAL
TECHNOLOGY CO LTD                           ATTN MANAGING DIR                           EQUIPMENT CO LTD
NO.5 KEZHI RD, 5F, SEC 1, 25TH BLOCK        3/F, BLDG 4,NO 4 INDUST PARK,               ATTN MGR
KEJI YUAN, NANSHAN DISTRICT                 SHANGHENGLANG                               NO 2 TANGXI INDUSTRY XIXIANG
SHENZHEN, GUANGDONG 518057                  DALANG ST, LONGHUA TOWN, BAOAN DIST         BAO AN DIST
CHINA                                       SHENZHEN CHINA                              SHENZHEN CITY CHINA


SHENZHEN NEW ORIENTAL EXPAND                SHENZHEN OKAGV CO LTD                       SHENZHEN OKSUN TECHNOLOGY CO LTD
ENTERPRISE                                  BLDG 14, ZHONGLIANG FUAN                    ATTN VICE GENERAL MGR
MANAGEMENT CONSULTANTS LTD                  ROBOT INDUSTRIAL ZONE                       6/F XINLONG TECHNOLOGY PARK
                                            DAYANG RD, FUYONG                           DAWANGSHAN IND RD, SHAJING ST BAOAN
                                            BAOAN, SHENZHEN 518103 CHINA                DIST
                                                                                        SHENZHEN 518104 CHINA


SHENZHEN OPHIR LIGHTING CO LTD              SHENZHEN PINGAO PLASTIC HARDWARE CO         SHENZHEN QIAN BAO AUTO EQUIP CO LTD
7TH FL, YIHUA BLDG, 617, BAGUA 1ST RD       LTD
FUTIAN                                      ATTN BUSINESS MGR
SHENZHEN                                    TSUEN WAN WAG WO TSAI ST
CHINA                                       16-26, SHUN INDUSTRIAL BLDG, 12TH FL RM 1
                                            HONG KONG


SHENZHEN QUALITY LIGHTING CO LTD            SHENZHEN REFOND OPTOELECTRONICS CO          SHENZHEN RIHAO CERTIFIED PUBLIC ACCTS
ATTN GM                                     LTD                                         (GP)
BDG 6-7, NAN WAN INDUSTRIAL PARK            BLDG NO 6, AREA NO 2                        91F, BLDG NO 9, BLT INNOVATION RD,
XI LI TOWN, NANSHAN DISTRICT                BAIWANGXIN INDUSTRY PARK                    YUEXING 5TH RD, YUEHAI SUBDISTRICT
SHENZHEN CITY CHINA                         SONGBAI RD NANSHAN DISTRICT                 NONSHAN DISTRICT
                                            SHENZHEN CHINA                              SHENZHEN CHINA


SHENZHEN RITU SCIECE TECHNOLOGY CO.         SHENZHEN ROCKE FLUID TECH CO LTD            SHENZHEN SEASONS TECHNOLOGY CO LTD
5/F, B4 BLDG. EAST IND. ZONE                                                            ATTN GENERAL MANAGER
HUAQIAOCHENG                                                                            1 LETAND RD, TANG XIA CHUNG IND ZONE
NANSHAN                                                                                 SONGGANG ST, BAOAN DIST
SHENZHEN CITY, GUANGDONG 518031                                                         SHENZHEN CHINA
CHINA


SHENZHEN SEI FARER PHOTONICS TECH CO        SHENZHEN SHEN HONG YI TECHNOLOGY CO         SHENZHEN SHI DIYASI-
LTD                                         LTD                                         ZIDONGHUA SHEBEI CO LTD
NO 1 LIGANBEL RD, JUYUAN IND AREA           BLDG 8, MABAO INDUSTRIAL AREA
SHAJING, BAOAN DISTRICT                     HUANGPU VILLAGE, SHAJING ST, BAOAN
SHENZHEN, GUANGDON                          DIST
CHINA                                       SHENZHEN 518104
                                            CHINA

SHENZHEN SHI JI HENG XING NET SCI CO        SHENZHEN SHI JIN NUO DE QI                  SHENZHEN SHI RONG MEI FOOD CO LTD
LTD                                         CHE MAO YI YOU XIAN GONG SI                 JIN JI ER QI B ZUO 2801
ATTN WU YU XIANG                                                                        GUANGDONG
8F/D15, BLDG 210, TAIRAN IND BLDG                                                       SHENZHEN
CHEGONGMIAO INDUSTRIAL PARK                                                             CHINA
FUTIAN DIST, SHENZHEN 518000 CHINA


SHENZHEN SHI SHUAIYING DIANZI CO LTD        [NAME REDACTED]                             SHENZHEN SINCAN INDUSTRIAL CO LTD
                                            [ADDRESS REDACTED]                          ATTN SALES MANAGER
                                                                                        10 BLDG SHAPUWEI
                                                                                        MAOZHOU INDUSTRIAL DISTRICT
                                                                                        SHENZEN, SONGGANG CHINA



SHENZHEN SMIDA ELECTRONICS CO LTD           SHENZHEN SOUND SOLUTION LOGISTICS           SHENZHEN STAR OPTELECTRONIC TECH CO
ATTN MANAGER                                LTD                                         LTD
5F-W ZHI XIANG BLDG, HUAFENG IND PARK       CHANG PING BUSINESS BLDG, RM 1309           BLDG 6-2, BAO LE NEW VILLAGE
LIUXIAN RD, 71TH DIST                       FUTIAN DISTRICT                             XIXIANG ST, BAOAN
SHENZHEN 518057 CHINA                       SHENZHEN                                    SHENZHEN
                                            CHINA                                       CHINA


SHENZHEN SUN & LYNN CIRCUITS CO LTD         SHENZHEN SUNRUI ELECTRONIC CO LTD           SHENZHEN SUNSHINE CIRCUITS TECH CO
HEYI INDUSTRIAL PARK, JINCHENG RD                                                       LTD
SHAJIN, GUANGDONG                                                                       ATTN NA OPS VP
SHENZHEN 518000                                                                         BLOCK B, 2ND SHANGXING IND ZONE
CHINA                                                                                   SHAJING TOWN, BAOAN DIST, SHENZHEN
                                                                                        GUANGDONG 518125 CHINA
SHENZHEN TAI LI HENGCase 25-90163
                      CUSTOMS BROKER Document 87TAIQIN
                                        SHENZHEN   Filed in TXSB CO.,
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                                                                      LTD       Page 757
                                                                              SHENZHEN       of 944
                                                                                         TEC-PHO CO LTD
LTD                                     YOUSONG COMMUNITY, LONGHUA STREET,    ATTN GENERAL MGR
8Z, FL 11, YONGJING YUAN                SHENZHEN 518100                       3A25 A HUASHENGGUI BUILDING
SENWEL GARDEN, S WENTING RD, LUO HU     CHINA                                 QIANJIN RD
SHENZHEN 518001                                                               XIXIANG, SHENZHEN 518102 CHINA
CHINA


SHENZHEN TENGDAFENG ELECTRONICS CO     SHENZHEN TENSUN INDUSTRIAL                 SHENZHEN TENSUN PRECISION EQUIPMENT
LTD                                    EQUIPMENTS CO LTD                          CO LTD
25 BLDG, HUANGTIAN ZHONGWU IND ZONE    HUALIAN INDUSTRIAL PARK 407, HUANXING      101-502, NO. 9, NEW BELLE IND PARK
XIXIANG TOWN, BAOAN DIST               RD                                         XINSHI COMMUNITY, DALANG ST
SHENZHEN, GUANGDONG 518000             DALANG STREET, BAOAN DISRICT               LONGHUA DISTRICT
CHINA                                  SHENZHEN CITY, GUANDONG 518110             SHENZHEN CHINA
                                       CHINA

SHENZHEN THIN-CHAN ELECTRONICS CO      SHENZHEN THREE-CIRCLE ELECTRONIC CO        SHENZHEN TIAN AN INTELLIGENT PARK
LTD                                    LTD                                        OPERATION CO.,LTD.CYBER P
RM 3319, NANGUANG JIEJIA BLDG          7TH FR, BLOG 205                           SHENZHEN FUTIAN DIST, TIANAN DIGIT
NO.3037 SHENNAN MIDDLE RD              CHEGONGMIAO IND                            SHENZHEN 518100
FUTIAN DIST                            GUANGDONG PROV                             CHINA
SHENZHEN CHINA                         CHINA


SHENZHEN TIAN AN WISDOM PARK           SHENZHEN TIANISS CO LTD                    SHENZHEN TONG YIFANG
OPERATION CO., LTD.                    ATTN MANGER                                OPTOELECTONIC TECHNOLOGY CO LTD
TIANAN DIGITAL CITY TIANAN BUILDI      LOTNO 4609A IN D.D                         NO 1 & NO 3 BLDG, JINCHEN RD
SHENZHEN 518100                        104 NGAU TAM MEI                           XINLIANHE IND PARK, BAOAN DIST
CHINA                                  YUEN LONG, NT HONG KONG                    SHENZHEN CITY CHINA



SHENZHEN TOPBAND CO LTD                SHENZHEN TOPDEPOT OPTOELEC TECH CO         SHENZHEN TRUSTFIRE TECHNOLOGY CO
ATTN RD MANAGER                        LTD                                        LTD
TOPBAND BLDG, LIYUAN INDUST PK         ATTN GEN MGR                               2F, BLOCK A, FUMIN RD
SHIYAN TOWN, BAOAN DIST                5F, BLOCK C, HNAERTE INDUSTRY PK           LONGXIN COMMUNITY, LONCHENG ST
SHENZHEN CHINA                         BAIHUADONG, GUANGMAI                       LONGGANG DISTRICT
                                       SHOUZHAN CHINA                             SHENZHEN, GUANGDONG 518116 CHINA


SHENZHEN UIBON TECHNOLOGY INC          SHENZHEN UNILUMIN GROUP CO LTD             SHENZHEN WAITAKLUNG PACKAGING
ATTN MANAGER                           FUHAI INDUSTRIAL ZONE, QIAOTOU VILLAGE     PRODUCT CO LTD
XINFU, INDUSTRY PARK BLOCK B4          FUYONG TOWN, BAOAN DISTRICT                DALING IND ZONE, PHOENIX RD 81
CHONGQIN RD, FUYONG TWN, BAOAN DIST    SHENZHEN                                   NEW SOUTH VILLAGE
SHENZHEN CHINA                         CHINA                                      SHENZHEN LONGGONG DIST
                                                                                  PINGHU TOWN CHINA


SHENZHEN WANYANG TECHNOLOGY CO LTD     SHENZHEN WULING LIGHTING CO LTD            SHENZHEN WULING LIGHTING CO. LTD.
ATTN GENERAL MGR                       ATTN ERIC WANG                             ATTN: ERIC WANG
JIANDA BLDG 315, KE YUAN RD            2005, BLDG A, JINGYUAN BLDG                2005, BUILDING A, JINGYUAN BUILDING,
HIGH-TECHNOLOGY PARK, NAN SHAN         NEWS RD                                    NEWS ROAD
SHENZHEN 518000 CHINA                  SHENZHEN, FUTIAN DIST CHINA                FUTIAN DISTRICT, SHENZHEN
                                                                                  CHINA


SHENZHEN XINHAO PROPERTY DEV CO LTD    SHENZHEN XINJINGSEN                        SHENZHEN XINYUYUAN ENVIRONMENTAL
NO 139 FURUI ROAD                      SEMICONDUCTOR EQUIPMENT CO LTD             ENGINEERING CO., LTD
DAYANG DEVE FUYONG TOWN                                                           BUWEICUN 17-1, LIANHUA SREET, FUTIA
BAOAN DISTRICT, GUANGDONG                                                         SHENZHEN 518100
SHENZHEN 518128 CHINA                                                             CHINA



SHENZHEN XUANSHUO OPTOELECTRONIC-      SHENZHEN YONGYIHAO ELECTRONIC CO           SHENZHEN YUK KWONG TECH CO LTD
TECHNOLOGY CO LTD                      LTD                                        ATTN SALES MANAGER
FL 3-4, NO BLDG, HUALIAN IND ZONE      4TH FL, 3RD BLDG, LUOHULIANG SHI           RM 3309-3310, TWR 4, EXCELLENCE
HUANING RD, DALANG, LONGHUA TOWN       INDUSTRY                                   CENTURY
BAOAN AREA, SHENZHEN CHINA             SONGYUAN VILLAGE                           FUHUA SAN RD, FUTIAN DISTRICT
                                       FUANLAN TOWN, BAOAN DISTRICT               SHENZHEN, GUANGDONG CHINA
                                       SHENZHEN CITY CHINA

SHENZHEN YULIANG OPTOELEC TECH CO      SHENZHEN ZEDA AUTOMATIC EQUIPMENT          SHENZHEN ZENBON TECH CO LTD
LTD                                    CO LTD                                     NO 173 BAOHUA RD
A1 BLDG, LOW CARBON TECH PARK          2/F, C BLDG, NO. 80, DAHE RD, GUANLAN ST   LONGHUA DISTRICT
GUANLAN TOWN                           JIAYUYE INDUSTRIAL PARK, LONGHUA DIST      SHENZHEN, GUANGDONG
SHENZHEN                               SHENZHEN, GUANGDONG                        CHINA
CHINA                                  CHINA
                  Case 25-90163
SHENZHEN ZHIYOU BATTERY   INTEGRATION Document 87ZHONG
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                                                                TONG INFORMATIO      Page 758    of 944 TECHNOLOGY CO
                                                                                             ZHONGANXIE
TECH CO LTD                              CONSULTING CO.,LTD                        LTD
A5-5 ZONE, TONGFUYU IND PARK, BUCHONG    2205                                      RM 401, HBC BLDG
SHAJING ST, BAOAN DIST                   SHENZHEN 518100                           SHENZHEN N RAILWAY STATION
SHENZHEN, GUANGDONG CHINA                CHINA                                     SHENZHEN, GUANGDONG
                                                                                   CHINA


SHENZHEN ZHONGNAN INTELLIGENT HRM       SHENZHEN ZHRZ TECHNOLOGY CO LTD          [NAME REDACTED]
CO LTD                                  BLDG 13, BAOKE INDUSTRIAL PARK           [ADDRESS REDACTED]
                                        DALANG SUBDISTRICT
                                        GUANGDONG
                                        SHENZEN CHINA



[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]




SHEPHERD ELECTRIC CO INC                SHEPHERD ELECTRIC COMPANY,               SHEPHERD THERMOFORMING & PACKAGING
7401 PULASKI HWY                        INCORPORATED                             INC
BALTIMORE, MD 21237                     7401 PULASKI HIGHWAY                     ATTN VP
                                        BALTIMORE, MD 21237                      5 ABACUS RD
                                                                                 BRAMPTON, ON L6T 5B7
                                                                                 CANADA


[NAME REDACTED]                         [NAME REDACTED]                          SHERATON HONG KONG HOTEL & TOWERS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       ATTN DIR OF BUS TRAVEL SALES
                                                                                 20 NATHAN RD
                                                                                 KOWLOON
                                                                                 HONG KONG



SHERATON IMPERIAL HOTEL                 [NAME REDACTED]                          [NAME REDACTED]
4700 EMPEROR BLVD                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]
DURHAM, NC 27703-8424




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                         SHERPA LLC                               [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN SEAN SMITH                          [ADDRESS REDACTED]
                                        1001 MOREHEAD SQUARE DR, STE 600
                                        CHARLOTTE, NC 28203




[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                         SHI INTERNATIONAL CORP                   SHI INTERNATIONAL CORP.
[ADDRESS REDACTED]                      ATTN CONTRACTS DEPT                      290 DAVIDSON AVE.
                                        290 DAVIDSON AVE                         MIDDLEBUSH, NJ 08873-4145
                                        SOMERSET, NJ 08873
[NAME REDACTED] Case 25-90163           Document  87INSTITUTE
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                                                                 TECHNOLOGY          Page 759  of 944 CORP
                                                                                            MECHATRONICS
[ADDRESS REDACTED]                          3-7-5, TOYOSU, KOTO-KU                ATTN DIRECTOR
                                            TOKYO                                 2-5-1 KASAMA, SAKAE-KU
                                            JAPAN                                 YOKOHAMA, KANAGAWA 247-8610
                                                                                  JAPAN



SHIBOLET & CO                               SHIBUYA HOPPMANN CORPORATION          SHIBUYA KOGYO CO LTD
MUSEUM TOWER                                ATTN PRESIDENT                        ATTN MANAGING DIRECTOR
4 BERKOWITZ ST                              13129 AIRPARK DR, STE 120             KO-58 MAMEDA-HONMACHI
TEL AVIV 64238                              ELKWOOD, VA 22718                     KANAZAWA, ISHIKAWA 920-8681
ISRAEL                                                                            JAPAN



SHIELDS INC                                 SHIFTWORK SOLUTIONS                   [NAME REDACTED]
ATTN VICE PRESIDENT                         ATTN PARTNER                          [ADDRESS REDACTED]
2625 HOPE CHURCH RD                         950 NORTHGATE DR
WINSTON-SALEM, NC 27103                     SAN RAFAEL, CA 94903




[NAME REDACTED]                             SHIMADZU SCIENTIFIC INSTRUMENTS INC   SHIMAR RECYCLING
[ADDRESS REDACTED]                          ATTN MGR, CORP BUS & LEGAL AFFAIRS    ATTN WILL MARLEY
                                            7102 RIVERWOOD DR                     938 HARVEST ST.
                                            COLUMBIA, MD 21046                    DURHAM, NC 27704




SHIMAR RECYCLING                            SHIN CHIN INDUSTRIAL CO LTD           SHIN YUH CHERNG IND CO LTD
P.O. BOX 11219                              ATTN MARK HONG                        ATTN JASON CHEN
DURHAM, NC 27703-0219                       NO 128, CHENG PEI 1ST RD              NO 1, GUNG MINGNAN 2ND RD
                                            YUNG KANG CITY                        AN NAN DIST
                                            TAINAN HSIEN 71042 TAIWAN             TAINAN TAIWAN



[NAME REDACTED]                             [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                             SHINE-BRITE KITCHEN CLEANERS          SHINEMAX OPTOELECTRONICS CO LTD
[ADDRESS REDACTED]                          1025 COURT STREET                     ATTN SVP OF TECH
                                            SYRACUSE, NY 13208                    16F-2, NO 738, JHONGJHENG RD
                                                                                  JHONGHE CITY
                                                                                  TAIPEI COUNTY 23511 TAIWAN



SHIN-ETSU CHEMICAL CO LTD                   SHIN-ETSU ENGINEERING CO LTD          SHIN-ETSU HANDOTAI CO LTD
ATTN GENERAL MANAGER                        9 KANDA-NISHIKICHO 2-CHOME            ATTN DIRECTOR
6-1, OHTEMACHI 2-CHOME                      CHIYODA-KU 1010054                    TOGIN BLDG, 4-2, MARUNOUCHI 1 CHOME
CHIYODA-KU                                  JAPAN                                 CHIYODA-KU
TOKYO 100-0004 JAPAN                                                              TOKYO 100-0005 JAPAN



SHIN-ETSU MICROSI INC                       SHIN-ETSU MICROSI INC.                SHIN-ETSU SILICONES OF AMERICA INC
ATTN PRESIDENT                              10028 S 51ST STREET                   ATTN PRESIDENT/ CEO
10028 S 51 ST                               PHOENIX, AZ 85044-5203                1150 DAMAR DR
PHOENIX, AZ 85044                                                                 AKRON, OH 44305




SHING FUNG METAL FACTORY                    SHING FUNG METAL PRODUCTS (HK) LTD    SHING HING INDUSTRIAL LIMITED
ATTN SALES & MARKETING DIR                  ATTN EXEC DIRECTOR                    ATTN PROJECT MGR
RM 3-4, 17/F, PERFECT INDUSTRIAL BLDG       17/F, PERFECT IND BLDG                RM 2105-2106, CHEUNG TAT CENTRE
31 TAI YAU ST                               31 TAI YAU ST, SAN PO KONG            18 CHEUNG LEE STREET
SAN PO KONG, KOWLOON HONG KONG              KOLWOON HONG KONG                     CHAIWAN HONG KONG
SHING YIP SERVICESCaseLTD    25-90163      Document
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                                                            INDSUTRIAL CO LTDon 07/03/25 SHINKO
                                                                                           PageELECTRIC
                                                                                                760 of AMERICA
                                                                                                        944 INC
ATTN MANAGER                                   ATTN SALES MANAGER                      ATTN MGR SSC PRODUCTS
152-160 TAI LIN PAI RD,UNIT L,12/F BLK J       76 JIAN-LIOU RD                         2880 ZANKER RD, STE 204
GOLDEN DRAGON IND CTR,                         CHUNG-HO DIST, NEW TAIPEI 23585         SAN JOSE, CA 95134
KWAI CHUNG, NT 152-160 HONG KONG               TAIWAN



[NAME REDACTED]                                SHINRY TECHNOLOGIES CO LTD              [NAME REDACTED]
[ADDRESS REDACTED]                             BLDG 3, 35TH FL, NO 3370, LIUXIAN AVE   [ADDRESS REDACTED]
                                               NANSHAN I PARK
                                               CHONGWEN NANSHAN DISTRICT
                                               SHENZHEN, GUANGDONG 518055 CHINA



SHIPLEY COMPANY LLC                            SHIPMAN TECHNOLOGIES INC                [NAME REDACTED]
ATTN GM                                        ATTN PRESIDENT / CEO                    [ADDRESS REDACTED]
60 WILLOW ST                                   2933 MIAMI BLVD
NORTH ANDOVER, MA 01845                        DURHAM, NC 27703




SHIRAI ELECTRONICS INDUSTRIAL                  SHIRAZ UNIVERSITY                       [NAME REDACTED]
ATTN GENERAL MANAGER                           CENTRAL ADMIN BLDG                      [ADDRESS REDACTED]
1/F UNITY BLD, 67-1 HARAMACHI                  JOMHOORI ESLAMI BLVD
NISHINOKYO, NAKAGYO-KU                         SHIRAZ, FARS
KYOTO 604-8431 JAPAN                           IRAN



[NAME REDACTED]                                [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                             [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                                SHIVA TECHNOLOGIES INC                  SHIVE-HATTERY INC
[ADDRESS REDACTED]                             ATTN DIR, BUSINESS DEV                  ATTN EE
                                               6707 BROOKLAWN PARKWAY                  316 2ND ST SE, STE 500
                                               SYRACUSE, NY 13211                      CEDAR RAPIDS, IA 52406




[NAME REDACTED]                                [NAME REDACTED]                         SHOEI ELECTRONIC MATERIALS INC
[ADDRESS REDACTED]                             [ADDRESS REDACTED]                      ATTN VICE PRESIDENT
                                                                                       1110 NE CIRCLE BLVD
                                                                                       CORVALLIS, OR 97330




[NAME REDACTED]                                [NAME REDACTED]                         SHOPIFY INC
[ADDRESS REDACTED]                             [ADDRESS REDACTED]                      ATTN GENERAL COUNSEL
                                                                                       150 ELGIN ST, 8TH FL
                                                                                       OTTAWA, ON K2P 1L4
                                                                                       CANADA



SHORE CHAN BRAGALONE DEPUMPO LLP               SHORELINE IOT INC                       [NAME REDACTED]
ATTN CHRISTOPHER L EVANS                       ATTN PRESIDENT                          [ADDRESS REDACTED]
901 MAIN ST, STE 3300                          15750 WINCHESTER BLVD, 206
DALLAS, TX 75202                               LOS GATOS, CA 95030




[NAME REDACTED]                                [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                             [ADDRESS REDACTED]                      [ADDRESS REDACTED]
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SHORTRIDGE INSTRUMENTS  INC        Document 87 Filed
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                                                                                          (NIPPON STEEL
ATTN OFFICE MNG                        ATTN HIROKAZU IWASAKI                   CORPORATION)
7855 E REDFIELD RD                     13-9 SHIBA-DAIMON                       ATTN: INTELLECTUAL PROPERTY DIV.
SCOTTSDALE, AZ 85260                   1 CHOME, MINATO-KU                      6-1 MARUNOUCHI 2-CHOME
                                       TOKYO 105-8518 JAPAN                    CHIYODA-KU, TOKYO
                                                                               JAPAN


SHOWA DENKO KK                         SHOWA DENSHI SANGYO CO LTD              [NAME REDACTED]
ATTN TAKASHI OKUBO                     NO 1, 797, SHIMO FUJISAWA, IRUMA CITY   [ADDRESS REDACTED]
1505, OAZA SHIMO KAGEMORI              SAITAMA 358-0011
CHICHIBU                               JAPAN
SAITAMA 369-1893 JAPAN



SHOWIN TECHNOLOGY CO LTD               SHOWPAD INC                             [NAME REDACTED]
ATTN PRES                              ATTN CHIEF EXECUTIVE OFFICER            [ADDRESS REDACTED]
NO. 32, SHENZUN RD                     580 MARKET ST, 4TH FL
SHENGANG SHIANG                        SAN FRANCISCO, CA 94104
TAICHUNG COUNTY 439 TAIWAN



[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        SHUANGLIN GROUP                         SHUIYOU RUANJIAN JITUAN GUFEN CO LTD
[ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




SHUMATE RALEIGH-MECHANICAL INC         [NAME REDACTED]                         [NAME REDACTED]
DBA INTREPID COMFORT SOLUTIONS         [ADDRESS REDACTED]                      [ADDRESS REDACTED]
ATTN RETAIL DIV MGR/VP
5201 OLD POOLE RD, STE 110
RALEIGH, NC 27610



SHURE INC                              [NAME REDACTED]                         SHYAM TELECOM LTD
ATTN PROJECT ENGINEER                  [ADDRESS REDACTED]                      ATTN MANOJ MISRA
5800 W TOUHY                                                                   245, PHASE II
NILES, IL 60714                                                                UDYOG VIHAR
                                                                               GURGAON INDIA



[NAME REDACTED]                        SIACI SAINT HONORE                      SIAE MICROELECTRONICA
[ADDRESS REDACTED]                     39 RUE MSTISLAV ROSTROPOVITCH           ATTN PRESIDENT
                                       PARIS 75017                             VIA MICHEANGELO BUONARROTTI 21
                                       FRANCE                                  COLOGNO MONZESE
                                                                               MILANO 20093 ITALY
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                                                                                           CIRCUITS
ATTN LUIGI BESANA                          STI                                      ATTN PRES
VIA PANFILO 8                              ATTN GM                                  145 RIVIERA DR, UNITS 2-4
MILANO 20124                               DERNIRHENDEK CAD NO. 20                  MARKHAM, ON L3R 5J6
ITALY                                      SITELER                                  CANADA
                                           ANKARA 06160 TURKEY


[NAME REDACTED]                            [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                            SIBORG SYSTEMS INC                       SIBYLUX
[ADDRESS REDACTED]                         ATTN PRESIDENT                           ZONE ARTISANALE
                                           24 COMBERMERE CRES                       SAINT GEORGES DE MONS 63780
                                           WATERLOO, ON N2L 5B1                     FRANCE
                                           CANADA



SICED ELECTRONICS DEV GMBH & CO KG         SICED ELECTRONICS DEVELOPMENT GMBH       SICHUAN DUJIANGYAN IMPORT AND EXPORT
PAUL-GOSSEN-STRASSE 100                    & CO KG                                  CO LTD
ERLANGEN 91052                             ATTN MANAGING DIRECTORS                  NO 19, JIANGAN RD
GERMANY                                    GUNTHER-SCHAROWSKY-STR 1                 DUJIANGYAN
                                           ERLANGEN 91058                           CHENGDU, SICHUAN
                                           GERMANY                                  CHINA


SICHUAN HONGRUI ELECTRIC CO LTD            SICHUAN JIUZHOU OPTOELECTRONIC TECH      SICHUAN LUXCINE PRESICION PROJECTION
MIANYANG EXPORT PROCESSING ZONE            CO LTD                                   CO LTD
HIGH TECH PARK                             7F, JIUZHOU ELECTRIC BLDG                ROOM 309 OPT-ELE INDUSTRY PARK,
MIANYANG, SICHUAN 621000                   SOUTHERN NO 12 ROAD                      SHUANGLIU
CHINA                                      HI-TECH INDUSTRIAL PARK                  CHENGDU 610200
                                           NANSHEN, SHENZHEN CHINA                  CHINA


SICHUAN SHENBEI CIRCUITS TECH CO LTD       SICHUAN SUNFOR LIGHT CO LTD              [NAME REDACTED]
ATTN SALES                                 ATTN MGR OF INTL TRADE & SERV            [ADDRESS REDACTED]
CHUANGXIN IND DIST                         NO 2 XINDA RD, HIGH TECH WEST ZONE
SUINING CITY 629000                        CHENGDU
CHINA                                      SICHUAN 611731 CHINA



SICO EAST COAST, INC.                      [NAME REDACTED]                          SICONNEX CUSTOMIZED SOLUTIONS GMBH
201 NORTHSTAR CT                           [ADDRESS REDACTED]                       2345 ROUTE 52, SUITE 2-C
SANFORD, FL 32771-6674                                                              HOPEWELL JUNCTION
                                                                                    HOPEWELL JUNCTION, NY 12533




SICONNEX CUSTOMIZED SOLUTIONS GMBH         SID TOOL CO., INC.                       [NAME REDACTED]
ATTN: CFO OR LEGAL DEPARTMENT              MSC INDUSTRIAL SUPPLY CO.                [ADDRESS REDACTED]
GEWERBESTRASSE 2                           525 HARBOUR PLACE DR
HOF BEI SALZBURG 5322                      DAVIDSON, NC 28036-7444
AUSTRIA



[NAME REDACTED]                            SIDE S.P.A                               [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN GENERAL MGR                         [ADDRESS REDACTED]
                                           VIA CARLO CATTANEO 90
                                           LISSONE, MB 20851
                                           ITALY



[NAME REDACTED]                            SIDNEY FREIDIN INC                       [NAME REDACTED]
[ADDRESS REDACTED]                         8401 EL GATO RD                          [ADDRESS REDACTED]
                                           LAREDO, TX 78045
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  763 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                          [ADDRESS REDACTED]




SIE CONSULTING CO LTD                     [NAME REDACTED]                             [NAME REDACTED]
29/F, NANFANG SECURITIES BLDG             [ADDRESS REDACTED]                          [ADDRESS REDACTED]
NO. 140-148, TIYU DONG RD
TIANHE DIST, GUANGZHOU
CHINA



SIEMENS AG DF MC P                        SIEMENS AG OSTERREICH                       SIEMENS AG
FRAUENAURACHER STR 80                     ATTN DIPL-ING                               DEPT I DT LD P R&D 9
ERLANGEN 91056                            SIEMENSTR 92                                VOGELWEIHERSTR 1-15
GERMANY                                   VIENNA 1211                                 NUERNBERG 90441
                                          AUSTRIA                                     GERMANY



SIEMENS AKTIENGESELLSCHAFT ICM            SIEMENS AKTIENGESELLSCHAFT                  SIEMENS AKTIENGESELLSCHAFT
MOBILE PHONES                             ATTN DIR COOPERATIONS                       ATTN HEAD OF COF RT
ATTN DR JAKOB SIGG                        LISE-MEITNER-STR. 5                         FRAUENAURACHER STR 80
HAIDENAUPLATZ 1                           ULM 89081                                   ERLANGEN 91056
MUNICH D-81667                            GERMANY                                     GERMANY
GERMANY


SIEMENS AKTIENGESELLSCHAFT                SIEMENS CORPORATE RESEARCH                  SIEMENS ENERGY & AUTOMATION INC
ATTN VP OF TECHNOLOGY                     ATTN CFO                                    ATTN ACCTG/FINANCE MGR
HOFMANNSTR 51                             755 COLLEGE RD E                            3333 OLD MILTON PKWY
MUNCHEN 81359                             PRINCETON, NJ 08540                         ALPHARETTA, GA 30005
GERMANY



SIEMENS FINANCIAL SERVICES INC            SIEMENS INDUSTRY SOFTWARE INC               SIEMENS MOBILE COMMUNICATIONS SPA
170 WOOD AVENUE                           100 TECHNOLOGY DRIVE                        ATTN MARCELLO SALERNO
ISELIN, NJ 08830-2741                     ALPHARETTA, GA 30005-4499                   SS PADANA SUPERIORE KM 158
                                                                                      CASSINA DE PECCHI(MI) 20060
                                                                                      ITALY



SIEMENS MOBILE COMMUNICATIONS SPA         SIEMENS POWER GENERATION INC                SIEMENS PROD LIFECYCLE MGMT
ATTN SR VICE PRESIDENT                    ATTN DIR, CT EMERGING TECHNOLOGIES          SOFTWARE INC
VIALE PIERO E ALBERTO PIRELLI, N 10       4400 ALAFAYA TRL                            2000 EASTMAN DR
MILAN                                     ORLANDO, FL 32826-2399                      MILFORD, OH 45150
ITALY



SIEMENS PROD LIFECYCLE MGMT               [NAME REDACTED]                             SIENNA TECHNOLOGIES INC
SOFTWARE INC                              [ADDRESS REDACTED]                          ATTN PRESIDENT
ATTN BUSINESS MGR                                                                     19501-144TH AVE, NE, STE F-500
5800 GRANITE PKWY, STE 600                                                            WOODINVILLE, WA 98072
PLANO, TX 75024



SIERRA APPLIED SCIENCES INC               SIERRA ATLANTIC (GUANGZHOU) SOFTWARE        SIERRA CIRCUITS INC DBA PCB FAB EXP
ATTN PRESIDENT                            DEVELOPMENT CO LTD                          DBA PCB FAB EXPRESS
5441 WESTERN AVE                          ATTN SALES DIR, 4TH FL, NO. 1021 GAOPU RD   1070 WEST EVELYN AVE
BOULDER, CO 80301                         NATIONAL SOFTWARE INDUSTRY BASE             SUNNYVALE, CA 94086-5741
                                          TIANHE, GUANGZHOU CHINA



SIERRA ELECTRONICS INC.                   SIERRA MONITOR                              SIERRA MONOLITHICS INC
BYUKSAN TECHNOPIA 607, 196-5              ATTN VP ENG                                 ATTN EXEC CHAIRMAN
OJUN-DONG, EUIWANG-SI 437821              1991 TAROB CT                               103 W TORRANCE BLVD
SOUTH KOREA                               MILPITAS, CA 55035                          RENDONDO BEACH, CA 90277
                 Case 25-90163
SIERRA NAVADA CORP                   Document  87 Filed in
                                        SIERRA STRUCTURES INCTXSB on 07/03/25 SIERRA
                                                                                PageTHERM
                                                                                      764 PRODUCTIONS
                                                                                          of 944      FURNACES
ATTN CORPORATE CONTRACTS MNG             ATTN VP COMMERCIAL CONSTRUCTION      INC
3034 GOLD CANAL DR                       917 ELLIS RD                         ATTN CFO
RANCHO CORDOVA, CA 95670-6116            DURHAM, NC 27703                     200 WESTRIDGE DR
                                                                              WATSONVILLE, CA 95076



SIFCO INDUSTRIES INC                     [NAME REDACTED]                      SIGENICS INC
DBA SIFCO APPLIED SURFACE CONCEPTS       [ADDRESS REDACTED]                   ATTN GENERAL MANAGER
ATTN GEN MGR                                                                  UNIVERSITY TECHNOLOGY PARK AT IIT
5708 E SCHAFF RD                                                              344 S DEARBORN ST, 113N
INDEPENDENCE, OH 44131                                                        CHICAGO, IL 60616



SIGLAZ                                   SIGMA COMPONENT DESIGN LTD           SIGMA CONNECTIVITY AB
ATTN VP SALES & MKTG                     ATTN PRES                            ATTN COO
2953 BUNKER HILL LN, STE 400             151 SUPERIOR BLVD, 24                MOBILVAGEN 10
SANTA CLARA, CA 95054                    MISSISSAUGA, ON L5T 2L1              LUND SE-223 62
                                         CANADA                               SWEDEN



SIGMA CONNECTIVITY AB                    SIGMA SENTRY SYSTEM SDN BHD          SIGMA-ALDRICH INC
ATTN KATHI GIRGENSOHN                    NO.1, JALAN JAMBU, TAMAN TEH YENG    P.O. BOX 14508
BOX 99                                   IPOH PER 31400                       ST. LOUIS, MO 63178-4508
LUND SE-221 00                           MALAYSIA
SWEDEN



SIGMA-ELEKTRO GMBH                       SIGMAPHI                             SIGMATECH INC
ATTN MD                                  ATTN PULSED SYSTEMS MGR              ATTN PRESIDENT
DR JULIUS LEBER STRASSE 15               RUE DES FRERES MONTGOLFIER           5869 S KYRENE RD, STE 1
NEUSTRADT 67433                          VANNES 56000                         TEMPE, AZ 85283
GERMANY                                  FRANCE



SIGMSTRON INTERNATION                    [NAME REDACTED]                      SIGN SHOP OF THE TRIANGLE INC, THE
2201 LANDMETER RD                        [ADDRESS REDACTED]                   ATTN PRESIDENT
ELK GROVE VILLAGE, IL 60007                                                   4001 MIDSTREAM CT
                                                                              APEX, NC 27539




SIGNAL DESIGN INC                        SIGNAL ENTERPRISES                   SIGNAL INTEGRITY INC.
ATTN PRES                                4111 OCEAN VIEW BLVD                 104 COUNTY STREET STE 210
7780 BRIAR CREEK PKWY, STE 415           MONTROSE, CA 91020                   ATTLEBORO, MA 02703-2159
RALEIGH, NC 27617




SIGNAL PROCESSING GROUP INC              SIGNAL TRANSFORMER CO INC            SIGNALION GMBH
ATTN PRESIDENT                           500 BAYVIEW AVE                      ATTN MANAGING DIR
51 W ELLIOT RD, 103                      INWOOD, NY 11096                     AM WALDSCHLOSSCHEN 2
TEMPE, AZ 85284                                                               DRESDEN 01099
                                                                              GERMANY



SIGNCRAFT SOLUTIONS LLC                  SIGNET PRODUCTS CORPORATION          SIGNICAST LLC
ATTN PRESIDENT                           521 MOUNT HOPE STREET SUITE 302      VP SALES & MKTG
4154 SHEARON FARMS AVE, STE 109          NORTH ATTLEBORO, MA 02760-2611       1800 INNOVATION WAY
WAKE FORREST, NC 27587                                                        HARTFORD, WI 53027




SIGNIFY NETHERLANDS BV                   [NAME REDACTED]                      [NAME REDACTED]
ATTN PROD MGR SMART DRIVERS              [ADDRESS REDACTED]                   [ADDRESS REDACTED]
HIGH TECH CAMPUS 48
EINDHOVEN 5656 AE
NETHERLANDS
[NAME REDACTED] Case 25-90163   Document   87 Filed inUSA
                                   SII NANOTECHNOLOGY  TXSB
                                                          INC on 07/03/25 SIIX
                                                                             Page   765 of 944
                                                                               USA CORPORATION
[ADDRESS REDACTED]                  ATTN NATL SALES MGR                    ATTN PRESIDENT
                                    19865 NORDHOFF ST                      651 BONNIE LN
                                    NORTHRIDGE, CA 91324                   ELK GROVE VILLAGE, IL 60007




SIKAMA INTERNATIONAL INC            [NAME REDACTED]                        [NAME REDACTED]
ATTN PRESIDENT                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]
118 E GUTIERREZ ST
SANTA BARBARA, CA 93101-2314




[NAME REDACTED]                     SILANTRIX LTD                          [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN CHIEF EXECUTIVE OFFICER           [ADDRESS REDACTED]
                                    HA LAMED HEI ST, 19
                                    KFAR SABA
                                    ISRAEL



SILBOND CORP                        SILCON INVESTORS SEVEN LLC             SILCON INVESTORS SEVEN LLC
ATTN PRES & COO                     C/O DECHERT LLP                        C/O PROFESSORS CAPITAL
9901 SAND CREEK HWY                 ATTN TIMOTHY J BOYCE                   ATTN ERIC MARIBOJOC
WESTON, MI 49289                    100 N TRYON ST, STE 4000               10560 MAIN ST, STE 508
                                    CHARLOTTE, NC 28202                    FAIRFAX, VA 22030



SILE SNC                            SILECS INTERNATIONAL PTE LTD           SILECTRIC SEMICONDUCTOR MFG PVT LTD
ATTN OWNER                          ATTN VP OF ENGINEERING                 ATTN HRISHIKESH DAS
VIA L SCATTOLIN, NO 5               CLEANTECH ONE 02-22                    942 KELAMBAKKAM VANDALUR RD KRISP IT
QUINTO DI TREVISO 31055             1 CLEANTECH LOOP                       PK
ITALY                               SINGAPORE 637141 SINGAPORE             MELAKKOTTAIYUR CHINGLEPET
                                                                           KANCHIPURAM 600127 INDIA


SILEN-LED JSC                       SILER AREA CHAMBER OF COMMERCE         SILER CITY FUTBOL CLUB
ATTN DIRECTOR                       106 W RALEIGH ST                       SCFC
PR STROITELEY, 16                   SILER CITY, NC 27344-3546              P.O. BOX 904
BARNAUL 656015                                                             SILER CITY, NC 27344-2000
RUSSIA



SILERGY CORP                        SILEX MICROSYSTEMS INC                 SILICO SRL
ATTN GENERAL COUNSEL                ATTN GENERAL MANAGER                   ATTN PRES
OLEANDER WAY, 802 W BAY RD          9 HAMILTON PLACE, STE 300              VIA DEL FANTE 21
P.O. BOX 32052                      BOSTON, MA 02108                       VERONA 37122
GRAND CAYMAN KY1-1208 CAYMAN                                               ITALY
ISLANDS


SILICON CARBIDE PRODUCTS INC        SILICON CERT LTD                       SILICON FRONTLINE TECHNOLOGY INC
ATTN PRESIDENT                      ATTN CUST SERV MGR                     4030 MOORPARK AVEBUE SUITE 249
361 DANIEL ZENKER DR                4201 POTTSVILLE PIKE, BLDG 4           SAN JOSE, CA 95117-1835
HORSEHEADS, NY 14845                READING, PA 19605




SILICON GENESIS CORP                SILICON INVESTORS SEVEN LLC            SILICON LABORATORIES INC
ATTN COO & CFO                      10560 MAIN ST, STE 508                 ATTN VP & GM
61 DAGGETT DR                       FAIRFAX, VA 22030                      400 W CESAR CHAVEZ
SAN JOSE, CA 95134                                                         AUSTIN, TX 78701




SILICON LIGHT MACHINES              SILICON MATERIALS INC                  SILICON MOBILITY
ATTN DIR STRATEGIC ACCTS            ATTN VP
385 MOFFETT PARK DR, STE 115        140 E MAIN ST
SUNNYVALE, CA 94089                 CARNEGIE, PA 15106
                  Case 25-90163
SILICON POWER COMPANY                Document
                                        SILICON 87  Filed
                                                POWER     in TXSB on 07/03/25 SILICON
                                                      CORPORATION               PagePOWER
                                                                                      766 of 944
                                                                                          CORPORATION
ATTN PRES/CEO                            275 GREAT VALLEY PKWY                     ATTN PRESIDENT
5 GREAT VALLEY PKWY, STE 130             MALVERN, PA 19355                         175 GREAT VALLEY PKWY
MALVERN, PA 19355                                                                  MALVERN, PA 19355




SILICON QUEST INTERNATIONAL INC          SILICON R&D                               SILICON SERVICES CONSORTIUM INC
ATTN PRESIDENT                           ATTN CHIEF RESEARCHER                     ATTN CEO
120 WOODLAND AVE, STE E                  C 505-1, BUNDANG TECHNOPARK               3500 COMSOUTH DR
RENO, NV 89523                           YATAP-DONG, BUNDANG-GU                    AUSTIN, TX 78744
                                         SEONGNAM, GYEONGGI-DO SOUTH KOREA



SILICON SYSTEM GROUP                     SILICON TECHNOLOGY                        SILICON TURNKEY SOLUTIONS INC
26840 ALISO VIEJO PKWY                   6895 S 900 E, STE A                       DBA HI-RELIABILITY MICROELECTRONICS
ALISO VIEJO, CA 92656                    MIDVALE, UT 84047                         ATTN VP
                                                                                   801 BUCKEYE CT
                                                                                   MILPITAS, CA 95035



SILICON VALLEY ELECTRONIC RECOVERY       SILICON VALLEY FORCE INTEGRATION INC      SILICON VALLEY MICROELECTRONICS
CENTER                                   ATTN PRESIDENT                            2985 KIFER ROAD
1190 BORDEAUX DR                         1675 S MAIN ST                            SANTA CLARA, CA 95051-0802
SUNNYVALE, CA 94089                      MILPITAS, CA 95035




SILICONCORE TECHNOLOGY INC               SILICONES INC                             SILICONEXPERT TECHNOLOGIES, INC.
ATTN VP, OPERATIONS                      ATTN TECHNICAL REP                        245 MAIN ST
860 HILLVIEW CT, STE 310                 211 WOODBINE ST                           CAMBRIDGE, MA 02142
MILPITAS, CA 95035                       P.O. BOX 363
                                         HIGH POINT, NC 27261



[NAME REDACTED]                          SILKROAD TECHNOLOGY INC                   SIL-MORE INDUSTRIAL LTD
[ADDRESS REDACTED]                       ATTN CEO                                  ATTN MANAGING DIR
                                         102 W THIRD ST, STE 250                   16F, NO 100 XINGDE RD
                                         WINSTON-SALEM, NC 27101                   SANCHONG DIST
                                                                                   NEW TAIPEI CITY 24158 TAIWAN



SILTECH CORP                             SILTECTRA GMBH                            [NAME REDACTED]
ATTN PRESIDENT                           ATTN CHIEF EXECUTIVE OFFICER              [ADDRESS REDACTED]
225 WICKSTEED AVE                        MANFRED-VON-ARDENNE-RING 20
TORONTO, ON M411 1G5                     DRESDEN 01099
CANADA                                   GERMANY



[NAME REDACTED]                          [NAME REDACTED]                           SILVACO
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                        2811 MISSION COLLEGE BLVD 6TH FLOOR
                                                                                   SANTA CLARA, CA 95054-1884




[NAME REDACTED]                          SILVER ATENA ELECTRONIC SYS               SILVER SPRING NETWORKS INC
[ADDRESS REDACTED]                       ENGINEERING GMBH                          ATTN DIRECTOR
                                         ATTN LEGAL DIR & SALES ENGINEER           230 W TASMAN DR
                                         DACHAUER STRASSE 655                      SAN JOSE, CA 95134
                                         MUNICH 80955
                                         GERMANY


SILVER SPRING NETWORKS INC               SILVER WING HOLDINGS LIMITED              [NAME REDACTED]
ATTN DIRECTOR                            ATTN TOMMY NGAN                           [ADDRESS REDACTED]
555 BROADWAY ST                          STE NO. 10B, 11/F TOWER 2, 33 CANTON RD
REDWOOD CITY, CA 94063                   CHINA HONG KONG CITY
                                         KOWLOON HONG KONG
                  Case 25-90163
SILVERBACK ASSET MANAGEMENT LLC       Document  87 Filed
                                         SILVERLINING      inPRINTERS
                                                      SCREEN  TXSB on INC 07/03/25 SILVERMAN
                                                                                     Page 767    of 944
                                                                                             & LIGHT INC
1414 RALEIGH RD                            ATTN OWNER/PRESIDENT                     ATTN ENERGY ANALYST
STE 250                                    90 MOSSWOOD BLVD, STE 600                1201 PARK AVE, STE 100
CHAPEL HILL, NC 27517                      YOUNGVILLE, NC 27596                     EMERYVILLE, CA 94608




SILVERSON MACHINES INC                     SILVEX INC                               SILVEX SURFACE TECHNOLOGY
ATTN VP                                    ATTN VP SALES & MARKETING                ATTN VP SALES
355 CHESTNUT ST                            45 THOMAS DR                             COL WESTBROOK EXEC PARK
EAST LONGMEADOW, MA 01028                  WESTBROOK, ME 04092                      45 THOMAS DR
                                                                                    WESTBROOK, ME 04092



SILWOOD TECHNOLOGY LIMITED                 SILWOOD TECHNOLOGY LTD                   SIM AYDINLATMA SISTEMLERI ELEKTRONIK-
SILWOOD BUSINESS CENTRE, SILWOOD PA        SILWOOD PARK, SILWOOD BUSINESS           ARGE SAN TIC LTD
ASCOT SL5 7PW                              CENTRE                                   YAKUPLU MAH, YAKUPLU CAD NO 6
UNITED KINGDOM                             BUCKHURST ROAD                           OFIS NO 136 PK, BEYLIKDUZU
                                           ASCOT SL5 7PW                            ISTANBUL 34524 TURKEY
                                           UNITED KINGDOM


[NAME REDACTED]                            SIMCO-ION TECHNOLOGY GROUP               SIME DARBY RENT A CAR SDN BHD
[ADDRESS REDACTED]                         14477 COLLECTIONS CENTER DRIVE           ATTN BRANCH EXECUTIVE
                                           CHICAGO, IL 60693-0001                   38/7 FARQUHAR ST
                                                                                    GEORGETOWN, PENANG 10200
                                                                                    MALAYSIA



[NAME REDACTED]                            SIMETRIX TECH LTD                        SIMKAR LLC
[ADDRESS REDACTED]                         ATTN MANAGING DIR                        ATTN VP FINANCE
                                           78 CHAPEL ST                             700 RAMONA AVE
                                           THATCHAM, BERKSHIRE RG18 4QN             PHILADELPHIA, PA 19124
                                           UNITED KINGDOM



[NAME REDACTED]                            [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       [ADDRESS REDACTED]




SIMON PROPERTY GROUP LP                    [NAME REDACTED]                          [NAME REDACTED]
225 W WASHINGTON ST                        [ADDRESS REDACTED]                       [ADDRESS REDACTED]
INDIANAPOLIS, IN 46204
[NAME REDACTED] Case 25-90163    Document  87 Filed in TXSB on 07/03/25 SIMPLE
                                    [NAME REDACTED]                       PagePRODUCTS
                                                                                768 of 944
                                                                                       CO
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  ATTN CHIEF EXECUTIVE OFFICER
                                                                         138 E 12300 S, STE C-165
                                                                         DRAPER, UT 84020




SIMPLE TECHNICAL SOLUTIONS INC       SIMPLER NORTH AMERICA LLC           SIMPLEXGRINNELL LP
ATTN CORP VP                         ATTN SR VICE PRESIDENT              ATTN DISTRICT GENERAL MGR
3913 TODD LN, STE 101                1 N DEARBORN, STE 1440              100 SIMPLE DR
AUSTIN, TX 78744                     CHICAGO, IL 60602                   WESTMINSTER, MA 01441-0001




SIMPLEXGRINNELL LP                   SIMPLICITI.BIZ                      SIMPLIMATIC AUTOMATION LLC
ATTN DISTRICT GENERAL MGR            ATTN PRES                           ATTN DIR PROJ MGR
540 CIVIC BLVD, STE 105              9921 CANAL ST, RR 2, BOX 39         7401 TIMBERLAKE RD
RALEIGH, NC 27610                    GRAND BEND, ON N0M 1T0              LYNCHBURG, VA 24502
                                     CANADA



SIMPLIS TECHNOLOGIES INC             SIMPLIVITY CORP                     SIMPLY NUC INC
ATTN PRESIDENT                       ATTIN DIRECTOR                      ATTN CHIEF EXECUTIVE OFFICER
P.O. BOX 40084                       8 TECHNOLOGY DR                     475 ROUND ROCK W DR, STE 100A
PORTLAND, OR 97240                   WESTBOROUGH, MA 01581               ROUND ROCK, TX 78681




SIMPLY WELL INC                      [NAME REDACTED]                     [NAME REDACTED]
C/O PERSONIFY HEALTH                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]
75 FOUNTAIN ST
PROVIDENCE, RI 02903




[NAME REDACTED]                      SIMPSOUND                           [NAME REDACTED]
[ADDRESS REDACTED]                   7014 RIPPLING STONE LANE            [ADDRESS REDACTED]
                                     RALEIGH, NC 27612-7252




[NAME REDACTED]                      [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




SIMUCAD DESIGN AUTOMATION INC        SIMUCAD DESIGN AUTOMATION INC       SIMUCAD DESIGN AUTOMATION INC
ATTN ACCOUNT MANAGER                 ATTN ACCOUNT MANAGER                ATTN ACCOUNT MANAGER
4701 PATRICK HENRY DR, BLDG 2        7 TECHNOLOGY DR                     7119 E 1ST AVE
SANTA CLARA, CA 95054                N CHELMSFORD, MA 01863              SCOTTSDALE, AZ 85251




SIMUCAD DESIGN AUTOMATION INC        SIMWAVE RF & MICROWAVE DESIGN LLC   SIMWAVE RF & MICROWAVE DESIGN LLC
ATTN ACCOUNT MANAGER                 4 STONY POINT DR                    ATTN OPERATING MGR
8820 BUSINESS PARK DR, STE 400       LONDONDERRY, NH 03053               136 HARVEY RD, BLDG A, STE 105
AUSTIN, TX 78759                                                         LONDONDERRY, NH 03053




SINANO                               SINCLAIR MANUFACTURING CO           SING DEI ENTERPRISE CO LTD
RUISHUI RD 398                       ATTN VICE PRESIDENT MKT & SALES     ATTN GEN MGR
SUZHOU 215123                        12 S WORCESTER ST                   1F, 21, SEC 3, MIN SHENG E RD
CHINA                                CHARTLEY, MA 02712                  TAPEI 10451
                                                                         TAIWAN
[NAME REDACTED] Case 25-90163      Document  87 AIRLINES
                                      SINGAPORE   Filed in TXSB on 07/03/25 [NAME
                                                                              Page  769 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                     ATTN BARRY BRENIG, SALES MGR MID-EAST   [ADDRESS REDACTED]
                                       5185 MACARTHUR BLVD, NW 641
                                       WASHINGTON, DC 20016




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         SINGLE TEMPERATURE CONTROLS INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      ATTN PRESIDENT
                                                                               14201-B S LAKES DR
                                                                               CHARLOTTE, NC 28273




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         SINKPAD LLC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      ATTN PRESIDENT
                                                                               950 FEE ANA ST, UNT A
                                                                               PLACENTIA, CA 92870




SINMAT INC                             SINMAT INC                              SINO AMERICAN SILICON PRODUCTS INC
1912 NW 67TH PL                        2153 HAWTHORNE RD, STE 129, BOX 2       ATTN DIR OF SALES & MARKETING DEPT
GAINESVILLE, FL 32653                  GAINESVILLE, FL 32641                   8 INDUSTRIAL E RD 2
                                                                               SCIENCE BASED INDUSTRIAL PARK
                                                                               HSINCHU 300096 TAIWAN



SINO REAL ESTATE AGENCY LTD            SINO SAPPHIRE CO LTD                    SINOINSTRUMENT CO LTD
ATTN GALY COWEN                        ATTN VP                                 K1506, FUTI TIONHE
12TH FLOOR, TSIM SHA TSUI CENTRE       NO 21 KE JUNG RD, SCIENCE BASED         COMERCAL BLDG NO 4
SALISBURY ROAD, TSIM SHA TSUI          INDUSTRIAL PARK                         HUCTING RD
KOWLOON HONG KONG                      MIAO-LI COUNTY                          NORTH TIANHE DIST CHINA
                                       CHU-NAN TAIWAN
                  Case 25-90163
SINOPEC SALES CO.,LTD.SHANGHAI      Document  87 WEIHAI
                                       SINOTRANS  FiledBONDED
                                                        in TXSB on 07/03/25 SINOTRANS
                                                                              Page 770   of 944
                                                                                      WEIHAI BONDED
PETROLEUM BRANCH                        WAREHOUSING CO LTD                   WAREHOUSING CO LTD
24A, ZHONGSHAN EAST 1ST ROAD            69, HONKONG RD                       ATTN LIUFU, DEPUTY GENERAL MGR
SHANGHAI 201500                         ECONOMIC & TECHNICAL DVPT ZONE,      HAINAN RD
CHINA                                   WEIHAI                               WEIHAI EXPORT PROCESSING ZONE
                                        SHANDONG 264205                      WEIHAI, SHANDONG 264205 CHINA
                                        CHINA

SINTEC KERAMIC USA INC                  [NAME REDACTED]                      [NAME REDACTED]
ATTN VP                                 [ADDRESS REDACTED]                   [ADDRESS REDACTED]
540 BARNUM AVE
BRIDGEPORT, CT 06608




SIPM NORTH AMERICA INC                  SIREC LAB SRL                        SIRENZA MICRODEVICES INC
ATTN VP                                 VIA BRIANZA 6/6A                     ATTN EVP, BUSINESS DEV
405 LEXINGTON AVE, FL 26                CARPI MO 41012                       303 S TECHNOLOGY CT
NEW YORK, NY 10174                      ITALY                                BROOMFIELD, CO 80021




SIRESS ENTERPRISES INC                  SIRIN LABS AG                        SIRIUS SIGNAL CO
ATTN PRESIDENT                          ATTN VP OPERATIONS                   ATTN CHIEF EXECUTIVE OFFICER
130 E DYER RD                           MUCHLENTALSTRASSE 2                  1254 SCOTT ST
SANTA ANA, CA 92707                     SCHAFFHAUSEN 8200                    SAN DIEGO, CA 92106
                                        SWITZERLAND



SIRIUS SPA                              SITE SERVICES INC                    SITECO BELEUCHTUNGSTECHNIK GMBH
ATTN MICHELE SOLDANI                    ATTN PRESIDENT                       ATTN CEO
VIA SCALDASOLE, 10/12                   690 ALDO AVE                         GEORG-SIMON-OHM-STRASSE 50
DORNO, PV 27020                         SANTA CLARA, CA 95054                TRAUNREUT 83301
ITALY                                                                        GERMANY



SITECORE USA INC                        SITEK PROCESS SOLUTIONS, INC.        SIT-IN MOVEMENT INC DBA INTERNATIONAL
591 REDWOOD HWY, BLDG 4000              233 TECHNOLOGY WAY BLDG A-3          CIVIL RIGHT
MILL VALLEY, CA 94941                   ROCKLIN, CA 95765-1208               100 WEST FEBRUARY ONE PLACE
                                                                             GREENSBORO, NC 27401




SIU YIP PLASTIC MOULD FACTORY LTD       [NAME REDACTED]                      SIVANCE LLC
ATTN ASSET GENERAL MGR                  [ADDRESS REDACTED]                   ATTN BUSINESS MGR
NEW BRIDGE POND IND PARK, DALANG                                             920 MILLIKEN RD
VILLAGE                                                                      SPARTANBURG, SC 29303
LONGHUA TOWN, BAOAN DISTRICT
SHENZHEN, GUANGDONG 518000 CHINA


[NAME REDACTED]                         SIX FLAGS GREAT AMERICA              SIX20 PARTNERS LLC
[ADDRESS REDACTED]                      ATTN RICK BLACK                      1075 HILBURN DRIVE SE
                                        542 N ROUTE 21                       ATLANTA, GA 30316-2808
                                        GURNEE, IL 60031




SIXSENSE PTE LTD                        SJF MATERIAL HANDLING INC            [NAME REDACTED]
ATTN CO-FOUNDER & CEO                   ATTN CONTROLLER                      [ADDRESS REDACTED]
698D HOUGANG ST 52                      211 BAKER AVE WEST
02-03                                   WINSTED, MN 55395
SINGAPORE 538698 SINGAPORE



[NAME REDACTED]                         [NAME REDACTED]                      SKC INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   863 VALLEY VIEW ROAD
                                                                             EIGHTY FOUR, PA 15330-8619
                  CaseLLC
SKIES FALL MEDIA GROUP  25-90163      Document   87 LLC
                                         SKILL FORCE Filed in TXSB on 07/03/25 [NAME
                                                                                 Page  771 of 944
                                                                                     REDACTED]
ATTN PRESIDENT                            ATTN GEN MNGR                          [ADDRESS REDACTED]
2220 14TH AVE                             915 KILDAIRE FARM RD, STE 6
KENOSHA, WI 53140                         CARY, NC 27511




SKILLSOFT CORP                            SKIMOIL INC                            [NAME REDACTED]
ATTN SR DIR FINANCE CORP CONTROLLER       ATTN PRES                              [ADDRESS REDACTED]
107 NORTHEASTERN BLVD                     13451 CONWAY RD
NASHUA, NH 03062                          ST LOUIS, MO 63141




SKKU MCS LAB                              SKODA ELECTRIC AS                      [NAME REDACTED]
ATTN MIN CHEOL SEO, CANDIDATE             ATTN PURCHASING DIR                    [ADDRESS REDACTED]
300 CHUNCHUN-DONG, JANGAN-GU              TYLOVA 1/57, PRUMYSLOVA 4
GYEONGGI-DO 440-746                       PILSEN 301 28
SOUTH KOREA                               CZECH REPUBLIC



[NAME REDACTED]                           SKUID INC                              SKY LIGHTING TECHNOLOGY INC
[ADDRESS REDACTED]                        ATTN GEN COUNSEL                       ATTN PRES
                                          605 CHESTNUT ST, STE 700               25618 BANI AVE
                                          CHATTANOOGA, TN 37450                  LOMITA, CA 90717




SKYLINE INDUSTRIAL GROUP INC.             SKYMART ELECTRONICS CO LTD             SKYNET LIGHTING CO LTD
2672 CONEJO CENTER DRIVE                  ATTN SHIH-TA CHEN                      ATTN PRESIDENT
THOUSAND OAKS, CA 91320-1407              NO. 44, 46 YAN JIANG E RD              4TH FL, NO.76, CHEN-KONG RD
                                          MINZU INDUSTRIAL PARK, TECH DEV AREA   SEC 1 NAN KAN DIST
                                          ZHONGSHAN CITY, GUANGDONG CHINA        TAIPEI TAIWAN



SKYWORKS SOLUTIONS INC                    SKYWORKS SOLUTIONS INC                 SKYWORKS SOLUTIONS INC
20 SYLVAN RD                              ATTN GENERAL COUNSEL                   ATTN GENERAL COUNSEL
WOBURN, MA 01801                          5221 CALIFORNIA AVE                    5260 CALIFORNIA AVE
                                          IRVINE, CA 92617                       IRVINE, CA 92617




SL ENERJI SISTEMLERI LTD SAN VE TIC LTD   SL POWER ELECTRONICS CORP              SLAC NATL ACCELERATOR LABORATORY
STI                                       ATTN VP, FINANCE                       2575 SAND HILL RD
GUZELYURT MAH, SOK TEKSTILCILER SIT NO    6050 KING DR                           MENLO PARK, CA 94025
24                                        VENTURA, CA 93003
MERKEZ/MANISA 5769
TURKEY


[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




SLAIT CONSULTING LLC                      [NAME REDACTED]                        [NAME REDACTED]
ATTN ROWMAN BASHAM                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]
101 LANDMARK SQUARE
VIRGINIA BEACH, VA 23452




[NAME REDACTED]                           SLAUGHTER CO INC                       [NAME REDACTED]
[ADDRESS REDACTED]                        28105 N KEITH DR                       [ADDRESS REDACTED]
                                          LAKE FORREST, IL 60045
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 SLC
                                   [NAME REDACTED]                       Page
                                                                           LED 772 of 944
[ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     SLICING TECH                        S-LIGHT OPTOELECTRONICS INC
[ADDRESS REDACTED]                  432 MT BETHEL HWY RT 512            ATTN BUYER
                                    BANGOR, PA 18013-5242               2F, NO 370, SEC 1, CHUNG SHAN RD
                                                                        SHULIN DIST
                                                                        NEW TAIPEI CITY TAIWAN



S-LIGHT OPTOELECTRONICS INC         SLIPSTREAM ENGINEERING DESIGN LTD   [NAME REDACTED]
ATTN DIRECTOR                       ATTN DIR                            [ADDRESS REDACTED]
6F-2, NO.910, CHUNG CHENG RD        11 MERCURY QUAYS
CHUNG HO, TAIPEI                    ASHLEY LANE, SNIPLEY
TAIWAN                              WEST YORKSHIRE BD17 7DB UNITED
                                    KINGDOM


[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




SLOANLED COMPANY, THE               SLOKA TELECOM PYT LTO               SLOVAK UNIVERSITY OF TECHNOLOGY
ATTN DESIGN ENG                     L-66, XI SECTOR, LIC COLONY         INSTITUTE OF ELECTRONICS AND
5725 OLIVAS PK DR                   JEEVAN BHIMA NAGAR, HAL II STAGE    PHOTONICS
VENTURA, CA 93003                   BANGALORE 560075                    ATTN DIR OF IEP STU
                                    INDIA                               ILLKOVICOVA 3
                                                                        BRATISLAVIA 81219 SLOVAKIA


SLS LIGHTING                        [NAME REDACTED]                     SM ELECTRONIC TECHNOLOGIES LTD
ATTN GENERAL MGR                    [ADDRESS REDACTED]                  ATTN R RAMCHANDRA, DIR, BUS DEV
22 WEST 2ND AVE                                                         1790 5TH MAIN, 9TH CROSS, RPC LAYOUT
VANCOUVER, BC V5Y 1B3                                                   VIJAYANAGAR IIND STAGE
CANADA                                                                  BANGALORE 560 040 INDIA



SM SANDLER HOLDINGS LLC             SMA SOLAR TECHNOLOGY AG             SMA TECHNOLOGIE AG
DBA PICOTEST                        SONNENALLEE 1                       ATTN VP TECHNOLOGY
ATTN DIRECTOR                       NIESTETAL 34266                     HANNOVERSCHE STRASSE 1-5
28715 N 20TH AVE                    GERMANY                             NIESTATAL D-34266
PHOENIX, AZ 85085                                                       GERMANY



SMALL PRECISION TOOLS INC           [NAME REDACTED]                     [NAME REDACTED]
1330 CLEGG STREET                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]
PETALUMA, CA 94954-1127




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 SMART
                                          [NAME REDACTED]                       Page  773 ofDISTRIBUTORS
                                                                                    BATTERY   944        LLC
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       ATTN PRESIDENT
                                                                                    6011 BENJAMIN RD
                                                                                    TAMPA, FL 33634




SMART CO LTD                               SMART LIGHT & CONTROLS LLC               SMART METALS RECYCLYING LLC
20 LIUFU RD, TAOYUAN                       ATTN MR RICK HOULE                       ATTN PRESIDENT
TAOYUAN CITY 338107                        147 LAS BRISAS BLVD                      613 BOND ST
TAIWAN                                     SEGUIN, TX 78155                         STATESVILLE, NC 28677




SMART MODULAR TECHNOLOGIES JAPAN           SMART POWER SOLUTIONS LLP                SMART SONIC CORPORATION
ATTN REP DIRECTOR                          ATTN TECHNICAL PARTNER                   ATTN PRESIDENT
ARK HILLS SENGOKUYAMA MORI                 UNIT 54, SPRINGFIELD COMMERCIAL CENTRE   6724 ETON AVE
TWR 28F, ROPPONGI, MINATO-KU, 1-9-10       BAGLEY LN, FARSLEY                       CANOGA PARK, CA 91303
TOKYO 106-0032 JAPAN                       LEEDS LS28 5LY UNITED KINGDOM



SMART TECHNOLOGY LLC                       SMART TECHNOLOGY LLC                     SMART TECHNOLOGY LLC
ATTN BASHIR AHMAD                          C/O CAPITOL CITY TECHLAW                 C/O VBS
10061 S 54TH ST                            ATTN JASBIR SINGH                        ATTN WAJAHAT LAIQ
FRANKLIN, WI 53132                         333 MAPLE AVE E, 900                     655 DEERFIELD RD
                                           VIENNA, VA 22180                         DEERFIELD, IL 60015



SMART WIRE GRID INC                        [NAME REDACTED]                          SMARTBEAR SOFTWARE INC
ATTN COO                                   [ADDRESS REDACTED]                       ATTN DIRECTOR
1300 CLAY ST, STE 840                                                               100 CUMMINGS CTR, STE 234N
OAKLAND, CA 94612                                                                   BEVERLY, MA 01915




SMARTCORE LLC                              SMARTD TECHNOLOGIES INC                  SMARTLITE MFG LTD
ATTN PRINCIPAL                             ATTN PRESIDENT                           ATTN PURCHASING MGR
8702 RED OAK BLVD                          400 MONFORT                              RM 709, CRE CENTRE
CHARLOTTE, NC 28217                        MONTREAL, QC H2C 4AB                     889 CHEUNG SHA WAN RD
                                           CANADA                                   KOWLOON HONG KONG



SMARTSHEET, INC                            SMARTSOL TECHNOLOGIES S DE RL DE CV      SMARTSTRIPE LLC
500 108TH AVE NE                           ATTN PRESIDENT                           ATTN CHIEF EXECUTIVE OFFICER
BELLEVUE, WA 98004-5555                    INDEPENCIA 1018, EDEFICIO 1              2902 SKYLARK DR
                                           OFICINA 103, PARQUES DEL BOSQUE          AUSTIN, TX 78757
                                           TLAQUEPAQUE, JAL 45609 MEXICO



SMARTTHINGS INC                            SMARTTONE MOBILE COMMUNICATIONS LTD      SMASHRAY LTD
ATTN COO                                   31/F, MILLENNIUM CITY 2                  ATTN PRESIDENT
1000 POTOMAC ST NW, STE 120                378 KWUN TONG RD                         5862 WALNUT SPRINGS BLVD
WASHINGTON, DC 20007                       KOWLOON                                  SYLVANIA, OH 43560
                                           HONG KONG



SMC CORPORATION OF AMERICA                 SME SPA                                  [NAME REDACTED]
ATTN PRESIDENT                             ATTN CHIEF EXECUTIVE OFFICER             [ADDRESS REDACTED]
10100 SMC BLVD                             VIA DELLA TECNICA Z I 40
NOBLESVILLE, IN 46060                      ARZIGNANO (VI) 36071
                                           ITALY



SMI                                        [NAME REDACTED]                          [NAME REDACTED]
1020 19TH ST., N.W., SUITE 375             [ADDRESS REDACTED]                       [ADDRESS REDACTED]
WASHINGTON, DC 20036-6118
                  CaseDORSETT
SMITH ANDERSON BLOUNT   25-90163   Document  87 Filed
                                      SMITH ANDERSON   in TXSB
                                                     BLOUNT     on 07/03/25 SMITH
                                                            DORSETT           Page  774 HARRIS
                                                                                  BARNEY of 944UPHAM & CO INC
MITCHELL & JERNIGAN LLP                MITCHELL & JERNIGAN LLP               MORGAN STANLEY & CO LLC
2500 WACHOVIA CAPITOL CTR              P.O. BOX 2611                         1585 BROADWAY
RALEIGH, NC 27610                      RALEIGH, NC 27602-2611                NEW YORK, NY 10036




SMITH CASE INC                         SMITH MYERS COMMUNICATIONS LTD        SMITH SEAL OF NC
ATTN VP CLIENT SERVICES                ATTN MANAGING DIR                     8441 GARVEY DR
2540 EMPIRE DR, STE 200                THE OMEGA BUSINESS PARK               RALEIGH, NC 27616-3176
WINSTON-SALEM, NC 27103                BIGGLESWADE, BEDS SG18 8QB
                                       UNITED KINGDOM



[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
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[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  775 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    SMITH, JAMES
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
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[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
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[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                    SMITHERS QUALITY ASSESSMENTS
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 121 S MAIN STREET
                                                                            AKRON, OH 44308




[NAME REDACTED]                          SMITHS AEROSPACE INC               SMITHS AEROSPACE LLC
[ADDRESS REDACTED]                       ATTN DIR, CONTRACTS & PRICING      ATTN EXEC VP
                                         3209 PATTERSON AVE                 740 E NATIONAL RD
                                         GRAND RAPIDS, MI 49512             VANDALIA, OH 45377




SMITHS DETECTION EDGEWOOD INC            SMITHSON INC                       SMK CORP
ATTN ASSOC DIR, LEGAL & BUS OPERATIONS   ATTN PROJECT MGR                   ATTN VICE PRESIDENT
2202 LAKESIDE BLVD                       1661 S WESLEYAN BLVD               5-5, TOGOSHI 6-CHOME
EDGEWOOD, MD 21040                       ROCKY MOUNT, NC 27802              SHINAGAWA-KU
                                                                            TOKYO 142-8511 JAPAN



SMOKIN VIDEO INC                         [NAME REDACTED]                    SMP ENGINEERING
ATTN VIDEOGRAPHER                        [ADDRESS REDACTED]                 1240 KENNINGTON RD NW, STE 403
7103 EASTRIDGE DR                                                           CALGARY, AB T2N 3P7
APEX, NC 27539                                                              CANADA




SMS MAINTENANCE SERVICES INC             SMT ELECTRIC                       SMT ENGINEERING LLC
ATTN AREA SALES DIR                      76 POTOMAC CREEK DR                ATTN VP OF FINANCE
10420 HARRIS OAKS BLVD                   FREDERICKSBURG, VA 22405           5660 TECHNOLOGY CIR
CHARLOTTE, NC 28269                                                         APPLETON, WI 54914
SMUD CSC        Case 25-90163     Document
                                     SMURFIT87  Filed
                                             STONE    in TXSB
                                                   CONTAINER    on 07/03/25 [NAME
                                                             CORP             Page  777 of 944
                                                                                  REDACTED]
ATTN PRODUCT SERVICE SPECIALIST       ATTN ACCOUNT MANAGER                  [ADDRESS REDACTED]
6301 S ST                             SIX CITY PLACE DR
P.O. BOX 15830                        CREVE COEUR, MI 63141
SACRAMENTO, CA 95852-0830



[NAME REDACTED]                       SNAP36 LLC                            SNAP-ON LOGISTICS CO
[ADDRESS REDACTED]                    3 GRANT SQ, STE 236                   C/O SNAP-ON POWER & SPECIALTY TOOLS
                                      HINDALE, IL 60521                     ATTN DIRECTOR, STRATEGIC SOURCING
                                                                            2801 80TH ST
                                                                            KENOSHA, WI 53143



[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                       SNOWFLAKE INC                         SNT-USA INC
[ADDRESS REDACTED]                    106 EAST BABCOCK STREET SUITE 3A      ATTN DIR OF SALES
                                      BOZEMAN, MT 59715-4819                1900 GREGG LN, STE 5
                                                                            PFLUGERVILLE, TX 78660




SNYDER ELECTRIC CO INC                [NAME REDACTED]                       [NAME REDACTED]
ATTN PRESIDENT                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]
1010 BOBCAT LN
WOODRUFF, SC 29388




[NAME REDACTED]                       [NAME REDACTED]                       SOAR TECHNOLOGY INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    ATTN GEN MGR
                                                                            3600 GREEN CT, STE 600
                                                                            ANN ARBOR, MI 48105




[NAME REDACTED]                       SOBIE CONSULTING                      SOCIETE SAS LEDPOWER
[ADDRESS REDACTED]                    ATTN OWNER/CEO
                                      56 SLATEFORD DR
                                      CLAYTON, NC 27520




SOCIETE UAC SAS                       SOCIETY FOR CORPORATE GOVERNANCE      SOCIETY OF AUTOMOTIVE ENGINEERS INC
ATTN GENERAL MANAGER                  52 VANDERBUILT AVE                    DBA SAE INTERNATIONAL
LE FIORITA BAT A                      SUITE 903                             ATTN TALENT DEV LEADER
3 AVE SANTA FIOR                      NEW YORK, NY 10017                    400 COMMONWEALTH DR
NICE 06100 FRANCE                                                           WARRENDALE, PA 15096



SOCIETY OF HISPANIC PROFESSIONAL      SOCIETY OF WOMEN ENGINEERS            SODERBERG MANUFACTURING CO INC
ENGINEERS                             130 EAST RANDOLPH STREET SUITE 3500   ATTN ENGINEERING DIR
13181 CROSSROADS PARKWAY NORTH SUIT   CHICAGO, IL 60601-6314                20821 CURRIER RD
CITY OF INDUSTRY, CA 91746-3453                                             WALNUT, CA 91789
                 Case
SODEXHO OPERATIONS  LLC 25-90163   Document 87OPERATIONS
                                      SODEXHO    Filed in LLC
                                                          TXSB on 07/03/25 SODEXOH
                                                                             Page 778  of 944LLC
                                                                                   OPERATIONS
ATTN LAW DEPARTMENT                    ATTN WILLIAM C SMITH JR, SVP          ATTN DIVISION VP
9801 WASHINGTONIAN BLVD                1850 PARKWAY PL, STE 500              620 S PLACENTIA AVE
DEPT 51/899.74                         MARIETTA, GA 30067                    PLACENTIA, CA 92870
GAITHERSBURG, MD 20878



SODICK INC                             SODICK                                [NAME REDACTED]
ATTN PRESIDENT                         601 COMMERCE DR                       [ADDRESS REDACTED]
1605 N PENNY LN                        SCHAUMBURG, IL 60173
SCHAUMBURG, IL 60173




[NAME REDACTED]                        SOFTDEL SYSTEMS INC                   SOFTDEL SYSTEMS PVT LTD
[ADDRESS REDACTED]                     ATTN CHIEF EXECUTIVE OFFICER          ATTN ANIL WANI, CEO
                                       825 MARKET ST, BLDG M, STE 250        PENTAGON P4, MAGARPATTA CITY
                                       ALLEN, TX 75013                       HADAPSAR PUNE
                                                                             MAHARASHTRA 411 028 INDIA



SOFTLOG SYSTEMS (2006) LTD             SOFTSOLUTIONS INC                     SOFTWARE TOOLBOX INC
6 HAYOTZRIM ST                         ATTN PRES                             ATTN CFO
OR-YEHUDA 6021820                      325 MOUNTAIN AVE                      148A E CHARLES ST
ISRAEL                                 ROANOKE, VA 24016                     MATTHEWS, NC 28105




SOGANG UNIVERSITY                      [NAME REDACTED]                       [NAME REDACTED]
35 BAEKBEOM-RO                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]
MAPO-GU
SEOUL 04107
SOUTH KOREA



SOIL & ENVIRONMENTAL CONSULTANTS INC   SOITEC USA                            [NAME REDACTED]
8412 FALLS OF NEUSE RD, STE 04         3322 SWEETWATER SPRINGS BLVD - SUIT   [ADDRESS REDACTED]
RALEIGH, NC 27615                      SPRING VALLEY, CA 91977-3142




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




SOL INC                                SOLAIS LIGHTING INC                   SOLAIS LIGHTING INC
ATTN DIRECTOR OF ENG & R&D             ATTN CHIEF EXECUTIVE OFFICER          ATTN PRESIDENT
3210 SW 42ND AVE                       470 WEST AVE                          67 POLAND ST
PALM CITY, FL 34990                    STANFORD, CT 06902                    BRIDGEPORT, CT 06605-3266




SOLAR EXTRACTION TECH INC              SOLAR GB LTD                          SOLAR NEW POWER CORP
ATTN PRESIDENT                         ATTN DIR                              ATTN CHIEF EXECUTIVE OFFICER
30775 SW BOONES FERRY RD C             UNIT 5, PARKSIDE INDUSTRIAL ESTATE    5F, -3, NO 83, SEC 2
WILSONVILLE, OR 97070                  GLOVER WAY                            GONGDAO 5TH RD
                                       LEEDS LS11 5JP UNITED KINGDOM         EAST DIST, HSINCHU 30070 TAIWAN



SOLARA INC                             SOLARCITY CORPORATION                 SOLAREDGE
ATTN PRES                              ATTN LEGAL COUNSEL                    ATTN VICE PRESIDENT
309 TRIPLETT LN                        3055 CLEARVIEW WAY                    6 HAHARASH ST
KNOXVILLE, TN 37930                    SAN MATEO, CA 94402                   P.O. BOX 7349
                                                                             HOD HASHARON 45240 ISRAEL
SOLARI DI UDINE SPACase 25-90163    Document  87DEVELOPMENT
                                       SOLARIUS    Filed in TXSB
                                                             INC on 07/03/25 SOLARIUS
                                                                               Page 779   of 944 INC
                                                                                      DEVELOPMENT
ATTN TECH DIR                           ATTM TECHNICAL DIR                   ATTN APPLICATIONS ENGINEER
VIA GINO PIERI 29                       550 WEDDELL DR, STE 3                2390 BERING DR
UDINE 33100                             SUNNYVALE, CA 94089                  SAN JOSE, CA 95131
ITALY



SOLARRICH APPLIED ENERGY &              SOLATUBE INTERNATIONAL INC           [NAME REDACTED]
TECHNOLOGY CO LTD                       ATTN VP - PRODUCT ENTERPRISE         [ADDRESS REDACTED]
7F-1, NO 10, DASYUE RD                  2210 OAK RIDGE WAY
E DISTRICT                              VISA, CA 92081-8341
TAINAN CITY 701
TAIWAN


[NAME REDACTED]                         SOLDERMASK INC                       SOLECTRIA RENEWABLES LLC
[ADDRESS REDACTED]                      ATTN PRESIDENT                       ATTN CHIEF EXECUTIVE OFFICER
                                        17905 METZLER LN                     360 MERRIMACK ST, BLDG 9
                                        HUNTINGDON BEACH, CA 92647           LAWRENCE, MA 01843




SOLED LLC                               SOLEDS                               SOLERA
ATTN PRESIDENT                          8 RUE DE IINDUSTRIE                  227 WILKINSON RD
1134 WRIGLEY WAY                        SOULTZ 68360                         BRAMPTON, ON L6T 4M2
MILPITAS, CA 95035                      FRANCE                               CANADA




[NAME REDACTED]                         SOLGEL TECHNOLOGIES GMBH             SOLID CONCEPTS INC
[ADDRESS REDACTED]                      MAX-PLANCK-STR 3                     ATTN CFO
                                        BERLIN D-12489                       28309 AVE CROCKER
                                        GERMANY                              VALENCIA, CA 91355




SOLID DESIGN SOUTHEAST INC              SOLID QUALITY MENTORS                SOLID SEALING TECHNOLOGY INC
ATTN VICE PRESIDENT                     ATTN BUSSINES DEVT MANAGER           ATTN PRESIDENT
P.O. BOX 561507                         11921 FREEDOM DR                     44 DALLIBA AVE
CHARLOTTE, NC 28256                     TWO FOUNTAIN SQ, STE 550             WATERVLIET, NY 12189
                                        RESTON, VA 20190



SOLID STATE COOLING SYSTEMS, INC.       SOLID STATE DEVICES INC              SOLID STATE DISKS LTD
167 MYERS CORNERS RD                    ATTN EDWARD B APPLEBAUM              ATTN SALES DIR
WAPPINGERS FALLS, NY 12590-3869         14830 VALLEY VIEW AVE                THE GRANARY, HOSE HILL
                                        LA MIRADA, CA 90638                  SULHAMSTEAD
                                                                             BERKSHIRE RG74BB UNITED KINGDOM



SOLID STATE EQUIPMENT CORP              SOLID STATE MEASUREMENTS INC         SOLID STATE PHYSICS LABORATORY
ATTN PRESIDENT                          ATTN VP                              ATTN SCIENTIST - D
185 GIBRALTAR RD                        110 TECHNOLOGY DR                    LUCKNOW RD
HORSHAM, PA 19044-2303                  PITTSBURGH, PA 15275                 TIMARPUR, NEW DELHI 110054
                                                                             INDIA



SOLID SYSTEM INC                        SOLIDCAM INC                         SOLIDITE CORP
ATTN TEAM MGR                           ATTN CHIEF OPERATING OFFICER         13-5, WANGGALOU, FONGSHAN VILLAGE
10 FL, SOLID SPACE 220                  4570 VAN NUYS BLVD                   HUKOU, HSINCHU 303
PANGYOYEOK-RO, BUNDANG-GU               SHERMAN OAKS, CA 91403               TAIWAN
SEONGNAM, GYEONGGI-DO 463-400 SOUTH
KOREA


SOLITION TECHNOLOGIES INC               SOLIUS CO LTD                        [NAME REDACTED]
ATTN MANAGER                            ATTN PRESIDENT                       [ADDRESS REDACTED]
10437 INNOVATION DR, 239                A-711 DAEWOO TECHNOPARK
WAUWATOSA, WI 53226                     187-7, DODANG-DONG
                                        BUCHEON, GYEONGGI-DO 420-806 SOUTH
                                        KOREA
                    Case 25-90163
SOLKATRONIC CHEMICALS                  Document 87SYSTECH
                                          SOLOMON    FiledLTD
                                                           in TXSB on 07/03/25 [NAME
                                                                                 Page  780 of 944
                                                                                     REDACTED]
ATTN REG SALES MG                          ATTN WM LO, VP BUSINESS OPS         [ADDRESS REDACTED]
30 TWO BRIDGES RD                          6/F, NO.3 SCIENCE PARK EAST AVE
FAIRFIELD, NJ 07004                        HONG KONG SCIENCE PARK
                                           SHATIN, NT HONG KONG



[NAME REDACTED]                            [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                     SOLTECHNOLOGY
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  ATTN PRODUCTION CONTROL MANAGER
                                                                               14, DONGTANSANDAN 5-GIL
                                                                               DONGTAN-MYEON
                                                                               HWASEONG,GYEONGGI-DO 18487 SOUTH
                                                                               KOREA


SOLUCIONES EN EMPAQUE & LOGISTICA SA       SOLURIS INC                         SOLUTION DEPOSITION SYSTEMS INC
DE CV                                      ATTN VICE PRESIDENT SALES & FIELD   ATTN CTO
ATTN SALES DIR                             OPERATIONS                          75 ROBIN HILL RD, STE 201
PROLONGACION 5 DE MAYO 253-B               45 WINTHROP ST                      SANTA BARBARA, CA 93117
COLONIA SAN JUAN DE OCOTAN                 CONCORD, MA 01742
ZAPOPAN JAL MEXICO


SOLUTIONS DESIGN INC                       SOLUTIONS4SURE.COM INC              SOLUX CO LTD
ATTN VP                                    DBA TECH DEPOT                      5, MAGOKJUNGANG 8-RO 3-GIL
2572 BOUL DANIEL JOHNSON                   ATTN VP-FINNCE BUS SOLUTIONS        GANGSEO-GU
LAVAL, QB H7T 2R3                          6 CAMBRIDGE DR                      SEOUL 07795
CANADA                                     TRUMBULL, CT 06611                  SOUTH KOREA



SOLVAY SPECIALTY POLYMERS USA LLC          SOMA NETWORKS INC                   [NAME REDACTED]
ATTN SVP, HEAD OF CRYSTALLINE              ATTN SVP OPS                        [ADDRESS REDACTED]
POLYMERS                                   650 TOWNSEND ST, STE 305
4500 MCGINNIS FERRY RD                     SAN FRANCISCO, CA 94103
ALPHARETTA, GA 30005-3914



SOMERLAND GROUP INC, THE                   [NAME REDACTED]                     [NAME REDACTED]
F/S/O IAN SOMERHALDER                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]
C/O MORRIS YORN
2000 AVE OF THE STARS, N TWR, 3RD FL
LOS ANGELES, CA 90049



[NAME REDACTED]                            [NAME REDACTED]                     SON AYDINLATIMA LTD STI
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                  IKITELLI ORGANIZE SANAYI BOLGESI
                                                                               IPKAS SANAYI SITESI 3 ETAP
                                                                               C BLOK NO 6, IKITELLI
                                                                               ISTANBUL TURKEY



SONA ASSET MANAGEMENT US LLC               SONATA LLC                          SONEPAR CANADA INC
730 3RD AVE                                2490 BLACK ROCK TURNPIKE            250 CHRYSLER DR, UNIT 4
26TH FL                                    FAIRFIELD, CT 06825-2400            BRAMPTON, ON L6S 6B6
NEW YORK, NY 10017                                                             CANADA




SONEPAR CANADA INC.                        SONEPAR USA HOLDINGS INC            [NAME REDACTED]
250 CHRYSLER DRIVE, UNIT 4                 PENN MUTUAL BLDG                    [ADDRESS REDACTED]
BRAMPTON                                   510 WALNUT ST, STE 400
CANADA                                     PHILADELPHIA, PA 19106
SONGDI INTELLIGENTCase 25-90163
                   ROBOTIC           Document
                           TECH CO LTD         87 FiledPTE
                                        SONIC SINGAPORE   inLTD
                                                             TXSB on 07/03/25 SONICS
                                                                                Page& 781   of 944
                                                                                      MATERIALS  INC
                                        ATTN SALES ENGINEER                   ATTN REGIONAL MGR
                                        LIBERTY WAREHOUSE 2-4                 53 CHURCH HILL RD
                                        220 TAGORE LN                         NEWTOWN, CT 06470
                                        SINGAPORE 787600 SINGAPORE



SONITEK CORP                           SONNEN INC                              [NAME REDACTED]
ATTN PRESIDENT                         ATTN CTO                                [ADDRESS REDACTED]
84 RESEARCH DR                         2048 WEEMS RD, BLDG C
MILFORD, CT 06460                      TUCKER, GA 30084




SONOCO PRODUCTS COMPANY                SONOMA HOTEL OPERATOR, LLC              SONOS INC
ATTN VICE PRESIDENT                    FAIRMONT SONOMA MISSION I               ATTN GEN COUNSEL
125 W HOME AVE                         100 BOYES BOULEVARD                     614 CHAPALA ST
HARTSVILLE, SC 29550                   SONOMA, CA 95476-3678                   SANTA BARBARA, CA 93101




SONOSITE                               SONO-TEK CORP                           SONY CHEMICAL & INFORMATION DEVICE
21919 30TH DR SE                       ATTN PRESIDENT                          CORP
BOTHELL, WA 98021                      2012 RTE 9W, BLDG 3                     ATTN SR GEN MNG, ADVANCED MATERIAL
                                       MILTON, NY 12547-9900                   DIV
                                                                               GATE CITY OSAKI, E TOWER 8TH FL
                                                                               1-11-2 OSAKI, SHINAGAWA-KU
                                                                               TOKYO 141-0032 JAPAN

SONY CORPORATION OF AMERICA            SONY CORPORATION OF AMERICA             SONY VISUAL PRODUCTS INC
ATTN PETER C TOTO, VP IP COUNSEL       ATTN SR GM, INTELLECTUAL PROP DIV       SONY CITY OSAKI 2-10-1
1 SONY DR                              7-35 KITASHINAGAWA 6-CHROME             OSAKI SHINAGAWA-KU
PARK RIDGE, NJ 07656                   TOKYO 141-0001                          TOKYO 141-8610
                                       JAPAN                                   JAPAN



SOPRA GROUP SPA                        SORAA                                   SOROS FUND MANAGEMENT LLC
ATTN CHIEF EXECUTIVE OFFICER           ATTN ACTING CEO                         250 W 55TH ST
STRADA 4, PALAZZO A7                   485 PINE AVE                            38TH FL
MILANFIORI                             GOLETA, CA 93117                        NEW YORK, NY 10019
ASSAGO, MILAN 20090 ITALY



[NAME REDACTED]                        SOSHIN ELECTRIC KK                      [NAME REDACTED]
[ADDRESS REDACTED]                     HAMAMATSUCHO BLDG, 14F                  [ADDRESS REDACTED]
                                       1-1-1 SHIBAURA, MINATO-KU
                                       TOKYO 105-0023
                                       JAPAN



[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         SOULTECH KOREA CO LTD
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      A3604 HO, 36TH FL, TOWER-DONG
                                                                               HEUNGDEOK IT VALLEY
                                                                               HEUNGDEOK 1-RO GIHEUNG-GU
                                                                               YONGIN, GYEONGGI-DO SOUTH KOREA



SOURCE ONE TECHNOLOGIES INC            SOURCE TECHNOLOGIES INC                 SOURCE TESTING AND CONSULTING
ATTN PRESIDENT                         ATTN INTL DIR OF SALES                  SERVICES INC
160 ANNARON CT                         340 QUINNIPIAC ST, BLDG 25              ATTN PRESIDENT
RALEIGH, NC 27603                      WALLINGFORD, CT 06492                   1100 PURPLE GLORY DR
                                                                               APEX, NC 27502
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 SOUTH
                                        [NAME REDACTED]                       Page  782 ofENVIRON
                                                                                  ATLANTIC 944 DRILLING &
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  CONSTRUCTION CO INC
                                                                             ATTN PRESIDENT
                                                                             9088 NORTHFIELD DR
                                                                             FT MILL, SC 29715



SOUTH BAY TECHNOLOGY INC                 SOUTH CAROLINA ARCHITECTURAL        SOUTH CAROLINA DEPARTMENT OF
ATTN SALES ENGINEER                      LIGHTING LLC                        REVENUE
1120 VIA CALLEJON                        ATTN BRENT MEDEARIS                 300 A OUTLET POINTE BLVD
SAN CLEMENTE, CA 92673                   701 MILLENNIUM BLVD                 COLUMBIA, SC 29210
                                         GREENVILLE, SC 29607



SOUTH CAROLINA DEPARTMENT OF             SOUTH CAROLINA DEPT OF LABOR,       SOUTH CAROLINA SECURITIES (OVERNIGHT
CONSUMER AFFAIRS                         LICENSING AND REGULATION            DELIVERY)
293 GREYSTONE BLVD                       110 CENTERVIEW DR                   REMBERT DENNIS BUILDING
STE 400                                  COLUMBIA, SC 29210                  1000 ASSEMBLY ST 1
COLUMBIA, SC 29210                                                           COLUMBIA, SC 29201



SOUTH CAROLINA SECURITIES                SOUTH CAROLINA STATE TREASURY       SOUTH CHINA UNIVERSITY OF CHINA
P.O. BOX 11549                           UNCLAIMED PROPERTY PROGRAM          ATTN JINGBIN, HUANG
COLUMBIA, SC 29211-1549                  1200 SENATE ST, ROOM 214            381 WUSHAN RD
                                         COLUMBIA, SC 29201                  GUANGZHOU 510630
                                                                             CHINA



SOUTH DAKOTA DEPT OF ENVIRONMENT         SOUTH DAKOTA DEPT OF LABOR &        SOUTH DAKOTA DEPT OF LABOR
& NATURAL RESOURCES                      REGULATION                          AND REGULATION
523 E CAPITOL AVE                        123 W MISSOURI AVE                  P.O. BOX 4730
PIERRE, SD 57501                         PIERRE, SD 57501-0405               ABERDEEN, SD 57402-4730




SOUTH DAKOTA DEPT OF REVENUE             SOUTH DAKOTA DIV OF INSURANCE-      SOUTH DAKOTA DIVISION OF CHILD
445 E CAPITOL AVE                        SECURITIES REGULAT.                 SUPPORT
PIERRE, SD 57501                         124 S EUCLID AVE                    RE: 314958020A (ORIGINAL)
                                         2ND FLOOR                           700 GOVERNORS DRIVE, SUITE 84
                                         PIERRE, SD 57501                    PIERRE, SD 57501



SOUTH DAKOTA OFFICE OF ATTORNEY          SOUTH DAKOTA STATE TREASURY         SOUTHBRIDGE LLC
GENERAL                                  UNCLAIMED PROPERTY DIVISION         ATTN MANAGING PARTNER
CONSUMER PROTECTION                      SD STATE TREASURER                  10940 RAVENS RIDGE RD, STE 200
1302 E HWY 14 STE 3                      500 E CAPITOL AVE, STE 212          RALEIGH, NC 27614
PIERRE, SD 57501                         PIERRE, SD 57501-5070



SOUTHEAST INDUSTRIAL EQUIPMENT INC       SOUTHEAST LAMINATING INC            SOUTHEAST POWER COMPONENTS INC
ATTN PRESIDENT                           DBA SOUTHEAST ID                    ATTN OUTSIDE SALES REP
4720-100 OLD POOLE RD                    ATTN MGR                            5918 ARCADIA DR
RALEIGH, NC 27610                        3155 SW 10TH ST                     GREENSBORO, NC 27410
                                         DEERFIELD BEACH, FL 33442



SOUTHEAST SERIES OF LOCKTON CO LLC       SOUTHEAST SUBMICRON SERVICES LLC    SOUTHEAST UNIVERSITY
ATTN COO                                 DBA CLEANPART EAST                  SIPAILOU 2
3280 PEACHTREE RD NE, STE 800            ATTN CONTROLLER                     NANJING 210096
ATLANTA, GA 30305                        10 CABOT ST                         CHINA
                                         SOUTHBRIDGE, MA 01550



SOUTHEASTERN FREIGHT LINES INC           SOUTHEASTERN HEAT PROCESSING        SOUTHEASTERN SALES RF LLC
ATTN CONTRACT ANALYST                    SYSTEMS INC                         463 RIO CASA DRIVE, NORTH
420 DAVEGA RD                            ATTN PRES                           INDIALANTIC, FL 32903
LEXINGTON, SC 29073                      314 LIVINGSTON DR
                                         CHARLOTTE, NC 28211
SOUTHERN BUILDINGCase  25-90163
                  MAINTENANCE CO   Document 87CALIFORNIA
                                      SOUTHERN  Filed in EDISON
                                                         TXSBCO on 07/03/25 SOUTHERN
                                                                              Page 783  of 944 COMPANY
                                                                                     CONTRACTING
ATTN PRES                              ATTN RICHARD GREENBURG              ATTN JIM FILANC
108 S WALNUT CIR                       1515 WALNUT GROVE AVE               559 N TWIN OAKS VALLEY RD
GREENSBORO, NC 27409-2625              ROSEMEAD, CA 91770                  SAN MARCOS, CA 92069




SOUTHERN DISTRICT OF ALABAMA           SOUTHERN DISTRICT OF CALIFORNIA     SOUTHERN DISTRICT OF CALIFORNIA
SEAN P COSTELLO                        ANDREW R HADEN                      ANDREW R HADEN
63 S ROYAL ST, STE 600                 880 FRONT ST, ROOM 6293             IMPERIAL COUNTY OFFICE
MOBILE, AL 36602                       SAN DIEGO, CA 92101-8893            516 INDUSTRY WAY, STE C
                                                                           IMPERIAL, CA 92251-7501



SOUTHERN DISTRICT OF FLORIDA           SOUTHERN DISTRICT OF FLORIDA        SOUTHERN DISTRICT OF FLORIDA
HAYDEN OBYRNE                          HAYDEN OBYRNE                       HAYDEN OBYRNE
US ATTORNEYS OFFICE                    US ATTORNEYS OFFICE                 US ATTORNEYS OFFICE
101 S US 1, STE 3100                   301 SIMONTON ST                     500 E BROWARD BLVD
FT. PIERCE, FL 34950                   KEY WEST, FL 33040                  FT. LAUDERDALE, FL 33394



SOUTHERN DISTRICT OF FLORIDA           SOUTHERN DISTRICT OF FLORIDA        SOUTHERN DISTRICT OF GEORGIA
HAYDEN OBYRNE                          HAYDEN OBYRNE                       TARA M LYONS
US ATTORNEYS OFFICE                    US ATTORNEYS OFFICE                 22 BARNARD ST, STE 300
500 S AUSTRALIAN AVE STE 400           99 NE 4TH ST                        SAVANNAH, GA 31401
W. PALM BEACH, FL 33401                MIAMI, FL 33132



SOUTHERN DISTRICT OF GEORGIA           SOUTHERN DISTRICT OF ILLINOIS       SOUTHERN DISTRICT OF ILLINOIS
TARA M LYONS                           STEVEN D WEINHOEFT                  STEVEN D WEINHOEFT
600 JAMES BROWN BLVD, STE 200          UNITED STATES ATTORNEYS OFFICE      UNITED STATES ATTORNEYS OFFICE
AUGUSTA, GA 30901                      402 W MAIN ST, STE 2A               750 MISSOURI AVE, 3RD FL
                                       BENTON, IL 62812                    EAST ST. LOUIS, IL 62201



SOUTHERN DISTRICT OF ILLINOIS          SOUTHERN DISTRICT OF INDIANA        SOUTHERN DISTRICT OF INDIANA
STEVEN D WEINHOEFT                     JOHN E CHILDRESS                    JOHN E CHILDRESS
UNITED STATES ATTORNEYS OFFICE         UNITED STATES ATTORNEYS OFFICE      UNITED STATES ATTORNEYS OFFICE
9 EXECUTIVE DR                         10 W MARKET ST, STE 2100            101 NW MLK BLVD, STE 250
FAIRVIEW HEIGHTS, IL 62208             INDIANAPOLIS, IN 46204              EVANSVILLE, IN 47708



SOUTHERN DISTRICT OF IOWA              SOUTHERN DISTRICT OF IOWA           SOUTHERN DISTRICT OF IOWA
RICHARD D. WESTPHAL                    RICHARD D. WESTPHAL                 RICHARD D. WESTPHAL
US COURTHOUSE ANNEX                    US COURTHOUSE                       US COURTHOUSE
110 E COURT AVE, STE 286               131 E 4TH ST, STE 310               2146 27TH AVE, STE 400
DES MOINES, IA 50309-2053              DAVENPORT, IA 52801                 COUNCIL BLUFFS, IA 51501



SOUTHERN DISTRICT OF MISSISSIPPI       SOUTHERN DISTRICT OF MISSISSIPPI    SOUTHERN DISTRICT OF NEW YORK
PATRICK LEMON                          PATRICK LEMON                       MATTHEW PODOLSKY
1575 20TH AVE                          501 E COURT ST, STE 4-430           26 FEDERAL PLAZA, 37TH FL
GULFPORT, MS 39501                     JACKSON, MS 39201                   NEW YORK, NY 10278




SOUTHERN DISTRICT OF NEW YORK          SOUTHERN DISTRICT OF NEW YORK       SOUTHERN DISTRICT OF NEW YORK
MATTHEW PODOLSKY                       MATTHEW PODOLSKY                    MATTHEW PODOLSKY
UNITED STATES ATTORNEYS OFFICE         UNITED STATES ATTORNEYS OFFICE      UNITED STATES ATTORNEYS OFFICE
1 ST ANDREWS PLAZA                     50 MAIN ST                          86 CHAMBERS ST, 3RD FL
NEW YORK, NY 10007                     WHITE PLAINS, NY 10606              NEW YORK, NY 10007



SOUTHERN DISTRICT OF OHIO              SOUTHERN DISTRICT OF OHIO           SOUTHERN DISTRICT OF OHIO
KELLY NORRIS                           KELLY NORRIS                        KELLY NORRIS
US ATTORNEYS OFFICE                    US ATTORNEYS OFFICE                 US ATTORNEYS OFFICE, WLATER H RICE
221 E FOURTH ST, STE 400               303 MARCONI BLVD, STE 200           FEDERAL BLDG & U.S. COURTHOUSE
CINCINNATI, OH 45202                   COLUMBUS, OH 43215                  200 W SECOND ST, STE 600
                                                                           DAYTON, OH 45402
SOUTHERN DISTRICTCase      25-90163
                    OF TEXAS          Document 87DISTRICT
                                         SOUTHERN  Filed OF
                                                          in TXSB
                                                             TEXAS on 07/03/25 SOUTHERN
                                                                                 Page 784   of 944
                                                                                        DISTRICT OF TEXAS
ATTN: NICHOLAS J GANJEI                   NICHOLAS J GANJEI                     NICHOLAS J GANJEI
US ATTORNEYS OFFICE                       BENTSEN TOWER                         ONE SHORELINE PLAZA S TOWER
1000 LOUISIANA ST, STE 2300               1701 W HWY 83, STE 600                800 N SHORELINE BLVD, STE 500
HOUSTON, TX 77002                         MCALLEN, TX 78501-5160                CORPUS CHRISTI, TX 78401



SOUTHERN DISTRICT OF TEXAS                SOUTHERN DISTRICT OF TEXAS            SOUTHERN DISTRICT OF WEST VIRGINIA
NICHOLAS J GANJEI                         NICHOLAS J GANJEI                     LISA G JOHNSTON
UNITED STATES FEDERAL COURTHOUSE, US      US ATTORNEYS OFFICE                   601 FEDERAL ST
ATTORNEYS OFFICE                          P.O. BOX 1179                         BLUEFIELD, WV 24701
600 E HARRISON, STE 201                   LAREDO, TX 78042-1179
BROWNSVILLE, TX 78520-5106


SOUTHERN DISTRICT OF WEST VIRGINIA        SOUTHERN DISTRICT OF WEST VIRGINIA    SOUTHERN DISTRICT OF WEST VIRGINIA
LISA G JOHNSTON                           LISA G JOHNSTON                       LISA G JOHNSTON
ROBERT C BYRD US COURTHOUSE, STE 4000     SYDNEY L CHRISTIE BLDG                U.S. COURTHOUSE AND IRS COMPLEX
300 VIRGINIA ST                           845 FIFTH AVE, ROOM 209               110 N HEBER ST, ROOM 257
CHARLESTON, WV 25301                      HUNTINGTON, WV 25701                  BECKLEY, WV 25801



SOUTHERN ELECTRIC POWER VOCATIONAL        SOUTHERN ELEVATOR COMPANY INC         SOUTHERN FIREPROOFING CO INC
TRAINING COLLEGE, GUANGDONG               ATTN SALES DIR                        ATTN PRESIDENT
                                          130 OCONNOR ST                        319 GARLINGTON RD, UNIT B8
                                          GREENSBORO, NC 27406                  GREENVILLE, SC 29615




SOUTHERN INDUSTRIAL CONSTRUCTORS          SOUTHERN INDUSTRIAL CONSTRUCTORS      SOUTHERN LIGHTING SOURCE
INC                                       6101 TRIANGLE DRIVE                   ATTN PRINCIPAL
ATTN VP                                   RALEIGH, NC 27617-4711                1862 INDEPENDENCE SQ, STE E
6101 TRIANGLE DR                                                                ATLANTA, GA 30338
RALEIGH, NC 27617



SOUTHERN LIGHTING SOURCE, LLC             SOUTHERN MARKETING ASSOCIATES INC     SOUTHERN MARYLAND ELECTRIC CO-OP INC
ATTN: MR. TEAK SHORE                      ATTN SALES ENGINEER
3103 MEDLOCK BRIDGE ROAD                  2180 STATE RD 434 W, STE 1124
NORCROSS, GA 30071                        LONGWOOD, FL 32779




SOUTHERN MICRO INSTRUMENTS INC            SOUTHERN MOTOR CARRIERS ASSOCIATION   SOUTHERN PIPE AND SUPPLY CO INC
ATTN PRESIDENT                            DBA SMC                               ATTN CFO
1700 ENTERPRISE WAY, STE 112              ATTN VP SALES                         4330 HWY 39 N
MARIETTA, GA 30067-9219                   500 WESTPARK DR                       MERIDIAN, MS 39302
                                          PEACHTREE CITY, GA 30269



SOUTHERN PIPING CO                        SOUTHERN STATES CONSULTING INC        SOUTHERN WILDLIFE & LAND MANAGEMENT
ATTN VICE PRESIDENT                       ATTN PRESIDENT                        LLC
1908 BALDREE RD                           5629 BENNETTWOOD CT                   ATTN OWNER, MGR
WILSON, NC 27894                          RALEIGH, NC 27612                     1400 FAIRWAY RIDGE DR
                                                                                RALEIGH, NC 27606



SOUTHLAND ELECTRICAL SUPPLY               SOUTHPORT PLUMBING LLC                SOUTHSIDE CHEMICAL CO LLC
P.O. BOX 1329                             ATTN PARTNER                          3407 S JEFFERSON AVE
BURLINGTON, NC 27216                      6919 51ST ST                          SAINT LOUIS, MI 63118
                                          KENOSHA, WI 53144




SOUTHWEST MARINE AND GENERAL              SOUTHWEST METROLOGY LLC               SOUTHWEST MICROWAVE, INC.
INSURANCE COMPANY                         ATTN OWNER                            9055 MCKEMY ST.
412 MT. KEMBLE AVENUE, SUITE 300C         8776 W TERRA BUENA LN                 TEMPE, AZ 85284-2946
MORRISTOWN, NJ 07960                      PEORIA, AZ 85382
SOUTHWEST RESEARCHCase   25-90163
                      INSTITUTE     Document 87 SILICON
                                       SOUTHWEST Filed in TXSB onCORP.
                                                        TECHNOLOGY 07/03/25 SOUTHWESTERN
                                                                              Page 785 ofELECTRIC
                                                                                          944 POWER
6220 CULEBRA ROAD                       18 INTERSTATE CT.                     COMPANY
SAN ANTONIO, TX 78238-5166              ARDMORE, OK 73401-9425                P.O. BOX 371496
                                                                              PITTSBURGH, PA 15250-7496




SOUTHWESTERN ELECTRICAL CO INC          [NAME REDACTED]                       [NAME REDACTED]
ATTN PROJECT MANAGER                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]
1638 E FIRST ST
WICHITA, KS 67214




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




SP3 DIAMOND TECHNOLOGIES INC            SP3 DIAMOND TECHNOLOGIES INC          SPACE APPLICATIONS CENTRE ISRO
ATTN PRESIDENT & COO                    ATTN SALES MNGR                       JODHPUR TEKRA, AMBAWADI VISTAR PO
2220 MARTIN AVE                         1605 WYATT DR                         AHMEDABAD 380015
SANTA CLARA, CA 95050                   SANTA CLARA, CA 95054                 INDIA




SPACE CANNON VH SPA                     SPACE EXPLORATION TECHNOLOGIES CORP   SPACE MATRIX CONSTRUCTION ENGINEERI
ATTN PRES                               ATTN CONTRACTS OFFICER                (SHANGHAI) CO., LTD.
STRADA PER FELIZZANO 14                 1 ROCKET RD                           4F, BUILDING B, 1000 CHANGPING ROAD
FUBINE, ALESSANDRIA 15043               HAWTHORNE, CA 90250                   SHANGHAI 200042
ITALY                                                                         CHINA



SPACE MATRIX                            SPACE MICRO INC                       SPAGNOLO SRL
306 TANGLIN RD                          ATTN CHIEF EXECUTIVE OFFICER          ATTN ADMINISTRATION
PHOENIX PARK OFFICE CAMPUS              10237 FLANDERS CT                     CORSO SAVONA, 20
SINGAPORE 247973                        SAN DIEGO, CA 92121                   VILLASTELLONE (TO) 10029
SINGAPORE                                                                     ITALY



[NAME REDACTED]                         SPANSION INC                          [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN LEGAL COUNSEL                    [ADDRESS REDACTED]
                                        915 DEGUIGNE DR
                                        SUNNYVALE, CA 94085




SPARE PARTS SPECIALIST INC              SPARK LED LIGHTING (HK) CO LTD        SPARK LED LIGHTING (HK) CO LTD
DBA SPS MANUFACTURING                   ATTN BUSINESS MGR                     ATTN BUSINESS MGR
ATTN VICE PRESIDENT                     RM 7-9, 11/F, PACIFIC TRADE CENTRE    ROOM 1502, 15/F, NEW TREASURE CENTRE
135 CELTIC BLVD                         2 KAI HING RD                         10 NG FONG ST, SAN PO KONG
TYRONE, GA 30290                        KOWLOON BAY HONG KONG                 KOWLOON HONG KONG



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
                  CaseINC25-90163
SPARTAN FELT COMPANY                 Document 87 Filed
                                        SPARTANBURG STEELin TXSB on
                                                          PRODUCTS INC07/03/25 SPARTANTEC
                                                                                 Page 786INC
                                                                                           of 944
ATTN PRESIDENT                           ATTN BUSINESS DEV MGR                   ATTN PRESIDENT
151 FELT DR                              1290 NEW CUT RD                         1011 HERTAGE RD
ROEBUCK, SC 29376                        SPARTANBURG, SC 29303                   LORIS, SC 29569




SPARTON AYDIN LLC                        SPARTON DELEON SPRINGS LLC              SPARTON ELECTRONICS FLORIDA
DBA AYDIN DISPLAYS                       ATTN CONTRACTS MANAGER                  ATTN VP & GM EMS
ATTN CONTRACTS MGR                       5612 JOHNSON LAKE RD                    30167 POWER LINE RD
1 RIGA LN                                DELEON SPRINGS, FL 32130                BROOKSVILLE, FL 34602
BIRDSBORO, PA 19508



[NAME REDACTED]                          SPAWAR SYSYTEMS CENTER                  SPAZIALIS SNC
[ADDRESS REDACTED]                       ATTN JIU-CHI CHIEH, RF PROJECT MGR      ATTN OWNER
                                         53560 HULL ST                           G BUON 9
                                         SAN DIEGO, CA 92152                     OLBIA-ORISTANO 07026
                                                                                 ITALY



SPEA AMERICA LLC                         SPEA SPA                                [NAME REDACTED]
ATTN PRESIDENT                           VIA TORINO 16                           [ADDRESS REDACTED]
2609 S SW LOOP 323                       VOLPIANO 10088
TYLER, TX 75701                          ITALY




[NAME REDACTED]                          SPEC (CA) QRS 12-20 INC                 SPEC (CA) QRS 12-20 INC
[ADDRESS REDACTED]                       C/O MS HOLLY MAURO, WP CAREY & CO LLC   C/O REED SMITH LLP
                                         ATTN STEPHEN T PARASCANDOLA, ESQ        ATTN CHAIR, RE GROUP
                                         2500 FIRST UNION CTR                    1650 MARKET ST, ONE LIBERTY PL
                                         RALEIGH, NC 27601                       NEW YORK, NY 10020



SPEC (CA) QRS 12-20 INC                  SPECIAL OLYMPICS NORTH CAROLINA INC     SPECIAL PROJECTS LLC
C/O WP CAREY & CO LLC                    2200 GATEWAY CENTRE BLVD, SUITE 201     DBA WE MAKE STUFF
ATTN DIRECTOR                            MORRISVILLE, NC 27560-9122              ATTN VP/ PROJECT MGR
50 ROCKEFELLER PLZ, 2ND FL                                                       629 W HARGETT ST
NEW YORK, NY 10020                                                               RALEIGH, NC 27603



SPECIALIZED BICYCLE COMPONENTS INC       SPECIALIZED PRODUCTS CO                 SPECIAL-TLIGHTING
ATTN PRESIDENT                           ATTN CUSTOMER SERV                      ATTN SALES/BUS DEV MGR
15130 CONCORD CIR                        1100 S KIMBALL AVE                      2625 N ONTARIO ST
MORGAN HILL, CA 95037                    SOUTHLAKE, TX 76092                     BURBANK, CA 91504




SPECIALTY AUDIT SERVICES LLC             SPECIALTY COATING SYSTEMS LLC           SPECIALTY COATING SYSTEMS, INC
724 MONTGOMERY AVE                       ATTN EQPT PROGRAM MGR                   7645 WOODLAND DRIVE
NARBERTH, PA 19072                       7645 WOODLAND DR                        INDIANAPOLIS, IN 46278-2707
                                         INDIANAPOLIS, IN 46278




SPECIALTY GASES OF AMERICA               SPECIALTY OPTICAL SYSTEMS INC           SPECIALTY SEAL GROUP INC
6055 BRENT                               10210 FOREST LANE                       ATTN PRESIDENT
TOLEDO, OH 43611                         DALLAS, TX 75243-5123                   1001 LLOYD AVE
                                                                                 LATROBE, PA 15650




[NAME REDACTED]                          SPECTRA INNOVATIONS PTE LTD             SPECTRA OPTRONIC TECHNOLOGIES INC
[ADDRESS REDACTED]                       ATTN PRASAD MAMIDANNA                   ATTN SUNNY CY LIN, PRESIDENT
                                         18, KAKI BUKIT PLACE                    TWN 6F NO 58 JHOUZIH ST
                                         07-00, SPECVISION BLDG                  NEIHU DIST
                                         SINGAPORE 416196 SINGAPORE              TAIPEI CITY 11493 TAIWAN
SPECTRA SERVICES Case
                  INC 25-90163     Document 87PRODUCTS
                                      SPECTRAL  Filed in TXSB on 07/03/25 SPECTRALINK
                                                                            Page 787CORP
                                                                                      of 944
ATTN SALES MGR                         111 HIGHLAND DRIVE                    ATTN CFO
6359 DEAN PKWY                         PUTNAM, CT 06260-3010                 5755 CENTRAL AVE
ONTARIO, NY 14519                                                            BOULDER, CO 80301




SPECTRALYTICS INC                      SPECTRA-PHYSICS TUCSON                SPECTRAWATT INC
ATTN DIR OF OPERATIONS                 ATTN PRESIDENT                        ATTN VICE PRESIDENT, B&D
2200 WESTINGHOUSE BLVD, STE 105        3321 E GLOBAL LOOP                    2070 RT 52, BLDG 334, ZIP 23A
RALEIGH, NC 27604                      TUCSON, AZ 85706                      HOPEWELL JUNCTION, NY 12533




SPECTRECOLOGY LLC                      SPECTRIAN CORP                        SPECTRIAN CORP
ATTN PRES                              ATTN EXEC VP & CFO                    ATTN SECRETARY & CFO
551 BAYWOOD DR S                       350 W JAVA DR                         3790 VILLA DE LA VALLE, STE 311
DUNEDIN, FL 34698                      SUNNYVALE, CA 94089                   DEL MAR, CA 92014




SPECTRIAN CORP                         SPECTRIAN CORP                        SPECTRIAN CORPORATION
C/O BALLANTINE LLP                     C/O DEWEY BALLANTINE LLP              ULTRARF
ATTN ROBERT M SMITH, ESQ               ATTN VALENTIN G AGUILAR II, ESQ       160 GIBRALTAR CT
800 MENLO AVE                          333 S HOPE ST, 30TH FL                SUNNYVALE, CA 94089
MENLO PARK, CA 94025                   LOS ANGELES, NY 90071



SPECTRUM BRANDS INC                    SPECTRUM BRANDS INC                   SPECTRUM COMMERCIAL COATINGS INC
ATTN DIR                               ATTN SVP/GM GBA                       DBA M&E SPECIAL COATING
601 RAYOVAC DR                         3001 DEMING WY                        46 KERRY LN
MADISON, WI 53744                      MIDDLETON, WI 53562                   ANGIER, NC 27501




SPECTRUM COMMERCIAL COATINGS INC       SPECTRUM ELECTRONICS GROUP LTD, THE   SPECTRUM ENTERPRISE DBA CHARTER COM
P.O. BOX 1258                          ATTN NIGEL WATTS, MANAGING DIR        12405 POWERSCOURT DR.
ANGIER, NC 27501-1258                  2, WILLOWS GATE, STOKE LYNE RD        ST. LOUIS, MO 63131-3673
                                       STRATTON AUDLEY
                                       OXFORSHIRE OX27 9AU UNITED KINGDOM



SPECTRUM ENTERPRISE DBA CHARTER COM    SPECTRUM KING LLC                     SPECTRUM LIGHTING & CONTROLS INC
ATTN ALAN GREEN                        ATTN FOUNDER - CTO                    ATTN MICHAEL EARPS
1900 BLUE CREST LN                     7751 ALABAMA AVE, STE 1               1375 W BREIRBROOK RD
SAN ANTONIO, TX 78247                  CANOGA PARK, CA 91304                 GERMANTOWN, TN 38138




SPECTRUM LIGHTING INC                  SPECTRUM LIGHTING LTD                 SPECTRUM MAGNETICS LLC
ATTN ENGINEERGING MGR                  1601 WANCHAI COMM CENTRE              ATTN PRESIDENT
994 JEFFERSON ST                       194 JOHNSTON RD                       1210 1ST STATE BLVD
FALL RIVER, MA 02721                   WANCHAI                               WILMINGTON, DE 19804
                                       HONG KONG



SPECTRUM MANUFACTURING INC             SPECTRUM METAL FINISHING INC          SPECTRUM MICROWAVE INC
ATTN R&D ENGINEER                      ATTN VP                               ATTN DIR GLBL SALES & MKTG
435 HORNER AVE, UNIT 1                 320 E ISLE ST                         8031 AVONIA RD
TORONTO, ON M8W 4W3                    P.O. BOX 61                           FAIRVIEW, PA 16145
CANADA                                 ISLE, MN 56342



SPECTRUM PLASTICS MOLDING              SPECTRUM PROPERTIES INC               SPECTRUM SALES INC
RESOURCES INC                          ATTN SR PROPERTY MGR                  ATTN PRESIDENT
ATTN GENERAL MANAGER                   523 DAVIS DR, STE 150                 40 UNDERHILL BLVD
401 BIRMINGHAM BLVD                    MORRISVILLE, NC 27560                 SYOSSET, NY 11791
ANSONIA, CT 06401
                  Case 25-90163
SPECTRUM SALES, INC.              Document  87 Filed in TXSB on 07/03/25 [NAME
                                     [NAME REDACTED]                       Page  788 of 944
                                                                               REDACTED]
40 UNDERHILL BLVD., SUITE 2D          [ADDRESS REDACTED]                     [ADDRESS REDACTED]
SYOSSET, NY 11791




SPEEDFAM-IPEC INC                     SPEEDLINE TECHNOLOGIES INC             SPEEDWAY LLC
ATTN NATL SALES MGR                   ATTN VP WW SALES                       500 SPEEDWAY DR
509 N 3RD AVE                         16 FORGE PARK                          ENON, OH 45323-1056
DES PLAINES, IL 60016                 FRANKLIN, MA 02038




[NAME REDACTED]                       SPEIRS & MAJOR ASSOCIATES LTD          SPEIRS MAJOR LLP
[ADDRESS REDACTED]                    11-15 EMERALD ST                       ATTN PRINCIPAL
                                      LONDON WC1N 3QL                        3 BOROUGHLOCH SQ
                                      UNITED KINGDOM                         EDINBURGH EH8 9NJ
                                                                             UNITED KINGDOM



[NAME REDACTED]                       [NAME REDACTED]                        SPELLMAN HIGH VOLTAGE ELECTRONICS C
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     475 WIRELESS BLVD
                                                                             HAUPPAUGE, NY 11788-3951




[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]




SPENCER INDUSTRIES INC                [NAME REDACTED]                        [NAME REDACTED]
ATTN SALES ENGINEERING MGR            [ADDRESS REDACTED]                     [ADDRESS REDACTED]
902 BUFFALO RD
DALE, IN 47523




SPERO ELECTRIC CORP                   SPG INDUSTRY (HK) LTD                  SPHERA SOFTWARE
ATTN INNOVATIVE TECH MGR              ATTN SALES MGR                         130 E RANDOLPH ST
1705 NOBLE RD                         UNITS 3117-3122, TOWER 1, METROPLAZA   2900
CLEVELAND, OH 44112                   223 HING FONG RD                       CHICAGO, IL 60601
                                      KWAI FONG, NT HONG KONG



SPHERA SOLUTIONS, INC.                SPHEREOPTICS GMBH                      SPHEREOPTICS LLC
130 E RANDOLPH ST, SUITE 2900         ATTN GEN MGR                           ATTN PRESIDENT
CHICAGO, IL 60601-6300                BERGSTRASSE 36                         P.O. BOX 669
                                      UHLDINGEN D-88690                      CONTOOCOOK, NH 03229
                                      GERMANY



SPHERION                              SPI LIGHTING INC                       SPI SUPPLIES
3625 CUMBERLAND BLVD, STE 500         ATTN DIR OF NEW PROD DEV               206 GARFIELD AVENUE
ATLANTA, GA 30339                     10400 NORTH ENTERPRISE DR              WEST CHESTER, PA 19381-4512
                                      MEQUON, WI 53092




SPI/SEMICON INC                       SPIDER ELECTRONICS INC                 SPIELER STRUCTURAL ENGINEERS
ATTN REGIONAL SALES MNG               ATTN OWNER                             ATTN PRINCIPAL
2670 S COMMERCE WAY                   10252 BODE ST                          629 STATE ST, STE 203
OGDEN, UT 84401                       PLAINFIELD, IL 60585                   SANTA BARBARA, CA 93101
                 Case 25-90163
SPINDRIFT TECHNOLOGY                 Document  87 Filed
                                        SPINDUSTRIES LLC in TXSB on 07/03/25 [NAME
                                                                               Page  789 of 944
                                                                                   REDACTED]
ATTN PRESIDENT                           ATTN SALES MGR                         [ADDRESS REDACTED]
3457 OLD CHURCH RD                       1301 LASALLE ST
MECHANICSVILLE, VA 23111                 LAKE GENEVA, WI 53147




SPINNER POLSKA SP ZOO                    SPIRAMID LLC                           SPIRIT MANUFACTURING INC
ATTN VICE PRESIDENT                      ATTN PRESIDENT                         ATTN GENERAL MGR
GDANSKI 96                               13763 ROYAL RED TERR                   5340 S EMMER DR
WEJHEROWO 84-200                         CHANTILLY, VA 20151                    NEW BERLIN, WI 53151
POLAND



SPIRIT MEDIA & PAPER MARKETING S/B       SPIROL INTERNATIONAL CORP              [NAME REDACTED]
A-G-3A & A-G-5, GREENTOWN SQUARE         ATTN REGIONAL SALES SPECIALIST         [ADDRESS REDACTED]
JALAN DATO SERI AHMAD SAID               30 ROCK AVE
IPOH, PERAK 30450                        DANIELSON, CT 06239
MALAYSIA



SPLASH BUSINESS INTELLIGENCE INC         SPLENDOUR INTERNATIONAL FAR EAST       [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER             LIMITED                                [ADDRESS REDACTED]
3067 PEACHTREE INDUSTRIAL BLVD           ATTN GEN MGR
DULUTH, GA 30097                         8-10 WAH SHING ST
                                         KWAI CHUNG
                                         NEW TERRITORIES HONG KONG


SPLUNK INC                               [NAME REDACTED]                        SPOK INC
ATTN VP CONTROLLER                       [ADDRESS REDACTED]                     6910 RICHMOND HIGHWAY
250 BRANNAN ST                                                                  ALEXANDRIA, VA 22306-1849
SAN FRANCISCO, CA 94107




SPORTLITE INC                            SPORTS & MORE UG                       SPORTS UNLIMITED INC
ATTN GENERAL MANAGER                     ATTN STEFAN LEITZ                      5654 HORATIO STREET
601 N 44TH AVE, STE 102                  KASTENSSEON 6                          UTICA, NY 13502-2527
PHOENIX, AZ 85043                        GLONN 85625
                                         GERMANY



SPORTS VENUE SIGNS LLC                   SPORTS VENUE SIGNS LLC                 SPORTSTER DYNAMICS PTY LTD
DBA TS LIGHTING                          DBA TS LIGHTING                        ATTN MANAGING DIR
ATTN PRESIDENT                           ATTN PRESIDENT                         13 PARK RD
2580 EASTERS BLVD, 200                   P.O. BOX 612528                        SANS SOUCI, NSW 2219
DALLAS, TX 75261                         DALLAS, TX 75261                       AUSTRALIA



[NAME REDACTED]                          SPRAY EQUIPMENT & SERVICE CENTER INC   SPREAD INC
[ADDRESS REDACTED]                       ATTN MGR                               ATTN GENERAL MANAGER
                                         311 S PATTIE AVE                       7F ISE BLDG 1-16 SUMIYOSHI-CHO
                                         WICHITA, KS 67211                      SHINJUKY-KU
                                                                                TOKYO 162-0065 JAPAN



SPRING CARE INC                          SPRING CITY ELECTRICAL MFG CO          SPRING HEALTH PRODUCTS INC
60 MADISON AVE                           ATTN DESIGN ENG                        ATTN PRESIDENT
NEW YORK, NY 10010-7302                  1 S MAIN ST                            705 GENERAL WASHINGTON AVE
                                         SPRING CITY, PA 19475                  NORRISTOWN, PA 19403




SPRINGBURO GMBH                          SPRINT SOLUTIONS INC                   SPRINT SOLUTIONS INC
ATTN CHIEF EXECUTIVE OFFICER             C/O VP SALES & MARKETING               C/O VP, CUSTOM NETWORK SOLUTIONS
HAYNDWEG 3                               ATTN LEGAL DEPT                        2003 EDMUND HALLEY DR
EMMENDINGEN 79312                        6450 SPRINT PKWY                       RESTON, VA 20191
GERMANY                                  OVERLAND PARK, KS 66251-2650
SPRO SOLUTIONS SDNCaseBHD 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                           [NAME REDACTED]                       Page  790 of 944
                                                                                     REDACTED]
OASIS SQUARE, NO. 2. JALAN PJU              [ADDRESS REDACTED]                 [ADDRESS REDACTED]
1A/7 ARA DAMANSARA
PETALING JAYA 408564
MALAYSIA



[NAME REDACTED]                             [NAME REDACTED]                    SPRY SOFTWARE INC
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                 1791 DEVONWOOD CT SE
                                                                               PALM BAY, FL 32909-2312




SPS-AMERICA, INC.                           SPT MICROTECHNOLIGES USA INC       SPTS TECHNOLOGIES LTD
16064 SE ENGERT RIDGE DR                    ATTN PRESIDENT                     2381 BERING DRIVE
DAMASCUS, OR 97089-8960                     5750 HELLYER AVE, STE 10           SAN JOSE, CA 95131-1125
                                            SAN JOSE, CA 95138




SPTS TECHNOLOGIES, LTD.                     SPUDNIK INC                        SPUTNIK TECHNOLOGY USA INC
RINGLAND WAY                                ATTN CHIEF TECHNICAL OFFICER       ATTN VO OF R&D
NEWPORT NP18 2TA                            3061 ZANKER RD, STE D              5680 OAKBROOK PKWY, STE 100
UNITED KINGDOM                              SAN JOSE, CA 95134                 NORCROSS, GA 30093




SPUTTERED FILMS INC                         SPUTTERETCH TECH INC               SPX COOLING TECHNOLOGIES INC
ATTN PRESIDENT                              ATTN SALE & MKT MGR                ATTN DIRECTOR
320 NOPAL ST                                21363 CABOT BLVD                   7401 W 129TH ST
SANTA BARBARA, CA 93103                     HAYWARD, CA 94545                  OVERLAND PARK, KS 66213




SPX CORP                                    SPYDER DISPLAYS PTY LTD            SQA SERVICES INC
ATTN DIV CONTROL                            ATTN ACCOUNT MANAGER               ATTN EXEC VP
2821 OLD RTE 15                             PO 6 BABDOYLE ST, BOX 4277         550 SILVER SPUR RD
NEW COLUMBIA, PA 17856                      LOGANHOLME, DC, QLD 4129           ROLLING HILLS, CA 90275
                                            AUSTRALIA



SQUARE D COMPANY                            [NAME REDACTED]                    SR PROJECT CONSULTING LLC
ATTN PRES - GSI                             [ADDRESS REDACTED]                 3306 WILTSHIRE WAY
2001 W 10TH PL                                                                 CREEDMOOR, NC 27522-8865
TEMPE, AZ 85281




SR TELECOM INC                              SRB TECHNOLOGIES INC               SRC INC
ATTN ARKADI NASSYROV                        DBA ROBOMQ.IO                      ATTN PURCHASING MGR
8150 TRANS-CANADA HWY                       ATTN CEO                           6225 RUNNING RIDGE RD
MONTREAL, QC H4S 1M5                        8605 WESTWOOD CENTER DR, STE 301   NORTH SYRACUSE, NY 13212
CANADA                                      VIENNA, VA 22182



SRCTEC INC                                  SRE EV BURGESS LLC                 SRE EV BURGESS LLC
ATTN MGR SUPPLY CHAIN                       C/O EDGEWATER VENTURES             C/O SINGERMAN REAL ESTATE LLC
5801 E TAFT RD, STE 7                       ATTN CHRIS NORVELL                 ATTN ASSET MANAGER
NORTH SYRACUSE, NY 13212                    3105 GLENWOOD AVE, STE 105         980 N. MICHIGAN AVE, STE 1700
                                            RALEIGH, NC 27612                  CHICAGO, IL 60611



SRE EV BURGESS, LLC                         [NAME REDACTED]                    [NAME REDACTED]
C/O EDGEWATER VENTURES                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]
ATTN: CHRIS NORVELL
1101 E. WHITAKER MILL ROAD, SUITE 240
RALEIGH, NC 27604
SRI FIRE SPRINKLER Case
                   LLC  25-90163     Document   87 Filed in TXSB on 07/03/25 SRIPage
                                        SRI INTERNATIONAL                            791
                                                                                 MARUTI    of 944
                                                                                        NANDAN LLC
1060 CENTRAL AVENUE                      ATTN CONTRACTS MGR                    ATTN VP
ALBANY, NY 12205-3533                    333 RAVENSWOOD AVE                    811 SOUTHWESTERN DR, STE E
                                         MENLO PARK, CA 94025-3493             EL PASO, TX 79912




[NAME REDACTED]                          SRINE                                 [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN ENGINEER                         [ADDRESS REDACTED]
                                         1854 HUYI RD
                                         SHANGHAI
                                         CHINA



[NAME REDACTED]                          [NAME REDACTED]                       SRK COMMUNICATIONS LIMITED
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    ATTN DIRECTOR
                                                                               50 KRISHNAPURI
                                                                               MATHURA 281001
                                                                               INDIA



SRM INTEGRATION (MALAYSIA) SDN BHD       SRM TECHNIK GMBH                      SROUB CONSULTING GROUP LLC
PLOT 16                                  C/O MR REINHARD BOCK                  315 BONNIE LN
PENANG PIN 11900                         ATTN DEPT MGR                         AURORA, OH 44202
MALAYSIA                                 COLDITZSTRASSE 33
                                         BERLIN D-12099 GERMANY



SRW & ASSOCIATES INC                     SS OTRON CO., LTD.                    SSD SOUTHEAST INC
ATTN PRESIDENT                           39 PARANG-RO                          ATTN VP
6625 MAFOLIE CT                          INCHEON 22770                         1412 STEWART ST
RALEIGH, NC 27613                        SOUTH KOREA                           FUQUAY-VARINA, NC 27526




SSI (US) INC                             SST INTERNATIONAL                     ST GOBAIN GRAIS & POWDERS-SILICON
DBA SPENCER STUART                       ATTN VP OF SALES                      CARBIDE
2 ALLIANCE CENTRE                        9801 EVEREST ST                       ONE NEW BOND ST
3560 LENOX RD NE, STE 2700               DOWNEY, CA 90242-3113                 WORCESTER, MA 01615
ATALANTA, GA 30326



ST MICROELECTRONICS                      ST PAUL TRAVELERS INSURANCE CO        ST SYSTEMS USA INC
39 CHEMIN DU CHAMP-DES-FILLES            35 UNITED DR, STE 200                 ATTN PRESIDENT
PLAN-LES-OUATES                          BRIDGEWATER, MA 02379                 611 VETERANS BLVD, STE 107
GENEVA 1228                                                                    REDWOOD CITY, CA 94063
SWITZERLAND



[NAME REDACTED]                          STA UNIVERSE GROUP                    [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN SALES MANAGER                    [ADDRESS REDACTED]
                                         827 KEXUE R, HIGH TECH PARK
                                         ZHENGZHOU, HENAN
                                         CHINA



STABLCOR TECHNOLOGY INC                  STACI CORPORATION                     STACK LABS INC
ATTN DIRECTOR SALES & MKTG               DBA VEXOS                             ATTN HEAD OF BUSINESS
17011 BEACH BLVD, STE 900                ATTN SVP & GM                         10054 PASADENA AVE
HUNTINGDON BEACH, CA 92647               110 COMMERCE DR                       CUPERTINO, CA 95014
                                         LAGRANGE, OH 44050



[NAME REDACTED]                          [NAME REDACTED]                       STACKPOLE-ULTRA CARBON
[ADDRESS REDACTED]                       [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  792 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                          STAG YORKVILLE LLC                 STAG YORKVILLE LLC
[ADDRESS REDACTED]                       13900 W GRANDVIEW PKWY             C/O STAG INDUSTRIAL INC
                                         STURTEVANT, WI 53177               1 FEDERAL ST, 23RD FL
                                                                            BOSTON, MA 02110




[NAME REDACTED]                          STAHLI USA                         [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN SALES MARKETING DIR           [ADDRESS REDACTED]
                                         5440 HIGHWAY, 55 EAST
                                         LAKE WYLIE, SC 29710




[NAME REDACTED]                          [NAME REDACTED]                    STAMPS.COM
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 1990 E GRAND AVE
                                                                            EL SEGUNDO, CA 90245




STAN CLOTHIER COMPANY                    STAN DEUTSCH ASSOC                 STAN SCHILZ RETOUCHING
ATTN PRESIDENT                           ATTN OPS VP                        ATTN OWNER
10025 VALLEY VIEW RD                     31-30 HUNTERS POINT AVE            401 ROBINS RUN
STE 110                                  LONG ISLAND, NY 11101              BURLINGTON, WI 53105
EDEN PRARIE, MN 55344



[NAME REDACTED]                          [NAME REDACTED]                    STANDARD AUTOMATION & CONTROL LP
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 ATTN ACCOUNT MANAGER
                                                                            17100 GILLETTE
                                                                            IRVINE, CA 92614




STANDARD ELECTRIC SUPPLY CO              STANDARD ELECTRIC                  STANDARD FIRE INSURANCE COMPANY
ATTN DIR OF SALES                        14 JEWEL DR, STE 1                 1 TOWER SQ
222 N EMMBER LANE                        WILMINGTON, MA 01887               HARTFORD, CT 06156-0001
MILWAUKEE, WI 53221




STANDARD INDUSTRIAL MANUFACTORY CO       STANDARD PRINTED CIRCUITS INC      STANDARD PRODUCTS INC
LTD                                      ATTN PRES                          ATTN CEO
ATTN SALES MGR                           44 S MAIN ST                       5905 CHEMIN DE LA COTE-DE-LIESSE
12/F, YEE LIM FACTORY BLDG               SHERBURNE, NY 13460                SAINT-LAURENT, QC H4T 1C3
32-40 KWAI TING RD                                                          CANADA
KWAI CHUNG, NT HONG KONG


STANDARD-TECH CONSULTING CO LTD          STANDEX INTERNATIONAL GMBH         STANDFORD UNIVERSITY
ATTN MGR                                 ATTN GENERAL MANAGER               ATTN OPS BUSINESS MANAGER
8TH FL, BLOCK B NO.11 CAIPIN RD          KOELNER STR 352-354                315 BONAIR SIDING
GZ SCIENCE CITY                          KREFELD 47807                      STANFORD, CA 94305
TIANHE, GUANGZHOU 510663 CHINA           GERMANY



[NAME REDACTED]                          STANFORD MATERIALS CORP            STANFORD UNIVERSITY
[ADDRESS REDACTED]                       ATTN VP SALES                      450 JANE STANFORD WAY
                                         360 GODDARD                        STANFORD, CA 94305-2004
                                         IRVINE, CA 92618
[NAME REDACTED] Case 25-90163     Document  87 Filed in TXSB on 07/03/25 STANLEY
                                     [NAME REDACTED]                       Page BLACK
                                                                                 793 of 944 INC
                                                                                      & DECKER
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                      ATTN BRIAN MCNEILL
                                                                              480 MYRTLE ST
                                                                              NEW BRITAIN, CT 06053




STANLEY CONVERGENT SECURITY SOLUTIO   STANLEY ELECTRIC CO LTD                 STANLEY ELECTRIC CO LTD
8350 SUNLIGHT DR                      ATTN ENG MGR                            ATTN MASAHIRO YASUTAKE, EXEC OFFICER
FISHERS, IN 46037                     2-9-13 NAKAMEGURO, MEGURO-KU            271-6 NIHONKOKU AZA DIAHOUJI
                                      TOKYO 153-8636                          TSURUOKA, YAMAGATA 997-0017
                                      JAPAN                                   JAPAN



STANLEY ELECTRIC CO LTD               STANLEY ELECTRIC SALES OF AMERICA INC   STANLEY ELECTRONIC CO LTD
YOKOHAMA TECHNICAL CENTER             ATTN PRESIDENT                          ATTN GEN MNGR
2-14-1 EDA-NISHI, AOBA-KU             2660 BARRANCA PARKWAY                   9-13 NAKAMEGURO 2 CHOME MEGURO-KU
YOKOHAMA, KANAGAWA 225-0014           IRVINE, CA 92606                        TOKYO
JAPAN                                                                         JAPAN



[NAME REDACTED]                       [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                       STANTEC CONSULTING SERVICES INC         STANTEC
[ADDRESS REDACTED]                    13980 COLLECTIONS CENTER DRIVE          ATTN ASST LIGHTING DESIGNER
                                      CHICAGO, IL 60693                       14130 RIVERSIDE DR, 201
                                                                              SHERMAN OAKS, CA 91423




STANTON CHASE INTL INC                [NAME REDACTED]                         [NAME REDACTED]
ATTN DIR                              [ADDRESS REDACTED]                      [ADDRESS REDACTED]
OCCIDENTAL TOWER
5005 LBJ FWY, STE 810
DALLAS, TX 75244



STAPLA ULTRASONICS CORP               STAPLES (SHANGHAI) CO., LTD             STAPLES CONTRACT & COMMERCIAL INC
ATTN VP                               269 TONGXIE ROAD, CHANGNING DI, 269     ATTN RVP SALES
250 ANDOVER ST                        SHANGHAI 200335                         500 STAPLES DR
WILMINGTON, MA 01887                  CHINA                                   FRAMINGHAM, MA 01702




STAPLES, INC                          [NAME REDACTED]                         [NAME REDACTED]
P.O. BOX 105748                       [ADDRESS REDACTED]                      [ADDRESS REDACTED]
ATLANTA, GA 30348-5748




STAR DYNAMICS CORP                    STAR EXTRAUDED SHAPES INC               STAR INDEMNITY & LIABILITY CO
ATTN CEO                              ATTN SALES MGR                          399 PARK AVE 2ND FLOOR
4455 REYNOLDS DR                      7055 HERBERT RD                         NEW YORK, NY 10022
HILLIARD, OH 43026                    CANFIELD, OH 44406
                 Case 25-90163
STAR PROTOTYPE MANUFACTURING CO LTDDocument   87 MANUFACTURING
                                      STAR-CASE   Filed in TXSBCO on
                                                                  INC 07/03/25 [NAME
                                                                                 Page  794 of 944
                                                                                     REDACTED]
15 HUAN MAO 1 RD                      ATTN VICE PRESIDENT                      [ADDRESS REDACTED]
ZHONGSHAN TORCH DEV ZONE              648 SUPERIOR AVE
GUANGDONG 528437                      MUNSTER, IN 46321
CHINA



[NAME REDACTED]                       [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]




STAR-KVD TECHNOLOGIES INC             STARLIGHT REFINED TECHNOLOGY LTD       STARLINE HOLDINGS LLC
ATTN PRESIDENT                        ATTN GM                                168 GEORGETOWN AVENUE
2465 IMPALA DR                        2/F, NO. 114, HENGPING RD              CANONSBURG, PA 15317-5611
CARLSBAD, CA 92010                    HENGGANG TOWN, LONGGANG DISTRICT
                                      SHENZHEN, GUANGDONG CHINA



STARMANS ELECTRONICS SRO              STARPOWER SEMICONDUCTOR LIMITED        STARPOWER
V ZAHRADACH 24/836                    988 KEXING ROAD JIAXING                988 KEXING ROAD JIAXING
PRAGUE 8                              ZHEJIANG 314006                        ZHEJIANG 314006
CZECH REPUBLIC                        CHINA                                  CHINA




STARR ELECTRIC COMPANY, INC           STARR INDEMNITY & LIABILITY COMPANY    STARR INSURANCE HOLDINGS INC
ATTN: STEPHEN HURYSZ                  399 PARK AVE, 2ND FL                   399 PARK AVE, 8TH FLOOR
6 BATTLEGROUND COURT                  NEW YORK, NY 10022                     NEW YORK, NY 10022
GREENSBORO, NC 27408-0000




STARR SURPLUS LINES INS. CO.          [NAME REDACTED]                        [NAME REDACTED]
399 PARK AVE, 2ND FL                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]
NEW YORK, NY 10022




[NAME REDACTED]                       STARTECH.COM USA LLP                   [NAME REDACTED]
[ADDRESS REDACTED]                    ATTN CFO                               [ADDRESS REDACTED]
                                      2315 CREEKSIDE PKWY, STE 300
                                      LOCKBOURNE, OH 43137




STAT INC                              STAT INCORPORATED                      STATE DISBURSEMENT UNIT
ATTN CFO                              P.O. BOX 1443                          RE: 8868022843 (ORIGINAL)
P.O. BOX 1443                         LENOIR, NC 28645-1443                  P.O. BOX 100303
LENOIR, NC 28643                                                             COLUMBIA, SC 29202




STATE ELECTRIC SUPPLY CO.             STATE FARM FIRE & CASUALTY COMPANY     STATE GRID SMART GRID RESEARCH
2010 2ND AVE.                         C/O HEWSON & VAN HELLEMONT PC          INSTITUTE
HUNTINGTON, WV 25703-1108             ATTN ANDY J VANBROKHORST               ATTN PROJECT MGR
                                      625 KENMOOR AVE SE, STE 304            FUTURE SCIENCE & TECHNOLOGY CITY
                                      GRAND RAPIDS, MI 49546                 CHANGPING DIST
                                                                             BEIJING 102211 CHINA


STATE OF ALABAMA ATTORNEY GENERAL     STATE OF ALABAMA ATTORNEY GENERAL      STATE OF ALASKA ATTORNEY GENERAL
ATTN: STEVE MARSHALL                  ATTN: STEVE MARSHALL                   ATTN: TREG TAYLOR
501 WASHINGTON AVE                    P.O. BOX 300152                        1031 W 4TH AVE, STE 200
MONTGOMERY, AL 36104                  MONTGOMERY, AL 36130-0152              ANCHORAGE, AK 99501-1994
STATE OF AMERICANCase
                    SAMOA25-90163
                          ATTORNEY       Document  87ARIZONA
                                            STATE OF    FiledATTORNEY
                                                              in TXSBGENERAL
                                                                       on 07/03/25 STATE
                                                                                     PageOF 795 of 944
                                                                                            ARKANSAS ATTORNEY GENERAL
GENERAL                                      ATTN: KRIS MAYES                       ATTN: TIM GRIFFIN
ATTN: FAINU’ULELEI FALEFATU ALA’ILIMA-       2005 NORTH CENTRAL AVENUE              323 CENTER ST, STE 200
UTU                                          PHOENIX, AZ 85004-2926                 LITTLE ROCK, AR 72201-2610
AMERICAN SAMOA GOVT, EXEC OFC BLDG
UTULEI, TERRITORY OF AMERICAN SAMOA
PAGO PAGO, AS 96799 AMERICAN SAMOA

STATE OF CALIFORNIA ATTORNEY GENERAL         STATE OF CALIFORNIA LABOR AND          STATE OF COLORADO ATTORNEY GENERAL
ATTN: ROB BONTA                              WORKFORCE DEVELOPMENT AGENCY           ATTN: PHIL WEISER
1300 "I" ST                                  800 CAPITOL MALL                       RALPH L CARR COLORADO JUDICIAL BLDG
SACRAMENTO, CA 95814-2919                    STE 5000 (MIC 55)                      1300 BROADWAY, 10TH FL
                                             SACRAMENTO, CA 95814                   DENVER, CO 80203



STATE OF CONNECTICUT ATTORNEY                STATE OF DELAWARE ATTORNEY GENERAL     STATE OF FLORIDA ATTORNEY GENERAL
GENERAL                                      ATTN: KATHY JENNINGS                   ATTN: ASHLEY MOODY
ATTN: WILLIAM TONG                           CARVEL STATE BUILDING                  PL 01 THE CAPITOL
165 CAPITOL AVENUE                           820 N FRENCH ST                        TALLAHASSEE, FL 32399-1050
HARTFORD, CT 06106                           WILMINGTON, DE 19801



STATE OF FLORIDA                             STATE OF GEORGIA ATTORNEY GENERAL      STATE OF HAWAII ATTORNEY GENERAL
DEPARTMENT OF ECONOMIC OPPORTUNITY           ATTN: CHRIS CARR                       ATTN: ANN E LOPEZ
107 E MADISON ST                             40 CAPITOL SQUARE, SW                  425 QUEEN ST
CALDWELL BLDG                                ATLANTA, GA 30334                      HONOLULU, HI 96813
TALLAHASSEE, FL 32399-4120



STATE OF HAWAII UNEMPLOYMENT                 STATE OF HAWAII                        STATE OF IDAHO ATTORNEY GENERAL
INSURANCE                                    UNCLAIMED PROPERTY PROGRAM             ATTN: RAUL R. LABRADOR
830 PUNCHBOWL ST ROOM 110                    P.O. BOX 150                           700 W JEFFERSON ST, STE 210
HONOLULU, HI 96813                           HONOLULU, HI 96810                     P.O. BOX 83720
                                                                                    BOISE, ID 83720-0010



STATE OF ILLINOIS ATTORNEY GENERAL           STATE OF INDIANA ATTORNEY GENERAL      STATE OF IOWA ATTORNEY GENERAL
ATTN: KWAME RAOUL                            ATTN: TODD ROKITA                      ATTN: BRENNA BIRD
100 W RANDOLPH ST                            INDIANA GOVERNMENT CENTER SOUTH        HOOVER STATE OFFICE BUILDING
CHICAGO, IL 60601                            302 W WASHINGTON ST, 5TH FL            1305 E WALNUT ST
                                             INDIANAPOLIS, IN 46204                 DES MOINES, IA 50319



STATE OF KANSAS ATTORNEY GENERAL             STATE OF KENTUCKY ATTORNEY GENERAL     STATE OF LOUISIANA ATTORNEY GENERAL
ATTN: KRIS W. KOBACH                         ATTN: DANIEL CAMERON                   ATTN: JEFF LANDRY
120 SW 10TH AVE, 2ND FL                      700 CAPITOL AVE, STE 118               1885 N THIRD ST
TOPEKA, KS 66612                             FRANKFORT, KY 40601-3449               BATON ROUGE, LA 70802




STATE OF LOUISIANA ATTORNEY GENERAL          STATE OF MAINE ATTORNEY GENERAL        STATE OF MARYLAND ATTORNEY GENERAL
ATTN: JEFF LANDRY                            ATTN: AARON FREY                       ATTN: ATHONY G. BROWN
P.O. BOX 94005                               6 STATE HOUSE STATION                  200 ST PAUL PLACE
BATON ROUGE, LA 70804                        AUGUSTA, ME 04333                      BALTIMORE, MD 21202




STATE OF MASSACHUSETTS ATTORNEY              STATE OF MICHIGAN ATTORNEY GENERAL     STATE OF MINNESOTA ATTORNEY GENERAL
GENERAL                                      ATTN: DANA NESSEL                      ATTN: KEITH ELLISON
ATTN: ANDREA JOY CAMPBELL                    G. MENNEN WILLIAMS BLDG                445 MINNESOTA ST STE 1400
1 ASHBURTON PLACE, 20TH FL                   525 W OTTAWA ST - P.O. BOX 30212       ST. PAUL, MN 55101-2131
BOSTON, MA 02108-1518                        LANSING, MI 48909



STATE OF MISSISSIPPI ATTORNEY GENERAL        STATE OF MISSOURI ATTORNEY GENERAL     STATE OF MONTANA ATTORNEY GENERAL
ATTN: LYNN FITCH                             ATTN: ANDREW BAILEY                    ATTN: AUSTIN KNUDSEN
P.O. BOX 220                                 SUPREME CT BLDG, 207 W HIGH ST         JUSTICE BLDG
JACKSON, MS 39205                            P.O. BOX 899                           215 N SANDERS ST
                                             JEFFERSON CITY, MO 65102               HELENA, MT 59601
STATE OF NEBRASKACase   25-90163
                   ATTORNEY GENERAL Document
                                       STATE OF87NEVADA
                                                    Filed in TXSB
                                                        ATTORNEY   on 07/03/25 STATE
                                                                 GENERAL         Page OF 796  of 944 ATTORNEY
                                                                                         NEW HAMPSHIRE
ATTN: MIKE HILGERS                     ATTN: AARON D. FORD                     GENERAL
2115 STATE CAPITOL                     100 N CARSON ST                         ATTN: JOHN M. FORMELLA
P.O. BOX 98920                         CARSON CITY, NV 89701                   NH DEPT OF JUSTICE
LINCOLN, NE 68509                                                              33 CAPITOL ST
                                                                               CONCORD, NH 03301


STATE OF NEW HAMPSHIRE TREASURY        STATE OF NEW JERSEY ATTORNEY GENERAL   STATE OF NEW JERSEY
UNCLAIMED PROPERTY DIVISION            ATTN: MATTHEW J. PLATKIN               UNCLAIMED PROPERTY ADMINISTRATION
25 CAPITOL ST, ROOM 121                RJ HUGHES JUSTICE COMPLEX              P.O. BOX 214
CONCORD, NH 03301                      25 MARKET ST - P.O. BOX 080            TRENTON, NJ 08635-0214
                                       TRENTON, NJ 08625-0080



STATE OF NEW MEXICO ATTORNEY           STATE OF NEW YORK ATTORNEY GENERAL     STATE OF NORTH CAROLINA ATTORNEY
GENERAL                                ATTN: LETITIA A. JAMES                 GENERAL
ATTN: RAUL TORREZ                      DEPT. OF LAW                           ATTN: JOSH STEIN
408 GALISTEO ST                        THE CAPITOL, 2ND FL                    9001 MAIL SERVICE CTR
VILLAGRA BLDG                          ALBANY, NY 12224-0341                  RALEIGH, NC 27699-9001
SANTA FE, NM 87501


STATE OF NORTH CAROLINA ATTORNEY       STATE OF NORTH CAROLINA                STATE OF NORTH DAKOTA ATTORNEY
GENERAL                                RE: 3203911230610                      GENERAL
ATTN: JOSH STEIN                       P.O. BOX 25000                         ATTN: DREW WRIGLEY
P.O. BOX 629                           RALEIGH, NC 27640-0150                 600 E BOULEVARD AVE
RALEIGH, NC 27602-0629                                                        DEPT 125
                                                                              BISMARCK, ND 58505


STATE OF NY DEPT OF STATE              STATE OF OHIO ATTORNEY GENERAL         STATE OF OKLAHOMA ATTORNEY GENERAL
C/O DIV OF CORP, STATE RECORDS         ATTN: DAVE YOST                        ATTN: GENTNER DRUMMOND
& UNIFORM COMM CODE                    30 E BROAD ST, 14TH FL                 313 NE 21ST ST
99 WASHINGTON AVE                      COLUMBUS, OH 43215                     OKLAHOMA CITY, OK 73105
ALBANY, NY 12231-0001



STATE OF OREGON ATTORNEY GENERAL       STATE OF PENNSYLVANIA ATTORNEY         STATE OF RHODE ISLAND ATTORNEY
ATTN: ELLEN F. ROSENBLUM               GENERAL                                GENERAL
1162 COURT ST, NE                      ATTN: MICHELLE HENRY                   ATTN: PETER F. NERONHA
SALEM, OR 97301-4096                   STRAWBERRY SQ                          150 S MAIN ST
                                       HARRISBURG, PA 17120                   PROVIDENCE, RI 02903



STATE OF RHODE ISLAND                  STATE OF SOUTH CAROLINA ATTORNEY       STATE OF SOUTH CAROLINA ATTORNEY
OFFICE OF THE GENERAL TREASURER        GENERAL                                GENERAL
50 SERVICE AVE                         ATTN: ALAN WILSON                      ATTN: ALAN WILSON
WARWICK, RI 02886                      P.O. BOX 11549                         REMBERT C. DENNIS OFFICE BLDG
                                       COLUMBIA, SC 29211-1549                1000 ASSEMBLY ST, ROOM 519
                                                                              COLUMBIA, SC 29201


STATE OF SOUTH DAKOTA ATTORNEY         STATE OF TENNESSEE ATTORNEY GENERAL    STATE OF TENNESSEE
GENERAL                                ATTN: JONATHAN SKRMETTI                UNCLAIMED PROPERTY DIVISION
ATTN: MARK JACKLEY                     P.O. BOX 20207                         P.O. BOX 190693
1302 EAST HIGHWAY 14, STE 1            NASHVILLE, TN 37202-0207               NASHVILLE, TN 32719-0693
PIERRE, SD 57501-8501



STATE OF TEXAS ATTORNEY GENERAL        STATE OF TEXAS ATTORNEY GENERAL        STATE OF UTAH ATTORNEY GENERAL
ATTN: KEN PAXTON                       ATTN: KEN PAXTON                       ATTN: SEAN D. REYES
300 W 15TH ST                          P.O. BOX 12548                         350 N STATE ST, STE 230
AUSTIN, TX 78701                       AUSTIN, TX 78711-2548                  SALT LAKE CITY, UT 84114-2320




STATE OF UTAH ATTORNEY GENERAL         STATE OF VERMONT ATTORNEY GENERAL      STATE OF VERMONT
ATTN: SEAN D. REYES                    ATTN: CHARITY R. CLARK                 OFFICE OF THE STATE TREASURER
P.O. BOX 142320                        109 STATE ST                           109 STATE ST, 4TH FL
SALT LAKE CITY, UT 84114-2320          MONTPELIER, VT 05609-1001              MONTPELIER, VT 05609-6200
                   Case 25-90163
STATE OF VIRGINIA ATTORNEY GENERAL        Document  87WASHINGTON
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                                                                                     PageOF 797 of 944 ATTORNEY
                                                                                            WASHINGTON
ATTN: JASON MIYARES                           GENERAL                               GENERAL
202 N NINTH ST                                ATTN: BOB FERGUSON                    ATTN: BOB FERGUSON
RICHMOND, VA 23219                            1125 WASHINGTON ST SE                 P.O. BOX 40100
                                              OLYMPIA, WA 98504-0100                OLYMPIA, WA 98504-0100



STATE OF WEST VIRGINIA ATTORNEY               STATE OF WISCONSIN ATTORNEY GENERAL   STATE OF WYOMING ATTORNEY GENERAL
GENERAL                                       ATTN: JOSH KAUL                       ATTN: BRIDGET HILL
ATTN: PATRICK MORRISEY                        WISCONSIN DEPARTMENT OF JUSTICE       109 STATE CAPITAL
STATE CAPITOL COMPLEX, BLDG 1, ROOM E-        17 P.O. BOX 7857                      200 W. 24TH ST
26                                            MADISON, WI 53703-7857                CHEYENNE, WY 82002
1900 KANAWHA BLVD. E
CHARLESTON, WV 25305

STATE SCIENTIFIC INSTITUTION, THE             STATE ST (997,987,2319,2375,2399,     STATE STREET CORP
AKADEMICHESKAYA STR 12                        2678,2767,2950)                       601 LEXINGTON AVE
MINSK 220072                                  ATT PROXY DEPT                        NEW YORK, NY 10022
BELARUS                                       1776 HERITAGE DR
                                              NORTH QUINCY, MA 02171



STATE TREASURER OF IOWA                       STATE UNIVERSITY OF NEW YORK          STATE UNIVERSITY OF NEW YORK, THE
UNCLAIMED PROPERTY COMPLIANCE                 AT BUFFALO, ELEC PACKAGING LAB        ATTN LEGAL COUNSEL
GREATER IOWA TREASURE HUNT                    ATTN PROF & DIRECTOR                  SUNY POLYTECHNIC INSTITUTE
LUCAS STATE OFFICE BLDG, 321 E 12TH ST,       102 KETTER HALL                       100 SEYMOUR AVE
1ST FL                                        BUFFALO, NY 14260                     UTICA, NY 13502
DES MOINES, IA 50319


STATE UNIVERSITY OF NEW YORK, THE             STATE UNIVERSITY OF NEW YORK, THE     STATEGIC PROCESS CONSULTING
ATTN LEGAL COUNSEL                            ATTN SR VICE CHANCELLOR               ATTN PRESIDENT SPC
SUNY POLYTECHNIC INSTITUTE                    SUNY PLAZA, 353 BROADWAY              220 WINTER ST
257 FULLER RD                                 ALBANY, NY 12246                      HOPKINTON, MA 01748
ALBANY, NY 12203



[NAME REDACTED]                               STATESVILLE PROCESS INSTRUMENTS INC   STATEVIEW HOTEL, AUTOGRAPH
[ADDRESS REDACTED]                            111 TEMPERATURE LN                    COLLECTION
                                              STATESVILLE, NC 28678-9639            ATTN DIR SALES & MKTG
                                                                                    2451 ALUMNI DR
                                                                                    RALEIGH, NC 27606



STATEWIDE WALL COVERINGS                      [NAME REDACTED]                       STATS CHIPPAC (BVI) LTD
                                              [ADDRESS REDACTED]                    196 JAYAMUYEOK-VO JUNG-GU
                                                                                    INCHEON 400700
                                                                                    SOUTH KOREA




STAUBLI CORPORATION                           [NAME REDACTED]                       [NAME REDACTED]
201 PARKWAY WEST                              [ADDRESS REDACTED]                    [ADDRESS REDACTED]
DUNCAN, SC 29334-9279




STC INC                                       STC PRIVODNAYA TECHNIKA LTD           STEADY STATE ENGINEERING PLLC
1201 W RANDOLPH ST                            ATTN GENERAL DIRECTOR                 ATTN OWNER
MCLEANSBORO, IL 62859                         40-LETIYA OKTYABRYA STR 19            1204 VILLAGE MARKET PL, 282
                                              CHELYABINSK 454007                    MORRISVILLE, NC 27560
                                              RUSSIA



STEALTH COMPONENTS INC                        STEALTH MICROWAVE INC                 STEALTH
ATTN COO                                      ATTN PRESIDENT                        ATTN ENGINEER
11430 N COMMUNITY HOUSE RD                    1007 WHITEHEAD RD EXT                 1007 WHITEHEAD RD
CHARLOTTE, NC 28277                           TRENTON, NJ 08638                     TRENTON, NJ 08638
                 Case 25-90163
STEALTHBITS TECHNOLOGIES INC     Document  87 Filed
                                    STEALTHTECH LLC in TXSB on 07/03/25 [NAME
                                                                          Page  798 of 944
                                                                              REDACTED]
ATTN VP FINANCE                      ATTN MG DIRECTOR                   [ADDRESS REDACTED]
200 CENTRAL AVE                      47517 PUTNEY CT
HAWTHORNE, NJ 07506                  CANTON, MI 48188




STECA ELEKTRON GMBH                  STECA ELEKTRONIK GMBH              S-TECH
ATTN PURCHASING MGR                  MAMMOSTRASSE 1                     33, SECHEON-RO- 3-GIL, DASA-EUP, DA
MAMMOSTRABE 1                        MEMMINGEN 87700                    DAEGU 42921
MEMMINGEN 87700                      GERMANY                            SOUTH KOREA
GERMANY



[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




STEEL LIGHT ENTERPRISE CO LTD        STEEL NETWORK INC, THE             STEEL TECHNOLOGY INC
ATTN HARRY, HUANG                    ATTN PRESIDENT                     ATTN PRESIDENT
247, 169-2 RENAI ST                  2012A TW ALEXANDER DR              2620 BUSINESS PARK DR
LUZHOU CITY, TAIPEI                  P.O. BOX 13887                     ROCKY MOUNT, NC 27804
TAIWAN                               DURHAM, NC 27709



STEELCASE INC                        STEELCASE INC                      [NAME REDACTED]
DBA COALESSE                         P.O. BOX 1967                      [ADDRESS REDACTED]
ATTN SALES CONSULTANT                GRAND RAPIDS, MI 49501
901 44TH ST SE
GRAND RAPIDS, MI 49508



[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    STEELWEDGE SOFTWARE INC
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 ATTN ACCOUNT EXECUTIVE
                                                                        3825 HOPYARD RD, STE 155
                                                                        PLEASANTON, CA 94588




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    STEIGER TECHNOLOGY (SHENZHEN) CO LTD
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 N RM 2001, BAIHUI BLDG NO 3019
                                                                        SUN GANG E RD, LUOHU DIST
                                                                        SHENZHEN CITY
                                                                        CHINA



[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 LEUCHTMITTEL
                                   STEINBERG   Filed in TXSB  onGMBH
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                                                                                  799 of 944
                                                                                         GMBH
[ADDRESS REDACTED]                  IM LOWENTAL 79                             DIESELSTRASSE 80-84
                                    WERDEN                                     HERZEBROCK-CLARHOLZ 33442
                                    ESSEN 45239 GERMANY                        GERMANY




[NAME REDACTED]                     STEINITZ LIGHTING ENGINEERING (1996) LTD   STEINITZ LIRAD LIGHTING LTD
[ADDRESS REDACTED]                                                             ATTN OHAD LESHEM
                                                                               HAFZOREF 25 ST
                                                                               HAR YONA INDUSTRIAL AREA
                                                                               NAZARETH ILIT ISRAEL



[NAME REDACTED]                     [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                         [ADDRESS REDACTED]




[NAME REDACTED]                     STEINS AIRCRAFT SERVICES LLC               STELLAR INDUSTRIES CORP
[ADDRESS REDACTED]                  ATTN OWNER                                 50 HOWE AVENUE
                                    2651 AVIATION DR                           MILLBURY, MA 01527-3264
                                    WAUKESHA, WI 53188




STELLAR LUMINATION LLC              [NAME REDACTED]                            STELVIO KONTEK SPA
ATTN GEN MGR                        [ADDRESS REDACTED]                         ATTN DIRECTOR OF SALES & MKTG
7009 MORESHAM WAY                                                              VIA AL MOGNAGO 49
WAKE FOREST, NC 27587                                                          OGGIONO 23848
                                                                               ITALY



[NAME REDACTED]                     [NAME REDACTED]                            STENTECH INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                         ADVANCED TOOLING DESIGN
                                                                               22 MANCHESTER RD UNIT 8B
                                                                               DERRY, NH 03038-3066




[NAME REDACTED]                     [NAME REDACTED]                            STEPHEN S STARR MECHANICAL CORP
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                         7359 STATE RT 5
                                                                               CLINTON, NY 13323-3435




[NAME REDACTED]                     [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                         [ADDRESS REDACTED]




[NAME REDACTED]                     STEPHENSON MILLWORK CO INC                 [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN VP ESTIMATING                         [ADDRESS REDACTED]
                                    210 HARPER ST NE
                                    WILSON, NC 27893




[NAME REDACTED]                     [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                         [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document
                                   STEPPER87  Filed in
                                           EQUIPMENT   TXSB on 07/03/25 STERIS
                                                     INC.                 PageCORP
                                                                                800 of 944
[ADDRESS REDACTED]                  4151 CITRUS AVE                      ATTN VP EQUIP SALES AND SVC
                                    ROCKLIN, CA 95677-4008               5960 HEISLEY RD
                                                                         MENTOR, OH 44060




STERLING & ASSOCIATES INC           STERLING INC                         STERLING INFOSYSTEMS INC
ATTN PRESIDENT                      ATTN PRESIDENT                       EMPLOYMENT BACKGROUND INV
168 S HILLVIEW DR                   7F, WING EIGHT, BLDG NO 4-16-4       6150 OAK TREE BLVD, SUITE 490
MILPITAS, CA 95035                  ASAKUSABASHI, TAITO-KU               INDEPENDENCE, OH 44131
                                    TOKYO 111-0053 JAPAN



STERLING LIGHTING LLC               STERLING MOBILE SERVICES             STERLING SEMICONDUCTOR INC
ATTN OPERATIONS MGR                 3618 E. SOUTHERN AVE. SUITE 1        ATTN VICE CHAIRMAN
201 DAVIS DR, STE G                 PHOENIX, AZ 85040-9034               22660 EXECUTIVE DR, STE 101
STERLING, VA 20164                                                       STERLING, VA 20166




STERLING SPRING LLC                 STERLING STAFFING INC                STERLING TESTING SYSTEMS INC
ATTN MANAGER                        ATTN CHRIS ABBITT                    ATTN VP SALES & MARKETING
5432 WEST 54TH ST                   2 WESTBROOK CORPORATE CTR, STE 300   249 W 17TH ST
CHICAGO, IL 60638                   WESTCHESTER, IL 60154                NEW YORK, NY 10011




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




STERNBERG LIGHTING INC              [NAME REDACTED]                      STEVE LESHNER CLEAR SYSTEMS
ATTN ENGINEERING MGR                [ADDRESS REDACTED]                   ATTN OWNER
555 LAWRENCE AVE                                                         13438 WYANDOTTE ST
ROSELLE, IL 60172                                                        NORTH HOLLYWOOD, CA 91605




STEVE LESHNER CLEAR SYSTEMS         STEVEN CORP PTE LTD                  STEVEN DOUGLAS INTERIM FINANCIAL
ATTN OWNER                          ATTN PURCH MNGR                      SERVICES LLC
27300 CROSSON DR                    10, KAKI BUKIT RD 1                  ATTN CFO
WOODLAND HILLS, CA 91367            03-15 KB INDUSTRIAL BLDG             1301 INTERNATIONAL PKWY, STE 510
                                    SINGAPORE 416175 SINGAPORE           FT LAUDERDALE, FL 33323



[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     STEVENS CONSTRUCTION CORP            [NAME REDACTED]
[ADDRESS REDACTED]                  P.O. BOX 7726                        [ADDRESS REDACTED]
                                    MADISON, WI 53707-7726




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  801 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           STEWARD PAINTING & DECORATING CO INC   STEWARD TECHNOLOGY, INC.
[ADDRESS REDACTED]                        ATTN VICE PRESIDENT                    800 CHARCOT AVENUE. SUITE 103
                                          117 WOLFPACK LN                        SAN JOSE, CA 95131
                                          DURHAM, NC 27704




STEWART ACOUSTICAL CONSULTANTS            STEWART ENGINEERING INC                [NAME REDACTED]
ATTN PRESIDENT                            223 SOUTH WEST STREET SUITE 1100       [ADDRESS REDACTED]
P.O. BOX 30461                            RALEIGH, NC 27603-4093
RALEIGH, NC 27622




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                        STG AEROSPACE LIMITED
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     ATTN SUPPLY CHAIN MGR
                                                                                 ECOTECH INNOVATION BUSINESS PARK
                                                                                 21 TURBINE WAY, SWAFFHAM
                                                                                 NORFOLK PE37 7XD UNITED KINGDOM



STG-BEIKIRCH INDUSTRIEELEKTRONIK          ST-GOBAIN CERAMICS & PLASTICS INC      STI COMPONENTS INC
SICHERHEITSTECHNIK GMBH & CO. KG          4905 E HUNTER AVE                      ATTN PRESIDENT
ATTN GENERAL MG                           ANAHEIM, CA 92807                      10404 CHAPEL HILL RD, 102
TRIFTE 72                                                                        MORRISVILLE, NC 27560
LEMGO-LIEME D-32657 GERMANY



STICHTING GLOBAL REPORTING INITIATI       STIFEL NICOLAUS & CO. (0793,8385)      [NAME REDACTED]
BARBARA STROZZILAAN 101 (7TH FLOOR)       ATT CHRIS WIEGAND/PROXY DEPT           [ADDRESS REDACTED]
1083 HN                                   C/O MEDIANT COMMUNCATIONS
AMSTERDAM                                 501 N. BROADWAY
THE NETHERLANDS                           ST. LOUIS, MO 63102



[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 STLPage
                                         [NAME REDACTED]                             802 of 944
                                                                                 SAVANNAH
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  ATTN LAB DIRECTOR
                                                                              5102 LAROCHE AVE
                                                                              SAVANNAH, GA 31404




STMICROELECTRONICS INC                    STMICROELECTRONICS INC              STMICROELECTRONICS SRL
ATTN CORPORATE COUNSEL                    ATTN REGIONAL COUNSEL               ATTN GIANNI VITALE
1310 ELECTRONICS DR                       750 CANYON DR, STE 300              50 STRADALE PRIMOSOLE, L7 BLDG
CARROLLTON, TX 75010                      COPPELL, TX 75056                   CATANIA 95121
                                                                              ITALY



STMICROELECTRONICS SRL                    STOCK & OPTION SOLUTIONS INC        STOCK & OPTION SOLUTIONS, INC.
ATTN IMS R&D DIR                          ATTN BARRETT SCOTT                  6399 SAN IGNACIO BLVD, SUITE 100
VIA C OLIVETTI 2                          6399 SAN IGNACIO BLVD, STE 100      SAN JOSE, CA 95119-1215
AGRATE BRIANZA (MI) 20041                 SAN JOSE, CA 95119
ITALY



STOCK PLAN SOLUTIONS GREEN ZAPATO L       STOCK PLAN SUPPORT LLC              [NAME REDACTED]
444 N WELLS ST                            ATTN MARK BETHER, CPA               [ADDRESS REDACTED]
203                                       105 POPLAR KNOLL CT
CHICAGO, IL 60654                         APEX, NC 27502




STOCKCROSS FIN (0445)                     [NAME REDACTED]                     STOCKTON INFRARED
ATT DIANE TOBEY OR PROXY MGR              [ADDRESS REDACTED]                  THERMOGRAPHIC SERVICES IN
77 SUMMER ST                                                                  8472 ADAMS FARM ROAD
BOSTON, MA 02210                                                              RANDLEMAN, NC 27317-7387




STOCKWELL ELASTOMETRICS INC               [NAME REDACTED]                     [NAME REDACTED]
ATTN PRESIDENT                            [ADDRESS REDACTED]                  [ADDRESS REDACTED]
4749 TOLBUT ST
PHILADELPHIA, PA 19136




[NAME REDACTED]                           [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                           STONE FOREST ACCOUNTSERVE PTE LTD   [NAME REDACTED]
[ADDRESS REDACTED]                        ATTN SR EXECUTIVE                   [ADDRESS REDACTED]
                                          8 WILKIE RD, 03-08
                                          WILKIE EDGE
                                          SINGAPORE 228095 SINGAPORE



[NAME REDACTED]                           [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document
                                   STONEX 87   FiledINC
                                          FINANCIAL   in TXSB on 07/03/25 STONHARD,
                                                                            Page 803INC.of 944
[ADDRESS REDACTED]                  ATTN SCOTT SATCHWELL                   7 ESTERBROOK LANE
                                    230 PARK AVE, 10TH FL                  CHERRY HILL, NJ 08003-4003
                                    NEW YORK, NY 10169




STORAGE SYSTEMS MIDWEST INC         STORED ENERGY SYSTEMS INC              STORK EAST WEST TECHNOLOGY CORP
ATTN INDUSTRIAL SALES DIV           ATTN VICE PRESIDENT OF ENGINEERING     15814 CORPORATE CIR
N16 W23430 STONE RIDGE DR           1840 INDUSTRIAL CIR                    JUPITER, FL 33478
WAUKESHA, WI 53188                  LONGMONT, CO 80501




STORM MANUFACTURING CORP            [NAME REDACTED]                        [NAME REDACTED]
DBA STORM COPPER                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]
ATTN REGIONAL SALES MGR
240 INDUSTRIAL PARK LN
DECATUR, TN 37322



STORMWATER FACILITY                 STORR RECORDS MANAGEMENT LLC           [NAME REDACTED]
                                    10800 WORLD TRADE BLVD.                [ADDRESS REDACTED]
                                    RALEIGH, NC 27617-4200




[NAME REDACTED]                     [NAME REDACTED]                        STOUT RISIUS ROSS INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     ATTN BLANEY HARPER, ESQ
                                                                           51 LOUISIANA AVE, NW 47TH FL
                                                                           WASHINGTON, DC 20001-2113




[NAME REDACTED]                     STP PUBLICATIONS LIMITED PARTNERSHI    STR GROUP LTD
[ADDRESS REDACTED]                  DBA STP COMPLIANCE EHS                 27 ENGELS AV
                                    122 WEST 2ND AVENUE                    SAINT-PETERSBURG 194156
                                    VANCOUVER, BC V5Y 1C2                  RUSSIA
                                    CANADA



STR IP HOLDING LLC                  STRADEL SL                             [NAME REDACTED]
1610 SWINTON LN                     RONDA GENERAL MITRE, 145, 1-O 2-A      [ADDRESS REDACTED]
RICHMOND, VA 23238                  BARCELONA 08022
                                    SPAIN




[NAME REDACTED]                     STRAIN MEASUREMENT DEVICES INC         STRAINOPTIC TECHNOLOGIES INC
[ADDRESS REDACTED]                  ATTN VP SALES & MKTG                   ATTN PRESIDENT
                                    55 BARNES PARK RD N                    108 WEST MONTGOMERY AVE
                                    WALLINGFORD, CT 06492                  NORTH WALES, PA 19454




[NAME REDACTED]                     [NAME REDACTED]                        STRASBAUGH
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                     ATTN VP ENGINEERING
                                                                           825 BUCKLEY RD
                                                                           SAN LUIS OBISPO, CA 93401




[NAME REDACTED]                     STRATA SOLAR LLC                       STRATEDGE CORPORATION
[ADDRESS REDACTED]                  ATTN CFO                               ATTN PRESIDENT
                                    50101 GOVERNORS DR                     4393 VIEWRIDGE AVE
                                    CHAPEL HILL, NC 27517                  SAN DIEGO, CA 92123
                   Case 25-90163
STRATEDGE CORPORATION              Document 87 CONNECTIONS
                                      STRATEGIC  Filed in TXSB on 07/03/25 STRATEGIC
                                                                             Page 804   of 944 INNOVATIONS INC
                                                                                     MARKETING
ATTN PRESIDENT                         3000 SPRING FOREST ROAD               1020 19TH ST NW, STE 375
6335 FERRIS SQ, STE C                  RALEIGH, NC 27616                     WASHINGTON, DC 20036
SAN DIEGO, CA 92121




STRATEGIC RETAIL SOLUTIONS LLC         STRATEGIC SYSTEMS & TECHNOLOGY CORP   STRATEGIC TECHNOLOGIES INC
ATTN PROJECT MGR                       ATTN CEO                              DBA CONSONUS TECHNOLOGIES
7669 WOOSTER PIKE                      3325 PADDOCKS PKWY, STE 250           ATTN DIRECTOR MD
CINCINNATI, OH 45227                   SUWANEE, GA 30024                     301 GREGSON DR
                                                                             CARY, NC 27511



STRATEGIES UNLIMITED                   STRATEQ SYSTEMS SDN BHD               STRATOSPHERE QUALITY LLC
ATTN PRESIDENT                         12 JALAN BERSATU 13/4, 46200 PETALI   12024 EXIT FIVE PARKWAY
201 SAN ANTONIO CIR, STE 205           SELANGOR 46200                        FISHERS, IN 46037-7940
MOUNTAINVIEW, CA 94040                 MALAYSIA




STRATUS SYSTEMS, LLC                   [NAME REDACTED]                       STREAMLIGHT INC
10490 VISTA PARK ROAD                  [ADDRESS REDACTED]                    30 EAGLEVILLE RD
DALLAS, TX 75238-1644                                                        EAGLEVILLE, PA 19403




STREAMLINE CIRCUITS                    STREAMLINE PLUMBING INC               STREET & AREA LIGHTING CO INC
ATTN VP                                ATTN PRESIDENT                        ATTN PRESIDENT
1410 MARTIN AVE                        P.O. BOX 91223                        1421 HILDEGARDE DR
SANTA CLARA, CA 95050                  RALEIGH, NC 27675                     BIRMINGHAM, AL 35215




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        STRETEJIX                             STREUTER TECHNOLOGIES INC
[ADDRESS REDACTED]                     ATTN PRES                             DBA TIMTEL
                                       10608 THORNBURY CREST CT              ATTN VP
                                       RALEIGH, NC 27614-7861                208 AVENIDA FABRICANTE
                                                                             SAN CLEMENTE, CA 92672



STRICKLAND WATERPROOFING CO INC        [NAME REDACTED]                       [NAME REDACTED]
ATTN PROJ ESTIMATOR                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]
500 N HOSKINS RD
CHARLOTTE, NC 28216




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        STRIDER TECHNOLOGIES INC              STRIKE PHOTONICS INC
[ADDRESS REDACTED]                     ATTN CHIEF EXECUTIVE OFFICER          ATTN CHIEF EXECUTIVE OFFICER
                                       10377 S JORDAN GATEWAY, 150           600 MILLENNIUM DR
                                       SOUTH JORDAN, UT 84095                ALLEN, TX 75013
STRINE PRINTING COCase
                  INC  25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                     STRIPS DOO                            Page  805 of 944
                                                                               REDACTED]
ATTN VP OF SALES                      ATTN BUSINESS MANAGER              [ADDRESS REDACTED]
30 GRUMBACHER RD                      KANDRSE 7
YORK, PA 17406                        VACE SI-1252
                                      SLOVENIA



STROH PRECISION DIE CASTING LLC       STRONG BASE INVESTMENT LTD         [NAME REDACTED]
ATTN VP                               ATTN DAISY NG                      [ADDRESS REDACTED]
1011 VETERANS ST                      UNIT 17, 11/F, HEWLETT CTR
MAUSTON, WI 53948                     54 HOI YUEN RD, KWUN TONG
                                      KOWLOON HONG KONG



[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    STROUSE CORP, THE
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 ATTN DIRECTOR OPS
                                                                         1130 BUSINESS PKWY S
                                                                         WESTMINSTER, MD 21157




[NAME REDACTED]                       STRUERS INC.                       STRYDER CORP DBA HANDSHAKE
[ADDRESS REDACTED]                    24766 DETROIT ROAD                 225 BUSH STREET FLOOR 12
                                      WESTLAKE, OH 44145-2525            SAN FRANCISCO, CA 94104-4254




STRYTEN MANUFACTURING                 STT SYSTEMTECHNIK GMBH             STTG INC
5925 CABOT PKWY                       GOLLIERSTRASSE 70                  DBA FRONTIER STRATEGY GROUP
ALPHARETTA, GA 30005                  MUNICH D-80339                     ATTN AVP COMMERCIAL OPERATIONS
                                      GERMANY                            1150 18TH ST NW, STE 350
                                                                         WASHINGTON, DC 20036



STUART PAGE COMPANY INC               [NAME REDACTED]                    STUDIO DE FERRARI ARCHITETTI
1801 STALLINGS RD                     [ADDRESS REDACTED]                 ATTN ARCHITECT
MATTHEWS, NC 28104                                                       VIA ANDORNO 22
                                                                         TORINO 10153
                                                                         ITALY



STUDIO DUE LIGHT DIVISION SRL         [NAME REDACTED]                    [NAME REDACTED]
ATTN TECHNICAL MGR                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]
POGGINO 100
VITERBO 01100
ITALY



STURDY CORP                           [NAME REDACTED]                    [NAME REDACTED]
ATTN PRESIDENT                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]
1822 CAROLINA BEACH RD
WILMINGTON, NC 28401
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  806 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




STYLMARK INC                        [NAME REDACTED]                     [NAME REDACTED]
ATTN LIGHTING ENG                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]
6536 MAIN ST NE
MINNEAPOLIS, MN 55432




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




SUBSTATION ENTERPRISES, INC.        SUBTRON TECHNOLOGY CO LTD           SUBURBAN ASPHALT CO INC
145 COMMERCIAL CT                   NO 8 KUANG FU NORTH ROAD            ATTN SR ESTIMATOR/PROJECT MGR
ALABASTER, AL 35007-9507            HU KOU 30351                        11251 W FOREST HOME AVE
                                    TAIWAN                              FRANKLIN, WI 53132




SUBURBAN PROPANE                    SUCCESSFACTORS INC                  [NAME REDACTED]
240 ROUTE 10 WEST                   ATTN GEN COUNSEL                    [ADDRESS REDACTED]
WHIPPANY, NJ 07981-2105             1500 FASHION ISLAND BLVD, STE 300
                                    SAN MATEO, CA 94404




[NAME REDACTED]                     [NAME REDACTED]                     SUDDATH VAN LINES, INC.
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  SUDDATH WORKPLACE SOLUTIO
                                                                        815 SOUTH MAIN STREET
                                                                        JACKSONVILLE, FL 32207-8187




[NAME REDACTED]                     SUEZ WTS SERVICES USA INC           SUEZ WTS SERVICES USA, INC.
[ADDRESS REDACTED]                  ATTN FRANK VELARDE                  ATTN: ERIC TATE
                                    4636 SOMERTON RD                    4545 PATENT ROAD
                                    TREVOSE, PA 19053                   NORFOLK, VA 23502




SUGARMAN LAW FIRM, LLP              [NAME REDACTED]                     [NAME REDACTED]
MICHAEL A. RIEHLER                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]
1600 RAND BUILDING, BUFFALO
NY
14203 mriehlersugarmanlaw.com



[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163           Document   87 Filed
                                           SUITE IMAGERY LLC in TXSB on 07/03/25 [NAME
                                                                                   Page  807 of 944
                                                                                       REDACTED]
[ADDRESS REDACTED]                          ATTN PRESIDENT                       [ADDRESS REDACTED]
                                            4936 LATHROP AVE
                                            RACINE, WI 53403




[NAME REDACTED]                             SUITUP INCORPORATED                  SUJANA ENERGY LTD
[ADDRESS REDACTED]                          25 BROADWAY, 12TH FLOOR              ATTN MANAGING DIR
                                            NEW YORK, NY 10004                   34, NAGARJUNA HILLS, PANJAGUTTA
                                                                                 HYDERABAD
                                                                                 ANDHRA PRADESH 500038 INDIA



SUK YOUNG INDUSTRIAL CO                     SULA TECHNOLOGIES                    SULEYMAN DEMIREL UNIVERSITY
ATTN PRES                                   ATTN OWNER                           CUNUR CAMPUS
634-4, GUPO-DONG                            415 WILLIAMSON WAY, 8                ISPARTA 32260
GUMI CITY KYUNG-BUK 730-400                 ASHLAND, OR 97520                    TURKEY
SOUTH KOREA



[NAME REDACTED]                             SULLINS ELECTRONICS CORP             SULLIVAN INTERNATIONAL GROUP INC
[ADDRESS REDACTED]                          SULLINS CONNECTOR SOLUTIO            ATTN DIR OF CONTRACTS
                                            801 EAST MISSION ROAD                409 CAMINO DEL RIO S, STE 100
                                            SAN MARCO, CA 92069-3002             SAN DIEGO, CA 92108




[NAME REDACTED]                             [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                             [NAME REDACTED]                      SUMCO PHOENIX CORP
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   ATTN DIR PURCHASING
                                                                                 19801 N TATUM BLVD
                                                                                 PHOENIX, AZ 85050




SUMIDA AMERICA COMPONENTS INC               SUMIDA ELECTRIC (HK) CO LTD          SUMITO ELECTRIC INDUSTRIES LTD
ATTN PRESIDENT                              ATTN VP                              ATTN GEN MGR
1251 N PLUM GROVE RD, STE 150               TAIKOO PLACE, 25 BERKSHIRE HOUSE     5-33 KITAHAMA 4 CHOME
SCHAUMBURG, IL 60173                        WESTLAND RD                          CHUO-KU
                                            QUARRY BAY HONG KONG                 OSAKA JAPAN



SUMITOMO BAKELITE CO LTD                    SUMITOMO CHEMICAL ADVANCED           SUMITOMO CORP
ATTN YOSHINORI ONO                          TECHNOLO                             ATTN DIR TECHNOLOGY EXEC
TNNOZ PARK SIDE BLDG                        3832 E WATKINS ST                    8 SHINSUGITA-CHO
2-5-8 HIGASHI-SHINAGAWA, SHINAGAWA-KU       PHOENIX, AZ 85034                    ISOGO-KU
TOKYO 140 0002 JAPAN                                                             YOKOHAMA 235-8522 JAPAN



SUMITOMO CORP                               SUMITOMO CORPORATION (GUA            SUMITOMO CORPORATION (TIANJIN) LTD
ATTN GM, ELECTRONIC MATERIAL &              3201A, 32F TAIKOO HUI TOWER 1        ATTN GM, ELECTRONIC MATERIALS DEPT
EQUIPMENT DEPT                              GUANGZHOU 510620                     50F, MIFC, NO 136 CHIFENG RD
22-22 NAGAIKE-CHO                           CHINA                                HEPING DIST
ABENO-KU                                                                         TIANJIN 300041 CHINA
OSAKA 545-8522 JAPAN


SUMITOMO CORPORATION LTD                    SUMITOMO CORPORATION OF AMERICA      SUMITOMO CORPORATION
ATTN GM ELECTRONIC MATERIALS & EQMT         ATTN MICHAEL VITALE                  ATTN GEN MGR
DEPT                                        345 PARK AVE                         HARUMI ISLAND, TRITON SQUARE
1-8-11, HARUMI, CHUO-KU                     NEW YORK, NY 10154                   OFFICE TOWER Y 8-11, 1-CHOME, CHUO-KU
TOKYO 104-8610                                                                   TOKYO 104-8610 JAPAN
JAPAN
                   Case 25-90163
SUMITOMO CORPORATION                  Document 87CORPORATION
                                         SUMITOMO  Filed in TXSB on 07/03/25 SUMITOMO
                                                                               Page 808  of 944
                                                                                      CORPORATION
ATTN GENERAL MANAGER                      ATTN: NOZOMI EGASHIRA TEAM LEADER,      OTEMACHI PLACE EAST TOWER 2-3-2
2-2, HITOTSUBASHI 1-CHOME,                ELECTRONICS                             OTEMACHI CHIYODA-KU
CHIYODA-KU                                MATERIAL TEAM 33, ELECTRONICS           TOKYO 100-8610
TOKYO 100-0003 JAPAN                      BUSINESS DEPT. 1, OTEMACHI PLACE EAST   JAPAN
                                          TOWER 3-2 OTEMACHI 2-CHOME
                                          CHIYODA-KU
                                          TOKYO 1008601 JAPAN

SUMITOMO CORPORATION; ROHM CO. LTD.       SUMITOMO CORPORATION; ROHM CO., LTD.    SUMITOMO ELECTRIC INDUSTRIES LTD
ATTN: TAKAHIRO ASANO, GENERAL             ATTN: JUN AOKI, GROUP LEADER OF         ATTN GM OF INFO & COM LABS
MANAGER                                   PURCHASING DEPT                         5-33, KITAHAMA 4-CHOME, CHUO-KU
OTEMACHI PLACE EAST TOWER 3-2             21, SAIIN MIZOSAKI-CHO                  OSAKA
OTEMACHI 2-CHOME                          UKYO-KU, KYOTO                          JAPAN
CHIYODA-KU                                JAPAN
TOKYO 1008601 JAPAN

SUMITOMO ELECTRIC INDUSTRIES LTD          SUMITOMO ELECTRIC USA INC               SUMITOMO HEAVY INDUSTRIES LTD
ATTN NAHOKO UMEMURA                       21241 S WESTERN AVENUE, SUITE 120       ATTN GENERAL MNG
1-1-3, SHIMAYA, KONOHANA-KU               TORRANCE, CA 90501-2984                 THINKPARK TWR, 1-1 OSAKI 2-CHOME
OSAKA 554-0024                                                                    SHINAGAWA-KU
JAPAN                                                                             TOKYO 141-6025 JAPAN



SUMITOMO METAL (SMI) ELECTRONICS          SUMITOMO METAL MINING CO LTD            SUMITOMO PLASTICS AMERICA INC.
DEVICES INC                               ATTN GM, TECH DEPT                      900 LAFAYETTE STREET, SUITE 510
ATTN MD                                   11-3, SHIMBASHI 5 CHOME                 SANTA CLARA, CA 95050-4967
TOWER Y, 1-8-11, HARUMI, CHUO-KU          MINATO-KU
TOKYO 104-6109                            TOKYO 105-8716 JAPAN
JAPAN


SUMITOMO SEIKA CHEMICALS CO LTD           SUMITOMO TST & BANKING (2779)           SUMITRONICS TAIWAN CO LTD
THE SUMITOMO BLDG                         ATT BETH MUELLER OR PROXY MGR           ATTN CHAIRMAN AND CEO
4-5-33 KITAHAMA,CHUO-KU                   527 MADISON AV                          7F, NO 415, GONDAO 5TH RD SEC 2
OSAKA 541-0014                            NEW YORK, NY 10022                      HSIN-CHU 30069
JAPAN                                                                             TAIWAN



SUMITRONICS TAIWAN CO. LT                 SUMMA CONSULTANTS INC                   [NAME REDACTED]
TRITON SQUARE OFFICE TOWER Z 1-8-12       100 DEERFIELD TRAIL                     [ADDRESS REDACTED]
HSIN-CHU 30077                            CHAPEL HILL, NC 27516
TAIWAN




[NAME REDACTED]                           [NAME REDACTED]                         SUMMIT EQUIPMENT DISPOSITION CORP
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      ATTN GENERAL MANAGER
                                                                                  2801 WADE HAMPTON BLVD, STE 115-119
                                                                                  TAYLORS, SC 29687




SUMMIT FIRE & SECURITY                    SUMMIT INDUSTRIAL CONSTRUCTION LLC      SUMMIT INTERCONNECT HOLLISTER
2500 LEXINGTON AVE SOUTH                  ATTN COO                                ROYAL CIRCUIT SOLUTIONS L
MENDOTA HEIGHTS, MN 55120-1260            2100 TRAVIS ST, STE 610                 21 HAMILTON COURT
                                          HOUSTON, TX 77002                       HOLLISTER, CA 95023-2535




SUMMIT MAGNETICS CORP                     SUMMIT RIGGING INC                      SUMMIT TECHNICAL MEDIA LLC
ATTN PRESIDENT                            ATTN OFFICE MGR                         DBA HIGH FREQUENCY ELECTRONICS
2810 YONKERS RD, UNIT 4F                  78 DAWSON VILLAGE WAY N, STE 140-80     ATTN VP SALES
RALEIGH, NC 27604                         DAWSONVILLE, GA 30534                   7 COLBY CT
                                                                                  BEDFORD, NH 03110



[NAME REDACTED]                           [NAME REDACTED]                         SUN & SAN
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      ATTN GENERAL MANAGER
                                                                                  187-7, DODANG-DONG, WONMI-GU
                                                                                  BUCHEON CITY, GYEONGGI-DO
                                                                                  SOUTH KOREA
SUN CHEMICAL CORPCase 25-90163            Document  87 Filed
                                             SUN EQUIPMENT    in TXSB
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                                                                   SDN BHD            Page
                                                                                        HUNG809   of 944
                                                                                             KAI REAL ESTATE AGY LTD
ATTN PRESIDENT, ADV MATERIALS                 112A&B, JALAN RAJA PERMAISURI BAINU
35 WATERVIEW BLVD                             IPOH PER 30250
PARSIPPANY, NJ 07054                          MALAYSIA




SUN LIFE ASSURANCE COMPANY OF                 SUN MARKETING GROUP                     SUN ON MOLDING LTD
CANADA                                        ATTN OWNER                              NO 86-88 HONGYING IND PARK
1 YORK STREET                                 1700 SHATTUCK AVE, 315                  HONGSHI BRIDGE, FENGGANG TOWN
TORONTO, ON M5J 0B6                           BERKELEY, CA 94709                      DONGGUAN, GUANGDONG
CANADA                                                                                CHINA



[NAME REDACTED]                               [NAME REDACTED]                         SUNBEAM HOUSEHOLD PRODUCTS
[ADDRESS REDACTED]                            [ADDRESS REDACTED]                      1501 WOODFIELD RD, STE 400
                                                                                      SCHAUMBURG, IL 60173




SUNBELT CONTROLS INC                          SUNBELT RENTALS INC                     SUNBURST DESIGNS INC
ATTN OPS MGR                                  2341 DEERFIELD DRIVE                    ATTN VP
735 N TODD AVE                                FORT MILL, SC 29715-8298                2850 PAA ST, STE 145
AZUSA, CA 91702                                                                       HONOLULU, HI 96819




SUNCO SCREW MANUFACTORY LTD                   [NAME REDACTED]                         SUNDEW TECHNOLOGIES LLC
ATTN MANAGER                                  [ADDRESS REDACTED]                      ATTN PRESIDENT
FLAT 11, 9/F, BLK B, MING SANG IND BLDG                                               3400 INDUSTRIAL LN, STE 7
19 HING YIP ST, KWUN TONG                                                             BROOMFIELD, CA 80020
KOWLOON HONG KONG



SUNDOPT LED LIGHTING CO LTD                   SUNDSTRAND CORPORATION                  SUNEX INC
ATTN GENERAL MGR                              ATTN DIR, CONTRACTS & BUS ADMIN         ATTN DIR SALES & MKTG
BLDG NO8-6 TONGFUKANG TECH                    4949 HARRISON AVE                       3160 LIONSHEAD AVE, STE B
INNOVATION PK                                 ROCKFORD, IL 61125-7002                 CARLSBAD, CA 92010
AIQUN RD, SHIYAN ST, BAOAN DISTRICT
SHENZHEN CHINA


SUNFLOWER MISSION                             SUNFORCE INC                            SUNG YOUNG ELECTRONOPTICS CO LTD
PO 1385                                       ATTN TECHNICAL REP                      ATTN BRENA CHANG
STAFFORD, TX 77497-1385                       2419 S BABCOCK ST, STE A                11F NO 15, ALLEY 51 LANE 533
                                              MELBOURNE, FL 32901                     ZHONGFENG RD LONGTAN SHIANG
                                                                                      TAOYUAN 325 TAIWAN



[NAME REDACTED]                               SUNGARD AVANTGARD LLC                   SUNGROW POWER SUPPLY CO LTD
[ADDRESS REDACTED]                            ATTN FINANCE DIR                        NO 1699 XIYOU RD
                                              600 LANIDEX PLAZA                       NEW & HIGH TECH IND DEVT ZONE
                                              PARSIPPANY, NJ 07054                    HEFEI, ANHUI
                                                                                      CHINA



SUNGROW POWER SUPPLY CO LTD                   SUNG-SAN ELECTRONICS                    [NAME REDACTED]
NO 2 TIANHU RD                                COMMUNICATIONS CO LTD                   [ADDRESS REDACTED]
NEW & HIGH TECH IND DEVT ZONE                 ATTN SR RESEARCH ENGINEER
HEFEI, ANHUI                                  A-1003, DAEWOO-TECHNOPARK, 187-7
CHINA                                         DODANG-DONG, WONMI-GU
                                              BUCHEON, GYEONGGI-DO SOUTH KOREA


SUNLAND FIRE PROTECTION INC                   SUNLED ENERGY PTY LTD                   SUNLI INDUSTRY EQUIPMENT CO LTD
P.O. BOX 277                                  ATTN SAM JAIN
JAMESTOWN, NC 27282-0277                      18/12 ABBOTT RD
                                              SEVEN HILLS, NSW 2147
                                              AUSTRALIA
SUNLIGHT SHENZHEN  Case   25-90163 Document
                     OPTO-ELECTRONIC              87 Filed
                                          SUNNINGDALE  TECHHin TXSB on 07/03/25 SUNNKING
                                                             LTD                  Page 810 of 944
TECHNOLOGY CO LTD                         ATTN BD DIRECTOR                      272 ORISKANY BLVD
ATTN JANET LUO, 4-5/F, BLDG D, HONGFA HI- 51 JOO KOON CIR                       WHITESBORO, NY 13492-1541
TECH PARK                                 SINGAPORE 629069
SHIYAN TOWN                               SINGAPORE
SHENZHEN 518108 CHINA


SUNNY TECH ENGINEERING (ASIA) LTD       SUNNY WORLD(SHAOXING)GREEN LIGHTING      SUNONWEALTH ELECTRIC MACHINE IND CO
ATTN MKTG EXEC                          CO LTD                                   LTD
UNIT 810, 8F NEW TREND CENTER           NO.308, N PAOZHONG RD                    ATTN GEN MGR
704 PRINCE EDWARD RD                    PAOJIANG INDUSTRIAL ZONE                 NO. 30, LN 296, XINYA RD
SAN PO KONG HONG KONG                   SHAOXING, ZHEJIANG                       QIANZHEN DIST
                                        CHINA                                    KAOHSIUNG CITY 806 TAIWAN


SUNOVIA ENERGY TECHNOLOGIES INC         SUNOVIA ENERGY TECHNOLOGIES INC          SUNOVIA SOLAR INC
106 CATTLEMEN RD                        ATTN CREATIVE DIR                        ATTN VP OF GLOBAL LOGISTICS
SARASOTA, FL 34232                      6408 PARKLAND DR, STE 103                6408 PARKLAND DR, STE 104
                                        SARASOTA, FL 34243                       SARASOTA, FL 34243




SUNPOWER CORP                           SUNPOWER INC                             SUNRAIN SYSTEM LTD
ATTN GENERAL COUNSEL                    ATTN SR ELECTRICAL ENGINEER              ATTN MGR
77 RIO ROBLES                           182 MILL ST                              1 XINGHANG RD
SAN JOSE, CA 95134                      ATHENS, OH 45701                         HIGH TECH PK
                                                                                 CHENGDU, SICHUAN CHINA



SUNROCK GROUP HOLDINGS CORP             SUNSEEKER                                SUNSHINE CIRCUITS USA LLC
ATTN CFO                                ATTN DIR                                 ATTN VP OF NORTH AMERICA OPS
200 HORIZON DR, STE 100                 5F, NO 158 GEN-KON RD                    7220 REGENCY CT
RALEIGH, NC 27615                       CHUNG HO CITY                            PLANO, TX 75024
                                        TAIPEI COUNTY TAIWAN



SUNSHINE ENGINEERING SERVICES           SUNSHOW CORPORATION                      SUNSONIC LIGHTING CORP
PRIVATE LTD                             3510 TORRANCE BLVD.                      NO 7 LN 158, NEIDING 20TH ST
ATTN ASSISTANT MANAGING DIR             TORRANCE, CA 90503-4823                  ZHONGLI, TAOYUAN 32060
8 CHIA PING RD, 05-12                                                            TAIWAN
SINGAPORE 619973
SINGAPORE


SUNSONIX UG                             SUNSUMSOLAR INC                          SUNTRUST ROBINSON HUMPHREY INC
ATTN VP, BUSINESS DEVELOPMENT           ATTN GEN MGR                             ATTN CORPORATE SERVICES GROUP
HOCHVOGELWEG 10                         9F, NO 568, JHONGJHENG RD                3333 PEACHTREE RD NE, 11TH FL
LANDSHUT 84034                          SINDIAN CITY                             ATLANTA, GA 30326
GERMANY                                 TAIPEI COUNTY 231 TAIWAN



SUNVIEW OPTOELECTRONICS CORP            SUNX LIMITED                             SUNY POLYTECHNIC INSTITUTE
95F, NO 8, ZIQIANG S RD                 ATTN SR DIR                              FOUNDATION, INC.
ZHIBEI CITY, HSINCHU 30264              2431-1 USHIYAMA CHO                      100 SEYMOUR RD
TAIWAN                                  KASUGAI, AICHI 486-0901                  UTICA, NY 13502
                                        JAPAN



SUNY POLYTECHNIC INSTITUTE, THE         SUPER BRIGHT LEDS INC                    SUPER BRIGHT LEDS INC
257 FULLER RD                           ATTN GREG HENDERSON                      ATTN GREG HENDERSON, PRESIDENT
ALBANY, NY 12203                        100 WASHINGTON ST                        4400 EARTH CITY EXPW
                                        FLORISSANT, MO 63031                     ST LOUIS, MO 63045




SUPER BRIGHT LEDS INC                   SUPER FLOWER COMPUTER INC                SUPER MICRO COMPUTER INC
C/O BANIAK PINE & GANNON                7F, NO. 649, CHUNG CHENG RD              ATTN SR CONTRACTS SPECIALIST
ATTN ANDREW F PRATT                     XIN ZHUANG DISTRICT                      980 ROCK AVE
150 N WACKER DR, STE 1200               NEW TAIPEI CITY 242                      SAN JOSE, CA 95131
CHICAGO, IL 60606                       TAIWAN
SUPERBULBS INC   Case 25-90163     Document 87 FiledTECHNOLOGIES
                                      SUPERCONDUCTOR in TXSB on INC
                                                                 07/03/25 SUPERGRID
                                                                            Page 811   of 944SAS
                                                                                    INSTITUTE
ATTN EVP                               ATTN FACILITY MGR                    ATTN MANAGING DIRECTOR
1755 E BAYSHORE RD, 16                 460 WARD DR                          130 RUE LEON BLUM
REDWOOD CITY, CA 94063                 SANTA BARBARA, CA 93111              VILLEURBANNE 69100
                                                                            FRANCE



SUPERIOR AUTOMATIC FIRE EQPT INC       SUPERIOR AUTOMATION, INC.            SUPERIOR CRANES INC
ATTN PRESIDENT                         47770 WESTINGHOUSE DRIVE             ATTN ADMIN MGR
105 CORPORATE BLVD                     FREMONT, CA 94539-7475               405 W US HWY 74
INDIAN TRAIL, NC 28079                                                      ROCKINGHAM, NC 28379




SUPERIOR ESSEX INTERNATIONAL LP        SUPERIOR GRAPHITE CO                 SUPERIOR GROUP INC
ATTN MARKETING VP                      ATTN ASST VP PRODUCT COMMS           ATTN BRANCH MGR
6120 POWERS FERRY RD, STE 510          10 SOUTH RIVERSIDE PLAZA             3701 ALGONQUIN RD, STE 250
ATLANTA, GA 30339                      CHICAGO, IL 60606                    ROLLING MEADOWS, IL 60008




SUPERIOR INDUSTRIAL COATING INC        SUPERIOR PROCESSING                  SUPERIOR TOOLING INC
ATTN VICE PRESIDENT                    1115 LAS BRISAS PLACE                ATTN PRES
2010 INDIANA ST                        PLACENTIA, CA 92870-6644             7412 CHURCHILL DR
RACINE, WI 53405                                                            WAKE FOREST, NC 27587




SUPERLOGICS IN                         SUPERMOON LIMITED                    SUPERTEX INC
ATTN PRESIDENT                         ATTN SIMON NG                        ATTN VP OF SALES
9 MERCER RD                            11/F YAN HING CENTRE                 1235 BORDEAUX DR
NATICK, MA 01760                       9-13 WONG CHUK YEUNG ST, FO TAN      SUNNYVALE, CA 94089
                                       SHATIN HONG KONG



SUPERVALU INC                          SUPERWORLD ELECTRONICS (S) PTE LTD   [NAME REDACTED]
7075 FLYING CLOUD DR                   ATTN MANAGING DIR                    [ADDRESS REDACTED]
EDEN PRAIRIE, MN 55344                 16 NEW INDUSTRIAL RD
                                       06-01 TO 08 TECHNOCENTRE
                                       SINGAPORE 536204 SINGAPORE



SUPPLY CHAIN TECHNOLOGIES LLC          SUPPLY INC                           SUPPLYFRAME, INC
ATTN PRESIDENT                         ATTN RF ENGINEER                     61 S FAIR OAKS AVE
601 21ST ST, STE 300                   683 BRANNAN ST, APT 310              PASADENA, CA 91105-2270
VERO BEACH, FL 32960                   SAN FRANCISCO, CA 94107




SUPPLYONE ROCKWELL INC                 SUPPLYONE WISCONSIN LLC              SUPPORTCA
ATTN BUSINESS DEV                      ATTN ACCT EXEC                       RE: 200000001838023 (ORIGINAL)
P.O. BOX 1469                          W209 N17450 INDUSTRIAL DR            P.O. BOX 969067
ROCKWELL, NC 28138                     JACKSON, WI 53037                    WEST SACRAMENTO, CA 95798-9067




SUPPORTILLINOIS                        SUPPORTMA                            SUPPORTVA
RE: C02277217 (ORIGINAL)               RE: 0006162036 (ORIGINAL)            RE: 0003506893 (ORIGINAL)
P.O. BOX 5400                          P.O. BOX 55140                       P.O. BOX 28990
CAROL STREAM, IL 60197-5400            BOSTON, MA 02205-5140                RICHMOND, VA 23228-8990




SUPPORTVA                              SUPRA LIGHT SA                       [NAME REDACTED]
RE: 0003731107 (ORIGINAL)                                                   [ADDRESS REDACTED]
COMMONWEALTH OF VIRGINIA
P.O. BOX 570
RICHMOND, VA 23218-0570
SURAGUS GMBH      Case 25-90163    Document  87 Filed
                                      SURE STATEGY      in TXSB on 07/03/25 SUREFIRE
                                                   SDN BHD                    Page 812
                                                                                     LLC of 944
ATTN MANAGING DIR                      THE CEO, 31-6-7, LEBUH NIPAH 5       ATTN PRESIDENT
MARIA-REICHE-STR 1                     BAYAN LEPAS                          18300 MT BALDY CIR
DRESDEN 01109                          PULAU PINANG 11900                   FOUNTAIN VALLEY, CA 92708
GERMANY                                MALAYSIA



[NAME REDACTED]                        SURFACE MOUNT TECHNOLOGY CORP        SURFACE PROCESS GROUP LLC
[ADDRESS REDACTED]                     ATTN COO                             ATTN PRESIDENT
                                       5660 TECHNOLOGY CIR                  1800A SUMMIT AVE
                                       APPLETON, WI 54914                   RICHMOND, VA 23230




SURFACE TECHNOLOGY INTERNATIONAL       SURFACE TECHNOLOGY SYSTEMS           SURFX TECHNOLOGIES LLC
LTD                                    ATTN EXEC DIRECTOR                   ATTN VP
ATTN DAVID RYAN                        IMPERIAL PARK                        3617 HAYDEN AVE
1ST AVE, POYNTON                       NEWPORT NP10 8UJ                     CULVER CITY, CA 90232
CHESHIRE SK12 1NE                      UNITED KINGDOM
UNITED KINGDOM


SURGE COMPONENTS INC                   [NAME REDACTED]                      SURPASS CHEMICAL CO INC
ATTN NATIONAL SALES MGR                [ADDRESS REDACTED]                   1254 BROADWAY
95 E JEFRYN BLVD                                                            ALBANY, NY 12204-2623
DEER PARK, NY 11729




SURPLUS PROCESS EQUIPMENT CORP         SURPLUS SOLUTIONS LLC                SURPLUSEQ.COM INC
ATTN PRESIDENT                         ATTN SALES EXEC                      ATTN OPS
850 WALSH AVE                          2010 DIAMOND HILL RD                 329 W MELINDA LN
SANTA CLARA, CA 95050                  WOONSOCKET, RI 02895                 PHOENIX, AZ 85027




SURPLUSGLOBAL INC                      SURREY SATELLITE TECHNOLOGY LTD      SUR-SEAL GASKET & PACKING INC
ATTN COO                               ATTN CONTRACTS MANAGER               6156 WESSELMAN ROAD
78-26, GYEONGGI-DAERO                  TYCHO HOUSE, 20 STEPHENSON RD        CINCINNATI, OH 45248-1204
OSAN, GYEONGGI-DO 447-310              SURREY RESEARCH PARK, GUILDFORD
SOUTH KOREA                            SURREY GU2 7YE UNITED KINGDOM



[NAME REDACTED]                        SURVIVAL SYSTEMS                     SUSAN B RUUD STOVER LIVING TRUST
[ADDRESS REDACTED]                     ATTN VP
                                       5149 PORTOLA RD
                                       VENTURA, CA 93003




SUSQUEHANNA ADVISORS GROUP INC         SUSS MICRO TEC INC                   SUSS MICROTEC LITHOGRAPHY GMBH
401 CITY AVENUE                        ATTN: GARY CHOQUETTE                 FERDINAND-VON-STEINBEIS-RING 10
BALA CYNWYD, PA 19004                  2520 PALISADES DRIVE                 STERNENFELS 75447
                                       CORONA, CA 92882-0632                GERMANY




SUSSEX WIRE INC                        SUSTAINABLE LIGHTING & CONTROLS      SUSTAINABLE LIGHTING
ATTN PRESIDENT                         GULF GOAST LLC                       ATTN PRESIDENT
4 DANFORTH DR                          ATTN OWNER                           10690 SHADOW WOOD DR, 110
EASTON, PA 18045                       10690 SHADOW WOOD DR, STE 110        HOUSTON, TX 77043
                                       HOUSTON, TX 77043



[NAME REDACTED]                        SUTTERFIELD ELECTRIC INC             [NAME REDACTED]
[ADDRESS REDACTED]                     339 N OLD ST LOUIS RD                [ADDRESS REDACTED]
                                       WOOD RIVER, IL 62095
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  813 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




SUZHOU BASELEC ELECTRONICS TECH CO        SUZHOU DONGSHAN PRECISION MFG CO        SUZHOU EOULU SYSTEM INTEGRATION CO
LTD                                       LTD                                     LTD
ATTN GM                                   ATTN GEN MGR                            ROOM 202, BUILDING A7
NO 1106, DONGHUAN BLDG                    8 SHIHESHAN RD, DONGSHAN IND PARK       NO 218 XINGHU RD
328 DONGHUAN RD                           WUZHONG DISTRICT                        SUZHOU INDUSTRIAL PARK
SUZHOU CITY, JIANGSU CHINA                SUZHOU, JIANGSU 215107 CHINA            SUZHOU CHINA


SUZHOU HE CHUAN CHEMICAL TECH SVC         SUZHOU II-VI LASERTECH CO LTD           SUZHOU INOVANCE AUTOMOTIVE CO LTD
CO LTD                                    BUILDING 7B ZONE B COMPREHENSIVE BO     NO 52, TIANEDANG RD
NO 99, JINJIHU AVE, IND PARK              SUZHOU CITY 215121                      YUEXI TOWN
INDUSTRIAL PARK NW-01-3F                  CHINA                                   WUZHONG DIST, SUZHOU 215104
NANOPOLIS SUZHOU                                                                  CHINA
SUZHOU CITY 215123 CHINA


SUZHOU SAIL SCIENCE & TECHNOLOGY CO       SUZHOU SLD ELECTRONIC CO LTD            SUZHOU SLD ELECTRONICS CO LTD
LTD                                       RM 106, NO 1 BLDG, 3E IND PARK, NO 18   ATTN DEPUTY GENERAL MGR
BLDG 2, PHASE II, NO 1 KEZHI RD           CHUN YAO RD, DEVELOPMENT ZONE           RM 106, NO 1 BLDG, 3E INDUSTRIAL PARK
SCIENCE & TECHNOLOGY IND PARK             SU-XIANG COOPERATION ECONOMIC           18 CHUNYAO RD, XIANCHENG ECON DEV
SUZHOU INDUSTRIAL PARK                    SUZHOU, JIANGSU 215131 CHINA            ZONE
SUZHOU, JIANGSU 215121 CHINA                                                      SUZHOU CHINA


SUZHOU SOLAR TECHNOLOGY CO LTD            SUZHOU SUPERLIGHT MICRO ELECTRO CO      SUZHOU WINTEK EQUIPMENT TECHNOLOGY
NO 327-305, SHIZI ST                      LTD                                     NO.2 TAISHAN ROAD
SUZHOU                                    ATTN GEN MGR                            SUZHOU 215000
CHINA                                     BUILDING 8, NO 225                      CHINA
                                          HUAJIN RD, TONGAN TOWN
                                          SUZHOU, JIANGSU 215153 CHINA


SUZHOU XINDELI TECHNOLOGY CO LTD          SUZOU LIBITE KONGZHI KEJI CO LTD        SV PROBE, INC.
ATTN GENERAL MGR                                                                  535 EAST BROKAW ROAD
NO 5 HOPE S RD, BEIQIAO ZHUANGJI                                                  SAN JOSE, CA 95112-1004
HOPE INDUSTRIAL PARK, XIANGCHENG DIST
SUZHOU CHINA



SVAGOS TECHNIK                            SVAVELSOSNICKEN HANDELSBOLAG            [NAME REDACTED]
3050 CORNADO DR                           ATTN IRENE TEGNER                       [ADDRESS REDACTED]
SANTA CLARA, CA 95054-3203                TALLUDDENS VAG 2
                                          AKERSBEGA 184 94
                                          SWEDEN
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  814 of 944
                                                                                 REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                         SVETLANA LAMON DERIVATIVELY         SVETPROM
[ADDRESS REDACTED]                      ON BEHALF OF WOLFSPEED, INC.        81B, LENINA ST, VETRINO
                                        DHAMIAN A. BLUE BLUE LLP            POLOTSKIY DISTRICT
                                        205 FAYETTEVILLE STREET SUITE 300   VITEBSKIY REGION 211434
                                        RALEIGH, NC 27601                   REPUBLIC OF BELARUS



SVG OPTRONICS CO LTD                    SVP JAPAN CO LTD                    SVSEMI INC
ATTN PRES                               NIHONBASHI KAKIGARA CHO 1-38-9      ATTN PRESIDENT
478 ZHONGNAN ST                         TOKYO , CHUO-KU 412 94              1058 S WINCHESTER BLVD, STE 3
SUZHOU INDUSTRIAL PARK                  JAPAN                               SAN JOSE, CA 95128
SUZHOU 215026 CHINA



SVTRONICS INC                           SVYAZINVEST                         SW BURORAUMKULTUR GMBH
ATTN VP SALES                           ATTN DEPUTY GEN DIRECTOR            ROSENHELMER STRASSE 145C
3465 TECHNOLOGY DR                      114 NEKRASOVA STR                   MUNCHEN 81671
PLANO, TX 75074                         MINSK 220068                        GERMANY
                                        BELARUS



SWAGELOK NORTH CAROLINA TENNESSEE       [NAME REDACTED]                     [NAME REDACTED]
221 BELTWAY BLVD                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
MATTHEWS, NC 28104-8807




[NAME REDACTED]                         [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




SWALLOW NEST LIMITED                    [NAME REDACTED]                     [NAME REDACTED]
C/O WORLD LINK GROUP                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]
TST P.O. BOX 91546
KOWLOON
HONG KONG



SWANSON SHEET METAL INC                 [NAME REDACTED]                     SWANSTROM TOOLS USA INC
ATTN PRESIDENT                          [ADDRESS REDACTED]                  ATTN PRESIDENT
320 BROOME ST                                                               3300 JAMES DAY AVE
MONROE, NC 28110                                                            SUPERIOR, WI 54880




SWANTON VIDEO MEDIA INC                 SWARCO CSR                          SWARCO FUTURIT
ATTN PRESIDENT                          BLATTERWALDWEG 8                    VERKEHRSSIGNALSYSTEME GESMBH
913 W LIBERTY DR                        WATTENS A-6112                      ATTN JOSEF SCHAFFER
WHEATON, IL 60187                       AUSTRIA                             MANFRED SWAROVSKI STR 1
                                                                            NEUTAL 7343
                                                                            AUSTRIA


SWAREFLEX GMBH                          [NAME REDACTED]                     SWE, INC.
ATTN DIRECTOR                           [ADDRESS REDACTED]                  SOUTHWEST ENGINEERS
JOSEF HEISS STRASSE 1                                                       39478 HWY 190 E
VOMP A-6134                                                                 SLIDELL, LA 70461-2499
AUSTRIA
[NAME REDACTED] Case 25-90163      Document
                                      SWECO 87 Filed in TXSB on 07/03/25 SWEDISH
                                                                          Page DEFENSE
                                                                                 815 of 944
                                                                                        RESEARCH AGENCY
[ADDRESS REDACTED]                     8029 US HWY 25                     ATTN SCIENTIST
                                       FLORENCE, KY 41042-2941            OLAUS MAGNUS VAG 42
                                                                          LINKOPING
                                                                          SWEDEN



[NAME REDACTED]                        SWEET PRODUCTS LLC                 [NAME REDACTED]
[ADDRESS REDACTED]                     DBA BRADEN PACKAGING SUPP          [ADDRESS REDACTED]
                                       7856 STATE ROUTE 5
                                       CLINTON, NY 13323-1403




[NAME REDACTED]                        SWEPCO                             [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN CRAIG CARLSON                 [ADDRESS REDACTED]
                                       1 RIVERSIDE PLAZA
                                       COLOMBUS, OH 43215




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    SWISS FEDERAL INSTITUTE OF
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 TECHNOLOGY ZURICH
                                                                          ATTN HEAD OF PWR ELECT SYSTEMS LAB
                                                                          ETL H22, PHYSIKSTRASSE 3
                                                                          ZURICH 8092
                                                                          SWITZERLAND


SWISS INTERNATIONAL AIRLINES LTD       SWISS RE CORPORATE SOLUTIONS       SWISS SCREW PRODUCTS INC
C/O UNITED AIRLINES                    AMERICA INS CORP                   ATTN PRESIDENT
ATTN VP SALES, THE AMERICAS            1200 MAIN ST, STE 800              339 MATTHEW ST
233 S WACKER DR, 16TH FL-HQSVS         KANSAS CITY, MO 64105              SANTA CLARA, CA 95050
CHICAGO, IL 60606



SWISS TOOL CRAFT LLC                   SWITCH BULB COMPANY INC            SWITCH ENGINEERING OY (LTD), THE
ATTN OWNER                             DBA SWITCH LIGHTING                ATTN DIVISION PRESIDENT
109 TAYLOR RD                          ATTN CTO                           YRITTAJANKATU 11
LOUISBURG, NC 27549                    25 CHARCOT AVE                     VAASA FI-65380
                                       SAN JOSE, CA 95131                 FINLAND



SWITCH LIGHT BULB COMPANY INC          SWITCHING POWER INC                [NAME REDACTED]
DBA SWITCH LIGHTING                    ATTN MATERIALS MGR                 [ADDRESS REDACTED]
ATTN CTO                               3601 VETERANS HWY
225 CHARCOT AVE                        RONKONKOMA, NY 11779
SAN JOSE, CA 95131



[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]
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                                         [NAME REDACTED]                       Page  816 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           SYAGRUS SYSTEMS LLC                    SYCAMORE CREATIVE LLC
[ADDRESS REDACTED]                        ATTN GEN MGR                           ATTN OWNER
                                          4370 W ROUND LAKE RD                   219 HARDING AVE
                                          ARDEN HILLS, MN 55112                  HAVERTOWN, PA 19083




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




SYGENSYS                                  [NAME REDACTED]                        SYKO GESELLSCHAFT FUR
ATTN CHIEF EXECUTIVE OFFICER              [ADDRESS REDACTED]                     LEISTUNGSELEKTRONIK GMBH
88 SPEEN MOOR                                                                    ATTN DIAL ENGINEER
SPEEN NEWBURY RG14 1RU                                                           JAHNSTRASSE 2
UNITED KINGDOM                                                                   MAINHAUSEN D-63533
                                                                                 GERMANY


SYLVANIA LIGHTING AUSTRALIA PTY LTD       SYMANTEC CORP                          SYMBOL TECHNOLOGIES LLC
ATTN NATL SALES & MKTG                    ATTN SR MGR, CHANNEL SALES             ATTN MGR, CUSTOMER SERVICE
SYLVANIA WAY, LISAROW                     20330 STEVENS CREEK BLVD               3 OVERLOOK POINT
GOSFORD, NSW 2250                         CUPERTINO, CA 95014                    LINCOLNSHIRE, IL 60069
AUSTRALIA



SYMETRA LIFE INSURANCE COMPANY            SYMMETRY ELECTRONICS CORP              SYMPATEC INC
ATTN VP                                   ATTN SE FIELD SALES ENG                ATTN COO
777 108TH AVE NE, STE 1200                5400 W ROSECRANS AVE                   9 PRINCESS RD, STE A
BELLEVUE, WA 98004                        HAWTHORNE, CA 90250                    LAWRENCEVILLE, NJ 08648




SYMPHONY ENGINEERING SDN BHD              SYMYX TECHNOLOGIES INC                 SYNAPSE WIRELESS INC
BLOCK B-G-28,KOMPLEKS SURIA KINRARA       3100 CENTRAL EXPWY                     ATTN VP&GM LIGHTING
PERSIARAN KINRARA SEK 3                   SANTA CLARA, CA 95051                  6723 ODYSSEY DR NW
PUCHONG 729930                                                                   HUNTSVILLE, AL 35806
MALAYSIA



SYNAPTEC ENTERPRISES INC                  SYNCFUSION INC                         SYNCOM ELECTRONICS CORP
ATTN CTO                                  2501 AERIAL CENTER PARKWAY             ATTN PRESIDENT/ENGINEER
18124 WEDGE PKWY, STE 539                 MORRISVILLE, NC 27560-7655             309 CAMPBELL AVE SW
RENO, NV 89511                                                                   ROANOKE, VA 24016




SYNCORE TECHNOLOGIES                      SYNDIA CORP                            SYNDIA CORP
ATTN CEO                                  ATTN ROGER P HICKEY, PRESIDENT         C/O WINSTON & STRAWN
TEKNIKRINGEN 8, HUS 2                     140 S DEARBORN ST, STE 1500            ATTN PETER C MCCABE III
LINKOPING 583 30                          CHICAGO, IL 60604                      35 W WACKER DR
SWEDEN                                                                           CHICAGO, IL 60601



SYNERCOMM INC                             SYNERGISTIC TECHNOLOGY SOLUTIONS INC   SYNERGY ELECTRICAL SALES INC
ATTN PRESIDENT                            ATTN VP SALES                          ATTN VICE PRESIDENT
3265 GATEWAY RD, STE 650                  935 LAKEVIEW PKWY, STE 110             95 CANAL RD
BROOKFIELD, WI 53045                      VERNON HILLS, IL 60061                 FAIRLESS HILLS, PA 19030
                  Case
SYNERGY FRANCHISING      25-90163
                      CORP               Document 87MICROWAVE
                                            SYNERGY    Filed inCORPORATION
                                                                TXSB on 07/03/25 SYNERGY
                                                                                   Page 817  of 944
                                                                                         SYSTEMS CORP
DBA JANI-KING OF RALEIGH/DURHAM              ATTN CHAIRMAN                         ATTN PRESIDENT
801 JONES FRANKLIN RD, STE 230               201 MCLEAN BLVD                       4711 SPICEWOOD SPRINGS RD, 112
RALEIGH, NC 27606                            PATERSON, NJ 07504                    AUSTIN, TX 78759




SYNERGY TECHNICAL                            SYNGENTA CORPORATION                  SYNOPSYS INC
2201 W BROAD ST, STE 100                     SYNGENTA CROP PROTECTION              ATTN GEN COUNSEL
RICHMOND, VA 23220                           3411 SILVERSIDE RD, SUITE 100         690 E MIDDLEFIELD RD
                                             WILMINGTON, DE 19810-4809             MOUNTAIN VIEW, CA 94043-4033




SYNOPSYS, INC.                               SYNOVA SA                             SYNPOWER INDUSTRIAL LTD
3280 E FOOTHILL BLVD STE 300                 ATTN PRES & CEO                       ATTN SUPPLY CHAIN MGR
PASADENA, CA 91107-3188                      CHEMIN DE LA DENT DOCHE               13/F, GOLDEN DRAGON COMMERCIAL BLDG
                                             ECUBLENS CH-1024                      522 NATHAN RD, MONGKOK
                                             SWITZERLAND                           KOWLOON HONG KONG



SYNTEC TECHNOLOGIES INC                      SYNTELLI SOLUTIONS INC                SYNTELLI
ATTN VP                                      13925 BALLANTYNE CORPORATE PLACE, S   13925 BALLANTYNE CORPORATE PLACE
7100 JUNCTION RD                             CHARLOTTE, NC 28277-1918              S CHARLOTTE, NC 28277-1918
PAVILLION, NY 14525




SYNTERIALS                                   SYNTERRA CORPORATION                  SYRACUSE PLASTICS OF NORTH CAROLINA
318 VICTORY DR                               148 RIVER STREET SUITE 220            INC
HERNDON, VA 20170                            GREENVILLE, SC 29601-2567             ATTN SALES MGR
                                                                                   P.O. BOX 1067
                                                                                   100 FALCONE PKWY
                                                                                   CARY, NC 27512


SYRACUSE RESEARCH CORP                       SYR-TECH INC                          SYS TECHNOLOGIES INC
ATTN CONTRACTS OFFICER                       325 WINDY POINT DR                    ATTN SR VICE PRESIDENT
6225 RUNNING RIDGE RD                        GLENDALE HEIGHTS, IL 60139            5050 MURPHY CANYON RD, STE 200
NORTH SYRACUSE, NY 13212                                                           SAN DIEGO, CA 92123




SYSCO SPA                                    SYSELEC INC                           SYSLANE CO LTD
ATTN TECH MGR                                ATTN CEO                              912 SKN TECHNOPARK MEGA CENTER
VIA ARINGO 5                                 23110 ST RD 54, 134                   124 SAGIMAK-GOL-RO
CASTELLIRI 03030                             LUTZ, FL 33549                        JUNGWON-GU
ITALY                                                                              SEONGNAM, GYEONGGI-DO SOUTH KOREA



SYSTECON LLC.                                SYSTEMATEC GMBH                       SYSTEMATIC AUTOMATION INC
6121 SCHUMACHER PARK DRIVE                   ATTN CHIEF EXECUTIVE OFFICER          ATTN SALES MGR
WEST CHESTER, OH 45069-3818                  FAHRENHEITSTR 1                       20 EXCECUTIVE DR
                                             LANDSBERG 86899                       FARMINGTON, CT 06032
                                             GERMANY



SYSTEMS & COMPONENTS                         SYSTEMS DISTRIBUTORS INC              SYSTEMS ORCHESTRATION LLC
ATTN KOSHY ABRAHAM, PRESIDENT & CEO          2881 AMWILER ROAD                     288 CAMBRIDGE RD
54, 60 FEET RD, 6TH BLOCK, KORAMANGALA       ATLANTA, GA 30360-2805                WYOMING, DE 19934
BANGALORE 560095
INDIA



SYSTEMS WEST INC                             SYSTINE INC                           SYTRON PTE LTD
DBA ICS ELECTRONICS                          ATTN PRESIDENT                        25 MANDAI ESTATE
ATTN MANAGER                                 2265 E FOOTHILL BLVD                  SINGAPORE 729930
7034 COMMERCE CIR                            PASADENA, CA 91107                    SINGAPORE
PLEASANTON, CA 94588
                  Case 25-90163
SZ KONKA VIDEO & COMMUNICATION-     Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  818 of 944
                                                                                 REDACTED]
SYSTEM ENGINEERING CO LTD               [ADDRESS REDACTED]                    [ADDRESS REDACTED]
ATTN MANAGER R&D
GYA QUAO CHENG INDL PARK, NANSHAN
DIST
SHENZHEN 518053 CHINA


[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




T & D SOLUTIONS LLC                     T & M RESEARCH PRODUCTS INC           T C STUDIOS LLC
ATTN VP EASTERN REGION                  139 RHODE ISLAND STREET               ATTN PHOTOGRAPHER
2173 ENERGY DR                          ALBUQUERQUE FAIR GROUNDS, NM 87108-   1260 CORPORATE BLVD
KINSTON, NC 28502                       2238                                  LANCASTER, PA 17601




T ROWE PRICE GROUP INC                  T T&E IRON & METAL INC                T/J FABRICATORS INC
1307 POINT ST                           ATTN PRESIDENT                        ATTN SALES MGR
BALTIMORE, MD 21231                     1529 W GARNER RD                      2150 EXECUTIVE DR
                                        GARNER, NC 27529                      ADDISON, IL 60101




T/R COMMUNICATIONS SPECIALISTS          T3 MARK INC                           TA INSTRUMENTS - WATERS LLC
28 TURNER CT                            ATTN PRESIDENT                        159 LUKENS DRIVE
METUCHEN, NJ 08840                      5310 DERRY AVE, STE U                 NEW CASTLE, DE 19720-2765
                                        AGOURA HILLS, CA 91301




TA YANG GROUP HOLDINGS LTD              TABLEAU SOFTWARE INC                  [NAME REDACTED]
ATTN PRINCIPAL                          ATTN SR CORPORATE COUNSEL             [ADDRESS REDACTED]
FLAT 28, 23/F, METRO CENTRE II          837 N 34TH ST, STE 400
21 LAM HING ST, KOWLOON BAY             SEATTLE, WA 98103
KOWLOON HONG KONG



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




TACBEAM LLC                             TACHIBANA ENGINEERING HK LTD          TACKPOINT SOLUTIONS
ATTN OWNER                              ATTN SALES MGR                        ATTN OWNER & PRINCIPAL CONSULTANT
117 WORSHAM DR                          STE 2802, EXCHANGE TOWER              402 PRESTON VILLAGE WAY
CHAPEL HILL, NC 27516                   33 WANG CHIU RD                       CARY, NC 27519
                                        KOWLOON BAY HONG KONG



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                         TADIRAN SPECTRALINK                   TAE ENGINEERING
[ADDRESS REDACTED]                      ATTN MICROWAVE ENGINEER               4917 PROFESSIONAL COURT
                                        29 HAMERKAVA ST                       RALEIGH, NC 27609-4970
                                        HOLON
                                        ISRAEL
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 TAFT
                                       [NAME REDACTED]                       Page  819 of& 944
                                                                                STETTINIUS HOLLISTER LLP
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   ATTN JOSEPH A CLEVES JR
                                                                             425 WALNUT ST, STE 1800
                                                                             CINCINNATI, OH 45202-3957




[NAME REDACTED]                         [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




TAGARNO USA LLC                         [NAME REDACTED]                      TAGORE TECHNOLOGY INC
ATTN PRESIDENT                          [ADDRESS REDACTED]                   ATTN CHIEF EXECUTIVE OFFICER
111 RUNNYMEADE                                                               5 E COLLEGE DR, STE 200
GREENWOOD, SC 29649                                                          ARLINGTON HEIGHTS, IL 60004




TAGSENSE INC                            TAI & ASSOCIATES PLLC                TAI HONG CIRCUIT IND CO LTD
ATTN PRESIDENT                          ATTN PRESIDENT                       ATTN SALES MGR
1035 CAMBRIDGE ST, STE 8                6301 B ANGUS DR                      NO 1, CHANG-CHUN LN, MIN-SHENG N RD
CAMBRIDGE, MA 02141                     RALEIGH, NC 27617                    SEC 1, KWEI-SHAN VILLAGE
                                                                             TAOYUAN 333 TAIWAN



TAI MING GREEN POWER CO LTD             TAI PING GENERAL INSURANCE CO.       TAI SERVICES INC
ATTN STONE WANG                         ,LTD SHANG HAI BRANCH                1000 COBB PLACE BLVD BLDG 300
14F-2, NO 8, ZIHCIANG S RD              NO. 166 LUJIAZUI EAST ROAD, PUDONG   KENNESAW, GA 30144-3685
JHUBEI CITY, HSINCHU 302                SHANGHAI 201500
TAIWAN                                  CHINA



TAI SUN ELECTRIC LTD                    TA-I TECHNOLOGY CO LTD               TAI ZHOU MINGXIN MICROELECTRONICS CO
ATTN MANAGING DIR                       ATTN VP GLOBAL MKTNG                 LTD
UNIT D, 2/F KING WIN FACTORY BLDG       NO. 26, LN 470, SEC 2, NAN SHAN RD   ATTN QIN SI LIANG
65-67, KING YIP ST, KWUN TONG           LU-CHU HSISANG, TAOYUAN              76 E FENGHUANG RD
KOWLOON HONG KONG                       TAIWAN                               TAIZHOU
                                                                             JIANGSU 225300 CHINA


[NAME REDACTED]                         TAIHE CONSULTING CO LTD              TAILORED OPTICAL SYSTEMS INC
[ADDRESS REDACTED]                      16/F, TOWER A, FULL LINK PLAZA       ATTN PRES
                                        CHAOYANG DISTRICT                    8315 KENYEN AVE
                                        BEIJING 100020                       LOS ANGELES, CA 90045
                                        CHINA



TAISOL ELECTRONICS                      TAIT ELECTRONICS LTD                 TAITECH INC
ATTN VP BUSINESS DEV                    ATTN CHIEF TECHNOLOGY OFFICER        ATTN COO
1700 S AMPHLETT BLVD, STE 110           175 ROYDVALE AVE                     1431 OAK CT, STE 301
SAN MATEO, CA 94402                     P.O. BOX 1645                        BEAVERCREEK, OH 45430-1065
                                        CHRISTCHURCH 8053 NEW ZEALAND



TAITRON COMPONENTS INC                  TAIWAN BI-KE CO LTD                  TAIWAN CREE ELECTRONICS CO LTD
ATTN CFO                                                                     ATTN DIRECTOR
28040 HARRISON PKWY                                                          12F, NO 657 PANNAN RD
VALENCIA, CA 91355                                                           CHUNGHO, TAIPEI
                                                                             TAIWAN



TAIWAN MICROLOOPS CORP                  TAIWAN MIRAI INDUSTRY CO LTD         TAIWAN OASIS TECHNOLOGY CO LTD
ATTN GEN MGR                            ATTN TIM WU                          ATTN GENERAL MGR
1F, NO 609, WAN SHOU RD                 10F NO 15 LANE 174                   11 FL, NO 306, SEC 4, SINYI RD
SEC 1, KWEISHAN                         SEC 3, CHEN-KONG RD NEIHU DIST       DA-AN DISTRICT
TAOYUAN HSIEN 33350 TAIWAN              TAIPEI 114 TAIWAN                    TAIPEI 10684 TAIWAN
TAIWAN SEMICONDUCTORCaseCO25-90163
                             LTD      Document  87 Filed in TXSB
                                         TAIWAN SEMICONDUCTOR      on 07/03/25 TAIWAN
                                                              MANUFACTURING      PageTANG
                                                                                      820HUA
                                                                                          of CO
                                                                                             944LTD
ATTN SR SALES MGR                         CO LTD                               ATTN JERMAINE TANG
11F, NO 205 SEC 3, BEISHIN ROAD           ATTN GEN COUNSEL                     NO 233-19, ZHONGZHENG RD
SHINDIAN CITY                             NO 8 LI HSIN RD 6                    CAOTUN TOWNSHIP
TAIPEI 231 TAIWAN                         HSIN CHU SCIENCE PARK                NANTOU COUNTRY 542 TAIWAN
                                          HSIN TAIWAN


TAIYO AMERICA INC                         TAIYO AMERICA INC                    TAIYO INK MFG CO LTD
ATTN DAVID VAUGHN                         ATTN MARKETING MANAGER               ATTN GENERAL MGR R&D DIV
105 LAURELWOOD LN                         2675 ANTLER DR                       900 HIRASAWA, RANZAN-MACHI
CARY, NC 27518-9119                       CARSON CITY, NV 89701                HIKI-GUN
                                                                               SAITAMA 355-0215 JAPAN



TAIYO KOGYO CO LTD                        TAIYO YUDEN USA INC                  TAIZHOU MINGXIN MICROELECTRONICS LTD
ATTN CHIEF MANAGER                        ATTN CFO                             ATTN GM
TOC BLDG 11F                              497 HOOKSETT RD, PMB 383             76 FENGHUANG EAST RD
7-22-17, NISHIGOTANDA, SHINAGAWA-KU       MANCHESTER, NH 03104                 HAILING INDUSTRY ZONE
TOKYO 141-0031 JAPAN                                                           TAIZHOU 225300 CHINA



[NAME REDACTED]                           [NAME REDACTED]                      TAKATORI CORPORATION
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   ATTN DIRECTOR
                                                                               313-1, SHINDO-CHO
                                                                               KASHIHARA CITY, NARA
                                                                               JAPAN



TAKE MICROELECTRONICS TECHNOLOGIES        TALARI NETWORKS INC                  [NAME REDACTED]
INC                                       ATTN CHIEF EXECUTIVE OFFICER         [ADDRESS REDACTED]
ATTN JACK CHU                             550 S WINCHESTER BLVD, STE 500
4F, NO. 25, LN 18, JIN-HUA ST             SAN JOSE, CA 95128
HSIN-CHU
TAIWAN


[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




TALBOT UNDERWRITING LTD                   [NAME REDACTED]                      [NAME REDACTED]
ATTN UNDERWRITER                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]
60 THREADNEEDLE ST
LONDON EC2R 8HP
UNITED KINGDOM



[NAME REDACTED]                           TALEMA GROUP LLC                     TALEND INC
[ADDRESS REDACTED]                        ATTN VP OPERATIONS                   800 BRIDGE PARKWAY
                                          P.O. BOX 935                         REDWOOD CITY, CA 94065-1156
                                          ROLLA, MO 65401




TALENT FOCUS SEMICONDUCTOR                TALENT SOLUTIONS INC                 TALENTWISE SOLUTIONS LLC
MATERIALS-                                1407 THRUSH LANE                     ATTN COO
(DONGGUAN) LTD                            WEST CHESTER, PA 19382-7629          19800 N CREEK PKWY, STE 200
TIANMEI INDUSTRIAL N DIST NO 1                                                 BOTHELL, WA 98011
HUANGJIANG TOWN, DONGGUAN CITY
GUANGDONG PROVINCE CHINA


TALLAHASSEE COMMUNICATIONS INC            [NAME REDACTED]                      [NAME REDACTED]
ATTN CONTRACT ADMIN                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
1721 WEST PAUL DR
TALLAHASSEE, FL 32310
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  821 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     TAMAR TECHNOLOGY                   TAMARACK CONCEPTS LLC
[ADDRESS REDACTED]                  ATTN VP SALES & MARKETING          ATTN PRES
                                    996 LAWRENCE DR, STE 202           2150-A TAMARACK AVE
                                    NEWBURY PARK, CA 91320             BOULDER, CO 80304




TAMARACK INC                        TAMARACK INC                       [NAME REDACTED]
ATTN KEITH J VADAS                  ATTN PRESIDENT                     [ADDRESS REDACTED]
7202 MICHIGAN ISLE RD               5958 SIERRA RIDGE RD SE
LAKE WORTH, FL 33467                CALEDONIA, MI 49316




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     TAMSHELL CORP                      TAMURA CORP
[ADDRESS REDACTED]                  ATTN SALES MGR                     ATTN GENERAL MGR, UNIT DIVISION
                                    237 GILDER CIR                     5-5-30, CHIYODA, SAKADO-SHI
                                    CORONA, CA 92880                   SAKADO, SAITAMA 350-0214
                                                                       JAPAN



[NAME REDACTED]                     [NAME REDACTED]                    TANAKA KIKINZOKU INTL (AMERICA) INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 475 N MARTINGALE RD, STE 150
                                                                       SCHAUMBURG, IL 60173




TANAKA SYSTEMS INC                  TANDEX                             [NAME REDACTED]
ATTN VP                             ATTN PRINCIPAL ENGINEER            [ADDRESS REDACTED]
2577 LEGHORN ST                     15849 BUSINESS CENTER DR
MOUNTAIN VIEW, CA 94043             IRWINDALE, CA 91706




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




TANGENT LEASING LLC                 TANGIDYNE CORP                     [NAME REDACTED]
10175 QUEENS WAY, UNIT 1            ATTN PRES                          [ADDRESS REDACTED]
CHAGRIN FALLS, OH 44023             19 SOUTH ST
                                    MARCELLUS, NY 13108




[NAME REDACTED]                     [NAME REDACTED]                    TANNER INDUSTRIES INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 735 DAVISVILLE RD, 3RD FL
                                                                       SOUTHAMPTON, PA 18966
                 Case 25-90163
TANNER RESEARCH INC                Document  87 Filed in TXSB on 07/03/25 TANTALINE
                                      [NAME REDACTED]                       Page 822INC of 944
ATTN DIR                               [ADDRESS REDACTED]                   ATTN CHIEF EXECUTIVE OFFICER
825 S MYRTLE AVE                                                            303 WYMAN ST, STE 300
MONROVIA, CA 91016                                                          WALTHAM, MA 02451




[NAME REDACTED]                        TAOS INC                             TAPCO MAINTENANCE & SERVICES INC
[ADDRESS REDACTED]                     ATTN VP MARKETING & SALES            ATTN SALES
                                       800 N JUPITER RD, STE 205            314 MULDEE ST
                                       PLANO, TX 75074                      DURHAM, NC 27703




TAPINFLUENCE INC                       [NAME REDACTED]                      [NAME REDACTED]
2100 CENTRAL AVE, 200                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]
BOULDER, CO 80301




[NAME REDACTED]                        [NAME REDACTED]                      TARGET CANADA CO
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   ATTN PARTNERS ONLINE HELP DESK
                                                                            7000 TARGET PKWY N
                                                                            BROOKLYN PARK, MN 55445




TARGET CORP                            TARGET TECH INC                      TARGETCAST LLC
ATTN GENERAL COUNSEL, LAW DEPT         DBA KANG YANG INTL                   ATTN CHAIRMAN & CEO
1000 NICOLIET MALL                     ATTN GENERAL MGR                     909 3RD AVE, 31ST FL
TPS-2670                               1600 JARVIS AVE                      NEW YORK, NY 10022
MINNEAPOLIS, MN 55403                  ELK GROVE VILLAGE, IL 60007



TARGETSOLUTIONS LEARNING LLC           TARGETTI SANKEY SPA                  [NAME REDACTED]
DBA VECTOR SOLUTIONS                   ATTN LEAD ELECTRONICS SPECIALIST     [ADDRESS REDACTED]
ATTN REGIONAL SALES MGR                VIA PRATESE, 164
4890 W KENNEDY BLVD, STE 300           FLORENCE 50145
TAMPA, FL 33609                        ITALY



TARHEEL FORMING CO INC                 [NAME REDACTED]                      [NAME REDACTED]
ATTN VICE PRESIDENT                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]
5412 US HWY 70W
DURHAM, NC 27705




[NAME REDACTED]                        TASC INC                             TASK MANAGERS INC
[ADDRESS REDACTED]                     ATTN CONTRACTS UNIT MGR              2307 LAURELBROOK ST
                                       13605 DULLES TECHNOLOGY DR           RALEIGH, NC 27604-1429
                                       HERNDON, VA 20171




TASK MANAGERS, INC.                    TAT SHING RUBBER MFG CO LTD          TATA AIG GENERAL INSURANCE CO LTD
8400 CAMELLIA DR                       ATTN DIRECTOR                        201 RAHUL APARTMENT NANDA PATKAR RD
RALEIGH, NC 27613                      RM 307-308, SUN LING PLAZA           MUMBAI, MAHARASHTRA 400057
                                       30 ON KUI ST, ON LUK TSUEN           INDIA
                                       FANLING, NT HONG KONG



TATA MOTORS EUROPEAN TECH CENTRE       [NAME REDACTED]                      [NAME REDACTED]
PLC                                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]
ATTN SUKHDEEP MATHARU, CFO & COO
NAIC BLDG, UNIVERSITY OF WARWICK
COVENTRY CV4 7AL
UNITED KINGDOM
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  823 of 944
                                                                                REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




TATO PRECISION INDUSTRIAL CO LTD       [NAME REDACTED]                    TATUM LLC
NO.589-5, SEC 1, MING YI RD            [ADDRESS REDACTED]                 ATTN FRANK MORELLI, MANAGING PARTNER
WU KUU HSIANG                                                             201 S COLLEGE ST, STE 2180
TAIPEI HSEIN                                                              CHARLOTTE, NC 28277
TAIWAN



TATUM LLC                              TATUM                              [NAME REDACTED]
ATTN PRACTICE LEADER, TALENT           ATTN SUE MILLS                     [ADDRESS REDACTED]
303 PEACHTREE ST NE, STE 4400          3715 NORTHSIDE PKWY
ATLANTA, GA 30308                      ATLANTA, GA 30327




[NAME REDACTED]                        [NAME REDACTED]                    TAURUS INVESTMENT CLUB
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 TWO INTERNATIONAL PLACE
                                                                          BOSTON, MA 02110




[NAME REDACTED]                        [NAME REDACTED]                    TAX AIRFREIGHT INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 ATTN SALES
                                                                          5975 S HOWELL AVE
                                                                          MILWAUKEE, WI 53207




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




TAYLOR & COPLEY                        [NAME REDACTED]                    TAYLOR INDUSTRIAL ELECTRONICS INC
                                       [ADDRESS REDACTED]                 ATTN GEN MGR
                                                                          8355 N STEVEN RD
                                                                          MILKWAUKEE, WI 53223




TAYLOR TECH LLC                        TAYLOR TECHNOLOGIES INC            TAYLOR WISEMAN & TAYLOR
ATTN OWNER                             ATTN VP                            2043 ENERGY DRIVE
3814 S JOSHUA TREE LN                  31 LOVETON CIR                     APEX, NC 27502-3961
GILBERT, AZ 85297                      SPARKS, MD 21152




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  824 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     TAZEZ ADVANCED INDUSTRIAL CO LTD   TBD MEDIA GROUP LIMITED
[ADDRESS REDACTED]                  ATTN SR SALES & MKTG MGR           67-74 SAFFRON HILL, FARRINGDON, GRE
                                    P.O. BOX 8230                      LONDON EC1N 8QX
                                    DAMMAM 31482                       UNITED KINGDOM
                                    SAUDI ARABIA
T-BESTEK CO LTD Case 25-90163            Document  87 GROUP
                                            TBILSERVICE Filed LTD
                                                              in TXSB on 07/03/25 TCG
                                                                                    Page  825
                                                                                      LEGACY INCofDBA
                                                                                                   944MEDLIT SOLUTIONS
9F NO. 786-1 CHUNG CHENG RD                  KAKHETI HIGHWAY 67,0182                 191 TECHNOLOGY DRIVE
HSIEN                                        TBILISI                                 GARNER, NC 27529-9289
TAIPEI                                       GEORGIA
TAIWAN



TCI AMERICA INC                              TCI POWDERED COATINGS INC               TCI TELECOMUNICAZIONI ITALIA
ATTN GEN MANAGER                             ATTN ACCOUNTS MGR                       ATTN CEO
21 INDUSTRIAL CT                             734 DIXON DR                            21047 VIA PARMA 14
SEEKONK, MA 02771                            ELLAVILLE, GA 31806                     SARONNO (VA) 21047
                                                                                     ITALY



TCL GROUP JOINT STOCK LIMITED COMPANY        TCL GROUP JOINT STOCK LTD COMPANY       TCL LGT ELECTRICAL APPL (HUIZHOU) CO
BLDG 8 & 9, TLC INDUSTRIAL ZONE              TCL TECHNOLOGY BLDG                     LTD
21 YUNSHAN DONG RD, JIANGBEI                 NO.17 HUIFENG 3RD RD                    ATTN MR DONALD CHOW
HUIZHOU, GUANGDONG 516001                    ZHONGKAI HIGH-TECH DEV ZONE             NO 26, ZHONGKAO 3RD AVENUE
CHINA                                        HUIZHOU, GUANGDONG 516001 CHINA         HUIZHOU, GUANGDONG 516006
                                                                                     CHINA


TCL OEM SALES LTD                            TCL-LIGHTING CO LTD                     TCN ELECTRO GROUP
ATTN VP & CSO                                HUA TONG INDUSTRY, NO 26                UI LARINA 15A
8TH FLOOR, BLDG 22E, 22 SCIENCE PARK E       ZHON KAI RD 3                           N NOVGOROD 603152
AVE                                          HUIZHOU, GUANGDONG                      RUSSIA
HONG KONG SCIENCE PARK                       CHINA
SHATIN, NT HONG KONG


TCP INTERNATIONAL HOLDINGS LTD               TD ELEKTRONICS SRL                      TD ELEKTRONIK SAN VE DIS TICARET AS
ATTN CHIEF EXECUTIVE OFFICER                 ATTN GABRIELE DE NARDI, PRES            ATTN MELIH KOCAOGLU
325 CAMPUS DR                                VIA PRATI DI SAVASSA, 16                ATINAY CAD GUL SOK NO 3
AURORA, OH 44202                             VITTORIO VENETO 31029                   SEYRANTEPE KAGITHANE
                                             ITALY                                   ISTANBUL 34418 TURKEY



TD ELITE (TIANJIN) INFORMATION               TD LIGHT SWEDEN AB                      TDI INTERNATIONAL, INC.
TECHNOLOGY CO.,LIMITED                       ATTN CHIEF EXEC OFFICER                 3351 EAST HEMISPHERE LOOP
()63724                                      BLOMMENHOVSVAGEN 22                     TUCSON, AZ 85706-5011
TIANJIN 300000                               NYKOPING 61139
CHINA                                        SWEDEN



TDINDUSTRIES INC                             TDK CORPORATION OF AMERICA              TDWATERHOUSE CANADA (5036)
13850 DIPLOMAT DRIVE                         ATTN CEO                                ATT YOUSUF AHMED OR PROXY MGR
DALLAS, TX 75234-8812                        475 HALF DAY RD, STE 300                77 BLOOR ST WEST
                                             LINCOLNSHIRE, IL 60069                  3RD FL
                                                                                     TORONTO, ON M4Y 2T1 CANADA



TE CONNECTIVITY CORP                         TEACHERS INSURANCE & ANNUITY ASSOC      [NAME REDACTED]
ATTN PARALEGAL                               OF AMERICA                              [ADDRESS REDACTED]
2800 FULLING MILL RD                         P.O. BOX 1259
MIDDLETOWN, PA 17057                         CHARLOTTE, NC 28201




[NAME REDACTED]                              [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                              TEAM INDUSTRIAL SERVICES INC            TEAM INTERNATIONAL INC
[ADDRESS REDACTED]                           DBA TEAMQUALSPEC                        ATTN ADMIN ASST
                                             ATTN ACCT MGR                           6854 MARKET AVE
                                             12543 ATOMIC RD                         EL PASO, TX 79915
                                             BEECH ISLAND, SC 29842
                 Case
TEAM MANUFACTURING       25-90163
                     - EAST WEST LLC   Document  87 Filed
                                          TEAM PACIFIC CO in TXSB on 07/03/25 [NAME
                                                                                Page  826 of 944
                                                                                    REDACTED]
35 WEATHERS STREET                         ATTN VP, SALES & MARKETING             [ADDRESS REDACTED]
YOUNGSVILLE, NC 27596-7800                 ELECTRONICS AVE, FTI SPECIAL EC ZONE
                                           TAGUIG CITY 1630
                                           PHILIPPINES



[NAME REDACTED]                            TEC - PROTECTIVE COATINGS INC          TEC ASSOCIATES INC
[ADDRESS REDACTED]                         ATTN CONTROLLER                        111 DEERWOOD ROAD SUITE 198
                                           25 BROOKWOOD RD                        SAN RAMON, CA 94583-4006
                                           WATERFORD, NY 12188




TECDIA INC                                 TECDIA INC                             TECH ATLANTIX INC
ATTN VP                                    ATTN VP                                ATTN SALES PRESIDENT
1415 KOLL CIR, STE 110                     2700 AUGUSTINE DR, STE 110             15500 VOSS RD, STE 241
SAN JOSE, CA 95112                         SANTA CLARA, CA 95054                  SUGAR LAND, TX 77498




TECH CIRCUITS INC                          TECH ELECTRIC CORPORATION              TECH MARKETING
ATTN VP SALES                              3200 GLEN ROYAL ROAD, SUITE 109        ATTN PRESIDENT
SILVERSMITH PARK                           RALEIGH, NC 27617-7419                 208 W MILLBROOK RD
340 QUINNIPIAC ST                                                                 RALEIGH, NC 27609
WALLINGFORD, CT 06492



TECH OASIS INTERNATIONAL INC               TECH PRO TECHNOLOGY DEVELOPMENT LTD    TECH TREK LTD
ATTN VP ENGINEERING & OPERATIONS           UNIT 901, WINGS BLDG 9TH FLOOR         ATTN PRESIDENT
1740 RIDGE AVE                             110-116 QUEENS RD CENTRAL              1015 MATHESON BLVD E, UNIT 6
EVANSTON, IL 60201                         CENTRAL                                MISSISSAUGA, ON L4W 3A4
                                           HONG KONG



[NAME REDACTED]                            TECHCET CA LLC                         TECHCOMP SCIENTIFIC LTD
[ADDRESS REDACTED]                         11622 EL CAMINO REAL, SUITE 100        ROOM7-302, FLOOR 3, BLDG 7
                                           SAN DIEGO, CA 92130-2049               TIANCHANGYUAN, CHAOYANG DISTRICT
                                                                                  BEIJING 100107
                                                                                  CHINA



TECHCONNCET SALES & DISTRIBUTION INC       TECHCRYSTAL IND LTD                    TECH-ETCH INC
ATTN PRES                                  ATTN OPERATIONS MANAGER                45 ALDRIN ROAD
P.O. BOX 587                               9/F FLAT B, PAHSANG IND BLDG 16        PLYMOUTH, MA 02360-4803
MARIETTA, GA 30061                         SAN ON ST, TUEN MUN
                                           NT HONG KONG



TECHINSIGHTS INC                           TECHLIGHT INC                          TECHLIGHT SYSTEMS LLC
ATTN SVP IP SERVICES                       ATTN DAVID MUEHLHAEUSLER               ATTN DIRECTOR OF ENG
1891 ROBERTSON RD, STE 500                 2707 SATSUMA DR                        205 WILLARD AVE
OTTAWA, ON K2H 5B7                         DALLAS, TX 75229                       FRUITLAND PARK, FL 34731
CANADA



TECHNELEC LTD                              TECHNIC INC                            TECHNIC INC
ATTN DIRECTOR                              ATTN VP                                ATTN VP
EDISON HOUSE, STATION APPROACH             1 SPECTACLE ST                         47 MOLTER ST
OAKHAM                                     CRANSTON, RI 02910                     CRANSTON, RI 02910
ENGLAND LE15 6QW UNITED KINGDOM



TECHNICAL AIR PRODUCTS INC                 TECHNICAL ASSOCIATES OF CHARLOTTE PC   TECHNICAL COMPONENT SALES LLC
8069 BELMONT AVENUE NE                     ATTN CORP SECRETARY                    ATTN PRESIDENT
BELMONT, MI 49306-8877                     347 N CASWELL RD                       248 LAKEWOOD RD
                                           CHARLOTTE, NC 28204                    GREENSBURG, PA 15601
                 Case
TECHNICAL CONSUMER    25-90163
                   PRODUCTS INC    Document  87 ENGINEERING
                                      TECHNICAL   Filed in TXSB   on INC
                                                            SERVICES  07/03/25 TECHNICAL
                                                                                 Page 827   of PRODUCTS
                                                                                         GLASS 944      INC
ATTN HOUSE COUNSEL                     DBA TES                                 ATTN PRES
325 CAMPUS DR                          ATTN CEO                                881 CALLENDAR BLVD
AURORA, OH 44202                       140 SYLVANIA AVE                        PAINESVILLE, OH 44077
                                       SANTA CRUZ, CA 95060



TECHNICAL INNOVATION LLC               TECHNICAL LASER SERVICES INC            TECHNICAL MACHINING SERVICES INC
2975 NORTHWOODS PKWY                   ATTN GM                                 ATTN CORP SECT
NORCROSS, GA 30071                     137 W KELLEY DR                         1201 N 8TH ST
                                       ROGERS, AR 72756                        ROGERS, AR 72756




TECHNICAL MANUFACTURING CORP           TECHNICAL PRODUCT SERVICES              TECHNICAL SALES LLC
15 CENTENNIAL DRIVE                    32440 NE OLD PARRET MOUNTAIN ROAD       ATTN CEO
PEABODY, MA 01960-7901                 NEWBERG, OR 97132-6935                  1825 SW ELM ST
                                                                               PORTLAND, OR 97201




TECHNICAL SALES SOLUTIONS LLC          TECHNICAL SERVICES LABORATORY           TECHNICAL TRAFFIC CONSULTANTS CORP
ATTN CEO                               242 RACETRACK RD                        ATTN EXEC VP
8646 SW MULEDEER DR                    FORT WALTON BEACH, FL 32547             30 HEMLOCK DR
BEAVERTON, OR 97007                                                            CONGERS, NY 10920




TECHNICAL UNIV OF DENMARK              TECHNICAL UNIVERSITY OF DELFT, THE      TECHNICAL UNIVERSITY OF HAMBURG-
ATTN PROF, HEAD OF GROUP               ATTN LEO DE VREEDE, ING                 HARBURG
OERSTED PLADS 348, BLDG 348            MEKELWEG 4                              ATTN HEAD OF INSTITUTE
KGS LYNGBY DK2800                      DELFT 2628CD                            INSITUT FUR HOCHFREQUENZTECHNIK (33)
DENMARK                                NETHERLANDS                             DENICKESTRAE 22/RAUM 1052
                                                                               HAMBURG D-21073 GERMANY


TECHNICAL UNIVERSITY OF MADRID         TECHNICOAT CORP                         TECHNI-CORE NETWORK SERVICES INC
ETSIST, CTRA VALENCIA KM 7             ATTN VP                                 ATTN CUST LIAISON BUS DEV
MADRID 28031                           1669 COOPER ST                          4681 RESEARCH PARK BLVD
SPAIN                                  DURHAM, NC 27703                        HUNTSVILLE, AL 35806




TECHNIFAB PRODUCTS INC                 TECHNIKA                                TECHNIMARK LLC
ATTN PRESIDENT                         4 WATER ST                              ATTN DIR, BUSINESS DEV
10339 N INDUSTRIAL PARK DR             CHESTER, CT 06412                       180 COMMERCE PL
P.O. BOX 315                                                                   ASHEBORO, NC 27203
BRAZIL, IN 47834



TECHNIQUE LLC                          TECHNISCHE HOCHSCHULE DEGGENDORF        TECHNI-TOOL INC.
23/11 ST GONCHAROVA                    DIETER-GORLITZ-PLATZ 1                  ..A TEST EQUITY COMPANY
ULYANOVSK 432017                       DEGGENDORF 94469                        1547 NORTH TROOPER ROAD
RUSSIA                                 GERMANY                                 WORCESTER, PA 19490-1117




TECHNIX CORPORATION                    TECHNOLAB GMBH                          TECHNOLOGIES & DEVICES INTL INC
ATTN DESIGN ENGINEER                   ATTN CHIEF EXECUTIVE OFFICER            ATTN PRES
6 RUE EUGENE DUPUIS                    WOHIRABEDAMM 13                         12214 PLUM ORCHARD DR
CRETEIL 94000                          BERLIN 13629                            SILVER SPRING, MD 20904
FRANCE                                 GERMANY



TECHNOLOGIES WEST INC                  TECHNOLOGY ASSOCIATES INC               TECHNOLOGY HOUSE LTD, THE
ATTN PRESIDENT                         ATTN PRESIDENT                          ATTN CONTRACTS MGR
P.O. BOX 80867                         P.O. BOX 1579                           30555 SOLON INDUSTRIAL PKWY
RANCHO SANTA MARGARITA, CA 92688       HOCKESSIN, DE 19707                     SOLON, OH 44139
                   CaseCONSULTANTS
TECHNOLOGY LEVERAGED     25-90163 Document  87 Filed
                                     TECHNOLOGY       in TXSB
                                                 PARTNERSHIP PLC,on
                                                                  THE07/03/25 TECHNOLOGY
                                                                                Page 828SERVICE
                                                                                             of 944CORP
LLC                                  MELBOURN SCIENCE PARK CAMBRIDGE RD       ATTN VP
ATTN PRESIDENT                       MELBOURN, ROYSTON                        116 W 6TH ST, STE 200
5655 SILVER CREEK VALLEY RD, 705     HERTFORDSHIRE SG8 6EE                    BLOOMINGTON, IN 47404
SAN JOSE, CA 95138                   UNITED KINGDOM



TECHNOLOGY SERVICE CORP                TECHNOLOGY WITH SILICONES INC             TECHNOMATE MANUFACTORY LTD
ATTN VP                                ATTN PRESIDENT & CEO                      ATTN GEN MGR
3405 TRIANA BLVD                       1050 ELIZABETH ST EXTENSION               FLAT H, 13/F, EFFICIENCY HOUSE
HUNTSVILLE, AL 35805                   P.O. BOX 631                              35 TAI YAU ST, SAN PO KONG
                                       MECHANICVILLE, NY 12118                   KOWLOON HONG KONG



TECHNOMATE MANUFACTORY LTD             TECHNOMATE MANUFACTORY LTD                TECHNOMEDIA TALENT MANAGEMENT INC
BAIGUODONG BAILI INDUSTRIAL DIST       UNIT B2/B3, 7F UNIMAX INDUSTRIAL CENTRE   ATTN VP
HUATAI ST, GUANGDONG PROV              2 NG FONG ST                              600 THIRD AVE, 2ND FLOOR
ZHANGMUTOU TWN                         SAN PO KONG                               NEW YORK, NY 10016
DONGGUAN CITY CHINA                    KOWLOON HONG KONG



TECHNOPOLIS COMMUNICATIONS INC         TECHNOPROBE AMERICA INC                   TECHNOS CO LTD
ATTN PRESIDENT                         2526 QUME DRIVE SUITE 27                  ATTN INTL DIRECTOR MGR
2129 SEA EAGLE VIEW                    SAN JOSE, CA 95131-1870                   NAGAO-TANIMACHI 1-CHOME 32-1
AUSTIN, TX 78738                                                                 HIRAKATA, OSAKA 573-0164
                                                                                 JAPAN



TECHNOS INTERNATIONAL INC              TECHNOTRANS AG                            TECHNOTRANS AMERICA INC
ATTN PRESIDENT                         ATTN MANAGING DIR MICRO TECHNOLOGIES      ATTN VP
136 W ORION DR, STE D-9                ROBERT-LINNEMANN-STRASSE 17               2181 S FOSTER
TEMPE, AZ 85283                        SASSENBERG 48351                          WHEELING, IL 60090
                                       GERMANY



TECHPORT THIRTEEN INC                  TECHREP ENGENEERING SERVICES              TECH-SYSTEMS ELECTRONICS INC
4227 PLEASANT HILL RD                                                            ATTN TECHNICAL SUPPORT
DULUTH, GA 30096                                                                 1750 BRIELLE AVE, STE A3-A4
                                                                                 OCEAN, NJ 07712




TECHVALLEY CO LTD                      TECHWIN OPTO-ELECTRONICS CO LTD           TECHWISE (MACAO CM OFFSHORE)
A-506, GALMACHI-RO                     ATTN VICE CHAIRMAN                        CIRCUITS LTD
JUNGWON-GU                             NO 17, FU-HSING ST                        AV DA PRAIA GRANDE N599
SEONGNAM                               TUCHENG DIST                              EDIFICIO COMMERCIAL RODRIGUES
SOUTH KOREA                            NEW TAIPEI CITY 236 TAIWAN                3 ANDAR B
                                                                                 MACAU CHINA


TECLUMEN SRL                           TECNALIA RESEARCH AND INNOVATION          TECNIKA DUE SRL
ATTN PRES                              FOUNDATION                                ATTN GABRIELE DE NARDI, PRES
VIA CASTEL GOFFREDO 35/1               ATTN ENERGY & ENV DIR                     VIA PRATI DI SAVASSA, 16
CASALOLDO (MN) 46040                   PARQUE CIENTIFICO Y TECH DE GIPUZKOA      VITTORIO VENETO 31029
ITALY                                  MIKELETEGI PASEALEKU 2 DON-SAN            ITALY
                                       SEBASTIAN
                                       GIPUZKOA E-20009 SPAIN

TECNO INDUZIONE SRL                    TECNOLED LUZ LTDA                         TECNOLOGIA QUE OPTIMIZA EL
ATTN MANAGING DIR                      ATTN DIRETORIA                            RENDIMIENTO SA DE CV
VIA MONSIGNOR GIULIO BABOLIN 7         ESTRADA DO LUTERO 1300                    ATTN LEGAL REP
BOVOLENTA (PD) 35024                   COTIA, SP 06715                           LLUVIA 8, NAVE 14, MICROPARQUE
ITALY                                  BRAZIL                                    IND LA NOIRIA, EL MARQUES
                                                                                 QUERETARO 76246 MEXICO


TECNOLOGIA RADIOELECTRICA SIETE        TECNOLOGIE FUTURE SRL                     TECNOPALI GRP SPA
AGUAS SL                               VIA MAESTRI DEL LAVORO SNC                ATTN VICE PRESIDENT
ATTN DIR COMERCIAL                     VAZIA, RI 02100                           STR PIZZOLESE, 46/A
C/ SERRETILLA, PARCELAS 229-230        ITALY                                     PARMA 43122
POLIGONO INDUSTRIAL LA PAHILLA                                                   ITALY
CHIVA, VALENCIA 46370 SPAIN
TECO-WESTINGHOUSECase 25-90163
                   MOTOR COMPANY    Document
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                                                                               PageSERVICES
                                                                                    829 of 944
                                                                                            LLC
ATTN PRESIDENT                          ATTN CEO                              ATTN PRESIDENT
5100 N IH-35                            HIGH-TECH-CENTER 1                    13624 FLOYD CIR
ROUND ROCK, TX 78681                    TAEGERWILEN 8274                      DALLAS, TX 75243
                                        SWITZERLAND



TECTOR SRL                              TED PELLA INC                         [NAME REDACTED]
ATTN PRESIDENT                          P.O. BOX 492477                       [ADDRESS REDACTED]
VIA BENEVAGIENNA 12                     REDDING, CA 96049-2477
LEQUIO TANARO 12060
ITALY



[NAME REDACTED]                         [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




TEEM TECHNOLOGIES INC                   [NAME REDACTED]                       TEGAL CORP
ATTN VICE PRESIDENT BUSINESS DEV        [ADDRESS REDACTED]                    ATTN VP, CTO
175 W 200 S, STE 101                                                          2201 S MCDOWELL BLVD
SALT LAKE CITY, UT 84101                                                      PETALUMA, CA 94954




[NAME REDACTED]                         [NAME REDACTED]                       TEGRAFIK PRINTING ARTS MEXICO
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    ATTN GENERAL MGR
                                                                              CALLE 14, NO 2430, ZONA INDUSTRIAL
                                                                              GUADALAJARA, JAL 44940
                                                                              MEXICO



TEIJIN CHEMICALS LTD                    TEK PAK, INC.                         TEK STAINLESS PIPING PRODUCTS INC
ATTN GENERAL MANAGER                    1336 PARAMOUNT PARKWAY                ATTN GENERAL MGR
RM KASUMIGASEKI COMMON GATE             BATAVIA, IL 60510-1461                208 HIGH ST
W TOWER 2-1, KASUMIGASEKI 3-CHOME                                             RANDOLPH, MA 02368
CHIYODA-KU, TOKYO 100-8585 JAPAN



[NAME REDACTED]                         TEKELEC                               [NAME REDACTED]
[ADDRESS REDACTED]                      5200 PARAMOUNT PKWY                   [ADDRESS REDACTED]
                                        MORRISVILLE, NC 27560




TEKMAR SISTEMI SRL                      TEKMARK SDN BHD                       TEKMETAL INC
ATTN GENERAL MANAGER                    B-G-8 ENDAH PROMENADE NO 5, SRI PET   ATTN PRESIDENT
VIA DE CRESCENZI, 40                    SRI PETRALING 57000                   614 TIDEWATER CIR
FAENZA, RA 48018                        MALAYSIA                              PAWLEYS ISLAND, SC 29585
ITALY



TEKNICAL MATERIAL RECYCLING INC         TEKNOLOGUE KK                         TEKNOWARE OY
ATTN PRESIDENT                          2-8-18 KURIGI, ASAO-KU                ATTN MANAGING DIR
1750 CLEVELAND AVE                      KAWASAKI, KANAGWA 215-0033            ILLAMRISENTIE 8
SAN JOSE, CA 95126                      JAPAN                                 LAHTI FI-15200
                                                                              FINLAND



TEKSCAN INC                             TEKSYSTEMS INC                        TEKTELIC COMMUNICATIONS INC
ATTN PRES                               ATTN SR MGR                           ATTN CTO
307 W FIRST ST                          7437 RACE RD                          777 10TH ST NE, STE 120
SOUTH BOSTON, MA 02127                  HANOVER, MD 21076                     CALGARY, AB T2E 8X2
                                                                              CANADA
                  Case 25-90163
TEKTELIC COMMUNICATIONS INC          Document 87 INCFiled in TXSB on 07/03/25 TELPage
                                        TEKTRONIX                                       830 of 944
                                                                                  FSI INC
ATTN DIRECTOR OF BUSSINESS DVPT          14150 SW KARL BRAUN DRIVE             3455 LYMAN BLVD
7657 10TH ST NE                          BEAVERTON, OR 97077-0001              CHASKA, MN 55318-3052
CALGARY, AB T2E 8X2
CANADA



TELAERIS INC                             TELCODIUM INC                         TELCOM INTERNATIONAL INC
ATTN VP                                  91 DE LA BARRE                        ATTN PRESIDENT
4101 RANDOLPH ST                         BOUCHERVILLE, QC J4B 2X6              TELCOM BLDG, 940-1
SAN DIEGO, CA 92103                      CANADA                                BANGBAE-1DONG, SEOCHO-KU
                                                                               SEOUL 137-844 SOUTH KOREA



TELCOM INTERNATIONAL, INC.               TELEBRANDS CORP                       TELEDYNE COUGAR INC
ATTN: J.K. PARK                          ATTN CHIEF EXECUTIVE OFFCER           ATTN GENERAL MGR
TELCOM BUILDING, 76, SEOCHO-DAERO        79 TWO BRIDGES RD                     927 THOMPSON PL
SEOCHO-GU, SEOUL                         ONE TELEBRANDS PLAZA                  SUNNYVALE, CA 94085-4518
SOUTH KOREA                              FAIRFIELD, NJ 07004



TELEDYNE COUGAR INC                      TELEDYNE DEFENSE LTD                  TELEDYNE INTEGRATED DESIGNS LP
ATTN SR CONTRACTS COUNSEL                AIREDALE HOUSE                        2853 DICKERSON PARKWAY
290 SANTA ANA CT                         SHIPLEY BD17 75W                      CARROLLTON, TX 75007-4942
SUNNYVALE, CA 94085                      UNITED KINGDOM




TELEDYNE LECROY, INC.                    TELEDYNE MEC                          TELEDYNE PARADISE DATACOM LLC
700 CHESTNUT RIDGE ROAD                  ATTN CONTRACTS MGR                    ATTN VP ENGINEERING
CHESTNUT RIDGE, NY 10977-6499            3165 PORTER DR                        328 INNOVATION BLVD
                                         PALO ALTO, CA 94303                   STATE COLLEGE, PA 16803




TELEDYNE SCIENTIFIC & IMAGING LLC        TELEDYNE TECHNOLOGIES INC             TELEDYNE TECHNOLOGIES INC
ATTN PRESIDENT, TELEDYNE SCIENTIFIC CO   ATTN ALDO PICHELLI, PRESIDENT & CEO   ATTN PRESIDENT
1049 CAMINO DOS RIOS                     1049 CAMINO DIS RIOS                  12333 W OLYMPIC BLVD
THOUSAND OAKS, CA 91360                  THOUSAND OAKS, CA 91360               LOS ANGELES, CA 90064




TELEDYNE WIRELESS LLC                    TELEMAKUS LLC                         TELEMEDIA LLC
ATTN SR CONTRACT ADMIN                   ATTN CEO                              DBA TPC TRAINING
1274 TERRA BELLA AVE                     1880 PRAIRIE CITY RD, 130-102         ATTN DIRECTOR OF SALES
MOUNTAIN VIEW, CA 94043                  FOLSOM, CA 95630                      225 E ROBINSON ST, STE 570
                                                                               ORLANDO, FL 32801



TELENET MARKETING SOLUTIONS LLC          TELEPHONICS CORPORATION               TELERIK INC
ATTN MATT GILLESPIE                      ATTN PRESIDENT                        ATTN CUST ADVOCATE
1915 NEW JIMMY DANIEL RD                 815 BROADHOLLOW RD                    460 TOTTEN POND RD, STE 640
BOGART, GA 30622                         FARMINGDALE, NY 11735                 WALTHAM, MA 02451




TELETRONICS TECHNOLOGY CORP              TELGAAS INC                           TELISMA INC
ATTN PRESIDENT/CEO                       125 N CENTRAL DR                      ATTN PRESIDENT
15 TERRY DR                              OFALLON, MO 63366                     MOTNICA 9
NEWTOWN, PA 18940                                                              TRZIN-LJUBLJANA SI-1236
                                                                               SLOVENIA



TELLA TOOL & MFG CO                      TELLUMAT (PTY) LTD                    TELLUS SA
ATTN VICE PRESIDENT                      ATTN MANAGING EXEC                    ATTN COO
1015 N RIDGE AVE                         64/74 WHITE RD                        59 P/T DTO, ALAMEDA D PEDRO V
LOMBARD, IL 60148                        RETREAT 7945                          V.N GAIA 4400-115
                                         SOUTH AFRICA                          PORTUGAL
                  CasePACIFIC
TELTEE SEMI-CONDUCTOR  25-90163
                              LTD   Document 87A UNIT
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                                                         THETXSB  on 07/03/25
                                                             BOC GROUP INC      PageMANAGEMENT
                                                                              TEMMES 831 of 944SERVICES BV
RM 282, WING ON HOUSE                   ATTN PRESIDENT                       ATTN PIETER VAN TOL
71 DES VOEUX RD                         575 MOUNTAIN AVE                     STEINACKERSTRASSE 9
CENTRAL                                 MURRAY HILL, NJ 07974-2064           KUSNACHT CH-8700
HONG KONG                                                                    SWITZERLAND



TEMMES MANAGEMENT SERVICES BV           TEMPLE CONTROL SYSTEMS INC           [NAME REDACTED]
KEPLERSTRAAT 34                         ATTN PRESIDENT                       [ADDRESS REDACTED]
1580 A WEST NURSERY RD                  1501 W BOLIVAR AVE
BADHOEVEDORP 1191 CD                    MILWAUKEE, WI 53221
NETHERLANDS



[NAME REDACTED]                         TEMPO INDUSTRIES INC                 TEMPTRONIC CORPORATION
[ADDRESS REDACTED]                      ATTN CEO                             DBA INTESTTHERMAL SOLUTIO
                                        1961 MCGAW AVE                       4 COMMERCIAL ST
                                        IRVINE, CA 92614                     SHARON, MA 02067-1613




TEN CONNECTED SOLUTIONS INC             TEN GIFTS TECHNOLOGY CO LTD          TEN PAO INTERNATIONAL INC
ATTN PRESIDENT                          45, GONGYEQU 22ND RD                 ATTN VP
1501 REEDSDALE ST, STE 401              NANTUN DIST                          48531 WARM SPRINGS BLVD, STE 401
PITTSBURGH, PA 15233                    TAICHUNG CITY 408                    FREMONT, CA 94539
                                        TAIWAN



TENCARVA MACHINERY CO                   [NAME REDACTED]                      TENNESSE LIGHTING SALES
1115 PLEASANT RIDGE ROAD                [ADDRESS REDACTED]                   ATTN PRES
GREENSBORO, NC 27409-9529                                                    2730 LARMON AVE
                                                                             NASHVILLE, TN 37204




TENNESSEE ATTORNEY GENERAL AND          TENNESSEE DEPARTMENT OF REVENUE      TENNESSEE DEPT OF COMMERCE &
REPORTER                                500 DEADERICK ST                     INSURANCE
DIVISION OF CONSUMER AFFAIRS            NASHVILLE, TN 37242-0001             SECURITIES DIVISION
P.O. BOX 20207                                                               500 JAMES ROBERTSON PKWY
NASHVILLE, TN 37202                                                          10TH FL
                                                                             NASHVILLE, TN 37243-0575


TENNESSEE DEPT OF LABOR AND             TENNESSEE SECRETARY OF STATE         [NAME REDACTED]
WORKFORCE DEVELOPMENT                   312 ROSA L. PARKS AVE                [ADDRESS REDACTED]
220 FRENCH LANDING DR                   6TH FL, SNODGRASS TOWER
NASHVILLE, TN 37243                     NASHVILLE, TN 37243-1102




TENOR CAPITAL MANAGEMENT CO LP          TENSION MEASUREMENT INC              TENXC WIRELESS
810 7TH AVE                             ATTN OPERATIONS MGR                  ATTN PRES & CEO
19TH FL                                 P.O. BOX 740755                      350 TERRY FOX DR, STE 310
NEW YORK, NY 10019                      ARVADA, CO 80009-0755                KANATA, ON K2K 2W5
                                                                             CANADA



[NAME REDACTED]                         TERA XTAL TECHNOLOGY CORP            TERADYNE, INC.
[ADDRESS REDACTED]                      ATTN VP                              600 RIVERPARK DRIVE
                                        9-1 PARK AVE 2                       NORTH READING, MA 01864
                                        HSINCHU SCIENCE-BASED PARK
                                        300 TAIWAN



TERAGO NETWORKS INC                     TERAMICS LLC                         [NAME REDACTED]
55 COMMERCE VALLEY DR W, 800            ATTN CHIEF EXECUTIVE OFFICER         [ADDRESS REDACTED]
THORNHILL, ON L3T 7V9                   1768 MIRAMONTE AVE, 4881
CANADA                                  MOUNTAIN VIEW, CA 94040
TERASCALA INC     Case 25-90163   Document
                                     TERASYS87  Filed in TXSB
                                             TECHNOLOGIES LLC on 07/03/25 TERECK
                                                                            PageOFFICE
                                                                                 832 of  944
                                                                                       SOLUTIONS
ATTN CHIEF OPS OFFICER                ATTN PRESIDENT                       4402 A STUART ANDREW BLVD
145 BODWELL ST                        2800 WOODLAWN DR, STE 198            CHARLOTTE, NC 28217
AVON, MA 02322                        HONOLULU, HI 96822




[NAME REDACTED]                       TERIS LLC                            TERMA A/S
[ADDRESS REDACTED]                    ATTN DIR, RISK MGMT                  ATTN VP CONTRACT MGR
                                      17300 N DALLAS PKWY, STE 2025        HOVMARKEN 4
                                      DALLAS, TX 75248                     LYSTRUP DK-8520
                                                                           DENMARK



TERRA UNIVERSAL INC                   TERRALUX INC                         [NAME REDACTED]
700 N HARBOR BLVD                     ATTN R&D ENGINEER                    [ADDRESS REDACTED]
ANAHEIM, CA 92805-2566                4725 NAUTILUS CT SOUTH, 2
                                      BOULDER, CO 80301




[NAME REDACTED]                       TERRY PHILLIPS & ASSOCIATES INC      [NAME REDACTED]
[ADDRESS REDACTED]                    DBA RALEIGH SHEET METAL              [ADDRESS REDACTED]
                                      ATTN PRESIDENT
                                      517 PERSHING RD
                                      RALEIGH, NC 27608



[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




TERRYS FLOOR FASHIONS INC             TERZALUCE SRL                        TES ELECTRONIC SOLUTIONS
ATTN PRESIDENT                        ATTN ADMIN                           ZETTACHRING 8
911 KILDAIRE FARM RD                  VIA DEI LAVORATORI 3                 STUTTGART 70567
CARY, NC 27511                        BUCCINASCO 20090                     GERMANY
                                      ITALY



TES                                   TESA TAPE INC                        TESAT SPACECOM GMBH
ATTN CEO                              ATTN SALES MGR                       GERBERSTRASSE 49
140 SYLVANIA AVE                      5825 CARNEGIE BLVD                   BACKNANG 71522
SANTA CRUZ, CA 95060                  CHARLOTTE, NC 28209                  GERMANY




TESCAN USA INC                        TESCOM CORP                          TESEC, INC.
ATTN VICE PRESIDENT                   ATTN CHIEF FINANCIAL OFFICER         1225 WEST 190TH STREET SUITE 350
508 THOMPSON PARK DR                  12616 INDUSTRIAL BLVD                GARDENA, CA 90248-4335
CRANBERRY TWNSHP, PA 16066            ELK RIVER, MN 55330




TESEO SYSTEMS LTD                     TESEQ GMBH                           [NAME REDACTED]
ATTN DIRECTOR                         ATTN DES EGR R&D                     [ADDRESS REDACTED]
9 FITZWILLIAM SQ                      LANDSBERGER ALLE 1/ST 255
DUBLIN 2                              BERLIN 10249
IRELAND                               GERMANY



[NAME REDACTED]                       TESI ELETTRONICA SRL                 TESLA INC
[ADDRESS REDACTED]                    VIALE DE ANDREIS 81                  ATTN GEN COUNSEL
                                      DESENZANO DEL GARDA                  45500 FREMONT BLVD
                                      BRESCIA 25010                        FREMONT, CA 94538
                                      ITALY
TESLA INC         Case 25-90163     Document  87LLCFiled in TXSB on 07/03/25 TESLA
                                       TESLA ZET                               Page 833 of 944
ATTN TAO JIN                            AVTOZAVODSKAYA 41/121                   ATTN: TAO JIN
3500 DEER CREEK RD                      KIEV 04114                              3500 DEER CREEK RD
PALO ALTO, CA 94304                     UKRAINE                                 PALO ALTO, CA 94304




[NAME REDACTED]                         [NAME REDACTED]                         TEST EQUITY INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      1547NORTH TROOPER ROAD
                                                                                WORCESTER, PA 19490




TEST PRO SYSTEMS INC                    TEST RESEARCH INC                       TESTA-SPACECOM GMBH & CO KG
ATTN PRESIDENT                          ATTN VP                                 ATTN HEAD OF PROJ & EXP CTRL
219 METRO CIR                           7F, NO 45, DEXING W RD                  GERBERSTRASSE 49
HUNTSVILLE, AL 35801                    SHILIN DIST                             BACKNANG D-71522
                                        TAIPEI CITY 11158 TAIWAN                GERMANY



TESTECH INC                             TESTEQUITY LLC                          TESTPAC INC
ATTN PRESIDENT                          P.O. BOX 515047                         ATTN CUSTOMER MGR
1712 WHISPERING CREEK CT                LOS ANGELES, CA 90051-5047              17 BATTARY PLACE, STE 743
EDMOND, OK 73013                                                                NEW YORK, NY 10004




TETHERS UNLIMITED INC                   [NAME REDACTED]                         TETRA CORP
ATTN ENGINEER                           [ADDRESS REDACTED]                      ATTN PRESIDENT
11711 N CREEK PKWY S, STE D113                                                  3701 HAWKINS NE
BOTHELL, WA 98011                                                               ALBUQUERQUE, NM 87109




TETREON TECHNOLOGIES LTD                TEVTECH L L C                           TEXAS A&M
ATTN CO SECRETARY                       ATTN VP                                 400 BIZZELL ST
UNIT 11, SPRING COPSE BUSINESS PARK     100 BILLERICA AVE                       COLLEGE STATION, TX 77843
SLINFOLD                                NORTH BILLERICA, MA 01862
WEST SUSSEX RHI13 OSZ UNITED KINGDOM



TEXAS ADVANCED OPTOELECTRONIC           TEXAS CAPITOL SEMICONDUCTOR INC.        TEXAS COMMISSION ON ENVIRONMENTAL Q
SOLUTIONS                               673 SOUTH MILPITAS BLVD                 P.O. BOX 13087
ATTN VP, MARKETING & SALES              MILPITAS, CA 95035-5473                 AUSTIN, TX 78711
800 N JUPITER RD, STE 205
PLANO, TX 75074



TEXAS COMMISSION ON                     TEXAS COMPTROLLER OF PUBLIC             TEXAS COMPTROLLER OF PUBLIC
ENVIRONMENTAL QUALITY                   ACCOUNTS                                ACCOUNTS
BUILDING LETTER TCEQ                    COMPTROLLER OF PUBLIC ACCOUNTS          P.O. BOX 13528
12100 PARK 35 CIRCLE                    AUSTIN, TX 78711                        CAPITOL STATION
AUSTIN, TX 78753                                                                AUSTIN, TX 78711-3528



TEXAS COMPTROLLER OF PUBLIC             TEXAS COMPTROLLER OF PUBLIC             TEXAS INS. CO.APPLIED SPECIALTY
ACCOUNTS                                ACCOUNTS                                UNDERWRITERS
UNCLAIMED PROPERTY CLAIMS SECTION       UNCLAIMED PROPERTY CLAIMS SECTION       510 TURTLE COVE BLVD, STE 200
LBJ BLDG                                P.O. BOX 12046                          ROCKWALL, TX 75087
111 E 17TH ST                           AUSTIN, TX 78711-2046
AUSTIN, TX 78711


TEXAS INSTRUMENTS INCORPORATED          TEXAS INSTRUMENTS                       TEXAS LIGHTING SALES
ATTN VP & MGR                           ATTN MARKETING DIR, LIGHTING BUSINESS   ATTN PRES
12500 TI BLVD                           UNIT                                    831 W EULESS BLVD, STE 15
DALLAS, TX 75251                        1820 LEFTHAND CIR                       EULESS, TX 76040
                                        LONGMONT, CO 80501
                  Case
TEXAS OFFICE OF THE     25-90163
                    ATTORNEY GENERALDocument   87 SECURITIES
                                       TEXAS STATE   Filed in TXSB
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                                                                                            UNIVERSITY
CONSUMER PROTECTION DIVISION           THOMAS JEFFERSON RUSK STATE OFFICE       ATTN MICHAEL GIESSELMANN
P.O. BOX 12548                         BDLG                                     1012 BOSTON AVE, MAIL STOP 43102
AUSTIN, TX 78711                       208 E 10TH ST                            LUBBOCK, TX 79409
                                       AUSTIN, TX 78701



TEXAS TESTING SOLUTIONS LLC              TEXAS WORKFORCE COMMISSION               TEXAS WORKFORCE COMMISSION
2854 DON STREET                          101 E 15TH ST                            P.O. BOX 149137
DALLAS, TX 75227                         AUSTIN, TX 78778-0001                    AUSTIN, TX 78714-9137




TEXMAC, INC                              TEXTURE TECHNOLOGIES CORP                TFI TELEMARK
3370 MONTGOMERY DR                       6 PATTON DRIVE                           ATTN PRES
SANTA CLARA, CA 95054                    SOUTH HAMILTON, MA 01982-1924            20936 CABOT BLVD
                                                                                  HAYWARD, CA 94545




TGA TCA DURHAM LOGISTICS CENTER LLC      TGA TCA DURHAM LOGISTICS CENTER LLC      TGA TCA DURHAM LOGISTICS CENTER LLC
3020 CARRINGTON MILL BLVD                ATTN: C/O TP TRIANGLE, LLC               NUVEEN REAL ESTATE
MORRISVILLE, NC 27560                    CARRINGTON MILL BLVD, SUITE 425          3340 PEACHTREE ROAD NE, SUITE 1010
                                         MORRISVILLE, NC 27560                    ATLANTA, NC 30326




TGE                                      TGGS                                     TGKW MANAGEMENT LTD
ATTN MANAGING DIR                        ATTN DIRECTOR                            ATTN LEGAL MANAGER
204-3, ANYANG7-DONG                      1518 PIBULSONGKRAM RD                    2F, NO 39, SEC 2, JINAN RD
ANYANG-SI, GYEONGGI-DO                   WONGSAWANG, BANGSUE                      TAIPEI CITY 100
SOUTH KOREA                              BANGKOK 10800 THAILAND                   TAIWAN



T-GLOBAL TECHNOLOGY                      TH NEON-ELECTRONIC COMPONENTS LTD        [NAME REDACTED]
ATTN GENERAL MANAGER                     ATTN GENERAL DIRECTOR                    [ADDRESS REDACTED]
UNIT 1-2, COSFORD BUSINESS PARK          11-N OFFICE, LITERA "A", 39 BLDG
LUTTERWORTH LE17 4QU                     10-YA LINIYA VO
UNITED KINGDOM                           ST PETERSBURG 199178 RUSSIA



THAIGERTEC CO LTD                        [NAME REDACTED]                          [NAME REDACTED]
ATTN GEN MGR                             [ADDRESS REDACTED]                       [ADDRESS REDACTED]
259/1-2 SOI SUKHUMVIT 22
KLONTON,KLONTOEY
BANGKOK 10110 THAILAND



[NAME REDACTED]                          [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                          THALES AIR SYSTEMS SA                    THALES AIR SYSTEMS SA
[ADDRESS REDACTED]                       ATTN PURCHASER                           ATTN SR SUPPLY MGR & DIR
                                         7/9 RUE DES MATHURINS                    3 AVE CHARLES LINDBERGH
                                         BAGNEUX 92220                            RUNGIS 94150
                                         FRANCE                                   FRANCE



THALES AVIONICS ELECTRICAL SYSTEMS       THALES DEFENCE LTD                       THALES DEFENSE & SECURITY INC
SAS                                      ATTN CONTRACT MGR                        ATTN CONTRACTS BUS MGR
ATTN CHAIRMAN                            2 DASHWOOD LANG RD, BOURNE BUSINESS      22605 GATEWAY CENTER DR
41 BD DE LA REPUBLIQUE, BP 53            PK                                       CLARKSBURG, MA 20871
CHATOU F-78401                           ADDLESTON NR WEYBRIDGE
FRANCE                                   SURREY KT15 2NX UNITED KINGDOM
                  Case 25-90163
THALES ELECTRON DEVICES             Document  87 Filed& in
                                       THALES RESEARCH     TXSB on 07/03/25 THALES
                                                         TECHNOLOGY           PageTECHNOLOGY
                                                                                   835 of 944CO LTD
2 BIS, RUE LATECOERE                    WORTON DR                               ATTN PURCHAISING DIR
VELIZY F-78941                          READING RG2 0SB                         STE C, FL 3, SHENXIN OFF BLDG
FRANCE                                  UNITED KINGDOM                          , NO.2888, JIU XIN RD
                                                                                SHANGHAI 201612 CHINA



THALES UK                               THALHIMER RALEIGH LLC                   [NAME REDACTED]
350 LONGWATER AVE                       ATTN SVP                                [ADDRESS REDACTED]
GREEN PARK                              4350 LASSITER AT N HILLS AVE, STE 350
READING, BERKSHIRE RG2 6GF              RALEIGH, NC 27609
UNITED KINGDOM



[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                         THE ARKANSAS STEM COALITION
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      401 SOUTH SCOTT STREET, NPC 1
                                                                                LITTLE ROCK, AR 72201




THE BOC GROUP, INC., BOC EDWARDS        THE BUREAU OF NATIONAL AFFAIRS          THE CAVIST CORP
DIVISION                                , INC.                                  ATTN VICE PRESIDENT
OPERNGASSE 20B                          1801 S BELL ST                          3545 AIRWAY DR, 112
WEIN 1040                               ARLINGTON, VA 22202-4506                RENO, NV 89511
AUSTRIA



THE CONTINENTAL INSURANCE COMPANY       THE DANIEL CENTER FOR MATH              THE DIRECT GROUP INC DBA DIRECTV LL
C/O CNA FINANCIAL CORP                  AND SCIENCE INC                         P.O. BOX 105249
151 N FRANKLIN ST                       735 ROCK QUARRY ROAD                    ATLANTA, GA 30348-5249
CHICAGO, IL 60606-1821                  RALEIGH, NC 27610-3819




THE EXPORT ADVIISOR                     THE EXPORT ADVIISOR                     THE FOUNDATION OF HOPE
ATTN VICTORIA E RALSTON                 ATTN VICTORIA E RALSTON, SP             9401 GLENWOOD AVE
3751 CHEROKEE PL                        4487 WINDSOR OAKS CIR                   RALEIGH, NC 27617-7514
MARIETTA, GA 30067                      MARIETTA, GA 30066




THE FOX CO INC LITHOGRAPHERS            THE GENESIS GROUP                       THE GREEN CHEMICAL STORE
ATTN PRESIDENT                          100 SEYMOUR ROAD                        6119A GREENVILLE AVE 426
11000 WEST BECHER ST                    UTICA, NY 13502-1311                    DALLAS, TX 75206-1910
WEST ALLIS, WI 53227
THE HAYES GROUP OF Case    25-90163
                     WISCONSIN  LLC   Document  87 Filed
                                         THE INSURANCE    in TXSB
                                                       COMPANY      onSTATE
                                                               OF THE   07/03/25 THE
                                                                                   Page   836STORE
                                                                                     INTERNET of 944
                                                                                                   INC DBA CRUZIO
DBA HAYS COMPANIES OF WISCONSIN           OF PENNSYLVANIA                         877 CEDAR STREET SUITE 150
ATTN PRESIDENT                            500 W MADISON ST, STE 3000              SANTA CRUZ, CA 95060-3938
1200 N MAYFAIR RD, STE 100                CHICAGO, IL 60661
MILWAUKEE, WI 53226



THE KOREAN INSTITUTE OF ELECTRICAL        THE LINCOLN NATIONAL LIFE INSURANCE     THE LINCOLN NATL LIFE INS CO
AND ELECTRONIC MATERIAL E                 COMPANY                                 1300 S CLINTON ST
807 22, TEHERAN-RO 7-GIL, GANGNAM-G       1301 SOUTH HARRISON STREET              FORT WAYNE, IN 46808
SEOUL 06130                               FORT WAYNE, IN 46802
SOUTH KOREA



THE MANNING GROUP LLC                     THE MANUFACTURERS ASSOC OF CNY, INC     THE NEIGHBORHOOD CENTER, INC
75 N 49TH STREET AVENUE SUITE 2           5788 WIDEWATERS PARKWAY, SUITE 5        624 ELIZABETH STREET
PHOENIX, AZ 85043-3815                    SYRACUSE, NY 13214-1869                 UTICA, NY 13501




THE NEW YORK BLOWER COMPANY               THE OHIO CASUALTY INSURANCE COMPANY     THE OHIO STATE UNIVERSITY
7660 QUINCY STREET                        175 BERKELEY ST                         1960 KENNY ROAD
WILLOWBROOK, IL 60527-5530                BOSTON, MA 02116                        COLUMBUS, OH 43210-1016




THE PACK SHACK                            THE PARTNERSHIP, INC.                   THE PEER GROUP INC
1091 EAST LOWELL AVENUE                   155 SEAPORT BLVD.,                      72 VICTORIA STREET SOUTH
CAVE SPRINGS, AR 72718-8414               BOSTON, MA 02210-2210                   KITCHNER, ON N2G 4Y9
                                                                                  CANADA




THE REEDHOLM SYSTEM CORPORATION           THE RESEARCH FOUND. THE STATE UNIV.     THE RESOURCEHUB LLC
1956 S AUSTIN AVE                         OF NY, ET AL.                           1050 CROWN POINTE PARKWAY
GEORGETOWN, TX 78626-7835                 ATTN: OPERATIONS MGR, RESEARCH          ATLANTA, GA 30338-7707
                                          FOUNDATION ET AL.
                                          257 FULLER ROAD
                                          ALBANY, NY 12203


THE ROBERTS COMPANY, INC                  THE SALVATION ARMY BOYS & GIRLS         THE SALVATION ARMY
176 LAURIE ELLIS ROAD                     CLUB OF DURHAM                          1001 FREEMAN MILL RD
WINTERVILLE, NC 28590-8401                810 NORTH ALSTON AVENUE                 GREENSBORO, NC 27406
                                          DURHAM, NC 27701-3806




THE SIGN SHOP OF THE TRIANGLE INC         THE SPENCER TURBINE COMPANY             THE STANLEY WORKS INC
P.O. BOX 1014                             600 DAY HILL ROAD                       480 MYRTLE ST
HOLLY SPRINGS, NC 27540-1014              SOUDERTON, PA 18964                     NEW BRITAIN, CT 06053




THE TEEN ACTION AND SUPPORT CENTER        THE TOWN OF SILER CITY, A NORTH         THE TRAVELERS INDEMNITY COMPANY OF
1194 W WALNUT ST                          CAROLINA MUNI CORP                      AMERICA
ROGERS, AR 72756                          ATTN: HENRY E. RAPER, TOWN MANAGER      1 TOWER SQ
                                          P.O. BOX 769; 311 NORTH SECOND AVE.,    HARTFORD, CT 06183
                                          ROOM 302
                                          SILER CITY, NC 27344


THE TRUSTEES OF PURDUE UNIVERSITY         THE TRUSTEES OF PURDUE UNIVERSITY       THE VOGEL GROUP, LLC
THE SHORE FIRM                            TURNING POINT LITIGATION                2445 M STREET, NW
MICHAEL SHORE, L. COOPER HARRELL          300 NORTH GREENE STREET, SUITE 2000     WASHINGTON, DC 20037-1011
5646 MILTON STREET, SUITE 423, 430        GREENSBORO, NC 27401
DALLAS, TX 75206
THE WFC GROUP INCCase 25-90163          Document  87 Filed inCONTRACTING
                                           THE WHITING-TURNER TXSB on 07/03/25
                                                                         CO.     Page
                                                                               THE      837 of 944
                                                                                   WHITING-TURNER CONTRACTING CO.
323 E WACKER DRIVE 249                      ATTN: MATTHEW MOORE PROJECT          ATTN: SEAN NOONAN
CHICAGO, IL 60601-5282                      MANAGER                              8529 SIX FORKS ROAD FORUM IV SUITE 150
                                            2519 MADISON AVENUE, SUITE 200       RALEIGH, NC 27615-4974
                                            KANSAS CITY, MO 64108



THE WHITING-TURNER CONTRACTING CO.          THEFRAMEWORKS INC                    [NAME REDACTED]
DYNAMIC SYSTEMS INC; ROVISYS BUILDING       ATTN VP                              [ADDRESS REDACTED]
TECHNOLOGIES                                108 WILLIS ST
SC STEEL, LLC; SHAMBAUGH & SON, L.P.;       BIRMINGHAM, MI 48009
STARR ELECTR, ATTN: WSP USA BUILDINGS
INC.
ONE PENN PLAZA, 4TH FLOOR
NEW YORK, NY 10119

[NAME REDACTED]                             [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                             THERMA WAVE INC                      THERMACORE INC
[ADDRESS REDACTED]                          ATTN DIR GLOBAL BUSINESS DEV         ATTN PRESIDENT
                                            1250 RELIANCE WAY                    780 EDEN RD
                                            FREMONT, CA 94539                    LANCASTER, PA 17601




THERMAGON INC                               THERMAL MANAGEMENT SOLUTIONS LLC     THERMAL PRODUCT SOLUTIONS
ATTN COO                                    ATTN PRESIDENT                       2821 OLD RTE 15
4707 DETROIT AVE                            10113 CAROLL CANYON RD               NEW COLUMBIA, PA 17856
CLEVELAND, OH 44102                         SAN DIEGO, CA 92131




THERMAL RESOURCE SALES INC                  THERMAL SOLUTION RESOURCES LLC       THERMAL TECHNOLOGY INC
ATN SR SALES ENGINEER                       ATTN PRINCIPAL MGR                   ATTN PROJ ENGINEER
600 AIRPORT BLVD, STE 1400                  91 POINT JUDITH RD, STE 123          90 AIRPORT RD
MORRISVILLE, NC 27560                       NARRAGANSETT, RI 02882               CONCORD, NH 03301




THERMALKING TECHNOLOGY                      THERMASTRATE LTD                     THERMA-TRON-X INC
INTERNATIONAL CO                            ATTN BUSINESS DEV MGR                ATTN CONTRACTS MGR
ATTN PRESIDENT                                                                   1155 S NEENAH AVE
NO. 22 WUCYUN 3RD RD                                                             STURGEON BAY, WI 54235
WUGU TOWNSHIP
TAIPEI COUNTY 24891 TAIWAN


THERMIK CORP                                THERMIONICS NORTHWEST INC            THERMO COOL CORP
ATTN PRES                                   ATTN GENERAL MGR                     ATTN PRESIDENT
3304 US HWY 70 E                            231 OTTO ST                          1370 TULLY RD, STE 506
NEW BERN, NC 28560                          PORT TOWNSEND, WA 98368              SAN JOSE, CA 95122




THERMO ELECTRIC COMPANY, INC.               THERMO ELECTRON CORP                 THERMO ELECTRON LABORATORY
CORPORATE OFFICES                           ATTN INORGANIC MS SPECIALIST         EQUIPMENT LLC
WEST CHESTER, PA 19380-4042                 355 RIVER OAKS PKWY                  C/O THERMO FISHER SCIENTIFIC
                                            SAN JOSE, CA 95134                   168 3RD AVE
                                                                                 WALTHAM, MA 02451



THERMO ELECTRON NORTH AMERICA               THERMO FISHER SCIENTIFIC CHEM DBA    THERMO FISHER SCIENTIFIC
5225 VERONA ROAD                            ALFA AESAR INC                       DBA DOE & INGALLS MANAGEMENT LLC
MADISON, WI 53711-4497                      INC DBA ALFA AESAR, INC.             ATTN DIR OF OPS
                                            2 RADCLIFF ROAD                      2525 MERIDIAN PKWY, STE 400
                                            TEWKSBURY, MA 01876-1182             DURHAM, NC 27713
                  Case 25-90163
THERMO VACUUM GENERATORS  INC         Document 87 TECHNOLOGY
                                         THERMOKING Filed in TXSB
                                                               INTL on
                                                                    CO 07/03/25 THERMOSET
                                                                                  Page 838INCof 944
ATTN PRES                                 ATTN CHAIRMAN                           ATTN MOLDING OPER MANAGER
3030 CALLAN RD                            NO 22, WUCYUAN, 3RD RD, WUGU TOWNSHIP   10605 N BAEHR RD
SAN DIEGO, CA 92121                       TAIPEI COUNTY 24891                     MEQUON, WI 53092
                                          TAIWAN



THERMOSHUTTLE CORPORATION LTD             THERMOTECH INC                          THERMOTRON INDUSTRIES INC
ATTN MICHAEL HUANG                        ATTN CHIEF EXECUTIVE OFFICER            ATTN REGIONIAL SERVICE MGR
NO 2, ALY 8 LIN 2 SEC 1                   1302 S 5TH ST                           291 KOLLEN PARK DR
MINSHENG N RD, GUISHAN TWNSHP             HOPKINS, MN 55343                       HOLLAND, MI 49423
TAOYUAN COUNTY 333 TAIWAN



THERMSHIELD LLC                           THERMTEST INC                           THERMTROL INTL LTD
ATTN DIR                                  ATTN PRESIDENT                          ATTN MG DIRECTOR
VILLAGE WEST II, STES 2D/E                60 MELISSA ST, UNIT 2                   RM 1226, 12/F, TWR A SOUTHMARK
36 COUNTRY CLUB RD                        FREDERICTON, NB E3B 6W1                 11 YIP HING ST
GILFORD, NH 03249                         CANADA                                  WONG CHUK HANG HONG KONG



THETA OPTOELECTRONICS CO LTD              THETA-J ASSOCIATES                      [NAME REDACTED]
ATTN PRES                                 ATTN PRESIDENT                          [ADDRESS REDACTED]
7F, NO 653, BANAN RD                      P.O. BOX 5670
ZHONGHE DISTRICT                          VERNON HILLS, IL 60061
NEW TAIPEI CITY 235 TAIWAN



[NAME REDACTED]                           [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                           THIN FILM ENGINEERING INC               THIN FILM INDUSTRIES INC
[ADDRESS REDACTED]                        ATTN PRESIDENT                          1300 STEEL ROAD WEST
                                          2157 OTOOLE AVE, UNIT E                 MORRISVILLE, PA 19067
                                          SAN JOSE, CA 95131




THIN FILM TECHNOLOGY INC                  THIN MATERIALS AG                       [NAME REDACTED]
ATTN SALES                                ATTN PRES & CEO                         [ADDRESS REDACTED]
153 INDUSTRIAL WAY                        ELSTERSTRASSE 23, HRB 163407
P.O. BOX 1942                             EICHENAU 82223
BUELLTON, CA 93427-1942                   GERMANY



THINK ON YOUR FEET INTERNATIONAL IN       THINKFIRE SERVICES USA LTD              THINKING ELECTRONIC INDUSTRIAL CO LTD
15 DELISLE AVE                            ATTN SVP CLIENT SERVICES                ATTN ASSOC VP
TORONTO, ON M4V 1S8                       25 INDEPENDENCE BLVD, STE 402           12/F, NO 93, DASHUN 1ST RD
CANADA                                    WARREN, NJ 07059                        ZUOYING DIST
                                                                                  KAOHSIUNG TAIWAN



THINKLASER USA INC                        THINKNRG LLC                            THINKY CORPORATION
ATTN CHIEF OPERATING OFFICER              ATTN CHIEF EXECUTIVE OFFICER            ATTN SALES DIR
1071 AVENIDA ACASO, STE F                 329 MIDDLEFIELD RD                      3-7-16 IWAMOTO-CHO CHIYODAKU
CAMARILLO, CA 93012                       PALO ALTO, CA 94301                     TOKYO 1-1 0032
                                                                                  JAPAN



THINNECT INC                              THINSIC, INC.                           [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER              3350 SCOTT BLVD                         [ADDRESS REDACTED]
440 N WOLFE RD                            SANTA CLARA, CA 95054-3122
SUNNYVALE, CA 94085
TH-NEON-ELECTRONIC  Case    25-90163
                       COMPONENTS  LTD   Document
                                            THOMAS87   Filed ATTY
                                                  A GIGLIOTTI in TXSB  on
                                                                  AT LAW   07/03/25 THOMAS
                                                                         PLLC         PageCHRISTOPHER
                                                                                           839 of 944GROUP INC
ATTN GEN DIR                                 ATTN TOM GIGLIOTTI                    ATTN PRESIDENT
6-N OFC, 68/2 BLDG, 5-YA LINIYA VO           2520 PENNYSHIRE LN                    4230 STATE RTE 306, STE 200
ST PETERSBURG 199178                         RALEIGH, NC 27606                     WILLOUGHBY, OH 44094
RUSSIA



[NAME REDACTED]                              THOMAS GROUP INC                      THOMAS GROUP INC
[ADDRESS REDACTED]                           ATTN DAVID ENGLISH                    ATTN PRES
                                             5221 N OCONNOR BLVD, STE 500          5215 N OCONNOR RD, STE 250
                                             IRVING, TX 75039                      IRVING, TX 75039




THOMAS GROUP INC                             THOMAS LIGHTING                       [NAME REDACTED]
ATTN VP                                      ATTN GENERAL MGR                      [ADDRESS REDACTED]
2001 GATEWAY PL, STE 440W                    10350 ORMSBY PARK PL, STE 601
SAN JOSE, CA 95110                           LOUISVILLE, KY 40223




THOMAS SCIENTIFIC                            [NAME REDACTED]                       [NAME REDACTED]
1654 HIGH HILL ROAD                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]
SWEDESBORO, NJ 08085-1780




[NAME REDACTED]                              [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                              [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  840 of 944
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[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




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[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     THOMCAST COMMUNICATIONS INC        THOMPSON AND JOHNSON EQUIPMENT CO I
[ADDRESS REDACTED]                  ATTN CTO & VP ENGINEERING          6926 FLY RD
                                    104 FEEDING HILLS RD               EAST SYRACUSE, NY 13057
                                    SOUTHWICK, MA 01077




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
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                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     THOMSON CSF CENTRAL RESEARCH         THOMSON FINANCIAL CORP GROUP
[ADDRESS REDACTED]                  173 BLVD HAUSMANN                    C/O THOMSON REUTERS
                                    PARIS 75008                          19 DUNCAN ST
                                    FRANCE                               TORONTO, ON M5H 3H1
                                                                         CANADA



THOMSON INC                         THOMSON REUTERS - WEST (SERENGETI)   THOMSON REUTERS
ATTN GM BUSINESS DEV ICDH           P.O. BOX 6292                        195 BROADWAY
10330 N MERIDIAN ST                 CAROL STREAM, IL 60197-6292          NEW YORK, NY 10007-3100
INDIANAPOLIS, IN 46290




THOMSON TAX & ACCOUNTING            [NAME REDACTED]                      [NAME REDACTED]
P.O. BOX 6016                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
CAROL STREAM, IL 60197-6016




THORLABS INC                        THORN LIGHTING LTD                   [NAME REDACTED]
56 SPARTA AVENUE                    ATTN OPTICAL DESIGNER                [ADDRESS REDACTED]
NEWTON, NJ 07860-2402               ROUTE DE PAIX BP504
                                    LES ANDELYS CEDEX
                                    PARIS 27705 FRANCE



[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                      [NAME REDACTED]
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[NAME REDACTED] Case 25-90163            Document  87 Filed in TXSB on 07/03/25 THORTSEN
                                            [NAME REDACTED]                       Page 842  of 944CO
                                                                                         MAGNETICS
[ADDRESS REDACTED]                           [ADDRESS REDACTED]                     ATTN VP
                                                                                    6132-L BROOKSHIRE BLVD
                                                                                    CHARLOTTE, NC 28216




[NAME REDACTED]                              THRANE&THRANE A/S                      THREAD GROUP INC
[ADDRESS REDACTED]                           ATTN RF ENGINEER, R&D M SC EE          ATTN EXEC DIRECTOR
                                             LUNDTOFTEGAARDSVEJ 93 D                2400 CAMINO RAMON, STE 375
                                             LYNGBY DK-2800                         SAN RAMON, CA 94583
                                             DENMARK



THREE FIVE MATERIALS INC                     THREE POST INC                         THREE WAY LOGISTICS INC
ATTN THOMAS GUAN, PRESIDENT                  310 SOUTH HARRINGTON STREET            ATTN CFO
1261 BROADWAY, STE 401                       RALEIGH, NC 27603-1818                 42505 CHRISTY ST
NEW YORK, NY 10001                                                                  FREMONT, CA 94538




THREEBOND INTERNATIONAL INC                  THREEBOND INTERNATIONAL INC            THREEHILLS CO LTD
6184 SCHUMACHER PARK DR                      ATTN DAN AZUMA                         ATTN PRESIDENT
WEST CHESTER, OH 45069                       222 N SEPULVEDA BLVD, STE 1770         LHOTSE2, TOYOSAKI-3-15-4
                                             EL SEGUNDO, CA 90245                   KITA-KU
                                                                                    OSAKA 531-0072 JAPAN



[NAME REDACTED]                              THRUNITE CO LTD                        [NAME REDACTED]
[ADDRESS REDACTED]                           ATTN MANAGER                           [ADDRESS REDACTED]
                                             24B WANHAO GARDEN
                                             ZHANMUTOU TOWN
                                             DONGGUAN CITY, GUANGDONG CHINA



THURSTON ENGINEERING INC                     [NAME REDACTED]                        TIAN JIN COMMUNICATION AND
ATTN VP                                      [ADDRESS REDACTED]                     BROADCASTING CO LTD
12629 CHARING CROSS RD                                                              ATTN ENGINEER
CARMEL, IN 46033                                                                    185 XIN DA RD
                                                                                    HEBEI DISTRICT
                                                                                    TIAN JIN CITY CHINA


TIAN JIN JIN YA ELECTRONICS CO LTD           TIAN JIN YI PIN BEI JIAO BAO ZHUANG    TIANJIN AOHONG ENVIRONMENTAL
95, NAI HAO RD                               ZHI PIN YOU XIAN GONG SI               PROTECTION MATERIAL CO LTD
TIANJIN
CHINA




TIANJIN DATIAN TRANSPORTATION SVC CO         TIANJIN DATIAN TRANSPORTATION SVC CO   TIANJIN DMP TECHNOLOGY CO LTD
LTD                                          LTD                                    18 G BLDG OF YIYING COURTYARD
C/O DTW GROUP                                NO 16 TIANZHU RD, ZONE A               CROSS OF NO. 22 (JIUJINGLU & LIUWEI RD)
RM B, 16/F, BLOCK B, WAYLEE IND CENTRE       TIANZHU AIRPORT DEV ZONE               LIUWEI RD, HEDONG DISTRICT
30-38 TSUEN KING CIRTCUIT                    SHUNYI DISTRICT                        TIANJIN CHINA
TSUEN WAN HONG KONG                          BEIJING 101312 CHINA


TIANJIN JINYA ELECTRONICS CO LTD             TIANJIN RUNXIANG ELECTRICAL &          TIANJIN ZHONGYUANXI TECHNOLOGY
TIANJIN ECONOMIC & TECHNOLOGICAL DEV         MECHANICAL CO LTD                      CO., LTD.
ZONE                                         NO.211 GUANGRONG RD                    A503,5TH FLOOR,DATONG BLDG,NO. 467
NO.95 NANHAI RD                              HONGQIAO DISTRICT                      TIANJIN 300000
TIANJIN 300457                               TIANJIN 300400                         CHINA
CHINA                                        CHINA


TIAN-YUAN INDUSTRIAL CO LTD                  [NAME REDACTED]                        TIBCO SOFTWARE INC.
ATTN SALES ENGINEER                          [ADDRESS REDACTED]                     3303 HILLVIEW AVENUE
NO 1 YUANSHING ST, PA-TE CITY                                                       PALO ALTO, CA 94304-1204
TAOYUAN
TAIWAN
                 Case
TIBURON ASSOCIATES INC 25-90163   Document  87 Filed in TXSB on 07/03/25 TI-CON
                                     [NAME REDACTED]                        Page  843 of 944
                                                                                CONSULTING GMBH
ATTN VP OPERATIONS                    [ADDRESS REDACTED]                   ATTN MANAGING PARTNER
4027 COLONEL GLENN WY, STE 110                                             BRUDERSTRASSE 5A
BEAVERCREEK, OH 45431                                                      MUNICH 80538
                                                                           GERMANY



TICONA POLYMERS INC                   [NAME REDACTED]                      TIFCO INDUSTRIES INC
ATTN VP, GM                           [ADDRESS REDACTED]                   P.O. BOX 40277
8040 DIXIE HWY                                                             HOUSTON, TX 77240-0277
FLORENCE, KY 41042




TIFOMY TECH INC                       TIGER 2 ELECTRICAL CONTRACTORS INC   TIGER CONTROLS INC LLC
ATTN PRESIDENT                        ATTN OWNER                           ATTN PRESIDENT
2585 MILLENNIUM DR, STE 1             P.O. BOX 734                         611 HICKORY RIDGE DR
ELGIN, IL 60124                       ROUND ROCK, TX 78680                 GREENSBORO, NC 27409




TIGER DIRECT                          TIGER LIGHTS LLC                     TILESETTERS OF RALEIGH INC
ATTN ACCOUNT MGR                      ATTN RANDY RASHEIN, OWNER            5411 OLD POOLE RD
7795 W FLAGLER ST, STE 35             29419 BROWNSVILLE RD                 RALEIGH, NC 27610
MIAMI, FL 33144                       BROWNSVILLE, OR 97327




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




TILLYTEC LTD                          [NAME REDACTED]                      [NAME REDACTED]
ATTN DIRECTOR                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]
BAHNHOFSTRASSE 28A
RASTOW 19077
GERMANY



[NAME REDACTED]                       [NAME REDACTED]                      TIME VARYING TRANSMISSION CO.,LTD
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   NO. 9, CHUANGYE ROAD, HIGH-TECH ZON
                                                                           XIANGT XIANGTAN, HUNAN 411101
                                                                           CHINA




TIME WARNER CABLE INC                 TIME WARNER TELECOM HOLDINGS INC     TIME WARNER TELECOM OF CALIFORNIA LP
ATTN VP & CHIEF COUNSEL, IP           ATTN GENERAL MGR                     ATTN GENERAL MANAGER
60 COLUMBUS CIR                       3120 HIGHWOODS BLVD, STE 214         3120 HIGHWOODS BLVD, STE 214
NEW YORK, NY 10023                    RALEIGH, NC 27604                    RALEIGH, NC 27604
                  Case
TIME WARNER TELECOM  OF 25-90163
                        NORTH         Document
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                                                                                 Page TECHNOLOGY
                                                                                        844 of 944LTD
CAROLINA LP                               UNIT G02, PHOTONICS CENTRE                ATTN KANT LO
ATTN GENERAL MANAGER                      2 SCIENCE PARK E AVE                      UNIT 608, HARBOUR VIEW 2
3120 HIGHWOODS BLVD, STE 214              HONG KONG SCIENCE PARK                    16 SCIENCE PARK E AVE, HK SCIENCE PARK
RALEIGH, NC 27604                         SHATIN HONG KONG                          SHATIN HONG KONG



TIMELINK TECHNOLOGY LTD                   TIME-O-MATIC INC                          TIMEVALUE SOFTWARE, INC.
ATTN STEVE KC LEE                         DBA WATCHFIRE SIGNS                       22 MAUCHLY
RM 907, 9/F, STERLING CENTRE                                                        IRVINE, CA 92618-2306
11 CHEUNG YUE ST
LAI CHI KOK, KOWLOON HONG KONG



[NAME REDACTED]                           [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                        [ADDRESS REDACTED]




[NAME REDACTED]                           TIMS FARM & FORESTRY, LLC                 [NAME REDACTED]
[ADDRESS REDACTED]                        TIMS FARM & FORESTRY II, LLC              [ADDRESS REDACTED]
                                          DHG MEGASITE, LLC; G5 INVESTMENTS, LLC,
                                          ATTN: TIM BOORAS
                                          7157 BOBBY JEAN RD.
                                          JULIAN, NC 27283


[NAME REDACTED]                           [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                        [ADDRESS REDACTED]




TINO STORAGE LOGISTICS EQUIPMENT CO       TIP CORP SDN BHD                          TIPS MESSTECHNIK GMBH
LTD                                       ATTN ASST TO DIR                          ATTN CEO
                                          LOT 608, JALAN SG SOP                     EUROPASTRASSE 5
                                          OFF JALAN SG TEKALI, BATU 14 HULU         VILLACH A-9524
                                          LANGAT                                    AUSTRIA
                                          SELANGOR 43100 MALAYSIA


TIR SYSTEMS LTD                           [NAME REDACTED]                           [NAME REDACTED]
7700 RIVERFRONT GATE                      [ADDRESS REDACTED]                        [ADDRESS REDACTED]
BURNABY, BC V5J 5M4
CANADA




TITAN LED INC                             TITANIC LIGHTING CO LTD                   TITANIUM POWER TECHNOLOGIES LLC
ATTN BRIAN HENNESSY,                      ATTN PRES, MKTG                           ATTN CO-FOUNDER
FOUNDER/PRESIDENT                         MAOHUI INDUSTRIAL ZONE                    2514 EDGEHILL RD
4590 ISH DR, UNIT 100                     HENLAN TOWN, GUANGDONG PROVINCE           CLEVELAND, OH 44106
SIMI VALLEY, CA 93063                     ZHONGSHAN CITY CHINA



TITANIUM TECHNOLOGIES                     TIVIAN                                    [NAME REDACTED]
ATTN GERALD CAMPBELL                      575 LEXINGTON AVE                         [ADDRESS REDACTED]
15 BURRIANA                               NEW YORK, NY 10022-0222
SAN CLEMENTE, CA 92672




[NAME REDACTED]                           [NAME REDACTED]                           TJ GREEN ASSOCIATES LLC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                        ATTN DIR
                                                                                    739 REDFERN LN
                                                                                    BETHLEHAM, PA 18017
[NAME REDACTED] Case 25-90163       Document  87 Filed
                                       TK ELEVATOR      in TXSB on 07/03/25 TKPage
                                                   CORPORATION                      845 of 944
                                                                              MOLD LTD
[ADDRESS REDACTED]                      FKA THYSSENKRUPP ELEVATOR             ATTN MARKETING DIRECTOR
                                        3100 INTERSTATE N CIRCLE SE, SUITE    TK TECHNOLOGY PARK, HUIYE RD 11
                                        ATLANTA, GA 30339-2296                GUANGMING HI-TECH PK, GUANGMING NEW
                                                                              DIST
                                                                              SHENZHEN, GUANGDONG 518107 CHINA


TK YEUNG                                TLS ELECTRICAL CO INC                 TM TEAM MANUFACTURING
39 ROYCE CLOSE                          ATTN PROJECT MANAGER
DUNSTABLE LU6 2NT                       1750 CORN RD
UNITED KINGDOM                          SMYRNA, GA 30080




TM4 INC                                 TMC INDUSTRIES INC                    TMC METAL (HONG KONG) LTD
ATTN ENGINEERING VP                     1423 MILL LANE                        ATTN MANAGER
135, RUE JOSEPH-ARMAND BOMBARDIER       WACONIA, MN 55387-1044                RM 09, 2/F, BLK 4
BUREAU 25                                                                     NAM FUNG INDUST CITY, 18 TIN HAU RD
BOUCHERVILLE, QC J4B 8P1 CANADA                                               TUEN MUN HONG KONG



TMC SALES INC                           TMD TECHNOLOGIES LTD                  T-MOBILE USA INC
ATTN JASON THOR                         SWALLOWFIELD WAY                      ATTN AREA DIRECTOR
1126 SANFORD ST                         HAYES MIDDLESEX UB3 1DQ               12920 SE 38TH ST
WINNIPEG, MB R3E 2Z9                    UNITED KINGDOM                        BELLEVUE, WA 98006
CANADA



TMS LIGHTING LTD                        TNO DEFENCE SECURITY AND SAFETY       TNT USA INC
ATTN PRESIDENT                          ATTN BUSINESS UNIT MANAGER            68 S SERVICE RD, STE 340
247A SUMMERLEA RD                       OUDE WAALSDORPERWEG 63                MELVILLE, NY 11747
BRAMPTON, ON L6T 4E1                    THE HAGUE 2509 JG
CANADA                                  NETHERLANDS



[NAME REDACTED]                         [NAME REDACTED]                       TOA OPTRONICS CORP, HSINCHU FACTORY
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    ATTN DIRECTOR
                                                                              NO. 81, KWANG-FU N RD
                                                                              HSINCHU INDUSTRIAL PARK
                                                                              HU-KOU, HSINCHU 303 TAIWAN



[NAME REDACTED]                         TODDCO GENERAL INC                    [NAME REDACTED]
[ADDRESS REDACTED]                      9235 TRADE PLACE, STE J               [ADDRESS REDACTED]
                                        SAN DIEGO, CA 92126




[NAME REDACTED]                         TOHO TECHNOLOGY INC                   TOKAI CARBON CO LTD
[ADDRESS REDACTED]                      4809 N RAVENSWOOD AVENUE SUITE 113    ATTN EXECUTIVE DIR
                                        CHICAGO, IL 60640-4417                AOYAMA BLDG 2-3, KITA-AOYAMA 1-CHROME
                                                                              MINATO-KU
                                                                              TOKYO 107-8636 JAPAN



TOKI CORPORATION                        TOKUSEN USA INC                       TOKUSHIMA SANSOKOGYO CO LTD
ATTN ENGINEERING & PURCHASING MGR       ATTN SALES MNG                        ATTN PRESIDENT
3-43-15 OMORI-KITA                      1500 AMITY RD                         8-74 KITATAYMIYA 1- CHOME
OTA-KU                                  CONWAY, AR 72032                      TOKUSHIMA-SHI
TOKYO 143-0016 JAPAN                                                          TOKUSHIMA 770-0003 JAPAN



TOKUYAMA CORP                           TOKUYAMA CORP                         TOKYO ELECTRON LIMITED
ATTN DIRECTOR & MEO                     ATTN EXEC OFFICER, GM CORP DEV DEPT   ATTN GM NORTH AMERICA & EUROPE SALES
40 WADAI                                KASUMIGASEKI COMMON GATE W TWR 2-1    AKASAKA BIZ TOWER, 5-3-1 AKASAKA
TSUKUBA, IBARAKI                        KASUMIGSEKI 3-CHOME, CHIYODA-KU       MINATO-KU
JAPAN                                   TOKYO 100-8983 JAPAN                  TOKYO 107-6325 JAPAN
                 Case 25-90163
TOKYO ELECTRON LTD                   Document  87 Filed
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                                                       SINGAPORE   onLTD.
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                                                                                 Page  846 of 944
                                                                                     ELECTRON
AKASAKA BIZ TOWER 3-1 AKASAKA            1 PAYA LEBAR LINK, 14-05 PLQ 2, PA   ATTN: MARK DOUGHERTY
5-CHO MINATO-KU                          SINGAPORE 408533                     2400 GROVE BLVD
TOKYO 408533                             SINGAPORE                            AUSTIN, TX 78741-6500
JAPAN



TOKYO JUKI INTERNATIONAL TRADING         TOKYO KEIKI INC                      [NAME REDACTED]
ROOM 904-905, HAILIANG BLDG NO. 22       ATTN GENERAL MGR                     [ADDRESS REDACTED]
ZHONGJIANG RD                            2-16-46, MINAMI-KAMATA
PUTUO DISTRICT                           OHTA-KU
SHANGHAI CHINA                           TOKYO 144-8551 JAPAN



[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                      TOM BLEDSOE
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   ATTN BLEDSOE, TOM
                                                                              3291 FRAZER RD
                                                                              NEWARK, DE 19702




TOM FULDNER LLC                          TOM POWELL LLC                       TOM QUINN SCIENTIFIC SERVICES LLC
ATTN OWNER                               5724 QUAIL RIDGE DRIVE               ATTN PRESIDENT
2200 DURWESTON CT                        SANFORD, NC 27332-7843               100 VESTAVIA WOODS DR
RALEIGH, NC 27615                                                             RALEIGH, NC 27615




[NAME REDACTED]                          TOMAR ELECTRONICS INC                [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN PRESIDENT                       [ADDRESS REDACTED]
                                         2100 W OBISPO AVE
                                         GILBERT, AZ 85233




[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




TOMLINSON ASPHALT CO INC                 TOMOTHERAPY INC                      TOMPKINS ASSOCIATES INC
ATTN GENERAL MANAGER                     ATTN VP, SEC GENERAL                 ATTN GENERAL COUNSEL
1411 W VAN ASCHE                         1240 DEMING WAY                      6870 PERRY CREEK RD
FAYETTEVILLE, AR 72704                   MADISON, WI 53717                    RALEIGH, NC 27616




TOMPKINS INTERNATIONAL                   [NAME REDACTED]                      [NAME REDACTED]
ATTN MIKE FUTCH                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]
6870 PERRY CREEK RD
RALEIGH, NC 27616




TOMSK STATE UNIVERSITY                   TOMTOM NORTH AMERICA INC             TONG HSING ELECTRONIC IND LTD
ATTN RECTOR                              ATTN LEGAL DEPT                      ATTN PRESIDENT
40 LENINA STR                            DE RUYTERKADE 154                    NO 55, LN 365, YINGTAO RD
TOMSK 634050                             AMSTERDAM 1011 AC                    YINGTAO RD
RUSSIA                                   NETHERLANDS                          YINKO DIST, NEW TAIPEI 239 TAIWAN
                  Case IND.
TONG HSING ELECTRONICS   25-90163
                             LTD.      Document 87 PHILIPPINES
                                          TONG HSING Filed in TXSB
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                                                                                 Page  847
                                                                                    MING    of 944 CO
                                                                                         ENTERPRISES
4029 PLANT2,103 PROSPERITY AVE, CAR        4029, PLANT 2, 103 PROSPERITY AVENUE    ATTN DIRECTOR
CALAMBA 4029                               CARMELRAY INTERNATIONAL BUSINESS        FLAT B, 16/F, BLK 3, PARK CENTRAL, 9,
PHILIPPINES                                PARK                                    TONG TAK ST, TSEUNG KWAN O
                                           103 PROSPERITY AVE                      KOWLOON HONG KONG
                                           CALAMBA CITY, LAGUNA 4029 PHILIPPINES


TONGLING FUSHI SANJIA MACHINE CO LTD       [NAME REDACTED]                         TONOGA INC
                                           [ADDRESS REDACTED]                      DBA TACONIC
                                                                                   ATTN DIR OF TECH AND MFG
                                                                                   136 COONBROOK RD
                                                                                   PETERSBURGH, NY 12138



[NAME REDACTED]                            TONS LIGHTOLOGY INC                     TONTEC INTERNATIONAL LTD
[ADDRESS REDACTED]                         ATTN ASSISTANT MANAGER                  ATTN SALES & MARKETING MGR
                                           4F NO. 236 BOAI ST                      UNIT 1209-12, TELFORD HOUSE
                                           SHULIN DIST, NEW TAIPEI 23845           16 WANG HOI RD
                                           TAIWAN                                  KOWLOON BAY HONG KONG



TONY PEARCE PHOTOGRAPHY INC.               TOOL AND GAGE HOUSE, THE                TOOLING & EQUIPMENT INTERNATIONAL
800 / 101 MORATUCK DRIVE                   538 HEBRON STREET                       CORP
RALEIGH, NC 27604-1444                     CHARLOTTE, NC 28224-5989                ATTN PRESIDENT
                                                                                   12550 TECH CENTER DR
                                                                                   LIVONIA, MI 48150



TOOLING ASSOCIATES INC                     TOP & TOP CORP                          TOP DIE CASTING CO
ATTN PRESIDENT                             ATTN CEO                                ATTN SEC
3800 OLYMPIA MALL                          2277 URIDO                              13910 DEARBORN
WINSTON SALEM, NC 27104                    ICHIHARA-SHI, CHIBA 290-0171            SOUTH BELOIT, IL 61080
                                           JAPAN



TOP ENERGY SAVING SYSTEM CORP              TOP LIGHTING CO LTD                     TOP LINK INDUSTRIAL CO LTD
ATTN PRESIDENT                             NANGE INDUSTRIAL PARK, DAO-JIAO TOWN    ATTN QUENTON LEE
3F, NO 115, WUGONG 3RD RD                  DONGGUAN CITY, GUANGDONG 523170         100B, 10/F, SUNBEAM CTR
WUGU TOWNSHIP                              CHINA                                   27 SHING YIP ST KWUN TONG
TAIPEI COUNTY 248 TAIWAN                                                           KOWLOON HONG KONG



TOP WIN OPTOELECTRONICS CORP               TOP WIN OPTOELECTRONICS CORP            TOPAZ LIGHTING CORP
ATTN HOWARD MAO                            ATTN PRESIDENT                          ATTN VP
5F-2, NO. 120, QIAOHE RD                   2F, NO. 148, JIAN 1ST RD                225 PARKSIDE DR
ZHONGHE DIST                               ZHONGHE CITY, TAIPEI 235                SAN FERNANDO, CA 91340
NEW TAIPEI CITY 235 TAIWAN                 TAIWAN



TOP-CLEAN GEBAUDEREINIGUNG GMBH            TOPCO ENERGY SAVING SYSTEMS CORP        TOPCO TECHNOLOGIES CORP
ATTN MANAGING DIRECTOR                     ATTN CHARIMAN                           ATTN GM
FREIMANNER WEG 4                           3F, NO 115, WU-KUNG 3RD                 14F, NO 102, SEC 4, CIVIC BLVD
GARCHING, MUNICH 85748                     WU-KU INDUSTRIAL PARK, WU-KU HSIANG     DAAN DISTRICT
GERMANY                                    TAIPEI HSIEN 248 TAIWAN                 TAIPEI CITY 106 TAIWAN



TOP-COAT INC                               TOPCON CORP                             TOPOCEAN CONSOLIDATION SERVICE
ATTN PRESIDENT                             ATTN SR MANAGER                         CHINA LTD
6001 TRIANGLE DR                           75-1 HASUNUMA-CHO                       C/O ZHONG SHAN BRANCH
RALEIGH, NC 27617                          ITABASHI-KU                             RM611, N TOWER
                                           TOKYO 174-8580 JAPAN                    HOLIDAY PLZ, NO.6 XINGZHONG RD
                                                                                   ZHONGSHAN, GUANGDONG CHINA


TOPPAN PHOTOMASKS INC                      TOPPAN PHOTOMASKS, INC                  TOPPER INDUSTRIAL INC
ATTN TPI RECYCLE MGR                       23577 NETWORK PLACE                     ATTN PRESIDENT
400 TEXAS AVE                              CHICAGO, IL 60673-1235                  1729 E FRONTAGE RD
ROUND ROCK, TX 78664                                                               STURTEVANT, WI 53177
TOPS ENGINEERING Case
                 INC   25-90163   Document
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                                             PETROCHEMICAL                  Page  848 of 944
                                                                                REDACTED]
ATTN PRES/CEO                         LOGISTICS & STORAGE SVCS CO LTD     [ADDRESS REDACTED]
275 W CAMPBELL RD, 600
RICHARDSON, TX 75080




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                     TORCH LIGHTING LTD
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  ATTN VP, SALES & MKTG
                                                                          CHINSHA TUN INDUSTRY DIST, SHEIHTOU
                                                                          LING
                                                                          SHUIKOU VILLAGE, TALANG TOWN
                                                                          DONGGUAN, GUANGDONG CHINA


[NAME REDACTED]                       TORMACH INC                         [NAME REDACTED]
[ADDRESS REDACTED]                    1071 UNIEK DRIVE                    [ADDRESS REDACTED]
                                      WAUNAKEE, WI 53597-9588




TORO COMPANY, THE                     TORRENT LABORATORY INC              [NAME REDACTED]
DBA UNIQUE LIGHTING SYSTEMS           483 SINCLAIR FRONTAGE ROAD.         [ADDRESS REDACTED]
5825 JASMINE ST                       MILPITAS, CA 95035-5414
RIVERSIDE, CA 92504




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




TORREY HILLS TECHNOLOGIES LLC         TORREY PINES RESEARCH INC           TOSEI AMERICA INC
ATTN PRESIDENT                        ATTN PRESIDENT                      ATTN GENERAL MANGER
6370 LUSK BLVD, STE F-111             5973 AVENIDA ENCINAS, STE 140       9641 INTEROCEAN DR
SAN DIEGO, CA 92121                   CARLSBAD, CA 92008                  CINCINNATI, OH 45246




TOSHIBA AMERICA ELECTRONIC COMPONEN   TOSHIBA CORP RESEARCH & DEVT CTR    TOSHIBA CORP
5231 CALIFORNIA AVENUE                ATTN CHIEF RES SCIENTIST            ATTN TECHNOLOGY EXEC
CHICAGO, IL 60693                     1 KOMUKAI TOSHIBA-CHO               1-1, SHIBAURA 1-CHOME, MINATO-KU
                                      SAIWAI-KU                           TOKYO 105-8001
                                      KAWASAKI 212-8582 JAPAN             JAPAN



TOSHIBA CORPORATION                   TOSHIBA ELECTRONIC DEVICES AND      TOSHIBA INTL CORP
ATTN TECH EXEC                        STORAGE CORP                        ATTN SR VICE PRESIDENT
1-1, SHIBAURO 1-CHOME                 ATTN TECH EXEC                      13131 W LITTLE YORK RD
MINATO-KU                             1-1, SHIBAURO 1-CHOME               HOUSTAN, TX 77041
TOKYO 105-0023 JAPAN                  MINATO-KU
                                      TOKYO 105-0023 JAPAN
TOSHIBA LIGHTING &Case  25-90163
                   TECHNOLOGY CORP    Document
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                                                                                   Page  849 of
                                                                                       QUARTZ INC944
ATTN MASAO SEGAWA, DIRECTOR               32 QUEEN SQ                            14380 NW SCIENCE PARK DRIVE
1-201-1 FUNAKOSHI-CHO                     BRISTOL BS1 4ND                        PORTLAND, OR 97229-5419
YOKUSUKA, KANAGAWA 237-8510               UNITED KINGDOM
JAPAN



TOSOH SMD INC                             TOSPO LIGHTING CO LTD                  TOTAL CIRCUIT SOLUTIONS
20380 TOWN CENTER LANE A120               C/O HENGDIAN GROUP TOSPO LIGHTING CO   ATTN GEN MGR
CUPERTINO, CA 95014-3210                  LTD                                    3550 WARER AVE, 250-11
                                          KEXING RD 88                           FOUNTAIN VALLEY, CA 92708
                                          HENGDIAN INDUSTRIAL ZONE
                                          DONGYANG ZHEJIANG CHINA


TOTAL ENGINEERINF SOLUTIONS LLC           TOTAL FAB SOLUTIONS INC                TOTAL FACILITY SOLUTIONS INC
ATTN DIR OF TECHNOLOGY                    ATTN DIR, CMP TECHNOLOGY               20 TECH TRAIL SUITE 202
474 SW 12TH AVE                           2224 SOUTH 48TH ST                     STILLWATER, NY 12020-4506
DEERFIELD BEACH, FL 33442                 TEMPE, AZ 85282




TOTAL FILTRATION SERVICES INC             TOTAL LIGHTING CONCEPTS INC            TOTAL LIGHTING CONCEPTS INC
ATTN DIR OF FINANCE & INFO TECH           DBA VERTEX SOLUTIONS                   DBA VERTEX SOLUTIONS
5775 12TH AVE E, STE 130                  ATTN BILL SNOW                         ATTN ROBERT SIERK
SHAKOPEE, MN 55379                        P.O. BOX 425                           445 W COMMERCIAL ST, STE 2
                                          SYRACUSE, NY 13211-0425                EAST ROCHESTER, NY 14445



TOTAL MANUFACTURING SOLUTIONS LLC         TOTAL PRODUCTION SERVICES INC          TOTAL SEMICONDUCTOR SOLUTIONS (TSS)
ATTN OWNER                                6421-110 WESTGATE ROAD                 12 AVIS DRIVE STE 11
174 PILOT BYPASS RD                       RALEIGH, NC 27617                      LATHAM, NY 12110-2607
ZEBULON, NC 27597




TOTALTEMP TECH INC                        TOTE SYSTEMS INTERNATIONAL LP          [NAME REDACTED]
ATTN CTO                                  ATTN GENERAL MANAGER                   [ADDRESS REDACTED]
3630 HANCOCK ST, A                        8821 FORUM WY, STE 113
SAN DIEGO, CA 92110                       FT WORTH, TX 76140




TOTTORI SANYO ELECTRIC CO LTD             TOTTORI SANYO ELECTRIC CO LTD          [NAME REDACTED]
ATTN BUSINESS UNIT LEADER                 ATTN GENERAL MANAGER, PHOTONICS        [ADDRESS REDACTED]
318, TACHIKAWA-CHO                        BUSINESS DIV
5-CHROME                                  7-101, TACHIKAWA-CHO
TOTTORI, TOTTORI JAPAN                    TOTTORI 680-8634
                                          JAPAN


TOURGEE & ASSOCIATES INC.                 TOVATECH LLC                           [NAME REDACTED]
TAI ENGINEERING                           ATTN PARTNER                           [ADDRESS REDACTED]
600 RED BROOK BLVD                        205 RUTGERS ST
OWINGS MILLS, MD 21117                    MAPLEWOOD, NJ 07040




TOWA CHEMICAL INDUSTRY CO LTD             TOWBES GROUP INC, THE                  TOWER AIR
ATTN PRESIDENT                            ATTN VP, COMMERCIAL PROPERTIES         ATTN OWNER
17-17 3-CHOME                             21 E VICTORIA, 200                     1 N CALLE CESAR CHAVEZ, STE 170
TATSUMIKITA, IKUNO-KU                     SANTA BARBARA, CA 93101                SANTA BARBARA, CA 93103
OSAKA 544-0004 JAPAN



TOWERS INC COOLING TOWER SPECIALIST       TOWERS WATSON DELAWARE INC             [NAME REDACTED]
1337 ROBBINS ROAD                         150 NORTH COLLEGE STREET SUITE 3050    [ADDRESS REDACTED]
WINSTON-SALEM, NC 27107-9660              CHARLOTTE, NC 28202-2396
[NAME REDACTED] Case 25-90163        Document 87
                                        TOWN OF     Filed
                                                SILER CITY, in TXSB
                                                             NORTH    on 07/03/25 TOWN
                                                                   CAROLINA         Page  850 of
                                                                                       OF SILER    944
                                                                                                CITY, NORTH CAROLINA
[ADDRESS REDACTED]                        ATTN BRIANA AVALOS                       ATTN: HENRY E. (HANK RAPER, TOWN
                                          311 NORTH SECOND AVE                     MANAGER
                                          ROOM 302                                 P.O. BOX 769
                                          SILER CITY, NC 27344                     SILER CITY, NC 27344



TOWN OF SILER CITY, NORTH CAROLINA        TOWN SQUARE MEDIA UTICA                  [NAME REDACTED]
WILLIAM C. MORGAN, JR.                    9418 RIVER ROAD                          [ADDRESS REDACTED]
1829 E. FRANKLIN ST.                      MARCY, NY 13403-2071
CHAPEL HILL, NC 27514




[NAME REDACTED]                           [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                       [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                          TOX-PRESSOTECHNIK LLC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                       ATTN REGIONAL SALES ENGINEER
                                                                                   4250 WEAVER PKWY
                                                                                   WARRENVILLE, IL 60555




TOYO ELECTRIC MFG CO LTD                  TOYO TANSO CO LTD                        TOYO TANSO USA INC
ATTN DESIGN DIVISION MGR                  ATTN EXEC OFFICER                        2575 NW GRAHAM CIRCLE
5F, 1-4-16 YAESU                          5-7-12 TAKESHIMA                         TROUTDALE, OR 97060-0280
TOKYO TATEMONO YAESU BLDG, CHUO-KU        NISHIYODOGAWA-KU
TOKYO 103-0028 JAPAN                      OSAKA 555-001 JAPAN



TOYODA GOSEI CO LTD                       TOYODA GOSEI CO LTD                      TOYODA GOSEI CO LTD
1 NAGAHATA, OCHIAI                        30, NISHINOMACHI                         ATTN GM, OPTOELECTRONICS BUS UNIT
HARUHI                                    KITAJIMA-CHO                             710 ORIGUCHI, SHIMOMIYAKE
NISHIKASUGAI, AICHI 452-8564              INAZAWA, AICHI 492-8540                  HEIWA
JAPAN                                     JAPAN                                    INAZAWA, AICHI 490-1312 JAPAN



TOYOLITE TECHNOLOGIES CORP                TOYON RESEARCH CORP                      TOYON RESEARCH CORPORATION
ATTN TONY CHEN, PRES                      ATTN ANALYST                             ATTN ANALYST
3F, NO 223, JUIKUANG RD                   75 AERO CAMINO, STE A                    6800 CORTONA DR
NEIHU, TAIPEI 114                         GOLETA, CA 93117                         GOLETA, CA 93117
TAIWAN



TOYOTA MOTOR CORPORATION                  TOYOTA MOTOR ENGINEERING & -             TOYOTA TSUSHO AMERICA INC
ATTN GENERAL MANAGER                      MANUFACTURING NORTH AMERICA INC          ATTN GEN MGR
1 TOYOTA-CHO                              ATTN GENERAL MANAGER                     805 3RD AVE, FL 18
TOYOTA-SHI, AICHI 471-8571                1555 WOODRIDGE                           NEW YORK, NY 10022
JAPAN                                     ANN ARBOR, MI 48105



TOYOTECH LLC                              TOYOYA MOTOR ENGINEERING &               [NAME REDACTED]
ATTN VP OF EMC SALES                      MANUFACTURING NA INC                     [ADDRESS REDACTED]
FREMONT BUSINESS PARK                     ATTN VP
42840 CHRISTY ST, STE 110                 1555 WOODRIDGE AVE
FREMONT, CA 94538                         ANN ARBOR, MI 48105



TPC TRAINING SYSTEMS,                     TPI ARCADE INC                           TPL COMMUNICATIONS INC
A DIVISION OF TELEMEDIA I                 ATTN PRESIDENT                           ATTN LENNY UCHNIK
750 LAKE COOK ROAD, SUITE 250             7888 RTE 98                              22826 MARIPOSA AVE
BUFFALO GROVE, IL 60089-2078              ARCADE, NY 14009                         TORRANCE, CA 90502
TPM OF CHARLOTTE Case
                 LLC     25-90163     Document  87 FiledLLC
                                         TPR ENETERPRISES in TXSB on 07/03/25 TPS
                                                                                Page  851PRODUCT
                                                                                  THERMAL of 944 SOLUTIONS
900 PRESSLEY ROAD                         ATTN PRESIDENT                       2821 OLD RT 15
CHARLOTTE, NC 28217-0974                  644 FAYETTE AVE                      NEW COLUMBIA, PA 17856-9396
                                          MAMARONECK, NY 10543




TPT WIRE BONDER GMBH & CO KG              TRACE LABORATORIES INC               TRACTOR SUPPLY CO
ATTN GM                                   ATTN GENERAL MANAGER                 ATTN DIR OF PRODUCT DEV
NUSSBAUMSTR 1                             5 N PARK DR                          5401 VIRGINIA WAY
KARLSFELD 85757                           HUNT VALLEY, MD 21030                BRENTWOOD, TN 37027
GERMANY



[NAME REDACTED]                           [NAME REDACTED]                      TRADE BUILDING SERVICE KK
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   ATTN PRESIDENT
                                                                               2-4-1 HAMAMATSU-CHO, MINATO-KU
                                                                               TOKYO 105-6133
                                                                               JAPAN



TRADE SERVICE COMPANY LLC                 TRADEBE ENVIRONMENTAL SERVICES LLC   TRADEBE ENVIRONMENTAL SERVICES LLC
ATTN DIR ACCOUNTING                       ATTN GEN COUNSEL                     ATTN SALES EVP
13280 EVENING CREEK DR S, STE 200         234 HOBART ST                        1433 E 83RD AVE, STE 200
SAN DIEGO, CA 92128                       MERIDEN, CT 06450                    MERRILLVILLE, IN 46410




TRADELINK ELECTRONIC COMMERCE LTD         TRADENET ENTERPRISE INC              TRADESTATION SECS (0271,8035)
ATTN EMILY CHUNG                          ATTN MGR                             ATT CORPORATE ACTIONS
11/F & 12/F, TOWER B, REGENT CENTRE       20819 CURRIER RD, UNIT 500           8050 SW 10TH ST, STE 2000
63 WO YI HOP RD                           WALNUT, CA 91789                     PLANTATION, FL 33324
KWAI CHUNG HONG KONG



TRADEUP SECURITIES INC (2862)             TRADING HOUSE NEON-ELECTRONIC        TRADING HOUSE NEON-ELECTRONIC
ATTN PROXY MGR                            COMPONENTS LTD                       COMPONENTS LTD
437 MADISON AVE, 27TH FL                  11N, 39 LITERA "A", 10TH LINE VO     ATTN ANDREY SKRIPNICHENKO
NEW YORK, NY 10022                        ST PETERSBURG 199178                 P.O. BOX 24
                                          RUSSIA                               ST PETERSBURG 199004
                                                                               RUSSIA


[NAME REDACTED]                           TRAFFIC CONTROL CORPORATION          TRAFFIC TECHNOLOGIES LTD
[ADDRESS REDACTED]                        ATTN: MR. BRIAN PLUM                 ATTN MANAGING DIR & CEO
                                          10435 ARGONNE WOODS DRIVE            31 BRISBANE ST
                                          WOODBRIDGE, IL 60517                 P.O. BOX 828
                                                                               ELTHAM, VIC 3095 AUSTRALIA



[NAME REDACTED]                           TRAINNOW.NET LLC                     TRAIS CO LTD
[ADDRESS REDACTED]                        ATTN CHIEF EXECUTIVE OFFICER         ATTN DIR
                                          9141 NE SALMON RUN LN                SHIWA INDUSTRIAL COMPLEX 3MA-807
                                          BAINBRIDGE ISLAND, WA 98110          JEONGWANG-DONG, SIHEUNG-SI
                                                                               GYEONGGI-DO 2094-7 SOUTH KOREA



[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                      [NAME REDACTED]                       Page  852 of 944
                                                                                REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        TRANE US INC                       [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN AREA SERVICE MANAGER          [ADDRESS REDACTED]
                                       234 W FLORIDA ST, FL 6
                                       MILWAUKEE, WI 53204




TRANS EAST INC                         TRANS TEC AMERICA LLC              TRANS TECH PUBLICATIONS LTD
DBA SOUTH EASTERN TRANSFORMER CO       7301 W BOSTON ST                   BRANDRAIN 6
405 E EDGERTON ST                      CHANDLER, AZ 85226-3224            UETIKON-ZURICH CH-8707
P.O. BOX 127                                                              SWITZERLAND
DUNN, NC 28334



TRANS TECH PUBLICATIONS LTD            TRANSCAT, INC.                     TRANSCOM INC
C/O ECSCRM2004, ANTONELLA POGGI        35 VANTAGE POINT DRIVE             ATTN VP SEMICONDUCTOR DEPT
CNR-IMM, VIA GOBETTI 101               ROCHESTER, NY 14624-1142           90 DASOONG 7TH RD
BOLOGNA 40129                                                             TAINAN SCIENCE-BASED INDUSTRIAL PARK
ITALY                                                                     TAINAN CITY 74145 TAIWAN



TRANSDUCER TECHNIQUES LLC              TRANSENE COMPANY, INC.             TRANSFAIR NA INTL FREIGHT SVCS INC
42480 RIO NEDO                         DANVERS INDUSTRIAL PARK            DBA TRANSGROUP INTERNATIONAL
TEMECULA, CA 92590-3734                DANVERS, MA 01923-1011             18850 8TH AVE
                                                                          SEATTLE, WA 98148




TRANSFER DEVICES INC                   TRANSFER DEVICES INC               TRANSFERFI PTE LTD
ATTN CEO                               ATTN CHIEF EXECUTIVE OFFICER       ATTN FINANCE DIRECTOR
500 LAURELWOOD RD, STE 11              45778 NORTHPORT LOOP W             81 AYER RAJAH CRESCENT, 01-53
SANTA CLARA, CA 95054                  FREMONT, CA 94538                  SINGAPORE 139967
                                                                          SINGAPORE



TRANSGENDER LAW CENTER                 TRANSISTOR DEVICES INC             TRANSLATIONS.COM INC
P.O. BOX 70976                         ATTN CONTRACTS MGR/LEGAL           THREE PARK AVE, 40TH FL
OAKLAND, CA 94612-0976                 36 NEWBURGH RD                     NEW YORK, NY 10016
                                       HACKETTSTOWN, NJ 07840
                  CaseINC.
TRANSLINE TECHNOLOGY,   25-90163   Document  87 INCFiled in TXSB on 07/03/25 TRANS-LUX
                                      TRANS-LITE                               Page 853   of 944
                                                                                       CORPORATION
1106 S. TECHNOLOGY CIR.                ATTN DIR ENGINEERING                  ATTN SR VP ENGINEERING
ANAHEIM, CA 92805-6329                 120 WAMPUS LN                         110 RICHARDS AVE
                                       MILFORD, CT 06460                     NORWALK, CT 06856




TRANSPAK INC                           TRANSPARENT CONTAINER CO INC          TRANSPERFECT TRANSLATIONS INTL. INC
520 NORTH MARLBURG WAY                 ATTN VP OF OPERATIONS                 1250 BROADWAY, 32ND FLOOR
SAN JOSE, CA 95133-1619                4404 HUNTERS RUN DR                   NEW YORK, NY 10001-3749
                                       CLEMMONS, NC 27012




TRANSPERFECT TRANSLATIONS              TRANSPHORM INC                        TRANSPORTATION IMPACT LCC
ATTN TODD MATTHEWS                     ATTN COO                              ATTN PARTNER
1005 SLATER RD, STE 107                115 CASTILIAN DR                      8002-B EMERALD DR
RESEARCH TRIANGLE PARK, NC 27703       GOLETA, CA 93117                      EMERALD ISLE, NC 28594




TRANSPORTATION INSIGHT LLC             TRANS-POTENT MECHANTRONICS            TRANSRE LONDON LTD
ATTN VP & GENERAL COUNSEL              (SHENZHEN) LTD                        ATTN CONSTRUCTION & ENGINEERING MGR
310 MAIN AVE WAY SE                    NO 13 JIA-YI INDUSTRIAL PARK          55 MARK LN
HICKORY, NC 28602                      GAON LAN ST                           LONDON EC3R 7NE
                                       LONGHUA DISTRICT                      UNITED KINGDOM
                                       SHENZHEN CHINA


TRANSTECH ELECTRONIC SRO               TRANSTOCK INC                         TRANSWORLD SYSTEMS, INC
ATTN RUDOLF TUBL, EXEC DIR             1601 N SEPULVEDA BLVD, STE 617        RE: 13259793-EDGV1
HNEVKOVSKA 1275/58                     MANHATTAN BEACH, CA 90266-5111        P.O. BOX 15110
PRAHA 4 148 00                                                               WILMINGTON, DE 19850
CZECH REPUBLIC



TRANSYSTEM INC                         [NAME REDACTED]                       [NAME REDACTED]
ATTN VP                                [ADDRESS REDACTED]                    [ADDRESS REDACTED]
300 NO 1-2, LI HSIN RD I
SCIENCE-BASED INDUSTRIAL PARK
HSINCHU TAIWAN



TRATO TLV                              [NAME REDACTED]                       [NAME REDACTED]
ATTN R&D ENG                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]
22 RUE MOLIERE
BP 369
ROUBAIX 59057 FRANCE



[NAME REDACTED]                        TRAVEL LEADERS CORPORATE LLC          TRAVEL MANAGEMENT PARTNERS INC
[ADDRESS REDACTED]                     3033 CAMPUS DR, STE W320              ATTN SM
                                       PLYMOUTH, MN 55441                    3725 NATIONAL DR, STE 210
                                                                             RALEIGH, NC 27612




TRAVELBIZ & TOURS SDN BHD              TRAVELERS CASUALTY & SURETY CO OF     TRAVELERS CASUALTY & SURETY CO OF
A-36-6, MENARA UOA BANGSAR             AMERICA                               AMERICA
KUALA LUMPUR 59000                     ATTN MG DIRECTOR                      C/O LOCKTON CO LLC
MALAYSIA                               1000 WINDWARD CON, STE 100            3280 PEACHTREE RD NW, STE 800
                                       ALPHARETTA, GA 30305                  ATLANTA, GA 30305



TRAVELERS CASUALTY & SURETY COMPANY    TRAVELERS CASUALTY & SURETY COMPANY   TRAVELERS INDEMNITY COMPANY
OF AMERICA                             OF AMERICA                            ONE TOWER SQUARE
1 TOWER SQ                             C/O MARSH USA INC                     CR09-A
HARTFORD, CT 06183                     ATTN JUDIE M CHISOLM                  HARTFORD, CT 06183-0001
                                       100 N TRYON ST, STE 3200
                                       CHARLOTTE, NC 28202
                 Case
TRAVELERS PROPERTY    25-90163
                   CASUALTY      Document  87 CASUALTY
                                    TRAVELLERS Filed in AND
                                                        TXSB   on 07/03/25 TRAVIS
                                                            SURETY           PagePERKINS
                                                                                   854 ofPLC
                                                                                           944
COMPANY OF AMERICA                   COMPANY OF AMERICA                     ATTN HEAD OF COMMERCIAL TRADING
1 TOWER SQ                           ONE TOWER SQUARE                       LODGE WAY HOUSE, LODGE WAY
HARTFORD, CT 06183                   HARTFORD, CT 06183                     HARLESTONE ROAD, NORTHAMPTON
                                                                            NORTHAMPTONSHIRE NN5 7UG UNITED
                                                                            KINGDOM


[NAME REDACTED]                      [NAME REDACTED]                        TRAXON TECHNOLOGIES LTD
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                     ATTN CHIEF OPERATING OFFICER
                                                                            208 WIRELESS CENTRE, 3 SCIENCE PK E AVE
                                                                            HONG KONG SCIENCE PARK
                                                                            SHATIN HONG KONG



TRC COMPANIES INC                    TRC ELECTRONICS INC                    TRC ENGINEERS INC
ATTN PRINCIPAL ENGINEER              ATTN PRESIDENT                         ATTN VICE PRESIDENT
5540 CENTERVIEW DR                   135 PASADENA AVE                       21 GRIFFIN RD N
RALEIGH, NC 27606                    LODI, NJ 07644                         WINDSOR, CT 06095




TRC ENVIRONMENTAL CORPORATION        TREASURER OF VIRGINIA                  TREE FIVE COMPOUNDS INC
5540 CENTERVIEW DRIVE                RE: 0004076589 (ORIGINAL)              ATTN YONG HONG GUAN, GM
RALEIGH, NC 27606-3363               P.O. BOX 570                           1261 BROADWAY, STE 403
                                     RICHMOND, VA 23218                     NEW YORK, NY 10001




TREES ON THE MOVE INC                TREICHEL ELEKTRONIK GMBH               [NAME REDACTED]
ATTN FINANCE DIRECTOR                SOELTERREEKE 5                         [ADDRESS REDACTED]
5611 S CALHOUN RD                    SPRINGE 31832
NEW BERLIN, WI 53151                 GERMANY




TREK BICYCLE CORP                    TREK10 INC                             TRELLISWARE TECHNOLOGIES INC
ATTN EPRODUCT MGR                    ATTN VP BUSINESS DEV                   ATTN VP, OPERATIONS & ALLIANCES
801 WEST MADISON ST                  506 W S ST                             16516 VIA ESPRILLO, STE 300
WATERLOO, WI 53594                   SOUTH BEND, IN 46601                   SAN DIEGO, CA 92127




TRELOCK GMBH                         [NAME REDACTED]                        TREND LIGHTING CORP
ATTN PURCHASING CLERK                [ADDRESS REDACTED]                     ATTN JASON CHAO
HARKORSTRASSE 17                                                            20F-1, NO 398, HUANBEI RD
MUENSTER 48042                                                              JHONGLI CITY
GERMANY                                                                     TAOYUAN CNTY 320 TAIWAN



TREND LIGHTING CORPORATION           TREND TECHNOLOGIES MEXICO S DE RL DE   [NAME REDACTED]
ATTN GM                              CV                                     [ADDRESS REDACTED]
4821 4TH ST                          ATTN BUS DEV MGR
IRWINDALE, CA 91706                  CARRETERA GUADALAJARA-MORELIA 1720
                                     TIAJOMULCO DE ZUNIGA
                                     JALISCO CP 45645 MEXICO


TRENKWALDER PERSONALDIENSTE AG       TRENT MARKETING SOLUTIONS LTD          TRESCAL INC.
ATTN JOB MGR                         ATTN STEVE WALLACE                     1065 COMSTOCK STREET
AG BRUNNERSTRASSE 73A                304 MARTINDALE LN                      SANTA CLARA, CA 95054-3407
VIENNA 1010                          BONFIELD, ON 90H IEO
AUSTRIA                              CANADA



TRESYS TECHNOLOGY LLC                [NAME REDACTED]                        [NAME REDACTED]
ATTN CFO                             [ADDRESS REDACTED]                     [ADDRESS REDACTED]
8840 STANFORD BLVD, STE 2100
COLUMBIA, MD 21045
TREX ENTERPRISES Case
                  CORP 25-90163      Document  87 FiledCORPORATION
                                        TREX ENTERPRISES in TXSB on 07/03/25 TRIPage   855 of 944
                                                                                 CITY MECHNICAL CONTRACTORS INC
ATTN VP, IP                              ATTN VP INTELLECTUAL PROPERTY         P.O. BOX 21546
427 ALA MAKANI ST                        10455 PACIFIC CENTER CT               GREENSBORO, NC 27420
KHAULUL                                  SAN DIEGO, CA 92121
MAUI, HI 96732



TRI OM SPA                               TRI POWER GROUP                       TRI TECH SOLUTIONS INC
ATTN R&D MGR                             ATTN PROJECT MNGR                     ATTN PRESIDENT
VIA DEI PRATI 20                         1671 MABURY RD                        106 WIND CHIME CT
CAMBIANO 10020                           SAN JOSE, CA 95113                    RALEIGH, NC 27615
ITALY



TRIAD ELECTRICAL CONTRACTORS INC         TRIAD FIREPROOFING INC                TRIAD POWER 2004 LTD
ATTN PRESIDENT                           ATTN VP & OWNER                       ATTN SERVICE MGR
112 CENTRAL PIEDMONT CT                  126 GRIFFITH PLAZA DR                 3342 MILLAR AVE
RANDLEMAN, NC 27317                      WINSTON SALEM, NC 27103               SASKATOON, SK S7K 7G9
                                                                               CANADA



TRIANGLE AREA SERVICES, INC              TRIANGLE BLDG SERVICES                TRIANGLE BUS CHARTERS
3818 SCHLEY ROAD                         ATTN PRES                             10700 WORLD TRADE BLVD, SUITE 114
HILLSBOROUGH, NC 27278-8821              1039 DRESSER CT                       RALEIGH, NC 27617
                                         RALEIGH, NC 27609




TRIANGLE BUSINESS JOURNAL                TRIANGLE CERTIFICATION LLC            TRIANGLE COATINGS, INC
3515 GLENWOOD AVE, STE 220               ATTN VP                               6721 MT HERMAN RD
RALEIGH, NC 27612                        2224 PAGE RD, STE 104                 MORRISVILLE, NC 27560-9223
                                         DURHAM, NC 27703




TRIANGLE E TOOLING & MACHINING INC       TRIANGLE ELECTRICAL SERVICES INC      TRIANGLE FLOORING & ACOUSTICAL INC
ATTN PRESIDENT                           ATTN VP                               ATTN PRESIDENT
6377 E NC 97                             12085 US HWY 15-501 N                 110 BRENROSE CIR
ELM CITY, NC 27822                       CHAPEL HILL, NC 27516                 DURHAM, NC 27705




TRIANGLE GLASS SERVICE INC               TRIANGLE HEALTH AND SAFETY INC        TRIANGLE HYGIENE INC
ATTN PRESIDENT                           ATTN PRESIDENT                        ATTN PRESIDENT
P.O. BOX 15429                           112 BOUNTY LANE                       814 W ACADEMY ST
DURHAM, NC 27704                         DURHAM, NC 27713                      FUQUAY VARINA, NC 27526




TRIANGLE INDUSTRIAL SERVICES INC         TRIANGLE INDUSTRIAL SUPPLY INC        TRIANGLE METAL WORKS INC
                                         ATTN JON LINK, PRESIDENT              ATTN PRESIDENT
                                         103 SOUTHGATE DR                      1423 WAIT AVE
                                         OXFORD, NC 27565                      WAKE FOREST, NC 27587




TRIANGLE STAINLESS INC                   TRIANGLE VACCUM                       TRIANGLE WASTEWATER TREATMENT PLANT
1705 NEW RALEIGH ROAD                    ATTN PRESIDENT                        ATTN STEPHANIE A BRIXEY, COMPLIANCE
DURHAM, NC 27703-9315                    4033 DUTCH HARBOR CT                  MGR
                                         RALEIGH, NC 27606                     5926 NC HWY 55 E
                                                                               DURHAM, NC 27713



TRIANGLE WATER SERVICE INC               TRIANGULATION INC                     [NAME REDACTED]
ATTN MANAGER                             ATTN PRES                             [ADDRESS REDACTED]
4096- 600 AIRPORT BLVD                   3885 EDWARDS RD
MORRISVILLE, NC 27560                    GRIMESLAND, NC 27837
[NAME REDACTED] Case 25-90163        Document
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                                                MECHANICAL   TXSB on 07/03/25 TRICOM
                                                                                PageRESEARCH
                                                                                     856 of 944
                                                                                             INC
[ADDRESS REDACTED]                       706 UTILITY ST                       ATTN GENERAL MGR
                                         GREENSBORO, NC 27405                 17981 SKY PARK CIR, STE L, M
                                                                              IRVINE, CA 92614




TRIDENT LIGHTING                         TRIDENT SYSTEMS INC                  TRIDONIC AG
ATTN SALES MANAGER                       ATTN EVP/COO                         OBERE ALLMEIND 2
7929 32ND ST SE                          10201 LEE HWY, STE 300               ENNENDA CH-8755
KENTWOOD, MI 49512                       FAIRFAX, VA 22030                    SWITZERLAND




TRIDONIC CONNECTION TECH GMBH & CO       TRIDONIC GMBH & CO KG                TRIDONIC JENNERSDORF GMBH
KG                                       ATTN MATTHIAS FUCHS                  TECHNOLOGIEPARK 10
ATTN APPLICATION ENGINEER                FARBERGASSE 15                       JENNERSDORF A-8380
ARCHENWEG 58                             DORNBIRN 6851                        AUSTRIA
INNSBRUCK 6020                           AUSTRIA
AUSTRIA


TRIDONIC OPTOELECTRONICS GMBH            TRIDONIC USA INC                     TRIDONIC
ATTN MANAGING DIR                        C/O TRIDONIC GMBH & CO KG            FARBERGASSE 15
EISENSTADTERSTRASSE 20                   FARBERGASSE 15                       DORNBIRN 6851
JENNERSDORF A-8380                       DORNBIRN 6851                        AUSTRIA
AUSTRIA                                  AUSTRIA



TRIDONICATCO OPTOELECTRONICS GMBH        TRI-LAND PROPERTIES INC              TRI-LOGIC INC
TECHNOLOGIEPARK 10                       1 E OAK HILL DR, STE 302             ATTN VP OF MKTG & SALES
JENNERSDORF A-8380                       WESTMONT, IL 60559                   2 HIGHWOOD DR, STE 202
AUSTRIA                                                                       TEWKSBURY, MA 01876




TRILUX GMBH & CO KG                      TRIMECH SOLUTIONS LLC                TRINA LIM & CO
ATTN ELENA BENZEL                        4461 COX RD STE 302                  10 ANSON RD
POSTFACH 1960                            GLEN ALLEN, VA 23060-3331            15-05 INTL PLAZA
ARNSBERG D-59753                                                              SINGAPORE 079903
GERMANY                                                                       SINGAPORE



[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




TRINITY CONSULTANTS INC.                 TRINITY CONSULTANTS                  TRINITY GROUP CONSTRUCTIONS LLC
CXALLOY                                  12700 PARK CENTRAL DR, STE 600       ATTN PRESIDENT
12700 PARK CENTRAL DRIVE                 DALLAS, TX 75251                     1395 WHISPERING OAKS DR
DALLAS, TX 75251-1542                                                         MATTHEWS, NC 28104




TRINITY LLC                              [NAME REDACTED]                      TRIOM SPA
ATTN PRESIDENT                           [ADDRESS REDACTED]                   ATTN R&D MANAGER
60 LEONARD ST                                                                 VIA DEI PRATI N 20
METUCHEN, NJ 08840                                                            CAMBIANO 10020
                                                                              ITALY



TRIO-TECH INTERNATIONAL PTE LTD          TRIPAR INC                           [NAME REDACTED]
TOA PAYOH                                ATTN VP                              [ADDRESS REDACTED]
TOA PYOH NORTH 318995                    9750 MAURICE DUPLESSIS
SINGAPORE                                MONTREAL, QC H1C 1G1
                                         CANADA
[NAME REDACTED] Case 25-90163                  Document
                                                  TRIPENT87 Filed
                                                         POWER LLC in TXSB on 07/03/25 TRIPHASE
                                                                                         Page 857
                                                                                                NV of 944
[ADDRESS REDACTED]                                 1185 NOVARA STREET                  ATTN CHIEF EXECUTIVE OFFICER
                                                   SAN DIEGO, CA 92107-1006            ROMEINE STRAAT 18
                                                                                       HEVERLEE 3001
                                                                                       BELGIUM



TRIPLE C INC                                       TRIPLE PLAY SERVICES INC            TRIPLE-E MACHINERY MOVING INC
ATTN OWNER                                         DBA THREE WAY LOGISITICS            3301 GILMAN RD
1212 W MAIN ST                                     ATTN DIRECTOR, CORP FINANCE         EL MONTE, CA 91732
OKLAHOMA CITY, OK 73106                            42505 CHRISTY ST
                                                   FREEMONT, CA 94536



TRIPOD TECHNOLOGY CORP                             TRIPOD(WUXI) ELECTRONIC CO LTD      [NAME REDACTED]
ATTN VP                                            ATTN GENERAL MGR                    [ADDRESS REDACTED]
1-3, ALLEY 5, LN 304, SEC 1, SHIN-NA RD, LU-       NO 18 E ER-QUAN PD DEV ZONE
CHU                                                XICHAN DIST
TAOYUAN 338                                        WUXI CITY, JIANGSU CHINA
TAIWAN


TRIQUINT SEMICONDUCTOR INC                         TRISTAR INC                         TRI-STATE BUSINESS SYSTEMS LLC
ATTN BRUCE R FOURNIER, VP BUSINESS                 ATTN CIO                            ATTN CHIEF EXECUTIVE OFFICER
DVPT                                               3740 E LA SALLE ST                  P.O. BOX 5615
2300 NE BROOKWOOD PKWY                             PHOENIX, AZ 85040                   HILLSBOROUGH, NJ 08844
HILLSBORO, OR 97124



TRISURE CORPORATION-AA                             TRI-THERM INC                       TRITON SYSTEMS INC
ATTN ERIN LUNSFORD                                 1406 SMITH RENO RD                  ATTN SR CONTRACT MANAGER
4325 LAKE BOONE TRL, STE 200                       RALEIGH, NC 27603-7732              200 TURNPIKE RD
RALEIGH, NC 27607                                                                      CHELMSFORD, MA 01824




TRIUMPH LIGHTING INC                               [NAME REDACTED]                     TRL TECHNOLOGY LTD
ATTN OWNER                                         [ADDRESS REDACTED]                  ATTN COMMERCIAL MGR
3685 MAIN ST                                                                           SIGMA CLOSE, TEWKESBURY
APPLE HILL, ON K0C 1B0                                                                 GLOS GL20 8ND
CANADA                                                                                 UNITED KINGDOM



TROLL SYSTEMS CORPORATION                          TRON ELEKTRONICKE SOUCASTKY SRO     TRON ELEKTRONIK SISTEMLER SAN VE TIC
ATTN VP CTO                                        ATTN ZDENEK SULAK                   AS
24950 ANZA DR                                      BELY PAZOUTOVE 1                    ATTN GM
VALENCIA, CA 91355                                 BRNO 624 00                         1 ESENSEHIR MAH MIMAT SINAN CAD
                                                   CZECH REPUBLIC                      33 Y DUDULLU
                                                                                       UMRANIYE, ISTANBUL TURKEY


TRONICS MEMS INC                                   TROPIAN                             TROQUELADORA BATESVILLE DE MEXICO -
ATTN PRESIDENT                                     ATTN CTO                            S DE RL DE CV
830 E ARAPAHO RD                                   20813 STEVENS CREEK BLVD            ATTN SALES MGR
RICHARDSON, TX 75081                               CUPERTINO, CA 95014                 LA NORIA, PARQUE IND QUERETARO
                                                                                       QUERETARO QRO 76220 MEXICO



[NAME REDACTED]                                    [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                                 [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                                    TROY-CSL LIGHTING INC               TRS GMBH
[ADDRESS REDACTED]                                 ATTN ENGINEER MANAGER               ATTN DIR ING
                                                   14508 NELSON AVE                    INDUSTRIESTRASSE 16
                                                   CITY OF INDUSTRY, CA 91744          STUTENSEE 76297
                                                                                       GERMANY
TRS REN TELCO      Case 25-90163   Document  87 LLC
                                      TRS-SESCO   Filed in TXSB on 07/03/25 TRU
                                                                              Page
                                                                                FLOW858 of 944 LLC
                                                                                     COMPONENTS,
DFW AIRPORT                            P.O. BOX 667                        12000 NE 95TH ST
DALLAS, TX 75261-9260                  KERNERSVILLE, NC 27285-0667         VANCOUVER, WA 98682-2448




TRUCK-LITE COMPANY INC                 TRUE INDUSTRIES INC                 TRUE LIGHT CO LTD
ATTN PRES & CEO                        DBA CLEVELAND PUNCH & DIE CO        ATTN CHIEF EXECUTIVE OFFICER
310 E ELMWOOD AVE                      ATTN CONTROLLER                     1704 GEUM-KANG VENTURETEL
FALCONER, NY 14733                     666 PRATT ST                        1108 BI-SAN DONG, DONG-AN GU
                                       RAVENNA, OH 44266                   ANYANG, GYEONGGI-DO SOUTH KOREA



TRUE VALUE COMPANY                     TRUEFAB LLC                         TRUELOOK INC
ATTN CONTROLLER                        3401 INDUSTRIAL DRIVE               ATTN SALES DIR
8600 W BRYN MAWR AVE                   DURHAM, NC 27704-9430               102 W 3RD ST, STE 725
CHICAGO, IL 60631                                                          WINSTON-SALEM, NC 27101




TRUELOVE & MACLEAN INC                 [NAME REDACTED]                     TRUEWIDE
ATTN ACCOUNT MGR                       [ADDRESS REDACTED]                  ATTN DIRECTOR
57 CALLENDER RD                                                            405 SINIL IT KNOWLEDGE INDUSTRY
WATERTOWN, CT 06795                                                        CENTRES
                                                                           13, LS-RO
                                                                           GIMPO, GYEONGGI-DO SOUTH KOREA


[NAME REDACTED]                        TRUIST BANK                         [NAME REDACTED]
[ADDRESS REDACTED]                     3322 WESTEND AVENUE SUITE 620       [ADDRESS REDACTED]
                                       NASHVILLE, TN 37208-6868




TRUMPF HUETTINGER, INC.                TRUMPF INC                          [NAME REDACTED]
111 HYDE ROAD                          DEPT. 135 P.O. BOX 150473           [ADDRESS REDACTED]
FARMINGTON, CT 06032-2834              HARTFORD, CT 06115-0473




[NAME REDACTED]                        [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                        TRU-PLASTICS LLC                    TRU-SI TECHNOLOGIES
[ADDRESS REDACTED]                     ATTN GM                             ATTN KEVIN CROWLEY
                                       14100 LEETSBIR RD                   657 N PASTORIA AVE
                                       STURTEVANT, WI 53177                SUNNYVALE, CA 94085




TRUSTEES OF BOSTON UNIVERSITY          TRUSTEES OF BOSTON UNIVERSITY       TRUSTEES OF TUFTS COLLEGE
1 SILBER WY, 8TH FL                    ATTN ASST TREASURER                 ATTN SR DIRECTOR, PURCHASING
BOSTON, MA 02215                       108 BAY STATE RD                    169 HOLLAND ST
                                       BOSTON, MA 02215                    SOMMERVILLE, MA 02144




TRUTECH INC                            TRU-TOOL INC                        [NAME REDACTED]
ATTN DIST MGR                          ATTN PRESIDENT                      [ADDRESS REDACTED]
155 WOOLEO DR                          14100 LEETSBIR RD
MARIETTA, GA 30062                     STURTEVANT, WI 53177
TRW INC         Case 25-90163        Document  87 Filed in TXSB on 07/03/25 TSPage
                                        [NAME REDACTED]                            859
                                                                              HAZMAT    of 944 SERVICES, LLC
                                                                                     CONSULTING
ATTN CONTRACTS MNGR                      [ADDRESS REDACTED]                    SIGNET NORTH AMERICA
1 SPACE PARK                                                                   2133 W GUADALUPE DR
REDONDO BEACH, CA 90278                                                        PUEBLO WEST, CO 81007-3246




TS PROSDA GREENTECH CO LTD               [NAME REDACTED]                       TSANN KUEN (CHINA) ENTERPRISE CO LTD
ATTN CHAIRMAN & GM                       [ADDRESS REDACTED]                    TSANN KUEN INDUSTRIAL PARK
NO 22, WUQUAN 3RD RD                                                           TAIWANESE INVESTMENT ZONE
WUGU DIST                                                                      ZHANGZHOU FUJ 363107
NEW TAIPEI CITY 248 TAIWAN                                                     CHINA



[NAME REDACTED]                          TSC INTERNATIONAL INC                 [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN CHIEF EXECUTIVE OFFICER          [ADDRESS REDACTED]
                                         39105 N MAGNETICS BLVD
                                         WADSWORTH, IL 60083




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




TSET INC                                 TSG INC                               [NAME REDACTED]
ATTN GENERAL MGR                         ATTN VICE PRESIDENT OF SALES          [ADDRESS REDACTED]
3530 BASSETT ST                          113 SWETT AVE
SANTA CLARA, CA 95054                    AMERICUS, GA 31709




[NAME REDACTED]                          TSI TECHNOLOGY DEV &                  [NAME REDACTED]
[ADDRESS REDACTED]                       COMMERCIALIZATION SERVICES LLC        [ADDRESS REDACTED]
                                         ATTN SVP TECH TDCS
                                         7501 FOOTHILLS BLVD
                                         ROSEVILLE, CA 95747



TSINGHUA UNIVERSITY                      TSINGHUA UNIVERSITY                   TSK AMERICA
ATTN ASSIST PROFESSOR                    ATTN DEPT OF ELECTRICAL ENGINEERING   9668 INTER OCEAN DR
ROOM 223, REGION 11, EAST MAN BLDG       RM 305, HIGH VOLTAGE BLDG             CINCINNATI, OH 45246
TSINGHUA UNIVERSITY                      HAIDING DIST, BEIJING
BEIJING 100084 CHINA                     CHINA



TSL INC                                  TSN-ELECTRO LLC                       TSP CO. LTD
ATTN ENG MANAGER                         U1 LARINA 15A                         45, OKGYE2GONGDAN-RO,
95 READY AVE                             NIZHNY NOVGOROD 603152                GYEONGSANGBUK
FORT WALTON BEACH, FL 32548              RUSSIA                                GUMI 39425
                                                                               SOUTH KOREA



TSR LIGHTING INC                         TSS MICROSCOPY LLC                    [NAME REDACTED]
ATTN VP                                  DBA TECHNICAL SALES SOLUT             [ADDRESS REDACTED]
643 HALE AVE N                           7431 NE EVERGREEN PARKWAY SUITE 130
OAKDALE, MN 55128                        HILLSBORO, OR 97124-5831




[NAME REDACTED]                          [NAME REDACTED]                       TT ELECTRONICS OPTEK TECHNOLOGY
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    ATTN VP OF SALES
                                                                               1645 WALLACE DR
                                                                               CARROLLTON, TX 75006
TT ENGINEERING AND  Case  25-90163
                     MANUFACTURING    Document   87 Filed CO
                                         TTE INTERNATIONAL in LTD
                                                              TXSB on 07/03/25 TTE
                                                                                 Page  860 of INC
                                                                                   TECHNOLOGY  944
SDN BHD                                   RM 511, NO. 1 TIANTAI FIRST RD       101 W 103RD ST
NO.1, JALAN 6/1, KAWASAN PERINDUSTR       SCIENCE CITY, LUOGANG DISTRICT       INDIANAPOLIS, IN 46290
SERI KEMBANGAN 43300                      GUANGZHOU
MALAYSIA                                  CHINA



T-TECH MACHINING                          TTELECTRONICS-IRC                    TTI NORTE SL
3250 KELLER STREET SUITE 6                FOURTH FLOOR, ST ANDREWS HOUSE       ATTN COMMERCIALL MANAGER
SANTA CLARA, CA 95054-2613                WEST STREET                          C/ ALBERT EINSTEIN 14
                                          WOKING GU21 6EB                      SANTANDER 39011
                                          UNITED KINGDOM                       SPAIN



TTOP CORP                                 TU BERLIN                            TU DRESDEN
ATTN GENERAL MANAGER                      EINSTEINUFER 25
NO 6, GONG-DONG 2ND RD                    BERLIN 10587
SHENG-GANG                                GERMANY
CHANG-HUA COUNTY 50971 TAIWAN



TU GRAZ                                   [NAME REDACTED]                      [NAME REDACTED]
RECHBAUERSTRASSE 12                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
GRAZ 8010
AUSTRIA




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




TUBITAK                                   TUCCI FABRICATING INC                [NAME REDACTED]
TUNUS CADDESI NO 80                       9755 RIVER ROAD                      [ADDRESS REDACTED]
KAVAJKUDERE ANKARA 06680                  MARCY, NY 13403-2044
TURKEY




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




TUCKER ENGINEERING INC                    TUCKER SADLER ARCHITECTS INC         [NAME REDACTED]
ATTN PRESIDENT                            ATTN CHIEF EXECUTIVE OFFICER         [ADDRESS REDACTED]
CENTENNIAL IND PARK                       1620 5TH AVE, STE 200
4 FIFTH ST                                SAN DIEGO, CA 92101
PEABODY, MA 01960



[NAME REDACTED]                           [NAME REDACTED]                      TUFF WRAP INSTALLATIONS INC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   2080 DETWILER RD
                                                                               HARLEYSVILLE, PA 19438




TUGHANS LLP                               TUHH INSTITUT E-3                    [NAME REDACTED]
THE EWART 3 BEDFORD SQUARE                DENICKE STR 22                       [ADDRESS REDACTED]
BELFAST 7260                              HAMBURG 21073
IRELAND                                   GERMANY
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 TUNA
                                   [NAME REDACTED]                       Page  861LLC
                                                                            TRAFFIC of 944
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  10127 NW AVE
                                                                        FRANKSVILLE, WI 53126




TUNA TRAFFIC LLC                    TUNG HING ELECTRIC WIRE CO LTD      TUNG SING PRINTING CO LTD
129 MOURNING DOVE LN                ATTN SALES SUPERVISOR               ATTN SAMUEL LO, CEO
RACINE, WI 53406                    NO.5, 13/F, FONDA INDUSTRIAL BLDG   UNIT A, 4TH FL, FORTUNE IND BLDG
                                    37-39 AU PUI WAN ST, FO TAN         35 TAI YIP ST, KWUN TONG
                                    SHATIN HONG KONG                    KOWLOON HONG KONG



[NAME REDACTED]                     TUNNEL TO TOWERS FOUNDATION         [NAME REDACTED]
[ADDRESS REDACTED]                  2361 HYLAN BLVD                     [ADDRESS REDACTED]
                                    STATEN ISLAND, NY 10306-3159




[NAME REDACTED]                     TURBO POWER SYSTEM LTD              TURBOTECH INDUSTRIE
[ADDRESS REDACTED]                  ATTN ENGINEERING DIRECTOR           ATTN CHIEF EXECUTIVE OFFICER
                                    1 QUEENS PARK, QUEENSWAY N          27 RUE AMAND
                                    TEAM VALLEY INDUSTRIAL ESTATE       PARIS 75015
                                    GATESHEAD, TYNE & WEAR NE11 0QD     FRANCE
                                    UNITED KINGDOM


[NAME REDACTED]                     [NAME REDACTED]                     TURK DUOTEC GMBH
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  ATTN ARTHUR RONISCH, MANAGING DIR
                                                                        GOETHESTRASSE 7
                                                                        HALVER D-58553
                                                                        GERMANY



[NAME REDACTED]                     TURMHOTEL DAVOS AG                  TURNER BUILDING SCIENCE & DESIGN LL
[ADDRESS REDACTED]                  ALTE FLUELASTRASSE 2                26 PINEWOOD LANE
                                    DAVOS 7260                          HARRISON, ME 04040-4334
                                    SWITZERLAND




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  862 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                        [ADDRESS REDACTED]




TURNING STONE RESORT CASINO LLC          [NAME REDACTED]                           [NAME REDACTED]
2037 DREAM CATCHER PLAZA                 [ADDRESS REDACTED]                        [ADDRESS REDACTED]
ONEIDA, NY 13421-2729




TUSUR                                    [NAME REDACTED]                           [NAME REDACTED]
LENINA STR 40                            [ADDRESS REDACTED]                        [ADDRESS REDACTED]
TOMSK 634050
RUSSIA




[NAME REDACTED]                          TUV RHEINLAND (SHENZHEN) CO LTD           TUV RHEINLAND OF NORTH AMERICA INC
[ADDRESS REDACTED]                       ATTN SR MANAGER A&L                       ATTN CFO
                                         1F E 82-4F, CYBIO TECH BLDG, NO 1         12 COMMERCE RD
                                         16 KEJIBEI 2ND RD, HIGH-TECH IND PARK N   NEWTON, CT 06470
                                         NANSHAN DIST, SHENZHEN CHINA



TUV SUD AMERICA INC.                     TUV SUD HONG KONG                         TUWAGO INC
10 CENTENNIAL DRIVE                      ATTN MGR                                  ATTN DIRECTOR
PEABODY, MA 01960-7938                   3/F W WING, LAKESIDE 2                    740 SIERRA VISTA AVE
                                         10 SCIENCE PK W AVE PARK                  MOUNTAIN VIEW, CA 94043
                                         SHATIN HONG KONG



TUXIN PROPERTIES (SHANGHAI) CO LTD       [NAME REDACTED]                           TW TELECOM HOLDINGS INC
ROOM 103, BLDG 1, NO 1158                [ADDRESS REDACTED]                        C/O CENTURYLINK
ZHANGDONG RD, PUDONG NEW AREA                                                      1025 ELDORADO BLVD
SHANGHAI 201203                                                                    BROOMFIELD, CO 80020
CHINA



[NAME REDACTED]                          TWF INDUSTRIES INC                        TWILIO INC
[ADDRESS REDACTED]                       ATTN PRESIDENT                            375 BEALE ST, STE 300
                                         2611 COUNTY RD 45 SW                      SAN FRANCISCO, CA 94105
                                         ALEXANDRIA, MN 56308




TWILIO IRELAND LTD                       TWIN CITY FIRE INSURANCE CO               TWIN CITY FIRE INSURANCE COMPANY
25-28 NORTH WALL QUAY                    ONE HARTFORD PLAZA                        1 HARFORD PLAZA
DUBLIN D01 H104                          HARTFORD, CT 06155                        HARTFORD, CT 06155
IRELAND




TWIN CREEKS TECHNOLOGIES INC             TWINBIRD CORPORATION                      TWISTHDM LLC
ATTN VICE PRESIDENT                      ATTN GENERAL MGR                          ATTN MANAGING PARTNER
3930 N FIRST ST                          2084-2 YOSHIDA-NISHIOTA                   130 CENTRAL AVE, STE 400
SAN JOSE, CA 95134                       TSUBAME-SHI NIIGATA 959-0292              HOLLAND, MI 49423
                                         JAPAN



TWO DUDES PHOTO LLC                      TWO SIGMA INVESTMENTS LP                  TX CHILD SUPPORT SDU
3659 PERADA DRIVE                        100 AVE OF THE AMERICAS                   RE: 0013291938201540019 (ORIGINAL)
WALNUT CREEK, CA 94598-2743              16TH FL                                   P.O. BOX 659791
                                         NEW YORK, NY 10013                        SAN ANTONIO, TX 78265-9791
                 CaseCO
TYC BROTHER INDUSTRIAL 25-90163
                         LTD          Document  87 Filed CORP
                                         TYCO ELECTRONICS in TXSB on 07/03/25 TYCO
                                                                                Page  863 of 944
                                                                                   ELECTRONICS CORP
ATTN CHUN CHI WU                          ATTN BRUCE PELTON, CTO                  ATTN VICE PRESIDENT
72-2 SHIN-LEH RD                          18662 MACARTHUR BLVD, STE 201           1050 WESTLAKES DR
TAINAN 70248                              IRVINE, CA 92612                        BERWYN, PA 19312
TAIWAN



TYCO ELECTRONICS CORPORATION              TYCO ELECTRONICS SERVICES GMBH          TYCO PRINTED CIRCUIT GROUP LP
ATTN PARALEGAL                            ATTN MANAGEMENT                         ATTN CONTRACT ADMINSTRATION
2901 FULLING MILL RD                      RHEINSTRASSE 20                         1699 KING ST
MIDDLETOWN, PA 17057                      SCHAFFHAUSEN 8200                       ENFIELD, CT 06082
                                          SWITZERLAND



TYKMA INC                                 [NAME REDACTED]                         [NAME REDACTED]
DBA TYKMA TECHNOLOGIES                    [ADDRESS REDACTED]                      [ADDRESS REDACTED]
ATTN GENERAL MGR
931 E WATER ST
CHILLICOTHE, OH 45601



[NAME REDACTED]                           TYNRICH TECHNOLOGY CO LTD               TYNRICH TECHNOLOGY CO., LTD
[ADDRESS REDACTED]                        ATTN JAMES CHIEN                        5F.,NO.6,LN.24,HEPINGRD.,BANQIAO DIST
                                          8F 7, NO 736, CHUNG CHENG RD            TAIPEI
                                          ZHONGE DISTRICT                         TAIWAN
                                          NEW TAIPEL CITY 23511 TAIWAN



TYNTEK CORP                               TYNTEK CORPORATION RENAI PLANT          TYPHOON HIL, INC
ATTN SANDY CHEN                           NO 15, KEJUNG RD, CHUNAN SCIENCE PARK   15 WARD STREET, 2ND FLOOR
1F, NO 91, SICHENG RD                     ZHUNAN TOWN                             SOMERVILLE, MA 02143-4228
BANCIAO                                   MIAOLI COUNTY 350
TAIPEI 220 TAIWAN                         TAIWAN



TYRI INTERNATIONAL INC                    TYRI SWEDEN AB                          TYSON COMMUNICATIONS
ATTN PRESIDENT                            ATTN R&D DIR                            ATTN EXECUTIVE PRODUCTS
4917 COYE DR                              78 HISINGS 43                           813 VAN THOMAS DR
STEVENS POINT, WI 54481                   BACKA S-422                             RALEIGH, NC 27615
                                          SWEDEN



TYSON FOODS INC                           [NAME REDACTED]                         [NAME REDACTED]
ATTN SR VICE PRESIDENT                    [ADDRESS REDACTED]                      [ADDRESS REDACTED]
2200 DON TYSON PKWY
SPRINGDALE, AR 72262-6999




TYTEK INDUSTRIES INC                      [NAME REDACTED]                         U PROTECT APPAREL TECH CO LTD
ATTN PRESIDENT                            [ADDRESS REDACTED]                      UPROTECT 4B, NO B2
4700 ASWOOD DR, STE 445                                                           DIGITAL TECH PARK
CINCINNATI, OH 45241                                                              NANSAHN, SHENZHEN
                                                                                  CHINA



U.S VIRGIN ISLANDS ATTORNEY GENERAL       U.S VIRGIN ISLANDS ATTORNEY GENERAL     U.S. BANCORP INVEST (0280)
ATTN: CAROL THOMAS-JACOBS                 ATTN: CAROL THOMAS-JACOBS               ATT KEVIN BROWN OR PROXY MGR
213 ESTATE LA REINE                       3438 KRONDPRINDSENS GADE                60 LIVINGSTON AVE
6151 RR1                                  GERS BUILDING,2ND FLOOR                 ST. PAUL, MN 55107-1419
ST. CROIX, VI 850                         ST. THOMAS, VI 802



U.S. BANCORP                              U.S. BANK N.A. (2803)                   U.S. BANK TRUST COMPANY, N.A., AS
ATTN: YANI KISOKI                         ATT PAUL KUXHAUS OR PROXY MGR           COLLATERAL AGENT
800 NICOLLET MALL                         1555 N. RIVER CTR DR                    214 N. TRYON ST 27TH FLOOR
MINNEAPOLIS, MN 55402-7000                STE 302                                 MAIL CODE: CN-NC-H27A
                                          MILWAUKEE, WI 53212                     CHARLOTTE, NC 28202
                  Case 25-90163
U.S. CUSTOMS AND BORDER PROTECTION   Document   87 Filed
                                        U.S. DEPARTMENT OFin TXSB on 07/03/25 U.S.
                                                           JUSTICE              Page
                                                                                   DEPT 864 of &944
                                                                                        HEALTH   HUMAN SERVICES
1300 PENNSYLVANIA AVENUE, NW             950 PENNSYLVANIA AVENUE, NW            200 INDEPENDENCE AVE, SW
WASHINGTON, DC 20229                     WASHINGTON, DC 20530-0001              WASHINGTON, DC 20201




U.S. DEPT OF STATE                       U.S. ELECTRICAL SERVICES, INC.         U.S. ENVIRONMENTAL PROTECTION AGENCY
DIRECTORATE OF DEFENCE TRADE             701 MIDDLE STREET                      OFFICE OF GENERAL COUNSEL 2310A
CONTROLS                                 MIDDLETOWN, CT 06457                   1200 PENNSYLVANIA AVENUE, NW
COMPLIANCE & REGISTRATION DIV                                                   WASHINGTON, DC 20460
2401 E STREET NW, SA-1, RM H1200
WASHINGTON, DC 20522-0112


U.S. EQUAL EMPLOYMENT OPPORTUNITY        U.S. EQUAL EMPLOYMENT OPPORTUNITY      U.S. EQUAL EMPLOYMENT OPPORTUNITY
COMM.                                    COMM.                                  COMM.
ATLANTA DISTRICT OFFICE                  BIRMINGHAM DISTRICT OFFICE             CHARLOTTE DISTRICT OFFICE
SAM NUNN ATLANTA FEDERAL CENTER          RIDGE PARK PLACE                       129 WEST TRADE STREET
100 ALABAMA STREET, SW, SUITE 4R30       1130 22ND STREET SOUTH, STE 2000       SUITE 400
ATLANTA, GA 30303                        BIRMINGHAM, AL 35205                   CHARLOTTE, NC 28202


U.S. EQUAL EMPLOYMENT OPPORTUNITY        U.S. EQUAL EMPLOYMENT OPPORTUNITY      U.S. EQUAL EMPLOYMENT OPPORTUNITY
COMM.                                    COMM.                                  COMM.
CHICAGO DISTRICT OFFICE                  HEADQUARTERS                           HOUSTON DISTRICT OFFICE
JCK FEDERAL BUILDING                     131 M STREET, NE                       MICKEY LELAND BUILDING
230 S DEARBORN ST, STE 1866              FOURTH FLOOR, SUITE 4NWO2F             1919 SMITH STREET, 6TH FLOOR
CHICAGO, IL 60604                        WASHINGTON, DC 20507                   HOUSTON, TX 77002


U.S. EQUAL EMPLOYMENT OPPORTUNITY        U.S. EQUAL EMPLOYMENT OPPORTUNITY      U.S. EQUAL EMPLOYMENT OPPORTUNITY
COMM.                                    COMM.                                  COMM.
INDIANAPOLIS DISTRICT OFFICE             LOS ANGELES DISTRICT OFFICE            MEMPHIS DISTRICT OFFICE
101 WEST OHIO ST, STE 1900               ROYBAL FEDERAL BUILDING                1407 UNION AVENUE, 9TH FLOOR
INDIANAPOLIS, IN 46204                   255 EAST TEMPLE ST., 4TH FLOOR         MEMPHIS, TN 38104
                                         LOS ANGELES, CA 90012


U.S. EQUAL EMPLOYMENT OPPORTUNITY        U.S. EQUAL EMPLOYMENT OPPORTUNITY      U.S. EQUAL EMPLOYMENT OPPORTUNITY
COMM.                                    COMM.                                  COMM.
MIAMI DISTRICT OFFICE                    NEW YORK DISTRICT OFFICE               PHILADELPHIA DISTRICT OFFICE
MIAMI TOWER                              33 WHITEHALL STREET, 5TH FLOOR         801 MARKET STREET, SUITE 1000
100 SE 2ND STREET, SUITE 1500            NEW YORK, NY 10004                     PHILADELPHIA, PA 19107-3126
MIAMI, FL 33131


U.S. EQUAL EMPLOYMENT OPPORTUNITY        U.S. EQUAL EMPLOYMENT OPPORTUNITY      U.S. EQUAL EMPLOYMENT OPPORTUNITY
COMM.                                    COMM.                                  COMM.
PHOENIX DISTRICT OFFICE                  SAN FRANCISCO DISTRICT OFFICE          ST. LOUIS DISTRICT OFFICE
3300 NORTH CENTRAL AVENUE                450 GOLDEN GATE AVENUE                 ROBERT A. YOUNG FEDERAL BUILDING
SUITE 690                                5 WEST, P.O BOX 36025                  1222 SPRUCE ST., RM 8.100
PHOENIX, AZ 85012-2504                   SAN FRANCISCO, CA 94102-3661           ST. LOUIS, MO 63103


UAB MANUFACTURING CO                     UBE AMERICA INC                        UBE INDUSTRIES LTD
ATTN GENERAL MANAGER                     ATTN PRESIDENT                         ATTN GENERAL MANAGER
1100 ROSA AVE                            261 MADISON AVE, 28TH FL               1-2-1 SHIBAURA SEAVANS N BLDG
CROYDON, PA 19201                        NEW YORK, NY 10016                     MINATO-KU
                                                                                TOKYO 105-8449 JAPAN



UBIDYNE GMBH                             UBIQD LLC                              UBS (2507,5284)
ATTN CHIEF EXECUTIVE OFFICER             ATTN PRESIDENT                         ATT MICHAEL HALLET/PROXY MGR
LISE-MEITNER-STR 14                      100 ENTRADA DR                         PROXY DEPT
ULM 89081                                LOS ALAMOS, NM 87544                   315 DEADRICK ST
GERMANY                                                                         NASHVILLE, TN 37238



UBS AG                                   UBS FIN SVCS LLC (0221)                U-C COMPONENTS, INC
ATTN: AGENCY GROUP                       ATT PROXY DEPT - JANE FLOOD            18700 ADAMS CT
600 WASHINGTON BLVD                      1000 HARBOR BLVD                       MORGAN HILL, CA 95037-2804
STAMFORD, CT 06901                       WEEHAWKEN, NJ 07086
                 Case
UCAR CARBON COMPANY      25-90163 Document
                       INC           UCLA    87 Filed in TXSB on 07/03/25 UCRC
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                                                                               LAB865 of 944
ATTN DIRECTOR-WORLDWIDE TECHNOLOGY   56-125B ENGINEERING IV BLDG          ATTN RESEARCHER
39 OLD RIDGEBURY RD                  BOX 951594                           KOOKMIN UNIVERSITY, JEONGNEUNG 3-
DANBURY, CT 06817-0001               LOS ANGELES, CA 90095                OBNG
                                                                          SEONGBUK DISTRICT
                                                                          SEOUL 02707 SOUTH KOREA


[NAME REDACTED]                       [NAME REDACTED]                       UE SYSTEMS INTERNATIONAL CORPORATION
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    ATTN VP OPERATIONS
                                                                            14 HAYES ST
                                                                            ELMSFORD, NY 10523




[NAME REDACTED]                       [NAME REDACTED]                       UES INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    ATTN CONTRACT MANAGER
                                                                            4401 DAYTON-XENIA RD
                                                                            DAYTON, OH 45440




UESTC                                 UFP GREAT LAKES LLC DBA PAK-RITE      U-FREIGHT
ATTN DR TIAN QI                       2395 S.BURELL                         U-FREIGHT AMERICA INC
NO 2006, XIYUAN AVE                   MILWAUKEE, WI 53207-1519              480 MCCLELLAN HYWY
WEST HI-TECH ZONE                                                           EAST BOSTON, MA 02128
CHENGDU 611731 CHINA



UFS CORP                              [NAME REDACTED]                       UGOLINI & C SRL
ATTN SECRETARY                        [ADDRESS REDACTED]                    ATTN RE UNICO
330 N 400 EAST                                                              VIA ETRURIA 1
VALPARAISO, IN 46383                                                        SAN CASCIANO VAL DI PESA 50026
                                                                            ITALY



[NAME REDACTED]                       UICAN PACIFIC (S) PTE LTD             UK ABRASIVES INC
[ADDRESS REDACTED]                    ATTN EXECUTIVE                        ATTN PRES
                                      18 BOON LAY WAY                       3045 MACARTHUR BLVD
                                      TRADEHUB 21, 10-112                   NORTHBROOK, IL 60062
                                      609966 SINGAPORE



UK INTERNATIONAL                      [NAME REDACTED]                       [NAME REDACTED]
A/K/A UNDERWATER KINETICS             [ADDRESS REDACTED]                    [ADDRESS REDACTED]
ATTN PRESIDENT
13400 DANIELSON ST
POWAY, CA 92064



UL CONTRACTING PARTIES                UL DE MEXICO SA DE CV                 UL DQS INC
C/O UL SOLUTIONS                      ATTN DIR                              ATTN CORPORATE SECRETARY
155 N WACKER DR, STES 950 & 1000      BLAS PASCAL NO 205, PISO 2            1130 W LAKE RD, STE 340
CHICAGO, IL 60606                     COL LOS MORALES, DEL MIGUEL HIDALGO   BUFFALO GROVE, IL 60089
                                      CDMX 11510 MEXICO



UL LLC.                               ULINE, INC.                           ULLBERG YACHT DESIGN INC
75 REMITTANCE DRIVE SUITE 1524        2165 NORTHMONT PKWY                   ATTN PRES
CHICAGO, IL 60675-1524                DULUTH, GA 30096-5833                 1353 PALMETO AVE, STE 120
                                                                            WINTER PARK, FL 32789




[NAME REDACTED]                       [NAME REDACTED]                       ULSTER COUNTY SUPPORT COLLECTION
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    UNIT
                                                                            RE: BP18503G1 (ORIGINAL)
                                                                            P.O. BOX15351
                                                                            ALBANY, NY 12212-5351
ULTIMATE SOFTWARE Case 25-90163
                   GROUP INC, THE    Document  87STAFFING
                                        ULTIMATE    Filed SERVICES
                                                           in TXSB on 07/03/25 ULTRA
                                                                                 Page  866TECH
                                                                                     CLEAN of 944
                                                                                               SYSTEMS & SERVICE
ATTN VP                                  1939 HARRISON ST, STE 711              INC
2000 ULTIMATE WAY                        OAKLAND, CA 94612-3511                 ATTN CHIEF EXECUTIVE OFFICER
WESTON, FL 33326                                                                26462 CORPORATE AVE
                                                                                HAYWARD, CA 94545



ULTRA ELECTRONICS INC                    ULTRA ELECTRONICS LTD                  ULTRA FAB TECHNOLOGY INC
DBA ULTRA ELECTRONICS TCS                ATTN PRINCIPAL COM OFFICER             ATTN VICE PRESIDENT
ATTN DIR, CONTRACTS & LEGAL AFF          417 BRIDPORT RD, GREENFORD             133-A BERNAL RD
5990 COTE DE LIESSE                      MIDDLESEX UB6 8UA                      SAN JOSE, CA 95119
MONTREAL, QC H4T 1V7 CANADA              UNITED KINGDOM



ULTRA FASTENERS INC                      ULTRA INC                              ULTRA PURE SOLUTIONS INC
ATTN VICE PRESIDENT SALES                P.O. BOX 250792                        ATTN FIN CONTROLLER
103-14770 64 AVE                         MILWAUKEE, WI 53225-6512               11225 COMMERCIAL PKWY
SURREY, BC V3S 1X7                                                              CASTROVILLE, CA 95012
CANADA



ULTRA T EQUIPMENT CO INC                 ULTRACLEAN ELECTROPOLISH INC           ULTRACORE (PENANG) SDN BHD
41980 CHRISTY STREET                     ATTN GEN MGR                           10 & 12 LORONG SAGAJAYA 7
FREMONT, CA 94538-3161                   1814 SUNNY DR                          PRAI PIN 13600
                                         HOUSTON, TX 77093                      MALAYSIA




ULTRALIFE CORP                           ULTRAM TECHNOLOGIES LTD                ULTRAMET
ATTN ACTING GEN COUNSEL                  MOSHAV MAZOR D.N.                      ATTN PRES
1457 MILLER STORE RD, STE 106            HAMERKAZ 73160                         12173 MONTAGUE ST
VIRGINIA BEACH, VA 23455                 ISRAEL                                 PACOIMA, CA 91331




ULTRA-METRIC TOOL CO                     ULTRARF INC                            ULTRARF INC
ATTN PRESIDENT                           ATTN CHARLES M SWOBODA                 ATTN GENERAL COUNSEL
2952 N LEAVITT ST                        160 GIBRALTAR CT                       4600 SILICON DR
CHICAGO, IL 60618                        SUNNYVALE, CA 94089                    DURHAM, NC 27703




ULTRASIL CORPORATION                     ULTRASONIC SYSTEMS INC                 ULTRASOURCE INC
ATTN SALES REP                           ATTN PRESIDENT                         ATTN DIR OF BUS DEV
3527 BREAKWATER AVE                      135 WARD HILL AVE                      22 CLINTON DR
HAYWARD, CA 94545                        HAVERHILL, MA 01835                    HOLLIS, NH 03049




ULTRATAPE INDUSTRIES INC.                ULTRATECH INC                          ULTRAVIOLET TECHNOLOGY CO LTD
9770 SW WILSONVILLE ROAD SUITE 400       ATTN SVP, FINANCE & CFO                ATTN PRESIDENT
WILSONVILLE, OR 97070-7901               3050 ZANKER RD                         2F, NO 66-11, SEC 2, NANKAN RD
                                         SAN JOSE, CA 95134                     TAOYUAN COUNTY
                                                                                LUZHU 33855 TAIWAN



ULTRON SYSTEMS INC                       ULVAC INC                              ULVAC TECHNOLOGIES INC
5105 MAUREEN LANE.                       ATTN DIR                               ATTN ASST VP/DIR OF CONTRACT ADMIN
MOORPARK, CA 93021-1783                  2500 HAGISONO                          401 GRIFFIN BROOK DR
                                         CHIGASAKI, KANAGAWA 253-8543           METHUEN, MA 01844
                                         JAPAN



U-MARQ USA CORP                          UMASS DARTMOUTH                        UMB BANK, NATL ASSOC (2450)
ATTN COO                                 ATTN ASSIST PROFESSOR                  ATT KAREN BOUCHARD/PROXY MGR
159 DANBURY RD                           285 OLD WESTPORT RD                    928 GRAND BLVD
NEW MILFORD, CT 06776                    NORTH DARTMOUTH, MA 02747-2300         MAILSTOP 1010404
                                                                                KANSAS CITY, MO 64106
                 Case 25-90163
UMBRA CUSCINETTI SPA                  Document  87 Filed in TXSB on 07/03/25 UMICORE
                                         [NAME REDACTED]                      Page MATERIALS
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                                                                                              AG
ATTN CHIEF EXECUTIVE OFFICER              [ADDRESS REDACTED]                    ATTN PRODUCT MGR
VIA VALTER BALDACCINI, 1                                                        SCHLOSSWEG 11
FOLIGNO 06034                                                                   BALZERS FL 9496
ITALY                                                                           LIECHTENSTEIN



UMICORE OPTICAL MATERIALS USA INC         UMICORE SUBSTRATES                    UMICORE THIN FILM PRODUCTS USA INC
2976 S 614 ROAD                           UMICORE SEMICONDUCTOR PROCESSING      ATTN SALES MGR
QUAPAW, OK 74363-1884                     ATTN GM                               4 TOWNSEND WEST, UNIT 12
                                          12 CHANNEL ST, 702                    NASHUA, NH 03063
                                          BOSTON, MA 02210



UMSTEAD HOTEL AND SPA, THE                UNAXIS USA INC                        [NAME REDACTED]
ATTN DIR OF REVENUE                       ATTN VP, GEN MNGR ETCH                [ADDRESS REDACTED]
100 WOODLAND POND DR                      10050 16TH ST NORTH
CARY, NC 27513                            ST PETERSBURG, FL 33716




[NAME REDACTED]                           UNDERSEA SENSOR SYSTEMS INC           UNDERWRITERS LABORATORIES INC
[ADDRESS REDACTED]                        ATTN CONTRACTS ADMIN                  ATTN CORPORATE SECRETARY
                                          4868 E PARK 30 DR                     12 LABORATORY DR
                                          COLUMBIA CITY, IN 46725               RESEARCH TRIANGLE PARK, NC 27709




UNDERWRITERS LABORATORIES INC             UNDERWRITERS LABORATORIES INC         UNEKA CONCEPTS INC
ATTN GENERAL COUNSEL                      ATTN SHERYL JOHNSON                   ATTN PRESIDENT
333 PFINGSTEN RD                          2600 NW LAKE RD                       328 ST. MARY ST
NORTHBROOK, IL 60062                      CAMAS, WA 98687                       PLEASANTON, CA 94566




UNGERBOECK SYSTEMS INTERNATION INC        UNI DE LAS PALMAS DE GRAN CANARIA -   UNI MAGNETIC INDUSTRIAL CO LTD
ATTN PRESIDENT                            IUAM                                  ATTN GENERAL MANAGER
100 UNGERBOECK PARK                       EDIFICIO D ELECTRONIA &               NO 23, GONGYE W 6TH RD, LUKANG TOWN
O FALLON, MO 63368                        TELECOMUNICACION                      CHANGHUA HSIEN 505
                                          OFICINA A-302                         TAIWAN
                                          CAMPUS UNIVERSITARIO DE TAFIRA
                                          LAS PALMAS DE GRAN CANARIA 35017
                                          SPAIN

UNI OF LOUISVILLE RESEARCH FDN INC        UNI OF SCIENCE & TECH OF CHINA        UNI SCIENTIFIC IND (SHANGHAI) CO LTD
ATTN ASST DIR, INDUSTRY ENGAGEMENT        433 HUANGSHAN ROAD                    ATTN DIRECTOR OF SALES
300 E MARKET ST, STE 300                  HEFEI, ANHUI 230026                   NO 1558, ZHANG DONG RD
LOUISVILLE, KY 40202-1959                 CHINA                                 ZHANGJIANG HI-TECH PARK
                                                                                SHANGHAI 201203 CHINA



UNIBRAIN INC                              UNICHEMTECHNOLOGY SDN BHD             UNICO LLC
2410 CAMINO RAMON                         NO.17, PSRN INDUSTRI RAPAT,           3725 NICHOLSON ROAD
SAN RAMON, CA 94583-4334                  IPOH PER 31350                        MILWAUKEE, WI 53216
                                          MALAYSIA




UNICOBA INDUSTRIA DE COMPONENTES          UNI-COM (GLOBAL) LTD                  UNIFIRST CORPORATION
ELECTRONICOS E INFORMATICA LTDA           ATTN MG DIRECTOR                      103 LUTHER AVENUE
ATTN VP                                   1-2 ENTERPRISE WAY                    LIVERPOOL, NC 27703-5059
RUA LOEFGREEN, 1057-10                    EDENBRIDGE KENT TN8 6EW
ANDAR-VILA CLEMENTINO, SP 04040-030       UNITED KINGDOM
BRAZIL


UNIFIRST CORPORATION                      UNIFIRST                              UNIFLEX INC
THEODORE R. GOLDSTOCK                     68 JONSPIN RD                         ATTN PRESIDENT
LERCH, EARLY & BREWER                     WILMINGTON, MA 01887                  7830 LOCHLIN DR
7600 WISCONSIN AVE., SUITE700                                                   BRIGHTON, MI 48116
BETHESDA, MD 20814
UNIGLOBE KISCO INCCase 25-90163     Document
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                                                                                      GROUP  944
                                                                                               LTD
ATTN GEN MGR                            ATTN PRESIDENT                        ATTN SR MANAGER
6292 SAN IGNACIO AVE, STE A             VIA SAN NICOLO 11                     FUHAI INDUSTRIAL ZONE, QIAOTOU VILLAGE
SAN JOSE, CA 95119                      TRIESTE 34121                         FUYONG TOWN, BAOAN DISTRICT
                                        ITALY                                 SHENZHEN, GUANGDONG 518103 CHINA



UNION BANK & TST CO (2067)              UNION ETCHANTS INTERNATIONAL          UNION INDUSTRIAL ABRASIVES INC
MICHELLE BARTLING OR PROXY MGR          P.O. BOX 506                          ATTN PRESIDENT
6801 SOUTH 27TH ST                      WOBURN, MA 01801                      212 DURHAM AVE, STE 109, BLDG 4
LINCOLN, NE 68512                                                             METUCHEN, NJ 08840




UNION PROCESS INC                       UNIQUE BROADBAND SYSTEMS LTD          UNIQUE CONCEPTS, GP
ATTN CHIEF EXECUTIVE OFFICER            ATTN PROJECT MGR                      ATTN GENERAL PARTNERS
1925 AKRON-PENINSULA RD                 400 SPINNAKER WAY, UNITS 1-10         97-103 ANNA PLACE
AKRON, OH 44313                         VAUGHAN, ON L4K5Y9                    CLAYTON, NC 27520
                                        CANADA



UNIROYAL ELECTRONICS INDUSTRY CO LTD    UNIROYAL TECHNOLOGY CORP              UNISEM (M) BERHAD
ATTN EXPORT SALES DIR                   ATTN PRES                             NO. 1 PERSIARAN PULAI JAYA 9, KAWAS
21 XIAJIA N RD                          TWO N TAMIAMI TRL, STE 900            IPOH 31400
ECONOMIC & TECHNICAL DEVELOPMENT        SARASOTA, FL 34236                    MALAYSIA
ZONE
KUNSHAN CITY, JIANGSU CHINA


UNISEM INTERNATIONAL                    UNISON INDUSTRIES LLC                 UNISOURCE WORLDWIDE INC
ATTN OPERATIONS MGR                     ATTN VP SALES                         ATTN EQUIPMENT SPECIALIST
14409 ISELI RD                          7575 BAYMEADOWS WAY                   5355 S WESTRIDGE DR
SANTA FE SPRINGS, CA 90670              JACKSONVILLE, FL 32256                NEW BERLIN, WI 53151




UNIT INSTRUMENTS                        UNITED ADHESIVES INC                  UNITED AIR LINES INC
ATTN VP MARKETING/ TECHNOLOGY           ATTN PRESIDENT                        C/O WHQSS NORTH AMERICAN SALES
22600 SAVI RACH PARKWAY                 85 OAKWOOD RD                         ATTN DIST SALES MGR
UORBA LINDA, CA 92887                   LAKE ZURICH, IL 60047                 1200 E ALGONQUIN RD
                                                                              ELK GROVE TOWNSHIP, IL 60007



UNITED AIRLINES INC                     UNITED CHEMI-CON INC                  UNITED EPITAXY COMPANY LTD
ATTN VP OF SALES                        ATTN REGIONAL MGR                     9F, NO 10, LI HSIN RD
233 S WACKER DR, 16TH FL                9801 W HIGGINS RD, 430                SCIENCE BASED INDUSTRIAL PARK
CHICAGO, IL 60606                       ROSEMONT, IL 60018                    HSINCHU
                                                                              TAIWAN



UNITED GRINDING NORTH AMERICA INC       UNITED HEALTHCARE INSURANCE COMPANY   UNITED HEALTHCARE
2100 UNITED GRINDING BLVD               INSURANCE COMPANY                     MN017-W900 9700 HEALTH CARE LANE
MIAMISBURG, OH 45342-6804               22561 NETWORK PLACE                   MINNETONKA MILLS, MN 55343
                                        CHICAGO, IL 60603-1225




UNITED HEARTLAND INSURANCE GROUP        UNITED ILLUMINATING CO, THE           UNITED LIGHTING OPTO-ELECTRONIC INC
ATTN MICHAEL MCKEON                     100 MARSH HILL RD                     ATTN VICKY CHAN
THREE SOUTH EXECUTIVE PARK              ORANGE, CT 06477-3628                 2F, NO 1, JINSHAN 8TH ST
6115 PARK SOUTH DR, STE 105                                                   HSINCHU CITY 300
CHARLOTTE, NC 28210                                                           TAIWAN



UNITED LIGHTING                         UNITED LUMINOUS INTERNATIONAL         UNITED MECHANICAL INC
ATTN OWNER                              (HOLDINGS) LIMITED                    ATTN PRESIDENT
1416 W 16TH ST                          6/F, PHOTONICS CENTRE, NO.2 SCIENCE   1500 12TH ST
DAVENPORT, IA 52804                     PARK EAST AVE                         RACINE, WI 53403
                                        HONG KONG SCIENCE PARK
                                        HONG KONG
UNITED MONOLITHICCase  25-90163
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                                                                                  PagePARTNERSHIPS
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GMBH                                       HOLDING SAS                           304 ROCKING RANCH COURT
ATTN MG DIRECTOR                           ATTN PRESIDENT & CEO                  CARY, NC 27519-9628
WILHELM RUNGE STRASSE 11                   10 AVE DU QUEBEC-SILIC 521
ULM 89081                                  VILLEBON-SUR-YVETTE 91940 FRANCE
GERMANY


UNITED POWER BATTERY CORPORATION           UNITED RENTALS (NORTH AMERICA), INC   UNITED RENTALS INC
ATTN NATIONAL ACCTS                        100 FIRST STAMFORD PLACE              1129 EAST GEER STREET
260 S RARITIAN ST                          STAMFORD, CT 06902-9200               DURHAM, NC 27704-5024
DENVER, CO 80223




UNITED RESTAURANT EQUIPMENT CO             UNITED ROBOTICS INC                   UNITED SCALE AND ENGINEERING CORP
2654 S SAUNDERS STREET                     ATTN GEN MGR                          ATTN REGIONAL MGR
RALEIGH, NC 27603-2840                     355 B1, HWY 264 E                     16725 W VICTOR RD
                                           SPRINGDALE, AR 72764                  NEW BERLIN, WI 53151




UNITED SCOPE LLC                           UNITED SILICON CARBIDE INC            UNITED SILICON CARBIDE INC
14370 MYFORD ROAD SUITE 150                ATTN PRESIDENT                        ATTN VICE PRESIDENT OPS
IRVINE, CA 92606-1016                      650 COLLEGE RD EAST, STE 1500         7 DEER PARK DR, STE E
                                           PRINCETON, NJ 08540                   MONMOUTH JUNCTION, NJ 08852




UNITED SILICON CARBIDE INC                 UNITED SOURCING ALLIANCE LLC          UNITED STATES DEPARTMENT OF
ATTN VICE PRESIDENT/GEN MGR                ATTN DIR OF OPERATIONS                COMMERCE
100 JERSEY AVE, BLDG A                     2105 WATER RIDGE PKWY, STE 470        1401 CONSTITUTION AVE NW
NEW BRUNSWICK TECHNOLOGY CTR               CHARLOTTE, NC 28217                   WASHINGTON, DC 20230
NEW BRUNSWICK, NJ 08901



UNITED STATES DEPT OF DEFENSE AT THE       UNITED STATES DEPT OF LABOR           UNITED STATES PLASTIC CORP
PENTAGON                                   200 CONSTITUTION AVE NW               1390 NEUBRECHT RD
1400 DEFENSE PENTAGON                      WASHINGTON, DC 20210                  LIMA, OH 45801-3120
WASHINGTON, DC 20301




UNITED STATES TREASURY                     UNITED TECHNOLOGIES CORP              UNITED TECHNOLOGIES CORPORATION
OFFICE OF THE TREASURER                    O/B/O UNITED TECH RES CTR             ATTN SUPPLY CHAIN MGR
1500 PENNSYLVANIA AVENUE, NW               ATTN DIRECTOR                         411 SILVER LANE
ROOM 2134                                  411 SILVER LN                         EAST HARTFORD, CT 06118
WASHINGTON, DC 20220                       EAST HARTFORD, CT 06108



UNITED THERAPEUTICS CORP                   UNITED TITANIUM INC                   UNITED TOOL INC
ATTN AVP CORP REAL ESTATE                  ATTN VP-GM                            ATTN PRESIDENT
55 TW ALEXANDER DR                         3450 OLD AIRPORT RD                   8219 W BRADLEY RD
RESEARCH TRIANGLE PK, NC 27709             WOOSTER, OH 44691                     MILWAUKEE, WI 53223




UNITED WESTERN ENTERPRISES INC             UNITEK TECHNICAL SERVICES INC         UNITIVE ELECTRONICS INC
ATTN VICE PRES, OPS                        ATTN PROGRAM MGR                      ATTN VP SALES MARKETING
850 FLYNN RD                               5900 FORT DR, STE 100                 4512 S MIAMI BLVD
CAMARILLO, CA 93102                        CENTREVILLE, VA 20121                 RESERCH TRIANGLE PARK, NC 27709




UNITRENDS INC                              UNITY OPTO TECHNOLOGY CO LTD          UNITY SEMICONDUCTOR SAS
ATTN SALES MGR                             ATTN PRESIDENT                        ATTN IP MANAGER
200 WHEELER RD, N TOWER, 2ND FLOOR         10F, NO. 88-8, SEC. 1, KUANG-FU RD    611 RUE ARISTIDE BERGES
BURLINGTON, MA 01803                       SANCHUNG CITY, TAIPEI 241             MONTBONNOT-ST-MARTIN 38330
                                           TAIWAN                                FRANCE
                  CaseCORP
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                                                                                             & TECHNOLOGY OF CHINA
ATTN VP OF RESEARCH & DEVELOPMENT         552 UNIVERSITY RD                         HUANGSHANG ROAD 433
7438 FRASER PARK DR                       SANTA BARBARA, CA 3106-2030               HEFEI, ANHUI
BURNABY, BC V5J 5B9                                                                 CHINA
CANADA



UNIV POLITEC CARTAGENA                    UNIVAR USA INC                            UNIVERSAL BACKGROUND SCREENING INC
PLAZA DEL HOSPITAL 1                      ATTN SALES MNGR                           ATTN SR VP SALES
CARTAGENA 30202                           P.O. BOX 34325                            7720 N 16TH ST, STE 200
SPAIN                                     SEATTLE, WA 98124                         PHOENIX, AZ 85020




UNIVERSAL ELECTRONICS INC                 UNIVERSAL GLOBAL SCIENTIFIC IND. CO.,     UNIVERSAL GLOBAL TECHNOLOGY
ATTN EXEC VP                              LTD.                                      (KUNSHAN) CO LTD
64 N PROSPECT DR                          NO. 141, LANE 351, SEC. 1, TAIPING ROAD   NO 497, HUANGPUJIANG RD
WHITEWATER, WI 51390                      STOUTEN, NANTOU COUNTY 542007             QIANDENG
                                          TAIWAN                                    KUNSHAN
                                                                                    JIANGSU PROVINCE CHINA


UNIVERSAL INSTRUMENTS CORPORATION         UNIVERSAL LASER SYSTEM INC                UNIVERSAL LIGHTING TECHNOLOGIES INC
ATTN CORP CONTROLLER                      ATTN CFO                                  1430 WALL TRIANA HWY
CONKLIN S, 33 BROOME CORP PKWY            16008 N 81ST ST                           MADISON, AL 35756
CONKLIN, NY 13748                         SCOTTDALE, AZ 27703




UNIVERSAL LIGHTING TECHNOLOGIES INC       UNIVERSAL LIGHTING TECHNOLOGIES INC       UNIVERSAL PHOTONICS INC
ATTN SR VP OF OPERATIONS                  ATTN SVP & CFO                            85 JETSON LANE
51 CENTURY BLVD, STE 230                  26 CENTURY BLVD                           CENTRAL ISLIP, NY 11722-1202
NASHVILLE, TN 37214                       NASHVILLE, TN 37214




UNIVERSAL POWER & SYSTEMS INC             UNIVERSAL PROTECTION SERVICE LLC          UNIVERSAL PROTECTION SERVICE
ATTN SERVICE MANAGER                      LLC DBA ALLIED UNIVERSAL                  DBA ALLIED UNIVERSAL SECURITY SVS
2 E MIFFLIN ST, STE 200                   161 WASHINGTON ST. SUITE 600              ATTN SALES VP
MADISON, WI 53703                         CONSHOHOCKEN, PA 19428-2083               450 EXCHANGE
                                                                                    IRVINE, CA 92602



UNIVERSAL PROTECTIVE PACKAGING INC        UNIVERSAL QUARTZ INC                      UNIVERSAL SCIENCE BV
ATTN VICE PRESIDENT & CFO                 ATTN SALES MGR                            ATTN GM
61 TEXACO RD                              2910 NORMAL STRASSE RD, STE 108           AD MUSTERS ROKERIJWEG 4
MECHANICSBURG, PA 17050                   SAN MARCOS, CA 92069                      HUIZEN AH 1271
                                                                                    NETHERLANDS



UNIVERSAL SCIENCE SRL                     UNIVERSAL SCIENTIFIC INDL (SHANGHAI) CO   UNIVERSAL TECHNICAL RESOURCE
ATTN MANAGING DIR                         LTD                                       SERVICES INC
VIA ADIGE 30                              ATTN SVP SALES                            ATTN COO
PREGNANA MILANESE (MI) 20010              NO 1558, ZHANG DONG RD                    950 N KINGS HWY, STE 208
ITALY                                     PUDONG NEW AREA                           CHERRY HILL, NJ 08034
                                          SHANGHAI 201203 CHINA


UNIVERSAL TECHNOLOGY CORP                 UNIVERSE ELECTRON CORP                    UNIVERSE INTERNATIONAL GROUP HK LTD
ATTN EXEC VP                              ATTN PRESIDENT                            ATTN PURCHASING
1270 NORTH FAIRFIELD RD                   KONWA BLDG, 12-22 TSUJIKI 1-CHOME         UNIT 1421, LEADER INDUSTRIAL CTR
DAYTON, OH 45432-2600                     CHUO-KU                                   57-59 AU PUI WAN ST, FO TAN
                                          TOKYO 104-0045 JAPAN                      SHATIN HONG KONG



UNIVERSE KOGAKU AMERICA INC               UNIVERSELITE CO LTD                       UNIVERSIDAD DE CANTABRIA
116 AUDREY AVE                            KAUIJI CUN INDUSTRIAL ZONE                ATTN DIRECTOR
OYSTER BAY, NY 11771-1546                 PINGSHUI TOWN, SHAOXING COUNTY            EDIF IDI INGENIERIA DE TELECOM
                                          ZHEJIANG 312050                           PLAZA DE LA CIENCIA S/N
                                          CHINA                                     SANTANDER 39005 SPAIN
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MEXICO                                      ATTN RESEARCH TEAM MGR                 TECNOLOGICA DE COLUMBIA
ATTN PHD STUDENT                            AV ALEM 1253                           CALLE 4 SUR NO 15
FACULTAD DE INGENIERIA CIUDAD UNI           BAHIA BLANCA, BS 8000                  134 SOGAMOSO
PRIMER                                      ARGENTINA                              BOYACA
PISO EDIFICIO DIE-DIMEI, DEL COYOACAN                                              COLOMBIA
MEXICO CITY 04510 MEXICO

UNIVERSIDAD SIMON BOLIVAR                   UNIVERSIDAD TECHNOLOGICA NACIONAL      UNIVERSIDADE DE VIGO
ATTN PROFESSOR                              FACULTAD REGIONAL CORDOBA              RUA VIA NTE, 12
VALLE DE SARTENEJAS                         MAESTRO LOPEZ ESQUINA                  PONTEVEDRA
BARUTA                                      CRUZ ROJA ARGENTINA                    VIGO 36204
MIRANDA 1080 VENEZUELA                      CORDOBA 5000 ARGENTINA                 SPAIN



UNIVERSIDADE FEDERAL DE SANTA               UNIVERSIRY OF ARKANSAS                 UNIVERSITA DEGLI STUDI DI ROMA TOR
CATARINA (UFSC)                             ATTN PRESIDENT                         VERGATA
ATTN RESEARCHER                             2404 N UNIVERSITY AVE                  ATTN DEPT HEAD
ROBERIO SAMPA O GONZAGA                     LITTLE ROCK, AR 72202-3808             DIPARTIMENTO DI INGEGNERIA
FLORIANOPOLIS                                                                      ELETTRONICA
SANTA CATARINA 88040-900 BRAZIL                                                    VIA DEL POLITECNICO
                                                                                   ROME 100133 ITALY

UNIVERSITAT BAYREUTH LEHSTUHL MECHA         UNIVERSITAT SIEGEN                     UNIVERSITAT ULM
UNIVERSITATSSTRABE 30                       ATTN PROF, DR                          OPTOELECTRONICS DEPT
BAYREUTH 95448                              HOLDERLINSTRABE 3                      ALBERT-EINSTEIN-ALLEE 45
GERMANY                                     SIEGEN 57068                           ULM 89081
                                            GERMANY                                GERMANY



UNIVERSITE DE SHERBROOKE                    UNIVERSITY COLLEGE DUBLIN              UNIVERSITY CORP FOR ATMOSPHERIC
2500 BOUL DE IUNIVERSITE                    ELECTRONIC & ELECTRICAL ENGINEERING    RESEARCH
SHERBROOKE, QC J1K 2R1                      DEPT                                   ATTN DEPUTY GEN COUNSEL
CANADA                                      ATTN PROFESSOR BRAZIL                  P.O. BOX 3000
                                            UNIVERSITY COLLEGE DUBLIN              BOULDER, CO 80307-3000
                                            BELFIELD, DUBLIN IRELAND


UNIVERSITY OF ALABAMA, THE                  UNIVERSITY OF ALABAMA, THE             UNIVERSITY OF ALABAMA, THE
ATTN ANDY LEMMON                            ATTN ASST VP FOR RESEARCH              DEPT OF ELECTICAL & COMPUTER ENGR
500 UNIVERSITY BLVD E                       152 ROSE ADMINISTRATION                ATTN ANDY LEMMON
TUUSCALOOSA, AL 35401                       BOX 870104                             245 7TH AVE, 342 HM COMER BLDG
                                            TUSCALOOSA, AL 35487                   TUSCALOOSA, AL 35487



UNIVERSITY OF APPLIED SCIENCES SCITEC       UNIVERSITY OF ARIZONA                  UNIVERSITY OF ARKANSAS TECHNOLOGY
ATTN CHANCELLOR                             ATTN WENJIA ZHEE                       DEV. FOUNDATION
ERNST ABBE HOCHSCHULE JENA SCITEC           1200 E UNIVERSITY BLVD                 1 UNIVERSITY OF ARKANSAS
CARL ZEISS PROMENADE 2                      TUSCON, AZ 85721                       FAYETTEVILLE, AR 72701
JENA 07745 GERMANY



UNIVERSITY OF ARKANSAS                      UNIVERSITY OF ARKANSAS                 UNIVERSITY OF ARKANSAS
ATTN ALAN MANTOOTH                          ATTN DIRECTOR- RSSP                    P.O. BOX 1404
535 W RESEARCH CENTER BLVD                  120 OZARK HALL                         FAYETTEVILLE, AR 72701-1404
INNOVATION CENTER, STE 107                  1 UNIVERSITY OF ARKANSAS
FAYETTEVILLE, AR 72701                      FAYETTEVILLE, AR 72701



UNIVERSITY OF BOLOGNA (DEPARMENT            UNIVERSITY OF CALI AT SANTA BARBARA,   UNIVERSITY OF CALIFORNIA
DEIS)                                       THE                                    ATTN DIR OF SPONSORED PROJECTS & INT
VIALE RISORGIMENTO, 2                       3227 CHEADLE HALL, 3RD FL              PROPERTY
BOLOGNA 40136                               SANTA BARBARA, CA 93106-2050           3227 CHEADLE HALL
ITALY                                                                              SANTA BARBARA, CA 93106-2050



UNIVERSITY OF CALIFORNIA                    UNIVERSITY OF CALIFORNIA               UNIVERSITY OF CALIFORNIA
C/O OFFICE OF TECH & INDUSTRIES             C/O OFFICE OF TECH TRANS               C/O THE RICHARD A AUHLL PROF & DEAN OF
ALLIANCES                                   ATTN LIC OFFICER                       ENG
ATTN SR LICENSING OFFICER                   1111 FRANKLIN ST, 5TH FL               ATTN DR MATTHEW TIRRELL
342 LAGOON RD, M/C 2055                     OAKLAND, CA 94607-5200                 1038 HAROLD FRANK HALL
SANTA BARBARA, CA 93106-2055                                                       SANTA BARBARA, CA 93106-5130
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UNIVERSITY OF CENTRAL    25-90163
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                                                                   FLORIDA             Page 872    of 944 BOULDER, THE
                                                                                                OF COLORADO
ATTN DR. LEONID CHEMYAK                       ATTN GRISELLE BAEZ-MUNOZ               ATTN PROFESSOR
DEPARTMENT OF PHYSICS                         OFFICE OF RESEARCH                     UCB 425
4000 CENTRAL FLORIDA BLVD                     12443 RESEARCH PARKWAY, STE 207        BOULDER, CO 80309
ORLANDO, FL 32816-2385                        ORLANDO, FL 32826-3252



UNIVERSITY OF ELECTRONIC SCIENCE &            UNIVERSITY OF ERLANGEN-NUERNBERG       UNIVERSITY OF ERLANGEN-NUREMBERG
TECHNOLOGY OF CHINA                           INSTITUTE OF APPLIED PHYSICS           INSTITUTE FOR ELECTRONICS ENGINEERING
ATTN ENGINEER, NO 2006, XI YUAN MAIN RD       STAUDTSTRASSE 7/A3                     CAUERSTRASSE 9
HI TECH INDUSTRIA DEVELOPMENT ZONE            ERLANGEN 91058                         ERLANGEN 91058
CHENGDU, SICHAUN CHINA                        GERMANY                                GERMANY



UNIVERSITY OF ESTC                            UNIVERSITY OF FERRARA                  UNIVERSITY OF FLORIDA BOARD OF
MAIN BLDG MID-144                             VIA SARAGAT, 1                         TRUSTEES
SCHOOL OF INTERNATIONAL EDUCATION             FERRARA 44122                          207 GRINTER HALL
UESTC NO 4, 2ND SECTON, NORTH JIANSHE         ITALY                                  P.O. BOX 115500
RD                                                                                   GAINESVILLE, FL 32611-5500
CHENGDU 610054 CHINA


UNIVERSITY OF HAWAII AT MANOA                 UNIVERSITY OF IOWA, THE                UNIVERSITY OF IOWA, THE
2505 CORREA RD, WAT 231                       100 GILMORE HALL                       ATTN DONALD KIRCHNER
HONOLULU, HI 96822                            IOWA CITY, IA 52242-1320               612 VAN ALLEN HALL, UNIVERSITY OF IOWA
                                                                                     IOWA CITY, IA 52242




UNIVERSITY OF KANSAS                          UNIVERSITY OF KANSAS                   UNIVERSITY OF KASSEL
ATTN ASSOC VC, RES & GRAD STUDIES             CENTER FOR REMOTE SENSING OF ICE       DEPT OF HIGH FREQUENCY ENG
YOUNGBERG HALL                                SHEETS                                 ATTN PROF DR-ING G KAMPA
2385 IRVING HILL RD                           2335 IRVING HILL RD                    WILHELMSHOHER ALLE 73
LAWRENCE, KS 66045-7568                       LAWRENCE, KS 66405                     KASSEL D-34121 GERMANY



UNIVERSITY OF KASSEL, THE                     UNIVERSITY OF LIVERPOOL, THE           UNIVERSITY OF MALAGA
ATTN PRESIDENT                                ATTN SR CONTRACTS OFFICE               CAMPUS DE TEATINOS S/N
MONCHEBERGSTRASSE 19                          765 BROWNLOW HILL                      MALAGA 29010
KASSEL 34109                                  THE FOUNDATION BLDG                    SPAIN
GERMANY                                       LIVERPOOL L69 7ZX UNITED KINGDOM



UNIVERSITY OF MALAYA                          UNIVERSITY OF MANCHESTER, THE          UNIVERSITY OF MARYLAND
JALAN UNIVERSITI                              ATTN REGISTRAR & SECY                  ATTN BRIAN W FALASCA
KUALA LUMPUR 50603                            OXFORD RD                              1204F MARIE MOUNT HALL
MALAYSIA                                      MANCHESTER M13 9PL                     7814 REGENTS DR
                                              UNITED KINGDOM                         COLLEGE PARK, MD 20742



UNIVERSITY OF MARYLAND                        UNIVERSITY OF MARYLAND, THE            UNIVERSITY OF MASSACHUSETTS
ATTN JEWEL BARLOW                             ATTN CONTRACT MGR                      DARTMOUTH
2102 WIND TUNNEL BLDG                         RESEARCH ADMIN & ADVANCEMENT OFFICE    ATTN RESEARCH & ECO DEV
8167 PAINT BRANCH DR                          3112 LEE BLDG                          FOSTER ADMINISTRATION BLDG
COLLEGE PARK, MD 20742                        COLLEGE PARK, MD 20742                 008/285 OLD WESTPORT RD
                                                                                     N DARTMOUTH, MA 02747


UNIVERSITY OF MICHIGAN, THE                   UNIVERSITY OF MICHIGAN-SHANGHAI JIO    UNIVERSITY OF MILAN
ATTN KRISTA L CAMPEAU                         TONG UNIVERSITY JOINT INSTITUTE        LAB ELECTRONICS AT THE PHYSICS DEPART
DEP OF RESEARCH DEVPT & ADMIN                 800 DONGCHUAN RD MINHANG DIST          VIA FESTA DEL PERDONO 7
3003 S STATE ST, RM 1066                      SHANGHAI 200240                        MILAN 20122
ANN ARBOR, MI 48109-1274                      CHINA                                  ITALY



UNIVERSITY OF MISSISSIPI, THE                 UNIVERSITY OF MISSOURI-COLUMBIA        UNIVERSITY OF NORTH CAROLINA AT CHA
123 LYCEUM                                    105 JESSE HALL                         200 E CAMERON AVE
UNIVERSITY, MS 38677                          COLUMBIA, MO 65211                     CHAPEL HILL, NC 27514
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                                                      NOTTINGHAM                 Page 873    of 944
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ATTN ASSISTAN PROFESSOR                   ATTN DEP DIR RESEARCH INNOVATION       DIV OF SEMICONDUCTOR PHYSICS
3940 N ELM ST                             SERVICES                               P.O. BOX 1048 BLINDER
ST DENTON, TX 76207                       UNIVERSITY PARK                        OSLO N-0316
                                          NOTTINGHAM NG7 2RD                     NORWAY
                                          UNITED KINGDOM


UNIVERSITY OF OULU                        UNIVERSITY OF PHOENIX INC              UNIVERSITY OF PITTSBURGH
PENTTI KAITERAN KATU 1                    ATTN PRESIDENT                         ATTN KENDRA THOMAS
OULU 90570                                4025 S RIVERPOINT PKWY                 350 THACKERAY HALL
FINLAND                                   PHOENIX, AZ 85040                      PITTSBURGH, PA 15260




UNIVERSITY OF PORTSMOUTH UK               UNIVERSITY OF PRETORIA SOUTH AFRICA    UNIVERSITY OF PUERTO RICO
UNIVERSITY HOUSE, WINSTON CHURCHILL       ATTN HEAD OF DEPT                      DEPT OF ELECTRICAL & COMPUTER ENG
AVE                                       CORNER OF UNIVERSITY RD & LYNNWOOD     STEFANI BUILDING, RM 224
PORTSMOUTH                                RD                                     MAYAGUEZ, PR 00680
HAMPSHIRE PO1 2UP                         PRETORIA 0002
UNITED KINGDOM                            SOUTH AFRICA


UNIVERSITY OF ROMA TOR VERGATA            UNIVERSITY OF SASKATCHEWAN             UNIVERSITY OF SC RESEARCH
ELECTRONIC ENGINEERING DEPT               ATTN PHD STUDENT                       FOUNDATION, THE
VIA DEL POLITECNICO 4                     3B48 ENGINEERING BLDG, 57 CAMPUS DR    ATTN PRES
ROME, RM 00133                            SASKATOON, SK S7N 5A9                  901 SUMTER ST
ITALY                                     CANADA                                 COLUMBIA, SC 29208



UNIVERSITY OF SEOUL                       UNIVERSITY OF SEVILLE                  UNIVERSITY OF SHEFFIELD
163 SEOULSIRIPDAERO (90 JEONNONG-         CALLE SAN FERNANDO, 4                  ATTN PROF OF ELEC ENGR
DONG)                                     SEVILLA 41015                          MAPPIN ST
DONGDAEMUN-GU                             SPAIN                                  SHEFFIELD S1 3JD
SEOUL KS013                                                                      UNITED KINGDOM
SOUTH KOREA


UNIVERSITY OF SHEFFIELD                   UNIVERSITY OF SOUTH FLORIDA BOARD OF   UNIVERSITY OF ST THOMAS
BEECH HILL RD                             TRUSTEES                               ATTN ASSOC PROFESSOR
BERKHAMSTED                               ATTN DIR TECHNOLOGY TRANSFER OFFICE    2115 SUMMIT AVE
SOUTH YORKSHIRE S10 2RX                   3802 SPECTRUM BLVD, STE 100            ST PAUL, MN 55105
UNITED KINGDOM                            TAMPA, FL 33612



UNIVERSITY OF STRATHCLYDE                 UNIVERSITY OF STUTTGART                UNIVERSITY OF SURREY
ATTN PROF OF ELEC ENG                     ATTN CHANCELLOR                        ATTN CHRISTIAN MATEI
16 RICHMOND ST, GLASGOW                   KEPLERSTR 7                            STAG HILL
SCOTLAND G1 1XQ                           STUTTGART D-70174                      GUUILFORD
UNITED KINGDOM                            GERMANY                                SURREY GU2 7XH UNITED KINGDOM



UNIVERSITY OF TENNESSEE, THE              UNIVERSITY OF TEXAS AT AUSTIN          UNIVERSITY OF TEXAS AT AUSTIN, THE
ATTN ASST VICE CHANCELLOR                 ATTN JUAN M SANCHEZ, VP FOR RESEARCH   ATTN ASSOC DIR, OFFC OF SPONS PROJ
1534 WHITE AVE                            MAIN BLDG 302                          101 E 27TH ST, STE 4300
KNOXVILLE, TN 37996                       AUSTIN, TX 78712                       AUSTIN, TX 78713-7726




UNIVERSITY OF TEXAS AT AUSTIN, THE        UNIVERSITY OF TEXAS AT AUSTIN, THE     UNIVERSITY OF TEXAS AT DALLAS
ATTN VP/GEN MNGR, MATERIALS               C/O JOHN MALLICK                       ATTN ASST PROFESSOR
1 UNIVERSITY STATION                      3925 W BRAKER LN, STE 400              800 WEST CAMPBELL RD, EC33
AUSTIN, TX 78712                          AUSTIN, TX 78759-5316                  RICHARDSON, TX 75080




UNIVERSITY OF THE PHILIPPINES             UNIVERSITY OF TIANJIN                  UNIVERSITY OF TWENTE
QUEZON HALL, UP DILIMAN                   WEIJIN LOAD NO 92                      DRIENERLOLAAN 5
QUEZON CITY 1101                          TIANJIN 300072                         ENSCHEDE 7522 NB
PHILIPPINES                               CHINA                                  NETHERLANDS
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ECE DEPT                                ATTN DIR OF RESEARCH/CONSULTANCY       ATTN HEAD OF DEPT
50 S CENTRAL CAMPUS DR                  30-36 NEWPORT RD                       WOLCZYNSKA 133
SALT LAKE CITY, UT 84122                CARDIFF CF24 0DE                       WARSAW
                                        UNITED KINGDOM                         POLAND



UNIVERSITY OF WATERLOO                  UNIVERSITY OF WESTERN AUSTRALIA        UNIVERSITY OF WESTMINSTER
DEPT OF ELECTRICAL & COMPUTER           SCHOOL OF EECE                         115 NEW CAVENDISH ST
ENGINEERING                             35 STIRLING HWY, M018                  LONDON W1W 6UW
200 UNIVERSITY AVE W                    CRAWLEY, WA 6009                       UNITED KINGDOM
WATERLOO, ON N2L 3G1                    AUSTRALIA
CANADA


UNIVERSITY OF ZAGREB                    UNIVERSITY OF ZARAGOZA                 UNIVERSITYWAFER.COM
FACULTY OF ELECTRICAL ENG & COMPUTING   I3A. IDI BLDG C/MARIANO ESQUILOR S/N   ATTN PRESIDENT
UNSKA 3                                 ZARAGOZA 50018                         66 N ST, UNIT 9
ZAGREB 10000                            SPAIN                                  SOUTH BOSTON, MA 02127
CROATIA



UNIVSERSITY OF WISCONSIN                UNLIMITED TECHNOLOGY INC               UNSHACKLED LLC
RESEARCH AND SPONSORED PROGRAMS         ATTN DIR, ENTERPRISE SALES             3422 OLD CAPITOL TRL, 1006
750 UNIVERSITY AVE, 4TH FL              20 SENN DR                             WILMINGTON, DE 19808
MADISON, WI 53706                       CHESTER SPRINGS, PA 19425




UNUM LIFE INSURANCE COMPANY             UNUM                                   UOFA TECHNOLOGY DEVELOPMENT
ATTN AVP UNDERWRITING                   1 FOUNTAIN SQUARE                      FOUNDAT
2211 CONGRESS ST                        CHATTANOOGA, TN 37402                  535 W. RESEARCH CENTER BLVD.
PORTLAND, ME 04122                                                             FAYETTEVILLE, AR 72701




U-ONE LIGHTING LTD                      [NAME REDACTED]                        [NAME REDACTED]
ATTN DIRECTOR                           [ADDRESS REDACTED]                     [ADDRESS REDACTED]
11/F, YAN HING CTR 9-13
WONG CHUK YEUNG ST
FO TAN, NT HONG KONG



UPEC ELECTRONICS CORP                   UPEC ELECTRONICS CORP                  UPITER LLC
11F 186, JING 1ST RD                    STE 16F-3-4, NO. 258 LIANCHENG RD      ATTN CHIEF EXECUTIVE OFFICER
JUNGHE CITY                             JUNGHE CITY, TAIPEI 235                REKI VOLKOVI EMBANKMENT, 17, A, OFFICE 1
TAIPEI 235                              TAIWAN                                 ST PETERSBURG 192007
TAIWAN                                                                         RUSSIA



[NAME REDACTED]                         UPPER ODYSSEY TECHNOLOGY SDN BHD       UPPEREDGE LLC
[ADDRESS REDACTED]                      PTD 7911 , PUSAT BENGKEL PERUSAHAAN    ATTN CHIEF EXECUTIVE OFFICER
                                        PONTIAN JOH 82000                      184 HIGH ST, STE 502
                                        MALAYSIA                               BOSTON, MA 02110




[NAME REDACTED]                         UPS GROUND FREIGHT INC                 UPS GROUND FREIGHT INC
[ADDRESS REDACTED]                      ATTN GLOBAL CONTRACTS DEPT             ATTN LEGAL
                                        12380 MORRIS RD                        1000 SEMMES AVE
                                        ALPHARETTA, GA 30005                   RICHMOND, VA 23218-1216




UPS PARCEL DELIVERY SERVICE LTD         UPS SCS TAIWAN CORPORATION LTD         UPS SUPPLY CHAIN SOLUTIONS INC
36/F, 9 WING HONG ST                    ATTN MANAGING DIR                      ATTN DIR BUSINESS DEV
CHEUNG SHA WAN                          9F NO 140 SEC2 ROOSEVELT RD            12380 MORRIS RD
KOWLOON                                 TAIPEI                                 ALPHARETTA, GA 30005
HONG KONG                               TAIWAN
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C/O UPS SUPPLY CHAIN SOLUTIONS INC       T&M SERVICE                           ATTN GEN MGR
55 GLENLAKE PKWY, NE                     ATTN PRES                             MARBURGER STR 7
ATLANTA, GA 30328                        196 COUNTY RTE 14, STE 1              NURNBERG 90427
                                         HUDSON, NY 12534                      GERMANY



[NAME REDACTED]                          UPV / EHU                             URBAN MINISTRIES OF DURHAM INC
[ADDRESS REDACTED]                       B SARRIENA S/N                        410 LIBERTY STREET
                                         LEIOA 48940                           DURHAM, NC 27701-3408
                                         SPAIN




URBANHQ                                  URBANSITTER, INC.                     [NAME REDACTED]
ATTN MANAGING DIR                        268 BUSH STREET                       [ADDRESS REDACTED]
EAGLE STAR HOUSE                         SAN FRANCISCO, CA 94108-2811
5-7 UPPER QUEEN ST, BELFAST
NORTHERN IRELAND BT1 6FB UNITED
KINGDOM


URBIS LIGHTING LTD                       [NAME REDACTED]                       [NAME REDACTED]
ATTN REG ENG MGR                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]
TELFORD RD, HOUNDSMILLS
BASINGSTOKE
HANTS RG21 6YW UNITED KINGDOM



[NAME REDACTED]                          URMET TELECOMUNICAZIONI SPA           URS CORPORATION
[ADDRESS REDACTED]                       ATTN DEMAND MGR                       ATTN CONTRACTS DEPT
                                         VIA DI CASTEL ROMANO 167              9400 AMBERGLEN BLVD
                                         ROMA 00128                            AUSTIN, TX 78729
                                         ITALY



US ALARM & DETECTION SUPPLY LLC          US ARMY CORPS OF ENGINEERS            US ARMY RESEARCH LABORATORY, THE
1033 7TH STREET                          WILMINGTON DIST                       ATTN TEAM LEAD, HIGH ENERGY LASER,
EAST MOLINE, IL 61244-1460               69 DARLINGTON AVE                     SSED
                                         WILMINGTON, NC 28403                  2800 POWDER MILL RD
                                                                               ADELPHI, MD 20783



US BANCORP ASSET MANAGEMENT INC          US BANK NA, AS TRUSTEE                US BANK NA/ETF (2580)
800 NICOLLET MALL                        ATTN: RYAN RIGGLEMAN                  ATTN STEPHANIE KAPTA
MINNEAPOLIS, MN 55402-7000               FOR 1.750 SENIOR UNSECURED,           1555 N RIVER CENTER DR
                                         CONVERTIBLE NOTES DUE 26, 28, 29      SUITE 302
                                         214 N. TRYON STREET, 27TH FLOOR       MILWAUKEE, WI 53226
                                         CHARLOTTE, NC 28202


US CASE CORPORATION                      US CENTRIFUGE SYSTEMS LLC             US CHEMICAL STORAGE, LLC
6301 J. RICHARD DRIVE                    ATTN SALES PERSON                     1806 RIVER STREET
RALEIGH, NC 27617-4601                   1428 W HENRY ST                       WILKESBORO, NC 28697-7633
                                         INDIANAPOLIS, IN 46221




US DEPARTMENT OF COMMERCE                US DEPARTMENT OF LABOR                US DEPARTMENT OF LABOR
OFFICE OF EXPORT ENFORCEMENT             ATTN ASST DIST DIR, RALEIGH           S-2521
ATTN DOUGLAS HASSEBROCK, DIR             4407 BLAND RD, STE 270                200 CONSITUTION AVE, NW
1401 CONSTITUTION AVE, RM H4514          RALEIGH, NC 27609                     WASHINGTON, DC 20210
WASHINGTON, DC 20230



US DEPARTMENT OF THE NAVY                US DEPARTMENT OF THE TREASURY         US DEPARTMENT OF TRANSPORTATION,
NAVFAC EXWC PW61                         RE: WG2516123                         PIPELINE
1100 23RD AVE                            P.O. BOX 979131                       AND HAZARDOUS MATERIALS SAFETY
PORT HUENEME, CA 93043                   ST LOUIS, MO 63197-9000               ADMINISTRATION
                                                                               1200 NEW JERSEY AVENUE, SE
                                                                               WASHINGTON, DC 20590
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                                                OF COMMERCE                      DEPT OF876 of 944
                                                                                          ENERGY
BUREAU OF INDUSTRY & SECURITY           OFFICE OF EXPORT ENFORCEMENT          OAK RIDGE NATL LAB, SOLID STATE DIV
ATTN BRIAN BAKER, DIRECTOR              ATTN DOUGLAS HASSEBROCK, DIR          RM M302, BLDG 3025, MS 6033
RM 2099B, 14TH ST & PENNSYLVANIA AVE NW 1401 CONSTITUTION AVE, RM H4514       P.O. BOX 2008
WASHINGTON, DC 20230                    WASHINGTON, DC 20230                  OAK RIDGE, TN 37831-6048



US DEPT OF LABOR                        US DEPT OF STATE                         US DEPT OF TREASURY/ SEPT OF
EMPLOYEE BENEFITS SECURITY ADMIN        OFF OF DEFENSE TRADE CONTROLS COMP       VETERANS AFFAIRS DMC
ATTN INVESTIGATOR                       ATTN DANIELLE PRESSLER                   RE: WG2477143
61 FORSYTH ST SW, STE 7B54              PM/DDTC, SA-1, RM L132, 2401 E ST, NW    P.O. BOX 979101
ATLANTA, GA 30303                       WASHINGTON, DC 20522                     ST LOUIS, MO 63197-9000



US DYNAMICS CORPORATION                 US EEOC                                  US ENVIRONMENTAL PROTECTION AGENCY
ATTN SR VP, FINANCE                     ATTN J.E MORALES, SR FED INVESTIGATOR    ATTN EPCRA ENF SECT CHIEF
425 BAYVIEW AVE                         434 FAYETTEVILLE ST, STE 700             61 FORSYTH ST
AMITYVILLE, NY 11701                    RALEIGH, NC 27601                        ATLANTA, GA 30303-8960




US EPA                                  US EQUAL EMP OPPORTUNITY COMMISSION      US EQUAL EMPLOYMENT OPPORTUNITY
1200 PENNSYLVANIA AVE, N.W.             ATTN DEPUTY DIRECTOR                     COMMISSION
WASHINGTON, DC 20460                    RALEIGH AREA OFFICE                      ATTN ALVAN ROBINSON, SR INVESTIGATOR
                                        434 FAYETTEVILLE ST, STE 700             1309 ANNAPOLIS DR
                                        RALEIGH, NC 27601                        RALEIGH, NC 27608



US EQUAL EMPLOYMENT OPPORTUNITY         US GREEN LLC                             US HYBRID CORPORATION
COMMISSION                              ATTN PRINCIPAL                           ATTN PRES & CEO
ATTN ALVAN ROBINSON, SR INVESTIGATOR    40 EXCHANGE PL, STE 250                  445 MAPLE AVE
434 FAYETTEVILLE ST, STE 700            NEW YORK, NY 10005                       TORRANCE, CA 90503
RALEIGH, NC 27601



US LED LTD                              US LIFT & WAREHOUSE EQUIPMENT INC        US MONOLITHICS LLC
ATTN CHIEF EXECUTIVE OFFICER            ATTN OFFICE MGR                          ATN DIR OF OPERATIONS
6807 PORTWEST DR                        2405 HAMILTON ST                         1388 N TECH BLVD, STE 1
HOUSTON, TX 77024                       P.O. BOX 91976                           GILBERT, AZ 85233
                                        ELK GROVE, IL 60009



US MONOLITHICS LLC                      US POSTAL SERVICE                        US SOLID STATE LLC
ATTN DEAN COOK                          65 TW ALEXANDER DRIVE                    ATTN OWNER & CEO
325 E ELLIOT RD, STE 30                 DURHAM, NC 27713-0961                    7288 GREENWOOD RD, STE 117
CHANDLER, AZ 85225                                                               SHREVEPORT, LA 71119-8132




USA ILLUMINATION INC                    USA MOBILITY INC                         USAA GENERAL INDEMNITY COMPANY
ATTN CHIEF ENGINEER                     ATTN VP OF ENGINEERING                   9800 FREDRICKSBURG RD
1126 RIVER RD                           3000 TECHNOLOGY DR, STE 400              SAN ANTONIO, TX 78288
NEW WINDSOR, NY 12553                   PLANO, TX 75074




USAF/AFMC                               USAI LLC                                 USED EQUIPMENT SALES LLC
ATTN AFRL WRIGHT RESEARCH SITE          ATTN VP ENGINEERING                      ATTN CEO
2130 8TH ST, BLDG 45                    1126 RIVER RD                            4916 HAWKINS ST NE
WRIGHT-PATTERSON AFB, OH 45433-7541     NEW WINDSOR, NY 12553                    ALBUQUERQUE, NM 87109




USERSNAP GMBH                           USHIO AMERICA INC                        USHIO EUROPE BV
INDUSTRIEZEILE 35                       5440 CERRITOS AVENUE                     ATTN RESEARCH & DEVELOPMENT
LINZ 4020                               CYPRESS, CA 90630-4567                   ENGINEER
AUSTRIA                                                                          BREGUETLAAN 16-18
                                                                                 OUDE MEER 1438 BC
                                                                                 NETHERLANDS
USHIO LIGHTING INC Case 25-90163   Document
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                                             CORPORATION                     Page
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ATTN DEPUTY GM                         ATTN PRES & CEO                          DBA US MICROWAVE LABORATORIES
860-22 SAIJI, FUKUSAKI-CHO             2001 GATEWAY PL, STE 570W                150 FOX TRL
KANZAKI-GUN                            SAN JOSE, CA 95110                       SUMMERFIELD, NC 27358
HYOGO 679-2215 JAPAN



USON LP                                [NAME REDACTED]                          UTAC HEADQUARTERS PTE LTD
ATTN ASST CONTROLLER                   [ADDRESS REDACTED]                       ATTN SALES & MKTG SVP
8640 N ELDRIDGE PKWY                                                            22 ANG MO KIO
HUDSON, TX 77041                                                                INDUSTRIAL PARK 2 569506
                                                                                SINGAPORE



UTAH DEPARTMENT OF COMMERCE            UTAH DEPT OF ENVIRONMENTAL QUALITY       UTAH DEPT OF ENVIRONMENTAL QUALITY
DIVISION OF CONSUMER PROTECTION        195 NORTH 1950 WEST                      P.O. BOX 144810
160 E 300 S 2ND FL                     SALT LAKE CITY, UT 84116                 SALT LAKE CITY, UT 84114-4810
P.O. BOX 146704
SALT LAKE CITY, UT 84114-6704



UTAH DEPT OF WORKFORCE SERVICES        UTAH DIVISION OF CORPORATION AND         UTAH DIVISION OF SECURITIES
UNEMPLOYMENT INSURANCE                 COMMERCIAL CODE                          P.O. BOX 146760
P.O. BOX 45288                         P.O. BOX 146705                          SALT LAKE CITY, UT 84114-6760
140 E 300 SOUTH                        SALT LAKE CITY, UT 84114-6705
SALT LAKE CITY, UT 84145-0288



UTAH LABOR COMMISSION                  UTAH STATE TAX COMMISSION (FEDEX, UPS)   UTAH STATE TREASURY
160 EAST 300 SOUTH                     210 N 1950 W                             UNCLAIMED PROPERTY DIVISION
3RD FLOOR                              SALT LAKE CITY, UT 84116                 P.O. BOX 140530
SALT LAKE CITY, UT 84111                                                        SALT LAKE CITY, UT 84114-0530




UT-BATTELLE LLC                        UTC FIRE & SECURITY AMERICAS CORP INC    UTC FIRE & SECURITY CORP
ATTN SR COMMERCIALIZATION MGR          8985 TOWN CENTER PKWY                    ATTN VP & IP COUNSEL
1 BETHEL VALLEY RD                     BRADENTON, FL 34202                      ONE CARRIER PL
OAK RIDGE, TN 37830                                                             FARMINGTON, CT 06034




U-TECHNOLOGY CO LTD                    U-TEL CO LTD                             U-TEL TECHNOLOGY CO LTD
ATTN MANAGER                           ATTN SR RESEARCH ENGINEER                ATTN GEN MGR
1-224, AZA KAWAHARAMAE, MAGATAKE       381, DANGJEONG-DONG, GUNPO-SI            4 FL, NO 117, LIDE ST
ZAUO, KATTA-GUN                        KYYUNGGI-DO 435-832                      CHUNG HO CITY
MIYAGI 989-0851 JAPAN                  SOUTH KOREA                              TAIPEI HSEIN TAIWAN



UTI UNITED STATES INC                  UTICA CHILDRENS MUSEUM                   UTICA COFFEE ROASTING INC
ATTN GLOBAL VP SDI                     310 MAIN STREET                          300 WATER STREET
100 OCEANGATE, STE 1500                UTICA, NY 13501-1236                     UTICA, NY 13502-3171
LONG BEACH, CA 90802




UTICA SIGN & GRAPHICS LLC              UTILITY PLANT SOLUTIONS INC              [NAME REDACTED]
428 MAIN STREET                        ATTN PRESIDENT                           [ADDRESS REDACTED]
UTICA, NY 13501-1217                   1005 HIALEAH CT
                                       WAKE FOREST, NC 27587




[NAME REDACTED]                        [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                       [ADDRESS REDACTED]
UVAX CONCEPTS SL Case 25-90163   Document
                                    UVP LLC 87 Filed in TXSB on 07/03/25 UW
                                                                          Page   878 of
                                                                            E-BUSINESS   944
                                                                                       CONSORTIUM
ATTN CHIEF EXECUTIVE OFFICER         ATTN SALES ASSOCIATE                  UNIV OF WISCONSIN-MADISON
PARQUE EMPRESARIAL TACTICA           2066 W 11TH ST                        4158 ME BLDG
C/ CORRETGER 71-2                    UPLAND, CA 91786                      1513 UNIVERSITY AVE
PATERNA - VALENCIA 46980 SPAIN                                             MADISON, WI 53706-1572



[NAME REDACTED]                      U-WIN INDUSTRIAL DEVELOPMENT CO LTD   [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN SALES MGR                        [ADDRESS REDACTED]
                                     JIAOYITANG MANAGEMENT AREA
                                     TANGXIA TOWN
                                     DONGGUAN, GUANGDONG CHINA



[NAME REDACTED]                      [NAME REDACTED]                       V BARIS & CO OE
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    ATTN GENERAL MANAGER
                                                                           56 EUVOIAS
                                                                           GORGOROPOTAMOU STR
                                                                           PATRAS 26332 GREECE



[NAME REDACTED]                      V LED LIGHT S.R.L. UNIPERSONALE       [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN OWNER                            [ADDRESS REDACTED]
                                     VIA ABRUZZI 15
                                     SCHIO, VICENZA
                                     ITALY



VACO RALEIGH, LLC                    VACO                                  VACON INC
5501 VIRGINIA WAY SUITE 120          6925 HODGE ROAD                       ATTN VP MV DRIVES
BRENTWOOD, TN 37027-7682             WENDELL, NC 27591                     12 TW ALEXANDER DR, 200A
                                                                           P.O. BOX 14787
                                                                           RESEARCH TRIANGLE PK, NC 27709



VACUCOAT TECHNOLOGIES INC            VACULAYER CORP                        VACULEX USA LLC
ATTN PRESIDENT                       ATTN PRES                             ATTN MAJOR ACCT EXEC
33575 GIFTOS DR                      247 ARMSTRONG AVE, UNIT 6             605 PHILIP DAVIS DR, STE 1
CLINTON TOWNSHIP, MI 48035           GEORGETOWN, ON L7G 4X6                CHARLOTTE, NC 28217
                                     CANADA



VACUUBRAND INC                       VACUUM ENGINEERING AND MATERIALS CO   VACUUM GENERATORS LTD
11 BOKUM RD                          INC                                   ATTN COMMERCIAL DIR
ESSSEX, CT 06426                     390 REED STREET                       MAUNSELL RD
                                     SANTA CLARA, CA 95050-3108            CASTLEHAM INDUSTRIAL ESTATC HASTINGS
                                                                           TN389NN UNITED KINGDOM



VACUUM PUMPS & COMPRESSOR INC        VACUUM TECHNIQUE LLC DBA TRILLIUM U   VACUUMSCHMELZE GMBH & CO KG
ATTN CORP SECRETARY                  13011 SE JENNIFER ST.                 ATTN VP / DIR PM
907 N MILITARY AVE                   CLACKAMAS, OR 97015-9042              GRUNER WEG 37
GREEN BAY, WI 54303                                                        HANAU D-63450
                                                                           GERMANY



[NAME REDACTED]                      VADUM INC                             [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN CHIEF EXECUTIVE OFFICER          [ADDRESS REDACTED]
                                     601 HUTTON ST, STE 109
                                     RALEIGH, NC 27606




[NAME REDACTED]                      [NAME REDACTED]                       VAISALA INC
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    194 S. TAYLOR STREET
                                                                           LOUISVILLE, CO 80027
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 [NAME
                                          [NAME REDACTED]                       Page  879 of 944
                                                                                    REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                            VALEMAX COMMUNICATION ENTERPRISE     VALENS CO LTD
[ADDRESS REDACTED]                         SRL                                  ATTN PRESIDENT
                                           ATTN DIRECTOR                        3F 10, LANE 83, SEC 1, GUANGFU RD
                                           VIA CARLO CAPELLI 74                 SANCHONG CITY, TAPEI 241457
                                           TORINO 10146                         TAIWAN
                                           ITALY


VALENS LIGHTING TECHNOLOGY LTD             [NAME REDACTED]                      VALEO SIEMENS EAUTOMATIVE GERMANY
ATTN PRESIDENT                             [ADDRESS REDACTED]                   GMBH
9F, NO.1, LANE 83, SEC 1, GUANGFU RD                                            FRAUENAURACHER STR 85
SANCHONG CITY                                                                   ERLANGEN 91056
TAIPEI 241 TAIWAN                                                               GERMANY



VALEO SYSTEMES DE CONTROLE MOTEUR          VALEO VISION                         VALERE POWER INC
ATTN PRESIDENT                             ATTN VALEO LIGHTING PURCHASING DIR   ATTN DIR ELECTRICAL DEV
14 AVE DES BEGUINES                        34 RUE SAINT ANDRE                   661 N PLANO RD, STE 300
CERGY PONTOISE 95800                       BOBIGNY 93022                        RICHARDSON, TX 75081
FRANCE                                     FRANCE



[NAME REDACTED]                            VALIDITY INC                         [NAME REDACTED]
[ADDRESS REDACTED]                         ATTN EVP SALES & MKTG NA             [ADDRESS REDACTED]
                                           200 CLARENDON ST, FL 22
                                           BOSTON, MA 02116




[NAME REDACTED]                            VALLEY DESIGN CORP                   VALLEY EXTRUSIONS LLC
[ADDRESS REDACTED]                         ATTN DIR                             ATTN VICE PRESIDENT
                                           2 SHAKER RD, BLDG E-001              795 ROBLE RD
                                           SHIRLEY, MA 01464                    ALLENTOWN, PA 18109




VALLEY PROTEINS INC                        [NAME REDACTED]                      VALLEYCREST LANDSCAPE INC
P.O. BOX 643393                            [ADDRESS REDACTED]                   ATTN JAY MANGANARO, OPERATIONS MGR
CINCINNATI, OH 45264-3393                                                       710 E CLUB BLVD
                                                                                DURHAM, NC 27704




VALLEYCREST LANDSCAPE MAINTENANCE          VALLEYLAB                            VALMONT INDUSTRIES INC
INC                                        ATTN VP FINANCE & CONTROLLER         ATTN SALES DIR OEM
710 E CLUB BLVD                            5920 LONGBOW DR                      1 VALMONT PLZ
DURHAM, NC 27704                           BOULDER, CO 80301                    OMAHA, NE 68154




VALOYA OY                                  VALTECH (MALAYSIA) SDN BHD           VALTECH CORPORATION
ATTN CHIEF EXECUTIVE OFFICER               NO.8, JALAN SUNGAI KAYU ARA 32/31,   2113 SANATOGA STATION RD
LAUTTASAARENTIE 54A 3 KERROS               SHAH ALAM 40460                      POTTSTOWN, PA 19464-3275
HELSINKY 00200                             MALAYSIA
FINLAND



VALTECH SHANGHAI LTD                       VALUE INNOVATION PARTNERS LTD        VALUEOPTIONS INC
CANDOR PLAZA UNIT 02A103                   1537 HAZELNUT CROSSING               ATTN PRESIDENT
118 RONG KE LU BLDG 3, PUDONG              MUNDELEIN, IL 60060                  240 CORPORATE BLVD
SHANGHAI 201203                                                                 NORFOLK, VA 23502
CHINA
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 VAN
                                          [NAME REDACTED]                       Page  880 of
                                                                                  DER GEEST   944
                                                                                            ENTERPRISES INC
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     ATTN PRES
                                                                                  2303 RR 620 S, STE 135
                                                                                  AUSTIN, TX 78734




VAN HORN METZ AND CO INC                   VAN LONDON PHOENIX CO                  [NAME REDACTED]
ATTN EXECUTIVE VP                          ATTN VP SALES MGR                      [ADDRESS REDACTED]
201 E ELM ST                               6103 GLENMONT DR
CONSHOHOCKEN, PA 19428                     HOUSTON, TX 77081




VAN PRODUCTS INC                           VANBRUNT, EDWARD AND ALLEN, SCOTT      VANBRUNT, EDWARD AND ALLEN, SCOTT
2521 NOBLIN ROAD                           [ADDRESS REDACTED]                     [ADDRESS REDACTED]
RALEIGH, NC 27604-2415




[NAME REDACTED]                            [NAME REDACTED]                        VANCE INDUSTRIES ELECTRONICS
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     ATTN PRESIDENT
                                                                                  1208 BELMONT ST
                                                                                  BURLINGTON, NC 27215




VANCE-GRANVILLE COMMUNITY COLLEGE          VANCE-GRANVILLE COMMUNITY COLLEGE      VANCEINFO TECHNOLOGIES LIMITED
ATTN ACADEMIC COACH                        P.O. BOX 917                           ATTN ADMIN, HR & RES PLANNING MGR
200 COMMUNITY COLLEGE RD                   HENDERSON, NC 27536-0917               3810B SKYLINE TOWER
HENDERSON, NC 27537                                                               39 WANG KWONG RD
                                                                                  KOWLOON BAY HONG KONG



[NAME REDACTED]                            VANDERBILT LLC DBA ACRE SECURITY AMS   VANDERBILT UNIVERSITY
[ADDRESS REDACTED]                         3700 E PLANO PKWY                      ATTN ASST DIR
                                           PLANO, TX 75074                        2201 W END AVE
                                                                                  NASHVILLE, TN 37235




VANDERBILT UNIVERSITY                      [NAME REDACTED]                        [NAME REDACTED]
OFFICE OF TECH TRANSFER & ENTERPRISE       [ADDRESS REDACTED]                     [ADDRESS REDACTED]
DEV
1207 17TH AVE S, STE 105
NASHVILLE, TN 37212



[NAME REDACTED]                            [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                            VANGUARD EMS INC                       VANGUARD MARKETING CORP (0062)
[ADDRESS REDACTED]                         ATTN PURCHASING MGR                    ATT BEN BEGUIN OR PROXY MGR
                                           9825 SW SUNSHINE CT                    14321 N. NORTHSIGHT BLVD
                                           BEAVERTON, OR 97005                    SCOTTSDALE, AZ 85260




[NAME REDACTED]                            [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163        Document 87
                                        VANTAGE RISKFiled in TXSB
                                                     ASSURANCE CO on 07/03/25 VANTAGE
                                                                                Page 881   of 944 INS. CO.
                                                                                      RISK SPECIALTY
[ADDRESS REDACTED]                       30 WOODBOURNE AVE, 4TH FL             30 WOODBOURNE AVE, 4TH FL
                                         PEMBROKE HM 08                        PEMBROKE HM08
                                         BERMUDA                               BERMDA




VANWARD SERVICES INC                     VARAD INC                             VARENTEC LLC
ATTN PRESIDENT                           ATTN PRESIDENT                        ATTN CEO
4801 S UNIVERSITY DR, STE 116            17902 STAR OF INDIA LN                790 TURNPIKE ST, STE 202
DAVIE, FL 33328                          CARSON, CA 90746                      NORTH ANDOVER, MA 01845




VARESYS                                  [NAME REDACTED]                       [NAME REDACTED]
ORBIT INDUSTRIAL ESTATE, MALAD (W)       [ADDRESS REDACTED]                    [ADDRESS REDACTED]
MUMBAI
INDIA




VARIAN ASSOCIATES INC                    VARIAN SEMICONDUCTOR EQUIPMENT        VARIAN SEMICONDUCTOR EQUIPMENT
ATTN VP & GENERAL MGR                    ASSOCIATES INC                        ASSOCIATES INC
3100 HANSEN WAY                          ATTN DISTRICT SERV MGR                ATTN DISTRICT SERV MGR
PALO ALTO, CA 94304                      35 DORY RD                            4 STANLEY TUCKER DR
                                         GLOUCESTER, MA 01930                  NEWBURYPORT, MA 01950



VARIAN SEMICONDUCTOR EQUIPMENT           VARIDESK LLC                          VARONIS SYSTEMS INC
ASSOCIATES INC                           117 WRANGLER DR, STE 100              ATTN GENERAL COUNSEL
ATTN VP ENGINEERING                      COPPELL, TX 75019                     1250 BROADWAY, 29TH FL
34 BLACKBURN DR                                                                NEW YORK, NY 10001
GLOUCESTER, MA 01930-2270



VARROCORP HOLDING B V                    VARROW INC                            VARSITY BRANDS HOLDING CO INC
ATTN SR VP GLOBAL PD                     ATTN OPERATIONS MGR
SUVOROVOVA 195                           2311 W CONE BLVD, STE 228
SENOV U NOVEHO JICINA 742 42             GREENSBORO, NC 27408
CZECH REPUBLIC



VARTON LLC                               [NAME REDACTED]                       [NAME REDACTED]
DOROGOBUZHSKAYA ST 14, BLDG 6            [ADDRESS REDACTED]                    [ADDRESS REDACTED]
MOSCOW 121354
RUSSIA




VASHAW SCIENTIFIC INC                    [NAME REDACTED]                       VASS ENGINEERED PRODUCTS
ATTN PRESIDENT                           [ADDRESS REDACTED]                    ATTN PRESIDENT
3125 MEDLOCK BRIDGE RD                                                         408 FLORENCE CIR
NORCROSS, GA 30071                                                             STATESVILLE, NC 28625




[NAME REDACTED]                          [NAME REDACTED]                       VATIT USA INC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]




VA-TRAN SYSTEMS INC                      [NAME REDACTED]                       [NAME REDACTED]
ATTN PRESIDENT                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]
677 ANITA ST, STE A
CHULA VISTA, CA 91911
                Case 25-90163
VAUGHN ENTERPRISES                   Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  882 of 944
                                                                                  REDACTED]
ATTN OWNER/MGR                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]
P.O. BOX 866701
PLANO, TX 75086




[NAME REDACTED]                          VBC LIGHTING LLC                      VBC LIGHTING LLC
[ADDRESS REDACTED]                       ATTN RON BRIENZA, MEMBER              C/O GREE INC
                                         7063 INTERSTATE ISLAND RD             ATTN GENERAL COUNSEL
                                         SYRACUSE, NY 13209                    4600 SILICON DR
                                                                               DURHAM, NC 27703



VCOM INC                                 VD MAIS                               VECCHIO, MICHAEL
N/K/A VECIMA NETWORKS INC                ATTN ALEKSEY VALENTIK                 [ADDRESS REDACTED]
ATTN COO                                 ZHYLYANSKA STR 29
150 CARDINAL PL                          KYIV 01033
SASKATOON, SK S7L 6H7 CANADA             UKRAINE



VECTAWAVE TECHNOLOGY LTD                 VECTOR ELECTRONICS & TECHNOLOGY INC   VECTOR INTERNATIONAL INC
ATTN TECHNICAL DIR                       ATTN VP                               ATTN CHIEF EXECUTIVE OFFICER
1-4 BERNARD WAY                          11115 VANOWEN ST                      230 LARKIN DR
NEWPORT, ISLE OF WIGHT PO30 5YL          NORTH HOLLYWOOD, CA 91605             WHEELING, IL 60090
UNITED KINGDOM



VECTOR SYSTEMS INC                       VEECO INSTRUMENTS INC                 VEECO METROLOGY
ATTN DIR, SALES & MARKETING              ATTN VP & GEN COUNSEL                 5127 ORANGE GROVE RD
411 MCKINNEY PKWY                        100 SUNNYSIDE BLVD                    HILLSBOROUGH, NC 27278
MCKINNEY, TX 75071                       WOODBURY, NY 11797




VEECO PRECISION SURFACE PROCESSING       VEECO PROCESS EQUIPMENT INC           VEELED INC
LLC                                      1 TERMINAL DR                         ATTN HENRY YU
ATTN HERMAN ITZKOWITZ                    PLAINVIEW, NY 11803-2303              NO 120, LN 1, SEC 1
185 GIBRALTAR RD                                                               MINZU RD, TANZI DIST
HORSHAM, PA 19044                                                              TAICHUNG CITY 42747 TAIWAN



[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          VEKTRON INSTRUMENT SDN BHD            [NAME REDACTED]
[ADDRESS REDACTED]                       23, PERSIARAN WIRA JAYA BARAT 22, 2   [ADDRESS REDACTED]
                                         IPOH PER 31350
                                         MALAYSIA




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       VELENTIUM LLC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    ATTN CHIEF EXECUTIVE OFFICER
                                                                               22322 GRAND CORNER DR, STE 140
                                                                               KATY, TX 77494
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  883 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                           VELLNICE LIGHTING INTERNATIONAL CO   VELLNICE LIGHTING INTERNATIONAL
[ADDRESS REDACTED]                        3208, 32/F, 18 HARBOUR RD            COMPANY
                                          CENTRAL PLAZA                        XIAYICUN INDUSTRIAL ZONE
                                          WAN CHAI                             ZHENXING ST, SHIJIE TOWN
                                          HONG KONG                            DONGUAN, GUANGDONG
                                                                               CHINA


VELOCITY CLEARING (0294)                  VELOCITY CLEARING (7359)             VELOCITY TECHNOLOGY SOLUTIONS INC
ALFRED PENNISI OR PROXY MGR               ATTN CHRIS FELICETTI                 ATTN COO
100 WALL ST                               70 HUDSON ST                         1901 ROXBOROUGH RD, FL 4
26TH FL                                   SUITE 5B                             CHARLOTTE, NC 28211
NEW YORK, NY 10005                        HOBOKEN, NJ 07030



VELOX CLEARING LLC (3856)                 VELOX SEMICONDUCTOR CORP             [NAME REDACTED]
ATT PROXY MGR                             394 ELIZABETH AVE                    [ADDRESS REDACTED]
2400 E. KATELLA AVE                       SOMERSET, NJ 08873
STE 725
ANAHEIM, CA 92806



VENDER PRICE PC                           [NAME REDACTED]                      [NAME REDACTED]
222 N LASALLE ST                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]
CHICAGO, IL 60601




VENINI SPA                                [NAME REDACTED]                      [NAME REDACTED]
ATTN GEN MGR                              [ADDRESS REDACTED]                   [ADDRESS REDACTED]
FONDAMENTA VETRAI, 50
MURANO 30141
ITALY



[NAME REDACTED]                           [NAME REDACTED]                      VENNTIS TECHNOLOGIES LLC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   ATTN CHIEF EXECUTIVE OFFICER
                                                                               1261 S WAVERLY RD
                                                                               HOLLAND, MI 49423




VENSYS ELEKTROTECHNIK GMBH                VENTEC USA LLC                       VENTILUX LTD
ATTN HEAD OF PURCHASING                   ATTN DIR OF SALES & MARKETING        ATTN MANGING DIRECTOR
DIESELSTRASSE 12                          179 WARD HILL AVE                    ARBOR COURT, ARBOR LN, KNOWSLEY
DIEPHOLZ D-49356                          WARD HILL, MA 01835                  LIVERPOOL L33 7XE
GERMANY                                                                        UNITED KINGDOM



VENTOR INTERNACIONAL SA DE CV             VENTURE LIGHTING INTERNATIONAL INC   VENTURE LIGHTING INTERNATIONAL
ATTN CHIEF EXECUTIVE OFFICER              ATTN VP                              ATTN SABU KRISHAN, PRESIDENT & COO
BENITO JUAREZ 1 L-1F, COL TLAHUAPAN       3200 AURORA RD                       2451 ENTERPRISE PKWY EAST
CUERNAVACA, MOR 62550                     SOLON, OH 44139                      TWINSBURG, OH 44087
MEXICO



VENTURE PROMOTIONS SDN BHD                VEOLIA ENVIRONMENTAL SERVICES        VEOLIA ENVIRONMENTAL SERVICES
ATTN PRESIDENT                            BILLING INQUIRIES                    TECHNICAL SOLUTIONS LLC
8-8-8 MWE PLAZA, FARQUHAR ST              2176 WILL SUITT RD                   398 CEDAR HILL STREET
PENANG 10200                              CREEDMOOR, NC 27522                  MARLBOROUGH, MA 01752-3043
MALAYSIA
                  Case
VEOLIA WTS ANALYTICAL    25-90163INCDocument
                      INSTRUMENTS              87 SERVICES
                                       VEOLIA WTS   Filed inUSA
                                                             TXSB
                                                                INC on 07/03/25 VEOLIA
                                                                                  PageWTS 884
                                                                                            USAofINC
                                                                                                   944
ATTN GENERAL MGR                       4545 PATENT ROAD                         FKA SUEZ WTS USA INC
6060 SPINE RD                          NORFOLK, VA 23502-5604                   3600 3600 HORIZON BLVD
BOULDER, CO 80301                                                               TREVOSE, PA 19053-6500




VEPCO TECHNOLOGIES                      VERANTIS CORPORATION                     [NAME REDACTED]
14271 FERN AVE                          7251 ENGLE RD, SUITE 300                 [ADDRESS REDACTED]
CHINO, CA 91710-9063                    MIDDLEBURG HEIGHTS, OH 44130




VERDE DESIGNS LLC                       VERDE HAYTER ROAD LP                     VERDER SCIENTIFIC INC.
ATTN PRESIDENT                          C/O IDI                                  11 PENNS TRAIL SUITE 300
8240 S KYRENE RD, STE 107               ATTN MGR - LEASE ADMIN                   NEWTOWN, PA 18940-4800
TEMPE, AZ 85284                         1100 PEACHTREE ST, STE 1100
                                        ATLANTA, GA 30309



[NAME REDACTED]                         VERGESENSE INC                           [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN CHIEF EXECUTIVE OFFICER             [ADDRESS REDACTED]
                                        108 MOFFETT BLVD
                                        MOUNTAIN VIEW, CA 94043




VERICLAIM INC                           VERID TECHNOLOGY CORPORATION             VERITIV OPERATING COMPANY
ATTN VP                                 KOIVISTOKADE 3                           FORMALLY UNISOURCE
1833 CENTRE POINT CIR, STE 139          AMSTERDAM 1013 AC                        1000 ABERNATHY ROAD NE BUILDING 400
NAPERVILLE, IL 60563                    NETHERLANDS                              ATLANTA, GA 30328-5614




VERIZON                                 VERIZON                                  VERMONT AGENCY OF AGRICULTURE, FOOD
500 TECHNOLOGY DRIVE                    P.O. BOX 18790                           AND MARKETS
SUITE 550                               NEWARK, NJ 07191-8790                    FOOD SAFETY AND CONSUMER PROTECTION
WELDON SPRING, MO 63304                                                          116 STATE ST
                                                                                 MONTPELIER, VT 05620



VERMONT AGENCY OF NATURAL               VERMONT DEPT OF LABOR                    VERMONT DEPT OF TAXES
RESOURCES                               5 GREEN MOUNTAIN DR                      133 STATE ST
1 NATIONAL LIFE DR                      P.O. BOX 488                             MONTPELIER, VT 05602
DAVIS 2                                 MONTPELIER, VT 05601-0488
MONTPELIER, VT 05620-3901



VERMONT OFFICE OF THE ATTORNEY          VERMONT REPRESENTACOES E COMERCIO        VERMONT REPRESENTAGOES E COMERCIO
GENERAL                                 L                                        LTDA
CONSUMER PROTECTION SECTION             RUA DOM ARMANDO LOMBARDI, 557 4TH F      ATTN: DANIEL TREVIZAN
109 STATE ST                            SAO PAULO SP 05616011                    RUA DOM ARMANDO LOMBARDI, 557 4°
MONTPELIER, VT 05609                    BRAZIL                                   ANDAR
                                                                                 SAO PAULO
                                                                                 BRAZIL

VERMONT SECRETARY OF STATE,             VERMONT SECURITIES DIVISION              VERMONT
CORPORATIONS DIVISION                   89 MAIN STREET                           ATTN VP
128 STATE ST                            MONTPELIER, VT 05620-3101                RD 619
MONTPELIER, VT 05633                                                             MONTIERAMEY 10270
                                                                                 FRANCE



VERNDALE CORP, THE                      VERNDALE CORPORATION, THE                [NAME REDACTED]
ATTN JOSEPH ZARRETT                     ATTN PRESIDENT                           [ADDRESS REDACTED]
28 DAMRELL ST 300                       320 CONGRESS ST
BOSTON, MA 02127                        BOSTON, MA 02210
VERSATEK SOLUTIONSCase
                    LLC 25-90163       Document  87 Filed in TXSB on 07/03/25 VERSUM
                                          [NAME REDACTED]                       PageMATERIALS
                                                                                     885 of 944
                                                                                              US LLC
1635 N. ROSEMONT                           [ADDRESS REDACTED]                   ATTN RICH CAMPBELL
MESA, AZ 85205-3300                                                             8555 S RIVER PKWY
                                                                                TEMPE, AZ 85284




VERTEX INC                                 VERTICAL TRANSPORTATION CONSULTING   VERVE TECHNOLOGY INC
ATTN CONTRACTS ADMIN                       430 FRANKLIN ST                      ATTN PRESIDENT
1041 OLD CASSATT RD                        SCHENECTADY, NY 12305                4216 ROWAN ST
BERWYN, PA 19312                                                                RALEIGH, NC 27609




[NAME REDACTED]                            [NAME REDACTED]                      VESTAS TECH R&D AMERICAS INC
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   ATTN ERIN MCKILLOP
                                                                                1111 BAGBY ST, STE 2100
                                                                                HOUSTON, TX 77002




VESTAS WIND SYSTEMS A/S                    VESTEL DIJITAL URETIM SANAYI AS      VESTEL ELEKTRONIK SANAYI VE TICARET AS
ATTN VICE PRESIDENT                        ATTN GENERAL MGR                     NO 199, LEVENT 199 BUYUKDERE
ALSVEJ 21                                  VESTEL CITY, VESTEL DIJITAL          CADDESI SISLI
RANDERS, SV DK-8940                        ORGANIZE SANAYI BOLGESI              INSTABUL 34384
DENMARK                                    MANISA 45030 TURKEY                  TURKEY



VESTEL                                     [NAME REDACTED]                      VEXICA TECHNOLOGY LTD
ATTN SR OPTICAL DESIGN ENGINEER            [ADDRESS REDACTED]                   ATTN ANDREW LITTLER
MEHMET AKIF CAD, SAKLIVADI KONAKLARI                                            36 WHITEHOUSE ST
MIMOZA BLOK DAIRE 3 BAHCELIEVIER                                                LEEDS LS101 AD
ISTANBUL 34180 TURKEY                                                           UNITED KINGDOM



VEXICA TECHNOLOGY LTD                      VFP INC                              VG SCIENTA LTD
ATTN DIRECTOR                              ATTN VP                              ATTN USA SALES MGR
WORKS OF IRON                              1701 MIDLAND RD                      37A PLEASANT ST, UNIT 1
36 WHITEHOUSE ST                           SALEM, VA 24153                      NEWBURYPORT, MA 01950
LEEDS LS10 1AD UNITED KINGDOM



VIA INSIGHTS LLC                           VIA INTERNATIONAL LLC                VIA PEOPLE INC
ATTN CHIEF EXECUTIVE OFFICER               ATTN CEO                             ATTN VP
6715 FAIRGREEN DR                          8200 CAMERON RD, STE 162             101 MORGAN LN, STE 206
SUWANEE, GA 30024                          AUSTIN, TX 78754                     PLAINSBORO TWP, NJ 08540




VIABIZZUNO SRL                             VIASAT INC                           VIASYSTEMS INC
ATTN PRODUCT MGR                           ATTN SR CONTRACT ADMIN               ATTN CORP COUNSEL
VIA ROMAGNOLI, 10                          1388 N TECH BLVD, STE 1              101 S HANLEY RD, STE 1800
BENTIVOGLIO, BOLOGNA 40010                 GILBERT, AZ 85233                    ST LOUIS, MO 63105
ITALY



[NAME REDACTED]                            VIBRA-FLIGHT SYSTEMS INC             VIBRA-METRICS INC
[ADDRESS REDACTED]                         ATTN PRESIDENT                       1014 SHERMAN AVE
                                           8331 W CALUMENT RD                   HAMDEN, CT 06514
                                           MILWAUKEE, WI 53223




VIBRATION ENGINEERING CONSULTANTS INC      [NAME REDACTED]                      [NAME REDACTED]
ATTN BENOIT PELEZAR                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]
4555 PAUL SWEET RD
SANTA CRUZ, CA 95065
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  886 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




VICOR CORPORATION                         VICTOR ASSOCIATES INC              VICTORY SALES AMERICA INC
ATTN VP SALES & MKTG                      ATTN PRESIDENT                     ATTN PRESIDENT
25 FRONTAGE RD                            48-B VINCENT CIR                   902 RANDALL RD, STE C238
ANDOVER, MA 01810                         WARMINSTER, PA 18974               ST CHARLES, IL 60174




[NAME REDACTED]                           VIDEOLOGY IMAGING SOLUTIONS INC    VIENNA UNIVERSITY OF TECHNOLOGY
[ADDRESS REDACTED]                        ATTN CHIEF EXECUTIVE OFFICER       ATTN O UNIV PROF
                                          37M LARK INDUSTRIAL PKWY           KARLSPLATZ 13
                                          GREENVILLE, RI 02828               WIEN A-1040
                                                                             GERMANY



VIENNA UNIVERSITY OF TECHNOLOGY           VIET HUNG IDT CO LTD               VIEW ENGINEERING INC
GUSSHAUSSTR 25/354                        ATTN SALES DIRECTOR                ATTN PRESIDENT
VIENNA A-1040                             A15 LOT DINH CONG URBAN AREA       1650 N VOYAGER AVE
AUSTRIA                                   HANOI 10000                        SIMI VALLEY, CA 93063
                                          VIETNAM



VIEWORKS CO., LTD.                        VIGEX INTERNATIONAL LTD            VIGILANT TECHNICAL SALES
41-3 BURIM-RO 17 OBEON-GIL DONGAN-G       ATTN GM                            ATTN VP
ANYANG-SI 14055                           36, 4TH INNOVATION RD              28 SYMONDS AVE
SOUTH KOREA                               ZHUHAI, GUANGDONG                  ST JOHNS, NL A1E 5B1
                                          CHINA                              CANADA



[NAME REDACTED]                           VIKING INTERNATIONAL PROTECTION    VIKING TECH CORP
[ADDRESS REDACTED]                        ATTN DIR OF OPS                    ATTN PRESIDENT
                                          40720 CARMELITA CIR                NO 70, KUANFU N RD
                                          TEMECULA, CA 92591                 HSINCHU INDUSTRIAL PARK
                                                                             HSINCHU 303 TAIWAN



VILLA LIGHTING SUPPLY INC                 [NAME REDACTED]                    [NAME REDACTED]
ATTN MATT VILLA                           [ADDRESS REDACTED]                 [ADDRESS REDACTED]
2929 CHOUTEAU AVE
ST LOUIS, MO 63103




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




VIM RECYCLERS LP                          VINCENT ASSOCIATES INC             VINCENT T.K CHEUNG YAP & CO
ATTN ACCT MGR                             ATTN SVP                           ATTN ALEX CHEUNG
920 RATHBONE AVE                          803 LINDEN AVE                     15/F ALEXANDRA HOUSE
AURORA, IL 60506                          ROCHESTER, NY 14625                18 CHARTER RD
                                                                             CENTRAL HONG KONG
VINCI & ASSOCIATESCase 25-90163       Document  87 GMBH
                                         VINCOTECH  Filed in TXSB on 07/03/25 [NAME
                                                                                Page  887 of 944
                                                                                    REDACTED]
ATTN PRESIDENT                            ATTN CHIEF EXECUTIVE OFFICER              [ADDRESS REDACTED]
31324 VIA COLINAS, STE 101                BIBERGERSTRASSE 93
WESTLAKE VILLAGE, CA 91362                UNTERHACHING D-82008
                                          GERMANY



[NAME REDACTED]                           [NAME REDACTED]                           VINGROUP JOINT STOCK CO
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                        ATTN TONG GIAM DOC
                                                                                    NO 7, BANG LANG RD 1, VINHOMES
                                                                                    RIVERSIDE
                                                                                    LONG BIEN DISTRICT
                                                                                    HANOI CITY VIETNAM


VINOTECH GMBH                             VINSMART RESEARCH & MANUFACTURE           [NAME REDACTED]
ATTN DIR STRATEGIC PURCHASE & PROC        JOINT STOCK CO                            [ADDRESS REDACTED]
BIBERGER STR 93                           LOT CN1-06B-1&2, HIGH TECH IND PARK 1
UNTERHACHING 82008                        HOA LAC HI-TECH PARK, HA BANG
GERMANY                                   THACH THAT
                                          HANOI VIETNAM


[NAME REDACTED]                           VINYLEX CORP                              VIOLED INTERNAITONAL PTE LTD
[ADDRESS REDACTED]                        ATTN VP SALES & MKTG                      ATTN CEO
                                          2636 BYINGTON-SOLWAY RD                   55 UBI AVE 1, 04-01
                                          KNOXVILLE, TN 37931                       SINGAPORE 408935
                                                                                    SINGAPORE



[NAME REDACTED]                           VIPER RF LTD                              [NAME REDACTED]
[ADDRESS REDACTED]                        UNIT 22 PARSONS CT, WELBURY WAY           [ADDRESS REDACTED]
                                          NEWTON AYCLIFFE DL5 6ZE
                                          UNITED KINGDOM




VIRGIN ISLANDS DEPARTMENT OF              VIRGIN ISLANDS DEPT OF LABOR              VIRGIN ISLANDS DEPT OF LABOR
LICENSING                                 2353 KRONPRINDSENS GADE                   4401 SION FARM
AND CONSUMER AFFAIRS                      ST THOMAS, VI 00802                       STE 1
3000 GOLDEN ROCK SHOPPING CTR STE 9                                                 ST CROIX, VI 00820-4245
ST CROIX, VI 00820



VIRGIN PULSE INC                          VIRGINIA BEACH GENERAL DISTRICT COURT     VIRGINIA COMMONWEALTH UNIVERSIRTY
75 FOUNTAIN STREET SUITE 310              RE: GV17027897-01                         301 W MAIN ST
PROVIDENCE, RI 02902-0050                 2425 NIMMO PARKWAY                        RICHMOND, VA 23284
                                          COURTROOM G
                                          VIRGINIA BEACH, VA 23456



VIRGINIA COMMONWEALTH UNIVERSITY          VIRGINIA DEPARTMENT OF THE TREASURY       VIRGINIA DEPT OF ENVIRONMENTAL QUALITY
INTELLECTUAL PROPERTY FOUNDATION          UNCLAIMED PROPERTY DIVISION               1111 E MAIN ST
ATTN PRESIDENT OF IPF                     101 NORTH 14TH ST                         STE 1400
1101 E MARSHALL ST, BOX 980568            RICHMOND, VA 23219                        RICHMOND, VA 23219
RICHMOND, VA 23298-0568



VIRGINIA DEPT OF ENVIRONMENTAL QUALITY    VIRGINIA DEPT OF TAXATION                 VIRGINIA DEPT OF TAXATION
P.O. BOX 1105                             1957 WESTMORELAND STREET                  OFFICE OF CUSTOMER SERVICES
RICHMOND, VA 23218                        RICHMOND, VA 23230                        P.O. BOX 1115
                                                                                    RICHMOND, VA 23218-1115




VIRGINIA DIV OF SECURITIES & RETAIL       VIRGINIA DIVISION OF LABOR AND INDUSTRY   VIRGINIA EMPLOYMENT COMMISSION
FRANCHISING                               MAIN STREET CENTRE                        P.O. BOX 26441
P.O. BOX 1197                             600 E MAIN ST                             RICHMOND, VA 23261-6441
RICHMOND, VA 23218                        STE 207
                                          RICHMOND, VA 23219
VIRGINIA INDUSTRIALCase  25-90163
                    PLASTICS INC         Document
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                                                     OFFICE     in TXSB
                                                            OF THE       on 07/03/25 VIRGINIA
                                                                   ATTORNEY            Page PANEL
                                                                                              888 of 944
                                                                                                  CORPORATION
ATTN PRESIDENT                               GENERAL                                  1400 NEW HOPE RD
2454 N EAST SIDE HWY                         CONSUMER PROTECTION SECTION              WAYNESBORO, VA 22980
ELKTON, VA 22827                             900 E MAIN ST
                                             RICHMOND, VA 23219



VIRGINIA POLYTECHNIC INST & STATE UNIV       VIRGINIA POLYTECHNIC INSTITUTE & STATE   VIRGINIA SEMICONDUCTOR INC
ATTN ASSOC VP, RESEARCH & INNOV              UNI                                      ATTN VP
NEC, 300 TURNER ST NW, STE 4200              ATTN ASST VP FOR SPONSORED PROG          1501 POWHATAN ST
BLACKSBURG, VA 24061                         ADMIN                                    FREDERICKSBURG, VA 22401
                                             1880 PRATT DR, STE 2006
                                             BLACKSBURG, VA 24060


VIRIBRIGHT LIGHTING INC                      [NAME REDACTED]                          [NAME REDACTED]
ATTN VICE PRESIDENT                          [ADDRESS REDACTED]                       [ADDRESS REDACTED]
391 N MAIN ST, STE 201
CORONA, CA 92879




VIRON INTERNATIONAL CORP                     VIRTU AM (0295)                          VISCON MACHINE VISION PTE LTD
ATTN PRESIDENT                               ATT JANICA BRINK OR PROXY MGR            ATTN HEAD OF SALES
505 HINTZ RD                                 300 VESEY ST                             150 KAMPONG AMPAT 01-02
OWOSSO, MI 48867                             NEW YORK, NY 10282                       KA CENTRE
                                                                                      SINGAPORE 368324 SINGAPORE



VISCOR INC                                   VISCOTEC AMERICA INC                     VISERA TECHNOLOGIES COMPANY LIMITED
ATTN VP OPERATIONS                           ATTN PRESIDENT                           ATTN DIR
35 OAK ST                                    1955 VAUGHN RD, STE 209                  NO 12, DUSING RD. 1,
TORONTO, ON M9N 1A1                          KENNESAW, GA 30144                       HSIN-CHU SCIENCE PARK
CANADA                                                                                HSIN-CHU 300 TAIWAN



VISHAY AMERICAS, INC.                        VISHAY DALE ELECTRONICS LLC              VISHAY INTERTECHNOLOGY ASIA PTE LTD
ONE GREENWICH PLACE                          DBA APPLIED THIN FILM PRO                ATTN DIRECTOR
SHELTON, CT 06484-7603                       3620 YALE WAY                            37A TAMPINES ST 92 07-01
                                             FREMONT, CA 94538-6182                   SINGAPORE 528886
                                                                                      SINGAPORE



VISHAY INTERTECHNOLOGY INC                   VISHAY MEASUREMENTS GROUP INC            VISIBLE LIGHT SOLAR TECHNOLOGIES INC
ATTN QA MGR                                  ATTN CUSTOMER SERVICE                    ATTN PRESIDENT & CEO
HAKOTZER STR 3                               P.O. BOX 27777                           3825 OSUNA RD NE, STE 4
BEER SHEVA 8488991                           RALEIGH, NC 27611                        ALBUQUERQUE, NM 87109
ISRAEL



VISIC TECHNOLOGIES LTD                       VISIC TECHNOLOGIES LTD                   VISION BLUE-WELDEX CORP
ATTN CEO                                     ATTN CHIEF EXECUTIVE OFFICER             ATTN R&D PROJECT ENG MANAGER
4 BEZALEL ST                                 GOLDA MEIR 7                             15F, SONGDO SMART-VALLEY A-DONG
RAMAT-GAN 52521                              NES ZIONA 7403650                        214-0 SONGDO-DONG, YEONSU-GU
ISRAEL                                       ISRAEL                                   INCHEON-SI 21990 SOUTH KOREA



VISION CONTRACTORS INC                       VISION ENGINEERING & METAL STAMPING      VISION ENGINEERING INC
ATTN PRESIDENT                               INC                                      570 DANBURY RD.
2315 MYRON DR                                ATTN CEO                                 NEW MILFORD, CT 06776-4341
RALEIGH, NC 27607                            1817 E AVE Q, B1
                                             PALMDALE, CA 93551



VISION ENGINEERING LTD                       VISION FIN MKTS LLC (0595)               VISION PLASTICS INC
ANTON-PENDELE-STR. 3                         ATT OPS DEPT                             ATTN PRESIDENT
EMMERING 82275                               120 LONG RIDGE RD, 3 NORTH               332 HALLBERG ST
GERMANY                                      STAMFORD, CT 06902                       DELEVAN, WI 53115
                   Case 25-90163
VISION X ASIA CO LTD               Document
                                      VISION X87
                                              ASIA Filed in TXSB on 07/03/25 VISION
                                                                               Page    889 of 944
                                                                                    X PROPERTIES LLC
ATTN GEN MGR                           ATTN GEN MGR                            ATTN VP
175-16 CHUNGCHUN-DONG                  825-3 BANGGYO-RI, DONGTAN-MYEON         901 ALGONA BLVD N
BUPYUNG-KU                             HWASEUNG-SI                             AUBUM, WA 98001
INCHEON-SHI 403-030 SOUTH KOREA        GYEONGGI-DO 18487 SOUTH KOREA



VISIONAIRE LIGHTING LLC                VISTA PROFESSIONAL OUTDOOR LIGHTING     VISTA RESEARCH INC
ATTN MANAGING DIR OF ENG               ATTN SALES & MKTG VP                    ATTN VP OPERATIONS
19645 RANCHO WAY                       1625 SURVEYOR AVE                       2231 CRYSTAL DR, STE 575
RANCHO DOMINGUEZ, CA 90220             SIMI VALLEY, CA 93063                   ARLINGTON, VA 22202




VISTA UNIVERSAL INC                    VISTEK INC                              VISTEON AUTOMOTIVE SYSTEMS
ATTN PRESIDENT                         ATTN PRESIDENT                          C/O ADVANCED ELECTRONICS &
2430 AMERICAN AVE                      1741 W UNIVERSITY AVE, STE 146          TELEMATICS
HAYWARD, CA 94545                      TEMPE, AZ 85281                         ATTN DAN ANGELL
                                                                               16630 SOUTHFIELD RD
                                                                               ALLEN PARK, MI 48101


VISTEON CORPORATION                    VISTEON-AUTOPAL SRO                     VISUAL PHOTONICS EPITAXY CO
17000 ROTUNDA DR                       ATTN R&D SUPERVISOR - LED LIGHTING      ATTN VP
DEARBORN, MI 48120                     LUZICKA 984/14                          NO 16, KUNG YEH 1ST RD, PING-JEN IND.
                                       NOVY JICIN 741 01                       ZONE
                                       CZECH REPUBLIC                          PING-JEN CITY, TAOYUAN
                                                                               TAIWAN


VISUAL RISK IQ LLC                     VISUMATIC INDUSTRIAL PRODUCTS INC       VISURAY AS
ATTN MG DIRECTOR                       ATTN DVPT MANAGER                       ATTN COO
5109 ALDERMAN LN                       856 PORTER PL                           STANDBAKKEN 10
CHARLOTTE, NC 28277                    LEXINGTON, KY 40508                     RANDABERG 4070
                                                                               NORWAY



VITAL LEARNING LLC                     VITAL PRESENTATION CONCEPTS INC         VITAL RECORDS HOLDINGS LLC
VITAL LEARNING SOLUTIONS               ATTN GENERAL MGR                        DBA VITAL RECORDS CONTROL
1312 17TH STREET 1162                  P.O. BOX 21247                          1720 EAST HIGHWAY 264
DENVER, CO 80202-1508                  ST PAUL, MN 55121                       SPRINGDALE, AR 72764-8125




VITALITY GROUP LLC, THE                VITALSMARTS LC                          [NAME REDACTED]
ATTN ASSOC GENERAL COUNSEL             CRUCIAL LEARNING                        [ADDRESS REDACTED]
200 W MONROE ST, STE 2100              320 RIVER PARK DRIVE, SUITE SWB
CHICAGO, IL 60606                      PROVO, UT 84604-5736




[NAME REDACTED]                        VITEM VIDEO TELEMESURE                  VITESCO TECHNOLOGIES
[ADDRESS REDACTED]                     ATTN TECHNICAL MGR                      2400 EXECUTIVE HILLS BLVD
                                       6, PLACE ARISTIDE BRIAND                AUBURN HILLS, MI 48326
                                       BP 55
                                       LIMOURS 91470 FRANCE



[NAME REDACTED]                        VITRE-CELL INC                          VITREK CORPORATION
[ADDRESS REDACTED]                     903 WOODSIDE                            12169 KIRKHAM ROAD
                                       ESSEXVILLE, MI 48732                    POWAY, CA 92064-8835




VITRONICS SOLTEC CORPORATION           [NAME REDACTED]                         VIVERAE
ATTN BUSINESS UNIT MGR                 [ADDRESS REDACTED]                      ATTN DIRECTOR, TALENT & CULTURE
2 MARIN WAY                                                                    10670 N CENTRAL EXPY, STE 700
STRATHAM, NH 03885                                                             DALLAS, TX 75231
                  Case
VIZA ELECTRONICS PTE LTD 25-90163       Document
                                           VIZIO INC87 Filed in TXSB on 07/03/25 VKAN
                                                                                   Page  890 of 944
                                                                                      CERTIFICATION & TESTING CO LTD
ATTN VP OF SALES                            ATTN DIRECTOR BUSINESS DEV              ATTN VICE GM, ELECTRICAL & AUTO DIV
12 OAKWOOD GROVE                            39 TESLA                                NO 3, TIANTAIYI RD
SINGAPORE 738233                            IRVINE, CA 92618                        KAITAI AVE
SINGAPORE                                                                           SCIENCE CITY, GUANGZHOU CHINA



VLE ELEKTRONIK OTOMOTIV SAN VE TIC AS       [NAME REDACTED]                         VLG MARKETING LLC
ATTN PLANT MGR                              [ADDRESS REDACTED]                      ATTN PRESIDENT
TOSB OTOMOTIV YAN SANAYI IHTISAS ORG                                                5717 LEGACY DR, STE 270
SAN BOL 2, CADDE NO 12, CAYIROVA                                                    PLANO, TX 75024
KOCAELI 41420 TURKEY



VLM SPA                                     VLOC INCORPORATED                       VLSI STANDARDS, INC.
ATTN ELECTRONIC DES                         ATTN GEN MGR                            FIVE TECHNOLOGY DRIVE
VIA DELLE AZALEE 2                          7826 PHOTONICS DR                       MILPITAS, CA 95035-7916
BUCCINASCO                                  NEW PORT RICHEY, FL 34655
MILANO 20090 ITALY



VML TECHNOLOGIES BV                         VML TECHNOLOGIES BV                     VMWARE INC
ATTN SR PROD MGR                            ATTN SR PROD MGR                        ATTN LEGAL DEPT
KLOKGEBOUW 172                              P.O. BOX 2274                           3401 HILLVIEW AVE
EINDHOVEN 5617 AB                           GUGHT 5260 CV                           PALO ALTO, CA 94304
NETHERLANDS                                 NETHERLANDS



[NAME REDACTED]                             [NAME REDACTED]                         VOESTALPINE SPECIAL WIRE GMBH
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      ATTN CHIEF EXECUTIVE OFFICER
                                                                                    JAHNSTRASSE 13
                                                                                    FUERSTENFELD 8280
                                                                                    AUSTRIA



[NAME REDACTED]                             [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                      [ADDRESS REDACTED]




VOIT AUTOMOTIVE DE MEXICO SA DE CV          VOITH DIGITAL SOLUTIONS                 VOLANSYS TECHNOLOGIES PVT LTD
ATTN CFO                                    AUSTRIA GMBH & CO KG                    ATTN CTO
KM 12 CARRETERA GUADALAJARA                 ATTN ENGINEERING                        BLK A, 7TH FL, SAFAL PROFITAIRE
EL SALTO CP                                 LINZER STRASSE 55                       PRAHLADNAGAR
EL SALTO, JAL 45680 MEXICO                  ST POELTEN 3100 AUSTRIA                 AHMEDABAD 380015 INDIA



VOLKSWAGEN AKTIENGESELLSCHAFT               VOLKSWAGEN LEASING GMBH                 VOLLRATH CO LLC, THE
BERLINER RING 2                             GIFHORNER STRASSE 57                    ATTN CFO
WOLFSBURG                                   BRAUNSCHWEIG D-38112                    1236 N 18TH ST
NIEDERSACHSEN 38440                         GERMANY                                 SHEBOYGAN, WI 53081
GERMANY



[NAME REDACTED]                             VOLT INFORMATIONN SERVICES INC          VOLTA AS
[ADDRESS REDACTED]                          DBA VOLT WORKFORCE SOLUTIONS            ATTN HEAD OF ENG DEPT
                                            209 E VICTORIA ST                       TOOSTUSE 47
                                            SANTA BARBARA, CA 93101                 TALLINN EE-10416
                                                                                    ESTONIA



VOLTAGE MULTIPLIERS INC                     VOLTEO LLC                              VOLUNTEER CENTER OF RACINE
ATTN SALES, ADMIN MGR                       ATTN CHIEF EXECUTIVE OFFCER             6216 WASHINGTON AVE, STE G
8711 W ROOSEVELT AVE                        3100 W RAY RD, STE 201                  RACINE, WI 53406
VISALIA, CA 93291                           CHANDLER, AZ 85226
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 VON
                                      [NAME REDACTED]                       Page
                                                                              GIESE891  of 944
                                                                                    & SON
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   16890 CHURCH ST., BLDG. 2
                                                                            MORGAN HILL, CA 95037-5153




VON HAGEN GMBH                         [NAME REDACTED]                      [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER           [ADDRESS REDACTED]                   [ADDRESS REDACTED]
WESTERHOLZ 8
BLOMBERG 32825
GERMANY



[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




VORTEK INDUSTRIES LTD                  VOSS ELECTRIC COMPANY                VOSSLOH KEPE GMBH
ATTN CEO                               P.O. BOX 22159                       ATTN VP R&D
1820 PANDORA ST                        LINCOLN, NE 68542-2159               KIEPE PLATZ 1
VANCOUCVER, BC V5L 1M5                                                      DUSSELDORF 40599
CANADA                                                                      GERMANY



VOSSLOH-SCHWABE DEUTSCHLAND GMBH       VOSSLOH-SCHWABE DEUTSCHLAND GMBH     VOSSLOH-SCHWABE DEUTSCHLAND GMBH
ATTN MANAGING DIR                      CARL-FRIEDRICH-GAUB-STRABE 3         HOHE STEINERT 8
WASENSTRABE 25                         KAMP- LINTFORT 47475                 LUDENSCHEID 58509
URBACH 73660                           GERMANY                              GERMANY
GERMANY



VOSSLOH-SCHWABE OPTOELECTRONIC         [NAME REDACTED]                      VOXEL INNOVATIONS LLC
GMBH & CO KG                           [ADDRESS REDACTED]                   ATTN CHIEF EXECUTIVE OFFICER
ATTN GENERAL MANAGER                                                        212 POWELL DR, STE 116
CARL-FRIEDRICH-GAUSS-STRASSE 3                                              RALEIGH, NC 27606
KAMP-LINTFORT D-47475
GERMANY


VOXELJET AG                            VOXIS INC                            VOYA INVESTMENT MANAGEMENT LLC
ATTN CHIEF EXECUTIVE OFFICER           ATTN VP OF ENGINEERING               7337 E. DOUBLETREE RANCH ROAD
PAUL-LENZ-STRASSE 1A                   1160 BRICKYARD COVE RD, STE 202      SCOTTSDALE, AZ 85258
FRIEDBERG 86316                        RICHMOND, CA 94801
GERMANY



VQS                                    [NAME REDACTED]                      VRIJE UNIVERSITEIT BRUSSEL
1512 HOLMES CT                         [ADDRESS REDACTED]                   PLEINLAAN 2
VIRGINIA BEACH, VA 23456                                                    BRUXELLES 2800
                                                                            BELGIUM




[NAME REDACTED]                        VSE ABSCHLAGSRECHUNG                 VSE AKTIENGESELLSCHAFT
[ADDRESS REDACTED]                     HEINRICH BOCKING STR 10-14           ATTN: DENNIS SCHREINER
                                       SAARBRUCKEN 66121                    HEINRICH-BOCKING-STRABE 10 - 14
                                       GERMANY                              SAARBRUCKEN 66121
                                                                            GERMANY



VSE BV                                 VSI AUTOMATION ASSEMBLY              VT. DEPT OF ENVIRONMENTAL
ATTN CHIEF EXECUTIVE OFFICER           DIV OF NITTO SEIKO CO LTD            CONSERVATION
ACHTERWETERING 24                      ATTN NATIONAL SALES MGR              ENVIRONMENTAL ASSITANCE OFFICE
SCHOONHOVEN 2871 RK                    2700 AUBURN CT                       1 NATIONAL LIFE DR
NETHERLANDS                            AUBURN HILLS, MI 48326               DAVIS 3
                                                                            MONTPELIER, VT 05620
V-TEK INC        Case 25-90163   Document  87 Filed
                                    VTQ VIDEOTRONIK   in TXSB on 07/03/25 [NAME
                                                    GMBH                    Page  892 of 944
                                                                                REDACTED]
751 SUMMIT AVENUE                    GRUNE STR 2, QUERFURT                 [ADDRESS REDACTED]
MANKATO, MN 56001-2717               SACHSEN-ANHALT 06268
                                     GERMANY




[NAME REDACTED]                      [NAME REDACTED]                       VUB
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    PLEINLAAN 2
                                                                           MECHELEN 2800
                                                                           BELGIUM




[NAME REDACTED]                      [NAME REDACTED]                       VWLEASING GMHB
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    VIA C.I. PETITTI, 15
                                                                           MILANO 20149
                                                                           ITALY




VWR FUNDING, INC. DBA VWR            [NAME REDACTED]                       [NAME REDACTED]
INTERNATIONAL LLC                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]
100 MATSONFORD ROAD
RADNOR, PA 19087-8660




[NAME REDACTED]                      [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                       W C PINKARD & CO INC
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    DBA COLLIERS PINKARD




W C ROUSE & SON INC                  W L (HK) LTD                          W M COOK LLC
110 LONGALE ROAD                     ATTN PROJECT DIRECTOR                 ATTN MANAGING DIR
GREENSBORO, NC 27409-2612            UNIT B 8/F, YANS TOWER                2100 DUNDEE RD
                                     27 WONG CHUK HANG RD                  WINTER HAVEN, FL 33882
                                     SOUTHERN DISTRICT HONG KONG



W.A BROWN INSTRUMENTS INC            W.B. MASON COMPANY INC                W.V. OFFICE OF ATTORNEY GENERAL
ATTN CORP SECRETARY                  59 CENTRE STREET                      CONSUMER PROTECTION DIVISION
1706 CAMPBELL AVE                    BROCKTON, MA 02301-4014               BLDG 1, RM E-26
ORLANDO, FL 32806                                                          1900 KANAWHA BLVD E
                                                                           CHARLESTON, WV 25305



W2W PARTNERS INC.                    WA VORPAHL INC                        WA VORPAHL INC
UNICORN, A TOP PRODUCT               DBA VORPAHL FIRE & SAFETY             DBA VORPAHL FIRE & SAFETY
65 ACORN STREET                      ATTN CONTROLLER                       ATTN CRAIG VORPAHL
DUXBURY, MA 02332-2930               P.O. BOX 12175                        526 LAMBEAU ST
                                     GREEN BAY, WI 54307                   GREEN BAY, WI 54303



WAC LIGHTING CO                      WACHOVIA BANK, NATINOAL ASSOCIATION   WACKENHUT CORP, THE
ATTN VP OF OPERATIONS                ATTN SVP                              ATTN CONTRACTS MANAGEMNT DEPT
615 S ST                             150 FAYETTEVILLE ST                   4200 WACKENHUT DR
GARDEN CITY, NY 11530                RALEIGH, NC 27601                     PALM BEACH GARDENS, FL 33410
                  Case 25-90163
WACKENHUT CORP, THE                Document
                                      WACKER87  Filed
                                             CHEMIE AG in TXSB on 07/03/25 WACOM
                                                                            PageQUARTZ
                                                                                 893 of 944
ATTN GEN MNGR                          ATTN VP SALES                      ATTN PRES
2501 AERIAL CENTER PKWY, STE 215       HANNS-SEIDEL-PLATZ 4               5050 S 38TH PL
MORRISVILLE, NC 27560                  MUNICH 81737                       PHOENIX, AZ 85040
                                       GERMANY



[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
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[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    WAFAB INTERNATIONAL
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 6161 INDUSTRIAL WAY SUITE A
                                                                          LIVERMORE, CA 94551-9712




WAFER CHARGING MONITORS INC            WAFER INSPECTION SERVICES          WAFER RECLAIM SERVICES LLC
127 MARINE ROAD                        ATTN PRESIDENT                     DBA WRS MATERIALS
WOODSIDE, CA 94062-4617                539 ROUTE 28                       ATTN CFO
                                       ORLEANS, MA 02653                  500 S MAIN ST
                                                                          SPRING CITY, PA 19475



WAFER WORLD INC                        [NAME REDACTED]                    [NAME REDACTED]
ATTN GEN MNGR                          [ADDRESS REDACTED]                 [ADDRESS REDACTED]
1100 TECHNOLOGY PL, STE 104
WEST PALM BEACH, FL 33407




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                        WAGO CORP                          [NAME REDACTED]
[ADDRESS REDACTED]                     ATTN VP OF SALES                   [ADDRESS REDACTED]
                                       N120 W19129 FREISTADT RD
                                       GERMANTOWN, WI 53022
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
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[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




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[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




WAHLEN CORP                             [NAME REDACTED]                    WAI TAT SCREW & METAL CO LTD
DBA ALL PAVEMENT MARKING                [ADDRESS REDACTED]                 ATTN MANAGER
ATTN STRIPING MNG                                                          RM 08, 11/F, CHAI WAN IND CITY
12323 W FAIRVIEW AVE                                                       PHASE 2, 70, WING TAI RD
MILWAUKEE, WI 53226                                                        CHAI WAN HONG KONG



WAINSCHAF ASSOCIATES INC                WAKE TECHNICAL COMMUNITY COLLEGE   [NAME REDACTED]
ATTN VP                                 9101 FAYETTEVILLE ROAD             [ADDRESS REDACTED]
589 3RD AVE EXT                         RALEIGH, NC 27603-5655
RENSSELAR, NY 12144




[NAME REDACTED]                         WAKEED PARTNERSHIP                 WAKEFIELD THERMAL SOLUTIONS INC
[ADDRESS REDACTED]                      1816 CAPITAL BLVD                  WAKEFIELD-VETTE
                                        RALEIGH, NC 27604-2145             120 NORTHWEST BLVD.
                                                                           NASHUA, NH 03063




WAKO CHEMICALS USA INC                  [NAME REDACTED]                    [NAME REDACTED]
ATTN GEN MGR                            [ADDRESS REDACTED]                 [ADDRESS REDACTED]
1600 BELLWOOD RD
RICHMOND, VA 23237




[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




WALDHAUSEN & BUERKEL GMBH & CO KG       [NAME REDACTED]                    [NAME REDACTED]
HOHENZOLLERNSTR 230                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]
MOENCHENGLADBACH 41063
GERMANY




[NAME REDACTED]                         [NAME REDACTED]                    WALKER DIE CASTING INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 ATTN VP ENGINEERING & SALES
                                                                           1125 HIGGS RD
                                                                           LEWISBURG, TN 37091




WALKER INFORMATION INC                  [NAME REDACTED]                    [NAME REDACTED]
ATTN VICE PRESIDENT                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]
8940 RIVER CROSSING BLVD
INDIANAPOLIS, IN 46240
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  895 of 944
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[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




WALL GROUP INDUSTRIES INC           WALL GROUP INDUSTRIES INC          WALL GROUP INDUSTRIES INC
ATTN FRANK BYRD, PRESIDENT          ATTN FRANK BYRD, PRESIDENT         C/O CONNOR LAW GROUP
1415 W NC 54, 104                   2501 BLUE RIDGE RD, STE 250        ATTN GREGORY S CONNOR
DURHAM, NC 27713                    RALEIGH, NC 27607                  4208 SIX FORKS RD, STE 1000
                                                                       RALEIGH, NC 27609



WALL GROUP INDUSTRIES INC           [NAME REDACTED]                    [NAME REDACTED]
P.O. BOX 52029                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]
DURHAM, NC 27717-2029




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




WALLACE ELECTRONIC SALES INC        [NAME REDACTED]                    [NAME REDACTED]
ATTN PRESIDENT                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]
935-K EAST MOUNTAIN ST
KERNERSVILLE, NC 27284




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
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[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                      WALLBOX CHARGES SL
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   ATTN TECHNICAL DIR
                                                                               C/ROS I ROS 21A
                                                                               SANT ANDREU DE LA BARCA
                                                                               BARCELONA 08740 SPAIN



[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




WALLUX LIGHTING INC                       WAL-MART (CHINA) INVESTMENT CO LTD   WAL-MART CANADA CORP
ATTN CFO                                  2-5/F, TOWER 2 AND 1-12/F, TOWER 3   1940 ARGENTINA RD
1706 PLUM LN                              SZITIC SQ, 69 NONGLIN RD             MISSISSAUGA, ON L5N 1P9
REDLANDS, CA 92374                        FUTIAN DISTRICT, SHENZHEN            CANADA
                                          CHINA



WALMART STORES INC                        WALMART STORES INC                   WALTER KIDDE PORTABLE EQUIPMENT INC
ATTN ENGINEERING MGR                      ATTN VP                              ATTN VP, IP COUNSEL
702 SW 8TH ST                             2001 SE 10TH ST                      1016 CORPORATE PARK DR
BENTONVILLE, AK 72716                     BENTONVILLE, AK 72712                MEBANE, NC 27302




WALTER KIDDE PORTABLE EQUIPMENT INC       WALTERS ENVIRONMENTAL CONSULTING     WALTERS POWER ELECTRONICS LLC
DBA KIDDE SAFETY                          P.O. BOX 68535                       ATTN MANAGER
ATTN MANAGER                              INDIANAPOLIS, IN 46268               1029 SUNSET MEADOWS DR
4820 CENTENNIAL BLVD, 145                                                      APEX, NC 27523
COLORADO SPRINGS, CO 80919



WALTERS WHOLESALE ELECTRIC CO             [NAME REDACTED]                      [NAME REDACTED]
ATTN DIR OF PURCHASE                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]
200 N BERRY ST
BREA, CA 92821




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                      [NAME REDACTED]
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[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
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[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    WANLIAN PLASTIC MATERIAL CO LTD
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 A3, YINLING TECHNOLOGY INDUSTRY DIST
                                                                       YANGJIANG CITY
                                                                       CHINA




WARCO CONSTRUCTION INC              WARD MANUFACTURING LLC             [NAME REDACTED]
ATTN PRESIDENT                      DBA FINE FLOW SERVICE              [ADDRESS REDACTED]
3910 STUART ANDREW BLVD             117 GULICK ST
CHARLOTTE, NC 28217                 BLOSSBURG, PA 16912




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




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[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
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[NAME REDACTED]                     WAREHOUSE RACK & SHELF LLC         [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN MAJOR ACCOUNT MANAGER         [ADDRESS REDACTED]
                                    1 BURGUNDY DR
                                    LAKE SAINT LOUIS, MI 63367
[NAME REDACTED] Case 25-90163         Document 87 Filed in TXSB on 07/03/25 WARREN
                                         WARP SOLUTION                       Page UZZLE
                                                                                   898 of 944
                                                                                        PHOTOGRAPHY
[ADDRESS REDACTED]                        ATTN PRINCIPAL RESEARCHER
                                          326 BYEOLLAE 3RD, NAMYANGGU-ST
                                          GYEONGG-DO
                                          SOUTH KOREA



[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                    [ADDRESS REDACTED]




WARSAW UNIVERSITY OF TECH                 WASATCH CABLE & DESIGN LLC            WASHINGTON CHILD SUPPORT
ATTN DIR, INST OF RADIO ELECTRONICS       ATTN CHIEF OPS OFFICER                RE: 2545436 (ORIGINAL)
NOWOWIEJSKA 15/19                         1189 S 1680 W                         P.O. BOX 11520
WARSZAWA 00-665                           OREM, UT 84058                        TACOMA, WA 98411
POLAND



WASHINGTON COUNTY COMPTROLLER             WASHINGTON DEPT OF FINANCIAL          WASHINGTON DEPT OF LABOR AND
280 N COLLEGE AVE STE 530                 INSTITUTIONS                          INDUSTRIES
FAYETTEVILLE, AR 72701                    SECURITIES DIVISION                   7273 LINDERSON WAY SW
                                          P.O. BOX 9033                         TUMWATER, WA 98501-5414
                                          OLYMPIA, WA 98507-9033



WASHINGTON DEPT OF LABOR AND              WASHINGTON DEPT OF REVENUE            WASHINGTON DEPT OF TRANSPORTATION
INDUSTRIES                                P.O. BOX 34052                        310 MAPLE PARK AVE SE
P.O. BOX 44000                            SEATTLE, WA 98124-1052                P.O. BOX 47300
OLYMPIA, WA 98504-4000                                                          OLYMPIA, WA 98504-7300




WASHINGTON EMPLOYMENT SECURITY DEPT       WASHINGTON EMPLOYMENT SECURITY DEPT   WASHINGTON MANAGEMENT GROUP
212 MAPLE PARK AVE SE                     P.O. BOX 9046                         ATTN PRES & CEO
OLYMPIA, WA 98501-2347                    OLYMPIA, WA 98507                     1990 M ST NW, STE 400
                                                                                WASHINGTON, DC 20036




WASHINGTON MILLS ELECTRO MINERALS         WASHINGTON MILLS ELECTRO MINERALS     WASHINGTON OFFICE OF ATTORNEY
CORP                                      CORP                                  GENERAL
ATTN: ALDEN HARRIS                        ATTN: ALDEN HARRIS, SILICON CARBIDE   CONSUMER PROTECTION DIVISION
1801 BUFFALO AVENUE P.O. BOX 423          BUSINESS MGR                          1125 WASHINGTON ST SE
NIAGARA FALLS, NY 14302-0423              20 NORTH MAIN STREET                  P.O. BOX 40100
                                          NORTH GRAFTON, MA 01536               OLYMPIA, WA 98504


WASHINGTON SECRETARY OF STATE             WASHINGTON STATE DEPARTMENT OF        WASHINGTON STATE DEPT OF NATURAL
CORPORATIONS AND CHARITIES DIVISION       LABOR & INDUSTRIES                    RESOURCES
P.O. BOX 40234                            7273 LINDERSON WAY SW                 MS 47000
OLYMPIA, WA 98504-0234                    TUMWATER, WA 98501-5414               OLYMPIA, WA 98504




WASHINGTON STATE DEPT OF NATURAL          WASHINGTON STATE DEPT OF REVENUE      WASHINGTON STATE DEPT OF REVENUE
RESOURCES                                 EXECUTIVE OFFICE                      P.O. BOX 47478
NATURAL RESOURCES BUILDING                P.O. BOX 47450                        OLYMPIA, WA 98504-7478
1111 WASHINGTON ST, SE                    OLYMPIA, WA 98504-7450
OLYMPIA, WA 98504
WASHINGTON STATECase     25-90163
                   DEPT OF REVENUE   Document 87 Filed
                                        WASHINGTON       in TXSB on 07/03/25 WASHINGTON
                                                   STATE UNIVERSITY           Page 899STATE
                                                                                        of 944
                                                                                            UNIVERSITY
UNCLAIMED PROPERTY SECTION               240 FRENCH ADMINSTRATION BUILDING    OFFICE OF THE REGISTRAR
P.O. BOX 47477                           PULLMAN, WA 99164-0001               1815 NE WILSON RD
OLYMPIA, WA 98504-7477                                                        FRENCH ADMIN BLDG, RM 346
                                                                              PULLMAN, WA 99164-1035



[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




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[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




WASPCO CORP                              WASPCO CORPORATION                   WASTE INDUSTRIES LLC
ATTN PRESIDENT                           ATTN VP                              ATTN GEN MGR
4628 INDUSTRY LN                         3622 LYCKAN PKWY, STE 2003           148 STONE PARK CT
DURHAM, NC 27713                         DURHAM, NC 27707                     DURHAM, NC 27703




WASTE MANAGEMENT OF THE CAROLINAS        WASTE MANAGEMENT                     WASTE TECHNOLOGY SERVICES INC
INC                                      RALEIGH HAULING                      ATTN MICHAEL C OLIVER, VP
ATTN OUTSIDE SALES REP                   MORRISVILLE, NC 27560-8546           435 N 2ND ST
10411 GLOBE RD                                                                LEWISTON, NY 14092
MORRISVILLE, NC 27560



WASTE TO GREEN LLC                       WASTECH CONTROLS & ENGINEERING INC   WASTECH CONTROLS AND ENGINEERING
ATTN CLIENT SOLUTIONS DIR                ATTN PRESIDENT                       S-TECH
500 ALEXANDER AVE, C                     21201 ITASCA ST                      33, SECHEON-RO- 3-GIL, DASA-EUP, DA
VANCE, NC 27536                          CHATSWORTH, CA 91311                 DAEGU 42921
                                                                              SOUTH KOREA



WATCHFIRE SIGNS LLC                      WATCO CORP                           WATER WORLD MARINE SERVICES INC
ATTN STEVE HARRIOTT                      ATTN ASST, CORP, SEC                 135 SOUTH MIAMI BLVD
1015 MAPLE ST                            1431 MECHANICAL BLVD                 DURHAM, NC 27703-4328
DANVILLE, IL 61832                       GARNER, NC 27529




[NAME REDACTED]                          WATERPROOFING SPECIALTIES INC        WATKINS MOTOR LINES
[ADDRESS REDACTED]                       8086 WATERFORD DR                    ATTN VP PRICING & TRAFFIC
                                         STANLEY, NC 28164                    3123 US HWY 70
                                                                              DURHAM, NC 27703
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  900 of 944
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[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    WATKINS-JOHNSON COMPANY
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN VP
                                                                       3333 HILLVIEW AVE
                                                                       PALO ALTO, CA 94304




[NAME REDACTED]                     WATLOW ELECTRIC MANUFACTURING CO   [NAME REDACTED]
[ADDRESS REDACTED]                  FORMERLY WATLOW YARBROUGH          [ADDRESS REDACTED]
                                    1905-A KRAMER LANE SUITE 300
                                    AUSTIN, TX 78758-4015




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
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[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    WATT CONSULTING
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 ATTN DIR OF OPS
                                                                       277 RUE LOUIS LUMIERE
                                                                       PERTUIS 84120
                                                                       FRANCE



WATT STOPPER INC, THE               WATT STOPPER INC, THE              [NAME REDACTED]
ATTN PRESIDENT                      ATTN VICE PRESIDENT PROD MNGMNT    [ADDRESS REDACTED]
2800 DE LA CRUZ BLVD                2700 ZANKER RD
SANTA CLARA, CA 95050               SAN JOSE, CA 95134




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
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                                       [NAME REDACTED]                       Page  901 of 944
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[NAME REDACTED]                         [NAME REDACTED]                    [NAME REDACTED]
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WATTSTOPPER INC, THE                    WAUKESHA METAL PRODUCTS LLC        WAVE CREST (SHANGHAI) CO LTD
ATTN JEFFREY JOHNSON                    ATTN VP SALES                      ATTN R&D MANAGER
2700 ZANKER RD 168                      N53 W24635 S CORPORATE CIR         BLDG A, CANGYUAN SCI TECH PARK
SAN JOSE, CA 95134                      SUSSEX, WI 53089                   951 JIANCHUAN RD
                                                                           SHANGHAI CHINA



WAVE ELECTRONICS CO LTD                 WAVE PRECISION                     WAVE TECHNOLOGY INC
ATTN CTO                                ATTN GENERAL MANAGER               ATTN PRESIDENT
47 SUINO-RO (SEODUN-DONG)               29 ANTARES DR                      3-13-21 KUSHIRO
GWONSEON-GU                             NEPEAN, ON K2E 7T9                 KAWANISHI, HYOGO
SUWON, YEONGGI-DO SOUTH KOREA           CANADA                             JAPAN



WAVEFRONT TECHNOLOGY INC                WAVEGUIDE LIGHTING LTD             WAVEGUIDE SOLUTIONS INC
ATTN CHIEF EXECUTIVE OFFICER            ATTN TECHNICAL MANAGER             ATTN CEO
15127 GARFIELD AVE, UNIT B              STATION HOUSE, STATION APPROACH    6125 LAKEVIEW RD, STE 200
PARAMOUNT, CA 90723                     ATHERTON M46 9LJ                   CHARLOTTE, NC 28269
                                        UNITED KINGDOM



WAVELAB INC                             WAVEPIA                            WAVESTREAM CORPORATION
ATTN PRESIDENT                          ATTN CTO                           ATTN VICE PRESIDENT ENGINEERING
12007 SUNRISE VALLEY DR, STE 450        4-5 SUCHUNG-RO                     100 N BARRANCA ST, STE 910
RESTON, VA 20191                        OSAN, GYEONGGI-DO 447-290          WEST COVINA, CA 91791
                                        SOUTH KOREA



WAVICE INC                              WAVIEN INC                         WAYFAIR LLC
ATTN GENERAL MANAGER                    ATTN PRESIDENT                     ATTN AD
46, SAMSUNG 1-RO 5-GIL                  29023 THE OLD RD                   4 COPLEY PL, FL 7
HWASEONG-SI                             VALENCIA, CA 91364                 BOSTON, MA 02116
HWASEONG, GYEONGGI-DO 18449 SOUTH
KOREA


WAYMAKER GLOBAL LLC                     WAYNE BROTHERS INC                 WAYNE COUNTY FRIEND OF THE COURT
ATTN PRESIDENT                          ATTN EXEC VP-BUS MANAGEMENT        RE: 912976800 (ORIGINAL)
3801 N CAPITAL OF TEXAS HWY             357 CONCRESCERE PKWY               645 GRISWOLD AVENUE
STE E240 203                            DAVIDSON, NC 28036                 DETROIT, MI 48226
AUSTIN, TX 78746



WAYNE COUNTY NC                         WAYNE J GRIFFIN ELECTRIC INC       WAYNES POWDER COATING INC
RE: 150650                              ATTN SR CONTRACTS MGR              ATTN PRESIDENT
P.O. BOX 1495                           2501 BLUE RIDGE RD, STE G100       620 JEAN MARY AVE
GOLDSBORO, NC 27533                     RALEIGH, NC 27607                  SPRINGDALE, AR 72762




WAYPOINT ANALYTICAL                     WB ELECTRONICS SA                  WB PORTER & COMPANY
114 OAKMONT DR                          ATTN DIR RADIO DESIGN DEPT         1721 LAKE WHEELER RD
GREENVILLE, NC 27858                    POZNANSKA 129/133                  RALEIGH, NC 27603
                                        OZAROW MAZOWIECKI 05-850
                                        POLAND
WCR INCORPORATEDCase 25-90163   Document 87 Filed
                                   WCS QUALITY       in TXSB
                                               REGISTRARS LLC on 07/03/25 WD
                                                                           Page   902 INC
                                                                             PARTNERS  of 944
ATTN SE SALES MGR                   ATTN ACCTS & CONTRACTS MGR            ATTN CFO
221 CRANE ST                        1603 RIKA PT                          7007 DISCOVERY BLVD
DAYTON, OH 45403                    HOUSTON, TX 77077-3432                DUBLIN, OH 43017




[NAME REDACTED]                     [NAME REDACTED]                       WEAL LAM PARTS & TOOLS LTD
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    ATTN SALES MGR
                                                                          UNIT H-J, 11/F, PHASE 4 KWUN TONG
                                                                          INDUSTRIAL CTR
                                                                          436-446 KWUN TONG RD
                                                                          KOWLOON HONG KONG


WEALTHSIMPLE INVEST (5004)          [NAME REDACTED]                       WEATHER DECISION TECHNOLOGIES INC
ATT CORPORATE ACTIONS DEPT          [ADDRESS REDACTED]                    ATTN PRESIDENT
80 SPADINA AVE, 4TH FL                                                    201 DAVID L BOREN BLVD, STE 270
TORONTO, ON M5V 2J4                                                       NORMAN, OK 73072
CANADA



WEATHER DETECTION SYSTEMS INC       [NAME REDACTED]                       [NAME REDACTED]
ATTN PRESIDENT                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
5458 EVERGREEN HEIGHTS DR
EVERGREEN, CO 80439




[NAME REDACTED]                     WEAVER INDUSTRIES INC                 [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN VP SALES                         [ADDRESS REDACTED]
                                    313 FRANKLIN ST
                                    P.O. BOX 326
                                    DENVER, PA 17517



[NAME REDACTED]                     [NAME REDACTED]                       WEBB CORE INC
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    ATTN PRESIDENT
                                                                          3112 SCHMIDT LN NE
                                                                          HUBBARD, OR 97032




[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




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[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document 87 Filed in TXSB
                                       WEBEX COMMUNICATIONS INC on 07/03/25 WEBEX
                                                                             PageCOMMUNICATIONS
                                                                                   903 of 944 INC
[ADDRESS REDACTED]                      ATTN KEY ACCT MGR                          ATTN VP
                                        13901 SUTTON PARK DR SOUTH                 3979 FREEDOM CIR
                                        BUILDING A, STE 300                        SANTA CLARA, CA 95054
                                        JACKSONVILLE, FL 32224



WEBFARGO DATA SECURITY LLC              WEBFILINGS LLC                             WEBSLINGERZ INC
ATTN S TYLER SALISBURY                  ATTN MANAGING DIR                          ATTN CEO
2054 KILDAIR FARM RD, STE 340           2625 N LOOP DR, STE 2105                   12 LAKE BLUFF CT
CARY, NC 27511                          AMES, IA 50010                             GREENSBORO, NC 27410




[NAME REDACTED]                         [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                         [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                         [ADDRESS REDACTED]




WEDBUSH MORGAN (0103,8199)              [NAME REDACTED]                            WE-EF LEUCHTEN GMBH & CO KG
ATT ALAN FERREIRA OR PROXY MGR          [ADDRESS REDACTED]                         ATTN CHIEF ENGINEER
1000 WILSHIRE BLVD., STE 850                                                       TOPINGER STR 19, BISPINGEN
LOS ANGELES, CA 90030                                                              LOWER SAXONY 29646
                                                                                   GERMANY



[NAME REDACTED]                         [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                         [ADDRESS REDACTED]




[NAME REDACTED]                         WEEKS-WILLIAMS-DEVORE INC                  WEEKS-WILLIAMS-DEVORE INC
[ADDRESS REDACTED]                      265 EASTCHESTER DR, STE 133                ATTN PRES
                                        HIGH POINT, NC 27262-7718                  1019 INDUSTRIAL DR
                                                                                   P.O. BOX 987
                                                                                   MATTHEWS, NC 28106



WEG EQUIPAMENTOS ELETRICOS SA           WEI MIN INDUSTRIAL CO LTD                  WEIBEL SCIENTIFIC A/S
DBA WEG DRIVES & CONTROLS               ATTN VP                                    ATTN PRESIDENT
AUTOMATION                              1F, NO 117, MIN FENG ST, SHANG FENG TSUN   SOLVANG 30
ATTN R&D MANAGER                        DAYA HSIANG, TAICHUNG                      ALLEROED 3450
AVE PREF WALDEMAR GRUBBA, 3000          HSIEN 42845 TAIWAN                         DENMARK
JARAGUA DO SUL 89256-900 BRAZIL


WEICHERT RELOCATION RESOURCES INC       [NAME REDACTED]                            [NAME REDACTED]
ATTN DIR OF BUS DEV                     [ADDRESS REDACTED]                         [ADDRESS REDACTED]
1625 RT 10
MORRIS PLAINS, NJ 07950




WEIGUO SOLUTIONS LIMITED                WEIMER BEARING & TRANSMISSION INC          [NAME REDACTED]
ATTN PRESIDENT                          ATTN CREDIT                                [ADDRESS REDACTED]
BLDG 111, STE 2101, ZHUHAI              W134 N5368, CAMPBELL DR
GUANGDONG                               MENOMONEE FALLS, WI 53051
CHINA
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 WEISS
                                          WEIS MARKETS                         Page   904 of
                                                                                    TECHNIK   944AMERICA
                                                                                            NORTH
[ADDRESS REDACTED]                         ATTN SMALL PROJECTS MANAGER           12011 MOSTELLER ROAD
                                           1000 S 2ND ST                         CINCINNATI, OH 45241-1528
                                           SUNBURY, PA 17801




WEISS-AUG CO INC                           WEISS-ROHLIG USA                      [NAME REDACTED]
ATTN VP SALES/MARKETING                    1609 NW 82ND AVE                      [ADDRESS REDACTED]
220 MERRY LN                               MIAMI, FL 33126
EAST HANOVER, NJ 07936




WELCH ALLYN CORP                           [NAME REDACTED]                       [NAME REDACTED]
4341 STATE ST RD                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]
SKANEATELES FALLS, NY 13153




WELD ENGINEERING AND FABRICATION INC       [NAME REDACTED]                       [NAME REDACTED]
ATTN CHIEF EXECUTIVE OFFICER               [ADDRESS REDACTED]                    [ADDRESS REDACTED]
12450 LAKELAND RD
SANTA FE SPRINGS, CA 90670




WELDERS SUPPLY COMPANY                     WELDING SPECIALTIES & MECHANICAL      WELDON MACHINE TOOL INC
ATTN MANAGER                               SVCS INC                              425 EAST BERLIN ROAD
516 MILL ST                                555 DYNAMIC DR                        YORK, PA 17408-8810
BURLINGTON, WI 53105                       GARNER, NC 27529




WELDON SOLUTIONS                           WELDON TECHNOLOGIES                   [NAME REDACTED]
1800 WEST KING ST                          ATTN DIR, LIGHT PRODUCTS              [ADDRESS REDACTED]
YORK, PA 17404                             3656 PARAGON DR
                                           COLUMBUS, OH 43228




WELL FARGO SECURITIES LLC                  WELL MORE ELECTRONICS LTD             WELLCOL PTY LTD
550 S TYRON ST, 11TH FL                    ATTN PRESIDENT                        T/A LIGHTLAB INTERNATIONAL
CHARLOTTE, NC 28202                        14F-6, NO 165, SEC 5, MINSHENG E RD
                                           SONGSHAN DISTRICT
                                           TAIPEI CITY 105 TAIWAN



[NAME REDACTED]                            WELLNOW URGENT CARE P.C.              WELLS CAPITAL MANAGEMENT INC
[ADDRESS REDACTED]                         P.O. BOX 10459                        525 MARKET ST, 10TH FL
                                           ALBANY, NY 12201-5459                 SAN FRANCISCO, CA 94105




WELLS FARGO & CO                           WELLS FARGO (0250,2072,2480)          WELLS FARGO BANK NA (2027)
420 MONTGOMERY ST                          ATT SCOTT NELLIS OR PROXY MGR         ATT LORA DAHLE OR PROXY MGR
SAN FRANCISCO, CA 94104                    CORP ACTIONS - MAC D109-010           550 SOUTH 4TH ST
                                           1525 WEST WT HARRIS BLVD, 1B1         MAC N9310-141
                                           CHARLOTTE, NC 28262                   MINNEAPOLIS, MN 55415



WELLS FARGO BANK NA                        WELLS FARGO BANK NATIONAL             WELLS FARGO CLEARING (141)
ATTN: BONNIE ANTELO                        ASSOCIATION                           ATTN PROXY DEPARTMENT
150 FAYETTEVILLE STREET                    150 FAYETTEVILLE ST, STE 600          ONE NORTH JEFFERSON AVE
6TH FLOOR                                  MAC D0182-063                         ST. LOUIS, MO 63103
RALEIGH, NC 27601                          RALEIGH, NC 27601
                CaseTRUST
WELLS FARGO DELAWARE 25-90163
                          CO     Document  87 Filed
                                    WELLS FARGO      in TXSB
                                                INSURANCE      on 07/03/25
                                                          SERVICES USA       Page
                                                                           [NAME   905 of 944
                                                                                 REDACTED]
                                     INC                                  [ADDRESS REDACTED]
                                     8540 COLONNADE CENTER DR, STE 111
                                     RALEIGH, NC 27615




[NAME REDACTED]                      [NAME REDACTED]                      WELLSONE
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   4040 S MEMORIAL PKWY
                                                                          HUNTSVILLE, AL 35802




WELLTEK ELECTRONIC CO LTD            WELLYPOWER OPTRONICS CO LTD          WELSH PAPER
ATTN MGR                             ATTN SR ENGINEER                     112 FRANKLIN PARK AVE
UNIT 2203, 22/F, TREASURE CTR        NO 20-1 KWANG FU N RD, HSIN CHU      YOUNGSVILLE, NC 27596
42 HUNG TO RD, JWUN TONG, KLN        INDUSTRIAL PARK HU KOU
HONG KONG                            HSIN COUNTY TAIWAN



[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      WENESCO INC                          [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN SALES MGR                       [ADDRESS REDACTED]
                                     3057 N ROCKWELL AVE
                                     CHICAGO, IL 60618




[NAME REDACTED]                      WENZEL METAL SPINNING INC            WENZHOU QICHENG DISTRIBUTION
[ADDRESS REDACTED]                   ATTN VP SALES                        ELECTRICAL-
                                     701 W WATER                          EQUIPMENT CO LTD
                                     FREMONT, IN 46737                    ATTN GENERAL MGR
                                                                          NO 57 LIULE RD
                                                                          LIUSHI WENZHOU 325604 CHINA


WENZHOU YIHUA COMMUNICATED CONN CO   [NAME REDACTED]                      [NAME REDACTED]
LTD                                  [ADDRESS REDACTED]                   [ADDRESS REDACTED]
ATTN SALES MGR
HOUXI INDUSTRY PARK
WEGYANG TOWN, YUEQING
ZHEJIANG CHINA


WERNER ENTERPRISES INC               WERNER GLOBAL LOGISTICS US LLC       [NAME REDACTED]
ATTN VP                              C/O WERNER ENTERPRISES               [ADDRESS REDACTED]
14507 FRONTIER RD                    14507 FRONTIER RD
OMAHA, NE 68138                      OMAHA, NE 68138




[NAME REDACTED]                      WES TECH ASSOCIATES                  WESBANCO BANK, INC. (2271)
[ADDRESS REDACTED]                   ATTN PRES                            CAROLYN NELSON OR PROXY MGR
                                     3850 RIVER RDG DR NE                 C/O TST OPERATIONS
                                     CEDAR RAPIDS, IA 53402               ONE BANK PLAZA
                                                                          WHEELING, WV 26003



WESCO DISTRIBUTION INC               WESCO DISTRIBUTION INC               WESCO DISTRIBUTION, INC.
225 W STATION SQUARE DR              ATTN SALES DIR                       225 WEST STATION SQUARE DRIVE, SUITE
PITTSBURGH, PA 15219                 1050 CHRIS CIR                       700
                                     COLUMBIA, SC 29169                   PITTSBURGH, PA 15219
[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  906 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                         WESSEX ELECTRONICS LTD
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      ATTN TECH DIRECTOR
                                                                                 UNIT 5, EASTER COURT, WOODWARD AVE
                                                                                 WESTERLEIGH BUSINESS PARK, YATE
                                                                                 BRISTOL BS37 5YS UNITED KINGDOM



WEST BROTHERS TRANSPORTATION             WEST COAST ENERGY SYSTEMS LLC           WEST COAST QUARTZ CORPORATION
SERVICES INC                             7100 LONGE STREET STE 300               1000 CORPORATE WAY
ATTN SVP                                 STOCKTON, CA 95206-3962                 FREMONT, CA 94539-6105
224 N HOOVER RD
DURHAM, NC 27703



WEST DURHAM TRANSFER & STORAGE           WEST END PARTNERS/FUOA                  WEST MONROE PARTNERS LLC
302 E PETTIGREW ST                       ATTN JOSH GURLITZ                       ATTN DIRECTOR
DURHAM, NC 27701                         308 ROSEMARY ST                         222 W ADAMS ST, FL 11
                                         CHAPEL HILL, NC 27516                   CHICAGO, IL 60606




WEST PUBLISHING CORP                     WEST VALLEY SALES & SERVICES            WEST VIRGINIA DIV. OF LABOR
DBA SERENGETI LAW                        ATTN OWNER                              1900 KANAWHA BLVD
ATTN DIR OF PROF SRVCS                   10448 MCVINE AVE                        CHARLESTON, WV 25305
155 108TH AVE NE, STE 650                SUNLAND, CA 91040
BELLEVUE, WA 98004



WEST VIRGINIA DIVISION OF LABOR          WEST VIRGINIA DIVISION OF               WEST VIRGINIA SECURITIES COMMISSION
1900 KANAWHA BLVD EAST                   ENVIRONMENTAL PROTECTION                1900 KANAWHA BLVD EAST
STATE CAPITAL COMPLEX                    601 57TH ST SE                          STATE CAPITOL COMPLEX
BLDG 3, RM 200                           CHARLESTON, WV 25304                    BUILDING 1 ROOM W-100
CHARLESTON, WV 25305                                                             CHARLESTON, WV 25305



WEST VIRGINIA STATE TAX DEPT             WEST VIRGINIA STATE TREASURERS OFFICE   WEST VIRGINIA STATE TREASURERS OFFICE
THE REVENUE CENTER                       STATE CAPITOL COMPLEX, BLDG 3           UNCLAIMED PROPERTY DIVISION
1001 LEE ST EAST                         RM 200                                  WV TREASURY BUILDING 2
CHARLESTON, WV 25301                     CHARLESTON, WV 25305                    322 70TH ST SE
                                                                                 CHARLESTON, WV 25304



[NAME REDACTED]                          [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      [ADDRESS REDACTED]




WESTCHESTER FIRE INSURANCE COMPANY       WESTCHESTER SURPLUS LINES INS. CO.      WESTCOAST PRECISION, INC.
436 WALNUT ST                            11575 GREAT OAKS WAY, STE 200           2091 FORTUNE DRIVE, 2091
PO BOX 1000                              ALPHARETTA, GA 30022                    SAN JOSE, CA 95131-1824
PHILADELPHIA, PA 19105-1000
[NAME REDACTED] Case 25-90163         Document 87AUTOMATION
                                         WES-TECH  Filed in TXSB   on LLC
                                                            SOLUTIONS 07/03/25 [NAME
                                                                                 Page  907 of 944
                                                                                     REDACTED]
[ADDRESS REDACTED]                        ATTN ACCOUNT MGR                      [ADDRESS REDACTED]
                                          720 DARTMOUTH LN
                                          BUFFALO GROVE, IL 60089




[NAME REDACTED]                           WESTERN DISTRICT OF ARKANSAS          WESTERN DISTRICT OF KENTUCKY
[ADDRESS REDACTED]                        DAVID CLAY FOWLKES                    MICHAEL A. BENNETT
                                          US ATTORNEYS OFFICE                   UNITED STATES ATTORNEYS OFFICE
                                          414 PARKER AVE                        241 E MAIN ST
                                          FORT SMITH, AR 72901                  BOWLING GREEN, KY 42101



WESTERN DISTRICT OF KENTUCKY              WESTERN DISTRICT OF KENTUCKY          WESTERN DISTRICT OF LOUISIANA
MICHAEL A. BENNETT                        MICHAEL A. BENNETT                    ALEXANDER C VAN HOOK
UNITED STATES ATTORNEYS OFFICE            UNITED STATES ATTORNEYS OFFICE        UNITED STATES ATTORNEY
501 BROADWAY, ROOM 29                     717 W BROADWAY                        300 FANNIN ST, STE 3201
PADUCAH, KY 42001                         LOUISVILLE, KY 40202                  SHREVEPORT, LA 71101-3068



WESTERN DISTRICT OF LOUISIANA             WESTERN DISTRICT OF LOUISIANA         WESTERN DISTRICT OF LOUISIANA
ALEXANDER C VAN HOOK                      ALEXANDER C VAN HOOK                  ALEXANDER C VAN HOOK
UNITED STATES COURTHOUSE, UNITED          UNITED STATES FEDERAL BLDG, UNITED    UNITED STATES POST OFFICE BLDG, UNITED
STATES ATTORNEYS OFFICE                   STATES ATTORNEYS OFFICE               STATES ATTORNEYS OFFICE
800 LAFAYETTE ST, STE 2200                201 JACKSON ST, ROOM B-107            515 MURRAY ST, ROOM 320
LAFAYETTE, LA 70501-6832                  MONROE, LA 71201                      ALEXANDRIA, LA 71301


WESTERN DISTRICT OF LOUISIANA             WESTERN DISTRICT OF MICHIGAN          WESTERN DISTRICT OF MICHIGAN
ALEXANDER C VAN HOOK                      ANDREW B BIRGE                        ANDREW B BIRGE
UNITED STATES POST OFFICE BLDG, UNITED    UNITED STATES ATTORNEYS OFFICE        UNITED STATES ATTORNEYS OFFICE, 330
STATES ATTORNEYS OFFICE                   P.O. BOX 208                          IONIA AVENUE, NW
611 BROAD ST, ROOM 348                    GRAND RAPIDS, MI 48501-0208           STE 501
LAKE CHARLES, LA 70601                                                          GRAND RAPIDS, MI 49503


WESTERN DISTRICT OF MICHIGAN              WESTERN DISTRICT OF MICHIGAN          WESTERN DISTRICT OF MISSOURI
ANDREW B BIRGE                            ANDREW B BIRGE                        JEFFREY P RAY
UNITED STATES ATTORNEYS OFFICE,           UNITED STATES ATTORNEYS OFFICE,       CHARLES EVANS WHITTAKER
FEDERAL COURTHOUSE, RM 209                HUNTINGTON BANK BLDG, 2ND FL          COURTHOUSE, US ATTORNEYS OFFICE,
315 W. ALLEGAN                            1930 US 41 W                          ROOM 5510
LANSING, MI 48933                         MARQUETTE, MI 49855                   400 E 9TH ST
                                                                                KANSAS CITY, MO 64106

WESTERN DISTRICT OF MISSOURI              WESTERN DISTRICT OF MISSOURI          WESTERN DISTRICT OF NEW YORK
JEFFREY P RAY                             JEFFREY P RAY                         MICHAEL DIGIACOMO
US ATTORNEYS OFFICE                       US ATTORNEYS OFFICE, HAMMONS TOWER,   100 STATE ST, STE 500
80 LAFAYETTE ST, STE 2100                 STE 500                               ROCHESTER, NY 14614
JEFFERSON CITY, MO 65101                  901 ST LOUIS
                                          SPRINGFIELD, MO 65806-2511


WESTERN DISTRICT OF NEW YORK              WESTERN DISTRICT OF NORTH CAROLINA    WESTERN DISTRICT OF NORTH CAROLINA
MICHAEL DIGIACOMO                         RUSS FERGUSON                         RUSS FERGUSON
138 DELAWARE AVE                          US ATTORNEYS OFFICE                   US ATTORNEYS OFFICE
BUFFALO, NY 14202                         100 OTIS ST                           227 W TRADE ST, STE 1650
                                          ASHEVILLE, NC 28801                   CHARLOTTE, NC 28202



WESTERN DISTRICT OF OKLAHOMA              WESTERN DISTRICT OF PENNSYLVANIA      WESTERN DISTRICT OF PENNSYLVANIA
ROBERT J. "BOB" TROESTER                  TROY RIVETTI, ACTING                  TROY RIVETTI, ACTING
210 W PARK AVE, STE 400                   US ATTORNEYS OFFICE, FEDERAL          US ATTORNEYS OFFICE, JOSEPH F WEIS, JR,
OKLAHOMA CITY, OK 73102                   COURTHOUSE, ROOM A330                 US COURTHOUSE
                                          17 S PARK ROW                         700 GRANT ST, STE 4000
                                          ERIE, PA 16501                        PITTSBURGH, PA 15219


WESTERN DISTRICT OF PENNSYLVANIA          WESTERN DISTRICT OF TENNESSEE         WESTERN DISTRICT OF TENNESSEE
TROY RIVETTI, ACTING                      JOSEPH C MURPHY                       JOSEPH C MURPHY
US ATTORNEYS OFFICE, STE 200 - PENN       US ATTORNEYS OFFICE                   US ATTORNEYS OFFICE
TRAFFIC BLDG                              109 S HIGHLAND, STE 300               167 N MAIN ST, STE 800
319 WASHINGTON ST                         JACKSON, TN 38301                     MEMPHIS, TN 38103
JOHNSTOWN, PA 15901
                  Case
WESTERN DISTRICT OF     25-90163
                    TEXAS              Document 87DISTRICT
                                          WESTERN    FiledOF
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                                                              TXSB on 07/03/25 WESTERN
                                                                                Page 908    of 944
                                                                                       DISTRICT OF TEXAS
MARGARET LEACHMAN                          MARGARET LEACHMAN                     MARGARET LEACHMAN
US ATTORNEYS OFFICE                        US ATTORNEYS OFFICE                   US ATTORNEYS OFFICE
111 E BROADWAY, ROOM A306                  2500 N HIGHWAY 118, STE 200           400 W ILLINOIS ST, STE 1200
DEL RIO, TX 78840                          ALPINE, TX 79830                      MIDLAND, TX 79701



WESTERN DISTRICT OF TEXAS                  WESTERN DISTRICT OF TEXAS             WESTERN DISTRICT OF TEXAS
MARGARET LEACHMAN                          MARGARET LEACHMAN                     MARGARET LEACHMAN
US ATTORNEYS OFFICE                        US ATTORNEYS OFFICE                   US ATTORNEYS OFFICE
601 NW LOOP 410, STE 600                   700 E SAN ANTONIO AVE, STE 200        800 FRANKLIN, STE 280
SAN ANTONIO, TX 78216                      EL PASO, TX 79901                     WACO, TX 76701



WESTERN DISTRICT OF TEXAS                  WESTERN DISTRICT OF VIRGINIA          WESTERN DISTRICT OF VIRGINIA
MARGARET LEACHMAN                          ZACHARY T LEE                         ZACHARY T LEE
US ATTORNEYS OFFICE                        180 W MAIN ST                         P.O. BOX 1709
903 SAN JACINTO BLVD, STE 334              ABINGDON, VA 24210                    ROANOKE, VA 24008-1709
AUSTIN, TX 78701



WESTERN DISTRICT OF VIRGINIA               WESTERN DISTRICT OF WASHINGTON        WESTERN DISTRICT OF WASHINGTON
ZACHARY T LEE                              TEAL LUTHY MILLER                     TEAL LUTHY MILLER
US COURTHOUSE & FEDERAL BLDG               UNITED STATES ATTORNEYS OFFICE        UNITED STATES ATTORNEYS OFFICE
255 W MAIN ST, ROOM 130                    1201 PACIFIC AVE, STE 700             700 STEWART ST, STE 5220
CHARLOTTESVILLE, VA 22902                  TACOMA, WA 98402                      SEATTLE, WA 98101-1271



WESTERN DISTRICT OF WISCONSIN              WESTERN LIGHTING & ENERGY CONTROLS    WESTERN LIGHTING AND ENERGY
TIMOTHY M. OSHEA                           INC                                   CONTROLS INC
US ATTORNEYS OFFICE                        ATTN PRINCIPAL                        ATTN PRINCIPAL
222 W WASHINGTON AVE, STE 700              6630 FLANDERS DR                      3188-C AIRWAY AVE
MADISON, WI 53703                          SAN DIEGO, CA 92121                   COSTA MESA, CA 92626



WESTERN NY FLUID SYSTEMS TECHNOLOGI        WESTERN STATES SALES DBA CLEANROOM    WESTERN WISCONSIN PLASTIC CORP
INC DBA SWAGELOK WESTERN                   6950 SOUTH TUCSON WAY UNIT F          ATTN CONTROLLER
10 THRUWAY PARK DRIVE                      CENTENNIAL, CO 80112-3922             531 WEST AVE N
WEST HENRIETTA, NY 14586-9702                                                    P.O. BOX 847
                                                                                 WEST SALEM, WI 54669



WESTFIELD INSURANCE COMPANY                WESTFIELD SPECIALTY INSURANCE CO.     [NAME REDACTED]
1 PARK CIRCLE                              3650 MANSELL RD, STE 300              [ADDRESS REDACTED]
PO BOX 5001                                ALPHARETTA, GA 30022
WESTFIELD CENTER, OH 44251




WESTINGHOUSE ELECTRIC COMPANY              [NAME REDACTED]                       WESTON SOLUTIONS INC
ATTN FRANK RUDDY, ADVISORY SCIENTIST       [ADDRESS REDACTED]                    ATTN PROJECT MGR
1310 BEULAH RD                                                                   1000 PERIMETER PARK DR, STE E
PITTSBURGH, PA 15235                                                             MORRISVILLE, NC 27560




WESTOVER CORPORATION                       WESTPORT INTERNATIONAL CO LTD         WESTPORT INTERNATIONAL CO LTD
ATTN CONTROLLER                            ATTN GENERAL MANAGER                  NO 109, LANE 111, TA CHU RD
6580 N FEDERAL BLVD                        NO 113, TACHU RD                      LUCHU HSIANG
DENVER, CO 80221                           LOUCHU, TAOYUAN 338                   TAOYUAN HSIEN
                                           TAIWAN                                TAIWAN



WEST-TECH MATERIALS INC                    WESTWOOD PRODUCTS INC                 WET
1700 ADAMS AVE, 211                        ATTN PRESIDENT                        ATTN CHIEF SCIENTIST
COSTA MESA, CA 92626                       330 WILLIAM ST                        10817 SHERMAN WAY
                                           SOUTH RIVER, NJ 08882                 SUN VALLEY, CA 91352
[NAME REDACTED] Case 25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
                                    [NAME REDACTED]                       Page  909 of 944
                                                                              REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      WF HARRIS LIGHTING INC             [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN CEO                           [ADDRESS REDACTED]
                                     4015 AIRPORT EXT RD
                                     MONROE, NC 28110




[NAME REDACTED]                      WHALEY FOODSERVICE LLC             WHALEY PRODUCTS, INC.
[ADDRESS REDACTED]                   ATTN REGIONAL SALES MGR            2150 S. CENTRAL EXPRESSWAY, SUITE 2
                                     137 CEDAR RD                       MCKINNEY, TX 75070-7507
                                     LEXINGTON, SC 29073




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                      WHELEN ENGINEERING CO INC          WHELEN ENGINEERING CO INC
[ADDRESS REDACTED]                   ATTN CORP ENGINEER                 ATTN JOHN OLSON, PRES
                                     RTE 145, WINTHROP RD               51 WINTHROP RD
                                     CHESTER, CT 06412                  CHESTER, CT 06412




WHELEN ENGINEERING COMPANY INC       [NAME REDACTED]                    [NAME REDACTED]
ROUTE 145 WINTHROP RD                [ADDRESS REDACTED]                 [ADDRESS REDACTED]
CHESTER, CT 06412




[NAME REDACTED]                      WHIRLPOOL CORP                     [NAME REDACTED]
[ADDRESS REDACTED]                   ATTN DIR STRATEGIC SOWEING         [ADDRESS REDACTED]
                                     2000 M-63
                                     BENTON HARBOR, MI 49022




[NAME REDACTED]                      [NAME REDACTED]                    WHITE & CASE LLP
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                 ATTN: ARMANDO RIVERA JACOBO
                                                                        1221 AVENUE OF THE AMERICAS
                                                                        NEW YORK, NY 10020
                 Case LTD
WHITE BOX PHOTOGRAPHY   25-90163   Document  87 Filed
                                      WHITE GLOVE PARTS in TXSB
                                                        SUPPLY INCon 07/03/25 WHITE
                                                                               Page   910TRANSPORTATION
                                                                                    HORSE of 944        INC
3F HONG KONG JEWELLERY BLDG            ATTN PRESIDENT                         3900 MERTON DR, STE 158
178-180 QUEENS ROAD CENTRAL            1953 WAVERLY ST                        RALEIGH, NC 27609
HONG KONG                              NAPA, CA 94558




WHITE KNIGHT FLUID HANDLING, INC       WHITE LIGHTING FIXTURES LTD            WHITE OPTICS LLC
187 EAST 670 SOUTH                     ATTN PRESIDENT                         ATTN PRESIDENT
KAMAS, UT 84036-9417                   STE 1201, TOWER 2, THE GATEWAY         18 SHEA WAY, STE 106
                                       25 CANTON RD, TSIMSHATSUI              NEWARK, DE 19713
                                       KOWLOON HONG KONG



WHITE SYSTEMS INC                      WHITE TECHNOLOGY SOLUTION LLC          [NAME REDACTED]
ATTN PRESIDENT                                                                [ADDRESS REDACTED]
400 KIDDS HILL RD
HYANNIS, MA 02601




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                        [NAME REDACTED]
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[NAME REDACTED] Case 25-90163    Document  87 Filed in TXSB on 07/03/25 [NAME
                                    [NAME REDACTED]                       Page  911 of 944
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[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




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[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




WHITEBOX ADVISORS LLC                WHITECROFT LIGHTING LTD              WHITEHEAD & ASSOCIATES INC
3033 EXCELSIOR BLVD                  ATTN TECH DIR                        ATTN SCOTT WHITEHEAD, PRESIDENT
STE 500                              BURLINGTON ST, ASHTON-UNDER-LYNE     5998 LAKE FORREST DR, NW
MINNEAPOLIS, MN 55416                LANCASHIRE OL7 OAX                   ATLANTA, GA 30328-4840
                                     UNITED KINGDOM



[NAME REDACTED]                      [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




[NAME REDACTED]                      WHITEOPTICS ASIA PACIFIC CO LTD      WHITEOPTICS LLC
[ADDRESS REDACTED]                   ATTN PRESIDENT                       ATTN PRES
                                     D610 CHINA-SINGAPORE ECOLOGY BLDG    18 SHEA WAY, STE 106
                                     SUZHOU INDUSTRIAL PARK               NEWARK, DE 19713
                                     JIANGSU PROVINCE CHINA



WHITEOPTICS LLC                      [NAME REDACTED]                      [NAME REDACTED]
ATTN PRESIDENT                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
243-G QUIGLEY BLVD
NEW CASTLE, DE 19720




[NAME REDACTED]                      [NAME REDACTED]                      WHITING-TURNER CONTRACTING CO, THE
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   ATTN EXEC VICE PRESIDENT
                                                                          300 E JOPPA RD
                                                                          BALTIMORE, MD 21286




WHITING-TURNER CONTRACTING COMPANY   WHITING-TURNER CONTRACTING COMPANY   [NAME REDACTED]
300 EAST JOPPA RD.                   P.O. BOX 17596                       [ADDRESS REDACTED]
BALTIMORE, MD 21286                  BALTIMORE, MD 21297
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  912 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           WHITMAN INSIGHT STRATEGIES, LLC        [NAME REDACTED]
[ADDRESS REDACTED]                        80 8TH AVENUE, SUITE 1210              [ADDRESS REDACTED]
                                          NEW YORK, NY 10011-7196




[NAME REDACTED]                           [NAME REDACTED]                        WHITNEY BLAKE CO
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     ATTN GENERAL MANAGER
                                                                                 20 INDUSTRIAL DR
                                                                                 BELLOWS FALLS, VT 05101




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




WHITTINGTON & STALEY CONSULTING GRO       WHOLE SOLUTIONS CO LTD                 WI DEPARTMENT OF FINANCIAL
550 W. VAN BUREN STREET                   ATTN PRESIDENT, CEO                    INSTITUTIONS
CHICAGO, IL 60607                         915, 9/F, MIRAMAR TWR, 132 NATHAN RD   4822 MADISON YARDS WAY
                                          TSIMSHATSUI, KOWLOON                   MADISON, WI 53705
                                          HONG KONG



WICHT TECHNOLOGIE CONSULTING              [NAME REDACTED]                        WIDEBAND SALES INC
ATTN CEO                                  [ADDRESS REDACTED]                     ATTN PRESIDENT
FRAUENPLATZ 5, D-80333                                                           111B PARK DRIVE
MUNCHEN                                                                          MONTGOMERYVILLE, PA 18936
GERMANY



WIDEGAP TECH LLC                          WIDE-LITE                              WIDEN ENTERPRISES INC
ATTN PRESIDENT                            ATTN PROD DESIGN ENG                   ATTN CFO
5655 LINDERO CANYON RD, STE 404           1611 CLOVIS BARKER RD                  6911 MANGROVE LANE
WESTLAKE VILLAGE, CA 91362                SAN MARCOS, TX 78666                   MADISON, WI 53713




[NAME REDACTED]                           WIDROE GROUP                           [NAME REDACTED]
[ADDRESS REDACTED]                        435 FARMLAND DR                        [ADDRESS REDACTED]
                                          BEULLTON, CA 93427




WIEDENBACH BROWN                          WIEDENBACH-BROWN CO INC                WIEDENBACH-BROWN CO
ATTN: JEFFREY N. CODD                     1025 WESTCHESTER AVE, STE LL01         ATTN SR VICE PRESIDENT
2975 WESTCHESTER AVENUE, SUITE 203        WHITE PLAINS, NY 10604                 25 NEWBRIDGE RD, STE 308
PURCHASE, NY 10577                                                               HICKSVILLE, NY 11801
WIEGEL TOOL WORKS Case
                    INC 25-90163   Document
                                      WIELAND87   Filed inLLCTXSB on 07/03/25 [NAME
                                              MICROCOOL                         Page  913 of 944
                                                                                    REDACTED]
ATTN PRESIDENT                         4803 OLYMPIA PARKWAY SUITE 3000       [ADDRESS REDACTED]
935 N CENTRAL AVE                      LOUISVILLE, KY 40241-3068
WOOD DALE, IL 60191




[NAME REDACTED]                        [NAME REDACTED]                       WI-FI ALLIANCE
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    10900-A STONE LAKE BLVD, STE 195
                                                                             AUSTIN, TX 78759




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




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[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




WILA LIGHTING CORP                     [NAME REDACTED]                       [NAME REDACTED]
ATTN GRP TECHNICAL DIR                 [ADDRESS REDACTED]                    [ADDRESS REDACTED]
8-10 THE QUADRANGLE
GROVE TECHNOLOGY PARK
WANTAGE, OXFORDSHIRE OX12 9FA
UNITED KINGDOM


[NAME REDACTED]                        [NAME REDACTED]                       WILD WEST LIGHTING INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    ATTN SAM KRAMER, PRESIDENT
                                                                             15550 N 84TH ST, STE 200
                                                                             SCOTTSDALE, AZ 85260




WILD WEST LIGHTING                     WILD WEST LIGHTING                    [NAME REDACTED]
ATTN OUTSIDE SALES REP                 ATTN SPEC SALES                       [ADDRESS REDACTED]
4423 W LODGE DR                        420 E MOORE AVE
LAVEEN, AZ 85339                       GILBERT, AZ 85234




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                       [NAME REDACTED]
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[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  914 of 944
                                                                                  REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       WILL DESIGN LIMITED
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    UNIT H, 15/F, REASON GROUP TOWER
                                                                               403-413 CASTLE PEAK RD
                                                                               KWAI CHUNG
                                                                               HONG KONG



[NAME REDACTED]                          WILLER TOOL CORP                      [NAME REDACTED]
[ADDRESS REDACTED]                       ATTN VP MFG                           [ADDRESS REDACTED]
                                         W225 N16683 CEDAR PARK CT
                                         JACKSON, WI 53037




[NAME REDACTED]                          WILLIAM L. MORIN, DBA WLM COMPONENT   [NAME REDACTED]
[ADDRESS REDACTED]                       SALES                                 [ADDRESS REDACTED]
                                         165 BERKELEY ROAD
                                         NORTH ANDOVER, MA 01845




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          WILLIAMS ADVANCED ENGINEERING LTD     WILLIAMS ADVANCED MATERIALS INC
[ADDRESS REDACTED]                       ATTN GENERAL COUNSEL                  ATTN VP & STRATEGIC BUS UL
                                         STATION RD, GROVE,WANTAGE             2978 MAIN ST
                                         OXFORDSHIRE OX12 0DQ                  BUFFALO, NY 14214
                                         UNITED KINGDOM



WILLIAMS MULLEN                          WILLIAMS SCOTSMAN, INC.               [NAME REDACTED]
MILES BRUDER                             DBA WILLSCOT MOBILE MINI              [ADDRESS REDACTED]
301 FAYETTEVILLE STREET, STE 1700,       4646 E VAN BUREN ST. SUITE 400
RALEIGH                                  PHOENIX, AZ 85008-6927
NC
27601 MBruderWilliamsmullen.com


[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
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[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
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[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
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[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
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[NAME REDACTED] Case 25-90163        Document  87 Filed in TXSB on 07/03/25 [NAME
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[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       WILLIS TOWERS WATSON PLC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    150 NORTH COLLEGE STREET SUITE 3050
                                                                               CHARLOTTE, NC 28202




WILLIS TOWERS WATSON SOUTHWEST INC       [NAME REDACTED]                       [NAME REDACTED]
ATTN DIRECTOR                            [ADDRESS REDACTED]                    [ADDRESS REDACTED]
26 CNETURY BLVD
NASHVILLE, TN 37214




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                          [NAME REDACTED]                       WILLY VOIT GMBH & CO KG
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    SAARBRUEKER STRASSE 2
                                                                               ST INGBERT D-66386
                                                                               GERMANY




WILMAD-LABGLASS                          WILMER CUTLER PICKERING HALE & DORR   WILMER CUTLER PICKERING HALE & DORR
ATTN QUOTATIONS MGR                      LLP                                   LLP
1002 HARDING HWY                         60 STATE ST                           ATTN HEATH A BROOKS
BUENA, NJ 08310                          BOSTON, MA 02109                      1875 PENNSYLVANIA AVE NW
                                                                               WASHINGTON, DC 20006
                    Case 25-90163
WILMER CUTLER PICKERING     HALE & DORR Document
                                           WILMER 87
                                                  HALE Filed in TXSB on 07/03/25 [NAME
                                                                                   Page  919 of 944
                                                                                       REDACTED]
LLP                                        7 WORLD TRADE CENTER                  [ADDRESS REDACTED]
MATTHEW T. MARTENS                         250 GREENWICH STREET, NEW YORK
2100 PENNSYLVANIA AVE NW, WASHINGTON       NY
DC                                         10007
20037 matthew.martenswilmerhale.com


WILSON ELECTRIC SERVICES CORP          WILSON LEARNING CORPORATION             WILSON SONSINI GOODRICH & ROSATI
ATTN SERVICE DIVISION MGR              8000 W 78TH ST, STE 200                 701 5TH AVE, STE 5100
600 E GILBERT DR                       EDINA, MN 55439                         SEATTLE, WA 98104-7036
TEMPE, AZ 85281




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
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[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




WILSON, ELSER, MOSKOWITZ, EDELMAN &    [NAME REDACTED]                         [NAME REDACTED]
DICKER                                 [ADDRESS REDACTED]                      [ADDRESS REDACTED]
BENJAMIN MEHIC
200 GREAT OAKS BLVD, STE 228, ALBANY
NY
12203 Benjamin.mehicwilsonelser.com.


[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
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[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 [NAME
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[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                         WIN NOBLE INDUSTRIAL LTD               WIN SEMICONDUCTORS CORP
[ADDRESS REDACTED]                      ATTN SR QUALITY MGR                    NO 69 KEJI 7TH ROAD HWAYA TECHNOLOG
                                        6 F, FLAT D, TSUEN TUNG FACTORY BLDG   TAOYUAN CITY 33383
                                        38-40 CHAI WAN KOK ST                  TAIWAN
                                        TSEUN WAN, NT HONG KONG



[NAME REDACTED]                         WINBRO GROUP TECH LLC                  WIND INERTIA TECHNOLOGIES SL
[ADDRESS REDACTED]                      ATTN CO-PRESIDENT                      ATTN CHIEF EXECUTIVE OFFICER
                                        3049 SOUTHCROSS BLVD                   CALLE INNOVACION 6-8, ARIETE BUILDING
                                        ROCK HILL, SC 29730                    MAIRENA DEL ALJARAFE
                                                                               SEVILLA 41927 SPAIN



WINDERLUMEN ENVIRONMENTAL LLC           [NAME REDACTED]                        WINDSTREAM COMMUNICATIONS, INC.
ATTN PRESIDENT                          [ADDRESS REDACTED]                     P.O. BOX 9001908
7278 LONDALE BLVD                                                              LOUISVILLE, KY 40290-1908
WINDMERE, FL 34786




WING SHING METAL INTL TRADING LTD       [NAME REDACTED]                        [NAME REDACTED]
ATTN ADMIN MGR                          [ADDRESS REDACTED]                     [ADDRESS REDACTED]
LOTS 1540, DD121, SHU TAK RD
SHAN HA TSUEN, YUEN LONG
NEW TERRITORIES HONG KONG



[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




WINK INC                                WINONA LIGHTING INC                    [NAME REDACTED]
ATTN VP-BUSINESS DVPT                   ATTN LED PRODUCT DEVT                  [ADDRESS REDACTED]
135 CROSBY ST                           3760 W 4TH ST
NEW YORK, NY 10012                      WINONA, MN 55987




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
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[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 [NAME
                                          [NAME REDACTED]                       Page  921 of 944
                                                                                    REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                            WINTECH NANO-TECHNOLOGY SERVICES       [NAME REDACTED]
[ADDRESS REDACTED]                         10 SCIENCE PARK ROAD                   [ADDRESS REDACTED]
                                           SINGAPORE 117684
                                           SINGAPORE




[NAME REDACTED]                            WINTIME ELECTRONIC                     WINTRONICS INC
[ADDRESS REDACTED]                         ATTN GENERAL MGR                       50 DIVISION AVE
                                           S DONGCHENG RD, DONGSHEN BLDG, RM804   MILLINGTON, NJ 07946-1358
                                           DONGGUAN, GUANGDONG
                                           CHINA



WIREGHOST SECURITY AND CONSULTING          WIRELESS ADVANCED VEHICLE-             WIRELESS COMMUNICATION RF SYSTEM LAB
INC                                        ELECTRIFICATION INC (WAVE)             ATTN DUYNINH
ATTN PRESIDENT                             ATTN CEO                               SOONGSIL UNIVERSITY, 511 SANGDO-DONG
2230 LONG PINE LN                          4752 W CALIFORNIA AVE, STE B-400       DONGJAK-GU
RALEIGH, NC 27603                          SALT LAKE CITY, UT 84104               SEOUL 156-743 SOUTH KOREA



WIRELESS COMMUNICATIONS INC                WIRELESS ENVIRONMENT LLC               WIRELESS RESEARCH CTR OF NORTH
ATTN VP                                    ATTN CTO                               CAROLINA
4800 REAGAN DR                             32111 AURORA RD, STE 8                 ATTN GERARD HAYES, PRESIDENT/CEO
CHARLOTTE, NC 28206                        SOLON, OH 44139                        3331 HERITAGE TRADE DR, STE 101
                                                                                  WAKE FOREST, NC 27587



WIRELESS TECHNOLOGY ASSOCIATES INC         WIRELESS VENTURES LLC                  WIREMAID PRODUCTS CORP
10 TECHNOLOGY DR, STE 9                    DBA AMERIZON WIRELESS                  ATTN VP
SETAUKET, NY 11733                         ATTN ACCOUNT MANAGER                   11711 W SAMPLE RD
                                           6204 DAIMLER WAY, STE 105              CORAL SPRINGS, FL 33065
                                           RALEIGH, NC 27607



WIRLNET INC                                WIRSOL SOLAR AG                        WISCONSIN COMPENSATION RATING
ATTN DIR OF BUSINESS DEV                   ATTN MEMBER OF BOARD OF DIRS           BUREAU
P.O. BOX 10384                             BRUCHSALER STRASSE 22                  ATTN INSPECTOR
PLEASANTON, CA 94588                       WAGHAUSEL 68753                        20700 SWENSON DR, STE 100
                                           GERMANY                                WAUKESHA, WI 53186



WISCONSIN DEPARTMENT OF AGRICULTURE        WISCONSIN DEPARTMENT OF REVENUE        WISCONSIN DEPT OF NATURAL RESOURCES
TRADE AND CONSUMER PROTECTION              P.O. BOX 8902                          101 S WEBSTER ST
2811 AGRICULTURE DR                        MADISON, WI 53708-8902                 P.O. BOX 7921
P.O. BOX 8911                                                                     MADISON, WI 53707-7921
MADISON, WI 53708-8911



WISCONSIN DEPT OF REVENUE                  WISCONSIN DEPT OF WORKFORCE            WISCONSIN DIVISION OF SECURITIES
2135 RIMROCK RD                            DEVELOPMENT                            P.O. BOX 1768
MADISON, WI 53713                          201 E WASHINGTON AVE                   MADISON, WI 53701-1768
                                           P.O. BOX 7946
                                           MADISON, WI 53707



WISCONSIN ECONOMIC DEVELOPMENT             WISCONSIN ELECTRIC POWER CO            WISCONSIN ELEVATOR INSPECTION INC
CORP                                       231 W MICHIGAN ST                      ATTN PRESIDENT
ATTN JOBS TAX CREDIT CONTRACT FY 12-       MILWAUKEE, WI 53203                    403 STATE ST
21061                                                                             OCONOMOWOC, WI 53066
201 WEST WASHINGTON AVE
P.O. BOX 1687
MADISON, WI 53701
WISCONSIN ENERGYCase     25-90163
                  CONSERVATION CORP Document  87 METAL
                                       WISCONSIN   FiledPARTS
                                                          in TXSB
                                                              INC on 07/03/25 WISCONSIN
                                                                                Page 922    of 944
                                                                                         OFFICE OF THE STATE
431 CHARMANY DR, STE 101               ATTN OPERATIONS MGR                    TREASURER
MADISON, WI 53719                      N4 W22450 BLUEMOUND RD                 P.O. BOX 8982
                                       WAUKESHA, WI 53186                     MADISON, WI 53708-8982




WISCONSIN PRECISION CASTING CORP        WISCONSIN STAMPING & MANUFACTURING      WISCONSIN THERMOSET MOLDING INC
ATTN CO-OWNER                           LLC                                     ATTN PRESIDENT
W 405 COUNTY RD                         ATTN GEN MGR                            900 E VIENNA AVE
EAST TROY, WI 53120                     N110 W13455 N PATTON CT                 MILWAUKEE, WI 53212
                                        GERMANTOWN, WI 53022



WISCONSIN UNI SYSTEM BOARD OF           WISDOM ADVISERS LLC                     WISDOM PRINTING SUPPLIES CO LTD
REGENTS                                 ATTN MANAGING DIRECTOR                  ATTN FINANCE MANAGER
RESEARCH AND SPONSORED PROGRAMS         4601 SPANISH MOSS DR                    SHANGHAISHE SONG JIANGQU SHE
750 UNVERSITY AVE, 4TH FL               MCKINNEY, TX 75070                      HENG ZHAI LU 100 HAO
MADISON, WI 53706                                                               SHANZHEN CHINA



WISE RECYCLING                          [NAME REDACTED]                         [NAME REDACTED]
7600 ROLLING MILL RD                    [ADDRESS REDACTED]                      [ADDRESS REDACTED]
BALTIMORE, MD 21224




WISEFULL TECHNOLOGY LTD                 WISELED                                 WISER PARTNERS LLC
ATTN GENERAL MGR                        ATTN CEO                                ATTN PRINCIPAL PARTNER
ROOM 1905, GOOD HOPE BLDG               BOGEBAKKEN 15                           3145 LOOKOUT CIR, STE 300
612 NATHAN RD, MONGKOK                  GILLELEJE 3230                          CINCINNATI, OH 45208
KOWLOON HONG KONG                       DENMARK



[NAME REDACTED]                         [NAME REDACTED]                         WISSEN LUX SPA
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      ATTN PRESIDENT
                                                                                VIALE MISURATA, 40
                                                                                MILAN 20146
                                                                                ITALY



WISTRON NEWEB CORP                      WISYCOM SRL UNIPERSONALE                [NAME REDACTED]
ATTN SENIOR VICE PRESIDENT              ATTN SOLE DIR                           [ADDRESS REDACTED]
20 PARK AVE II                          VIA SPIN 156
HSINCHU SCIENCE PK                      ROMANO DEZZELINO (VI)
HSINCHU 308 TAIWAN                      ITALY



[NAME REDACTED]                         WITEC INSTRUMENTS CORP                  [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN MANAGING DIR                       [ADDRESS REDACTED]
                                        200 E BROADWAY AVE, STE 30
                                        MARYVILLE, TN 37804




[NAME REDACTED]                         [NAME REDACTED]                         WITHERSRAVENEL INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      115 MACKENAN DRIVE
                                                                                CARY, NC 27511-7903




[NAME REDACTED]                         WITSLIGHT TECHNOLOGY CO LTD             [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN TIGER CHEN                         [ADDRESS REDACTED]
                                        NO 99, MUYE RD
                                        KUNSHAN, JIANGSU
                                        CHINA
                  Case 25-90163
WITTY AND ASSOCIATES              Document  87 Filed in TXSB on 07/03/25 [NAME
                                     [NAME REDACTED]                       Page  923 of 944
                                                                               REDACTED]
ATTN PRESIDENT                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]
3008 ANDERSON DR, STE 103
RELEIGH, NC 27609




WJ COMMUNICATIONS INC                 WJ TURPISH AND COMPANY             WK HILE CO
ATTN CFO                              ATTN PRESIDENT                     ATTN SALES ENGINEER
401 RIVER OAKS PKWY                   439 NEISLER ST                     P.O. BOX 1015
SAN JOSE, CA 95134                    SHELBY, NC 28152                   MATTHEWS, NC 28106




WKK TECHNOLOGY LIMITED                WK-SYSTEMS, INC.                   WL GORE & ASSOCIATES INC
ATTN ASST GEN MGR                     4953 NORTH OCONNOR ROAD            ATTN PRODUCT SPECIALIST
23/F, ONE KOWLOON                     IRVING, TX 75062                   555 PAPERMILL RD
NO.1 WANG YEUN ST                                                        NEWARK, DE 19711
KOWLOON BAY HONG KONG



WLS LIGHTING SYSTEMS                  WM COOK LLC                        WMECO
ATTN TAMMY BERTRAND                   ATTN PRESIDENT                     C/O EVERSOURCE ENERGY
1919 WINDSOR PL                       2100 DUNDEE RD                     56 PROSPECT ST
FORT WORTH, TX 76110                  WINTER HAVEN, FL 33882             HARTFORD, CT 06103




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                       [NAME REDACTED]                    WOLFRAM RESEARCH INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 ATTN DIRECTOR OF FINANCE
                                                                         100 TRADE CENTER DR
                                                                         CHAMPAIGN, IL 61820




WOLFSPEED FARMERS BRANCH              WOLFSPEED HONG KONG LIMITED        WOLFSPEED JP-SILER CITY
4352 N BELTWOOD PKWY                  UNIT NOS. 1011-1013, LEVEL 10      100 CAROLINA CORE PKWY
FARMERS BRANCH, TX 75244              TOWER I, GRAND CENTRAL PLAZA       SILER CITY, NC 27344
                                      SHATIN, NEW TERRITORIES
                                      HONG KONG
                Case
WOLFSPEED SERVICES      25-90163 Document
                    UK LTD                 87 Filed in TXSB on 07/03/25 [NAME
                                    [NAME REDACTED]                       Page  924 of 944
                                                                              REDACTED]
ATTN DIRECTOR                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]
GLENDINNING HOUSE, 6 MURRAY ST
BELFAST
NORTHERN IRELAND BT1 UNITED KINGDOM



[NAME REDACTED]                      WOMACK MACHINE SUPPLY CO CALIFORNIA   [NAME REDACTED]
[ADDRESS REDACTED]                   F/K/A A WOMACK CO                     [ADDRESS REDACTED]
                                     ATTN SR VP
                                     1615 YEAGER AVE
                                     LA VERNE, CA 91750



[NAME REDACTED]                      [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]




WOMENS FOUNDATION OF ARKANSAS        [NAME REDACTED]                       [NAME REDACTED]
400 WEST CAPITOL AVENUE SUITE 1242   [ADDRESS REDACTED]                    [ADDRESS REDACTED]
LITTLE ROCK, AR 72201-3431




[NAME REDACTED]                      [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                       WONGS ELECTRONIC CO LTD
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    ATTN EXEC VP
                                                                           17/F, C-BONS INTERNATIONAL CNTR
                                                                           108 WAI YIP ST, KWUN TONG
                                                                           KOWLOON HONG KONG



WONGVENTIONS                         [NAME REDACTED]                       [NAME REDACTED]
                                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]




[NAME REDACTED]                      [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163   Document  87 Filed in TXSB on 07/03/25 [NAME
                                   [NAME REDACTED]                       Page  925 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     WOODAM LIGHTING                    [NAME REDACTED]
[ADDRESS REDACTED]                  421-2 GAHYEON-RI                   [ADDRESS REDACTED]
                                    TONGJIN-EUP
                                    GIMPO, GYEONGGI-DO 415861
                                    SOUTH KOREA



[NAME REDACTED]                     WOODCOCK ELECTRIC SERVICE INC      [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN VP                            [ADDRESS REDACTED]
                                    500 MEHAFFIE LN
                                    HARRISBURG, PA 17112




[NAME REDACTED]                     WOODPECKER ENTERPRISES INC         [NAME REDACTED]
[ADDRESS REDACTED]                  ATTN PRESIDENT                     [ADDRESS REDACTED]
                                    594 JOHN HORTON RD
                                    APEX, NC 27502




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     WOODSHAPES INC                     [NAME REDACTED]
[ADDRESS REDACTED]                  518 N DURHAM AVE                   [ADDRESS REDACTED]
                                    CREEDMOOR, NC 27522




WOODWARD KEMPEN GMBH                [NAME REDACTED]                    [NAME REDACTED]
ATTN VP                             [ADDRESS REDACTED]                 [ADDRESS REDACTED]
KREFELDER WEG 47
KEMPEN 47906
GERMANY



[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163       Document  87 Filed in TXSB on 07/03/25 WORKDAY,
                                       [NAME REDACTED]                      Page 926INC. of 944
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     ATTN: LEGAL DEPARTMENT
                                                                               6110 STONERIDGE MALL ROAD
                                                                               PLEASANTON, CA 94588




WORKDAY, INC.                           WORKIVA INC                            WORKIVA INC
P.O. BOX 396106                         2625 N LOOP DRIVE, SUITE 2105          ATTN LEGAL TEAM
SAN FRANCISCO, CA 94139-6106            AMES, IA 50010-8615                    2900 UNIVERSITY BLVD
                                                                               AMES, IA 50010




WORKMOTION SOFTWARE GMBH                WORKPLACE HYGIENE INC                  WORKPLACE MODULAR SYSTEMS, LLC
RICHARD-ERMISCH-STR. 7                  ATTN PRESIDENT                         562 MAMMOTH ROAD
BERLIN 10247                            420-B GALLIMORE DAIRY RD               LONDONDERRY, NH 03053-2117
GERMANY                                 GREENSBORO, NC 27409




WORKSTATION INDUSTRIES INC              WORLD COMPONENTS NET SVC SHENZHEN      WORLD CUSTOMS BROKERAGE INC
1938 EAST POMONA STREET                 LTD                                    1313 4TH AVE
SANTA ANA, CA 92705-5120                5TH FLOOR, BLOCK A-2, XUXINGDA         NEW HYDE PARK, NY 11040-5541
                                        INDUSTRIAL ZN, SHIYAN TOWN
                                        BAO AN DIST
                                        SHENZHEN CHINA


WORLD MARKET INTELLIGENCE LTD           WORLD PEACE GROUP TECHNOLOGY LTD       WORLD PEACE INDUSTRIAL CO LTD
DBA CONSTRUCTION INTELLIGENCE CENTER    ATTN CORP VP & GM                      ATTN CHIEF EXECUTIVE OFFICER
ATTN DIRECTOR                           UNIT 1201-05, 12 F MIRAMAR TOWER       8F, NO.76, SEC 1 CHENG KUNG RD
JOHN CARPENTER HOUSE, 7 CARMELITE ST    132 NATHAN RD, TSIM SHA TSUI           NANKANG
LONDON EC4Y 0BS UNITED KINGDOM          KOWLOON HONG KONG                      TAIPEI TAIWAN



WORLD PEACE INDUSTRIAL CO LTD           WORLD PRODUCTS INC                     WORLD TRADE CENTER BUILDING KK
ATTN I J JSU                            ATTN PRESIDENT                         ATTN PRESIDENT
7F NO.76, SEC 1 CHENG KUNG RD           19654 8TH ST E                         2-4-1 HAMAMATSU-CHO, MINATO-KU
NANKANG                                 P.O. BOX 517                           TOKYO 105-6133
TAIPEI TAIWAN                           SONOMA, CA 95476



WORLD TRAVEL SERVICE LLC                WORLDMARK INTERNATIONAL LTD            WORLDSOURCE
2160 LAKESIDE CENTRE WAY                ATTN GEN MGR                           ATTN REG UNDERWRITING MGR, FOREIGN
KNOXVILLE, TN 37922-0201                4 REDWOOD CRESCENT                     CAS
                                        PEEL PARK CAMPUS                       175 WATER ST
                                        EAST KILBRIDE G74 5PA UNITED KINGDOM   NEW YORK, NY 10038



WORLDWIDE INSURANCE SERVICES LLC        WORLDWIDE LASER SERVICE CORP           [NAME REDACTED]
ATTN ASSOC GENERAL COUNSEL              ATTN PRESIDENT                         [ADDRESS REDACTED]
ONE RADNOR CORPORATE CTR, STE 100       1340 W SAN PEDRO ST
RADNOR, PA 09087                        GILBERT, AZ 85233




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163         Document  87 Filed in TXSB on 07/03/25 [NAME
                                         [NAME REDACTED]                       Page  927 of 944
                                                                                   REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           WORX MACHINERY LLC                 WPG AMERICAS INC
[ADDRESS REDACTED]                        JOHN HANKS                         ATTN RICH DAVIS, PRESIDENT
                                          4960 MARSETT PKWY                  5285 HELLYER AVE, STE 150
                                          CUMMING, GA 30041-8965             SAN JOSE, CA 95138




WR CURTICE CONSULTING                     [NAME REDACTED]                    [NAME REDACTED]
ATTN CONSULTANT                           [ADDRESS REDACTED]                 [ADDRESS REDACTED]
53 COMMANDERS DR
WASHINGTON CROSSING, PA 18977




WREATHS ACROSS AMERICA                    [NAME REDACTED]                    WRIGHT & CLOSE LLP
P.O. BOX 249                              [ADDRESS REDACTED]                 ATTN THOMAS C WRIGHT
COLUMBIA FALLS, ME 04623                                                     THREE RIVERWAY, STE 600
                                                                             HOUSTON, TX 77056




WRIGHT STATE UNIVERSITY                   [NAME REDACTED]                    [NAME REDACTED]
ATTN PRES/VP PROVIDENT FOR RESEARCH       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
3640 COL GLENN HWY
201J UNIVERSITY HALL
DAYTON, OH 45435



[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    WRIGHT, MARK & WRIGHT, RENEE
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                           [NAME REDACTED]                    WRIGHT-PATTERSON AFB
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 5135 PEARSON RD, BLDG 10
                                                                             WRIGHT-PATTERSON, OH 45433
WRIKE             Case 25-90163      Document  87THEFiled
                                        WRITE TO    POINT in TXSB on 07/03/25 [NAME
                                                                                Page  928 of 944
                                                                                    REDACTED]
9171 TOWNE CENTRE DR, STE 200            ATTN PRINCIPAL                       [ADDRESS REDACTED]
SAN DIEGO, CA 92122                      4412 SPRAGUE RD
                                         RALEIGH, NC 27613




WROCLAW UNIVERSITY OF TECHNOLOGY         WRQ INC                              WSP USA BUILDINGS INC
ATTN DIRECTOR                                                                 3340 PEACHTREE ROAD SUITE 2400
WYBREZE STANISLAWA                                                            ATLANTA, GA 30326-1087
WYSPIANSKIEGO 27
WROCLAW 50370 POLAND



WSP USA BUILDINGS INC.                   WST INDUSTRIES LLC                   WST INDUSTRIES LLC
ATTN: MICHAEL CONNOR                     ATTN PRESIDENT                       ATTN PROJECT MGR
1 PENN PLAZA 3RD FLOOR, 250 W 34TH       3015 BEECHTREE DR                    1124 HAWKINS AVE
STREET                                   SANFORD, NC 27330                    P.O. BOX 3816
NEW YORK, NY 10119                                                            SANFOED, NC 27330



WT MICROELECTRONICS CO LTD               WT MICROELECTRONICS                  WT MICROELECTRONICS
ATTN CHIEF EXECUTIVE OFFICER             14F, NO. 738, CHUNG CHENG ROAD,      14F, NO.738, CHUNG CHENG ROAD
14F, NO 738, CHUNG CHENG RD              CHUNG HO DISTRICT                    NEW TAIPEI CITY, TPE 235
CHUNG HO DIST                            NEW TAIPEI CITY 235                  TAIWAN
NEW TAIPEI CITY 235 TAIWAN               TAIWAN



WU FENG PHOTOELECTRIC CO LTD             [NAME REDACTED]                      [NAME REDACTED]
ATTN PRESIDENT                           [ADDRESS REDACTED]                   [ADDRESS REDACTED]
NO. 59, LANE 496, NINPU S RD
HSINCHU
TAIWAN



[NAME REDACTED]                          [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




WU-FENG INDUSTRY                         WUJIANG SHINEWAY LIGHTING MATERIAL   [NAME REDACTED]
ATTN PRESIDENT                           CO LTD                               [ADDRESS REDACTED]
NO 59, LN 496 NINPU S RD                 9TH FLOOR, 500 RENMIN RD
HSINCHU 300                              WUJIANG CITY, JIANGSU 215200
TAIWAN                                   CHINA



WURTH ELECTRONICS HK LTD                 WURTH ELECTRONICS MIDCOM INC         WURTH/SERVICE SUPPLY INC
ATTN SALES EXEC                          ATTN PRES                            DBA WURTH INDUSTRY OF NAM
UNIT 08, 12/F, NEW TECH PLZ, NO 34       BLDG I PLANT, AILIAN INDUSTRY        ATTN VP OF SALES
TAI YAU ST, SAN PO KONG                  WULIAN COMMUNITY, DRAGON TOWN ST     4935 W 86TH ST
KOWLOON HONG KONG                        LONGGANG DIST SHENZHEN CHINA         INDIANAPOLIS, IN 46268



WUXI CHINA RESOURCES HUAJING MICRO       WUXI HODGEN TECHNOLOGY CO LTD        WUXI INSTITUTE OF FUDAN UNIVERSITY
ELECTRONICS CO LTD                       NO 177, EAST CHANGJIANG ROAD         ATTN DIR OF DESIGN SERV
RM 14 LIANGXI RD                         WUXI, JIANGSU 214142                 NO 999 GAOLANG DONG RD
JIANGSU                                  CHINA                                QIHANG BLDG
WUXI CHINA                                                                    WUXI CHINA



WV COMMUNICATIONS INC                    WW GRAINGER                          [NAME REDACTED]
ATTN SR RF ENGINEER                      100 GRAINGER PKWY                    [ADDRESS REDACTED]
1125-A BUSINESS CENTER CIR               LAKE FOREST, IL 60045-5201
NEWBURY PARK, CA 91320
WYBRON INC       Case 25-90163      Document  87 Filed in TXSB on 07/03/25 [NAME
                                       [NAME REDACTED]                       Page  929 of 944
                                                                                 REDACTED]
ATTN VP ENGINEERING                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]
4830 LIST DR
COLORADO SPRINGS, CO 80919




WYLAN ENERGY LLC                        WYNDSOR LIGHTING LLC               [NAME REDACTED]
ATTN DIRECTOR                           ATTN BILL COOK                     [ADDRESS REDACTED]
112 S DUKE ST, STE 101                  2100 DUNDEE RD
DURHAM, NC 27701                        WINTER HAVEN, FL 33884




[NAME REDACTED]                         WYOMING COMPLIANCE DIVISION        WYOMING DEPARTMENT OF WORKFORCE
[ADDRESS REDACTED]                      HERSCHLER BUILDING EAST            SERVICES
                                        122 W 25TH ST                      UNEMPLOYMENT INSURANCE
                                        STE 100                            P.O. BOX 2760
                                        CHEYENNE, WY 82002-0020            CASPER, WY 82602-2760



WYOMING DEPT OF ENVIRONMENTAL           WYOMING DEPT OF REVENUE            WYOMING DEPT OF WORKFORCE SERVICES
QUALITY                                 122 WEST 25TH ST, STE E301         5221 YELLOWSTONE RD
200 W 17TH ST                           HERSCHLER BUILDING EAST            CHEYENNE, WY 82002
CHEYENNE, WY 82002                      CHEYENNE, WY 82002-0110




WYOMING OFFICE OF THE ATTORNEY          WYOMING STATE TREASURER            [NAME REDACTED]
GENERAL                                 UNCLAIMED PROPERTY DIVISION        [ADDRESS REDACTED]
CONSUMER PROTECTION AND ANTITRUST       HERSCHLER BUILDING EAST
UNIT                                    122 W 25TH ST, STE E300
109 STATE CAPITAL                       CHEYENNE, WY 82002
CHEYENNE, WY 82002


X COMMERCE INC                          X3 CREATIVE LLC                    XA DIRECT, INC
345 PARK AVE                            ATTN PRESIDENT                     10500 NE 8TH ST
SAN JOSE, CA 95110-2704                 1300 HAWTHORNE AVE                 BELLEVUE, WA 98004
                                        SMYRNA, GA 30080




XACT WIRE EDM CORP                      XACTLY CORP                        XAL GMBH
ATTN BUSINESS DEV                       ATTN COO                           ATTN CEO
N8 W22399 JOHNSON DR                    35 S MARKET ST                     AUER-WELSBACH-GASSE 36
WAUKESHA, WI 53186                      SAN JOSE, CA 95113                 GRAZ 8055
                                                                           AUSTRIA



XANDEX                                  XANTREX TECHNOLOGY INC             XCEL ENERGY INC
1360 REDWOOD WAY, SUITE A               PROGRAMMABLE POWER DIV
PETALUMA, CA 94954-1104                 ATTN PRESIDENT
                                        9250 BROWN DEER RD
                                        SAN DIEGO, CA 92121



XCELICOR INC                            XCERRA CORP                        XCHANGING SERVICES INC
5421 BEAUMONT CTR BLVD, STE 615         ATTN DIR BUSINESS DEV              ATTN DIRECTOR
TAMPA, FL 33634                         825 UNIVERSITY AVE                 200 W ADAMS ST, STE 1175
                                        NORWOOD, MA 02062-2643             CHICAGO, IL 60606




XEALTECH CONSULTING INC                 XEMOD INC                          XENCON SYSTEMS LLC
ATTN CEO                                ATTN JOSEPH H JOHNSON, PRESIDENT   ATTN CEO
10313 CHESTNUT RIDGE RD                 9365 S MCKEMY ST, 105              1609 PRECISION DR
AUSTIN, TX 78726                        TEMPE, AZ 85284                    PLANO, TX 75074
XENERQI LTD      Case 25-90163         Document  87 INC
                                          XENICS USA  Filed in TXSB on 07/03/25 XENNIA
                                                                                  PageTECHNOLOGY
                                                                                        930 of 944
                                                                                                 LIMITED
ATTN VP                                    ATTN EXEC ASST                            ATTN DIR
1607 DOMINION CENTRE                       600 CUMMINGS CTR, STE 166-Y               LUMEN HOUSE, LUMEN RD, ROYSTON
43 QUEENS ROAD EAST                        BEVERLY, MA 01915                         HERTFORDSHIRE SG8 7AG
WANCHAI HONG KONG                                                                    UNITED KINGDOM



XENON TECHNOLOGY CORP                      XENTRIS WIRELESS LLC                      XEROX CANADA LTD
ATTN PRESIDENT                             ATTN CFO                                  33 BLOAR ST EAST, 3RD FLOOR
101 MEADE RD                               1250 GREENBRIAR DR, STE A                 TORONTO, ON M4W 3H1
FAIRFAX, VT 05454                          ADDISON, IL 60101                         CANADA




XETRON CORPORATION                         X-FAB TEXAS INC                           XI AN BRILLIANT ELECTRONIC TECHNOLOGY
ATTN DIR OF CONTRACTS                      ATTN ED PASCASIO                          CO LTD
460 W CRESCENTVILLE RD                     2301 N UNIVERSITY AVE                     ROOM 1502, 2 BLDG OF KAICHUANG INTL
CINCINNATI, OH 45246                       LUBBOCK, TX 79415                         NO. 31, GAOXIN RD
                                                                                     NO. 31, GAOXIN RD, HIGH-TECH ZONE
                                                                                     XI-AN CHINA


XI AN JIAOTONG UNIVERSITY                  XI AN MIQAM MIRCROELECTRONICS CO LTD      [NAME REDACTED]
NO 28 XIANNING WEST RD, XIAN                                                         [ADDRESS REDACTED]
SHAANXI 710049
CHINA




XIAMEN JIN DE XIN HOUSE PROPERTY           XIAMEN LEADING OPTICS CO LTD              XIAMEN NEWTECH ELECTRONIC CO LTD
                                           DBA EVETAR                                ATTN GENERAL MGR
                                           NO.26, XINMEI RD, XINYANG INDUSTRY DIST   NO 38 TIAN YANG RD
                                           HAICANG                                   N IND ZONE, JIMEI, XIAMEN
                                           XIAMEN 361022 CHINA                       FUJIAN CHINA



XIAMEN SHUN BAO BING AUTOMOTIVE SVCS       XIAMEN TOPSTAR LIGHTING CO LTD            XIAMEN TOPSTAR LIGHTING CO LTD
LTD                                        676 MEI XI AVE                            ATTN R&D MANAGER
                                           TONGAN DISTRICT                           666 MEI XI AVE
                                           XIAMEN                                    TONGAN
                                           CHINA                                     XIAMEN 36110 CHINA



XIAMEN XINDA CO                            XIAMEN XING HENGLONG TECHNOLOGY CO        XIAMEN ZHONGZINGUOGUANG-
FLOOR 11 BLDG A, GUOMAO CENTER             LTD                                       ELECTRON TECHNOLOGY CO LTD
NO 4688, XIANYUE RD                        ATTN GM                                   2701, BLDG 3, NO 505, CANGHU E FIRST LI
HULI DIST                                  NO 81, 3RD RD, LIANHUA IND ZONE           HAICANG DIST, XIAMEN
XIAMEN, FUJIAN 361016 CHINA                TONGAN                                    FUJIAN 316010 CHINA
                                           XIAMEN CHINA


XIAN DICING PRECISION MACHIN PSHIP         XIAN JIAOTONG UNIVERSITY                  XIAN MIQAM MICROELECTRONICS MATLS CO
CORP                                       NO 28 W XIANNING RD                       LTD
NO 105 FENCHENG FIFTH RD                   XI AN SHANNXI 710049                      ATTN SALES VP
XIAN ECONOMIC & TECH DVPT ZONE             CHINA                                     LIC INDUSTRIAL PARK, 888, E CHANG AN ST
XIAN 710018                                                                          XIAN NATL CIVIL AEROSPACE BASE
CHINA                                                                                XIAN 710100 CHINA


XIAN SEMICON ELECTRONICS TECH CO LTD       [NAME REDACTED]                           XIA-TIAN
ROOM 1110, 11TH FLOOR, BLDG B              [ADDRESS REDACTED]
KAI SEN SHENG SHI BLDG
NO 22 E SECOND RING, ANTA DIST
XIAN SHAANXI CHINA



XICATO INC                                 XICOM TECHNOLOGY                          XIE XIYU
ATTN PRESIDENT                             ATTN SSPA PRODUCT MGR                     1410 B, BLDG B
4880 STEVENS CREEK BLVD, STE 204           3550 BASSETT ST                           TIANAN INNOVATION & TECHNOLOGY PLAZA
SAN JOSE, CA 95129                         SANTA CLARA, CA 95054                     FUTIAN DIST, SHENZHEN
                                                                                     CHINA
[NAME REDACTED] Case 25-90163           Document    87 Filed in TXSB on 07/03/25 XINPage
                                           XILINX INC                                     931 of 944CO LTD
                                                                                     FENG ELECTRICAL
[ADDRESS REDACTED]                          ATTN VP WIRELESS COMMS                NO.16 SOUTH GONGYE AVE TAIFENG IND
                                            2100 LOGIC DR                         ZONE
                                            SAN JOSE, CA 95124                    XIAOLAN TOWN, GUANGDONG
                                                                                  ZHONGSHAN 528415
                                                                                  CHINA


XIN JIN CONSULTOR LOGISTICO                 [NAME REDACTED]                       XINGCHANGZHOU FUXING
ESTRADA DO CEMITARIO, NO 15                 [ADDRESS REDACTED]                    ELECTRICAL APPLIANCE CO LTD
EDIF WAN KENG, RC-B                                                               NO 20 DONGFANG SOUTH RD
RC-B MACAO                                                                        WUJIN ECONOMIC DEVELOPMENT ZONE
MACAO                                                                             CHANGZHOU, JIANGSU CHINA



XINGHONGYUN PHOTOELEC TECH CO LTED          [NAME REDACTED]                       [NAME REDACTED]
4/F, BLDG A1 EMERSON 26 AREA                [ADDRESS REDACTED]                    [ADDRESS REDACTED]
BOAN DISTRICT
SHENZHEN
CHINA



XIONGZHI INDUSTRIAL LIGHTING MFG CO         XL CATLIN                             XL ENVIRONMENTAL
LTD                                         ONE WORLD FINANCIAL CTR               ATTN VP
ATTN CHIEF EXECUTIVE OFFICER                200 LIBEBRTY ST, 22ND FL              520 EAGLEVIEW BLVD
NO 124 DONGHUAN RD, PANYU                   NEW YORK, NY 10281                    EXTON, PA 19341
GUANGZHOU 511400
CHINA


XL INSURANCE AMERICA                        XL INSURANCE AMERICA, INC.            XL INSURANCE
ATTN SR CLAIMS CONSULTANT                   677 WASHINGTON BLVD, 10TH FL          ATTN SR UNDERWRITER
520 EAGLEVIEW BLVD                          STE 1000                              100 CONSTITUTION PLZ, 17TH FL
EXTON, PA 19341                             STAMFORD, CT 06901-6066               HARTFORD, CT 06103




XL SPECIALTY INSURANCE COMPANY              XLENT INNOVATOR SDN BHD               XLIGHT LTD
70 SEAVIEW AVE                              ATTN MG DIRECTOR                      ATTN CHIEF EXECUTIVE OFFICER
STAMFORD, CT 06902                          9, J/N SG ARA 2 DESA ARA              108 PROFSOUZNAYA ST
                                            BAYAN LEPAS, PENEY 11900              MOSCOW 117437
                                            MALAYSIA                              RUSSIA



XLIM-OSA (CNRS/UNIVERSITY OF LIMOGES)       X-LINE ASSETS LLC                     XODTEC TECHNOLOGY CO LTD
123 AVE ALBERT THOMAS                       1729 DELL AVE                         2F NO 139, JIAN 1ST RD
LIMOGES, CEDEX 87060                        CAMPBELL, CA 95008                    ZHONGHE CITY 235
FRANCE                                                                            TAIWAN




XOMETRY, INC                                XOPTICAL LLC                          XP POWER LLC FORMERLY GLASSMAN HIGH
7940 CESSNA AVENUE                          ATTN OWNER                            11 KONDELIN ROAD
GAITHERSBURG, MD 20879-4125                 27740 CROOKSHANK DR                   GLOUCESTER, MA 01930-5108
                                            SANTA CLARITA, CA 91350




XPEDX                                       XPEDX                                 XPO LOGISTICS FREIGHT INC
ATTN SALES MGR                              ATTN SALES VP                         ATTN PRESIDENT
6285 TRI RIDGE BLVD                         1021 MORRISVILLE PKWY                 4043 PIEDMONT PKWY
LOVELAND, OH 45140                          MORRISVILLE, NC 27560-9366            HIGH POINT, NC 27265




XPO LOGISTICS SUPPLY CHAIN INC              XPO LTL                               XPT (JIANGSU) AUTOMOTIVE TECHNOLOGY
ATTN PRESIDENT                              2211 OLD EARHART RD, STE 100          CO
4043 PIEDMONT PKWY                          ANN ARBOR, MI 48105-2963              XPT (NANJING)
HIGH POINT, NC 27265                                                              E-POWERTRAIN TECHNOLOGY CO., LTD., NO.
                                                                                  2, GANGCHENG ROAD
                                                                                  NANJING ECONOMIC & TECH DEV ZONE
                                                                                  JIANGSU PROVINCE 210046 CHINA
                   Case 25-90163
XPT (NANJING) E-POWERTRAIN           Document
                           TECH CO LTD          87 Filed
                                        XPT (NANJING)      in TXSB on 07/03/25 XPT
                                                      E-POWERTRAIN               Page    932E-POWERTRAIN
                                                                                   (NANJING) of 944
ATTN LEON QIU                           TECHNOLOGY CO LTD                      TECHNOLOGY CO., LTD.
22 BLDG NO. 56 ANTUO RD                 NO 2, GANGCHENG RD                     ATTN: LEON QIU; RUSSELL ZHAO
JIADING                                 NANJING ECONOMIC AND                   22 BUILDING NO. 56 ANTUO ROAD
SHANGHAI CHINA                          TECHNOLOGICAL DEVELOPMENT ZONE         JIADING SHANGHAI
                                        JIANGSU PROVINCE 210046 CHINA          CHINA


XPT E-POWERTRAIN TECHNOLOGY CO, LTD.    XRADIA INC                               X-REL SEMICONDUCTOR SAS
ATTN: LEON QIU                          ATTN VP FINANCE                          ATTN CHIEF EXECUTIVE OFFICER
NO.2 GANGCHENG ROAD                     4385 HOPYARD RD, STE 100                 90, AVE LEO BLUM
NANJING ECONOMIC AND                    PLEASANTON, CA 94588                     BP 2612
TECHNOLOGICAL DEVELOPMENT ZONE                                                   GRENOBLE CEDEX 2 38036 FRANCE
CHINA


X-RITE INCORPORATED                     XSLENT ENERGY TECHNOLOGIES LLC           XSPECT SOLUTIONS INC
ATTN VP R&D                             ATTN CORP SECRETARY                      ATTN PRES
4300 44TH ST SE                         7428 REDWOOD BLVD                        WENZELBUILDING
GRAND RAPIDS, MI 49512                  NOVATO, CA 94945                         46962 LIBERTY DR
                                                                                 WIXOM, MI 48293



XTRALIGHT MANUFACTURING LTD             XTREMELUX CORP                           [NAME REDACTED]
ATTN CFO                                ATTN COO                                 [ADDRESS REDACTED]
8812 FREY RD                            473 SAPENA CT, STE 19
HOUSTON, TX 77034                       SANTA CLARA, CA 95054




[NAME REDACTED]                         XUZHOU RUIYANG LIGHTING -                XYLEM DEWATERING SOLUTIONS INC
[ADDRESS REDACTED]                      ELECTRICAL EQUIPMENT CO LTD              ATTN BRANCH MGR
                                        ATTN SALES MGR                           3733 CONQUEST DR
                                        NO 8, MINSHENG RD, MAOCUN TOWN           GARNER, NC 27529
                                        XUZHOU, JIANGSU 221135 CHINA



XYMOX TECHNOLOGIES INC                  XYZTEC INC                               [NAME REDACTED]
ATTN AREA SALES MANAGER                 ATTN MANAGING DIR                        [ADDRESS REDACTED]
9099 W DEAN RD                          JF KENNEDYLAAN 14-B
MILWAUKEE, WI 53224                     PANNINGEN 5981 XC
                                        NETHERLANDS



[NAME REDACTED]                         YAC GARTER CO LTD                        [NAME REDACTED]
[ADDRESS REDACTED]                      5-13, IMAI 3-CHOME                       [ADDRESS REDACTED]
                                        OME-SHI
                                        TOKYO 198-0023
                                        JAPAN



[NAME REDACTED]                         [NAME REDACTED]                          [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                       [ADDRESS REDACTED]




YAH JUANG ENTERPRISE LTD                [NAME REDACTED]                          YAHOO INC
ATTN PRODUCT MGR                        [ADDRESS REDACTED]                       ATTN NANCY RABER
10TH FL-5, NO 16, SEC 4, SANHE RD                                                701 FIRST AVE
SANCHONG DISTRICT                                                                SUNNYVALE, CA 94089
NEW TAIPEI CITY 24154 TAIWAN



YAIR DORAM LIGHTING LTD                 [NAME REDACTED]                          YALE ELECTRIC SUPPLY COMPANY
28 HALECHI ST                           [ADDRESS REDACTED]                       302 GABOR DR
BNEI BRAK                                                                        NEWARK, DE 19711
ISRAEL
[NAME REDACTED] Case 25-90163   Document 87 CONSULTING
                                   YAMAGUCHI Filed in TXSB on 07/03/25 [NAME
                                                                         Page  933 of 944
                                                                             REDACTED]
[ADDRESS REDACTED]                  ATTN DESIGN ENGINEER               [ADDRESS REDACTED]
                                    1124 LOYOLA DR
                                    SANTA CLARA, CA 95057




YAMAS CONTROLS CAROLINAS INC        YAMAZEN INC                        YAN THAI (HONG KONG) CO LTD
ATTN PROJ MG LEADER                 ATTN VP                            ATTN ADMIN OFFICER
507 AIRPORT BLVD                    735 E REMINGTON RD                 G/F NO.7 PINE TREE HILL RD
MORRISVILLE, NC 27560               SCHAUMBERG, IL 60173               TSIM SHA TSUI
                                                                       KOWLOON HONG KONG



[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     YANG WU LONG                       [NAME REDACTED]
[ADDRESS REDACTED]                  NO 62, MA XIN                      [ADDRESS REDACTED]
                                    YUANTAN VILLAGE
                                    LIHU TOWN
                                    PUNING, GUANGDONG CHINA



[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




YANKEE LIGHTING CO                  [NAME REDACTED]                    [NAME REDACTED]
ATTN PRES                           [ADDRESS REDACTED]                 [ADDRESS REDACTED]
482 E MAIN ST
LEOLA, PA 17540




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




[NAME REDACTED]                     [NAME REDACTED]                    [NAME REDACTED]
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                 [ADDRESS REDACTED]




YARDE METALS INC                    [NAME REDACTED]                    YARMOUTH MATERIALS INC
ATTN CFO                            [ADDRESS REDACTED]                 ATTN PRESIDENT
1247 ELON PL                                                           28 SHELTER ROCK RD
HIGH POINT, NC 27263                                                   DANBURY, CT 06801
YASA LTD          Case 25-90163 Document      87 Filed
                                      YASA MOTORS   LTD in TXSB on 07/03/25 [NAME
                                                                              Page  934 of 944
                                                                                  REDACTED]
11-14 OXFORD INDUSTRIAL PARK, MEAD RD ATTN CHIEF FINANCIAL OFFICER          [ADDRESS REDACTED]
YARNTON, OXFORDSHIRE OX5 1QU          11-14 OXFORD INDUSTRIAL PARK, MEAD RD
UNITED KINGDOM                        YARNTON, OXFORDSHIRE OX5 1QU
                                      UNITED KINGDOM



YASH TECHNOLOGIES INC                    [NAME REDACTED]                   YASKAWA AMERICA
ATTN CONTRACTS MANAGER                   [ADDRESS REDACTED]                2121 NORMAN DRIVE SOUTH, NONE
605-17TH AVE                                                               WAUKEGAN, IL 60085-1291
EAST MOLINE, IL 61244




[NAME REDACTED]                          [NAME REDACTED]                   [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                [ADDRESS REDACTED]




YAU HING (HK) CO LTD                     YAZAKI CORP                       YEA SOLARLED LIGHTING CO LTD
ATTN MANAGER                             ATTN DIVISION MGR                 ATTN LIAO YUN CHANG
FLAT 10-11, 11/F, ELITE INDUSTRIAL CTR   1500 MISHUKU                      NO 19, MINZU RD
883 CHEUNG SHA WAN RD                    SUSONO, SHIZUOKA 410-1194         DASHE DIST
KOWLOON HONG KONG                        JAPAN                             KAOHSIUNG 815 TAIWAN



[NAME REDACTED]                          [NAME REDACTED]                   [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                [ADDRESS REDACTED]




[NAME REDACTED]                          YEH-CHIANG TECHNOLOGY CORP        YEH-CHIANG TECHNOLOGY CORPORATION
[ADDRESS REDACTED]                       7F, NO 19-17, SANCHONG RD         ATTN KC LEE, GENERAL MGR
                                         NANGANG DIST                      17F NO 216 SEC 2 TUNG HWA S RD
                                         TAIPEI CITY 115                   TAIPEI CITY 106
                                         TAIWAN                            TAIWAN



YEL ELECTRONICS HONG KONG LTD            YEL ELECTRONICS HONG KONG LTD     [NAME REDACTED]
ATTN ALAN CHUI, PRES                     ATTN REGIONAL PRESIDENT           [ADDRESS REDACTED]
1203-4 HILDER CTR, 2 SUNG PING ST        UNIT A-C, 8/F SPECTRUM TOWER
HUNGHORN                                 53 HUNG TO RD, KWUN TONG
KOWLOON HONG KONG                        KOWLOON HONG KONG



[NAME REDACTED]                          [NAME REDACTED]                   [NAME REDACTED]
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                [ADDRESS REDACTED]




YEONG LONG ELECTRIC INDUSTRY CO          [NAME REDACTED]                   YES EQUIPMENT & SERVICES INC
ATTN ALEX WANG, VP                       [ADDRESS REDACTED]                ATTN DIR OF SALES & MARKETING
NO.86 DENG-LIN RD                                                          W136 N4901 CAMPBELL DR
WU-GU                                                                      MENOMONEE FALLS, WI 53051
HSIANG, TAIPEI HSIEN TAIWAN



YESTECH INC                              [NAME REDACTED]                   YG TECHNOLOGY CO LTD
ATTN VP OF SALES                         [ADDRESS REDACTED]                625 MAEGOK-RI, DASA-EUP, DALSEONG-GUN
2762 LOKER AVE W                                                           DAEGU 711-812
CARLSBAD, CA 92010                                                         SOUTH KOREA
[NAME REDACTED] Case 25-90163      Document  87 Filed in TXSB on 07/03/25 YIELD
                                      [NAME REDACTED]                       Page   935 of 944
                                                                                ENGINEERING SYSTEMS, INC.
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      ATTN: PIERRE MITCHELL
                                                                                3178 LAURELVIEW COURT
                                                                                FREMONT, CA 94538-6535




YIFENG LIGHTING CO LTD                  YIFENG WU                               YILDIZ TECHNICAL UNIVERSITY
NO.6, DONGCHANG RD, DONGHUA INDL PARK   528 FIRESIDE LN                         ATTN RESEARCH ASST
REN HE TOWN, BAIYUN DIST                GOLETA, CA 93117                        ESENLER/DAVUTPASA MAH
GUANGZHOU                                                                       ISTANBUL 34420
CHINA                                                                           TURKEY



[NAME REDACTED]                         [NAME REDACTED]                         YINCAE ADVANCED MATERIALS, LLC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      19 WALKER WAY
                                                                                ALBANY, NY 12205-4945




[NAME REDACTED]                         YIXING KUNLUN IND CERAMICS MFG CO LTD   YLX CORP
[ADDRESS REDACTED]                      COUNTRY RD 104, HONGWEI VILLAGE         ATTN CTO
                                        DINGSHU TOWN                            960 SARATOGA AVE, STE 117
                                        YIXING CITY, JIANGSU                    SAN JOSE, CA 95129
                                        CHINA



YO HUA (SUZHOU) CORP                    YO HUA CORP                             [NAME REDACTED]
ATTN CLAIRE KUO                         ATTN SHIH-LUNG LIU                      [ADDRESS REDACTED]
26L, NO. 369 TAYUAN RD                  3F, BLDG NO. 2
SUZHOU, JIANGSU                         NO. 1 JINZHUANG ST
CHINA                                   SUZHOU, JIANGSU CHINA



[NAME REDACTED]                         YOKOGAWA CORPORATION OF AMERICA         YOKOGAWA DEUTSCHLAND GMBH
[ADDRESS REDACTED]                      2 DART RD STE 504                       GEWERBESTR. 17
                                        NEWNAN, GA 30265-1040                   HERRSCHING 82211
                                                                                GERMANY




YOKOWO AMERICA CORP                     YOLE DEVELOPPEMENT                      YOLE INC
ATTN MANAGING DIR                       45 RUE SAINTE GENEVIEVE                 19109 WEST CATAWBA AVENUE SUITE 200
3701 ALGONQUIN RD, STE 560              LYON 69006                              CORNELIUS, NC 28031-5614
ROLLING MEADOWS, IL 60008               FRANCE




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




YORK INTL CORP                          YORK INTL                               YOSSI LEVY & CO
12393 SLAUSON AVE                       ATTN SERVICE SALES REP                  11 MENACHEM BEGIN ST
WHITTIER, CA 90606                      2800-172 SUMNER BLVD                    RAMAT GAN 52521
                                        RALEIGH, NC 27609                       ISRAEL




[NAME REDACTED]                         [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]
                    Case 25-90163
YOUNG LIGHTING TECHNOLOGY     INC   Document 87 LIGHTING
                                       YOUNG STAR Filed inCORP
                                                           TXSB on 07/03/25 [NAME
                                                                              Page  936 of 944
                                                                                  REDACTED]
ATTN PRESIDENT                          ATTN JACKY PAI                            [ADDRESS REDACTED]
NO.11 LI HSING RD, SCIENCE PARK         5F, NO 653 BANAN RD
HSINCHU 300                             CHUNG-HO CITY
TAIWAN                                  TAIPEI TAIWAN



[NAME REDACTED]                         [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                        [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                        [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                        [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                        [ADDRESS REDACTED]




[NAME REDACTED]                         YOUNGEWIRTH & OLENICK ASSOC               YOUNGEWIRTH & OLENICK ASSOCIATES
[ADDRESS REDACTED]                      ATTN PRES                                 ATTN JED OLENICK
                                        17621 IRVINE BLVD                         17621 IRVINE BLVD, STE 101
                                        TUSTIN, CA 92680                          TUSTIN, CA 92780




YOUNGEWIRTH & OLENICK LLC               YOUNGSTAR LIGHTING CORP                   YOUNGWOO TELECOM
ATTN MANAGING MEMBER                    ATTN PRES                                 ATTN SR ENGINEER
17621 IRVINE BLVD, STE 101              5F, NO 653, BANAN RD                      502, C-DONG, BUNDANG-GU
TUSTIN, CA 92780                        CHUNG-HO CITY                             SUNGNAM-SI
                                        TAIPEI TAIWAN                             GYEONGGI-DO 463-816 SOUTH KOREA



[NAME REDACTED]                         YOURCAUSE LLC                             YOURTECHNICIAN.COM INC
[ADDRESS REDACTED]                      6111 WEST PLANO PARKWAY, SUITE 1000       DBA GUARDIAN DIGITIAL FORENSICS
                                        PLANO, TX 75093-0014                      ATTN CEO
                                                                                  5510 SIX FORKS RD, STE 150
                                                                                  RALEIGH, NC 27609



[NAME REDACTED]                         YOYOGI ACCOUNTING FIRM                    YOYOGI ACCOUNTING FIRM
[ADDRESS REDACTED]                      ATTN CPA                                  ATTN CPA
                                        DORUMI DAI2 YOYOGI 3F                     OSADA BUILDING 3F
                                        57-4, I-CHOME, YOYOGI, SHIBUYA-KU         57-3, 1-CHOME, YOYOGI, SHIBUYA-KU
                                        TOKYO 151-0053 JAPAN                      TOKYO 151-0053 JAPAN



YRC INC                                 YSM DESIGN PC                             YU FEI (GUANGZHOU) EXHIBITION SVC CO
ATTN PRICING MGR                        1320 ELLSWORTH INDUSTIAL BLVD, STE A100   LTD
10990 ROE AVE                           ATLANTA, GA 30318
OVERLAND PARK, KS 66211
YU KUANG ELECTRICSCase   25-90163
                    ANS ENERGY CO LTDDocument  87 Filed in TXSB on 07/03/25 [NAME
                                        [NAME REDACTED]                       Page  937 of 944
                                                                                  REDACTED]
ATTN CHARMAN                            [ADDRESS REDACTED]                  [ADDRESS REDACTED]
NO 4 HSINSHIEN 3RD RD
TUNG KANG TOWN,
PINGTUNG HSIEN TAIWAN



[NAME REDACTED]                      [NAME REDACTED]                       [NAME REDACTED]
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]




YUAN MENG REAL ESTATE HUIZHOU CO     [NAME REDACTED]                       YUE HO GLASS CO LTD
NO.144, LANBOWAN PHASE II            [ADDRESS REDACTED]                    ATTN OVERSEA BUSINESS DIR
DA HU XI, HUI CHENG DISTRICT                                               60 FU AN ST
HUIZHOU                                                                    YONGKO CHEN
CHINA                                                                      TAIPEI HSIEN 23943 TAIWAN



YUE YI CO LTD                        YUEN HING TAI METAL FACTORY LTD       YUEYI CO LTD
ATTN LV MINGWEI                      ATTN GENERAL MANAGER                  FL 12, NO 659, BANNAN RD
12F, NO.659 BANNAN RD                BLK D & E, 19/F LUK HOP IND BLDG      ZHONGHE DIST
ZHONGHE DIST                         8 LUK HOP ST, SAN PO KONG             NEW TAIPEI CITY
NEW TAIPEI CITY TAIWAN               KOWLOON HONG KONG                     TAIWAN



YUE-YI LIMITED                       YUFU GOSEI KAGAKU CO LTD              YUJI AMERICA CORP.
                                     35-8 CHUO 4-CHOME OTA-KU              3711 LONG BEACH BLVD
                                     TOKYO 143-0024                        LONG BEACH, CA 90807-3315
                                     JAPAN




YUK SHING CIRCUITS CO LTD            [NAME REDACTED]                       YUM CONSULTING (SHANGHAI) CO LTD
ATTN MKTG MGR                        [ADDRESS REDACTED]                    16F, 2 GRAND GATEWAY
TUEN MUN INDUS CENTER                                                      3 HONGQIAO RD
76 PUI TO RD                                                               SHANGHAI
TUEN MUN HONG KONG                                                         CHINA



YUM RESTAURANT SERVICES GROUP INC    [NAME REDACTED]                       YUWA KK
ATTN CHIEF LEGAL COUNS, KFC          [ADDRESS REDACTED]                    1028-16, NISHIFUKAI NAGRAEYAMA
1441 GARDINER LN                                                           CHIBA 270-0170
LOUISVILLE, KY 40213                                                       JAPAN




YUYAO HILITE ELECTRIC CO LTD         YXLON INTERNATIONAL, INC.             [NAME REDACTED]
CE23, FAR EAST INDUSTRIAL PARK       5675 HUDSON INDUSTRIAL PARKWAY        [ADDRESS REDACTED]
YUYAO CITY, ZHEJIANG 315400          HUDSON, OH 44236-5012
CHINA




ZABER TECHNOLOGIES                   [NAME REDACTED]                       ZACKS INVESTMENT RESEARCH INC
2 – 605 WEST KENT AVE. N.            [ADDRESS REDACTED]                    111 NORTH CANAL STREET
VANCOUVER, BC V6P 6T7                                                      CHICAGO, IL 60606-7218
CANADA




[NAME REDACTED]                      [NAME REDACTED]                       ZADIENT MATERIALS EUROPE GMBH
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                    ALU-STRASSE 5
                                                                           BITTERFELD-WOLFEN 06749
                                                                           GERMANY
                  Case
ZADIENT TECHNOLOGIES  INC25-90163   Document
                                       ZAGAMI, 87
                                               GARYFiled
                                                   ET AL. in TXSB on 07/03/25 [NAME
                                                                                Page  938 of 944
                                                                                    REDACTED]
354 VOIE MAGELLAN-ALPESPACE             [ADDRESS REDACTED]                     [ADDRESS REDACTED]
SAINTE-HELENE-DU-LAC 73800
FRANCE




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                         [NAME REDACTED]                        ZANGER ASSOCIATES INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     ATTN JAN ZANGER, PRESIDENT
                                                                               1010 LIBERTY RD, STE 102
                                                                               ELDERSBURG, MD 21784




ZAPTEC AS                               [NAME REDACTED]                        [NAME REDACTED]
ATTN CTO                                [ADDRESS REDACTED]                     [ADDRESS REDACTED]
PROF OLAV HANSSENSVEI 7A
STAVANGER NO-4021
NORWAY



ZATKOFF SEALS & PACKINGS                [NAME REDACTED]                        ZC&R
8441 GARVEY DRIVE                       [ADDRESS REDACTED]                     ATTN GEN MGR
RALEIGH, NC 27616-2979                                                         1401 ABALONE AVE
                                                                               TORRANCE, CA 90501




Z-COMMUNICATIONS INC                    ZEBRA TECH INTERNATIONAL LLC           [NAME REDACTED]
ATTN PRESIDENT                          ATTN SR RESEARCH ENG                   [ADDRESS REDACTED]
9939 VIA PASAR                          1 ZEBREA PLZ
SAN DIEGO, CA 92126                     HOLTSVILLE, NY 11742




ZEDGE MATERIALS INC                     [NAME REDACTED]                        ZEE AERO INC
ATTN GEN MGR                            [ADDRESS REDACTED]                     ATTN CHIEF EXECUTIVE OFFICER
13F-8, NO 2, LN 150, SEC 5                                                     2700 BRODERICK WAY
XINYI RD                                                                       MOUNTAIN VIEW, CA 94043
TAIPEI CITY, XINYI 110 TAIWAN



ZEE JAY DIGITAL                         ZEECO INC                              [NAME REDACTED]
10 DORRANCE STREET                      ATTN MGR, INCINERATION DIV             [ADDRESS REDACTED]
PROVIDENCE, RI 02903                    22151 E 91ST ST
                                        BROKEN ARROW, OK 74014




[NAME REDACTED]                         [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                         ZELLWEGER ANALYTICS                    [NAME REDACTED]
[ADDRESS REDACTED]                      ATTN VP, HEAD OF TECH CTR              [ADDRESS REDACTED]
                                        400 SAWGRASS CORPORATE PKWY, STE 100
                                        SUNRISE, FL 33325
ZENDESK            Case 25-90163   Document 87
                                      ZENEXUS INC Filed in TXSB on 07/03/25 [NAME
                                                                              Page  939 of 944
                                                                                  REDACTED]
ATTN LEGAL DEPT                        ATTN PRESIDENT                       [ADDRESS REDACTED]
989 MARKET ST, 300                     13523 MCKINNEY AVE, STE 469
SAN FRANCISCO, CA 94103                DALLAS, TX 75204




ZENITH SERVICES CORPORATION            ZENITRON (HK) LIMITED                [NAME REDACTED]
DBA WINDOW GANG                        2B, GOLDLION HOLDINGS CENTRE         [ADDRESS REDACTED]
ATTN VP                                13-15 YUEN SHUN CIRCUIT
9521 LUMLEY RD                         SIU LEK YUEN, SHATIN
MORRISVILLE, NC 27560                  HONG KONG



ZENSAR TECHNOLOGIES INC                ZENSAR TECHNOLOGIES INC              ZENSAR TECHNOLOGIES LIMITED
ATTN VP BUS FINANCE                    ATTN VP- FINANCE                     1415 W 22ND STREET
55 W MONROE ST, STE 1200               1415 W 22ND ST, STE 925              OAK BROOK, IL 60523-2074
CHICAGO, IL 60603-5001                 OAK BROOK, IL 60523




ZENTRIX TECHNOLOGIES                   ZENZOR AS                            ZEON CHEMICALS LIMITED PARTNERSHIP
ATTN DIR OF TECH                       ATTN TECH MGR                        DBA ZEON CHEMICALS LP
22 GRAF RD                             P.O. BOX 584                         ATTN GM, NEW BUSINESS
NEWBURYPORT, MA 01950                  SANDNES N-4305                       4111 BELLS LN
                                       NORWAY                               LOUISVILLE, KY 40211



[NAME REDACTED]                        [NAME REDACTED]                      ZERO MICRON INC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   ATTN PRESIDENT
                                                                            1482 N 4TH ST
                                                                            SAN JOSE, CA 95112




ZERO SRL                               ZESTRON CORPORATION                  ZETA CONTROLS
ATTN CHIEF EXECUTIVE OFFICER           11285 ASSETT LOOP                    UNITS B15-16 TELFORD RD
VIA MAESTRI DEL LAVORO 20/M            MANASSAS, VA 20109-3994              BICESTER
VILLOTTA DI CHIOS (PN)                                                      OXFORD OX26 4LD
CHIONS 33083 ITALY                                                          UNITED KINGDOM



ZETA INSTRUMENTS INC                   ZETA SPECIALIST LIGHTING LIMITED     ZETA-IDT
ATTN PRESIDENT                         ATTN MANAGING DIR                    ATTN DOUG MACHEEL
2528 QUME DR, STE 12                   TELFORD RD                           17680 BUTTERFIELD BLVD
SAN JOSE, CA 95131                     BICESTER OX26 4LB                    MORGAN HILL, CA 95037
                                       UNITED KINGDOM



ZETEX SEMICONDUCTORS PLC               [NAME REDACTED]                      ZETTLER MAGNETICS INC
ZETEX TECH PARK, STOCKFIELD RD         [ADDRESS REDACTED]                   ATTN PRESIDENT NA
CHADDERTON                                                                  75 COLUMBIA
OLDHAM OL9 9LL                                                              VALISO VIEJO, CA 92656
UNITED KINGDOM



ZEUS INDUSTRIAL PRODUCTS INC           ZF FRIEDRICHSHAFEN AG                ZF JAPAN CO LTD
620 MAGNOLIA ST                        ATTN CORP DEV VP                     ATTN MANAGER
ORANGEBURG, SC 29116                   LOWENTALER STR 20                    209 YAMASHITA-CHO, NAKA-KU
                                       FRIEDRICHSHAFEN 88046                KANAGAWA
                                       GERMANY                              YOKOHAMA 231-0023 JAPAN



[NAME REDACTED]                        [NAME REDACTED]                      [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]
[NAME REDACTED] Case 25-90163          Document  87 Filed in TXSB on 07/03/25 [NAME
                                          [NAME REDACTED]                       Page  940 of 944
                                                                                    REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                        [NAME REDACTED]
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]




[NAME REDACTED]                            [NAME REDACTED]                        ZHAOQING BERYL ELECTRONIC CO LTD
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     NO 8, DUANZHOU RD
                                                                                  ZHAOQING, GUANGDONG
                                                                                  CHINA




ZHE JIANG DOT LIGHTING CO LTD              ZHEIJANG EV-TECH CO LTD                ZHEJIANG CHENFENG LAMPHOLDER CO LTD
RM 603, YU LONG BLDG 16 E PK STREET        12F-17F, CHUNSHUYUNZHU BLDG 1          YANGUAN INDUSTRY AREA
CHANGPING TOWN, GUANGDONG                  NO 36, JIYUAN ST, XIHU DISTRICT        HAINING, JIAXING
DONGGUAN CITY 523506                       HANGZHOU, ZHEJIANG 310030              ZHEJIANG
CHINA                                      CHINA                                  CHINA



ZHEJIANG FOCUS-ON IMPORT & EXPORT CO       ZHEJIANG FOCUS-ON IMPORT & EXPORT CO   ZHEJIANG HOWELL ILLUMINATING
LTD                                        LTD                                    TECHNOLOGY CO LTD
DBA FOCUS-ON TOOLS                         O/B/O HANGZHOU BEISHENG INDUSTRY CO    XIAXIANG INDUS. ESTATE
11F BINHAI BLDG, 480 JIANGNAN DADAO        LTD                                    LANJIANG ST
BINJIANG DIST, HANGZHOU                    NO 9 JIANBIN RD, LISHAN TOWN           YUYAO, ZHEJIANG
ZHEJIANG 310052 CHINA                      FUYANG DIST, HANGZHOU                  CHINA
                                           ZHEJIANG CHINA

ZHEJIANG JINGRI LIGHTING TECH CO LTD       ZHEJIANG LEDISON OPTOELECTRONICS CO    ZHEJIANG MEKA ELECTRIC CO LTD
NO 2008 QUFU RD                            LTD                                    YUANNAN RD
NEW EASTERN DISTRICT                       ATTN SALES MANAGER                     LILHAI INDUSTRY AREA
HUZHOU, ZHEJIANG                           NO 10 KANGJING RD                      BINHAI NEW CITY
CHINA                                      KANGQIAO TOWN                          SHAOXING ZHEJIANG CHINA
                                           HANGZHOU 310015 CHINA


ZHEJIANG SUPER LIGHTING ELECTRIC-          ZHEJIANG TECSUN NEW ENERGY             ZHEJIANG UNIVERSITY
APPLIANCE CO LTD                           TECHNOLOGY CO LTD                      866 YUHANGTANG RD
XINBI INDUSTRIAL AREA, JINYUN              NO.318 N QIUTAO RD, INDUSTRIAL ZONE    HANGZHOU 310058
ZHEJIANG 321403                            JINHUA, ZHEJIANG                       CHINA
CHINA                                      CHINA



ZHEJIANG YANKON GROUP CO LTD               ZHEJLANG SHENGHUI LIGHTING CO LTD      [NAME REDACTED]
ATTN SALES DIR                             ATTN GENERAL MGR                       [ADDRESS REDACTED]
NO 485, FENGSHAN RD                        WEST JIACHUANG RD
SHANGYU, ZHEJIANG 312300                   XIUZHOU INDUSTRIAL PARK
CHINA                                      JIAXING, ZHEJIANG 314501 CHINA



ZHEN HUAXING TECH (SHENZHEN) CO LTD        ZHEN HUAXING TECHNOLOGY (SHENZHEN)     ZHENGZHOU HONGTUO
18TH BLDG, SHAYI W IND PARK                CO LTD                                 SUPERABRASIVE PRODUCTS CO LTD
SHAJING                                    18TH BLDG, SHAYI W INDUSTRY PARK
BAOAN, SHENZHEN 518104                     SHAJING BAOAN
CHINA                                      SHENZHEN
                                           CHINA
ZHENGZHOU KIEGOOCase   25-90163
                 PHOTONICS TECH CO Document  87 Filed in TXSB on 07/03/25 ZHONG
                                      [NAME REDACTED]                        PageKAI941
                                                                                      GAOofXIN944
                                                                                               QU REN
LTD                                   [ADDRESS REDACTED]                  LI ZI YUAN JING LI REN XIE HUI
ATTN HEAD OF ENG
NO 5 WENLAO RD
ZHENGZHOU, HENAN 450002
CHINA


ZHONG YUAN YI TONG                      ZHONGGUO DIANXIN GUFEN                 ZHONGSHAN CITY BALIN LIGHTING CO LTD
ATTN ENGINEER                           CO.,LTD SHANGHAI BRANCH                HIGH CLASS IND BLDG
GAO XIN 4 RD, 1                         211                                    CAO THREE PIONEER PARK
WUHAN 430205                            SHANGHAI 201500                        GUZHEN TOWN
CHINA                                   CHINA                                  ZHONGSHAN, GUANGDONG CHINA



ZHONGSHAN CITY COLORFUL LIGHTING CO     ZHONGSHAN CITY OBALS ELEC              ZHONGSHAN COLORFUL LIGHTING CO LTD
LTD                                     ILLUMINANCE CO LTD                     COLORFUL INDUSTRIAL PARK
YONGXING INDUSTRIAL ZONE                CARD 1, 1F NO 14 KANGLONG 3RD RD       YONGXING INDUSTRIAL AREA
INDUSTRIAL PARK, GUANGDONG              XINMAO INDUST ZONE, HENGLAN TOWN       HENGLAN TOWN
ZHONGSHAN                               ZHONGSHAN                              ZHONGSHAN CITY, GUANGDONG CHINA
CHINA                                   GUANGDONG CHINA


ZHONGSHAN DINGFENG LIGHTING FCTY        ZHONGSHAN EASDAR OPTOELECTRO TECH      ZHONGSHAN EASDAR OPTOELECTRONIC
NO 5, LN 140, CHUNG HSING ROAD          CO LTD                                 TECH CO LTD
WU KU HSIANG                            NO 16 INDUSTRY RD, TANZHOU TOWN        BLDG 3 NO 6 TENGYUN RD
NEW TAIPEI CITY 248                     ZHONGSHAN, GUANGDONG 528401            TANZHOU IND PARK, ZHONGSHAN
TAIWAN                                  CHINA                                  GUANGDONG
                                                                               CHINA


ZHONGSHAN EASTAR                        ZHONGSHAN EASTER OPTOELECTRONIC        ZHONGSHAN FEILONG LIGHTING TECH CO
OPTOELECTRONIC TECH CO LTD              TECH CO LTD                            LTD
ATTN PRESIDENT                          6 TENGYUN RD, BLDG 3                   ATTN ASSISTANT MGR
NO 6, FENG YUN RD, TAN ZHOU DIST        TANZHOU INDUSTRIAL PARK                4TH FLOOR A, BLDG NO. 2, YIHUI 2 ST
ZHONGSHAN, GONGDONG CHINA               ZHONGSHAN, GUANGDONG                   MAOHUI INDUSTRIAL AREA, HENGLAN TOWN
                                        HONG KONG                              ZHONGSHAN 528478 CHINA


ZHONGSHAN GOOD LIFE SUN SHEET CO LTD    ZHONGSHAN GUANGQUIN TRADE CO LTD       ZHONGSHAN HAOJAN PRECISION DIE
YIFU ROAD, NANTOU TOWN                  NO 10, 3 FL, SHENGPING RD              CASTING CO LTD
ZHONGSHAN, GUANGDONG 528427             M XIAOLAN ZHONGSHAN                    NO 15 GUANGWAN ST
CHINA                                   GUANGDONG 528415                       MAOWAN VILLAGE, SAN XIANGTOWN
                                        CHINA                                  ZHONGSHAN, GUANGDONG
                                                                               CHINA


ZHONGSHAN PNY LIGHTING TECH CO LTD      ZHONGSHAN THINK ELECTRONIC TECH CO     ZHONGSHAN TITANIC LIGHTING CO LTD
ATTN GENERAL MGR                        LTD                                    ATTN PURCHASE MGR
YONGXING INDUSTRIAL ZONE                                                       NO 5, LEFENG 4 RD, SISHA MAOHUI IND ZONE
HENGLAN TOWN                                                                   HENGLAN ZHONGSHAN
ZHONGSHAN, GUANDONG 528478 CHINA                                               GUANGDONG CHINA



ZHONGSHAN WASING ELECTRONIC CO LTD      ZHONGSHAN WASING ELECTRONICS CO        ZHONGSHAN YI JONES HARDWARE PROD
BAISHAWAN IND PARK                      ATTN GENERAL MGR                       CO LTD
CHANGJIANG NORTH RD, EAST DIST          BAISHAWAN IND PARK, CHANGJIANG NORTH
ZHONGSHAN, GUANGDONG 528402             RD
CHINA                                   EAST DIST, GUANGDONG
                                        ZHONGSHAN 528400 CHINA


ZHONGSHANSHI GU ZHEN DENG               ZHONGSHANSHI GUZHEN KERONGDA           ZHONSHAN YING LONG PLASTIC PRODUCTS
SHI WEN HUA GHUAN BO YOU XIAN GONG SI   ZIDONGHUA                              CO LTD
                                        SHEBEI CHANG                           NO 108, MINZHONG MAIN RD
                                                                               MINZHONG TOWN
                                                                               ZHONGSHAN, GUANGDONG
                                                                               CHINA


ZHOU YISHA                              [NAME REDACTED]                        [NAME REDACTED]
1595 BRIERGATE DR                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]
DULUTH, GA 30097
                  Case 25-90163
ZHUHAI BEYOND ELECTRONIC              Document
                           EQUIP LTD CO          87 Filed
                                         ZHUHAI HIGRAND     in TXSB on 07/03/25 ZHUHAI
                                                        OPTOELECTRONICS-          PageKINGROAD
                                                                                         942 of ELEC
                                                                                                944 CO LTD
9 LIANFA RD, SHUANGLIN ZONE              TECHNOLOGICAL CO LTD                   NO 1, PLANT ROOM YUYUE VILLAGE
LIANGANG INDUSTRIAL ZONE PARK ZHUHAI     HIGRAND SCIENTIFIC & INDUSTRIAL PARK   THE SANZAO SCIENCE & TECHNOLOGY
GUANGDONG 519015                         HUANGUAN RD, JINDING                   INDUSTRY ZONE, GUANGDONG
CHINA                                    ZHUHAI, GUANGDONG 519085 CHINA         ZHUHAI 519040 CHINA



[NAME REDACTED]                        [NAME REDACTED]                         ZHUZHOU CRRC TIMES SEMICONDUCTOR
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      CO LTD
                                                                               ATTN GENERAL MANAGER
                                                                               TIANXIN HIGH-TECH PARK
                                                                               SHIFENG DISTRICT
                                                                               ZHUZHOU, HUNAN CHINA


ZI BO JIN JI YUAN ABRASIVES CO LTD     [NAME REDACTED]                         [NAME REDACTED]
A 609, NO 125 LIUQUAN RD               [ADDRESS REDACTED]                      [ADDRESS REDACTED]
CERAMIC INDUSTRY PARK
NEW & HIGH TECH ZONE
ZIBO CHINA



[NAME REDACTED]                        [NAME REDACTED]                         ZIGBEE ALLIANCE
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      ATTN TRACY FRAAS
                                                                               C/O GLOBAL INVENTURES
                                                                               2400 CAMINO RAMON, STE 375
                                                                               SAN RAMON, CA 94583



ZIGNAL LABS INC                        ZIITEK ELECTRONIC MATERIALS &           ZIITEK TECHNOLOGY LTD
995 MARKET ST, 16TH FL                 TECHNOLOGY LTD                          ATTN VP
SAN FRANCISCO, CA 94103                DBA THERMAZIG                           BLDG B8, 2ND XICHENG INDUSTRY DIST
                                       ATTN VICE PRESIDENT                     HENGLI TOWN, GUANGDONG PROVINCE
                                       RM 7, 8F, NO 20, WUCYUAN 2ND RD         DONGGUAN 523460 CHINA
                                       SINJHUANG CITY, TAIPEI TAIWAN


[NAME REDACTED]                        [NAME REDACTED]                         [NAME REDACTED]
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




ZIMMER TMT INC                         [NAME REDACTED]                         [NAME REDACTED]
ATTN PURCHASING MGR                    [ADDRESS REDACTED]                      [ADDRESS REDACTED]
10 POMEROY RD
PARSIPPANY, NJ 07054




ZINSSER NA INC                         [NAME REDACTED]                         ZIPRECRUITER, INC.
ATTN PRESIDENT                         [ADDRESS REDACTED]                      604 ARIZONA AVE.
19145 PARTHENIA ST, STE C                                                      SANTA MONICA, CA 90401-1610
NORTHBRIDGE, CA 91324




[NAME REDACTED]                        ZIRCAR REFRACTORY COMPOSITES INC        ZKNA LLC
[ADDRESS REDACTED]                     P.O. BOX 489                            ATTN MANAGING DIR
                                       FLORIDA, NY 10921-0489                  74 CREEDMOOR RD, 273
                                                                               RALEIGH, NC 27613




ZLD TECH LLC                           Z-LINC                                  ZMAGS CORP
ATTN CHIEF EXECUTIVE OFFICER           ATTN PRINCIPLE                          ATTN CFO
6388 ALMADEN RD                        7500 VISCOUNT C-79                      321 SUMMER ST
SAN JOSE, CA 95120                     EL PASO, TX 79925                       BOSTON, MA 02210
Z-MAR TECHNOLOGYCase
                  INC  25-90163            Document
                                              ZMD INC 87 Filed in TXSB on 07/03/25 [NAME
                                                                                     Page  943 of 944
                                                                                         REDACTED]
ATTN VP                                        ATTN SALES DIR                         [ADDRESS REDACTED]
8541 CROWN CRESCENT CT                         275 S 5TH AVE
CHARLOTTE, NC 28227                            POCATELLO, ID 83201




ZNT SINGAPORE PTE LTD                          [NAME REDACTED]                        ZODIAC AEROSPACE SA
ATTN DIRECTOR                                  [ADDRESS REDACTED]                     ATTN VP ENGINEERING
33 UBI AVE 3                                                                          7, RUE DES LONGS QUARTIERS
08-41 VERTEX TOWER A                                                                  MONTREUIL 93100
SINGAPORE 408868 SINGAPORE                                                            FRANCE



ZODIAC DATA SYSTEM                             ZODIAC LIGHTING LTD                    ZOLLNER ELEKTRONIK AG
ATTN PROJECT MGR                               ATTN SR LED ENGINEER                   ATTN LEGAL DEPT
5 AVENUE DES ANDES, BP 101                     1801, 18/F, 2 HONG MAN ST              MANFRED-ZOLLNER-STR 1
LES ULIS CEDEX A 91943                         HONG MAN INDUSTRIAL CENTRE             ZANDT 93499
FRANCE                                         CHAI WAN HONG KONG                     GERMANY



ZONES LLC                                      ZONGLV INDUSTRIAL CO LTD               ZONOFF INC
ATTN VP BUSSINESS & LEGAL AFFAIRS              ATTN LV MINGWEI                        70 E SWEDESFORD RD, STE 120
1102 15TH ST SW, STE 102                       15F, NO.653 BANNAN RD                  MALVERN, PA 19355
AUBURN, WA 98001                               ZHONGHE DIST
                                               NEW TAIPEI CITY TAIWAN



ZOOM INFORMATION INC                           ZOOMINFO MIDCO LLC                     ZORO TOOLS INC DBA ZORO
ATTN VP OF DIR SALES                           ZOOMINFO TECHNOLOGIES LLC              909 ASBURY DRIVE
307 WAVERY OAKS RD, 4TH FLOOR                  805 BROADWAY ST                        BUFFALO GROVE, IL 60089-4525
WALTHAM, MA 02452                              VANCOUVER, WA 98660




[NAME REDACTED]                                ZP ENTERPRISES LLC                     [NAME REDACTED]
[ADDRESS REDACTED]                             ATTN PRESIDENT                         [ADDRESS REDACTED]
                                               3495 PIEDMONT AVE, STE 712
                                               ATLANTA, GA 30305




ZTE CORPORATION                                ZTE KANGXUN TELECOM CO LTD             ZTE WISTRON TELECOM AB
ATTN CHIEF ENG OF PA                           ATTN SUPPLIER CERTIFICATION            ATTN CTO
ZTE PLAZA, KEJI RD S, HI-TECH INDUSTRIAL       NO 8, YIYUN RD                         19TR FAROGATAN 3
PARK                                           DA MEI SHA                             KISTA SCIENCE TOWER
NANSHAN DISTRICT                               YAN TIAN DIST, SHENZHEN 518083 CHINA   KISTA SE-16451 SWEDEN
SHENZHEN CHINA


ZU HSING TECHNOLOGY CO LTD                     ZUBEDY (M) SDN BHD                     [NAME REDACTED]
ATTN JASON LIN                                 UNIT 3, LEVEL 3A                       [ADDRESS REDACTED]
7F, NO 208, SEC 3, ZHONGYANG RD                KUALA LUMPUR 60000
TUCHENG DIST                                   MALAYSIA
NEW TAIPEI CITY 236 TAIWAN



ZUMTOBEL GROUP AG                              ZUMTOBEL LED GMBH                      ZUMTOBEL LIGHTING GMBH & CO KG
ATTN SR DIR GLOBAL COMM                        ATTN STEFAN TASCH DIRECTOR             ATTN MARK RUCKERT
HOCHSTESTR 8                                   INNOVATION                             GREVENMARSCHSTRASSE 74-8
DORNBIRN 6850                                  ZUMTOBEL LED GMBH                      LEMGO 32657
AUSTRIA                                        MILLINEUEM PARK 4                      GERMANY
                                               LUSTENAU 6890 AUSTRIA


ZUMTOBEL LIGHTING GMBH                         ZUMTOBEL LIGHTING GMBH                 ZUMTOBEL LIGHTING INC
ATTN DIR                                       ATTN DIRECTOR                          ATTN VICE PRESIDENT
SHZWEIZER STRASSE 30                           GREVENMARSCHSTRASSE 74-78              3300 RTE 9W
DORNBIRN A-6851                                LEMGO 32675                            HIGHLAND, NY 12528
AUSTRIA                                        GERMANY
[NAME REDACTED] Case 25-90163          Document  87 Filed
                                          ZUREIT HOLDINGS LTDin TXSB on 07/03/25 [NAME
                                                                                   Page  944 of 944
                                                                                       REDACTED]
[ADDRESS REDACTED]                         103 DENISON AVE                      [ADDRESS REDACTED]
                                           TORONTO, ON M5T 2M9
                                           CANADA




ZURICH AMERICAN INSURANCE CO               ZURICH AMERICAN INSURANCE COMPANY    ZURICH AMERICAN INSURANCE COMPANY
ATTN JAMIE TAYLOR, SNR UNDERWRITTING       1299 ZURICH WAY                      ATTN SAM E. VIVAS
SPC                                        SCHAUMBURG, IL 60196-1056            16973 NW 19TH ST
ONE LIBERTY PLAZA                                                               PEMBROKE PINES, FL 33028
NEW YORK, NY 10006



ZURICH VIDA COMPANIA DE SEGUROS SA         ZWEIBRUDER OPTOELECTRONICS GMBH      ZWELIS INC
ATTN ATTORNEY-IN-FACT                      ATTN CEO                             406 BLACKWELL STREET, SUITE 100
EJERCITO NACIONAL NO 843 B                 KRONENSTRASSE 5-7                    DURHAM, NC 27701
COL GRANADA D MIGUEL HIDALGO               SOLINGEN 42699
DISTRITO FEDERAL 11520 MEXICO              GERMANY



[NAME REDACTED]                            ZYFLEX TECHNOLOGIES INC              ZYGO CORPORATION
[ADDRESS REDACTED]                         ATTN ASSIT VP                        21 LAUREL BROOK ROAD
                                           4F NO 5-2 INDUSTRY E 9TH RD          MIDDLEFIELD, CT 06455-1253
                                           HSIN-CHU
                                           TAIWAN



ZYME SOLUTIONS INC                         ZYWYN CORP
240 TWIN DOLPHIN DRIVE, SUITE E            ATTN PRESIDENT/CEO
REDWOOD SHORES, CA 94065-1436              1270 OARMEAD PKWY, 201
                                           SUNNYVALE, CA 94085




Total: 28244
